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                        8 COMPANY and AMERICAN GUARANTEE & LIABILITY
                        9 COMPANY
                        10                   UNITED STATES DISTRICT COURT
                        11          NORTHERN DISTRICT OF CALIFORNIA- SAN JOSE DIVISION

                        12
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                        13 ZURICH AMERICAN INSURANCE                       Case No.
                        14 COMPANY; AMERICAN
                           GUARANTEE & LIABILITY                           COMPLAINT FOR:
                        15 COMPANY,                                        1. DECLARATORY RELIEF(NO
                                                                              DUTY TO DEFEND)
                        16               Plaintiffs,                       2. DECLARATORY RELIEF(NO
                                                                              DUTY TO INDEMNIFY)
                        17        v.                                       3. DECLARATORY RELIEF(NO
                        18 OMNICELL,INC. and DOES 1-10,                       DUTY TO DEFEND)
                                                                           4. DECLARATORY RELIEF(NO
                        19 inclusive                                          DUTY TO INDEMNIFY)
                                                                           5. REIMBURSEMENT
                        20               Defendants.
                                                                           6. UNJUST ENRICHMENT
                        21
                        22
                        23
                        24
                                       COME NOW Plaintiffs, ZURICH AMERICAN INSURANCE COMPANY
                        25
                               and AMERICAN GUARANTEE & LIABILITY COMPANY ("Zurich and
                        26
                               American Guarantee"), by their undersigned counsel, and state as follows:
                        27
                        28
                                                                       1

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                         1                                         PARTIES
                         2          1. Plaintiff, ZURICH AMERICAN INSURANCE COMPANY ("Zurich
                         3   American") currently is, and was at all times relevant herein, a corporation duly
                        4    organized under the laws of the State of New York with its principal place of
                         5   business in Schaumburg,Illinois.
                        6           2. Plaintiff, AMERICAN GUARANTEE & LIABILITY COMPANY
                         7   ("American Guarantee") currently is and at all times relevant herein was a
                         8   corporation duly organized under the laws of the state of New York with its
                        9    principal place of business in Schaumburg, Illinois. Zurich American and American
                        10   Guarantee are sometimes referred to collectively as "plaintiffs."
                        11         3.     Defendant, Omnicell, Inc., is a Delaware corporation with its principal
                        12   place of business in Mountain View, California.
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                        13         4.     Defendants DOES 1 through 10, inclusive, are sued herein by such
                        14   fictitious names because plaintiffs are unaware of the true names and capacities of
                        15   said DOE defendants. Plaintiffs will amend this Complaint to reflect the true names
                        16   when the same are ascertained. Plaintiffs are informed and believe, and based
                        17   thereon alleges, that said DOE defendants are responsible for the acts, events and
                        18   circumstances alleged herein, or are interested parties to this action.
                        19                             JURISDICTION AND VENUE
                        20          5. This Court has jurisdiction over the subject matter ofthis action pursuant
                        21   to 28 USC section 2201 as an actual controversy exists within the Court's
                        22   jurisdiction that merits relief. This Court has jurisdiction pursuant to 28 USC
                        23   section 1332(a) as the parties' citizenship is diverse and the amount in controversy
                        24   exceeds $75,000, exclusive of interest and costs.
                        25          6. Complete diversity exists between plaintiffs and defendant as, at all times
                        26   relevant herein, plaintiffs, were and are citizens of the states of New York and
                        27   Illinois; and defendant was at all times relevant herein, and is a citizen of the states
                        28   of California and Delaware.

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                           1           7. This Court has personal jurisdiction over Defendant, and each ofthem,
                          2    as defendant is a resident of this judicial district and Defendant has purposely
                          3    availed itself of the privilege of conducting activities within California and resides
                          4    within the State of California.
                          5            8. Venue is proper in this judicial district pursuant to 28 USC section
                          6    1391(a)(2) as the defendant is a resident of this judicial district.
                          7            9. Defendant herein is seeking coverage for defense and indemnity ofthe
                          8    Underlying Action (infra) from the insurance policies issued to defendant by
                          9    plaintiffs. As such, a substantial part of the events giving rise to these claims
                          10   occurred within this venue. Venue is also proper in this judicial district pursuant to
                          11   28 USC section 1391(c) as the defendant, Omnicell, is a corporation who is a
                          12   resident in this judicial district.
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 cid
                          13                                FACTUAL BACKGROUND
                          14                                    The Insurance Policies
GQ
                          15           10. Plaintiff Zurich American issued a series of primary Commercial
                          16   General Liability("CGL") policies to Defendant, Omnicell, which are identified as
                          17   Policy Nos.: CPO 5912284-00 (effective 09/01/2012 to 09/01/2013); CPO
                          18   5912284-01 (effective 09/01/2013 to 09/01/2014); CPO 5912284-02 (effective
                          19   09/01/2014 to 09/01/2015); and CPO 5912284-03 (effective 09/01/2015 to
                          20   09/01/2016)(collectively referred to the "Zurich American policies.") The Zurich
                          21   American policies are attached as Exhibits A- D.
                          22           11. Plaintiff American Guarantee issued a series of Commercial Umbrella
                          23   Liability Policies to defendant, Omnicell, which are identified as Policy Nos.:
                          24   UMB 5912288-00 (effective 09/01/2012 to 09/01/2013); AUC 5912288-01
                          25   (effective 09/01/2013 to 09/01/2014); AUC 5912288-02 (effective 09/01/2014 to
                          26   09/01/2015); and AUC 5912288-03, effective 09/01/2015 to 09/01/2016
                          27   (collectively referred to as the 'American Guarantee policies") The American
                          28   Guarantee policies are attached as Exhibits E-H.

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                         1                       The Underlying Action Against Omnicell
                        2           12. On June 6, 2018, underlying claimant, Yana Mazya, filed a class action
                        3    complaint against Omnicell, among others, entitled Mazya, etc. v. Northwestern
                        4    Lake Fore Hospital, et al. in the Circuit Court of Cook County, Illinois, Case No.
                        5    2018-CH 07161 ("Underlying Action.") The complaint in the Underlying Action is
                        6    attached as Exhibit I.
                        7           13. The complaint in the Underlying Action states in part that it was filed
                        8    "to redress and curtail Defendants' unlawful collection, use, storage, and disclosure
                        9    of Plaintiff's sensitive biometric data."
                        10          14. The Underlying Action alleges that when the underlying defendant
                        11   employers hire an employee, the employee is enrolled in an employee database
                        12   which the employers use to monitor authorized access to stored materials (e.g.
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                        13   medications) by employees. The Underlying Action alleges that the employees are
                        14   required to have their fingerprints scanned by a biometric device to be able to gain
                        15   authorized access to stored materials.
                        16          15. The Underlying Action alleges that the underlying defendants,
                        17   including Omnicell, have violated The Illinois Biometric Information Privacy Act
                        18   (740 ILCS 14/1 et seq. "BIPA"), which regulates the collection and storage of
                        19   Illinois citizen's biometrics, such as fingerprints.
                        20          16. The Underlying action alleges that Omnicell violates the BIPA by
                        21   failing to inform the employees of the purposes and duration for which they collect
                        22   the data; failing to obtain written releases from the employees before collecting
                        23   their fingerprints; and failing to provide the employees with a written, publicly
                        24   available policy identifying the data retention schedule and guidelines for
                        25   permanently destroying the fingerprints.
                        26          17. The named plaintiff in the Underlying Action on behalf of herself and
                        27   the class, seeks (1) declaratory relief, (2) injunctive and equitable relief (orders
                        28   requiring defendants to protect the interests of plaintiff and the class and to handle

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                         1   biometric information in compliance with BIPA),(3) statutory damages ($1,000 or
                        2    actual damages, whichever is greater, for negligent violations, and $5,000 or actual
                        3    damages, whichever is greater, for intentional or reckless violations), (4)
                        4    reasonable attorneys' fees and costs and litigation expenses, and (5) pre- and post-
                         5   judgment interest.
                        6           18. Omnicell has tendered the defense and indemnity of the Underlying
                        7    Action to Zurich American and American Guarantee.
                        8                                   The Coverage Dispute
                        9           19. By way of this complaint, the plaintiffs seek a declaration that the
                        10   claims against the insured Omnicell in the Underling Action are not covered and/or
                        11   are wholly excluded by the terms of the policies plaintiffs issued to Omnicell
                        12   which exclude coverage for claims arising from statutory violations.           As the
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                        13   Underlying Action arises from the alleged violation of a statute, plaintiffs assert the
                        14   policies provide no coverage for the Underlying Action.
                        15          20. The 9th Circuit Court of Appeals in the case Big 5 Sporting Goods
                        16   Corp. v. Zurich American Ins. Co. (C.D.Cal. 2013) 957 F.Supp.2d 1135, affirmed
                        17   (9th Cir. 2015), 635 Fed. Appx. 351, held that an insurer owed no duty to defend a
                        18   class action suit based on statutory violations for gathering of personal data as the
                        19   policies at issue contained exclusions for claims arising out of statutory violations.
                        20   Similarly here, the Underlying Action alleges statutory violations and the policies
                        21   at issue exclude coverage for suits based on statutory violations.
                        22          21. The Zurich American polices contain exclusions which exclude
                        23   coverage for claims arising from statutory violations.
                        24          22. Zurich American Policy Nos. CPO 5912284-00 and CPO 5912284-01
                        25   contain an endorsement entitled "Collection or Distribution of Material or
                        26   Information in Violation of Law Exclusion" on form U-GL-1517-A CW (01/12).
                        27   This endorsement states, in pertinent part:
                        28

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                                  A.    Exclusion q. Distribution Of Material In Violation Of Statutes
                         1              ofParagraph 2. Exclusions of Section I - Coverage A — Bodily
                                        Injury And Property Damage Liability is replaced by the
                        2               following:
                        3
                                              2.    Exclusions
                        4
                                                    This insurance does not apply to:
                        5
                                                    q.     Collection Or Distribution Of Material Or
                        6                                  Information In Violation OfLaw
                        7                           "Bodily injury" or "property damage" directly or
                                                    indirectly arising out of or based upon any action
                        8                           or omission that violates or is alleged to violate:
                        9
                        10                          (4)    Any federal, state or local statute, ordinance
                                                           or regulation, other than the TCPA,CAN-
                        11                                 SPAM Act of2003 or FCRA and their
                        12                                 amendments and additions, or any other
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                                                           legal liability, at common law or otherwise,
                        13                                 that addresses, prohibits, or limits the
                                                           printing, dissemination, disposal, collecting,
                        14                                 recording, use of, sending, transmitting,
                                                           communicating or distribution of material or
                        15                                 information.
                        16        B.    Exclusion p. Distribution Of Material In Violation Of Statutes
                                        ofParagraph 2. Exclusions of Section I - Coverage B - Personal
                        17              And Advertising Injury Liability is replaced by the following:
                        18                    2.    Exclusions
                        19                          This insurance does not apply to:
                        20                    p.    Collection Or Distribution Of Material Or
                        21                          Information In Violation OfLaw

                        22                          "Personal and advertising injury" directly or
                                                    indirectly arising out of or based upon any action
                        23                          or omission that violates or is alleged to violate:

                        24
                        25                          (4)    Any federal, state or local statute, ordinance
                                                           or regulation, other than the TCPA, CAN-
                        26                                 SPAM Act of2003 or FCRA and their
                                                           amendments and additions, or any other
                        27                                 legal liability, at common law or otherwise,
                                                           that addresses, prohibits, or limits the
                        28                                 printing, dissemination, disposal, collecting,
                                                           recording, use of, sending, transmitting,
                                                                    6
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                                                             communicating or distribution of material or
                          1                                  information.
                         2
                                     23. Zurich American Policy Nos. CPO 5912284-02 and CPO
                         3
                              5912284-03 contain an endorsement entitled "Recording And Distribution Of
                         4
                              Material Or Information In Violation of Law Exclusion" on form U-GL-1517-B
                         5
                              CW (04/13) states in part:
                         6
                         7          A.    Exclusion q. Recording And Distribution Of Material In
                                          Violation OfLaw ofParagraph 2. Exclusions of Section I -
                         8                Coverage A — Bodily Injury And Property Damage Liability is
                         9                replaced by the following:

                         10                      2.    Exclusions

                         11                            This insurance does not apply to:

                         12                            q.    Recording and Distribution Of Material Or
      ATTORNEYS AT LAW




c                                                            Information In Violation OfLaw
                         13
                                                       "Bodily injury" or "property damage" directly or
                         14                            indirectly arising out of or based upon any action
GA                                                     or omission that violates or is alleged to violate:
                         15
                         16
                                                       (4)   Any federal, state or local statute, ordinance
                         17                                  or regulation, other than the TCPA, CAN-
ci)                                                          SPAM Act of 2003 or FCRA and their
                         18
                                                             amendments and additions, or any other
                         19                                  legal liability, at common law or otherwise,
                                                             that addresses, prohibits, or limits the
                         20                                  printing, dissemination, disposal,
                                                             monitoring, collecting, recording, use of,
                         21                                  sending, transmitting, communicating or
                                                             distribution of material or information.
                         22
                                    B.    Exclusion p. Recording And Distribution Of Material In
                         23               Violation OfLaw ofParagraph 2. Exclusions of Section I -
                                          Coverage B - Personal And     Advertising Injury Liability is
                         24               replaced by the following:
                         25                      2.    Exclusions
                         26
                                                       This insurance does not apply to:
                         27
                                                       P.    Recording And Distribution Of Material Or
                         28                                  Information In Violation OfLaw


                                                                       7
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                                                     "Personal and advertising injury" directly or
                        1                            indirectly arising out of or based upon any action
                                                     or omission that violates or is alleged to violate:
                        2
                        3
                        4                            (4)   Any federal, state or local statute, ordinance
                                                           or regulation, other than the TCPA, CAN-
                        5                                  SPAM Act of 2003 or FCRA and their
                                                           amendments and additions, or any other
                        6                                  legal liability, at common law or otherwise,
                                                           that addresses, prohibits, or limits the
                        7                                  printing, dissemination, disposal,
                                                           monitoring, collecting, recording, use of,
                        8                                  sending, transmitting, communicating or
                                                           distribution of material or information.
                        9
                        10         24. Zurich American Policy No. CPO 5912284-03 contains an
                        11   endorsement entitled "Exclusion — Access or Disclosure of Confidential or
                        12   Personal Information and Data —Related Liability — with Limited Bodily Injury
     ATTORNEYS AT LAW




ct
                        13   Exception" on form CG 21 06 05 14 which states in part:
                        14
                        15               A.    Exclusion 2.p. of Section I — Coverage A —Bodily Injury
                                               And Property Damage Liability is replaced by the
                        16                     following:
                        17                                  Exclusions
                                                     2.
                        18
                                                            This insurance does not apply to:
                        19
                                                            P.    Access Or Disclosure Of Confidential
                        20                                        Or Personal Information And Data-
                        21                                        related Liability
                        22
                        23               B.    The following is added to Paragraph 2. Exclusions of
                        24                     Section I — Coverage B — Personal And Advertising
                                               Injury Liability:
                        25
                                                     2.     Exclusions
                        26
                                                            This insurance does not apply to:
                        27
                                                            Access Or Disclosure Of Confidential Or
                        28                                  Personal Information

                                                                     8
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                                                             "Personal and advertising injury" arising out
                                                             of any access to or disclosure of any
                                                             person's or organization's confidential or
                         2                                   personal information, including patents,
                         3                                   trade secrets, processing methods, customer
                                                             lists, financial information, credit card
                         4                                   information, health information or any other
                                                             type of nonpublic information.
                         5
                                                             This exclusion applies even if damages are
                         6                                   expenses, forensic expenses, public relations
                                                             expenses or any other loss, cost or expense
                         7                                   incurred by you or others arising out of any
                                                             access to or disclosure of any person's or
                         8                                   organization's confidential or personal
                                                             information.
                         9
                         10          25. Each ofthe American Guarantee excess policies also contain an
                         11   endorsement entitled "Personal and Advertising Injury Follow Form endorsement"
                         12   on form U-UMB-217-A CW (7/99) which states:
      ATTORNEYS AT LAW




                         13
(1)                      14                Under Coverage B only, this policy does not apply to any
                                           liability, damage, loss, cost or expense arising out of any
GA                                         personal and advertising injury offense.
                         15
                         16          26. "Personal and advertising injury" is defined in the American
                         17   Guarantee policies as:
                         18
                         19             12.     Personal and advertising injury means injury, including
                                                consequential bodily injury, arising out of one or more of
                         20                     the following offenses:
                         21                            a.    False arrest, detention or imprisonment;
                         22                            b.     Malicious prosecution;
                         23                            c.    The wrongful eviction from, wrongful entry
                                                             into, or invasion of the right of private
                         24                                  occupancy of a room, dwelling or premises
                                                             that a person occupies committed          by or
                         25                                  on behalf of its owner, landlord or lessor;
                         26                                   Oral or written publication, in any manner,
                                                       d.
                         27                                   of material that slanders or libels a person or
                                                              organization or disparages a person's or
                         28                                   organization's goods, products or services;


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                                                        e.    Oral or written publication, in any manner,
                         1                                    of material that violates a person's right of
                                                              privacy;
                        2
                                                        f.    The use of another's advertising idea in your
                        3                                     advertisement;
                        4
                                                        g.    Infringement upon another's copyright,
                        5                                     trade dress or slogan in your advertisement;
                                                              or
                        6
                                                        h.    Discrimination (unless insurance thereof is
                        7                                     prohibited by law), not arising out of or
                                                              related to employment practices.
                        8
                                                        Personal and advertising injury also means mental
                        9                               anguish, mental injury, humiliation, or shock, if
                                                        directly resulting from an      offense listed in
                        10                              Items 12.a. through 12.h. above.
                        11
                                    27. American Guarantee excess policy No. UMB 5912288-00 contains
                        12
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                             the following exclusion:
                        13
                        14              A.       Under Coverage A and Coverage B,this policy does not
                        15                       apply to any liability, damages, loss, cost or expense:

                        16                       VIOLATION OF STATUTES

                        17                       6.     Resulting from or arising directly or indirectly out
                                                        of any action or omission that violates or is alleged
                        18                              to violate:
                        19
                        20                              d.    Any federal, state or local statute, ordinance,
                                                              or regulation, other than the TCPA, CAN-
                        21                                    SPAM Act of 2003 or FCRA and their
                                                              amendments and additions, that addresses,
                        22                                    prohibits or limits the printing,
                                                              dissemination, disposal, collecting,
                        23                                    recording, sending, transmitting,
                        24                                    communicating or distribution of material or
                                                              information.
                        25
                        26          28. American Guarantee excess policy No. AUC 5912288-01 contains an

                        27   endorsement entitled "Exclusion - Collection or Distribution of Material or
                             Information in Violation of Law endorsement" on form             U-UMB-525-E CW
                        28
                             (01/12) which states, in pertinent part:
                                                                        10
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                         1
                                         Exclusion A. 6. VIOLATION OF STATUTES under
                        2                SECTION IV. EXCLUSIONS is deleted and replaced by the
                        3                following:

                        4                Under Coverage A and Coverage B,this policy does not apply
                                         to any liability, damage, loss, cost or expense:
                        5
                                         COLLECTION OR DISTRIBUTION OF MATERIAL OR
                        6                INFORMATION IN VIOLATION OF LAW
                        7                6.        Directly or indirectly arising out of or based upon any
                                                   action or omission that violates or is alleged to violate:
                        8
                        9
                                              d.         Any federal, state or local statute, ordinance, or
                        10                               regulation, other than the TCPA,CAN-SPAM Act
                                                         of 2003 or FCRA,and their amendments and
                        11                               additions, or any other legal liability, at common
                        12                               law or otherwise, that addresses, prohibits, or
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                                                         limits the printing, dissemination, disposal,
                        13                               collecting, recording, use of, sending, transmitting,
                                                         communicating or distribution of material or
                        14                               information.
                        15
                                    29. American Guarantee Policy Nos. AUC 5912288-02 and AUC
                        16
                             5912288-03 contain an endorsement entitled "Exclusion - Recording And
                        17
                             Distribution Of Material Or Infounation In Violation Of Law" on form U-UMB-
                        18
                             525-F CW (01/14) which states, in pertinent part:
                        19
                        20               Under Section IV. Exclusions, paragraph A. 6. Violation Of
                                         Statutes is replaced by the following:
                        21
                                         RECORDING AND DISTRIBUTION OF MATERIAL OR
                        22               INFORMATION IN VIOLATION OF LAW
                        23               6.        Directly or indirectly arising out of or based upon any
                                                   action or omission that violates or is alleged to violate:
                        24
                        25
                        26                         d.    Any federal, state or local statute, ordinance, or
                                                         regulation, other than the TCPA, CAN-SPAM
                        27                               Act of2003 or FCRA,and their             amendments
                                                         and additions, or any other legal liability, at
                        28                               common        law or otherwise, that addresses,
                                                         prohibits, or limits the printing, dissemination,
                                                                         11
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                                                            disposal, monitoring, collecting, recording, use of,
                             1                              sending, transmitting, communicating or
                                                            distribution of material or information.
                            2
                            3            30. Coverage for the Underling Action is excluded under the Zurich
                            4     American and American Guarantee policies pursuant to the terms and conditions
                            5     ofthe policies, including but not limited to the provision set forth above.
                            6                               FIRST CAUSE OF ACTION
                            7                          Declaratory Relief—(No Duty to Defend)
                            8                           (Zurich American Against Omnicell)
                            9            31. Plaintiffs reallege all previous paragraphs and incorporate each herein
                          10      as though fully stated.
 a-,
                          11             32. The Underlying Action arises from and seeks damages pursuant to
                          12      alleged violations of"The Illinois Biometric Information Privacy Act"(740 ILCS
       ATTORNEYS AT LAW




 czt
5                         13      14/1 et seq."BIPA.")
                          14             33. The Zurich American policies do not cover and/or exclude coverage
                          15      for claims and suits which are based on violations of statutes, such as violations of
                          16      the BIPA.
                          17             34. As there is no coverage under the Zurich American policies for the
                          18      Underlying Action, Zurich American owes no duty to defend Omnicell in the
                          19      Underlying Action.
                          ,1
                          L., V          35. Zurich American is informed and believes that defendants dispute
                          21      Zurich American's assertion that it owes no duty to defend Omnicell in the
                          22      Underlying Action.
                          23             36. An actual controversy exists between Zurich American and
                          24      defendants regarding the duties and obligations of the parties under the Zurich
                          25      American policies.
                          26             37. Accordingly, Zurich American requests a declaration from this court
                          27      that it owes no duty to defend Omnicell in the Underlying Action.
                          28      ///

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                         1                             SECOND CAUSE OF ACTION
                        2                      Declaratory Relief—(No Duty to Indemnify)
                        3                          (Zurich American Against Omnicell)
                        4           38. Plaintiffs reallege all previous paragraphs and incorporate each herein
                        5    as though fully stated.
                        6           39. The Underlying Action arises from and seeks damages pursuant to
                        7    alleged violations of"The Illinois Biometric Information Privacy Act"(740 ILCS
                        8    14/1 et seq."BIPA.")
                        9           40. The Zurich American policies do not cover and/or exclude coverage
                        10   for claims and suits which are based on violations of statutes, such as violations of
                        11   the BIPA.
                        12          41. As there is no coverage under the Zurich American policies for the
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                        13   Underlying Action, Zurich American owes no duty to indemnify Omnicell in the
                        14   Underlying Action.
                        15          42. Zurich American is informed and believes that defendants dispute
                        16   Zurich American's assertion it owes no duty to indemnify Omnicell in Underlying
                        17   Action.
                        18          43. An actual controversy exists between Zurich American and
                        19   defendants regarding the duties and obligations of the parties under the Zurich
                        20   American policies.
                        21          44. Accordingly, Zurich American requests a declaration from this court
                        22   that it owes no duty to indemnify Omnicell for the Underlying Action.
                        23                             THIRD CAUSE OF ACTION
                        24                        Declaratory Relief—(No Duty to Defend)
                        25                        (American Guarantee Against Omnicell)
                        26          45. Plaintiffs reallege all previous paragraphs and incorporate each herein
                        27   as though fully stated.
                        28          46. The Underlying Action arises from and seeks damages pursuant to

                                                                      13
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                         1   alleged violations of "The Illinois Biometric Information Privacy Act"(740 ILCS
                         2   14/1 et seq."BIPA.")
                         3          47. The American Guarantee policies do not cover and/or exclude
                        4    coverage for claims and suits which are based on violations of statutes such as
                         5   violations ofthe BIPA.
                        6           48. As there is no coverage under the American Guarantee policies for
                         7   the Underlying Action, American Guarantee owes no duty to defend Omnicell in
                         8   the Underlying Action.
                        9           49. American Guarantee is informed and believes that defendants dispute
                        10   American Guarantee's assertion that it owes no duty to defend Omnicell in the
                        11   Underlying Action.
                        12          50. An actual controversy exists between American Guarantee and
     ATTORNEYS AT LAW




                        13   defendants regarding the duties and obligations of the parties under the American
                        14   Guarantee policies.
                        15          51. Accordingly, American Guarantee requests a declaration from this
                        16   court that it owes no duty to defend Omnicell in the Underlying Action.
                        17                             FORTH CAUSE OF ACTION
                        18                     Declaratory Relief —(No Duty to Indemnify)
                        19                         (American Guarantee Against Omnicell)
                        20          52. Plaintiffs reallege all previous paragraphs and incorporate each herein
                        21   as though fully stated.
                        22          53. The Underlying Action arises from and seeks damages pursuant to
                        23   alleged violations of "The Illinois Biometric Information Privacy Act"(740 ILCS
                        24   14/1 et seq."BIPA.")
                        25          54. The American Guarantee policies do not cover and/or exclude
                        26   coverage for claims and suits which are based on violations of statutes such as
                        27   violations of the BIPA.
                        28          55. As there is no coverage under the American Guarantee policies for

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                         1   the Underlying Action, American Guarantee owes no duty to indemnify Omnicell
                        2    in the Underlying Action.
                        3           56. American Guarantee is informed and believes that defendants dispute
                        4    American Guarantee's assertion that it owes no duty to indemnify Omnicell in the
                        5    Underlying Action.
                        6           57. An actual controversy exists between American Guarantee and
                        7    defendants regarding the duties and obligations of the parties under the American
                        8    Guarantee policies.
                        9           58. Accordingly, American Guarantee requests a declaration from this
                        10   court that it owes no duty to indemnify Omnicell in the Underlying Action.
                        11                               FIFTH CAUSE OF ACTION
                        12                                     Reimbursement
     ATTORNEYS AT LAW




                        13                         (Zurich American Against Omnicell)
                        14          59. Plaintiffs reallege and incorporate by this reference all preceding
                        15   paragraphs above, in their entirety, as though fully set forth herein.
                        16          60. The Underlying Action consists of causes of action and damages that
                        17   were never potentially covered under the Zurich American policies.
                        18          61. Zurich American will incur attorney fees and other related costs for
                        19   the defense of the uncovered claims in the Underlying Action.
                                                                   1
                        20          62. Under governing law, and particularly the California Supreme Court's
                        21   decisions in Buss v. Superior Court(1997) 16 Cal. 4th 35 and Scottsdale Ins. Co. v.
                        22   MV Transportation,(2005) 36 Cal. 4th 643, Zurich American is entitled to recover
                        23   from Omnicell the amounts it expends in the defense of uncovered claims.
                        24          63. Zurich American seeks an award of defense fees and costs in an
                        25   amount to be proven at trial.
                        26   ///
                        27   ///
                        28   // /

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                         1                              SIXTH CAUSE OF ACTION
                        2                                    Unjust Enrichment
                         3                         (Zurich American Against Omnicell)
                        4           64. Plaintiffs reallege and incorporate by this reference all preceding
                         5   paragraphs above, in their entirety, as though fully set forth herein.
                        6           65. Zurich American has conferred a substantial benefit upon Omnicell
                        7    by paying to defend uncovered claims and damages in the Underlying Action.
                         8          66. Omnicell was unjustly enriched by Zurich American's payment of
                        9    defense fees and costs to defend uncovered claims and damages in the Underlying
                        10   Action.
                        11          67. It would be inequitable and unjust for Omnicell to continue to retain
                        12   the amounts paid by, and benefits received from, Zurich American.
     ATTORNEYS AT LAW




                        13          68. Accordingly, Zurich American seeks an award of all the benefits that
                        14   have been conferred upon Omnicell and by which Omnicell was unjustly enriched
                        15   in an amount to be proven at trial.
                        16                                PRAYER FOR RELIEF
                        17         WHEREFORE,PLAINTIFFS pray for relief as follows:
                        18         A.     As to the First Cause of Action, Zurich American requests a
                        19   declaration from the court that it owes no duty to defend Omnicell in the
                        20   Underlying Action.
                        21         B.     As to the Second Cause of Action, Zurich American requests a
                        22   declaration from the court that it owes no duty to indemnify Omnicell in the
                        23   Underlying Action.
                        24         C.     As to the Third Cause of Action, American Guarantee requests a
                        25   declaration from the court that it owes no duty to defend Omnicell in the
                        26   Underlying Action.
                        27         D.     As to the Fourth Cause of Action, American Guarantee requests a
                        28   declaration from the court that it owes no duty to indemnify Omnicell in the

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                         1   Underlying Action.
                        2          E.    As to the Fifth Cause of Action, Zurich American requests judgment
                        3    in the amount of defense fees and costs incurred to defend the Underlying Action.
                        4          F.    As to the Sixth Cause of Action, Zurich American requests a
                        5    judgment in the amount of defense fees and costs incurred to defend the
                        6    Underlying Action.
                        7          G.    Costs of suit.
                        8          H.    And for such other and further relief as this Court may deem just and
                        9    proper.
                        10
                        11   DATED: August 30, 2018                   SELMAN BREITMAN LLP
                        12
     ATTORNEYS AT LAW




                        13
                                                                      By: /s/ Eldon S. Edson
                        14                                                SHERYL LEICHENGER        --
                                                                          ELDON S. EDSON
                        15                                                LAURA R. RAMOS
                                                                      Attorneys for Plaintiffs, ZURICH
                        16                                            AMERICAN INSURANCE COMPANY
                        17                                            and AMERICAN GUARANTEE &
                                                                      LIABILITY COMPANY
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         MARSH RISK & INSURANCE SERVS
         1732 N 1ST ST STE 400
         SAN JOSE, CA 95112-4508




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Exclusion of Certified Acts of Terrorism

Insureds Name                                                              Policy Number                     E ffective       E ndorsement
                                                                                                             Date             Number




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies your insurance:
COMMERCIAL PROPERTY PORTFOLIO COVERAGE PART




                                                         SCHEDULE*

The exception relating to certain fire losses applies to property located in the following state(s), if covered by this
insurance:

                                                                   State(s)
 CALIFORNIA, GEORGIA, HAWAII, IOWA, ILLINOIS, MAINE, MASSACHUSETTS,
 MISSOURI, NEW JERSEY, NEW YORK, NORTH CAROLINA, OREGON, RHODE
 ISLAND, VIRGIN ISLANDS, WASHINGTON,
 WEST VIRGINIA AND WISCONSIN

*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.

A. Exclusion of Certified Acts of Terrorism
We will not pay for loss or damage caused directly or indirectly by a "certified act of terrorism", including action in
hindering or defending against an actual or expected "certified act of terrorism". Such loss or damage is excluded
regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
If the "certified act of terrorism" results in fire, we will pay for the direct physical loss or damage to Covered Property
caused by that fire. This exception does not apply to any other loss or damage including but not limited to business
income, extra expense, any additional coverage and any coverage extension.
C. Definition
"Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall
certify an act of terrorism:
    1.   to be an act of terrorism;
    2.   to be a violent act or an act that is dangerous to human life, property or infrastructure;
    3.   to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
         (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
         principally in the United States, on which United States income tax is paid and whose insurance coverage is
         subject to regulation in the United States), or the premises of a United States mission; and
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    4.   to have been committed by an individual or individuals as part of an effort to coerce the civilian population of
         the United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
not exceed $5,000,000.
D. Application of Other Exclusions
The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terrorism
exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or
restricted under this policy.
E. Cap on Losses From Certified Acts of Terrorism
If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in
such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures established by
the Secretary of Treasury.




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     CAP ON LOSSES FROM CERTIFIED ACTS OF
     TERRORISM
     Insureds Name                                                                 Policy Number                      E ffective       E ndorsement
                                                                                                                      Dat e            Number




                       THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


     This endorsement modifies your insurance:


     This endorsement applies to all Coverage Parts included in this policy.

A.       Cap on Losses From Certified Terrorism Losses
         "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
         Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
         Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
         shall certify an act of terrorism:
         1.          to be an act of terrorism;
         2.          to be a violent act or an act that is dangerous to human life, property or infrastructure;
         3.          to have resulted in damage within the United States, or outside of the United States in the case of an air
                     carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
                     vessel based principally in the United States, on which United States income tax is paid and whose
                     insurance coverage is subject to regulation in the United States), or the premises of a United States mission;
                     and
         4.          to have been committed by an individual or individuals as part of an effort to coerce the civilian population
                     of the United States or to influence the policy or affect the conduct of the United States Government by
                     coercion.
         No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
         Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
         subject to TRIA, do not exceed $5,000,000.
         If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
         Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
         Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
         in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
         established by the Secretary of Treasury.

B.       Application of Other Exclusions
         The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
         terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
         limited or restricted under this policy.




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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

              NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


           If you want to learn more about the compensation Zurich pays agents and brokers visit:

                             http: / / www.zurichnaproducercompensation.com

                            or call the following toll-free number: (866) 903-1192.



                 This Notice is provided on behalf of Zurich American Insurance Company

                                      and its underwriting subsidiaries.




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           THIS DISCLOSU RE IS ATTACHED TO AND MADE PART OF YOU R POLICY.

              DISCLOS URE OF IMPORTANT INFORMATION
            RELATING TO TERRORISM RISK INS URANCE ACT
                                                                 SCHED ULE*
Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
N/A - TRIA EXCLUDED


*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.

    A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you with
    a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under
    that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium
    shown in the Schedule above is subject to adjustment upon premium audit, if applicable.

    B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share
    equals 85% of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention
    equals 20% of the insurer’s prior calendar year direct earned premium associated with lines of insurance subject to
    TRIA. TRIA is scheduled to expire on December 31, 2014.

    C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
    Treasury.

    D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts of
    terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.

    E. D efinition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States:
      1. to be an act of terrorism;
      2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
      3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is subject to
      regulation in the United States), or the premises of a United States mission; and
      4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
    (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
    not exceed $5,000,000.


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                                                                                                 COMMON POLICY DECLARATIONS

Policy Number   CPO 5912284-00                                          Renewal of Number                  NEW
Named Insured and Mailing Address                                    Producer and Mailing Address
OMNICELL INC.                                                        MARSH RISK & INSURANCE SERVS
1201 CHARLESTON RD                                                   1732 N 1ST ST STE 400
MOUNTAIN VIEW CA 94043-1337                                          SAN JOSE CA 95112-4508

                                                          Producer Code    70074-000
Policy Period: Coverage begins           09-01-2012 at 12:01 A.M.; Coverage ends 09-01-2013 at 12:01 A.M.
The name insured is              Individual         Partnership       X Corporation
                                   Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
PROPERTY PORTFOLIO PROTECTION                                                                     PREMIUM            $      120,693.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
GENERAL LIABILITY COVERAGE                                                                        PREMIUM            $        68,641.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
BUSINESS AUTOMOBILE                                                                               PREMIUM            $        70,456.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
CA-AUTO SPECIAL PURPOSE SURCHARGE                                                                                    $                5.40
STATE FIRE MARSHALL REG ASSESS SURCHG                                                                                $               70.48
FL-DEPT OF REVENUE SURCHARGE                                                                                         $                4.00
FL-HURRICANE CAT FUND ASSESSMENT                                                                                     $              934.98
2005 FL CITIZENS EMERGENCY SURCHARGE                                                                                 $              704.82




THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                          TOTAL            $       259,790.00
This premium does not include Taxes and Surcharges.                                           SEE INSTALLMENT SCHEDULE
Taxes and Surcharges                                                           TOTAL            $         1,719.68
                                                                                              SEE INSTALLMENT SCHEDULE
Form(s) and Endorsement(s) made a part of this policy at time of issue are listed on the SCHEDULE of FORMS and
ENDORSEMENTS.
Countersigned this                    day of
                                                                                               Authorized Representative

  THIS DECLARATION TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


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Florida Hurricane Catastrophe Fund (FHCF)
Emergency Assessment - 2005 Hurricanes

The Florida legislature created the FHCF in order to provide capacity to the personal and commercial residential property
insurance market. In accordance with Florida law, deficits of the FHCF are funded through emergency assessments on
direct premiums for certain property and casualty lines of business in the state of Florida.
The current FHCF emergency assessment is for the purpose of financing the FHCF’s shortfall from the 2005 hurricane
season. In order to fund this deficit, policies effective on or after January 1, 2011 are subject to an emergency assessment
of 1.30% of premium for the following lines of business:
      Fire, Allied Lines, Multi-Peril Crop, Farmowners Multi-Peril, Homeowners Multi-Peril, Commercial Multi-Peril (liability
      and non-liability), Mortgage Guaranty, Ocean Marine, Inland Marine, Financial Guaranty, Earthquake, Other Liability,
      Products Liability, Private Passenger Auto No-Fault, Other Private Passenger Auto Liability, Commercial Auto No-
      Fault, Other Commercial Auto Liability, Private Passenger Auto Physical Damage, Commercial Auto Physical
      Damage, Aircraft, Fidelity, Surety, Burglary and Theft, Boiler and Machinery, Credit, Warranty, and Aggregate Write
      Ins for Other Lines of Insurance.
The FHCF emergency assessment applicable to this policy is not subject to premium taxes, fees, or commissions.




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                                                            Policy Number
                                                            CPO 5912284-00
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC.                                            Effective Date: 09-01-12
                                                                           12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVS                             Agent No.   70074-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-681-B                  01-08      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
U-GU-767-A CW               01-08      CAP ON LOSSES FROM CERTIFIED ACTS OF TER
U-GU-630-C                  12-07      DISCLOSURE OF IMPORTANT INFO REL TO TRIA
U-GU-D-365-A                03-94      POLICY COMMON DECLARATIONS
U-GU-619-A CW               10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-319-F                  01-09      IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-406-A                  07-94      INSTALLMENT PREMIUM SCHEDULE
U-GU-618-A CW               10-02      SCHEDULE OF LOCATIONS
IL 00 17                    11-98      COMMON POLICY CONDITIONS
IL 00 21                    09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 70                    08-11      CA CHANGES - CANCELLATION & NONRENEWAL
IL 02 77                    03-12      LOUISIANA CHANGES-CANC & NONRENL
IL 00 03                    09-08      CALCULATION OF PREMIUM
IL 01 12                    06-10      FL CHGS-MEDIATION/APPRL (CMML RES PROP)
PROPERTY PORTFOLIO PROTECTION FORMS AND ENDORSEMENTS
PPP-0001                    06-06      COMMERCIAL PROP CVG PART DECLARATIONS
PPP-0101                    03-11      COMMERCIAL PROP CVG PART GEN PROVISIONS
PPP-0102                    03-11      COMMERCIAL PROPERTY CONDITIONS
PPP-0103                    03-11      COMMERCIAL PROPERTY DEFINITIONS
PPP-0110                    03-11      REAL AND PERSONAL PROPERTY COVERAGE FORM
PPP-0111                    04-09      ADDITIONAL COVERAGES FORM
PPP-0112                    03-11      ACCOUNTS RECEIVABLE CVG (REVENUE LOSS)
PPP-0114                    03-11      FINE ARTS COVERAGE FORM
PPP-0115                    06-06      INSTALLATION & SERVICE PROPERTY CVG FORM
PPP-0116                    03-11      ORIGINAL INFORMATION PROPERTY CVG FORM
PPP-0117                    03-11      TRANSIT COVERAGE FORM
PPP-0130                    03-11      BUS INC CVG FORM (EXCL EXTRA EXPENSE)
PPP-0219                    03-11      NAMED STORM OCCURRENCE -- DD & TE DED
PPP-0301                    04-09      DEP PREM BI CVG -- SCHED LIMITS & LOCS
PPP-0302                    06-06      DEP PREM BI CVG -- UNSCHEDULED LOCS
PPP-0308                    06-06      ENABLING ENDORSEMENT
PPP-0310                    06-06      FLOOD COVERAGE
PPP-0321                    04-09      OFF-PREM SERVICE INTERRUPTION--TE
PPP-0132                    04-09      EXTRA EXPENSE COVERAGE FORM
PPP-1041                    03-11      CALIFORNIA CHANGES
PPP-1091                    09-08      FLORIDA CHANGES
CP 02 99                    11-85      CANCELLATION CHANGES
GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GL-1369-A                 09-08      GL SUPPLEMENTAL COVERAGE ENDT TECHNOLOGY
U-GL-1370-A                 09-08      GL SUPPLEMENTAL COV ENDT TECH QUICK REF
U-GL-1517-A CW              01-12      COLLCTN OR DISTRB OF MATRL OR INFO EXCL
U-GL-849-B CW               08-04      EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
U-GL-D-1115-B CW            09-04      COMMERCIAL GL COVERAGE PART DECLARATIONS
U-GL-1113-A CW              10-02      COMM GENERAL LIABILITY COVERAGE SCHEDULE
U-GL-D-849-B CW             09-04      EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
CG 00 01                    12-07      COMMERCIAL GENERAL LIABILITY COV FORM
UGL1171ACW                  07-03      FUNGI OR BACTERIA EXCLUSION
U-GL-1178ACW                07-03      ASBESTOS EXCLUSION ENDORSEMENT
U-GL-872-B CW               04-09      PREMIUM & REPORTS AGREEMENT-COMP RATED
   U-GU-619-A CW (10/ 02)

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                                                            Policy Number
                                                            CPO 5912284-00
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC.                                            Effective Date: 09-01-12
                                                                           12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVS                      Agent No. 70074-000
CG 32 34                   01-05    CALIFORNIA CHANGES
UGL850ACW                  07-96    DEDUCTIBLE ENDORSEMENT CLAIMS-MADE
CG 21 47                   12-07    EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 73                   01-08    EXCLUSION OF CERTIFIED ACTS OF TERRORISM
AUTOMOBILE FORMS AND ENDORSEMENTS
U-CA-531-B                  02-08      NOTICE REGARDING TERRORISM PREMIUM
U-CA-D-600B                 06-10      BUSINESS AUTO DECLARATIONS
CA 00 01                    03-10      BUSINESS AUTO COVERAGE FORM
CA 01 22                    05-06      KANSAS CHANGES
CA 01 43                    05-07      CALIFORNIA CHANGES
CA 21 30                    11-08      IL UNINSURED MOTORISTS COVERAGE
CA 21 37                    01-05      KS UNINSURED MOTORISTS COVERAGE
CA 21 38                    11-08      IL UNDERINSURED MOTORISTS COV
CA 21 48                    11-08      LA UM COVERAGE - BODILY INJURY
CA 21 53                    03-06      IL UM COVERAGE PROPERTY DAMAGE
CA 21 54                    09-09      CA UM COVERAGE - BODILY INJURY
CA 21 59                    03-06      ALABAMA UM INSURANCE
CA 04 24                    04-06      CA - AUTO MEDICAL PAYMENTS COVERAGE
CA 04 48                    12-10      KANSAS COMMERCIAL AUTO COVERAGE CHANGES
U-CA-424-E CW               04-11      COVERAGE EXTENSION ENDORSEMSNT
U-CA-825A                   03-11      WHO IS AN INSURED AMENDMENT - BROAD FORM
CA 99 03                    03-06      AUTO MEDICAL PAYMENTS COVERAGE




   U-GU-619-A CW (10/ 02)

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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




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                                                                                   INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amount shown below.
NAMED INSURED                                                                   POLICY NUMBER
OMNICELL INC.                                                                     CPO 5912284-00

PAYMENT           STANDARD                TAXES                         TOTAL
DUE               PREMIUM                 PREPAID                       PREMIUM
-------           --------                -------                       -------


09/01/12      $    103,925.00        $       1,719.68               $    105,644.68
12/01/12      $     51,955.00                                       $     51,955.00
03/01/13      $     51,955.00                                       $     51,955.00
06/01/13      $     51,955.00                                       $     51,955.00
TOTAL         $    259,790.00        $       1,719.68               $    261,509.68




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.
                                                                                                    U-GU-406-A (07/ 94)
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                                                                Policy Number
                                                                CPO 5912284-00
                                      SCHEDULE OF LOCATIONS

                         Zurich American Insurance Company

 Named Insured    OMNICELL INC.                                 Effective Date: 09-01-12
                                                                          12:01 A.M., Standard Time
 Agent Name      MARSH RISK & INSURANCE SERVS                   Agent No.     70074-000
Loc. Bldg.                     Designated Locations                            Occupancy
No.    No.                 (Address, City, State, Zip Code)
001 001 1201 CHARLESTON RD
        MOUNTAIN VIEW, CA 94043

003 001 3661 BURWOOD DR
        WAUKEGAN, IL 60085

004 001 443 DONELSON PIKE
        STE 200
        NASHVILLE, TN 37214

005 001 1710 LITTLE ORCHARD PKWY
        SAN JOSE, CA 95125

006 001 2003 GANDY BLVD
        SAINT PETERSBURG, FL 33702

007 001 21540 DRAKE RD
        STRONGSVILLE, OH 44149

008 001 5501-A AIRPORT BLVD
        TAMPA, FL 33634




U-GU-618-A CW (10/ 02)

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                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                     b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                      and
      tions may cancel this policy by mailing or de-                                c. Recommend changes.
      livering to us advance written notice of cancel-                         2.   We are not obligated to make any inspections,
      lation.                                                                       surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                               surability and the premiums to be charged. We
      of cancellation at least:                                                     do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                               dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                               organization to provide for the health or safety
           mium; or                                                                 of workers or the public. And we do not war-
                                                                                    rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                                a. Are safe or healthful; or
    3.We will mail or deliver our notice to the first                               b. Comply with laws, regulations, codes or
      Named Insured’s last mailing address known to                                     standards.
      us.                                                                      3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                             only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                           service or similar organization which makes in-
      on that date.                                                              surance inspections, surveys, reports or recom-
                                                                                  mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                             4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                           any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                               dations we may make relative to certification,
      than pro rata. The cancellation will be effective                           under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                               regulations, of boilers, pressure vessels or ele-
                                                                                 vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                             E. Premiums
B. Changes                                                                    The first Named Insured shown in the Declarations:
   This policy contains all the agreements between                            1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded. The                              and
   first Named Insured shown in the Declarations is                            2.  Will be the payee for any return premiums we
   authorized to make changes in the terms of this                                 pay.
   policy with our consent. This policy’s terms can be                     F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                            Policy
   us and made a part of this policy.
                                                                              Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                      transferred without our written consent except in
   We may examine and audit your books and records                            the case of death of an individual named insured.
   as they relate to this policy at any time during the                       If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                             to your legal representative but only while acting
D. Inspections And Surveys                                                    within the scope of duties as your legal representa-
   1. We have the right to:                                                   tive. Until your legal representative is appointed,
                                                                              anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                          property will have your rights and duties but only
                                                                              with respect to that property.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                      C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"                   or "property damage" resulting from "hazardous
      or "property damage":                                              properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                       (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                         facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                       half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                     charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                     (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                        fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                       dled, used, processed, stored, transported
          an insured under any such policy but for its                      or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-                   sured"; or
          ability; or                                                   (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                          arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                         of services, materials, parts or equipment in
          which (a) any person or organization is re-                       connection with the planning, construction,
          quired to maintain financial protection pur-                      maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                        clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                       within the United States of America, its terri-
          sured" is, or had this policy not been issued                     tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                          clusion (3) applies only to "property dam-
          United States of America, or any agency                           age" to such "nuclear facility" and any
          thereof, under any agreement entered into                         property thereat.
          by the United States of America, or any
                                                                 2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                                   "Hazardous properties" includes radioactive, toxic
                                                                    or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-                 "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"               nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and                  (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                           essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                         nuclear material" if at any time the total
   law amendatory thereof.                                                 amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                        the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                         equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                            or contains more than 25 grams of pluto-
                                                                           nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                         thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                        235;
   wastes produced by the extraction or concentra-
                                                                       (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                           or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                       disposal of "waste";
   ganization of any "nuclear facility" included under              and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-               ing is located, all operations conducted on such
   clear facility".                                                 site and all premises used for such operations.
   "Nuclear facility" means:                                        "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                                    or used to sustain nuclear fission in a self-
                                                                    supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used                  mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing                "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or             contamination of property.
           packaging "waste";




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2., 3. and 5. of the Cancellation                     3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the
                                                                       a. If this policy has been in effect for more
   following:
                                                                           than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                           issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                     the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                       the policy, of one or more of the following:
      previously issued, we may cancel this policy by                     (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                        payment due on a prior policy we issued
      at the mailing address shown in the policy, and                          and due during the current policy term
      to the producer of record, advance written                               covering the same risks.
      notice of cancellation, stating the reason for                      (2) Discovery      of   fraud    or material
      cancellation, at least:                                                  misrepresentation by:
       a. 10 days before the effective date of                                (a) Any insured or his or her
           cancellation if we cancel for:                                         representative in obtaining this
          (1) Nonpayment of premium; or                                           insurance; or
          (2) Discovery of fraud by:                                          (b) You or your representative in
            (a) Any insured or his or her                                         pursuing a claim under this policy.
                representative in obtaining this                         (3) A judgment by a court or an
                insurance; or                                                administrative tribunal that you have
            (b) You or your representative in                                violated a California or Federal law,
                pursuing a claim under this policy.                          having as one of its necessary elements
                                                                             an act which materially increases any of
      b. 30 days before the effective date of                                the risks insured against.
         cancellation if we cancel for any other
         reason.




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         (4) Discovery of willful or grossly negligent          B. The following provision is added to the
             acts or omissions, or of any violations of            Cancellation Common Policy Condition:
             state laws or regulations establishing                7. Residential Property
             safety standards, by you or your
             representative, which materially increase                This provision applies to coverage on real
             any of the risks insured against.                        property which is used predominantly for
                                                                      residential purposes and consisting of not
         (5) Failure by you or your representative to                 more than four dwelling units, and to coverage
             implement reasonable loss control                        on tenants’ household personal property in a
             requirements, agreed to by you as a                      residential unit, if such coverage is written
             condition of policy issuance, or which                   under one of the following:
             were conditions precedent to our use of
             a particular rate or rating plan, if that                Commercial Property Coverage Part
             failure materially increases any of the                  Farm Coverage Part ---- Farm Property ---- Farm
             risks insured against.                                   Dwellings,     Appurtenant    Structures    And
         (6) A determination by the Commissioner of                   Household Personal Property Coverage Form
              Insurance that the:                                     a. If such coverage has been in effect for 60
             (a) Loss of, or changes in, our                              days or less, and is not a renewal of
                 reinsurance covering all or part of                      coverage we previously issued, we may
                 the risk would threaten our financial                    cancel this coverage for any reason, except
                 integrity or solvency; or                               as provided in b. and c. below.

             (b) Continuation of the policy coverage                  b. We may not cancel this policy solely
                  would:                                                  because the first Named Insured has:
                  (i) Place us in violation of California                (1) Accepted an offer of earthquake
                      law or the laws of the state where                      coverage; or
                      we are domiciled; or                               (2) Cancelled or did not renew a policy
                 (ii) Threaten our solvency.                                  issued by the California Earthquake
                                                                              Authority (CEA) that included an
          (7) A change by you or your representative                          earthquake policy premium surcharge.
              in the activities or property of the
              commercial or industrial enterprise,                        However, we shall cancel this policy if the
              which results in a materially added,                        first Named Insured has accepted a new or
              increased or changed risk, unless the                       renewal policy issued by the CEA that
              added, increased or changed risk is                         includes an earthquake policy premium
              included in the policy.                                     surcharge but fails to pay the earthquake
                                                                          policy premium surcharge authorized by the
      b. We will mail or deliver advance written                          CEA.
           notice of cancellation, stating the reason for
                                                                      c. We may not cancel such coverage solely
           cancellation, to the first Named Insured, at
           the mailing address shown in the policy,                       because corrosive soil conditions exist on
           and to the producer of record, at least:                       the premises. This restriction (c.) applies
                                                                          only if coverage is subject to one of the
          (1) 10 days before the effective date of                        following, which exclude loss or damage
              cancellation if we cancel for nonpayment                    caused by or resulting from corrosive soil
              of premium or discovery of fraud; or                        conditions:
          (2) 30 days before the effective date of                       (1) Commercial Property Coverage Part ----
              cancellation if we cancel for any other                         Causes Of Loss -- Special Form; or
              reason listed in Paragraph 3.a.
                                                                         (2) Farm Coverage Part ---- Causes Of Loss
   5. If this policy is cancelled, we will send the first                     Form ---- Farm Property, Paragraph D.
      Named Insured any premium refund due. The                               Covered Causes Of Loss ---- Special.
      refund, if any, will be computed on a pro rata
      basis. However, the refund may be less than
      pro rata if we made a loan to you for the
      purpose of payment of premiums for this
      policy.
      The cancellation will be effective even if we
      have not made or offered a refund.




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C. The following is added and supersedes any                               (2) The Commissioner of Insurance finds
   provisions to the contrary:                                                  that the exposure to potential losses will
   Nonrenewal                                                                   threaten our solvency or place us in a
                                                                                hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                              condition includes, but is not limited to,
      and C.3. below, if we elect not to renew this                             a condition in which we make claims
      policy, we will mail or deliver written notice,                           payments for losses resulting from an
      stating the reason for nonrenewal, to the first                           earthquake that occurred within the
      Named Insured shown in the Declarations, and                              preceding two years and that required a
      to the producer of record, at least 60 days, but                          reduction in policyholder surplus of at
      not more than 120 days, before the expiration                             least 25% for payment of those claims;
      or anniversary date.                                                      or
      We will mail or deliver our notice to the first                      (3) We have:
      Named Insured, and to the producer of record,
      at the mailing address shown in the policy.                              (a) Lost or experienced a substantial
                                                                                    reduction in the availability or scope
   2. Residential Property                                                          of reinsurance coverage; or
      This provision applies to coverage on real                              (b) Experienced a substantial increase in
      property used predominantly for residential                                   the premium charged for reinsurance
      purposes and consisting of not more than four                                 coverage of our residential property
      dwelling units, and to coverage on tenants’                                   insurance policies; and
      household property contained in a residential
      unit, if such coverage is written under one of                           the Commissioner has approved a plan
      the following:                                                           for the nonrenewals that is fair and
                                                                               equitable, and that is responsive to the
      Commercial Property Coverage Part
                                                                               changes in our reinsurance position.
      Farm Coverage Part ---- Farm Property ---- Farm
      Dwellings,     Appurtenant      Structures    And                 c. We will not refuse to renew such coverage
      Household Personal Property Coverage Form                            solely because the first Named Insured has
                                                                           cancelled or did not renew a policy, issued
      a. We may elect not to renew such coverage                           by the California Earthquake Authority, that
          for any reason, except as provided in b., c.                     included an earthquake policy premium
          and d. below.                                                    surcharge.
      b. We will not refuse to renew such coverage                      d. We will not refuse to renew such coverage
          solely because the first Named Insured has                       solely because corrosive soil conditions
          accepted an offer of earthquake coverage.                        exist on the premises. This restriction (d.)
          However, the following applies only to                           applies only if coverage is subject to one of
          insurers who are associate participating                         the following, which exclude loss or
          insurers as established by Cal. Ins. Code                        damage caused by or resulting from
          Section 10089.16. We may elect not to                            corrosive soil conditions:
          renew such coverage after the first Named                        (1) Commercial Property Coverage Part ----
          Insured has accepted an offer of                                      Causes Of Loss -- Special Form; or
          earthquake coverage, if one or more of the
          following reasons applies:                                       (2) Farm Coverage Part ---- Causes Of Loss
                                                                                Form ---- Farm Property, Paragraph D.
         (1) The nonrenewal is based on sound                                   Covered Causes Of Loss ---- Special.
              underwriting principles that relate to the
              coverages provided by this policy and                  3. We are not required to send notice of
              that are consistent with the approved                     nonrenewal in the following situations:
              rating plan and related documents filed                   a. If the transfer or renewal of a policy, without
              with the Department of Insurance as                           any changes in terms, conditions or rates,
              required by existing law;                                     is between us and a member of our
                                                                            insurance group.




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      b. If the policy has been extended for 90 days               e. If the first Named Insured requests a
         or less, provided that notice has been given                 change in the terms or conditions or risks
         in accordance with Paragraph C.1.                            covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                   end of the policy period.
         or if the first Named Insured has agreed, in              f. If we have made a written offer to the first
         writing, within 60 days of the termination of                Named Insured, in accordance with the
         the policy, to obtain that coverage.                         timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than                renew the policy under changed terms or
         60 days and you are notified at the time of                  conditions or at an increased premium rate,
         issuance that it will not be renewed.                        when the increase exceeds 25%.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LOUISIANA CHANGES --- CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. Paragraph 2. of the Cancellation Common Policy                    b. Cancellation Of Renewal Policies And New
   Condition is replaced by the following, which                         Policies In Effect For 60 Days Or More
   applies unless Paragraph B. of this endorsement                       If this policy has been in effect for 60 days
   applies:                                                              or more, or is a renewal of a policy we
   2. Notice Of Cancellation                                             issued, we may cancel only for one or more
      a. Cancellation Of Policies In Effect For Fewer                    of the following reasons:
          Than 60 Days Which Are Not Renewals                           (1) Nonpayment of premium;
          If this policy has been in effect for fewer                   (2) Fraud or material misrepresentation
          than 60 days and is not a renewal of a                             made by you or with your knowledge
          policy we issued, we may cancel this policy                        with the intent to deceive in obtaining
          for any reason, subject to the following:                          the policy, continuing the policy, or in
         (1) Cancellation     for    nonpayment       of                     presenting a claim under the policy;
              premium:                                                  (3) Activities or omissions by you which
              We may cancel this policy by mailing or                        change or increase any hazard insured
              delivering to the first Named Insured                          against;
              written notice of cancellation at least 10                (4) Change in the risk which increases the
              days before the effective date of                              risk of loss after we issued or renewed
              cancellation.                                                  this policy, including an increase in
         (2) Cancellation for any other reason:                              exposure due to regulation, legislation,
                                                                             or court decision;
              We may cancel this policy by mailing or
              delivering to the first Named Insured                     (5) Determination by the Commissioner of
              written notice of cancellation at least 60                     Insurance that the continuation of this
              days before the effective date of                              policy would jeopardize our solvency or
              cancellation.                                                  would place us in violation of the
                                                                             insurance laws of this or any other state;




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         (6) The insured s violation or breach of any                  b. If the first Named Insured cancels, the
              policy terms or conditions; or                              refund will not be less than 90% of the pro
         (7) Any other reasons that are approved by                       rata unearned premium, rounded to the
              the Commissioner of Insurance.                              next higher whole dollar. The refund will be
                                                                          returned within 30 days after the effective
              We will mail or deliver written notice of                   date of cancellation.
              cancellation under Paragraph A.2.b. to
              the first Named Insured at least:                        c. We will send the refund to the first Named
                                                                          Insured unless Paragraph C.5.d. or C.5.e.
             (a) 10 days before the effective date of                     applies.
                  cancellation if we cancel for
                  nonpayment of premium; or                            d. If we cancel based on Paragraph B.2. of
                                                                           this endorsement, we will return the
             (b) 30 days before the effective date of                      premium due, if any, within 10 days after the
                  cancellation if we cancel for a reason                   expiration of the 10-day period referred to in
                  described in Paragraphs A.2.b.(2)                        B.2.c. If the policy was financed by a
                  through (7) above.                                       premium finance company, or if payment
B. Paragraph 2. of the Cancellation Common Policy                          was advanced by the insurance agent, we
   Condition is replaced by the following, which                           will send the return premium directly to
   applies with respect to premium payments due on                         such payor.
   new and renewal policies, including installment                     e. With respect to any cancellation of the
   payments:                                                               Commercial Auto Coverage Part, we will
   2. Notice Of Cancellation                                               send the return premium, if any, to the
      a. If your premium payment check or other                            premium finance company if the premium
          negotiable instrument is returned to us or                       was financed by such company.
          our agent or a premium finance company                        f. When return premium payment is sent to
          because it is uncollectible for any reason,                      the premium finance company or the agent
          we may cancel the policy subject to                              of the insured, we will provide notice to
          Paragraphs B.2.b. and B.2.c.                                     you, at the time of cancellation, that a return
      b. We may cancel the policy effective from the                       of unearned premium may be generated by
          date the premium payment was due, by                             the cancellation.
          sending you written notice by certified mail,         D. With respect to the Equipment Breakdown
          or by delivering such notice to you within               Coverage Part, Paragraph 5. of the Cancellation
          10 days of the date that we receive notice of            Common Policy Condition is replaced by the
          the     returned    check     or    negotiable           following:
          instrument.                                              5. Premium Refund
       c. The cancellation notice will also advise you                 If this policy is cancelled, we will return any
           that the policy will be reinstated effective                premium refund due, subject to Paragraphs
           from the date the premium payment was                       D.5.a., D.5.b., D.5.c., D.5.d. and D.5.e. The
           due, if you present to us a cashier s check                 cancellation will be effective even if we have not
           or money order for the full amount of the                   made or offered a refund.
           returned check or other negotiable
           instrument within 10 days of the date that                   a. If we cancel, the refund will be pro rata.
           the cancellation notice was mailed.                         b. If the first Named Insured cancels, the
C. With respect to the Coverage Parts and Policies to                      refund will not be less than 75% of the pro
   which this endorsement applies, except the                              rata unearned premium, rounded to the
   Equipment Breakdown Coverage Part, Paragraph                            next higher whole dollar. The refund will be
   5. of the Cancellation Common Policy Condition is                       returned within 30 days after the effective
   replaced by the following:                                              date of cancellation.
   5. Premium Refund                                                    c. We will send the refund to the first Named
                                                                           Insured unless Paragraph D.5.d. applies.
       If this policy is cancelled, we will return any
       premium refund due, subject to Paragraphs
       C.5.a., C.5.b., C.5.c., C.5.d., C.5.e. and C.5.f.
       The cancellation will be effective even if we
       have not made or offered a refund.
       a. If we cancel, the refund will be pro rata.



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       d. If we cancel based on Paragraph B.2. of                          If we cancel a policy that has been in effect
          this endorsement, we will return the                             for 60 days or more, or is a renewal of a
          premium due, if any, within 10 days after the                    policy we issued, we will give written notice
          expiration of the 10-day period referred to in                   to the mortgageholder, pledgee or other
          B.2.c. If the policy was financed by a                           known person shown in the policy to have
          premium finance company, or if payment                           an insurable interest in any loss, at least:
          was advanced by the insurance agent, we                         (1) 10 days before the effective date of
          will send the return premium directly to                             cancellation,     if  we     cancel      for
          such payor.                                                          nonpayment of premium; or
       e. When return premium payment is sent to                          (2) 30 days before the effective date of
          the premium finance company or the agent                             cancellation, if we cancel for any other
          of the insured, we will provide notice to                            reason.
          you, at the time of cancellation, that a return
          of unearned premium may be generated by               G. The following is added and supersedes any other
          the cancellation.                                        provision to the contrary:
E. The Premiums Common Policy Condition                is          Nonrenewal
   replaced by the following:                                      1. If we decide not to renew this policy, we will
   Premiums                                                           mail or deliver written notice of nonrenewal to
                                                                      the first Named Insured, mortgageholder,
   1. The first Named Insured shown in the                            pledgee or other known person shown in the
      Declarations is responsible for the payment of                  policy to have an insurable interest in any loss,
      all premiums.                                                   at least 60 days before its expiration date, or its
   2. We will pay return premiums, if any, to the first               anniversary date if it is a policy written for a
      Named Insured, unless another person or                         term of more than one year or with no fixed
      entity is entitled to be the payee in accordance                expiration date.
      with Paragraph C. or D. of this endorsement.                 2. We need not mail or deliver this notice if:
F. Paragraph f. of the Mortgageholders Condition in                   a. We or another company within our
   the Commercial Property Coverage Part, Standard                         insurance group have offered to issue a
   Property Policy and the Capital Assets Program                          renewal policy; or
   (Output Policy) Coverage Part, and Paragraph 4.f.
   of the Mortgageholders Condition in the Farm                       b. You have obtained replacement coverage or
   Coverage Part are replaced by the following:                            have agreed         in writing to obtain
                                                                           replacement coverage.
           If we cancel a policy that has been in effect
           for fewer than 60 days and is not a renewal             3. Any notice of nonrenewal will be mailed or
           of a policy we issued, we will give written                delivered to the first Named Insured,
           notice to the mortgageholder, pledgee or                   mortgageholder, pledgee or other known
           other known person shown in the policy to                  person shown in the policy to have an
           have an insurable interest in any loss, at                 insurable interest in any loss, at the last mailing
           least:                                                     address known to us. If notice is mailed, proof
                                                                      of mailing will be sufficient proof of notice.
          (1) 10 days before the effective date of
               cancellation,    if   we    cancel    for           4. Such notice to the insured shall include the
               nonpayment of premium; or                              insured s loss run information for the period
                                                                      the policy has been in force within, but not to
          (2) 60 days before the effective date of                    exceed, the last three years of coverage.
               cancellation, if we cancel for any other
               reason.




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                                                                             IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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                                                                                                           IL 01 12 06 10

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       FLORIDA CHANGES --- MEDIATION OR APPRAISAL
          (COMMERCIAL RESIDENTIAL PROPERTY)
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY


With respect to a loss to commercial residential                  2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                        without good cause, we will pay your actual
Condition:                                                            cash expenses you incur in attending the
Mediation Or Appraisal                                                mediation conference and also pay the total
                                                                      cost of the rescheduled mediation conference.
If we and you:
                                                               B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either             amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance              the loss, in writing. In this event, each party will
   with the rules established by the Florida                      select a competent and impartial appraiser. The
   Department of Financial Services. The loss amount              two appraisers will select an umpire. If they cannot
   must be $500 or more, prior to application of the              agree, either may request that selection be made
   deductible; or there must be a difference of $500              by a judge of a court having jurisdiction. The
   or more between the loss settlement amount we                  appraisers will state separately the value of the
   offer and the loss settlement amount that you                  property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation             they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on          decision agreed to by any two will be binding.
   a settlement, and you have not rescinded the                   Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                   1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                     2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                      umpire equally.
   We will pay the cost of conducting the mediation               If there is an appraisal, we will still retain our right
   conference. However, if:                                       to deny the claim.
   1. You fail to appear at the mediation conference              However, you are not required to submit to, or
       and you wish to schedule a new conference                  participate in, any appraisal of the loss as a
       after failing to appear, then the new conference           precondition to action against us for failure to pay
       will be scheduled only upon your payment of a              the loss, if we:
       sum equal to the fees we paid for the mediation            1. Requested mediation and either party rejected
       conference at which you failed to appear. This                 the mediation result; or
       sum will then be applied to the cost of the
       rescheduled mediation conference, and we will              2. Failed to notify you of your right to participate
       pay the balance, if any, of the cost of                        in the mediation program.
       conducting       the    rescheduled    mediation
       conference; or




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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         1                     PREMISES ADDRESS
                                         1201 CHARLESTON RD
                                         MOUNTAIN VIEW, CA 94043


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




PPP-0001 (06 06)                                                                            1

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         3                     PREMISES ADDRESS
                                         3661 BURWOOD DR
                                         WAUKEGAN, IL 60085


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         4                     PREMISES ADDRESS
                                         443 DONELSON PIKE
                                         STE 200
                                         NASHVILLE, TN 37214


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         5                     PREMISES ADDRESS
                                         1710 LITTLE ORCHARD PKWY
                                         SAN JOSE, CA 95125


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         6                     PREMISES ADDRESS
                                         2003 GANDY BLVD
                                         SAINT PETERSBURG, FL 33702


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE


DEDUCTIBLE                               AMOUNT

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           950,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         7                     PREMISES ADDRESS
                                         21540 DRAKE RD
                                         STRONGSVILLE, OH 44149


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         8                     PREMISES ADDRESS
                                         5501-A AIRPORT BLVD
                                         TAMPA, FL 33634


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC.                                            From:    9/1/2012    To:  9/1/2013
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:                CPO 5912284-00

BLANKET LIMITS OF INSURANCE



PERSONAL PROPERTY BLANKET LIMIT OF INSURANCE                                                $   33,200,000

The above Limit of Insurance is the most we will pay for direct physical loss or damage in
any one occurrence for all "personal property" at "premises" for which the Limit of
Insurance is shown as Included in Blanket Limit of Insurance. If "personal property"
coverage does not apply at any specific "premises", the Limit of Insurance will show as
Not Covered for those "premises". If a more specific Limit of Insurance is shown for
"personal property" at a "premises", that Limit of Insurance replaces, and is not in addition
to, the Blanket Limit of Insurance.

BUSINESS INCOME AND EXTRA EXPENSE BLANKET LIMIT OF INSURANCE                                $   26,500,000

The above Limit of Insurance is the most we will pay for in any one occurrence for all loss
of "business income" and "extra expense" at "premises" for which the Limit of Insurance
is shown as Included in Blanket Limit of Insurance. If "business income" or "extra
expense" coverage does not apply at any specific "premises", the Limit of Insurance will
show as Not Covered for those "premises". If a more specific Limit of Insurance is shown
for "business income" or "extra expense" at a "premises", that Limit of Insurance
replaces, and is not in addition to, the Blanket Limit of Insurance.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

CIVIL AUTHORITY
 BUSINESS INCOME                                                     30 DAYS
 EXTRA EXPENSE                                                       30 DAYS

CONSEQUENTIAL LOSS--NET LEASEHOLD                      $        25,000 PER PREMISES
 INTEREST

CONSEQUENTIAL LOSS--TENANT'S                           $       250,000 PER PREMISES
 IMPROVEMENTS AND BETTERMENTS

CONSEQUENTIAL LOSS--UNDAMAGED STOCK                    $       250,000 PER PREMISES

CONTAMINATION BY A REFRIGERANT                         $        25,000 PER PREMISES

CONTRACTUAL PENALTIES--BUSINESS INCOME $                        25,000 PER OCCURRENCE

DEBRIS REMOVAL--COVERED PROPERTY                                        COVERED

DEBRIS REMOVAL--SUPPLEMENTAL LIMIT                     $       500,000 PER OCCURRENCE

DEBRIS REMOVAL--UNCOVERED PROPERTY                     $          2,500 PER OCCURRENCE

DEFERRED PAYMENTS                                      $        50,000 PER OCCURRENCE




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

DEPENDENT BUSINESS INCOME--UNSCHEDULED $                     1,000,000 PER OCCURRENCE
 LOCATIONS

ELECTRONIC VANDALISM
  BUSINESS INCOME                                      $        25,000 ANNUAL AGGREGATE
  DIRECT DAMAGE                                        $       100,000 ANNUAL AGGREGATE

EXPEDITING EXPENSE                                     $        25,000 PER PREMISES

EXPENSE TO REDUCE LOSS--BUSINESS INCOME                                 COVERED

EXTENDED PERIOD OF INDEMNITY--BUSINESS                                  UNLIMITED
 INCOME

EXTRA EXPENSE                                          $        25,000 PER PREMISES

FAIRS OR EXHIBITIONS
  BUSINESS INCOME                                      $        10,000 PER OCCURRENCE
  PERSONAL PROPERTY                                    $        25,000 PER OCCURRENCE

FIRE DEPARTMENT SERVICE CHARGE                         $       250,000 PER PREMISES

FIRE PROTECTIVE EQUIPMENT REFILLS                                       COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

INFLATION GUARD
  PERSONAL PROPERTY                                                   4 % ANNUAL

INGRESS/EGRESS
  BUSINESS INCOME                                                    30 DAYS
  EXTRA EXPENSE                                                      30 DAYS

LOCK AND KEY REPLACEMENT                               $        25,000 PER PREMISES

MICROORGANISMS                                         $        50,000 ANNUAL AGGREGATE

MICROORGANISMS--BUSINESS INCOME                        $        25,000 ANNUAL AGGREGATE

NEWLY ACQUIRED PREMISES
  REAL PROPERTY                                        $     2,000,000 FOR 180 DAYS
  PERSONAL PROPERTY                                    $     1,000,000 FOR 180 DAYS
  BUSINESS INCOME                                      $       250,000 FOR 180 DAYS
  EXTRA EXPENSE                                        $     25,000 FOR 180 DAYS
                                                       THE ABOVE LIMITS APPLY SEPERATELY TO EACH
                                                       NEWLY ACQUIRED PREMISES

NEWLY ACQUIRED PROPERTY
  REAL PROPERTY                                        $       250,000 PER PREMISES FOR 180 DAYS
  PERSONAL PROPERTY                                    $       250,000 PER PREMISES FOR 180 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
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are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

OFF-PREMISES SERVICE                                   $     1,000,000 PER PREMISES
 INTERRUPTION--DIRECT DAMAGE

OFF-PREMISES SERVICE                     $                   1,000,000 PER PREMISES
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE

OUTDOOR TREES, SHRUBS, PLANTS, OR LAWNS $                      250,000 PER PREMISES
                                                       $          5,000 PER TREE, SHRUB, PLANT, OR LAWN


POLLUTANT CLEAN UP AND REMOVAL--LAND                   $        50,000 ANNUAL AGGREGATE PER PREMISES
 AND WATER

PRESERVATION OF PROPERTY                                           180 DAYS

PROFESSIONAL FEES                                      $        25,000 PER OCCURRENCE

REPORTED UNSCHEDULED PREMISES
  REAL PROPERTY                                                         NOT COVERED
  PERSONAL PROPERTY                                                     NOT COVERED
  BUSINESS INCOME                                                       NOT COVERED
  EXTRA EXPENSE                                                         NOT COVERED

REWARD PAYMENTS                                        $        25,000 PER OCCURRENCE



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

SALESPERSON'S SAMPLES                                  $        25,000 PER OCCURRENCE

SPOILAGE--EQUIPMENT BREAKDOWN                          $       100,000 PER PREMISES

THEFT DAMAGE TO BUILDINGS                                               COVERED

UNREPORTED PREMISES
  REAL PROPERTY                                        $       100,000 PER UNREPORTED PREMISES
  PERSONAL PROPERTY                                    $       500,000 PER UNREPORTED PREMISES
  EXTRA EXPENSE                                        $       250,000 PER UNREPORTED PREMISES
  BUSINESS INCOME                                      $       250,000 PER UNREPORTED PREMISES




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC.                                          From:    9/1/2012    To:  9/1/2013
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-00

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

ACCOUNTS RECEIVABLE (REVENUE LOSS)                    $        500,000 PER PREMISES

ACCOUNTS RECEIVABLE (REVENUE                          $        500,000 PER OCCURRENCE
 LOSS)--AWAY FROM PREMISES

FINE ARTS                                             $         25,000 PER PREMISES

FINE ARTS--AWAY FROM PREMISES                         $         25,000 PER OCCURRENCE

INSTALLATION AND SERVICE PROPERTY
    STOCK TO BE INSTALLED                             $         50,000 PER OCCURRENCE--INSTALLATION
                                                                       PREMISES

                                                      $         50,000 PER OCCURRENCE--TEMPORARY
                                                                       STORAGE LOCATION

                                                      $         50,000 PER OCCURRENCE--TRANSIT
     TOOLS AND EQUIPMENT
       SCHEDULED EQUIPMENT                                             NOT COVERED
       UNSCHEDULED TOOLS & EQUIPMENT                $         1,000 PER ANY ONE ITEM
                                                    $        50,000 PER OCCURRENCE
        Unscheduled tools and equipment coverage is intended for items valued at or less than the limit per
         any one item shown above. An item valued at more than this limit must be specifically scheduled or
         no coverage applies to that item.

ORIGINAL INFORMATION PROPERTY                         $        500,000 PER PREMISES

ORIGINAL INFORMATION PROPERTY--AWAY                   $        500,000 PER OCCURRENCE
 FROM PREMISES



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC.                                          From:    9/1/2012    To:  9/1/2013
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-00

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

TRANSIT
   PERSONAL PROPERTY                                  $         25,000 PER OCCURRENCE
   BUSINESS INCOME                                    $         10,000 PER OCCURRENCE




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                            POLICY PERIOD:
OMNICELL INC.                                             From:    9/1/2012    To:  9/1/2013
                                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                          ADDRESS

POLICY NUMBER:              CPO 5912284-00

DEDUCTIBLES

GENERAL DEDUCTIBLES

  PROPERTY DEDUCTIBLE                                 $            100,000 PER OCCURRENCE

  The above deductible applies to all loss, damage, cost, or expense covered by this Commercial Property
  Coverage Part, unless a specific coverage deductible is shown elsewhere on this Declarations or an
  endorsement.

  BUSINESS INCOME AND EXTRA EXPENSE                                      24 HOURS
    WAITING PERIOD

  The above waiting period applies to all loss or expense covered by Business Income and Extra Expense
  coverages contained in this Commercial Property Coverage Part, unless a specific coverage deductible
  is shown elsewhere on this Declarations or an endorsement.

  OFF PREMISES SERVICE                                                   24 HOURS
    INTERRUPTION--TIME ELEMENT WAITING
    PERIOD

  The above waiting period applies to all loss or expense covered by Off-Premises Service Interruption--Time
  Element coverage contained in this Commercial Property Coverage Part.




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ZURICH AMERICAN INSURANCE COMPANY

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OMNICELL INC.                                            From:    9/1/2012    To:  9/1/2013
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:               CPO 5912284-00

DEDUCTIBLES

CATASTROPHE PERIL DEDUCTIBLES

  FLOOD DEDUCTIBLES

  Loss or damage to Covered Property caused by "flood" is subject to separate deductible amounts. The
  deductibles applicable to "flood" are stated in the Summary of Premises section of this Declarations for
  that specific"premises". If the Flood coverage applies to loss or damage at "reported unscheduled
  premises", the deductible amounts for "reported unscheduled premises" are stated on the Catastrophe
  Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Flood Deductibles only apply to loss or damage that, but for the application of the Deductibles, would
  be paid by us under this Commercial Property Coverage Part.

  WIND AND HAIL DEDUCTIBLES

  Loss or damage to Covered Property caused by wind or hail is subject to separate deductible amounts.
  The deductibles applicable to wind and hail are stated in the Summary of Premises section of this
  Declarations for that specific "premises". If the Wind and Hail Deductibles apply to loss or damage at
  "reported unscheduled premises", the deductible amounts for "reported unscheduled premises"
  are stated on the Catastrophe Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Wind and Hail Deductibles only apply to loss or damage that, but for the application of the Deductibles,
  would be paid by us under this Commercial Property Coverage Part.

APPLICATION OF MULTIPLE DEDUCTIBLES

  Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we
  will apply each deductible separately, but the total of all deductible amounts applied will not exceed the
  highest applicable deductible for loss or damage to Covered Property and the highest applicable deductible
  for loss under "time element coverage". This provision does not apply to Covered Property and "time
  element coverage" for covered loss or damage due to "earth movement".




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                        POLICY PERIOD:
OMNICELL INC.                                         From:    9/1/2012    To:  9/1/2013
                                                      12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                      ADDRESS

POLICY NUMBER:              CPO 5912284-00

CATASTROPHE COVERAGE--LIMITS OF INSURANCE AND DEDUCTIBLES

Catastrophe Coverages shown below apply only at those "premises" that show an applicable Limit of Insurance for
that Catastrophe Coverage in the Summary of Premises section of this Declarations. If coverage applies at "reported
unscheduled premises", those Limits of Insurance and Deductibles are shown below.

CATASTROPHE COVERAGE                           LIMIT OF INSURANCE AND DEDUCTIBLES



FLOOD
 PREMISES                                      SEE SUMMARY OF PREMISES SECTION
 OCCURRENCE                                    $      1,000,000
 ANNUAL AGGREGATE                              $      1,000,000
 DEDUCTIBLE                                    SEE SUMMARY OF PREMISES SECTION

WIND AND HAIL--DIRECT DAMAGE AND TIME
 ELEMENT
  DEDUCTIBLE                          SEE SUMMARY OF PREMISES SECTION




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Commercial Property Coverage Part
General Provisions

IMPORTANT INFORMATION ABOUT THIS COMMERCIAL PROPERTY COVERAGE PART.
PLEASE READ IT CAREFULLY.


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and what
is and what is not covered.

DEFINITIONS AND MEANINGS

Throughout this Commercial Property Coverage Part, the words "you" and "your" refer to the Named Insured shown on
the Commercial Property Coverage Part Declarations. The words "we", "us", and "our" refer to the Company providing
this insurance coverage.

The word "occurrence" includes all losses or damages that are attributable directly or indirectly to one cause or a series
of similar causes. All such losses or damages will be treated as one occurrence. However, if occurrence is specifically
defined in a Coverage Form, that definition applies to the insurance provided by that Coverage Form and any
endorsements to that Coverage Form.

For purposes of this Commercial Property Coverage Part:

a.   Covered Property is the property that is insured for loss or damage under the applicable Coverage Forms or
     endorsements.

b.   Covered Income is the income that is insured for loss under the applicable Coverage Forms or endorsements.

Other words and phrases that appear in bold and in quotation marks, or in quotation marks only, have special
meaning. You will find these definitions in the Commercial Property Definitions, Coverage Forms, and in endorsements
to the Coverage Forms.

Words or phrases that are not defined are intended to have their ordinary or common meaning. Disputes concerning
the meaning of words or phrases will be resolved using the most recently published version of Webster’s Unabridged
Dictionary.

Unless otherwise stated, words that are used in the plural tense include the singular tense (and visa versa).

FORMS

In addition to these General Provisions, the Commercial Property Coverage Part contains the Common Policy
Conditions, Commercial Property Conditions, Commercial Property Definitions, and various Coverage Forms and
endorsements as shown on the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements. Some forms and endorsements may refer to other Coverage Forms, but you only have coverage under
a particular Coverage Form if it is shown on the Property Forms and Endorsements Section of the Schedule of Forms
and Endorsements. Similarly, even if the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements shows that you have a Coverage Form, you will not have coverage for each coverage and optional
coverage mentioned in that Coverage Form unless they are shown on the Commercial Property Coverage Part
Declarations.

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DEDUCTIBLES

If a deductible applies, it is described in the applicable Coverage Form or endorsement. The amount of the deductible
to be applied is shown on the Summary of Premises, Deductibles, or Catastrophe Coverage - Limits of Insurance and
Deductibles sections of the Commercial Property Coverage Part Declarations.

Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we will apply each
deductible separately, but the total of all deductible amounts applied will not exceed the highest applicable deductible
for loss or damage to Covered Property and the highest applicable deductible for loss under "time element coverage".
However, this provision does not apply to Covered Property and "time element coverage" for covered loss or damage
due to "earth movement", sprinkler leakage as a result of "earth movement", "flood", "named storm", or wind and hail.

Loss or damage to Covered Property caused by "earth movement", sprinkler leakage as the result of "earth movement",
"flood", "named storm", and wind or hail may be subject to separate deductible amounts. The Summary of Premises
section of the Commercial Property Coverage Part Declarations identify the "premises" subject to the separate
deductibles and the deductible amounts. If the Earth Movement Deductibles, Flood Deductibles, Named Storm
Deductibles, or Wind and Hail Deductibles apply to loss or damage at "reported unscheduled premises", to
"contractor’s equipment" away from "premises", or to "installation property" away from "premises", the deductible
amounts are stated on the Catastrophe Coverage - Limits of Insurance and Deductibles section of the Commercial
Property Coverage Part Declarations.

The Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, Sprinkler Leakage--Earth Movement
Deductibles, and Wind and Hail Deductibles only apply to loss or damage that, but for the application of the
Deductibles, would be paid by us under this Commercial Property Coverage Part.




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Commercial Property Conditions

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Commercial Property Conditions

This Commercial Property Coverage Part is subject to the following conditions as well as the Common Policy Conditions.

A.    ABANDONMENT

      There can be no abandonment of any property to us.

B.    APPRAISAL

      If we and you disagree on the value of the property or the amount of the loss, either may make written demand for
      an appraisal of the loss. in this event, each party will select a competent, disinterested, and impartial appraiser who
      has no direct or indirect financial interest in the claim. The two appraisers will select an umpire. If they cannot agree,
      wither may request that selection of an umpire be made by a judge of a court having jurisdiction. The appraisers will
      state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
      accordance with the Valuation provisions of the applicable Coverage Form or, if not stated, the "actual cash value"
      and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to by
      any two will be binding. Each party will:

      1.    Pay its chosen appraiser; and

      2.    Bear the other expenses of the appraisal and umpire equally.

     If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
     conditions of the policy.

C.    CONCEALMENT, MISREPRESENTATION, OR FRAUD

      This policy is void in any case of fraud by you or any other insured as it relates to this Commercial Property
      Coverage Part at any time before or after a loss. It is also void as to you or any other insured, and we will not pay
      you or any other insured, if you or any other insured, at any time before or after a loss, intentionally conceal or
      misrepresent a material fact concerning:

      1.    The insurance provided by this policy;

      2.    The Covered Property;

      3.    Your interest in the Covered Property; or

      4.    A claim under the policy.

D.    CONFORMITY TO STATUTE

      Terms of this Commercial Property Coverage Part that are in conflict with the statutes of the state in which this
      policy is issued are hereby amended to conform to such statutes.




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E.   CONTROL OF PROPERTY

     Breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions by any
     person, other than you, beyond your direction or control will not affect this insurance.

     The breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions at any
     one or more locations will not affect coverage at any location where, at the time of loss or damage, there was no
     breach.

F.   DUTIES IN THE EVENT OF LOSS OR DAMAGE

     1.   You must see that the following are done in the event of loss or damage to Covered Property:

          a.     Notify the police if a law may have been broken.

           b.    Give us prompt notice of the loss or damage, including a description of the property involved.

          c.     As soon as possible, give us a description of how, when, and where the loss or damage occurred.

          d.     Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                 your expenses necessary to protect the Covered Property, for consideration in the settlement of the
                 claim. This will not increase the Limit of Insurance. However, we will not pay for any subsequent loss or
                 damage resulting from a cause of loss that is not a "covered cause of loss". Also, if feasible, set the
                 damaged property aside and in the best possible order for examination.

          e.     At our request, give us complete inventories of the damaged and undamaged property.              Include
                 quantities, costs, values, and amount of loss claimed.

          f.     As often as may be reasonably required, permit us to inspect the property proving the loss or damage
                 and examine your books and records.

                 Also, permit us to take samples of damaged and undamaged property for inspection, testing, and
                 analysis, and permit us to make copies from your books and records.

          g.     Send us a signed, sworn proof of loss containing the information we request to investigate the claim.
                 You must do this within 60 days after our request. We will supply you with the necessary forms.

          h.     Cooperate with us in the investigation or settlement of the claim.

     2.   We may examine any insured under oath, while not in the presence of any other insured and at such times as
          may be reasonably required, about any matter relating to this insurance or the claim, including an insured’s
          books and records. In the event of an examination, an insured’s answers must be signed.

     3.   Failure of an agent or one of your employees, other than an officer, partner, manager, "member", director,
          trustee, proprietor, or risk management employee, to notify us of any loss or damage that they know about will
          not affect the insurance afforded you by this Commercial Property Coverage Part.

G.   INSURANCE UNDER TWO OR MORE COVERAGES

     If two or more of this policy’s coverages apply to the same loss or damage, we will not pay more than the actual
     amount of the loss or damage.

H.   LEGAL ACTION AGAINST US

     No one may bring a legal action against us under this Commercial Property Coverage Part unless:

     1.   All of its terms have been fully complied with; and




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     2.    The action is brought within 2 years after the date on which the loss or damage commenced.

I.   LIBERALIZATION

     If we adopt any revision that would broaden the coverage under this Commercial Property Coverage Part, without
     additional premium and within 45 days prior to or during the policy period, the broadened coverage will immediately
     apply to this Commercial Property Coverage Part.

J.   LOSS PAYMENT

     The following apply unless otherwise provided in a Coverage Form in this Commercial Property Coverage Part:

     1.    In the event of loss or damage covered by this Commercial Property Coverage Part, at our option, we will
           either:

           a.    Pay the amount of the loss or damage;

           b.    Pay the cost of repairing or replacing the lost or damaged property;

           c.    Take all or any part of the property at an agreed or appraised value; or

           d.    Repair, rebuild, or replace the property with other property of like kind and quality.

           We will give notice of our intentions within 30 days after we receive the sworn proof of loss.

     2.    If we elect to exercise option 1.c. with respect to any branded or labeled "merchandise" or "finished stock", you
           may:

           a.   Stamp salvage on the "merchandise" or "finished stock", or its containers, if the stamp will not physically
                damage the "merchandise" or "finished stock"; or

           b.   Remove the brands or labels, if doing so will not physically damage the "merchandise" or "finished stock".
                You must relabel the "merchandise" or "finished stock", or its containers, to comply with the law.

           We will assume the cost of stamping or removal and charge it to salvage expense.

     3.    We will not pay you more than your financial interest in the Covered Property.

     4.    This Commercial Property Coverage Part provides no rights or benefits to any other person or organization,
           unless otherwise provided. Any claim for loss that is covered under this Commercial Property Coverage Part
           must be presented by you. At our option, we may adjust the loss with the owners of lost or damaged
           property if other than you. If we pay the owners, such payment will satisfy your claims against us for the
           owners’ property. We will not pay the owners more than their financial interest in the Covered Property.

     5.    We may elect to defend you against suits arising from claims of owners of Covered Property. We will do this
           at our expense.

     6.    We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you have
           complied with all of the terms of this Commercial Property Coverage Part and:

           a.    We have reached agreement with you on the amount of the loss; or

           b.    An appraisal award has been made.




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      7.    The first Named Insured shown on the Declarations will be the payee for any payment of claims that we may
            make with respect to this Commercial Property Coverage Part, subject to the Mortgageholders Condition
            below and any endorsements. However, our payment for loss or damage to "personal property of others" may
            be to the account of the owner of the property.

K.    MORTGAGEHOLDERS

      1.    Mortgageholder includes trustee.

      2.    We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown on the
            Declarations in their order of precedence, as interests may appear.

      3.    The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure
            or similar action on the building or structure.

      4.    If we deny your claim because of your acts or because you have failed to comply with the terms of this
            Commercial Property Coverage Part, the mortgageholder will still have the right to receive loss payment if the
            mortgageholder:

            a.    Pays the premium due under this Commercial Property Coverage Part at our request if you have failed
                  to do so;

            b.    Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do
                  so; and

            c.    Has notified us of any change in ownership, occupancy, or substantial change in risk known to the
                  mortgageholder.

            All of the terms of this Commercial Property Coverage Part will then apply directly to the mortgageholder.

      5.    If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or
            because you have failed to comply with the terms of this Commercial Property Coverage Part:

            a.    The mortgageholder’s rights under the mortgage will be transferred to us to the extent of the amount we
                  pay; and

            b.    The mortgageholder’s right to recover the full amount of the mortgageholder’s claim will not be
impaired.

            At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued
            interest. In this event, your mortgage and note will be transferred to us and you will pay your remaining
            mortgage debt to us.

      6.    If we cancel the policy, we will give written notice to the mortgageholder at least:

            a.    10 days before the effective date of cancellation if we cancel for your nonpayment of premium; or

            b.    30 days before the effective date of cancellation if we cancel for any other reason.

      7.    If we elect not to renew the policy, we will give written notice to the mortgageholder at least 10 days before the
            expiration date of this policy.

L.    NO BENEFIT TO BAILEE

      No person or organization, other than you, having custody of Covered Property will benefit from this insurance.




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M.   OTHER INSURANCE

     1.   You may have other insurance subject to the same plan, terms, conditions, and provisions as the insurance
          under this Commercial Property Coverage Part. If you do, we will pay our share of the covered loss or
          damage. Our share is the proportion that the applicable Limit of Insurance under this Commercial Property
          Coverage Part bears to the sum of all the Limits of Insurance covering on the same basis.

     2.   If there is other insurance covering the same loss or damage, other than that described in 1. above, we will
          pay only the least of the following amounts:

          a.    Any Limit of Insurance applicable to the Covered Property that has sustained such loss or damage;

          b.    The amount of covered loss or damage in excess of the amount due from that other insurance, whether
                you can collect on it or not, without application of any deductible amounts contained elsewhere in this
                Commercial Property Coverage Part; or

          c.    The amount we would have paid had such other insurance not existed.

     3.   Paragraphs 1. and 2. above do not apply to other insurance that is purchased as insurance in excess of the
          Limit of Insurance under this Commercial Property Coverage Part.

N.   POLICY PERIOD, COVERAGE TERRITORY

     Under this Commercial Property Coverage Part:

     1.   We cover loss or damage which happens:

          a.    During the policy period shown on the Declarations; and

          b.    Within the coverage territory.

     2.   The coverage territory is:

          a.    The United States of America (including its territories and possessions);

          b.    Puerto Rico; and

          c.    Canada.

     3.   When this Commercial Property Coverage Part provides coverage for property in transit, and the property is
          being transported by an aircraft, the coverage territory is extended to anywhere in the world for that property
          while in transit, as long as either the origin or destination is included in 2. above and neither the origin nor
          destination is in any country upon which the United States government or Canadian government has imposed
          sanctions, embargoes, or similar prohibitions.

     4.   If the property is in transit by a vessel that originated outside the coverage territory included in 2. above, then
          coverage commences when the property has been fully discharged from the vessel onto a point within the
          coverage territory.

     5.   If the property is in transit by a vessel with a destination outside the coverage territory included in 2. above,
          then coverage ends when the property has been loaded on board the vessel.

O.   RECOVERED PROPERTY

     1.   If either you or we recover any property after loss settlement, that party must give the other prompt notice. At
          your option, you may do one of the following:




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           a.    Keep the loss payment and transfer the recovered property to us; or

           b.    Keep the recovered property and return the loss payment to us. If you do this, we will pay for the
                 recovery expenses and the expense to repair the recovered property up to the applicable Limit of
                 Insurance.

     2.    The amount of loss can be reduced by any salvage recovery through the sale of the damaged Covered
           Property.

           a.    If, following a loss, a recovery is made from the sale of damaged Covered Property and your claim has
                 not yet been paid, we will be entitled to this salvage recovery until we have recovered our salvaging fees
                 and expenses. The balance of the salvage recovery will be paid to you and the amount of your loss
                 settlement will be reduced by this balance.

           b.    If your claim has already been paid when a salvage recovery is made, we will be entitled to the salvage
                 proceeds until we have recovered the difference between the amount we paid you for your claim and the
                 amount we would have paid you had the salvage recovery been handled in accordance with a. above.
                 Any balance of the salvage recovery will then be promptly refunded to you.

P.   SUSPENDED EQUIPMENT

     We, or any of our representatives, have the right to declare property to be "suspended equipment" when the
     property is found to be in, or exposed to, a dangerous condition, provided we have:

     1.    Told you of the dangerous condition immediately upon discovering it and informed you of its designation as
           "suspended equipment"; and

     2.    Mailed or delivered a written notice of such condition and designation, within 24 hours of the discovery, which
           notice is mailed or delivered to:

           a.    Your last known address; or

           b.    The address where said object is located.

     Any designation of "suspended equipment" can only be rescinded, in writing, by endorsement to this Commercial
     Property Coverage Part.

     Any designation of "suspended equipment" will result in your receiving a pro rata refund of premium you paid for the
     coverage of that property under this Commercial Property Coverage Part. However, any designation of "suspended
     equipment" will be in effect if we have not yet made or offered the refund.

Q.   TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If any person or organization to or for whom we make payment under this Commercial Property Coverage Part has
     rights to recover damages from another, those rights are transferred to us to the extent of our payment. That
     person or organization must do everything necessary to secure our rights and cooperate with our efforts to recover
     our payment and must do nothing after loss to impair our rights. But you may, without restricting your coverage,
     waive your rights against another party in writing:

     1.    Prior to a loss to your Covered Property or Covered Income.

     2.    After a loss to your Covered Property or Covered Income only if, at the time of loss, that party is one of the
           following:

           a.    Someone insured under this Commercial Property Coverage Part;

           b.    A business firm owned or controlled by you;




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      c.    A business firm, or an individual, that owns or controls you; or

      d.    Your tenant.

Any recovery as a result of subrogation proceedings arising out of a covered loss, net of fees (including legal fees)
and expenses we incur in such subrogation proceedings, will be shared with you in the following manner:

1.    We will add the amount of any deductible you incurred to the amount of any other provable uninsured loss
      you incurred. This is your interest.

2.    We will determine the proportion your interest bears to the entire provable loss (both insured and uninsured).
      This is your pro rata share.

3.    We will reimburse to you your pro rata share of the recovery after deduction, from the total recovery, of
      recovery expenses paid by us and after deduction of any legal fees paid by us. We will retain the balance. We
      will not owe you any amount for any legal fees or any expenses incurred by you in furtherance of any
      recovery unless those fees or expenses are approved by us in writing and in advance of your incurring those
      fees or expenses.




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Commercial Property Definitions

1. "Accounts receivable records" means accounting records you use to document the billing and collection of
   "money" due from your customers, regardless of what material it is inscribed, printed, written, or recorded upon.

2. "Actual cash value" means "replacement cost" reduced by each of the following:

   a. Physical deterioration;

   b. Depreciation;

   c.   Obsolescence;

   d. Depletion;

   e.   Non-conformity to codes, regulations, or statutes; and

   f.   The cost to reconstruct or remodel undamaged portions of "real property".

   But in no event will "actual cash value" be higher than the "market value".

3. "Amount you actually spend" means:

   a.   The total payments you make to an entity you do not own or operate at the time of loss or damage to repair
        the damaged "real property" or "personal property"; and

   b. For goods and services provided by entities you own or operate at the time of loss or damage to repair the
      damaged "real property" or "personal property":

        1) Direct payroll cost, excluding fixed payroll, for labor directly chargeable to the repair, rebuilding, or
           replacement of the damaged property;

        2) "Replacement cost" for your "merchandise" used in the repair, rebuilding, or replacement of the damaged
           property;

        3) Regular cash selling price, less any discounts and expenses you otherwise would have had, for your
           "finished stock" used in the repair, rebuilding, or replacement of the damaged property; and

        4) "Replacement cost" for your property other than "merchandise" or "finished stock" used in the repair,
           rebuilding, or replacement of the damaged property if replaced within 24 months, otherwise your original
           cost.

4. "Banking premises" means the interior of that portion of any building occupied by a banking institution or similar
   safe depository.

5. "Business income" means:

   a.   "Net income"; plus

   b. "Continuing expenses".
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6.   "Cessation of work" means any period of time when your business activities have ceased.

     "Cessation of work" does not mean:

     a.   Any period of time during which your business activities would not normally have been conducted, such as
          weekends or holidays;

     b. Seasonal activity planned in advance;

     c.   Schedule delays due to weather; or

     d. Labor actions beyond your control.

7. "Contaminant" means any substance that creates an impurity when it mixes with or comes into contact with
   another substance.

8. "Continuing expenses" means:

     a.   Your continuing normal operating expenses including, but not limited to:

          1) Payroll;

          2) Rental payments as tenants; and

          3) Factory overhead; and

     b. Charges, which are the legal obligations of your tenants and have not been satisfied, and which are now your
        obligation.

     "Continuing expenses" does not mean:

     a.   "Extra expense";

     b. Expediting expense; or

     c.   "Research and development continuing expenses";

     d. Depreciation of "stock", plant, or machinery damaged by a "covered cause of loss"; or

     e.   Bad debts.

9. "Contractor’s employees’ property" means tools and clothing owned by your officers, directors, partners,
   "managers", "members", or employees (including leased or temporary employees).

10. "Contractor’s equipment" means:

     a.   Equipment, tools, machinery, and other mechanical and electrical devices of a mobile nature used for
          contracting, installation, erection, repair, or moving operations or projects;

     b. Self-propelled vehicles designed and used primarily to carry mounted equipment;

     c.   Vehicles designed for highway use that are unlicensed and not operated on public roads; and

     d. Watercraft, marine floats, or barges less than 26 feet long,

     owned by you or owned by others in your care, custody, or control.

     "Contractor’s equipment" does not mean:
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    a.   Contraband or property in the course of illegal transportation or trade;

    b. Aircraft;

    c. Railroad cars;

    d. "Contractor’s employees’ property"; or

    e. Recreational watercraft.

11. "Contributing locations" means locations owned and operated by others who:

    a.   You depend on to deliver materials or services to you, or others for your account; or

    b. Pay you royalties, licensing fees, or commissions under written agreements.

    "Contributing locations" does not mean:

    a.   Locations owned and operated by others who you depend upon to provide only power, communications, or
         other utility services to you; or

    b. "Manufacturing locations".

12. "Covered cause of loss" means a fortuitous cause or event, not otherwise excluded, which actually occurs during
    this policy period.

    "Covered cause of loss" does not mean:

    a.   A fortuitous cause or event, whether or not excluded, which actually occurred prior to this policy period,
         regardless of the date on which it first becomes manifest or is first discovered; or

    b. Damage.

13. "Defective materials" means materials which are broken, inadequate, improper, faulty, flawed, improperly specified,
    contaminated, unfit for the purpose intended, or which contain a latent defect.

14. "Denial of service" means the direction of a high volume of inquiries to web site or e-mail destinations, effectively
    denying or limiting legitimate access, whether or not known to you.

15. "Dependent premises" means the following types of locations:

    a.   "Contributing locations";

    b. "Recipient locations";

    c.   "Manufacturing locations"; and

    d. "Leader locations".

    If the location is described by an address only, it includes the area associated with that address in which you or
    the occupant are legally entitled to conduct "operations" and includes that area extending 1,000 feet beyond that
    address.

    If the location is described by an address and further described by geographic boundaries, only the area within
    such boundaries, and within 1,000 feet thereof, is included.

    "Dependent premises" does not mean any of the above locations within any country in which the United States
    government or Canadian government have imposed sanctions, embargoes, or similar prohibitions.
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16. "Duplicate information property" means recorded information in any format which can either be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Duplicate information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities"; or

    e.   "Electronic data processing hardware".

17. "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
    or subsidence other than "sinkhole collapse".

    "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

18. "Electronic data processing hardware" means:

    a.   A network of electronic components capable of accepting information and processing it according to a plan
         and which exists primarily to generate information in tangible form or on electronic media, as well as air
         conditioning equipment and fire protection equipment used exclusively for data processing operations;

    b. Telephone equipment; and

    c.   Facsimile equipment.

    "Electronic data processing hardware" does not mean computers, devices, or components which:

    a.   Exist primarily to control or operate machinery or equipment or to produce "stock in process" or "finished
         stock"; or

    b. Are "stock".

19. "Electronic vandalism" means:

    a. Willful or malicious electronic alteration, manipulation, tampering, or destruction of "accounts receivable
       records", "duplicate information property", "electronic data processing hardware", or "original information
       property";

    b. Introduction of a virus, code, or similar instruction that disrupts the normal operation of "electronic data
       processing hardware"and may destroy, alter, contaminate, or compromise the integrity, quality, or
       performance of "accounts receivable records", "duplicate information property", "electronic data processing
       hardware", or "original information property";

    c.   Unauthorized viewing, copying, or use of any electronic "accounts receivable records", "duplicate information
         property", or "original information property"; and

    d. "Denial of service".

20. "Equipment breakdown cause of loss" means any of the following:

    a.   Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices,
         wiring, or equipment;
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    b. Explosion, rupture, or bursting of steam boilers, steam pipes, steam engines, steam turbines, gas turbines,
       or apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
       explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
       within the flues or passages through which the products of combustion pass;

    c.   Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
         apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
         explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
         within the flues or passages through which the gases of combustion pass;

    d. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment,
       engines other than steam engines, or pressure vessels when owned, operated, or controlled by you; and

    e.   Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property
         owned, operated, or controlled by you.

21. "Extended period of indemnity" means the period of time that begins on the date the "period of restoration" ends
    and ends on the earlier of:

    a.   The date your gross sales, including rental income, are restored to the amount that would have existed if no
         direct physical loss or damage occurred; or

    b. The date calculated by adding the number of days shown on the Declarations for Extended Period of
       Indemnity--Business Income to the date the "period of restoration" ended.

    "Extended period of indemnity" does not mean "research and development extended period of indemnity".

22. "Extra expense" means operating expenses you incur during the "period of restoration" that would not have been
    necessary to incur if there had been no direct physical loss or damage to the property, provided such expenses
    are incurred:

    a.   In an attempt to avoid a "suspension" of or to continue those "operations" which have been affected by the
         direct physical loss or damage to the property; or

    b. In an attempt to minimize the "period of restoration".

    "Extra expense" does not mean:

    a.   Costs incurred to purchase "merchandise" as a replacement for your "finished stock";

    b. "Continuing expenses" or "research and development continuing expenses";

    c.   Costs to repair, rebuild, or replace any property, or research or restore "original information property"; or

    d. Amounts incurred on financing or investment activity conducted for your own account.

23. "Fine arts" means paintings, etchings, pictures, tapestries, and other bona fide works of art, rarity, historical
    value, or artistic merit such as rugs, statuary, marbles, bronzes, antiques, furniture, rare books, antique silver,
    manuscripts, porcelains, rare glass, and bric-a-brac.

24. "Finished stock"means "goods you have manufactured" which are completed and ready for packing, shipment,
    installation, or sale.

    "Finished stock"does not mean "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale on a "premises" or "reported unscheduled premises" of any retail outlet at which you
    are insured by Business Income Insurance.


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25. "Fire protection sprinkler system piping" means valves, fittings, and piping located above the lowest floor, and
    limited to risers, check valves, control valves, gauges, feed mains, cross mains, branch lines, arm-overs, sprigs,
    and automatic sprinkler heads located inside the building as part of the fire protection sprinkler system.

26. "Flood" means a general and temporary condition of partial or complete inundation of land areas from:

    a.   The overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or
         man-made lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans, or any other body of water or
         watercourse;

    b. Waves or tides, including tsunami;

    or their spray, whether driven by wind or not.

27. "Fungus" means any type or form of fungus, mold, or mildew and any mycotoxins, spores, scents, or by-
    products produced or released by fungi.

28. "Goods you have manufactured" means:

    a.   Goods manufactured at a location you own or operate; and

    b. Goods manufactured at a location that you do not own or operate, provided:

         1) You contracted for the goods to be manufactured exclusively for you; and

         2) You are the owner or licensee of the design, patent, trademark, or copyright for the goods.

29. "Gross earnings" means the sum of:

    a.   Total net sales value of production in manufacturing "operations";

    b. Total net sales of "merchandise" in mercantile "operations"; and

    c.   Other earnings derived from "operations",

    Less the cost of:

    a.   "Raw stock" used in the production and manufacturing "operations" in a. above;

    b. Supplies consisting of materials consumed directly in the conversion of such "raw stock" into "finished stock"
       or in supplying the services sold by you;

    c.   "Merchandise" sold, including packaging materials; and

    d. Services purchased from others (not your employees, including leased or temporary employees) for resale
       that do not continue under contract.

30. "Gross leasehold interest" means:

    a.   The monthly rental value of the "premises" or "reported unscheduled premises" you rent or lease on the date
         the direct physical loss or damage occurs; minus

    b. The actual monthly rent you pay, including taxes, insurance, janitorial, or other services you pay as part of
       the rent.

         Example:

         Monthly rental value of your leased "premises":                                     $1,000

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         Monthly rent including taxes, insurance, janitorial,
         or other services that you pay for as part of the rent:                               - $700

    "Gross leasehold interest"                                                                  $300

31. "Improvements and betterments" means fixtures, alterations, installations, or additions:

    a.   Comprising a part of the building you occupy as a tenant but do not own;

    b. Made or acquired at your expense exclusive of rent paid by you; and

    c. Which you cannot remove legally.

32. "Installation property" means materials, supplies, equipment, and machinery, and any other similar property
    owned by you or owned by others, which are in your care, custody, or control, that you are contractually
    responsible for, which are intended to become a permanent part of an "installation or service premises".

    "Installation property" does not mean "landscaping materials".

33. "Installation or service premises" means a location that is not owned, leased, or operated by you, at which you are
    installing or servicing property.

    "Installation or service premises" does not mean a "rigging premises".

34. "Landscaping materials"means trees, shrubs, plants, grass, lawns, and other landscaping materials owned by
    you or owned by others, which are in your care, custody, or control that you are contractually responsible for,
    and intended to become a permanent part of an "installation or service premises".

    "Landscaping materials"does not mean trees, shrubs, plants, grass, lawns, and other landscaping materials that
    exist as a permanent part of an "installation or service premises" prior to the start of the project.

35. "Leader locations"means locations owned and operated by others who you depend on to attract customers to
    your business.

36. "Malfunction" means any abnormal or imperfect function, including the failure to function, of machinery, systems,
    apparatus, or equipment.

37. "Manager" means a person elected by the "members" to direct the limited liability company’s business affairs.

38. "Manufacturing locations" means locations owned and operated by others who you depend on to manufacture
    products for delivery to your customers under contract of sale.

39. "Market value" means the price which the property might be expected to realize if offered for sale in a fair market
    on the date of loss or damage.

40. "Member" means an owner of a limited liability company represented by its membership interest, who also may
    serve as a "manager".

41. "Merchandise" means:

    a.   Goods held for sale or installation by you which are not "goods you have manufactured"; and

    b. "Goods you have manufactured"which are completed and ready for packing, shipment, installation, or sale
       on a "premises" or "reported unscheduled premises" of any retail outlet at which you are insured by Business
       Income Insurance.

42. "Microorganism" means any type or form of organism of microscopic or ultramicroscopic size including, but not
    limited to, "fungus", wet or dry rot, virus, algae, or bacteria, or any by-product.

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43. "Mistake"means any act or decision, whether intentional or negligent, including the failure to act or decide, of any
    person, group, organization, or governmental body which creates or allows a result which is unexpected,
    inadequate, defective, faulty, or otherwise unsuitable for the intended purpose.

44. "Money" means:

    a.   Currency, coins, bullion, or bank notes, whether or not in current use; and

    b. Travelers checks, register checks, food stamps, and money orders held for sale to the public.

45. "Monthly leasehold interest" means the original costs you paid for:

    a.   Bonus Payments ---- "Money" you originally paid to acquire your lease, but not including rent, prepaid rent, or
         security; and

    b. Prepaid Rent - Advance rent you paid that will not be refunded to you, other than periodic rental payments,

    divided by the number of months left in your lease at the time of the expenditure.

    Example:

    Original cost of Bonus Payment                                                                $4,000

    With 20 months left in the lease at the time of Bonus Payment                                    ÷20

    "Monthly leasehold interest"                                                                    $200

46. "Net income" means the net profit or loss, including rental income from tenants, that would have been earned or
    incurred before taxes.

47. "Net leasehold interest" means the sum of:

    a.   The net present value of your "gross leasehold interest" for each remaining month of your lease, discounted
         at the Prime Rate prevailing on the date the direct physical loss or damage occurs, rounded to the nearest
         whole number; plus

    b. Your "monthly leasehold interest" times the number of months left in your lease on the date direct physical
       loss or damage occurs, rounded to the nearest whole number.

    Example:

    With 20 months left in lease and 10% Prime Rate:

    "Gross leasehold interest"                                                                      $300

    Net Present Value Factor x 18.419 for 20 months                                             X 18.419

         Subtotal a.                                                                              $5,526

    "Monthly leasehold interest"                                                                    $200

    With 20 months left in lease                                                                     x 20

         Subtotal b.                                                                              $4,000

    "Net leasehold interest"

    Subtotal a. + Subtotal b.                                                                     $9,526

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48. "Newly acquired premises" means a permanently fixed location you own, lease, rent, or control. The location
    becomes a "newly acquired premises" on the later of:

    a.   The date you obtain possession or control of the location; or

    b. The date "real property" or "personal property" in which you have an insurable interest is first placed at the
       location.

    "Newly acquired premises" does not mean:

    a.   A "premises";

    b. An "unreported premises";

    c.   A "reported unscheduled premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "rigging premises"; or

    g. A "temporary storage location".

49. "Off-premises service interruption" means the interruption of power or other utility services supplied to a covered
    location, however caused, if the interruption takes place away from the covered location.

50. "Operations" means:

    a.   Your business activities occurring at the covered location prior to the physical loss or damage; and

    b. The covered location is tenantable prior to the physical loss or damage.

    "Operations" does not mean:

    a.   The activities of those with whom you do business;

    b. Investing or financing activities conducted for your own account; or

    c.   "Research and development operations".

51. "Original information property" means recorded information in any format which cannot be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Original information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities";

    e.   "Electronic data processing hardware"; or

    f.   "Research and development property".

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52. "Outdoor trees, shrubs, plants, or lawns" means outdoor trees, shrubs, plants, or lawns you own.

    "Outdoor trees, shrubs, plants, or lawns" does not mean:

    a.   Growing crops;

    b. Standing timber;

    c.   "Landscaping materials"; or

    d. "Stock".

53. "Period of restoration" means the period of time that begins when:

    a.   The direct physical loss or damage that causes "suspension" of your "operations" occurs; or

    b. The date "operations" would have begun if the start of "operations" is delayed because of loss of or damage
       to any of the following:

         1) "Real property", whether complete or under construction;

         2) Alterations or additions to "real property"; or

         3) "Personal property":

             a) Used in such construction, alterations, or additions;

             b) Incidental to the occupancy of the area intended for construction, alteration, or addition; or

             c) Incidental to the alteration of the occupancy of an existing building or structure.

    If you resume "operations", with reasonable speed, the "period of restoration" ends on the earlier of:

    a.   The date when the location where the loss or damage occurred could have been physically capable of
         resuming the level of "operations" which existed prior to the loss or damage, if the location had been restored
         to the physical size, construction, configuration, location, and material specifications which would satisfy the
         minimum requirements necessary to obtain all required building permits, occupancy permits, operating
         licenses, or similar documents; or

    b. The date when a new permanent location is physically capable of resuming the level of "operations" which
       existed prior to the loss or damage, if you resume "operations" at a new permanent location.

    If you do not resume "operations", or do not resume "operations" with reasonable speed (whether at your
    "premises" or "reported unscheduled premises" or elsewhere), the "period of restoration" will end on the date
    when the location where the loss or damage occurred could have been restored to the physical size,
    construction, configuration, location, and material specifications which existed at the time of loss or damage, with
    no consideration for any time:

    a. Which would have been required to make changes in order to satisfy the minimum requirements necessary to
       obtain all required building permits, occupancy permits, operating licenses, or similar documents; and

    b. Which would have been necessary to make the location physically capable of resuming the level of
       "operations" which existed prior to the loss or damage after the completion of repairs, replacement, or
       rebuilding.

    "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
    or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
    neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

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   The expiration date of this policy will not cut short the "period of restoration".

54. "Personal property" means:

   a.   "Your personal property";

   b. "Your employees’ personal property";

   c.   "Personal property of others" in your care, custody, or control;

   d. The value of labor, materials, or services furnished or arranged by you on "personal property of others";

   e.   Your interest in "improvements and betterments" to buildings or structures; and

   f.   Glass which, as a tenant, you are required to insure.

   "Personal property" does not mean:

   a.   Naturally occurring water;

   b. Growing crops or standing timber;

   c.   "Outdoor trees, shrubs, plants, or lawns";

   d. "Money", bills, notes, or "securities";

   e.   Contraband or property in the course of illegal transportation or trade;

   f.   Animals, unless:

        1) Owned by others and boarded by you; or

        2) Owned by you as "stock" while inside of buildings;

   g. "Fine arts";

   h. "Original information property";

   i.   Vehicles or self-propelled machines (including aircraft or watercraft) that:

        1)    Are licensed for use on public roads; or

        2)    Are operated principally away from a "premises" or "reported unscheduled premises";

        But not:

        1)    Vehicles or self-propelled machines you manufacture, process, warehouse, or hold for sale, other than
              vehicles licensed for use on public roads;

        2)    Vehicles licensed for use on public roads that you manufacture, process, warehouse, or hold for sale,
              while on a "premises" or "reported unscheduled premises"; or

        3)    Unpowered watercraft while out of water on a "premises" or "reported unscheduled premises";

   j.   Property contained in underground mines, mine shafts, caverns, open pits, or quarries; or

   k.   "Research and development property".


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55. "Personal property of others" means personal property not owned by you, your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

56. "Pollutants" means any solid, liquid, gaseous, or thermal irritant, or "contaminant", including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned, or reclaimed.

57. "Premises" means:

    A location scheduled on the Declarations for this Commercial Property Coverage Part.

    a.   If the location is described by an address only, it includes the area associated with that address in which you
         are legally entitled to conduct your business activities and includes that area extending 1,000 feet beyond the
         address.

    b. If the location is described by an address and further described by geographic boundaries, it includes only
       the area within such geographic boundaries in which you are legally entitled to conduct your business
       activities and includes that area extending 1,000 feet beyond that area.

         If you are a tenant, for purposes of "time element coverage", "premises" includes those portions of the
         location not rented or intended to be rented to others.

58. "Raw stock" means material in the state in which you acquired it for conversion into "finished stock".

59. "Real property" means:

    a.   Buildings;

    b. Permanent structures;

    c.   Equipment and apparatus used to maintain or service the buildings, structures, or their "premises" or
         "reported unscheduled premises"; and

    d. Materials, equipment, supplies, and temporary structures used for making additions, alterations, or repairs to
       the buildings or permanent structures.

    "Real property" does not mean:

    a.   "Fine arts";

    b. Land;

    c. Water;

    d. Underground mines, mine shafts, caverns, open pits, or quarries;

    e.   Growing crops or standing timber;

    f.   "Outdoor trees, shrubs, plants, or lawns";

    g. "Research and development property";

    h. "Contractor’s equipment";

    i.   "Contractor’s employees’ property";

    j.   "Installation property";

    k.   "Landscaping materials"; or

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    l.   Property of others in your care, custody, or control for "rigging".

60. "Recipient locations" means locations owned or operated by others, who you depend on to accept your products
    or services.

61. "Replacement cost" means the lesser of:

    a.   Repair Cost

         The cost to repair the "real property" or "personal property" at the time of direct physical loss or damage with
         new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance with
         all applicable zoning, land use, or construction codes in force at the time of loss or damage. This includes
         the cost to reconstruct or remodel undamaged portions of the "real property" when those costs are a
         consequence of enforcement of such codes.

    b. Rebuild Cost

         The cost to rebuild the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss or damage. Unless
         otherwise required at the time of loss by the applicable codes, this cost will be based on rebuilding at the
         same location where the loss occurred.

    c.   Replace Cost

         The cost to replace the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss. Unless otherwise
         required at the time of loss by the applicable codes, this cost will be based on replacing at the same location
         where the loss or damage occurred.

         If property of the same kind and quality is no longer available, we will pay to replace it with other property of
         similar quality and function, including property of greater processing capacity.

         "Real property"and "personal property" valuation includes the cost you paid for non-refundable or non-
         transferable extended warranties, maintenance contracts, or service contracts which were still in force at the
         time of loss or damage and are no longer valid as a result of loss of or damage to "real property" or "personal
         property".

         If there is an ordinance or law in force at the time of loss or damage that regulates zoning, land use, or
         construction of "real property" or "personal property" at the "premises" or "reported unscheduled premises",
         and if loss or damage covered by this Commercial Property Coverage Part causes a demolition order to be
         issued pursuant to any such ordinance or law, "replacement cost" includes the costs to demolish and clear
         the site of the undamaged portion of the "real property" or "personal property".

    "Replacement cost" does not mean:

    a.   Costs associated with the enforcement of any ordinance or law which requires any insured or others to test
         for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond to, or assess the
         effects of, "pollutants" or "microorganisms";

    b. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
       remodeling, or remediation of property due to contamination by "pollutants" or due to the presence, growth,
       proliferation, spread, or any activity of "microorganisms"; or

    c.   Costs to comply with any ordinance or law that you were required to comply with before the loss or damage.



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62. "Reported unscheduled premises" means permanently fixed locations for which you have submitted a schedule
    on file with us containing:

    a.   The address of the location and includes that area extending 1000 feet beyond the address;

    b. An identification of the property, business income, or extra expense to be covered; and

    c.   The value of such identified property, business income, or extra expense.

    If you are a tenant, for purposes of "time element coverage", "reported unscheduled premises" includes those
    portions of the location not rented or intended to be rented to others.

    "Reported unscheduled premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   An "unreported premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "temporary storage location";

    g. A "rigging premises"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

63. "Research and development continuing expenses" means your continuing normal operating expenses that are
    directly attributable to "research and development operations", including payroll, rental payments as tenants, and
    factory overhead.

64. "Research and development extended period of indemnity" means the period of time that begins on the date the
    "period of restoration"ends and ends on the earlier of:

    a.   The effective date of new contracts that will utilize that portion of your "research and development continuing
         expenses"attributable to a suspension, lapse, or cancellation for which coverage is provided under
         paragraph b. of the Extended Period of Indemnity Additional Coverage; or

    b. The date calculated by adding the number of days shown on the Declarations for Research and Development
       Extended Period of Indemnity--Business Income to the date the "period of restoration" ended.

65. "Research and development operations" means your business activities where "research and development
    property" is being planned, created, developed, or tested.

66. "Research and development property" means:

    a.   Information which cannot be duplicated or purchased from another source, including any material it is
         inscribed, printed, written, or recorded upon, including documents, manuscripts, records, data, or programs,
         developed or used in conjunction with any research and development project;

    b. Original or experimental property;

    c. Prototypes or samples;

    d. Experiments in progress;
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    e.   Biological products, processes, or cultures; and

    f.   "Research animals".

    "Research and development property" does not mean:

    a.   Animals, other than "research animals";

    b. "Money", bills, notes, or "securities";

    c.   "Stock";

    d. "Fine arts"; or

    e.   Growing plants or crops.

67. "Research animal" means any multi-cellular organism that is used in your "research and development operations".

68. "Rigging" means rigging, hoisting, moving, erecting, lowering, and millwright work.

69. "Rigging premises" means a location for the purpose of:

    a.   "Rigging";

    b. Assembling or dismantling work done in connection with a "rigging" project; or

    c.   Operations incidental to a "rigging", assembling, or dismantling project.

70. "Salespersons samples" means "personal property" that is in the custody of one of your salespersons and used
    only for sample purposes.

71. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or
    property and includes:

    a.   Tokens, tickets, revenue, and other stamps whether or not in current use; and

    b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you.

    "Securities" does not mean:

    a.   "Money"; or

    b. Lottery tickets held for sale.

72. "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by the
    action of water on limestone or similar rock formations.

    "Sinkhole collapse" does not mean the:

    a.   Sinking or collapse of land into man-made underground cavities;

    b. Sinking or collapse of land caused by or resulting from "flood"; or

    c.   Cost of filling sinkholes.




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73. "Specified causes of loss" means the following:

    a.   Fire;

    b. Lightning;

    c.   Explosion;

    d. Windstorm or hail;

    e.   Smoke;

    f.   Aircraft or vehicles;

    g. Riot or civil commotion;

    h. Vandalism;

    i.   Leakage from fire extinguishing equipment;

    j.   "Sinkhole collapse";

    k.   Volcanic action;

    l.   Falling objects, excluding loss or damage to:

         1) "Personal property" in the open; or

         2) The interior of buildings or property inside buildings, unless the roof or an outside wall of the building is
            first damaged by a falling object;

    m. Weight of snow, ice, or sleet;

    n. Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
       steam; and

    o. "Equipment breakdown cause of loss", excluding loss of or damage to "stock" caused by the discharge,
       dispersal, release, or escape of refrigerants.

74. "Stock" means the following:

    a.   "Raw stock";

    b. "Stock in process";

    c.   "Finished stock"; and

    d. "Merchandise".

75. "Stock in process" means "raw stock" which has undergone aging, seasoning, mechanical, or other process of
    manufacture but which has not become "finished stock".

76. "Suspended equipment" means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping
    and its accessory equipment, and any mechanical or electrical machine or apparatus used for the generation,
    transmission, or utilization of mechanical or electrical power, provided we have complied with the requirements
    described in the Suspended Equipment Condition contained in the COMMERCIAL PROPERTY CONDITIONS.


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77. "Suspension" means:

    a.   The slowdown or cessation of your business activities; or

    b. That a part or all of the covered location is rendered untenantable.

78. "Temporary storage location" means a permanently fixed location where "stock" or "installation property" that is to
    become a permanent part of an "installation or service premises" is stored while waiting to be delivered to an
    "installation or service premises":

    a.   That you do not own, lease, or operate; and

    b. Where there is a written construction or installation contract or agreement to install "stock" or "installation
       property" at that "installation or service premises".

    "Temporary storage location" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition; or

    f.   An "unreported premises".

79. "Time element coverage" means the coverage provided under any of the following:

    a.   BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE);

    b. BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
       EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY; or

    c.   EXTRA EXPENSE COVERAGE FORM.

80. "Unreported premises" means a permanently fixed location that contains "real property" or "personal property" in
    which you have an insurable interest, but has not been reported to us.

    "Unreported premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition;

    f.   An "installation or service premises";

    g. A "temporary storage location"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

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81. "Your employees’ personal property" means personal property owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

82. "Your personal property" means personal property owned by you.




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Real and Personal Property Coverage Form


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Real and Personal Property Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises" directly
     caused by a "covered cause of loss". We will not pay more in any one occurrence than the applicable Limit of
     Insurance shown on the Declarations for such loss of or damage to Covered Property at that "premises".

B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Cracking and Settling

          We will not pay for loss or damage caused by or resulting from bulging, cracking, shrinkage, expansion, or
          settling of "real property" or "personal property". This exclusion applies even if one of these excluded
          causes of loss was caused by or resulted from a "mistake" or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     3.   Disappearance or Shortage

          We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
          inventory or where there is no physical evidence to show what happened to the property. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
          "malfunction".

     4.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
          or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:




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     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

5.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "real property" or "personal property" caused by leakage from "fire protection
     sprinkler system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
     "fire protection sprinkler system piping" leakage.

6.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

7.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.    Wear and tear;

     b.    Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.    Smog;

     d.    Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
           property that causes it to damage or destroy itself;

     e.    Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
           rodents, or other animals; or

     f.    Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".




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8.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

9.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.    Seizure or destruction of property by order of governmental authority and taken at the time of fire to
           prevent its spread; or

     b.    Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
           regulating construction, use, or repair of any property; provided such demolition order has become
           legally enforceable as a result of physical damage to:

           1)   Covered "real property"; or

           2)   Covered "personal property";

           directly caused by a "covered cause of loss".

           However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
           which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
           or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

10. Impact Damage

     We will not pay for loss or damage caused by or resulting from water, including water pressure, ice, or
     impact of watercraft to buildings or structures located on or partially over water, including retaining walls,
     bulkheads, piers, wharves, docks, or any other property located on those structures. This exclusion applies
     even if one of these excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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    But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
    lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
    loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

    We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
    radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
    cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
    the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
    or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
    solely caused by that fire.

14. Off-Premises Service Interruption

    We will not pay for loss or damage caused by or resulting from any "off-premises service interruption". Such
    loss or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
    weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

15. Pollutants

    We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
    release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
    caused by a "specified cause of loss", we will pay only for that portion of the loss or damage solely caused
    by that "specified cause of loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

16. Process Failures, Defects, or Errors

    We will not pay for any of the following:

    a.    Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          calibration, development, distribution, installation, manufacturing, maintenance, processing, repair,
          research, or testing of such "stock".

    b.    Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:




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          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of any property on or off a "premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

    c.    Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
          the loss or damage which was solely caused by that "covered cause of loss".

    d.    Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
          exclusion applies even if this excluded cause of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
          the loss or damage which was solely caused by that "covered cause of loss".

17. Suspended Equipment

    We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
    "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
    resulted from a "mistake" or "malfunction".

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

18. War and Military Action

    We will not pay for loss or damage arising, directly or indirectly, out of:

    a.    War, including undeclared or civil war;

    b.    Warlike action by a military force, including action in hindering or defending against an actual or
          expected attack, by any government, sovereign, or other authority using military personnel or other
          agents; or

    c.    Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
          hindering or defending against any of these.

    Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
    "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.




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C.   LIMITATIONS

     The following types of property are covered only up to the Limits of Insurance shown below in any one
     occurrence for loss or damage due to theft:

     1.   $2,500 for furs, fur garments, and garments trimmed with fur.

     2.   $2,500 for jewelry, watches, watch movements, jewels, pearls, precious and semiprecious stones, bullion,
          gold, silver, platinum, and other precious alloys or metals.

          This limit does not apply to:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes.

     3.   $250 for lottery tickets held for sale.

     These Limits of Insurance are included in, and not in addition to, any other applicable Limits of Insurance.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace the "real property" or "personal property"
               at the same or another location.

     2.   Except as provided in 3., 5., 6., and 7. below, "real property" or "personal property", other than
          "improvements and betterments", which is not repaired, rebuilt, or replaced will be valued at the "actual cash
          value" at the time and place of loss or damage. If you commence the repair, rebuilding, or replacement of
          the lost or damaged "real property" or "personal property" within 24 months from the date the loss or damage
          occurred, upon completion of the repair, rebuilding, or replacement, we will pay you the difference between
          the "actual cash value" previously paid and the "replacement cost"at the time of loss or damage.

     3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
          less any discounts and expenses you otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
          proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
          no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   "Improvements and betterments"at:

          a.   The "replacement cost" if you make repairs with reasonable speed.




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          b.   A proportion of your original cost if you do not make repairs with reasonable speed. We will determine
               the proportionate value as follows:

               1)   Multiply the original cost by the number of days from the loss or damage to the expiration of the
                    lease; and

               2)   Divide the amount determined in 1) above by the number of days from the installation of
                    "improvements and betterments" to the expiration of the lease.

               If your lease contains a renewal option, the expiration of the renewal option period will be used as the
               expiration of the lease.

          c.   That portion which has not been paid if others pay for repairs, rebuilding, or replacement.

     6.   "Personal property" which has been permanently removed from service at "actual cash value".

     7.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

F.   OPTIONAL COVERAGE

     Margin Clause

     If Margin Clause is shown on the Declarations, we will not pay more than the lesser of the following:

     1.   The amount of covered loss or damage at the "premises"; or

     2.   The percentage applied to the applicable Limit of Insurance for such property at the "premises".

     The most we will pay is the applicable percentage shown on the Declarations for Margin Clause. However, in no
     event will we pay more than $5,000,000 over the applicable Limits of Insurance shown on the Declarations for
     that "premises".

     This Optional Coverage for "real property" or "personal property" does not apply to:

     1.   Any Limit of Insurance applicable to more than one "premises"; or

     2.   Any other Limit of Insurance applicable for which a specific coverage Limit of Insurance is provided.




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Additional Coverages Form

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Additional Coverages Form

A.   ADDITIONAL COVERAGES

     The following are Additional Coverages to coverages set forth in this Commercial Property Coverage Part. If you
     have not chosen a coverage elsewhere in this Commercial Property Coverage Part, there is no coverage under its
     corresponding Additional Coverages. For example, if you do not have coverage for "stock" under the REAL AND
     PERSONAL PROPERTY COVERAGE FORM, you will not have coverage related to "stock" under the
     Consequential Loss--Undamaged Stock Additional Coverage, or any other Additional Coverage for "stock".

     Each of the following Additional Coverages apply independently of one another. Unless otherwise stated, the
     excluded causes of loss, exclusions, terms, and conditions in the applicable Coverage Forms apply to these
     Additional Coverages.

     The most we will pay for loss, damage, cost, or expense under any of the following Additional Coverages are the
     Limits of Insurance shown on the Declarations. Limits for these Additional Coverages apply in addition to any
     other applicable policy limits, unless otherwise stated.

       1.   Consequential Loss--Net Leasehold Interest

            We will pay for the loss of "net leasehold interest" you sustain when your lease is cancelled:

            a.     By the lessor; and

            b.     As a result of a valid condition of your lease,

            due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
            "covered cause of loss" at a "premises" or "reported unscheduled premises". We will not pay more than the
            "net leasehold interest" at the time of the cancellation of the lease. However, if your lease is cancelled and
            your landlord lets you continue to use the "premises" or "reported unscheduled premises" under a new
            lease, we will not pay more than:

            a.     The rent you will pay under the new lease; minus

            b.     The rent you were paying at the time of cancellation.

            We will not pay under this Additional Coverage if the "premises" or "reported unscheduled premises" where
            the lease is cancelled had been vacant for more than 60 consecutive days prior to the loss or damage
            unless you had entered into an agreement to sublease the "premises" or "reported unscheduled premises".

            The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
            premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Net Leasehold
            Interest.

            The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
            Insurance.




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2.   Consequential Loss--Tenant’s Improvements and Betterments

     We will pay for the value of undamaged "improvements and betterments" when your lease is cancelled:

     a.     By the lessor; and

     b.     As a result of a valid condition of your lease,

     due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
     "covered cause of loss" at a "premises" or "reported unscheduled premises".

     If you rent an entire building, we will pay only if:

     a.     At least 25% of the area of that entire building has been damaged; or

     b.     A minimum of 6 months remains in your current lease and at least 6 months is required to repair the
            building for your occupancy.

     If you rent a portion of a building, we will only pay if:

     a.     A minimum of 6 months remains in your lease; and

     b.     At least 6 months is required to repair the building for your occupancy.

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Tenant’s
     Improvements and Betterments.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Consequential Loss--Undamaged Stock

     We will pay for the consequential loss in value of undamaged "stock" which has become unmarketable as a
     complete product because of direct physical loss of or damage to other "stock" directly caused by a
     "covered cause of loss".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Undamaged Stock.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Contamination by a Refrigerant

     We will pay for direct physical loss of or damage to "stock" caused by the release or escape of refrigerants
     from any equipment located at a "premises" or "reported unscheduled premises" provided the release or
     escape was not caused by or resulted from "flood" or "earth movement".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Contamination by a Refrigerant.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.




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5.   Debris Removal

     a.     We will pay your expense to remove debris of Covered Property, for which a Limit of Insurance is
            shown on the Declarations, remaining after a "covered cause of loss". The most we will pay under
            this Additional Coverage for Debris Removal is the remaining applicable Limit of Insurance for the
            Covered Property shown on the Declarations after payment of the covered physical loss or damage.

            If the total of the loss or damage and debris removal expense exceeds the applicable Limit of
            Insurance, we will pay the remaining debris removal expenses. The most we will pay under this
            Additional Coverage in any one occurrence is the Limit of Insurance shown on the Declarations for
            Debris Removal--Supplemental Limit.

     b.     If wind causes direct physical loss of or damage to Covered Property, we will also pay for the
            expenses you incur to remove debris of uncovered property that is blown on to the "premises" or
            "reported unscheduled premises" by wind and to remove debris of "outdoor trees, shrubs, plants, or
            lawns" damaged by wind.

            The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
            shown on the Declarations for Debris Removal--Uncovered Property.

     In no event will there be any coverage under this Debris Removal Additional Coverage for any costs to:

     a.     Extract "pollutants" from land or water; or

     b.     Remove, restore, or replace polluted land or water.

     The expenses will be paid only if they are reported to us in writing within 180 days of the date of loss or
     damage.

6.   Deferred Payments

     We will pay your financial interest in "personal property" that suffers direct physical loss or damage directly
     caused by a "covered cause of loss" after delivery to buyers and sold by you on a conditional sale or trust
     agreement, or any installment or deferred payment plan.

     This Additional Coverage does not apply to default of such agreement or plan by the buyer.

     We will determine the amount of covered loss or damage as follows:

     a.     In the event of a total loss and the buyer refuses to continue payment, coverage will be valued based
            on the amount shown on your books as due from the buyer;

     b.     In the event of partial loss or damage and the buyer refuses to continue payment, forcing you to
            repossess, coverage will be valued as follows:

            If the realized value of the repossessed "personal property" is:

            1)    Greater than or equal to the amount shown on your books as due from the buyer, we will
                  make no payment; or

            2)    Less than the amount shown on your books as due from the buyer, we will pay the difference,
                  less any amount that was past due at the time of loss by more than 30 days; and

     c.     When a loss occurs and the buyer continues to pay you, there will be no loss payment.




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      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Deferred Payments.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

7.    Electronic Vandalism--Direct Damage

      We will pay for loss of or damage to "accounts receivable records", "duplicate information property",
      "electronic data processing hardware", or "original information property" caused by "electronic vandalism".

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Electronic Vandalism--Direct Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

8.    Expediting Expense

      In the event of covered loss of or damage to "real property" or "personal property" at a "premises" or
      "reported unscheduled premises" directly caused by a "covered cause of loss", we will pay reasonable and
      necessary additional expenses you incur for temporary repair of damage to such "real property" or
      "personal property" and the additional expenses you incur for expediting the permanent repair or
      replacement of such damaged property. This Additional Coverage does not include expenses recoverable
      elsewhere in this Commercial Property Coverage Part.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Expediting Expense.

9.    Fairs or Exhibitions

      We will pay for direct physical loss of or damage to "personal property":

      a.     At fairs or exhibitions; and

      b.     In transit to or from fairs or exhibitions,

      directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Fairs or Exhibitions--Personal Property.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

10.   Fire Department Service Charge

      When the fire department is called to save or protect Covered Property from a "covered cause of loss" at a
      "premises" or "reported unscheduled premises", we will pay for your liability for the fire department service
      charges:

      a.     Assumed by contract or agreement prior to loss; or

      b.     Required by local ordinance, law, or statute.




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      We will also pay for those costs incurred by your fire brigade to save or protect Covered Property from a
      fire, but not including the costs to refill fire protective equipment.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Fire Department Service Charge.

      No deductible applies to this Additional Coverage.

11.   Fire Protective Equipment Refills

      We will pay the reasonable and necessary costs you incur to refill fire protective equipment which has been
      discharged:

      a.      Accidentally; or

      b.      In the course of saving or protecting Covered Property from a "covered cause of loss".

      No Limit applies to this Additional Coverage.

12.   Inflation Guard

      The Limits of Insurance to which the Inflation Guard applies will automatically increase by the annual
      percentage shown on the Declarations.

      The amount of the increase will be:

      a.      The Limit of Insurance that applied on the most recent of this Commercial Property Coverage Part’s
              inception date, anniversary date, or date of any other Commercial Property Coverage Part change
              amending the Limit of Insurance, multiplied by

      b.      The percentage of annual increase shown on the Declarations, expressed as a decimal (Example: 8%
              is .08), multiplied by

      c.      The number of days since the beginning of the most recent Commercial Property Coverage Part year
              or the effective date of the most recent Commercial Property Coverage Part change amending the
              Limit of Insurance, divided by 365.

      Example:

      If:           The applicable Limit of Insurance is                     $100,000

                    The annual percentage increase is                              8%

                    The number of days since the beginning of the
                    Coverage Part Year (or last Coverage Part change) is           146

      Then:         The amount of increase is $100,000 x .08 x 146 / 365 =   $   3,200

                    The available Limit of Insurance is                       $103,200

13.   Lock and Key Replacement

      We will pay the reasonable cost of:

      a.      Entry key replacement if keys to a "premises" or "reported unscheduled premises" are stolen; or




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      b.     Entry lock repair or replacement made necessary by theft or attempted theft at a "premises" or
             "reported unscheduled premises".



      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Lock and Key Replacement.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

14.   Microorganisms

      We will pay the following when "microorganisms" are the result of a "covered cause of loss", other than fire
      or lightning:

      a.     Direct physical loss of or damage to Covered Property caused by "microorganisms", including the
             cost of removal of the "microorganisms";

      b.     The reasonable cost to tear out and replace any part of the covered building or other property
             needed to gain access to the "microorganisms"; and

      c.     The reasonable cost of testing performed after removal, repair, replacement, or restoration of the
             damaged property is completed, provided there is a reason to believe that the "microorganisms" are
             still present.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Microorganisms. Regardless of the number of claims, this
      Limit is the most we will pay for the total of all loss, damage, or cost, even if the "microorganisms" continue
      to be present, active, or recur.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

15.   Newly Acquired Premises

      We will pay for direct physical loss of or damage to "real property" or "personal property" at a "newly
      acquired premises" directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the "newly acquired premises" to us;

      b.     The number of days shown on the Declarations from the date the location becomes a "newly
             acquired premises"; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the applicable
      Limit of Insurance shown on the Declarations for Newly Acquired Premises.

16.   Newly Acquired Property

      We will pay for direct physical loss of or damage to:




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      a.     Your newly acquired or constructed "real property" at a "premises" if coverage is not currently
             shown for "real property" at that "premises" on the Declarations; and

      b.      Your newly acquired "personal property" at a "premises" if coverage is not currently shown for
             "personal property" at that "premises" on the Declarations.

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the newly acquired property to us;

      b.     The number of days shown on the Declarations from the date construction of "real property" begins
             or completed "real property" or "personal property" is acquired; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date construction of "real property"
      begins or "personal property" or completed "real property" is acquired.

      The most we will pay under this Additional Coverage at any one "premises" is the applicable Limit of
      Insurance shown on the Declarations for Newly Acquired Property.

17.   Off-Premises Service Interruption--Direct Damage

      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises"
      or "reported unscheduled premises" directly caused by an "off-premises service interruption". The
      interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
      to any property located away from the "premises" or "reported unscheduled premises" and used to
      provide any of the following services to the "premises" or "reported unscheduled premises":

      a.     Water;

      b.     Power, including steam and natural gas; or

      c.     Communication.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Direct
      Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

18.   Outdoor Trees, Shrubs, Plants, or Lawns

      We will pay for direct physical loss of or damage to "outdoor trees, shrubs, plants, or lawns" at a "premises"
      or "reported unscheduled premises" directly caused by:

      a.     Fire;

      b.     Lightning;

      c.     Explosion;

      d.     Riot or civil commotion; or




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      e.     Aircraft.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" and for any one tree, shrub, plant, or lawn are the Limits of Insurance shown on the
      Declarations for Outdoor Trees, Shrubs, Plants, or Lawns.

19.   Pollutant Clean Up and Removal--Land and Water

      We will pay the reasonable expenses you incur to extract "pollutants" from land or water at a "premises" or
      "reported unscheduled premises" if the discharge, dispersal, seepage, migration, release, or escape of the
      "pollutants" is directly caused by a "covered cause of loss".

      This Additional Coverage does not apply to the costs to test for, monitor, or assess the existence,
      concentration, or effects of "pollutants". But we will pay for the reasonable cost of testing performed in the
      course of extracting the "pollutants" from the land or water.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" in any one policy year is the Annual Aggregate Limit of Insurance shown on the Declarations for
      Pollutant Clean Up and Removal--Land and Water.

      The expenses will be paid only if they are reported to us in writing within 180 days of the date on which the
      "covered cause of loss" occurs.

20.   Preservation of Property

      If Covered Property is removed from a "premises" or "reported unscheduled premises" to preserve it from
      actual or imminent physical loss or damage caused by a "covered cause of loss":

      We will pay for:

      a.     Any direct physical loss of or damage to Covered Property while it is being moved to or while stored
             at another location for up to the number of days shown on the Declarations for Preservation of
             Property; and

      b.     The reasonable cost to remove Covered Property from the "premises" or "reported unscheduled
             premises".

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
      Insurance shown on the Declarations for that Covered Property.

21.   Professional Fees

      We will reimburse you for the reasonable expenses you incur for professional services for auditors,
      accountants, architects, or engineers which are necessary to prepare a statement of loss or exhibits
      required in connection with any loss covered under this Commercial Property Coverage Part. This
      Additional Coverage does not apply to fees and costs of:

      a.     Your employees; or

      b.     Attorneys, public adjusters, loss appraisers, or loss consultants.

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Professional Fees.

22.   Reported Unscheduled Premises




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      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "reported
      unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
      applicable Limit of Insurance shown on the Declarations for Reported Unscheduled Premises.

23.   Reward Payments

      We will reimburse you for rewards you pay for information leading to:

      a.     The successful return of undamaged stolen Covered Property to you or a law enforcement agency;
             or

      b.     The arrest and conviction of any persons for having damaged or stolen your Covered Property.

      The reward payments must be documented.

      The most we will pay under this Additional Coverage in any one occurrence is 25% of the covered loss,
      prior to the application of any applicable deductible and recovery of any Covered Property, up to the Limit
      of Insurance shown on the Declarations for Reward Payments.

24.   Salespersons Samples

      We will pay for direct physical loss of or damage to "salespersons samples" in transit while in the custody
      of a salesperson or at any location, other than a "premises" or "reported unscheduled premises", directly
      caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Salespersons Samples.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

25.   Spoilage--Equipment Breakdown

      We will pay for direct physical loss of or damage to "stock" at a "premises" or "reported unscheduled
      premises" directly caused by the loss of or changes in any artificially maintained or generated temperature,
      humidity, or atmosphere resulting from an "equipment breakdown cause of loss" to atmosphere control
      equipment at the "premises" or "reported unscheduled premises".

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Spoilage--Equipment Breakdown.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

26.   Theft Damage to Buildings

      We will pay for direct physical loss of or damage to "real property" at a "premises" or "reported unscheduled
      premises" in which you are a tenant directly caused by theft, burglary, or robbery, provided you are legally
      obligated to pay for such loss or damage.

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations
      for "personal property" at that "premises" or "reported unscheduled premises".

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.




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     27.   Unreported Premises

           We will pay for direct physical loss of or damage to "real property" and "personal property", other than
           "salespersons samples" or property in transit, at an "unreported premises" directly caused by a "covered
           cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises.

B.   DEDUCTIBLE

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of loss, damage, cost,
     or expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, cost, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.




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Accounts Receivable Coverage Form
(Revenue Loss)

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Accounts Receivable Coverage Form
(Revenue Loss)

A.   COVERAGES

     1.   Accounts Receivable (Revenue Loss)

          We will pay for:

          a.   The "money" due you from customers that you are unable to collect;

          b.   Interest charges on any loan required to offset amounts you are unable to collect pending our
               payment of these amounts; and

          c.   Collection expenses in excess of your normal collection expenses that are made necessary by the
               loss or damage,

          that result from direct physical loss of or damage to your "accounts receivable records" at a "premises" or
          "reported unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
          premises" is the Limit of Insurance shown on the Declarations for Accounts Receivable (Revenue Loss).

      2. Accounts Receivable (Revenue Loss)--Away From Premises

          We will also pay for:

          1.   The "money" due you from customers that you are unable to collect;

          2.   Interest charges on any loan required to offset amounts you are unable to collect pending our
               payment of these amounts; and

          3.   Collection expenses in excess of your normal collection expenses that are made necessary by the
               loss or damage,

          that result from direct physical loss of or damage to your "accounts receivable records" away from a
          "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown
          on the Declarations for Accounts Receivable (Revenue Loss)--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.   Alteration, Falsification, Concealment, or Destruction

          We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
          destruction of "accounts receivable records" done to conceal the wrongful giving, taking, or withholding
          of "money", "securities", or other property.




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2.   Bookkeeping, Accounting, or Billing Mistakes

     We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in
     bookkeeping, accounting, or billing.

3.   Defects or Errors

     We will not pay for any of the following:

     a.   Loss or damage caused by or resulting from a "mistake" in:

          1)   Programming;

          2)   Instructions to a machine; or

          3)   Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing

          of part or all of any property on or off a "premises" or "reported unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "accounts receivable
     records". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including




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     leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
     you have entrusted the "accounts receivable records" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to
           them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will
     pay for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "accounts receivable records" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from
     the "fire protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.


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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion
     of the loss or damage which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation,
     expropriation, nationalization, or destruction of property by order of governmental authority. Such loss
     or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered.

     This exclusion does not apply to acts of destruction of "accounts receivable records" ordered by
     governmental authority and taken at the time of fire to prevent its spread.

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage
     which was solely caused by that fire.

14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:




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          a.    War, including undeclared or civil war;

          b.    Warlike action by a military force, including action in hindering or defending against an actual or
                expected attack, by any government, sovereign, or other authority using military personnel or other
                agents; or

          c.    Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
                hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss, damage, or expense in any one occurrence until the amount of loss, damage, or
     expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.

D. VALUATION

     If you cannot accurately establish the amount of accounts receivable outstanding at the time of loss or
     damage to "accounts receivable records", the following method will be used to determine the amount of
     covered loss, damage, or expense:

     1.   Determine the total of the average monthly amounts of accounts receivable for the 12 months immediately
          preceding the month in which the loss or damage occurred; and

     2.   Adjust that total for normal fluctuations in the amount of accounts receivable for the month in which the
          loss or damage occurred or for any demonstrated variance from the average for that month.

     The following will be deducted from the total amount of accounts receivable, however that amount is
     established:

     1.   The amount of the accounts receivable for which there is no loss or damage;

     2.   The amount of the accounts receivable that you are able to re-establish or collect;

     3.   An amount to allow for probable bad debts that you are normally unable to collect; and

     4.   All unearned interest and service charges.




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Fine Arts Coverage Form

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Fine Arts Coverage Form

A.   COVERAGES

     1.    Fine Arts

           We will pay for direct physical loss of or damage to "fine arts" at a "premises" or "reported unscheduled
           premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
           is the Limit of Insurance shown on the Declarations for Fine Arts.

      2.   Fine Arts--Away From Premises

           We will also pay for direct physical loss of or damage to "fine arts" away from a "premises" or "reported
           unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Fine Arts--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
                "mistake" in:

                1)   Planning, zoning, development, surveying, siting;

                2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
                     compaction;

                3)   Materials used in repair, construction, renovation, or remodeling; or

                4)   Maintaining or servicing,

                of part or all of any property on or off a "premises" or "reported unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".

           b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
                incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
                unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".




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2.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "fine arts". This exclusion
     applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

3.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "fine arts" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

4.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "fine arts" caused by leakage from "fire protection sprinkler system piping" results
     from "earth movement", and there is no other loss or damage from "earth movement" to that same property,
     we will pay for direct physical loss or damage caused solely from the "fire protection sprinkler system piping"
     leakage.

5.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.




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     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

6.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

7.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of "fine arts" by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property",

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

8.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

9.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     10. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     11. Pollutants

         We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
         release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
         caused by a "specified cause of loss", we will pay only for that portion of the loss or damage which was
         solely caused by that "specified cause of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

     12. Repair, Restoration, or Retouching

         We will not pay for loss of or damage to "fine arts" caused by or resulting from repair, restoration, or
         retouching.

     13. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a. War, including undeclared or civil war;

         b. Warlike action by a military force, including action in hindering or defending against an actual or
            expected attack, by any government, sovereign, or other authority using military personnel or other
            agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D. VALUATION

   1.   "Fine arts"are valued based on the lesser of:

        a.   "Market value" at the time of loss or damage; or

        b.   The value of "fine arts" that are individually listed and described on the schedule on file with us.

  2.    Pairs or Sets

        In case of loss to any part of a pair or set, we may:

        a.   Repair or replace any part to restore the pair or set to its value before the loss; or

        b.   Pay the difference between the value of the pair or set before and after the loss.




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Installation and Service Property Coverage Form

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Installation and Service Property Coverage Form

A.   COVERAGES

     1.   Stock to be Installed

          We will pay for direct physical loss of or damage to "stock" directly caused by a "covered cause of loss" while
          such "stock" is:

          a.   At an "installation or service premises";

          b.   At a "temporary storage location"; or

          c.   In transit, to or from an "installation or service premises" or a "temporary storage location".

          Coverage ends at the earlier of the following:

          a.   Your insurable interest in the "stock" ceases;

          b.   The "stock" is accepted by the purchaser;

          c.   The "stock" is installed and you have been paid;

          d.   The "stock" is installed and put to its intended use; or

          e.   The policy expires or is cancelled.

          The most we will pay under this Marine Coverage in any one occurrence is the applicable Limit of Insurance
          shown on the Declarations for Installation and Service Property--Stock to be Installed.

     2.   Tools and Equipment

          We will pay for direct physical loss of or damage to:

          a.   "Personal property" that are tools and equipment; and

          b.   Vehicles that are not licensed for use on public roads,

          used by you to install or service property at an "installation or service premises" directly caused by a
          "covered cause of loss". Coverage applies while such property is:

          a.   At an "installation or service premises"; or

          b.   In transit, to or from an "installation or service premises".

          The most we will pay under this Marine Coverage for any one item and in any one occurrence is the
          applicable Limit of Insurance shown on the Declarations for Installation and Service Property--Tools and
          Equipment or in a schedule on file with us.




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B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Disappearance or Shortage

          We will not pay for loss caused by disappearance or shortage disclosed on taking inventory or where there
          is no physical evidence to show what happened to the property. This exclusion applies even if one of these
          excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

     3.   Dishonest Acts

          We will not pay for loss caused by or resulting from fraudulent, dishonest, or criminal acts or omissions,
          committed by you, your partners, "members", officers, "managers", employees (including leased or
          temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

     4.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or




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     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

5.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.    Seizure or destruction of property by order of governmental authority and taken at the time of fire to
           prevent its spread; or

     b.    Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
           regulating construction, use, or repair of any property; provided such demolition order has become
           legally enforceable as a result of physical damage to "real property" containing covered "personal
           property" directly caused by a "covered cause of loss".

           However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
           which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
           or in any way respond to, or assess the effects of "microorganisms".

6.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

7.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".




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8.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But, if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

9.   Precipitation

     We will not pay for loss or damage caused by or resulting from rain, hail, snow, ice, or sleet to property in
     the open. This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   "Stock" in the custody of a carrier for hire; or

     b.   Vehicles that are not licensed for use on public roads.

10. Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of any property on or off an "installation or service premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off an "installation or service
          premises".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
          the loss or damage which was solely caused by that "covered cause of loss".

     d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
          exclusion applies even this excluded cause of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     11. Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     12. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

     13. Weight of Load

          We will not pay for loss of or damage to "personal property" that are tools and equipment or vehicles used
          by you to install or service property caused by or resulting from the weight of a load exceeding the
          manufacturer’s rated lifting or supporting capacity of any machine under the operating conditions at the time
          of loss or damage.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

D. ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to Covered Property in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   The coverage provided for "stock" by this Coverage Form is primary to any other insurance not subject to
          the same plan, terms, conditions, and provisions as this Coverage Form.




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E.   VALUATION

     We will determine the value of covered loss or damage as follows:

     1.    Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

           a.   The "replacement cost"; or

           b.   The "amount you actually spend" to repair, rebuild, or replace Covered Property.

     2.    Except as provided in 3., 5., 6., and 7. below, Covered Property which is not repaired, rebuilt, or replaced will
           be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
           rebuilding, or replacement of the lost or damaged Covered Property within 24 months from the date the loss
           or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the difference
           between the "actual cash value" previously paid and the "replacement cost"at the time of loss or damage.

     3.    "Merchandise" and "finished stock" at the regular cash selling price, less any discounts and expenses you
           otherwise would have had.

     4.    "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
           proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
           no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.    Covered Property which has been permanently removed from service at "actual cash value".

     6.    "Duplicate information property" at the lesser of:

           a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

           b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
                source on the same type of materials, provided such copying does not violate licensing or contract
                agreements.

      7.   Subject to 1., 2., and 5. above, the most we will pay for any one item for scheduled equipment is the value
           per item shown on the schedule on file with us.




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Original Information Property Coverage Form

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Original Information Property Coverage Form

A.   COVERAGES

      1.   Original Information Property

           We will pay for direct physical loss of or damage to "original information property" at a "premises" or
           "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
           is the Limit of Insurance shown on the Declarations for Original Information Property.

      2.   Original Information Property--Away From Premises

           We will also pay for direct physical loss of or damage to "original information property" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Original Information Property--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "original information property" done to conceal the wrongful giving, taking, or withholding of
           "money", "securities", or other property.

     2.    Bookkeeping, Accounting, or Billing Mistakes

           We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in bookkeeping,
           accounting, or billing.

     3.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage caused by or resulting from a "mistake" in:

                1)   Programming;

                2)   Instructions to a machine; or

                3)   Installation or maintenance of "electronic data processing hardware" or component parts.

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".




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     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of "original information property" on or off a "premises" or "reported unscheduled
          premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "original information
     property". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "original information property" for any purpose:

     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event




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     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "original information property" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is not other loss or damage from "earth movement"
     to that same property, we will pay for the direct physical loss or damage caused solely from the "fire
     protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to acts of destruction of "original information property" ordered by
     governmental authority and taken at the time of fire to prevent its spread.



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     11. Loss of Market or Delay

         We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
         exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
         "malfunction".

     12. Microorganisms

         We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
         aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
         resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
         including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
         to the loss, even if such other cause or event would otherwise be covered.

         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     13. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     14. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a.   War, including undeclared or civil war;

         b.   Warlike action by a military force, including action in hindering or defending against an actual or
              expected attack, by any government, sovereign, or other authority using military personnel or other
              agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D. VALUATION

   We will determine the value of covered loss or damage to lost or damaged "original information property" at the
   full cost necessary to research and reproduce a master copy, including the information and material on which it
   resides.     However, we will only pay for costs of research and reproduction if you reproduce your
   "original information property". We will not include the cost of making additional copies.




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Transit Coverage Form

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Transit Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "personal property" in transit, including:

     1.   Your interest in shipments sold under Free on Board or Freight Allowed terms;

     2.   "Personal property" when the purchaser refuses to accept delivery or returns it to the shipper; or

     3.   General average and salvage charges on shipments while waterborne,

     directly caused by a "covered cause of loss".

     The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on the
     Declarations for Transit--Personal Property.

B.   PROPERTY NOT COVERED

     This Coverage Form does not apply to:

     1.   "Personal property" in transit to or from a fair or exhibition;

     2.   "Salespersons samples";

     3.   Property of others in your care, custody, or control if you are acting as a carrier for hire, broker, loader,
          consolidator, or freight forwarder with a written contract or bill of lading;

     4.   "Personal property" used by you to install or service property at an "installation or service premises";

     5.   "Stock" in transit to or from an "installation or service premises" or a "temporary storage location";

     6.   Furs, fur garments, and garments trimmed with fur;

     7.   Jewelry, watches, watch movements, jewels, pearls, precious or semiprecious stones, bullion, gold, silver,
          platinum, and other precious alloys or metals, except for:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes; or

     8.   Lottery tickets held for sale.




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C. EXCLUDED CAUSES OF LOSS

   1.   Artificially Maintained Conditions

        We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
        change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
        applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
        breakdown cause of loss", "mistake", or "malfunction".

        But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
        portion of the loss or damage which was solely caused by that "covered cause of loss".

        This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

   2.   Dishonest Acts

        We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
        omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
        or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
        entrusted the "personal property" for any purpose:

        a.    Acting alone or in collusion with others; or

        b.    Whether or not occurring during the hours of employment.

        This exclusion does not apply to:

        a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

        b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

        This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
        "mistake" or "malfunction".

   3.   Expected, Preventable, or Accumulated Losses

        We will not pay for loss or damage caused by or resulting from:

        a.     Wear and tear;

        b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

        c.     Smog;

        d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

        e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or

        f.     Inherent vice.

        Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
        "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
        such other cause or event would otherwise be covered.




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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to seizure or destruction of property by order of governmental authority and
     taken at the time of fire to prevent its spread.

5.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

6.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

7.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

8.   Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off the "premises".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     9.   Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     10. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to "personal property" in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   If "personal property" in transit which was sold under Free on Board or Freight Allowed terms is lost or
          damaged and the consignee refuses to pay for such "personal property" because of the loss or damage, we
          will not attempt to enforce collection from the consignee without your written permission.

F.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., and 6. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace "personal property".




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2.   Except as provided in 3., 5., and 6. below, "personal property" which is not repaired, rebuilt, or replaced will
     be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
     rebuilding, or replacement of the lost or damaged "personal property" within 24 months from the date the
     loss or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the
     difference between the "actual cash value" previously paid and the "replacement cost" at the time of loss or
     damage.

3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
     less any discounts and expenses you otherwise would have had.

4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
     proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
     no event will overhead be calculated in accordance with the principles of Absorption Costing.

5.   "Personal property" which has been permanently removed from service at "actual cash value".

6.   "Duplicate information property" at the lesser of:

     a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

     b. The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
         source on the same type of materials, provided such copying does not violate licensing or contract
         agreements.




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Business Income Coverage Form
(Excluding Extra Expense)

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Business Income Coverage Form
(Excluding Extra Expense)

A.   COVERAGE

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property at a "premises" at which a Limit of Insurance is shown on the Declarations for Business Income.
     The loss or damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable
     Limit of Insurance shown on the Declarations for Business Income at that "premises".

B.   ADDITIONAL COVERAGES

     1.    Civil Authority

          We will pay for the actual loss of "business income" you sustain for up to the number of days shown on the
          Declarations for Civil Authority following the necessary "suspension", or delay in the start, of your "operations"
          when a civil authority prohibits access to the "premises" or "reported unscheduled premises".

           The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
           damage to property located within one mile from the "premises" or "reported unscheduled premises" which
           sustains a "business income" loss. The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Business Income at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Contractual Penalties

          We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
          late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
          property at a "premises" or "reported unscheduled premises" at which a Limit of Insurance is shown on the
          Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
           on the Declarations for Contractual Penalties.

     3.   Electronic Vandalism

          We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
          "operations" provided the "suspension" was directly caused by "electronic vandalism".

           The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
           Insurance shown on the Declarations for Electronic Vandalism--Business Income.




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4.   Expense to Reduce Loss

     We will pay reasonable and necessary expenses you incur, except the cost of extinguishing a fire, to reduce
     the amount of loss of "business income". We will pay for such expenses to the extent that they do not exceed
     the amount of loss that otherwise would have been payable under this Coverage Form.

5.   Extended Period of Indemnity

     If the necessary "suspension" of your "operations" produces a "business income" loss payable under this
     Coverage Form, and you resume "operations" with reasonable speed, we will pay for the actual loss of
     "business income" you sustain during the "extended period of indemnity".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
     damage occurred.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

6.   Fairs or Exhibitions

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property at, or while in transit to or from, any fair or exhibition. The loss or damage must be
     directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Fairs or Exhibitions--Business Income.

7.   Ingress/Egress

     We will pay for the actual loss of "business income" you sustain for up to the number of days shown on the
     Declarations for Ingress / Egress following the necessary "suspension" of your "operations", when ingress or
     egress by your suppliers, customers, or employees to the "premises" or "reported unscheduled premises" is
     physically obstructed due to direct physical loss or damage. The loss or damage must be directly caused by a
     "covered cause of loss" to property not owned, occupied, leased, or rented by you, or insured under this
     Commercial Property Coverage Part. That property must be located within one mile from the "premises" or
     "reported unscheduled premises" which sustains a "business income" loss. The obstruction cannot be the
     result of an order of civil authority that prohibits access to that "premises" or "reported unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where ingress or egress was
     obstructed.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

8.   Microorganisms

     We will pay for the actual loss of "business income" you sustain due to the:

     a.    Necessary "suspension" of your "operations" from direct physical loss of or damage to Covered
           Property caused by "microorganisms" when the "microorganisms" are the result of a "covered cause of
           loss"; or

     b.    Prolonged "period of restoration" due to the remediation of "microorganisms" from a covered loss.




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      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
      Insurance shown on the Declarations for Microorganisms--Business Income. Regardless of the number of
      claims, this Limit of Insurance is the most we will pay for the total of all loss, even if the "microorganisms"
      continue to be present, active, or recur.

9.    Newly Acquired Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to your property at a "newly acquired premises". The loss or damage must be directly caused by a
      "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
            premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
      Insurance shown on the Declarations for Newly Acquired Premises--Business Income.

10.   Reported Unscheduled Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to property at a "reported unscheduled premises". The loss or damage must be directly caused by a
      "covered cause of loss".

      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
      of Insurance shown on the Declarations for Reported Unscheduled Premises--Business Income.

11.   Transit

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to property in transit, other than while in transit to or from any fair or exhibition. The loss or damage
      must be directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
      the Declarations for Transit--Business Income.

12.   Unreported Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to your property, or property of your landlord, at an "unreported premises". The loss or damage must
      be directly caused by a "covered cause of loss".




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          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Business Income.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the REAL AND
          PERSONAL PROPERTY COVERAGE FORM, except Off-Premises Service Interruption, apply to loss of
          "business income" caused by or resulting from loss of or damage to any property other than:

          a.    "Fine arts";

          b.    "Original information property";

          c.    "Outdoor trees, shrubs, plants, or lawns"; or

          d.    "Personal property" in transit.

     2.   Fine Arts

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the FINE ARTS
          COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to "fine
          arts".

     3.   Original Information Property

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to loss of "business income" caused by or resulting
          from loss of or damage to "original information property".

     4.   Personal Property in Transit

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the TRANSIT
          COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
          "personal property" in transit.

     5.   Finished Stock

          We will not pay for loss of "business income" caused by or resulting from:

          a.    Loss of or damage to "finished stock"; or

          b.    The time required to replace "finished stock".

     6.   Off-Premises Service Interruption

          We will not pay for loss of "business income" caused by or resulting from any "off-premises service
          interruption". Such loss is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
          other cause or event would otherwise be covered.

     7.   Suspension, Lapse, or Cancellation

          We will not pay for any loss of "business income" caused by or resulting from a suspension, lapse, or
          cancellation of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused




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           by the "suspension" of your "operations". If the suspension, lapse, or cancellation of any license, lease, or
           contract is directly caused by the "suspension" of your "operations", we will not pay for that portion of any loss
           from such suspension, lapse, or cancellation which occurs after the "extended period of indemnity".

D.   LIMITATIONS

     1.    Idle Periods

           We will not pay for loss of "business income" during any period in which business would not or could not
           have been conducted for any reason other than:

           a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

           b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                 the Civil Authority Additional Coverage above; or

           c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                 as described in the Ingress / Egress Additional Coverage above.

     2.    Strikers or Others Causing Delay

           We will not pay for any loss of "business income" caused by or resulting from delay in rebuilding, repairing, or
           replacing property, or resuming "operations", due to the interference at the location of the rebuilding, repair, or
           replacement by strikers or other persons.

     3.    Outdoor Trees, Shrubs, Plants, or Lawns

           We will not pay for loss of "business income" caused by or resulting from loss of or damage to "outdoor trees,
           shrubs, plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot or civil
           commotion, or aircraft.

E.   DEDUCTIBLE

     We will not pay for any loss of "business income" in any one occurrence until the amount of loss exceeds the
     applicable Deductibles or is incurred after the applicable Waiting Periods shown on the Declarations. We will then
     pay the amount of loss in excess of the Deductibles or incurred after the Waiting Periods, up to the applicable Limits
     of Insurance.

     If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical
     loss of or damage to property, directly caused by a "covered cause of loss".


F.   LOSS DETERMINATION

     1.    Sources of Information

           The amount of "business income" loss will be based on relevant sources of information, including, but not
           limited to:

           a.    Your financial records, tax returns, and accounting procedures;

           b.    Bills, invoices, and other vouchers; and

           c.    Deeds, liens, and contracts.




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     2.    Net Income

           The amount of "net income" will be determined based on:

           a.    The "net income" of the business before the direct physical loss or damage occurred; and

           b.    The likely "net income" of the business if no direct physical loss or damage had occurred.

     3.    Continuing Expenses

           The amount of "continuing expenses" will be those expenses which are necessary to resume your "operations"
           with the same quality of service that existed just before the direct physical loss or damage and which are
           incurred during the "period of restoration" or "extended period of indemnity".

     4.    Resumption of Operations

           We will reduce the amount of the "business income" loss payment:

           a.    To the extent you could resume your "operations", in whole or in part, by using damaged or undamaged
                 property, including "stock"; or

           b.    To the extent you could resume your "operations", in whole or in part, by using any other location.

     5.    Finished Stock and Merchandise

           Lost or damaged "finished stock" or "merchandise" that is valued at regular cash selling price will be
           considered to have been sold to your customers and will be credited against the lost sales.

G.   OPTIONAL COVERAGES

     If shown on the Declarations, the following Optional Coverages apply separately to each item:

     1.    Maximum Period of Indemnity

           The most we will pay for loss of "business income" is the lesser of:

           a.    The amount of loss incurred during the 120 days immediately following the beginning of the "period of
                 restoration"; or

           b.    The Limit of Insurance shown on the Declarations.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The Extended Period of Indemnity Additional Coverage does not apply.

     2.    Monthly Limit of Indemnity

           The most we will pay for loss of "business income" in each period of 30 consecutive days after the beginning
           of the "period of restoration" is:

           a.    The Limit of Insurance, multiplied by

           b.    The fraction shown on the Declarations for this Optional Coverage.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.




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The Extended Period of Indemnity Additional Coverage does not apply.

Example:

If:

a.     The Limit of Insurance is $120,000.


b.     The fraction shown on the Declarations for this Optional Coverage is 1/ 4.

The most we will pay for loss in each period of 30 consecutive days is $30,000.

If, in this example, the actual amount of the loss is:

Days 1-30      $40,000
Days 31-60      20,000
Days 61-90      30,000
               $90,000

We will pay:

Days 1-30      $30,000
Days 31-60      20,000
Days 61-90      30,000
               $80,000

The remaining $10,000 of loss is not covered.




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Named Storm Occurrence--Direct Damage and
Time Element Deductible

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
CONTRACTOR’S EQUIPMENT COVERAGE FORM
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
INSTALLATION PROPERTY COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A.   The Named Storm Occurrence--Direct Damage and Time Element Deductible only applies to loss or damage that,
     but for the application of the Deductible, would be paid by us under this Commercial Property Coverage Part.

B.   With respect to all "premises" at which the Named Storm Occurrence--Direct Damage and Time Element Deductible
     shown on the Declarations applies, the following is added to the Deductible section in the following forms:

     ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
     CONTRACTOR’S EQUIPMENT COVERAGE FORM
     EXTRA EXPENSE COVERAGE FORM
     FINE ARTS COVERAGE FORM
     INSTALLATION PROPERTY COVERAGE FORM
     ORIGINAL INFORMATION PROPERTY COVERAGE FORM
     REAL AND PERSONAL PROPERTY COVERAGE FORM
     RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

     With respect to all loss or damage caused directly or indirectly by a "named storm", regardless of whether any
     other cause or event, including a "mistake", "malfunction", or another weather condition, contributes concurrently
     or in any sequence to the loss, the following applies:

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of all covered loss,
     damage, cost, or expense exceeds the Named Storm Occurrence--Direct Damage and Time Element Deductible
     shown on the Declarations for "premises" at which the Deductible applies. We will then pay for the amount of
     covered loss, damage, cost, or expense in excess of the Deductible, up to the applicable Limits of Insurance.




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     This Deductible applies to all covered loss, damage, cost, or expense covered by "time element coverage" when
     the loss, damage, cost, or expense is caused directly or indirectly by a "named storm" even if no other deductible
     applies to the "time element coverage".

C.   The following is added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Named storm" means a specific storm system that has been named by the National Hurricane Center (NHC) or
     Central Pacific Hurricane Center (CPHC), beginning when the NHC or CPHC issues a watch or warning and
     ending 72 hours after the termination of the watch or warning.




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Dependent Premises Business Income
Coverage--Scheduled Limits and Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                       SCHEDULE*

Name, Occupancy, and Location of "Dependent Premises"                             Limit of Insurance          Deductible

(A) "Contributing Locations":




(B) "Recipient Locations":




(C) "Manufacturing Locations":

    KaGa Electronics, Hong Kong                                                  $5,000,000                  $500,00
    Room 1709-1710, 17/F Miramar Tower
    132 Nathan Rd, Tsimshatsui, Kowloon, Hong Kong




(D) "Leader Locations":




*Information required to complete this Schedule, if not shown on this endorsement, will be shown on the Declarations.




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A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
     TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
     your "operations" during the "period of restoration". The "suspension" must be caused by direct physical
     loss of or damage to property, including property in the open (or in a vehicle), at a "dependent premises"
     described in the Schedule above. The loss or damage must be directly caused by a "covered cause of loss".
     We will not pay more than the applicable Limit of Insurance shown in the Schedule above at that "dependent
     premises".

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises" described in the Schedule above, the
     Civil Authority and Contractual Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are
     replaced by the following:

     1.   Civil Authority

          We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
          "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a
          "dependent premises" described in the Schedule above.

          The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
          damage to property located within one mile from the "dependent premises" described in the Schedule
          above. The loss or damage must be directly caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above
          for the "dependent premises" where access was prohibited.

          The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     2.   Contractual Penalties

          We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
          late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
          property at a "dependent premises" described in the Schedule above. The loss or damage must be directly
          caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
          on the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises" shown in the Schedule
     above. The loss or damage must be directly caused by a "covered cause of loss".


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     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     We will not pay more than the applicable Limit of Insurance shown in the Schedule above for that "dependent
     premises".

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, the Resumption of Operations Loss Determination in the BUSINESS
     INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE
     FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
     EXPENSE)--TECHNOLOGY is replaced by the following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your
     "operations", in whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises" described in the Schedule above, the "period of restoration" definition in the
     COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"
          described in the Schedule above; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced
          with reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
     or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
     neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F. DEDUCTIBLE

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, Section E. Deductible in the BUSINESS INCOME COVERAGE
     FORM (EXCLUDING EXTRA EXPENSE), the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY, and the
     EXTRA EXPENSE COVERAGE FORM is replaced by the following:

     We will not pay for any loss of "business income" or "extra expense" in any one occurrence until the amount of
     loss or expense exceeds the applicable Deductible shown in the Schedule above at that "dependent premises"

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where the loss or damage occurred. We will then pay the amount of loss or expense in excess of the Deductible,
up to the applicable Limits of Insurance.

Any other deductible otherwise applicable to "business income" or "extra expense" does not apply to coverage
provided by this endorsement.




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Dependent Premises Business Income
Coverage--Unscheduled Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises". The loss or
     damage must be directly caused by a "covered cause of loss".

     The most we will pay in any one occurrence is the Limit of Insurance shown on the Declarations for Dependent
     Premises Business Income--Unscheduled Locations.

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises", the Civil Authority and Contractual
     Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
     EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the following:

     Civil Authority

     We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
     "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a "dependent
     premises".

     The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or damage
     to property located within one mile from the "dependent premises". The loss or damage must be directly caused
     by a "covered cause of loss".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.




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     The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late
     or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property
     at a "dependent premises". The loss or damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on
     the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will also pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises". The loss or damage must be
     directly caused by a "covered cause of loss".

     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     The most we will pay under this Optional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D. LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises", the Resumption of Operations Loss Determination in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY is replaced by the
     following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your "operations", in
     whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises", the "period of restoration" definition in the COMMERCIAL PROPERTY DEFINITIONS is
     replaced by the following:




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     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
          reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize,
     or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F.   Coverage provided by this endorsement does not apply at any location at which "business income" coverage is
     provided by any other Coverage Form included in this Commercial Property Coverage Part.




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Enabling Endorsement

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS
REAL AND PERSONAL PROPERTY COVERAGE FORM

The provisions of any forms or endorsements that make reference to the BUILDING AND PERSONAL PROPERTY
COVERAGE FORM or the CAUSES OF LOSS SPECIAL FORM are applicable to the COMMERCIAL PROPERTY
CONDITIONS and the REAL AND PERSONAL PROPERTY COVERAGE FORM.




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Flood Coverage

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided by the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A. COVERAGE

   The Flood exclusion does not apply to loss or damage at a "premises" at which a Limit of Insurance is shown on
   the Declarations for Flood. However, we will not pay for loss or damage caused directly or indirectly by "flood" that
   begins before the inception of this Commercial Property Coverage Part.

   If the Earth Movement and Flood Coverage--Specified Property endorsement is included in this Commercial
   Property Coverage Part, this endorsement does not apply to property covered by that endorsement.

B. ADDITIONAL EXCLUDED CAUSES OF LOSS

   Off-Premises Damage

   We will not pay for loss or damage that is caused directly or indirectly by "flood" at any of the following locations:

   1.   "Dependent premises";

   2.   Fairs or exhibitions;

   3.   "Newly acquired premises";

   4.   "Reported unscheduled premises";

   5.   "Unreported premises"; or

   6.   Any location used to provide power or other utility service to "premises".




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C. LIMITS OF INSURANCE

   1.   Premises Limits

        The most we will pay in any one occurrence for loss or damage caused directly or indirectly by "flood" at any
        one "premises" is the Limit of Insurance shown on the Declarations for Flood for that "premises".

   2.   Occurrence Limit

        The most we will pay in any one occurrence for all loss or damage caused directly or indirectly by "flood",
        regardless of the number of "premises" involved, is the occurrence Limit of Insurance shown on the
        Declarations for Flood.

   3. Annual Aggregate Limit

        The most we will pay for loss or damage caused directly or indirectly by "flood" in any one policy year,
        regardless of the number of occurrences or "premises" involved, is the Annual Aggregate Limit of Insurance
        shown on the Declarations for Flood.

   These Limits are included in, and not in addition to, any other applicable Limits of Insurance.

D. DEDUCTIBLE

   1.   The Flood Deductible only applies to loss or damage that, but for the application of the Deductible, would be
        paid by us under this Commercial Property Coverage Part.

   2. With respect to loss or damage caused directly or indirectly by "flood", the Deductible section is replaced by the
      following:

        We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the
        amount of covered loss, damage, cost, or expense exceeds the Flood Deductible shown on the Declarations
        for that "premises". We will then pay for the amount covered loss, damage, cost, or expense in excess of the
        Deductible, up to the applicable Limits of Insurance.

        If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on
        the Declarations will apply separately and individually to covered loss, damage, cost, or expense at each
        "premises".

        The Flood Deductibles apply to all covered loss, damage, cost, or expense covered by "time element coverage"
        when the loss, damage, cost, or expense is caused directly or indirectly by covered "flood" even if no other
        deductible applies to the "time element coverage".

E. COINSURANCE

   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

1               X                                     X                                          X
5               X                                     X                                          X
6               X                                     X                                          X



A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses"you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C. ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D. ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

8               X                                     X                                          X
3               X                                     X                                          X
7               X                                     X                                          X



A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses"you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C. ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D. ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

4               X                                     X                                          X




A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses"you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C. ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D. ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Extra Expense Coverage Form

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Extra Expense Coverage Form

A.   COVERAGE

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property at a "premises" at which a Limit of Insurance is shown for Extra Expense on the Declarations. The loss or
     damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable Limit of
     Insurance shown on the Declarations for Extra Expense at that "premises".

B.   ADDITIONAL COVERAGES

     1.    Civil Authority

          We will pay for the actual and necessary "extra expense" you incur due to the action of a civil authority that
          prohibits access to the "premises" or "reported unscheduled premises" caused by direct physical loss of or
          damage to property located within one mile from the "premises" or "reported unscheduled premises" where the
          "extra expense" was incurred. The loss or damage must be directly caused by a "covered cause of loss".

           This Additional Coverage is limited to the number of days shown on the Declarations for Civil Authority from
           the date the civil authority prohibits access.

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Ingress/Egress

          We will pay for the actual and necessary "extra expense" you incur when ingress or egress by your suppliers,
          customers, or employees to the "premises" or "reported unscheduled premises" is physically obstructed due to
          direct physical loss or damage. The loss or damage must be caused by a "covered cause of loss" to property
          not owned, occupied, leased, or rented by you, or insured under this Commercial Property Coverage Part.
          That property must be located within one mile from the "premises" or "reported unscheduled premises" where
          the "extra expense" was incurred. The obstruction cannot be the result of an order of civil authority that
          prohibits access to that "premises" or "reported unscheduled premises".

           This Additional Coverage is limited to the number of days shown on the Declarations for Ingress / Egress
           following the date the physical obstruction prohibits ingress or egress.

           The most we will pay under the Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where ingress or egress was obstructed.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.




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     3.   Newly Acquired Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at a "newly acquired premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          This Additional Coverage will automatically expire on the earliest of the following dates:

          a.    The date you report the "newly acquired premises" to us;

          b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
                premises"; or

          c.    The date this policy expires or is cancelled.

          We will charge you additional premium for values reported from the date the location becomes a "newly
          acquired premises".

          The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
          Insurance shown on the Declarations for Newly Acquired Premises--Extra Expense.

     4.   Reported Unscheduled Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          property at a "reported unscheduled premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
          of Insurance shown on the Declarations for Reported Unscheduled Premises--Extra Expense.

     5.   Unreported Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at an "unreported premises". The loss or damage must be directly caused by a "covered cause
          of loss".

          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Extra Expense.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the REAL AND PERSONAL
          PROPERTY COVERAGE FORM, except Off Premises Service Interruption, apply to "extra expense" caused by
          or resulting from loss of or damage to any property other than:

          a.    "Fine arts";

          b.    "Original information property"; or

          c.    "Outdoor trees, shrubs, plants, or lawns".




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     2.   Fine Arts

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the FINE ARTS COVERAGE
          FORM apply to "extra expense" caused by or resulting from loss of or damage to "fine arts".

     3.   Original Information Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to "extra expense" caused by or resulting from loss of
          or damage to "original information property".

     4.   Off-Premises Service Interruption

          We will not pay for "extra expense" caused by or resulting from any "off-premises service interruption". Such
          loss is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
          condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
          would otherwise be covered.

     5.   Suspension, Lapse, or Cancellation

          We will not pay for "extra expense" caused by or resulting from a suspension, lapse, or cancellation of any
          license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused by the "suspension"
          of your "operations". If the suspension, lapse, or cancellation of any license, lease, or contract is directly
          caused by the "suspension" of your "operations", we will not pay for that portion of any "extra expense" from
          such suspension, lapse, or cancellation which occurs after the "period of restoration".

D.   LIMITATIONS

     1.   Idle Periods

          We will not pay for "extra expense" during any period in which business would not or could not have been
          conducted for any reason other than:

          a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

          b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                the Civil Authority Additional Coverage above; or

          c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                as described in the Ingress / Egress Additional Coverage above.

     2.   Strikers or Others Causing Delay

          We will not pay for any increase in "extra expense" caused by delay in rebuilding, repairing, or replacing
          property or resuming "operations", due to the interference at the location of the rebuilding, repair, or
          replacement by strikers or other persons.

     3.   Outdoor Trees, Shrubs, Plants, or Lawns

          We will not pay for "extra expense" caused by or resulting from loss of or damage to "outdoor trees, shrubs,
          plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot or civil
          commotion, or aircraft.




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E.   DEDUCTIBLE

     We will not pay for any "extra expense" in any one occurrence until the amount of "extra expense" exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of "extra expense" in excess of the
     Deductibles up to the applicable Limits of Insurance.

F.   LOSS DETERMINATION

     1.    Sources of Information

           The amount of "extra expense" will be based on relevant sources of information, including, but not limited to :

           a.    Your financial records, tax returns, and accounting procedures;

           b.    Bills, invoices, and other vouchers; and

           c.    Deeds, liens, and contracts.

     2.   Extra Expense

           The amount of "extra expense" will be determined based on:

           a.    All "extra expense" that exceeds the normal operating expenses that would have been incurred by your
                 "operations" during the "period of restoration" if no direct physical loss or damage had occurred; and

           b.    All expenses that reduce the "extra expense" that otherwise would have been incurred.

          We will deduct from the total "extra expense" the salvage value of any property bought for temporary use
          during the "period of restoration", once "operations" are resumed.

     3.    Resumption of Operations

          We will reduce the amount of "extra expense" to the extent you can return "operations" to normal and
          discontinue such "extra expense".




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California Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS

A. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by fire:

   We do not provide coverage to the insured who, whether before or after a loss, has committed fraud or
   intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


B. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by a "covered cause of loss" other than fire:

   This Commercial Property Coverage Part is void if any insured, whether before or after a loss, has committed fraud
   or intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


C. Except as provided in D. below, the Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following:

   If we and you disagree on the value of the property or the amount of loss, either may make written request for an
   appraisal of the loss. If the request is accepted, each party will select a competent, disinterested, and impartial
   appraiser who has no direct or indirect financial interest in the claim.       Each party shall notify the other of the
   appraiser selected within 20 days of the request. The two appraisers will select an umpire. If they cannot agree
   within 15 days, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
   will state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
   accordance with the Valuation provisions of the applicable Coverage Form, or if not stated, the "actual cash value"
   and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to
   by any two will be binding. Each party will:

   1. Pay its chosen appraiser; and
   2.   Bear the other expenses of the appraisal and umpire equally.

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   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.

D. The Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the following with respect
   losses covered by the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the
   BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   If we and you disagree on the amount of "net income" and "continuing expenses" or the amount of loss, either may
   make written request for an appraisal of the loss. If the request is accepted, each party will select a competent,
   disinterested, and impartial appraiser who has no direct or indirect financial interest in the claim. Each party shall
   notify the other of the appraiser selected within 20 days of the request. The two appraisers will select an umpire. If
   they cannot agree within 15 days, either may request that selection be made by a judge of a court having
   jurisdiction. The appraisers will state separately the amount of "net income"and "continuing expenses" or amount of
   loss. If they fail to agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:

   a. Pay its chosen appraiser; and

   b. Bear the other expenses of the appraisal and umpire equally.

   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.




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Florida Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

The following provisions only apply with respect to "premises" and "reported unscheduled premises" in the state of
Florida:

A.   The following provision applies when the Additional Condition--Coinsurance endorsement is applicable:

     Florida Law states as follows:

     Coinsurance contract: The rate charged in this Commercial Property Coverage Part is based upon the use of the
     coinsurance clause attached to this Commercial Property Coverage Part, with the consent of the insured.

B.   If wind is a "covered cause of loss" and loss or damage to Covered Property is caused by or resulting from wind,
     the following is added to Section B., Excluded Causes of Loss, in the REAL AND PERSONAL PROPERTY
     COVERAGE FORM and applies in:

     1.   Broward County;

     2.   Dade County;

     3.   Martin County;

     4.   Monroe County;

     5. Palm Beach County; and

     6.   All the areas east of the west bank of the Intra-Coastal Waterway in the Counties of:

          a.   Indian River; and

          b. St. Lucie.

     Wind Exterior

     We will not pay for loss or damage caused by or resulting from wind to paint or waterproofing material applied to
     the exterior of buildings unless the building to which such loss or damage occurs also sustains other loss or
     damage by wind in the course of the same wind event. But such coverage applies only if wind is a "covered
     cause of loss".

     When loss or damage to exterior paint or waterproofing material is excluded, we will not include the value of paint
     or waterproofing material to determine:

     a.   The amount of the Wind and Hail Deductible;


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     b. The amount of Named Storm Deductible; or

     c.   The value of Covered Property when applying the coinsurance percentage.

C.   Paragraph 6. in the Loss Payment Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the
     following:

     6.   If you have complied with all of the terms of this Commercial Property Coverage Part, we will pay for covered
          loss or damage upon the earliest of the following:

          a. Within 20 days after we receive the sworn proof of loss and reach written agreement with you;

          b. Within 30 days after we receive the sworn proof of loss; and

              1) There is an entry of a final judgment; or

              2) There is a filing of an appraisal award with us; or

          c. Within 90 days of receiving notice of claim, unless we deny the claim during that time or factors beyond
             our control reasonably prevent such payment. If a portion of the claim is denied, then the 90 day time
             period for payment of claim relates to the portion of the claims that is not denied.

              This paragraph c. applies only to the following:

              1) A claim under the Commercial Property Coverage Part covering residential property;

              2) A claim for "real property" or "personal property" coverage if the insured structure is 10,000 square
                 feet or less and the Commercial Property Coverage Part covers only "premises" or "reported
                 unscheduled premises" in Florida; or

              3) A claim for "personal property" coverage under a tenant’s policy if the rented "premises" or "reported
                 unscheduled premises" are 10,000 square feet or less and the Commercial Property Coverage Part
                 covers only "premises" or "reported unscheduled premises" in Florida.

D.   The following is added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Catastrophic ground cover collapse" means geological activity that results in all of the following:

     a.   The abrupt collapse of the ground cover;

     b. A depression in the ground cover clearly visible to the naked eye;

     c.   Structural damage to the building, including the foundation; and

     d. The insured structure being condemned and ordered to be vacated by the governmental agency authorized
        by law to issue such an order for that structure.

     "Catastrophic ground cover collapse" does not mean:

     a.   Structural damage consisting of the mere settling or cracking of a foundation, structure, or building;

     b. "Sinkhole collapse"; or

     c.   "Earth movement".




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E.   The definition of "earth movement" in the COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
     or subsidence other than "sinkhole collapse" and "catastrophic ground cover collapse".

     "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

F.   The following is added to the definition of "specified causes of loss":

     "Catastrophic ground cover collapse".




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                                                                                          COMMERCIAL PROPERTY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANCELLATION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

The following is added to the CANCELLATION Com-                 C. The building has:
mon Policy Condition:                                              1. An outstanding order to vacate;
If any one of the following conditions exists at any
                                                                   2. An outstanding demolition order;
building that is Covered Property in this policy, we
may cancel this Coverage Part by mailing or delivering             3. Been declared unsafe by governmental author-
to the first Named Insured written notice of cancella-                 ity.
tion at least 5 days before the effective date of cancel-       D. Fixed and salvageable items have been or are
lation.                                                            being removed from the building and are not being
A. The building has been vacant or unoccupied 60 or                replaced. This does not apply to such removal that
    more consecutive days. This does not apply to:                 is necessary or incidental to any renovation or re-
                                                                   modeling.
     1. Seasonal unoccupancy;
                                                                E. Failure to:
     2. Buildings in the course of construction, reno-
        vation or addition; or                                     1. Furnish necessary heat, water, sewer service
                                                                       or electricity for 30 consecutive days or more,
     3. Buildings to which the Vacancy Permit en-                      except during a period of seasonal unoccu-
        dorsement applies.                                             pancy; or
    Buildings with 65% or more of the rental units or              2. Pay property taxes that are owing and have
    floor area vacant or unoccupied are considered
                                                                       been outstanding for more than one year fol-
    unoccupied under this provision.
                                                                       lowing the date due, except that this provision
B. After damage by a covered cause of loss, perma-                     will not apply where you are in a bona fide dis-
   nent repairs to the building:                                       pute with the taxing authority regarding pay-
   1. Have not started, and                                            ment of such taxes.
   2. Have not been contracted for,
   within 30 days of initial payment of loss.




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General Liability Supplemental Coverage Endorsement
Technology

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following changes apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any provisions to the contrary in this General Liability Supplemental Coverage Endorsement.

A.   Broadened Named Insured

     1.   The following is added to Section II ---- Who Is An Insured:

          Any organization of yours, other than a partnership or joint venture, which is not shown in the Declarations,
          and over which you maintain an ownership interest of more than 50% of such organization as of the effective
          date of this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a
          Named Insured under this provision if it:

          a.    Is newly acquired or formed during the policy period;

          b.    Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                Coverage Part; or

          c.    Would be an insured under another policy but for its termination or the exhaustion of its limits of
                insurance.

          Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
          more than 50% in the organization during the policy period.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

B.   Newly Acquired or Formed Organizations as Named Insureds

     1. Paragraph 3. of Section II ---- Who Is An Insured is replaced by the following:

          3.    Any organization you newly acquire or form during the policy period, other than a partnership or joint
                venture, and over which you maintain an ownership interest of more than 50% of such organization, will
                qualify as a Named Insured if there is no other similar insurance available to that organization. However:

                a.   Coverage under this provision is afforded only until the 180th day after you acquire or form the
                     organization or the end of the policy period, whichever is earlier;

                b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                   or formed the organization; and

                c.   Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                     before you acquired or formed the organization.



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                An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                or formed the organization.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

C.   Insured Status ---- Employees

     Paragraph 2.a.(1) of Section II ---- Who Is An Insured is replaced by the following:

     2.   Each of the following is also an insured:

          a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                "employees", other than either your "executive officers" (if you are an organization other than a
                partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                company), but only for acts within the scope of their employment by you or while performing duties
                related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                insureds for:

                (1) "Bodily injury" or "personal and advertising injury":

                    (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                        (if you are a limited liability company), to a co-"employee" while in the course of his or her
                        employment or performing duties related to the conduct of your business, or to your other
                        "volunteer workers" while performing duties related to the conduct of your business;

                    (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                        consequence of Paragraph (1)(a) above;

                    (c) For which there is any obligation to share damages with or repay someone else who must pay
                        damages because of the injury described in Paragraphs (1)(a) or (b) above; or

                    (d) Arising out of his or her providing or failing to provide professional health care services.

                However:

                Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                conduct of your business.

                "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                situation for which no remuneration is demanded or received.

                Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                performed.

D.   Additional Insureds ---- Lessees of Premises

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who leases or rents
     a part of the premises you own or manage who you are required to add as an additional insured on this policy
     under a written contract or written agreement, but only with respect to liability arising out of your ownership,
     maintenance or repair of that part of the premises which is not reserved for the exclusive use or occupancy of such
     person or organization or any other tenant or lessee.


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     This provision does not apply:

     (1) To liability arising out of such person’s or organization’s sole negligence; or

     (2) After the person or organization ceases to lease or rent premises from you.

E.   Additional Insured --- Vendors

     The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
     damage" included in the "products-completed operations hazard":

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization (referred to below
     as vendor) who you have agreed in a written contract or written agreement, prior to loss, to name as an additional
     insured, but only with respect to "bodily injury" or "property damage" arising out of "your products" which are
     distributed or sold in the regular course of the vendor’s business, subject to the following additional provisions:

     1.   The insurance afforded the vendor does not apply to:

          a.   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
               assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
               that the vendor would have in the absence of the contract or agreement;

          b.    Any express warranty unauthorized by you;

          c.    Any physical or chemical change in the product made intentionally by the vendor;

          d.   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
               substitution of parts under instructions from the manufacturer, and then repackaged in the original
               container;

          e.    Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make or
                normally undertakes to make in the usual course of business, in connection with the distribution or sale of
                the products;

          f.   Demonstration, installation, servicing or repair operations, except such operations performed at the
               vendor’s premises in connection with the sale of the product;

          g.   Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
               part or ingredient of any other thing or substance by or for the vendor; or

          h.   "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
               omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
               apply to:

                (1) The exceptions contained in Subparagraphs d. or f.; or

                (2) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                    undertakes to make in the usual course of business, in connection with the distribution or sale of the
                    products.

     2.   This insurance does not apply to any insured person or organization, from whom you have acquired such
          products, or any ingredient, part or container, entering into, accompanying or containing such products.

     3.   This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
          Part.

F.   Additional Insured --- Managers, Lessors or Governmental Entity


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     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who is a manager,
     lessor or governmental entity who you are required to add as an additional insured on this policy under a written
     contract, written agreement or permit, but only with respect to liability for "bodily injury", "property damage" or
     "personal and advertising injury" caused, in whole or in part, by:

     a.   Your acts or omissions; or

     b. The acts or omission of those acting on your behalf; and

     resulting directly from:

     a.   Operations performed by you or on your behalf for which the state or political subdivision has issued a permit;

     b. Ownership, maintenance, occupancy or use of premises by you; or

     c.   Maintenance, operation or use by you of equipment leased to you by such person or organization.

     This provision does not apply:

     a.   Unless the written contract or written agreement has been executed, or the permit has been issued, prior to the
          "bodily injury", "property damage" or offense that caused "personal and advertising injury";

     b. To any person or organization:

          (1)   For "bodily injury", "property damage" or "personal and advertising injury" arising out of its sole
                negligence;

          (2)   Included as an insured under Paragraph 3. of Section II ---- Who Is An Insured;

     c.   To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;

     d. To any:

          (1)   Owners or other interests from whom land has been leased by you; or

          (2)   Managers or lessors of premises, if:

                (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a tenant in
                    that premises;

                (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the structural
                    alterations, new construction or demolition operations performed by or on behalf of the manager or
                    lessor; or

                (c) The premises are excluded under this Coverage Part.

G.   Damage to Premises Rented or Occupied by You

     1.   The last paragraph under Paragraph 2., Exclusions of Section I --- Coverage A ---- Bodily Injury And Property
          Damage Liability is replaced by the following:

          Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or
          temporarily occupied by you with permission of the owner. A separate Damage to Premises Rented To You
          Limit of Insurance applies to this coverage as described in Section III ---- Limits Of Insurance.

     2. Paragraph 6. of Section III ---- Limits Of Insurance is replaced by the following:



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          6.      Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay
                  under Coverage A for damages because of "property damage" to any one premises while rented to you, or
                  in the case of damage by one or more "specific perils" to any one premises, while rented to you or
                  temporarily occupied by you with permission of the owner.

H.   Broadened Contractual Liability

     Definition 9. in Section V ---- Definitions is replaced by the following:

     9.   "Insured contract" means:

          a.      A contract for a lease of premises. However, that portion of the contract for a lease of premises that
                  indemnifies any person or organization for damage by "specific perils" to premises while rented to you or
                  temporarily occupied by you with permission of the owner is not an "insured contract";

          b.      A sidetrack agreement;

          c.      Any easement or license agreement;

          d.      An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
                  municipality;

          e.      An elevator maintenance agreement;

          f.      That part of any other contract or agreement pertaining to your business (including an indemnification of
                  a municipality in connection with work performed for a municipality) under which you assume the tort
                  liability of another party to pay for "bodily injury", "property damage", or "personal and advertising injury"
                  arising out of the offenses of false arrest, detention or imprisonment, to a third person or organization.
                  Tort liability means a liability that would be imposed by law in the absence of any contract or agreement.

                  Paragraph f. does not include that part of any contract or agreement:

                  (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                      (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                          surveys, field orders, change orders or drawings and specifications; or

                      (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                          damage; or

                  (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                      damage arising out of the insured’s rendering or failure to render professional services, including
                      those listed in Paragraph (1) above and supervisory, inspection, architectural or engineering activities.

I.   Definition ---- Specific Perils

     The following definition is added to Section V ---- Definitions:

     "Specific perils" mean:
     a.   Fire;
     b. Lightning;
     c.   Explosion;
     d. Windstorm or hail;
     e.   Smoke;
     f.   Aircraft or vehicles;

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     g. Vandalism;
     h. Weight of snow, ice or sleet;
     i.   Leakage from fire extinguishing equipment, including sprinklers; or
     j.   Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
          steam.

J.   Limited Contractual Liability Coverage ---- Personal and Advertising Injury

     1.   Exclusion e. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

          2.    Exclusions

                This insurance does not apply to:

                e.   Contractual Liability

                     "Personal and advertising injury" for which the insured has assumed liability in a contract or
                     agreement.

                     This exclusion does not apply to:

                     (1) Liability for damages that the insured would have in the absence of the contract or agreement; or

                     (2) Liability for "personal and advertising injury" if:

                         (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                             imprisonment;

                         (b) The liability pertains to your business and is assumed in a written contract or written
                             agreement in which you assume the tort liability of another. Tort liability means a liability that
                             would be imposed by law in the absence of any contract or agreement; and

                         (c) The "personal and advertising injury" occurs subsequent to the execution of the written
                             contract or written agreement.

                         Solely for purposes of liability so assumed in such written contract or written agreement,
                         reasonable attorney fees and necessary litigation expenses incurred by or for a party other than
                         an insured are deemed to be damages because of "personal and advertising injury" described in
                         Paragraph (a) above, provided:

                         (i) Liability to such party for, or for the cost of, that party’s defense has also been assumed in
                             the same written contract or written agreement; and

                         (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                              alternative dispute resolution proceeding in which damages to which this insurance applies
                              are alleged.

     2. Paragraph 2.d. of Section I ---- Supplementary Payments --- Coverages A And B is replaced by the following:

          d.    The allegations in the "suit" and the information we know about the "occurrence" or offense are such that
                no conflict appears to exist between the interests of the insured and the interests of the indemnitee;

     3.   The following is added to the paragraph directly following Paragraph 2.f. of Section I ---- Supplementary
          Payments ---- Coverages A And B:




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          Notwithstanding the provisions of Paragraph 2.e.(2) of Section I ---- Coverage B ---- Personal And Advertising
          Injury Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will
          not reduce the limits of insurance.

K.   Internet and Multimedia Services

     Exclusion j. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

     2. Exclusions

          This insurance does not apply to:

          j.    Insureds In Media And Internet Type Businesses

                "Personal and advertising injury" committed by an insured whose business is:

                (1) Advertising, broadcasting, publishing or telecasting;

                (2) Designing or determining content of websites for others; or

                (3) An Internet search, access, content or service provider; and

                arising out of goods, products or services provided by any insured to others.

                However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
                under the Definitions Section.

                For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or
                others anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting,
                publishing or telecasting.

L.   Supplementary Payments

     The following changes apply to Supplementary Payments ---- Coverages A and B:

     Paragraphs 1.b. and 1.d. are replaced by the following:

     b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the
        use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.

     d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
        claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.

M.   Broadened Property Damage

     1.   Property Damage to Contents of Premises Rented Short-Term

          The paragraph directly following Paragraph (6) in Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And
          Property Damage Liability is replaced by the following:

          Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
          by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
          agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
          Premises Rented to You as described in Section III ---- Limits Of Insurance.

     2. Elevator Property Damage

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:
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                Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
                elevator at premises you own, rent or occupy.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to property loaned to you or personal property in the care, custody or control of the
                insured arising out of the use of an elevator at premises you own, rent or occupy is $25,000 per
                "occurrence".

     3.   Property Damage to Borrowed Equipment

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:

                Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others
                at a jobsite.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to equipment you borrow from others at a jobsite is $25,000 per "occurrence".

N.   Expected or Intended Injury or Damage

     Exclusion a. of Section I ---- Coverage A --- Bodily Injury And Property Damage Liability is replaced by the following:

     a. Expected Or Intended Injury Or Damage

          "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion
          does not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect
          persons or property.

O.   Definition ---- Bodily Injury

     Definition 3. in Section V ---- Definitions is replaced by the following:

     3.   "Bodily injury" means bodily injury, sickness or disease sustained by a person. This includes mental anguish,
          mental injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or
          disease.

P.   Electronic Data

     Exclusion p. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     p. Electronic Data

          Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access or inability to
          manipulate electronic data.

          This exclusion does not apply to "bodily injury" or physical injury to tangible property including all resulting loss
          of use of that property.

          As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
          on, or transmitted to or from computer software (including systems and applications software), hard or floppy
          disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which are used with
          electronically controlled equipment.

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Q.   Insured Status ---- Amateur Athletic Participants

     Section II ---- Who Is An Insured is amended to include as an insured any person you sponsor while participating in
     amateur athletic activities. However, no such person is an insured for:

     a.   "Bodily injury" to:

          (1)   Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur
                athletic activities; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company) while participating in such amateur athletic activities; or

     b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
        over which the physical control is being exercised for any purpose by:

          (1)   Your "employee", "volunteer worker" or any person you sponsor; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company).

R.   Non-Owned Aircraft and Watercraft

     Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     g. Aircraft, Auto Or Watercraft

          "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
          any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes
          operation and "loading or unloading".

          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
          caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to
          others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.

          This exclusion does not apply to:

          (1)   A watercraft while ashore on premises you own or rent;

          (2)   A watercraft you do not own that is:

                (a) Less than 51 feet long; and

                (b) Not being used to carry persons for a charge;

          (3)   Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned
                by or rented or loaned to you or the insured;

          (4)   Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or
                watercraft;

          (5)   An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not
                owned in whole or in part by an insured; or

          (6)   "Bodily injury" or "property damage" arising out of:


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                (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                    qualify under the definition of "mobile equipment" if it were not subject to a compulsory or financial
                    responsibility law or other motor vehicle insurance law in the state where it is licensed or principally
                    garaged; or

                (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition
                    of "mobile equipment".

S.   Definitions ---- Leased Worker, Temporary Worker and Labor Leasing Firm

     1.   Definitions 10. and 19. in Section V -- Definitions are replaced by the following:

          10.   "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement
                between you and the "labor leasing firm", to perform duties related to the conduct of your business.
                "Leased worker" does not include a "temporary worker".

          19.   "Temporary worker" means a person who is furnished to you to support or supplement your work force
                during "employee" absences, temporary skill shortages, upturns or downturns in business or to meet
                seasonal or short-term workload conditions. "Temporary worker" does not include a "leased worker".

     2.   The following definition is added to Section V ---- Definitions:

          "Labor leasing firm" means any person or organization who hires out workers to others, including any:

          a.    Employment agency, contractor or services;
          b.    Professional employer organization; or
          c.    Temporary help service.

T.   Definition ---- Mobile Equipment

     Paragraph f. of Definition 12. in Section V ---- Definitions is replaced by the following:

     f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
          transportation of persons or cargo.

          However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
          combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":

          (1)   Equipment designed primarily for:

                (a) Snow removal;

                (b) Road maintenance, but not construction or resurfacing; or

                (c) Street cleaning;

          (2)   Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
                workers; and

          (3)   Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.

U.   Definitions ---- Your Product and Your Work

     Definitions 21. and 22. in Section V ---- Definitions are replaced by the following:

     21. "Your product":

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         a.     Means:

                (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or
                    disposed of by:

                    (a) You;

                    (b) Others trading under your name; or

                    (c) A person or organization whose business or assets you have acquired; and

                (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such
                    goods or products.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your product"; and

                (2) The providing of or failure to provide warnings or instructions.

         c.     Does not include vending machines or other property rented to or located for the use of others but not
                sold.

     22. "Your work":

         a.     Means:

                (1) Work, services or operations performed by you or on your behalf; and

                (2) Materials, parts or equipment furnished in connection with such work, services or operations.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your work"; and

                (2) The providing of or failure to provide warnings or instructions.

V.   Priority Condition

     The following paragraph is added to Section III --- Limits Of Insurance:

     In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
     injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
     same offense, we will apply the Limits of Insurance in the following order:

     (a) You;

     (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
         company) or "employees"; and

     (c) Any other insured in any order that we choose.

W.   Duties in the Event of Occurrence, Offense, Claim or Suit Condition



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      The following paragraphs are added to Paragraph 2., Duties In The Event Of Occurrence, Offense, Claim Or Suit of
      Section IV ---- Commercial General Liability Conditions:

     Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
     "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has
     been reported to any insured listed under Paragraph 1. of Section II ---- Who Is An Insured or an "employee"
     authorized by you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense,
     claim or "suit" does not imply that you also have such knowledge.

      In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
      this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured’s failure to
      report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this
      Condition. You must, however, give us notice as soon as practicable after being made aware that the particular
      claim is a General Liability rather than a Workers Compensation claim.

X.    Other Insurance Condition

     Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV ---- Commercial General Liability
     Conditions are replaced by the following:

     4.   Other Insurance

          If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
          this Coverage Part, our obligations are limited as follows:

          a.    Primary Insurance

                This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
                obligations are not affected unless any of the other insurance is also primary. Then, we will share with all
                that other insurance by the method described in Paragraph c. below. This insurance is primary insurance
                as respects our coverage to the additional insured person or organization where the written contract or
                written agreement requires that this insurance be primary and non-contributory. In that event, we will not
                seek contribution from any other insurance policy available to the additional insured on which the
                additional insured person or organization is a Named Insured. Other insurance includes any type of self
                insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

          b.    Excess Insurance

                (1) This insurance is excess over:

                    (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:

                        (i) That is property insurance, Builder’s Risk, Installation Risk or similar coverage for "your work";

                        (ii) That is property insurance purchased by you (including any deductible or self insurance
                             portion thereof) to cover premises rented to you or temporarily occupied by you with
                             permission of the owner;

                        (iii) That is insurance purchased by you (including any deductible or self insurance portion
                              thereof) to cover your liability as a tenant for "property damage" to premises rented to you or
                              temporarily occupied by you with permission of the owner;

                        (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent
                             not subject to Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                             Liability; or

                        (v) That is property insurance (including any deductible or self insurance portion thereof)
                            purchased by you to cover damage to:

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                           Equipment you borrow from others at a jobsite; or

                           Property loaned to you or personal property in the care, custody or control of the insured
                           arising out of the use of an elevator at premises you own, rent or occupy.

                  (b) Any other primary insurance (including any deductible or self insurance portion thereof) available
                      to the insured covering liability for damages arising out of the premises, operations, products,
                      work or services for which the insured has been granted additional insured status either by policy
                      provision or attachment of any endorsement. Other primary insurance includes any type of self
                      insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

                  (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available
                      to an additional insured, in which the additional insured on our policy is also covered as an
                      additional insured by attachment of an endorsement to another policy providing coverage for the
                      same "occurrence", claim or "suit". This provision does not apply to any policy in which the
                      additional insured is a Named Insured on such other policy and where our policy is required by
                      written contract or written agreement to provide coverage to the additional insured on a primary
                      and non-contributory basis.

Y.   Unintentional Failure to Disclose All Hazards

     Paragraph 6. Representations of Section IV ---- Commercial General Liability Conditions is replaced by the following:

     6. Representations

        By accepting this policy, you agree:

        a.    The statements in the Declarations are accurate and complete;

        b.    Those statements are based upon representations you made to us; and

        c.    We have issued this policy in reliance upon your representations.

        Coverage will continue to apply if you unintentionally:

        a.    Fail to disclose all hazards existing at the inception of this policy; or

        b.    Make an error, omission or improper description of premises or other statement of information stated in
              this policy.

        You must notify us in writing as soon as possible after the discovery of any hazards or any other information
        that was not provided to us prior to inception of this Coverage Part.

Z.   Waiver of Right of Subrogation

     Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV ---- Commercial General Liability
     Conditions is replaced by the following:

     8. Transfer Of Rights Of Recovery Against Others To Us

        a.    If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
              those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
              the insured will bring "suit" or transfer those rights to us and help us enforce them.

        b.    If the insured waives its right to recover payments for injury or damage from another person or
              organization in a written contract executed prior to a loss, we waive any right of recovery we may have
              against such person or organization because of any payment we have made under this Coverage Part.

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               The written contract will be considered executed when the insured’s performance begins, or when it is
               signed, whichever happens first. This waiver of rights shall not be construed to be a waiver with respect
               to any other operations in which the insured has no contractual interest.

AA.   Liberalization Condition

      The following condition is added to Section IV --- Commercial General Liability Conditions:

      Liberalization Clause

      If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
      automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
      address of your policy.




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General Liability Supplemental Coverage Endorsement
Technology

Quick Reference


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Collection or Distribution of Material or Information in
Violation of Law Exclusion

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage A ----
   Bodily Injury And Property Damage Liability is replaced by the following:
    2. Exclusions
        This insurance does not apply to:
        q. Collection Or Distribution Of Material Or Information In Violation Of Law
            "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
            that violates or is alleged to violate:
            (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
            (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
            (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                and Accurate Credit Transaction Act (FACTA); or
            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage B ----
   Personal And Advertising Injury Liability is replaced by the following:
    2. Exclusions
        This insurance does not apply to:
        p. Collection Or Distribution Of Material Or Information In Violation Of Law
            "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
            violates or is alleged to violate:
            (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
            (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
            (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agree ment                                                     (2) A "claim" will be dee med to have been made
                                                                                 when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes
                                                                                 corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an
                                                                                 comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the
                                                                                 same person or organization will be dee med to
        "insured’s" "e mployee benefit programs". We will
                                                                                 have been made at the time the first of those
        have the right and duty to defend the "insured"
                                                                                 "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against            2.   Exclusions
        any "suit" seeking damages for any act, error, or
        omission for which this insurance does not apply.                    This insurance does not apply to:
        We may, at our discretion, investigate any "claim"                   A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                             and advertising injury";
         (1) The amount we pay for damages is limited as                     B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                     est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                             C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                          tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settle ments un-                 D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                      or other provider’s failure to perform its con-
                                                                                tract;
         No other obligation or liability to pay sums or per-
         form acts or services is covered unless explicitly                  E. Any "claim" or "suit" arising out of your failure
         provided for under Supple mentary Payments of this                     to comply with any workers compensation, un-
         Coverage Part.                                                         e mployment insurance, social security, disabil-
                                                                                ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                                    F. Any "claim" or "suit" arising out of the failure of
                                                                                any of your "e mployee benefit plans" to meet
             a.   A "claim" arising out of the act, error or                    obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                                  G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                     (1) Advice given to any person to participate
                  the "coverage territory";                                          or not participate in a plan or program in-
                                                                                     cluded in "e mployee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                         (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                              any investment manager, administrator,
                  "claim" or "suit"; and                                             trustee, actuary, advisor, counsel, account-
                                                                                     ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-             C. Subject to the Aggregate Limit provisions in B.
                 age ment, administration or disposition of                 above, the Each Claim Limit is the most we will
                 assets of your "e mployee benefit pro-                     pay for all damages sustained by any one "e m-
                 grams"; or                                                 ployee", including the "e mployee’s" dependents and
                                                                            beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as
                                                                            committed in the "administration" of your "e m-
                 represented by any "insured".
                                                                            ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"
                                                                         D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:
                                                                            each consecutive annual period and to any re main-
             a.   The Employee Retire ment Income Secu-                     ing period of less than 12 months starting with the
                  rity Act of 1974 (PL93-406) and its                       beginning of the policy period shown in the Decla-
                  amendments; or                                            rations, unless the policy period is extended after is-
                                                                            suance for an additional period of less than 12
             b.   The Internal Revenue Code of 1986 (in-                    months. In that case, the additional period will be
                  cluding the Internal Revenue Code of                      dee med part of the last preceding period for pur-
                  1954) and its amendments.                                 poses of determining the Limits of Insurance.
    3.   Supple mentary Payments                                    III. Conditions
         We will pay, in addition to the applicable Limits of            A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                                 Bankruptcy or insolvency of the "insured" or the "in-
                                                                             sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by              B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                   Claim or Suit
            judgment which accrues after entry of the
                                                                             (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered
                                                                                 plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment
                                                                                 that we are notified as soon as practicable of
            which does not exceed the limit of our insur-
                                                                                 any act, error, or omission which may result in
            ance.
                                                                                 a "claim". To the extent possible, notice should
         B. Pre miums on appeal bonds required and on                            include:
            bonds to release attachments in any "suit". We
                                                                                 a.   How, when, and where the act, error, or
            do not have to furnish these bonds.
                                                                                      omission took place;
         C. All reasonable expenses incurred by the "in-
                                                                                 b.   The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                      "e mployee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-
                                                                                      of any "e mployee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                       Notice of an act, error, or omission is not notice
                                                                                 of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                   (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                      must:
            insurance, we will not pay any prejudgment in-
            terest based on that period of time after the of-                    a.   Immediately record the specifics of the
            fer.                                                                      "claim" and the date received; and

II. Limits of Insurance                                                          b.   Notify us as soon as practicable.

    A. The Limits of Insurance shown in the Declarations                         You must see to it that we receive written no-
       and the rules below establish the most we will pay                        tice of the "claim" as soon as practicable.
       regardless of the number of:                                          (3) You and any other involved "insured" must:
         (1) "Insureds";                                                         a.   Immediately send us copies of any de-
         (2) "Claims" made or "suits" brought; or                                     mands, notices, summonses, or legal papers
                                                                                      received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                            "suit";
             "e mployees" making "claims" or bringing "suits".
                                                                                 b.   Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                            information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "e mployee benefit
       programs" during the policy period.


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       c.   Cooperate with us in the investigation, set-                    When this insurance is excess, we will have no
            tle ment, or defense of the "claim" or "suit";                  duty to defend any "claim" or "suit" that any
            and                                                             other insurer has a duty to defend. If no other
                                                                            insurer defends, we will undertake to do so, but
       d.   Assist us, upon our request, in the en-
                                                                            we will be entitled to the "insured’s" rights
            force ment of any right against any person
                                                                            against all those other insurers.
            or organization which may be liable to the
            "insured" because of injury to which this in-                   When this insurance is excess over other insur-
            surance may also apply.                                         ance, we will pay only our share of the amount
                                                                            of the loss, if any, that exceeds the sum of:
   (4) No insureds will, except at their own cost, vol-
       untarily make a payment, assume any obliga-                          i.    The total amount that all such other insur-
       tion, or incur any expense without our consent.                            ance would pay for the loss in the absence
                                                                                  of this insurance; and
C. Legal Action Against Us
                                                                            ii. The total of all deductible and self-insured
   No person or organization has a right:
                                                                                amounts under all that other insurance.
   (1) To join us as a party or otherwise bring us into
                                                                            We will share the re maining loss, if any, with
       a "suit" asking for damages from an "insured";
                                                                            any other insurance that is not described in this
       or
                                                                            Excess Insurance provision and was not bought
   (2) To sue us on this Coverage Part unless all of its                    specifically to apply in excess of the Limits of
       terms have been fully complied with.                                 Insurance shown in the Declarations of this
                                                                            Coverage Part.
   A person or organization may sue us to recover on
   an agreed settle ment or on a final judgment against                 (3) Method of Sharing
   an "insured" obtained after an actual trial, but we
                                                                            If all of the other insurance permits contribu-
   will not be liable for damages that are not payable
                                                                            tion by equal shares, we will follow this method
   under the terms of this Coverage Part or that are in
                                                                            also. Under this approach, each insurer con-
   excess of the applicable limit of insurance. An
                                                                            tributes equal amounts until it has paid its ap-
   agreed settle ment means a settle ment and release
                                                                            plicable limit of insurance or none of the loss
   of liability signed by us, the "insured", and the
                                                                            re mains, whichever comes first.
   claimant or the claimant’s legal representative.
                                                                            If any of the other insurance does not permit
D. Other Insurance
                                                                            contribution by equal shares, we will contribute
   If other valid and collectible insurance is available                    by limits. Under this method, each insurer’s
   to the "insured" for a loss we cover under this Cov-                     share is based on the ratio of its applicable
   erage Part, our obligations are limited as follows:                      limit of insurance to the total applicable limits
                                                                            of insurance of all insurers.
   (1) Primary Insurance
                                                                    E. Separation of Insureds
       This insurance is primary except when 2. below
       applies. If this insurance is primary, our obli-                 Except with respect to the Limits of Insurance and
       gations are not affected unless any of the other                 any rights or duties specifically assigned in this
       insurance is also primary. Then, we will share                   Coverage Part to the first Named Insured, this in-
       with all that other insurance by the method de-                  surance applies:
       scribed in 3. below.
                                                                        (1) As if each Named Insured were the only
   (2) Excess Insurance                                                     Named Insured; and
       This insurance is excess over any other insur-                   (2) Separately to each "insured" against whom
       ance whether primary, excess, contingent, or on                      "claim" is made or "suit" is brought.
       any other basis that is effective prior to the be-
                                                                    F. Transfer Of Rights Of Recovery Against Others To
       ginning of the policy period shown in the Dec-
                                                                       Us
       larations of this insurance and applies to an act,
       error, or omission on other than a claims-made                   If the "insured" has rights to recover all or part of
       basis, if:                                                       any payment we made under this Coverage Part,
                                                                        those rights are transferred to us. The "insured"
       a.   No Retroactive Date is shown in the Dec-
                                                                        must do nothing after loss to impair the m. At our
            larations of this insurance; or
                                                                        request, the "insured" will bring "suit" or transfer
       b.   The other insurance has a policy period                     those rights to us and help us enforce the m.
            which continues after the Retroactive
                                                                IV. Definitions
            Date, if any, shown in the Declarations of
            this insurance.



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    A. "Advertise ment" means a notice that is broadcast or                        You and any of your partners, executive officers, di-
       published to the general public or specific market                          rectors, me mbers, stockholders or "e mployees",
       segments about your goods, products or services for                         provided such "e mployee" is authorized to act in
       the purpose of attracting customers or supporters.                          the "administration" of your "e mployee benefit pro-
       For the purposes of this definition:                                        grams".
         (1) Notices that are published include material                  I.       "Personal and advertising injury" means:
             placed on the Internet or on similar electronic
             means of communication; and                                           Injury, including consequential "bodily injury", aris-
                                                                                   ing out of one or more of the following offenses:
         (2) Regarding web-sites, only that part of a web-
             site that is about your goods, products or ser-                       (1) False arrest, detention, or imprisonment;
             vices for the purposes of attracting customers or                     (2) Malicious prosecution;
             supporters is considered an advertise ment.
                                                                                   (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                                         or invasion of the right of private occupancy of,
         (1) Counseling "e mployees", including their de-                              a room, dwelling, or pre mises that a person oc-
             pendents and beneficiaries, with respect to                               cupies by or on behalf of its owner, landlord, or
             "e mployee benefit programs";                                             lessor;

         (2) Handling records in connection with "e mployee                        (4) Oral or written publication, in any manner, of
             benefit programs"; or                                                     material that slanders or libels a person or or-
                                                                                       ganization or disparages a person’s or organi-
         (3) Effecting or terminating an "e mployee’s" par-                            zation’s goods, products, or services; or
             ticipation in a plan included in "e mployee
             benefit programs".                                                    (5) Oral or written publication,’ in any manner, of
                                                                                       material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-                           vacy;
       ease sustained by a person, including death result-
       ing from any of these at any time.                                          (6) The use of another’s advertising idea in your
                                                                                       "advertise ment"; or
    D. "Claim" means:
                                                                                   (7) Infringing upon another’s copyright, trade dress
         The receipt by you of a de mand for money or ser-                             or slogan in your "advertise ment".
         vices which alleges an act, error, or omission in the
         "administration" of your "e mployee benefit pro-                     J.   "Property damage" means:
         grams."                                                                   (1) Physical injury to tangible property, including
    E. "Coverage territory" means:                                                     all resulting loss of use of that property.

         (1) The United States of America (including its                           (2) Loss of use of tangible property that is not
                                                                                       physically injured.
             territories and possessions), Puerto Rico, and
             Canada; or                                                            For the purposes of this insurance, electronic data is
         (2) All parts of the world if the "insured’s" respon-                     not tangible property.
             sibility to pay damages is determined in a "suit"                     As used in this definition, electronic data means in-
             on the merits, in the territory described in E. 1.                    formation, facts or programs stored as or on, cre-
             above, or in a settle ment to which we agree.                         ated or used on, or transmitted to or from computer
    F. "Employee" means:                                                           software, including syste ms and applications, soft-
                                                                                   ware, hard or floppy disks, CD-ROMS, tapes,
         Your officers and e mployees, whether actively e m-                       drives, cells, data processing devices or any other
         ployed, disabled, or retired.                                             media which are used with electronically controlled
                                                                                   equipment.
    G. "Employee benefit programs" mean:
                                                                          K. "Suit" means:
         Group life insurance, group accident or health in-
         surance, profit sharing plans, pension plans, e m-                        A civil proceeding in which damages to which this
         ployee stock subscription plans, workers compensa-                        insurance applies is alleged. "Suit" includes:
         tion, une mployment insurance, salary continuation
         plans, social security, disability benefits insurance,                    (1) An arbitration proceeding in which such dam-
         savings plans, vacation plans, or any other similar                           ages are claimed and to which you must submit
         plans or programs.                                                            or do submit with our consent; or

    H. "Insured" means:                                                            (2) Any other alternative dispute resolution pro-
                                                                                       ceeding in which such damages are claimed
                                                                                       and to which you submit with our consent.



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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                         Policy Number:       CPO 5912284-00
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured    OMNICELL INC.



  Policy Period: Coverage begins     09-01-2012           at 12:01 A.M.;   Coverage ends          09-01-2013              at 12:01 A.M.


  Producer Name:    MARSH RISK & INSURANCE SERVS                                           Producer No. 70074-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                    $           2,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                            $             2,000,000

EACH OCCURRENCE LIMIT                                 $            1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $            1,000,000                  Any one premises

      MEDICAL EXPENSE LIMIT                           $                    10,000             Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $            1,000,000                  Any one person or
                                                                                              organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                           (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:                                                                    $           68,641.00
Other Premium:
Total Premium:                                                                            $           68,641.00




                                                                                                                    U-GL-D-1115-B CW (9/ 04)
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                                                                        Policy Number
                                                                        CPO 5912284-00
                              COMMERCIAL GENERAL LIABILITY COVERAGE SCHEDULE

                            ZURICH AMERICAN INSURANCE COMPANY

  Named Insured        OMNICELL INC.                                     Effective Date:      09-01-12
                                                                                  12:01 A.M., Standard Time
  Agent Name           MARSH RISK & INSURANCE SERVS                      Agent No.        70074-000
 Item 5. Location of Premises
 Location of All Premises You Own, Rent or Occupy:
       See Schedule of Locations
 Code No.       Premium Basis
                  GROSS SALES/NEAREST THOUSAND                                  Premises / Operations
  51941
 Location         001/001     Exposure   $333,253,000                   Rate                     Premium
Classification:                                                     $             .140 $          46,655.00
COMPUTER MFG.
                                                                        Products / Completed Operations

                                                                         Rate                    Premium
                                                                    $             .057 $          18,995.00
 Code No.         Premium Basis
  G4019                                                                         Premises / Operations

 Location                     Exposure                                  Rate                     Premium
Classification:                                                                           $         2,481.00
GL SUPPLEMENTAL COVERAGE ENDORSEMENT
                                                                        Products / Completed Operations

                                                                         Rate                    Premium


 Code No.         Premium Basis
                                                                                Premises / Operations
  92100
 Location                     Exposure   1100                           Rate                     Premium
Classification:                                                                           $             510.00
EMPLOYEE BENEFITS
                                                                        Products / Completed Operations

                                                                         Rate                    Premium


 Code No.         Premium Basis
                                                                                Premises / Operations

 Location                     Exposure                                  Rate                     Premium
Classification:

                                                                        Products / Completed Operations

                                                                         Rate                    Premium




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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                      Policy Number:      CPO 5912284-00
Named Insured:      OMNICELL INC.


Policy Period: Coverage begins 09-01-2012                   at 12:01 A.M.;   Coverage ends 09-01-2013          at 12:01 A.M.



Producer Name:      MARSH RISK & INSURANCE SERVS                                   Producer No.    70074-000


Item 1. Limits of Insurance



    $     1,000,000           Aggregate Limit
    $     1,000,000           Each Claim Limit


Item 2. Form of Business:
         Individual              Parnership             Joint Venture        X Corporation
         Other



Item 3. Premium Schedule:
    Code No.          Premium Basis                          Rate                              Advance Premium
                      (Estimated Number of Employees)

     92100             1,100                                 $                  Per Employee   $   INCL
                                                             $                  Flat Charge    $


Total Advance Premium For This Coverage Part:         $   INCL

Audit Period:    X Annual           Semi-annual            Quarterly            Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
                    (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




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                                                                                     COMMERCIAL GENERAL LIABILITY
                                                                                                    CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.                   b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,                     "property damage" only if:
duties and what is and is not covered.
                                                                         (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                            caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,                        in the "coverage territory";
and any other person or organization qualifying as a                     (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we", "us"                        occurs during the policy period; and
and "our" refer to the company providing this insur-
ance.                                                                    (3) Prior to the policy period, no insured listed
                                                                             under Paragraph 1. of Section II ---- Who Is
The word "insured" means any person or organization                          An Insured and no "employee" authorized
qualifying as such under Section II ---- Who Is An In-                       by you to give or receive notice of an "oc-
sured.                                                                       currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                             jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V ----                          whole or in part. If such a listed insured or
Definitions.                                                                 authorized "employee" knew, prior to the
SECTION I ---- COVERAGES                                                     policy period, that the "bodily injury" or
                                                                             "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                                        tinuation, change or resumption of such
DAMAGE LIABILITY                                                             "bodily injury" or "property damage" during
1. Insuring Agreement                                                        or after the policy period will be deemed to
                                                                             have been known prior to the policy period.
   a. We will pay those sums that the insured be-
       comes legally obligated to pay as damages be-                   c. "Bodily injury" or "property damage" which
       cause of "bodily injury" or "property damage" to                    occurs during the policy period and was not,
       which this insurance applies. We will have the                      prior to the policy period, known to have oc-
       right and duty to defend the insured against                        curred by any insured listed under Paragraph
       any "suit" seeking those damages. However, we                       1. of Section II ---- Who Is An Insured or any
       will have no duty to defend the insured against                     "employee" authorized by you to give or receive
       any "suit" seeking damages for "bodily injury" or                   notice of an "occurrence" or claim, includes any
       "property damage" to which this insurance                           continuation, change or resumption of that
       does not apply. We may, at our discretion, in-                      "bodily injury" or "property damage" after the
       vestigate any "occurrence" and settle any claim                     end of the policy period.
       or "suit" that may result. But:                                 d. "Bodily injury" or "property damage" will be
      (1) The amount we will pay for damages is                            deemed to have been known to have occurred
           limited as described in Section III ---- Limits                 at the earliest time when any insured listed un-
           Of Insurance; and                                               der Paragraph 1. of Section II ---- Who Is An In-
      (2) Our right and duty to defend ends when we                        sured or any "employee" authorized by you to
           have used up the applicable limit of insur-                     give or receive notice of an "occurrence" or
                                                                           claim:
           ance in the payment of judgments or set-
           tlements under Coverages A or B or medi-                       (1) Reports all, or any part, of the "bodily injury"
           cal expenses under Coverage C.                                      or "property damage" to us or any other in-
                                                                               surer;
       No other obligation or liability to pay sums or
       perform acts or services is covered unless ex-                    (2) Receives a written or verbal demand or
       plicitly provided for under Supplementary Pay-                        claim for damages because of the "bodily in-
       ments ---- Coverages A and B.                                         jury" or "property damage"; or
                                                                         (3) Becomes aware by any other means that
                                                                             "bodily injury" or "property damage" has oc-
                                                                             curred or has begun to occur.




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   e. Damages because of "bodily injury" include                        c. Liquor Liability
      damages claimed by any person or organiza-                            "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting                    any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                           (1) Causing or contributing to the intoxication
2. Exclusions                                                                  of any person;
   This insurance does not apply to:                                       (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                              person under the legal drinking age or un-
       "Bodily injury" or "property damage" expected                           der the influence of alcohol; or
       or intended from the standpoint of the insured.                    (3) Any statute, ordinance or regulation relating
       This exclusion does not apply to "bodily injury"                       to the sale, gift, distribution or use of alco-
       resulting from the use of reasonable force to                          holic beverages.
       protect persons or property.                                        This exclusion applies only if you are in the
   b. Contractual Liability                                                business of manufacturing, distributing, selling,
       "Bodily injury" or "property damage" for which                      serving or furnishing alcoholic beverages.
       the insured is obligated to pay damages by rea-                  d. Workers’ Compensation And Similar Laws
       son of the assumption of liability in a contract                    Any obligation of the insured under a workers’
       or agreement. This exclusion does not apply to                      compensation, disability benefits or unemploy-
       liability for damages:                                              ment compensation law or any similar law.
      (1) That the insured would have in the absence                    e. Employer’s Liability
           of the contract or agreement; or
                                                                           "Bodily injury" to:
      (2) Assumed in a contract or agreement that is
           an "insured contract", provided the "bodily                    (1) An "employee" of the insured arising out of
           injury" or "property damage" occurs subse-                           and in the course of:
           quent to the execution of the contract or                           (a) Employment by the insured; or
           agreement. Solely for the purposes of liabil-
                                                                              (b) Performing duties related to the conduct
           ity assumed in an "insured contract", rea-
                                                                                   of the insured’s business; or
           sonable attorney fees and necessary litiga-
           tion expenses incurred by or for a party                       (2) The spouse, child, parent, brother or sister
           other than an insured are deemed to be                               of that "employee" as a consequence of
           damages because of "bodily injury" or                                Paragraph (1) above.
           "property damage", provided:                                    This exclusion applies whether the insured may
          (a) Liability to such party for, or for the cost                 be liable as an employer or in any other capac-
                of, that party’s defense has also been                     ity and to any obligation to share damages with
                assumed in the same "insured contract";                    or repay someone else who must pay damages
                and                                                        because of the injury.
          (b) Such attorney fees and litigation ex-                        This exclusion does not apply to liability as-
                penses are for defense of that party                       sumed by the insured under an "insured con-
                against a civil or alternative dispute reso-               tract".
                lution proceeding in which damages to
                which this insurance applies are alleged.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened dis-                  or subcontractors working directly or
           charge, dispersal, seepage, migration, re-                     indirectly on any insured’s behalf are
           lease or escape of "pollutants":                               performing operations if the "pollutants"
                                                                         are brought on or to the premises, site
          (a) At or from any premises, site or location                   or location in connection with such op-
               which is or was at any time owned or                      erations by such insured, contractor or
               occupied by, or rented or loaned to, any                   subcontractor. However, this subpara-
               insured. However, this subparagraph                        graph does not apply to:
               does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                        arising out of the escape of fuels, lu-
                  building and caused by smoke,                               bricants or other operating fluids
                 fumes, vapor or soot produced by or                          which are needed to perform the
                  originating from equipment that is                          normal electrical, hydraulic or me-
                  used to heat, cool or dehumidify the                        chanical functions necessary for the
                  building, or equipment that is used to                      operation of "mobile equipment" or its
                  heat water for personal use, by the                         parts, if such fuels, lubricants or
                  building’s occupants or their guests;                       other operating fluids escape from a
            (ii) "Bodily injury" or "property damage"                         vehicle part designed to hold, store
                 for which you may be held liable, if                         or receive them. This exception does
                 you are a contractor and the owner                           not apply if the "bodily injury" or
                  or lessee of such premises, site or                         "property damage" arises out of the
                 location has been added to your pol-                         intentional discharge, dispersal or re-
                  icy as an additional insured with re-                       lease of the fuels, lubricants or other
                  spect to your ongoing operations                            operating fluids, or if such fuels, lu-
                  performed for that additional insured                       bricants or other operating fluids are
                 at that premises, site or location and                       brought on or to the premises, site
                  such premises, site or location is not                      or location with the intent that they
                 and never was owned or occupied                              be discharged, dispersed or released
                  by, or rented or loaned to, any in-                         as part of the operations being per-
                  sured, other than that additional in-                       formed by such insured, contractor
                  sured; or                                                   or subcontractor;
           (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                          sustained within a building and
                 from a "hostile fire";                                       caused by the release of gases,
        (b) At or from any premises, site or location                         fumes or vapors from materials
             which is or was at any time used by or                           brought into that building in connec-
             for any insured or others for the han-                           tion with operations being performed
             dling, storage, disposal, processing or                          by you or on your behalf by a con-
             treatment of waste;                                              tractor or subcontractor; or
        (c) Which are or were at any time trans-                        (iii) "Bodily injury" or "property damage"
             ported, handled, stored, treated, dis-                           arising out of heat, smoke or fumes
             posed of, or processed as waste by or                            from a "hostile fire".
             for:                                                    (e) At or from any premises, site or location
             (i) Any insured; or                                          on which any insured or any contractors
                                                                          or subcontractors working directly or
            (ii) Any person or organization for                           indirectly on any insured’s behalf are
                 whom you may be legally responsi-                        performing operations if the operations
                  ble; or                                                are to test for, monitor, clean up, re-
                                                                          move, contain, treat, detoxify or neutral-
                                                                          ize, or in any way respond to, or assess
                                                                          the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                      (5) "Bodily injury" or "property damage" arising
          any:                                                              out of:
         (a) Request, demand, order or statutory or                        (a) The operation of machinery or equip-
             regulatory requirement that any insured                           ment that is attached to, or part of, a
             or others test for, monitor, clean up, re-                        land vehicle that would qualify under the
             move, contain, treat, detoxify or neutral-                        definition of "mobile equipment" if it were
             ize, or in any way respond to, or assess                          not subject to a compulsory or financial
             the effects of, "pollutants"; or                                  responsibility law or other motor vehicle
        (b) Claim or "suit" by or on behalf of a gov-                          insurance law in the state where it is li-
             ernmental authority for damages be-                               censed or principally garaged; or
             cause of testing for, monitoring, clean-                        (b) the operation of any of the machinery or
             ing up, removing, containing, treating,                             equipment listed in Paragraph f.(2) or
             detoxifying or neutralizing, or in any way                           f.(3) of the definition of "mobile equip-
             responding to, or assessing the effects                              ment".
             of, "pollutants".                                       h. Mobile Equipment
          However, this paragraph does not apply to                       "Bodily injury" or "property damage" arising out
          liability for damages because of "property                      of:
          damage" that the insured would have in the
          absence of such request, demand, order or                      (1) The transportation of "mobile equipment" by
          statutory or regulatory requirement, or such                        an "auto" owned or operated by or rented or
          claim or "suit" by or on behalf of a govern-                        loaned to any insured; or
          mental authority.                                              (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                            in practice for, or while being prepared for,
                                                                              any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                        or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-              i. War
      tercraft owned or operated by or rented or                         "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                      caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                        (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                        (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                            action in hindering or defending against an
      wrongdoing in the supervision, hiring, em-
                                                                            actual or expected attack, by any govern-
      ployment, training or monitoring of others by
                                                                            ment, sovereign or other authority using
      that insured, if the "occurrence" which caused
                                                                            military personnel or other agents; or
      the "bodily injury" or "property damage" in-
      volved the ownership, maintenance, use or en-                     (3) Insurrection, rebellion, revolution, usurped
      trustment to others of any aircraft, "auto" or wa-                    power, or action taken by governmental au-
      tercraft that is owned or operated by or rented                       thority in hindering or defending against
      or loaned to any insured.                                             any of these.
      This exclusion does not apply to:                              j. Damage To Property
     (1) A watercraft while ashore on premises you                      "Property damage" to:
          own or rent;                                                 (1) Property you own, rent, or occupy, includ-
     (2) A watercraft you do not own that is:                              ing any costs or expenses incurred by you,
         (a) Less than 26 feet long; and                                   or any other person, organization or entity,
                                                                           for repair, replacement, enhancement, res-
        (b) Not being used to carry persons or                             toration or maintenance of such property
             property for a charge;                                        for any reason, including prevention of in-
     (3) Parking an "auto" on, or on the ways next                         jury to a person or damage to another’s
         to, premises you own or rent, provided the                        property;
         "auto" is not owned by or rented or loaned                    (2) Premises you sell, give away or abandon, if
         to you or the insured;                                            the "property damage" arises out of any part
     (4) Liability assumed under any "insured con-                         of those premises;
         tract" for the ownership, maintenance or                      (3) Property loaned to you;
         use of aircraft or watercraft; or
                                                                       (4) Personal property in the care, custody or
                                                                           control of the insured;



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     (5) That particular part of real property on                     This exclusion does not apply to the loss of
         which you or any contractors or subcon-                      use of other property arising out of sudden
         tractors working directly or indirectly on                   and accidental physical injury to "your product"
         your behalf are performing operations, if the                or "your work" after it has been put to its in-
         "property damage" arises out of those op-                    tended use.
         erations; or                                              n. Recall Of Products, Work Or Impaired Property
     (6) That particular part of any property that                    Damages claimed for any loss, cost or expense
         must be restored, repaired or replaced be-                   incurred by you or others for the loss of use,
         cause "your work" was incorrectly per-                       withdrawal, recall, inspection, repair, replace-
         formed on it.                                                ment, adjustment, removal or disposal of:
      Paragraphs (1), (3) and (4) of this exclusion do                (1) "Your product";
      not apply to "property damage" (other than
      damage by fire) to premises, including the con-                 (2) "Your work"; or
      tents of such premises, rented to you for a pe-                 (3) "Impaired property";
      riod of 7 or fewer consecutive days. A separate                  if such product, work, or property is withdrawn
      limit of insurance applies to Damage To Prem-
                                                                       or recalled from the market or from use by any
      ises Rented To You as described in Section III
                                                                       person or organization because of a known or
      ---- Limits Of Insurance.
                                                                       suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply                   dangerous condition in it.
      if the premises are "your work" and were never               o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                       "Bodily injury" arising out of "personal and ad-
      Paragraphs (3), (4), (5) and (6) of this exclu-                  vertising injury".
      sion do not apply to liability assumed under a
      sidetrack agreement.                                         p. Electronic Data
      Paragraph (6) of this exclusion does not apply                  Damages arising out of the loss of, loss of use
      to "property damage" included in the "products-                 of, damage to, corruption of, inability to ac-
      completed operations hazard".                                   cess, or inability to manipulate electronic data.
  k. Damage To Your Product                                           As used in this exclusion, electronic data
                                                                      means information, facts or programs stored as
      "Property damage" to "your product" arising out
                                                                      or on, created or used on, or transmitted to or
      of it or any part of it.
                                                                      from computer software, including systems and
   l. Damage To Your Work                                             applications software, hard or floppy disks,
      "Property damage" to "your work" arising out of                 CD-ROMS, tapes, drives, cells, data processing
      it or any part of it and included in the "prod-                 devices or any other media which are used with
      ucts-completed operations hazard".                              electronically controlled equipment.
      This exclusion does not apply if the damaged                 q. Distribution Of Material In Violation Of Statutes
      work or the work out of which the damage                        "Bodily injury" or "property damage" arising di-
      arises was performed on your behalf by a sub-                   rectly or indirectly out of any action or omis-
      contractor.                                                     sion that violates or is alleged to violate:
  m. Damage To Impaired Property Or Property Not                     (1) The Telephone Consumer Protection Act
      Physically Injured                                                 (TCPA), including any amendment of or
      "Property damage" to "impaired property" or                        addition to such law; or
      property that has not been physically injured,                 (2) The CAN-SPAM Act of 2003, including any
      arising out of:                                                    amendment of or addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-                 (3) Any statute, ordinance or regulation, other
          ous condition in "your product" or "your                       than the TCPA or CAN-SPAM Act of 2003,
          work"; or                                                      that prohibits or limits the sending, transmit-
     (2) A delay or failure by you or anyone acting                      ting, communicating or distribution of mate-
          on your behalf to perform a contract or                        rial or information.
          agreement in accordance with its terms.




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   Exclusions c. through n. do not apply to damage                     c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-                      "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                          oral or written publication of material whose
   owner. A separate limit of insurance applies to this                   first publication took place before the begin-
   coverage as described in Section III ---- Limits Of In-                ning of the policy period.
   surance.
                                                                       d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                          "Personal and advertising injury" arising out of
                                                                          a criminal act committed by or at the direction
1. Insuring Agreement
                                                                          of the insured.
   a. We will pay those sums that the insured be-                      e. Contractual Liability
       comes legally obligated to pay as damages be-
       cause of "personal and advertising injury" to                      "Personal and advertising injury" for which the
       which this insurance applies. We will have the                     insured has assumed liability in a contract or
       right and duty to defend the insured against                       agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However, we                      ability for damages that the insured would have
       will have no duty to defend the insured against                    in the absence of the contract or agreement.
       any "suit" seeking damages for "personal and                     f. Breach Of Contract
       advertising injury" to which this insurance does
                                                                           "Personal and advertising injury" arising out of
       not apply. We may, at our discretion, investi-
                                                                           a breach of contract, except an implied contract
       gate any offense and settle any claim or "suit"
                                                                           to use another’s advertising idea in your "ad-
       that may result. But:
                                                                           vertisement".
      (1) The amount we will pay for damages is
                                                                       g. Quality Or Performance Of Goods ---- Failure To
           limited as described in Section III ---- Limits
                                                                           Conform To Statements
           Of Insurance; and
      (2) Our right and duty to defend end when we                         "Personal and advertising injury" arising out of
           have used up the applicable limit of insur-                     the failure of goods, products or services to
           ance in the payment of judgments or set-                        conform with any statement of quality or per-
           tlements under Coverages A or B or medi-                        formance made in your "advertisement".
           cal expenses under Coverage C.                              h. Wrong Description Of Prices
      No other obligation or liability to pay sums or                      "Personal and advertising injury" arising out of
      perform acts or services is covered unless ex-                       the wrong description of the price of goods,
      plicitly provided for under Supplementary Pay-                       products or services stated in your "advertise-
      ments ---- Coverages A and B.                                        ment".
   b. This insurance applies to "personal and adver-                    i. Infringement Of Copyright, Patent, Trademark
      tising injury" caused by an offense arising out                      Or Trade Secret
      of your business but only if the offense was                         "Personal and advertising injury" arising out of
      committed in the "coverage territory" during the                     the infringement of copyright, patent, trade-
      policy period.                                                       mark, trade secret or other intellectual property
2. Exclusions                                                              rights. Under this exclusion, such other intel-
                                                                           lectual property rights do not include the use of
   This insurance does not apply to:
                                                                           another’s advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                               ment".
      "Personal and advertising injury" caused by or                       However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-                      fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-                    right, trade dress or slogan.
      other and would inflict "personal and advertis-
                                                                        j. Insureds In Media And Internet Type
      ing injury".
                                                                           Businesses
   b. Material Published With Knowledge Of Falsity
                                                                           "Personal and advertising injury" committed by
      "Personal and advertising injury" arising out of                     an insured whose business is:
      oral or written publication of material, if done
                                                                          (1) Advertising, broadcasting, publishing or
      by or at the direction of the insured with knowl-
                                                                               telecasting;
      edge of its falsity.
                                                                          (2) Designing or determining content of web-
                                                                               sites for others; or




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      (3) An Internet search, access, content or                         (3) Insurrection, rebellion, revolution, usurped
           service provider.                                                  power, or action taken by governmental au-
       However, this exclusion does not apply to                              thority in hindering or defending against
       Paragraphs 14.a., b. and c. of "personal and                           any of these.
       advertising injury" under the Definitions Sec-                 p. Distribution Of Material In Violation Of Statutes
       tion.                                                              "Personal and advertising injury" arising directly
       For the purposes of this exclusion, the placing                    or indirectly out of any action or omission that
       of frames, borders or links, or advertising, for                   violates or is alleged to violate:
       you or others anywhere on the Internet, is not
                                                                      (1) The Telephone Consumer Protection Act
       by itself, considered the business of advertis-
                                                                          (TCPA), including any amendment of or
       ing, broadcasting, publishing or telecasting.                      addition to such law; or
  k. Electronic Chatrooms Or Bulletin Boards                          (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of                   amendment of or addition to such law; or
       an electronic chatroom or bulletin board the in-               (3) Any statute, ordinance or regulation, other
       sured hosts, owns, or over which the insured                       than the TCPA or CAN-SPAM Act of 2003,
       exercises control.                                                 that prohibits or limits the sending, transmit-
   l. Unauthorized Use Of Another’s Name Or                               ting, communicating or distribution of mate-
       Product                                                            rial or information.
       "Personal and advertising injury" arising out of         COVERAGE C MEDICAL PAYMENTS
       the unauthorized use of another’s name or                1. Insuring Agreement
       product in your e-mail address, domain name
       or metatag, or any other similar tactics to mis-            a. We will pay medical expenses as described
       lead another’s potential customers.                             below for "bodily injury" caused by an accident:
  m. Pollution                                                           (1) On premises you own or rent;
       "Personal and advertising injury" arising out of                  (2) On ways next to premises you own or rent;
       the actual, alleged or threatened discharge, dis-                      or
       persal, seepage, migration, release or escape                     (3) Because of your operations;
       of "pollutants" at any time.                                       provided that:
   n. Pollution-Related                                                      (a) The accident takes place in the "cover-
       Any loss, cost or expense arising out of any:                              age territory" and during the policy pe-
      (1) Request, demand, order or statutory or                                  riod;
           regulatory requirement that any insured or                        (b) The expenses are incurred and reported
           others test for, monitor, clean up, remove,                            to us within one year of the date of the
           contain, treat, detoxify or neutralize, or in                          accident; and
           any way respond to, or assess the effects
                                                                             (c) The injured person submits to examina-
           of, "pollutants"; or
                                                                                  tion, at our expense, by physicians of
      (2) Claim or suit by or on behalf of a govern-                              our choice as often as we reasonably
           mental authority for damages because of                                require.
           testing for, monitoring, cleaning up, remov-
           ing, containing, treating, detoxifying or neu-             b. We will make these payments regardless of
                                                                          fault. These payments will not exceed the appli-
           tralizing, or in any way responding to, or
                                                                          cable limit of insurance. We will pay reasonable
           assessing the effects of, "pollutants".
                                                                          expenses for:
   o. War
                                                                         (1) First aid administered at the time of an acci-
       "Personal and advertising injury", however                             dent;
       caused, arising, directly or indirectly, out of:
                                                                         (2) Necessary medical, surgical, x-ray and
      (1) War, including undeclared or civil war;                             dental services, including prosthetic de-
      (2) Warlike action by a military force, including                       vices; and
           action in hindering or defending against an                   (3) Necessary ambulance, hospital, profes-
           actual or expected attack, by any govern-                          sional nursing and funeral services.
           ment, sovereign or other authority using
           military personnel or other agents; or




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2. Exclusions                                                         f. Prejudgment interest awarded against the in-
   We will not pay expenses for "bodily injury":                         sured on that part of the judgment we pay. If
                                                                         we make an offer to pay the applicable limit of
   a. Any Insured                                                        insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                        terest based on that period of time after the of-
                                                                         fer.
   b. Hired Person
                                                                     g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf
                                                                         that accrues after entry of the judgment and be-
      of any insured or a tenant of any insured.
                                                                         fore we have paid, offered to pay, or deposited
   c. Injury On Normally Occupied Premises                               in court the part of the judgment that is within
      To a person injured on that part of premises                       the applicable limit of insurance.
      you own or rent that the person normally oc-                 These payments will not reduce the limits of insur-
      cupies.                                                      ance.
   d. Workers Compensation And Similar Laws                     2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of                 indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"             to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-                the following conditions are met:
      ers’ compensation or disability benefits law or a            a. The "suit" against the indemnitee seeks dam-
      similar law.                                                     ages for which the insured has assumed the li-
   e. Athletics Activities                                             ability of the indemnitee in a contract or agree-
                                                                       ment that is an "insured contract";
       To a person injured while practicing, instruct-
       ing or participating in any physical exercises or           b. This insurance applies to such liability assumed
       games, sports, or athletic contests.                            by the insured;
    f. Products-Completed Operations Hazard                        c. The obligation to defend, or the cost of the
                                                                       defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-                  sumed by the insured in the same "insured
       tions hazard".                                                  contract";
   g. Coverage A Exclusions
                                                                     d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                         we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS ---- COVERAGES A                                   no conflict appears to exist between the inter-
AND B                                                                     ests of the insured and the interests of the in-
                                                                          demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we               e. The indemnitee and the insured ask us to con-
   defend:                                                                duct and control the defense of that indemnitee
                                                                          against such "suit" and agree that we can as-
   a. All expenses we incur.                                              sign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                          and the indemnitee; and
       because of accidents or traffic law violations                 f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We                  (1) Agrees in writing to:
       do not have to furnish these bonds.                                   (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                              settlement or defense of the "suit";
       only for bond amounts within the applicable                        (b) Immediately send us copies of any de-
       limit of insurance. We do not have to furnish                           mands, notices, summonses or legal
       these bonds.                                                            papers received in connection with the
   d. All reasonable expenses incurred by the in-                              "suit";
       sured at our request to assist us in the investi-                   (c) Notify any other insurer whose coverage
       gation or defense of the claim or "suit", includ-                       is available to the indemnitee; and
       ing actual loss of earnings up to $250 a day
                                                                          (d) Cooperate with us with respect to coor-
       because of time off from work.
                                                                               dinating other applicable insurance avail-
   e. All court costs taxed against the insured in the                         able to the indemnitee; and
      "suit". However, these payments do not include                   (2) Provides us with written authorization to:
      attorneys’ fees or attorneys’ expenses taxed
      against the insured.                                                 (a) Obtain records and other information
                                                                               related to the "suit"; and



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          (b) Conduct and control the defense of the             2. Each of the following is also an insured:
               indemnitee in such "suit".                           a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-                      duties related to the conduct of your business,
   neys’ fees incurred by us in the defense of that in-                 or your "employees", other than either your "ex-
   demnitee, necessary litigation expenses incurred                     ecutive officers" (if you are an organization
   by us and necessary litigation expenses incurred                     other than a partnership, joint venture or lim-
   by the indemnitee at our request will be paid as                     ited liability company) or your managers (if you
   Supplementary Payments. Notwithstanding the                          are a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I ---- Cov-               within the scope of their employment by you or
   erage A ---- Bodily Injury And Property Damage Li-                   while performing duties related to the conduct
   ability, such payments will not be deemed to be                      of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"                    ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                         for:
   Our obligation to defend an insured’s indemnitee                    (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys’ fees and necessary litiga-                      injury":
   tion expenses as Supplementary Payments ends                            (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                              you are a partnership or joint venture),
   surance in the payment of judgments or settle-                                to your members (if you are a limited li-
   ments or the conditions set forth above, or the                               ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                              while in the course of his or her em-
   above, are no longer met.                                                     ployment or performing duties related to
SECTION II ---- WHO IS AN INSURED                                                the conduct of your business, or to your
1. If you are designated in the Declarations as:                                 other "volunteer workers" while perform-
                                                                                 ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                              business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                           (b) To the spouse, child, parent, brother or
                                                                                 sister of that co-"employee" or "volunteer
   b. A partnership or joint venture, you are an in-                             worker" as a consequence of Paragraph
       sured. Your members, your partners, and their                             (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                              (c) For which there is any obligation to
                                                                               share damages with or repay someone
   c. A limited liability company, you are an insured.                         else who must pay damages because of
       Your members are also insureds, but only with                           the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                           or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                                  (d) Arising out of his or her providing or
                                                                               failing to provide professional health
   d. An organization other than a partnership, joint                          care services.
       venture or limited liability company, you are an
       insured. Your "executive officers" and directors                (2) "Property damage" to property:
       are insureds, but only with respect to their du-                    (a) Owned, occupied or used by,
       ties as your officers or directors. Your stock-                    (b) Rented to, in the care, custody or con-
       holders are also insureds, but only with respect                        trol of, or over which physical control is
       to their liability as stockholders.                                     being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                        you, any of your "employees", "volunteer
       also insureds, but only with respect to their du-                    workers", any partner or member (if you are
       ties as trustees.
                                                                            a partnership or joint venture), or any mem-
                                                                            ber (if you are a limited liability company).




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   b. Any person (other than your "employee" or                   3. The Products-Completed Operations Aggregate
       "volunteer worker"), or any organization while                Limit is the most we will pay under Coverage A for
       acting as your real estate manager.                           damages because of "bodily injury" and "property
   c. Any person or organization having proper                       damage" included in the "products-completed op-
       temporary custody of your property if you die,                erations hazard".
       but only:                                                  4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the               Advertising Injury Limit is the most we will pay un-
           maintenance or use of that property; and                  der Coverage B for the sum of all damages be-
                                                                     cause of all "personal and advertising injury" sus-
        (2) Until your legal representative has been                 tained by any one person or organization.
             appointed.
                                                                 5. Subject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only                applies, the Each Occurrence Limit is the most we
         with respect to duties as such. That representa-            will pay for the sum of:
         tive will have all your rights and duties under
         this Coverage Part.                                         a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other                 b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability           because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership                   age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named Insured        6. Subject to Paragraph 5. above, the Damage To
    if there is no other similar insurance available to              Premises Rented To You Limit is the most we will
    that organization. However:                                      pay under Coverage A for damages because of
     a. Coverage under this provision is afforded only               "property damage" to any one premises, while
         until the 90th day after you acquire or form the            rented to you, or in the case of damage by fire,
         organization or the end of the policy period,               while rented to you or temporarily occupied by you
         whichever is earlier;                                       with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or           7. Subject to Paragraph 5. above, the Medical Ex-
         "property damage" that occurred before you                  pense Limit is the most we will pay under Cover-
         acquired or formed the organization; and                    age C for all medical expenses because of "bodily
    c. Coverage B does not apply to "personal and                    injury" sustained by any one person.
         advertising injury" arising out of an offense           The Limits of Insurance of this Coverage Part apply
         committed before you acquired or formed the             separately to each consecutive annual period and to
         organization.                                           any remaining period of less than 12 months, starting
No person or organization is an insured with respect             with the beginning of the policy period shown in the
to the conduct of any current or past partnership,               Declarations, unless the policy period is extended
joint venture or limited liability company that is not           after issuance for an additional period of less than 12
shown as a Named Insured in the Declarations.                    months. In that case, the additional period will be
                                                                 deemed part of the last preceding period for purposes
SECTION III ---- LIMITS OF INSURANCE                             of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations             SECTION IV ---- COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-              CONDITIONS
   gardless of the number of:
                                                                 1. Bankruptcy
   a. Insureds;
                                                                     Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                             insured’s estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                      tions under this Coverage Part.
      bringing "suits".                                          2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will                   Claim Or Suit
   pay for the sum of:                                               a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                                 as practicable of an "occurrence" or an offense
   b. Damages under Coverage A, except damages                           which may result in a claim. To the extent pos-
      because of "bodily injury" or "property damage"                    sible, notice should include:
      included in the "products-completed operations                    (1) How, when and where the "occurrence" or
      hazard"; and                                                           offense took place;
   c. Damages under Coverage B.                                         (2) The names and addresses of any injured
                                                                             persons and witnesses; and




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      (3) The nature and location of any injury or                4. Other Insurance
          damage arising out of the "occurrence" or                  If other valid and collectible insurance is available
          offense.                                                   to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against                ages A or B of this Coverage Part, our obligations
       any insured, you must:                                        are limited as follows:
      (1) Immediately record the specifics of the claim              a. Primary Insurance
          or "suit" and the date received; and                           This insurance is primary except when Para-
      (2) Notify us as soon as practicable.                              graph b. below applies. If this insurance is pri-
       You must see to it that we receive written no-                    mary, our obligations are not affected unless
       tice of the claim or "suit" as soon as practicable.               any of the other insurance is also primary.
                                                                         Then, we will share with all that other insurance
   c. You and any other involved insured must:                           by the method described in Paragraph c. be-
      (1) Immediately send us copies of any de-                          low.
            mands, notices, summonses or legal papers                b. Excess Insurance
            received in connection with the claim or
            "suit";                                                     (1) This insurance is excess over:
      (2) Authorize us to obtain records and other                          (a) Any of the other insurance, whether
            information;                                                          primary, excess, contingent or on any
                                                                                  other basis:
      (3) Cooperate with us in the investigation or
            settlement of the claim or defense against                            (i) That is Fire, Extended Coverage,
            the "suit"; and                                                           Builder’s Risk, Installation Risk or
                                                                                      similar coverage for "your work";
      (4) Assist us, upon our request, in the en-
            forcement of any right against any person                            (ii) That is Fire insurance for premises
            or organization which may be liable to the                                rented to you or temporarily occu-
            insured because of injury or damage to                                    pied by you with permission of the
            which this insurance may also apply.                                      owner;
   d. No insured will, except at that insured’s own                            (iii) That is insurance purchased by you
       cost, voluntarily make a payment, assume any                                   to cover your liability as a tenant for
       obligation, or incur any expense, other than for                               "property damage" to premises
       first aid, without our consent.                                                rented to you or temporarily occu-
                                                                                      pied by you with permission of the
3. Legal Action Against Us                                                            owner; or
   No person or organization has a right under this                            (iv) If the loss arises out of the mainte-
   Coverage Part:                                                                     nance or use of aircraft, "autos" or
   a. To join us as a party or otherwise bring us into                                watercraft to the extent not subject to
       a "suit" asking for damages from an insured; or                                Exclusion g. of Section I ---- Coverage
   b. To sue us on this Coverage Part unless all of                                   A ---- Bodily Injury And Property Dam-
       its terms have been fully complied with.                                       age Liability.
                                                                           (b) Any other primary insurance available to
   A person or organization may sue us to recover
                                                                                 you covering liability for damages arising
   on an agreed settlement or on a final judgment
                                                                                  out of the premises or operations, or the
   against an insured; but we will not be liable for
                                                                                  products and completed operations, for
   damages that are not payable under the terms of
                                                                                  which you have been added as an addi-
   this Coverage Part or that are in excess of the ap-
   plicable limit of insurance. An agreed settlement                              tional insured by attachment of an en-
   means a settlement and release of liability signed                             dorsement.
   by us, the insured and the claimant or the claim-                    (2) When this insurance is excess, we will have
   ant’s legal representative.                                               no duty under Coverages A or B to defend
                                                                             the insured against any "suit" if any other
                                                                             insurer has a duty to defend the insured
                                                                             against that "suit". If no other insurer de-
                                                                             fends, we will undertake to do so, but we
                                                                             will be entitled to the insured’s rights
                                                                             against all those other insurers.




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      (3) When this insurance is excess over other                  c. We have issued this policy in reliance upon
           insurance, we will pay only our share of the                 your representations.
           amount of the loss, if any, that exceeds the          7. Separation Of Insureds
           sum of:
                                                                    Except with respect to the Limits of Insurance, and
          (a) The total amount that all such other                  any rights or duties specifically assigned in this
              insurance would pay for the loss in the               Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                        surance applies:
         (b) The total of all deductible and self-                  a. As if each Named Insured were the only Named
              insured amounts under all that other in-
                                                                        Insured; and
              surance.
                                                                    b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any, with                is made or "suit" is brought.
           any other insurance that is not described in
           this Excess Insurance provision and was               8. Transfer Of Rights Of Recovery Against Others To
           not bought specifically to apply in excess of            Us
           the Limits of Insurance shown in the Decla-              If the insured has rights to recover all or part of
           rations of this Coverage Part.                           any payment we have made under this Coverage
   c. Method Of Sharing                                             Part, those rights are transferred to us. The in-
                                                                    sured must do nothing after loss to impair them. At
       If all of the other insurance permits contribution           our request, the insured will bring "suit" or transfer
       by equal shares, we will follow this method                  those rights to us and help us enforce them.
       also. Under this approach each insurer con-
       tributes equal amounts until it has paid its ap-          9. When We Do Not Renew
       plicable limit of insurance or none of the loss              If we decide not to renew this Coverage Part, we
       remains, whichever comes first.                              will mail or deliver to the first Named Insured
       If any of the other insurance does not permit                shown in the Declarations written notice of the
       contribution by equal shares, we will contribute             nonrenewal not less than 30 days before the expi-
       by limits. Under this method, each insurer’s                 ration date.
       share is based on the ratio of its applicable limit          If notice is mailed, proof of mailing will be sufficient
       of insurance to the total applicable limits of in-           proof of notice.
       surance of all insurers.
                                                                 SECTION V ---- DEFINITIONS
5. Premium Audit
                                                                 1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Coverage                or published to the general public or specific mar-
       Part in accordance with our rules and rates.                 ket segments about your goods, products or ser-
   b. Premium shown in this Coverage Part as ad-                    vices for the purpose of attracting customers or
       vance premium is a deposit premium only. At                  supporters. For the purposes of this definition:
       the close of each audit period we will compute               a. Notices that are published include material
       the earned premium for that period and send                      placed on the Internet or on similar electronic
       notice to the first Named Insured. The due date                  means of communication; and
       for audit and retrospective premiums is the
                                                                    b. Regarding web-sites, only that part of a web-
       date shown as the due date on the bill. If the
                                                                        site that is about your goods, products or ser-
       sum of the advance and audit premiums paid
       for the policy period is greater than the earned                 vices for the purposes of attracting customers
       premium, we will return the excess to the first                  or supporters is considered an advertisement.
       Named Insured.                                            2. "Auto" means:
   c. The first Named Insured must keep records of                  a. A land motor vehicle, trailer or semitrailer de-
       the information we need for premium computa-                     signed for travel on public roads, including any
       tion, and send us copies at such times as we                     attached machinery or equipment; or
       may request.                                                 b. Any other land vehicle that is subject to a com-
6. Representations                                                      pulsory or financial responsibility law or other
                                                                        motor vehicle insurance law in the state where
   By accepting this policy, you agree:
                                                                        it is licensed or principally garaged.
   a. The statements in the Declarations are accurate
                                                                    However, "auto" does not include "mobile equip-
       and complete;
                                                                    ment".
   b. Those statements are based upon representa-
       tions you made to us; and




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3. "Bodily injury" means bodily injury, sickness or               9. "Insured contract" means:
   disease sustained by a person, including death re-                a. A contract for a lease of premises. However,
   sulting from any of these at any time.                                that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                           ises that indemnifies any person or organiza-
   a. The United States of America (including its                        tion for damage by fire to premises while rented
       territories and possessions), Puerto Rico and                     to you or temporarily occupied by you with per-
       Canada;                                                           mission of the owner is not an "insured con-
                                                                         tract";
   b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel               b. A sidetrack agreement;
       or transportation between any places included                   c. Any easement or license agreement, except in
       in Paragraph a. above; or                                           connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-                   erations on or within 50 feet of a railroad;
       age arises out of:                                              d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                         indemnify a municipality, except in connection
           the territory described in Paragraph a.                         with work for a municipality;
           above;                                                      e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in                   f. That part of any other contract or agreement
           the territory described in Paragraph a.                         pertaining to your business (including an in-
           above, but is away for a short time on your                     demnification of a municipality in connection
           business; or                                                    with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses                       which you assume the tort liability of another
           that take place through the Internet or simi-                   party to pay for "bodily injury" or "property
           lar electronic means of communication                           damage" to a third person or organization. Tort
                                                                           liability means a liability that would be imposed
     provided the insured’s responsibility to pay dam-                     by law in the absence of any contract or agree-
     ages is determined in a "suit" on the merits, in the                  ment.
     territory described in Paragraph a. above or in a
     settlement we agree to.                                              Paragraph f. does not include that part of any
                                                                          contract or agreement:
5.   "Employee" includes a "leased worker". "Employee"
     does not include a "temporary worker".                              (1) That indemnifies a railroad for "bodily injury"
                                                                              or "property damage" arising out of con-
6.   "Executive officer" means a person holding any of                        struction or demolition operations, within 50
     the officer positions created by your charter, con-                      feet of any railroad property and affecting
     stitution, by-laws or any other similar governing                        any railroad bridge or trestle, tracks, road-
     document.                                                                beds, tunnel, underpass or crossing;
7.   "Hostile fire" means one which becomes uncontrol-                   (2) That indemnifies an architect, engineer or
     lable or breaks out from where it was intended to                        surveyor for injury or damage arising out
     be.                                                                      of:
8.   "Impaired property" means tangible property, other                      (a) Preparing, approving, or failing to pre-
     than "your product" or "your work", that cannot be                           pare or approve, maps, shop drawings,
     used or is less useful because:                                              opinions, reports, surveys, field orders,
      a. It incorporates "your product" or "your work"                            change orders or drawings and specifi-
         that is known or thought to be defective, defi-                          cations; or
         cient, inadequate or dangerous; or                                 (b) Giving directions or instructions, or
     b. You have failed to fulfill the terms of a contract                       failing to give them, if that is the primary
         or agreement;                                                           cause of the injury or damage; or
     if such property can be restored to use by the re-                  (3) Under which the insured, if an architect,
     pair, replacement, adjustment or removal of "your                       engineer or surveyor, assumes liability for
     product" or "your work" or your fulfilling the terms                    an injury or damage arising out of the in-
     of the contract or agreement.                                           sured’s rendering or failure to render pro-
                                                                             fessional services, including those listed in
                                                                             (2) above and supervisory, inspection, ar-
                                                                             chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                        However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                        lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                      ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                       considered "autos":
    worker" does not include a "temporary worker".                        (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                              (a) Snow removal;
    property:
                                                                             (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                               or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                                  (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or                     (2) Cherry pickers and similar devices mounted
       "auto"; or                                                               on automobile or truck chassis and used to
                                                                                raise or lower workers; and
    c. While it is being moved from an aircraft, water-
       craft or "auto" to the place where it is finally de-                (3) Air compressors, pumps and generators,
       livered;                                                                 including spraying, welding, building clean-
                                                                                ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                             well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-                    However, "mobile equipment" does not include any
    tached to the aircraft, watercraft or "auto".                       land vehicles that are subject to a compulsory or
                                                                        financial responsibility law or other motor vehicle
12. "Mobile equipment" means any of the following                       insurance law in the state where it is licensed or
    types of land vehicles, including any attached ma-                  principally garaged. Land vehicles subject to a
    chinery or equipment:                                               compulsory or financial responsibility law or other
    a. Bulldozers, farm machinery, forklifts and other                  motor vehicle insurance law are considered
       vehicles designed for use principally off public                 "autos".
       roads;
                                                                  13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to                tinuous or repeated exposure to substantially the
       premises you own or rent;                                      same general harmful conditions.
   c. Vehicles that travel on crawler treads;                     14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-                  including consequential "bodily injury", arising out
       tained primarily to provide mobility to perma-                 of one or more of the following offenses:
       nently mounted:                                                a. False arrest, detention or imprisonment;
      (1) Power cranes, shovels, loaders, diggers or                  b. Malicious prosecution;
           drills; or                                                 c. The wrongful eviction from, wrongful entry
      (2) Road construction or resurfacing equip-                         into, or invasion of the right of private occu-
           ment such as graders, scrapers or rollers;                     pancy of a room, dwelling or premises that a
   e. Vehicles not described in Paragraph a., b., c.                      person occupies, committed by or on behalf of
       or d. above that are not self-propelled and are                    its owner, landlord or lessor;
       maintained primarily to provide mobility to per-               d. Oral or written publication, in any manner, of
       manently attached equipment of the following                       material that slanders or libels a person or or-
       types:                                                             ganization or disparages a person’s or organi-
      (1) Air compressors, pumps and generators,                          zation’s goods, products or services;
          including spraying, welding, building clean-                e. Oral or written publication, in any manner, of
          ing, geophysical exploration, lighting and                      material that violates a person’s right of pri-
          well servicing equipment; or                                    vacy;
      (2) Cherry pickers and similar devices used to                   f. The use of another’s advertising idea in your
          raise or lower workers;                                         "advertisement"; or
   f. Vehicles not described in Paragraph a., b., c.                  g. Infringing upon another’s copyright, trade
       or d. above maintained primarily for purposes                      dress or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.




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15. "Pollutants" mean any solid, liquid, gaseous or                  b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,                    physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and                    deemed to occur at the time of the "occurrence"
    waste. Waste includes materials to be recycled, re-                  that caused it.
    conditioned or reclaimed.                                        For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                          is not tangible property.
    a. Includes all "bodily injury" and "property dam-               As used in this definition, electronic data means in-
       age" occurring away from premises you own or                  formation, facts or programs stored as or on, cre-
       rent and arising out of "your product" or "your               ated or used on, or transmitted to or from com-
       work" except:                                                 puter software, including systems and applications
      (1) Products that are still in your physical pos-              software, hard or floppy disks, CD-ROMS, tapes,
           session; or                                               drives, cells, data processing devices or any other
                                                                     media which are used with electronically controlled
      (2) Work that has not yet been completed or                    equipment.
           abandoned. However, "your work" will be
           deemed completed at the earliest of the fol-          18. "Suit" means a civil proceeding in which damages
           lowing times:                                             because of "bodily injury", "property damage" or
                                                                     "personal and advertising injury" to which this in-
          (a) When all of the work called for in your                surance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                     a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                      ages are claimed and to which the insured
               job site has been completed if your con-                  must submit or does submit with our consent;
               tract calls for work at more than one job                 or
               site.
                                                                     b. Any other alternative dispute resolution pro-
          (c) When that part of the work done at a job                   ceeding in which such damages are claimed
               site has been put to its intended use by                  and to which the insured submits with our con-
               any person or organization other than                     sent.
               another contractor or subcontractor
               working on the same project.                      19. "Temporary worker" means a person who is fur-
                                                                     nished to you to substitute for a permanent "em-
           Work that may need service, maintenance,                  ployee" on leave or to meet seasonal or short-term
           correction, repair or replacement, but which              workload conditions.
           is otherwise complete, will be treated as
           completed.                                            20. "Volunteer worker" means a person who is not
                                                                     your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property                  and acts at the direction of and within the scope of
       damage" arising out of:                                       duties determined by you, and is not paid a fee,
      (1) The transportation of property, unless the                 salary or other compensation by you or anyone
           injury or damage arises out of a condition in             else for their work performed for you.
           or on a vehicle not owned or operated by              21. "Your product":
           you, and that condition was created by the
           "loading or unloading" of that vehicle by any             a. Means:
           insured;                                                     (1) Any goods or products, other than real
      (2) The existence of tools, uninstalled equip-                         property, manufactured, sold, handled, dis-
           ment or abandoned or unused materials; or                         tributed or disposed of by:
       (3) Products or operations for which the classi-                     (a) You;
            fication, listed in the Declarations or in a                     (b) Others trading under your name; or
            policy schedule, states that products-                            (c) A person or organization whose busi-
            completed operations are subject to the                                ness or assets you have acquired; and
            General Aggregate Limit.
                                                                          (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                                   parts or equipment furnished in connection
    a. Physical injury to tangible property, including                         with such goods or products.
        all resulting loss of use of that property. All                b. Includes:
        such loss of use shall be deemed to occur at
        the time of the physical injury that caused it; or                (1) Warranties or representations made at any
                                                                               time with respect to the fitness, quality, du-
                                                                               rability, performance or use of "your prod-
                                                                               uct"; and



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       (2) The providing of or failure to provide warn-
           ings or instructions.
    c. Does not include vending machines or other
        property rented to or located for the use of oth-
        ers but not sold.
22. "Your work":
    a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
   b. Includes:
      (1) Warranties or representations made at any
          time with respect to the fitness, quality, du-
          rability, performance or use of "your work",
          and
      (2) The providing of or failure to provide warn-
          ings or instructions.




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.       Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, re moving, containing, treating,
        detoxifying, neutralizing, re mediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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Asbestos Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, de mand, order, statutory or regulatory require ment, direction or determination that any insured or
              others test for, investigate, monitor, clean up, re move, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, de mand, order, statutory or
              regulatory require ment, direction or determination that any insured or others test for, investigate, monitor,
              clean up, re move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Premium And Reports Agreement –
Composite Rated Policies


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                     Schedule
     1.   Unit of Exposure:

           ƑGross sales           ƑArea                                    ƑGallons
            ƑEach                 ƑRooms                                   ƑGeneral Liability Payroll
            Ƒ   Admissions         ƑUnits                                   ƑRounds played
            ƑTotal Cost           ƑTotal Operating Expenditures             ƑOccupied rooms

            ƑLicensed Autos      ƑWorkers Compensation Payroll            Ƒx Other
                                                                              Domestic Sales Only –
                                                                              Foreign Sales Excluded


2.
      Coverage     / Description          Unit of Exposure                   Rate(s)           Estimated Premium(s)
     Computer Mfg                   $333,253,000
     Premises/Operations                                            $ 0.140                 $46,655.00
     Products/Completed Ops                                         $0.057                  $18,995.00
                                                                    Total Rate $0.197       Total $65,650.00
     Employee Benefits Liability                                                            $ 510.00 Flat Charge
     Supplemental Coverage                                                                  $2,481.00 Flat Charge
     Terrorism                                                      2% of GL Premium        $1,372.00 Flat Charge
     (Add more rows as required)
3. Deposit Premium:                $65,650.00
4. Minimum Premium:                $59,085.00


Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:
5.   Premium Audit


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a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
     Schedule above or attached hereto.
b. For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first day
   of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the statement
   of audited premium for each audit period, the earned premium due.
c.   Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will compute
     the earned premium for the policy period by multiplying the composite rate against the total developed exposure. If the
     earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first Named Insured
     will pay us the excess; if less, we will return the unearned portion to the first Named Insured. However, the earned pre-
     mium will not be less than the Minimum Premium as shown in the Schedule.
d. The first Named Insured must maintain records of the information we need for premium computation and send us copies
   at such times as we may request.
e.   The units of exposure shown in the Schedule are defined as follows:
     1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events con-
          ducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
     2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
          whether or not the insured actually takes possession of such gases.
     3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any governmental
          unit.
     4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos" at
          policy termination.
     5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of
          lodging.
     6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
          manuals.
     7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our rat-
          ing manuals.
     8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course dur-
          ing the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total number of
          rounds of golf played.
     9. Each means the total number of exposure units as described in the exposure basis.
     10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
     11. Total cost means the total cost of all work let or sublet in connection with each specified project including the cost
         of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do not in-
         clude the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor does no
         other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or due.
     12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without re-
         gard to source of revenue, including accounts payable.
     13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by a
         group of unrelated persons living together, or by a person living alone.
     14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to others.
     15. Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 32 34 01 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under Califor-
nia law.




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Deductible Endorsement Claims-Made
        Policy No.         Exp. Date of Pol.   Eff. Date of End.           Agency No.           Addl. Prem.         Return Prem.



    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Employee Benefits Liability Coverage Part

It is agreed that the following deductible provi-                     2.     The terms of this Coverage Part apply regardless of
                                                                             the application of the deductible amount. This in-
sions are added to the policy as respects the E m-
                                                                             cludes those terms with respect to:
ployee Benefit Liability Coverage Part:
                                                                             a.   Our rights and duties with respect to the de-
    Deductible:   $    1,000                                                      fense of "suits"; and
   1.   The deductible amount stated above shall be de-
                                                                             b.   The "insured’s" duties in the event of an act, er-
        ducted from the amount of all "claims" arising out
                                                                                  ror, or omission or a "claim" or "suit".
        of the same act, error, or omission. We shall be li-
        able only for the difference between such deducti-            3.     We may pay any part or all of the deductible
        ble amount and the amount of insurance otherwise                     amount to effect settle ment of any "claim" or "suit".
        applicable on a per "claim" basis. The Aggregate                     You shall promptly reimburse us for such part of
        Limit will not be reduced by the application of such                 the deductible amount as has been paid by us after
        deductible.                                                          we notify you of our action.




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                                                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                   CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,            B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-          Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                             And Advertising Injury Liability:
   This insurance does not apply to:                               This insurance does not apply to:
   "Bodily injury" to:                                             "Personal and advertising injury" to:
  (1) A person arising out of any:                                (1) A person arising out of any:
      (a) Refusal to employ that person;                              (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                   (b) Termination of that person’s employment;
          or                                                              or
      (c) Employment-related practices, policies, acts                    (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                           or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                         evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                        mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                           tion or malicious prosecution directed at
           that person; or                                                     that person; or
  (2) The spouse, child, parent, brother or sister of                 (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"                     that person as a consequence of "personal and
       to that person at whom any of the employment-                       advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                      of the employment-related practices described
       (b), or (c) above is directed.                                      in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                             This exclusion applies:
  (1) Whether the injury-causing event described in                   (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                      Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                          employment, during employment or after em-
       ployment of that person;                                            ployment of that person;
  (2) Whether the insured may be liable as an em-                     (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                                ployer or in any other capacity; and
  (3) To any obligation to share damages with or                      (3) To any obligation to share damages with or
      repay someone else who must pay damages                             repay someone else who must pay damages
      because of the injury.                                              because of the injury.




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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 21 73 01 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                                  2. "Certified act of terrorism" means an act that is
   This insurance does not apply to:                                     certified by the Secretary of the Treasury, in
                                                                         concurrence with the Secretary of State and
   TERRORISM                                                             the Attorney General of the United States, to be
   "Any injury or damage" arising, directly or indi-                     an act of terrorism pursuant to the federal Ter-
   rectly, out of a "certified act of terrorism".                        rorism Risk Insurance Act. The criteria con-
                                                                         tained in the Terrorism Risk Insurance Act for a
B. The following definitions are added:
                                                                         "certified act of terrorism" include the following:
   1. For the purposes of this endorsement, "any
      injury or damage" means any injury or damage                       a. The act resulted in insured losses in excess
      covered under any Coverage Part to which this                         of $5 million in the aggregate, attributable to
      endorsement is applicable, and includes but is                        all types of insurance subject to the Terror-
      not limited to "bodily injury", "property damage",                    ism Risk Insurance Act; and
      "personal and advertising injury", "injury" or "en-                b. The act is a violent act or an act that is
      vironmental damage" as may be defined in any                          dangerous to human life, property or infra-
      applicable Coverage Part.                                             structure and is committed by an individual
                                                                            or individuals as part of an effort to coerce
                                                                            the civilian population of the United States
                                                                            or to influence the policy or affect the con-
                                                                            duct of the United States Government by
                                                                            coercion.




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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITION S OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INSURANCE)
                                                              SCHED ULE*


Pre mium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
1% OF TOTAL AUTOMOBILE PREMIUM



*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                    B. Disclosure of Terrorism Pre mium

The Commercial Automobile line is not part of TRIA.                         We have elected to provide notice to you of the amount
On Dece mber 22, 2005, the President of the United                          of the total policy pre mium attributable to the risk of
States signed the first TRIA extension act into law and,                    loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was re moved                         of insurance.
from the program. The federal government does not
share in Commercial Automobile terrorism losses.




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POLICY NUMBER:           CPO 5912284-00                                                            COMMERCIAL AUTO

                            ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MARSH RISK & INSURANCE SERVS


NAMED INSURED:          OMNICELL INC.

MAILING ADDRESS:        1201 CHARLESTON RD
                        MOUNTAIN VIEW, CA 94043-1337

POLICY PERIOD:         From     09-01-2012 to 09-01-2013 at 12:01 A.M. Standard Time at your
                                                                              mailing address shown above
PREVIOUS POLICY NUMBER:                  NEW

FORM OF BUSINESS:
   X CORPORATION                            LIMITED LIABILITY COMPANY                           INDIVIDUAL
       PARTNERSHIP                          OTHER


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



Premium shown is payable at inception:     $        70,461.40
AUDIT PERIOD (IF APPLICABLE) X            ANNUALLY                 SEMI-           QUARTERLY           MONTHLY
                                                                   ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ---- Broad Form Nuclear Exclusion (Not Applicable in New York)


                                SEE SCHEDULE OF FORMS AND ENDORSEMENTS



COUNTERSIGNED                                                      BY
                                     (Date)                                    (Authorized Representative)

NOTE
OFFICERS’ FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSEWHERE
AT THE COMPANY’S OPTION.

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ITEM TWO

SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos"
for a particular coverage by the entry of one or more of the symbols from the Covered Autos Section of
the Business Auto Coverage Form next to the name of the coverage.
                                        COVERED
          COVERAGES                                                        LIMIT                            PREMIUM
                                         AUTOS

LIABILITY                                      1   $1,000,000                                          $       47,967
PERSONAL INJURY                                    SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT MINUS
No-fault Coverage)                                 DEDUCTIBLE.
ADDED PERSONAL INJURY                              SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT.
Added No-fault Coverage)
PROPERTY PROTECTION                                SEPARATELY STATED IN THE P.P.I.
INSURANCE (Michigan only)                          ENDORSEMENT MINUS
                                                   DEDUCTIBLE FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                          2   $          5,000                                    $              448
MEDICAL EXPENSE AND                                SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                               EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                    ENDORSEMENT.
UNINSURED MOTORISTS
                                               2   SEE ENDT                                            $        1,687
UNDERINSURED MOTORISTS
(When not included in Uninsured                2   SEE ENDT                                            $              180
Motorists Coverage)
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COMPREHENSIVE COVERAGE                             WHICHEVER IS LESS, MINUS SEE ENDT
                                           7,8     DEDUCTIBLE FOR EACH COVERED AUTO, BUT NO
                                                   DEDUCTIBLE APPLIES TO LOSS CAUSED BY
                                                                                                       $        5,933
                                                   FIRE OR LIGHTNING.
                                                   See ITEM FOUR For Hired or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED CAUSES OF LOSS                           WHICHEVER IS LESS, MINUS
COVERAGE                                           DEDUCTIBLE FOR EACH COVERED AUTO FOR LOSS
                                                   CAUSED BY MISCHIEF OR VANDALISM.
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COLLISION COVERAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
                                           7,8     DEDUCTIBLE, FOR EACH COVERED AUTO.                  $       13,544
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE TOWING                                                FOR EACH DISABLEMENT OF A
AND LABOR                                          PRIVATE PASSENGER AUTO.
                                                                                   TAX/SURCHARGE/FEE   $         5.40
                                                                         PREMIUM FOR ENDORSEMENTS      $              697
                                                                          *ESTIMATED TOTAL PREMIUM     $    70,461.40

 *This policy may be subject to final audit.




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                                 DESCRIPTION                                        PURCHASED                            TERRITORY
                                                                                                                        Town & State
                                                                                               Actual                      Where The
                     Year, Model, Trade Name, Body Type                                        Cost &                   Covered Auto
Covered             Serial Number (S) Vehicle Identification                Original         NEW (N) or                Will Be Principally
Auto No.                       Number (VIN)                                Cost New           USED (U)                      Garaged
           2006, DODGE SPRINTER 2500, WD0PD744465916868              $ 35,755       ACV                            MOUNTAIN VIEW
 CA1
                                                                                                                   CA, 053

           2006, DODGE SPRINTER 2500, WD0PD744865930336              $ 35,755       ACV                            MOUNTAIN VIEW
 CA2
                                                                                                                   CA, 053

           2010, HONDA ELEMENT, 5J6YH130AL005824                     $ 21,475       ACV                            HUEYTOWN
 AL3
                                                                                                                   AL, 101

           2011, TOYOTA SIENNA LE, 5TDKK3DC3BS153030                 $ 28,900       ACV                            MANDEVILLE
 LA4
                                                                                                                   LA, 120

           2010, HONDA ELEMENT LX, 5J6YH2H36AL002111                 $ 21,775       ACV                            HINCKLEY
 IL5
                                                                                                                   IL, 134

                                                          CLASSIFICATION                                                 EXCEPT For Towing, All
                                                                                                                        Physical Damage Loss Is
                      Business Use Size GVW,                                                                            Payable To You And The
                                    GCW Or                                                                                 Loss Payee Named
            Radius s= service       Vehicle                                                                             Below According To Their
Covered       Of     r= retail      Seating  Age                                                                         Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                        Secondary Rating Classification       Code      The Time Of The Loss:
                                                                    All Others
 CA1       50                     C             8,550      7                                                  034990

                                                                    All Others
 CA2       50                     C             8,550      7                                                  034990


 AL3                                                       3                                                  739800


 LA4                                                       2                                                  739800


 IL5                                                       3                                                  739800

                                                  COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                               (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                   in the corresponding ITEM TWO column applies instead.)
                                                               PERSONAL INJURY                                   PROPERTY PROTECTION
                              LIABILITY                          PROTECTION                 ADDED P.I.P.            (Michigan Only)
                                                         Limit Stated                                          Limit Stated
                                                        In Each P.I.P.                      Premium For          In P.P.I.
                                                         Endt. Minus                       Limit Stated In     Endt. Minus
Covered                                                   Deductible                        Each Added          Deductible
Auto No.              Limit               Premium       Shown Below          Premium         P.I.P. Endt.     Shown Below             Premium
 CA1            $    1,000,000        $       2,384
 CA2            $    1,000,000        $       2,384
 AL3            $    1,000,000        $       1,907
 LA4            $    1,000,000        $       4,254
 IL5            $    1,000,000        $       1,116
  Total
Premium



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                               DESCRIPTION                                        PURCHASED                            TERRITORY
                                                                                                                      Town & State
                                                                                             Actual                      Where The
                   Year, Model, Trade Name, Body Type                                        Cost &                   Covered Auto
Covered           Serial Number (S) Vehicle Identification                Original         NEW (N) or                Will Be Principally
Auto No.                     Number (VIN)                                Cost New           USED (U)                      Garaged
           2012, TOYOTA SIENNA LE, 5TDKK3DC3CS182044               $ 29,700       ACV                            LIVERMORE
 CA6
                                                                                                                 CA, 075

           2011, FORD ESCAPE XLS, 1FMCU0C78BKC59686                $ 21,060       ACV                            DERBY
 KS7
                                                                                                                 KS, 105




                                                        CLASSIFICATION                                                 EXCEPT For Towing, All
                                                                                                                      Physical Damage Loss Is
                      Business Use Size GVW,                                                                          Payable To You And The
                                    GCW Or                                                                               Loss Payee Named
            Radius s= service       Vehicle                                                                           Below According To Their
Covered       Of     r= retail      Seating  Age                                                                       Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                      Secondary Rating Classification       Code      The Time Of The Loss:

 CA6                                                     1                                                  739800


 KS7                                                     2                                                  739800




                                                COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                             (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                 in the corresponding ITEM TWO column applies instead.)
                                                             PERSONAL INJURY                                   PROPERTY PROTECTION
                            LIABILITY                          PROTECTION                 ADDED P.I.P.            (Michigan Only)
                                                       Limit Stated                                          Limit Stated
                                                      In Each P.I.P.                      Premium For          In P.P.I.
                                                       Endt. Minus                       Limit Stated In     Endt. Minus
Covered                                                 Deductible                        Each Added          Deductible
Auto No.            Limit               Premium       Shown Below          Premium         P.I.P. Endt.     Shown Below             Premium
 CA6          $    1,000,000        $       1,662
 KS7          $    1,000,000        $         970




  Total
                                    $      14,677
Premium



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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA1           $5,000            $           83

  CA2           $5,000            $           83

  AL3           $5,000            $           54

  LA4           $5,000            $          114

  IL5           $5,000            $           34

  Total
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                       COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                         Limit
 Auto No.    Stated In                      Stated In                     Stated In
            ITEM TWO                       ITEM TWO                      ITEM TWO
                                                                                                       Limit Per
               Minus         Premium         Minus       Premium           Minus          Premium     Disablement       Premium
            Deductible                     Deductible                    Deductible
              Shown                          Shown                         Shown
              Below                          Below                         Below
  CA1        $ 1,000     $            59                                  $ 1,000     $         202

  CA2        $ 1,000     $            59                                  $ 1,000     $         202

  AL3        $ 1,000     $         113                                    $ 1,000     $         467

  LA4        $ 1,000     $         152                                    $ 1,000     $         435

  IL5        $ 1,000     $         135                                    $ 1,000     $         334

  Total
Premium




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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA6           $5,000            $           49

  KS7           $5,000            $           31




  Total
                                  $          448
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                       COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                         Limit
 Auto No.    Stated In                      Stated In                     Stated In
            ITEM TWO                       ITEM TWO                      ITEM TWO
                                                                                                       Limit Per
               Minus         Premium         Minus       Premium           Minus          Premium     Disablement       Premium
            Deductible                     Deductible                    Deductible
              Shown                          Shown                         Shown
              Below                          Below                         Below
  CA6        $ 1,000     $            60                                  $ 1,000     $         430

  KS7        $ 1,000     $         155                                    $ 1,000     $         307




  Total
                         $         733                                                $       2,377
Premium




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                             IF ANY                                        INCL
     Excess Coverage

                                                                         TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                         TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                            $         1,300,000                        $               32,032
     Excess Coverage

                                                                         TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                         TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                             IF ANY                                        INCL
     Excess Coverage

                                                                         TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                         TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                             IF ANY                                      INCL
     Excess Coverage

                                                                         TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                         TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                             IF ANY                                      INCL
     Excess Coverage

                                                                         TOTAL PREMIUM      $               32,032
For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                         TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                            Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                         (Other Than Mobile or Farm Equipment)

                                                                                    ESTIMATED ANNUAL
                                                                                     COST OF HIRE FOR
                                                                                        EACH STATE
                                                                                      (Excluding Autos
   COVERAGE         STATE                LIMIT OF INSURANCE                          Hired With A Driver)       PREMIUM
                             ACTUAL CASH VALUE OR COST OF REPAIR,
                                                                                          $1,300,000$                 5,200
COMPREHENSIVE       CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO, BUT NO DEDUCTIBLE APPLIES TO LOSS
                             CAUSED BY FIRE OR LIGHTNING.
                             ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED                    WHICHEVER IS LESS, MINUS
CAUSES OF LOSS                                DEDUCTIBLE FOR EACH
                             COVERED AUTO FOR LOSS CAUSED BY MISCHIEF
                             OR VANDALISM.
                             ACTUAL CASH VALUE OR COST OF REPAIR,                         $1,300,000$                11,167
COLLISION           CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO.
                                                                                         TOTAL PREMIUM      $        16,367
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire
 does not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


         Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                  ESTIMATED ANNUAL
                                                                                                        PREMIUM
                                              COST OF HIRE FOR EACH STATE
       COVERAGE                STATE
                                           Mobile Equipment       Farm Equipment         Mobile Equipment        Farm Equipment

Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                               TOTAL PREMIUMS

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for services
 performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                      Cost Of Hire Rating Basis For Mobile or Farm Equipment --- Physical Damage Coverages

                                                                  ESTIMATED ANNUAL
                                                                    COST OF HIRE
                                                                   FOR EACH STATE
                                                                 (Excluding Autos Hired
                                                                      With A Driver)                         PREMIUM
                                                               Mobile                              Mobile             Farm
  COVERAGE         STATE       LIMIT OF INSURANCE            Equipment       Farm Equiment       Equipment          Equipment
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
                                         DEDUCTIBLE
COMPREHENSIVE              FOR EACH COVERED AUTO,
                           BUT NO DEDUCTIBLE AP-
                           PLIES TO LOSS CAUSED BY
                           FIRE OR LIGHTNING.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
SPECIFIED                                DEDUCTIBLE
CAUSES OF LOSS             FOR EACH COVERED AUTO
                           FOR LOSS CAUSED BY MIS-
                           CHIEF OR VANDALISM.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
COLLISION
                                         DEDUCTIBLE
                           FOR EACH COVERED AUTO.
                                                                            TOTAL PREMIUM

  For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
  (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
  not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                             Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                       ESTIMATED
                                                                    NUMBER OF DAYS
                                                                                                 PREMIUM
                                                                   EQUIPMENT WILL BE
                                                                         RENTED
                             TOWN AND STATE WHERE THE              Mobile       Farm        Mobile        Farm
        COVERAGE                JOB SITE IS LOCATED              Equipment    Equipment   Equipment     Equipment
Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                                       TOTAL PREMIUMS



ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP LIABILITY

     NAMED INSURED’S
        BUSINESS                         RATING BASIS                   NUMBER                  PREMIUM
Other Than Garage Service      Number Of Employees                            400         $            1,258
Operations And Other Than      Number Of Partners
Social Service Agencies        (Active and Inactive)
Garage Service Operations      Number Of Employees Whose Princi-
                               pal Duty Involves
                               The Operation Of Autos
                               Number Of Partners
                               (Active and Inactive)
Social Service Agencies        Number Of Employees
                               Number Of Volunteers Who
                               Regularly Use Autos
                               To Transport Clients
                               Number Of Partners
                               (Active and Inactive)
                                                                       Total Premium      $            1,258




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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):         Public Autos                      Leasing Or Rental Concerns

Rating Basis (Check one):         Gross Receipts (Per $100)         Mileage (Per Mile)

Estimated Yearly (Check One):     Gross Receipts (Per $100)         Mileage
                                                    Premiums
Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
  FOR PUBLIC AUTOS
  Gross receipts means the total amount earned by the named insured for transporting passengers, mail and merchan-
  dise.
  Gross receipts does not include:
     A. Amounts paid to air, sea or land carriers operating under their own permits.
     B. Advertising revenue.
     C. Taxes collected as a separate item and paid directly to the government.
     D. C.O.D. collections for cost of mail or merchandise including collection fees.
   Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.
   FOR RENTAL OR LEASING CONCERNS
   Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to others
   without drivers.
   Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 00 01 03 10

                     BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.         SECTION I ---- COVERED AUTOS
Read the entire policy carefully to determine rights,        Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                       are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your" re-        following numerical symbols describe the "autos" that
fer to the Named Insured shown in the Declarations.          may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company          a coverage on the Declarations designate the only
providing this insurance.                                    "autos" that are covered "autos".
Other words and phrases that appear in quotation             A. Description Of Covered Auto Designation Symbols
marks have special meaning. Refer to Section V ----
Definitions.

 Symbol                             Description Of Covered Auto Designation Symbols
   1       Any "Auto"
   2       Owned "Autos"     Only those "autos" you own (and for Liability Coverage any "trailers" you don’t own
           Only              while attached to power units you own). This includes those "autos" you acquire
                             ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.

           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Liability Coverage any "trailers" you don’t own while attached to power units you
           Than Private      own). This includes those "autos" not of the private passenger type you acquire
           Passenger         ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Liability Coverage any "trailers" you don’t own
           "Autos"           while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19         Mobile Equip-     Only those "autos" that are land vehicles and that would qualify under the definition
               ment Subject To   of "mobile equipment" under this policy if they were not subject to a compulsory or
               Compulsory Or     financial responsibility law or other motor vehicle insurance law where they are
               Financial         licensed or principally garaged.
               Responsibility
               Or Other Motor
               Vehicle Insur-
               ance Law Only

B. Owned Autos You Acquire After The Policy Begins               SECTION II ---- LIABILITY COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered next         A. Coverage
       to a coverage in Item Two of the Declarations,               We will pay all sums an "insured" legally must pay
       then you have coverage for "autos" that you                  as damages because of "bodily injury" or "property
       acquire of the type described for the remainder              damage" to which this insurance applies, caused
       of the policy period.                                        by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage                maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you               We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that cover-             pay as a "covered pollution cost or expense" to
       age only if:                                                 which this insurance applies, caused by an "acci-
       a. We already cover all "autos" that you own                 dent" and resulting from the ownership, mainte-
           for that coverage or it replaces an "auto"               nance or use of covered "autos". However, we will
           you previously owned that had that cover-                only pay for the "covered pollution cost or ex-
           age; and                                                 pense" if there is either "bodily injury" or "property
       b. You tell us within 30 days after you acquire              damage" to which this insurance applies that is
           it that you want us to cover it for that cover-          caused by the same "accident".
           age.                                                        We have the right and duty to defend any "insured"
C. Certain Trailers, Mobile Equipment And Temporary                    against a "suit" asking for such damages or a
   Substitute Autos                                                    "covered pollution cost or expense". However, we
                                                                       have no duty to defend any "insured" against a
   If Liability Coverage is provided by this coverage                  "suit" seeking damages for "bodily injury" or "prop-
   form, the following types of vehicles are also cov-                 erty damage" or a "covered pollution cost or ex-
   ered "autos" for Liability Coverage:                                pense" to which this insurance does not apply. We
   1. "Trailers" with a load capacity of 2,000 pounds                  may investigate and settle any claim or "suit" as we
       or less designed primarily for travel on public                 consider appropriate. Our duty to defend or settle
       roads.                                                          ends when the Liability Coverage Limit of
   2. "Mobile equipment" while being carried or                        Insurance has been exhausted by payment of
       towed by a covered "auto".                                      judgments or settlements.
                                                                       1. Who Is An Insured
   3. Any "auto" you do not own while used with the
      permission of its owner as a temporary substi-                       The following are "insureds":
      tute for a covered "auto" you own that is out of                    a. You for any covered "auto".
      service because of its:
                                                                          b. Anyone else while using with your permis-
         a.   Breakdown;                                                      sion a covered "auto" you own, hire or bor-
         b.   Repair;                                                         row except:
         c.   Servicing;                                                     (1) The owner or anyone else from whom
         d.   "Loss"; or                                                         you hire or borrow a covered "auto".
         e.   Destruction.                                                    This exception does not apply if the
                                                                              covered "auto" is a "trailer" connected to a
                                                                              covered "auto" you own.




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        (2) Your "employee" if the covered "auto" is                      These payments will not reduce the Limit of
            owned by that "employee" or a member                          Insurance.
            of his or her household.                                  b. Out-of-state Coverage Extensions
        (3) Someone using a covered "auto" while                          While a covered "auto" is away from the
            he or she is working in a business of                         state where it is licensed we will:
            selling, servicing, repairing, parking or
            storing "autos" unless that business is                      (1) Increase the Limit of Insurance for Li-
            yours.                                                            ability Coverage to meet the limits speci-
                                                                              fied by a compulsory or financial re-
        (4) Anyone other than your "employees",                               sponsibility law of the jurisdiction where
            partners (if you are a partnership),                              the covered "auto" is being used. This
            members (if you are a limited liability                           extension does not apply to the limit or
            company) or a lessee or borrower or                               limits specified by any law governing
            any of their "employees", while moving                            motor carriers of passengers or prop-
            property to or from a covered "auto".                             erty.
         (5) A partner (if you are a partnership) or a                 (2) Provide the minimum amounts and types
             member (if you are a limited liability                         of other coverages, such as no-fault,
             company) for a covered "auto" owned by                         required of out-of-state vehicles by the
             him or her or a member of his or her                           jurisdiction where the covered "auto" is
             household.                                                     being used.
      c. Anyone liable for the conduct of an "in-                       We will not pay anyone more than once for
          sured" described above but only to the ex-                    the same elements of loss because of these
          tent of that liability.                                       extensions.
   2. Coverage Extensions                                    B. Exclusions
      a. Supplementary Payments                                 This insurance does not apply to any of the follow-
          We will pay for the "insured":                        ing:
        (1) All expenses we incur.                              1. Expected Or Intended Injury
        (2) Up to $2,000 for cost of bail bonds (in-               "Bodily injury" or "property damage" expected
            cluding bonds for related traffic law vio-             or intended from the standpoint of the "in-
            lations) required because of an "acci-                 sured".
            dent" we cover. We do not have to fur-              2. Contractual
            nish these bonds.
                                                                   Liability assumed under any contract or
        (3) The cost of bonds to release attach-                   agreement.
            ments in any "suit" against the "insured"
            we defend, but only for bond amounts                   But this exclusion does not apply to liability for
            within our Limit of Insurance.                         damages:
        (4) All reasonable expenses incurred by the                 a. Assumed in a contract or agreement that is
            "insured" at our request, including actual                  an "insured contract" provided the "bodily
            loss of earnings up to $250 a day be-                       injury" or "property damage" occurs subse-
            cause of time off from work.                                quent to the execution of the contract or
                                                                        agreement; or
        (5) All court costs taxed against the "in-
            sured" in any "suit" against the "insured"              b. That the "insured" would have in the ab-
            we defend. However, these payments do                       sence of the contract or agreement.
            not include attorneys’ fees or attorneys’              3. Workers’ Compensation
            expenses taxed against the "insured".
                                                                      Any obligation for which the "insured" or the
        (6) All interest on the full amount of any                    "insured’s" insurer may be held liable under any
            judgment that accrues after entry of the                  workers’ compensation, disability benefits or
            judgment in any "suit" against the "in-                   unemployment compensation law or any similar
            sured" we defend, but our duty to pay                     law.
            interest ends when we have paid, of-
            fered to pay or deposited in court the
            part of the judgment that is within our
            Limit of Insurance.




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   4. Employee Indemnification And Employer’s                          b. After it is moved from the covered "auto" to
      Liability                                                            the place where it is finally delivered by the
      "Bodily injury" to:                                                  "insured".
      a. An "employee" of the "insured" arising out of              8. Movement Of Property By Mechanical Device
          and in the course of:                                        "Bodily injury" or "property damage" resulting
         (1) Employment by the "insured"; or                           from the movement of property by a mechani-
                                                                       cal device (other than a hand truck) unless the
         (2) Performing the duties related to the                      device is attached to the covered "auto".
              conduct of the "insured’s" business; or
                                                                    9. Operations
      b. The spouse, child, parent, brother or sister
          of that "employee" as a consequence of Pa-                   "Bodily injury" or "property damage" arising out
          ragraph a. above.                                            of the operation of:
      This exclusion applies:                                          a. Any equipment listed in Paragraphs 6.b.
                                                                           and 6.c. of the definition of "mobile equip-
         (1) Whether the "insured" may be liable as                        ment"; or
              an employer or in any other capacity;
              and                                                      b. Machinery or equipment that is on, attached
                                                                           to or part of a land vehicle that would qual-
         (2) To any obligation to share damages with                       ify under the definition of "mobile equip-
              or repay someone else who must pay                           ment" if it were not subject to a compulsory
              damages because of the injury.                               or financial responsibility law or other motor
      But this exclusion does not apply to "bodily in-                     vehicle insurance law where it is licensed or
      jury" to domestic "employees" not entitled to                        principally garaged.
      workers’ compensation benefits or to liability               10. Completed Operations
      assumed by the "insured" under an "insured
      contract". For the purposes of the coverage                      "Bodily injury" or "property damage" arising out
      form, a domestic "employee" is a person en-                      of your work after that work has been com-
      gaged in household or domestic work per-                         pleted or abandoned.
      formed principally in connection with a resi-                    In this exclusion, your work means:
      dence premises.
                                                                       a. Work or operations performed by you or on
   5. Fellow Employee                                                      your behalf; and
      "Bodily injury" to:                                              b. Materials, parts or equipment furnished in
      a. Any fellow "employee" of the "insured" aris-                      connection with such work or operations.
          ing out of and in the course of the fellow                   Your work includes warranties or representa-
          "employee’s" employment or while perform-                    tions made at any time with respect to the fit-
          ing duties related to the conduct of your                    ness, quality, durability or performance of any
          business; or                                                 of the items included in Paragraph a. or b.
      b. The spouse, child, parent, brother or sister                  above.
          of that fellow "employee" as a consequence                   Your work will be deemed completed at the
          of Paragraph a. above.                                       earliest of the following times:
   6. Care, Custody Or Control                                            (1) When all of the work called for in your
      "Property damage" to or "covered pollution cost                          contract has been completed.
      or expense" involving property owned or trans-                      (2) When all of the work to be done at the
      ported by the "insured" or in the "insured’s"                            site has been completed if your contract
      care, custody or control. But this exclusion                             calls for work at more than one site.
      does not apply to liability assumed under a si-                     (3) When that part of the work done at a job
      detrack agreement.                                                       site has been put to its intended use by
   7. Handling Of Property                                                     any person or organization other than
      "Bodily injury" or "property damage" resulting                           another contractor or subcontractor
      from the handling of property:                                           working on the same project.
      a. Before it is moved from the place where it is
          accepted by the "insured" for movement into
          or onto the covered "auto"; or




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      Work that may need service, maintenance, cor-                       Paragraphs b. and c. above of this exclusion
      rection, repair or replacement, but which is                        do not apply to "accidents" that occur away
      otherwise complete, will be treated as com-                         from premises owned by or rented to an "in-
      pleted.                                                             sured" with respect to "pollutants" not in or
  11. Pollution                                                           upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                       (a) The "pollutants" or any property in which
      of the actual, alleged or threatened discharge,                            the "pollutants" are contained are upset,
      dispersal, seepage, migration, release or es-                              overturned or damaged as a result of the
      cape of "pollutants":                                                      maintenance or use of a covered "auto";
                                                                                 and
      a. That are, or that are contained in any prop-
          erty that is:                                                      (b) The discharge, dispersal, seepage, mi-
                                                                                 gration, release or escape of the "pollut-
         (1) Being transported or towed by, handled                              ants" is caused directly by such upset,
              or handled for movement into, onto or                              overturn or damage.
              from the covered "auto";
                                                                      12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                              "Bodily injury" or "property damage" arising di-
                                                                          rectly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered "au-                       a. War, including undeclared or civil war;
              to";                                                        b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                          action in hindering or defending against an
          which the "pollutants" are contained are                           actual or expected attack, by any govern-
          moved from the place where they are ac-                            ment, sovereign or other authority using
          cepted by the "insured" for movement into                          military personnel or other agents; or
          or onto the covered "auto"; or                                  c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                            power or action taken by governmental au-
          which the "pollutants" are contained are                           thority in hindering or defending against
          moved from the covered "auto" to the place                         any of these.
          where they are finally delivered, disposed of               13. Racing
          or abandoned by the "insured".
                                                                      Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels, lu-                 or organized racing or demolition contest or
      bricants, fluids, exhaust gases or other similar                stunting activity, or while practicing for such
      "pollutants" that are needed for or result from                 contest or activity. This insurance also does
      the normal electrical, hydraulic or mechanical                  not apply while that covered "auto" is being
      functioning of the covered "auto" or its parts, if:             prepared for such a contest or activity.
         (1) The "pollutants" escape, seep, migrate or          C. Limit Of Insurance
              are discharged, dispersed or released                Regardless of the number of covered "autos", "in-
              directly from an "auto" part designed by             sureds", premiums paid, claims made or vehicles
              its manufacturer to hold, store, receive             involved in the "accident", the most we will pay for
              or dispose of such "pollutants"; and                 the total of all damages and "covered pollution cost
         (2) The "bodily injury", "property damage" or             or expense" combined resulting from any one
              "covered pollution cost or expense" does             "accident" is the Limit of Insurance for Liability
              not arise out of the operation of any                Coverage shown in the Declarations.
              equipment listed in Paragraphs 6.b. and
              6.c. of the definition of "mobile
              equipment".




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   All "bodily injury", "property damage" and "covered                 c. "Loss" caused by falling objects or missiles.
   pollution cost or expense" resulting from continu-                  However, you have the option of having glass
   ous or repeated exposure to substantially the                       breakage caused by a covered "auto’s" collision
   same conditions will be considered as resulting                     or overturn considered a "loss" under Collision
   from one "accident".                                                Coverage.
   No one will be entitled to receive duplicate pay-                4. Coverage Extensions
   ments for the same elements of "loss" under this
   coverage form and any Medical Payments Cover-                       a. Transportation Expenses
   age endorsement, Uninsured Motorists Coverage                           We will pay up to $20 per day to a maximum
   endorsement or Underinsured Motorists Coverage                          of $600 for temporary transportation
   endorsement attached to this Coverage Part.                             expense incurred by you because of the to-
SECTION III ---- PHYSICAL DAMAGE COVERAGE                                  tal theft of a covered "auto" of the private
                                                                           passenger type. We will pay only for those
A. Coverage
                                                                           covered "autos" for which you carry either
   1. We will pay for "loss" to a covered "auto" or its                    Comprehensive or Specified Causes Of
      equipment under:                                                     Loss Coverage. We will pay for temporary
      a. Comprehensive Coverage                                            transportation expenses incurred during the
                                                                           period beginning 48 hours after the theft
         From any cause except:                                            and ending, regardless of the policy’s expi-
         (1) The covered "auto’s" collision with an-                       ration, when the covered "auto" is returned
             other object; or                                              to use or we pay for its "loss".
         (2) The covered "auto’s" overturn.                            b. Loss Of Use Expenses
      b. Specified Causes Of Loss Coverage                                 For Hired Auto Physical Damage, we will
          Caused by:                                                       pay expenses for which an "insured" be-
                                                                           comes legally responsible to pay for loss of
         (1) Fire, lightning or explosion;                                 use of a vehicle rented or hired without a
         (2)Theft;                                                         driver under a written rental contract or
                                                                           agreement. We will pay for loss of use ex-
         (3)Windstorm, hail or earthquake;                                 penses if caused by:
         (4)Flood;                                                        (1) Other than collision only if the Declara-
         (5)Mischief or vandalism; or                                          tions indicate that Comprehensive Cov-
         (6)The sinking, burning, collision or derail-                         erage is provided for any covered "auto";
            ment of any conveyance transporting                        (2) Specified Causes Of Loss only if the
            the covered "auto".                                            Declarations indicate that Specified
      c. Collision Coverage                                                Causes Of Loss Coverage is provided
                                                                           for any covered "auto"; or
         Caused by:
                                                                       (3) Collision only if the Declarations indicate
          (1) The covered "auto’s" collision with an-                      that Collision Coverage is provided for
              other object; or                                             any covered "auto".
          (2) The covered "auto’s" overturn.                            However, the most we will pay for any ex-
   2. Towing                                                            penses for loss of use is $20 per day, to a
      We will pay up to the limit shown in the Decla-                   maximum of $600.
      rations for towing and labor costs incurred             B. Exclusions
      each time a covered "auto" of the private pas-             1. We will not pay for "loss" caused by or resulting
      senger type is disabled. However, the labor                   from any of the following. Such "loss" is ex-
      must be performed at the place of disablement.                cluded regardless of any other cause or event
   3. Glass Breakage ---- Hitting A Bird Or Animal ---              that contributes concurrently or in any se-
      Falling Objects Or Missiles                                   quence to the "loss".
      If you carry Comprehensive Coverage for the                   a. Nuclear Hazard
      damaged covered "auto", we will pay for the                      (1) The explosion of any weapon employing
      following under Comprehensive Coverage:                              atomic fission or fusion; or
      a. Glass breakage;                                               (2) Nuclear reaction or radiation, or radioac-
      b. "Loss" caused by hitting a bird or animal;                        tive contamination, however caused.
         and


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      b. War Or Military Action                                       b. Removable from a housing unit which is
         (1) War, including undeclared or civil war;                      permanently installed in or upon the cov-
                                                                          ered "auto";
         (2) Warlike action by a military force, includ-
             ing action in hindering or defending                     c. An integral part of the same unit housing
             against an actual or expected attack, by                     any electronic equipment described in Pa-
             any government, sovereign or other au-                       ragraphs a. and b. above; or
             thority using military personnel or other                d. Necessary for the normal operation of the
             agents; or                                                   covered "auto" or the monitoring of the
         (3) Insurrection,     rebellion,    revolution,                  covered "auto’s" operating system.
             usurped power or action taken by gov-                 6. We will not pay for "loss" to a covered "auto"
             ernmental authority in hindering or de-                  due to "diminution in value".
             fending against any of these.                      C. Limit Of Insurance
   2. We will not pay for "loss" to any covered "auto"              1. The most we will pay for "loss" in any one "ac-
      while used in any professional or organized                      cident" is the lesser of:
      racing or demolition contest or stunting activ-
      ity, or while practicing for such contest or activ-              a. The actual cash value of the damaged or
      ity. We will also not pay for "loss" to any                          stolen property as of the time of the "loss";
      covered "auto" while that covered "auto" is                          or
      being prepared for such a contest or activity.                   b. The cost of repairing or replacing the dam-
   3. We will not pay for "loss" due and confined to:                      aged or stolen property with other property
                                                                           of like kind and quality.
      a. Wear and tear, freezing, mechanical or
           electrical breakdown.                                    2. $1,000 is the most we will pay for "loss" in any
                                                                       one "accident" to all electronic equipment that
      b. Blowouts, punctures or other road damage                      reproduces, receives or transmits audio, visual
           to tires.                                                   or data signals which, at the time of "loss", is:
      This exclusion does not apply to such "loss"                     a. Permanently installed in or upon the cov-
      resulting from the total theft of a covered "au-                     ered "auto" in a housing, opening or other
      to".                                                                 location that is not normally used by the
   4. We will not pay for "loss" to any of the follow-                     "auto" manufacturer for the installation of
      ing:                                                                 such equipment;
      a. Tapes, records, discs or other similar audio,                 b. Removable from a permanently installed
         visual or data electronic devices designed                        housing unit as described in Paragraph 2.a.
          for use with audio, visual or data electronic                    above or is an integral part of that equip-
         equipment.                                                        ment; or
      b. Any device designed or used to detect                         c. An integral part of such equipment.
         speed-measuring equipment such as radar                    3. An adjustment for depreciation and physical
         or laser detectors and any jamming appara-                    condition will be made in determining actual
          tus intended to elude or disrupt speed-                      cash value in the event of a total "loss".
         measurement equipment.
                                                                    4. If a repair or replacement results in better than
      c. Any electronic equipment, without regard to                   like kind or quality, we will not pay for the
         whether this equipment is permanently in-                     amount of the betterment.
         stalled, that reproduces, receives or trans-
         mits audio, visual or data signals.                     D. Deductible
      d. Any accessories used with the electronic                     For each covered "auto", our obligation to pay for,
         equipment described in Paragraph c.                          repair, return or replace damaged or stolen prop-
         above.                                                       erty will be reduced by the applicable deductible
                                                                      shown in the Declarations. Any Comprehensive
   5. Exclusions 4.c. and 4.d. do not apply to                        Coverage deductible shown in the Declarations
      equipment designed to be operated solely by                     does not apply to "loss" caused by fire or lightning.
      use of the power from the "auto’s" electrical
      system that, at the time of "loss", is:
      a. Permanently installed in or upon the cov-
         ered "auto";




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SECTION IV ---- BUSINESS AUTO CONDITIONS                                   (5) Submit to examination, at our expense,
The following conditions apply in addition to the                              by physicians of our choice, as often as
Common Policy Conditions:                                                      we reasonably require.
A. Loss Conditions                                                      c. If there is "loss" to a covered "auto" or its
                                                                            equipment you must also do the following:
   1. Appraisal For Physical Damage Loss
                                                                           (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                          "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss". In
      this event, each party will select a competent                       (2) Take all reasonable steps to protect the
      appraiser. The two appraisers will select a                              covered "auto" from further damage. Al-
      competent and impartial umpire. The appraisers                           so keep a record of your expenses for
      will state separately the actual cash value and                          consideration in the settlement of the
      amount of "loss". If they fail to agree, they will                       claim.
      submit their differences to the umpire. A                            (3) Permit us to inspect the covered "auto"
      decision agreed to by any two will be binding.                            and records proving the "loss" before its
      Each party will:                                                          repair or disposition.
      a. Pay its chosen appraiser; and                                     (4) Agree to examinations under oath at our
      b. Bear the other expenses of the appraisal                               request and give us a signed statement
          and umpire equally.                                                   of your answers.
      If we submit to an appraisal, we will still retain             3. Legal Action Against Us
      our right to deny the claim.                                      No one may bring a legal action against us un-
   2. Duties In The Event Of Accident, Claim, Suit Or                   der this coverage form until:
      Loss                                                              a. There has been full compliance with all the
      We have no duty to provide coverage under                             terms of this coverage form; and
      this policy unless there has been full compli-                    b. Under Liability Coverage, we agree in writ-
      ance with the following duties:                                       ing that the "insured" has an obligation to
       a. In the event of "accident", claim, "suit" or                      pay or until the amount of that obligation
           "loss", you must give us or our authorized                       has finally been determined by judgment af-
           representative prompt notice of the "acci-                       ter trial. No one has the right under this pol-
           dent" or "loss". Include:                                        icy to bring us into an action to determine
                                                                            the "insured’s" liability.
          (1) How, when and where the "accident" or
               "loss" occurred;                                      4. Loss Payment ---- Physical Damage Coverages
          (2) The "insured’s" name and address; and                     At our option we may:
          (3) To the extent possible, the names and                     a. Pay for, repair or replace damaged or stolen
               addresses of any injured persons and                         property;
               witnesses.                                               b. Return the stolen property, at our expense.
       b. Additionally, you and any other involved                          We will pay for any damage that results to
           "insured" must:                                                  the "auto" from the theft; or
          (1) Assume no obligation, make no payment                     c. Take all or any part of the damaged or sto-
               or incur no expense without our                              len property at an agreed or appraised val-
               consent, except at the "insured’s" own                       ue.
               cost.                                                    If we pay for the "loss", our payment will in-
          (2) Immediately send us copies of any re-                     clude the applicable sales tax for the damaged
               quest, demand, order, notice, summons                    or stolen property.
               or legal paper received concerning the                5. Transfer Of Rights Of Recovery Against Others
               claim or "suit".                                         To Us
          (3) Cooperate with us in the investigation or                 If any person or organization to or for whom
               settlement of the claim or defense                       we make payment under this coverage form
               against the "suit".                                      has rights to recover damages from another,
          (4) Authorize us to obtain medical records                    those rights are transferred to us. That person
               or other pertinent information.                          or organization must do everything necessary
                                                                        to secure our rights and must do nothing after
                                                                        "accident" or "loss" to impair them.



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B. General Conditions                                                   d. When this coverage form and any other
   1. Bankruptcy                                                           coverage form or policy covers on the same
                                                                           basis, either excess or primary, we will pay
      Bankruptcy or insolvency of the "insured" or                         only our share. Our share is the proportion
      the "insured’s" estate will not relieve us of any                    that the Limit of Insurance of our coverage
      obligations under this coverage form.                                form bears to the total of the limits of all the
   2. Concealment, Misrepresentation Or Fraud                              coverage forms and policies covering on
      This coverage form is void in any case of fraud                      the same basis.
      by you at any time as it relates to this coverage              6. Premium Audit
      form. It is also void if you or any other "in-                    a. The estimated premium for this coverage
      sured", at any time, intentionally conceal or                        form is based on the exposures you told us
      misrepresent a material fact concerning:                             you would have when this policy began. We
      a. This coverage form;                                               will compute the final premium due when we
                                                                           determine your actual exposures. The
      b. The covered "auto";
                                                                           estimated total premium will be credited
      c. Your interest in the covered "auto"; or                           against the final premium due and the first
      d. A claim under this coverage form.                                 Named Insured will be billed for the bal-
                                                                           ance, if any. The due date for the final pre-
   3. Liberalization
                                                                           mium or retrospective premium is the date
      If we revise this coverage form to provide more                      shown as the due date on the bill. If the es-
      coverage without additional premium charge,                          timated total premium exceeds the final
      your policy will automatically provide the addi-                     premium due, the first Named Insured will
      tional coverage as of the day the revision is ef-                    get a refund.
      fective in your state.
                                                                        b. If this policy is issued for more than one
   4. No Benefit To Bailee ---- Physical Damage                            year, the premium for this coverage form
      Coverages                                                            will be computed annually based on our
      We will not recognize any assignment or grant                        rates or premiums in effect at the beginning
      any coverage for the benefit of any person or                        of each year of the policy.
      organization holding, storing or transporting                  7. Policy Period, Coverage Territory
      property for a fee regardless of any other pro-                   Under this coverage form, we cover "accidents"
      vision of this coverage form.                                     and "losses" occurring:
   5. Other Insurance                                                   a. During the policy period shown in the Dec-
      a. For any covered "auto" you own, this cov-                         larations; and
          erage form provides primary insurance. For
                                                                        b. Within the coverage territory.
          any covered "auto" you don’t own, the in-
          surance provided by this coverage form is                     The coverage territory is:
          excess over any other collectible insurance.                 (1) The United States of America;
          However, while a covered "auto" which is a
          "trailer" is connected to another vehicle, the               (2) The territories and possessions of the Unit-
          Liability Coverage this coverage form pro-                        ed States of America;
          vides for the "trailer" is:                                  (3) Puerto Rico;
         (1) Excess while it is connected to a motor                   (4) Canada; and
              vehicle you do not own.                                  (5) Anywhere in the world if:
         (2) Primary while it is connected to a cov-                       (a) A covered "auto" of the private passen-
              ered "auto" you own.                                             ger type is leased, hired, rented or bor-
      b. For Hired Auto Physical Damage Coverage,                              rowed without a driver for a period of 30
          any covered "auto" you lease, hire, rent or                          days or less; and
          borrow is deemed to be a covered "auto"                         (b) The "insured’s" responsibility to pay
          you own. However, any "auto" that is                                 damages is determined in a "suit" on the
          leased, hired, rented or borrowed with a                             merits, in the United States of America,
          driver is not a covered "auto".                                      the territories and possessions of the
      c. Regardless of the provisions of Paragraph                             United States of America, Puerto Rico or
          a. above, this coverage form’s Liability                             Canada or in a settlement we agree to.
          Coverage is primary for any liability as-
          sumed under an "insured contract".


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      We also cover "loss" to, or "accidents" involv-                 "Covered pollution cost or expense" does not in-
      ing, a covered "auto" while being transported                   clude any cost or expense arising out of the ac-
      between any of these places.                                    tual, alleged or threatened discharge, dispersal,
   8. Two Or More Coverage Forms Or Policies                          seepage, migration, release or escape of "pollut-
      Issued By Us                                                    ants":
      If this coverage form and any other coverage                        a. That are, or that are contained in any prop-
      form or policy issued to you by us or any com-                          erty that is:
      pany affiliated with us applies to the same "ac-                       (1) Being transported or towed by, handled
      cident", the aggregate maximum Limit of Insur-                              or handled for movement into, onto or
      ance under all the coverage forms or policies                               from the covered "auto";
      shall not exceed the highest applicable Limit of                       (2) Otherwise in the course of transit by or
      Insurance under any one coverage form or pol-                               on behalf of the "insured"; or
      icy. This condition does not apply to any cov-
      erage form or policy issued by us or an affili-                       (3) Being stored, disposed of, treated or
      ated company specifically to apply as excess                               processed in or upon the covered "au-
      insurance over this coverage form.                                         to";
SECTION V ---- DEFINITIONS                                               b. Before the "pollutants" or any property in
                                                                             which the "pollutants" are contained are
A. "Accident" includes continuous or repeated expo-                          moved from the place where they are ac-
   sure to the same conditions resulting in "bodily in-                      cepted by the "insured" for movement into
   jury" or "property damage".                                               or onto the covered "auto"; or
B. "Auto" means:                                                         c. After the "pollutants" or any property in
   1. A land motor vehicle, "trailer" or semitrailer de-                     which the "pollutants" are contained are
       signed for travel on public roads; or                                 moved from the covered "auto" to the place
   2. Any other land vehicle that is subject to a com-                       where they are finally delivered, disposed of
       pulsory or financial responsibility law or other                      or abandoned by the "insured".
       motor vehicle insurance law where it is licensed                  Paragraph a. above does not apply to fuels, lu-
       or principally garaged.                                           bricants, fluids, exhaust gases or other similar
   However, "auto" does not include "mobile equip-                       "pollutants" that are needed for or result from
   ment".                                                                the normal electrical, hydraulic or mechanical
                                                                         functioning of the covered "auto" or its parts, if:
C. "Bodily injury" means bodily injury, sickness or
   disease sustained by a person including death re-                        (1) The "pollutants" escape, seep, migrate or
   sulting from any of these.                                                   are discharged, dispersed or released
                                                                                directly from an "auto" part designed by
D. "Covered pollution cost or expense" means any                                its manufacturer to hold, store, receive
   cost or expense arising out of:                                              or dispose of such "pollutants"; and
   1. Any request, demand, order or statutory or                            (2) The "bodily injury", "property damage" or
       regulatory requirement that any "insured" or                             "covered pollution cost or expense" does
       others test for, monitor, clean up, remove, con-                         not arise out of the operation of any
       tain, treat, detoxify or neutralize, or in any way                       equipment listed in Paragraph 6.b. or
       respond to, or assess the effects of, "pollut-                           6.c. of the definition of "mobile
       ants"; or                                                                equipment".
   2. Any claim or "suit" by or on behalf of a gov-
       ernmental authority for damages because of
       testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying or neutralizing,
       or in any way responding to, or assessing the
       effects of, "pollutants".




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      Paragraphs b. and c. above do not apply to                     An "insured contract" does not include that part of
      "accidents" that occur away from premises                      any contract or agreement:
      owned by or rented to an "insured" with respect                   a. That indemnifies a railroad for "bodily injury"
      to "pollutants" not in or upon a covered "auto"                       or "property damage" arising out of con-
      if:                                                                   struction or demolition operations, within 50
          (a) The "pollutants" or any property in which                     feet of any railroad property and affecting
              the "pollutants" are contained are upset,                     any railroad bridge or trestle, tracks, road-
              overturned or damaged as a result of the                      beds, tunnel, underpass or crossing;
              maintenance or use of a covered "auto";                   b. That pertains to the loan, lease or rental of
              and                                                           an "auto" to you or any of your "employees",
          (b) The discharge, dispersal, seepage, mi-                        if the "auto" is loaned, leased or rented with
              gration, release or escape of the "pollut-                    a driver; or
              ants" is caused directly by such upset,                   c. That holds a person or organization en-
              overturn or damage.                                           gaged in the business of transporting prop-
                                                                            erty by "auto" for hire harmless for your use
E. "Diminution in value" means the actual or perceived                      of a covered "auto" over a route or territory
   loss in market value or resale value which results                       that person or organization is authorized to
   from a direct and accidental "loss".                                     serve by public authority.
F. "Employee" includes a "leased worker". "Employee"           I. "Leased worker" means a person leased to you by
   does not include a "temporary worker".                         a labor leasing firm under an agreement between
G. "Insured" means any person or organization quali-              you and the labor leasing firm to perform duties re-
   fying as an insured in the Who Is An Insured pro-              lated to the conduct of your business. "Leased
   vision of the applicable coverage. Except with re-             worker" does not include a "temporary worker".
   spect to the Limit of Insurance, the coverage af-           J. "Loss" means direct and accidental loss or dam-
   forded applies separately to each insured who is               age.
   seeking coverage or against whom a claim or "suit"          K. "Mobile equipment" means any of the following
   is brought.                                                    types of land vehicles, including any attached ma-
H. "Insured contract" means:                                      chinery or equipment:
   1. A lease of premises;                                        1. Bulldozers, farm machinery, forklifts and other
                                                                      vehicles designed for use principally off public
   2. A sidetrack agreement;                                          roads;
   3. Any easement or license agreement, except in                2. Vehicles maintained for use solely on or next to
      connection with construction or demolition op-                  premises you own or rent;
      erations on or within 50 feet of a railroad;
                                                                  3. Vehicles that travel on crawler treads;
   4. An obligation, as required by ordinance, to in-
                                                                  4. Vehicles, whether self-propelled or not, main-
      demnify a municipality, except in connection
                                                                      tained primarily to provide mobility to perma-
      with work for a municipality;                                   nently mounted:
   5. That part of any other contract or agreement                    a. Power cranes, shovels, loaders, diggers or
      pertaining to your business (including an in-                       drills; or
      demnification of a municipality in connection
      with work performed for a municipality) under                   b. Road        construction    or    resurfacing
      which you assume the tort liability of another to                   equipment such as graders, scrapers or
      pay for "bodily injury" or "property damage" to a                   rollers;
      third party or organization. Tort liability means           5. Vehicles not described in Paragraph 1., 2., 3. or
      a liability that would be imposed by law in the                 4. above that are not self-propelled and are
      absence of any contract or agreement;                           maintained primarily to provide mobility to per-
                                                                      manently attached equipment of the following
   6. That part of any contract or agreement entered                  types:
      into, as part of your business, pertaining to the
      rental or lease, by you or any of your "employ-                 a. Air compressors, pumps and generators,
      ees", of any "auto". However, such contract or                      including spraying, welding, building clean-
      agreement shall not be considered an "insured                       ing, geophysical exploration, lighting and
      contract" to the extent that it obligates you or                    well-servicing equipment; or
      any of your "employees" to pay for "property                    b. Cherry pickers and similar devices used to
      damage" to any "auto" rented or leased by you                       raise or lower workers; or
      or any of your "employees".




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   6. Vehicles not described in Paragraph 1., 2., 3. or        M. "Property damage" means damage to or loss of
      4. above maintained primarily for purposes                  use of tangible property.
      other than the transportation of persons or car-         N. "Suit" means a civil proceeding in which:
      go. However, self-propelled vehicles with the
      following types of permanently attached                     1. Damages because of "bodily injury" or "prop-
      equipment are not "mobile equipment" but will                  erty damage"; or
      be considered "autos":                                      2. A "covered pollution cost or expense";
      a. Equipment designed primarily for:                        to which this insurance applies, are alleged.
          (1) Snow removal;                                       "Suit" includes:
          (2) Road maintenance, but not construction                  a. An arbitration proceeding in which such
              or resurfacing; or                                          damages or "covered pollution costs or ex-
          (3) Street cleaning;                                            penses" are claimed and to which the "in-
                                                                          sured" must submit or does submit with our
       b. Cherry pickers and similar devices mounted                      consent; or
          on automobile or truck chassis and used to
          raise or lower workers; and                                 b. Any other alternative dispute resolution
                                                                          proceeding in which such damages or
       c. Air compressors, pumps and generators,                          "covered pollution costs or expenses" are
          including spraying, welding, building clean-                    claimed and to which the insured submits
          ing, geophysical exploration, lighting or                       with our consent.
          well-servicing equipment.
                                                               O. "Temporary worker" means a person who is fur-
   However, "mobile equipment" does not include                   nished to you to substitute for a permanent "em-
   land vehicles that are subject to a compulsory or              ployee" on leave or to meet seasonal or short-term
   financial responsibility law or other motor vehicle            workload conditions.
   insurance law where it is licensed or principally ga-
   raged. Land vehicles subject to a compulsory or             P. "Trailer" includes semitrailer.
   financial responsibility law or other motor vehicle
   insurance law are considered "autos".
L. "Pollutants" means any solid, liquid, gaseous or
   thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and
   waste. Waste includes materials to be recycled,
   reconditioned or reclaimed.




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                                                                                                  COMMERCIAL AUTO
                                                                                                      CA 01 22 05 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       KANSAS CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Changes In Liability Coverage                                         d. The following is added to the War Exclu-
   1. For coverage and limits required by the Kansas                         sion:
      Financial Responsibility law, Exclusions is                            This Exclusion applies only to the extent
      changed as follows:                                                    that the limit of insurance for this coverage
      a. The Workers’ Compensation Exclusion is                              in this policy exceeds the limit required by
         replaced by the following:                                          the Kansas Automobile Injury Reparations
                                                                             Act.
         Any obligation for which the "insured" or the
         "insured’s" insurer may be held liable under                    e. The Racing Exclusion, if contained in the
         any workers’ compensation, disability bene-                         coverage form, does not apply.
         fits or any similar law.                                         f. The exclusion relating to "bodily injury" or
      b. The Employee Indemnification And Employ-                            "property damage" arising out of the actual,
         ers’ Liability Exclusion is replaced by the fol-                    alleged or threatened discharge, dispersal,
         lowing:                                                             release or escape of pollutants does not
                                                                             apply if the discharge, dispersal, release or
         This coverage does not apply to "bodily in-                         escape is sudden and accidental.
         jury" to any "employee" of the "insured" aris-
         ing out of and in the course of the fellow                   2. Our Limit Of Insurance applies except that we
         "employee’s" employment by the "insured"                        will apply the limit shown in the Declarations to
         or while performing duties related to the                       first provide the separate limits required by
         conduct of the "insured’s" business if bene-                    Kansas law as follows:
         fits are required or available for the "em-                     a. $25,000 for "bodily injury" to any one per-
         ployee" under any workers’ compensation                             son caused by any one "accident".
         or disability benefits law or under any simi-                   b. $50,000 for "bodily injury" to two or more
         lar law. This exclusion does not apply to li-                        persons caused by any one "accident", and
         ability assumed by the "insured" under an
         "insured contract".                                             c. $10,000 for "property damage" caused by
                                                                             any one "accident".
      c. The Care, Custody Or Control Exclusion is
         replaced by the following:                                      This provision will not change our limit of in-
                                                                         surance.
         This coverage does not apply to "property
         damage" to property owned by, rented to,
         or in charge of or transported by an "in-
         sured". However, this exclusion does not
         apply to "property damage" to a rented resi-
         dence or private garage or to liability as-
         sumed by the "insured" under a sidetrack
         agreement.



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B. Changes In Physical Damage                                      2. The Appraisal For Physical Damage Loss Con-
   1. The "Diminution In Value" Exclusion does not                    dition in the Business Auto, Garage, Truckers
      apply.                                                          and Motor Carrier Coverage Forms and the
                                                                      Appraisal Condition in the Business Auto
   2. The Limit of Insurance provision with respect to                Physical Damage Coverage Form is replaced
      repair or replacement resulting in better than                  by the following:
      like kind or quality in any coverage form or en-
      dorsement does not apply.                                       If, after a claim has been made, a dispute arises
                                                                      because you and we disagree on the amount of
C. Changes In Conditions                                              the "loss", either party may make a written re-
   1. The Concealment, Misrepresentation Or Fraud                     quest for an appraisal of the "loss". However an
      General Condition is replaced by the following:                 appraisal will be made only if both you and we
                                                                      agree, voluntarily to have the loss appraised. If
      We will not pay in any case of fraud by you at
                                                                      so agreed, each party will select a competent
      any time as it relates to this Coverage Form.
                                                                      appraiser. The two appraisers will select a
      We will also not pay if you or any other "in-
                                                                      competent and impartial umpire. The appraisers
      sured", knowingly and with intent to defraud,
                                                                      will state separately the actual cash value and
      presents, causes to be presented or prepares
                                                                      amount of "loss". If they fail to agree, they will
      with knowledge or belief that it will be pre-
                                                                      submit their differences to the umpire. Each
      sented, any written statement relating to an in-
                                                                      party will:
      surance application, rating, claim or coverage
      under this Coverage Form which such person:                     a. Pay its chosen appraiser; and
      a. Knows to contain materially false informa-                   b. Bear the other expenses of the appraiser
          tion; or                                                         and umpire equally.
      b. Conceals, for the purposes of misleading,                    If we submit to an appraisal, we will still retain
          information                                                 our right to deny the claim.
      concerning any material fact.                                   An appraisal decision will be binding.




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                                                                                              COMMERCIAL AUTO
                                                                                                  CA 01 43 05 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CALIFORNIA CHANGES
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. The term "spouse" is replaced by the following:                    b. The other provides coverage to a person
   Spouse or registered domestic partner under Cali-                     not engaged in that business, and
   fornia law.                                                        c. At the time of an "accident" an "insured" un-
B. The following are added to the Other Insurance                        der the Coverage Form described in Para-
   Condition in the Business Auto and Garage Cov-                        graph 2.a. is operating an "auto" owned by
   erage Forms and the Other Insurance ---- Primary                      a person described in Paragraph 2.b., then
   And Excess Insurance Provisions in the Motor                          the Coverage Form issued to the business
   Carrier and Truckers Coverage Forms and super-                        described in Paragraph 2.a. is primary and
   sede any provisions to the contrary:                                  the liability coverage issued to a person de-
                                                                         scribed in Paragraph 2.b. is excess over
   1. When this Coverage Form and any other Cov-                         any coverage available to the business.
      erage Form or policy providing liability cover-
      age apply to an "auto" and:                                  3. When this Coverage Form and any other Cov-
                                                                      erage Form or policy providing liability cover-
      a. One provides coverage to a Named Insured                     age apply to a "commercial vehicle" and:
          engaged in the business of selling, repair-
          ing, servicing, delivering, testing or road-                a. One provides coverage to a Named In-
          testing "autos", and                                           sured, who in the course of business, rents
                                                                         or leases "commercial vehicles" without op-
      b. The other provides coverage to a person                         erators, and
          not engaged in that business, and
                                                                      b. The other provides coverage to a person
      c. At the time of an "accident", a person de-                      other than as described in Paragraph 3.a.,
          scribed in Paragraph 1.b. is operating an                      and
          "auto" owned by the business described in
          Paragraph 1.a., then that person’s liability                c. At the time of an "accident", a person who is
          coverage is primary and the Coverage Form                      not the Named Insured of the policy de-
          issued to a business described in Para-                        scribed in Paragraph 3.a., and who is not
          graph 1.a. is excess over any coverage                         the agent or "employee" of such Named In-
          available to that person.                                      sured is operating a "commercial vehicle"
                                                                         provided by the business covered by the
   2. When this Coverage Form and any other Cov-                         Coverage Form or policy described in Para-
      erage Form or policy providing liability cover-                    graph 3.a., then the liability coverage pro-
      age apply to an "auto" and:                                        vided by the Coverage Form or policy de-
      a. One provides coverage to a Named Insured                        scribed in Paragraph 3.b. is primary, and
          engaged in the business of selling, repair-                    the liability coverage provided by the Cov-
          ing, servicing, delivering, testing or road-                   erage Form or policy described in Para-
          testing "autos", and                                           graph 3.a. is excess over any coverage
                                                                         available to that person.




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   4. Notwithstanding Paragraph B.3., when this               C. As used in this endorsement:
      Coverage Form and any other Coverage Form                  "Commercial vehicle" means an "auto" subject to
      or policy providing liability coverage apply to a          registration or identification under California law
      power unit and any connected "trailer" or "trail-          which is:
      ers" and:
                                                                 1. Used or maintained for the transportation of
      a. One provides coverage to a Named Insured                   persons for hire, compensation or profit;
         engaged in the business of transporting
         property by "auto" for hire; and                        2. Designed, used or maintained primarily for the
                                                                    transportation of property; or
      b. The other provides coverage to a Named
         Insured not engaged in that business; and                  3. Leased for a period of six months or more.
      c. At the time of an "accident", a power unit is
         being operated by a person insured under
         the Coverage Form or policy described in
         Paragraph 4.a., then that Coverage Form or
         policy is primary for both the power unit
         and any connected "trailer" or "trailers" and
         the Coverage Form or policy described in
         Paragraph 4.b. is excess over any other
         coverage available to such power unit and
         attached "trailer" or "trailers".




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POLICY NUMBER:        CPO 5912284-00                                                          COMMERCIAL AUTO
                                                                                                  CA 21 30 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ILLINOIS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE


Limit Of Insurance:    $    1,000,000                                                    Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                   B. Who Is An Insured
   1. We will pay all sums the "insured" is legally              If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                tions as:
      from the owner or driver of an "uninsured mo-
      tor vehicle". The damages must result from                 1. An individual, then the following are "insureds":
      "bodily injury" sustained by the "insured"                      a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                            bers".
      driver’s liability for these damages must result                b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                      or a temporary substitute for a covered
      "uninsured motor vehicle".                                         "auto". The covered "auto" must be out of
   2. Any judgment for damages arising out of a                          service because of its breakdown, repair,
      "suit" brought without our written consent is                      servicing, "loss" or destruction.
      not binding on us.




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       c. Anyone else "occupying" an "auto" you do                   4. Anyone using a vehicle without a reasonable
          not own who is an "insured" for Liability un-                 belief that the person is entitled to do so.
          der the Coverage Form, but only at times                   5. Punitive or exemplary damages.
          when that person is an "insured" for Liability
          under the Coverage Form.                                   6. "Bodily injury" arising directly or indirectly out
                                                                        of:
      d. Anyone for damages he or she is entitled to
          recover because of "bodily injury" sustained                  a. War, including undeclared or civil war;
          by another "insured".                                         b. Warlike action by a military force, including
   2. A partnership, limited liability company, corpo-                      action in hindering or defending against an
      ration or any other form of organization, then                        actual or expected attack, by any govern-
       the following are "insureds":                                        ment, sovereign or other authority using
                                                                            military personnel or other agents; or
       a. Anyone "occupying" a covered "auto" or a
          temporary substitute for a covered "auto".                  c. Insurrection, rebellion, revolution, usurped
          The covered "auto" must be out of service                       power, or action taken by governmental au-
          because of its breakdown, repair, servicing,                    thority in hindering or defending against
          "loss" or destruction.                                          any of these.
       b. Anyone else "occupying" an "auto" you do              D. Limit Of Insurance
          not own who is an "insured" for Liability un-            1. Regardless of the number of covered "autos",
          der the Coverage Form, but only at times                    "insureds", premiums paid, claims made or ve-
          when that person is an "insured" for Liability              hicles involved in the "accident", the most we
          under the Coverage Form.                                    will pay for all damages resulting from any one
       c. Anyone for damages he or she is entitled to                 "accident" is the Limit of Insurance for Unin-
          recover because of "bodily injury" sustained                sured Motorists Insurance shown in the Sched-
          by another "insured".                                       ule or Declarations.
C. Exclusions                                                         We will apply the limit shown in the Declara-
                                                                      tions to first provide the separate limits re-
   This insurance does not apply to any of the follow-                quired by the Illinois Safety Responsibility Law
   ing:                                                               as follows:
   1. Any claim settled without our consent.
                                                                        a. $20,000 for "bodily injury" to any one per-
   2. The direct or indirect benefit of any insurer or                      son caused by any one "accident"; and
      self-insurer under any workers’ compensation,                     b. $40,000 for "bodily injury" to two or more
      disability benefits or similar law.                                   persons caused by any one "accident".
   3. "Bodily injury" sustained by:                                     This provision will not change our total limit of
      a. An individual Named Insured while "occupy-                     liability.
          ing" or when struck by any vehicle owned                   2. No one will be entitled to receive duplicate
          by that Named Insured that is not a covered                   payments for the same elements of "loss" under
          "auto" for Uninsured Motorists Coverage                       this Coverage Form and any Liability Coverage
          under this Coverage Form;                                     Form, Medical Payments Coverage Endorse-
      b. Any "family member" while "occupying" or                       ment or Underinsured Motorists Coverage En-
          when struck by any vehicle owned by that                      dorsement attached to this Coverage Part.
          "family member" that is not a covered "auto"                  We will not make a duplicate payment under
          for Uninsured Motorists Coverage under                        this Coverage for any element of "loss" for
          this Coverage Form; or                                        which payment has been made by or for any-
      c. Any "family member" while "occupying" or                       one who is legally responsible.
          when struck by any vehicle owned by the
                                                                        We will not pay for any element of "loss" if a
          Named Insured that is insured for Unin-                       person is entitled to receive payment for the
          sured Motorists Coverage on a primary ba-                     same element of "loss" under any workers’
          sis under any other Coverage Form or pol-                     compensation, disability benefits or similar law.
          icy.




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E. Changes In Conditions                                                       b. Any legal action against us must be brought
   The Conditions are changed for Uninsured Motor-                                within two years after the date of the "acci-
   ists Insurance Coverage as follows:                                            dent". However, this Paragraph 3.b. does
                                                                                  not apply to an "insured" if, within two years
   1. Other Insurance in the Business Auto and                                    after the date of the "accident", arbitration
       Garage Coverage Forms and Other Insurance                                  proceedings have commenced in accor-
       ---- Primary And Excess Insurance Provisions in                            dance with the provisions of this Coverage
       the Truckers and Motor Carrier Coverage                                    Form.
       Forms are replaced by the following:
                                                                            4. Transfer Of Rights Of Recovery Against Others
       If there is other applicable insurance available                        To Us does not apply.
       under one or more policies or provisions of
       coverage:                                                            5. The following Conditions are added:
        a. The maximum recovery under all coverage                             REIMBURSEMENT AND TRUST
             forms or policies combined may equal but                          If we make any payment and the "insured" re-
             not exceed the highest applicable limit for                       covers from another party, the "insured" shall
             any one vehicle under any coverage form or                        hold the proceeds in trust for us and pay us
             policy providing coverage on either a pri-                        back the amount we have paid.
             mary or excess basis.                                             ARBITRATION
       b. Any insurance we provide with respect to a                           a. If we and an "insured" disagree whether the
             vehicle the Named Insured does not own                               "insured" is legally entitled to recover dam-
             shall be excess over any other collectible                           ages from the owner or driver of an "unin-
             uninsured motorists insurance providing                              sured motor vehicle" or do not agree as to
             coverage on a primary basis.                                         the amount of damages, then the disagree-
        c. If the coverage under this Coverage Form is                            ment will be arbitrated. If the "insured" re-
             provided:                                                            quests, we and the "insured" will each select
            (1) On a primary basis, we will pay only our                          an arbitrator. The two arbitrators will select
                 share of the loss that must be paid un-                          a third. If the arbitrators are not selected
                 der insurance providing coverage on a                            within 45 days of the "insured’s" request, ei-
                 primary basis. Our share is the propor-                          ther party may request that arbitration be
                 tion that our limit of liability bears to the                    submitted to the American Arbitration Asso-
                 total of all applicable limits of liability for                  ciation. We will bear all the expenses of the
                 coverage on a primary basis.                                     arbitration except when the "insured’s" re-
                                                                                  covery exceeds the minimum limit specified
           (2) On an excess basis, we will pay only our                           in the Illinois Safety Responsibility Law.
                 share of the loss that must be paid un-
                 der insurance providing coverage on an                            If this occurs, the "insured" will be respon-
                 excess basis. Our share is the propor-                            sible for payment of his or her expenses
                 tion that our limit of liability bears to the                     and an equal share of the expenses of the
                 total of all applicable limits of liability for                   third arbitrator up to the amount by which
                 coverage on an excess basis.                                      the "insured’s" recovery exceeds the
                                                                                   statutory minimum.
    2. Duties In The Event Of Accident, Claim, Suit Or
       Loss is changed by adding the following:                                b. Unless both parties agree otherwise, arbi-
                                                                                   tration will take place in the county in which
       a. Promptly notify the police if a hit-and-run                              the "insured" lives.
            driver is involved; and
                                                                               c. If arbitration is submitted to the American
       b. Promptly send us copies of the legal papers                              Arbitration Association, then the American
            if a "suit" is brought.                                                Arbitration Association rules shall apply to
    3. Legal Action Against Us is replaced by the                                  all matters except medical opinions. As to
       following:                                                                  medical opinions, if the amount of damages
                                                                                   being sought:
        a. No one may bring a legal action against us
           under this Coverage Form until there has                               (1) Is equal to or less than the minimum limit
           been full compliance with all the terms of                                  for bodily injury liability specified by the
           this Coverage Form.                                                         Illinois Safety Responsibility Law, then
                                                                                       the American Arbitration Association
                                                                                       rules shall apply.




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         (2) Exceeds the minimum limit for bodily                     3. "Uninsured motor vehicle" means a land motor
              injury liability specified by the Illinois                 vehicle or "trailer":
              Safety Responsibility Law, then rules of                   a. For which no liability bond or policy at the
              evidence that apply in the circuit court                       time of an "accident" provides at least the
              for placing medical opinions into evi-                         amounts required by the applicable law
              dence shall apply.                                             where a covered "auto" is principally ga-
              In all other arbitration proceedings, local                    raged; or
              rules of law as to arbitration procedure                   b. For which an insuring or bonding company
              and evidence will apply.                                       denies coverage or is or becomes insolvent;
      d. If the arbitration involves three arbitrators, a                    or
          decision agreed to by two of the arbitrators                   c. That is a hit-and-run vehicle and neither the
          will be binding for the amount of damages                          driver nor owner can be identified. The ve-
          not exceeding the lesser of either:                                hicle must hit, or cause an object to hit, an
         (1) $50,000 for "bodily injury" to any one                          "insured", a covered "auto" or a vehicle an
              person / $100,000 for "bodily injury" to                       "insured" is "occupying". If there is no physi-
              two or more persons caused by any one                          cal contact with the hit-and-run vehicle, the
              "accident"; or                                                 facts of the "accident" must be proved.
         (2) The Limit Of Uninsured Motorists Insur-                     However, "uninsured motor vehicle" does not
              ance shown in the Schedule or Declara-                     include any vehicle:
              tions.                                                     a. Owned or operated by a self-insurer under
F. Additional Definitions                                                    any applicable motor vehicle law, except a
   As used in this endorsement:                                              self-insurer who is or becomes insolvent
                                                                             and cannot provide the amounts required
   1. "Family member" means a person related to an                           by that motor vehicle law;
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named                        b. Owned by a governmental unit or agency;
      Insured’s household, including a ward or foster                        or
      child.                                                             c. Designed for use mainly off public roads
   2. "Occupying" means in, upon, getting in, on, out                        while not on public roads.
      or off.




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POLICY NUMBER: CPO        5912284-00                                                         COMMERCIAL AUTO
                                                                                                 CA 21 37 01 05

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          KANSAS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:

     BUSINESS AUTO COVERAGE FORM
     GARAGE COVERAGE FORM
     MOTOR CARRIER COVERAGE FORM
     TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Endorsement Effective:                                      Countersigned By:


Named Insured:
                                                                                        (Authorized Representative)

                                                   SCHEDULE

 LIMIT OF INSURANCE
 $    1,000,000                                                                                 Each "Accident"
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                         b. A tentative settlement has been made be-
   1. We will pay all sums the "insured" is legally                    tween an "insured" and the insurer of a ve-
      entitled to recover as damages from the owner                    hicle described in Paragraph b. of the defi-
      or driver of an "uninsured motor vehicle". The                   nition of "uninsured motor vehicle" and we:
      damages must result from "bodily injury" sus-                     (1) Have been given prompt written notice
      tained by the "insured" caused by an "accident".                      of such tentative settlement; and
      The owner’s or driver’s liability for these dam-                  (2) Advance payment to the "insured" in an
      ages must result from the ownership, mainte-                          amount equal to the tentative settlement
      nance or use of the "uninsured motor vehicle".                        within 60 days after receipt of notifica-
   2. With respect to damages resulting from an                             tion.
      "accident" with a vehicle described in Para-            B. Who Is An Insured
      graph b. of the definition of "uninsured motor
      vehicle", we will pay under this coverage only if          If the Named Insured is designated in the Declara-
      a. or b. below applies:                                    tions as:
      a. The limit of any applicable liability bonds or          1. An individual, then the following are "insureds":
          policies have been exhausted by payment                    a. The Named Insured and any "family mem-
          of judgments or settlements; or                               bers".




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       b. Anyone else "occupying" a covered "auto"                     b. $50,000 for "bodily injury" to two or more
           or a temporary substitute for a covered                         persons caused by any one "accident".
           "auto". The covered "auto" must be out of                   This provision will not change our total limit of
           service because of its breakdown, repair,                   liability.
           servicing, "loss" or destruction.
                                                                    2. The limit for damages resulting from "bodily
       c. Anyone for damages he or she is entitled to                  injury" caused by a vehicle described in Para-
           recover because of "bodily injury" sustained                graph b. of the definition of "uninsured motor
           by another "insured".                                       vehicle" applies separately from the limit for a
   2. A partnership, limited liability company, corpo-                 vehicle described in Paragraphs a., c. and d. of
      ration or any other form of organization, then                   that definition.
       the following are "insureds":                             3. No one will be entitled to receive duplicate
       a. Anyone "occupying" a covered "auto" or a                   payments for the same elements of "loss" under
           temporary substitute for a covered "auto".                this Coverage and any Liability Coverage Form,
           The covered "auto" must be out of service                 Medical Payments Coverage Endorsement, Un-
           because of its breakdown, repair, servicing,              insured Motorists Coverage Endorsement or
           "loss" or destruction.                                    Underinsured Motorists Coverage Endorse-
       b. Anyone for damages he or she is entitled to                ment attached to this Coverage Part.
           recover because of "bodily injury" sustained              We will not make a duplicate payment under
           by another "insured".                                     this Coverage for any element of "loss" for
C. Exclusions                                                        which payment has been made by or for any-
                                                                     one who is legally responsible.
   This insurance does not apply to any of the follow-
   ing:                                                              We will not pay for any element of "loss" if the
                                                                     person is entitled to receive payment for the
   1. Any claim settled or judgment reached without                  same element of "loss" under any workers’
      our consent if the settlement or judgment                      compensation, disability benefits or similar law
       prejudices our right to recover payment. How-                 or personal injury protection coverage.
      ever, this exclusion does not apply to a settle-
      ment made with the insurer of a vehicle de-                4. Any amount paid under this insurance will
      scribed in Paragraph b. of the definition of                   reduce any amount an "insured" may be paid
      "uninsured motor vehicle".                                     under the Coverage Form’s Liability Coverage.
   2. The direct or indirect benefit of any insurer or        E. Changes In Conditions
      self-insurer under any workers’ compensation,              The conditions are changed for Uninsured Motor-
      disability benefits or similar law.                        ists Coverage as follows:
   3. Anyone using a vehicle without a reasonable                1. Other Insurance in the Business Auto and
       belief that the person is entitled to do so.                  Garage Coverage Forms and Other Insurance
   4. "Bodily injury" sustained by an "insured" while                ---- Primary And Excess Insurance Provisions in
      "occupying" or when struck by any motor vehi-                  the Truckers and Motor Carrier Coverage
      cle that is owned by or provided for the regular               Forms are changed by addition of the follow-
      use of that "insured" for which the security re-               ing:
      quired by Kansas law is not in effect.                          a. The reference to "other collectible insur-
D. Limit Of Insurance                                                      ance" applies only to other collectible unin-
                                                                           sured motorists insurance.
   1. Regardless of the number of covered "autos",
      "insureds", premiums paid, claims made or ve-                  b. If there is other applicable insurance avail-
      hicles involved in the "accident", the most we                       able under one or more policies or provi-
      will pay for all damages resulting from any one                      sions of coverage, the maximum recovery
      "accident", is the limit of Uninsured Motorists                      under all coverage forms or policies com-
      Insurance shown in the Schedule or Declara-                          bined may equal but not exceed the highest
      tions. We will apply the limit shown in the                          applicable limit for any one vehicle under
      Schedule or Declarations to first provide the                        any coverage form or policy providing cov-
      separate limits required by Kansas law as fol-                       erage on either a primary or excess basis.
      lows:                                                      2. Duties In The Event Of Accident, Claim, Suit Or
      a. $25,000 for "bodily injury" to any one per-                 Loss is changed by adding the following:
          son caused by any one "accident", and                       a. Promptly notify the police if a hit-and-run
                                                                           driver is involved, and




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      b. Promptly send us copies of the legal papers                         (2) Fail to advance payments to the "in-
          if a "suit" is brought.                                                 sured" in an amount equal to the tenta-
      c. A person seeking Uninsured Motorists                                     tive settlement within 60 days after re-
          Coverage must also:                                                     ceipt of the notice.
         (1) Notify us in writing, by certified mail, of a                    If we advance payment to the "insured" in
               tentative settlement between the "in-                          an amount equal to the tentative settlement
               sured" and the insurer of a vehicle de-                        within 60 days after receipt of notification:
               scribed in Paragraph b. of the definition                     (1) That payment will be separate from any
               of "uninsured motor vehicle"; and                                  amount the "insured" is entitled to re-
         (2) Allow us 60 days after receipt of the                                cover under the provisions of Uninsured
              written notice to advance payment to                                Motorists Coverage; and
              that "insured", in an amount equal to the                      (2) We also have a right to recover the
              tentative settlement, to preserve our                               advance payment.
              rights against the insurer, owner or op-                 4. The Two Or More Coverage Forms Or Policies
              erator of such vehicle described in                         Issued By Us General Condition does not ap-
              Paragraph b. of the definition of "unin-                    ply.
              sured motor vehicle".
                                                                       5. The Concealment, Misrepresentation Or Fraud
          Such written notice shall include written                       General Condition does not apply.
          documentation of all damages incurred,
          copies of all medical bills and written au-                  6. The following condition is added:
          thorization or a court order to obtain re-                      ARBITRATION
          ports from all employers and medical pro-
                                                                          a. If, after a claim has been made, a dispute
          viders.
                                                                              arises because we and an "insured" dis-
   3. Transfer Of Rights Of Recovery Against Others                           agree whether the "insured" is legally enti-
      To Us is changed by adding the following:                               tled to recover damages from the owner or
      a. If we make any payment and the "insured"                             driver of an "uninsured motor vehicle" or do
          recovers from another party, the "insured"                          not agree as to the amount of damages that
          shall hold the proceeds in trust for us and                         are recoverable by that "insured", then the
          pay us back the amount we have paid.                                parties may agree to arbitration. One party
                                                                              cannot force the other party into arbitration.
      b. We do not have a right of recovery with                              However, disputes concerning coverage
          respect to damages resulting from an "acci-                         under this endorsement may not be arbi-
          dent" with a vehicle described in Para-                             trated. If the parties agree to arbitration,
          graphs a., c. and d. of the definition of "un-                      each party will select an arbitrator. The two
          insured motor vehicle" to which a liability                         arbitrators will select a third. If they cannot
          bond or policy applies at the time of the "ac-                      agree within 30 days, either may request
          cident", but the bonding or insuring com-                           that selection be made by a judge of a court
          pany is or becomes insolvent.                                       having jurisdiction. Each party will pay the
      c. Our rights do not apply under this provi-                            expenses it incurs and bear the expenses of
          sion with respect to damages caused by an                           the third arbitrator equally.
          "accident" with a vehicle described in Para-                    b. Unless both parties agree otherwise, arbi-
          graph b. of the definition of "uninsured mo-                        tration will take place in the county in which
          tor vehicle" if we:                                                 the "insured" lives. Local rules of law as to
         (1) Have been given written notice by certi-                         procedure and evidence will apply. Any de-
              fied mail of a tentative agreement be-                          cision agreed to by the arbitrators will not
              tween the "insured" and the insuring                            be binding.
              company of the owner or operator of the
                                                                          c. Once arbitration is agreed to by both par-
              underinsured motor vehicle to settle for                       ties, either party has the right to bring arbi-
              liability limits; and                                          tration under K.S.A. Sections 5-201 --- 5-213
                                                                             inclusive, in lieu of the arbitration procedure
                                                                             provided in this condition.




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F. Additional Definitions                                                  (2) Cause "bodily injury" to an "insured"
   As used in this endorsement:                                                without hitting an "insured", a covered
                                                                               "auto" or a vehicle an "insured" is "occu-
   1. "Family member" means a person related to an                             pying", provided the facts of the "acci-
      individual Named Insured by blood, marriage                              dent" can be corroborated by competent
      or adoption who is a resident of such Named                              evidence other than the testimony of any
      Insured’s household, including a ward or foster                          person having a claim under this or any
      child.                                                                   other similar insurance as the result of
   2. "Occupying" means in, upon, getting in, on, out                          such "accident".
      or off.                                                           However, "uninsured motor vehicle" does not
   3. "Uninsured motor vehicle" means a land motor                      include any vehicle:
      vehicle or "trailer":                                             a. Owned or operated by a self-insurer under
      a. For which no liability bond or policy at the                      any applicable motor vehicle law, except a
          time of an "accident" provides at least the                      self-insurer who is or becomes insolvent
          amounts required by Kansas law, or                               and cannot provide the amounts required
                                                                           by that motor vehicle law.
      b. That is an underinsured motor vehicle. An
          underinsured motor vehicle is a land motor                    b. Owned by a governmental unit or agency.
          vehicle or "trailer" for which the sum of all li-             c. Designed for use mainly off public roads
          ability bonds or policies at the time of an                      while not on public roads.
          "accident" provides at least the amounts re-
          quired by Kansas law, but their limits are
          less than the limit of this insurance, or
      c. For which an insuring or bonding company
          denies coverage or is or becomes insolvent,
          or
       d. For which neither the driver nor owner can
           be identified. The vehicle must either:
          (1) Hit an "insured", a covered "auto" or a
               vehicle an "insured" is "occupying"; or




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POLICY NUMBER:        CPO 5912284-00                                                              COMMERCIAL AUTO
                                                                                                      CA 21 38 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      ILLINOIS UNDERINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                     SCHEDULE


Limit Of Insurance:     $    1,000,000                                                 Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

With respect to coverage provided by this endorse-                 3. Any judgment for damages arising out of a
ment, the provisions of the Coverage Form apply                         "suit" brought without written notice to us is not
unless modified by the endorsement.                                     binding on us.
A. Coverage                                                     B. Who Is An Insured
   1. We will pay all sums the "insured" is legally                If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                  tions as:
      from the owner or driver of an "underinsured
      motor vehicle". The damages must result from                 1. An individual, then the following are "insureds":
      "bodily injury" sustained by the "insured"                        a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                               bers".
      driver’s liability for these damages must result                  b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                         or a temporary substitute for a covered
      "underinsured motor vehicle".                                         "auto". The covered "auto" must be out of
   2. We will pay only after all liability bonds or poli-                   service because of its breakdown, repair,
      cies have been exhausted by payment of judg-                          servicing, "loss" or destruction.
      ments or settlements, unless:                                     c. Anyone else "occupying" an "auto" you do
       a. We have been given prompt written notice                          not own who is an "insured" for Liability un-
          of a "tentative settlement" and decide to ad-                     der the Coverage Form, but only at times
          vance payment to the "insured" in an                              when that person is an "insured" for Liability
          amount equal to that "tentative settlement"                       under the Coverage Form.
          within 30 days after receipt of notification;                 d. Anyone for damages he or she is entitled to
          or                                                                recover because of "bodily injury" sustained
       b. We and an "insured" have reached a "set-                          by another "insured".
          tlement agreement".



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   2. A partnership, limited liability company, corpo-                c. Insurrection, rebellion, revolution, usurped
      ration or any other form of organization, then                      power, or action taken by governmental au-
      the following are "insureds":                                       thority in hindering or defending against
      a. Anyone "occupying" a covered "auto" or a                         any of these.
          temporary substitute for a covered "auto".            D. Limit Of Insurance
          The covered "auto" must be out of service                1. Regardless of the number of covered "autos",
          because of its breakdown, repair, servicing,                "insureds", premiums paid, claims made or ve-
          "loss" or destruction.                                      hicles involved in the "accident", the most we
      b. Anyone else "occupying" an "auto" you do                     will pay for all damages resulting from any one
          not own who is an "insured" for Liability un-               "accident" is the Limit of Insurance for Underin-
          der the Coverage Form, but only at times                    sured Motorists Coverage shown in this en-
          when that person is an "insured" for Liability              dorsement.
          under the Coverage Form.                                 2. Except in the event of a "settlement agreement",
      c. Anyone for damages he or she is entitled to                  the Limit of Insurance for this coverage shall be
          recover because of "bodily injury" sustained                reduced by all sums paid or payable:
          by another "insured".                                       a. By or for anyone who is legally responsible,
C. Exclusions                                                             including all sums paid under this Coverage
   This insurance does not apply to any of the follow-                    Form’s Liability Coverage.
   ing:                                                               b. Under any workers’ compensation, disabil-
   1. The direct or indirect benefit of any insurer                       ity benefits or similar law. However, the
      under any workers’ compensation, disability                         Limit of Insurance for this coverage shall
       benefits or similar law.                                           not be reduced by any sums paid or pay-
                                                                          able under Social Security disability bene-
   2. "Bodily injury" sustained by:                                       fits.
       a. An individual Named Insured while "occupy-                  c. Under any automobile medical payments
          ing" or when struck by any vehicle owned                        coverage.
          by that Named Insured that is not a covered
          "auto" for Underinsured Motorists Coverage               3. In the event of a "settlement agreement", the
          under this Coverage Form;                                   maximum Limit of Insurance for this coverage
                                                                      shall be the amount by which the limit of insur-
      b. Any "family member" while "occupying" or                     ance for this coverage exceeds the limits of
          when struck by any vehicle owned by that                    bodily injury liability bonds or policies applica-
          "family member" that is not a covered "auto"                ble to the owner or operator of the "underin-
          for Underinsured Motorists Coverage under                   sured motor vehicle".
          this Coverage Form; or
                                                                   4. No one will be entitled to receive duplicate
      c. Any "family member" while "occupying" or                     payments for the same elements of "loss" under
          when struck by any vehicle owned by the                     this Coverage Form and any Liability Coverage
          Named Insured that is insured for Underin-                  Form.
          sured Motorists Coverage on a primary ba-
          sis under any other Coverage Form or pol-            E. Changes In Conditions
          icy.                                                    The Conditions are changed for Underinsured Mo-
   3. Anyone using a vehicle without a reasonable                 torists Coverage as follows:
      belief that the person is entitled to do so.                1. Other Insurance in the Business Auto and
   4. Punitive or exemplary damages.                                  Garage Coverage Forms and Other Insurance
                                                                      ---- Primary And Excess Insurance Provisions in
   5. "Bodily injury" arising directly or indirectly out              the Truckers and Motor Carrier Coverage
      of:                                                             Forms are replaced by the following:
       a. War, including undeclared or civil war;                     If there is other applicable insurance available
       b. Warlike action by a military force, including               under one or more policies or provisions of
          action in hindering or defending against an                 coverage:
          actual or expected attack, by any govern-                    a. The maximum recovery under all coverage
          ment, sovereign or other authority using                          forms or policies combined may equal but
          military personnel or other agents; or                            not exceed the highest applicable limit for
                                                                            any one vehicle under any coverage form or
                                                                            policy providing coverage on either a pri-
                                                                            mary or excess basis.


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      b. Any insurance we provide with respect to a                           b. Any legal action against us under this Cov-
          vehicle the Named Insured does not own                                  erage Form must be brought within two
          shall be excess over any other collectible                              years after the date of the "accident". How-
          underinsured motorists insurance providing                              ever, this Paragraph 3.b. does not apply if,
          coverage on a primary basis.                                            within two years after the date of the "acci-
      c. If the coverage under this Coverage Form is                              dent":
          provided:                                                              (1) Arbitration proceedings have com-
         (1) On a primary basis, we will pay only our                                  menced in accordance with the provi-
              share of the loss that must be paid un-                                  sions of this Coverage Form; or
              der insurance providing coverage on a                              (2) The "insured" has filed an action for
              primary basis. Our share is the propor-                                  "bodily injury" against the owner or op-
              tion that our limit of liability bears to the                            erator of an "underinsured motor vehi-
              total of all applicable limits of liability for                          cle", and such action is:
              coverage on a primary basis.                                           (a) Filed in a court of competent jurisdic-
          (2) On an excess basis, we will pay only our                                     tion; and
                share of the loss that must be paid un-                              (b) Not barred by the applicable state
                der insurance providing coverage on an                                     statute of limitations.
                excess basis. Our share is the propor-
                tion that our limit of liability bears to the                 In the event that the two-year time limitation
                total of all applicable limits of liability for               identified in this condition does not apply, the
                coverage on an excess basis.                                  applicable state statute of limitations will govern
                                                                              legal action against us under this Coverage
   2. Duties In The Event Of Accident, Claim, Suit Or                         Form.
      Loss is changed by adding the following:
                                                                           4. The following is added to Transfer Of Rights Of
      a. Give us written notice of a "tentative settle-                       Recovery Against Others To Us:
           ment" and allow us to advance payment in
           an amount equal to that settlement within 30                       Transfer Of Rights Of Recovery Against Others
           days after receipt of notification to preserve                     To Us does not apply to damages caused by
           our rights against the owner or operator of                        an "accident" with an "underinsured motor ve-
           the "underinsured motor vehicle".                                  hicle" if we:
      b. File "suit" against the owner or operator of                         a. Have been given written notice of a "tenta-
           the "underinsured motor vehicle" prior to                              tive settlement" between an "insured" and
           the conclusion of a "settlement agreement".                            the insurer of an "underinsured motor vehi-
           Such "suit" cannot be abandoned or settled                             cle"; and
           without giving us written notice of a "tenta-                      b. Fail to advance payment to the "insured" in
           tive settlement" and allowing us 30 days to                            an amount equal to the "tentative settlement"
           advance payment in an amount equal to                                  within 30 days after receipt of the notice.
           that settlement to preserve our rights
                                                                              If we advance payment to the "insured" in an
           against the owner or operator of the "under-
                                                                              amount equal to the "tentative settlement" within
           insured motor vehicle".
                                                                              30 days after receipt of notice:
      c. Promptly send us copies of the legal papers
                                                                              a. That payment will be separate from any
           if a "suit" is brought.
                                                                                  amount the "insured" is entitled to recover
   3. Legal Action Against Us is replaced by the                                  under the provisions of Underinsured Mo-
      following:                                                                  torists Coverage; and
      a. No one may bring a legal action against us                           b. We will also have a right to recover the
           under this Coverage Form until there has                               advanced payment.
           been full compliance with all the terms of
           this Coverage Form.




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      However, in the event of a "settlement agree-             F. Additional Definitions
      ment", we shall be entitled to recover only for              As used in this endorsement:
      amounts which exceed the limit of bodily injury
      liability bonds or policies applicable to the                1. "Family member" means a person related to an
      owner or operator of the "underinsured motor                    individual Named Insured by blood, marriage
      vehicle".                                                       or adoption who is a resident of such Named
                                                                      Insured’s household, including a ward or foster
   5. The following Conditions are added:                             child.
      REIMBURSEMENT AND TRUST                                      2. "Occupying" means in, upon, getting in, on, out
      If we make any payment and the "insured" re-                    or off.
      covers from another party, the "insured" shall               3. "Settlement agreement" means we and an "in-
      hold the proceeds in trust for us and pay us                    sured" agree that the "insured" is legally entitled
      back the amount we have paid.                                   to recover, from the owner or operator of the
      However, in the event of a "settlement agree-                   "underinsured motor vehicle", damages for
      ment", we shall be entitled to recover only for                 "bodily injury" and, without arbitration, agree
      amounts which exceed the limit of bodily injury                 also as to the amount of damages. Such
      liability bonds or policies applicable to the                   agreement is final and binding regardless of
      owner or operator of the "underinsured motor                    any subsequent judgment or settlement
      vehicle".                                                       reached by the "insured" with the owner or op-
      ARBITRATION                                                     erator of the "underinsured motor vehicle".
      a. If we and an "insured" disagree whether the               4. "Tentative settlement" means an offer from the
          "insured" is legally entitled to recover dam-               owner or operator of the "underinsured motor
          ages from the owner or driver of an "under-                 vehicle" to compensate an "insured" for dam-
          insured motor vehicle" or do not agree as to                ages incurred because of "bodily injury" sus-
          the amount of damages that are recoverable                  tained in an accident involving an "underin-
          by that "insured", then the matter may be                   sured motor vehicle".
          arbitrated. However, disputes concerning                 5. "Underinsured motor vehicle" means a land
          coverage under this endorsement may not                     motor vehicle or "trailer" for which the sum of
          be arbitrated. Either party may make a writ-                all liability bonds or policies at the time of an
          ten demand for arbitration. In this event,                  "accident" provides at least the amounts re-
          each party will select an arbitrator. The two               quired by the applicable law where a covered
          arbitrators will select a third. If they cannot             "auto" is principally garaged but that sum is ei-
          agree within 30 days, either may request                    ther less than the Limit of Insurance of this
          that selection be made by a judge of a court                coverage or reduced by payments to other
          having jurisdiction. Each party will pay the                persons resulting from the same "accident" to
          expenses it incurs and bear the expenses of                 an amount less than the Limit of Insurance of
          the third arbitrator equally.                               this coverage. However, "underinsured motor
      b. Unless both parties agree otherwise, arbi-                   vehicle" does not include any vehicle:
          tration will take place in the county in which              a. Owned or operated by any self-insurer
          the "insured" lives. Local rules of law as to                   under any applicable motor vehicle law.
          arbitration procedure and evidence will ap-                 b. Owned by a governmental unit or agency.
          ply. A decision agreed to by two of the arbi-
          trators will be binding.                                    c. Designed for use mainly off public roads
                                                                          while not on public roads.
                                                                       d. Which is an "uninsured motor vehicle".




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POLICY NUMBER:        CPO 5912284-00                                                            COMMERCIAL AUTO
                                                                                                    CA 21 48 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      LOUISIANA UNINSURED MOTORISTS
                         COVERAGE --- BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Louisiana, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided under this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy or as of the date indicated be-
low.

Named Insured:

Endorsement Effective Date:


                                                     SCHEDULE


Limit Of Insurance:     $    1,000,000                                                      Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                     B. Who Is An Insured
   1. We will pay all sums the "insured" is legally                If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                  tions as:
      from the owner or driver of an "uninsured mo-                1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                        a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                              bers".
      driver’s liability for these damages must result                  b. Anyone else "occupying" with the Named
      from the ownership, maintenance or use of the                        Insured’s express or implied permission a
      "uninsured motor vehicle".                                           covered "auto" or a temporary substitute for
   2. If this insurance provides a limit in excess of                      a covered "auto". The covered "auto" must
      the amounts required by the applicable law                           be out of service because of its breakdown,
      where a covered "auto" is principally garaged,                       repair, servicing, "loss" or destruction.
      we will pay only after all liability bonds or poli-               c. Anyone for damages he or she is entitled to
      cies have been exhausted by payments of                              recover because of "bodily injury" sustained
      judgments or settlements.                                            by another "insured".




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      d. Anyone else "occupying" an "auto" the                    2. No one will be entitled to receive duplicate
          Named Insured does not own who is an "in-                   payments for the same elements of "loss" under
          sured" for Liability under the Coverage                     this Coverage Form and any Liability Coverage
          Form, but only at times when that person is                 Form or Medical Payments Coverage endorse-
          an "insured" for Liability under the Coverage               ment attached to this Coverage Part.
          Form.                                                       We will not make a duplicate payment under
   2. A partnership, limited liability company, corpo-                this Coverage for any element of "loss" for
      ration or any other form of organization, then                  which payment has been made by or for any-
      the following are "insureds":                                   one who is legally responsible.
      a. Anyone "occupying" with the Named In-                 E. Changes In Conditions
          sured’s express or implied permission a                 The conditions are changed for Uninsured Motor-
          covered "auto" or a temporary substitute for            ists Coverage as follows:
          a covered "auto". The covered "auto" must
          be out of service because of its breakdown,                1. Other Insurance in the Business Auto and
          repair, servicing, "loss" or destruction.                     Garage Coverage Forms and Other Insurance
                                                                        ---- Primary And Excess Insurance Provisions in
      b. Anyone for damages he or she is entitled to                    the Truckers and Motor Carrier Coverage
          recover because of "bodily injury" sustained                  Forms is replaced by the following:
          by another "insured".
                                                                        If there is other applicable similar insurance, we
      c. Anyone else "occupying" an "auto" the                          will pay only our share of the loss. Our share is
          Named Insured does not own who is an "in-                     the proportion that our limit of insurance bears
          sured" for Liability under the Coverage                       to the total of all applicable limits. However,
          Form, but only at times when that person is                   with respect to "bodily injury" sustained by an
          an "insured" for Liability under the Coverage                 "insured":
          Form.
                                                                         a. While "occupying" a vehicle owned by that
C. Exclusions                                                                 person or while not "occupying" any vehi-
   This insurance does not apply to:                                          cle, the maximum recovery for damages
   1. The direct or indirect benefit of any insurer or                        sustained by an "insured" as a Named In-
      self-insurer under any workers’ compensation,                           sured or family member may equal but not
      disability benefits or similar law.                                     exceed the highest applicable limit for any
                                                                              one vehicle under this Coverage Form or
   2. "Bodily injury" sustained by an "insured" while                         any other Coverage Form or policy.
      "occupying" or struck by any vehicle owned by
      that "insured" that is not a covered "auto".                      b. While "occupying" a vehicle not owned by
                                                                            that person, the following priorities of re-
   3. Punitive or exemplary damages.                                        covery will apply:
   4. "Bodily injury" arising directly or indirectly out                   (1) The uninsured motorists coverage appli-
      of:                                                                      cable to the vehicle the "insured" was
      a. War, including undeclared or civil war;                               "occupying" at the time of the "accident"
      b. Warlike action by a military force, including                         will be primary.
          action in hindering or defending against an                      (2) If the primary insurance is exhausted,
          actual or expected attack, by any govern-                            any excess recovery for damages sus-
          ment, sovereign or other authority using                             tained by an "insured" as a Named In-
          military personnel or other agents; or                               sured or family member may equal but
      c. Insurrection, rebellion, revolution, usurped                          not exceed the highest applicable limit
          power, or action taken by governmental au-                           for any one vehicle under this Coverage
          thority in hindering or defending against                            Form or any other Coverage Form or
                                                                                policy. In no instance will more than one
          any of these.
                                                                               uninsured motorists coverage limit be
D. Limit Of Insurance                                                          available as excess insurance.
   1. Regardless of the number of covered "autos",                   2. Duties In The Event Of Accident, Claim, Suit Or
      "insureds", premiums paid, claims made or ve-                     Loss is changed by adding the following:
      hicles involved in the "accident", the most we
      will pay for all damages resulting from any one                   a. Promptly notify the police if a hit-and-run
      "accident" is the limit of Uninsured Motorists                       driver is involved; and
      Coverage shown in the Schedule or Declara-
      tions.


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      b. Promptly send us copies of the legal papers                   2. "Occupying" means in, upon, getting in, on, out
          if a "suit" is brought.                                         or off.
   3. Transfer Of Rights Of Recovery Against Others                    3. "Uninsured motor vehicle" means a land motor
      To Us does not apply to vehicles described in                       vehicle or "trailer":
      Paragraph b. of the definition of "uninsured                        a. For which no liability bonds or policy at the
      motor vehicle".                                                         time of an "accident" provides at least the
   4. The following condition is added:                                       amounts required by the applicable law
      ARBITRATION                                                             where a covered "auto" is principally ga-
                                                                              raged;
      a. If we and an "insured" disagree whether the
          "insured" is legally entitled to recover dam-                   b. Which is an underinsured motor vehicle. An
          ages from the owner or driver of an "unin-                          underinsured motor vehicle means a land
          sured motor vehicle" or do not agree as to                          motor vehicle or "trailer" to which a liability
          the amount of damages that are recoverable                          bond or policy affording coverage for "bod-
          by that "insured", then the matter may be                           ily injury" applies at the time of the accident
          arbitrated. However, arbitration will take                          but the amount paid for "bodily injury" un-
          place only if we and the "insured" agree,                           der that bond or policy to an "insured" is
          voluntarily, to have the matter arbitrated. If                      not enough to pay the full amount the "in-
          so agreed, each party will select an arbitra-                       sured" is legally entitled to recover as dam-
          tor. The two arbitrators will select a third. If                    ages;
          they cannot agree within 30 days, either                        c. For which an insuring or bonding company
          may request that selection be made by a                             denies coverage or is or becomes insolvent;
          court having jurisdiction. Each party will                          or
          pay the expenses it incurs and bear the ex-                     d. Which is a hit-and-run vehicle and neither
          penses of the third arbitrator equally.                             the driver nor owner can be identified. The
      b. Unless both parties agree otherwise, arbi-                           vehicle must either:
          tration will take place in the parish in which                     (1) Hit an "insured", a covered "auto" or a
          the "insured" lives. Local rules of law as to                            vehicle the "insured" is "occupying"; or
          arbitration procedures and evidence will
          apply. Any decision of the arbitrators will                        (2) Cause "bodily injury" to an "insured"
          not be binding on either party.                                          without any actual physical contact with
                                                                                   the "insured", a covered "auto" or a vehi-
F. Additional Definitions                                                          cle the "insured" is "occupying". How-
   As used in this endorsement:                                                    ever, in such cases, the "insured" must
   1. "Family member" means a person related to an                                 show, by an independent and disinter-
      individual Named Insured by blood, marriage                                  ested witness, that the "bodily injury" re-
      or adoption who is a resident of such Named                                  sulted from the actions of an unidentified
      Insured’s household, including a ward or foster                              motorist.
      child.                                                              However, "uninsured motor vehicle" does not
                                                                          include any vehicle:
                                                                          a. Owned by a governmental unit or agency;
                                                                              or
                                                                          b. Designed for use mainly off public roads
                                                                              while not on public roads.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 21 53 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ILLINOIS UNINSURED MOTORISTS
                       COVERAGE --- PROPERTY DAMAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
A. Coverage                                                  6. "Property damage" arising directly or indirectly
    1. We will pay all sums the "insured" is legally            out of:
       entitled to recover as damages from the owner            a. War, including undeclared or civil war;
       or driver of an "uninsured motor vehicle". The
                                                                b. Warlike action by a military force, including
       damages must result from "property damage"
                                                                    action in hindering or defending against an
       caused by an "accident" arising out of actual                actual or expected attack, by any govern-
        physical contact with your covered "auto". The              ment, sovereign or other authority using
       owner’s or driver’s liability for these damages              military personnel or other agents; or
       must result from the ownership, maintenance
       or use of an "uninsured motor vehicle".                  c.  Insurrection, rebellion, revolution, usurped
                                                                    power, or action taken by governmental au-
    2. Any judgment for damages arising out of a suit               thority in hindering or defending against
        brought without our written consent is not                  any of these.
        binding on us.
                                                         C. Limit Of Insurance
B. Exclusions
                                                             1. Regardless of the number of covered "autos",
    This insurance does not apply to any of the follow-         premiums paid, claims made or vehicles in-
    ing:                                                        volved in the "accident", the most we will pay
    1. Any claim settled without our consent.                   for all damages resulting from any one "acci-
    2. Anyone using a vehicle without a reasonable              dent"  will be the lesser of $15,000 or the actual
        belief that the person is entitled to do so.            cash  value   of your damaged "auto" at the time
                                                                of the "accident".
    3. The first $250 of the amount of "property dam-
       age" to a covered "auto" as a result of any one       2. Any amount payable under this coverage shall
       "accident".                                              be reduced by all sums paid by or for anyone
                                                                who is legally responsible.
    4. Any motor vehicle owned by you for which you
       have purchased collision coverage under this
        policy or any other policy.
    5. If the owner or operator of the "uninsured
       motor vehicle" cannot be identified.




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D. Changes In Conditions                                                  3. Legal Action Against Us is replaced by the
   The Conditions are changed for Uninsured Motor-                           following:
   ists Coverage ---- Property Damage (Illinois) as fol-                     a. No one may bring a legal action against us
   lows:                                                                         under this Coverage Form until there has
   1. Other Insurance in the Business Auto and                                   been full compliance with all the terms of
       Garage Coverage Forms and Other Insurance                                 this Coverage Form.
       ---- Primary And Excess Insurance Provisions in                       b. Any legal action against us must be brought
       the Truckers and Motor Carrier Coverage                                   within two years after the date of the "acci-
       Forms are replaced by the following:                                      dent". However, this Paragraph 3.b. does
      If there is other applicable insurance available                           not apply to an "insured" if, within two years
      under one or more policies or provisions of                                after the date of the "accident", arbitration
      coverage:                                                                  proceedings have commenced in accor-
                                                                                 dance with the provisions of this Coverage
      a. The maximum recovery under all coverage                                 Form.
          forms or policies combined may equal but
          not exceed the highest applicable limit for                     4. Transfer Of Rights Of Recovery Against Others
          any one vehicle under any coverage form or                         To Us does not apply.
          policy providing coverage on either a pri-                      5. The following Conditions are added:
          mary or excess basis.                                              REIMBURSEMENT AND TRUST
      b. Any insurance we provide with respect to a                          If we make any payment and the "insured" re-
          vehicle you do not own shall be excess                             covers from another party, the "insured" shall
          over any other collectible "property damage"                       hold the proceeds in trust for us and pay us
          uninsured motorists insurance providing                            back the amount we have paid.
          coverage on a primary basis.
                                                                             ARBITRATION
      c. If the coverage under this Coverage Form is
          provided:                                                          a. If we and an "insured" disagree whether the
                                                                                "insured" is legally entitled to recover dam-
         (1) On a primary basis, we will pay only our                           ages under this endorsement or do not
               share of the loss that must be paid un-                          agree as to the amount of damages that are
               der insurance providing coverage on a                            recoverable by that "insured", then the mat-
               primary basis. Our share is the propor-                          ter may be arbitrated. The insured may
               tion that our limit of liability bears to the                    make a written demand for arbitration. In
               total of all applicable limits of liability for                  this event, each party will select an arbitra-
               coverage on a primary basis.                                     tor. The two arbitrators will select a third. If
         (2) On an excess basis, we will pay only our                           such arbitrators are not selected within 45
               share of the loss that must be paid un-                          days, either party may request that the arbi-
               der insurance providing coverage on an                           tration be submitted to the American Arbi-
               excess basis. Our share is the propor-                           tration Association. Each party will pay the
               tion that our limit of liability bears to the                    expenses it incurs and bear the expenses of
               total of all applicable limits of liability for                  the third arbitrator equally.
               coverage on an excess basis.                                  b. Unless both parties agree otherwise, arbi-
   2. Duties In The Event Of Accident, Claim, Suit Or                           tration will take place in the county in which
      Loss is changed by adding the following:                                  the "insured" lives. Local rules of law as to
      a. Promptly send us copies of the legal papers                            arbitration procedure and evidence will ap-
          if a suit is brought.                                                 ply. A decision agreed to by two of the arbi-
                                                                                trators will be binding.
      b. Provide us with the name and address of
         the owner of the "uninsured motor vehicle"                 E. Additional Definitions
         or a registration number and description of                   As used in this endorsement:
         such vehicle, or any other available informa-                 1. "Property damage" means injury to or destruc-
         tion to establish that there is no applicable                    tion of a covered "auto". However, "property
         motor vehicle property damage liability cov-                     damage" does not include loss of use or dam-
         erage.                                                           age to personal property contained in your
                                                                          covered "auto". This definition replaces the
                                                                          definition in the policy.




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   2. "Uninsured motor vehicle" means a land motor                 However, "uninsured motor vehicle" does not
      vehicle or trailer:                                          include any vehicle:
      a. For which no liability bond or policy provid-             a. Owned or operated by a self-insurer under
         ing coverage for "property damage" applies                    any applicable motor vehicle law, except a
         at the time of the "accident"; or                             self-insurer who is or becomes insolvent
      b. For which no liability bond or policy at the                  and cannot provide the amounts required
         time of an "accident" provides at least the                   by that motor vehicle law;
         amount required for "property damage" li-                 b. Owned by a governmental unit or agency;
         ability covered by the Illinois Financial Re-             c. Designed for use mainly off public roads
         sponsibility Law; or                                         while not on public roads.
      c. For which an insuring or bonding company
         denies coverage or is or becomes insolvent.




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POLICY NUMBER: CPO          5912284-00                                                           COMMERCIAL AUTO
                                                                                                     CA 21 54 09 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CALIFORNIA UNINSURED MOTORISTS COVERAGE ---
                    BODILY INJURY
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                      SCHEDULE


Limit Of Insurance:     $     1,000,000                                  Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                      B. Who Is An Insured
   1. We will pay all sums the "insured" is legally                 If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                   tions as:
      from the owner or driver of an "uninsured mo-                 1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                       a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                             bers".
      driver’s liability for these damages must result                 b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                       or a temporary substitute for a covered
      "uninsured motor vehicle".                                          "auto". The covered "auto" must be out of
   2. We will pay only after the limits of liability under                service because of its breakdown, repair,
      any liability bonds or policies have been ex-                       servicing, "loss" or destruction.
      hausted by payment of judgments or settle-                       c. Anyone for damages he or she is entitled to
      ments.                                                              recover because of "bodily injury" sustained
   3. Any judgment for damages arising out of a                           by another "insured".
      "suit" brought without our written consent is
      not binding on us.




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   2. A partnership, limited liability company, corpo-                 5. "Bodily injury" sustained by an individual
      ration or any other form of organization, then                      Named Insured or any "family member" while
       the following are "insureds":                                      "occupying" any vehicle leased by that Named
       a. Anyone "occupying" a covered "auto" or a                        Insured or any "family member" under a written
          temporary substitute for a covered "auto".                      contract for a period of six months or more that
          The covered "auto" must be out of service                       is not a covered "auto".
          because of its breakdown, repair, servicing,                 6. Anyone using a vehicle without a reasonable
          "loss" or destruction.                                          belief that the person is entitled to do so.
       b. Anyone for damages he or she is entitled to                  7. "Bodily injury" sustained by an "insured" while
          recover because of "bodily injury" sustained                    "occupying" any "auto" that is rented or leased
          by another "insured".                                           to that "insured" for use as a public or livery
C. Exclusions                                                             conveyance. However, this exclusion does not
                                                                          apply if the "insured" is in the business of pro-
   This insurance does not apply to any of the follow-                    viding public or livery conveyance.
   ing:
                                                                       8. "Bodily injury" arising directly or indirectly out
   1. Punitive or exemplary damages.                                      of:
   2. Any claim settled without our consent. How-                         a. War, including undeclared or civil war;
      ever, this exclusion does not apply to a settle-
      ment made with the insurer of a vehicle de-                       b. Warlike action by a military force, including
      scribed in Paragraph b. of the definition of                          action in hindering or defending against an
      "uninsured motor vehicle".                                            actual or expected attack, by any govern-
                                                                            ment, sovereign or other authority using
   3. The direct or indirect benefit of any insurer or                      military personnel or other agents; or
      self-insurer under any workers’ compensation,
      disability benefits or similar law or to the direct               c. Insurrection, rebellion, revolution, usurped
      benefit of the United States, a state or its politi-                  power, or action taken by governmental au-
      cal subdivisions.                                                     thority in hindering or defending against
                                                                            any of these.
   4. "Bodily injury" sustained by:
                                                                  D. Limit Of Insurance
      a. An individual Named Insured while "occupy-
          ing" or when struck by any vehicle owned                   1. Regardless of the number of covered "autos",
          by that Named Insured that is not a covered                   "insureds", premiums paid, claims made or ve-
          "auto" for Uninsured Motorists Coverage                       hicles involved in the "accident", the most we
          under this coverage form;                                     will pay for all damages resulting from any one
                                                                        "accident" is the Limit of Insurance for Unin-
      b. Any "family member" while "occupying" or                       sured Motorists Coverage shown in the Sched-
          when struck by any vehicle owned by that                      ule or Declarations.
          "family member" that is not a covered "auto"
          for Uninsured Motorists Coverage under                       2. For a vehicle described in Paragraph b. of the
          this coverage form; or                                          definition of "uninsured motor vehicle", our
                                                                          Limit of Insurance shall be reduced by all sums
      c. Any "family member" while "occupying" or                         paid because of "bodily injury" by or for anyone
          when struck by any vehicle owned by the                         who is legally responsible, including all sums
          Named Insured that is insured for Unin-                         paid or payable under this policy’s Liability
          sured Motorists Coverage on a primary ba-                       Coverage.
          sis under any other coverage form or pol-
          icy.                                                         3. No one will be entitled to receive duplicate
                                                                          payments for the same elements of "loss" under
      However, Exclusion 4. shall not apply to "bodily                    this coverage and any Liability Coverage form
      injury" sustained by an individual Named In-                        or Medical Payments Coverage endorsement
      sured or "family member" when struck by a ve-                       attached to this Coverage Part.
      hicle owned by that "insured" and operated or
      caused to be operated by a person without that                      We will not make a duplicate payment under
      "insured’s" consent in connection with criminal                     this coverage for any element of "loss" for
      activity that has been documented in a police                       which payment has been made by or for any-
      report and to which that "insured" is not a party                   one who is legally responsible.
      to.




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      We will not pay for any element of "loss" if a                         Written notice of the "suit" must be given to
      person is entitled to receive payment for the                          us within a reasonable time after the "in-
      same element of "loss" under any workers’                              sured" knew, or should have known, that
      compensation, disability benefits or similar law.                      the other motorist is uninsured. In no event
E. Changes In Conditions                                                     will such notice be required before two
                                                                             years from the date of the accident. Failure
   The Conditions are changed for California Unin-                           of the "insured" or his or her representative
   sured Motorists Coverage ---- Bodily Injury as fol-                       to give us such notice of the "suit" will re-
   lows:                                                                     lieve us of our obligations under this cover-
   1. Duties In The Event Of Accident, Claim, Suit Or                        age form only if the failure to give notice
      Loss is changed by adding the following:                               prejudices our rights.
      a. Promptly notify the police if a hit-and-run                   3. Transfer Of Rights Of Recovery Against Others
         driver is involved; and                                          To Us is replaced by the following:
      b. Send us copies of the legal papers if a "suit"                   a. With respect to Paragraphs a., c. and d. of
         is brought. In addition, a person seeking                           the definition of "uninsured motor vehicle", if
         coverage under Paragraph b. of the defini-                          we make any payment, we are entitled to re-
         tion of "uninsured motor vehicle" must:                             cover what we paid from other parties. Any
                                                                             person to or for whom we make payment
          (1) Provide us with a copy of the complaint
                                                                             must transfer to us his or her rights of re-
              by personal service or certified mail if the
                                                                             covery against any other party. This person
              "insured" brings an action against the
                                                                             must do everything necessary to secure
              owner or operator of such "uninsured
                                                                             these rights and must do nothing that
              motor vehicle";
                                                                             would jeopardize them.
          (2) Within a reasonable time, make all plead-
              ings and depositions available for copy-                    b. With respect to Paragraph b. of the defini-
              ing by us or furnish us copies at our ex-                         tion of "uninsured motor vehicle", if we
              pense; and                                                        make any payment and the "insured" recov-
                                                                                ers from another party, the "insured" shall
          (3) Provide us with proof that the limits of                          hold the proceeds in trust for us and pay us
              insurance under any applicable liability                          back the amount we have paid.
              bonds or policies have been exhausted
              by payment of judgments or settlements.                  4. Other Insurance in the Business Auto and
                                                                          Garage Coverage Forms and Other Insurance
   2. Legal Action Against Us is replaced by the                          ---- Primary And Excess Insurance Provisions in
      following:                                                          the Truckers and Motor Carrier Coverage
      No legal action may be brought against us un-                       Forms are replaced by the following:
      der this coverage form until there has been full                    If there is other applicable insurance available
      compliance with all the terms of this coverage                      under one or more policies or provisions of
      form and with respect to Paragraphs a., c. and                      coverage:
      d. of the definition of "uninsured motor vehicle"
                                                                           a. The maximum recovery under all coverage
      unless within two years from the date of the
                                                                                forms or policies combined may equal but
      "accident":
                                                                                not exceed the highest applicable limit for
      a. Agreement as to the amount due under this                              any one vehicle under any coverage form or
          insurance has been concluded;                                         policy providing coverage on either a pri-
      b. The "insured" has formally instituted arbitra-                         mary or excess basis.
          tion proceedings against us. In the event                       b. Any insurance we provide with respect to a
          that the "insured" decides to arbitrate, the                          vehicle the Named Insured does not own
          "insured" must formally begin arbitration                             shall be excess over any other collectible
          proceedings by notifying us in writing, sent                          uninsured motorists insurance providing
          by certified mail, return receipt requested;                          coverage on a primary basis.
          or
      c. "Suit" for "bodily injury" has been filed
          against the uninsured motorist in a court of
          competent jurisdiction.




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      c. If the coverage under this coverage form is                     2. "Occupying" means in, upon, getting in, on, out
          provided:                                                         or off.
         (1) On a primary basis, we will pay only our                    3. "Uninsured motor vehicle" means a land motor
             share of the "loss" that must be paid un-                      vehicle or trailer:
             der insurance providing coverage on a                          a. For which no liability bond or policy at the
             primary basis. Our share is the propor-                           time of an "accident" provides at least the
             tion that our limit of liability bears to the                     amounts required by the applicable law
             total of all applicable limits of liability for                   where a covered "auto" is principally ga-
             coverage on a primary basis.                                      raged;
         (2) On an excess basis, we will pay only our                       b. That is an underinsured motor vehicle. An
             share of the "loss" that must be paid un-                         underinsured motor vehicle is a land motor
             der insurance providing coverage on an                            vehicle or "trailer" for which the sum of all li-
             excess basis. Our share is the propor-                            ability bonds or policies at the time of an
             tion that our limit of liability bears to the                     "accident" provides at least the amounts re-
             total of all applicable limits of liability for                   quired by the applicable law where a cov-
             coverage on an excess basis.                                      ered "auto" is principally garaged but that
   5. The following Condition is added:                                        sum is less than the Limit of Insurance for
      Arbitration                                                              this coverage;
      a. If we and an "insured" disagree whether the                        c. For which an insuring or bonding company
         "insured" is legally entitled to recover dam-                         denies coverage or refuses to admit cover-
         ages from the owner or driver of an "unin-                            age except conditionally or with reservation
         sured motor vehicle" or do not agree as to                            or becomes insolvent;
         the amount of damages that are recoverable                         d. That is a hit-and-run vehicle and neither the
         by that "insured", the disagreement will be                           driver nor owner can be identified. The ve-
         settled by arbitration. Such arbitration may                          hicle must make physical contact with an
         be initiated by a written demand for arbitra-                         "insured", a covered "auto" or a vehicle an
         tion made by either party. The arbitration                            "insured" is "occupying"; or
         shall be conducted by a single neutral arbi-                       e. That is owned by an individual Named In-
         trator. However, disputes concerning cov-                              sured or "family member" and operated or
         erage under this endorsement may not be                                caused to be operated by a person without
         arbitrated. Each party will bear the ex-                               the owner’s consent in connection with
         penses of the arbitrator equally.                                      criminal activity that has been documented
      b. Unless both parties agree otherwise, arbi-                             in a police report.
         tration will take place in the county in which                     However, "uninsured motor vehicle" does not
         the "insured" lives. Local rules of law as to                      include any vehicle:
         arbitration procedures and evidence will
         apply. The decision of the arbitrator will be                      a. Owned or operated by a self-insurer under
         binding.                                                              any applicable motor vehicle law except a
                                                                               self-insurer who is or becomes insolvent
F. Additional Definitions                                                      and cannot provide the amounts required
   The following are added to the Definitions section:                         by that motor vehicle law;
   1. "Family member" means the individual Named                            b. Owned by the United States of America,
      Insured’s spouse, whether or not a resident of                           Canada, a state or political subdivision of
      the individual Named Insured’s household, and                            any of those governments or an agency of
      any other person related to such Named In-                               any of the foregoing; or
      sured by blood, adoption, marriage or regis-                          c. Designed or modified for use primarily off
      tered domestic partnership under California                              public roads while not on public roads.
      law, who is a resident of such Named Insured’s
      household, including a ward or foster child.




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POLICY NUMBER:        CPO 5912284-00                                                       COMMERCIAL AUTO
                                                                                               CA 21 59 03 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ALABAMA UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Alabama, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                 Countersignature Of Authorized Representative
Name:

Title:

Signature:

Date:


                                                  SCHEDULE


Limit Of Insurance:    $    1,000,000                                       Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Coverage                                                   C. Exclusions
   1. We will pay all sums the "insured" is legally              This insurance does not apply to:
      entitled to recover as damages from the owner              1. Any claim settled without our consent.
      or driver of an "uninsured motor vehicle". The
      damages must result from "bodily injury" sus-                 However, this exclusion does not apply to a
      tained by the "insured" caused by an "accident".              settlement made with the insurer of a vehicle
      The owner’s or driver’s liability for these dam-              described in Paragraph b. of the definition of
      ages must result from the ownership, mainte-                  "uninsured motor vehicle".
      nance or use of the "uninsured motor vehicle".              2. The direct or indirect benefit of any insurer or
   2. No judgment for damages arising out of a "suit"                self-insurer under any workers’ compensation,
      brought against the owner or operator of an                    disability benefits or similar law.
      "uninsured motor vehicle" is binding on us                  3. Anyone using a vehicle without a reasonable
      unless we:                                                     belief that the person is entitled to do so.
      a. Received reasonable notice of the pendency               4. "Bodily injury" arising directly or indirectly out
          of the "suit" resulting in the judgment; and               of:
        b. Had a reasonable opportunity to protect our               a. War, including undeclared or civil war;
           interest in the "suit".
                                                                     b. Warlike action by a military force, including
        However, if reasonable notice has not been                       action in hindering or defending against an
        given to us, we have the option to accept the                    actual or expected attack, by any govern-
        judgment in the suit as binding on us.                           ment, sovereign or other authority using
B. Who Is An Insured                                                     military personnel or other agents; or
   If the Named Insured is designated in the Declara-                c. Insurrection, rebellion, revolution, usurped
   tions as:                                                             power, or action taken by governmental au-
                                                                         thority in hindering or defending against
   1. An individual, then the following are "insureds":                  any of these.
      a. The Named Insured and any "family mem-                D. Limit Of Insurance
          bers".
                                                                  1. Regardless of the number of covered "autos",
      b. Anyone else "occupying" a covered "auto"                    "insureds", premiums paid, claims made or ve-
          or a temporary substitute for a covered                    hicles involved in the accident, the most we will
          "auto". The covered "auto" must be out of                  pay for all damages resulting from any one "ac-
          service because of its breakdown, repair,                  cident" is the limit of Uninsured Motorists In-
          servicing, "loss" or destruction.                          surance shown in the declarations. If there is
      c. Anyone for damages he or she is entitled to                 more than one covered "auto", our limit of in-
          recover because of "bodily injury" sustained               surance for any one "accident" is the sum of
          by another "insured".                                      the limits applicable to each covered "auto",
   2. A partnership, limited liability company, corpo-               subject to a maximum of three covered "autos".
      ration or any other form of organization, then              2. No one will be entitled to receive duplicate
      the following are "insureds":                                  payments for the same elements of "loss" under
      a. Anyone "occupying" a covered "auto" or a                    this Coverage Form and any Liability Coverage
          temporary substitute for a covered "auto".                 Form or Medical Payments Coverage En-
          The covered "auto" must be out of service                  dorsement attached to this Coverage Part.
          because of its breakdown, repair, servicing,               We will not make a duplicate payment under
          "loss" or destruction.                                     this Coverage Form for any element of "loss"
      b. Anyone for damages he or she is entitled to                 for which payment has been made by or for
          recover because of "bodily injury" sustained               anyone who is legally responsible.
          by another "insured".                                      We will not pay for any element of "loss" if a
                                                                     person is entitled to receive payment for the
                                                                     same element of "loss" under any workers’
                                                                     compensation, disability benefits or similar law.




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   3. We will reduce the "insured’s" total damages by                     c. A person seeking Uninsured Motorists
       any amount available to that "insured", under                         Coverage must also promptly notify us in
       any bodily injury liability bonds or policies ap-                     writing of a tentative settlement between the
       plicable to the vehicle described in Paragraph                        "insured" and the insurer of a vehicle de-
       b. of the definition of "uninsured motor vehicle",                    scribed in Paragraph b. of the definition of
       that such "insured" did not recover as a result                       "uninsured motor vehicle" and allow us 30
       of a settlement between that "insured" and the                        days to advance payment to that insured in
       insurer of such vehicle. However, any reduc-                          an amount equal to the tentative settlement
       tion of the "insured’s" total damages will not re-                    to preserve our rights against the insurer,
       duce the limit of liability for this coverage.                        owner or operator of such a vehicle de-
       This Paragraph (D.3.) shall not apply if we ad-                       scribed in Paragraph b. of the definition of
       vance payment to the "insured" in an amount                           "uninsured motor vehicle".
       equal to the tentative settlement with the in-                  3. Transfer Of Rights Of Recovery Against Others
       surer of the vehicle described in Paragraph b.                     To Us is changed by adding the following:
       of the definition of "uninsured motor vehicle".                    Our rights do not apply under this provision
E. Changes In Conditions                                                  with respect to damages caused by an "acci-
   The conditions are changed for Uninsured Motor-                        dent" with a vehicle described in Paragraph b.
   ists Coverage as follows:                                              of the definition of "uninsured motor vehicle" if
                                                                          we:
   1. Other Insurance in the Business Auto and
       Garage Coverage Forms and Other Insurance                          a. Have been given prompt written notice of a
       ---- Primary And Excess Insurance Provisions in                        tentative settlement between an "insured"
       the Truckers and Motor Carrier Coverage                                and the insurer of a vehicle described in
       Forms are changed by addition of the follow-                           Paragraph b. of the definition of "uninsured
       ing:                                                                   motor vehicle"; and
        a. The reference to "other collectible insur-                     b. Fail to advance payment to the "insured" in
             ance" applies only to other collectible unin-                    an amount equal to the tentative settlement
             sured motorists insurance.                                       within 30 days after receipt of notification.
      b. Any insurance we provide with respect to a                       If we advance payment to the "insured" in an
         vehicle owned by the Named Insured or, if                        amount equal to the tentative settlement within
         the Named Insured is an individual, any                          30 days after receipt of notification:
         "family member", that is not a covered "auto"                    a. That payment will be separate from any
         for Uninsured Motorists Coverage under                               amount the "insured" is entitled to recover
         this Coverage Form, shall be excess over                             under the provisions of Uninsured Motor-
         any other collectible uninsured motorists                            ists Coverage; and
         insurance providing coverage on a primary                        b. We have a right to recover the advanced
         basis.                                                               payment.
   2. Duties In The Event Of Accident, Claim, Suit Or                     If we make any payment and the "insured" re-
      Loss is changed by adding the following:                            covers from another party, the "insured" shall
      a. Promptly notify the police if a hit-and-run                      hold the proceeds in trust for us and pay us
         driver is involved, and                                          back the amount we have paid.
      b. Promptly send us copies of the legal papers                   4. The Two Or More Coverage Forms Or Policies
         if a "suit" is brought.                                          Issued By Us General Condition does not ap-
                                                                          ply to an individual Named Insured or any "fam-
                                                                          ily member".




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   5. THE FOLLOWING CONDITION IS ADDED:                           2. "Occupying" means in, upon, getting in, on, out
      ARBITRATION                                                    or off.
      A. IF WE AND AN "INSURED" DISAGREE                          3. "Uninsured motor vehicle" means a land motor
          WHETHER THE "INSURED" IS LEGALLY                           vehicle or "trailer":
          ENTITLED TO RECOVER DAMAGES                                a. For which no liability bond or policy at the
          FROM THE OWNER OR DRIVER OF AN                                time of an "accident" provides at least the
          "UNINSURED MOTOR VEHICLE" OR DO                               amounts required by the applicable law
          NOT AGREE AS TO THE AMOUNT OF                                 where a covered "auto" is principally ga-
          DAMAGES THAT ARE RECOVERABLE BY                               raged;
          THAT "INSURED", THEN THE MATTER
                                                                     b. That is an underinsured motor vehicle. An
          MAY BE          ARBITRATED. HOWEVER,                           underinsured motor vehicle is a land motor
          DISPUTES CONCERNING COVERAGE                                   vehicle or "trailer" for which the sum of all li-
          UNDER THIS ENDORSEMENT MAY NOT                                 ability bonds or policies at the time of an
          BE ARBITRATED. BOTH PARTIES MUST                               "accident" provides a limit that is less than
          AGREE TO ARBITRATION. IF SO                                    the amount an "insured" is legally entitled to
          AGREED, EACH PARTY WILL SELECT AN                              recover as damages caused by the "acci-
          ARBITRATOR. THE TWO ARBITRATORS                                dent";
          WILL SELECT A THIRD. IF THEY CANNOT
          AGREE WITHIN 30 DAYS, EITHER MAY                           c. For which an insuring or bonding company
          REQUEST THAT SELECTION BE MADE                                 denies coverage or is or becomes insolvent;
          BY A JUDGE OF A COURT HAVING                                   or
          JURISDICTION.        THE    ARBITRATION                    d. That is a hit-and-run vehicle and neither the
          PROCEEDINGS         SHALL     COMMENCE                         driver nor owner can be identified. The ve-
          WITHIN ONE YEAR AFTER THE DATE                                 hicle must either:
          BOTH PARTIES AGREE TO SETTLE A
                                                                        (1) Hit an "insured", a covered "auto" or a
          DISPUTE           BY       ARBITRATION.
                                                                             vehicle an "insured" is "occupying"; or
          ARBITRATION       EXPENSES WILL BE
          DETERMINED BY THE ARBITRATOR                                  (2) Cause "bodily injury" to an "insured"
          ACCORDING TO ALABAMA LAW.                                          without hitting an "insured", a covered
          UNLESS        BOTH     PARTIES     AGREE                           "auto" or a vehicle an "insured" is "occu-
          OTHERWISE, ARBITRATION WILL TAKE                                   pying".
          PLACE IN THE COUNTY IN WHICH THE                           However, "uninsured motor vehicle" does not
          "INSURED" LIVES. LOCAL RULES OF LAW                        include any vehicle:
          AS TO ARBITRATION PROCEDURE AND                            a. Owned or operated by a self-insurer under
          EVIDENCE WILL APPLY. A DECISION                                any applicable motor vehicle law, except a
          AGREED TO BY TWO OF THE                                        self-insurer who is or becomes insolvent
          ARBITRATORS WILL BE BINDING.                                   and cannot provide the amounts required
      B. THIS ARBITRATION PROVISION WILL                                 by that motor vehicle law;
          NOT APPLY IF LEGAL ACTION HAS BEEN                         b. Designed for use mainly off public roads
          COMMENCED         BY    THE    "INSURED"                       while not on public roads.
          AGAINST THE OWNER OR OPERATOR
          OF AN "UNINSURED MOTOR VEHICLE".
F. Additional Definitions
   As used in this endorsement:
   1. "Family member" means a person related to an
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named
      Insured’s household, including a ward or foster
      child.




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                                                                                                COMMERCIAL AUTO
                                                                                                    CA 04 24 04 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    CALIFORNIA AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Coverage                                                         3. "Bodily injury" sustained by any "family mem-
   We will pay reasonable expenses incurred for nec-                   ber" while "occupying" or struck by any vehicle
   essary medical and funeral services to or for an                    (other than a covered "auto") owned by or fur-
   "insured" who sustains "bodily injury" caused by                    nished or available for the regular use of any
   "accident". We will pay only those expenses in-                     "family member".
   curred, for services rendered within three years                 4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                                    and in the course of employment by you. How-
B. Who Is An Insured                                                   ever, we will cover "bodily injury" to your do-
                                                                       mestic "employees" if not entitled to workers’
   1. You while "occupying" or, while a pedestrian,                    compensation benefits. For the purposes of
       when struck by any "auto".                                      this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"                    person engaged in household or domestic
       while "occupying" or, while a pedestrian, when                  work performed principally in connection with a
       struck by any "auto".                                           residence premises.
   3. Anyone else "occupying" a covered "auto" or a                 5. "Bodily injury" to an "insured" while working in a
       temporary substitute for a covered "auto". The                  business of selling, servicing, repairing or park-
       covered "auto" must be out of service because                   ing "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or de-             6. "Bodily injury" arising directly or indirectly out
       struction.                                                      of:
C. Exclusions                                                          a. War, including undeclared or civil war;
   This insurance does not apply to any of the follow-                 b. Warlike action by a military force, including
   ing:                                                                    action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while                      actual or expected attack, by any govern-
      "occupying" a vehicle located for use as a                           ment, sovereign or other authority using
       premises.                                                           military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family                  c. Insurrection, rebellion, revolution, usurped
      member" while "occupying" or struck by any                           power, or action taken by governmental au-
      vehicle (other than a covered "auto") owned by                       thority in hindering or defending against
      you or furnished or available for your regular                       any of these.
      use.




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   7. "Bodily injury" to anyone using a vehicle with-          E. Changes In Conditions
      out a reasonable belief that the person is enti-            The Conditions are changed for Auto Medical
      tled to do so.                                              Payments Coverage as follows:
   8. "Bodily injury" sustained by an "insured" while             1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                   Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such          2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does                  ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an               Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for               ance Provisions in the Truckers and Motor
      such a contest or activity.                                    Carrier Coverage Forms to "other collectible in-
                                                                     surance" applies only to other collectible auto
D. Limit Of Insurance                                                medical payments insurance.
   Regardless of the number of covered "autos", "in-           F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for           As used in this endorsement:
   "bodily injury" for each "insured" injured in any one             1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-                  by blood, adoption, marriage or registered do-
   cal Payments Coverage shown in the Declarations.                     mestic partnership under California law, who is
   No one will be entitled to receive duplicate pay-                    a resident of your household, including a ward
   ments for the same elements of "loss" under this                     or foster child.
   coverage and any Liability Coverage Form, Unin-                   2. "Occupying" means in, upon, getting in, on, out
   sured Motorists Coverage Endorsement or Under-                       or off.
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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                                                                                               COMMERCIAL AUTO
                                                                                                   CA 04 48 12 10

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           KANSAS COMMERCIAL AUTO
                              COVERAGE CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:


   COMMERCIAL AUTOMOBILE COVERAGE PART


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Changes in Liability Coverage                              B. Changes in Definitions
   1. The paragraph within Supplementary Payments                The following is added         to   SECTION     V -
      relating to court costs taxed against the                  DEFINITIONS:
      "insured" is replaced by the following:
                                                                 All reference to the term "total loss" shall mean a
      All costs taxed against the "insured" in any               motor vehicle required to be registered in this state
      "suit" against the "insured" we defend.                    that has been directly and accidentally wrecked or
   2. For coverage and limits required by the Kansas             damaged to the extent that the total cost of repair
      Financial Responsibility law, the Fellow Em-               is 75% or more of the fair market value, in accor-
      ployee Exclusion is replaced by the following:             dance with KAN. STAT. ANN. § 8-197(b)(2).
      "Bodily injury" to any fellow "employee" of the         C. If Repossessed Autos endorsement CA 20 19 is
      "insured" arising out of and in the course of the          attached, Paragraph D.3. Nonreporting Premium
      fellow "employee’s" employment or while per-               Basis does not apply.
      forming duties related to the conduct of your
      business.
   3. If the following endorsements are attached,
      they do not apply and are replaced in their en-
      tirety by the provisions of paragraph D. of this
      endorsement.
      a. Lessor ---- Additional Insured And Loss
          Payee endorsement CA 20 01; or
      b. Hired Autos Specified As Covered Autos
         You Own endorsement CA 99 16.




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D. Kansas Additional Named Insured Provisions
                                                 SCHEDULE
Name of Owner                                        Described Owned Motor Vehicle
1.                                                   1.

2.                                                        2.

3.                                                        3.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. Any vehicle described in the Schedule will be considered a covered "auto" you own and not a covered "auto"
    you hire, borrow or lease under the coverage for which it is a covered "auto".
B. LIABILITY COVERAGE and Personal Injury Protection as prescribed in the Kansas Automobile Injury Repara-
    tions Act will apply to each owner named in the Schedule as an additional named insured but only while the
    motor vehicle described in the Schedule is being used by you or on your behalf.
C. The insurance will apply to the owner only while the described vehicle is leased to you.




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Coverage Extension Endorsement

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem        Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1.   The following is added to the Who Is An Insured Provision in Section II ---- Liability Coverage:
        The following are also "insureds":
        a.   Any "employee" of yours is an "insured" while using a covered "auto" you don’t own, hire or borrow for acts
             performed within the scope of employment by you.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c.   Anyone else who furnishes an "auto" referenced in Paragraphs a. and b. above.
        d. Any person(s) or organization(s) where required by written contract or written agreement executed prior to
           any "accident" provided the "accident" arises out of operations contemplated by such contract or agreement.
   2.   The following is added to the Other Insurance Provision in the Conditions Section:
        Coverage for any person(s) or organization(s) where required by written contract or written agreement executed
        prior to any "accident" will apply on a primary basis and any insurance maintained by the additional "insured" will
        apply on an excess basis. However, in no event will this coverage extend beyond the terms and conditions of the
        coverage form.
B. Amendment ---- Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II ---- Liability Coverage are replaced by the
   following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.
C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II ---- Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1.   The following is added to the Racing Exclusion in Section II ---- Liability Coverage:
        This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
        limited to, auto or truck rodeos and other auto or truck agility demonstrations.



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     2.   The following is added to Paragraph 2. in the Exclusions of Section III ---- Physical Damage Coverage of the
          Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV ---- Physical Damage Coverage
          of the Motor Carrier Coverage Form:
          This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
          limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Lease Or Loan Gap Coverage
     In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
     "auto", less:
     a.   Any amount paid under the Physical Damage Coverage Section of the coverage form; and
     b. Any:
          (1) Overdue lease or loan payments at the time of the "loss";
          (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
          (3) Security deposits not returned by the lessor;
          (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
              loan or lease; and
          (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
     The following is added to Paragraph A.2. of the Physical Damage Coverage Section:
     We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
     disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
     The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
     If glass must be replaced, the deductible will be $100 or the deductible shown in the Declarations, whichever is less. If
     glass can be repaired and is actually repaired rather than replaced, the deductible will be waived. You have the option
     of having the glass repaired rather than replaced.
H. Hired Auto Physical Damage ---- Increased Loss of Use Expenses
     The Loss Of Use Expenses Provision of the Physical Damage Coverage Section is replaced by the following:
     Loss Of Use Expenses
     For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
     loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
     will pay for loss of use expenses if caused by:
     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided for
         any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a.   We will pay up to $750 for "loss" to personal effects which are:
          (1) Personal property owned by an "insured"; and
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          (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
          (1) The reasonable cost to replace; or
          (2) The actual cash value.
     c.   The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered "auto".
          No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of the
          following:
          (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
              documents of value.
          (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
              precious or semi-precious stones.
          (3) Paintings, statuary and other works of art.
          (4) Contraband or property in the course of illegal transportation or trade.
          (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J.   Tapes, Records and Discs Coverage
     1.   The Exclusion in Paragraph B.4.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage
          Form and the Exclusion in Paragraph B.2.c. of Section IV ---- Physical Damage Coverage in the Motor Carrier
          Coverage Form do not apply.
     2.   The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the Physical
          Damage Coverage Section:
          We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
          equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
              (a) Are the property of an "insured"; and
              (b) Are in a covered "auto" at the time of "loss".
          The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
          Damage Coverage Deductible Provision does not apply to such "loss".
K. Airbag Coverage
     The Exclusion in Paragraph B.3.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage Form
     and the Exclusion in Paragraph B.4.a. of Section IV ---- Physical Damage Coverage in the Motor Carrier Coverage Form
     do not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     If an accident is covered both by this policy or coverage form and by another policy or coverage form issued to you
     by us, the following applies for each covered "auto" on a per vehicle basis:
     1.   If the deductible on this policy or coverage form is the smaller (or smallest) deductible, it will be waived; or
     2.   If the deductible on this policy or coverage form is not the smaller (or smallest) deductible, it will be reduced by
          the amount of the smaller (or smallest) deductible.
M. Physical Damage ---- Comprehensive Coverage ---- Deductible
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
     Comprehensive Coverage for all "loss" from any one cause is $5,000.




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N. Temporary Substitute Autos ---- Physical Damage
   1.   The following is added to Section I ---- Covered Autos:
        Temporary Substitute Autos ---- Physical Damage
        If Physical Damage Coverage is provided by this coverage form on your owned covered "autos", the following
        types of vehicles are also covered "autos" for Physical Damage Coverage:
        Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
        "auto" you do own but is out of service because of its:
        1.   Breakdown;
        2. Repair;
        3.   Servicing;
        4.   "Loss"; or
        5.   Destruction.
   2.   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
        Temporary Substitute Autos ---- Physical Damage
        We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
        omissions on your part. If we make any payment to the owner, we will obtain the owner’s rights against any other
        party.
        The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
        replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a.   In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
        of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or "loss"
        is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
        liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any agent,
        servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate the
        insurance afforded by this policy.
        Include, as soon as practicable:
        (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
            notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
        (2) The "insured’s" name and address; and
        (3) To the extent possible, the names and addresses of any injured persons and witnesses.
        If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
        failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
        as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos ---- Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance ---- Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced by
   the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:

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    (1) Any covered "auto" you lease, hire, rent or borrow; and
    (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
        elected or appointed official with your permission while being operated within the course and scope of that
        "employee’s" employment by you or that elected or appointed official’s duties as respect their obligations to you.
    However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
    The following is added to the Concealment, Misrepresentation Or Fraud Condition:
    However, we will not deny coverage under this coverage form if you unintentionally:
        (1) Fail to disclose any hazards existing at the inception date of this coverage form; or
        (2) Make an error, omission, improper description of "autos" or other misstatement of information.
    You must notify us as soon as possible after the discovery of any hazards or any other information that was not
    provided to us prior to the acceptance of this policy.
S. Hired Auto ---- World Wide Coverage
    Paragraph (5)(a) of the Policy Period, Coverage Territory Condition is replaced by the following:
    (a) A covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less; and
T. Bodily Injury Redefined
    The definition of "bodily injury" in the Definitions Section is replaced by the following:
    "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
    resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.


All other terms and conditions of this policy remain unchanged.




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Who Is An Insured Amendment --- Broad Form

     Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Garage Coverage Form
Motor Carrier Coverage Form
Truckers Coverage Form

1.   The following is added to the Who Is An Insured provision of Section II, Liability Coverage:
     A. Broadened Named Insured
         1.   Any organization of yours that has been acquired or formed prior to this policy period (other than a
              partnership, limited liability company or joint venture) but is not shown in the Declarations as of the effective
              date of this Coverage Form, will nevertheless qualify as a Named Insured if:
              a.   You maintain an ownership interest of more than 50% of such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each such organization remains qualified as a Named Insured only while you maintain an ownership interest
              of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above, no such organization will qualify as a Named
              Insured under this Coverage Form if the organization:
              a.   Was newly acquired or formed by you in the preceding policy period in which we provided coverage, but
                   was not reported to us before the end of that preceding policy period;
              b. Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                 Coverage Form; or
              c.   Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                   limits of insurance.
     B. Newly Acquired or Formed Organizations as Named Insureds
         1.   Newly Acquired Or Formed Organizations Other Than Partnerships, Joint Ventures or Limited Liability
              Companies
              Any organization you newly acquire or form during this policy period (other than a partnership, limited liability
              company or joint venture) will qualify as a Named Insured if:
              a.   You have an ownership interest of more than 50% in such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each newly acquired or formed organization shall remain qualified as a Named Insured only while you
              maintain an ownership interest of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above:

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             a.   No such organization will qualify as a Named Insured under this Coverage Form if the organization:
                  (1) Is also an insured under another policy, other than a policy written to apply specifically in excess of
                      this Coverage Form; or
                  (2) Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                      limits of insurance; and
             b. Coverage will be afforded to any such organization qualifying as a Named Insured only until the end of
                this policy period if the organization is not reported to us during this policy period.
        3.   Newly Formed Partnerships, Limited Liability Companies, or Joint Ventures
             Any partnership, limited liability company or joint venture you newly form during this policy period, where:
             a.   You maintain an ownership interest;
             b. As respects any joint venture, you have agreed in the Joint Venture Agreement to name the joint venture
                as a Named insured to your policy; and
             c . Such partnership, limited liability company or joint venture has been organized under the laws of the
                 United States of America (including any state thereof), its territories or possessions,
             will qualify as a Named Insured, provided no other similar insurance was purchased for the partnership,
             limited liability company or joint venture. However, coverage under this provision is afforded only until the
             90th day after you form the partnership, limited liability company or joint venture, or the end of the policy
             period, whichever is earlier, if the organization is not reported to us during this policy period.
        4.   With regard to Paragraphs 1. and 3. above, the following additional provision applies:
             No coverage shall apply to "bodily injury" or "property damage" that results from an "accident" that occurred
             before you acquired or formed the organization.




All other terms and conditions of this policy remain unchanged.




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                                                                                                COMMERCIAL AUTO
                                                                                                    CA 99 03 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorse-                  3. "Bodily injury" sustained by any "family mem-
ment, the provisions of the Coverage Form apply                        ber" while "occupying" or struck by any vehicle
unless modified by the endorsement.                                    (other than a covered "auto") owned by or fur-
A. Coverage                                                            nished or available for the regular use of any
                                                                       "family member".
   We will pay reasonable expenses incurred for nec-
   essary medical and funeral services to or for an                 4. "Bodily injury" to your "employee" arising out of
   "insured" who sustains "bodily injury" caused by                    and in the course of employment by you. How-
   "accident". We will pay only those expenses in-                     ever, we will cover "bodily injury" to your do-
   curred, for services rendered within three years                    mestic "employees" if not entitled to workers’
   from the date of the "accident".                                    compensation benefits. For the purposes of
                                                                       this endorsement, a domestic "employee" is a
B. Who Is An Insured                                                   person engaged in household or domestic
   1. You while "occupying" or, while a pedestrian,                    work performed principally in connection with a
       when struck by any "auto".                                      residence premises.
   2. If you are an individual, any "family member"                 5. "Bodily injury" to an "insured" while working in a
       while "occupying" or, while a pedestrian, when                  business of selling, servicing, repairing or park-
       struck by any "auto".                                           ing "autos" unless that business is yours.
   3. Anyone else "occupying" a covered "auto" or a                 6. "Bodily injury" arising directly or indirectly out
       temporary substitute for a covered "auto". The                  of:
       covered "auto" must be out of service because                   a. War, including undeclared or civil war;
       of its breakdown, repair, servicing, loss or de-
       struction.                                                      b. Warlike action by a military force, including
                                                                           action in hindering or defending against an
C. Exclusions                                                              actual or expected attack, by any govern-
   This insurance does not apply to any of the follow-                     ment, sovereign or other authority using
   ing:                                                                    military personnel or other agents; or
   1. "Bodily injury" sustained by an "insured" while                  c. Insurrection, rebellion, revolution, usurped
      "occupying" a vehicle located for use as a                          power, or action taken by governmental au-
       premises.                                                          thority in hindering or defending against
   2. "Bodily injury" sustained by you or any "family                     any of these.
      member" while "occupying" or struck by any
      vehicle (other than a covered "auto") owned by
      you or furnished or available for your regular
      use.




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   7. "Bodily injury" to anyone using a vehicle with-          E. Changes In Conditions
      out a reasonable belief that the person is enti-            The Conditions are changed for Auto Medical
      tled to do so.                                              Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while             1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                   Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such          2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does                  ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an               Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for               ance Provisions in the Truckers and Motor
      such a contest or activity.                                    Carrier Coverage Forms to "other collectible in-
                                                                     surance" applies only to other collectible auto
D. Limit Of Insurance                                                medical payments insurance.
   Regardless of the number of covered "autos", "in-           F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for           As used in this endorsement:
   "bodily injury" for each "insured" injured in any one             1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-                  by blood, marriage or adoption who is a resi-
   cal Payments Coverage shown in the Declarations.                     dent of your household, including a ward or
   No one will be entitled to receive duplicate pay-                    foster child.
   ments for the same elements of "loss" under this                  2. "Occupying" means in, upon, getting in, on, out
   coverage and any Liability Coverage Form, Unin-                      or off.
   sured Motorists Coverage Endorsement or Under-
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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Advisory notice to policyholders regarding the
U.S. Treasury Department’s Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department’s Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

             Foreign agents;
             Front organizations;
             Terrorists;
             Terrorist organizations; and
             Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury’s web
site - http: / / www.treasury.gov / about / organizational-structure/ offices / Pages / Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on premiums
and payments also apply.




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Exclusion of Certified Acts of Terrorism

Insureds Name                                                                 Policy Number                  Effective     E ndorsement
                                                                                                             Date          Number




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies your insurance:
COMMERCIAL PROPERTY PORTFOLIO COVERAGE PART




                                                         SCHED ULE*

The exception relating to certain fire losses applies to property located in the following state(s), if covered by this
insurance:

                                                                   State(s)
 CALIFORNIA, GEORGIA, HAWAII, IOWA, ILLINOIS, MAINE, MASSACHUSETTS,
 MISSOURI, NEW JERSEY, NEW YORK, NORTH CAROLINA, OREGON, RHODE
 ISLAND, VIRGIN ISLANDS, WASHINGTON,
 WEST VIRGINIA AND WISCONSIN

*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.

A. Exclusion of Certified Acts of Terrorism
We will not pay for loss or damage caused directly or indirectly by a "certified act of terrorism", including action in
hindering or defending against an actual or expected "certified act of terrorism". Such loss or damage is excluded
regardless of any other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
If the "certified act of terrorism" results in fire, we will pay for the direct physical loss or damage to Covered Property
caused by that fire. This exception does not apply to any other loss or damage including but not limited to business
income, extra expense, any additional coverage and any coverage extension.
C. Definition
"Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall
certify an act of terrorism:
    1.   to be an act of terrorism;
    2.   to be a violent act or an act that is dangerous to human life, property or infrastructure;
    3.   to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
         (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
         principally in the United States, on which United States income tax is paid and whose insurance coverage is
         subject to regulation in the United States), or the pre mises of a United States mission; and
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    4.   to have been committed by an individual or individuals as part of an effort to coerce the civilian population of
         the United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
not exceed $5,000,000.
D. Application of Other Exclusions
The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terrorism
exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or
restricted under this policy.
E. Cap on Losses From Certified Acts of Terrorism
If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
Year (January 1 through Dece mber 31) and we have met our insurer deductible under the Terrorism Risk Insurance
Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in
such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures established by
the Secretary of Treasury.




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     CAP ON LOSSES FROM CERTIFIED ACTS OF
     TERRORISM
     Insureds Name                                                                   Policy Number                  Effective     E ndorsement
                                                                                                                    Date          Number




                       THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


     This endorse ment modifies your insurance:


     This endorse ment applies to all Coverage Parts included in this policy.

A.       Cap on Losses From Certified Terrorism Losses
         "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
         Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
         Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
         shall certify an act of terrorism:
         1.          to be an act of terrorism;
         2.          to be a violent act or an act that is dangerous to human life, property or infrastructure;
         3.          to have resulted in damage within the United States, or outside of the United States in the case of an air
                     carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
                     vessel based principally in the United States, on which United States income tax is paid and whose
                     insurance coverage is subject to regulation in the United States), or the pre mises of a United States mission;
                     and
         4.          to have been committed by an individual or individuals as part of an effort to coerce the civilian population
                     of the United States or to influence the policy or affect the conduct of the United States Government by
                     coercion.
         No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
         Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
         subject to TRIA, do not exceed $5,000,000.
         If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
         Year (January 1 through Dece mber 31) and we have met our insurer deductible under the Terrorism Risk Insurance
         Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
         in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
         established by the Secretary of Treasury.

B.       Application of Other Exclusions
         The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
         terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
         limited or restricted under this policy.




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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


            If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http: / / www.zurichnaproducercompensation.com

                             or call the following toll-free number: (866) 903-1192.



                  This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.




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           THIS DISCLOSU RE IS ATTACHED TO AND MADE PART OF YOU R POLICY.

              DISCLOSURE OF IMPORTANT INFORMATION
            RELATING TO TERRORISM RISK INSURANCE ACT
                                                                SCHED ULE*
Pre mium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
N/A - TRIA EXCLUDED


*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.

    A. Disclosure of Pre mium
    In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you with
    a notice disclosing the portion of your pre mium, if any, attributable to the risk of loss from terrorist acts certified under
    that Act for lines subject to TRIA. That portion of pre mium attributable is shown in the Schedule above. The pre mium
    shown in the Schedule above is subject to adjustment upon pre mium audit, if applicable.

    B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share
    equals 85% of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention
    equals 20% of the insurer’s prior calendar year direct earned pre mium associated with lines of insurance subject to
    TRIA. TRIA is scheduled to expire on Dece mber 31, 2014.

    C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year
    (January 1 through Dece mber 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
    Treasury.

    D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts of
    terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.

    E. Definition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States:
      1. to be an act of terrorism;
      2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
      3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is subject to
      regulation in the United States), or the pre mises of a United States mission; and
      4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
    (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
    not exceed $5,000,000.


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                                                                                                 COMMON POLICY DECLARATIONS

Policy Number   CPO 5912284-00                                          Renewal of Number                  NEW
Named Insured and Mailing Address                                    Producer and Mailing Address
OMNICELL INC.                                                        MARSH RISK & INSURANCE SERVS
1201 CHARLESTON RD                                                   1732 N 1ST ST STE 400
MOUNTAIN VIEW CA 94043-1337                                          SAN JOSE CA 95112-4508

                                                          Producer Code    70074-000
Policy Period: Coverage begins           09-01-2012 at 12:01 A.M.; Coverage ends 09-01-2013 at 12:01 A.M.
The name insured is              Individual         Partnership       X Corporation
                                   Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
PROPERTY PORTFOLIO PROTECTION                                                                     PREMIUM            $      120,693.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
GENERAL LIABILITY COVERAGE                                                                        PREMIUM            $        68,641.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
BUSINESS AUTOMOBILE                                                                               PREMIUM            $        70,456.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
CA-AUTO SPECIAL PURPOSE SURCHARGE                                                                                    $                5.40
STATE FIRE MARSHALL REG ASSESS SURCHG                                                                                $               70.48
FL-DEPT OF REVENUE SURCHARGE                                                                                         $                4.00
FL-HURRICANE CAT FUND ASSESSMENT                                                                                     $              934.98
2005 FL CITIZENS EMERGENCY SURCHARGE                                                                                 $              704.82




THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                         TOTAL             $       259,790.00
This premium does not include Taxes and Surcharges.                                           SEE INSTALLMENT SCHEDULE
Taxes and Surcharges                                                          TOTAL             $         1,719.68
                                                                                              SEE INSTALLMENT SCHEDULE
Form(s) and Endorsement(s) made a part of this policy at time of issue are listed on the SCHEDULE of FORMS and
ENDORSEMENTS.
Countersigned this                    day of
                                                                                               Authorized Representative

  THIS DECLARATION TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


                                                                                                                           U-GU-D-365-A (03/ 94)
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Florida Hurricane Catastrophe Fund (FHCF)
Emergency Assessment - 2005 Hurricanes

The Florida legislature created the FHCF in order to provide capacity to the personal and commercial residential property
insurance market. In accordance with Florida law, deficits of the FHCF are funded through emergency assessments on
direct premiums for certain property and casualty lines of business in the state of Florida.
The current FHCF emergency assessment is for the purpose of financing the FHCF’s shortfall from the 2005 hurricane
season. In order to fund this deficit, policies effective on or after January 1, 2011 are subject to an emergency assessment
of 1.30% of premium for the following lines of business:
      Fire, Allied Lines, Multi-Peril Crop, Farmowners Multi-Peril, Homeowners Multi-Peril, Commercial Multi-Peril (liability
      and non-liability), Mortgage Guaranty, Ocean Marine, Inland Marine, Financial Guaranty, Earthquake, Other Liability,
      Products Liability, Private Passenger Auto No-Fault, Other Private Passenger Auto Liability, Commercial Auto No-
      Fault, Other Commercial Auto Liability, Private Passenger Auto Physical Damage, Commercial Auto Physical
      Damage, Aircraft, Fidelity, Surety, Burglary and Theft, Boiler and Machinery, Credit, Warranty, and Aggregate Write
      Ins for Other Lines of Insurance.
The FHCF emergency assessment applicable to this policy is not subject to premium taxes, fees, or commissions.




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                                                            Policy Number
                                                            CPO 5912284-00
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC.                                             Effective Date: 09-01-12
                                                                            12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVS                              Agent No.   70074-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-681-B                  01-08      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
U-GU-767-A CW               01-08      CAP ON LOSSES FROM CERTIFIED ACTS OF TER
U-GU-630-C                  12-07      DISCLOSURE OF IMPORTANT INFO REL TO TRIA
U-GU-D-365-A                03-94      POLICY COMMON DECLARATIONS
U-GU-619-A CW               10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-319-F                  01-09      IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-406-A                  07-94      INSTALLMENT PREMIUM SCHEDULE
U-GU-618-A CW               10-02      SCHEDULE OF LOCATIONS
IL 00 17                    11-98      COMMON POLICY CONDITIONS
IL 00 21                    09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 70                    08-11      CA CHANGES - CANCELLATION & NONRENEWAL
IL 02 77                    03-12      LOUISIANA CHANGES-CANC & NONRENL
IL 00 03                    09-08      CALCULATION OF PREMIUM
IL 01 12                    06-10      FL CHGS-MEDIATION/APPRL (CMML RES PROP)
PROPERTY PORTFOLIO PROTECTION FORMS AND ENDORSEMENTS
PPP-0001                    06-06      COMMERCIAL PROP CVG PART DECLARATIONS
PPP-0101                    03-11      COMMERCIAL PROP CVG PART GEN PROVISIONS
PPP-0102                    03-11      COMMERCIAL PROPERTY CONDITIONS
PPP-0103                    03-11      COMMERCIAL PROPERTY DEFINITIONS
PPP-0110                    03-11      REAL AND PERSONAL PROPERTY COVERAGE FORM
PPP-0111                    04-09      ADDITIONAL COVERAGES FORM
PPP-0112                    03-11      ACCOUNTS RECEIVABLE CVG (REVENUE LOSS)
PPP-0114                    03-11      FINE ARTS COVERAGE FORM
PPP-0115                    06-06      INSTALLATION & SERVICE PROPERTY CVG FORM
PPP-0116                    03-11      ORIGINAL INFORMATION PROPERTY CVG FORM
PPP-0117                    03-11      TRANSIT COVERAGE FORM
PPP-0130                    03-11      BUS INC CVG FORM (EXCL EXTRA EXPENSE)
PPP-0219                    03-11      NAMED STORM OCCURRENCE -- DD & TE DED
PPP-0301                    04-09      DEP PREM BI CVG -- SCHED LIMITS & LOCS
PPP-0302                    06-06      DEP PREM BI CVG -- UNSCHEDULED LOCS
PPP-0308                    06-06      ENABLING ENDORSEMENT
PPP-0310                    06-06      FLOOD COVERAGE
PPP-0321                    04-09      OFF-PREM SERVICE INTERRUPTION--TE
PPP-0132                    04-09      EXTRA EXPENSE COVERAGE FORM
PPP-1041                    03-11      CALIFORNIA CHANGES
PPP-1091                    09-08      FLORIDA CHANGES
CP 02 99                    11-85      CANCELLATION CHANGES
GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GL-1369-A                 09-08      GL SUPPLEMENTAL COVERAGE ENDT TECHNOLOGY
U-GL-1370-A                 09-08      GL SUPPLEMENTAL COV ENDT TECH QUICK REF
U-GL-1517-A CW              01-12      COLLCTN OR DISTRB OF MATRL OR INFO EXCL
U-GL-849-B CW               08-04      EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
U-GL-D-1115-B CW            09-04      COMMERCIAL GL COVERAGE PART DECLARATIONS
U-GL-1113-A CW              10-02      COMM GENERAL LIABILITY COVERAGE SCHEDULE
U-GL-D-849-B CW             09-04      EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
CG 00 01                    12-07      COMMERCIAL GENERAL LIABILITY COV FORM
UGL1171ACW                  07-03      FUNGI OR BACTERIA EXCLUSION
U-GL-1178ACW                07-03      ASBESTOS EXCLUSION ENDORSEMENT
U-GL-872-B CW               04-09      PREMIUM & REPORTS AGREEMENT-COMP RATED
   U-GU-619-A CW (10/ 02)

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                                                            Policy Number
                                                            CPO 5912284-00
                                SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC.                                             Effective Date: 09-01-12
                                                                            12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVS                      Agent No. 70074-000
CG 32 34                   01-05    CALIFORNIA CHANGES
UGL850ACW                  07-96    DEDUCTIBLE ENDORSEMENT CLAIMS-MADE
CG 21 47                   12-07    EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 73                   01-08    EXCLUSION OF CERTIFIED ACTS OF TERRORISM
AUTOMOBILE FORMS AND ENDORSEMENTS
U-CA-531-B                  02-08      NOTICE REGARDING TERRORISM PREMIUM
U-CA-D-600B                 06-10      BUSINESS AUTO DECLARATIONS
CA 00 01                    03-10      BUSINESS AUTO COVERAGE FORM
CA 01 22                    05-06      KANSAS CHANGES
CA 01 43                    05-07      CALIFORNIA CHANGES
CA 21 30                    11-08      IL UNINSURED MOTORISTS COVERAGE
CA 21 37                    01-05      KS UNINSURED MOTORISTS COVERAGE
CA 21 38                    11-08      IL UNDERINSURED MOTORISTS COV
CA 21 48                    11-08      LA UM COVERAGE - BODILY INJURY
CA 21 53                    03-06      IL UM COVERAGE PROPERTY DAMAGE
CA 21 54                    09-09      CA UM COVERAGE - BODILY INJURY
CA 21 59                    03-06      ALABAMA UM INSURANCE
CA 04 24                    04-06      CA - AUTO MEDICAL PAYMENTS COVERAGE
CA 04 48                    12-10      KANSAS COMMERCIAL AUTO COVERAGE CHANGES
U-CA-424-E CW               04-11      COVERAGE EXTENSION ENDORSEMSNT
U-CA-825A                   03-11      WHO IS AN INSURED AMENDMENT - BROAD FORM
CA 99 03                    03-06      AUTO MEDICAL PAYMENTS COVERAGE




   U-GU-619-A CW (10/ 02)

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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




                                                                                                          U-G U-319-F (01/09)
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                                                                                   INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amount shown below.
NAMED INSURED                                                                   POLICY NUMBER
OMNICELL INC.                                                                    CPO 5912284-00

PAYMENT           STANDARD                TAXES                        TOTAL
DUE               PREMIUM                 PREPAID                      PREMIUM
-------           --------                -------                      -------


09/01/12      $    103,925.00        $       1,719.68              $    105,644.68
12/01/12      $     51,955.00                                      $     51,955.00
03/01/13      $     51,955.00                                      $     51,955.00
06/01/13      $     51,955.00                                      $     51,955.00
TOTAL         $    259,790.00        $       1,719.68              $    261,509.68




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.
                                                                                                    U-GU-406-A (07/ 94)
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                                                               Policy Number
                                                               CPO 5912284-00
                                      SCHEDULE OF LOCATIONS

                         Zurich American Insurance Company

 Named Insured    OMNICELL INC.                                Effective Date: 09-01-12
                                                                         12:01 A.M., Standard Time
 Agent Name      MARSH RISK & INSURANCE SERVS                  Agent No.     70074-000
Loc. Bldg.                     Designated Locations                           Occupancy
No.    No.                 (Address, City, State, Zip Code)
001 001 1201 CHARLESTON RD
        MOUNTAIN VIEW, CA 94043

003 001 3661 BURWOOD DR
        WAUKEGAN, IL 60085

004 001 443 DONELSON PIKE
        STE 200
        NASHVILLE, TN 37214

005 001 1710 LITTLE ORCHARD PKWY
        SAN JOSE, CA 95125

006 001 2003 GANDY BLVD
        SAINT PETERSBURG, FL 33702

007 001 21540 DRAKE RD
        STRONGSVILLE, OH 44149

008 001 5501-A AIRPORT BLVD
        TAMPA, FL 33634




U-GU-618-A CW (10/ 02)

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                                                                                                                  IL 00 17 11 98


                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                   b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                    and
      tions may cancel this policy by mailing or de-                              c. Recommend changes.
      livering to us advance written notice of cancel-                       2.   We are not obligated to make any inspections,
      lation.                                                                     surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                              such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                             surability and the pre miums to be charged. We
      of cancellation at least:                                                   do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                             dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                             organization to provide for the health or safety
           mium; or                                                               of workers or the public. And we do not war-
                                                                                  rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                              a. Are safe or healthful; or
    3.We will mail or deliver our notice to the first                             b. Comply with laws, regulations, codes or
      Named Insured’s last mailing address known to                                   standards.
      us.                                                                    3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                           only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                          service or similar organization which makes in-
      on that date.                                                             surance inspections, surveys, reports or recom-
                                                                                mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any pre mium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                         any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                             dations we may make relative to certification,
      than pro rata. The cancellation will be effective                         under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                             regulations, of boilers, pressure vessels or ele-
                                                                                vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                           E. Pre miums
B. Changes                                                                  The first Named Insured shown in the Declarations:
   This policy contains all the agree ments between                         1. Is responsible for the payment of all pre miums;
   you and us concerning the insurance afforded. The                            and
   first Named Insured shown in the Declarations is                          2.  Will be the payee for any return pre miums we
   authorized to make changes in the terms of this                               pay.
   policy with our consent. This policy’s terms can be                   F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorse ment issued by                         Policy
   us and made a part of this policy.
                                                                            Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                    transferred without our written consent except in
   We may examine and audit your books and records                          the case of death of an individual named insured.
   as they relate to this policy at any time during the                     If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                           to your legal representative but only while acting
D. Inspections And Surveys                                                  within the scope of duties as your legal representa-
   1. We have the right to:                                                 tive. Until your legal representative is appointed,
                                                                            anyone having proper te mporary custody of your
        a. Make inspections and surveys at any time;                        property will have your rights and duties but only
                                                                            with respect to that property.




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                                                                                                         IL 00 21 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                    C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"                 or "property damage" resulting from "hazardous
      or "property damage":                                            properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                     (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                       facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                     half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                   charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                   (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                      fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                     dled, used, processed, stored, transported
          an insured under any such policy but for its                    or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-                 sured"; or
          ability; or                                                 (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                        arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                       of services, materials, parts or equipment in
          which (a) any person or organization is re-                     connection with the planning, construction,
          quired to maintain financial protection pur-                    maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                      clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                     within the United States of America, its terri-
          sured" is, or had this policy not been issued                   tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                        clusion (3) applies only to "property dam-
          United States of America, or any agency                         age" to such "nuclear facility" and any
          thereof, under any agreement entered into                       property thereat.
          by the United States of America, or any
                                                               2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                                 "Hazardous properties" includes radioactive, toxic
                                                                  or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-               "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"             nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and                (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                         essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                       nuclear material" if at any time the total
   law amendatory thereof.                                               amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                      the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                       equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                          or contains more than 25 grams of pluto-
                                                                         nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                       thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                      235;
   wastes produced by the extraction or concentra-
                                                                     (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                         or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                     disposal of "waste";
   ganization of any "nuclear facility" included under            and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-             ing is located, all operations conducted on such
   clear facility".                                               site and all premises used for such operations.
   "Nuclear facility" means:                                      "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                                  or used to sustain nuclear fission in a self-
                                                                  supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used                mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing              "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or           contamination of property.
           packaging "waste";




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                                                                                                     IL 02 70 08 11

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2., 3. and 5. of the Cancellation                   3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the
                                                                     a. If this policy has been in effect for more
   following:
                                                                         than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                         issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                   the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                     the policy, of one or more of the following:
      previously issued, we may cancel this policy by                   (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                      payment due on a prior policy we issued
      at the mailing address shown in the policy, and                        and due during the current policy term
      to the producer of record, advance written                             covering the same risks.
      notice of cancellation, stating the reason for                    (2) Discovery      of   fraud    or material
      cancellation, at least:                                                misrepresentation by:
      a. 10 days before the effective date of                               (a) Any insured or his or her
           cancellation if we cancel for:                                       representative in obtaining this
          (1) Nonpayment of premium; or                                         insurance; or
          (2) Discovery of fraud by:                                        (b) You or your representative in
            (a) Any insured or his or her                                       pursuing a claim under this policy.
                representative in obtaining this                       (3) A judgment by a court or an
                insurance; or                                              administrative tribunal that you have
           (b) You or your representative in                               violated a California or Federal law,
                pursuing a claim under this policy.                        having as one of its necessary elements
                                                                           an act which materially increases any of
      b. 30 days before the effective date of                              the risks insured against.
         cancellation if we cancel for any other
         reason.




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         (4) Discovery of willful or grossly negligent         B. The following provision is added to the
             acts or omissions, or of any violations of           Cancellation Common Policy Condition:
             state laws or regulations establishing               7. Residential Property
             safety standards, by you or your
             representative, which materially increase               This provision applies to coverage on real
             any of the risks insured against.                       property which is used predominantly for
                                                                     residential purposes and consisting of not
         (5) Failure by you or your representative to                more than four dwelling units, and to coverage
             implement reasonable loss control                       on tenants’ household personal property in a
             requirements, agreed to by you as a                     residential unit, if such coverage is written
             condition of policy issuance, or which                  under one of the following:
             were conditions precedent to our use of
             a particular rate or rating plan, if that               Commercial Property Coverage Part
             failure materially increases any of the                 Farm Coverage Part ---- Farm Property ---- Farm
             risks insured against.                                  Dwellings,     Appurtenant    Structures    And
         (6) A determination by the Commissioner of                  Household Personal Property Coverage Form
              Insurance that the:                                    a. If such coverage has been in effect for 60
             (a) Loss of, or changes in, our                             days or less, and is not a renewal of
                 reinsurance covering all or part of                     coverage we previously issued, we may
                 the risk would threaten our financial                   cancel this coverage for any reason, except
                 integrity or solvency; or                               as provided in b. and c. below.

             (b) Continuation of the policy coverage                 b. We may not cancel this policy solely
                  would:                                                 because the first Named Insured has:
                  (i) Place us in violation of California               (1) Accepted an offer of earthquake
                      law or the laws of the state where                      coverage; or
                      we are domiciled; or                              (2) Cancelled or did not renew a policy
                 (ii) Threaten our solvency.                                  issued by the California Earthquake
                                                                              Authority (CEA) that included an
          (7) A change by you or your representative                          earthquake policy premium surcharge.
              in the activities or property of the
              commercial or industrial enterprise,                       However, we shall cancel this policy if the
              which results in a materially added,                       first Named Insured has accepted a new or
              increased or changed risk, unless the                      renewal policy issued by the CEA that
              added, increased or changed risk is                        includes an earthquake policy premium
              included in the policy.                                    surcharge but fails to pay the earthquake
                                                                         policy premium surcharge authorized by the
      b. We will mail or deliver advance written                         CEA.
           notice of cancellation, stating the reason for
                                                                     c. We may not cancel such coverage solely
           cancellation, to the first Named Insured, at
           the mailing address shown in the policy,                      because corrosive soil conditions exist on
           and to the producer of record, at least:                      the premises. This restriction (c.) applies
                                                                         only if coverage is subject to one of the
          (1) 10 days before the effective date of                       following, which exclude loss or damage
              cancellation if we cancel for nonpayment                   caused by or resulting from corrosive soil
              of premium or discovery of fraud; or                       conditions:
          (2) 30 days before the effective date of                      (1) Commercial Property Coverage Part ----
              cancellation if we cancel for any other                         Causes Of Loss -- Special Form; or
              reason listed in Paragraph 3.a.
                                                                        (2) Farm Coverage Part ---- Causes Of Loss
   5. If this policy is cancelled, we will send the first                     Form ---- Farm Property, Paragraph D.
      Named Insured any premium refund due. The                               Covered Causes Of Loss ---- Special.
      refund, if any, will be computed on a pro rata
      basis. However, the refund may be less than
      pro rata if we made a loan to you for the
      purpose of payment of premiums for this
      policy.
      The cancellation will be effective even if we
      have not made or offered a refund.




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C. The following is added and supersedes any                             (2) The Commissioner of Insurance finds
   provisions to the contrary:                                                that the exposure to potential losses will
   Nonrenewal                                                                 threaten our solvency or place us in a
                                                                              hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                            condition includes, but is not limited to,
      and C.3. below, if we elect not to renew this                           a condition in which we make claims
      policy, we will mail or deliver written notice,                         payments for losses resulting from an
      stating the reason for nonrenewal, to the first                         earthquake that occurred within the
      Named Insured shown in the Declarations, and                            preceding two years and that required a
      to the producer of record, at least 60 days, but                        reduction in policyholder surplus of at
      not more than 120 days, before the expiration                           least 25% for payment of those claims;
      or anniversary date.                                                    or
      We will mail or deliver our notice to the first                    (3) We have:
      Named Insured, and to the producer of record,
      at the mailing address shown in the policy.                            (a) Lost or experienced a substantial
                                                                                  reduction in the availability or scope
   2. Residential Property                                                        of reinsurance coverage; or
      This provision applies to coverage on real                            (b) Experienced a substantial increase in
      property used predominantly for residential                                 the premium charged for reinsurance
      purposes and consisting of not more than four                               coverage of our residential property
      dwelling units, and to coverage on tenants’                                 insurance policies; and
      household property contained in a residential
      unit, if such coverage is written under one of                         the Commissioner has approved a plan
      the following:                                                         for the nonrenewals that is fair and
                                                                             equitable, and that is responsive to the
      Commercial Property Coverage Part
                                                                             changes in our reinsurance position.
      Farm Coverage Part ---- Farm Property ---- Farm
      Dwellings,     Appurtenant      Structures    And               c. We will not refuse to renew such coverage
      Household Personal Property Coverage Form                          solely because the first Named Insured has
                                                                         cancelled or did not renew a policy, issued
      a. We may elect not to renew such coverage                         by the California Earthquake Authority, that
          for any reason, except as provided in b., c.                   included an earthquake policy premium
          and d. below.                                                  surcharge.
      b. We will not refuse to renew such coverage                    d. We will not refuse to renew such coverage
          solely because the first Named Insured has                     solely because corrosive soil conditions
          accepted an offer of earthquake coverage.                      exist on the premises. This restriction (d.)
          However, the following applies only to                         applies only if coverage is subject to one of
          insurers who are associate participating                       the following, which exclude loss or
          insurers as established by Cal. Ins. Code                      damage caused by or resulting from
          Section 10089.16. We may elect not to                          corrosive soil conditions:
          renew such coverage after the first Named                      (1) Commercial Property Coverage Part ----
          Insured has accepted an offer of                                    Causes Of Loss -- Special Form; or
          earthquake coverage, if one or more of the
          following reasons applies:                                     (2) Farm Coverage Part ---- Causes Of Loss
                                                                              Form ---- Farm Property, Paragraph D.
         (1) The nonrenewal is based on sound                                 Covered Causes Of Loss ---- Special.
              underwriting principles that relate to the
              coverages provided by this policy and                3. We are not required to send notice of
              that are consistent with the approved                   nonrenewal in the following situations:
              rating plan and related documents filed                 a. If the transfer or renewal of a policy, without
              with the Department of Insurance as                         any changes in terms, conditions or rates,
              required by existing law;                                   is between us and a member of our
                                                                          insurance group.




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      b. If the policy has been extended for 90 days              e. If the first Named Insured requests a
         or less, provided that notice has been given                change in the terms or conditions or risks
         in accordance with Paragraph C.1.                           covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                  end of the policy period.
         or if the first Named Insured has agreed, in             f. If we have made a written offer to the first
         writing, within 60 days of the termination of               Named Insured, in accordance with the
         the policy, to obtain that coverage.                        timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than               renew the policy under changed terms or
         60 days and you are notified at the time of                 conditions or at an increased premium rate,
         issuance that it will not be renewed.                       when the increase exceeds 25%.




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                                                                                                      IL 02 77 03 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LOUISIANA CHANGES --- CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. Paragraph 2. of the Cancellation Common Policy                  b. Cancellation Of Renewal Policies And New
   Condition is replaced by the following, which                       Policies In Effect For 60 Days Or More
   applies unless Paragraph B. of this endorsement                     If this policy has been in effect for 60 days
   applies:                                                            or more, or is a renewal of a policy we
   2. Notice Of Cancellation                                           issued, we may cancel only for one or more
      a. Cancellation Of Policies In Effect For Fewer                  of the following reasons:
          Than 60 Days Which Are Not Renewals                         (1) Nonpayment of premium;
          If this policy has been in effect for fewer                 (2) Fraud or material misrepresentation
          than 60 days and is not a renewal of a                           made by you or with your knowledge
          policy we issued, we may cancel this policy                      with the intent to deceive in obtaining
          for any reason, subject to the following:                        the policy, continuing the policy, or in
         (1) Cancellation     for    nonpayment       of                   presenting a claim under the policy;
              premium:                                                (3) Activities or omissions by you which
              We may cancel this policy by mailing or                      change or increase any hazard insured
              delivering to the first Named Insured                        against;
              written notice of cancellation at least 10              (4) Change in the risk which increases the
              days before the effective date of                            risk of loss after we issued or renewed
              cancellation.                                                this policy, including an increase in
         (2) Cancellation for any other reason:                            exposure due to regulation, legislation,
                                                                           or court decision;
              We may cancel this policy by mailing or
              delivering to the first Named Insured                   (5) Determination by the Commissioner of
              written notice of cancellation at least 60                   Insurance that the continuation of this
              days before the effective date of                            policy would jeopardize our solvency or
              cancellation.                                                would place us in violation of the
                                                                           insurance laws of this or any other state;




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         (6) The insured s violation or breach of any                 b. If the first Named Insured cancels, the
              policy terms or conditions; or                              refund will not be less than 90% of the pro
         (7) Any other reasons that are approved by                       rata unearned premium, rounded to the
              the Commissioner of Insurance.                              next higher whole dollar. The refund will be
                                                                          returned within 30 days after the effective
              We will mail or deliver written notice of                   date of cancellation.
              cancellation under Paragraph A.2.b. to
              the first Named Insured at least:                        c. We will send the refund to the first Named
                                                                          Insured unless Paragraph C.5.d. or C.5.e.
             (a) 10 days before the effective date of                     applies.
                  cancellation if we cancel for
                  nonpayment of premium; or                           d. If we cancel based on Paragraph B.2. of
                                                                          this endorsement, we will return the
             (b) 30 days before the effective date of                     premium due, if any, within 10 days after the
                  cancellation if we cancel for a reason                  expiration of the 10-day period referred to in
                  described in Paragraphs A.2.b.(2)                       B.2.c. If the policy was financed by a
                 through (7) above.                                       premium finance company, or if payment
B. Paragraph 2. of the Cancellation Common Policy                         was advanced by the insurance agent, we
   Condition is replaced by the following, which                          will send the return premium directly to
   applies with respect to premium payments due on                        such payor.
   new and renewal policies, including installment                     e. With respect to any cancellation of the
   payments:                                                              Commercial Auto Coverage Part, we will
   2. Notice Of Cancellation                                              send the return premium, if any, to the
      a. If your premium payment check or other                           premium finance company if the premium
          negotiable instrument is returned to us or                      was financed by such company.
          our agent or a premium finance company                       f. When return premium payment is sent to
          because it is uncollectible for any reason,                     the premium finance company or the agent
          we may cancel the policy subject to                             of the insured, we will provide notice to
          Paragraphs B.2.b. and B.2.c.                                    you, at the time of cancellation, that a return
      b. We may cancel the policy effective from the                      of unearned premium may be generated by
          date the premium payment was due, by                            the cancellation.
          sending you written notice by certified mail,        D. With respect to the Equipment Breakdown
          or by delivering such notice to you within              Coverage Part, Paragraph 5. of the Cancellation
          10 days of the date that we receive notice of           Common Policy Condition is replaced by the
          the     returned    check     or    negotiable          following:
          instrument.                                             5. Premium Refund
       c. The cancellation notice will also advise you                If this policy is cancelled, we will return any
           that the policy will be reinstated effective               premium refund due, subject to Paragraphs
           from the date the premium payment was                      D.5.a., D.5.b., D.5.c., D.5.d. and D.5.e. The
           due, if you present to us a cashier s check                cancellation will be effective even if we have not
           or money order for the full amount of the                  made or offered a refund.
           returned check or other negotiable
           instrument within 10 days of the date that                  a. If we cancel, the refund will be pro rata.
           the cancellation notice was mailed.                        b. If the first Named Insured cancels, the
C. With respect to the Coverage Parts and Policies to                     refund will not be less than 75% of the pro
   which this endorsement applies, except the                             rata unearned premium, rounded to the
   Equipment Breakdown Coverage Part, Paragraph                           next higher whole dollar. The refund will be
   5. of the Cancellation Common Policy Condition is                      returned within 30 days after the effective
   replaced by the following:                                             date of cancellation.
   5. Premium Refund                                                   c. We will send the refund to the first Named
                                                                          Insured unless Paragraph D.5.d. applies.
       If this policy is cancelled, we will return any
       premium refund due, subject to Paragraphs
       C.5.a., C.5.b., C.5.c., C.5.d., C.5.e. and C.5.f.
       The cancellation will be effective even if we
       have not made or offered a refund.
       a. If we cancel, the refund will be pro rata.



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      d. If we cancel based on Paragraph B.2. of                        If we cancel a policy that has been in effect
         this endorsement, we will return the                           for 60 days or more, or is a renewal of a
         premium due, if any, within 10 days after the                  policy we issued, we will give written notice
         expiration of the 10-day period referred to in                 to the mortgageholder, pledgee or other
         B.2.c. If the policy was financed by a                         known person shown in the policy to have
         premium finance company, or if payment                         an insurable interest in any loss, at least:
         was advanced by the insurance agent, we                       (1) 10 days before the effective date of
         will send the return premium directly to                           cancellation,     if   we     cancel     for
         such payor.                                                        nonpayment of premium; or
      e. When return premium payment is sent to                        (2) 30 days before the effective date of
         the premium finance company or the agent                           cancellation, if we cancel for any other
         of the insured, we will provide notice to                          reason.
         you, at the time of cancellation, that a return
         of unearned premium may be generated by              G. The following is added and supersedes any other
         the cancellation.                                       provision to the contrary:
E. The Premiums Common Policy Condition               is         Nonrenewal
   replaced by the following:                                    1. If we decide not to renew this policy, we will
   Premiums                                                         mail or deliver written notice of nonrenewal to
                                                                    the first Named Insured, mortgageholder,
   1. The first Named Insured shown in the                          pledgee or other known person shown in the
      Declarations is responsible for the payment of                policy to have an insurable interest in any loss,
      all premiums.                                                 at least 60 days before its expiration date, or its
   2. We will pay return premiums, if any, to the first             anniversary date if it is a policy written for a
      Named Insured, unless another person or                       term of more than one year or with no fixed
      entity is entitled to be the payee in accordance              expiration date.
      with Paragraph C. or D. of this endorsement.               2. We need not mail or deliver this notice if:
F. Paragraph f. of the Mortgageholders Condition in                 a. We or another company within our
   the Commercial Property Coverage Part, Standard                      insurance group have offered to issue a
   Property Policy and the Capital Assets Program                       renewal policy; or
   (Output Policy) Coverage Part, and Paragraph 4.f.
   of the Mortgageholders Condition in the Farm                     b. You have obtained replacement coverage or
   Coverage Part are replaced by the following:                         have agreed         in writing to obtain
                                                                        replacement coverage.
           If we cancel a policy that has been in effect
           for fewer than 60 days and is not a renewal           3. Any notice of nonrenewal will be mailed or
           of a policy we issued, we will give written              delivered to the first Named Insured,
           notice to the mortgageholder, pledgee or                 mortgageholder, pledgee or other known
           other known person shown in the policy to                person shown in the policy to have an
           have an insurable interest in any loss, at               insurable interest in any loss, at the last mailing
           least:                                                   address known to us. If notice is mailed, proof
                                                                    of mailing will be sufficient proof of notice.
          (1) 10 days before the effective date of
               cancellation,    if   we    cancel    for         4. Such notice to the insured shall include the
               nonpayment of premium; or                            insured s loss run information for the period
                                                                    the policy has been in force within, but not to
          (2) 60 days before the effective date of                  exceed, the last three years of coverage.
               cancellation, if we cancel for any other
               reason.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       FLORIDA CHANGES --- MEDIATION OR APPRAISAL
          (COMMERCIAL RESIDENTIAL PROPERTY)
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY


With respect to a loss to commercial residential                 2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                       without good cause, we will pay your actual
Condition:                                                           cash expenses you incur in attending the
Mediation Or Appraisal                                               mediation conference and also pay the total
                                                                     cost of the rescheduled mediation conference.
If we and you:
                                                              B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either            amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance             the loss, in writing. In this event, each party will
   with the rules established by the Florida                     select a competent and impartial appraiser. The
   Department of Financial Services. The loss amount             two appraisers will select an umpire. If they cannot
   must be $500 or more, prior to application of the             agree, either may request that selection be made
   deductible; or there must be a difference of $500             by a judge of a court having jurisdiction. The
   or more between the loss settlement amount we                 appraisers will state separately the value of the
   offer and the loss settlement amount that you                 property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation            they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on         decision agreed to by any two will be binding.
   a settlement, and you have not rescinded the                  Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                  1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                    2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                     umpire equally.
   We will pay the cost of conducting the mediation              If there is an appraisal, we will still retain our right
   conference. However, if:                                      to deny the claim.
   1. You fail to appear at the mediation conference             However, you are not required to submit to, or
       and you wish to schedule a new conference                 participate in, any appraisal of the loss as a
       after failing to appear, then the new conference          precondition to action against us for failure to pay
       will be scheduled only upon your payment of a             the loss, if we:
       sum equal to the fees we paid for the mediation           1. Requested mediation and either party rejected
       conference at which you failed to appear. This                the mediation result; or
       sum will then be applied to the cost of the
       rescheduled mediation conference, and we will             2. Failed to notify you of your right to participate
       pay the balance, if any, of the cost of                       in the mediation program.
       conducting       the    rescheduled    mediation
       conference; or




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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         1                     PREMISES ADDRESS
                                         1201 CHARLESTON RD
                                         MOUNTAIN VIEW, CA 94043


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         3                     PREMISES ADDRESS
                                         3661 BURWOOD DR
                                         WAUKEGAN, IL 60085


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         4                     PREMISES ADDRESS
                                         443 DONELSON PIKE
                                         STE 200
                                         NASHVILLE, TN 37214


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         5                     PREMISES ADDRESS
                                         1710 LITTLE ORCHARD PKWY
                                         SAN JOSE, CA 95125


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         6                     PREMISES ADDRESS
                                         2003 GANDY BLVD
                                         SAINT PETERSBURG, FL 33702


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE


DEDUCTIBLE                               AMOUNT

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           950,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         7                     PREMISES ADDRESS
                                         21540 DRAKE RD
                                         STRONGSVILLE, OH 44149


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC.                                From:    9/1/2012    To:  9/1/2013
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-00

SUMMARY OF PREMISES

PREMISES #         8                     PREMISES ADDRESS
                                         5501-A AIRPORT BLVD
                                         TAMPA, FL 33634


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           100,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC.                                            From:    9/1/2012    To:  9/1/2013
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:                CPO 5912284-00

BLANKET LIMITS OF INSURANCE



PERSONAL PROPERTY BLANKET LIMIT OF INSURANCE                                                $    33,200,000

The above Limit of Insurance is the most we will pay for direct physical loss or damage in
any one occurrence for all "personal property" at "premises" for which the Limit of
Insurance is shown as Included in Blanket Limit of Insurance. If "personal property"
coverage does not apply at any specific "premises", the Limit of Insurance will show as
Not Covered for those "premises". If a more specific Limit of Insurance is shown for
"personal property" at a "premises", that Limit of Insurance replaces, and is not in addition
to, the Blanket Limit of Insurance.

BUSINESS INCOME AND EXTRA EXPENSE BLANKET LIMIT OF INSURANCE                                $    26,500,000

The above Limit of Insurance is the most we will pay for in any one occurrence for all loss
of "business income" and "extra expense" at "premises" for which the Limit of Insurance
is shown as Included in Blanket Limit of Insurance. If "business income" or "extra
expense" coverage does not apply at any specific "premises", the Limit of Insurance will
show as Not Covered for those "premises". If a more specific Limit of Insurance is shown
for "business income" or "extra expense" at a "premises", that Limit of Insurance
replaces, and is not in addition to, the Blanket Limit of Insurance.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

CIVIL AUTHORITY
 BUSINESS INCOME                                                     30 DAYS
 EXTRA EXPENSE                                                       30 DAYS

CONSEQUENTIAL LOSS--NET LEASEHOLD                      $        25,000 PER PREMISES
 INTEREST

CONSEQUENTIAL LOSS--TENANT'S                           $       250,000 PER PREMISES
 IMPROVEMENTS AND BETTERMENTS

CONSEQUENTIAL LOSS--UNDAMAGED STOCK                    $       250,000 PER PREMISES

CONTAMINATION BY A REFRIGERANT                         $        25,000 PER PREMISES

CONTRACTUAL PENALTIES--BUSINESS INCOME $                        25,000 PER OCCURRENCE

DEBRIS REMOVAL--COVERED PROPERTY                                        COVERED

DEBRIS REMOVAL--SUPPLEMENTAL LIMIT                     $       500,000 PER OCCURRENCE

DEBRIS REMOVAL--UNCOVERED PROPERTY                     $          2,500 PER OCCURRENCE

DEFERRED PAYMENTS                                      $        50,000 PER OCCURRENCE




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

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Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

DEPENDENT BUSINESS INCOME--UNSCHEDULED $                     1,000,000 PER OCCURRENCE
 LOCATIONS

ELECTRONIC VANDALISM
  BUSINESS INCOME                                      $        25,000 ANNUAL AGGREGATE
  DIRECT DAMAGE                                        $       100,000 ANNUAL AGGREGATE

EXPEDITING EXPENSE                                     $        25,000 PER PREMISES

EXPENSE TO REDUCE LOSS--BUSINESS INCOME                                 COVERED

EXTENDED PERIOD OF INDEMNITY--BUSINESS                                  UNLIMITED
 INCOME

EXTRA EXPENSE                                          $        25,000 PER PREMISES

FAIRS OR EXHIBITIONS
  BUSINESS INCOME                                      $        10,000 PER OCCURRENCE
  PERSONAL PROPERTY                                    $        25,000 PER OCCURRENCE

FIRE DEPARTMENT SERVICE CHARGE                         $       250,000 PER PREMISES

FIRE PROTECTIVE EQUIPMENT REFILLS                                       COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

INFLATION GUARD
  PERSONAL PROPERTY                                                   4 % ANNUAL

INGRESS/EGRESS
  BUSINESS INCOME                                                    30 DAYS
  EXTRA EXPENSE                                                      30 DAYS

LOCK AND KEY REPLACEMENT                               $        25,000 PER PREMISES

MICROORGANISMS                                         $        50,000 ANNUAL AGGREGATE

MICROORGANISMS--BUSINESS INCOME                        $        25,000 ANNUAL AGGREGATE

NEWLY ACQUIRED PREMISES
  REAL PROPERTY                                        $     2,000,000 FOR 180 DAYS
  PERSONAL PROPERTY                                    $     1,000,000 FOR 180 DAYS
  BUSINESS INCOME                                      $       250,000 FOR 180 DAYS
  EXTRA EXPENSE                                        $     25,000 FOR 180 DAYS
                                                       THE ABOVE LIMITS APPLY SEPERATELY TO EACH
                                                       NEWLY ACQUIRED PREMISES

NEWLY ACQUIRED PROPERTY
  REAL PROPERTY                                        $       250,000 PER PREMISES FOR 180 DAYS
  PERSONAL PROPERTY                                    $       250,000 PER PREMISES FOR 180 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

OFF-PREMISES SERVICE                                   $     1,000,000 PER PREMISES
 INTERRUPTION--DIRECT DAMAGE

OFF-PREMISES SERVICE                     $                   1,000,000 PER PREMISES
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE

OUTDOOR TREES, SHRUBS, PLANTS, OR LAWNS $                      250,000 PER PREMISES
                                                       $          5,000 PER TREE, SHRUB, PLANT, OR LAWN


POLLUTANT CLEAN UP AND REMOVAL--LAND                   $        50,000 ANNUAL AGGREGATE PER PREMISES
 AND WATER

PRESERVATION OF PROPERTY                                           180 DAYS

PROFESSIONAL FEES                                      $        25,000 PER OCCURRENCE

REPORTED UNSCHEDULED PREMISES
  REAL PROPERTY                                                         NOT COVERED
  PERSONAL PROPERTY                                                     NOT COVERED
  BUSINESS INCOME                                                       NOT COVERED
  EXTRA EXPENSE                                                         NOT COVERED

REWARD PAYMENTS                                        $        25,000 PER OCCURRENCE



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC.                                              From:    9/1/2012    To:  9/1/2013
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-00

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

SALESPERSON'S SAMPLES                                  $        25,000 PER OCCURRENCE

SPOILAGE--EQUIPMENT BREAKDOWN                          $       100,000 PER PREMISES

THEFT DAMAGE TO BUILDINGS                                               COVERED

UNREPORTED PREMISES
  REAL PROPERTY                                        $       100,000 PER UNREPORTED PREMISES
  PERSONAL PROPERTY                                    $       500,000 PER UNREPORTED PREMISES
  EXTRA EXPENSE                                        $       250,000 PER UNREPORTED PREMISES
  BUSINESS INCOME                                      $       250,000 PER UNREPORTED PREMISES




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC.                                          From:    9/1/2012    To:  9/1/2013
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-00

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

ACCOUNTS RECEIVABLE (REVENUE LOSS)                    $        500,000 PER PREMISES

ACCOUNTS RECEIVABLE (REVENUE                          $        500,000 PER OCCURRENCE
 LOSS)--AWAY FROM PREMISES

FINE ARTS                                             $         25,000 PER PREMISES

FINE ARTS--AWAY FROM PREMISES                         $         25,000 PER OCCURRENCE

INSTALLATION AND SERVICE PROPERTY
    STOCK TO BE INSTALLED                             $         50,000 PER OCCURRENCE--INSTALLATION
                                                                       PREMISES

                                                      $         50,000 PER OCCURRENCE--TEMPORARY
                                                                       STORAGE LOCATION

                                                      $         50,000 PER OCCURRENCE--TRANSIT
     TOOLS AND EQUIPMENT
       SCHEDULED EQUIPMENT                                             NOT COVERED
       UNSCHEDULED TOOLS & EQUIPMENT                $         1,000 PER ANY ONE ITEM
                                                    $        50,000 PER OCCURRENCE
        Unscheduled tools and equipment coverage is intended for items valued at or less than the limit per
         any one item shown above. An item valued at more than this limit must be specifically scheduled or
         no coverage applies to that item.

ORIGINAL INFORMATION PROPERTY                         $        500,000 PER PREMISES

ORIGINAL INFORMATION PROPERTY--AWAY                   $        500,000 PER OCCURRENCE
 FROM PREMISES



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC.                                          From:    9/1/2012    To:  9/1/2013
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-00

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

TRANSIT
   PERSONAL PROPERTY                                  $         25,000 PER OCCURRENCE
   BUSINESS INCOME                                    $         10,000 PER OCCURRENCE




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                            POLICY PERIOD:
OMNICELL INC.                                             From:    9/1/2012    To:  9/1/2013
                                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                          ADDRESS

POLICY NUMBER:              CPO 5912284-00

DEDUCTIBLES

GENERAL DEDUCTIBLES

  PROPERTY DEDUCTIBLE                                 $            100,000 PER OCCURRENCE

  The above deductible applies to all loss, damage, cost, or expense covered by this Commercial Property
  Coverage Part, unless a specific coverage deductible is shown elsewhere on this Declarations or an
  endorsement.

  BUSINESS INCOME AND EXTRA EXPENSE                                      24 HOURS
    WAITING PERIOD

  The above waiting period applies to all loss or expense covered by Business Income and Extra Expense
  coverages contained in this Commercial Property Coverage Part, unless a specific coverage deductible
  is shown elsewhere on this Declarations or an endorsement.

  OFF PREMISES SERVICE                                                   24 HOURS
    INTERRUPTION--TIME ELEMENT WAITING
    PERIOD

  The above waiting period applies to all loss or expense covered by Off-Premises Service Interruption--Time
  Element coverage contained in this Commercial Property Coverage Part.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC.                                            From:    9/1/2012    To:  9/1/2013
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:               CPO 5912284-00

DEDUCTIBLES

CATASTROPHE PERIL DEDUCTIBLES

  FLOOD DEDUCTIBLES

  Loss or damage to Covered Property caused by "flood" is subject to separate deductible amounts. The
  deductibles applicable to "flood" are stated in the Summary of Premises section of this Declarations for
  that specific"premises". If the Flood coverage applies to loss or damage at "reported unscheduled
  premises", the deductible amounts for "reported unscheduled premises" are stated on the Catastrophe
  Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Flood Deductibles only apply to loss or damage that, but for the application of the Deductibles, would
  be paid by us under this Commercial Property Coverage Part.

  WIND AND HAIL DEDUCTIBLES

  Loss or damage to Covered Property caused by wind or hail is subject to separate deductible amounts.
  The deductibles applicable to wind and hail are stated in the Summary of Premises section of this
  Declarations for that specific "premises". If the Wind and Hail Deductibles apply to loss or damage at
  "reported unscheduled premises", the deductible amounts for "reported unscheduled premises"
  are stated on the Catastrophe Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Wind and Hail Deductibles only apply to loss or damage that, but for the application of the Deductibles,
  would be paid by us under this Commercial Property Coverage Part.

APPLICATION OF MULTIPLE DEDUCTIBLES

  Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we
  will apply each deductible separately, but the total of all deductible amounts applied will not exceed the
  highest applicable deductible for loss or damage to Covered Property and the highest applicable deductible
  for loss under "time element coverage". This provision does not apply to Covered Property and "time
  element coverage" for covered loss or damage due to "earth movement".




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                        POLICY PERIOD:
OMNICELL INC.                                         From:    9/1/2012    To:  9/1/2013
                                                      12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                      ADDRESS

POLICY NUMBER:              CPO 5912284-00

CATASTROPHE COVERAGE--LIMITS OF INSURANCE AND DEDUCTIBLES

Catastrophe Coverages shown below apply only at those "premises" that show an applicable Limit of Insurance for
that Catastrophe Coverage in the Summary of Premises section of this Declarations. If coverage applies at "reported
unscheduled premises", those Limits of Insurance and Deductibles are shown below.

CATASTROPHE COVERAGE                           LIMIT OF INSURANCE AND DEDUCTIBLES



FLOOD
 PREMISES                                      SEE SUMMARY OF PREMISES SECTION
 OCCURRENCE                                    $      1,000,000
 ANNUAL AGGREGATE                              $      1,000,000
 DEDUCTIBLE                                    SEE SUMMARY OF PREMISES SECTION

WIND AND HAIL--DIRECT DAMAGE AND TIME
 ELEMENT
  DEDUCTIBLE                          SEE SUMMARY OF PREMISES SECTION




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Commercial Property Coverage Part
General Provisions

IMPORTANT INFORMATION ABOUT THIS COMMERCIAL PROPERTY COVERAGE PART.
PLEASE READ IT CAREFULLY.


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and what
is and what is not covered.

DEFINITIONS AND MEANINGS

Throughout this Commercial Property Coverage Part, the words "you" and "your" refer to the Named Insured shown on
the Commercial Property Coverage Part Declarations. The words "we", "us", and "our" refer to the Company providing
this insurance coverage.

The word "occurrence" includes all losses or damages that are attributable directly or indirectly to one cause or a series
of similar causes. All such losses or damages will be treated as one occurrence. However, if occurrence is specifically
defined in a Coverage Form, that definition applies to the insurance provided by that Coverage Form and any
endorsements to that Coverage Form.

For purposes of this Commercial Property Coverage Part:

a.   Covered Property is the property that is insured for loss or damage under the applicable Coverage Forms or
     endorsements.

b.   Covered Income is the income that is insured for loss under the applicable Coverage Forms or endorsements.

Other words and phrases that appear in bold and in quotation marks, or in quotation marks only, have special
meaning. You will find these definitions in the Commercial Property Definitions, Coverage Forms, and in endorsements
to the Coverage Forms.

Words or phrases that are not defined are intended to have their ordinary or common meaning. Disputes concerning
the meaning of words or phrases will be resolved using the most recently published version of Webster’s Unabridged
Dictionary.

Unless otherwise stated, words that are used in the plural tense include the singular tense (and visa versa).

FORMS

In addition to these General Provisions, the Commercial Property Coverage Part contains the Common Policy
Conditions, Commercial Property Conditions, Commercial Property Definitions, and various Coverage Forms and
endorsements as shown on the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements. Some forms and endorsements may refer to other Coverage Forms, but you only have coverage under
a particular Coverage Form if it is shown on the Property Forms and Endorsements Section of the Schedule of Forms
and Endorsements. Similarly, even if the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements shows that you have a Coverage Form, you will not have coverage for each coverage and optional
coverage mentioned in that Coverage Form unless they are shown on the Commercial Property Coverage Part
Declarations.

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DEDUCTIBLES

If a deductible applies, it is described in the applicable Coverage Form or endorsement. The amount of the deductible
to be applied is shown on the Summary of Premises, Deductibles, or Catastrophe Coverage - Limits of Insurance and
Deductibles sections of the Commercial Property Coverage Part Declarations.

Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we will apply each
deductible separately, but the total of all deductible amounts applied will not exceed the highest applicable deductible
for loss or damage to Covered Property and the highest applicable deductible for loss under "time element coverage".
However, this provision does not apply to Covered Property and "time element coverage" for covered loss or damage
due to "earth movement", sprinkler leakage as a result of "earth movement", "flood", "named storm", or wind and hail.

Loss or damage to Covered Property caused by "earth movement", sprinkler leakage as the result of "earth movement",
"flood", "named storm", and wind or hail may be subject to separate deductible amounts. The Summary of Premises
section of the Commercial Property Coverage Part Declarations identify the "premises" subject to the separate
deductibles and the deductible amounts. If the Earth Movement Deductibles, Flood Deductibles, Named Storm
Deductibles, or Wind and Hail Deductibles apply to loss or damage at "reported unscheduled premises", to
"contractor’s equipment" away from "premises", or to "installation property" away from "premises", the deductible
amounts are stated on the Catastrophe Coverage - Limits of Insurance and Deductibles section of the Commercial
Property Coverage Part Declarations.

The Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, Sprinkler Leakage--Earth Movement
Deductibles, and Wind and Hail Deductibles only apply to loss or damage that, but for the application of the
Deductibles, would be paid by us under this Commercial Property Coverage Part.




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Commercial Property Conditions

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Commercial Property Conditions

This Commercial Property Coverage Part is subject to the following conditions as well as the Common Policy Conditions.

A.    ABANDONMENT

      There can be no abandonment of any property to us.

B.    APPRAISAL

      If we and you disagree on the value of the property or the amount of the loss, either may make written demand for
      an appraisal of the loss. in this event, each party will select a competent, disinterested, and impartial appraiser who
      has no direct or indirect financial interest in the claim. The two appraisers will select an umpire. If they cannot agree,
      wither may request that selection of an umpire be made by a judge of a court having jurisdiction. The appraisers will
      state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
      accordance with the Valuation provisions of the applicable Coverage Form or, if not stated, the "actual cash value"
      and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to by
      any two will be binding. Each party will:

      1.    Pay its chosen appraiser; and

      2.    Bear the other expenses of the appraisal and umpire equally.

     If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
     conditions of the policy.

C.    CONCEALMENT, MISREPRESENTATION, OR FRAUD

      This policy is void in any case of fraud by you or any other insured as it relates to this Commercial Property
      Coverage Part at any time before or after a loss. It is also void as to you or any other insured, and we will not pay
      you or any other insured, if you or any other insured, at any time before or after a loss, intentionally conceal or
      misrepresent a material fact concerning:

      1.    The insurance provided by this policy;

      2.    The Covered Property;

      3.    Your interest in the Covered Property; or

      4.    A claim under the policy.

D.    CONFORMITY TO STATUTE

      Terms of this Commercial Property Coverage Part that are in conflict with the statutes of the state in which this
      policy is issued are hereby amended to conform to such statutes.




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E.   CONTROL OF PROPERTY

     Breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions by any
     person, other than you, beyond your direction or control will not affect this insurance.

     The breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions at any
     one or more locations will not affect coverage at any location where, at the time of loss or damage, there was no
     breach.

F.   DUTIES IN THE EVENT OF LOSS OR DAMAGE

     1.   You must see that the following are done in the event of loss or damage to Covered Property:

          a.    Notify the police if a law may have been broken.

          b.    Give us prompt notice of the loss or damage, including a description of the property involved.

          c.    As soon as possible, give us a description of how, when, and where the loss or damage occurred.

          d.    Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                your expenses necessary to protect the Covered Property, for consideration in the settlement of the
                claim. This will not increase the Limit of Insurance. However, we will not pay for any subsequent loss or
                damage resulting from a cause of loss that is not a "covered cause of loss". Also, if feasible, set the
                damaged property aside and in the best possible order for examination.

          e.    At our request, give us complete inventories of the damaged and undamaged property.              Include
                quantities, costs, values, and amount of loss claimed.

          f.    As often as may be reasonably required, permit us to inspect the property proving the loss or damage
                and examine your books and records.

                Also, permit us to take samples of damaged and undamaged property for inspection, testing, and
                analysis, and permit us to make copies from your books and records.

          g.    Send us a signed, sworn proof of loss containing the information we request to investigate the claim.
                You must do this within 60 days after our request. We will supply you with the necessary forms.

          h.    Cooperate with us in the investigation or settlement of the claim.

     2.   We may examine any insured under oath, while not in the presence of any other insured and at such times as
          may be reasonably required, about any matter relating to this insurance or the claim, including an insured’s
          books and records. In the event of an examination, an insured’s answers must be signed.

     3.   Failure of an agent or one of your employees, other than an officer, partner, manager, "member", director,
          trustee, proprietor, or risk management employee, to notify us of any loss or damage that they know about will
          not affect the insurance afforded you by this Commercial Property Coverage Part.

G.   INSURANCE UNDER TWO OR MORE COVERAGES

     If two or more of this policy’s coverages apply to the same loss or damage, we will not pay more than the actual
     amount of the loss or damage.

H.   LEGAL ACTION AGAINST US

     No one may bring a legal action against us under this Commercial Property Coverage Part unless:

     1.   All of its terms have been fully complied with; and




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     2.    The action is brought within 2 years after the date on which the loss or damage commenced.

I.   LIBERALIZATION

     If we adopt any revision that would broaden the coverage under this Commercial Property Coverage Part, without
     additional premium and within 45 days prior to or during the policy period, the broadened coverage will immediately
     apply to this Commercial Property Coverage Part.

J.   LOSS PAYMENT

     The following apply unless otherwise provided in a Coverage Form in this Commercial Property Coverage Part:

     1.    In the event of loss or damage covered by this Commercial Property Coverage Part, at our option, we will
           either:

           a.    Pay the amount of the loss or damage;

           b.    Pay the cost of repairing or replacing the lost or damaged property;

           c.    Take all or any part of the property at an agreed or appraised value; or

           d.    Repair, rebuild, or replace the property with other property of like kind and quality.

           We will give notice of our intentions within 30 days after we receive the sworn proof of loss.

     2.    If we elect to exercise option 1.c. with respect to any branded or labeled "merchandise" or "finished stock", you
           may:

           a.    Stamp salvage on the "merchandise" or "finished stock", or its containers, if the stamp will not physically
                 damage the "merchandise"or "finished stock"; or

           b.    Remove the brands or labels, if doing so will not physically damage the "merchandise" or "finished stock".
                 You must relabel the "merchandise" or "finished stock", or its containers, to comply with the law.

           We will assume the cost of stamping or removal and charge it to salvage expense.

     3.    We will not pay you more than your financial interest in the Covered Property.

     4.    This Commercial Property Coverage Part provides no rights or benefits to any other person or organization,
           unless otherwise provided. Any claim for loss that is covered under this Commercial Property Coverage Part
           must be presented by you. At our option, we may adjust the loss with the owners of lost or damaged
           property if other than you. If we pay the owners, such payment will satisfy your claims against us for the
           owners’ property. We will not pay the owners more than their financial interest in the Covered Property.

     5.    We may elect to defend you against suits arising from claims of owners of Covered Property. We will do this
           at our expense.

     6.    We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you have
           complied with all of the terms of this Commercial Property Coverage Part and:

           a.    We have reached agreement with you on the amount of the loss; or

           b.    An appraisal award has been made.




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      7.    The first Named Insured shown on the Declarations will be the payee for any payment of claims that we may
            make with respect to this Commercial Property Coverage Part, subject to the Mortgageholders Condition
            below and any endorsements. However, our payment for loss or damage to "personal property of others" may
            be to the account of the owner of the property.

K.    MORTGAGEHOLDERS

      1.    Mortgageholder includes trustee.

      2.    We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown on the
            Declarations in their order of precedence, as interests may appear.

      3.    The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure
            or similar action on the building or structure.

      4.    If we deny your claim because of your acts or because you have failed to comply with the terms of this
            Commercial Property Coverage Part, the mortgageholder will still have the right to receive loss payment if the
            mortgageholder:

            a.    Pays the premium due under this Commercial Property Coverage Part at our request if you have failed
                  to do so;

            b.    Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do
                  so; and

            c.    Has notified us of any change in ownership, occupancy, or substantial change in risk known to the
                  mortgageholder.

            All of the terms of this Commercial Property Coverage Part will then apply directly to the mortgageholder.

      5.    If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or
            because you have failed to comply with the terms of this Commercial Property Coverage Part:

            a.    The mortgageholder’s rights under the mortgage will be transferred to us to the extent of the amount we
                  pay; and

            b.    The mortgageholder’s right to recover the full amount of the mortgageholder’s claim will not be
impaired.

            At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued
            interest. In this event, your mortgage and note will be transferred to us and you will pay your remaining
            mortgage debt to us.

      6.    If we cancel the policy, we will give written notice to the mortgageholder at least:

            a.    10 days before the effective date of cancellation if we cancel for your nonpayment of premium; or

            b.    30 days before the effective date of cancellation if we cancel for any other reason.

      7.    If we elect not to renew the policy, we will give written notice to the mortgageholder at least 10 days before the
            expiration date of this policy.

L.    NO BENEFIT TO BAILEE

      No person or organization, other than you, having custody of Covered Property will benefit from this insurance.




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M.   OTHER INSURANCE

     1.   You may have other insurance subject to the same plan, terms, conditions, and provisions as the insurance
          under this Commercial Property Coverage Part. If you do, we will pay our share of the covered loss or
          damage. Our share is the proportion that the applicable Limit of Insurance under this Commercial Property
          Coverage Part bears to the sum of all the Limits of Insurance covering on the same basis.

     2.   If there is other insurance covering the same loss or damage, other than that described in 1. above, we will
          pay only the least of the following amounts:

          a.    Any Limit of Insurance applicable to the Covered Property that has sustained such loss or damage;

          b.    The amount of covered loss or damage in excess of the amount due from that other insurance, whether
                you can collect on it or not, without application of any deductible amounts contained elsewhere in this
                Commercial Property Coverage Part; or

          c.    The amount we would have paid had such other insurance not existed.

     3.   Paragraphs 1. and 2. above do not apply to other insurance that is purchased as insurance in excess of the
          Limit of Insurance under this Commercial Property Coverage Part.

N.   POLICY PERIOD, COVERAGE TERRITORY

     Under this Commercial Property Coverage Part:

     1.   We cover loss or damage which happens:

          a.    During the policy period shown on the Declarations; and

          b.    Within the coverage territory.

     2.   The coverage territory is:

          a.    The United States of America (including its territories and possessions);

          b.    Puerto Rico; and

          c.    Canada.

     3.   When this Commercial Property Coverage Part provides coverage for property in transit, and the property is
          being transported by an aircraft, the coverage territory is extended to anywhere in the world for that property
          while in transit, as long as either the origin or destination is included in 2. above and neither the origin nor
          destination is in any country upon which the United States government or Canadian government has imposed
          sanctions, embargoes, or similar prohibitions.

     4.   If the property is in transit by a vessel that originated outside the coverage territory included in 2. above, then
          coverage commences when the property has been fully discharged from the vessel onto a point within the
          coverage territory.

     5.   If the property is in transit by a vessel with a destination outside the coverage territory included in 2. above,
          then coverage ends when the property has been loaded on board the vessel.

O.   RECOVERED PROPERTY

     1.   If either you or we recover any property after loss settlement, that party must give the other prompt notice. At
          your option, you may do one of the following:




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           a.    Keep the loss payment and transfer the recovered property to us; or

           b.    Keep the recovered property and return the loss payment to us. If you do this, we will pay for the
                 recovery expenses and the expense to repair the recovered property up to the applicable Limit of
                 Insurance.

     2.    The amount of loss can be reduced by any salvage recovery through the sale of the damaged Covered
           Property.

           a.    If, following a loss, a recovery is made from the sale of damaged Covered Property and your claim has
                 not yet been paid, we will be entitled to this salvage recovery until we have recovered our salvaging fees
                 and expenses. The balance of the salvage recovery will be paid to you and the amount of your loss
                 settlement will be reduced by this balance.

           b.    If your claim has already been paid when a salvage recovery is made, we will be entitled to the salvage
                 proceeds until we have recovered the difference between the amount we paid you for your claim and the
                 amount we would have paid you had the salvage recovery been handled in accordance with a. above.
                 Any balance of the salvage recovery will then be promptly refunded to you.

P.   SUSPENDED EQUIPMENT

     We, or any of our representatives, have the right to declare property to be "suspended equipment" when the
     property is found to be in, or exposed to, a dangerous condition, provided we have:

     1.    Told you of the dangerous condition immediately upon discovering it and informed you of its designation as
           "suspended equipment"; and

     2.    Mailed or delivered a written notice of such condition and designation, within 24 hours of the discovery, which
           notice is mailed or delivered to:

           a.    Your last known address; or

           b.    The address where said object is located.

     Any designation of "suspended equipment" can only be rescinded, in writing, by endorsement to this Commercial
     Property Coverage Part.

     Any designation of "suspended equipment" will result in your receiving a pro rata refund of premium you paid for the
     coverage of that property under this Commercial Property Coverage Part. However, any designation of "suspended
     equipment" will be in effect if we have not yet made or offered the refund.

Q.   TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If any person or organization to or for whom we make payment under this Commercial Property Coverage Part has
     rights to recover damages from another, those rights are transferred to us to the extent of our payment. That
     person or organization must do everything necessary to secure our rights and cooperate with our efforts to recover
     our payment and must do nothing after loss to impair our rights. But you may, without restricting your coverage,
     waive your rights against another party in writing:

     1.    Prior to a loss to your Covered Property or Covered Income.

     2.    After a loss to your Covered Property or Covered Income only if, at the time of loss, that party is one of the
           following:

           a.    Someone insured under this Commercial Property Coverage Part;

           b.    A business firm owned or controlled by you;




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      c.    A business firm, or an individual, that owns or controls you; or

      d.    Your tenant.

Any recovery as a result of subrogation proceedings arising out of a covered loss, net of fees (including legal fees)
and expenses we incur in such subrogation proceedings, will be shared with you in the following manner:

1.    We will add the amount of any deductible you incurred to the amount of any other provable uninsured loss
      you incurred. This is your interest.

2.    We will determine the proportion your interest bears to the entire provable loss (both insured and uninsured).
      This is your pro rata share.

3.    We will reimburse to you your pro rata share of the recovery after deduction, from the total recovery, of
      recovery expenses paid by us and after deduction of any legal fees paid by us. We will retain the balance. We
      will not owe you any amount for any legal fees or any expenses incurred by you in furtherance of any
      recovery unless those fees or expenses are approved by us in writing and in advance of your incurring those
      fees or expenses.




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Commercial Property Definitions

1. "Accounts receivable records" means accounting records you use to document the billing and collection of
   "money" due from your customers, regardless of what material it is inscribed, printed, written, or recorded upon.

2. "Actual cash value" means "replacement cost" reduced by each of the following:

   a.   Physical deterioration;

   b. Depreciation;

   c.   Obsolescence;

   d. Depletion;

   e.   Non-conformity to codes, regulations, or statutes; and

   f.   The cost to reconstruct or remodel undamaged portions of "real property".

   But in no event will "actual cash value" be higher than the "market value".

3. "Amount you actually spend" means:

   a.   The total payments you make to an entity you do not own or operate at the time of loss or damage to repair
        the damaged "real property" or "personal property"; and

   b. For goods and services provided by entities you own or operate at the time of loss or damage to repair the
      damaged "real property" or "personal property":

        1) Direct payroll cost, excluding fixed payroll, for labor directly chargeable to the repair, rebuilding, or
           replacement of the damaged property;

        2) "Replacement cost" for your "merchandise" used in the repair, rebuilding, or replacement of the damaged
           property;

        3) Regular cash selling price, less any discounts and expenses you otherwise would have had, for your
           "finished stock" used in the repair, rebuilding, or replacement of the damaged property; and

        4) "Replacement cost" for your property other than "merchandise" or "finished stock" used in the repair,
           rebuilding, or replacement of the damaged property if replaced within 24 months, otherwise your original
           cost.

4. "Banking premises" means the interior of that portion of any building occupied by a banking institution or similar
   safe depository.

5. "Business income" means:

   a.   "Net income"; plus

   b. "Continuing expenses".
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6.   "Cessation of work" means any period of time when your business activities have ceased.

     "Cessation of work" does not mean:

     a.   Any period of time during which your business activities would not normally have been conducted, such as
          weekends or holidays;

     b. Seasonal activity planned in advance;

     c.   Schedule delays due to weather; or

     d. Labor actions beyond your control.

7. "Contaminant" means any substance that creates an impurity when it mixes with or comes into contact with
   another substance.

8. "Continuing expenses" means:

     a.   Your continuing normal operating expenses including, but not limited to:

          1) Payroll;

          2) Rental payments as tenants; and

          3) Factory overhead; and

     b. Charges, which are the legal obligations of your tenants and have not been satisfied, and which are now your
        obligation.

     "Continuing expenses" does not mean:

     a.   "Extra expense";

     b. Expediting expense; or

     c.   "Research and development continuing expenses";

     d. Depreciation of "stock", plant, or machinery damaged by a "covered cause of loss"; or

     e.   Bad debts.

9. "Contractor’s employees’ property" means tools and clothing owned by your officers, directors, partners,
   "managers", "members", or employees (including leased or temporary employees).

10. "Contractor’s equipment" means:

     a.   Equipment, tools, machinery, and other mechanical and electrical devices of a mobile nature used for
          contracting, installation, erection, repair, or moving operations or projects;

     b. Self-propelled vehicles designed and used primarily to carry mounted equipment;

     c.   Vehicles designed for highway use that are unlicensed and not operated on public roads; and

     d. Watercraft, marine floats, or barges less than 26 feet long,

     owned by you or owned by others in your care, custody, or control.

     "Contractor’s equipment" does not mean:
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    a.   Contraband or property in the course of illegal transportation or trade;

    b. Aircraft;

    c. Railroad cars;

    d. "Contractor’s employees’ property"; or

    e. Recreational watercraft.

11. "Contributing locations" means locations owned and operated by others who:

    a.   You depend on to deliver materials or services to you, or others for your account; or

    b. Pay you royalties, licensing fees, or commissions under written agreements.

    "Contributing locations" does not mean:

    a.   Locations owned and operated by others who you depend upon to provide only power, communications, or
         other utility services to you; or

    b. "Manufacturing locations".

12. "Covered cause of loss" means a fortuitous cause or event, not otherwise excluded, which actually occurs during
    this policy period.

    "Covered cause of loss" does not mean:

    a.   A fortuitous cause or event, whether or not excluded, which actually occurred prior to this policy period,
         regardless of the date on which it first becomes manifest or is first discovered; or

    b. Damage.

13. "Defective materials" means materials which are broken, inadequate, improper, faulty, flawed, improperly specified,
    contaminated, unfit for the purpose intended, or which contain a latent defect.

14. "Denial of service" means the direction of a high volume of inquiries to web site or e-mail destinations, effectively
    denying or limiting legitimate access, whether or not known to you.

15. "Dependent premises" means the following types of locations:

    a.   "Contributing locations";

    b. "Recipient locations";

    c.   "Manufacturing locations"; and

    d. "Leader locations".

    If the location is described by an address only, it includes the area associated with that address in which you or
    the occupant are legally entitled to conduct "operations" and includes that area extending 1,000 feet beyond that
    address.

    If the location is described by an address and further described by geographic boundaries, only the area within
    such boundaries, and within 1,000 feet thereof, is included.

    "Dependent premises" does not mean any of the above locations within any country in which the United States
    government or Canadian government have imposed sanctions, embargoes, or similar prohibitions.
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16. "Duplicate information property" means recorded information in any format which can either be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Duplicate information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities"; or

    e.   "Electronic data processing hardware".

17. "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
    or subsidence other than "sinkhole collapse".

    "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

18. "Electronic data processing hardware" means:

    a.   A network of electronic components capable of accepting information and processing it according to a plan
         and which exists primarily to generate information in tangible form or on electronic media, as well as air
         conditioning equipment and fire protection equipment used exclusively for data processing operations;

    b. Telephone equipment; and

    c.   Facsimile equipment.

    "Electronic data processing hardware" does not mean computers, devices, or components which:

    a.   Exist primarily to control or operate machinery or equipment or to produce "stock in process" or "finished
         stock"; or

    b. Are "stock".

19. "Electronic vandalism" means:

    a.   Willful or malicious electronic alteration, manipulation, tampering, or destruction of "accounts receivable
         records", "duplicate information property", "electronic data processing hardware", or "original information
         property";

    b. Introduction of a virus, code, or similar instruction that disrupts the normal operation of "electronic data
       processing hardware" and may destroy, alter, contaminate, or compromise the integrity, quality, or
       performance of "accounts receivable records", "duplicate information property", "electronic data processing
       hardware", or "original information property";

    c.   Unauthorized viewing, copying, or use of any electronic "accounts receivable records", "duplicate information
         property", or "original information property"; and

    d. "Denial of service".

20. "Equipment breakdown cause of loss" means any of the following:

    a.   Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices,
         wiring, or equipment;
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    b. Explosion, rupture, or bursting of steam boilers, steam pipes, steam engines, steam turbines, gas turbines,
       or apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
       explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
       within the flues or passages through which the products of combustion pass;

    c.   Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
         apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
         explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
         within the flues or passages through which the gases of combustion pass;

    d. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment,
       engines other than steam engines, or pressure vessels when owned, operated, or controlled by you; and

    e.   Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property
         owned, operated, or controlled by you.

21. "Extended period of indemnity" means the period of time that begins on the date the "period of restoration" ends
    and ends on the earlier of:

    a.   The date your gross sales, including rental income, are restored to the amount that would have existed if no
         direct physical loss or damage occurred; or

    b. The date calculated by adding the number of days shown on the Declarations for Extended Period of
       Indemnity--Business Income to the date the "period of restoration" ended.

    "Extended period of indemnity" does not mean "research and development extended period of indemnity".

22. "Extra expense" means operating expenses you incur during the "period of restoration"that would not have been
    necessary to incur if there had been no direct physical loss or damage to the property, provided such expenses
    are incurred:

    a.   In an attempt to avoid a "suspension" of or to continue those "operations" which have been affected by the
         direct physical loss or damage to the property; or

    b. In an attempt to minimize the "period of restoration".

    "Extra expense" does not mean:

    a.   Costs incurred to purchase "merchandise" as a replacement for your "finished stock";

    b. "Continuing expenses" or "research and development continuing expenses";

    c.   Costs to repair, rebuild, or replace any property, or research or restore "original information property"; or

    d. Amounts incurred on financing or investment activity conducted for your own account.

23. "Fine arts" means paintings, etchings, pictures, tapestries, and other bona fide works of art, rarity, historical
    value, or artistic merit such as rugs, statuary, marbles, bronzes, antiques, furniture, rare books, antique silver,
    manuscripts, porcelains, rare glass, and bric-a-brac.

24. "Finished stock"means "goods you have manufactured" which are completed and ready for packing, shipment,
    installation, or sale.

    "Finished stock"does not mean "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale on a "premises" or "reported unscheduled premises" of any retail outlet at which you
    are insured by Business Income Insurance.


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25. "Fire protection sprinkler system piping" means valves, fittings, and piping located above the lowest floor, and
    limited to risers, check valves, control valves, gauges, feed mains, cross mains, branch lines, arm-overs, sprigs,
    and automatic sprinkler heads located inside the building as part of the fire protection sprinkler system.

26. "Flood" means a general and temporary condition of partial or complete inundation of land areas from:

    a.   The overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or
         man-made lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans, or any other body of water or
         watercourse;

    b. Waves or tides, including tsunami;

    or their spray, whether driven by wind or not.

27. "Fungus" means any type or form of fungus, mold, or mildew and any mycotoxins, spores, scents, or by-
    products produced or released by fungi.

28. "Goods you have manufactured" means:

    a.   Goods manufactured at a location you own or operate; and

    b. Goods manufactured at a location that you do not own or operate, provided:

         1) You contracted for the goods to be manufactured exclusively for you; and

         2) You are the owner or licensee of the design, patent, trademark, or copyright for the goods.

29. "Gross earnings" means the sum of:

    a.   Total net sales value of production in manufacturing "operations";

    b. Total net sales of "merchandise" in mercantile "operations"; and

    c.   Other earnings derived from "operations",

    Less the cost of:

    a.   "Raw stock" used in the production and manufacturing "operations" in a. above;

    b. Supplies consisting of materials consumed directly in the conversion of such "raw stock" into "finished stock"
       or in supplying the services sold by you;

    c.   "Merchandise" sold, including packaging materials; and

    d. Services purchased from others (not your employees, including leased or temporary employees) for resale
       that do not continue under contract.

30. "Gross leasehold interest" means:

    a.   The monthly rental value of the "premises" or "reported unscheduled premises" you rent or lease on the date
         the direct physical loss or damage occurs; minus

    b. The actual monthly rent you pay, including taxes, insurance, janitorial, or other services you pay as part of
       the rent.

         Example:

         Monthly rental value of your leased "premises":                                     $1,000

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         Monthly rent including taxes, insurance, janitorial,
         or other services that you pay for as part of the rent:                               - $700

    "Gross leasehold interest"                                                                  $300

31. "Improvements and betterments" means fixtures, alterations, installations, or additions:

    a.   Comprising a part of the building you occupy as a tenant but do not own;

    b. Made or acquired at your expense exclusive of rent paid by you; and

    c.   Which you cannot remove legally.

32. "Installation property" means materials, supplies, equipment, and machinery, and any other similar property
    owned by you or owned by others, which are in your care, custody, or control, that you are contractually
    responsible for, which are intended to become a permanent part of an "installation or service premises".

    "Installation property" does not mean "landscaping materials".

33. "Installation or service premises" means a location that is not owned, leased, or operated by you, at which you are
    installing or servicing property.

    "Installation or service premises" does not mean a "rigging premises".

34. "Landscaping materials"means trees, shrubs, plants, grass, lawns, and other landscaping materials owned by
    you or owned by others, which are in your care, custody, or control that you are contractually responsible for,
    and intended to become a permanent part of an "installation or service premises".

    "Landscaping materials"does not mean trees, shrubs, plants, grass, lawns, and other landscaping materials that
    exist as a permanent part of an "installation or service premises" prior to the start of the project.

35. "Leader locations"means locations owned and operated by others who you depend on to attract customers to
    your business.

36. "Malfunction" means any abnormal or imperfect function, including the failure to function, of machinery, systems,
    apparatus, or equipment.

37. "Manager" means a person elected by the "members" to direct the limited liability company’s business affairs.

38. "Manufacturing locations" means locations owned and operated by others who you depend on to manufacture
    products for delivery to your customers under contract of sale.

39. "Market value" means the price which the property might be expected to realize if offered for sale in a fair market
    on the date of loss or damage.

40. "Member" means an owner of a limited liability company represented by its membership interest, who also may
    serve as a "manager".

41. "Merchandise" means:

    a.   Goods held for sale or installation by you which are not "goods you have manufactured"; and

    b. "Goods you have manufactured" which are completed and ready for packing, shipment, installation, or sale
       on a "premises" or "reported unscheduled premises" of any retail outlet at which you are insured by Business
       Income Insurance.

42. "Microorganism" means any type or form of organism of microscopic or ultramicroscopic size including, but not
    limited to, "fungus", wet or dry rot, virus, algae, or bacteria, or any by-product.

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43. "Mistake"means any act or decision, whether intentional or negligent, including the failure to act or decide, of any
    person, group, organization, or governmental body which creates or allows a result which is unexpected,
    inadequate, defective, faulty, or otherwise unsuitable for the intended purpose.

44. "Money" means:

    a.   Currency, coins, bullion, or bank notes, whether or not in current use; and

    b. Travelers checks, register checks, food stamps, and money orders held for sale to the public.

45. "Monthly leasehold interest" means the original costs you paid for:

    a.   Bonus Payments ---- "Money" you originally paid to acquire your lease, but not including rent, prepaid rent, or
         security; and

    b. Prepaid Rent - Advance rent you paid that will not be refunded to you, other than periodic rental payments,

    divided by the number of months left in your lease at the time of the expenditure.

    Example:

    Original cost of Bonus Payment                                                                $4,000

    With 20 months left in the lease at the time of Bonus Payment                                    ÷20

    "Monthly leasehold interest"                                                                    $200

46. "Net income" means the net profit or loss, including rental income from tenants, that would have been earned or
    incurred before taxes.

47. "Net leasehold interest" means the sum of:

    a.   The net present value of your "gross leasehold interest" for each remaining month of your lease, discounted
         at the Prime Rate prevailing on the date the direct physical loss or damage occurs, rounded to the nearest
         whole number; plus

    b. Your "monthly leasehold interest" times the number of months left in your lease on the date direct physical
       loss or damage occurs, rounded to the nearest whole number.

    Example:

    With 20 months left in lease and 10% Prime Rate:

    "Gross leasehold interest"                                                                      $300

    Net Present Value Factor x 18.419 for 20 months                                             X 18.419

         Subtotal a.                                                                              $5,526

    "Monthly leasehold interest"                                                                    $200

    With 20 months left in lease                                                                     x 20

         Subtotal b.                                                                              $4,000

    "Net leasehold interest"

    Subtotal a. + Subtotal b.                                                                     $9,526

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48. "Newly acquired premises" means a permanently fixed location you own, lease, rent, or control. The location
    becomes a "newly acquired premises" on the later of:

    a.   The date you obtain possession or control of the location; or

    b. The date "real property" or "personal property" in which you have an insurable interest is first placed at the
       location.

    "Newly acquired premises" does not mean:

    a.   A "premises";

    b. An "unreported premises";

    c.   A "reported unscheduled premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "rigging premises"; or

    g. A "temporary storage location".

49. "Off-premises service interruption" means the interruption of power or other utility services supplied to a covered
    location, however caused, if the interruption takes place away from the covered location.

50. "Operations" means:

    a.   Your business activities occurring at the covered location prior to the physical loss or damage; and

    b. The covered location is tenantable prior to the physical loss or damage.

    "Operations" does not mean:

    a.   The activities of those with whom you do business;

    b. Investing or financing activities conducted for your own account; or

    c.   "Research and development operations".

51. "Original information property" means recorded information in any format which cannot be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Original information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities";

    e.   "Electronic data processing hardware"; or

    f.   "Research and development property".

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52. "Outdoor trees, shrubs, plants, or lawns" means outdoor trees, shrubs, plants, or lawns you own.

    "Outdoor trees, shrubs, plants, or lawns" does not mean:

    a.   Growing crops;

    b. Standing timber;

    c.   "Landscaping materials"; or

    d. "Stock".

53. "Period of restoration" means the period of time that begins when:

    a.   The direct physical loss or damage that causes "suspension" of your "operations" occurs; or

    b. The date "operations" would have begun if the start of "operations" is delayed because of loss of or damage
       to any of the following:

         1) "Real property", whether complete or under construction;

         2) Alterations or additions to "real property"; or

         3) "Personal property":

             a) Used in such construction, alterations, or additions;

             b) Incidental to the occupancy of the area intended for construction, alteration, or addition; or

             c) Incidental to the alteration of the occupancy of an existing building or structure.

    If you resume "operations", with reasonable speed, the "period of restoration" ends on the earlier of:

    a.   The date when the location where the loss or damage occurred could have been physically capable of
         resuming the level of "operations" which existed prior to the loss or damage, if the location had been restored
         to the physical size, construction, configuration, location, and material specifications which would satisfy the
         minimum requirements necessary to obtain all required building permits, occupancy permits, operating
         licenses, or similar documents; or

    b. The date when a new permanent location is physically capable of resuming the level of "operations" which
       existed prior to the loss or damage, if you resume "operations" at a new permanent location.

    If you do not resume "operations", or do not resume "operations" with reasonable speed (whether at your
    "premises" or "reported unscheduled premises" or elsewhere), the "period of restoration" will end on the date
    when the location where the loss or damage occurred could have been restored to the physical size,
    construction, configuration, location, and material specifications which existed at the time of loss or damage, with
    no consideration for any time:

    a.   Which would have been required to make changes in order to satisfy the minimum requirements necessary to
         obtain all required building permits, occupancy permits, operating licenses, or similar documents; and

    b. Which would have been necessary to make the location physically capable of resuming the level of
       "operations" which existed prior to the loss or damage after the completion of repairs, replacement, or
       rebuilding.

    "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
    or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
    neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

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   The expiration date of this policy will not cut short the "period of restoration".

54. "Personal property" means:

   a.   "Your personal property";

   b. "Your employees’ personal property";

   c.   "Personal property of others" in your care, custody, or control;

   d. The value of labor, materials, or services furnished or arranged by you on "personal property of others";

   e.   Your interest in "improvements and betterments" to buildings or structures; and

   f.   Glass which, as a tenant, you are required to insure.

   "Personal property" does not mean:

   a.   Naturally occurring water;

   b. Growing crops or standing timber;

   c.   "Outdoor trees, shrubs, plants, or lawns";

   d. "Money", bills, notes, or "securities";

   e.   Contraband or property in the course of illegal transportation or trade;

   f.   Animals, unless:

        1)    Owned by others and boarded by you; or

        2)    Owned by you as "stock" while inside of buildings;

   g. "Fine arts";

   h. "Original information property";

   i.   Vehicles or self-propelled machines (including aircraft or watercraft) that:

        1)    Are licensed for use on public roads; or

        2)    Are operated principally away from a "premises" or "reported unscheduled premises";

        But not:

        1)    Vehicles or self-propelled machines you manufacture, process, warehouse, or hold for sale, other than
              vehicles licensed for use on public roads;

        2)    Vehicles licensed for use on public roads that you manufacture, process, warehouse, or hold for sale,
              while on a "premises" or "reported unscheduled premises"; or

        3)    Unpowered watercraft while out of water on a "premises" or "reported unscheduled premises";

   j.   Property contained in underground mines, mine shafts, caverns, open pits, or quarries; or

   k.   "Research and development property".


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55. "Personal property of others" means personal property not owned by you, your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

56. "Pollutants" means any solid, liquid, gaseous, or thermal irritant, or "contaminant", including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned, or reclaimed.

57. "Premises" means:

    A location scheduled on the Declarations for this Commercial Property Coverage Part.

    a.   If the location is described by an address only, it includes the area associated with that address in which you
         are legally entitled to conduct your business activities and includes that area extending 1,000 feet beyond the
         address.

    b. If the location is described by an address and further described by geographic boundaries, it includes only
       the area within such geographic boundaries in which you are legally entitled to conduct your business
       activities and includes that area extending 1,000 feet beyond that area.

         If you are a tenant, for purposes of "time element coverage", "premises" includes those portions of the
         location not rented or intended to be rented to others.

58. "Raw stock" means material in the state in which you acquired it for conversion into "finished stock".

59. "Real property" means:

    a.   Buildings;

    b. Permanent structures;

    c.   Equipment and apparatus used to maintain or service the buildings, structures, or their "premises" or
         "reported unscheduled premises"; and

    d. Materials, equipment, supplies, and temporary structures used for making additions, alterations, or repairs to
       the buildings or permanent structures.

    "Real property" does not mean:

    a.   "Fine arts";

    b. Land;

    c.   Water;

    d. Underground mines, mine shafts, caverns, open pits, or quarries;

    e.   Growing crops or standing timber;

    f.   "Outdoor trees, shrubs, plants, or lawns";

    g. "Research and development property";

    h. "Contractor’s equipment";

    i.   "Contractor’s employees’ property";

    j.   "Installation property";

    k.   "Landscaping materials"; or

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    l.   Property of others in your care, custody, or control for "rigging".

60. "Recipient locations" means locations owned or operated by others, who you depend on to accept your products
    or services.

61. "Replacement cost" means the lesser of:

    a. Repair Cost

         The cost to repair the "real property" or "personal property" at the time of direct physical loss or damage with
         new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance with
         all applicable zoning, land use, or construction codes in force at the time of loss or damage. This includes
         the cost to reconstruct or remodel undamaged portions of the "real property" when those costs are a
         consequence of enforcement of such codes.

    b. Rebuild Cost

         The cost to rebuild the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss or damage. Unless
         otherwise required at the time of loss by the applicable codes, this cost will be based on rebuilding at the
         same location where the loss occurred.

    c. Replace Cost

         The cost to replace the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss. Unless otherwise
         required at the time of loss by the applicable codes, this cost will be based on replacing at the same location
         where the loss or damage occurred.

         If property of the same kind and quality is no longer available, we will pay to replace it with other property of
         similar quality and function, including property of greater processing capacity.

         "Real property" and "personal property" valuation includes the cost you paid for non-refundable or non-
         transferable extended warranties, maintenance contracts, or service contracts which were still in force at the
         time of loss or damage and are no longer valid as a result of loss of or damage to "real property" or "personal
         property".

         If there is an ordinance or law in force at the time of loss or damage that regulates zoning, land use, or
         construction of "real property" or "personal property" at the "premises" or "reported unscheduled premises",
         and if loss or damage covered by this Commercial Property Coverage Part causes a demolition order to be
         issued pursuant to any such ordinance or law, "replacement cost" includes the costs to demolish and clear
         the site of the undamaged portion of the "real property" or "personal property".

    "Replacement cost" does not mean:

    a.   Costs associated with the enforcement of any ordinance or law which requires any insured or others to test
         for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond to, or assess the
         effects of, "pollutants" or "microorganisms";

    b. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
       remodeling, or remediation of property due to contamination by "pollutants" or due to the presence, growth,
       proliferation, spread, or any activity of "microorganisms"; or

    c.   Costs to comply with any ordinance or law that you were required to comply with before the loss or damage.



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62. "Reported unscheduled premises" means permanently fixed locations for which you have submitted a schedule
    on file with us containing:

    a.   The address of the location and includes that area extending 1000 feet beyond the address;

    b. An identification of the property, business income, or extra expense to be covered; and

    c.   The value of such identified property, business income, or extra expense.

    If you are a tenant, for purposes of "time element coverage", "reported unscheduled premises" includes those
    portions of the location not rented or intended to be rented to others.

    "Reported unscheduled premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   An "unreported premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "temporary storage location";

    g. A "rigging premises"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

63. "Research and development continuing expenses" means your continuing normal operating expenses that are
    directly attributable to "research and development operations", including payroll, rental payments as tenants, and
    factory overhead.

64. "Research and development extended period of indemnity" means the period of time that begins on the date the
    "period of restoration" ends and ends on the earlier of:

    a.   The effective date of new contracts that will utilize that portion of your "research and development continuing
         expenses" attributable to a suspension, lapse, or cancellation for which coverage is provided under
         paragraph b. of the Extended Period of Indemnity Additional Coverage; or

    b. The date calculated by adding the number of days shown on the Declarations for Research and Development
       Extended Period of Indemnity--Business Income to the date the "period of restoration" ended.

65. "Research and development operations" means your business activities where "research and development
    property" is being planned, created, developed, or tested.

66. "Research and development property" means:

    a.   Information which cannot be duplicated or purchased from another source, including any material it is
         inscribed, printed, written, or recorded upon, including documents, manuscripts, records, data, or programs,
         developed or used in conjunction with any research and development project;

    b. Original or experimental property;

    c.   Prototypes or samples;

    d. Experiments in progress;
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    e.   Biological products, processes, or cultures; and

    f.   "Research animals".

    "Research and development property" does not mean:

    a.   Animals, other than "research animals";

    b. "Money", bills, notes, or "securities";

    c.   "Stock";

    d. "Fine arts"; or

    e.   Growing plants or crops.

67. "Research animal" means any multi-cellular organism that is used in your "research and development operations".

68. "Rigging" means rigging, hoisting, moving, erecting, lowering, and millwright work.

69. "Rigging premises" means a location for the purpose of:

    a.   "Rigging";

    b. Assembling or dismantling work done in connection with a "rigging" project; or

    c.   Operations incidental to a "rigging", assembling, or dismantling project.

70. "Salespersons samples" means "personal property" that is in the custody of one of your salespersons and used
    only for sample purposes.

71. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or
    property and includes:

    a.   Tokens, tickets, revenue, and other stamps whether or not in current use; and

    b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you.

    "Securities" does not mean:

    a.   "Money"; or

    b. Lottery tickets held for sale.

72. "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by the
    action of water on limestone or similar rock formations.

    "Sinkhole collapse" does not mean the:

    a.   Sinking or collapse of land into man-made underground cavities;

    b. Sinking or collapse of land caused by or resulting from "flood"; or

    c.   Cost of filling sinkholes.




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73. "Specified causes of loss" means the following:

    a.   Fire;

    b. Lightning;

    c.   Explosion;

    d. Windstorm or hail;

    e.   Smoke;

    f.   Aircraft or vehicles;

    g. Riot or civil commotion;

    h. Vandalism;

    i.   Leakage from fire extinguishing equipment;

    j.   "Sinkhole collapse";

    k.   Volcanic action;

    l.   Falling objects, excluding loss or damage to:

         1) "Personal property" in the open; or

         2) The interior of buildings or property inside buildings, unless the roof or an outside wall of the building is
            first damaged by a falling object;

    m. Weight of snow, ice, or sleet;

    n. Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
       steam; and

    o. "Equipment breakdown cause of loss", excluding loss of or damage to "stock" caused by the discharge,
       dispersal, release, or escape of refrigerants.

74. "Stock" means the following:

    a.   "Raw stock";

    b. "Stock in process";

    c.   "Finished stock"; and

    d. "Merchandise".

75. "Stock in process" means "raw stock" which has undergone aging, seasoning, mechanical, or other process of
    manufacture but which has not become "finished stock".

76. "Suspended equipment" means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping
    and its accessory equipment, and any mechanical or electrical machine or apparatus used for the generation,
    transmission, or utilization of mechanical or electrical power, provided we have complied with the requirements
    described in the Suspended Equipment Condition contained in the COMMERCIAL PROPERTY CONDITIONS.


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77. "Suspension" means:

    a.   The slowdown or cessation of your business activities; or

    b. That a part or all of the covered location is rendered untenantable.

78. "Temporary storage location" means a permanently fixed location where "stock" or "installation property" that is to
    become a permanent part of an "installation or service premises" is stored while waiting to be delivered to an
    "installation or service premises":

    a.   That you do not own, lease, or operate; and

    b. Where there is a written construction or installation contract or agreement to install "stock" or "installation
       property" at that "installation or service premises".

    "Temporary storage location" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition; or

    f.   An "unreported premises".

79. "Time element coverage" means the coverage provided under any of the following:

    a.   BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE);

    b. BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
       EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY; or

    c.   EXTRA EXPENSE COVERAGE FORM.

80. "Unreported premises" means a permanently fixed location that contains "real property"or "personal property" in
    which you have an insurable interest, but has not been reported to us.

    "Unreported premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition;

    f.   An "installation or service premises";

    g. A "temporary storage location"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

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81. "Your employees’ personal property" means personal property owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

82. "Your personal property" means personal property owned by you.




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Real and Personal Property Coverage Form


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Real and Personal Property Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises" directly
     caused by a "covered cause of loss". We will not pay more in any one occurrence than the applicable Limit of
     Insurance shown on the Declarations for such loss of or damage to Covered Property at that "premises".

B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Cracking and Settling

          We will not pay for loss or damage caused by or resulting from bulging, cracking, shrinkage, expansion, or
          settling of "real property" or "personal property". This exclusion applies even if one of these excluded
          causes of loss was caused by or resulted from a "mistake" or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     3.   Disappearance or Shortage

          We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
          inventory or where there is no physical evidence to show what happened to the property. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
          "malfunction".

     4.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
          or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:




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     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

5.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "real property" or "personal property" caused by leakage from "fire protection
     sprinkler system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
     "fire protection sprinkler system piping" leakage.

6.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

7.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".




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8.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

9.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property";

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

10. Impact Damage

     We will not pay for loss or damage caused by or resulting from water, including water pressure, ice, or
     impact of watercraft to buildings or structures located on or partially over water, including retaining walls,
     bulkheads, piers, wharves, docks, or any other property located on those structures. This exclusion applies
     even if one of these excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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    But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
    lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
    loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

    We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
    radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
    cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
    the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
    or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
    solely caused by that fire.

14. Off-Premises Service Interruption

    We will not pay for loss or damage caused by or resulting from any "off-premises service interruption". Such
    loss or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
    weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

15. Pollutants

    We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
    release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
    caused by a "specified cause of loss", we will pay only for that portion of the loss or damage solely caused
    by that "specified cause of loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

16. Process Failures, Defects, or Errors

    We will not pay for any of the following:

    a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
         or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
         calibration, development, distribution, installation, manufacturing, maintenance, processing, repair,
         research, or testing of such "stock".

    b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
         "mistake" in:




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         1)   Planning, zoning, development, surveying, siting;

         2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
              compaction;

         3)   Materials used in repair, construction, renovation, or remodeling; or

         4)   Maintaining or servicing,

         of part or all of any property on or off a "premises".

         But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
         portion of the loss or damage which was solely caused by that "covered cause of loss".

    c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
         incorporating "defective materials" into part or all of any property on or off a "premises".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
         the loss or damage which was solely caused by that "covered cause of loss".

    d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
         exclusion applies even if this excluded cause of loss was caused by or resulted from an "equipment
         breakdown cause of loss", "mistake", or "malfunction".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
         the loss or damage which was solely caused by that "covered cause of loss".

17. Suspended Equipment

    We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
    "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
    resulted from a "mistake" or "malfunction".

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

18. War and Military Action

    We will not pay for loss or damage arising, directly or indirectly, out of:

    a.   War, including undeclared or civil war;

    b.   Warlike action by a military force, including action in hindering or defending against an actual or
         expected attack, by any government, sovereign, or other authority using military personnel or other
         agents; or

    c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
         hindering or defending against any of these.

    Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
    "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.




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C.   LIMITATIONS

     The following types of property are covered only up to the Limits of Insurance shown below in any one
     occurrence for loss or damage due to theft:

     1.   $2,500 for furs, fur garments, and garments trimmed with fur.

     2.   $2,500 for jewelry, watches, watch movements, jewels, pearls, precious and semiprecious stones, bullion,
          gold, silver, platinum, and other precious alloys or metals.

          This limit does not apply to:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes.

     3.   $250 for lottery tickets held for sale.

     These Limits of Insurance are included in, and not in addition to, any other applicable Limits of Insurance.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace the "real property" or "personal property"
               at the same or another location.

     2.   Except as provided in 3., 5., 6., and 7. below, "real property" or "personal property", other than
          "improvements and betterments", which is not repaired, rebuilt, or replaced will be valued at the "actual cash
          value" at the time and place of loss or damage. If you commence the repair, rebuilding, or replacement of
          the lost or damaged "real property" or "personal property" within 24 months from the date the loss or damage
          occurred, upon completion of the repair, rebuilding, or replacement, we will pay you the difference between
          the "actual cash value" previously paid and the "replacement cost" at the time of loss or damage.

     3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
          less any discounts and expenses you otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
          proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
          no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   "Improvements and betterments" at:

          a.   The "replacement cost" if you make repairs with reasonable speed.




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          b.   A proportion of your original cost if you do not make repairs with reasonable speed. We will determine
               the proportionate value as follows:

               1)   Multiply the original cost by the number of days from the loss or damage to the expiration of the
                    lease; and

               2)   Divide the amount determined in 1) above by the number of days from the installation of
                    "improvements and betterments" to the expiration of the lease.

               If your lease contains a renewal option, the expiration of the renewal option period will be used as the
               expiration of the lease.

          c.   That portion which has not been paid if others pay for repairs, rebuilding, or replacement.

     6.   "Personal property" which has been permanently removed from service at "actual cash value".

     7.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

F.   OPTIONAL COVERAGE

     Margin Clause

     If Margin Clause is shown on the Declarations, we will not pay more than the lesser of the following:

     1.   The amount of covered loss or damage at the "premises"; or

     2.   The percentage applied to the applicable Limit of Insurance for such property at the "premises".

     The most we will pay is the applicable percentage shown on the Declarations for Margin Clause. However, in no
     event will we pay more than $5,000,000 over the applicable Limits of Insurance shown on the Declarations for
     that "premises".

     This Optional Coverage for "real property" or "personal property" does not apply to:

     1.   Any Limit of Insurance applicable to more than one "premises"; or

     2.   Any other Limit of Insurance applicable for which a specific coverage Limit of Insurance is provided.




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Additional Coverages Form

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Additional Coverages Form

A.   ADDITIONAL COVERAGES

     The following are Additional Coverages to coverages set forth in this Commercial Property Coverage Part. If you
     have not chosen a coverage elsewhere in this Commercial Property Coverage Part, there is no coverage under its
     corresponding Additional Coverages. For example, if you do not have coverage for "stock" under the REAL AND
     PERSONAL PROPERTY COVERAGE FORM, you will not have coverage related to "stock" under the
     Consequential Loss--Undamaged Stock Additional Coverage, or any other Additional Coverage for "stock".

     Each of the following Additional Coverages apply independently of one another. Unless otherwise stated, the
     excluded causes of loss, exclusions, terms, and conditions in the applicable Coverage Forms apply to these
     Additional Coverages.

     The most we will pay for loss, damage, cost, or expense under any of the following Additional Coverages are the
     Limits of Insurance shown on the Declarations. Limits for these Additional Coverages apply in addition to any
     other applicable policy limits, unless otherwise stated.

       1.   Consequential Loss--Net Leasehold Interest

            We will pay for the loss of "net leasehold interest" you sustain when your lease is cancelled:

            a.     By the lessor; and

            b.     As a result of a valid condition of your lease,

            due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
            "covered cause of loss" at a "premises" or "reported unscheduled premises". We will not pay more than the
            "net leasehold interest" at the time of the cancellation of the lease. However, if your lease is cancelled and
            your landlord lets you continue to use the "premises" or "reported unscheduled premises" under a new
            lease, we will not pay more than:

            a.     The rent you will pay under the new lease; minus

            b.     The rent you were paying at the time of cancellation.

            We will not pay under this Additional Coverage if the "premises" or "reported unscheduled premises" where
            the lease is cancelled had been vacant for more than 60 consecutive days prior to the loss or damage
            unless you had entered into an agreement to sublease the "premises" or "reported unscheduled premises".

            The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
            premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Net Leasehold
            Interest.

            The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
            Insurance.




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2.   Consequential Loss--Tenant’s Improvements and Betterments

     We will pay for the value of undamaged "improvements and betterments" when your lease is cancelled:

     a.     By the lessor; and

     b.     As a result of a valid condition of your lease,

     due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
     "covered cause of loss" at a "premises" or "reported unscheduled premises".

     If you rent an entire building, we will pay only if:

     a.     At least 25% of the area of that entire building has been damaged; or

     b.     A minimum of 6 months remains in your current lease and at least 6 months is required to repair the
            building for your occupancy.

     If you rent a portion of a building, we will only pay if:

     a.     A minimum of 6 months remains in your lease; and

     b.     At least 6 months is required to repair the building for your occupancy.

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Tenant’s
     Improvements and Betterments.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Consequential Loss--Undamaged Stock

     We will pay for the consequential loss in value of undamaged "stock" which has become unmarketable as a
     complete product because of direct physical loss of or damage to other "stock" directly caused by a
     "covered cause of loss".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Undamaged Stock.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Contamination by a Refrigerant

     We will pay for direct physical loss of or damage to "stock" caused by the release or escape of refrigerants
     from any equipment located at a "premises" or "reported unscheduled premises" provided the release or
     escape was not caused by or resulted from "flood" or "earth movement".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Contamination by a Refrigerant.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.




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5.   Debris Removal

     a.     We will pay your expense to remove debris of Covered Property, for which a Limit of Insurance is
            shown on the Declarations, remaining after a "covered cause of loss". The most we will pay under
            this Additional Coverage for Debris Removal is the remaining applicable Limit of Insurance for the
            Covered Property shown on the Declarations after payment of the covered physical loss or damage.

            If the total of the loss or damage and debris removal expense exceeds the applicable Limit of
            Insurance, we will pay the remaining debris removal expenses. The most we will pay under this
            Additional Coverage in any one occurrence is the Limit of Insurance shown on the Declarations for
            Debris Removal--Supplemental Limit.

     b.     If wind causes direct physical loss of or damage to Covered Property, we will also pay for the
            expenses you incur to remove debris of uncovered property that is blown on to the "premises" or
            "reported unscheduled premises" by wind and to remove debris of "outdoor trees, shrubs, plants, or
            lawns" damaged by wind.

            The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
            shown on the Declarations for Debris Removal--Uncovered Property.

     In no event will there be any coverage under this Debris Removal Additional Coverage for any costs to:

     a.     Extract "pollutants" from land or water; or

     b.     Remove, restore, or replace polluted land or water.

     The expenses will be paid only if they are reported to us in writing within 180 days of the date of loss or
     damage.

6.   Deferred Payments

     We will pay your financial interest in "personal property" that suffers direct physical loss or damage directly
     caused by a "covered cause of loss" after delivery to buyers and sold by you on a conditional sale or trust
     agreement, or any installment or deferred payment plan.

     This Additional Coverage does not apply to default of such agreement or plan by the buyer.

     We will determine the amount of covered loss or damage as follows:

     a.     In the event of a total loss and the buyer refuses to continue payment, coverage will be valued based
            on the amount shown on your books as due from the buyer;

     b.     In the event of partial loss or damage and the buyer refuses to continue payment, forcing you to
            repossess, coverage will be valued as follows:

            If the realized value of the repossessed "personal property" is:

            1)    Greater than or equal to the amount shown on your books as due from the buyer, we will
                  make no payment; or

            2)    Less than the amount shown on your books as due from the buyer, we will pay the difference,
                  less any amount that was past due at the time of loss by more than 30 days; and

     c.     When a loss occurs and the buyer continues to pay you, there will be no loss payment.




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      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Deferred Payments.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

7.    Electronic Vandalism--Direct Damage

      We will pay for loss of or damage to "accounts receivable records", "duplicate information property",
      "electronic data processing hardware", or "original information property" caused by "electronic vandalism".

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Electronic Vandalism--Direct Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

8.    Expediting Expense

      In the event of covered loss of or damage to "real property" or "personal property" at a "premises" or
      "reported unscheduled premises" directly caused by a "covered cause of loss", we will pay reasonable and
      necessary additional expenses you incur for temporary repair of damage to such "real property" or
      "personal property" and the additional expenses you incur for expediting the permanent repair or
      replacement of such damaged property. This Additional Coverage does not include expenses recoverable
      elsewhere in this Commercial Property Coverage Part.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Expediting Expense.

9.    Fairs or Exhibitions

      We will pay for direct physical loss of or damage to "personal property":

      a.     At fairs or exhibitions; and

      b.     In transit to or from fairs or exhibitions,

      directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Fairs or Exhibitions--Personal Property.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

10.   Fire Department Service Charge

      When the fire department is called to save or protect Covered Property from a "covered cause of loss" at a
      "premises" or "reported unscheduled premises", we will pay for your liability for the fire department service
      charges:

      a.     Assumed by contract or agreement prior to loss; or

      b.     Required by local ordinance, law, or statute.




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      We will also pay for those costs incurred by your fire brigade to save or protect Covered Property from a
      fire, but not including the costs to refill fire protective equipment.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Fire Department Service Charge.

      No deductible applies to this Additional Coverage.

11.   Fire Protective Equipment Refills

      We will pay the reasonable and necessary costs you incur to refill fire protective equipment which has been
      discharged:

      a.      Accidentally; or

      b.      In the course of saving or protecting Covered Property from a "covered cause of loss".

      No Limit applies to this Additional Coverage.

12.   Inflation Guard

      The Limits of Insurance to which the Inflation Guard applies will automatically increase by the annual
      percentage shown on the Declarations.

      The amount of the increase will be:

      a.      The Limit of Insurance that applied on the most recent of this Commercial Property Coverage Part’s
              inception date, anniversary date, or date of any other Commercial Property Coverage Part change
              amending the Limit of Insurance, multiplied by

      b.      The percentage of annual increase shown on the Declarations, expressed as a decimal (Example: 8%
              is .08), multiplied by

      c.      The number of days since the beginning of the most recent Commercial Property Coverage Part year
              or the effective date of the most recent Commercial Property Coverage Part change amending the
              Limit of Insurance, divided by 365.

      Example:

      If:           The applicable Limit of Insurance is                     $100,000

                    The annual percentage increase is                              8%

                    The number of days since the beginning of the
                    Coverage Part Year (or last Coverage Part change) is           146

      Then:         The amount of increase is $100,000 x .08 x 146 / 365 =   $   3,200

                    The available Limit of Insurance is                       $103,200

13.   Lock and Key Replacement

      We will pay the reasonable cost of:

      a.      Entry key replacement if keys to a "premises" or "reported unscheduled premises" are stolen; or




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      b.     Entry lock repair or replacement made necessary by theft or attempted theft at a "premises" or
             "reported unscheduled premises".



      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Lock and Key Replacement.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

14.   Microorganisms

      We will pay the following when "microorganisms" are the result of a "covered cause of loss", other than fire
      or lightning:

      a.     Direct physical loss of or damage to Covered Property caused by "microorganisms", including the
             cost of removal of the "microorganisms";

      b.     The reasonable cost to tear out and replace any part of the covered building or other property
             needed to gain access to the "microorganisms"; and

      c.     The reasonable cost of testing performed after removal, repair, replacement, or restoration of the
             damaged property is completed, provided there is a reason to believe that the "microorganisms" are
             still present.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Microorganisms. Regardless of the number of claims, this
      Limit is the most we will pay for the total of all loss, damage, or cost, even if the "microorganisms" continue
      to be present, active, or recur.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

15.   Newly Acquired Premises

      We will pay for direct physical loss of or damage to "real property" or "personal property" at a "newly
      acquired premises" directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the "newly acquired premises" to us;

      b.     The number of days shown on the Declarations from the date the location becomes a "newly
             acquired premises"; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the applicable
      Limit of Insurance shown on the Declarations for Newly Acquired Premises.

16.   Newly Acquired Property

      We will pay for direct physical loss of or damage to:




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      a.     Your newly acquired or constructed "real property" at a "premises" if coverage is not currently
             shown for "real property" at that "premises" on the Declarations; and

      b.      Your newly acquired "personal property" at a "premises" if coverage is not currently shown for
             "personal property" at that "premises" on the Declarations.

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the newly acquired property to us;

      b.     The number of days shown on the Declarations from the date construction of "real property" begins
             or completed "real property" or "personal property" is acquired; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date construction of "real property"
      begins or "personal property" or completed "real property" is acquired.

      The most we will pay under this Additional Coverage at any one "premises" is the applicable Limit of
      Insurance shown on the Declarations for Newly Acquired Property.

17.   Off-Premises Service Interruption--Direct Damage

      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises"
      or "reported unscheduled premises" directly caused by an "off-premises service interruption". The
      interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
      to any propert y located away from the "premises" or "reported unscheduled premises" and used to
      provide any of the following services to the "premises" or "reported unscheduled premises":

      a.     Water;

      b.     Power, including steam and natural gas; or

      c.     Communication.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Direct
      Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

18.   Outdoor Trees, Shrubs, Plants, or Lawns

      We will pay for direct physical loss of or damage to "outdoor trees, shrubs, plants, or lawns" at a "premises"
      or "reported unscheduled premises" directly caused by:

      a.     Fire;

      b.     Lightning;

      c.     Explosion;

      d.     Riot or civil commotion; or




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      e.     Aircraft.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" and for any one tree, shrub, plant, or lawn are the Limits of Insurance shown on the
      Declarations for Outdoor Trees, Shrubs, Plants, or Lawns.

19.   Pollutant Clean Up and Removal--Land and Water

      We will pay the reasonable expenses you incur to extract "pollutants" from land or water at a "premises" or
      "reported unscheduled premises" if the discharge, dispersal, seepage, migration, release, or escape of the
      "pollutants" is directly caused by a "covered cause of loss".

      This Additional Coverage does not apply to the costs to test for, monitor, or assess the existence,
      concentration, or effects of "pollutants". But we will pay for the reasonable cost of testing performed in the
      course of extracting the "pollutants" from the land or water.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" in any one policy year is the Annual Aggregate Limit of Insurance shown on the Declarations for
      Pollutant Clean Up and Removal--Land and Water.

      The expenses will be paid only if they are reported to us in writing within 180 days of the date on which the
      "covered cause of loss" occurs.

20.   Preservation of Property

      If Covered Property is removed from a "premises" or "reported unscheduled premises" to preserve it from
      actual or imminent physical loss or damage caused by a "covered cause of loss":

      We will pay for:

      a.     Any direct physical loss of or damage to Covered Property while it is being moved to or while stored
             at another location for up to the number of days shown on the Declarations for Preservation of
             Property; and

      b.     The reasonable cost to remove Covered Property from the "premises" or "reported unscheduled
             premises".

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
      Insurance shown on the Declarations for that Covered Property.

21.   Professional Fees

      We will reimburse you for the reasonable expenses you incur for professional services for auditors,
      accountants, architects, or engineers which are necessary to prepare a statement of loss or exhibits
      required in connection with any loss covered under this Commercial Property Coverage Part. This
      Additional Coverage does not apply to fees and costs of:

      a.     Your employees; or

      b.     Attorneys, public adjusters, loss appraisers, or loss consultants.

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Professional Fees.

22.   Reported Unscheduled Premises




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      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "reported
      unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
      applicable Limit of Insurance shown on the Declarations for Reported Unscheduled Premises.

23.   Reward Payments

      We will reimburse you for rewards you pay for information leading to:

      a.     The successful return of undamaged stolen Covered Property to you or a law enforcement agency;
             or

      b.     The arrest and conviction of any persons for having damaged or stolen your Covered Property.

      The reward payments must be documented.

      The most we will pay under this Additional Coverage in any one occurrence is 25% of the covered loss,
      prior to the application of any applicable deductible and recovery of any Covered Property, up to the Limit
      of Insurance shown on the Declarations for Reward Payments.

24.   Salespersons Samples

      We will pay for direct physical loss of or damage to "salespersons samples" in transit while in the custody
      of a salesperson or at any location, other than a "premises" or "reported unscheduled premises", directly
      caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Salespersons Samples.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

25.   Spoilage--Equipment Breakdown

      We will pay for direct physical loss of or damage to "stock" at a "premises" or "reported unscheduled
      premises" directly caused by the loss of or changes in any artificially maintained or generated temperature,
      humidity, or atmosphere resulting from an "equipment breakdown cause of loss" to atmosphere control
      equipment at the "premises" or "reported unscheduled premises".

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Spoilage--Equipment Breakdown.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

26.   Theft Damage to Buildings

      We will pay for direct physical loss of or damage to "real property" at a "premises" or "reported unscheduled
      premises" in which you are a tenant directly caused by theft, burglary, or robbery, provided you are legally
      obligated to pay for such loss or damage.

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations
      for "personal property" at that "premises" or "reported unscheduled premises".

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.




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     27.   Unreported Premises

           We will pay for direct physical loss of or damage to "real property" and "personal property", other than
           "salespersons samples" or property in transit, at an "unreported premises" directly caused by a "covered
           cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises.

B.   DEDUCTIBLE

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of loss, damage, cost,
     or expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, cost, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.




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Accounts Receivable Coverage Form
(Revenue Loss)

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Accounts Receivable Coverage Form
(Revenue Loss)

A.   COVERAGES

     1.    Accounts Receivable (Revenue Loss)

           We will pay for:

           a.   The "money" due you from customers that you are unable to collect;

           b.   Interest charges on any loan required to offset amounts you are unable to collect pending our
                payment of these amounts; and

           c.   Collection expenses in excess of your normal collection expenses that are made necessary by the
                loss or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" at a "premises" or
           "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
           premises" is the Limit of Insurance shown on the Declarations for Accounts Receivable (Revenue Loss).

      2.   Accounts Receivable (Revenue Loss)--Away From Premises

           We will also pay for:

           1.   The "money" due you from customers that you are unable to collect;

           2.   Interest charges on any loan required to offset amounts you are unable to collect pending our
                payment of these amounts; and

           3.   Collection expenses in excess of your normal collection expenses that are made necessary by the
                loss or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown
           on the Declarations for Accounts Receivable (Revenue Loss)--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "accounts receivable records" done to conceal the wrongful giving, taking, or withholding
           of "money", "securities", or other property.




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2.   Bookkeeping, Accounting, or Billing Mistakes

     We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in
     bookkeeping, accounting, or billing.

3.   Defects or Errors

     We will not pay for any of the following:

     a.   Loss or damage caused by or resulting from a "mistake" in:

          1)   Programming;

          2)   Instructions to a machine; or

          3)   Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing

          of part or all of any property on or off a "premises" or "reported unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "accounts receivable
     records". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including




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     leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
     you have entrusted the "accounts receivable records" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to
           them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will
     pay for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "accounts receivable records" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from
     the "fire protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.


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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion
     of the loss or damage which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation,
     expropriation, nationalization, or destruction of property by order of governmental authority. Such loss
     or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered.

     This exclusion does not apply to acts of destruction of "accounts receivable records" ordered by
     governmental authority and taken at the time of fire to prevent its spread.

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage
     which was solely caused by that fire.

14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:




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          a.    War, including undeclared or civil war;

          b.    Warlike action by a military force, including action in hindering or defending against an actual or
                expected attack, by any government, sovereign, or other authority using military personnel or other
                agents; or

          c.    Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
                hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss, damage, or expense in any one occurrence until the amount of loss, damage, or
     expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.

D.   VALUATION

     If you cannot accurately establish the amount of accounts receivable outstanding at the time of loss or
     damage to "accounts receivable records", the following method will be used to determine the amount of
     covered loss, damage, or expense:

     1.   Determine the total of the average monthly amounts of accounts receivable for the 12 months immediately
          preceding the month in which the loss or damage occurred; and

     2.   Adjust that total for normal fluctuations in the amount of accounts receivable for the month in which the
          loss or damage occurred or for any demonstrated variance from the average for that month.

     The following will be deducted from the total amount of accounts receivable, however that amount is
     established:

     1.   The amount of the accounts receivable for which there is no loss or damage;

     2.   The amount of the accounts receivable that you are able to re-establish or collect;

     3.   An amount to allow for probable bad debts that you are normally unable to collect; and

     4.   All unearned interest and service charges.




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Fine Arts Coverage Form

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Fine Arts Coverage Form

A.   COVERAGES

     1.    Fine Arts

           We will pay for direct physical loss of or damage to "fine arts" at a "premises" or "reported unscheduled
           premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
           is the Limit of Insurance shown on the Declarations for Fine Arts.

      2.   Fine Arts--Away From Premises

           We will also pay for direct physical loss of or damage to "fine arts" away from a "premises" or "reported
           unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Fine Arts--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
                "mistake" in:

                1)   Planning, zoning, development, surveying, siting;

                2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
                     compaction;

                3)     Materials used in repair, construction, renovation, or remodeling; or

                4)     Maintaining or servicing,

                of part or all of any property on or off a "premises" or "reported unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".

           b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
                incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
                unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".




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2.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "fine arts". This exclusion
     applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

3.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "fine arts" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

4.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "fine arts" caused by leakage from "fire protection sprinkler system piping" results
     from "earth movement", and there is no other loss or damage from "earth movement" to that same property,
     we will pay for direct physical loss or damage caused solely from the "fire protection sprinkler system piping"
     leakage.

5.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.




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     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

6.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

7.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of "fine arts" by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property",

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

8.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

9.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     10. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     11. Pollutants

         We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
         release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
         caused by a "specified cause of loss", we will pay only for that portion of the loss or damage which was
         solely caused by that "specified cause of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

     12. Repair, Restoration, or Retouching

         We will not pay for loss of or damage to "fine arts" caused by or resulting from repair, restoration, or
         retouching.

     13. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a.   War, including undeclared or civil war;

         b. Warlike action by a military force, including action in hindering or defending against an actual or
            expected attack, by any government, sovereign, or other authority using military personnel or other
            agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     1.   "Fine arts" are valued based on the lesser of:

          a.   "Market value" at the time of loss or damage; or

          b.   The value of "fine arts" that are individually listed and described on the schedule on file with us.

     2.   Pairs or Sets

          In case of loss to any part of a pair or set, we may:

          a.   Repair or replace any part to restore the pair or set to its value before the loss; or

          b.   Pay the difference between the value of the pair or set before and after the loss.




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Installation and Service Property Coverage Form

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Installation and Service Property Coverage Form

A.   COVERAGES

     1.   Stock to be Installed

          We will pay for direct physical loss of or damage to "stock" directly caused by a "covered cause of loss" while
          such "stock" is:

          a.   At an "installation or service premises";

          b.   At a "temporary storage location"; or

          c.   In transit, to or from an "installation or service premises" or a "temporary storage location".

          Coverage ends at the earlier of the following:

          a.   Your insurable interest in the "stock" ceases;

          b.   The "stock" is accepted by the purchaser;

          c.   The "stock" is installed and you have been paid;

          d.   The "stock" is installed and put to its intended use; or

          e.   The policy expires or is cancelled.

          The most we will pay under this Marine Coverage in any one occurrence is the applicable Limit of Insurance
          shown on the Declarations for Installation and Service Property--Stock to be Installed.

     2.   Tools and Equipment

          We will pay for direct physical loss of or damage to:

          a.   "Personal property" that are tools and equipment; and

          b.   Vehicles that are not licensed for use on public roads,

          used by you to install or service property at an "installation or service premises" directly caused by a
          "covered cause of loss". Coverage applies while such property is:

          a.   At an "installation or service premises"; or

          b.   In transit, to or from an "installation or service premises".

          The most we will pay under this Marine Coverage for any one item and in any one occurrence is the
          applicable Limit of Insurance shown on the Declarations for Installation and Service Property--Tools and
          Equipment or in a schedule on file with us.




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B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Disappearance or Shortage

          We will not pay for loss caused by disappearance or shortage disclosed on taking inventory or where there
          is no physical evidence to show what happened to the property. This exclusion applies even if one of these
          excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

     3.   Dishonest Acts

          We will not pay for loss caused by or resulting from fraudulent, dishonest, or criminal acts or omissions,
          committed by you, your partners, "members", officers, "managers", employees (including leased or
          temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

     4.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or




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     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

5.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.    Seizure or destruction of property by order of governmental authority and taken at the time of fire to
           prevent its spread; or

     b.    Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
           regulating construction, use, or repair of any property; provided such demolition order has become
           legally enforceable as a result of physical damage to "real property" containing covered "personal
           property" directly caused by a "covered cause of loss".

           However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
           which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
           or in any way respond to, or assess the effects of "microorganisms".

6.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

7.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".




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8.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But, if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

9.   Precipitation

     We will not pay for loss or damage caused by or resulting from rain, hail, snow, ice, or sleet to property in
     the open. This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   "Stock" in the custody of a carrier for hire; or

     b.   Vehicles that are not licensed for use on public roads.

10. Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of any property on or off an "installation or service premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off an "installation or service
          premises".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
          the loss or damage which was solely caused by that "covered cause of loss".

     d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
          exclusion applies even this excluded cause of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     11. Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     12. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

     13. Weight of Load

          We will not pay for loss of or damage to "personal property" that are tools and equipment or vehicles used
          by you to install or service property caused by or resulting from the weight of a load exceeding the
          manufacturer’s rated lifting or supporting capacity of any machine under the operating conditions at the time
          of loss or damage.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

D.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to Covered Property in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   The coverage provided for "stock" by this Coverage Form is primary to any other insurance not subject to
          the same plan, terms, conditions, and provisions as this Coverage Form.




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E.   VALUATION

     We will determine the value of covered loss or damage as follows:

     1.    Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

           a.   The "replacement cost"; or

           b.   The "amount you actually spend" to repair, rebuild, or replace Covered Property.

     2.    Except as provided in 3., 5., 6., and 7. below, Covered Property which is not repaired, rebuilt, or replaced will
           be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
           rebuilding, or replacement of the lost or damaged Covered Property within 24 months from the date the loss
           or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the difference
           between the "actual cash value" previously paid and the "replacement cost" at the time of loss or damage.

     3.    "Merchandise" and "finished stock" at the regular cash selling price, less any discounts and expenses you
           otherwise would have had.

     4.    "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
           proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
           no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.    Covered Property which has been permanently removed from service at "actual cash value".

     6.    "Duplicate information property" at the lesser of:

           a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

           b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
                source on the same type of materials, provided such copying does not violate licensing or contract
                agreements.

      7.   Subject to 1., 2., and 5. above, the most we will pay for any one item for scheduled equipment is the value
           per item shown on the schedule on file with us.




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Original Information Property Coverage Form

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Original Information Property Coverage Form

A.   COVERAGES

      1.   Original Information Property

           We will pay for direct physical loss of or damage to "original information property" at a "premises" or
           "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
           is the Limit of Insurance shown on the Declarations for Original Information Property.

      2.   Original Information Property--Away From Premises

           We will also pay for direct physical loss of or damage to "original information property" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Original Information Property--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "original information property" done to conceal the wrongful giving, taking, or withholding of
           "money", "securities", or other property.

     2.    Bookkeeping, Accounting, or Billing Mistakes

           We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in bookkeeping,
           accounting, or billing.

     3.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage caused by or resulting from a "mistake" in:

                1)   Programming;

                2)   Instructions to a machine; or

                3)   Installation or maintenance of "electronic data processing hardware" or component parts.

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".




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     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of "original information property" on or off a "premises" or "reported unscheduled
          premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "original information
     property". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "original information property" for any purpose:

     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event




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     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "original information property" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is not other loss or damage from "earth movement"
     to that same property, we will pay for the direct physical loss or damage caused solely from the "fire
     protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to acts of destruction of "original information property" ordered by
     governmental authority and taken at the time of fire to prevent its spread.



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     11. Loss of Market or Delay

         We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
         exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
         "malfunction".

     12. Microorganisms

         We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
         aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
         resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
         including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
         to the loss, even if such other cause or event would otherwise be covered.

         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     13. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     14. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a.   War, including undeclared or civil war;

         b.   Warlike action by a military force, including action in hindering or defending against an actual or
              expected attack, by any government, sovereign, or other authority using military personnel or other
              agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     We will determine the value of covered loss or damage to lost or damaged "original information property" at the
     full cost necessary to research and reproduce a master copy, including the information and material on which it
     resides.     However, we will only pay for costs of research and reproduction if you reproduce your
     "original information property". We will not include the cost of making additional copies.




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Transit Coverage Form

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Transit Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "personal property" in transit, including:

     1.   Your interest in shipments sold under Free on Board or Freight Allowed terms;

     2.   "Personal property" when the purchaser refuses to accept delivery or returns it to the shipper; or

     3.   General average and salvage charges on shipments while waterborne,

     directly caused by a "covered cause of loss".

     The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on the
     Declarations for Transit--Personal Property.

B.   PROPERTY NOT COVERED

     This Coverage Form does not apply to:

     1.   "Personal property" in transit to or from a fair or exhibition;

     2.   "Salespersons samples";

     3.   Property of others in your care, custody, or control if you are acting as a carrier for hire, broker, loader,
          consolidator, or freight forwarder with a written contract or bill of lading;

     4.   "Personal property" used by you to install or service property at an "installation or service premises";

     5.   "Stock" in transit to or from an "installation or service premises" or a "temporary storage location";

     6.   Furs, fur garments, and garments trimmed with fur;

     7.   Jewelry, watches, watch movements, jewels, pearls, precious or semiprecious stones, bullion, gold, silver,
          platinum, and other precious alloys or metals, except for:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes; or

     8.   Lottery tickets held for sale.




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C.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
          or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the "personal property" for any purpose:

          a.    Acting alone or in collusion with others; or

          b.    Whether or not occurring during the hours of employment.

          This exclusion does not apply to:

          a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

     3.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.     Wear and tear;

          b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.     Smog;

          d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
                 property that causes it to damage or destroy itself;

          e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                 rodents, or other animals; or

          f.     Inherent vice.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
          such other cause or event would otherwise be covered.




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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to seizure or destruction of property by order of governmental authority and
     taken at the time of fire to prevent its spread.

5.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

6.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

7.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

8.   Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off the "premises".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     9.   Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     10. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to "personal property" in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   If "personal property" in transit which was sold under Free on Board or Freight Allowed terms is lost or
          damaged and the consignee refuses to pay for such "personal property" because of the loss or damage, we
          will not attempt to enforce collection from the consignee without your written permission.

F.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., and 6. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace "personal property".




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2.   Except as provided in 3., 5., and 6. below, "personal property" which is not repaired, rebuilt, or replaced will
     be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
     rebuilding, or replacement of the lost or damaged "personal property" within 24 months from the date the
     loss or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the
     difference between the "actual cash value" previously paid and the "replacement cost" at the time of loss or
     damage.

3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
     less any discounts and expenses you otherwise would have had.

4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
     proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
     no event will overhead be calculated in accordance with the principles of Absorption Costing.

5.   "Personal property" which has been permanently removed from service at "actual cash value".

6.   "Duplicate information property" at the lesser of:

     a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

     b. The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
         source on the same type of materials, provided such copying does not violate licensing or contract
         agreements.




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Business Income Coverage Form
(Excluding Extra Expense)

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Business Income Coverage Form
(Excluding Extra Expense)

A.   COVERAGE

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property at a "premises" at which a Limit of Insurance is shown on the Declarations for Business Income.
     The loss or damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable
     Limit of Insurance shown on the Declarations for Business Income at that "premises".

B.   ADDITIONAL COVERAGES

     1.   Civil Authority

          We will pay for the actual loss of "business income" you sustain for up to the number of days shown on the
          Declarations for Civil Authority following the necessary "suspension", or delay in the start, of your "operations"
          when a civil authority prohibits access to the "premises" or "reported unscheduled premises".

          The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
          damage to property located within one mile from the "premises" or "reported unscheduled premises" which
          sustains a "business income" loss. The loss or damage must be directly caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
          Business Income at the "premises" or "reported unscheduled premises" where access was prohibited.

          The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.   Contractual Penalties

          We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
          late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
          property at a "premises" or "reported unscheduled premises" at which a Limit of Insurance is shown on the
          Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
          on the Declarations for Contractual Penalties.

     3.   Electronic Vandalism

          We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
          "operations" provided the "suspension" was directly caused by "electronic vandalism".

          The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
          Insurance shown on the Declarations for Electronic Vandalism--Business Income.




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4.   Expense to Reduce Loss

     We will pay reasonable and necessary expenses you incur, except the cost of extinguishing a fire, to reduce
     the amount of loss of "business income". We will pay for such expenses to the extent that they do not exceed
     the amount of loss that otherwise would have been payable under this Coverage Form.

5.   Extended Period of Indemnity

     If the necessary "suspension" of your "operations" produces a "business income" loss payable under this
     Coverage Form, and you resume "operations" with reasonable speed, we will pay for the actual loss of
     "business income" you sustain during the "extended period of indemnity".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
     damage occurred.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

6.   Fairs or Exhibitions

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property at, or while in transit to or from, any fair or exhibition. The loss or damage must be
     directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Fairs or Exhibitions--Business Income.

7.   Ingress/ Egress

     We will pay for the actual loss of "business income" you sustain for up to the number of days shown on the
     Declarations for Ingress / Egress following the necessary "suspension" of your "operations", when ingress or
     egress by your suppliers, customers, or employees to the "premises" or "reported unscheduled premises" is
     physically obstructed due to direct physical loss or damage. The loss or damage must be directly caused by a
     "covered cause of loss" to property not owned, occupied, leased, or rented by you, or insured under this
     Commercial Property Coverage Part. That property must be located within one mile from the "premises" or
     "reported unscheduled premises" which sustains a "business income" loss. The obstruction cannot be the
     result of an order of civil authority that prohibits access to that "premises" or "reported unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where ingress or egress was
     obstructed.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

8.   Microorganisms

     We will pay for the actual loss of "business income" you sustain due to the:

     a.    Necessary "suspension" of your "operations" from direct physical loss of or damage to Covered
           Property caused by "microorganisms" when the "microorganisms" are the result of a "covered cause of
           loss"; or

     b.    Prolonged "period of restoration" due to the remediation of "microorganisms" from a covered loss.




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      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
      Insurance shown on the Declarations for Microorganisms--Business Income. Regardless of the number of
      claims, this Limit of Insurance is the most we will pay for the total of all loss, even if the "microorganisms"
      continue to be present, active, or recur.

9.    Newly Acquired Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to your property at a "newly acquired premises". The loss or damage must be directly caused by a
      "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
            premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
      Insurance shown on the Declarations for Newly Acquired Premises--Business Income.

10.   Reported Unscheduled Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to property at a "reported unscheduled premises". The loss or damage must be directly caused by a
      "covered cause of loss".

      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
      of Insurance shown on the Declarations for Reported Unscheduled Premises--Business Income.

11.   Transit

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to property in transit, other than while in transit to or from any fair or exhibition. The loss or damage
      must be directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
      the Declarations for Transit--Business Income.

12.   Unreported Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to your property, or property of your landlord, at an "unreported premises". The loss or damage must
      be directly caused by a "covered cause of loss".




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          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Business Income.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the REAL AND
          PERSONAL PROPERTY COVERAGE FORM, except Off-Premises Service Interruption, apply to loss of
          "business income" caused by or resulting from loss of or damage to any property other than:

          a.    "Fine arts";

          b.    "Original information property";

          c.    "Outdoor trees, shrubs, plants, or lawns"; or

          d.    "Personal property" in transit.

     2.   Fine Arts

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the FINE ARTS
          COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to "fine
          arts".

     3.   Original Information Property

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to loss of "business income" caused by or resulting
          from loss of or damage to "original information property".

     4.   Personal Property in Transit

          The exclusions in paragraphs 5., 6., and 7. below and the excluded causes of loss in the TRANSIT
          COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
          "personal property" in transit.

     5.   Finished Stock

          We will not pay for loss of "business income" caused by or resulting from:

          a.    Loss of or damage to "finished stock"; or

          b.    The time required to replace "finished stock".

     6.   Off-Premises Service Interruption

          We will not pay for loss of "business income" caused by or resulting from any "off-premises service
          interruption". Such loss is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
          other cause or event would otherwise be covered.

     7.   Suspension, Lapse, or Cancellation

          We will not pay for any loss of "business income" caused by or resulting from a suspension, lapse, or
          cancellation of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused




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           by the "suspension" of your "operations". If the suspension, lapse, or cancellation of any license, lease, or
           contract is directly caused by the "suspension" of your "operations", we will not pay for that portion of any loss
           from such suspension, lapse, or cancellation which occurs after the "extended period of indemnity".

D.   LIMITATIONS

     1.    Idle Periods

           We will not pay for loss of "business income" during any period in which business would not or could not
           have been conducted for any reason other than:

           a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

           b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                 the Civil Authority Additional Coverage above; or

           c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                 as described in the Ingress / Egress Additional Coverage above.

     2.    Strikers or Others Causing Delay

           We will not pay for any loss of "business income" caused by or resulting from delay in rebuilding, repairing, or
           replacing property, or resuming "operations", due to the interference at the location of the rebuilding, repair, or
           replacement by strikers or other persons.

     3.    Outdoor Trees, Shrubs, Plants, or Lawns

           We will not pay for loss of "business income" caused by or resulting from loss of or damage to "outdoor trees,
           shrubs, plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot or civil
           commotion, or aircraft.

E.   DEDUCTIBLE

     We will not pay for any loss of "business income" in any one occurrence until the amount of loss exceeds the
     applicable Deductibles or is incurred after the applicable Waiting Periods shown on the Declarations. We will then
     pay the amount of loss in excess of the Deductibles or incurred after the Waiting Periods, up to the applicable Limits
     of Insurance.

     If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical
     loss of or damage to property, directly caused by a "covered cause of loss".


F.   LOSS DETERMINATION

     1.    Sources of Information

           The amount of "business income" loss will be based on relevant sources of information, including, but not
           limited to:

           a.    Your financial records, tax returns, and accounting procedures;

           b.    Bills, invoices, and other vouchers; and

           c.    Deeds, liens, and contracts.




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     2.    Net Income

           The amount of "net income" will be determined based on:

           a.    The "net income" of the business before the direct physical loss or damage occurred; and

           b.    The likely "net income" of the business if no direct physical loss or damage had occurred.

     3.    Continuing Expenses

           The amount of "continuing expenses" will be those expenses which are necessary to resume your "operations"
           with the same quality of service that existed just before the direct physical loss or damage and which are
           incurred during the "period of restoration" or "extended period of indemnity".

     4.    Resumption of Operations

           We will reduce the amount of the "business income" loss payment:

           a.    To the extent you could resume your "operations", in whole or in part, by using damaged or undamaged
                 property, including "stock"; or

           b.    To the extent you could resume your "operations", in whole or in part, by using any other location.

     5.    Finished Stock and Merchandise

           Lost or damaged "finished stock" or "merchandise" that is valued at regular cash selling price will be
           considered to have been sold to your customers and will be credited against the lost sales.

G.   OPTIONAL COVERAGES

     If shown on the Declarations, the following Optional Coverages apply separately to each item:

     1.    Maximum Period of Indemnity

           The most we will pay for loss of "business income" is the lesser of:

           a.    The amount of loss incurred during the 120 days immediately following the beginning of the "period of
                 restoration"; or

           b.    The Limit of Insurance shown on the Declarations.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The Extended Period of Indemnity Additional Coverage does not apply.

     2.    Monthly Limit of Indemnity

           The most we will pay for loss of "business income" in each period of 30 consecutive days after the beginning
           of the "period of restoration" is:

           a.    The Limit of Insurance, multiplied by

           b.    The fraction shown on the Declarations for this Optional Coverage.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.




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The Extended Period of Indemnity Additional Coverage does not apply.

Example:

If:

a.     The Limit of Insurance is $120,000.


b.     The fraction shown on the Declarations for this Optional Coverage is 1/ 4.

The most we will pay for loss in each period of 30 consecutive days is $30,000.

If, in this example, the actual amount of the loss is:

Days 1-30      $40,000
Days 31-60      20,000
Days 61-90      30,000
               $90,000

We will pay:

Days 1-30      $30,000
Days 31-60      20,000
Days 61-90      30,000
               $80,000

The remaining $10,000 of loss is not covered.




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Named Storm Occurrence--Direct Damage and
Time Element Deductible

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
CONTRACTOR’S EQUIPMENT COVERAGE FORM
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
INSTALLATION PROPERTY COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A.   The Named Storm Occurrence--Direct Damage and Time Element Deductible only applies to loss or damage that,
     but for the application of the Deductible, would be paid by us under this Commercial Property Coverage Part.

B.   With respect to all "premises" at which the Named Storm Occurrence--Direct Damage and Time Element Deductible
     shown on the Declarations applies, the following is added to the Deductible section in the following forms:

     ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
     CONTRACTOR’S EQUIPMENT COVERAGE FORM
     EXTRA EXPENSE COVERAGE FORM
     FINE ARTS COVERAGE FORM
     INSTALLATION PROPERTY COVERAGE FORM
     ORIGINAL INFORMATION PROPERTY COVERAGE FORM
     REAL AND PERSONAL PROPERTY COVERAGE FORM
     RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

     With respect to all loss or damage caused directly or indirectly by a "named storm", regardless of whether any
     other cause or event, including a "mistake", "malfunction", or another weather condition, contributes concurrently
     or in any sequence to the loss, the following applies:

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of all covered loss,
     damage, cost, or expense exceeds the Named Storm Occurrence--Direct Damage and Time Element Deductible
     shown on the Declarations for "premises" at which the Deductible applies. We will then pay for the amount of
     covered loss, damage, cost, or expense in excess of the Deductible, up to the applicable Limits of Insurance.




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     This Deductible applies to all covered loss, damage, cost, or expense covered by "time element coverage" when
     the loss, damage, cost, or expense is caused directly or indirectly by a "named storm" even if no other deductible
     applies to the "time element coverage".

C.   The following is added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Named storm" means a specific storm system that has been named by the National Hurricane Center (NHC) or
     Central Pacific Hurricane Center (CPHC), beginning when the NHC or CPHC issues a watch or warning and
     ending 72 hours after the termination of the watch or warning.




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Dependent Premises Business Income
Coverage--Scheduled Limits and Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                       SCHEDULE*

Name, Occupancy, and Location of "Dependent Premises"                             Limit of Insurance          Deductible

(A) "Contributing Locations":




(B) "Recipient Locations":




(C) "Manufacturing Locations":

    KaGa Electronics, Hong Kong                                                  $5,000,000                  $500,00
    Room 1709-1710, 17/F Miramar Tower
    132 Nathan Rd, Tsimshatsui, Kowloon, Hong Kong




(D) "Leader Locations":




*Information required to complete this Schedule, if not shown on this endorsement, will be shown on the Declarations.




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A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
     TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
     your "operations" during the "period of restoration". The "suspension" must be caused by direct physical
     loss of or damage to property, including property in the open (or in a vehicle), at a "dependent premises"
     described in the Schedule above. The loss or damage must be directly caused by a "covered cause of loss".
     We will not pay more than the applicable Limit of Insurance shown in the Schedule above at that "dependent
     premises".

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises" described in the Schedule above, the
     Civil Authority and Contractual Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are
     replaced by the following:

     1.   Civil Authority

          We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
          "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a
          "dependent premises" described in the Schedule above.

          The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
          damage to property located within one mile from the "dependent premises" described in the Schedule
          above. The loss or damage must be directly caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above
          for the "dependent premises" where access was prohibited.

          The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     2.   Contractual Penalties

          We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
          late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
          property at a "dependent premises" described in the Schedule above. The loss or damage must be directly
          caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
          on the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises" shown in the Schedule
     above. The loss or damage must be directly caused by a "covered cause of loss".


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     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     We will not pay more than the applicable Limit of Insurance shown in the Schedule above for that "dependent
     premises".

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, the Resumption of Operations Loss Determination in the BUSINESS
     INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE
     FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
     EXPENSE)--TECHNOLOGY is replaced by the following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your
     "operations", in whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises" described in the Schedule above, the "period of restoration" definition in the
     COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"
          described in the Schedule above; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced
          with reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
     or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
     neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F. DEDUCTIBLE

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, Section E. Deductible in the BUSINESS INCOME COVERAGE
     FORM (EXCLUDING EXTRA EXPENSE), the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY, and the
     EXTRA EXPENSE COVERAGE FORM is replaced by the following:

     We will not pay for any loss of "business income" or "extra expense" in any one occurrence until the amount of
     loss or expense exceeds the applicable Deductible shown in the Schedule above at that "dependent premises"

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where the loss or damage occurred. We will then pay the amount of loss or expense in excess of the Deductible,
up to the applicable Limits of Insurance.

Any other deductible otherwise applicable to "business income" or "extra expense" does not apply to coverage
provided by this endorsement.




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Dependent Premises Business Income
Coverage--Unscheduled Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises". The loss or
     damage must be directly caused by a "covered cause of loss".

     The most we will pay in any one occurrence is the Limit of Insurance shown on the Declarations for Dependent
     Premises Business Income--Unscheduled Locations.

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises", the Civil Authority and Contractual
     Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
     EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the following:

     Civil Authority

     We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
     "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a "dependent
     premises".

     The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or damage
     to property located within one mile from the "dependent premises". The loss or damage must be directly caused
     by a "covered cause of loss".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.




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     The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late
     or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property
     at a "dependent premises". The loss or damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on
     the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will also pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises". The loss or damage must be
     directly caused by a "covered cause of loss".

     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     The most we will pay under this Optional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises", the Resumption of Operations Loss Determination in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY is replaced by the
     following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your "operations", in
     whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises", the "period of restoration" definition in the COMMERCIAL PROPERTY DEFINITIONS is
     replaced by the following:




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     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
          reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize,
     or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F.   Coverage provided by this endorsement does not apply at any location at which "business income" coverage is
     provided by any other Coverage Form included in this Commercial Property Coverage Part.




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Enabling Endorsement

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS
REAL AND PERSONAL PROPERTY COVERAGE FORM

The provisions of any forms or endorsements that make reference to the BUILDING AND PERSONAL PROPERTY
COVERAGE FORM or the CAUSES OF LOSS SPECIAL FORM are applicable to the COMMERCIAL PROPERTY
CONDITIONS and the REAL AND PERSONAL PROPERTY COVERAGE FORM.




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Flood Coverage

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided by the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A. COVERAGE

   The Flood exclusion does not apply to loss or damage at a "premises" at which a Limit of Insurance is shown on
   the Declarations for Flood. However, we will not pay for loss or damage caused directly or indirectly by "flood" that
   begins before the inception of this Commercial Property Coverage Part.

   If the Earth Movement and Flood Coverage--Specified Property endorsement is included in this Commercial
   Property Coverage Part, this endorsement does not apply to property covered by that endorsement.

B. ADDITIONAL EXCLUDED CAUSES OF LOSS

    Off-Premises Damage

   We will not pay for loss or damage that is caused directly or indirectly by "flood" at any of the following locations:

   1.   "Dependent premises";

   2.   Fairs or exhibitions;

   3.   "Newly acquired premises";

   4.   "Reported unscheduled premises";

   5.   "Unreported premises"; or

   6.   Any location used to provide power or other utility service to "premises".




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C. LIMITS OF INSURANCE

   1.   Premises Limits

        The most we will pay in any one occurrence for loss or damage caused directly or indirectly by "flood" at any
        one "premises" is the Limit of Insurance shown on the Declarations for Flood for that "premises".

   2.   Occurrence Limit

        The most we will pay in any one occurrence for all loss or damage caused directly or indirectly by "flood",
        regardless of the number of "premises" involved, is the occurrence Limit of Insurance shown on the
        Declarations for Flood.

   3.   Annual Aggregate Limit

        The most we will pay for loss or damage caused directly or indirectly by "flood" in any one policy year,
        regardless of the number of occurrences or "premises" involved, is the Annual Aggregate Limit of Insurance
        shown on the Declarations for Flood.

   These Limits are included in, and not in addition to, any other applicable Limits of Insurance.

D. DEDUCTIBLE

   1.   The Flood Deductible only applies to loss or damage that, but for the application of the Deductible, would be
        paid by us under this Commercial Property Coverage Part.

   2.   With respect to loss or damage caused directly or indirectly by "flood", the Deductible section is replaced by the
        following:

        We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the
        amount of covered loss, damage, cost, or expense exceeds the Flood Deductible shown on the Declarations
        for that "premises". We will then pay for the amount covered loss, damage, cost, or expense in excess of the
        Deductible, up to the applicable Limits of Insurance.

        If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on
        the Declarations will apply separately and individually to covered loss, damage, cost, or expense at each
        "premises".

        The Flood Deductibles apply to all covered loss, damage, cost, or expense covered by "time element coverage"
        when the loss, damage, cost, or expense is caused directly or indirectly by covered "flood" even if no other
        deductible applies to the "time element coverage".

E. COINSURANCE

   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

1               X                                     X                                          X
5               X                                     X                                          X
6               X                                     X                                          X



A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C.   ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D.   ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

8               X                                     X                                          X
3               X                                     X                                          X
7               X                                     X                                          X



A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C.   ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D.   ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

4               X                                     X                                          X




A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C.   ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D.   ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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Extra Expense Coverage Form

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Extra Expense Coverage Form

A.   COVERAGE

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property at a "premises" at which a Limit of Insurance is shown for Extra Expense on the Declarations. The loss or
     damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable Limit of
     Insurance shown on the Declarations for Extra Expense at that "premises".

B.   ADDITIONAL COVERAGES

     1.   Civil Authority

          We will pay for the actual and necessary "extra expense" you incur due to the action of a civil authority that
          prohibits access to the "premises" or "reported unscheduled premises" caused by direct physical loss of or
          damage to property located within one mile from the "premises" or "reported unscheduled premises" where the
          "extra expense" was incurred. The loss or damage must be directly caused by a "covered cause of loss".

          This Additional Coverage is limited to the number of days shown on the Declarations for Civil Authority from
          the date the civil authority prohibits access.

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Ingress/ Egress

          We will pay for the actual and necessary "extra expense" you incur when ingress or egress by your suppliers,
          customers, or employees to the "premises" or "reported unscheduled premises" is physically obstructed due to
          direct physical loss or damage. The loss or damage must be caused by a "covered cause of loss" to property
          not owned, occupied, leased, or rented by you, or insured under this Commercial Property Coverage Part.
          That property must be located within one mile from the "premises" or "reported unscheduled premises" where
          the "extra expense" was incurred. The obstruction cannot be the result of an order of civil authority that
          prohibits access to that "premises" or "reported unscheduled premises".

           This Additional Coverage is limited to the number of days shown on the Declarations for Ingress / Egress
           following the date the physical obstruction prohibits ingress or egress.

           The most we will pay under the Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where ingress or egress was obstructed.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.




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     3.   Newly Acquired Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at a "newly acquired premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          This Additional Coverage will automatically expire on the earliest of the following dates:

          a.    The date you report the "newly acquired premises" to us;

          b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
                premises"; or

          c.    The date this policy expires or is cancelled.

          We will charge you additional premium for values reported from the date the location becomes a "newly
          acquired premises".

          The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
          Insurance shown on the Declarations for Newly Acquired Premises--Extra Expense.

     4.   Reported Unscheduled Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          property at a "reported unscheduled premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
          of Insurance shown on the Declarations for Reported Unscheduled Premises--Extra Expense.

     5.   Unreported Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at an "unreported premises". The loss or damage must be directly caused by a "covered cause
          of loss".

          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Extra Expense.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the REAL AND PERSONAL
          PROPERTY COVERAGE FORM, except Off Premises Service Interruption, apply to "extra expense" caused by
          or resulting from loss of or damage to any property other than:

          a.    "Fine arts";

          b.    "Original information property"; or

          c.    "Outdoor trees, shrubs, plants, or lawns".




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     2.   Fine Arts

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the FINE ARTS COVERAGE
          FORM apply to "extra expense" caused by or resulting from loss of or damage to "fine arts".

     3.   Original Information Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to "extra expense" caused by or resulting from loss of
          or damage to "original information property".

     4.   Off-Premises Service Interruption

          We will not pay for "extra expense" caused by or resulting from any "off-premises service interruption". Such
          loss is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
          condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
          would otherwise be covered.

     5.   Suspension, Lapse, or Cancellation

          We will not pay for "extra expense" caused by or resulting from a suspension, lapse, or cancellation of any
          license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused by the "suspension"
          of your "operations". If the suspension, lapse, or cancellation of any license, lease, or contract is directly
          caused by the "suspension" of your "operations", we will not pay for that portion of any "extra expense" from
          such suspension, lapse, or cancellation which occurs after the "period of restoration".

D.   LIMITATIONS

     1.   Idle Periods

          We will not pay for "extra expense" during any period in which business would not or could not have been
          conducted for any reason other than:

          a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

          b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                the Civil Authority Additional Coverage above; or

          c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                as described in the Ingress / Egress Additional Coverage above.

     2.   Strikers or Others Causing Delay

          We will not pay for any increase in "extra expense" caused by delay in rebuilding, repairing, or replacing
          property or resuming "operations", due to the interference at the location of the rebuilding, repair, or
          replacement by strikers or other persons.

     3.   Outdoor Trees, Shrubs, Plants, or Lawns

          We will not pay for "extra expense" caused by or resulting from loss of or damage to "outdoor trees, shrubs,
          plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot or civil
          commotion, or aircraft.




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E.   DEDUCTIBLE

     We will not pay for any "extra expense" in any one occurrence until the amount of "extra expense" exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of "extra expense" in excess of the
     Deductibles up to the applicable Limits of Insurance.

F.   LOSS DETERMINATION

     1.   Sources of Information

          The amount of "extra expense" will be based on relevant sources of information, including, but not limited to :

          a.    Your financial records, tax returns, and accounting procedures;

          b.    Bills, invoices, and other vouchers; and

          c.    Deeds, liens, and contracts.

     2.   Extra Expense

          The amount of "extra expense" will be determined based on:

          a.    All "extra expense" that exceeds the normal operating expenses that would have been incurred by your
                "operations" during the "period of restoration" if no direct physical loss or damage had occurred; and

          b.    All expenses that reduce the "extra expense" that otherwise would have been incurred.

          We will deduct from the total "extra expense" the salvage value of any property bought for temporary use
          during the "period of restoration", once "operations" are resumed.

     3.   Resumption of Operations

          We will reduce the amount of "extra expense" to the extent you can return "operations" to normal and
          discontinue such "extra expense".




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California Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS

A. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by fire:

   We do not provide coverage to the insured who, whether before or after a loss, has committed fraud or
   intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


B. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by a "covered cause of loss" other than fire:

   This Commercial Property Coverage Part is void if any insured, whether before or after a loss, has committed fraud
   or intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


C. Except as provided in D. below, the Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following:

   If we and you disagree on the value of the property or the amount of loss, either may make written request for an
   appraisal of the loss. If the request is accepted, each party will select a competent, disinterested, and impartial
   appraiser who has no direct or indirect financial interest in the claim.       Each party shall notify the other of the
   appraiser selected within 20 days of the request. The two appraisers will select an umpire. If they cannot agree
   within 15 days, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
   will state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
   accordance with the Valuation provisions of the applicable Coverage Form, or if not stated, the "actual cash value"
   and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to
   by any two will be binding. Each party will:

   1.   Pay its chosen appraiser; and
   2.   Bear the other expenses of the appraisal and umpire equally.

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   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.

D. The Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the following with respect
   losses covered by the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the
   BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   If we and you disagree on the amount of "net income" and "continuing expenses" or the amount of loss, either may
   make written request for an appraisal of the loss. If the request is accepted, each party will select a competent,
   disinterested, and impartial appraiser who has no direct or indirect financial interest in the claim. Each party shall
   notify the other of the appraiser selected within 20 days of the request. The two appraisers will select an umpire. If
   they cannot agree within 15 days, either may request that selection be made by a judge of a court having
   jurisdiction. The appraisers will state separately the amount of "net income"and "continuing expenses" or amount of
   loss. If they fail to agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:

   a.   Pay its chosen appraiser; and

   b. Bear the other expenses of the appraisal and umpire equally.

   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.




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Florida Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

The following provisions only apply with respect to "premises" and "reported unscheduled premises" in the state of
Florida:

A.   The following provision applies when the Additional Condition--Coinsurance endorsement is applicable:

     Florida Law states as follows:

     Coinsurance contract: The rate charged in this Commercial Property Coverage Part is based upon the use of the
     coinsurance clause attached to this Commercial Property Coverage Part, with the consent of the insured.

B.   If wind is a "covered cause of loss" and loss or damage to Covered Property is caused by or resulting from wind,
     the following is added to Section B., Excluded Causes of Loss, in the REAL AND PERSONAL PROPERTY
     COVERAGE FORM and applies in:

     1.   Broward County;

     2.   Dade County;

     3.   Martin County;

     4.   Monroe County;

     5.   Palm Beach County; and

     6.   All the areas east of the west bank of the Intra-Coastal Waterway in the Counties of:

          a.   Indian River; and

          b. St. Lucie.

     Wind Exterior

     We will not pay for loss or damage caused by or resulting from wind to paint or waterproofing material applied to
     the exterior of buildings unless the building to which such loss or damage occurs also sustains other loss or
     damage by wind in the course of the same wind event. But such coverage applies only if wind is a "covered
     cause of loss".

     When loss or damage to exterior paint or waterproofing material is excluded, we will not include the value of paint
     or waterproofing material to determine:

     a.   The amount of the Wind and Hail Deductible;


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     b. The amount of Named Storm Deductible; or

     c.   The value of Covered Property when applying the coinsurance percentage.

C.   Paragraph 6. in the Loss Payment Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the
     following:

     6.   If you have complied with all of the terms of this Commercial Property Coverage Part, we will pay for covered
          loss or damage upon the earliest of the following:

          a.   Within 20 days after we receive the sworn proof of loss and reach written agreement with you;

          b. Within 30 days after we receive the sworn proof of loss; and

               1) There is an entry of a final judgment; or

               2) There is a filing of an appraisal award with us; or

          c.   Within 90 days of receiving notice of claim, unless we deny the claim during that time or factors beyond
               our control reasonably prevent such payment. If a portion of the claim is denied, then the 90 day time
               period for payment of claim relates to the portion of the claims that is not denied.

               This paragraph c. applies only to the following:

               1) A claim under the Commercial Property Coverage Part covering residential property;

               2) A claim for "real property" or "personal property" coverage if the insured structure is 10,000 square
                  feet or less and the Commercial Property Coverage Part covers only "premises" or "reported
                  unscheduled premises" in Florida; or

               3) A claim for "personal property" coverage under a tenant’s policy if the rented "premises" or "reported
                  unscheduled premises" are 10,000 square feet or less and the Commercial Property Coverage Part
                  covers only "premises" or "reported unscheduled premises" in Florida.

D.   The following is added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Catastrophic ground cover collapse" means geological activity that results in all of the following:

     a.   The abrupt collapse of the ground cover;

     b. A depression in the ground cover clearly visible to the naked eye;

     c.   Structural damage to the building, including the foundation; and

     d. The insured structure being condemned and ordered to be vacated by the governmental agency authorized
        by law to issue such an order for that structure.

     "Catastrophic ground cover collapse" does not mean:

     a.   Structural damage consisting of the mere settling or cracking of a foundation, structure, or building;

     b. "Sinkhole collapse"; or

     c.   "Earth movement".




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E.   The definition of "earth movement" in the COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
     or subsidence other than "sinkhole collapse" and "catastrophic ground cover collapse".

     "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

F.   The following is added to the definition of "specified causes of loss":

     "Catastrophic ground cover collapse".




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                                                                                         COMMERCIAL PROPERTY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANCELLATION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

The following is added to the CANCELLATION Com-                C. The building has:
mon Policy Condition:                                             1. An outstanding order to vacate;
If any one of the following conditions exists at any
                                                                  2. An outstanding demolition order;
building that is Covered Property in this policy, we
may cancel this Coverage Part by mailing or delivering            3. Been declared unsafe by governmental author-
to the first Named Insured written notice of cancella-                ity.
tion at least 5 days before the effective date of cancel-      D. Fixed and salvageable items have been or are
lation.                                                           being removed from the building and are not being
A. The building has been vacant or unoccupied 60 or               replaced. This does not apply to such removal that
    more consecutive days. This does not apply to:                is necessary or incidental to any renovation or re-
                                                                  modeling.
     1. Seasonal unoccupancy;
                                                               E. Failure to:
     2. Buildings in the course of construction, reno-
        vation or addition; or                                    1. Furnish necessary heat, water, sewer service
                                                                      or electricity for 30 consecutive days or more,
     3. Buildings to which the Vacancy Permit en-                     except during a period of seasonal unoccu-
        dorsement applies.                                            pancy; or
    Buildings with 65% or more of the rental units or             2. Pay property taxes that are owing and have
    floor area vacant or unoccupied are considered
                                                                      been outstanding for more than one year fol-
    unoccupied under this provision.
                                                                      lowing the date due, except that this provision
B. After damage by a covered cause of loss, perma-                    will not apply where you are in a bona fide dis-
   nent repairs to the building:                                      pute with the taxing authority regarding pay-
   1. Have not started, and                                           ment of such taxes.
   2. Have not been contracted for,
   within 30 days of initial payment of loss.




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General Liability Supplemental Coverage Endorsement
Technology

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following changes apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any provisions to the contrary in this General Liability Supplemental Coverage Endorsement.

A.   Broadened Named Insured

     1.   The following is added to Section II ---- Who Is An Insured:

          Any organization of yours, other than a partnership or joint venture, which is not shown in the Declarations,
          and over which you maintain an ownership interest of more than 50% of such organization as of the effective
          date of this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a
          Named Insured under this provision if it:

          a.    Is newly acquired or formed during the policy period;

          b.    Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                Coverage Part; or

          c.    Would be an insured under another policy but for its termination or the exhaustion of its limits of
                insurance.

          Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
          more than 50% in the organization during the policy period.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

B.   Newly Acquired or Formed Organizations as Named Insureds

     1.   Paragraph 3. of Section II ---- Who Is An Insured is replaced by the following:

          3.    Any organization you newly acquire or form during the policy period, other than a partnership or joint
                venture, and over which you maintain an ownership interest of more than 50% of such organization, will
                qualify as a Named Insured if there is no other similar insurance available to that organization. However:

                a.   Coverage under this provision is afforded only until the 180th day after you acquire or form the
                     organization or the end of the policy period, whichever is earlier;

                b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                   or formed the organization; and

                c.   Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                     before you acquired or formed the organization.



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                An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                or formed the organization.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

C.   Insured Status ---- Employees

     Paragraph 2.a.(1) of Section II ---- Who Is An Insured is replaced by the following:

     2.   Each of the following is also an insured:

          a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                "employees", other than either your "executive officers" (if you are an organization other than a
                partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                company), but only for acts within the scope of their employment by you or while performing duties
                related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                insureds for:

                (1) "Bodily injury" or "personal and advertising injury":

                    (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                        (if you are a limited liability company), to a co-"employee" while in the course of his or her
                        employment or performing duties related to the conduct of your business, or to your other
                        "volunteer workers" while performing duties related to the conduct of your business;

                    (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                        consequence of Paragraph (1)(a) above;

                    (c) For which there is any obligation to share damages with or repay someone else who must pay
                        damages because of the injury described in Paragraphs (1)(a) or (b) above; or

                    (d) Arising out of his or her providing or failing to provide professional health care services.

                However:

                Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                conduct of your business.

                "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                situation for which no remuneration is demanded or received.

                Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                performed.

D.   Additional Insureds ---- Lessees of Premises

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who leases or rents
     a part of the premises you own or manage who you are required to add as an additional insured on this policy
     under a written contract or written agreement, but only with respect to liability arising out of your ownership,
     maintenance or repair of that part of the premises which is not reserved for the exclusive use or occupancy of such
     person or organization or any other tenant or lessee.


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     This provision does not apply:

     (1) To liability arising out of such person’s or organization’s sole negligence; or

     (2) After the person or organization ceases to lease or rent premises from you.

E.   Additional Insured --- Vendors

     The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
     damage" included in the "products-completed operations hazard":

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization (referred to below
     as vendor) who you have agreed in a written contract or written agreement, prior to loss, to name as an additional
     insured, but only with respect to "bodily injury" or "property damage" arising out of "your products" which are
     distributed or sold in the regular course of the vendor’s business, subject to the following additional provisions:

     1.   The insurance afforded the vendor does not apply to:

          a.   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
               assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
               that the vendor would have in the absence of the contract or agreement;

          b.    Any express warranty unauthorized by you;

          c.    Any physical or chemical change in the product made intentionally by the vendor;

          d.   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
               substitution of parts under instructions from the manufacturer, and then repackaged in the original
               container;

          e.   Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make or
               normally undertakes to make in the usual course of business, in connection with the distribution or sale of
               the products;

          f.    Demonstration, installation, servicing or repair operations, except such operations performed at the
                vendor’s premises in connection with the sale of the product;

          g.    Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                part or ingredient of any other thing or substance by or for the vendor; or

          h.    "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                apply to:

                (1) The exceptions contained in Subparagraphs d. or f.; or

                (2) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                    undertakes to make in the usual course of business, in connection with the distribution or sale of the
                    products.

     2.   This insurance does not apply to any insured person or organization, from whom you have acquired such
          products, or any ingredient, part or container, entering into, accompanying or containing such products.

     3.   This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
          Part.

F.   Additional Insured --- Managers, Lessors or Governmental Entity


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     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who is a manager,
     lessor or governmental entity who you are required to add as an additional insured on this policy under a written
     contract, written agreement or permit, but only with respect to liability for "bodily injury", "property damage" or
     "personal and advertising injury" caused, in whole or in part, by:

     a.   Your acts or omissions; or

     b. The acts or omission of those acting on your behalf; and

     resulting directly from:

     a.   Operations performed by you or on your behalf for which the state or political subdivision has issued a permit;

     b. Ownership, maintenance, occupancy or use of premises by you; or

     c.   Maintenance, operation or use by you of equipment leased to you by such person or organization.

     This provision does not apply:

     a.   Unless the written contract or written agreement has been executed, or the permit has been issued, prior to the
          "bodily injury", "property damage" or offense that caused "personal and advertising injury";

     b. To any person or organization:

          (1)   For "bodily injury", "property damage" or "personal and advertising injury" arising out of its sole
                negligence;

          (2)   Included as an insured under Paragraph 3. of Section II ---- Who Is An Insured;

     c.   To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;

     d. To any:

          (1)   Owners or other interests from whom land has been leased by you; or

          (2)   Managers or lessors of premises, if:

                (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a tenant in
                    that premises;

                (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the structural
                    alterations, new construction or demolition operations performed by or on behalf of the manager or
                    lessor; or

                (c) The premises are excluded under this Coverage Part.

G.   Damage to Premises Rented or Occupied by You

     1.   The last paragraph under Paragraph 2., Exclusions of Section I --- Coverage A ---- Bodily Injury And Property
          Damage Liability is replaced by the following:

          Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or
          temporarily occupied by you with permission of the owner. A separate Damage to Premises Rented To You
          Limit of Insurance applies to this coverage as described in Section III ---- Limits Of Insurance.

     2.   Paragraph 6. of Section III ---- Limits Of Insurance is replaced by the following:



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          6.      Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay
                  under Coverage A for damages because of "property damage" to any one premises while rented to you, or
                  in the case of damage by one or more "specific perils" to any one premises, while rented to you or
                  temporarily occupied by you with permission of the owner.

H.   Broadened Contractual Liability

     Definition 9. in Section V ---- Definitions is replaced by the following:

     9.   "Insured contract" means:

          a.      A contract for a lease of premises. However, that portion of the contract for a lease of premises that
                  indemnifies any person or organization for damage by "specific perils" to premises while rented to you or
                  temporarily occupied by you with permission of the owner is not an "insured contract";

          b.      A sidetrack agreement;

          c.      Any easement or license agreement;

          d.      An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
                  municipality;

          e.      An elevator maintenance agreement;

          f.      That part of any other contract or agreement pertaining to your business (including an indemnification of
                  a municipality in connection with work performed for a municipality) under which you assume the tort
                  liability of another party to pay for "bodily injury", "property damage", or "personal and advertising injury"
                  arising out of the offenses of false arrest, detention or imprisonment, to a third person or organization.
                  Tort liability means a liability that would be imposed by law in the absence of any contract or agreement.

                  Paragraph f. does not include that part of any contract or agreement:

                  (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                      (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                          surveys, field orders, change orders or drawings and specifications; or

                      (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                          damage; or

                  (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                      damage arising out of the insured’s rendering or failure to render professional services, including
                      those listed in Paragraph (1) above and supervisory, inspection, architectural or engineering activities.

I.   Definition ---- Specific Perils

     The following definition is added to Section V ---- Definitions:

     "Specific perils" mean:
     a.   Fire;
     b. Lightning;
     c.   Explosion;
     d. Windstorm or hail;
     e.   Smoke;
     f.   Aircraft or vehicles;

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     g. Vandalism;
     h. Weight of snow, ice or sleet;
     i.   Leakage from fire extinguishing equipment, including sprinklers; or
     j.   Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
          steam.

J.   Limited Contractual Liability Coverage ---- Personal and Advertising Injury

     1.   Exclusion e. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

          2.    Exclusions

                This insurance does not apply to:

                e.   Contractual Liability

                     "Personal and advertising injury" for which the insured has assumed liability in a contract or
                     agreement.

                     This exclusion does not apply to:

                     (1) Liability for damages that the insured would have in the absence of the contract or agreement; or

                     (2) Liability for "personal and advertising injury" if:

                         (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                             imprisonment;

                         (b) The liability pertains to your business and is assumed in a written contract or written
                             agreement in which you assume the tort liability of another. Tort liability means a liability that
                             would be imposed by law in the absence of any contract or agreement; and

                         (c) The "personal and advertising injury" occurs subsequent to the execution of the written
                             contract or written agreement.

                         Solely for purposes of liability so assumed in such written contract or written agreement,
                         reasonable attorney fees and necessary litigation expenses incurred by or for a party other than
                         an insured are deemed to be damages because of "personal and advertising injury" described in
                         Paragraph (a) above, provided:

                         (i) Liability to such party for, or for the cost of, that party’s defense has also been assumed in
                             the same written contract or written agreement; and

                         (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                              alternative dispute resolution proceeding in which damages to which this insurance applies
                              are alleged.

     2.   Paragraph 2.d. of Section I ---- Supplementary Payments --- Coverages A And B is replaced by the following:

          d.    The allegations in the "suit" and the information we know about the "occurrence" or offense are such that
                no conflict appears to exist between the interests of the insured and the interests of the indemnitee;

     3.   The following is added to the paragraph directly following Paragraph 2.f. of Section I ---- Supplementary
          Payments ---- Coverages A And B:




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          Notwithstanding the provisions of Paragraph 2.e.(2) of Section I ---- Coverage B ---- Personal And Advertising
          Injury Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will
          not reduce the limits of insurance.

K.   Internet and Multimedia Services

     Exclusion j. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

     2.   Exclusions

          This insurance does not apply to:

          j.    Insureds In Media And Internet Type Businesses

                "Personal and advertising injury" committed by an insured whose business is:

                (1) Advertising, broadcasting, publishing or telecasting;

                (2) Designing or determining content of websites for others; or

                (3) An Internet search, access, content or service provider; and

                arising out of goods, products or services provided by any insured to others.

                However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
                under the Definitions Section.

                For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or
                others anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting,
                publishing or telecasting.

L.   Supplementary Payments

     The following changes apply to Supplementary Payments ---- Coverages A and B:

     Paragraphs 1.b. and 1.d. are replaced by the following:

     b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the
        use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.

     d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
        claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.

M.   Broadened Property Damage

     1.   Property Damage to Contents of Premises Rented Short-Term

          The paragraph directly following Paragraph (6) in Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And
          Property Damage Liability is replaced by the following:

          Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
          by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
          agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
          Premises Rented to You as described in Section III ---- Limits Of Insurance.

     2.   Elevator Property Damage

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:
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                Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
                elevator at premises you own, rent or occupy.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to property loaned to you or personal property in the care, custody or control of the
                insured arising out of the use of an elevator at premises you own, rent or occupy is $25,000 per
                "occurrence".

     3.   Property Damage to Borrowed Equipment

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:

                Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others
                at a jobsite.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to equipment you borrow from others at a jobsite is $25,000 per "occurrence".

N.   Expected or Intended Injury or Damage

     Exclusion a. of Section I ---- Coverage A --- Bodily Injury And Property Damage Liability is replaced by the following:

     a.   Expected Or Intended Injury Or Damage

          "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion
          does not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect
          persons or property.

O.   Definition ---- Bodily Injury

     Definition 3. in Section V ---- Definitions is replaced by the following:

     3.   "Bodily injury" means bodily injury, sickness or disease sustained by a person. This includes mental anguish,
          mental injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or
          disease.

P.   Electronic Data

     Exclusion p. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     p. Electronic Data

          Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access or inability to
          manipulate electronic data.

          This exclusion does not apply to "bodily injury" or physical injury to tangible property including all resulting loss
          of use of that property.

          As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
          on, or transmitted to or from computer software (including systems and applications software), hard or floppy
          disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which are used with
          electronically controlled equipment.

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Q.   Insured Status ---- Amateur Athletic Participants

     Section II ---- Who Is An Insured is amended to include as an insured any person you sponsor while participating in
     amateur athletic activities. However, no such person is an insured for:

     a.   "Bodily injury" to:

          (1)   Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur
                athletic activities; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company) while participating in such amateur athletic activities; or

     b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
        over which the physical control is being exercised for any purpose by:

          (1)   Your "employee", "volunteer worker" or any person you sponsor; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company).

R.   Non-Owned Aircraft and Watercraft

     Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     g. Aircraft, Auto Or Watercraft

          "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
          any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes
          operation and "loading or unloading".

          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
          caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to
          others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.

          This exclusion does not apply to:

          (1)   A watercraft while ashore on premises you own or rent;

          (2)   A watercraft you do not own that is:

                (a) Less than 51 feet long; and

                (b) Not being used to carry persons for a charge;

          (3)   Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned
                by or rented or loaned to you or the insured;

          (4)   Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or
                watercraft;

          (5)   An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not
                owned in whole or in part by an insured; or

          (6)   "Bodily injury" or "property damage" arising out of:


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                (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                    qualify under the definition of "mobile equipment" if it were not subject to a compulsory or financial
                    responsibility law or other motor vehicle insurance law in the state where it is licensed or principally
                    garaged; or

                (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition
                    of "mobile equipment".

S.   Definitions ---- Leased Worker, Temporary Worker and Labor Leasing Firm

     1.   Definitions 10. and 19. in Section V -- Definitions are replaced by the following:

          10.   "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement
                between you and the "labor leasing firm", to perform duties related to the conduct of your business.
                "Leased worker" does not include a "temporary worker".

          19.   "Temporary worker" means a person who is furnished to you to support or supplement your work force
                during "employee" absences, temporary skill shortages, upturns or downturns in business or to meet
                seasonal or short-term workload conditions. "Temporary worker" does not include a "leased worker".

     2.   The following definition is added to Section V ---- Definitions:

          "Labor leasing firm" means any person or organization who hires out workers to others, including any:

          a.    Employment agency, contractor or services;
          b.    Professional employer organization; or
          c.    Temporary help service.

T.   Definition ---- Mobile Equipment

     Paragraph f. of Definition 12. in Section V ---- Definitions is replaced by the following:

     f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
          transportation of persons or cargo.

          However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
          combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":

          (1)   Equipment designed primarily for:

                (a) Snow removal;

                (b) Road maintenance, but not construction or resurfacing; or

                (c) Street cleaning;

          (2)   Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
                workers; and

          (3)   Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.

U.   Definitions ---- Your Product and Your Work

     Definitions 21. and 22. in Section V ---- Definitions are replaced by the following:

     21. "Your product":

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         a.     Means:

                (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or
                    disposed of by:

                    (a) You;

                    (b) Others trading under your name; or

                    (c) A person or organization whose business or assets you have acquired; and

                (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such
                    goods or products.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your product"; and

                (2) The providing of or failure to provide warnings or instructions.

         c.     Does not include vending machines or other property rented to or located for the use of others but not
                sold.

     22. "Your work":

         a.     Means:

                (1) Work, services or operations performed by you or on your behalf; and

                (2) Materials, parts or equipment furnished in connection with such work, services or operations.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your work"; and

                (2) The providing of or failure to provide warnings or instructions.

V.   Priority Condition

     The following paragraph is added to Section III --- Limits Of Insurance:

     In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
     injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
     same offense, we will apply the Limits of Insurance in the following order:

     (a) You;

     (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
         company) or "employees"; and

     (c) Any other insured in any order that we choose.

W.    Duties in the Event of Occurrence, Offense, Claim or Suit Condition



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      The following paragraphs are added to Paragraph 2., Duties In The Event Of Occurrence, Offense, Claim Or Suit of
      Section IV ---- Commercial General Liability Conditions:

      Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
      "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has
      been reported to any insured listed under Paragraph 1. of Section II ---- Who Is An Insured or an "employee"
      authorized by you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense,
      claim or "suit" does not imply that you also have such knowledge.

     In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
     this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured’s failure to
     report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this
     Condition. You must, however, give us notice as soon as practicable after being made aware that the particular
     claim is a General Liability rather than a Workers Compensation claim.

X.    Other Insurance Condition

      Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV ---- Commercial General Liability
      Conditions are replaced by the following:

     4.   Other Insurance

          If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
          this Coverage Part, our obligations are limited as follows:

          a.    Primary Insurance

                This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
                obligations are not affected unless any of the other insurance is also primary. Then, we will share with all
                that other insurance by the method described in Paragraph c. below. This insurance is primary insurance
                as respects our coverage to the additional insured person or organization where the written contract or
                written agreement requires that this insurance be primary and non-contributory. In that event, we will not
                seek contribution from any other insurance policy available to the additional insured on which the
                additional insured person or organization is a Named Insured. Other insurance includes any type of self
                insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

          b.    Excess Insurance

                (1) This insurance is excess over:

                    (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:

                        (i) That is property insurance, Builder’s Risk, Installation Risk or similar coverage for "your work";

                        (ii) That is property insurance purchased by you (including any deductible or self insurance
                             portion thereof) to cover premises rented to you or temporarily occupied by you with
                             permission of the owner;

                        (iii) That is insurance purchased by you (including any deductible or self insurance portion
                              thereof) to cover your liability as a tenant for "property damage" to premises rented to you or
                              temporarily occupied by you with permission of the owner;

                        (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent
                             not subject to Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                             Liability; or

                        (v) That is property insurance (including any deductible or self insurance portion thereof)
                            purchased by you to cover damage to:

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                           Equipment you borrow from others at a jobsite; or

                           Property loaned to you or personal property in the care, custody or control of the insured
                           arising out of the use of an elevator at premises you own, rent or occupy.

                  (b) Any other primary insurance (including any deductible or self insurance portion thereof) available
                      to the insured covering liability for damages arising out of the premises, operations, products,
                      work or services for which the insured has been granted additional insured status either by policy
                      provision or attachment of any endorsement. Other primary insurance includes any type of self
                      insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

                  (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available
                      to an additional insured, in which the additional insured on our policy is also covered as an
                      additional insured by attachment of an endorsement to another policy providing coverage for the
                      same "occurrence", claim or "suit". This provision does not apply to any policy in which the
                      additional insured is a Named Insured on such other policy and where our policy is required by
                      written contract or written agreement to provide coverage to the additional insured on a primary
                      and non-contributory basis.

Y.   Unintentional Failure to Disclose All Hazards

     Paragraph 6. Representations of Section IV ---- Commercial General Liability Conditions is replaced by the following:

     6. Representations

        By accepting this policy, you agree:

        a.    The statements in the Declarations are accurate and complete;

        b.    Those statements are based upon representations you made to us; and

        c.    We have issued this policy in reliance upon your representations.

        Coverage will continue to apply if you unintentionally:

        a.    Fail to disclose all hazards existing at the inception of this policy; or

        b.    Make an error, omission or improper description of premises or other statement of information stated in
              this policy.

        You must notify us in writing as soon as possible after the discovery of any hazards or any other information
        that was not provided to us prior to inception of this Coverage Part.

Z.   Waiver of Right of Subrogation

     Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV ---- Commercial General Liability
     Conditions is replaced by the following:

     8. Transfer Of Rights Of Recovery Against Others To Us

        a.    If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
              those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
              the insured will bring "suit" or transfer those rights to us and help us enforce them.

        b.    If the insured waives its right to recover payments for injury or damage from another person or
              organization in a written contract executed prior to a loss, we waive any right of recovery we may have
              against such person or organization because of any payment we have made under this Coverage Part.

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               The written contract will be considered executed when the insured’s performance begins, or when it is
               signed, whichever happens first. This waiver of rights shall not be construed to be a waiver with respect
               to any other operations in which the insured has no contractual interest.

AA.   Liberalization Condition

      The following condition is added to Section IV --- Commercial General Liability Conditions:

      Liberalization Clause

      If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
      automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
      address of your policy.




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General Liability Supplemental Coverage Endorsement
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Collection or Distribution of Material or Information in
Violation of Law Exclusion

    Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage A ----
   Bodily Injury And Property Damage Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         q. Collection Or Distribution Of Material Or Information In Violation Of Law
             "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
             that violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or
             (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                 or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                 that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                 sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage B ----
   Personal And Advertising Injury Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         p. Collection Or Distribution Of Material Or Information In Violation Of Law
             "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
             violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agree ment                                                   (2) A "claim" will be dee med to have been made
                                                                               when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes
                                                                               corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an
                                                                               comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the
                                                                               same person or organization will be dee med to
        "insured’s" "e mployee benefit programs". We will
                                                                               have been made at the time the first of those
        have the right and duty to defend the "insured"
                                                                               "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against          2.   Exclusions
        any "suit" seeking damages for any act, error, or
        omission for which this insurance does not apply.                  This insurance does not apply to:
        We may, at our discretion, investigate any "claim"                 A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                           and advertising injury";
         (1) The amount we pay for damages is limited as                   B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                   est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                           C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                        tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settle ments un-               D. Any "claim" or "suit" arising out of an insurer’s
             der this E mployee Benefit Liability coverage.                   or other provider’s failure to perform its con-
                                                                              tract;
         No other obligation or liability to pay sums or per-
         form acts or services is covered unless explicitly                E. Any "claim" or "suit" arising out of your failure
         provided for under Supple mentary Payments of this                   to comply with any workers compensation, un-
         Coverage Part.                                                       e mployment insurance, social security, disabil-
                                                                              ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                                  F. Any "claim" or "suit" arising out of the failure of
                                                                              any of your "e mployee benefit plans" to meet
             a.   A "claim" arising out of the act, error or                  obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                                G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                   (1) Advice given to any person to participate
                  the "coverage territory";                                        or not participate in a plan or program in-
                                                                                   cluded in "e mployee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                       (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                            any investment manager, administrator,
                  "claim" or "suit"; and                                           trustee, actuary, advisor, counsel, account-
                                                                                   ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-                   C. Subject to the Aggregate Limit provisions in B.
                 age ment, administration or disposition of                       above, the E ach Claim Limit is the most we will
                 assets of your "e mployee benefit pro-                           pay for all damages sustained by any one "e m-
                 grams"; or                                                       ployee", including the "e mployee’s" dependents and
                                                                                  beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as
                                                                                  committed in the "administration" of your "e m-
                 represented by any "insured".
                                                                                  ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"
                                                                               D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:
                                                                                  each consecutive annual period and to any re main-
             a.   The E mployee Retire ment Income Secu-                          ing period of less than 12 months starting with the
                  rity Act of 1974 (PL93-406) and its                             beginning of the policy period shown in the Decla-
                  amendments; or                                                  rations, unless the policy period is extended after is-
                                                                                  suance for an additional period of less than 12
             b.   The Internal Revenue Code of 1986 (in-                          months. In that case, the additional period will be
                  cluding the Internal Revenue Code of                            dee med part of the last preceding period for pur-
                  1954) and its amendments.                                       poses of determining the Limits of Insurance.
    3.   Supple mentary Payments                                      III. Conditions
         We will pay, in addition to the applicable Limits of                  A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                                       Bankruptcy or insolvency of the "insured" or the "in-
                                                                                   sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by                    B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                         Claim or Suit
            judgment which accrues after entry of the
                                                                                   (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered
                                                                                       plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment
                                                                                       that we are notified as soon as practicable of
            which does not exceed the limit of our insur-
                                                                                       any act, error, or omission which may result in
            ance.
                                                                                       a "claim". To the extent possible, notice should
         B. Pre miums on appeal bonds required and on                                  include:
            bonds to release attachments in any "suit". We
                                                                                       a.   How, when, and where the act, error, or
            do not have to furnish these bonds.
                                                                                            omission took place;
         C. All reasonable expenses incurred by the "in-
                                                                                       b.   The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                            "e mployee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-
                                                                                            of any "e mployee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                             Notice of an act, error, or omission is not notice
                                                                                       of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                         (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                            must:
            insurance, we will not pay any prejudgment in-
            terest based on that period of time after the of-                          a.   Immediately record the specifics of the
            fer.                                                                            "claim" and the date received; and

II. Limits of Insurance                                                                b.   Notify us as soon as practicable.

    A. The Limits of Insurance shown in the Declarations                               You must see to it that we receive written no-
       and the rules below establish the most we will pay                              tice of the "claim" as soon as practicable.
       regardless of the number of:                                                (3) You and any other involved "insured" must:
         (1) "Insureds";                                                               a.   Immediately send us copies of any de-
         (2) "Claims" made or "suits" brought; or                                           mands, notices, summonses, or legal papers
                                                                                            received in connection with the "claim" or
         (3) "E mployees" or dependents or beneficiaries of                                 "suit";
             "e mployees" making "claims" or bringing "suits".
                                                                                       b.   Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                                  information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "e mployee benefit
       programs" during the policy period.


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       c.   Cooperate with us in the investigation, set-                      When this insurance is excess, we will have no
            tle ment, or defense of the "claim" or "suit";                    duty to defend any "claim" or "suit" that any
            and                                                               other insurer has a duty to defend. If no other
                                                                              insurer defends, we will undertake to do so, but
       d.   Assist us, upon our request, in the en-
                                                                              we will be entitled to the "insured’s" rights
            force ment of any right against any person
                                                                              against all those other insurers.
            or organization which may be liable to the
            "insured" because of injury to which this in-                     When this insurance is excess over other insur-
            surance may also apply.                                           ance, we will pay only our share of the amount
                                                                              of the loss, if any, that exceeds the sum of:
   (4) No insureds will, except at their own cost, vol-
       untarily make a payment, assume any obliga-                            i.    The total amount that all such other insur-
       tion, or incur any expense without our consent.                              ance would pay for the loss in the absence
                                                                                    of this insurance; and
C. Legal Action Against Us
                                                                              ii. The total of all deductible and self-insured
   No person or organization has a right:
                                                                                  amounts under all that other insurance.
   (1) To join us as a party or otherwise bring us into
                                                                              We will share the re maining loss, if any, with
       a "suit" asking for damages from an "insured";
                                                                              any other insurance that is not described in this
       or
                                                                              Excess Insurance provision and was not bought
   (2) To sue us on this Coverage Part unless all of its                      specifically to apply in excess of the Limits of
       terms have been fully complied with.                                   Insurance shown in the Declarations of this
                                                                              Coverage Part.
   A person or organization may sue us to recover on
   an agreed settle ment or on a final judgment against                   (3) Method of Sharing
   an "insured" obtained after an actual trial, but we
                                                                              If all of the other insurance permits contribu-
   will not be liable for damages that are not payable
                                                                              tion by equal shares, we will follow this method
   under the terms of this Coverage Part or that are in
                                                                              also. Under this approach, each insurer con-
   excess of the applicable limit of insurance. An
                                                                              tributes equal amounts until it has paid its ap-
   agreed settle ment means a settle ment and release
                                                                              plicable limit of insurance or none of the loss
   of liability signed by us, the "insured", and the
                                                                              re mains, whichever comes first.
   claimant or the claimant’s legal representative.
                                                                              If any of the other insurance does not permit
D. Other Insurance
                                                                              contribution by equal shares, we will contribute
   If other valid and collectible insurance is available                      by limits. Under this method, each insurer’s
   to the "insured" for a loss we cover under this Cov-                       share is based on the ratio of its applicable
   erage Part, our obligations are limited as follows:                        limit of insurance to the total applicable limits
                                                                              of insurance of all insurers.
   (1) Primary Insurance
                                                                      E. Separation of Insureds
       This insurance is primary except when 2. below
       applies. If this insurance is primary, our obli-                   Except with respect to the Limits of Insurance and
       gations are not affected unless any of the other                   any rights or duties specifically assigned in this
       insurance is also primary. Then, we will share                     Coverage Part to the first Named Insured, this in-
       with all that other insurance by the method de-                    surance applies:
       scribed in 3. below.
                                                                          (1) As if each Named Insured were the only
   (2) Excess Insurance                                                       Named Insured; and
       This insurance is excess over any other insur-                     (2) Separately to each "insured" against whom
       ance whether primary, excess, contingent, or on                        "claim" is made or "suit" is brought.
       any other basis that is effective prior to the be-
                                                                      F. Transfer Of Rights Of Recovery Against Others To
       ginning of the policy period shown in the Dec-
                                                                         Us
       larations of this insurance and applies to an act,
       error, or omission on other than a claims-made                     If the "insured" has rights to recover all or part of
       basis, if:                                                         any payment we made under this Coverage Part,
                                                                          those rights are transferred to us. The "insured"
       a.   No Retroactive Date is shown in the Dec-
                                                                          must do nothing after loss to impair the m. At our
            larations of this insurance; or
                                                                          request, the "insured" will bring "suit" or transfer
       b.   The other insurance has a policy period                       those rights to us and help us enforce the m.
            which continues after the Retroactive
                                                                  IV. Definitions
            Date, if any, shown in the Declarations of
            this insurance.



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    A. "Advertise ment" means a notice that is broadcast or                        You and any of your partners, executive officers, di-
       published to the general public or specific market                          rectors, me mbers, stockholders or "e mployees",
       segments about your goods, products or services for                         provided such "e mployee" is authorized to act in
       the purpose of attracting customers or supporters.                          the "administration" of your "e mployee benefit pro-
       For the purposes of this definition:                                        grams".
        (1) Notices that are published include material                       I.   "Personal and advertising injury" means:
            placed on the Internet or on similar electronic
            means of communication; and                                            Injury, including consequential "bodily injury", aris-
                                                                                   ing out of one or more of the following offenses:
        (2) Regarding web-sites, only that part of a web-
            site that is about your goods, products or ser-                        (1) False arrest, detention, or imprisonment;
            vices for the purposes of attracting customers or                      (2) Malicious prosecution;
            supporters is considered an advertise ment.
                                                                                   (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                                         or invasion of the right of private occupancy of,
        (1) Counseling "e mployees", including their de-                               a room, dwelling, or pre mises that a person oc-
            pendents and beneficiaries, with respect to                                cupies by or on behalf of its owner, landlord, or
            "e mployee benefit programs";                                              lessor;

        (2) Handling records in connection with "e mployee                         (4) Oral or written publication, in any manner, of
            benefit programs"; or                                                      material that slanders or libels a person or or-
                                                                                       ganization or disparages a person’s or organi-
        (3) Effecting or terminating an "e mployee’s" par-                             zation’s goods, products, or services; or
            ticipation in a plan included in "e mployee
            benefit programs".                                                     (5) Oral or written publication,’ in any manner, of
                                                                                       material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-                           vacy;
       ease sustained by a person, including death result-
       ing from any of these at any time.                                          (6) The use of another’s advertising idea in your
                                                                                       "advertise ment"; or
    D. "Claim" means:
                                                                                   (7) Infringing upon another’s copyright, trade dress
        The receipt by you of a de mand for money or ser-                              or slogan in your "advertise ment".
        vices which alleges an act, error, or omission in the
        "administration" of your "e mployee benefit pro-                      J.   "Property damage" means:
        grams."                                                                    (1) Physical injury to tangible property, including
    E. "Coverage territory" means:                                                     all resulting loss of use of that property.

        (1) The United States of America (including its                            (2) Loss of use of tangible property that is not
                                                                                       physically injured.
            territories and possessions), Puerto Rico, and
            Canada; or                                                             For the purposes of this insurance, electronic data is
        (2) All parts of the world if the "insured’s" respon-                      not tangible property.
            sibility to pay damages is determined in a "suit"                      As used in this definition, electronic data means in-
            on the merits, in the territory described in E. 1.                     formation, facts or programs stored as or on, cre-
            above, or in a settle ment to which we agree.                          ated or used on, or transmitted to or from computer
    F. "E mployee" means:                                                          software, including syste ms and applications, soft-
                                                                                   ware, hard or floppy disks, CD-ROMS, tapes,
        Your officers and e mployees, whether actively e m-                        drives, cells, data processing devices or any other
        ployed, disabled, or retired.                                              media which are used with electronically controlled
                                                                                   equipment.
    G. "E mployee benefit programs" mean:
                                                                              K. "Suit" means:
        Group life insurance, group accident or health in-
        surance, profit sharing plans, pension plans, e m-                         A civil proceeding in which damages to which this
        ployee stock subscription plans, workers compensa-                         insurance applies is alleged. "Suit" includes:
        tion, une mployment insurance, salary continuation
        plans, social security, disability benefits insurance,                     (1) An arbitration proceeding in which such dam-
        savings plans, vacation plans, or any other similar                            ages are claimed and to which you must submit
        plans or programs.                                                             or do submit with our consent; or

    H. "Insured" means:                                                            (2) Any other alternative dispute resolution pro-
                                                                                       ceeding in which such damages are claimed
                                                                                       and to which you submit with our consent.



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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                       Policy Number:         CPO 5912284-00
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured    OMNICELL INC.



  Policy Period: Coverage begins     09-01-2012           at 12:01 A.M.;   Coverage ends          09-01-2013              at 12:01 A.M.


  Producer Name:    MARSH RISK & INSURANCE SERVS                                           Producer No. 70074-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                    $           2,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $               2,000,000

EACH OCCURRENCE LIMIT                                 $           1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $           1,000,000                   Any one premises

       MEDICAL EXPENSE LIMIT                          $                    10,000             Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $           1,000,000                   Any one person or
                                                                                              organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                           (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:                                                                    $           68,641.00
Other Premium:
Total Premium:                                                                            $           68,641.00




                                                                                                                    U-GL-D-1115-B CW (9/ 04)
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                                                                      Policy Number
                                                                      CPO 5912284-00
                              COMMERCIAL GENERAL LIABILITY COVERAGE SCHEDULE

                            ZURICH AMERICAN INSURANCE COMPANY

  Named Insured        OMNICELL INC.                                   Effective Date:      09-01-12
                                                                                12:01 A.M., Standard Time
  Agent Name           MARSH RISK & INSURANCE SERVS                    Agent No.        70074-000
 Item 5. Location of Premises
 Location of All Premises You Own, Rent or Occupy:
       See Schedule of Locations
 Code No.       Premium Basis
                  GROSS SALES/NEAREST THOUSAND                                Premises / Operations
  51941
 Location         001/001     Exposure   $333,253,000                 Rate                     Premium
Classification:                                                   $             .140 $          46,655.00
COMPUTER MFG.
                                                                      Products / Completed Operations

                                                                       Rate                    Premium
                                                                  $             .057 $          18,995.00
 Code No.         Premium Basis
  G4019                                                                       Premises / Operations

 Location                     Exposure                                Rate                     Premium
Classification:                                                                         $         2,481.00
GL SUPPLEMENTAL COVERAGE ENDORSEMENT
                                                                      Products / Completed Operations

                                                                       Rate                    Premium


 Code No.         Premium Basis
                                                                              Premises / Operations
  92100
 Location                     Exposure   1100                         Rate                     Premium
Classification:                                                                         $             510.00
EMPLOYEE BENEFITS
                                                                      Products / Completed Operations

                                                                       Rate                    Premium


 Code No.         Premium Basis
                                                                              Premises / Operations

 Location                     Exposure                                Rate                     Premium
Classification:

                                                                      Products / Completed Operations

                                                                       Rate                    Premium




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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                     Policy Number:      CPO 5912284-00
Named Insured:      OMNICELL INC.


Policy Period: Coverage begins 09-01-2012                  at 12:01 A.M.;   Coverage ends 09-01-2013           at 12:01 A.M.



Producer Name:      MARSH RISK & INSURANCE SERVS                                  Producer No.    70074-000


Item 1. Limits of Insurance



    $     1,000,000           Aggregate Limit
    $     1,000,000           Each Claim Limit


Item 2. Form of Business:
         Individual              Parnership            Joint Venture        X Corporation
         Other



Item 3. Premium Schedule:
     Code No.         Premium Basis                         Rate                              Advance Premium
                      (Estimated Number of Employees)

     92100             1,100                                $                  Per Employee   $   INCL
                                                            $                  Flat Charge    $


Total Advance Premium For This Coverage Part:         $   INCL

Audit Period:    X Annual           Semi-annual           Quarterly            Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
                    (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.                 b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,                   "property damage" only if:
duties and what is and is not covered.
                                                                       (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                          caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,                      in the "coverage territory";
and any other person or organization qualifying as a                   (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we", "us"                      occurs during the policy period; and
and "our" refer to the company providing this insur-
ance.                                                                  (3) Prior to the policy period, no insured listed
                                                                           under Paragraph 1. of Section II ---- Who Is
The word "insured" means any person or organization                        An Insured and no "employee" authorized
qualifying as such under Section II ---- Who Is An In-                     by you to give or receive notice of an "oc-
sured.                                                                     currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                           jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V ----                        whole or in part. If such a listed insured or
Definitions.                                                               authorized "employee" knew, prior to the
SECTION I ---- COVERAGES                                                   policy period, that the "bodily injury" or
                                                                           "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                                      tinuation, change or resumption of such
DAMAGE LIABILITY                                                           "bodily injury" or "property damage" during
1. Insuring Agreement                                                      or after the policy period will be deemed to
                                                                           have been known prior to the policy period.
   a. We will pay those sums that the insured be-
       comes legally obligated to pay as damages be-                 c. "Bodily injury" or "property damage" which
       cause of "bodily injury" or "property damage" to                  occurs during the policy period and was not,
       which this insurance applies. We will have the                    prior to the policy period, known to have oc-
       right and duty to defend the insured against                      curred by any insured listed under Paragraph
       any "suit" seeking those damages. However, we                     1. of Section II ---- Who Is An Insured or any
       will have no duty to defend the insured against                   "employee" authorized by you to give or receive
       any "suit" seeking damages for "bodily injury" or                 notice of an "occurrence" or claim, includes any
       "property damage" to which this insurance                         continuation, change or resumption of that
       does not apply. We may, at our discretion, in-                    "bodily injury" or "property damage" after the
       vestigate any "occurrence" and settle any claim                   end of the policy period.
       or "suit" that may result. But:                               d. "Bodily injury" or "property damage" will be
      (1) The amount we will pay for damages is                          deemed to have been known to have occurred
           limited as described in Section III ---- Limits               at the earliest time when any insured listed un-
            Of Insurance; and                                            der Paragraph 1. of Section II ---- Who Is An In-
      (2) Our right and duty to defend ends when we                      sured or any "employee" authorized by you to
           have used up the applicable limit of insur-                   give or receive notice of an "occurrence" or
                                                                         claim:
           ance in the payment of judgments or set-
           tlements under Coverages A or B or medi-                     (1) Reports all, or any part, of the "bodily injury"
           cal expenses under Coverage C.                                    or "property damage" to us or any other in-
                                                                             surer;
       No other obligation or liability to pay sums or
       perform acts or services is covered unless ex-                  (2) Receives a written or verbal demand or
       plicitly provided for under Supplementary Pay-                      claim for damages because of the "bodily in-
       ments ---- Coverages A and B.                                       jury" or "property damage"; or
                                                                       (3) Becomes aware by any other means that
                                                                           "bodily injury" or "property damage" has oc-
                                                                           curred or has begun to occur.




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   e. Damages because of "bodily injury" include                       c. Liquor Liability
      damages claimed by any person or organiza-                           "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting                   any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                          (1) Causing or contributing to the intoxication
2. Exclusions                                                                 of any person;
   This insurance does not apply to:                                      (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                             person under the legal drinking age or un-
       "Bodily injury" or "property damage" expected                          der the influence of alcohol; or
       or intended from the standpoint of the insured.                   (3) Any statute, ordinance or regulation relating
       This exclusion does not apply to "bodily injury"                      to the sale, gift, distribution or use of alco-
       resulting from the use of reasonable force to                         holic beverages.
       protect persons or property.                                       This exclusion applies only if you are in the
   b. Contractual Liability                                               business of manufacturing, distributing, selling,
       "Bodily injury" or "property damage" for which                     serving or furnishing alcoholic beverages.
       the insured is obligated to pay damages by rea-                 d. Workers’ Compensation And Similar Laws
       son of the assumption of liability in a contract                   Any obligation of the insured under a workers’
       or agreement. This exclusion does not apply to                     compensation, disability benefits or unemploy-
       liability for damages:                                             ment compensation law or any similar law.
      (1) That the insured would have in the absence                   e. Employer’s Liability
           of the contract or agreement; or
                                                                          "Bodily injury" to:
      (2) Assumed in a contract or agreement that is
           an "insured contract", provided the "bodily                   (1) An "employee" of the insured arising out of
           injury" or "property damage" occurs subse-                          and in the course of:
           quent to the execution of the contract or                          (a) Employment by the insured; or
           agreement. Solely for the purposes of liabil-
                                                                             (b) Performing duties related to the conduct
           ity assumed in an "insured contract", rea-
                                                                                  of the insured’s business; or
           sonable attorney fees and necessary litiga-
           tion expenses incurred by or for a party                      (2) The spouse, child, parent, brother or sister
           other than an insured are deemed to be                              of that "employee" as a consequence of
           damages because of "bodily injury" or                               Paragraph (1) above.
           "property damage", provided:                                   This exclusion applies whether the insured may
          (a) Liability to such party for, or for the cost                be liable as an employer or in any other capac-
                of, that party’s defense has also been                    ity and to any obligation to share damages with
                assumed in the same "insured contract";                   or repay someone else who must pay damages
                and                                                       because of the injury.
          (b) Such attorney fees and litigation ex-                       This exclusion does not apply to liability as-
                penses are for defense of that party                      sumed by the insured under an "insured con-
                against a civil or alternative dispute reso-              tract".
                lution proceeding in which damages to
                which this insurance applies are alleged.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened dis-                  or subcontractors working directly or
           charge, dispersal, seepage, migration, re-                     indirectly on any insured’s behalf are
           lease or escape of "pollutants":                               performing operations if the "pollutants"
                                                                          are brought on or to the premises, site
          (a) At or from any premises, site or location                   or location in connection with such op-
               which is or was at any time owned or                       erations by such insured, contractor or
               occupied by, or rented or loaned to, any                   subcontractor. However, this subpara-
               insured. However, this subparagraph                        graph does not apply to:
               does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                        arising out of the escape of fuels, lu-
                  building and caused by smoke,                               bricants or other operating fluids
                  fumes, vapor or soot produced by or                         which are needed to perform the
                 originating from equipment that is                           normal electrical, hydraulic or me-
                 used to heat, cool or dehumidify the                         chanical functions necessary for the
                  building, or equipment that is used to                      operation of "mobile equipment" or its
                 heat water for personal use, by the                          parts, if such fuels, lubricants or
                  building’s occupants or their guests;                       other operating fluids escape from a
            (ii) "Bodily injury" or "property damage"                         vehicle part designed to hold, store
                  for which you may be held liable, if                        or receive them. This exception does
                  you are a contractor and the owner                          not apply if the "bodily injury" or
                  or lessee of such premises, site or                         "property damage" arises out of the
                  location has been added to your pol-                        intentional discharge, dispersal or re-
                  icy as an additional insured with re-                       lease of the fuels, lubricants or other
                  spect to your ongoing operations                            operating fluids, or if such fuels, lu-
                  performed for that additional insured                       bricants or other operating fluids are
                  at that premises, site or location and                      brought on or to the premises, site
                  such premises, site or location is not                      or location with the intent that they
                  and never was owned or occupied                             be discharged, dispersed or released
                  by, or rented or loaned to, any in-                         as part of the operations being per-
                  sured, other than that additional in-                       formed by such insured, contractor
                  sured; or                                                   or subcontractor;
           (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                  arising out of heat, smoke or fumes                         sustained within a building and
                  from a "hostile fire";                                      caused by the release of gases,
        (b) At or from any premises, site or location                         fumes or vapors from materials
             which is or was at any time used by or                           brought into that building in connec-
             for any insured or others for the han-                           tion with operations being performed
             dling, storage, disposal, processing or                          by you or on your behalf by a con-
             treatment of waste;                                              tractor or subcontractor; or
        (c) Which are or were at any time trans-                        (iii) "Bodily injury" or "property damage"
             ported, handled, stored, treated, dis-                           arising out of heat, smoke or fumes
             posed of, or processed as waste by or                            from a "hostile fire".
             for:                                                    (e) At or from any premises, site or location
             (i) Any insured; or                                          on which any insured or any contractors
                                                                          or subcontractors working directly or
            (ii) Any person or organization for                           indirectly on any insured’s behalf are
                 whom you may be legally responsi-                        performing operations if the operations
                  ble; or                                                 are to test for, monitor, clean up, re-
                                                                          move, contain, treat, detoxify or neutral-
                                                                          ize, or in any way respond to, or assess
                                                                          the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                    (5) "Bodily injury" or "property damage" arising
          any:                                                            out of:
         (a) Request, demand, order or statutory or                      (a) The operation of machinery or equip-
             regulatory requirement that any insured                         ment that is attached to, or part of, a
             or others test for, monitor, clean up, re-                      land vehicle that would qualify under the
             move, contain, treat, detoxify or neutral-                      definition of "mobile equipment" if it were
             ize, or in any way respond to, or assess                        not subject to a compulsory or financial
             the effects of, "pollutants"; or                                responsibility law or other motor vehicle
        (b) Claim or "suit" by or on behalf of a gov-                        insurance law in the state where it is li-
             ernmental authority for damages be-                             censed or principally garaged; or
             cause of testing for, monitoring, clean-                      (b) the operation of any of the machinery or
             ing up, removing, containing, treating,                            equipment listed in Paragraph f.(2) or
             detoxifying or neutralizing, or in any way                         f.(3) of the definition of "mobile equip-
             responding to, or assessing the effects                            ment".
             of, "pollutants".                                     h. Mobile Equipment
          However, this paragraph does not apply to                     "Bodily injury" or "property damage" arising out
          liability for damages because of "property                    of:
          damage" that the insured would have in the
          absence of such request, demand, order or                    (1) The transportation of "mobile equipment" by
          statutory or regulatory requirement, or such                      an "auto" owned or operated by or rented or
          claim or "suit" by or on behalf of a govern-                      loaned to any insured; or
          mental authority.                                            (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                          in practice for, or while being prepared for,
                                                                            any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                      or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-            i. War
      tercraft owned or operated by or rented or                      "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                   caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                     (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                     (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                         action in hindering or defending against an
      wrongdoing in the supervision, hiring, em-
                                                                         actual or expected attack, by any govern-
      ployment, training or monitoring of others by
                                                                         ment, sovereign or other authority using
      that insured, if the "occurrence" which caused
                                                                         military personnel or other agents; or
      the "bodily injury" or "property damage" in-
      volved the ownership, maintenance, use or en-                  (3) Insurrection, rebellion, revolution, usurped
      trustment to others of any aircraft, "auto" or wa-                 power, or action taken by governmental au-
      tercraft that is owned or operated by or rented                    thority in hindering or defending against
      or loaned to any insured.                                          any of these.
      This exclusion does not apply to:                            j. Damage To Property
     (1) A watercraft while ashore on premises you                    "Property damage" to:
          own or rent;                                               (1) Property you own, rent, or occupy, includ-
     (2) A watercraft you do not own that is:                            ing any costs or expenses incurred by you,
         (a) Less than 26 feet long; and                                 or any other person, organization or entity,
                                                                         for repair, replacement, enhancement, res-
        (b) Not being used to carry persons or                           toration or maintenance of such property
             property for a charge;                                      for any reason, including prevention of in-
     (3) Parking an "auto" on, or on the ways next                       jury to a person or damage to another’s
         to, premises you own or rent, provided the                      property;
         "auto" is not owned by or rented or loaned                  (2) Premises you sell, give away or abandon, if
         to you or the insured;                                          the "property damage" arises out of any part
     (4) Liability assumed under any "insured con-                       of those premises;
         tract" for the ownership, maintenance or                    (3) Property loaned to you;
         use of aircraft or watercraft; or
                                                                     (4) Personal property in the care, custody or
                                                                         control of the insured;



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     (5) That particular part of real property on                   This exclusion does not apply to the loss of
         which you or any contractors or subcon-                    use of other property arising out of sudden
         tractors working directly or indirectly on                 and accidental physical injury to "your product"
         your behalf are performing operations, if the              or "your work" after it has been put to its in-
         "property damage" arises out of those op-                  tended use.
         erations; or                                            n. Recall Of Products, Work Or Impaired Property
     (6) That particular part of any property that                  Damages claimed for any loss, cost or expense
         must be restored, repaired or replaced be-                 incurred by you or others for the loss of use,
         cause "your work" was incorrectly per-                     withdrawal, recall, inspection, repair, replace-
         formed on it.                                              ment, adjustment, removal or disposal of:
      Paragraphs (1), (3) and (4) of this exclusion do              (1) "Your product";
      not apply to "property damage" (other than
      damage by fire) to premises, including the con-               (2) "Your work"; or
      tents of such premises, rented to you for a pe-               (3) "Impaired property";
      riod of 7 or fewer consecutive days. A separate                if such product, work, or property is withdrawn
      limit of insurance applies to Damage To Prem-
                                                                     or recalled from the market or from use by any
      ises Rented To You as described in Section III
                                                                     person or organization because of a known or
      ---- Limits Of Insurance.
                                                                     suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply                 dangerous condition in it.
      if the premises are "your work" and were never             o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                     "Bodily injury" arising out of "personal and ad-
      Paragraphs (3), (4), (5) and (6) of this exclu-                vertising injury".
      sion do not apply to liability assumed under a
      sidetrack agreement.                                       p. Electronic Data
      Paragraph (6) of this exclusion does not apply                Damages arising out of the loss of, loss of use
      to "property damage" included in the "products-               of, damage to, corruption of, inability to ac-
      completed operations hazard".                                 cess, or inability to manipulate electronic data.
  k. Damage To Your Product                                         As used in this exclusion, electronic data
                                                                    means information, facts or programs stored as
      "Property damage" to "your product" arising out
                                                                    or on, created or used on, or transmitted to or
      of it or any part of it.
                                                                    from computer software, including systems and
   l. Damage To Your Work                                           applications software, hard or floppy disks,
      "Property damage" to "your work" arising out of               CD-ROMS, tapes, drives, cells, data processing
      it or any part of it and included in the "prod-               devices or any other media which are used with
      ucts-completed operations hazard".                            electronically controlled equipment.
      This exclusion does not apply if the damaged               q. Distribution Of Material In Violation Of Statutes
      work or the work out of which the damage                      "Bodily injury" or "property damage" arising di-
      arises was performed on your behalf by a sub-                 rectly or indirectly out of any action or omis-
      contractor.                                                   sion that violates or is alleged to violate:
  m. Damage To Impaired Property Or Property Not                   (1) The Telephone Consumer Protection Act
      Physically Injured                                               (TCPA), including any amendment of or
      "Property damage" to "impaired property" or                      addition to such law; or
      property that has not been physically injured,               (2) The CAN-SPAM Act of 2003, including any
      arising out of:                                                  amendment of or addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-               (3) Any statute, ordinance or regulation, other
          ous condition in "your product" or "your                     than the TCPA or CAN-SPAM Act of 2003,
          work"; or                                                    that prohibits or limits the sending, transmit-
     (2) A delay or failure by you or anyone acting                    ting, communicating or distribution of mate-
          on your behalf to perform a contract or                      rial or information.
          agreement in accordance with its terms.




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   Exclusions c. through n. do not apply to damage                   c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-                    "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                        oral or written publication of material whose
   owner. A separate limit of insurance applies to this                 first publication took place before the begin-
   coverage as described in Section III ---- Limits Of In-              ning of the policy period.
   surance.
                                                                     d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                        "Personal and advertising injury" arising out of
                                                                        a criminal act committed by or at the direction
1. Insuring Agreement
                                                                        of the insured.
   a. We will pay those sums that the insured be-                    e. Contractual Liability
       comes legally obligated to pay as damages be-
       cause of "personal and advertising injury" to                    "Personal and advertising injury" for which the
       which this insurance applies. We will have the                   insured has assumed liability in a contract or
       right and duty to defend the insured against                     agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However, we                    ability for damages that the insured would have
       will have no duty to defend the insured against                  in the absence of the contract or agreement.
       any "suit" seeking damages for "personal and                   f. Breach Of Contract
       advertising injury" to which this insurance does
                                                                         "Personal and advertising injury" arising out of
       not apply. We may, at our discretion, investi-
                                                                         a breach of contract, except an implied contract
       gate any offense and settle any claim or "suit"
                                                                         to use another’s advertising idea in your "ad-
       that may result. But:
                                                                         vertisement".
      (1) The amount we will pay for damages is
                                                                     g. Quality Or Performance Of Goods ---- Failure To
           limited as described in Section III ---- Limits
                                                                         Conform To Statements
            Of Insurance; and
      (2) Our right and duty to defend end when we                        "Personal and advertising injury" arising out of
           have used up the applicable limit of insur-                    the failure of goods, products or services to
           ance in the payment of judgments or set-                       conform with any statement of quality or per-
           tlements under Coverages A or B or medi-                       formance made in your "advertisement".
           cal expenses under Coverage C.                            h. Wrong Description Of Prices
      No other obligation or liability to pay sums or                     "Personal and advertising injury" arising out of
      perform acts or services is covered unless ex-                      the wrong description of the price of goods,
      plicitly provided for under Supplementary Pay-                      products or services stated in your "advertise-
      ments ---- Coverages A and B.                                       ment".
   b. This insurance applies to "personal and adver-                  i. Infringement Of Copyright, Patent, Trademark
      tising injury" caused by an offense arising out                     Or Trade Secret
      of your business but only if the offense was                        "Personal and advertising injury" arising out of
      committed in the "coverage territory" during the                    the infringement of copyright, patent, trade-
      policy period.                                                      mark, trade secret or other intellectual property
2. Exclusions                                                             rights. Under this exclusion, such other intel-
                                                                          lectual property rights do not include the use of
   This insurance does not apply to:
                                                                          another’s advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                              ment".
      "Personal and advertising injury" caused by or                      However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-                     fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-                   right, trade dress or slogan.
      other and would inflict "personal and advertis-
                                                                      j. Insureds In Media And Internet Type
      ing injury".
                                                                          Businesses
   b. Material Published With Knowledge Of Falsity
                                                                          "Personal and advertising injury" committed by
      "Personal and advertising injury" arising out of                    an insured whose business is:
      oral or written publication of material, if done
                                                                         (1) Advertising, broadcasting, publishing or
      by or at the direction of the insured with knowl-
                                                                              telecasting;
      edge of its falsity.
                                                                         (2) Designing or determining content of web-
                                                                              sites for others; or




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     (3) An Internet search, access, content or                        (3) Insurrection, rebellion, revolution, usurped
          service provider.                                                 power, or action taken by governmental au-
      However, this exclusion does not apply to                             thority in hindering or defending against
      Paragraphs 14.a., b. and c. of "personal and                          any of these.
      advertising injury" under the Definitions Sec-                p. Distribution Of Material In Violation Of Statutes
      tion.                                                             "Personal and advertising injury" arising directly
      For the purposes of this exclusion, the placing                   or indirectly out of any action or omission that
      of frames, borders or links, or advertising, for                  violates or is alleged to violate:
      you or others anywhere on the Internet, is not
                                                                     (1) The Telephone Consumer Protection Act
      by itself, considered the business of advertis-
                                                                         (TCPA), including any amendment of or
      ing, broadcasting, publishing or telecasting.                      addition to such law; or
  k. Electronic Chatrooms Or Bulletin Boards                         (2) The CAN-SPAM Act of 2003, including any
      "Personal and advertising injury" arising out of                   amendment of or addition to such law; or
      an electronic chatroom or bulletin board the in-               (3) Any statute, ordinance or regulation, other
      sured hosts, owns, or over which the insured                       than the TCPA or CAN-SPAM Act of 2003,
      exercises control.                                                 that prohibits or limits the sending, transmit-
   l. Unauthorized Use Of Another’s Name Or                              ting, communicating or distribution of mate-
      Product                                                            rial or information.
      "Personal and advertising injury" arising out of         COVERAGE C MEDICAL PAYMENTS
      the unauthorized use of another’s name or                1. Insuring Agreement
      product in your e-mail address, domain name
      or metatag, or any other similar tactics to mis-            a. We will pay medical expenses as described
      lead another’s potential customers.                             below for "bodily injury" caused by an accident:
  m. Pollution                                                         (1) On premises you own or rent;
       "Personal and advertising injury" arising out of                (2) On ways next to premises you own or rent;
       the actual, alleged or threatened discharge, dis-                    or
       persal, seepage, migration, release or escape                   (3) Because of your operations;
       of "pollutants" at any time.                                     provided that:
   n. Pollution-Related                                                    (a) The accident takes place in the "cover-
       Any loss, cost or expense arising out of any:                            age territory" and during the policy pe-
      (1) Request, demand, order or statutory or                                riod;
           regulatory requirement that any insured or                      (b) The expenses are incurred and reported
           others test for, monitor, clean up, remove,                          to us within one year of the date of the
           contain, treat, detoxify or neutralize, or in                        accident; and
           any way respond to, or assess the effects
                                                                           (c) The injured person submits to examina-
           of, "pollutants"; or
                                                                                tion, at our expense, by physicians of
      (2) Claim or suit by or on behalf of a govern-                            our choice as often as we reasonably
           mental authority for damages because of                              require.
           testing for, monitoring, cleaning up, remov-
           ing, containing, treating, detoxifying or neu-           b. We will make these payments regardless of
                                                                        fault. These payments will not exceed the appli-
           tralizing, or in any way responding to, or
                                                                        cable limit of insurance. We will pay reasonable
           assessing the effects of, "pollutants".
                                                                        expenses for:
   o. War
                                                                       (1) First aid administered at the time of an acci-
       "Personal and advertising injury", however                           dent;
       caused, arising, directly or indirectly, out of:
                                                                       (2) Necessary medical, surgical, x-ray and
      (1) War, including undeclared or civil war;                           dental services, including prosthetic de-
      (2) Warlike action by a military force, including                     vices; and
           action in hindering or defending against an                 (3) Necessary ambulance, hospital, profes-
           actual or expected attack, by any govern-                        sional nursing and funeral services.
           ment, sovereign or other authority using
           military personnel or other agents; or




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2. Exclusions                                                       f. Prejudgment interest awarded against the in-
   We will not pay expenses for "bodily injury":                       sured on that part of the judgment we pay. If
                                                                       we make an offer to pay the applicable limit of
   a. Any Insured                                                      insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                      terest based on that period of time after the of-
                                                                       fer.
   b. Hired Person
                                                                   g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf
                                                                       that accrues after entry of the judgment and be-
      of any insured or a tenant of any insured.
                                                                       fore we have paid, offered to pay, or deposited
   c. Injury On Normally Occupied Premises                             in court the part of the judgment that is within
      To a person injured on that part of premises                     the applicable limit of insurance.
      you own or rent that the person normally oc-               These payments will not reduce the limits of insur-
      cupies.                                                    ance.
   d. Workers Compensation And Similar Laws                   2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of               indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"           to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-              the following conditions are met:
      ers’ compensation or disability benefits law or a          a. The "suit" against the indemnitee seeks dam-
      similar law.                                                   ages for which the insured has assumed the li-
   e. Athletics Activities                                           ability of the indemnitee in a contract or agree-
                                                                     ment that is an "insured contract";
       To a person injured while practicing, instruct-
       ing or participating in any physical exercises or         b. This insurance applies to such liability assumed
       games, sports, or athletic contests.                          by the insured;
    f. Products-Completed Operations Hazard                      c. The obligation to defend, or the cost of the
                                                                     defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-                sumed by the insured in the same "insured
       tions hazard".                                                contract";
   g. Coverage A Exclusions
                                                                   d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                       we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS ---- COVERAGES A                                 no conflict appears to exist between the inter-
AND B                                                                   ests of the insured and the interests of the in-
                                                                        demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we             e. The indemnitee and the insured ask us to con-
   defend:                                                              duct and control the defense of that indemnitee
                                                                        against such "suit" and agree that we can as-
   a. All expenses we incur.                                            sign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                        and the indemnitee; and
       because of accidents or traffic law violations               f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We                (1) Agrees in writing to:
       do not have to furnish these bonds.                                 (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                            settlement or defense of the "suit";
       only for bond amounts within the applicable                       (b) Immediately send us copies of any de-
       limit of insurance. We do not have to furnish                         mands, notices, summonses or legal
       these bonds.                                                          papers received in connection with the
   d. All reasonable expenses incurred by the in-                            "suit";
       sured at our request to assist us in the investi-                 (c) Notify any other insurer whose coverage
       gation or defense of the claim or "suit", includ-                     is available to the indemnitee; and
       ing actual loss of earnings up to $250 a day
                                                                        (d) Cooperate with us with respect to coor-
       because of time off from work.
                                                                             dinating other applicable insurance avail-
   e. All court costs taxed against the insured in the                       able to the indemnitee; and
      "suit". However, these payments do not include                 (2) Provides us with written authorization to:
      attorneys’ fees or attorneys’ expenses taxed
      against the insured.                                               (a) Obtain records and other information
                                                                             related to the "suit"; and



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          (b) Conduct and control the defense of the           2. Each of the following is also an insured:
               indemnitee in such "suit".                         a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-                    duties related to the conduct of your business,
   neys’ fees incurred by us in the defense of that in-               or your "employees", other than either your "ex-
   demnitee, necessary litigation expenses incurred                   ecutive officers" (if you are an organization
   by us and necessary litigation expenses incurred                   other than a partnership, joint venture or lim-
   by the indemnitee at our request will be paid as                   ited liability company) or your managers (if you
   Supplementary Payments. Notwithstanding the                        are a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I ---- Cov-             within the scope of their employment by you or
   erage A ---- Bodily Injury And Property Damage Li-                 while performing duties related to the conduct
   ability, such payments will not be deemed to be                    of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"                  ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                       for:
   Our obligation to defend an insured’s indemnitee                  (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys’ fees and necessary litiga-                   injury":
   tion expenses as Supplementary Payments ends                          (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                           you are a partnership or joint venture),
   surance in the payment of judgments or settle-                             to your members (if you are a limited li-
   ments or the conditions set forth above, or the                            ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                           while in the course of his or her em-
   above, are no longer met.                                                  ployment or performing duties related to
SECTION II ---- WHO IS AN INSURED                                             the conduct of your business, or to your
1. If you are designated in the Declarations as:                              other "volunteer workers" while perform-
                                                                              ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                           business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                         (b) To the spouse, child, parent, brother or
                                                                              sister of that co-"employee" or "volunteer
   b. A partnership or joint venture, you are an in-                          worker" as a consequence of Paragraph
       sured. Your members, your partners, and their                          (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                            (c) For which there is any obligation to
                                                                             share damages with or repay someone
   c. A limited liability company, you are an insured.                       else who must pay damages because of
       Your members are also insureds, but only with                         the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                         or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                                (d) Arising out of his or her providing or
                                                                             failing to provide professional health
   d. An organization other than a partnership, joint                        care services.
       venture or limited liability company, you are an
       insured. Your "executive officers" and directors              (2) "Property damage" to property:
       are insureds, but only with respect to their du-                  (a) Owned, occupied or used by,
       ties as your officers or directors. Your stock-                  (b) Rented to, in the care, custody or con-
       holders are also insureds, but only with respect                      trol of, or over which physical control is
       to their liability as stockholders.                                   being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                      you, any of your "employees", "volunteer
       also insureds, but only with respect to their du-                  workers", any partner or member (if you are
       ties as trustees.
                                                                          a partnership or joint venture), or any mem-
                                                                          ber (if you are a limited liability company).




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   b. Any person (other than your "employee" or                 3. The Products-Completed Operations Aggregate
       "volunteer worker"), or any organization while              Limit is the most we will pay under Coverage A for
       acting as your real estate manager.                         damages because of "bodily injury" and "property
   c. Any person or organization having proper                     damage" included in the "products-completed op-
       temporary custody of your property if you die,              erations hazard".
       but only:                                                4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the             Advertising Injury Limit is the most we will pay un-
           maintenance or use of that property; and                der Coverage B for the sum of all damages be-
                                                                   cause of all "personal and advertising injury" sus-
        (2) Until your legal representative has been               tained by any one person or organization.
             appointed.
                                                                5. Subject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only              applies, the Each Occurrence Limit is the most we
         with respect to duties as such. That representa-          will pay for the sum of:
         tive will have all your rights and duties under
         this Coverage Part.                                       a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other                b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability          because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership                  age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named Insured       6. Subject to Paragraph 5. above, the Damage To
    if there is no other similar insurance available to             Premises Rented To You Limit is the most we will
    that organization. However:                                     pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only               "property damage" to any one premises, while
         until the 90th day after you acquire or form the           rented to you, or in the case of damage by fire,
         organization or the end of the policy period,              while rented to you or temporarily occupied by you
         whichever is earlier;                                      with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or          7. Subject to Paragraph 5. above, the Medical Ex-
         "property damage" that occurred before you                 pense Limit is the most we will pay under Cover-
         acquired or formed the organization; and                   age C for all medical expenses because of "bodily
    c. Coverage B does not apply to "personal and                   injury" sustained by any one person.
         advertising injury" arising out of an offense          The Limits of Insurance of this Coverage Part apply
         committed before you acquired or formed the            separately to each consecutive annual period and to
         organization.                                          any remaining period of less than 12 months, starting
No person or organization is an insured with respect            with the beginning of the policy period shown in the
to the conduct of any current or past partnership,              Declarations, unless the policy period is extended
joint venture or limited liability company that is not          after issuance for an additional period of less than 12
shown as a Named Insured in the Declarations.                   months. In that case, the additional period will be
                                                                deemed part of the last preceding period for purposes
SECTION III ---- LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations            SECTION IV ---- COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-             CONDITIONS
   gardless of the number of:
                                                                1. Bankruptcy
   a. Insureds;
                                                                    Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                            insured’s estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                     tions under this Coverage Part.
      bringing "suits".                                         2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will                  Claim Or Suit
   pay for the sum of:                                              a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                                as practicable of an "occurrence" or an offense
   b. Damages under Coverage A, except damages                          which may result in a claim. To the extent pos-
      because of "bodily injury" or "property damage"                   sible, notice should include:
      included in the "products-completed operations                   (1) How, when and where the "occurrence" or
      hazard"; and                                                          offense took place;
   c. Damages under Coverage B.                                        (2) The names and addresses of any injured
                                                                            persons and witnesses; and




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      (3) The nature and location of any injury or              4. Other Insurance
          damage arising out of the "occurrence" or                If other valid and collectible insurance is available
          offense.                                                 to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against              ages A or B of this Coverage Part, our obligations
       any insured, you must:                                      are limited as follows:
      (1) Immediately record the specifics of the claim            a. Primary Insurance
          or "suit" and the date received; and                         This insurance is primary except when Para-
      (2) Notify us as soon as practicable.                            graph b. below applies. If this insurance is pri-
       You must see to it that we receive written no-                  mary, our obligations are not affected unless
       tice of the claim or "suit" as soon as practicable.             any of the other insurance is also primary.
                                                                       Then, we will share with all that other insurance
   c. You and any other involved insured must:                         by the method described in Paragraph c. be-
      (1) Immediately send us copies of any de-                        low.
            mands, notices, summonses or legal papers              b. Excess Insurance
            received in connection with the claim or
            "suit";                                                   (1) This insurance is excess over:
      (2) Authorize us to obtain records and other                        (a) Any of the other insurance, whether
            information;                                                        primary, excess, contingent or on any
                                                                                other basis:
      (3) Cooperate with us in the investigation or
            settlement of the claim or defense against                          (i) That is Fire, Extended Coverage,
            the "suit"; and                                                         Builder’s Risk, Installation Risk or
                                                                                    similar coverage for "your work";
      (4) Assist us, upon our request, in the en-
            forcement of any right against any person                          (ii) That is Fire insurance for premises
            or organization which may be liable to the                              rented to you or temporarily occu-
            insured because of injury or damage to                                  pied by you with permission of the
            which this insurance may also apply.                                    owner;
   d. No insured will, except at that insured’s own                          (iii) That is insurance purchased by you
       cost, voluntarily make a payment, assume any                                 to cover your liability as a tenant for
       obligation, or incur any expense, other than for                             "property damage" to premises
       first aid, without our consent.                                              rented to you or temporarily occu-
                                                                                    pied by you with permission of the
3. Legal Action Against Us                                                          owner; or
   No person or organization has a right under this                          (iv) If the loss arises out of the mainte-
   Coverage Part:                                                                   nance or use of aircraft, "autos" or
   a. To join us as a party or otherwise bring us into                              watercraft to the extent not subject to
       a "suit" asking for damages from an insured; or                              Exclusion g. of Section I ---- Coverage
   b. To sue us on this Coverage Part unless all of                                 A ---- Bodily Injury And Property Dam-
       its terms have been fully complied with.                                     age Liability.
                                                                         (b) Any other primary insurance available to
   A person or organization may sue us to recover
                                                                                you covering liability for damages arising
   on an agreed settlement or on a final judgment
                                                                                out of the premises or operations, or the
   against an insured; but we will not be liable for
                                                                                products and completed operations, for
   damages that are not payable under the terms of
                                                                                which you have been added as an addi-
   this Coverage Part or that are in excess of the ap-
   plicable limit of insurance. An agreed settlement                           tional insured by attachment of an en-
   means a settlement and release of liability signed                           dorsement.
   by us, the insured and the claimant or the claim-                  (2) When this insurance is excess, we will have
   ant’s legal representative.                                             no duty under Coverages A or B to defend
                                                                           the insured against any "suit" if any other
                                                                           insurer has a duty to defend the insured
                                                                           against that "suit". If no other insurer de-
                                                                           fends, we will undertake to do so, but we
                                                                           will be entitled to the insured’s rights
                                                                           against all those other insurers.




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      (3) When this insurance is excess over other                 c. We have issued this policy in reliance upon
           insurance, we will pay only our share of the                your representations.
           amount of the loss, if any, that exceeds the         7. Separation Of Insureds
           sum of:
                                                                   Except with respect to the Limits of Insurance, and
          (a) The total amount that all such other                 any rights or duties specifically assigned in this
              insurance would pay for the loss in the              Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                       surance applies:
         (b) The total of all deductible and self-                 a. As if each Named Insured were the only Named
              insured amounts under all that other in-
                                                                       Insured; and
              surance.
                                                                   b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any, with               is made or "suit" is brought.
           any other insurance that is not described in
           this Excess Insurance provision and was              8. Transfer Of Rights Of Recovery Against Others To
           not bought specifically to apply in excess of           Us
           the Limits of Insurance shown in the Decla-             If the insured has rights to recover all or part of
           rations of this Coverage Part.                          any payment we have made under this Coverage
   c. Method Of Sharing                                            Part, those rights are transferred to us. The in-
                                                                   sured must do nothing after loss to impair them. At
       If all of the other insurance permits contribution          our request, the insured will bring "suit" or transfer
       by equal shares, we will follow this method                 those rights to us and help us enforce them.
       also. Under this approach each insurer con-
       tributes equal amounts until it has paid its ap-         9. When We Do Not Renew
       plicable limit of insurance or none of the loss             If we decide not to renew this Coverage Part, we
       remains, whichever comes first.                             will mail or deliver to the first Named Insured
       If any of the other insurance does not permit               shown in the Declarations written notice of the
       contribution by equal shares, we will contribute            nonrenewal not less than 30 days before the expi-
       by limits. Under this method, each insurer’s                ration date.
       share is based on the ratio of its applicable limit         If notice is mailed, proof of mailing will be sufficient
       of insurance to the total applicable limits of in-          proof of notice.
       surance of all insurers.
                                                                SECTION V ---- DEFINITIONS
5. Premium Audit
                                                                1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Coverage               or published to the general public or specific mar-
       Part in accordance with our rules and rates.                ket segments about your goods, products or ser-
   b. Premium shown in this Coverage Part as ad-                   vices for the purpose of attracting customers or
       vance premium is a deposit premium only. At                 supporters. For the purposes of this definition:
       the close of each audit period we will compute              a. Notices that are published include material
       the earned premium for that period and send                     placed on the Internet or on similar electronic
       notice to the first Named Insured. The due date                 means of communication; and
       for audit and retrospective premiums is the
                                                                   b. Regarding web-sites, only that part of a web-
       date shown as the due date on the bill. If the
                                                                       site that is about your goods, products or ser-
       sum of the advance and audit premiums paid
       for the policy period is greater than the earned                vices for the purposes of attracting customers
       premium, we will return the excess to the first                 or supporters is considered an advertisement.
       Named Insured.                                           2. "Auto" means:
   c. The first Named Insured must keep records of                 a. A land motor vehicle, trailer or semitrailer de-
       the information we need for premium computa-                    signed for travel on public roads, including any
       tion, and send us copies at such times as we                    attached machinery or equipment; or
       may request.                                                b. Any other land vehicle that is subject to a com-
6. Representations                                                     pulsory or financial responsibility law or other
                                                                       motor vehicle insurance law in the state where
   By accepting this policy, you agree:
                                                                       it is licensed or principally garaged.
   a. The statements in the Declarations are accurate
                                                                   However, "auto" does not include "mobile equip-
       and complete;
                                                                   ment".
   b. Those statements are based upon representa-
       tions you made to us; and




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3. "Bodily injury" means bodily injury, sickness or             9. "Insured contract" means:
   disease sustained by a person, including death re-              a. A contract for a lease of premises. However,
   sulting from any of these at any time.                              that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                         ises that indemnifies any person or organiza-
   a. The United States of America (including its                      tion for damage by fire to premises while rented
       territories and possessions), Puerto Rico and                   to you or temporarily occupied by you with per-
       Canada;                                                         mission of the owner is not an "insured con-
                                                                       tract";
   b. International waters or airspace, but only if the
       injury or damage occurs in the course of travel             b. A sidetrack agreement;
       or transportation between any places included                 c. Any easement or license agreement, except in
       in Paragraph a. above; or                                         connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-                 erations on or within 50 feet of a railroad;
       age arises out of:                                            d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                       indemnify a municipality, except in connection
           the territory described in Paragraph a.                       with work for a municipality;
           above;                                                    e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in                 f. That part of any other contract or agreement
           the territory described in Paragraph a.                       pertaining to your business (including an in-
           above, but is away for a short time on your                   demnification of a municipality in connection
           business; or                                                  with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses                     which you assume the tort liability of another
           that take place through the Internet or simi-                 party to pay for "bodily injury" or "property
           lar electronic means of communication                         damage" to a third person or organization. Tort
                                                                         liability means a liability that would be imposed
     provided the insured’s responsibility to pay dam-                   by law in the absence of any contract or agree-
     ages is determined in a "suit" on the merits, in the                ment.
     territory described in Paragraph a. above or in a
     settlement we agree to.                                            Paragraph f. does not include that part of any
                                                                        contract or agreement:
5.   "Employee" includes a "leased worker". "Employee"
     does not include a "temporary worker".                            (1) That indemnifies a railroad for "bodily injury"
                                                                            or "property damage" arising out of con-
6.   "Executive officer" means a person holding any of                      struction or demolition operations, within 50
     the officer positions created by your charter, con-                    feet of any railroad property and affecting
     stitution, by-laws or any other similar governing                      any railroad bridge or trestle, tracks, road-
     document.                                                              beds, tunnel, underpass or crossing;
7.   "Hostile fire" means one which becomes uncontrol-                 (2) That indemnifies an architect, engineer or
     lable or breaks out from where it was intended to                      surveyor for injury or damage arising out
     be.                                                                    of:
8.   "Impaired property" means tangible property, other                    (a) Preparing, approving, or failing to pre-
     than "your product" or "your work", that cannot be                         pare or approve, maps, shop drawings,
     used or is less useful because:                                            opinions, reports, surveys, field orders,
     a. It incorporates "your product" or "your work"                           change orders or drawings and specifi-
         that is known or thought to be defective, defi-                        cations; or
         cient, inadequate or dangerous; or                               (b) Giving directions or instructions, or
     b. You have failed to fulfill the terms of a contract                     failing to give them, if that is the primary
         or agreement;                                                         cause of the injury or damage; or
     if such property can be restored to use by the re-                (3) Under which the insured, if an architect,
     pair, replacement, adjustment or removal of "your                     engineer or surveyor, assumes liability for
     product" or "your work" or your fulfilling the terms                  an injury or damage arising out of the in-
     of the contract or agreement.                                         sured’s rendering or failure to render pro-
                                                                           fessional services, including those listed in
                                                                           (2) above and supervisory, inspection, ar-
                                                                           chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                      However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                      lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                    ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                     considered "autos":
    worker" does not include a "temporary worker".                      (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                            (a) Snow removal;
    property:
                                                                           (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                             or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                                (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or                   (2) Cherry pickers and similar devices mounted
       "auto"; or                                                             on automobile or truck chassis and used to
                                                                              raise or lower workers; and
    c. While it is being moved from an aircraft, water-
       craft or "auto" to the place where it is finally de-              (3) Air compressors, pumps and generators,
       livered;                                                               including spraying, welding, building clean-
                                                                              ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                           well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-                  However, "mobile equipment" does not include any
    tached to the aircraft, watercraft or "auto".                     land vehicles that are subject to a compulsory or
                                                                      financial responsibility law or other motor vehicle
12. "Mobile equipment" means any of the following                     insurance law in the state where it is licensed or
    types of land vehicles, including any attached ma-                principally garaged. Land vehicles subject to a
    chinery or equipment:                                             compulsory or financial responsibility law or other
    a. Bulldozers, farm machinery, forklifts and other                motor vehicle insurance law are considered
       vehicles designed for use principally off public               "autos".
       roads;
                                                                 13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to               tinuous or repeated exposure to substantially the
       premises you own or rent;                                     same general harmful conditions.
   c. Vehicles that travel on crawler treads;                    14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-                 including consequential "bodily injury", arising out
       tained primarily to provide mobility to perma-                of one or more of the following offenses:
       nently mounted:                                               a. False arrest, detention or imprisonment;
      (1) Power cranes, shovels, loaders, diggers or                 b. Malicious prosecution;
           drills; or                                                c. The wrongful eviction from, wrongful entry
      (2) Road construction or resurfacing equip-                        into, or invasion of the right of private occu-
           ment such as graders, scrapers or rollers;                    pancy of a room, dwelling or premises that a
   e. Vehicles not described in Paragraph a., b., c.                     person occupies, committed by or on behalf of
       or d. above that are not self-propelled and are                   its owner, landlord or lessor;
       maintained primarily to provide mobility to per-              d. Oral or written publication, in any manner, of
       manently attached equipment of the following                      material that slanders or libels a person or or-
       types:                                                            ganization or disparages a person’s or organi-
      (1) Air compressors, pumps and generators,                         zation’s goods, products or services;
          including spraying, welding, building clean-               e. Oral or written publication, in any manner, of
          ing, geophysical exploration, lighting and                     material that violates a person’s right of pri-
          well servicing equipment; or                                   vacy;
      (2) Cherry pickers and similar devices used to                  f. The use of another’s advertising idea in your
          raise or lower workers;                                        "advertisement"; or
   f. Vehicles not described in Paragraph a., b., c.                 g. Infringing upon another’s copyright, trade
       or d. above maintained primarily for purposes                     dress or slogan in your "advertisement".
       other than the transportation of persons or
       cargo.




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15. "Pollutants" mean any solid, liquid, gaseous or                 b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,                   physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and                   deemed to occur at the time of the "occurrence"
    waste. Waste includes materials to be recycled, re-                 that caused it.
    conditioned or reclaimed.                                       For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                         is not tangible property.
    a. Includes all "bodily injury" and "property dam-              As used in this definition, electronic data means in-
       age" occurring away from premises you own or                 formation, facts or programs stored as or on, cre-
       rent and arising out of "your product" or "your              ated or used on, or transmitted to or from com-
       work" except:                                                puter software, including systems and applications
      (1) Products that are still in your physical pos-             software, hard or floppy disks, CD-ROMS, tapes,
           session; or                                              drives, cells, data processing devices or any other
                                                                    media which are used with electronically controlled
      (2) Work that has not yet been completed or                   equipment.
           abandoned. However, "your work" will be
           deemed completed at the earliest of the fol-         18. "Suit" means a civil proceeding in which damages
           lowing times:                                            because of "bodily injury", "property damage" or
                                                                    "personal and advertising injury" to which this in-
          (a) When all of the work called for in your               surance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                    a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                     ages are claimed and to which the insured
               job site has been completed if your con-                 must submit or does submit with our consent;
               tract calls for work at more than one job                or
               site.
                                                                    b. Any other alternative dispute resolution pro-
          (c) When that part of the work done at a job                  ceeding in which such damages are claimed
               site has been put to its intended use by                 and to which the insured submits with our con-
               any person or organization other than                    sent.
               another contractor or subcontractor
               working on the same project.                     19. "Temporary worker" means a person who is fur-
                                                                    nished to you to substitute for a permanent "em-
           Work that may need service, maintenance,                 ployee" on leave or to meet seasonal or short-term
           correction, repair or replacement, but which             workload conditions.
           is otherwise complete, will be treated as
           completed.                                           20. "Volunteer worker" means a person who is not
                                                                    your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property                 and acts at the direction of and within the scope of
       damage" arising out of:                                      duties determined by you, and is not paid a fee,
      (1) The transportation of property, unless the                salary or other compensation by you or anyone
           injury or damage arises out of a condition in            else for their work performed for you.
           or on a vehicle not owned or operated by             21. "Your product":
           you, and that condition was created by the
           "loading or unloading" of that vehicle by any            a. Means:
           insured;                                                    (1) Any goods or products, other than real
      (2) The existence of tools, uninstalled equip-                        property, manufactured, sold, handled, dis-
           ment or abandoned or unused materials; or                        tributed or disposed of by:
       (3) Products or operations for which the classi-                    (a) You;
            fication, listed in the Declarations or in a                   (b) Others trading under your name; or
            policy schedule, states that products-                          (c) A person or organization whose busi-
            completed operations are subject to the                             ness or assets you have acquired; and
            General Aggregate Limit.
                                                                        (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                                 parts or equipment furnished in connection
    a. Physical injury to tangible property, including                       with such goods or products.
        all resulting loss of use of that property. All              b. Includes:
        such loss of use shall be deemed to occur at
        the time of the physical injury that caused it; or              (1) Warranties or representations made at any
                                                                             time with respect to the fitness, quality, du-
                                                                             rability, performance or use of "your prod-
                                                                             uct"; and



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      (2) The providing of or failure to provide warn-
          ings or instructions.
    c. Does not include vending machines or other
       property rented to or located for the use of oth-
       ers but not sold.
22. "Your work":
    a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
   b. Includes:
      (1) Warranties or representations made at any
          time with respect to the fitness, quality, du-
          rability, performance or use of "your work",
          and
      (2) The providing of or failure to provide warn-
          ings or instructions.




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of E nd.      Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, re moving, containing, treating,
        detoxifying, neutralizing, re mediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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Asbestos Exclusion Endorsement

      Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of E nd.      Producer            Add’l. Prem           Return Prem.
                                                                                                     $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, de mand, order, statutory or regulatory require ment, direction or determination that any insured or
              others test for, investigate, monitor, clean up, re move, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, de mand, order, statutory or
              regulatory require ment, direction or determination that any insured or others test for, investigate, monitor,
              clean up, re move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Premium And Reports Agreement –
Composite Rated Policies


                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                     Schedule
     1.   Unit of Exposure:

           ƑGross sales           ƑArea                                    ƑGallons
            ƑEach                 ƑRooms                                   ƑGeneral Liability Payroll
            Ƒ   Admissions         ƑUnits                                   ƑRounds played
            ƑTotal Cost           ƑTotal Operating Expenditures             ƑOccupied rooms

            ƑLicensed Autos      ƑWorkers Compensation Payroll            Ƒx Other
                                                                              Domestic Sales Only –
                                                                              Foreign Sales Excluded


2.
      Coverage     / Description          Unit of Exposure                   Rate(s)           Estimated Premium(s)
     Computer Mfg                   $333,253,000
     Premises/Operations                                            $ 0.140                 $46,655.00
     Products/Completed Ops                                         $0.057                  $18,995.00
                                                                    Total Rate $0.197       Total $65,650.00
     Employee Benefits Liability                                                            $ 510.00 Flat Charge
     Supplemental Coverage                                                                  $2,481.00 Flat Charge
     Terrorism                                                      2% of GL Premium        $1,372.00 Flat Charge
     (Add more rows as required)
3. Deposit Premium:                $65,650.00
4. Minimum Premium:                $59,085.00


Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:
5.   Premium Audit


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a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
     Schedule above or attached hereto.
b. For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first day
   of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the statement
   of audited premium for each audit period, the earned premium due.
c.   Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will compute
     the earned premium for the policy period by multiplying the composite rate against the total developed exposure. If the
     earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first Named Insured
     will pay us the excess; if less, we will return the unearned portion to the first Named Insured. However, the earned pre-
     mium will not be less than the Minimum Premium as shown in the Schedule.
d. The first Named Insured must maintain records of the information we need for premium computation and send us copies
   at such times as we may request.
e.   The units of exposure shown in the Schedule are defined as follows:
     1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events con-
          ducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
     2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
          whether or not the insured actually takes possession of such gases.
     3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any governmental
          unit.
     4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos" at
          policy termination.
     5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of
          lodging.
     6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
          manuals.
     7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our rat-
          ing manuals.
     8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course dur-
          ing the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total number of
          rounds of golf played.
     9. Each means the total number of exposure units as described in the exposure basis.
     10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
     11. Total cost means the total cost of all work let or sublet in connection with each specified project including the cost
         of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do not in-
         clude the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor does no
         other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or due.
     12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without re-
         gard to source of revenue, including accounts payable.
     13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by a
         group of unrelated persons living together, or by a person living alone.
     14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to others.
     15. Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 32 34 01 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under Califor-
nia law.




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Deductible Endorsement Claims-Made
        Policy No.         Exp. Date of Pol.   Eff. Date of E nd.         Agency No.           Addl. Prem.         Return Prem.



    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Employee Benefits Liability Coverage Part

It is agreed that the following deductible provi-                    2.     The terms of this Coverage Part apply regardless of
                                                                            the application of the deductible amount. This in-
sions are added to the policy as respects the E m-
                                                                            cludes those terms with respect to:
ployee Benefit Liability Coverage Part:
                                                                            a.   Our rights and duties with respect to the de-
    Deductible:   $    1,000                                                     fense of "suits"; and
   1.   The deductible amount stated above shall be de-
                                                                            b.   The "insured’s" duties in the event of an act, er-
        ducted from the amount of all "claims" arising out
                                                                                 ror, or omission or a "claim" or "suit".
        of the same act, error, or omission. We shall be li-
        able only for the difference between such deducti-           3.     We may pay any part or all of the deductible
        ble amount and the amount of insurance otherwise                    amount to effect settle ment of any "claim" or "suit".
        applicable on a per "claim" basis. The Aggregate                    You shall promptly reimburse us for such part of
        Limit will not be reduced by the application of such                the deductible amount as has been paid by us after
        deductible.                                                         we notify you of our action.




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                                                                                   COMMERCIAL GENERAL LIABILITY
                                                                                                  CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,            B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-          Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                             And Advertising Injury Liability:
   This insurance does not apply to:                               This insurance does not apply to:
   "Bodily injury" to:                                             "Personal and advertising injury" to:
  (1) A person arising out of any:                                (1) A person arising out of any:
      (a) Refusal to employ that person;                              (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                   (b) Termination of that person’s employment;
          or                                                              or
      (c) Employment-related practices, policies, acts                   (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                          or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                        evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                       mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                          tion or malicious prosecution directed at
           that person; or                                                    that person; or
  (2) The spouse, child, parent, brother or sister of                (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"                    that person as a consequence of "personal and
       to that person at whom any of the employment-                      advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                     of the employment-related practices described
       (b), or (c) above is directed.                                     in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                            This exclusion applies:
  (1) Whether the injury-causing event described in                  (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                     Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                         employment, during employment or after em-
       ployment of that person;                                           ployment of that person;
  (2) Whether the insured may be liable as an em-                    (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                               ployer or in any other capacity; and
  (3) To any obligation to share damages with or                     (3) To any obligation to share damages with or
      repay someone else who must pay damages                            repay someone else who must pay damages
      because of the injury.                                             because of the injury.




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                                                                                  COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 21 73 01 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                                 2. "Certified act of terrorism" means an act that is
   This insurance does not apply to:                                    certified by the Secretary of the Treasury, in
                                                                        concurrence with the Secretary of State and
   TERRORISM                                                            the Attorney General of the United States, to be
   "Any injury or damage" arising, directly or indi-                    an act of terrorism pursuant to the federal Ter-
   rectly, out of a "certified act of terrorism".                       rorism Risk Insurance Act. The criteria con-
                                                                        tained in the Terrorism Risk Insurance Act for a
B. The following definitions are added:
                                                                        "certified act of terrorism" include the following:
   1. For the purposes of this endorsement, "any
       injury or damage" means any injury or damage                     a. The act resulted in insured losses in excess
       covered under any Coverage Part to which this                       of $5 million in the aggregate, attributable to
       endorsement is applicable, and includes but is                      all types of insurance subject to the Terror-
       not limited to "bodily injury", "property damage",                  ism Risk Insurance Act; and
       "personal and advertising injury", "injury" or "en-              b. The act is a violent act or an act that is
       vironmental damage" as may be defined in any                        dangerous to human life, property or infra-
       applicable Coverage Part.                                           structure and is committed by an individual
                                                                           or individuals as part of an effort to coerce
                                                                           the civilian population of the United States
                                                                           or to influence the policy or affect the con-
                                                                           duct of the United States Government by
                                                                           coercion.




CG 21 73 01 08                                  ISO Properties, Inc., 2007                                    Page 1 of 1

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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITION S OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INSURANCE)
                                                              SCHED ULE*


Pre mium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
1% OF TOTAL AUTOMOBILE PREMIUM



*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                       B. Disclosure of Terrorism Pre mium

The Commercial Automobile line is not part of TRIA.                            We have elected to provide notice to you of the amount
On Dece mber 22, 2005, the President of the United                             of the total policy pre mium attributable to the risk of
States signed the first TRIA extension act into law and,                       loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was re moved                            of insurance.
from the program. The federal government does not
share in Commercial Automobile terrorism losses.




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POLICY NUMBER:           CPO 5912284-00                                                          COMMERCIAL AUTO

                            ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MARSH RISK & INSURANCE SERVS


NAMED INSURED:          OMNICELL INC.

MAILING ADDRESS:        1201 CHARLESTON RD
                        MOUNTAIN VIEW, CA 94043-1337

POLICY PERIOD:         From     09-01-2012 to 09-01-2013 at 12:01 A.M. Standard Time at your
                                                                            mailing address shown above
PREVIOUS POLICY NUMBER:                  NEW

FORM OF BUSINESS:
   X CORPORATION                            LIMITED LIABILITY COMPANY                         INDIVIDUAL
       PARTNERSHIP                          OTHER


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



Premium shown is payable at inception:     $        70,461.40
AUDIT PERIOD (IF APPLICABLE) X            ANNUALLY               SEMI-           QUARTERLY           MONTHLY
                                                                 ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ---- Broad Form Nuclear Exclusion (Not Applicable in New York)


                                SEE SCHEDULE OF FORMS AND ENDORSEMENTS



COUNTERSIGNED                                                    BY
                                     (Date)                                  (Authorized Representative)

NOTE
OFFICERS’ FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSEWHERE
AT THE COMPANY’S OPTION.

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ITEM TWO

SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos"
for a particular coverage by the entry of one or more of the symbols from the Covered Autos Section of
the Business Auto Coverage Form next to the name of the coverage.
                                        COVERED
          COVERAGES                                                       LIMIT                            PREMIUM
                                         AUTOS

LIABILITY                                      1   $1,000,000                                         $       47,967
PERSONAL INJURY                                    SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT MINUS
No-fault Coverage)                                 DEDUCTIBLE.
ADDED PERSONAL INJURY                              SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT.
Added No-fault Coverage)
PROPERTY PROTECTION                                SEPARATELY STATED IN THE P.P.I.
INSURANCE (Michigan only)                          ENDORSEMENT MINUS
                                                   DEDUCTIBLE FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                          2   $          5,000                                   $              448
MEDICAL EXPENSE AND                                SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                               EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                    ENDORSEMENT.
UNINSURED MOTORISTS
                                               2   SEE ENDT                                           $        1,687
UNDERINSURED MOTORISTS
(When not included in Uninsured                2   SEE ENDT                                           $              180
Motorists Coverage)
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COMPREHENSIVE COVERAGE                             WHICHEVER IS LESS, MINUS SEE ENDT
                                           7,8     DEDUCTIBLE FOR EACH COVERED AUTO, BUT NO
                                                   DEDUCTIBLE APPLIES TO LOSS CAUSED BY
                                                                                                      $        5,933
                                                   FIRE OR LIGHTNING.
                                                   See ITEM FOUR For Hired or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED CAUSES OF LOSS                           WHICHEVER IS LESS, MINUS
COVERAGE                                           DEDUCTIBLE FOR EACH COVERED AUTO FOR LOSS
                                                   CAUSED BY MISCHIEF OR VANDALISM.
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COLLISION COVERAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
                                           7,8     DEDUCTIBLE, FOR EACH COVERED AUTO.                 $       13,544
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE TOWING                                                FOR EACH DISABLEMENT OF A
AND LABOR                                          PRIVATE PASSENGER AUTO.
                                                                                  TAX/SURCHARGE/FEE   $         5.40
                                                                        PREMIUM FOR ENDORSEMENTS      $              697
                                                                         *ESTIMATED TOTAL PREMIUM     $    70,461.40

 *This policy may be subject to final audit.




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                                 DESCRIPTION                                          PURCHASED                          TERRITORY
                                                                                                                        Town & State
                                                                                                Actual                     Where The
                     Year, Model, Trade Name, Body Type                                         Cost &                  Covered Auto
Covered             Serial Number (S) Vehicle Identification                  Original        NEW (N) or               Will Be Principally
Auto No.                       Number (VIN)                                  Cost New          USED (U)                     Garaged
           2006, DODGE SPRINTER 2500, WD0PD744465916868              $ 35,755         ACV                          MOUNTAIN VIEW
 CA1
                                                                                                                   CA, 053

           2006, DODGE SPRINTER 2500, WD0PD744865930336              $ 35,755         ACV                          MOUNTAIN VIEW
 CA2
                                                                                                                   CA, 053

           2010, HONDA ELEMENT, 5J6YH130AL005824                     $ 21,475         ACV                          HUEYTOWN
 AL3
                                                                                                                   AL, 101

           2011, TOYOTA SIENNA LE, 5TDKK3DC3BS153030                 $ 28,900         ACV                          MANDEVILLE
 LA4
                                                                                                                   LA, 120

           2010, HONDA ELEMENT LX, 5J6YH2H36AL002111                 $ 21,775         ACV                          HINCKLEY
 IL5
                                                                                                                   IL, 134

                                                          CLASSIFICATION                                                 EXCEPT For Towing, All
                                                                                                                        Physical Damage Loss Is
                      Business Use Size GVW,                                                                            Payable To You And The
                                    GCW Or                                                                                 Loss Payee Named
            Radius s= service       Vehicle                                                                             Below According To Their
Covered       Of     r= retail      Seating  Age                                                                         Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                         Secondary Rating Classification      Code      The Time Of The Loss:
                                                                    All Others
 CA1       50                     C             8,550      7                                                  034990

                                                                    All Others
 CA2       50                     C             8,550      7                                                  034990


 AL3                                                       3                                                  739800


 LA4                                                       2                                                  739800


 IL5                                                       3                                                  739800

                                                  COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                               (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                   in the corresponding ITEM TWO column applies instead.)
                                                               PERSONAL INJURY                                   PROPERTY PROTECTION
                              LIABILITY                          PROTECTION                  ADDED P.I.P.           (Michigan Only)
                                                         Limit Stated                                          Limit Stated
                                                        In Each P.I.P.                       Premium For         In P.P.I.
                                                         Endt. Minus                        Limit Stated In    Endt. Minus
Covered                                                   Deductible                         Each Added         Deductible
Auto No.              Limit               Premium       Shown Below             Premium       P.I.P. Endt.    Shown Below             Premium
 CA1            $    1,000,000        $       2,384
 CA2            $    1,000,000        $       2,384
 AL3            $    1,000,000        $       1,907
 LA4            $    1,000,000        $       4,254
 IL5            $    1,000,000        $       1,116
  Total
Premium



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                               DESCRIPTION                                          PURCHASED                          TERRITORY
                                                                                                                      Town & State
                                                                                              Actual                     Where The
                   Year, Model, Trade Name, Body Type                                         Cost &                  Covered Auto
Covered           Serial Number (S) Vehicle Identification                  Original        NEW (N) or               Will Be Principally
Auto No.                     Number (VIN)                                  Cost New          USED (U)                     Garaged
           2012, TOYOTA SIENNA LE, 5TDKK3DC3CS182044               $ 29,700         ACV                          LIVERMORE
 CA6
                                                                                                                 CA, 075

           2011, FORD ESCAPE XLS, 1FMCU0C78BKC59686                $ 21,060         ACV                          DERBY
 KS7
                                                                                                                 KS, 105




                                                        CLASSIFICATION                                                 EXCEPT For Towing, All
                                                                                                                      Physical Damage Loss Is
                      Business Use Size GVW,                                                                          Payable To You And The
                                    GCW Or                                                                               Loss Payee Named
            Radius s= service       Vehicle                                                                           Below According To Their
Covered       Of     r= retail      Seating  Age                                                                       Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                       Secondary Rating Classification      Code      The Time Of The Loss:

 CA6                                                     1                                                  739800


 KS7                                                     2                                                  739800




                                                COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                             (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                 in the corresponding ITEM TWO column applies instead.)
                                                             PERSONAL INJURY                                   PROPERTY PROTECTION
                            LIABILITY                          PROTECTION                  ADDED P.I.P.           (Michigan Only)
                                                       Limit Stated                                          Limit Stated
                                                      In Each P.I.P.                       Premium For         In P.P.I.
                                                       Endt. Minus                        Limit Stated In    Endt. Minus
Covered                                                 Deductible                         Each Added         Deductible
Auto No.            Limit               Premium       Shown Below             Premium       P.I.P. Endt.    Shown Below             Premium
 CA6          $    1,000,000        $       1,662
 KS7          $    1,000,000        $         970




  Total
                                    $      14,677
Premium



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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA1           $5,000            $           83

  CA2           $5,000            $           83

  AL3           $5,000            $           54

  LA4           $5,000            $          114

  IL5           $5,000            $           34

  Total
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                      COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                        Limit
 Auto No.    Stated In                      Stated In                    Stated In
            ITEM TWO                       ITEM TWO                     ITEM TWO
                                                                                                      Limit Per
               Minus         Premium         Minus       Premium          Minus          Premium     Disablement       Premium
            Deductible                     Deductible                   Deductible
              Shown                          Shown                        Shown
              Below                          Below                        Below
  CA1        $ 1,000     $            59                                 $ 1,000     $         202

  CA2        $ 1,000     $            59                                 $ 1,000     $         202

  AL3        $ 1,000     $         113                                   $ 1,000     $         467

  LA4        $ 1,000     $         152                                   $ 1,000     $         435

  IL5        $ 1,000     $         135                                   $ 1,000     $         334

  Total
Premium




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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA6           $5,000            $           49

  KS7           $5,000            $           31




  Total
                                  $          448
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                      COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                        Limit
 Auto No.    Stated In                      Stated In                    Stated In
            ITEM TWO                       ITEM TWO                     ITEM TWO
                                                                                                      Limit Per
               Minus         Premium         Minus       Premium          Minus          Premium     Disablement       Premium
            Deductible                     Deductible                   Deductible
              Shown                          Shown                        Shown
              Below                          Below                        Below
  CA6        $ 1,000     $            60                                 $ 1,000     $         430

  KS7        $ 1,000     $         155                                   $ 1,000     $         307




  Total
                         $         733                                               $       2,377
Premium




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                            IF ANY                                         INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                            $         1,300,000                        $               32,032
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                            IF ANY                                         INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                            IF ANY                                       INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES
     Primary Coverage                                            IF ANY                                       INCL
     Excess Coverage

                                                                       TOTAL PREMIUM        $               32,032
For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                            Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                         (Other Than Mobile or Farm Equipment)

                                                                                    ESTIMATED ANNUAL
                                                                                     COST OF HIRE FOR
                                                                                        EACH STATE
                                                                                      (Excluding Autos
   COVERAGE         STATE                LIMIT OF INSURANCE                          Hired With A Driver)       PREMIUM
                             ACTUAL CASH VALUE OR COST OF REPAIR,
                                                                                          $1,300,000$                 5,200
COMPREHENSIVE       CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO, BUT NO DEDUCTIBLE APPLIES TO LOSS
                             CAUSED BY FIRE OR LIGHTNING.
                             ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED                    WHICHEVER IS LESS, MINUS
CAUSES OF LOSS                                DEDUCTIBLE FOR EACH
                             COVERED AUTO FOR LOSS CAUSED BY MISCHIEF
                             OR VANDALISM.
                             ACTUAL CASH VALUE OR COST OF REPAIR,                         $1,300,000$                11,167
COLLISION           CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO.
                                                                                         TOTAL PREMIUM      $        16,367
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire
 does not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


         Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                  ESTIMATED ANNUAL
                                                                                                        PREMIUM
                                              COST OF HIRE FOR EACH STATE
       COVERAGE                STATE
                                           Mobile Equipment       Farm Equipment         Mobile Equipment        Farm Equipment

Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                               TOTAL PREMIUMS

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for services
 performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                      Cost Of Hire Rating Basis For Mobile or Farm Equipment --- Physical Damage Coverages

                                                                  ESTIMATED ANNUAL
                                                                    COST OF HIRE
                                                                   FOR EACH STATE
                                                                 (Excluding Autos Hired
                                                                      With A Driver)                         PREMIUM
                                                               Mobile                              Mobile             Farm
  COVERAGE         STATE       LIMIT OF INSURANCE            Equipment       Farm Equiment       Equipment          Equipment
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
                                         DEDUCTIBLE
COMPREHENSIVE              FOR EACH COVERED AUTO,
                           BUT NO DEDUCTIBLE AP-
                           PLIES TO LOSS CAUSED BY
                           FIRE OR LIGHTNING.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
SPECIFIED                                DEDUCTIBLE
CAUSES OF LOSS             FOR EACH COVERED AUTO
                           FOR LOSS CAUSED BY MIS-
                           CHIEF OR VANDALISM.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
COLLISION
                                         DEDUCTIBLE
                           FOR EACH COVERED AUTO.
                                                                            TOTAL PREMIUM

  For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
  (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
  not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                             Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                      ESTIMATED
                                                                   NUMBER OF DAYS
                                                                                                PREMIUM
                                                                  EQUIPMENT WILL BE
                                                                        RENTED
                             TOWN AND STATE WHERE THE             Mobile       Farm        Mobile        Farm
        COVERAGE                JOB SITE IS LOCATED             Equipment    Equipment   Equipment     Equipment
Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                                      TOTAL PREMIUMS



ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP LIABILITY

     NAMED INSURED’S
        BUSINESS                         RATING BASIS                  NUMBER                  PREMIUM
Other Than Garage Service      Number Of Employees                           400         $            1,258
Operations And Other Than      Number Of Partners
Social Service Agencies        (Active and Inactive)
Garage Service Operations      Number Of Employees Whose Princi-
                               pal Duty Involves
                               The Operation Of Autos
                               Number Of Partners
                               (Active and Inactive)
Social Service Agencies        Number Of Employees
                               Number Of Volunteers Who
                               Regularly Use Autos
                               To Transport Clients
                               Number Of Partners
                               (Active and Inactive)
                                                                      Total Premium      $            1,258




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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):         Public Autos                     Leasing Or Rental Concerns

Rating Basis (Check one):         Gross Receipts (Per $100)        Mileage (Per Mile)

Estimated Yearly (Check One):     Gross Receipts (Per $100)        Mileage
                                                    Premiums
Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
  FOR PUBLIC AUTOS
  Gross receipts means the total amount earned by the named insured for transporting passengers, mail and merchan-
  dise.
  Gross receipts does not include:
     A. Amounts paid to air, sea or land carriers operating under their own permits.
     B. Advertising revenue.
     C. Taxes collected as a separate item and paid directly to the government.
     D. C.O.D. collections for cost of mail or merchandise including collection fees.
   Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.
   FOR RENTAL OR LEASING CONCERNS
   Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to others
   without drivers.
   Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 00 01 03 10

                     BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.        SECTION I ---- COVERED AUTOS
Read the entire policy carefully to determine rights,       Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                      are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your" re-       following numerical symbols describe the "autos" that
fer to the Named Insured shown in the Declarations.         may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company         a coverage on the Declarations designate the only
providing this insurance.                                   "autos" that are covered "autos".
Other words and phrases that appear in quotation            A. Description Of Covered Auto Designation Symbols
marks have special meaning. Refer to Section V ----
Definitions.

 Symbol                             Description Of Covered Auto Designation Symbols
   1       Any "Auto"
   2       Owned "Autos"     Only those "autos" you own (and for Liability Coverage any "trailers" you don’t own
           Only              while attached to power units you own). This includes those "autos" you acquire
                             ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.

           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Liability Coverage any "trailers" you don’t own while attached to power units you
           Than Private      own). This includes those "autos" not of the private passenger type you acquire
           Passenger         ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Liability Coverage any "trailers" you don’t own
           "Autos"           while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19         Mobile Equip-     Only those "autos" that are land vehicles and that would qualify under the definition
               ment Subject To   of "mobile equipment" under this policy if they were not subject to a compulsory or
               Compulsory Or     financial responsibility law or other motor vehicle insurance law where they are
               Financial         licensed or principally garaged.
               Responsibility
               Or Other Motor
               Vehicle Insur-
               ance Law Only

B. Owned Autos You Acquire After The Policy Begins              SECTION II ---- LIABILITY COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered next        A. Coverage
       to a coverage in Item Two of the Declarations,              We will pay all sums an "insured" legally must pay
       then you have coverage for "autos" that you                 as damages because of "bodily injury" or "property
       acquire of the type described for the remainder             damage" to which this insurance applies, caused
       of the policy period.                                       by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage               maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you              We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that cover-            pay as a "covered pollution cost or expense" to
       age only if:                                                which this insurance applies, caused by an "acci-
       a. We already cover all "autos" that you own                dent" and resulting from the ownership, mainte-
           for that coverage or it replaces an "auto"              nance or use of covered "autos". However, we will
           you previously owned that had that cover-               only pay for the "covered pollution cost or ex-
           age; and                                                pense" if there is either "bodily injury" or "property
       b. You tell us within 30 days after you acquire             damage" to which this insurance applies that is
           it that you want us to cover it for that cover-         caused by the same "accident".
           age.                                                      We have the right and duty to defend any "insured"
C. Certain Trailers, Mobile Equipment And Temporary                  against a "suit" asking for such damages or a
   Substitute Autos                                                  "covered pollution cost or expense". However, we
                                                                     have no duty to defend any "insured" against a
   If Liability Coverage is provided by this coverage                "suit" seeking damages for "bodily injury" or "prop-
   form, the following types of vehicles are also cov-               erty damage" or a "covered pollution cost or ex-
   ered "autos" for Liability Coverage:                              pense" to which this insurance does not apply. We
   1. "Trailers" with a load capacity of 2,000 pounds                may investigate and settle any claim or "suit" as we
       or less designed primarily for travel on public               consider appropriate. Our duty to defend or settle
       roads.                                                        ends when the Liability Coverage Limit of
   2. "Mobile equipment" while being carried or                      Insurance has been exhausted by payment of
       towed by a covered "auto".                                    judgments or settlements.
                                                                     1. Who Is An Insured
   3. Any "auto" you do not own while used with the
      permission of its owner as a temporary substi-                     The following are "insureds":
      tute for a covered "auto" you own that is out of                  a. You for any covered "auto".
      service because of its:
                                                                        b. Anyone else while using with your permis-
         a.   Breakdown;                                                    sion a covered "auto" you own, hire or bor-
         b.   Repair;                                                       row except:
         c.   Servicing;                                                   (1) The owner or anyone else from whom
         d.   "Loss"; or                                                       you hire or borrow a covered "auto".
         e.   Destruction.                                                  This exception does not apply if the
                                                                            covered "auto" is a "trailer" connected to a
                                                                            covered "auto" you own.




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        (2) Your "employee" if the covered "auto" is                    These payments will not reduce the Limit of
            owned by that "employee" or a member                        Insurance.
            of his or her household.                                b. Out-of-state Coverage Extensions
        (3) Someone using a covered "auto" while                        While a covered "auto" is away from the
            he or she is working in a business of                       state where it is licensed we will:
            selling, servicing, repairing, parking or
            storing "autos" unless that business is                    (1) Increase the Limit of Insurance for Li-
            yours.                                                          ability Coverage to meet the limits speci-
                                                                            fied by a compulsory or financial re-
        (4) Anyone other than your "employees",                             sponsibility law of the jurisdiction where
            partners (if you are a partnership),                            the covered "auto" is being used. This
            members (if you are a limited liability                         extension does not apply to the limit or
            company) or a lessee or borrower or                             limits specified by any law governing
            any of their "employees", while moving                          motor carriers of passengers or prop-
            property to or from a covered "auto".                           erty.
         (5) A partner (if you are a partnership) or a                (2) Provide the minimum amounts and types
              member (if you are a limited liability                       of other coverages, such as no-fault,
              company) for a covered "auto" owned by                       required of out-of-state vehicles by the
              him or her or a member of his or her                         jurisdiction where the covered "auto" is
              household.                                                   being used.
      c. Anyone liable for the conduct of an "in-                      We will not pay anyone more than once for
          sured" described above but only to the ex-                   the same elements of loss because of these
          tent of that liability.                                      extensions.
   2. Coverage Extensions                                   B. Exclusions
      a. Supplementary Payments                                This insurance does not apply to any of the follow-
          We will pay for the "insured":                       ing:
        (1) All expenses we incur.                             1. Expected Or Intended Injury
        (2) Up to $2,000 for cost of bail bonds (in-              "Bodily injury" or "property damage" expected
            cluding bonds for related traffic law vio-            or intended from the standpoint of the "in-
            lations) required because of an "acci-                sured".
            dent" we cover. We do not have to fur-             2. Contractual
            nish these bonds.
                                                                  Liability assumed under any contract or
        (3) The cost of bonds to release attach-                  agreement.
            ments in any "suit" against the "insured"
            we defend, but only for bond amounts                  But this exclusion does not apply to liability for
            within our Limit of Insurance.                        damages:
        (4) All reasonable expenses incurred by the                a. Assumed in a contract or agreement that is
            "insured" at our request, including actual                 an "insured contract" provided the "bodily
            loss of earnings up to $250 a day be-                      injury" or "property damage" occurs subse-
            cause of time off from work.                               quent to the execution of the contract or
                                                                       agreement; or
        (5) All court costs taxed against the "in-
            sured" in any "suit" against the "insured"             b. That the "insured" would have in the ab-
            we defend. However, these payments do                      sence of the contract or agreement.
            not include attorneys’ fees or attorneys’            3. Workers’ Compensation
            expenses taxed against the "insured".
                                                                    Any obligation for which the "insured" or the
        (6) All interest on the full amount of any                  "insured’s" insurer may be held liable under any
            judgment that accrues after entry of the                workers’ compensation, disability benefits or
            judgment in any "suit" against the "in-                 unemployment compensation law or any similar
            sured" we defend, but our duty to pay                   law.
            interest ends when we have paid, of-
            fered to pay or deposited in court the
            part of the judgment that is within our
            Limit of Insurance.




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   4. Employee Indemnification And Employer’s                        b. After it is moved from the covered "auto" to
      Liability                                                          the place where it is finally delivered by the
      "Bodily injury" to:                                                "insured".
      a. An "employee" of the "insured" arising out of            8. Movement Of Property By Mechanical Device
          and in the course of:                                      "Bodily injury" or "property damage" resulting
         (1) Employment by the "insured"; or                         from the movement of property by a mechani-
                                                                     cal device (other than a hand truck) unless the
         (2) Performing the duties related to the                    device is attached to the covered "auto".
              conduct of the "insured’s" business; or
                                                                  9. Operations
      b. The spouse, child, parent, brother or sister
          of that "employee" as a consequence of Pa-                 "Bodily injury" or "property damage" arising out
          ragraph a. above.                                          of the operation of:
      This exclusion applies:                                        a. Any equipment listed in Paragraphs 6.b.
                                                                         and 6.c. of the definition of "mobile equip-
         (1) Whether the "insured" may be liable as                      ment"; or
              an employer or in any other capacity;
              and                                                    b. Machinery or equipment that is on, attached
                                                                         to or part of a land vehicle that would qual-
         (2) To any obligation to share damages with                     ify under the definition of "mobile equip-
              or repay someone else who must pay                         ment" if it were not subject to a compulsory
              damages because of the injury.                             or financial responsibility law or other motor
      But this exclusion does not apply to "bodily in-                   vehicle insurance law where it is licensed or
      jury" to domestic "employees" not entitled to                      principally garaged.
      workers’ compensation benefits or to liability             10. Completed Operations
      assumed by the "insured" under an "insured
      contract". For the purposes of the coverage                    "Bodily injury" or "property damage" arising out
      form, a domestic "employee" is a person en-                    of your work after that work has been com-
      gaged in household or domestic work per-                       pleted or abandoned.
      formed principally in connection with a resi-                  In this exclusion, your work means:
      dence premises.
                                                                     a. Work or operations performed by you or on
   5. Fellow Employee                                                    your behalf; and
      "Bodily injury" to:                                            b. Materials, parts or equipment furnished in
      a. Any fellow "employee" of the "insured" aris-                    connection with such work or operations.
          ing out of and in the course of the fellow                 Your work includes warranties or representa-
          "employee’s" employment or while perform-                  tions made at any time with respect to the fit-
          ing duties related to the conduct of your                  ness, quality, durability or performance of any
          business; or                                               of the items included in Paragraph a. or b.
      b. The spouse, child, parent, brother or sister                above.
          of that fellow "employee" as a consequence                 Your work will be deemed completed at the
          of Paragraph a. above.                                     earliest of the following times:
   6. Care, Custody Or Control                                          (1) When all of the work called for in your
      "Property damage" to or "covered pollution cost                        contract has been completed.
      or expense" involving property owned or trans-                    (2) When all of the work to be done at the
      ported by the "insured" or in the "insured’s"                          site has been completed if your contract
      care, custody or control. But this exclusion                           calls for work at more than one site.
      does not apply to liability assumed under a si-                   (3) When that part of the work done at a job
      detrack agreement.                                                     site has been put to its intended use by
   7. Handling Of Property                                                   any person or organization other than
      "Bodily injury" or "property damage" resulting                         another contractor or subcontractor
      from the handling of property:                                         working on the same project.
      a. Before it is moved from the place where it is
          accepted by the "insured" for movement into
          or onto the covered "auto"; or




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      Work that may need service, maintenance, cor-                     Paragraphs b. and c. above of this exclusion
      rection, repair or replacement, but which is                      do not apply to "accidents" that occur away
      otherwise complete, will be treated as com-                       from premises owned by or rented to an "in-
      pleted.                                                           sured" with respect to "pollutants" not in or
  11. Pollution                                                         upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                     (a) The "pollutants" or any property in which
      of the actual, alleged or threatened discharge,                          the "pollutants" are contained are upset,
      dispersal, seepage, migration, release or es-                            overturned or damaged as a result of the
      cape of "pollutants":                                                    maintenance or use of a covered "auto";
                                                                               and
      a. That are, or that are contained in any prop-
          erty that is:                                                    (b) The discharge, dispersal, seepage, mi-
                                                                               gration, release or escape of the "pollut-
         (1) Being transported or towed by, handled                            ants" is caused directly by such upset,
              or handled for movement into, onto or                            overturn or damage.
              from the covered "auto";
                                                                    12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                            "Bodily injury" or "property damage" arising di-
                                                                        rectly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered "au-                     a. War, including undeclared or civil war;
              to";                                                      b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                         action in hindering or defending against an
          which the "pollutants" are contained are                          actual or expected attack, by any govern-
          moved from the place where they are ac-                           ment, sovereign or other authority using
          cepted by the "insured" for movement into                         military personnel or other agents; or
          or onto the covered "auto"; or                                c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                          power or action taken by governmental au-
          which the "pollutants" are contained are                         thority in hindering or defending against
          moved from the covered "auto" to the place                        any of these.
          where they are finally delivered, disposed of             13. Racing
          or abandoned by the "insured".
                                                                     Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels, lu-                or organized racing or demolition contest or
      bricants, fluids, exhaust gases or other similar               stunting activity, or while practicing for such
      "pollutants" that are needed for or result from                contest or activity. This insurance also does
      the normal electrical, hydraulic or mechanical                 not apply while that covered "auto" is being
      functioning of the covered "auto" or its parts, if:            prepared for such a contest or activity.
         (1) The "pollutants" escape, seep, migrate or         C. Limit Of Insurance
              are discharged, dispersed or released               Regardless of the number of covered "autos", "in-
              directly from an "auto" part designed by            sureds", premiums paid, claims made or vehicles
              its manufacturer to hold, store, receive            involved in the "accident", the most we will pay for
              or dispose of such "pollutants"; and                the total of all damages and "covered pollution cost
         (2) The "bodily injury", "property damage" or            or expense" combined resulting from any one
              "covered pollution cost or expense" does            "accident" is the Limit of Insurance for Liability
              not arise out of the operation of any               Coverage shown in the Declarations.
              equipment listed in Paragraphs 6.b. and
              6.c. of the definition of "mobile
              equipment".




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   All "bodily injury", "property damage" and "covered                c. "Loss" caused by falling objects or missiles.
   pollution cost or expense" resulting from continu-                 However, you have the option of having glass
   ous or repeated exposure to substantially the                      breakage caused by a covered "auto’s" collision
   same conditions will be considered as resulting                    or overturn considered a "loss" under Collision
   from one "accident".                                               Coverage.
   No one will be entitled to receive duplicate pay-               4. Coverage Extensions
   ments for the same elements of "loss" under this
   coverage form and any Medical Payments Cover-                      a. Transportation Expenses
   age endorsement, Uninsured Motorists Coverage                          We will pay up to $20 per day to a maximum
   endorsement or Underinsured Motorists Coverage                         of $600 for temporary transportation
   endorsement attached to this Coverage Part.                            expense incurred by you because of the to-
SECTION III ---- PHYSICAL DAMAGE COVERAGE                                 tal theft of a covered "auto" of the private
                                                                          passenger type. We will pay only for those
A. Coverage
                                                                          covered "autos" for which you carry either
   1. We will pay for "loss" to a covered "auto" or its                   Comprehensive or Specified Causes Of
      equipment under:                                                    Loss Coverage. We will pay for temporary
      a. Comprehensive Coverage                                           transportation expenses incurred during the
                                                                          period beginning 48 hours after the theft
         From any cause except:                                           and ending, regardless of the policy’s expi-
         (1) The covered "auto’s" collision with an-                      ration, when the covered "auto" is returned
             other object; or                                             to use or we pay for its "loss".
         (2) The covered "auto’s" overturn.                           b. Loss Of Use Expenses
      b. Specified Causes Of Loss Coverage                                For Hired Auto Physical Damage, we will
          Caused by:                                                      pay expenses for which an "insured" be-
                                                                          comes legally responsible to pay for loss of
         (1) Fire, lightning or explosion;                                use of a vehicle rented or hired without a
         (2)Theft;                                                        driver under a written rental contract or
                                                                          agreement. We will pay for loss of use ex-
         (3)Windstorm, hail or earthquake;                                penses if caused by:
         (4)Flood;                                                       (1) Other than collision only if the Declara-
         (5)Mischief or vandalism; or                                         tions indicate that Comprehensive Cov-
         (6)The sinking, burning, collision or derail-                        erage is provided for any covered "auto";
            ment of any conveyance transporting                        (2) Specified Causes Of Loss only if the
            the covered "auto".                                            Declarations indicate that Specified
      c. Collision Coverage                                                Causes Of Loss Coverage is provided
                                                                           for any covered "auto"; or
         Caused by:
                                                                       (3) Collision only if the Declarations indicate
          (1) The covered "auto’s" collision with an-                      that Collision Coverage is provided for
              other object; or                                             any covered "auto".
          (2) The covered "auto’s" overturn.                            However, the most we will pay for any ex-
   2. Towing                                                            penses for loss of use is $20 per day, to a
      We will pay up to the limit shown in the Decla-                   maximum of $600.
      rations for towing and labor costs incurred             B. Exclusions
      each time a covered "auto" of the private pas-             1. We will not pay for "loss" caused by or resulting
      senger type is disabled. However, the labor                   from any of the following. Such "loss" is ex-
      must be performed at the place of disablement.                cluded regardless of any other cause or event
   3. Glass Breakage ---- Hitting A Bird Or Animal ---              that contributes concurrently or in any se-
      Falling Objects Or Missiles                                   quence to the "loss".
      If you carry Comprehensive Coverage for the                   a. Nuclear Hazard
      damaged covered "auto", we will pay for the                      (1) The explosion of any weapon employing
      following under Comprehensive Coverage:                              atomic fission or fusion; or
      a. Glass breakage;                                               (2) Nuclear reaction or radiation, or radioac-
      b. "Loss" caused by hitting a bird or animal;                        tive contamination, however caused.
         and


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      b. War Or Military Action                                      b. Removable from a housing unit which is
         (1) War, including undeclared or civil war;                     permanently installed in or upon the cov-
                                                                         ered "auto";
         (2) Warlike action by a military force, includ-
             ing action in hindering or defending                    c. An integral part of the same unit housing
             against an actual or expected attack, by                    any electronic equipment described in Pa-
             any government, sovereign or other au-                      ragraphs a. and b. above; or
             thority using military personnel or other               d. Necessary for the normal operation of the
             agents; or                                                  covered "auto" or the monitoring of the
         (3) Insurrection,     rebellion,    revolution,                 covered "auto’s" operating system.
             usurped power or action taken by gov-                6. We will not pay for "loss" to a covered "auto"
             ernmental authority in hindering or de-                 due to "diminution in value".
             fending against any of these.                     C. Limit Of Insurance
   2. We will not pay for "loss" to any covered "auto"            1. The most we will pay for "loss" in any one "ac-
      while used in any professional or organized                    cident" is the lesser of:
      racing or demolition contest or stunting activ-
      ity, or while practicing for such contest or activ-            a. The actual cash value of the damaged or
      ity. We will also not pay for "loss" to any                        stolen property as of the time of the "loss";
      covered "auto" while that covered "auto" is                        or
      being prepared for such a contest or activity.                 b. The cost of repairing or replacing the dam-
   3. We will not pay for "loss" due and confined to:                    aged or stolen property with other property
                                                                         of like kind and quality.
       a. Wear and tear, freezing, mechanical or
           electrical breakdown.                                  2. $1,000 is the most we will pay for "loss" in any
                                                                     one "accident" to all electronic equipment that
      b. Blowouts, punctures or other road damage                    reproduces, receives or transmits audio, visual
           to tires.                                                 or data signals which, at the time of "loss", is:
      This exclusion does not apply to such "loss"                   a. Permanently installed in or upon the cov-
      resulting from the total theft of a covered "au-                   ered "auto" in a housing, opening or other
      to".                                                               location that is not normally used by the
   4. We will not pay for "loss" to any of the follow-                   "auto" manufacturer for the installation of
      ing:                                                               such equipment;
      a. Tapes, records, discs or other similar audio,               b. Removable from a permanently installed
         visual or data electronic devices designed                      housing unit as described in Paragraph 2.a.
          for use with audio, visual or data electronic                  above or is an integral part of that equip-
         equipment.                                                      ment; or
      b. Any device designed or used to detect                       c. An integral part of such equipment.
         speed-measuring equipment such as radar                  3. An adjustment for depreciation and physical
         or laser detectors and any jamming appara-                  condition will be made in determining actual
         tus intended to elude or disrupt speed-                     cash value in the event of a total "loss".
         measurement equipment.
                                                                  4. If a repair or replacement results in better than
      c. Any electronic equipment, without regard to                 like kind or quality, we will not pay for the
         whether this equipment is permanently in-                   amount of the betterment.
         stalled, that reproduces, receives or trans-
         mits audio, visual or data signals.                   D. Deductible
      d. Any accessories used with the electronic                   For each covered "auto", our obligation to pay for,
         equipment described in Paragraph c.                        repair, return or replace damaged or stolen prop-
         above.                                                     erty will be reduced by the applicable deductible
                                                                    shown in the Declarations. Any Comprehensive
   5. Exclusions 4.c. and 4.d. do not apply to                      Coverage deductible shown in the Declarations
      equipment designed to be operated solely by                   does not apply to "loss" caused by fire or lightning.
      use of the power from the "auto’s" electrical
      system that, at the time of "loss", is:
      a. Permanently installed in or upon the cov-
         ered "auto";




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SECTION IV ---- BUSINESS AUTO CONDITIONS                                 (5) Submit to examination, at our expense,
The following conditions apply in addition to the                            by physicians of our choice, as often as
Common Policy Conditions:                                                    we reasonably require.
A. Loss Conditions                                                    c. If there is "loss" to a covered "auto" or its
                                                                          equipment you must also do the following:
   1. Appraisal For Physical Damage Loss
                                                                         (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                        "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss". In
      this event, each party will select a competent                     (2) Take all reasonable steps to protect the
      appraiser. The two appraisers will select a                            covered "auto" from further damage. Al-
      competent and impartial umpire. The appraisers                         so keep a record of your expenses for
      will state separately the actual cash value and                        consideration in the settlement of the
      amount of "loss". If they fail to agree, they will                     claim.
      submit their differences to the umpire. A                          (3) Permit us to inspect the covered "auto"
      decision agreed to by any two will be binding.                          and records proving the "loss" before its
      Each party will:                                                        repair or disposition.
      a. Pay its chosen appraiser; and                                   (4) Agree to examinations under oath at our
      b. Bear the other expenses of the appraisal                             request and give us a signed statement
          and umpire equally.                                                 of your answers.
      If we submit to an appraisal, we will still retain           3. Legal Action Against Us
      our right to deny the claim.                                    No one may bring a legal action against us un-
   2. Duties In The Event Of Accident, Claim, Suit Or                 der this coverage form until:
      Loss                                                            a. There has been full compliance with all the
      We have no duty to provide coverage under                           terms of this coverage form; and
      this policy unless there has been full compli-                  b. Under Liability Coverage, we agree in writ-
      ance with the following duties:                                     ing that the "insured" has an obligation to
       a. In the event of "accident", claim, "suit" or                    pay or until the amount of that obligation
           "loss", you must give us or our authorized                     has finally been determined by judgment af-
           representative prompt notice of the "acci-                     ter trial. No one has the right under this pol-
           dent" or "loss". Include:                                      icy to bring us into an action to determine
                                                                          the "insured’s" liability.
          (1) How, when and where the "accident" or
               "loss" occurred;                                    4. Loss Payment ---- Physical Damage Coverages
          (2) The "insured’s" name and address; and                   At our option we may:
          (3) To the extent possible, the names and                   a. Pay for, repair or replace damaged or stolen
               addresses of any injured persons and                       property;
               witnesses.                                             b. Return the stolen property, at our expense.
       b. Additionally, you and any other involved                        We will pay for any damage that results to
           "insured" must:                                                the "auto" from the theft; or
          (1) Assume no obligation, make no payment                   c. Take all or any part of the damaged or sto-
               or incur no expense without our                            len property at an agreed or appraised val-
               consent, except at the "insured’s" own                     ue.
               cost.                                                  If we pay for the "loss", our payment will in-
          (2) Immediately send us copies of any re-                   clude the applicable sales tax for the damaged
               quest, demand, order, notice, summons                  or stolen property.
               or legal paper received concerning the              5. Transfer Of Rights Of Recovery Against Others
               claim or "suit".                                       To Us
          (3) Cooperate with us in the investigation or               If any person or organization to or for whom
               settlement of the claim or defense                     we make payment under this coverage form
               against the "suit".                                    has rights to recover damages from another,
          (4) Authorize us to obtain medical records                  those rights are transferred to us. That person
               or other pertinent information.                        or organization must do everything necessary
                                                                      to secure our rights and must do nothing after
                                                                      "accident" or "loss" to impair them.



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B. General Conditions                                                 d. When this coverage form and any other
   1. Bankruptcy                                                         coverage form or policy covers on the same
                                                                         basis, either excess or primary, we will pay
      Bankruptcy or insolvency of the "insured" or                       only our share. Our share is the proportion
      the "insured’s" estate will not relieve us of any                  that the Limit of Insurance of our coverage
      obligations under this coverage form.                              form bears to the total of the limits of all the
   2. Concealment, Misrepresentation Or Fraud                            coverage forms and policies covering on
      This coverage form is void in any case of fraud                    the same basis.
      by you at any time as it relates to this coverage            6. Premium Audit
      form. It is also void if you or any other "in-                  a. The estimated premium for this coverage
      sured", at any time, intentionally conceal or                      form is based on the exposures you told us
      misrepresent a material fact concerning:                           you would have when this policy began. We
      a. This coverage form;                                             will compute the final premium due when we
                                                                         determine your actual exposures. The
      b. The covered "auto";
                                                                         estimated total premium will be credited
      c. Your interest in the covered "auto"; or                         against the final premium due and the first
      d. A claim under this coverage form.                               Named Insured will be billed for the bal-
                                                                         ance, if any. The due date for the final pre-
   3. Liberalization
                                                                         mium or retrospective premium is the date
      If we revise this coverage form to provide more                    shown as the due date on the bill. If the es-
      coverage without additional premium charge,                        timated total premium exceeds the final
      your policy will automatically provide the addi-                   premium due, the first Named Insured will
      tional coverage as of the day the revision is ef-                  get a refund.
      fective in your state.
                                                                      b. If this policy is issued for more than one
   4. No Benefit To Bailee ---- Physical Damage                          year, the premium for this coverage form
      Coverages                                                          will be computed annually based on our
      We will not recognize any assignment or grant                      rates or premiums in effect at the beginning
      any coverage for the benefit of any person or                      of each year of the policy.
      organization holding, storing or transporting                7. Policy Period, Coverage Territory
      property for a fee regardless of any other pro-                 Under this coverage form, we cover "accidents"
      vision of this coverage form.                                   and "losses" occurring:
   5. Other Insurance                                                 a. During the policy period shown in the Dec-
      a. For any covered "auto" you own, this cov-                       larations; and
          erage form provides primary insurance. For
                                                                      b. Within the coverage territory.
          any covered "auto" you don’t own, the in-
          surance provided by this coverage form is                   The coverage territory is:
          excess over any other collectible insurance.               (1) The United States of America;
          However, while a covered "auto" which is a
          "trailer" is connected to another vehicle, the             (2) The territories and possessions of the Unit-
          Liability Coverage this coverage form pro-                      ed States of America;
          vides for the "trailer" is:                                (3) Puerto Rico;
         (1) Excess while it is connected to a motor                 (4) Canada; and
              vehicle you do not own.                                (5) Anywhere in the world if:
         (2) Primary while it is connected to a cov-                     (a) A covered "auto" of the private passen-
              ered "auto" you own.                                           ger type is leased, hired, rented or bor-
      b. For Hired Auto Physical Damage Coverage,                            rowed without a driver for a period of 30
          any covered "auto" you lease, hire, rent or                        days or less; and
          borrow is deemed to be a covered "auto"                       (b) The "insured’s" responsibility to pay
          you own. However, any "auto" that is                               damages is determined in a "suit" on the
          leased, hired, rented or borrowed with a                           merits, in the United States of America,
          driver is not a covered "auto".                                    the territories and possessions of the
      c. Regardless of the provisions of Paragraph                           United States of America, Puerto Rico or
          a. above, this coverage form’s Liability                           Canada or in a settlement we agree to.
          Coverage is primary for any liability as-
          sumed under an "insured contract".


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      We also cover "loss" to, or "accidents" involv-               "Covered pollution cost or expense" does not in-
      ing, a covered "auto" while being transported                 clude any cost or expense arising out of the ac-
      between any of these places.                                  tual, alleged or threatened discharge, dispersal,
   8. Two Or More Coverage Forms Or Policies                        seepage, migration, release or escape of "pollut-
      Issued By Us                                                  ants":
      If this coverage form and any other coverage                      a. That are, or that are contained in any prop-
      form or policy issued to you by us or any com-                        erty that is:
      pany affiliated with us applies to the same "ac-                     (1) Being transported or towed by, handled
      cident", the aggregate maximum Limit of Insur-                            or handled for movement into, onto or
      ance under all the coverage forms or policies                             from the covered "auto";
      shall not exceed the highest applicable Limit of                     (2) Otherwise in the course of transit by or
      Insurance under any one coverage form or pol-                             on behalf of the "insured"; or
      icy. This condition does not apply to any cov-
      erage form or policy issued by us or an affili-                     (3) Being stored, disposed of, treated or
      ated company specifically to apply as excess                             processed in or upon the covered "au-
      insurance over this coverage form.                                      to";
SECTION V ---- DEFINITIONS                                             b. Before the "pollutants" or any property in
                                                                           which the "pollutants" are contained are
A. "Accident" includes continuous or repeated expo-                        moved from the place where they are ac-
   sure to the same conditions resulting in "bodily in-                    cepted by the "insured" for movement into
   jury" or "property damage".                                             or onto the covered "auto"; or
B. "Auto" means:                                                       c. After the "pollutants" or any property in
   1. A land motor vehicle, "trailer" or semitrailer de-                   which the "pollutants" are contained are
       signed for travel on public roads; or                               moved from the covered "auto" to the place
   2. Any other land vehicle that is subject to a com-                     where they are finally delivered, disposed of
       pulsory or financial responsibility law or other                    or abandoned by the "insured".
       motor vehicle insurance law where it is licensed                Paragraph a. above does not apply to fuels, lu-
       or principally garaged.                                         bricants, fluids, exhaust gases or other similar
   However, "auto" does not include "mobile equip-                     "pollutants" that are needed for or result from
   ment".                                                              the normal electrical, hydraulic or mechanical
                                                                       functioning of the covered "auto" or its parts, if:
C. "Bodily injury" means bodily injury, sickness or
   disease sustained by a person including death re-                      (1) The "pollutants" escape, seep, migrate or
   sulting from any of these.                                                 are discharged, dispersed or released
                                                                              directly from an "auto" part designed by
D. "Covered pollution cost or expense" means any                              its manufacturer to hold, store, receive
   cost or expense arising out of:                                            or dispose of such "pollutants"; and
   1. Any request, demand, order or statutory or                          (2) The "bodily injury", "property damage" or
       regulatory requirement that any "insured" or                           "covered pollution cost or expense" does
       others test for, monitor, clean up, remove, con-                       not arise out of the operation of any
       tain, treat, detoxify or neutralize, or in any way                     equipment listed in Paragraph 6.b. or
       respond to, or assess the effects of, "pollut-                         6.c. of the definition of "mobile
       ants"; or                                                              equipment".
   2. Any claim or "suit" by or on behalf of a gov-
       ernmental authority for damages because of
       testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying or neutralizing,
       or in any way responding to, or assessing the
       effects of, "pollutants".




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      Paragraphs b. and c. above do not apply to                   An "insured contract" does not include that part of
      "accidents" that occur away from premises                    any contract or agreement:
      owned by or rented to an "insured" with respect                 a. That indemnifies a railroad for "bodily injury"
      to "pollutants" not in or upon a covered "auto"                     or "property damage" arising out of con-
      if:                                                                 struction or demolition operations, within 50
          (a) The "pollutants" or any property in which                   feet of any railroad property and affecting
              the "pollutants" are contained are upset,                   any railroad bridge or trestle, tracks, road-
              overturned or damaged as a result of the                    beds, tunnel, underpass or crossing;
              maintenance or use of a covered "auto";                 b. That pertains to the loan, lease or rental of
              and                                                         an "auto" to you or any of your "employees",
          (b) The discharge, dispersal, seepage, mi-                      if the "auto" is loaned, leased or rented with
              gration, release or escape of the "pollut-                  a driver; or
              ants" is caused directly by such upset,                 c. That holds a person or organization en-
              overturn or damage.                                         gaged in the business of transporting prop-
                                                                          erty by "auto" for hire harmless for your use
E. "Diminution in value" means the actual or perceived                    of a covered "auto" over a route or territory
   loss in market value or resale value which results                     that person or organization is authorized to
   from a direct and accidental "loss".                                   serve by public authority.
F. "Employee" includes a "leased worker". "Employee"          I. "Leased worker" means a person leased to you by
   does not include a "temporary worker".                        a labor leasing firm under an agreement between
G. "Insured" means any person or organization quali-             you and the labor leasing firm to perform duties re-
   fying as an insured in the Who Is An Insured pro-             lated to the conduct of your business. "Leased
   vision of the applicable coverage. Except with re-            worker" does not include a "temporary worker".
   spect to the Limit of Insurance, the coverage af-          J. "Loss" means direct and accidental loss or dam-
   forded applies separately to each insured who is              age.
   seeking coverage or against whom a claim or "suit"         K. "Mobile equipment" means any of the following
   is brought.                                                   types of land vehicles, including any attached ma-
H. "Insured contract" means:                                     chinery or equipment:
   1. A lease of premises;                                       1. Bulldozers, farm machinery, forklifts and other
                                                                     vehicles designed for use principally off public
   2. A sidetrack agreement;                                         roads;
   3. Any easement or license agreement, except in               2. Vehicles maintained for use solely on or next to
      connection with construction or demolition op-                 premises you own or rent;
      erations on or within 50 feet of a railroad;
                                                                 3. Vehicles that travel on crawler treads;
   4. An obligation, as required by ordinance, to in-
                                                                 4. Vehicles, whether self-propelled or not, main-
      demnify a municipality, except in connection
                                                                     tained primarily to provide mobility to perma-
      with work for a municipality;                                  nently mounted:
   5. That part of any other contract or agreement                   a. Power cranes, shovels, loaders, diggers or
      pertaining to your business (including an in-                      drills; or
      demnification of a municipality in connection
      with work performed for a municipality) under                  b. Road        construction    or    resurfacing
      which you assume the tort liability of another to                  equipment such as graders, scrapers or
      pay for "bodily injury" or "property damage" to a                  rollers;
      third party or organization. Tort liability means          5. Vehicles not described in Paragraph 1., 2., 3. or
      a liability that would be imposed by law in the                4. above that are not self-propelled and are
      absence of any contract or agreement;                          maintained primarily to provide mobility to per-
                                                                     manently attached equipment of the following
   6. That part of any contract or agreement entered                 types:
      into, as part of your business, pertaining to the
      rental or lease, by you or any of your "employ-                a. Air compressors, pumps and generators,
      ees", of any "auto". However, such contract or                     including spraying, welding, building clean-
      agreement shall not be considered an "insured                      ing, geophysical exploration, lighting and
      contract" to the extent that it obligates you or                   well-servicing equipment; or
      any of your "employees" to pay for "property                   b. Cherry pickers and similar devices used to
      damage" to any "auto" rented or leased by you                      raise or lower workers; or
      or any of your "employees".




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   6. Vehicles not described in Paragraph 1., 2., 3. or       M. "Property damage" means damage to or loss of
      4. above maintained primarily for purposes                 use of tangible property.
      other than the transportation of persons or car-        N. "Suit" means a civil proceeding in which:
      go. However, self-propelled vehicles with the
      following types of permanently attached                    1. Damages because of "bodily injury" or "prop-
      equipment are not "mobile equipment" but will                 erty damage"; or
      be considered "autos":                                     2. A "covered pollution cost or expense";
      a. Equipment designed primarily for:                       to which this insurance applies, are alleged.
          (1) Snow removal;                                      "Suit" includes:
          (2) Road maintenance, but not construction                 a. An arbitration proceeding in which such
              or resurfacing; or                                         damages or "covered pollution costs or ex-
          (3) Street cleaning;                                           penses" are claimed and to which the "in-
                                                                         sured" must submit or does submit with our
       b. Cherry pickers and similar devices mounted                     consent; or
          on automobile or truck chassis and used to
          raise or lower workers; and                                b. Any other alternative dispute resolution
                                                                         proceeding in which such damages or
       c. Air compressors, pumps and generators,                         "covered pollution costs or expenses" are
          including spraying, welding, building clean-                   claimed and to which the insured submits
          ing, geophysical exploration, lighting or                      with our consent.
          well-servicing equipment.
                                                              O. "Temporary worker" means a person who is fur-
   However, "mobile equipment" does not include                  nished to you to substitute for a permanent "em-
   land vehicles that are subject to a compulsory or             ployee" on leave or to meet seasonal or short-term
   financial responsibility law or other motor vehicle           workload conditions.
   insurance law where it is licensed or principally ga-
   raged. Land vehicles subject to a compulsory or            P. "Trailer" includes semitrailer.
   financial responsibility law or other motor vehicle
   insurance law are considered "autos".
L. "Pollutants" means any solid, liquid, gaseous or
   thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and
   waste. Waste includes materials to be recycled,
   reconditioned or reclaimed.




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                                                                                                COMMERCIAL AUTO
                                                                                                    CA 01 22 05 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       KANSAS CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Changes In Liability Coverage                                       d. The following is added to the War Exclu-
   1. For coverage and limits required by the Kansas                        sion:
      Financial Responsibility law, Exclusions is                           This Exclusion applies only to the extent
      changed as follows:                                                  that the limit of insurance for this coverage
      a. The Workers’ Compensation Exclusion is                             in this policy exceeds the limit required by
         replaced by the following:                                        the Kansas Automobile Injury Reparations
                                                                            Act.
         Any obligation for which the "insured" or the
         "insured’s" insurer may be held liable under                  e. The Racing Exclusion, if contained in the
         any workers’ compensation, disability bene-                        coverage form, does not apply.
         fits or any similar law.                                       f. The exclusion relating to "bodily injury" or
      b. The Employee Indemnification And Employ-                           "property damage" arising out of the actual,
         ers’ Liability Exclusion is replaced by the fol-                   alleged or threatened discharge, dispersal,
         lowing:                                                            release or escape of pollutants does not
                                                                            apply if the discharge, dispersal, release or
         This coverage does not apply to "bodily in-                        escape is sudden and accidental.
         jury" to any "employee" of the "insured" aris-
         ing out of and in the course of the fellow                 2. Our Limit Of Insurance applies except that we
         "employee’s" employment by the "insured"                      will apply the limit shown in the Declarations to
         or while performing duties related to the                     first provide the separate limits required by
         conduct of the "insured’s" business if bene-                  Kansas law as follows:
         fits are required or available for the "em-                   a. $25,000 for "bodily injury" to any one per-
         ployee" under any workers’ compensation                            son caused by any one "accident".
         or disability benefits law or under any simi-                 b. $50,000 for "bodily injury" to two or more
         lar law. This exclusion does not apply to li-                      persons caused by any one "accident", and
         ability assumed by the "insured" under an
         "insured contract".                                           c. $10,000 for "property damage" caused by
                                                                            any one "accident".
      c. The Care, Custody Or Control Exclusion is
         replaced by the following:                                    This provision will not change our limit of in-
                                                                       surance.
         This coverage does not apply to "property
         damage" to property owned by, rented to,
         or in charge of or transported by an "in-
         sured". However, this exclusion does not
         apply to "property damage" to a rented resi-
         dence or private garage or to liability as-
         sumed by the "insured" under a sidetrack
         agreement.



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B. Changes In Physical Damage                                     2. The Appraisal For Physical Damage Loss Con-
   1. The "Diminution In Value" Exclusion does not                   dition in the Business Auto, Garage, Truckers
      apply.                                                         and Motor Carrier Coverage Forms and the
                                                                     Appraisal Condition in the Business Auto
   2. The Limit of Insurance provision with respect to               Physical Damage Coverage Form is replaced
      repair or replacement resulting in better than                 by the following:
      like kind or quality in any coverage form or en-
      dorsement does not apply.                                      If, after a claim has been made, a dispute arises
                                                                     because you and we disagree on the amount of
C. Changes In Conditions                                             the "loss", either party may make a written re-
   1. The Concealment, Misrepresentation Or Fraud                    quest for an appraisal of the "loss". However an
      General Condition is replaced by the following:                appraisal will be made only if both you and we
                                                                     agree, voluntarily to have the loss appraised. If
      We will not pay in any case of fraud by you at
                                                                     so agreed, each party will select a competent
      any time as it relates to this Coverage Form.
                                                                     appraiser. The two appraisers will select a
      We will also not pay if you or any other "in-
                                                                     competent and impartial umpire. The appraisers
      sured", knowingly and with intent to defraud,
                                                                     will state separately the actual cash value and
      presents, causes to be presented or prepares
                                                                     amount of "loss". If they fail to agree, they will
      with knowledge or belief that it will be pre-
                                                                     submit their differences to the umpire. Each
      sented, any written statement relating to an in-
                                                                     party will:
      surance application, rating, claim or coverage
      under this Coverage Form which such person:                    a. Pay its chosen appraiser; and
      a. Knows to contain materially false informa-                  b. Bear the other expenses of the appraiser
         tion; or                                                         and umpire equally.
      b. Conceals, for the purposes of misleading,                   If we submit to an appraisal, we will still retain
          information                                                our right to deny the claim.
      concerning any material fact.                                  An appraisal decision will be binding.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 01 43 05 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CALIFORNIA CHANGES
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. The term "spouse" is replaced by the following:                  b. The other provides coverage to a person
   Spouse or registered domestic partner under Cali-                   not engaged in that business, and
   fornia law.                                                      c. At the time of an "accident" an "insured" un-
B. The following are added to the Other Insurance                      der the Coverage Form described in Para-
   Condition in the Business Auto and Garage Cov-                      graph 2.a. is operating an "auto" owned by
   erage Forms and the Other Insurance ---- Primary                    a person described in Paragraph 2.b., then
   And Excess Insurance Provisions in the Motor                        the Coverage Form issued to the business
   Carrier and Truckers Coverage Forms and super-                      described in Paragraph 2.a. is primary and
   sede any provisions to the contrary:                                the liability coverage issued to a person de-
                                                                       scribed in Paragraph 2.b. is excess over
   1. When this Coverage Form and any other Cov-                       any coverage available to the business.
      erage Form or policy providing liability cover-
      age apply to an "auto" and:                                3. When this Coverage Form and any other Cov-
                                                                    erage Form or policy providing liability cover-
      a. One provides coverage to a Named Insured                   age apply to a "commercial vehicle" and:
          engaged in the business of selling, repair-
          ing, servicing, delivering, testing or road-              a. One provides coverage to a Named In-
          testing "autos", and                                         sured, who in the course of business, rents
                                                                       or leases "commercial vehicles" without op-
      b. The other provides coverage to a person                       erators, and
          not engaged in that business, and
                                                                    b. The other provides coverage to a person
      c. At the time of an "accident", a person de-                    other than as described in Paragraph 3.a.,
          scribed in Paragraph 1.b. is operating an                    and
          "auto" owned by the business described in
          Paragraph 1.a., then that person’s liability              c. At the time of an "accident", a person who is
          coverage is primary and the Coverage Form                    not the Named Insured of the policy de-
          issued to a business described in Para-                      scribed in Paragraph 3.a., and who is not
          graph 1.a. is excess over any coverage                       the agent or "employee" of such Named In-
          available to that person.                                    sured is operating a "commercial vehicle"
                                                                       provided by the business covered by the
   2. When this Coverage Form and any other Cov-                       Coverage Form or policy described in Para-
      erage Form or policy providing liability cover-                  graph 3.a., then the liability coverage pro-
      age apply to an "auto" and:                                      vided by the Coverage Form or policy de-
      a. One provides coverage to a Named Insured                      scribed in Paragraph 3.b. is primary, and
          engaged in the business of selling, repair-                  the liability coverage provided by the Cov-
          ing, servicing, delivering, testing or road-                 erage Form or policy described in Para-
          testing "autos", and                                         graph 3.a. is excess over any coverage
                                                                       available to that person.




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   4. Notwithstanding Paragraph B.3., when this              C. As used in this endorsement:
      Coverage Form and any other Coverage Form                 "Commercial vehicle" means an "auto" subject to
      or policy providing liability coverage apply to a         registration or identification under California law
      power unit and any connected "trailer" or "trail-         which is:
      ers" and:
                                                                1. Used or maintained for the transportation of
      a. One provides coverage to a Named Insured                  persons for hire, compensation or profit;
         engaged in the business of transporting
         property by "auto" for hire; and                       2. Designed, used or maintained primarily for the
                                                                   transportation of property; or
      b. The other provides coverage to a Named
         Insured not engaged in that business; and                3. Leased for a period of six months or more.
      c. At the time of an "accident", a power unit is
         being operated by a person insured under
         the Coverage Form or policy described in
         Paragraph 4.a., then that Coverage Form or
         policy is primary for both the power unit
         and any connected "trailer" or "trailers" and
         the Coverage Form or policy described in
         Paragraph 4.b. is excess over any other
         coverage available to such power unit and
         attached "trailer" or "trailers".




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POLICY NUMBER:        CPO 5912284-00                                                          COMMERCIAL AUTO
                                                                                                  CA 21 30 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ILLINOIS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE


Limit Of Insurance:    $    1,000,000                                                    Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                   B. Who Is An Insured
   1. We will pay all sums the "insured" is legally              If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                tions as:
      from the owner or driver of an "uninsured mo-
      tor vehicle". The damages must result from                 1. An individual, then the following are "insureds":
      "bodily injury" sustained by the "insured"                      a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                            bers".
      driver’s liability for these damages must result                b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                      or a temporary substitute for a covered
      "uninsured motor vehicle".                                         "auto". The covered "auto" must be out of
   2. Any judgment for damages arising out of a                          service because of its breakdown, repair,
      "suit" brought without our written consent is                      servicing, "loss" or destruction.
      not binding on us.




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       c. Anyone else "occupying" an "auto" you do                 4. Anyone using a vehicle without a reasonable
          not own who is an "insured" for Liability un-               belief that the person is entitled to do so.
          der the Coverage Form, but only at times                 5. Punitive or exemplary damages.
          when that person is an "insured" for Liability
          under the Coverage Form.                                 6. "Bodily injury" arising directly or indirectly out
                                                                      of:
      d. Anyone for damages he or she is entitled to
          recover because of "bodily injury" sustained                a. War, including undeclared or civil war;
          by another "insured".                                       b. Warlike action by a military force, including
   2. A partnership, limited liability company, corpo-                    action in hindering or defending against an
      ration or any other form of organization, then                      actual or expected attack, by any govern-
      the following are "insureds":                                       ment, sovereign or other authority using
                                                                          military personnel or other agents; or
       a. Anyone "occupying" a covered "auto" or a
          temporary substitute for a covered "auto".                c. Insurrection, rebellion, revolution, usurped
          The covered "auto" must be out of service                     power, or action taken by governmental au-
          because of its breakdown, repair, servicing,                  thority in hindering or defending against
          "loss" or destruction.                                        any of these.
       b. Anyone else "occupying" an "auto" you do            D. Limit Of Insurance
          not own who is an "insured" for Liability un-          1. Regardless of the number of covered "autos",
          der the Coverage Form, but only at times                  "insureds", premiums paid, claims made or ve-
          when that person is an "insured" for Liability            hicles involved in the "accident", the most we
          under the Coverage Form.                                  will pay for all damages resulting from any one
       c. Anyone for damages he or she is entitled to               "accident" is the Limit of Insurance for Unin-
          recover because of "bodily injury" sustained              sured Motorists Insurance shown in the Sched-
          by another "insured".                                     ule or Declarations.
C. Exclusions                                                       We will apply the limit shown in the Declara-
                                                                    tions to first provide the separate limits re-
   This insurance does not apply to any of the follow-              quired by the Illinois Safety Responsibility Law
   ing:                                                             as follows:
   1. Any claim settled without our consent.
                                                                      a. $20,000 for "bodily injury" to any one per-
   2. The direct or indirect benefit of any insurer or                    son caused by any one "accident"; and
      self-insurer under any workers’ compensation,                   b. $40,000 for "bodily injury" to two or more
      disability benefits or similar law.                                 persons caused by any one "accident".
   3. "Bodily injury" sustained by:                                   This provision will not change our total limit of
      a. An individual Named Insured while "occupy-                   liability.
          ing" or when struck by any vehicle owned                 2. No one will be entitled to receive duplicate
          by that Named Insured that is not a covered                 payments for the same elements of "loss" under
          "auto" for Uninsured Motorists Coverage                     this Coverage Form and any Liability Coverage
          under this Coverage Form;                                   Form, Medical Payments Coverage Endorse-
      b. Any "family member" while "occupying" or                     ment or Underinsured Motorists Coverage En-
          when struck by any vehicle owned by that                    dorsement attached to this Coverage Part.
          "family member" that is not a covered "auto"                We will not make a duplicate payment under
          for Uninsured Motorists Coverage under                      this Coverage for any element of "loss" for
          this Coverage Form; or                                      which payment has been made by or for any-
      c. Any "family member" while "occupying" or                     one who is legally responsible.
          when struck by any vehicle owned by the
                                                                      We will not pay for any element of "loss" if a
          Named Insured that is insured for Unin-                     person is entitled to receive payment for the
          sured Motorists Coverage on a primary ba-                   same element of "loss" under any workers’
          sis under any other Coverage Form or pol-                   compensation, disability benefits or similar law.
          icy.




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E. Changes In Conditions                                                      b. Any legal action against us must be brought
   The Conditions are changed for Uninsured Motor-                               within two years after the date of the "acci-
   ists Insurance Coverage as follows:                                           dent". However, this Paragraph 3.b. does
                                                                                 not apply to an "insured" if, within two years
   1. Other Insurance in the Business Auto and                                   after the date of the "accident", arbitration
       Garage Coverage Forms and Other Insurance                                 proceedings have commenced in accor-
       ---- Primary And Excess Insurance Provisions in                           dance with the provisions of this Coverage
       the Truckers and Motor Carrier Coverage                                   Form.
       Forms are replaced by the following:
                                                                           4. Transfer Of Rights Of Recovery Against Others
       If there is other applicable insurance available                       To Us does not apply.
       under one or more policies or provisions of
       coverage:                                                           5. The following Conditions are added:
        a. The maximum recovery under all coverage                            REIMBURSEMENT AND TRUST
             forms or policies combined may equal but                         If we make any payment and the "insured" re-
             not exceed the highest applicable limit for                      covers from another party, the "insured" shall
             any one vehicle under any coverage form or                       hold the proceeds in trust for us and pay us
             policy providing coverage on either a pri-                       back the amount we have paid.
             mary or excess basis.                                            ARBITRATION
       b. Any insurance we provide with respect to a                          a. If we and an "insured" disagree whether the
             vehicle the Named Insured does not own                              "insured" is legally entitled to recover dam-
             shall be excess over any other collectible                          ages from the owner or driver of an "unin-
             uninsured motorists insurance providing                             sured motor vehicle" or do not agree as to
             coverage on a primary basis.                                        the amount of damages, then the disagree-
        c. If the coverage under this Coverage Form is                           ment will be arbitrated. If the "insured" re-
             provided:                                                           quests, we and the "insured" will each select
            (1) On a primary basis, we will pay only our                         an arbitrator. The two arbitrators will select
                 share of the loss that must be paid un-                         a third. If the arbitrators are not selected
                 der insurance providing coverage on a                           within 45 days of the "insured’s" request, ei-
                 primary basis. Our share is the propor-                         ther party may request that arbitration be
                tion that our limit of liability bears to the                    submitted to the American Arbitration Asso-
                total of all applicable limits of liability for                  ciation. We will bear all the expenses of the
                 coverage on a primary basis.                                    arbitration except when the "insured’s" re-
                                                                                 covery exceeds the minimum limit specified
           (2) On an excess basis, we will pay only our                          in the Illinois Safety Responsibility Law.
                 share of the loss that must be paid un-
                 der insurance providing coverage on an                           If this occurs, the "insured" will be respon-
                 excess basis. Our share is the propor-                           sible for payment of his or her expenses
                 tion that our limit of liability bears to the                    and an equal share of the expenses of the
                 total of all applicable limits of liability for                  third arbitrator up to the amount by which
                 coverage on an excess basis.                                     the "insured’s" recovery exceeds the
                                                                                  statutory minimum.
    2. Duties In The Event Of Accident, Claim, Suit Or
       Loss is changed by adding the following:                               b. Unless both parties agree otherwise, arbi-
                                                                                  tration will take place in the county in which
       a. Promptly notify the police if a hit-and-run                             the "insured" lives.
            driver is involved; and
                                                                              c. If arbitration is submitted to the American
       b. Promptly send us copies of the legal papers                             Arbitration Association, then the American
            if a "suit" is brought.                                               Arbitration Association rules shall apply to
    3. Legal Action Against Us is replaced by the                                 all matters except medical opinions. As to
       following:                                                                 medical opinions, if the amount of damages
                                                                                  being sought:
        a. No one may bring a legal action against us
           under this Coverage Form until there has                              (1) Is equal to or less than the minimum limit
           been full compliance with all the terms of                                 for bodily injury liability specified by the
           this Coverage Form.                                                        Illinois Safety Responsibility Law, then
                                                                                      the American Arbitration Association
                                                                                      rules shall apply.




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         (2) Exceeds the minimum limit for bodily                   3. "Uninsured motor vehicle" means a land motor
              injury liability specified by the Illinois               vehicle or "trailer":
              Safety Responsibility Law, then rules of                 a. For which no liability bond or policy at the
              evidence that apply in the circuit court                     time of an "accident" provides at least the
              for placing medical opinions into evi-                       amounts required by the applicable law
              dence shall apply.                                           where a covered "auto" is principally ga-
              In all other arbitration proceedings, local                  raged; or
              rules of law as to arbitration procedure                 b. For which an insuring or bonding company
              and evidence will apply.                                     denies coverage or is or becomes insolvent;
      d. If the arbitration involves three arbitrators, a                  or
          decision agreed to by two of the arbitrators                 c. That is a hit-and-run vehicle and neither the
          will be binding for the amount of damages                        driver nor owner can be identified. The ve-
          not exceeding the lesser of either:                              hicle must hit, or cause an object to hit, an
         (1) $50,000 for "bodily injury" to any one                        "insured", a covered "auto" or a vehicle an
              person / $100,000 for "bodily injury" to                     "insured" is "occupying". If there is no physi-
              two or more persons caused by any one                        cal contact with the hit-and-run vehicle, the
              "accident"; or                                               facts of the "accident" must be proved.
         (2) The Limit Of Uninsured Motorists Insur-                   However, "uninsured motor vehicle" does not
              ance shown in the Schedule or Declara-                   include any vehicle:
              tions.                                                   a. Owned or operated by a self-insurer under
F. Additional Definitions                                                  any applicable motor vehicle law, except a
   As used in this endorsement:                                            self-insurer who is or becomes insolvent
                                                                           and cannot provide the amounts required
   1. "Family member" means a person related to an                         by that motor vehicle law;
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named                      b. Owned by a governmental unit or agency;
      Insured’s household, including a ward or foster                      or
      child.                                                           c. Designed for use mainly off public roads
   2. "Occupying" means in, upon, getting in, on, out                      while not on public roads.
      or off.




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POLICY NUMBER: CPO        5912284-00                                                        COMMERCIAL AUTO
                                                                                                CA 21 37 01 05

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          KANSAS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:

     BUSINESS AUTO COVERAGE FORM
     GARAGE COVERAGE FORM
     MOTOR CARRIER COVERAGE FORM
     TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Endorsement Effective:                                    Countersigned By:


Named Insured:
                                                                                       (Authorized Representative)

                                                   SCHEDULE

 LIMIT OF INSURANCE
 $    1,000,000                                                                                 Each "Accident"
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made be-
   1. We will pay all sums the "insured" is legally                   tween an "insured" and the insurer of a ve-
      entitled to recover as damages from the owner                   hicle described in Paragraph b. of the defi-
      or driver of an "uninsured motor vehicle". The                  nition of "uninsured motor vehicle" and we:
      damages must result from "bodily injury" sus-                    (1) Have been given prompt written notice
      tained by the "insured" caused by an "accident".                     of such tentative settlement; and
      The owner’s or driver’s liability for these dam-                 (2) Advance payment to the "insured" in an
      ages must result from the ownership, mainte-                         amount equal to the tentative settlement
      nance or use of the "uninsured motor vehicle".                       within 60 days after receipt of notifica-
   2. With respect to damages resulting from an                            tion.
      "accident" with a vehicle described in Para-           B. Who Is An Insured
      graph b. of the definition of "uninsured motor
      vehicle", we will pay under this coverage only if         If the Named Insured is designated in the Declara-
      a. or b. below applies:                                   tions as:
      a. The limit of any applicable liability bonds or         1. An individual, then the following are "insureds":
          policies have been exhausted by payment                   a. The Named Insured and any "family mem-
          of judgments or settlements; or                              bers".




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       b. Anyone else "occupying" a covered "auto"                   b. $50,000 for "bodily injury" to two or more
           or a temporary substitute for a covered                       persons caused by any one "accident".
           "auto". The covered "auto" must be out of                 This provision will not change our total limit of
           service because of its breakdown, repair,                 liability.
           servicing, "loss" or destruction.
                                                                  2. The limit for damages resulting from "bodily
       c. Anyone for damages he or she is entitled to                injury" caused by a vehicle described in Para-
           recover because of "bodily injury" sustained              graph b. of the definition of "uninsured motor
           by another "insured".                                     vehicle" applies separately from the limit for a
   2. A partnership, limited liability company, corpo-               vehicle described in Paragraphs a., c. and d. of
      ration or any other form of organization, then                 that definition.
      the following are "insureds":                             3. No one will be entitled to receive duplicate
       a. Anyone "occupying" a covered "auto" or a                  payments for the same elements of "loss" under
           temporary substitute for a covered "auto".               this Coverage and any Liability Coverage Form,
           The covered "auto" must be out of service                Medical Payments Coverage Endorsement, Un-
           because of its breakdown, repair, servicing,             insured Motorists Coverage Endorsement or
           "loss" or destruction.                                   Underinsured Motorists Coverage Endorse-
       b. Anyone for damages he or she is entitled to               ment attached to this Coverage Part.
           recover because of "bodily injury" sustained             We will not make a duplicate payment under
           by another "insured".                                    this Coverage for any element of "loss" for
C. Exclusions                                                       which payment has been made by or for any-
                                                                    one who is legally responsible.
   This insurance does not apply to any of the follow-
   ing:                                                             We will not pay for any element of "loss" if the
                                                                    person is entitled to receive payment for the
   1. Any claim settled or judgment reached without                 same element of "loss" under any workers’
      our consent if the settlement or judgment                     compensation, disability benefits or similar law
       prejudices our right to recover payment. How-                or personal injury protection coverage.
      ever, this exclusion does not apply to a settle-
      ment made with the insurer of a vehicle de-               4. Any amount paid under this insurance will
      scribed in Paragraph b. of the definition of                  reduce any amount an "insured" may be paid
      "uninsured motor vehicle".                                    under the Coverage Form’s Liability Coverage.
   2. The direct or indirect benefit of any insurer or       E. Changes In Conditions
      self-insurer under any workers’ compensation,             The conditions are changed for Uninsured Motor-
      disability benefits or similar law.                       ists Coverage as follows:
   3. Anyone using a vehicle without a reasonable               1. Other Insurance in the Business Auto and
       belief that the person is entitled to do so.                 Garage Coverage Forms and Other Insurance
   4. "Bodily injury" sustained by an "insured" while               ---- Primary And Excess Insurance Provisions in
      "occupying" or when struck by any motor vehi-                 the Truckers and Motor Carrier Coverage
      cle that is owned by or provided for the regular              Forms are changed by addition of the follow-
      use of that "insured" for which the security re-              ing:
      quired by Kansas law is not in effect.                         a. The reference to "other collectible insur-
D. Limit Of Insurance                                                     ance" applies only to other collectible unin-
                                                                          sured motorists insurance.
   1. Regardless of the number of covered "autos",
      "insureds", premiums paid, claims made or ve-                 b. If there is other applicable insurance avail-
      hicles involved in the "accident", the most we                      able under one or more policies or provi-
      will pay for all damages resulting from any one                     sions of coverage, the maximum recovery
      "accident", is the limit of Uninsured Motorists                     under all coverage forms or policies com-
      Insurance shown in the Schedule or Declara-                         bined may equal but not exceed the highest
      tions. We will apply the limit shown in the                         applicable limit for any one vehicle under
      Schedule or Declarations to first provide the                       any coverage form or policy providing cov-
      separate limits required by Kansas law as fol-                      erage on either a primary or excess basis.
      lows:                                                     2. Duties In The Event Of Accident, Claim, Suit Or
      a. $25,000 for "bodily injury" to any one per-                Loss is changed by adding the following:
          son caused by any one "accident", and                      a. Promptly notify the police if a hit-and-run
                                                                          driver is involved, and




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      b. Promptly send us copies of the legal papers                       (2) Fail to advance payments to the "in-
          if a "suit" is brought.                                               sured" in an amount equal to the tenta-
      c. A person seeking Uninsured Motorists                                   tive settlement within 60 days after re-
          Coverage must also:                                                   ceipt of the notice.
         (1) Notify us in writing, by certified mail, of a                  If we advance payment to the "insured" in
               tentative settlement between the "in-                        an amount equal to the tentative settlement
               sured" and the insurer of a vehicle de-                      within 60 days after receipt of notification:
               scribed in Paragraph b. of the definition                   (1) That payment will be separate from any
               of "uninsured motor vehicle"; and                                amount the "insured" is entitled to re-
         (2) Allow us 60 days after receipt of the                              cover under the provisions of Uninsured
              written notice to advance payment to                              Motorists Coverage; and
              that "insured", in an amount equal to the                    (2) We also have a right to recover the
              tentative settlement, to preserve our                             advance payment.
              rights against the insurer, owner or op-               4. The Two Or More Coverage Forms Or Policies
              erator of such vehicle described in                       Issued By Us General Condition does not ap-
              Paragraph b. of the definition of "unin-                  ply.
              sured motor vehicle".
                                                                     5. The Concealment, Misrepresentation Or Fraud
          Such written notice shall include written                     General Condition does not apply.
          documentation of all damages incurred,
          copies of all medical bills and written au-                6. The following condition is added:
          thorization or a court order to obtain re-                    ARBITRATION
          ports from all employers and medical pro-
                                                                        a. If, after a claim has been made, a dispute
          viders.
                                                                            arises because we and an "insured" dis-
   3. Transfer Of Rights Of Recovery Against Others                         agree whether the "insured" is legally enti-
      To Us is changed by adding the following:                             tled to recover damages from the owner or
      a. If we make any payment and the "insured"                           driver of an "uninsured motor vehicle" or do
          recovers from another party, the "insured"                        not agree as to the amount of damages that
          shall hold the proceeds in trust for us and                       are recoverable by that "insured", then the
          pay us back the amount we have paid.                              parties may agree to arbitration. One party
                                                                            cannot force the other party into arbitration.
      b. We do not have a right of recovery with                            However, disputes concerning coverage
          respect to damages resulting from an "acci-                       under this endorsement may not be arbi-
          dent" with a vehicle described in Para-                           trated. If the parties agree to arbitration,
          graphs a., c. and d. of the definition of "un-                    each party will select an arbitrator. The two
          insured motor vehicle" to which a liability                       arbitrators will select a third. If they cannot
          bond or policy applies at the time of the "ac-                    agree within 30 days, either may request
          cident", but the bonding or insuring com-                         that selection be made by a judge of a court
          pany is or becomes insolvent.                                     having jurisdiction. Each party will pay the
      c. Our rights do not apply under this provi-                          expenses it incurs and bear the expenses of
          sion with respect to damages caused by an                         the third arbitrator equally.
          "accident" with a vehicle described in Para-                  b. Unless both parties agree otherwise, arbi-
          graph b. of the definition of "uninsured mo-                      tration will take place in the county in which
          tor vehicle" if we:                                               the "insured" lives. Local rules of law as to
         (1) Have been given written notice by certi-                       procedure and evidence will apply. Any de-
              fied mail of a tentative agreement be-                        cision agreed to by the arbitrators will not
              tween the "insured" and the insuring                          be binding.
              company of the owner or operator of the
                                                                        c. Once arbitration is agreed to by both par-
              underinsured motor vehicle to settle for                     ties, either party has the right to bring arbi-
              liability limits; and                                        tration under K.S.A. Sections 5-201 ---- 5-213
                                                                           inclusive, in lieu of the arbitration procedure
                                                                           provided in this condition.




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F. Additional Definitions                                                (2) Cause "bodily injury" to an "insured"
   As used in this endorsement:                                              without hitting an "insured", a covered
                                                                             "auto" or a vehicle an "insured" is "occu-
   1. "Family member" means a person related to an                           pying", provided the facts of the "acci-
      individual Named Insured by blood, marriage                            dent" can be corroborated by competent
      or adoption who is a resident of such Named                            evidence other than the testimony of any
      Insured’s household, including a ward or foster                        person having a claim under this or any
      child.                                                                 other similar insurance as the result of
   2. "Occupying" means in, upon, getting in, on, out                        such "accident".
      or off.                                                         However, "uninsured motor vehicle" does not
   3. "Uninsured motor vehicle" means a land motor                    include any vehicle:
      vehicle or "trailer":                                           a. Owned or operated by a self-insurer under
      a. For which no liability bond or policy at the                    any applicable motor vehicle law, except a
          time of an "accident" provides at least the                    self-insurer who is or becomes insolvent
          amounts required by Kansas law, or                             and cannot provide the amounts required
                                                                         by that motor vehicle law.
      b. That is an underinsured motor vehicle. An
          underinsured motor vehicle is a land motor                  b. Owned by a governmental unit or agency.
          vehicle or "trailer" for which the sum of all li-           c. Designed for use mainly off public roads
          ability bonds or policies at the time of an                    while not on public roads.
          "accident" provides at least the amounts re-
          quired by Kansas law, but their limits are
          less than the limit of this insurance, or
      c. For which an insuring or bonding company
          denies coverage or is or becomes insolvent,
          or
       d. For which neither the driver nor owner can
           be identified. The vehicle must either:
          (1) Hit an "insured", a covered "auto" or a
               vehicle an "insured" is "occupying"; or




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POLICY NUMBER:        CPO 5912284-00                                                             COMMERCIAL AUTO
                                                                                                     CA 21 38 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      ILLINOIS UNDERINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                     SCHEDULE


Limit Of Insurance:     $    1,000,000                                                Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

With respect to coverage provided by this endorse-                3. Any judgment for damages arising out of a
ment, the provisions of the Coverage Form apply                        "suit" brought without written notice to us is not
unless modified by the endorsement.                                    binding on us.
A. Coverage                                                    B. Who Is An Insured
   1. We will pay all sums the "insured" is legally               If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                 tions as:
      from the owner or driver of an "underinsured
      motor vehicle". The damages must result from                1. An individual, then the following are "insureds":
      "bodily injury" sustained by the "insured"                       a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                              bers".
      driver’s liability for these damages must result                 b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                        or a temporary substitute for a covered
      "underinsured motor vehicle".                                        "auto". The covered "auto" must be out of
   2. We will pay only after all liability bonds or poli-                  service because of its breakdown, repair,
      cies have been exhausted by payment of judg-                         servicing, "loss" or destruction.
      ments or settlements, unless:                                    c. Anyone else "occupying" an "auto" you do
       a. We have been given prompt written notice                         not own who is an "insured" for Liability un-
          of a "tentative settlement" and decide to ad-                    der the Coverage Form, but only at times
          vance payment to the "insured" in an                             when that person is an "insured" for Liability
          amount equal to that "tentative settlement"                      under the Coverage Form.
          within 30 days after receipt of notification;                d. Anyone for damages he or she is entitled to
          or                                                               recover because of "bodily injury" sustained
       b. We and an "insured" have reached a "set-                         by another "insured".
          tlement agreement".



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   2. A partnership, limited liability company, corpo-               c. Insurrection, rebellion, revolution, usurped
      ration or any other form of organization, then                     power, or action taken by governmental au-
      the following are "insureds":                                      thority in hindering or defending against
      a. Anyone "occupying" a covered "auto" or a                        any of these.
          temporary substitute for a covered "auto".           D. Limit Of Insurance
          The covered "auto" must be out of service               1. Regardless of the number of covered "autos",
          because of its breakdown, repair, servicing,               "insureds", premiums paid, claims made or ve-
          "loss" or destruction.                                     hicles involved in the "accident", the most we
      b. Anyone else "occupying" an "auto" you do                    will pay for all damages resulting from any one
          not own who is an "insured" for Liability un-              "accident" is the Limit of Insurance for Underin-
          der the Coverage Form, but only at times                   sured Motorists Coverage shown in this en-
          when that person is an "insured" for Liability             dorsement.
          under the Coverage Form.                                2. Except in the event of a "settlement agreement",
      c. Anyone for damages he or she is entitled to                 the Limit of Insurance for this coverage shall be
          recover because of "bodily injury" sustained               reduced by all sums paid or payable:
          by another "insured".                                      a. By or for anyone who is legally responsible,
C. Exclusions                                                            including all sums paid under this Coverage
   This insurance does not apply to any of the follow-                   Form’s Liability Coverage.
   ing:                                                              b. Under any workers’ compensation, disabil-
   1. The direct or indirect benefit of any insurer                      ity benefits or similar law. However, the
      under any workers’ compensation, disability                        Limit of Insurance for this coverage shall
       benefits or similar law.                                          not be reduced by any sums paid or pay-
                                                                         able under Social Security disability bene-
   2. "Bodily injury" sustained by:                                      fits.
       a. An individual Named Insured while "occupy-                 c. Under any automobile medical payments
          ing" or when struck by any vehicle owned                       coverage.
          by that Named Insured that is not a covered
          "auto" for Underinsured Motorists Coverage              3. In the event of a "settlement agreement", the
          under this Coverage Form;                                  maximum Limit of Insurance for this coverage
                                                                     shall be the amount by which the limit of insur-
      b. Any "family member" while "occupying" or                    ance for this coverage exceeds the limits of
          when struck by any vehicle owned by that                   bodily injury liability bonds or policies applica-
          "family member" that is not a covered "auto"               ble to the owner or operator of the "underin-
          for Underinsured Motorists Coverage under                  sured motor vehicle".
          this Coverage Form; or
                                                                  4. No one will be entitled to receive duplicate
      c. Any "family member" while "occupying" or                    payments for the same elements of "loss" under
          when struck by any vehicle owned by the                    this Coverage Form and any Liability Coverage
          Named Insured that is insured for Underin-                 Form.
          sured Motorists Coverage on a primary ba-
          sis under any other Coverage Form or pol-            E. Changes In Conditions
          icy.                                                    The Conditions are changed for Underinsured Mo-
   3. Anyone using a vehicle without a reasonable                 torists Coverage as follows:
      belief that the person is entitled to do so.                1. Other Insurance in the Business Auto and
   4. Punitive or exemplary damages.                                  Garage Coverage Forms and Other Insurance
                                                                      ---- Primary And Excess Insurance Provisions in
   5. "Bodily injury" arising directly or indirectly out              the Truckers and Motor Carrier Coverage
      of:                                                             Forms are replaced by the following:
       a. War, including undeclared or civil war;                     If there is other applicable insurance available
       b. Warlike action by a military force, including               under one or more policies or provisions of
          action in hindering or defending against an                 coverage:
          actual or expected attack, by any govern-                   a. The maximum recovery under all coverage
          ment, sovereign or other authority using                          forms or policies combined may equal but
          military personnel or other agents; or                            not exceed the highest applicable limit for
                                                                            any one vehicle under any coverage form or
                                                                            policy providing coverage on either a pri-
                                                                            mary or excess basis.


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      b. Any insurance we provide with respect to a                          b. Any legal action against us under this Cov-
          vehicle the Named Insured does not own                                 erage Form must be brought within two
          shall be excess over any other collectible                             years after the date of the "accident". How-
          underinsured motorists insurance providing                             ever, this Paragraph 3.b. does not apply if,
          coverage on a primary basis.                                           within two years after the date of the "acci-
      c. If the coverage under this Coverage Form is                             dent":
          provided:                                                             (1) Arbitration proceedings have com-
         (1) On a primary basis, we will pay only our                                 menced in accordance with the provi-
              share of the loss that must be paid un-                                 sions of this Coverage Form; or
              der insurance providing coverage on a                             (2) The "insured" has filed an action for
              primary basis. Our share is the propor-                                 "bodily injury" against the owner or op-
             tion that our limit of liability bears to the                            erator of an "underinsured motor vehi-
             total of all applicable limits of liability for                          cle", and such action is:
              coverage on a primary basis.                                          (a) Filed in a court of competent jurisdic-
          (2) On an excess basis, we will pay only our                                    tion; and
                share of the loss that must be paid un-                             (b) Not barred by the applicable state
                der insurance providing coverage on an                                    statute of limitations.
                excess basis. Our share is the propor-
                tion that our limit of liability bears to the                In the event that the two-year time limitation
                total of all applicable limits of liability for              identified in this condition does not apply, the
                coverage on an excess basis.                                 applicable state statute of limitations will govern
                                                                             legal action against us under this Coverage
   2. Duties In The Event Of Accident, Claim, Suit Or                        Form.
      Loss is changed by adding the following:
                                                                          4. The following is added to Transfer Of Rights Of
      a. Give us written notice of a "tentative settle-                      Recovery Against Others To Us:
           ment" and allow us to advance payment in
           an amount equal to that settlement within 30                      Transfer Of Rights Of Recovery Against Others
           days after receipt of notification to preserve                    To Us does not apply to damages caused by
           our rights against the owner or operator of                       an "accident" with an "underinsured motor ve-
           the "underinsured motor vehicle".                                 hicle" if we:
      b. File "suit" against the owner or operator of                        a. Have been given written notice of a "tenta-
           the "underinsured motor vehicle" prior to                             tive settlement" between an "insured" and
           the conclusion of a "settlement agreement".                           the insurer of an "underinsured motor vehi-
           Such "suit" cannot be abandoned or settled                            cle"; and
           without giving us written notice of a "tenta-                     b. Fail to advance payment to the "insured" in
           tive settlement" and allowing us 30 days to                           an amount equal to the "tentative settlement"
           advance payment in an amount equal to                                 within 30 days after receipt of the notice.
           that settlement to preserve our rights
                                                                             If we advance payment to the "insured" in an
           against the owner or operator of the "under-
                                                                             amount equal to the "tentative settlement" within
           insured motor vehicle".
                                                                             30 days after receipt of notice:
      c. Promptly send us copies of the legal papers
                                                                             a. That payment will be separate from any
           if a "suit" is brought.
                                                                                 amount the "insured" is entitled to recover
   3. Legal Action Against Us is replaced by the                                 under the provisions of Underinsured Mo-
      following:                                                                 torists Coverage; and
      a. No one may bring a legal action against us                          b. We will also have a right to recover the
           under this Coverage Form until there has                              advanced payment.
           been full compliance with all the terms of
           this Coverage Form.




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      However, in the event of a "settlement agree-            F. Additional Definitions
      ment", we shall be entitled to recover only for             As used in this endorsement:
      amounts which exceed the limit of bodily injury
      liability bonds or policies applicable to the               1. "Family member" means a person related to an
      owner or operator of the "underinsured motor                   individual Named Insured by blood, marriage
      vehicle".                                                      or adoption who is a resident of such Named
                                                                     Insured’s household, including a ward or foster
   5. The following Conditions are added:                            child.
      REIMBURSEMENT AND TRUST                                     2. "Occupying" means in, upon, getting in, on, out
      If we make any payment and the "insured" re-                   or off.
      covers from another party, the "insured" shall              3. "Settlement agreement" means we and an "in-
      hold the proceeds in trust for us and pay us                   sured" agree that the "insured" is legally entitled
      back the amount we have paid.                                  to recover, from the owner or operator of the
      However, in the event of a "settlement agree-                  "underinsured motor vehicle", damages for
      ment", we shall be entitled to recover only for                "bodily injury" and, without arbitration, agree
      amounts which exceed the limit of bodily injury                also as to the amount of damages. Such
      liability bonds or policies applicable to the                  agreement is final and binding regardless of
      owner or operator of the "underinsured motor                   any subsequent judgment or settlement
      vehicle".                                                      reached by the "insured" with the owner or op-
      ARBITRATION                                                    erator of the "underinsured motor vehicle".
      a. If we and an "insured" disagree whether the              4. "Tentative settlement" means an offer from the
          "insured" is legally entitled to recover dam-              owner or operator of the "underinsured motor
          ages from the owner or driver of an "under-                vehicle" to compensate an "insured" for dam-
          insured motor vehicle" or do not agree as to               ages incurred because of "bodily injury" sus-
          the amount of damages that are recoverable                 tained in an accident involving an "underin-
          by that "insured", then the matter may be                  sured motor vehicle".
          arbitrated. However, disputes concerning                5. "Underinsured motor vehicle" means a land
          coverage under this endorsement may not                    motor vehicle or "trailer" for which the sum of
          be arbitrated. Either party may make a writ-               all liability bonds or policies at the time of an
          ten demand for arbitration. In this event,                 "accident" provides at least the amounts re-
          each party will select an arbitrator. The two              quired by the applicable law where a covered
          arbitrators will select a third. If they cannot            "auto" is principally garaged but that sum is ei-
          agree within 30 days, either may request                   ther less than the Limit of Insurance of this
          that selection be made by a judge of a court               coverage or reduced by payments to other
          having jurisdiction. Each party will pay the               persons resulting from the same "accident" to
          expenses it incurs and bear the expenses of                an amount less than the Limit of Insurance of
          the third arbitrator equally.                              this coverage. However, "underinsured motor
      b. Unless both parties agree otherwise, arbi-                  vehicle" does not include any vehicle:
          tration will take place in the county in which             a. Owned or operated by any self-insurer
          the "insured" lives. Local rules of law as to                  under any applicable motor vehicle law.
          arbitration procedure and evidence will ap-                b. Owned by a governmental unit or agency.
          ply. A decision agreed to by two of the arbi-
          trators will be binding.                                   c. Designed for use mainly off public roads
                                                                         while not on public roads.
                                                                      d. Which is an "uninsured motor vehicle".




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POLICY NUMBER:        CPO 5912284-00                                                           COMMERCIAL AUTO
                                                                                                   CA 21 48 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      LOUISIANA UNINSURED MOTORISTS
                         COVERAGE --- BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Louisiana, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided under this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy or as of the date indicated be-
low.

Named Insured:

Endorsement Effective Date:


                                                     SCHEDULE


Limit Of Insurance:     $    1,000,000                                                     Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                    B. Who Is An Insured
   1. We will pay all sums the "insured" is legally               If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                 tions as:
      from the owner or driver of an "uninsured mo-               1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                       a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                             bers".
      driver’s liability for these damages must result                 b. Anyone else "occupying" with the Named
      from the ownership, maintenance or use of the                       Insured’s express or implied permission a
      "uninsured motor vehicle".                                          covered "auto" or a temporary substitute for
   2. If this insurance provides a limit in excess of                     a covered "auto". The covered "auto" must
      the amounts required by the applicable law                          be out of service because of its breakdown,
      where a covered "auto" is principally garaged,                      repair, servicing, "loss" or destruction.
      we will pay only after all liability bonds or poli-              c. Anyone for damages he or she is entitled to
      cies have been exhausted by payments of                             recover because of "bodily injury" sustained
      judgments or settlements.                                           by another "insured".




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      d. Anyone else "occupying" an "auto" the                   2. No one will be entitled to receive duplicate
          Named Insured does not own who is an "in-                  payments for the same elements of "loss" under
          sured" for Liability under the Coverage                    this Coverage Form and any Liability Coverage
          Form, but only at times when that person is                Form or Medical Payments Coverage endorse-
          an "insured" for Liability under the Coverage              ment attached to this Coverage Part.
          Form.                                                      We will not make a duplicate payment under
   2. A partnership, limited liability company, corpo-               this Coverage for any element of "loss" for
      ration or any other form of organization, then                 which payment has been made by or for any-
      the following are "insureds":                                  one who is legally responsible.
      a. Anyone "occupying" with the Named In-                E. Changes In Conditions
          sured’s express or implied permission a                The conditions are changed for Uninsured Motor-
          covered "auto" or a temporary substitute for           ists Coverage as follows:
          a covered "auto". The covered "auto" must
          be out of service because of its breakdown,              1. Other Insurance in the Business Auto and
          repair, servicing, "loss" or destruction.                   Garage Coverage Forms and Other Insurance
                                                                      ---- Primary And Excess Insurance Provisions in
      b. Anyone for damages he or she is entitled to                  the Truckers and Motor Carrier Coverage
          recover because of "bodily injury" sustained                Forms is replaced by the following:
          by another "insured".
                                                                      If there is other applicable similar insurance, we
      c. Anyone else "occupying" an "auto" the                        will pay only our share of the loss. Our share is
          Named Insured does not own who is an "in-                   the proportion that our limit of insurance bears
          sured" for Liability under the Coverage                     to the total of all applicable limits. However,
          Form, but only at times when that person is                 with respect to "bodily injury" sustained by an
          an "insured" for Liability under the Coverage               "insured":
          Form.
                                                                       a. While "occupying" a vehicle owned by that
C. Exclusions                                                               person or while not "occupying" any vehi-
   This insurance does not apply to:                                        cle, the maximum recovery for damages
   1. The direct or indirect benefit of any insurer or                      sustained by an "insured" as a Named In-
      self-insurer under any workers’ compensation,                         sured or family member may equal but not
      disability benefits or similar law.                                   exceed the highest applicable limit for any
                                                                            one vehicle under this Coverage Form or
   2. "Bodily injury" sustained by an "insured" while                       any other Coverage Form or policy.
      "occupying" or struck by any vehicle owned by
      that "insured" that is not a covered "auto".                    b. While "occupying" a vehicle not owned by
                                                                          that person, the following priorities of re-
   3. Punitive or exemplary damages.                                      covery will apply:
   4. "Bodily injury" arising directly or indirectly out                 (1) The uninsured motorists coverage appli-
      of:                                                                     cable to the vehicle the "insured" was
      a. War, including undeclared or civil war;                              "occupying" at the time of the "accident"
      b. Warlike action by a military force, including                        will be primary.
          action in hindering or defending against an                    (2) If the primary insurance is exhausted,
          actual or expected attack, by any govern-                           any excess recovery for damages sus-
          ment, sovereign or other authority using                           tained by an "insured" as a Named In-
          military personnel or other agents; or                              sured or family member may equal but
      c. Insurrection, rebellion, revolution, usurped                         not exceed the highest applicable limit
          power, or action taken by governmental au-                          for any one vehicle under this Coverage
          thority in hindering or defending against                           Form or any other Coverage Form or
                                                                              policy. In no instance will more than one
          any of these.
                                                                              uninsured motorists coverage limit be
D. Limit Of Insurance                                                         available as excess insurance.
   1. Regardless of the number of covered "autos",                 2. Duties In The Event Of Accident, Claim, Suit Or
      "insureds", premiums paid, claims made or ve-                   Loss is changed by adding the following:
      hicles involved in the "accident", the most we
      will pay for all damages resulting from any one                 a. Promptly notify the police if a hit-and-run
      "accident" is the limit of Uninsured Motorists                     driver is involved; and
      Coverage shown in the Schedule or Declara-
      tions.


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      b. Promptly send us copies of the legal papers                 2. "Occupying" means in, upon, getting in, on, out
          if a "suit" is brought.                                       or off.
   3. Transfer Of Rights Of Recovery Against Others                  3. "Uninsured motor vehicle" means a land motor
      To Us does not apply to vehicles described in                     vehicle or "trailer":
      Paragraph b. of the definition of "uninsured                      a. For which no liability bonds or policy at the
      motor vehicle".                                                       time of an "accident" provides at least the
   4. The following condition is added:                                     amounts required by the applicable law
      ARBITRATION                                                           where a covered "auto" is principally ga-
                                                                            raged;
      a. If we and an "insured" disagree whether the
          "insured" is legally entitled to recover dam-                 b. Which is an underinsured motor vehicle. An
          ages from the owner or driver of an "unin-                        underinsured motor vehicle means a land
          sured motor vehicle" or do not agree as to                        motor vehicle or "trailer" to which a liability
          the amount of damages that are recoverable                        bond or policy affording coverage for "bod-
          by that "insured", then the matter may be                         ily injury" applies at the time of the accident
          arbitrated. However, arbitration will take                        but the amount paid for "bodily injury" un-
          place only if we and the "insured" agree,                         der that bond or policy to an "insured" is
          voluntarily, to have the matter arbitrated. If                    not enough to pay the full amount the "in-
          so agreed, each party will select an arbitra-                     sured" is legally entitled to recover as dam-
          tor. The two arbitrators will select a third. If                  ages;
          they cannot agree within 30 days, either                      c. For which an insuring or bonding company
          may request that selection be made by a                           denies coverage or is or becomes insolvent;
          court having jurisdiction. Each party will                        or
          pay the expenses it incurs and bear the ex-                   d. Which is a hit-and-run vehicle and neither
          penses of the third arbitrator equally.                           the driver nor owner can be identified. The
      b. Unless both parties agree otherwise, arbi-                         vehicle must either:
          tration will take place in the parish in which                   (1) Hit an "insured", a covered "auto" or a
          the "insured" lives. Local rules of law as to                          vehicle the "insured" is "occupying"; or
          arbitration procedures and evidence will
          apply. Any decision of the arbitrators will                      (2) Cause "bodily injury" to an "insured"
          not be binding on either party.                                        without any actual physical contact with
                                                                                 the "insured", a covered "auto" or a vehi-
F. Additional Definitions                                                        cle the "insured" is "occupying". How-
   As used in this endorsement:                                                  ever, in such cases, the "insured" must
   1. "Family member" means a person related to an                               show, by an independent and disinter-
      individual Named Insured by blood, marriage                                ested witness, that the "bodily injury" re-
      or adoption who is a resident of such Named                                sulted from the actions of an unidentified
      Insured’s household, including a ward or foster                            motorist.
      child.                                                            However, "uninsured motor vehicle" does not
                                                                        include any vehicle:
                                                                        a. Owned by a governmental unit or agency;
                                                                            or
                                                                        b. Designed for use mainly off public roads
                                                                            while not on public roads.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 21 53 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ILLINOIS UNINSURED MOTORISTS
                       COVERAGE --- PROPERTY DAMAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
A. Coverage                                                  6. "Property damage" arising directly or indirectly
    1. We will pay all sums the "insured" is legally            out of:
       entitled to recover as damages from the owner            a. War, including undeclared or civil war;
       or driver of an "uninsured motor vehicle". The
                                                                b. Warlike action by a military force, including
       damages must result from "property damage"
                                                                    action in hindering or defending against an
       caused by an "accident" arising out of actual                actual or expected attack, by any govern-
        physical contact with your covered "auto". The              ment, sovereign or other authority using
       owner’s or driver’s liability for these damages              military personnel or other agents; or
       must result from the ownership, maintenance
       or use of an "uninsured motor vehicle".                  c.  Insurrection, rebellion, revolution, usurped
                                                                    power, or action taken by governmental au-
    2. Any judgment for damages arising out of a suit               thority in hindering or defending against
        brought without our written consent is not                  any of these.
        binding on us.
                                                         C. Limit Of Insurance
B. Exclusions
                                                             1. Regardless of the number of covered "autos",
    This insurance does not apply to any of the follow-         premiums paid, claims made or vehicles in-
    ing:                                                        volved in the "accident", the most we will pay
    1. Any claim settled without our consent.                   for all damages resulting from any one "acci-
    2. Anyone using a vehicle without a reasonable              dent"  will be the lesser of $15,000 or the actual
        belief that the person is entitled to do so.            cash  value   of your damaged "auto" at the time
                                                                of the "accident".
    3. The first $250 of the amount of "property dam-
       age" to a covered "auto" as a result of any one       2. Any amount payable under this coverage shall
       "accident".                                              be reduced by all sums paid by or for anyone
                                                                who is legally responsible.
    4. Any motor vehicle owned by you for which you
       have purchased collision coverage under this
        policy or any other policy.
    5. If the owner or operator of the "uninsured
       motor vehicle" cannot be identified.




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D. Changes In Conditions                                                 3. Legal Action Against Us is replaced by the
   The Conditions are changed for Uninsured Motor-                          following:
   ists Coverage ---- Property Damage (Illinois) as fol-                    a. No one may bring a legal action against us
   lows:                                                                        under this Coverage Form until there has
   1. Other Insurance in the Business Auto and                                  been full compliance with all the terms of
       Garage Coverage Forms and Other Insurance                                this Coverage Form.
       ---- Primary And Excess Insurance Provisions in                      b. Any legal action against us must be brought
       the Truckers and Motor Carrier Coverage                                  within two years after the date of the "acci-
       Forms are replaced by the following:                                     dent". However, this Paragraph 3.b. does
      If there is other applicable insurance available                          not apply to an "insured" if, within two years
      under one or more policies or provisions of                               after the date of the "accident", arbitration
      coverage:                                                                 proceedings have commenced in accor-
                                                                                dance with the provisions of this Coverage
      a. The maximum recovery under all coverage                                Form.
          forms or policies combined may equal but
          not exceed the highest applicable limit for                    4. Transfer Of Rights Of Recovery Against Others
          any one vehicle under any coverage form or                        To Us does not apply.
          policy providing coverage on either a pri-                     5. The following Conditions are added:
          mary or excess basis.                                             REIMBURSEMENT AND TRUST
      b. Any insurance we provide with respect to a                         If we make any payment and the "insured" re-
          vehicle you do not own shall be excess                            covers from another party, the "insured" shall
          over any other collectible "property damage"                      hold the proceeds in trust for us and pay us
          uninsured motorists insurance providing                           back the amount we have paid.
          coverage on a primary basis.
                                                                            ARBITRATION
      c. If the coverage under this Coverage Form is
          provided:                                                         a. If we and an "insured" disagree whether the
                                                                               "insured" is legally entitled to recover dam-
         (1) On a primary basis, we will pay only our                          ages under this endorsement or do not
               share of the loss that must be paid un-                         agree as to the amount of damages that are
               der insurance providing coverage on a                           recoverable by that "insured", then the mat-
               primary basis. Our share is the propor-                         ter may be arbitrated. The insured may
               tion that our limit of liability bears to the                   make a written demand for arbitration. In
               total of all applicable limits of liability for                 this event, each party will select an arbitra-
               coverage on a primary basis.                                    tor. The two arbitrators will select a third. If
         (2) On an excess basis, we will pay only our                          such arbitrators are not selected within 45
               share of the loss that must be paid un-                         days, either party may request that the arbi-
               der insurance providing coverage on an                          tration be submitted to the American Arbi-
               excess basis. Our share is the propor-                          tration Association. Each party will pay the
               tion that our limit of liability bears to the                   expenses it incurs and bear the expenses of
               total of all applicable limits of liability for                 the third arbitrator equally.
               coverage on an excess basis.                                 b. Unless both parties agree otherwise, arbi-
   2. Duties In The Event Of Accident, Claim, Suit Or                          tration will take place in the county in which
      Loss is changed by adding the following:                                 the "insured" lives. Local rules of law as to
      a. Promptly send us copies of the legal papers                           arbitration procedure and evidence will ap-
          if a suit is brought.                                                ply. A decision agreed to by two of the arbi-
                                                                               trators will be binding.
      b. Provide us with the name and address of
         the owner of the "uninsured motor vehicle"                 E. Additional Definitions
         or a registration number and description of                   As used in this endorsement:
         such vehicle, or any other available informa-                 1. "Property damage" means injury to or destruc-
         tion to establish that there is no applicable                    tion of a covered "auto". However, "property
         motor vehicle property damage liability cov-                     damage" does not include loss of use or dam-
         erage.                                                           age to personal property contained in your
                                                                          covered "auto". This definition replaces the
                                                                          definition in the policy.




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   2. "Uninsured motor vehicle" means a land motor               However, "uninsured motor vehicle" does not
      vehicle or trailer:                                        include any vehicle:
      a. For which no liability bond or policy provid-           a. Owned or operated by a self-insurer under
         ing coverage for "property damage" applies                  any applicable motor vehicle law, except a
         at the time of the "accident"; or                           self-insurer who is or becomes insolvent
      b. For which no liability bond or policy at the                and cannot provide the amounts required
         time of an "accident" provides at least the                 by that motor vehicle law;
         amount required for "property damage" li-               b. Owned by a governmental unit or agency;
         ability covered by the Illinois Financial Re-           c. Designed for use mainly off public roads
         sponsibility Law; or                                       while not on public roads.
      c. For which an insuring or bonding company
         denies coverage or is or becomes insolvent.




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POLICY NUMBER: CPO          5912284-00                                                          COMMERCIAL AUTO
                                                                                                    CA 21 54 09 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CALIFORNIA UNINSURED MOTORISTS COVERAGE ---
                    BODILY INJURY
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                      SCHEDULE


Limit Of Insurance:     $     1,000,000                                 Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                     B. Who Is An Insured
   1. We will pay all sums the "insured" is legally                If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages                  tions as:
      from the owner or driver of an "uninsured mo-                1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                      a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                            bers".
      driver’s liability for these damages must result                b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                      or a temporary substitute for a covered
      "uninsured motor vehicle".                                         "auto". The covered "auto" must be out of
   2. We will pay only after the limits of liability under               service because of its breakdown, repair,
      any liability bonds or policies have been ex-                      servicing, "loss" or destruction.
      hausted by payment of judgments or settle-                      c. Anyone for damages he or she is entitled to
      ments.                                                             recover because of "bodily injury" sustained
   3. Any judgment for damages arising out of a                          by another "insured".
      "suit" brought without our written consent is
      not binding on us.




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   2. A partnership, limited liability company, corpo-               5. "Bodily injury" sustained by an individual
      ration or any other form of organization, then                    Named Insured or any "family member" while
      the following are "insureds":                                     "occupying" any vehicle leased by that Named
       a. Anyone "occupying" a covered "auto" or a                      Insured or any "family member" under a written
          temporary substitute for a covered "auto".                    contract for a period of six months or more that
          The covered "auto" must be out of service                     is not a covered "auto".
          because of its breakdown, repair, servicing,               6. Anyone using a vehicle without a reasonable
          "loss" or destruction.                                        belief that the person is entitled to do so.
       b. Anyone for damages he or she is entitled to                7. "Bodily injury" sustained by an "insured" while
          recover because of "bodily injury" sustained                  "occupying" any "auto" that is rented or leased
          by another "insured".                                         to that "insured" for use as a public or livery
C. Exclusions                                                           conveyance. However, this exclusion does not
                                                                        apply if the "insured" is in the business of pro-
   This insurance does not apply to any of the follow-                  viding public or livery conveyance.
   ing:
                                                                     8. "Bodily injury" arising directly or indirectly out
   1. Punitive or exemplary damages.                                    of:
   2. Any claim settled without our consent. How-                       a. War, including undeclared or civil war;
      ever, this exclusion does not apply to a settle-
      ment made with the insurer of a vehicle de-                     b. Warlike action by a military force, including
      scribed in Paragraph b. of the definition of                        action in hindering or defending against an
      "uninsured motor vehicle".                                          actual or expected attack, by any govern-
                                                                          ment, sovereign or other authority using
   3. The direct or indirect benefit of any insurer or                    military personnel or other agents; or
      self-insurer under any workers’ compensation,
      disability benefits or similar law or to the direct             c. Insurrection, rebellion, revolution, usurped
      benefit of the United States, a state or its politi-                power, or action taken by governmental au-
      cal subdivisions.                                                   thority in hindering or defending against
                                                                          any of these.
   4. "Bodily injury" sustained by:
                                                                D. Limit Of Insurance
      a. An individual Named Insured while "occupy-
          ing" or when struck by any vehicle owned                 1. Regardless of the number of covered "autos",
          by that Named Insured that is not a covered                 "insureds", premiums paid, claims made or ve-
          "auto" for Uninsured Motorists Coverage                     hicles involved in the "accident", the most we
          under this coverage form;                                   will pay for all damages resulting from any one
                                                                      "accident" is the Limit of Insurance for Unin-
      b. Any "family member" while "occupying" or                     sured Motorists Coverage shown in the Sched-
          when struck by any vehicle owned by that                    ule or Declarations.
          "family member" that is not a covered "auto"
          for Uninsured Motorists Coverage under                     2. For a vehicle described in Paragraph b. of the
          this coverage form; or                                        definition of "uninsured motor vehicle", our
                                                                        Limit of Insurance shall be reduced by all sums
      c. Any "family member" while "occupying" or                       paid because of "bodily injury" by or for anyone
          when struck by any vehicle owned by the                       who is legally responsible, including all sums
          Named Insured that is insured for Unin-                       paid or payable under this policy’s Liability
          sured Motorists Coverage on a primary ba-                     Coverage.
          sis under any other coverage form or pol-
          icy.                                                       3. No one will be entitled to receive duplicate
                                                                        payments for the same elements of "loss" under
      However, Exclusion 4. shall not apply to "bodily                  this coverage and any Liability Coverage form
      injury" sustained by an individual Named In-                      or Medical Payments Coverage endorsement
      sured or "family member" when struck by a ve-                     attached to this Coverage Part.
      hicle owned by that "insured" and operated or
      caused to be operated by a person without that                    We will not make a duplicate payment under
      "insured’s" consent in connection with criminal                   this coverage for any element of "loss" for
      activity that has been documented in a police                     which payment has been made by or for any-
      report and to which that "insured" is not a party                 one who is legally responsible.
      to.




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      We will not pay for any element of "loss" if a                       Written notice of the "suit" must be given to
      person is entitled to receive payment for the                        us within a reasonable time after the "in-
      same element of "loss" under any workers’                            sured" knew, or should have known, that
      compensation, disability benefits or similar law.                    the other motorist is uninsured. In no event
E. Changes In Conditions                                                   will such notice be required before two
                                                                           years from the date of the accident. Failure
   The Conditions are changed for California Unin-                         of the "insured" or his or her representative
   sured Motorists Coverage ---- Bodily Injury as fol-                     to give us such notice of the "suit" will re-
   lows:                                                                   lieve us of our obligations under this cover-
   1. Duties In The Event Of Accident, Claim, Suit Or                      age form only if the failure to give notice
      Loss is changed by adding the following:                             prejudices our rights.
      a. Promptly notify the police if a hit-and-run                 3. Transfer Of Rights Of Recovery Against Others
         driver is involved; and                                        To Us is replaced by the following:
      b. Send us copies of the legal papers if a "suit"                 a. With respect to Paragraphs a., c. and d. of
         is brought. In addition, a person seeking                         the definition of "uninsured motor vehicle", if
         coverage under Paragraph b. of the defini-                        we make any payment, we are entitled to re-
         tion of "uninsured motor vehicle" must:                           cover what we paid from other parties. Any
                                                                           person to or for whom we make payment
          (1) Provide us with a copy of the complaint
                                                                           must transfer to us his or her rights of re-
              by personal service or certified mail if the
                                                                           covery against any other party. This person
              "insured" brings an action against the
                                                                           must do everything necessary to secure
              owner or operator of such "uninsured
                                                                           these rights and must do nothing that
              motor vehicle";
                                                                           would jeopardize them.
          (2) Within a reasonable time, make all plead-
              ings and depositions available for copy-                  b. With respect to Paragraph b. of the defini-
              ing by us or furnish us copies at our ex-                       tion of "uninsured motor vehicle", if we
              pense; and                                                      make any payment and the "insured" recov-
                                                                              ers from another party, the "insured" shall
          (3) Provide us with proof that the limits of                        hold the proceeds in trust for us and pay us
              insurance under any applicable liability                        back the amount we have paid.
              bonds or policies have been exhausted
              by payment of judgments or settlements.                4. Other Insurance in the Business Auto and
                                                                        Garage Coverage Forms and Other Insurance
   2. Legal Action Against Us is replaced by the                        ---- Primary And Excess Insurance Provisions in
      following:                                                        the Truckers and Motor Carrier Coverage
      No legal action may be brought against us un-                     Forms are replaced by the following:
      der this coverage form until there has been full                  If there is other applicable insurance available
      compliance with all the terms of this coverage                    under one or more policies or provisions of
      form and with respect to Paragraphs a., c. and                    coverage:
      d. of the definition of "uninsured motor vehicle"
                                                                         a. The maximum recovery under all coverage
      unless within two years from the date of the
                                                                              forms or policies combined may equal but
      "accident":
                                                                              not exceed the highest applicable limit for
      a. Agreement as to the amount due under this                            any one vehicle under any coverage form or
          insurance has been concluded;                                       policy providing coverage on either a pri-
      b. The "insured" has formally instituted arbitra-                       mary or excess basis.
         tion proceedings against us. In the event                      b. Any insurance we provide with respect to a
         that the "insured" decides to arbitrate, the                         vehicle the Named Insured does not own
          "insured" must formally begin arbitration                           shall be excess over any other collectible
          proceedings by notifying us in writing, sent                        uninsured motorists insurance providing
          by certified mail, return receipt requested;                        coverage on a primary basis.
          or
      c. "Suit" for "bodily injury" has been filed
          against the uninsured motorist in a court of
          competent jurisdiction.




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      c. If the coverage under this coverage form is                   2. "Occupying" means in, upon, getting in, on, out
          provided:                                                       or off.
         (1) On a primary basis, we will pay only our                  3. "Uninsured motor vehicle" means a land motor
             share of the "loss" that must be paid un-                    vehicle or trailer:
             der insurance providing coverage on a                        a. For which no liability bond or policy at the
             primary basis. Our share is the propor-                         time of an "accident" provides at least the
             tion that our limit of liability bears to the                   amounts required by the applicable law
             total of all applicable limits of liability for                 where a covered "auto" is principally ga-
             coverage on a primary basis.                                    raged;
         (2) On an excess basis, we will pay only our                     b. That is an underinsured motor vehicle. An
             share of the "loss" that must be paid un-                       underinsured motor vehicle is a land motor
             der insurance providing coverage on an                          vehicle or "trailer" for which the sum of all li-
             excess basis. Our share is the propor-                          ability bonds or policies at the time of an
             tion that our limit of liability bears to the                   "accident" provides at least the amounts re-
             total of all applicable limits of liability for                 quired by the applicable law where a cov-
             coverage on an excess basis.                                    ered "auto" is principally garaged but that
   5. The following Condition is added:                                      sum is less than the Limit of Insurance for
      Arbitration                                                            this coverage;
      a. If we and an "insured" disagree whether the                      c. For which an insuring or bonding company
         "insured" is legally entitled to recover dam-                       denies coverage or refuses to admit cover-
         ages from the owner or driver of an "unin-                          age except conditionally or with reservation
         sured motor vehicle" or do not agree as to                          or becomes insolvent;
         the amount of damages that are recoverable                       d. That is a hit-and-run vehicle and neither the
         by that "insured", the disagreement will be                         driver nor owner can be identified. The ve-
         settled by arbitration. Such arbitration may                        hicle must make physical contact with an
         be initiated by a written demand for arbitra-                       "insured", a covered "auto" or a vehicle an
         tion made by either party. The arbitration                          "insured" is "occupying"; or
         shall be conducted by a single neutral arbi-                     e. That is owned by an individual Named In-
         trator. However, disputes concerning cov-                            sured or "family member" and operated or
         erage under this endorsement may not be                              caused to be operated by a person without
         arbitrated. Each party will bear the ex-                             the owner’s consent in connection with
         penses of the arbitrator equally.                                    criminal activity that has been documented
      b. Unless both parties agree otherwise, arbi-                           in a police report.
         tration will take place in the county in which                   However, "uninsured motor vehicle" does not
         the "insured" lives. Local rules of law as to                    include any vehicle:
         arbitration procedures and evidence will
         apply. The decision of the arbitrator will be                    a. Owned or operated by a self-insurer under
         binding.                                                            any applicable motor vehicle law except a
                                                                             self-insurer who is or becomes insolvent
F. Additional Definitions                                                    and cannot provide the amounts required
   The following are added to the Definitions section:                       by that motor vehicle law;
   1. "Family member" means the individual Named                          b. Owned by the United States of America,
      Insured’s spouse, whether or not a resident of                         Canada, a state or political subdivision of
      the individual Named Insured’s household, and                          any of those governments or an agency of
      any other person related to such Named In-                             any of the foregoing; or
      sured by blood, adoption, marriage or regis-                        c. Designed or modified for use primarily off
      tered domestic partnership under California                            public roads while not on public roads.
      law, who is a resident of such Named Insured’s
      household, including a ward or foster child.




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POLICY NUMBER:        CPO 5912284-00                                                       COMMERCIAL AUTO
                                                                                               CA 21 59 03 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ALABAMA UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Alabama, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                 Countersignature Of Authorized Representative
Name:

Title:

Signature:

Date:


                                                  SCHEDULE


Limit Of Insurance:    $    1,000,000                                       Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Coverage                                                  C. Exclusions
   1. We will pay all sums the "insured" is legally             This insurance does not apply to:
      entitled to recover as damages from the owner             1. Any claim settled without our consent.
      or driver of an "uninsured motor vehicle". The
      damages must result from "bodily injury" sus-                However, this exclusion does not apply to a
      tained by the "insured" caused by an "accident".             settlement made with the insurer of a vehicle
      The owner’s or driver’s liability for these dam-             described in Paragraph b. of the definition of
      ages must result from the ownership, mainte-                 "uninsured motor vehicle".
      nance or use of the "uninsured motor vehicle".            2. The direct or indirect benefit of any insurer or
   2. No judgment for damages arising out of a "suit"              self-insurer under any workers’ compensation,
      brought against the owner or operator of an                  disability benefits or similar law.
      "uninsured motor vehicle" is binding on us                3. Anyone using a vehicle without a reasonable
      unless we:                                                   belief that the person is entitled to do so.
      a. Received reasonable notice of the pendency             4. "Bodily injury" arising directly or indirectly out
          of the "suit" resulting in the judgment; and             of:
        b. Had a reasonable opportunity to protect our             a. War, including undeclared or civil war;
           interest in the "suit".
                                                                   b. Warlike action by a military force, including
        However, if reasonable notice has not been                     action in hindering or defending against an
        given to us, we have the option to accept the                  actual or expected attack, by any govern-
        judgment in the suit as binding on us.                         ment, sovereign or other authority using
B. Who Is An Insured                                                   military personnel or other agents; or
   If the Named Insured is designated in the Declara-              c. Insurrection, rebellion, revolution, usurped
   tions as:                                                           power, or action taken by governmental au-
                                                                       thority in hindering or defending against
   1. An individual, then the following are "insureds":                any of these.
      a. The Named Insured and any "family mem-              D. Limit Of Insurance
          bers".
                                                                1. Regardless of the number of covered "autos",
      b. Anyone else "occupying" a covered "auto"                  "insureds", premiums paid, claims made or ve-
          or a temporary substitute for a covered                  hicles involved in the accident, the most we will
          "auto". The covered "auto" must be out of                pay for all damages resulting from any one "ac-
          service because of its breakdown, repair,                cident" is the limit of Uninsured Motorists In-
          servicing, "loss" or destruction.                        surance shown in the declarations. If there is
      c. Anyone for damages he or she is entitled to               more than one covered "auto", our limit of in-
          recover because of "bodily injury" sustained             surance for any one "accident" is the sum of
          by another "insured".                                    the limits applicable to each covered "auto",
   2. A partnership, limited liability company, corpo-             subject to a maximum of three covered "autos".
      ration or any other form of organization, then            2. No one will be entitled to receive duplicate
      the following are "insureds":                                payments for the same elements of "loss" under
      a. Anyone "occupying" a covered "auto" or a                  this Coverage Form and any Liability Coverage
          temporary substitute for a covered "auto".               Form or Medical Payments Coverage En-
          The covered "auto" must be out of service                dorsement attached to this Coverage Part.
          because of its breakdown, repair, servicing,             We will not make a duplicate payment under
          "loss" or destruction.                                   this Coverage Form for any element of "loss"
      b. Anyone for damages he or she is entitled to               for which payment has been made by or for
          recover because of "bodily injury" sustained             anyone who is legally responsible.
          by another "insured".                                    We will not pay for any element of "loss" if a
                                                                   person is entitled to receive payment for the
                                                                   same element of "loss" under any workers’
                                                                   compensation, disability benefits or similar law.




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   3. We will reduce the "insured’s" total damages by                   c. A person seeking Uninsured Motorists
       any amount available to that "insured", under                       Coverage must also promptly notify us in
       any bodily injury liability bonds or policies ap-                   writing of a tentative settlement between the
       plicable to the vehicle described in Paragraph                      "insured" and the insurer of a vehicle de-
       b. of the definition of "uninsured motor vehicle",                  scribed in Paragraph b. of the definition of
       that such "insured" did not recover as a result                     "uninsured motor vehicle" and allow us 30
       of a settlement between that "insured" and the                      days to advance payment to that insured in
       insurer of such vehicle. However, any reduc-                        an amount equal to the tentative settlement
       tion of the "insured’s" total damages will not re-                  to preserve our rights against the insurer,
       duce the limit of liability for this coverage.                      owner or operator of such a vehicle de-
       This Paragraph (D.3.) shall not apply if we ad-                     scribed in Paragraph b. of the definition of
       vance payment to the "insured" in an amount                         "uninsured motor vehicle".
       equal to the tentative settlement with the in-                3. Transfer Of Rights Of Recovery Against Others
       surer of the vehicle described in Paragraph b.                   To Us is changed by adding the following:
       of the definition of "uninsured motor vehicle".                  Our rights do not apply under this provision
E. Changes In Conditions                                                with respect to damages caused by an "acci-
   The conditions are changed for Uninsured Motor-                      dent" with a vehicle described in Paragraph b.
   ists Coverage as follows:                                            of the definition of "uninsured motor vehicle" if
                                                                        we:
   1. Other Insurance in the Business Auto and
       Garage Coverage Forms and Other Insurance                        a. Have been given prompt written notice of a
       ---- Primary And Excess Insurance Provisions in                      tentative settlement between an "insured"
       the Truckers and Motor Carrier Coverage                              and the insurer of a vehicle described in
       Forms are changed by addition of the follow-                         Paragraph b. of the definition of "uninsured
       ing:                                                                 motor vehicle"; and
        a. The reference to "other collectible insur-                   b. Fail to advance payment to the "insured" in
             ance" applies only to other collectible unin-                  an amount equal to the tentative settlement
             sured motorists insurance.                                     within 30 days after receipt of notification.
      b. Any insurance we provide with respect to a                     If we advance payment to the "insured" in an
         vehicle owned by the Named Insured or, if                      amount equal to the tentative settlement within
         the Named Insured is an individual, any                        30 days after receipt of notification:
         "family member", that is not a covered "auto"                  a. That payment will be separate from any
         for Uninsured Motorists Coverage under                             amount the "insured" is entitled to recover
         this Coverage Form, shall be excess over                           under the provisions of Uninsured Motor-
         any other collectible uninsured motorists                          ists Coverage; and
         insurance providing coverage on a primary                      b. We have a right to recover the advanced
         basis.                                                             payment.
   2. Duties In The Event Of Accident, Claim, Suit Or                   If we make any payment and the "insured" re-
      Loss is changed by adding the following:                          covers from another party, the "insured" shall
      a. Promptly notify the police if a hit-and-run                    hold the proceeds in trust for us and pay us
         driver is involved, and                                        back the amount we have paid.
      b. Promptly send us copies of the legal papers                 4. The Two Or More Coverage Forms Or Policies
         if a "suit" is brought.                                        Issued By Us General Condition does not ap-
                                                                        ply to an individual Named Insured or any "fam-
                                                                        ily member".




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   5. THE FOLLOWING CONDITION IS ADDED:                         2. "Occupying" means in, upon, getting in, on, out
      ARBITRATION                                                  or off.
      A. IF WE AND AN "INSURED" DISAGREE                        3. "Uninsured motor vehicle" means a land motor
          WHETHER THE "INSURED" IS LEGALLY                         vehicle or "trailer":
          ENTITLED TO RECOVER DAMAGES                              a. For which no liability bond or policy at the
          FROM THE OWNER OR DRIVER OF AN                              time of an "accident" provides at least the
          "UNINSURED MOTOR VEHICLE" OR DO                             amounts required by the applicable law
          NOT AGREE AS TO THE AMOUNT OF                               where a covered "auto" is principally ga-
          DAMAGES THAT ARE RECOVERABLE BY                             raged;
          THAT "INSURED", THEN THE MATTER
                                                                   b. That is an underinsured motor vehicle. An
          MAY BE          ARBITRATED. HOWEVER,                         underinsured motor vehicle is a land motor
          DISPUTES CONCERNING COVERAGE                                 vehicle or "trailer" for which the sum of all li-
          UNDER THIS ENDORSEMENT MAY NOT                               ability bonds or policies at the time of an
          BE ARBITRATED. BOTH PARTIES MUST                             "accident" provides a limit that is less than
          AGREE TO ARBITRATION. IF SO                                  the amount an "insured" is legally entitled to
          AGREED, EACH PARTY WILL SELECT AN                            recover as damages caused by the "acci-
          ARBITRATOR. THE TWO ARBITRATORS                              dent";
          WILL SELECT A THIRD. IF THEY CANNOT
          AGREE WITHIN 30 DAYS, EITHER MAY                         c. For which an insuring or bonding company
          REQUEST THAT SELECTION BE MADE                               denies coverage or is or becomes insolvent;
          BY A JUDGE OF A COURT HAVING                                 or
          JURISDICTION.        THE    ARBITRATION                  d. That is a hit-and-run vehicle and neither the
          PROCEEDINGS         SHALL     COMMENCE                       driver nor owner can be identified. The ve-
          WITHIN ONE YEAR AFTER THE DATE                               hicle must either:
          BOTH PARTIES AGREE TO SETTLE A
                                                                      (1) Hit an "insured", a covered "auto" or a
          DISPUTE           BY       ARBITRATION.
                                                                           vehicle an "insured" is "occupying"; or
          ARBITRATION       EXPENSES WILL BE
          DETERMINED BY THE ARBITRATOR                                (2) Cause "bodily injury" to an "insured"
          ACCORDING TO ALABAMA LAW.                                        without hitting an "insured", a covered
          UNLESS        BOTH     PARTIES     AGREE                         "auto" or a vehicle an "insured" is "occu-
          OTHERWISE, ARBITRATION WILL TAKE                                 pying".
          PLACE IN THE COUNTY IN WHICH THE                         However, "uninsured motor vehicle" does not
          "INSURED" LIVES. LOCAL RULES OF LAW                      include any vehicle:
          AS TO ARBITRATION PROCEDURE AND                          a. Owned or operated by a self-insurer under
          EVIDENCE WILL APPLY. A DECISION                              any applicable motor vehicle law, except a
          AGREED TO BY TWO OF THE                                      self-insurer who is or becomes insolvent
          ARBITRATORS WILL BE BINDING.                                 and cannot provide the amounts required
      B. THIS ARBITRATION PROVISION WILL                               by that motor vehicle law;
          NOT APPLY IF LEGAL ACTION HAS BEEN                       b. Designed for use mainly off public roads
          COMMENCED         BY    THE    "INSURED"                     while not on public roads.
          AGAINST THE OWNER OR OPERATOR
          OF AN "UNINSURED MOTOR VEHICLE".
F. Additional Definitions
   As used in this endorsement:
   1. "Family member" means a person related to an
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named
      Insured’s household, including a ward or foster
      child.




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                                                                                              COMMERCIAL AUTO
                                                                                                  CA 04 24 04 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    CALIFORNIA AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Coverage                                                       3. "Bodily injury" sustained by any "family mem-
   We will pay reasonable expenses incurred for nec-                 ber" while "occupying" or struck by any vehicle
   essary medical and funeral services to or for an                  (other than a covered "auto") owned by or fur-
   "insured" who sustains "bodily injury" caused by                  nished or available for the regular use of any
   "accident". We will pay only those expenses in-                   "family member".
   curred, for services rendered within three years               4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                                  and in the course of employment by you. How-
B. Who Is An Insured                                                 ever, we will cover "bodily injury" to your do-
                                                                     mestic "employees" if not entitled to workers’
   1. You while "occupying" or, while a pedestrian,                  compensation benefits. For the purposes of
       when struck by any "auto".                                    this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"                  person engaged in household or domestic
       while "occupying" or, while a pedestrian, when                work performed principally in connection with a
       struck by any "auto".                                         residence premises.
   3. Anyone else "occupying" a covered "auto" or a               5. "Bodily injury" to an "insured" while working in a
       temporary substitute for a covered "auto". The                business of selling, servicing, repairing or park-
       covered "auto" must be out of service because                 ing "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or de-           6. "Bodily injury" arising directly or indirectly out
       struction.                                                    of:
C. Exclusions                                                        a. War, including undeclared or civil war;
   This insurance does not apply to any of the follow-               b. Warlike action by a military force, including
   ing:                                                                  action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while                    actual or expected attack, by any govern-
      "occupying" a vehicle located for use as a                         ment, sovereign or other authority using
       premises.                                                         military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family                c. Insurrection, rebellion, revolution, usurped
      member" while "occupying" or struck by any                         power, or action taken by governmental au-
      vehicle (other than a covered "auto") owned by                     thority in hindering or defending against
      you or furnished or available for your regular                     any of these.
      use.




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   7. "Bodily injury" to anyone using a vehicle with-         E. Changes In Conditions
      out a reasonable belief that the person is enti-           The Conditions are changed for Auto Medical
      tled to do so.                                             Payments Coverage as follows:
   8. "Bodily injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                  Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such         2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does                 ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an              Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for              ance Provisions in the Truckers and Motor
      such a contest or activity.                                   Carrier Coverage Forms to "other collectible in-
                                                                    surance" applies only to other collectible auto
D. Limit Of Insurance                                               medical payments insurance.
   Regardless of the number of covered "autos", "in-          F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for          As used in this endorsement:
   "bodily injury" for each "insured" injured in any one           1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-                by blood, adoption, marriage or registered do-
   cal Payments Coverage shown in the Declarations.                   mestic partnership under California law, who is
   No one will be entitled to receive duplicate pay-                  a resident of your household, including a ward
   ments for the same elements of "loss" under this                   or foster child.
   coverage and any Liability Coverage Form, Unin-                 2. "Occupying" means in, upon, getting in, on, out
   sured Motorists Coverage Endorsement or Under-                     or off.
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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                                                                                              COMMERCIAL AUTO
                                                                                                  CA 04 48 12 10

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           KANSAS COMMERCIAL AUTO
                              COVERAGE CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:


   COMMERCIAL AUTOMOBILE COVERAGE PART


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Changes in Liability Coverage                             B. Changes in Definitions
   1. The paragraph within Supplementary Payments               The following is added         to   SECTION     V -
      relating to court costs taxed against the                 DEFINITIONS:
      "insured" is replaced by the following:
                                                                All reference to the term "total loss" shall mean a
      All costs taxed against the "insured" in any              motor vehicle required to be registered in this state
      "suit" against the "insured" we defend.                   that has been directly and accidentally wrecked or
   2. For coverage and limits required by the Kansas            damaged to the extent that the total cost of repair
      Financial Responsibility law, the Fellow Em-              is 75% or more of the fair market value, in accor-
      ployee Exclusion is replaced by the following:            dance with KAN. STAT. ANN. § 8-197(b)(2).
      "Bodily injury" to any fellow "employee" of the        C. If Repossessed Autos endorsement CA 20 19 is
      "insured" arising out of and in the course of the         attached, Paragraph D.3. Nonreporting Premium
      fellow "employee’s" employment or while per-              Basis does not apply.
      forming duties related to the conduct of your
      business.
   3. If the following endorsements are attached,
      they do not apply and are replaced in their en-
      tirety by the provisions of paragraph D. of this
      endorsement.
      a. Lessor ---- Additional Insured And Loss
           Payee endorsement CA 20 01; or
      b. Hired Autos Specified As Covered Autos
         You Own endorsement CA 99 16.




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D. Kansas Additional Named Insured Provisions
                                                 SCHEDULE
Name of Owner                                        Described Owned Motor Vehicle
1.                                                   1.

2.                                                      2.

3.                                                      3.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. Any vehicle described in the Schedule will be considered a covered "auto" you own and not a covered "auto"
    you hire, borrow or lease under the coverage for which it is a covered "auto".
B. LIABILITY COVERAGE and Personal Injury Protection as prescribed in the Kansas Automobile Injury Repara-
    tions Act will apply to each owner named in the Schedule as an additional named insured but only while the
    motor vehicle described in the Schedule is being used by you or on your behalf.
C. The insurance will apply to the owner only while the described vehicle is leased to you.




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Coverage Extension Endorsement

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem        Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1.   The following is added to the Who Is An Insured Provision in Section II ---- Liability Coverage:
        The following are also "insureds":
        a.   Any "employee" of yours is an "insured" while using a covered "auto" you don’t own, hire or borrow for acts
             performed within the scope of employment by you.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c.   Anyone else who furnishes an "auto" referenced in Paragraphs a. and b. above.
        d. Any person(s) or organization(s) where required by written contract or written agreement executed prior to
           any "accident" provided the "accident" arises out of operations contemplated by such contract or agreement.
   2.   The following is added to the Other Insurance Provision in the Conditions Section:
        Coverage for any person(s) or organization(s) where required by written contract or written agreement executed
        prior to any "accident" will apply on a primary basis and any insurance maintained by the additional "insured" will
        apply on an excess basis. However, in no event will this coverage extend beyond the terms and conditions of the
        coverage form.
B. Amendment ---- Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II ---- Liability Coverage are replaced by the
   following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.
C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II ---- Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1.   The following is added to the Racing Exclusion in Section II ---- Liability Coverage:
        This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
        limited to, auto or truck rodeos and other auto or truck agility demonstrations.



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     2.   The following is added to Paragraph 2. in the Exclusions of Section III ---- Physical Damage Coverage of the
          Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV ---- Physical Damage Coverage
          of the Motor Carrier Coverage Form:
          This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
          limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Lease Or Loan Gap Coverage
     In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
     "auto", less:
     a.   Any amount paid under the Physical Damage Coverage Section of the coverage form; and
     b. Any:
          (1) Overdue lease or loan payments at the time of the "loss";
          (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
          (3) Security deposits not returned by the lessor;
          (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
              loan or lease; and
          (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
     The following is added to Paragraph A.2. of the Physical Damage Coverage Section:
     We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
     disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
     The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
     If glass must be replaced, the deductible will be $100 or the deductible shown in the Declarations, whichever is less. If
     glass can be repaired and is actually repaired rather than replaced, the deductible will be waived. You have the option
     of having the glass repaired rather than replaced.
H. Hired Auto Physical Damage ---- Increased Loss of Use Expenses
     The Loss Of Use Expenses Provision of the Physical Damage Coverage Section is replaced by the following:
     Loss Of Use Expenses
     For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
     loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
     will pay for loss of use expenses if caused by:
     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided for
         any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a.   We will pay up to $750 for "loss" to personal effects which are:
          (1) Personal property owned by an "insured"; and
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          (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
          (1) The reasonable cost to replace; or
          (2) The actual cash value.
     c.   The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered "auto".
          No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of the
          following:
          (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
              documents of value.
          (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
              precious or semi-precious stones.
          (3) Paintings, statuary and other works of art.
          (4) Contraband or property in the course of illegal transportation or trade.
          (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J.   Tapes, Records and Discs Coverage
     1.   The Exclusion in Paragraph B.4.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage
          Form and the Exclusion in Paragraph B.2.c. of Section IV ---- Physical Damage Coverage in the Motor Carrier
          Coverage Form do not apply.
     2.   The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the Physical
          Damage Coverage Section:
          We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
          equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
              (a) Are the property of an "insured"; and
              (b) Are in a covered "auto" at the time of "loss".
          The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
          Damage Coverage Deductible Provision does not apply to such "loss".
K. Airbag Coverage
     The Exclusion in Paragraph B.3.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage Form
     and the Exclusion in Paragraph B.4.a. of Section IV ---- Physical Damage Coverage in the Motor Carrier Coverage Form
     do not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     If an accident is covered both by this policy or coverage form and by another policy or coverage form issued to you
     by us, the following applies for each covered "auto" on a per vehicle basis:
     1.   If the deductible on this policy or coverage form is the smaller (or smallest) deductible, it will be waived; or
     2.   If the deductible on this policy or coverage form is not the smaller (or smallest) deductible, it will be reduced by
          the amount of the smaller (or smallest) deductible.
M. Physical Damage ---- Comprehensive Coverage ---- Deductible
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
     Comprehensive Coverage for all "loss" from any one cause is $5,000.




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N. Temporary Substitute Autos ---- Physical Damage
   1.   The following is added to Section I ---- Covered Autos:
        Temporary Substitute Autos ---- Physical Damage
        If Physical Damage Coverage is provided by this coverage form on your owned covered "autos", the following
        types of vehicles are also covered "autos" for Physical Damage Coverage:
        Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
        "auto" you do own but is out of service because of its:
        1.   Breakdown;
        2. Repair;
        3.   Servicing;
        4.   "Loss"; or
        5.   Destruction.
   2.   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
        Temporary Substitute Autos ---- Physical Damage
        We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
        omissions on your part. If we make any payment to the owner, we will obtain the owner’s rights against any other
        party.
        The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
        replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a.   In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
        of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or "loss"
        is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
        liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any agent,
        servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate the
        insurance afforded by this policy.
        Include, as soon as practicable:
        (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
            notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
        (2) The "insured’s" name and address; and
        (3) To the extent possible, the names and addresses of any injured persons and witnesses.
        If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
        failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
        as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos ---- Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance ---- Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced by
   the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:

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    (1) Any covered "auto" you lease, hire, rent or borrow; and
    (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
        elected or appointed official with your permission while being operated within the course and scope of that
        "employee’s" employment by you or that elected or appointed official’s duties as respect their obligations to you.
    However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
    The following is added to the Concealment, Misrepresentation Or Fraud Condition:
    However, we will not deny coverage under this coverage form if you unintentionally:
        (1) Fail to disclose any hazards existing at the inception date of this coverage form; or
        (2) Make an error, omission, improper description of "autos" or other misstatement of information.
    You must notify us as soon as possible after the discovery of any hazards or any other information that was not
    provided to us prior to the acceptance of this policy.
S. Hired Auto ---- World Wide Coverage
    Paragraph (5)(a) of the Policy Period, Coverage Territory Condition is replaced by the following:
    (a) A covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less; and
T. Bodily Injury Redefined
    The definition of "bodily injury" in the Definitions Section is replaced by the following:
    "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
    resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.


All other terms and conditions of this policy remain unchanged.




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Who Is An Insured Amendment --- Broad Form

     Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Garage Coverage Form
Motor Carrier Coverage Form
Truckers Coverage Form

1.   The following is added to the Who Is An Insured provision of Section II, Liability Coverage:
     A. Broadened Named Insured
         1.   Any organization of yours that has been acquired or formed prior to this policy period (other than a
              partnership, limited liability company or joint venture) but is not shown in the Declarations as of the effective
              date of this Coverage Form, will nevertheless qualify as a Named Insured if:
              a.   You maintain an ownership interest of more than 50% of such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each such organization remains qualified as a Named Insured only while you maintain an ownership interest
              of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above, no such organization will qualify as a Named
              Insured under this Coverage Form if the organization:
              a.   Was newly acquired or formed by you in the preceding policy period in which we provided coverage, but
                   was not reported to us before the end of that preceding policy period;
              b. Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                 Coverage Form; or
              c.   Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                   limits of insurance.
     B. Newly Acquired or Formed Organizations as Named Insureds
         1.   Newly Acquired Or Formed Organizations Other Than Partnerships, Joint Ventures or Limited Liability
              Companies
              Any organization you newly acquire or form during this policy period (other than a partnership, limited liability
              company or joint venture) will qualify as a Named Insured if:
              a.   You have an ownership interest of more than 50% in such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each newly acquired or formed organization shall remain qualified as a Named Insured only while you
              maintain an ownership interest of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above:

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             a.   No such organization will qualify as a Named Insured under this Coverage Form if the organization:
                  (1) Is also an insured under another policy, other than a policy written to apply specifically in excess of
                      this Coverage Form; or
                  (2) Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                      limits of insurance; and
             b. Coverage will be afforded to any such organization qualifying as a Named Insured only until the end of
                this policy period if the organization is not reported to us during this policy period.
        3.   Newly Formed Partnerships, Limited Liability Companies, or Joint Ventures
             Any partnership, limited liability company or joint venture you newly form during this policy period, where:
             a.   You maintain an ownership interest;
             b. As respects any joint venture, you have agreed in the Joint Venture Agreement to name the joint venture
                as a Named insured to your policy; and
             c . Such partnership, limited liability company or joint venture has been organized under the laws of the
                 United States of America (including any state thereof), its territories or possessions,
             will qualify as a Named Insured, provided no other similar insurance was purchased for the partnership,
             limited liability company or joint venture. However, coverage under this provision is afforded only until the
             90th day after you form the partnership, limited liability company or joint venture, or the end of the policy
             period, whichever is earlier, if the organization is not reported to us during this policy period.
        4.   With regard to Paragraphs 1. and 3. above, the following additional provision applies:
             No coverage shall apply to "bodily injury" or "property damage" that results from an "accident" that occurred
             before you acquired or formed the organization.




All other terms and conditions of this policy remain unchanged.




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                                                                                              COMMERCIAL AUTO
                                                                                                  CA 99 03 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorse-                3. "Bodily injury" sustained by any "family mem-
ment, the provisions of the Coverage Form apply                      ber" while "occupying" or struck by any vehicle
unless modified by the endorsement.                                  (other than a covered "auto") owned by or fur-
A. Coverage                                                          nished or available for the regular use of any
                                                                     "family member".
   We will pay reasonable expenses incurred for nec-
   essary medical and funeral services to or for an               4. "Bodily injury" to your "employee" arising out of
   "insured" who sustains "bodily injury" caused by                  and in the course of employment by you. How-
   "accident". We will pay only those expenses in-                   ever, we will cover "bodily injury" to your do-
   curred, for services rendered within three years                  mestic "employees" if not entitled to workers’
   from the date of the "accident".                                  compensation benefits. For the purposes of
                                                                     this endorsement, a domestic "employee" is a
B. Who Is An Insured                                                 person engaged in household or domestic
   1. You while "occupying" or, while a pedestrian,                  work performed principally in connection with a
       when struck by any "auto".                                    residence premises.
   2. If you are an individual, any "family member"               5. "Bodily injury" to an "insured" while working in a
       while "occupying" or, while a pedestrian, when                business of selling, servicing, repairing or park-
       struck by any "auto".                                         ing "autos" unless that business is yours.
   3. Anyone else "occupying" a covered "auto" or a               6. "Bodily injury" arising directly or indirectly out
       temporary substitute for a covered "auto". The                of:
       covered "auto" must be out of service because                 a. War, including undeclared or civil war;
       of its breakdown, repair, servicing, loss or de-
       struction.                                                    b. Warlike action by a military force, including
                                                                         action in hindering or defending against an
C. Exclusions                                                            actual or expected attack, by any govern-
   This insurance does not apply to any of the follow-                   ment, sovereign or other authority using
   ing:                                                                  military personnel or other agents; or
   1. "Bodily injury" sustained by an "insured" while                c. Insurrection, rebellion, revolution, usurped
      "occupying" a vehicle located for use as a                        power, or action taken by governmental au-
       premises.                                                        thority in hindering or defending against
   2. "Bodily injury" sustained by you or any "family                   any of these.
      member" while "occupying" or struck by any
      vehicle (other than a covered "auto") owned by
      you or furnished or available for your regular
      use.




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   7. "Bodily injury" to anyone using a vehicle with-         E. Changes In Conditions
      out a reasonable belief that the person is enti-           The Conditions are changed for Auto Medical
      tled to do so.                                             Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                  Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such         2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does                 ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an              Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for              ance Provisions in the Truckers and Motor
      such a contest or activity.                                   Carrier Coverage Forms to "other collectible in-
                                                                    surance" applies only to other collectible auto
D. Limit Of Insurance                                               medical payments insurance.
   Regardless of the number of covered "autos", "in-          F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for          As used in this endorsement:
   "bodily injury" for each "insured" injured in any one           1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-                by blood, marriage or adoption who is a resi-
   cal Payments Coverage shown in the Declarations.                   dent of your household, including a ward or
   No one will be entitled to receive duplicate pay-                  foster child.
   ments for the same elements of "loss" under this                2. "Occupying" means in, upon, getting in, on, out
   coverage and any Liability Coverage Form, Unin-                    or off.
   sured Motorists Coverage Endorsement or Under-
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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Advisory notice to policyholders regarding the
U.S. Treasury Department’s Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department’s Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

             Foreign agents;
             Front organizations;
             Terrorists;
             Terrorist organizations; and
             Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury’s web
site - http: / / www.treasury.gov / about / organizational-structure/ offices / Pages / Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on premiums
and payments also apply.




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          MARSH RISK & INSURANCE SERVICES
          1732 N 1ST ST STE 400
          SAN JOSE, CA 95112-4508




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                                                                                                 COMMON POLICY DECLARATIONS

Policy Number   CPO 5912284-01                                          Renewal of Number     CPO            5912284-00
Named Insured and Mailing Address                                    Producer and Mailing Address
OMNICELL INC                                                         MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                   1732 N 1ST ST STE 400
MOUNTAIN VIEW CA 94043-1337                                          SAN JOSE CA 95112-4508

                                                                     Producer Code    70074-000
Policy Period: Coverage begins            09-01-2013           at 12:01 A.M.; Coverage ends 09-01-2014 at 12:01 A.M.
The name insured is              Individual                   Partnership             X     Corporation
                                   Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
PROPERTY PORTFOLIO PROTECTION                                                                     PREMIUM            $      131,933.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
GENERAL LIABILITY COVERAGE                                                                        PREMIUM            $        75,235.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
BUSINESS AUTOMOBILE                                                                               PREMIUM            $        74,420.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
CA-AUTO SPECIAL PURPOSE SURCHARGE                                                                                    $                5.40
FL-HURRICANE CAT FUND ASSESSMENT                                                                                     $              708.77
STATE FIRE MARSHALL REG ASSESS SURCHG                                                                                $               46.78
FL-DEPT OF REVENUE SURCHARGE                                                                                         $                4.00
2012 FIGA REGULAR ASSESSMENT                                                                                         $              360.70
2005 FL CITIZENS EMERGENCY SURCHARGE                                                                                 $              467.71




THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                       TOTAL               $       281,588.00
This premium does not include Taxes and Surcharges.                                           SEE INSTALLMENT SCHEDULE
Taxes and Surcharges                                                        TOTAL               $         1,593.36
                                                                                              SEE INSTALLMENT SCHEDULE
Form(s) and Endorsement(s) made a part of this policy at time of issue are listed on the SCHEDULE of FORMS and
ENDORSEMENTS.
Countersigned this                    day of
                                                                                               Authorized Representative

  THIS DECLARATION TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


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           THIS DISCLOSU RE IS ATTACHED TO AND MADE PART OF YOU R POLICY.

              DISCLOSURE OF IMPORTANT INFORMATION
            RELATING TO TERRORISM RISK INSURANCE ACT
                                                                SCHEDULE*
Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
General Liability                                                       Not Applicable - Terrorism Exclusion
Property Portfolio Protection                                           Not Applicable - Terrorism Exclusion


*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.

    A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you with
    a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under
    that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium
    shown in the Schedule above is subject to adjustment upon premium audit, if applicable.

    B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share
    equals 85% of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention
    equals 20% of the insurer’s prior calendar year direct earned premium associated with lines of insurance subject to
    TRIA. TRIA is scheduled to expire on December 31, 2014.

    C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
    Treasury.

    D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts of
    terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.

    E. Definition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the
    Secretary of State and the Attorney General of the United States:
      1. to be an act of terrorism;
      2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
      3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is subject to
      regulation in the United States), or the premises of a United States mission; and
      4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
    No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
    (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
    not exceed $5,000,000.


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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


            If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http: / / www.zurichnaproducercompensation.com

                             or call the following toll-free number: (866) 903-1192.



                  This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.




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Advisory notice to policyholders regarding the
U.S. Treasury Department’s Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department’s Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

            Foreign agents;
            Front organizations;
            Terrorists;
            Terrorist organizations; and
            Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury’s web
site - http: / / www.treasury.gov /about / organizational-structure/ offices / Pages /Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on premiums
and payments also apply.




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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Florida Hurricane Catastrophe Fund (FHCF)
Emergency Assessment - 2005 Hurricanes

The Florida legislature created the FHCF in order to provide capacity to the personal and commercial residential property
insurance market. In accordance with Florida law, deficits of the FHCF are funded through emergency assessments on
direct premiums for certain property and casualty lines of business in the state of Florida.
The current FHCF emergency assessment is for the purpose of financing the FHCF’s shortfall from the 2005 hurricane
season. In order to fund this deficit, policies effective on or after January 1, 2011 are subject to an emergency assessment
of 1.30% of premium for the following lines of business:
      Fire, Allied Lines, Multi-Peril Crop, Farmowners Multi-Peril, Homeowners Multi-Peril, Commercial Multi-Peril (liability
      and non-liability), Mortgage Guaranty, Ocean Marine, Inland Marine, Financial Guaranty, Earthquake, Other Liability,
      Products Liability, Private Passenger Auto No-Fault, Other Private Passenger Auto Liability, Commercial Auto No-
      Fault, Other Commercial Auto Liability, Private Passenger Auto Physical Damage, Commercial Auto Physical
      Damage, Aircraft, Fidelity, Surety, Burglary and Theft, Boiler and Machinery, Credit, Warranty, and Aggregate Write
      Ins for Other Lines of Insurance.
The FHCF emergency assessment applicable to this policy is not subject to premium taxes, fees, or commissions.




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       THIS DISCLOSU RE IS ATTACH ED TO A ND MA DE PART OF Y OU R POLICY.

 FLORIDA - DIS CLOS URE OF IMPORTANT INFORMATION
   RELATING TO TERRORIS M RISK INS URANCE ACT
                                                           SCHEDULE*
Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:


Please see form U-GU-630-C.
*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure of Premium
In accordance with the federal Terrorism Risk Insurance Act ("TRIA"), as amended, we are required to provide you with
a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under
that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium
shown in the Schedule above is subject to adjustment upon premium audit, if applicable.

B. Disclosure of Federal Participation in Payment of Terrorism Losses
The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share
equals 85% of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention
equals 20% of the insurer’s prior calendar year direct earned premium associated with lines of insurance subject to
TRIA. TRIA is scheduled to expire on December 31, 2014.

C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year
(January 1 through December 31): (1) the Federal Government shall not make any payment for any portion of the
amount of such losses that exceeds $100 billion; and (2) no insurer that has met its deductible under the program shall
be liable for the payment of any portion of the amount of such losses that exceeds $100 billion. If insured losses exceed
$100 billion, insured losses up to that amount are subject to pro rata allocation in accordance with procedures
established by the Secretary of Treasury.

D. Definition of Act of Terrorism under TRIA
TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney General of the United States:
  1. to be an act of terrorism;
  2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
  3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
  (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
  principally in the United States, on which United States income tax is paid and whose insurance coverage is subject to
  regulation in the United States), or the premises of a United States mission; and
  4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
  United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do
not exceed $5,000,000.




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Florida Insurance Guaranty Association
2012 Regular Assessment



The Florida Insurance Guaranty Association, Inc. ("FIGA") pays the claims of insolvent property and casualty insurance
companies. FIGA has statutory authority to fund its deficits through assessments based on the premium of subject lines
of property and casualty insurance.
To secure funds for the payment of covered claims and to pay the reasonable costs to administer the same, FIGA has
imposed a 2012 Regular Assessment on premium for the following lines: Fire, allied lines, farmowners multiple peril,
homeowners multiple peril, commercial multiple peril (non-liability portion), commercial multiple peril (liability
portion), inland marine, medical malpractice, earthquake, other liability, other liability --- occurrence, other liability -
claims made, products liability, products liability --- occurrence, products liability --- claims made, aircraft (all perils),
burglary and theft, and boiler and machinery.
For new and renewal policies effective on or after May 1, 2013, a 0.75 % regular assessment applies to premium for the
subject lines.


2012 FIGA Regular Assessment


The assessment is not subject to premium taxes, fees, or commissions.




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Illinois Civil Union Act Policyholder Notice



On June 1, 2011, Public Act 96-1513, the Religious Freedom Protection and Civil Union Act ("the Act") became
effective. Under the Act, both same-sex and opposite-sex couples may enter into a civil union. A party to a
civil union is entitled to the same legal obligations, responsibilities, protections, and benefits as are afforded or
recognized by the law of Illinois a spouse; whether they derive from statute, administrative rule, common law,
or any other source of civil or criminal law. A marriage between persons of the same sex, a civil union, or a
substantially similar legal relationship other than common law marriage, legally entered into in another
jurisdiction, shall be legally recognized in Illinois as a civil union.


CAUTION: FEDERAL LAW RIGHTS MAY OR MAY NOT BE AVAILABLE:
Illinois law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to
health insurance that are available to married persons under federal law may not be available to parties to a civil
union. For example, the Employee Retirement Income Security Act of 1974, a federal law known as "ERISA"
controls the employer /employee relationship with regard to determining eligibility for enrollment in private
employer health benefit plans. Because of ERISA, Act 91 does not state requirements pertaining to a private
employer’s enrollment of a party to a civil union in an ERISA employee welfare benefit plan. However,
governmental employers (not federal government) are required to provide health benefits to the dependents of
a party to a civil union if the public employer provides health benefits to the dependents of married persons.
Federal law also controls group health insurance continuation rights under "COBRA" for employers with 20 or
more employees as well as the Internal Revenue Code treatment of health insurance premiums. As a result,
parties to a civil union and their families may or may not have access to certain benefits under this policy,
contract, certificate, rider or endorsement that derive from federal law. You are advised to seek expert advice
to determine your rights.




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                                                              Policy Number
                                                              CPO 5912284-01
                                      SCHEDULE OF LOCATIONS

                         Zurich American Insurance Company

 Named Insured    OMNICELL INC                                Effective Date: 09-01-13
                                                                        12:01 A.M., Standard Time
 Agent Name      MARSH RISK & INSURANCE SERVICES              Agent No.     70074-000
Loc. Bldg.                     Designated Locations                         Occupancy
No.    No.                 (Address, City, State, Zip Code)
001 001 590 E MIDDLEFIELD
        MOUNTAIN VIEW, CA 94043

003 001 3661 BURWOOD DR
        WAUKEGAN, IL 60085

004 001 443 DONELSON PIKE STE 200
        STE 200
        NASHVILLE, TN 37214

005 001 1710 LITTLE ORCHARD PKWY
        SAN JOSE, CA 95125

006 001 2003 GANDY BLVD
        SAINT PETERSBURG, FL 33702

007 001 21540 DRAKE RD
        STRONGSVILLE, OH 44149

008 001 5501-A AIRPORT BLVD
        TAMPA, FL 33634

010 001 725 SYCAMORE
        MILPITAS, CA 95035




U-GU-618-A CW (10/ 02)

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                                                                             IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




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                                                                                                                 IL 00 17 11 98



                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                   and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a. Are safe or healthful; or
                                                                                 b. Comply with laws, regulations, codes or
    3.We will mail or deliver our notice to the first
                                                                                     standards.
      Named Insured’s last mailing address known to
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                         service or similar organization which makes in-
      on that date.                                                            surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
                                                                           1. Is responsible for the payment of all premiums;
   This policy contains all the agreements between
                                                                               and
   you and us concerning the insurance afforded. The
   first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
   authorized to make changes in the terms of this                             pay.
   policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                        Policy
   us and made a part of this policy.
                                                                          Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                  transferred without our written consent except in
   We may examine and audit your books and records                        the case of death of an individual named insured.
   as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                         to your legal representative but only while acting
D. Inspections And Surveys                                                within the scope of duties as your legal representa-
   1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                          anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                          with respect to that property.




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                                                                                                      IL 00 21 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:

     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any            2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                                        IL 01 12 06 10

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       FLORIDA CHANGES --- MEDIATION OR APPRAISAL
          (COMMERCIAL RESIDENTIAL PROPERTY)
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY


With respect to a loss to commercial residential               2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                     without good cause, we will pay your actual
Condition:                                                         cash expenses you incur in attending the
Mediation Or Appraisal                                             mediation conference and also pay the total
                                                                   cost of the rescheduled mediation conference.
If we and you:
                                                            B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either          amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance           the loss, in writing. In this event, each party will
   with the rules established by the Florida                   select a competent and impartial appraiser. The
   Department of Financial Services. The loss amount           two appraisers will select an umpire. If they cannot
   must be $500 or more, prior to application of the           agree, either may request that selection be made
   deductible; or there must be a difference of $500           by a judge of a court having jurisdiction. The
   or more between the loss settlement amount we               appraisers will state separately the value of the
   offer and the loss settlement amount that you               property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation          they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on       decision agreed to by any two will be binding.
   a settlement, and you have not rescinded the                Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                  2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                   umpire equally.
   We will pay the cost of conducting the mediation            If there is an appraisal, we will still retain our right
   conference. However, if:                                    to deny the claim.
   1. You fail to appear at the mediation conference           However, you are not required to submit to, or
       and you wish to schedule a new conference               participate in, any appraisal of the loss as a
       after failing to appear, then the new conference        precondition to action against us for failure to pay
       will be scheduled only upon your payment of a           the loss, if we:
       sum equal to the fees we paid for the mediation         1. Requested mediation and either party rejected
       conference at which you failed to appear. This              the mediation result; or
       sum will then be applied to the cost of the
       rescheduled mediation conference, and we will           2. Failed to notify you of your right to participate
       pay the balance, if any, of the cost of                     in the mediation program.
       conducting       the    rescheduled    mediation
       conference; or




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2. and 3. of the      Cancellation               3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the                    a. If this policy has been in effect for more
   following:                                                         than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                      issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                  the policy, of one or more of the following:
      previously issued, we may cancel this policy by                (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                   payment due on a prior policy we issued
      at the mailing address shown in the policy, and                     and due during the current policy term
      to the producer of record, advance written                          covering the same risks.
      notice of cancellation, stating the reason for                 (2) Discovery      of   fraud    or material
      cancellation, at least:                                             misrepresentation by:
       a. 10 days before the effective date of                           (a) Any insured or his or her
           cancellation if we cancel for:                                    representative in obtaining this
          (1) Nonpayment of premium; or                                      insurance; or
          (2) Discovery of fraud by:                                     (b) You or your representative in
                                                                             pursuing a claim under this policy.
            (a) Any insured or his or her
                representative in obtaining this                     (3) A judgment by a court or an
                insurance; or                                            administrative tribunal that you have
            (b) You or your representative in                            violated a California or Federal law,
                pursuing a claim under this policy.                      having as one of its necessary elements
                                                                         an act which materially increases any of
      b. 30 days before the effective date of                            the risks insured against.
         cancellation if we cancel for any other
         reason.




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         (4) Discovery of willful or grossly negligent       B. The following provision is added to the
              acts or omissions, or of any violations of        Cancellation Common Policy Condition:
              state laws or regulations establishing            7. Residential Property
              safety standards, by you or your
              representative, which             materially         This provision applies to coverage on real
              increase       any of the risks insured              property which is used predominantly for
              against.                                             residential purposes and consisting of not
                                                                   more than four dwelling units, and to coverage
         (5) Failure by you or your representative to              on tenants’ household personal property in a
              implement reasonable loss control                    residential unit, if such coverage is written
              requirements, agreed to by you as a                  under one of the following:
              condition of policy issuance, or which
              were conditions precedent to our use of               Commercial Property Coverage Part
              a particular rate or rating plan, if that             Farm Coverage Part ---- Farm Property ---- Farm
              failure materially increases any of the               Dwellings,     Appurtenant     Structures   And
              risks insured against.                                Household Personal Property Coverage Form
         (6) A determination by the Commissioner of                 a. If such coverage has been in effect for 60
              Insurance that the:                                       days or less, and is not a renewal of
                                                                        coverage we previously issued, we may
             (a) Loss of, or changes in, our
                                                                        cancel this coverage for any reason, except
                   reinsurance covering all or part of
                                                                        as provided in b. and c. below.
                   the risk would threaten our financial
                   integrity or solvency; or                        b. We may not cancel this policy solely
                                                                        because the first Named Insured has:
            (b) Continuation of the policy coverage
                   would:                                              (1) Accepted an offer of earthquake
                                                                           coverage; or
                   (i) Place us in violation of California
                       law or the laws of the state where              (2) Cancelled or did not renew a policy
                       we are domiciled; or                                issued by the California Earthquake
                                                                           Authority (CEA) that included an
                  (ii) Threaten our solvency.
                                                                           earthquake policy premium surcharge.
         (7) A change by you or your representative
                                                                        However, we shall cancel this policy if the
             in the activities or property of the
                                                                        first Named Insured has accepted a new or
             commercial or industrial enterprise,
                                                                        renewal policy issued by the CEA that
             which results in a materially added,
                                                                        includes an earthquake policy premium
             increased or changed risk, unless the
                                                                        surcharge but fails to pay the earthquake
             added, increased or changed risk is
                                                                        policy premium surcharge authorized by the
             included in the policy.
                                                                        CEA.
      b. We will mail or deliver advance written
                                                                    c. We may not cancel such coverage solely
          notice of cancellation, stating the reason for
                                                                        because corrosive soil conditions exist on
          cancellation, to the first Named Insured, at
                                                                        the premises. This restriction (c.) applies
          the mailing address shown in the policy,
                                                                        only if coverage is subject to one of the
          and to the producer of record, at least:
                                                                        following, which exclude loss or damage
         (1) 10 days before the effective date of                       caused by or resulting from corrosive soil
             cancellation         if    we cancel for                   conditions:
             nonpayment of premium or discovery of
                                                                       (1) Commercial Property Coverage Part ----
              fraud; or                                                     Causes Of Loss --- Special Form; or
         (2) 30 days before the effective date of                      (2) Farm Coverage Part ---- Causes Of Loss
             cancellation if we cancel for any other                        Form ---- Farm Property, Paragraph D.
             reason listed in Paragraph 3.a.                                Covered Causes Of Loss ---- Special.




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C. The following is added and supersedes any                          (2) The Commissioner of Insurance finds
   provisions to the contrary:                                            that the exposure to potential losses will
   Nonrenewal                                                             threaten our solvency or place us in a
                                                                          hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                        condition includes, but is not limited to,
      and C.3. below, if we elect not to renew this                       a condition in which we make claims
      policy, we will mail or deliver written notice,                     payments for losses resulting from an
      stating the reason for nonrenewal, to the first                     earthquake that occurred within the
      Named Insured shown in the Declarations, and                        preceding two years and that required a
      to the producer of record, at least 60 days, but                    reduction in policyholder surplus of at
      not more than 120 days, before the expiration                       least 25% for payment of those claims;
      or anniversary date.
                                                                          or
      We will mail or deliver our notice to the first
      Named Insured, and to the producer of record,                   (3) We have:
      at the mailing address shown in the policy.                         (a) Lost or experienced a substantial
   2. Residential Property                                                    reduction in the availability or scope
                                                                              of reinsurance coverage; or
      This provision applies to coverage on real
      property used predominantly for residential                        (b) Experienced a substantial increase
      purposes and consisting of not more than four                           in the premium charged for
      dwelling units, and to coverage on tenants’                             reinsurance     coverage      of   our
      household property contained in a residential                           residential    property      insurance
      unit, if such coverage is written under one of                          policies; and
      the following:                                                       the Commissioner has approved a plan
      Commercial Property Coverage Part                                    for the nonrenewals that is fair and
      Farm Coverage Part ---- Farm Property ---- Farm                      equitable, and that is responsive to the
      Dwellings,     Appurtenant    Structures    And                      changes in our reinsurance position.
      Household Personal Property Coverage Form                    c. We will not refuse to renew such coverage
      a. We may elect not to renew such coverage                       solely because the first Named Insured has
          for any reason, except as provided in b., c.                 cancelled or did not renew a policy, issued
          and d. below.                                                by the California Earthquake Authority, that
      b. We will not refuse to renew such coverage                     included an earthquake policy premium
          solely because the first Named Insured has                   surcharge.
          accepted an offer of earthquake coverage.                d. We will not refuse to renew such coverage
          However, the following applies only to                       solely because corrosive soil conditions
          insurers who are associate participating                     exist on the premises. This restriction (d.)
          insurers as established by Cal. Ins. Code                    applies only if coverage is subject to one of
          Section 10089.16. We may elect not to                        the following, which exclude loss
          renew such coverage after the first Named                     or damage caused by or resulting from
                                                                       corrosive soil conditions:
          Insured has accepted an offer of
          earthquake coverage, if one or more of the                  (1) Commercial Property Coverage Part ----
          following reasons applies:                                       Causes Of Loss --- Special Form; or
         (1) The nonrenewal is based on sound                         (2) Farm Coverage Part ---- Causes Of Loss
              underwriting principles that relate to the                   Form ---- Farm Property, Paragraph D.
              coverages provided by this policy and                        Covered Causes Of Loss ---- Special.
              that are consistent with the approved             3. We are not required to send notice of
              rating plan and related documents filed              nonrenewal in the following situations:
              with the Department of Insurance as                  a. If the transfer or renewal of a policy, without
              required by existing law;                                any changes in terms, conditions or rates,
                                                                       is between us and a member of our
                                                                       insurance group.




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      b. If the policy has been extended for 90 days             e. If the first Named Insured requests a
         or less, provided that notice has been given               change in the terms or conditions or risks
         in accordance with Paragraph C.1.                          covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                 end of the policy period.
         or if the first Named Insured has agreed, in            f. If we have made a written offer to the first
         writing, within 60 days of the termination of              Named Insured, in accordance with the
         the policy, to obtain that coverage.                       timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than              renew the policy under changed terms or
         60 days and you are notified at the time of                conditions or at an increased premium rate,
         issuance that it will not be renewed.                      when the increase exceeds 25%.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LOUISIANA CHANGES --- CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. Paragraph 2. of the Cancellation Common Policy                  b. Cancellation Of Renewal Policies And New
   Condition is replaced by the following, which                       Policies In Effect For 60 Days Or More
   applies unless Paragraph B. of this endorsement                     If this policy has been in effect for 60 days
   applies:                                                            or more, or is a renewal of a policy we
   2. Notice Of Cancellation                                           issued, we may cancel only for one or more
      a. Cancellation Of Policies In Effect For Fewer                  of the following reasons:
          Than 60 Days Which Are Not Renewals                         (1) Nonpayment of premium;
          If this policy has been in effect for fewer                 (2) Fraud or material misrepresentation
          than 60 days and is not a renewal of a                           made by you or with your knowledge
          policy we issued, we may cancel this policy                      with the intent to deceive in obtaining
          for any reason, subject to the following:                        the policy, continuing the policy, or in
         (1) Cancellation     for    nonpayment       of                   presenting a claim under the policy;
              premium:                                                (3) Activities or omissions by you which
              We may cancel this policy by mailing or                      change or increase any hazard insured
              delivering to the first Named Insured                        against;
              written notice of cancellation at least 10              (4) Change in the risk which increases the
              days before the effective date of                            risk of loss after we issued or renewed
              cancellation.                                                this policy, including an increase in
         (2) Cancellation for any other reason:                            exposure due to regulation, legislation,
                                                                           or court decision;
              We may cancel this policy by mailing or
              delivering to the first Named Insured                   (5) Determination by the Commissioner of
              written notice of cancellation at least 60                   Insurance that the continuation of this
              days before the effective date of                            policy would jeopardize our solvency or
              cancellation.                                                would place us in violation of the
                                                                           insurance laws of this or any other state;




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         (6) The insured s violation or breach of any               b. If the first Named Insured cancels, the
              policy terms or conditions; or                            refund will not be less than 90% of the pro
         (7) Any other reasons that are approved by                     rata unearned premium, rounded to the
              the Commissioner of Insurance.                            next higher whole dollar. The refund will be
                                                                        returned within 30 days after the effective
              We will mail or deliver written notice of                 date of cancellation.
              cancellation under Paragraph A.2.b. to
              the first Named Insured at least:                      c. We will send the refund to the first Named
                                                                        Insured unless Paragraph C.5.d. or C.5.e.
             (a) 10 days before the effective date of                   applies.
                  cancellation if we cancel for
                  nonpayment of premium; or                         d. If we cancel based on Paragraph B.2. of
                                                                        this endorsement, we will return the
             (b) 30 days before the effective date of                   premium due, if any, within 10 days after the
                  cancellation if we cancel for a reason                expiration of the 10-day period referred to in
                  described in Paragraphs A.2.b.(2)                     B.2.c. If the policy was financed by a
                  through (7) above.                                    premium finance company, or if payment
B. Paragraph 2. of the Cancellation Common Policy                       was advanced by the insurance agent, we
   Condition is replaced by the following, which                        will send the return premium directly to
   applies with respect to premium payments due on                      such payor.
   new and renewal policies, including installment                  e. With respect to any cancellation of the
   payments:                                                            Commercial Auto Coverage Part, we will
   2. Notice Of Cancellation                                            send the return premium, if any, to the
                                                                        premium finance company if the premium
      a. If your premium payment check or other
                                                                        was financed by such company.
          negotiable instrument is returned to us or
          our agent or a premium finance company                     f. When return premium payment is sent to
          because it is uncollectible for any reason,                   the premium finance company or the agent
          we may cancel the policy subject to                           of the insured, we will provide notice to
          Paragraphs B.2.b. and B.2.c.                                  you, at the time of cancellation, that a return
                                                                        of unearned premium may be generated by
      b. We may cancel the policy effective from the
                                                                        the cancellation.
          date the premium payment was due, by
          sending you written notice by certified mail,      D. With respect to the Equipment Breakdown
          or by delivering such notice to you within            Coverage Part, Paragraph 5. of the Cancellation
          10 days of the date that we receive notice of         Common Policy Condition is replaced by the
          the     returned    check     or    negotiable        following:
          instrument.                                           5. Premium Refund
       c. The cancellation notice will also advise you              If this policy is cancelled, we will return any
           that the policy will be reinstated effective             premium refund due, subject to Paragraphs
           from the date the premium payment was                    D.5.a., D.5.b., D.5.c., D.5.d. and D.5.e. The
           due, if you present to us a cashier s check              cancellation will be effective even if we have not
           or money order for the full amount of the                made or offered a refund.
           returned check or other negotiable
           instrument within 10 days of the date that                a. If we cancel, the refund will be pro rata.
           the cancellation notice was mailed.                      b. If the first Named Insured cancels, the
C. With respect to the Coverage Parts and Policies to                   refund will not be less than 75% of the pro
   which this endorsement applies, except the                           rata unearned premium, rounded to the
   Equipment Breakdown Coverage Part, Paragraph                         next higher whole dollar. The refund will be
   5. of the Cancellation Common Policy Condition is                    returned within 30 days after the effective
   replaced by the following:                                           date of cancellation.
   5. Premium Refund                                                 c. We will send the refund to the first Named
                                                                        Insured unless Paragraph D.5.d. applies.
       If this policy is cancelled, we will return any
       premium refund due, subject to Paragraphs
       C.5.a., C.5.b., C.5.c., C.5.d., C.5.e. and C.5.f.
       The cancellation will be effective even if we
       have not made or offered a refund.
       a. If we cancel, the refund will be pro rata.



Page 2 of 3                               Insurance Services Office, Inc., 2011                         IL 02 77 03 12

                                                                                               EXHIBIT B PAGE 24
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      d. If we cancel based on Paragraph B.2. of                       If we cancel a policy that has been in effect
          this endorsement, we will return the                         for 60 days or more, or is a renewal of a
          premium due, if any, within 10 days after the                policy we issued, we will give written notice
          expiration of the 10-day period referred to in               to the mortgageholder, pledgee or other
          B.2.c. If the policy was financed by a                       known person shown in the policy to have
          premium finance company, or if payment                       an insurable interest in any loss, at least:
          was advanced by the insurance agent, we                     (1) 10 days before the effective date of
          will send the return premium directly to                         cancellation,     if  we     cancel      for
          such payor.                                                      nonpayment of premium; or
       e. When return premium payment is sent to                      (2) 30 days before the effective date of
          the premium finance company or the agent                         cancellation, if we cancel for any other
          of the insured, we will provide notice to                        reason.
          you, at the time of cancellation, that a return
          of unearned premium may be generated by           G. The following is added and supersedes any other
          the cancellation.                                    provision to the contrary:
E. The Premiums Common Policy Condition is                     Nonrenewal
   replaced by the following:                                  1. If we decide not to renew this policy, we will
   Premiums                                                       mail or deliver written notice of nonrenewal to
                                                                  the first Named Insured, mortgageholder,
   1. The first Named Insured shown in the                        pledgee or other known person shown in the
      Declarations is responsible for the payment of              policy to have an insurable interest in any loss,
      all premiums.                                               at least 60 days before its expiration date, or its
   2. We will pay return premiums, if any, to the first           anniversary date if it is a policy written for a
      Named Insured, unless another person or                     term of more than one year or with no fixed
      entity is entitled to be the payee in accordance            expiration date.
      with Paragraph C. or D. of this endorsement.             2. We need not mail or deliver this notice if:
F. Paragraph f. of the Mortgageholders Condition in               a. We or another company within our
   the Commercial Property Coverage Part, Standard                     insurance group have offered to issue a
   Property Policy and the Capital Assets Program                      renewal policy; or
   (Output Policy) Coverage Part, and Paragraph 4.f.
   of the Mortgageholders Condition in the Farm                   b. You have obtained replacement coverage or
   Coverage Part are replaced by the following:                        have agreed         in writing to obtain
                                                                       replacement coverage.
           If we cancel a policy that has been in effect
           for fewer than 60 days and is not a renewal         3. Any notice of nonrenewal will be mailed or
           of a policy we issued, we will give written            delivered to the first Named Insured,
           notice to the mortgageholder, pledgee or               mortgageholder, pledgee or other known
           other known person shown in the policy to              person shown in the policy to have an
           have an insurable interest in any loss, at             insurable interest in any loss, at the last mailing
           least:                                                 address known to us. If notice is mailed, proof
                                                                  of mailing will be sufficient proof of notice.
          (1) 10 days before the effective date of
               cancellation,    if   we    cancel    for       4. Such notice to the insured shall include the
               nonpayment of premium; or                          insured s loss run information for the period
                                                                  the policy has been in force within, but not to
          (2) 60 days before the effective date of                exceed, the last three years of coverage.
               cancellation, if we cancel for any other
               reason.




IL 02 77 03 12                           Insurance Services Office, Inc., 2011                            Page 3 of 3

                                                                                              EXHIBIT B PAGE 25
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                                                            Policy Number
                                                            CPO 5912284-01
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC                                              Effective Date: 09-01-13
                                                                            12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVICES                           Agent No.   70074-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-D-365-A                03-94      POLICY COMMON DECLARATIONS
U-GU-630-C                  12-07      DISCLOSURE OF IMPORTANT INFO REL TO TRIA
U-GU-319-F                  01-09      IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-773-A                  04-08      FL-DISCLOSURE IMPORTANT INFO REL TO TRIA
U-GU-618-A CW               10-02      SCHEDULE OF LOCATIONS
IL 00 03                    09-08      CALCULATION OF PREMIUM
IL 00 17                    11-98      COMMON POLICY CONDITIONS
IL 00 21                    09-08      NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 01 12                    06-10      FL CHGS-MEDIATION/APPRL (CMML RES PROP)
IL 02 70                    09-12      CA CHANGES - CANCELLATION & NONRENEWAL
IL 02 77                    03-12      LOUISIANA CHANGES-CANC & NONRENL
U-GU-619-A CW               10-02      SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-406-A                  07-94      INSTALLMENT PREMIUM SCHEDULE
PROPERTY PORTFOLIO PROTECTION FORMS AND ENDORSEMENTS
PPP-0001                    06-06      COMMERCIAL PROP CVG PART DECLARATIONS
PPP-0101                    03-11      COMMERCIAL PROP CVG PART GEN PROVISIONS
PPP-0102                    03-11      COMMERCIAL PROPERTY CONDITIONS
PPP-0103                    03-11      COMMERCIAL PROPERTY DEFINITIONS
PPP-0110                    03-11      REAL AND PERSONAL PROPERTY COVERAGE FORM
PPP-0111                    04-09      ADDITIONAL COVERAGES FORM
PPP-0112                    03-11      ACCOUNTS RECEIVABLE CVG (REVENUE LOSS)
PPP-0114                    03-11      FINE ARTS COVERAGE FORM
PPP-0115                    06-06      INSTALLATION & SERVICE PROPERTY CVG FORM
PPP-0116                    03-11      ORIGINAL INFORMATION PROPERTY CVG FORM
PPP-0117                    03-11      TRANSIT COVERAGE FORM
PPP-0131                    03-11      BUS INC CVG FORM INCL RESEARCH & DEVEL.
PPP-0132                    04-09      EXTRA EXPENSE COVERAGE FORM
PPP-0226                    06-06      WIND & HAIL -- DD & TE DEDUCTIBLE
PPP-0301                    04-09      DEP PREM BI CVG -- SCHED LIMITS & LOCS
PPP-0302                    06-06      DEP PREM BI CVG -- UNSCHEDULED LOCS
PPP-0308                    06-06      ENABLING ENDORSEMENT
PPP-0310                    06-06      FLOOD COVERAGE
PPP-0321                    04-09      OFF-PREM SERVICE INTERRUPTION--TE
PPP-1041                    03-11      CALIFORNIA CHANGES
PPP-1091                    04-13      FLORIDA CHANGES
CP 02 99                    11-85      CANCELLATION CHANGES
UGU-681-B                   01-08      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
GENERAL LIABILITY FORMS AND ENDORSEMENTS
U-GL-D-1115-B CW            09-04      COMMERCIAL GL COVERAGE PART DECLARATIONS
U-GL-872-B CW               04-09      PREMIUM & REPORTS AGREEMENT-COMP RATED
U-GL-D-849-B CW             09-04      EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
UGL850ACW                   07-96      DEDUCTIBLE ENDORSEMENT CLAIMS-MADE
CG 00 01                    12-07      COMMERCIAL GENERAL LIABILITY COV FORM
CG 21 47                    12-07      EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG 21 73                    01-08      EXCLUSION OF CERTIFIED ACTS OF TERRORISM
CG 22 75                    07-98      PROF LIAB EXCL-COMPUTER SOFTWARE
CG 32 34                    01-05      CALIFORNIA CHANGES
U-GL-1369-A                 09-08      GL SUPPLEMENTAL COVERAGE ENDT TECHNOLOGY
U-GL-1370-A                 09-08      GL SUPPLEMENTAL COV ENDT TECH QUICK REF
   U-GU-619-A CW (10/ 02)

                                                                         EXHIBIT B PAGE 26
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                                                            Policy Number
                                                            CPO 5912284-01
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC                                              Effective Date: 09-01-13
                                                                            12:01 A.M., Standard Time
Agent Name MARSH RISK & INSURANCE SERVICES                    Agent No. 70074-000
U-GL-849-B CW         08-04    EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
UGL1171ACW            07-03    FUNGI OR BACTERIA EXCLUSION
U-GL-1175-E CW        04-12    ADL INSD A/MATIC OWNR,LESSEE,CONTRACT
U-GL-1177-E CW        04-12    ADL INSD OWNER,LESSE,CONT-SCHEDULED
U-GL-1178ACW          07-03    ASBESTOS EXCLUSION ENDORSEMENT
U-GL-1387-B CW        05-10    NOTIFI TO OTHERS OF CANC OR NONRENEW
U-GL-1517-A CW        01-12    COLLCTN OR DISTRB OF MATRL OR INFO EXCL
AUTOMOBILE FORMS AND ENDORSEMENTS
U-CA-D-600B                 06-10      BUSINESS AUTO DECLARATIONS
U-CA-531-B                  02-08      NOTICE REGARDING TERRORISM PREMIUM
CA 00 01                    03-10      BUSINESS AUTO COVERAGE FORM
CA 01 22                    04-13      KANSAS CHANGES
CA 01 43                    05-07      CALIFORNIA CHANGES
CA 02 67                    11-12      FL CHANGES - CANCELLATION AND NONRENEWAL
CA 04 24                    04-06      CA - AUTO MEDICAL PAYMENTS COVERAGE
CA 04 48                    12-10      KANSAS COMMERCIAL AUTO COVERAGE CHANGES
CA 20 48                    02-99      DESIGNATED INSURED
CA 21 30                    11-08      IL UNINSURED MOTORISTS COVERAGE
CA 21 37                    01-05      KS UNINSURED MOTORISTS COVERAGE
CA 21 48                    11-08      LA UM COVERAGE - BODILY INJURY
CA 21 53                    03-06      IL UM COVERAGE PROPERTY DAMAGE
CA 21 54                    09-09      CA UM COVERAGE - BODILY INJURY
CA 21 59                    03-06      ALABAMA UM INSURANCE
CA 21 72                    10-09      FL UNINSURED MOTORISTS COV - NON STACKED
CA 99 03                    03-06      AUTO MEDICAL PAYMENTS COVERAGE
U-CA-825A                   03-11      WHO IS AN INSURED AMENDMENT - BROAD FORM
U-CA-424-E CW               04-11      COVERAGE EXTENSION ENDORSEMENT
U-CA-163-B CW               11-06      NAMED DRIVER EXCLUSION ENDT.- EXCLUSION




   U-GU-619-A CW (10/ 02)

                                                                         EXHIBIT B PAGE 27
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                                                                                   INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amount shown below.
NAMED INSURED                                                                   POLICY NUMBER
OMNICELL INC                                                                CPO 5912284-01

PAYMENT           STANDARD                TAXES                   TOTAL
DUE               PREMIUM                 PREPAID                 PREMIUM
-------           --------                -------                 -------


09/01/13      $     93,770.00        $       1,593.36         $     95,363.36
12/01/13      $     62,606.00                                 $     62,606.00
03/01/14      $     62,606.00                                 $     62,606.00
06/01/14      $     62,606.00                                 $     62,606.00
TOTAL         $    281,588.00        $       1,593.36         $    283,181.36




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.
                                                                                                    U-GU-406-A (07/ 94)
                                                                                                         PAGE 1 OF 1


                                                                                           EXHIBIT B PAGE 28
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         1                     PREMISES ADDRESS
                                         590 E MIDDLEFIELD
                                         MOUNTAIN VIEW, CA 94043


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                            1

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         3                     PREMISES ADDRESS
                                         3661 BURWOOD DR
                                         WAUKEGAN, IL 60085


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                            2

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         4                     PREMISES ADDRESS
                                         443 DONELSON PIKE STE 200
                                         STE 200
                                         NASHVILLE, TN 37214


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                            3

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         5                     PREMISES ADDRESS
                                         1710 LITTLE ORCHARD PKWY
                                         SAN JOSE, CA 95125


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        NOT COVERED

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                            4

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         6                     PREMISES ADDRESS
                                         2003 GANDY BLVD
                                         SAINT PETERSBURG, FL 33702


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           950,000
 ELEMENT




PPP-0001 (06 06)                                                                            5

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                            POLICY PERIOD:
OMNICELL INC                              From:    9/1/2013    To:  9/1/2014
                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                          ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         7                     PREMISES ADDRESS
                                         21540 DRAKE RD
                                         STRONGSVILLE, OH 44149


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED




PPP-0001 (06 06)                                                                         6

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                            POLICY PERIOD:
OMNICELL INC                              From:    9/1/2013    To:  9/1/2014
                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                          ADDRESS

POLICY NUMBER:         CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         8                     PREMISES ADDRESS
                                         5501-A AIRPORT BLVD
                                         TAMPA, FL 33634


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED




PPP-0001 (06 06)                                                                         7

                                                                          EXHIBIT B PAGE 35
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2013    To:  9/1/2014
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:          CPO 5912284-01

SUMMARY OF PREMISES

PREMISES #         10                    PREMISES ADDRESS
                                         725 SYCAMORE
                                         MILPITAS, CA 95035


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED

FLOOD                                    $          1,000,000


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2013    To:  9/1/2014
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:                CPO 5912284-01

BLANKET LIMITS OF INSURANCE



PERSONAL PROPERTY BLANKET LIMIT OF INSURANCE                                                $   36,963,311

The above Limit of Insurance is the most we will pay for direct physical loss or damage in
any one occurrence for all "personal property" at "premises" for which the Limit of
Insurance is shown as Included in Blanket Limit of Insurance. If "personal property"
coverage does not apply at any specific "premises", the Limit of Insurance will show as
Not Covered for those "premises". If a more specific Limit of Insurance is shown for
"personal property" at a "premises", that Limit of Insurance replaces, and is not in addition
to, the Blanket Limit of Insurance.

BUSINESS INCOME AND EXTRA EXPENSE BLANKET LIMIT OF INSURANCE                                $   26,000,000

The above Limit of Insurance is the most we will pay for in any one occurrence for all loss
of "business income" and "extra expense" at "premises" for which the Limit of Insurance
is shown as Included in Blanket Limit of Insurance. If "business income" or "extra
expense" coverage does not apply at any specific "premises", the Limit of Insurance will
show as Not Covered for those "premises". If a more specific Limit of Insurance is shown
for "business income" or "extra expense" at a "premises", that Limit of Insurance
replaces, and is not in addition to, the Blanket Limit of Insurance.




PPP-0001 (06 06)                                                                                               9

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2013    To:  9/1/2014
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-01

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

CIVIL AUTHORITY
 BUSINESS INCOME                                                     30 DAYS
 EXTRA EXPENSE                                                       30 DAYS

CONSEQUENTIAL LOSS--NET LEASEHOLD                      $         25,000 PER PREMISES
 INTEREST

CONSEQUENTIAL LOSS--TENANT'S                           $       250,000 PER PREMISES
 IMPROVEMENTS AND BETTERMENTS

CONSEQUENTIAL LOSS--UNDAMAGED STOCK                    $       250,000 PER PREMISES

CONTAMINATION BY A REFRIGERANT                         $         25,000 PER PREMISES

CONTRACTUAL PENALTIES--BUSINESS INCOME $                         25,000 PER OCCURRENCE

DEBRIS REMOVAL--COVERED PROPERTY                                          COVERED

DEBRIS REMOVAL--SUPPLEMENTAL LIMIT                     $       500,000 PER OCCURRENCE

DEBRIS REMOVAL--UNCOVERED PROPERTY                     $          2,500 PER OCCURRENCE

DEFERRED PAYMENTS                                      $         50,000 PER OCCURRENCE

DELAYED NET INCOME                                                        INCLUDED

DEPENDENT BUSINESS INCOME--UNSCHEDULED$                      1,000,000 PER OCCURRENCE
 LOCATIONS




PPP-0001 (06 06)                                                                                                      10

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2013    To:  9/1/2014
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-01

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

ELECTRONIC VANDALISM
  BUSINESS INCOME                                      $        25,000 ANNUAL AGGREGATE
  DIRECT DAMAGE                                        $       100,000 ANNUAL AGGREGATE

EXPEDITING EXPENSE                                     $         25,000 PER PREMISES

EXPENSE TO REDUCE LOSS--BUSINESS INCOME                                   COVERED

EXTENDED PERIOD OF INDEMNITY--BUSINESS                                    UNLIMITED
 INCOME

EXTRA EXPENSE                                          $         25,000 PER PREMISES

FAIRS OR EXHIBITIONS
  BUSINESS INCOME                                      $         10,000 PER OCCURRENCE
  PERSONAL PROPERTY                                    $         25,000 PER OCCURRENCE

FIRE DEPARTMENT SERVICE CHARGE                         $       250,000 PER PREMISES

FIRE PROTECTIVE EQUIPMENT REFILLS                                         COVERED

FOOD AND DRUG ADMINISTRATION (FDA)                                        INCLUDED
 RECERTIFICATION--BUSINESS INCOME

INFLATION GUARD
  PERSONAL PROPERTY                                                    4 % ANNUAL

INGRESS/EGRESS
  BUSINESS INCOME                                                    30 DAYS
  EXTRA EXPENSE                                                      30 DAYS



PPP-0001 (06 06)                                                                                                      11

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2013    To:  9/1/2014
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-01

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

LOCK AND KEY REPLACEMENT                               $         25,000 PER PREMISES

MICROORGANISMS                                         $         50,000 ANNUAL AGGREGATE

MICROORGANISMS--BUSINESS INCOME                        $         25,000 ANNUAL AGGREGATE

NEWLY ACQUIRED PREMISES
 REAL PROPERTY                                         $    2,000,000 FOR 180 DAYS
 PERSONAL PROPERTY                                     $    1,000,000 FOR 180 DAYS
 BUSINESS INCOME                                       $      250,000 FOR 180 DAYS
 EXTRA EXPENSE                                         $       25,000 FOR 180 DAYS
                                                       THE ABOVE LIMITS APPLY SEPERATELY TO EACH
                                                       NEWLY ACQUIRED PREMISES

NEWLY ACQUIRED PROPERTY
 REAL PROPERTY                                         $       250,000 PER PREMISES FOR 180 DAYS
 PERSONAL PROPERTY                                     $       250,000 PER PREMISES FOR 180 DAYS

OFF-PREMISES SERVICE INTERRUPTION--DIRECT$                   1,000,000 PER PREMISES
 DAMAGE

OUTDOOR TREES, SHRUBS, PLANTS, OR LAWNS$                       250,000 PER PREMISES
                                       $                         5,000 PER TREE, SHRUB, PLANT, OR
                                                                       LAWN


POLLUTANT CLEAN UP AND REMOVAL--LAND AND$                        50,000 ANNUAL AGGREGATE PER
 WATER                                                                  PREMISES

PRESERVATION OF PROPERTY                                            180 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2013    To:  9/1/2014
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-01

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

PROFESSIONAL FEES                                      $         25,000 PER OCCURRENCE

REPORTED UNSCHEDULED PREMISES
 REAL PROPERTY                                                            NOT COVERED
 PERSONAL PROPERTY                                                        NOT COVERED
 BUSINESS INCOME                                                          NOT COVERED
 EXTRA EXPENSE                                                            NOT COVERED

REWARD PAYMENTS                                        $         25,000 PER OCCURRENCE

SALESPERSONS SAMPLES                                   $         25,000 PER OCCURRENCE

SPOILAGE--EQUIPMENT BREAKDOWN                          $       100,000 PER PREMISES

THEFT DAMAGE TO BUILDINGS                                                 COVERED

UNREPORTED PREMISES
 REAL PROPERTY                                         $       100,000    PER UNREPORTED PREMISES
 PERSONAL PROPERTY                                     $       500,000    PER UNREPORTED PREMISES
 EXTRA EXPENSE                                         $       250,000    PER UNREPORTED PREMISES
 BUSINESS INCOME                                       $       250,000    PER UNREPORTED PREMISES




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC                                           From:    9/1/2013    To:  9/1/2014
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-01

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

ACCOUNTS RECEIVABLE (REVENUE LOSS)                    $        500,000 PER PREMISES
ACCOUNTS RECEIVABLE (REVENUE                          $        500,000 PER OCCURRENCE
 LOSS)--AWAY FROM PREMISES

FINE ARTS                                             $         25,000 PER PREMISES
FINE ARTS--AWAY FROM PREMISES                         $         25,000 PER OCCURRENCE

INSTALLATION AND SERVICE PROPERTY
    STOCK TO BE INSTALLED                             $         50,000 PER OCCURRENCE--INSTALLATION
                                                                       PREMISES
                                                      $         50,000 PER OCCURRENCE--TEMPORARY
                                                                       STORAGE LOCATION
                                                      $         50,000 PER OCCURRENCE--TRANSIT
     TOOLS AND EQUIPMENT
       SCHEDULED EQUIPMENT                                             NOT COVERED
       UNSCHEDULED TOOLS & EQUIPMENT                $         1,000 PER ANY ONE ITEM
                                                    $        50,000 PER OCCURRENCE
        Unscheduled tools and equipment coverage is intended for items valued at or less than the limit per
         any one item shown above. An item valued at more than this limit must be specifically scheduled or
         no coverage applies to that item.

ORIGINAL INFORMATION PROPERTY                         $        500,000 PER PREMISES
ORIGINAL INFORMATION PROPERTY--AWAY                   $        500,000 PER OCCURRENCE
 FROM PREMISES

TRANSIT
   PERSONAL PROPERTY                                  $         25,000 PER OCCURRENCE
   BUSINESS INCOME                                    $         10,000 PER OCCURRENCE



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                            POLICY PERIOD:
OMNICELL INC                                              From:    9/1/2013    To:  9/1/2014
                                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                          ADDRESS

POLICY NUMBER:              CPO 5912284-01

DEDUCTIBLES

GENERAL DEDUCTIBLES

  PROPERTY DEDUCTIBLE                                 $            100,000 PER OCCURRENCE

  The above deductible applies to all loss, damage, cost, or expense covered by this Commercial Property
  Coverage Part, unless a specific coverage deductible is shown elsewhere on this Declarations or an
  endorsement.

  BUSINESS INCOME AND EXTRA EXPENSE                                      24 HOURS
    WAITING PERIOD

  The above waiting period applies to all loss or expense covered by Business Income and Extra Expense
  coverages contained in this Commercial Property Coverage Part, unless a specific coverage deductible
  is shown elsewhere on this Declarations or an endorsement.

  OFF PREMISES SERVICE                                                   24 HOURS
    INTERRUPTION--TIME ELEMENT WAITING
    PERIOD

  The above waiting period applies to all loss or expense covered by Off-Premises Service Interruption--Time
  Element coverage contained in this Commercial Property Coverage Part.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2013    To:  9/1/2014
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:               CPO 5912284-01

DEDUCTIBLES

CATASTROPHE PERIL DEDUCTIBLES

  FLOOD DEDUCTIBLES

  Loss or damage to Covered Property caused by "flood" is subject to separate deductible amounts. The
  deductibles applicable to "flood" are stated in the Summary of Premises section of this Declarations for
  that specific"premises". If the Flood coverage applies to loss or damage at "reported unscheduled
  premises", the deductible amounts for "reported unscheduled premises" are stated on the Catastrophe
  Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Flood Deductibles only apply to loss or damage that, but for the application of the Deductibles, would
  be paid by us under this Commercial Property Coverage Part.

  WIND AND HAIL DEDUCTIBLES

  Loss or damage to Covered Property caused by wind or hail is subject to separate deductible amounts.
  The deductibles applicable to wind and hail are stated in the Summary of Premises section of this
  Declarations for that specific "premises". If the Wind and Hail Deductibles apply to loss or damage at
  "reported unscheduled premises", the deductible amounts for "reported unscheduled premises"
  are stated on the Catastrophe Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Wind and Hail Deductibles only apply to loss or damage that, but for the application of the Deductibles,
  would be paid by us under this Commercial Property Coverage Part.

APPLICATION OF MULTIPLE DEDUCTIBLES

  Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we
  will apply each deductible separately, but the total of all deductible amounts applied will not exceed the
  highest applicable deductible for loss or damage to Covered Property and the highest applicable deductible
  for loss under "time element coverage". This provision does not apply to Covered Property and "time
  element coverage" for covered loss or damage due to "earth movement", "flood", "named storm",
  or to wind or hail when a separate Wind and Hail Deductible is applicable.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                        POLICY PERIOD:
OMNICELL INC                                          From:    9/1/2013    To:  9/1/2014
                                                      12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                      ADDRESS

POLICY NUMBER:              CPO 5912284-01

CATASTROPHE COVERAGE--LIMITS OF INSURANCE AND DEDUCTIBLES

Catastrophe Coverages shown below apply only at those "premises" that show an applicable Limit of Insurance for
that Catastrophe Coverage in the Summary of Premises section of this Declarations. If coverage applies at "reported
unscheduled premises", those Limits of Insurance and Deductibles are shown below.

CATASTROPHE COVERAGE                           LIMIT OF INSURANCE AND DEDUCTIBLES



FLOOD
 PREMISES                                      SEE SUMMARY OF PREMISES SECTION
 OCCURRENCE                                    $      1,000,000
 ANNUAL AGGREGATE                              $      1,000,000
 DEDUCTIBLE                                    SEE SUMMARY OF PREMISES SECTION

WIND AND HAIL--DIRECT DAMAGE AND TIME
 ELEMENT
  DEDUCTIBLE                          SEE SUMMARY OF PREMISES SECTION




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Commercial Property Coverage Part
General Provisions

IMPORTANT INFORMATION ABOUT THIS COMMERCIAL PROPERTY COVERAGE PART.
PLEASE READ IT CAREFULLY.


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and what
is and what is not covered.

DEFINITIONS AND MEANINGS

Throughout this Commercial Property Coverage Part, the words "you" and "your" refer to the Named Insured shown on
the Commercial Property Coverage Part Declarations. The words "we", "us", and "our" refer to the Company providing
this insurance coverage.

The word "occurrence" includes all losses or damages that are attributable directly or indirectly to one cause or a series
of similar causes. All such losses or damages will be treated as one occurrence. However, if occurrence is specifically
defined in a Coverage Form, that definition applies to the insurance provided by that Coverage Form and any
endorsements to that Coverage Form.

For purposes of this Commercial Property Coverage Part:

a.   Covered Property is the property that is insured for loss or damage under the applicable Coverage Forms or
     endorsements.

b.   Covered Income is the income that is insured for loss under the applicable Coverage Forms or endorsements.

Other words and phrases that appear in bold and in quotation marks, or in quotation marks only, have special
meaning. You will find these definitions in the Commercial Property Definitions, Coverage Forms, and in endorsements
to the Coverage Forms.

Words or phrases that are not defined are intended to have their ordinary or common meaning. Disputes concerning
the meaning of words or phrases will be resolved using the most recently published version of Webster’s Unabridged
Dictionary.

Unless otherwise stated, words that are used in the plural tense include the singular tense (and visa versa).

FORMS

In addition to these General Provisions, the Commercial Property Coverage Part contains the Common Policy
Conditions, Commercial Property Conditions, Commercial Property Definitions, and various Coverage Forms and
endorsements as shown on the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements. Some forms and endorsements may refer to other Coverage Forms, but you only have coverage under
a particular Coverage Form if it is shown on the Property Forms and Endorsements Section of the Schedule of Forms
and Endorsements. Similarly, even if the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements shows that you have a Coverage Form, you will not have coverage for each coverage and optional
coverage mentioned in that Coverage Form unless they are shown on the Commercial Property Coverage Part
Declarations.

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DEDUCTIBLES

If a deductible applies, it is described in the applicable Coverage Form or endorsement. The amount of the deductible
to be applied is shown on the Summary of Premises, Deductibles, or Catastrophe Coverage - Limits of Insurance and
Deductibles sections of the Commercial Property Coverage Part Declarations.

Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we will apply each
deductible separately, but the total of all deductible amounts applied will not exceed the highest applicable deductible
for loss or damage to Covered Property and the highest applicable deductible for loss under "time element coverage".
However, this provision does not apply to Covered Property and "time element coverage" for covered loss or damage
due to "earth movement", sprinkler leakage as a result of "earth movement", "flood", "named storm", or wind and hail.

Loss or damage to Covered Property caused by "earth movement", sprinkler leakage as the result of "earth movement",
"flood", "named storm", and wind or hail may be subject to separate deductible amounts. The Summary of Premises
section of the Commercial Property Coverage Part Declarations identify the "premises" subject to the separate
deductibles and the deductible amounts. If the Earth Movement Deductibles, Flood Deductibles, Named Storm
Deductibles, or Wind and Hail Deductibles apply to loss or damage at "reported unscheduled premises", to
"contractor’s equipment" away from "premises", or to "installation property" away from "premises", the deductible
amounts are stated on the Catastrophe Coverage - Limits of Insurance and Deductibles section of the Commercial
Property Coverage Part Declarations.

The Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, Sprinkler Leakage--Earth Movement
Deductibles, and Wind and Hail Deductibles only apply to loss or damage that, but for the application of the
Deductibles, would be paid by us under this Commercial Property Coverage Part.




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Commercial Property Conditions

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Commercial Property Conditions

This Commercial Property Coverage Part is subject to the following conditions as well as the Common Policy Conditions.

A.    ABANDONMENT

      There can be no abandonment of any property to us.

B.    APPRAISAL

      If we and you disagree on the value of the property or the amount of the loss, either may make written demand for
      an appraisal of the loss. in this event, each party will select a competent, disinterested, and impartial appraiser who
      has no direct or indirect financial interest in the claim. The two appraisers will select an umpire. If they cannot agree,
      wither may request that selection of an umpire be made by a judge of a court having jurisdiction. The appraisers will
      state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
      accordance with the Valuation provisions of the applicable Coverage Form or, if not stated, the "actual cash value"
      and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to by
      any two will be binding. Each party will:

      1.    Pay its chosen appraiser; and

      2.    Bear the other expenses of the appraisal and umpire equally.

     If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
     conditions of the policy.

C.    CONCEALMENT, MISREPRESENTATION, OR FRAUD

      This policy is void in any case of fraud by you or any other insured as it relates to this Commercial Property
      Coverage Part at any time before or after a loss. It is also void as to you or any other insured, and we will not pay
      you or any other insured, if you or any other insured, at any time before or after a loss, intentionally conceal or
      misrepresent a material fact concerning:

      1.    The insurance provided by this policy;

      2.    The Covered Property;

      3.    Your interest in the Covered Property; or

      4.    A claim under the policy.

D.    CONFORMITY TO STATUTE

      Terms of this Commercial Property Coverage Part that are in conflict with the statutes of the state in which this
      policy is issued are hereby amended to conform to such statutes.




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E.   CONTROL OF PROPERTY

     Breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions by any
     person, other than you, beyond your direction or control will not affect this insurance.

     The breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions at any
     one or more locations will not affect coverage at any location where, at the time of loss or damage, there was no
     breach.

F.   DUTIES IN THE EVENT OF LOSS OR DAMAGE

     1.   You must see that the following are done in the event of loss or damage to Covered Property:

          a.    Notify the police if a law may have been broken.

          b.    Give us prompt notice of the loss or damage, including a description of the property involved.

          c.    As soon as possible, give us a description of how, when, and where the loss or damage occurred.

          d.    Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                your expenses necessary to protect the Covered Property, for consideration in the settlement of the
                claim. This will not increase the Limit of Insurance. However, we will not pay for any subsequent loss or
                damage resulting from a cause of loss that is not a "covered cause of loss". Also, if feasible, set the
                damaged property aside and in the best possible order for examination.

          e.    At our request, give us complete inventories of the damaged and undamaged property.              Include
                quantities, costs, values, and amount of loss claimed.

          f.    As often as may be reasonably required, permit us to inspect the property proving the loss or damage
                and examine your books and records.

                Also, permit us to take samples of damaged and undamaged property for inspection, testing, and
                analysis, and permit us to make copies from your books and records.

          g.    Send us a signed, sworn proof of loss containing the information we request to investigate the claim.
                You must do this within 60 days after our request. We will supply you with the necessary forms.

          h.    Cooperate with us in the investigation or settlement of the claim.

     2.   We may examine any insured under oath, while not in the presence of any other insured and at such times as
          may be reasonably required, about any matter relating to this insurance or the claim, including an insured’s
          books and records. In the event of an examination, an insured’s answers must be signed.

     3.   Failure of an agent or one of your employees, other than an officer, partner, manager, "member", director,
          trustee, proprietor, or risk management employee, to notify us of any loss or damage that they know about will
          not affect the insurance afforded you by this Commercial Property Coverage Part.

G.   INSURANCE UNDER TWO OR MORE COVERAGES

     If two or more of this policy’s coverages apply to the same loss or damage, we will not pay more than the actual
     amount of the loss or damage.

H.   LEGAL ACTION AGAINST US

     No one may bring a legal action against us under this Commercial Property Coverage Part unless:

     1.   All of its terms have been fully complied with; and




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     2.    The action is brought within 2 years after the date on which the loss or damage commenced.

I.   LIBERALIZATION

     If we adopt any revision that would broaden the coverage under this Commercial Property Coverage Part, without
     additional premium and within 45 days prior to or during the policy period, the broadened coverage will immediately
     apply to this Commercial Property Coverage Part.

J.   LOSS PAYMENT

     The following apply unless otherwise provided in a Coverage Form in this Commercial Property Coverage Part:

     1.    In the event of loss or damage covered by this Commercial Property Coverage Part, at our option, we will
           either:

           a.    Pay the amount of the loss or damage;

           b.    Pay the cost of repairing or replacing the lost or damaged property;

           c.    Take all or any part of the property at an agreed or appraised value; or

           d.    Repair, rebuild, or replace the property with other property of like kind and quality.

           We will give notice of our intentions within 30 days after we receive the sworn proof of loss.

     2.    If we elect to exercise option 1.c. with respect to any branded or labeled "merchandise" or "finished stock", you
           may:

           a.    Stamp salvage on the "merchandise" or "finished stock", or its containers, if the stamp will not physically
                 damage the "merchandise" or "finished stock"; or

           b.    Remove the brands or labels, if doing so will not physically damage the "merchandise" or "finished stock".
                 You must relabel the "merchandise" or "finished stock", or its containers, to comply with the law.

           We will assume the cost of stamping or removal and charge it to salvage expense.

     3.    We will not pay you more than your financial interest in the Covered Property.

     4.    This Commercial Property Coverage Part provides no rights or benefits to any other person or organization,
           unless otherwise provided. Any claim for loss that is covered under this Commercial Property Coverage Part
           must be presented by you. At our option, we may adjust the loss with the owners of lost or damaged
           property if other than you. If we pay the owners, such payment will satisfy your claims against us for the
           owners’ property. We will not pay the owners more than their financial interest in the Covered Property.

     5.    We may elect to defend you against suits arising from claims of owners of Covered Property. We will do this
           at our expense.

     6.    We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you have
           complied with all of the terms of this Commercial Property Coverage Part and:

           a.    We have reached agreement with you on the amount of the loss; or

           b.    An appraisal award has been made.




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      7.    The first Named Insured shown on the Declarations will be the payee for any payment of claims that we may
            make with respect to this Commercial Property Coverage Part, subject to the Mortgageholders Condition
            below and any endorsements. However, our payment for loss or damage to "personal property of others" may
            be to the account of the owner of the property.

K.    MORTGAGEHOLDERS

      1.    Mortgageholder includes trustee.

      2.    We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown on the
            Declarations in their order of precedence, as interests may appear.

      3.    The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure
            or similar action on the building or structure.

      4.    If we deny your claim because of your acts or because you have failed to comply with the terms of this
            Commercial Property Coverage Part, the mortgageholder will still have the right to receive loss payment if the
            mortgageholder:

            a.    Pays the premium due under this Commercial Property Coverage Part at our request if you have failed
                  to do so;

            b.    Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do
                  so; and

            c.    Has notified us of any change in ownership, occupancy, or substantial change in risk known to the
                  mortgageholder.

            All of the terms of this Commercial Property Coverage Part will then apply directly to the mortgageholder.

      5.    If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or
            because you have failed to comply with the terms of this Commercial Property Coverage Part:

            a.    The mortgageholder’s rights under the mortgage will be transferred to us to the extent of the amount we
                  pay; and

            b.    The mortgageholder’s right to recover the full amount of the mortgageholder’s claim will not be
impaired.

            At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued
            interest. In this event, your mortgage and note will be transferred to us and you will pay your remaining
            mortgage debt to us.

      6.    If we cancel the policy, we will give written notice to the mortgageholder at least:

            a.    10 days before the effective date of cancellation if we cancel for your nonpayment of premium; or

            b.    30 days before the effective date of cancellation if we cancel for any other reason.

      7.    If we elect not to renew the policy, we will give written notice to the mortgageholder at least 10 days before the
            expiration date of this policy.

L.    NO BENEFIT TO BAILEE

      No person or organization, other than you, having custody of Covered Property will benefit from this insurance.




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M.   OTHER INSURANCE

     1.   You may have other insurance subject to the same plan, terms, conditions, and provisions as the insurance
          under this Commercial Property Coverage Part. If you do, we will pay our share of the covered loss or
          damage. Our share is the proportion that the applicable Limit of Insurance under this Commercial Property
          Coverage Part bears to the sum of all the Limits of Insurance covering on the same basis.

     2.   If there is other insurance covering the same loss or damage, other than that described in 1. above, we will
          pay only the least of the following amounts:

          a.    Any Limit of Insurance applicable to the Covered Property that has sustained such loss or damage;

          b.    The amount of covered loss or damage in excess of the amount due from that other insurance, whether
                you can collect on it or not, without application of any deductible amounts contained elsewhere in this
                Commercial Property Coverage Part; or

          c.    The amount we would have paid had such other insurance not existed.

     3.   Paragraphs 1. and 2. above do not apply to other insurance that is purchased as insurance in excess of the
          Limit of Insurance under this Commercial Property Coverage Part.

N.   POLICY PERIOD, COVERAGE TERRITORY

     Under this Commercial Property Coverage Part:

     1.   We cover loss or damage which happens:

          a.    During the policy period shown on the Declarations; and

          b.    Within the coverage territory.

     2.   The coverage territory is:

          a.    The United States of America (including its territories and possessions);

          b.    Puerto Rico; and

          c.    Canada.

     3.   When this Commercial Property Coverage Part provides coverage for property in transit, and the property is
          being transported by an aircraft, the coverage territory is extended to anywhere in the world for that property
          while in transit, as long as either the origin or destination is included in 2. above and neither the origin nor
          destination is in any country upon which the United States government or Canadian government has imposed
          sanctions, embargoes, or similar prohibitions.

     4.   If the property is in transit by a vessel that originated outside the coverage territory included in 2. above, then
          coverage commences when the property has been fully discharged from the vessel onto a point within the
          coverage territory.

     5.   If the property is in transit by a vessel with a destination outside the coverage territory included in 2. above,
          then coverage ends when the property has been loaded on board the vessel.

O.   RECOVERED PROPERTY

     1.   If either you or we recover any property after loss settlement, that party must give the other prompt notice. At
          your option, you may do one of the following:




                                                                                                 EXHIBIT B PAGE 54
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           a.    Keep the loss payment and transfer the recovered property to us; or

           b.    Keep the recovered property and return the loss payment to us. If you do this, we will pay for the
                 recovery expenses and the expense to repair the recovered property up to the applicable Limit of
                 Insurance.

     2.    The amount of loss can be reduced by any salvage recovery through the sale of the damaged Covered
           Property.

           a.    If, following a loss, a recovery is made from the sale of damaged Covered Property and your claim has
                 not yet been paid, we will be entitled to this salvage recovery until we have recovered our salvaging fees
                 and expenses. The balance of the salvage recovery will be paid to you and the amount of your loss
                 settlement will be reduced by this balance.

           b.    If your claim has already been paid when a salvage recovery is made, we will be entitled to the salvage
                 proceeds until we have recovered the difference between the amount we paid you for your claim and the
                 amount we would have paid you had the salvage recovery been handled in accordance with a. above.
                 Any balance of the salvage recovery will then be promptly refunded to you.

P.   SUSPENDED EQUIPMENT

     We, or any of our representatives, have the right to declare property to be "suspended equipment" when the
     property is found to be in, or exposed to, a dangerous condition, provided we have:

     1.    Told you of the dangerous condition immediately upon discovering it and informed you of its designation as
           "suspended equipment"; and

     2.    Mailed or delivered a written notice of such condition and designation, within 24 hours of the discovery, which
           notice is mailed or delivered to:

           a.    Your last known address; or

           b.    The address where said object is located.

     Any designation of "suspended equipment" can only be rescinded, in writing, by endorsement to this Commercial
     Property Coverage Part.

     Any designation of "suspended equipment" will result in your receiving a pro rata refund of premium you paid for the
     coverage of that property under this Commercial Property Coverage Part. However, any designation of "suspended
     equipment" will be in effect if we have not yet made or offered the refund.

Q.   TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If any person or organization to or for whom we make payment under this Commercial Property Coverage Part has
     rights to recover damages from another, those rights are transferred to us to the extent of our payment. That
     person or organization must do everything necessary to secure our rights and cooperate with our efforts to recover
     our payment and must do nothing after loss to impair our rights. But you may, without restricting your coverage,
     waive your rights against another party in writing:

     1.    Prior to a loss to your Covered Property or Covered Income.

     2.    After a loss to your Covered Property or Covered Income only if, at the time of loss, that party is one of the
           following:

           a.    Someone insured under this Commercial Property Coverage Part;

           b.    A business firm owned or controlled by you;




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      c.    A business firm, or an individual, that owns or controls you; or

      d.    Your tenant.

Any recovery as a result of subrogation proceedings arising out of a covered loss, net of fees (including legal fees)
and expenses we incur in such subrogation proceedings, will be shared with you in the following manner:

1.    We will add the amount of any deductible you incurred to the amount of any other provable uninsured loss
      you incurred. This is your interest.

2.    We will determine the proportion your interest bears to the entire provable loss (both insured and uninsured).
      This is your pro rata share.

3.    We will reimburse to you your pro rata share of the recovery after deduction, from the total recovery, of
      recovery expenses paid by us and after deduction of any legal fees paid by us. We will retain the balance. We
      will not owe you any amount for any legal fees or any expenses incurred by you in furtherance of any
      recovery unless those fees or expenses are approved by us in writing and in advance of your incurring those
      fees or expenses.




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Commercial Property Definitions

1. "Accounts receivable records" means accounting records you use to document the billing and collection of
   "money" due from your customers, regardless of what material it is inscribed, printed, written, or recorded upon.

2. "Actual cash value" means "replacement cost" reduced by each of the following:

   a.   Physical deterioration;

   b. Depreciation;

   c. Obsolescence;

   d. Depletion;

   e.   Non-conformity to codes, regulations, or statutes; and

   f.   The cost to reconstruct or remodel undamaged portions of "real property".

   But in no event will "actual cash value" be higher than the "market value".

3. "Amount you actually spend" means:

   a.   The total payments you make to an entity you do not own or operate at the time of loss or damage to repair
        the damaged "real property" or "personal property"; and

   b. For goods and services provided by entities you own or operate at the time of loss or damage to repair the
      damaged "real property" or "personal property":

        1) Direct payroll cost, excluding fixed payroll, for labor directly chargeable to the repair, rebuilding, or
           replacement of the damaged property;

        2) "Replacement cost" for your "merchandise" used in the repair, rebuilding, or replacement of the damaged
           property;

        3) Regular cash selling price, less any discounts and expenses you otherwise would have had, for your
           "finished stock" used in the repair, rebuilding, or replacement of the damaged property; and

        4) "Replacement cost" for your property other than "merchandise" or "finished stock" used in the repair,
           rebuilding, or replacement of the damaged property if replaced within 24 months, otherwise your original
           cost.

4. "Banking premises" means the interior of that portion of any building occupied by a banking institution or similar
   safe depository.

5. "Business income" means:

   a.   "Net income"; plus

   b. "Continuing expenses".
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6.   "Cessation of work" means any period of time when your business activities have ceased.

     "Cessation of work" does not mean:

     a.   Any period of time during which your business activities would not normally have been conducted, such as
          weekends or holidays;

     b. Seasonal activity planned in advance;

     c. Schedule delays due to weather; or

     d. Labor actions beyond your control.

7. "Contaminant" means any substance that creates an impurity when it mixes with or comes into contact with
   another substance.

8. "Continuing expenses" means:

     a.   Your continuing normal operating expenses including, but not limited to:

          1) Payroll;

          2) Rental payments as tenants; and

          3) Factory overhead; and

     b. Charges, which are the legal obligations of your tenants and have not been satisfied, and which are now your
        obligation.

     "Continuing expenses" does not mean:

     a.   "Extra expense";

     b. Expediting expense; or

     c.   "Research and development continuing expenses";

     d. Depreciation of "stock", plant, or machinery damaged by a "covered cause of loss"; or

     e. Bad debts.

9. "Contractor’s employees’ property" means tools and clothing owned by your officers, directors, partners,
   "managers", "members", or employees (including leased or temporary employees).

10. "Contractor’s equipment" means:

     a.   Equipment, tools, machinery, and other mechanical and electrical devices of a mobile nature used for
          contracting, installation, erection, repair, or moving operations or projects;

     b. Self-propelled vehicles designed and used primarily to carry mounted equipment;

     c.   Vehicles designed for highway use that are unlicensed and not operated on public roads; and

     d. Watercraft, marine floats, or barges less than 26 feet long,

     owned by you or owned by others in your care, custody, or control.

     "Contractor’s equipment" does not mean:
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    a.   Contraband or property in the course of illegal transportation or trade;

    b. Aircraft;

    c. Railroad cars;

    d. "Contractor’s employees’ property"; or

    e. Recreational watercraft.

11. "Contributing locations" means locations owned and operated by others who:

    a.   You depend on to deliver materials or services to you, or others for your account; or

    b. Pay you royalties, licensing fees, or commissions under written agreements.

    "Contributing locations" does not mean:

    a.   Locations owned and operated by others who you depend upon to provide only power, communications, or
         other utility services to you; or

    b. "Manufacturing locations".

12. "Covered cause of loss" means a fortuitous cause or event, not otherwise excluded, which actually occurs during
    this policy period.

    "Covered cause of loss" does not mean:

    a.   A fortuitous cause or event, whether or not excluded, which actually occurred prior to this policy period,
         regardless of the date on which it first becomes manifest or is first discovered; or

    b. Damage.

13. "Defective materials" means materials which are broken, inadequate, improper, faulty, flawed, improperly specified,
    contaminated, unfit for the purpose intended, or which contain a latent defect.

14. "Denial of service" means the direction of a high volume of inquiries to web site or e-mail destinations, effectively
    denying or limiting legitimate access, whether or not known to you.

15. "Dependent premises" means the following types of locations:

    a.   "Contributing locations";

    b. "Recipient locations";

    c.   "Manufacturing locations"; and

    d. "Leader locations".

    If the location is described by an address only, it includes the area associated with that address in which you or
    the occupant are legally entitled to conduct "operations" and includes that area extending 1,000 feet beyond that
    address.

    If the location is described by an address and further described by geographic boundaries, only the area within
    such boundaries, and within 1,000 feet thereof, is included.

    "Dependent premises" does not mean any of the above locations within any country in which the United States
    government or Canadian government have imposed sanctions, embargoes, or similar prohibitions.
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16. "Duplicate information property" means recorded information in any format which can either be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Duplicate information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities"; or

    e.   "Electronic data processing hardware".

17. "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
    or subsidence other than "sinkhole collapse".

    "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

18. "Electronic data processing hardware" means:

    a.   A network of electronic components capable of accepting information and processing it according to a plan
         and which exists primarily to generate information in tangible form or on electronic media, as well as air
         conditioning equipment and fire protection equipment used exclusively for data processing operations;

    b. Telephone equipment; and

    c.   Facsimile equipment.

    "Electronic data processing hardware" does not mean computers, devices, or components which:

    a.   Exist primarily to control or operate machinery or equipment or to produce "stock in process" or "finished
         stock"; or

    b. Are "stock".

19. "Electronic vandalism" means:

    a.   Willful or malicious electronic alteration, manipulation, tampering, or destruction of "accounts receivable
         records", "duplicate information property", "electronic data processing hardware", or "original information
         property";

    b. Introduction of a virus, code, or similar instruction that disrupts the normal operation of "electronic data
       processing hardware"and may destroy, alter, contaminate, or compromise the integrity, quality, or
       performance of "accounts receivable records", "duplicate information property", "electronic data processing
       hardware", or "original information property";

    c.   Unauthorized viewing, copying, or use of any electronic "accounts receivable records", "duplicate information
         property", or "original information property"; and

    d. "Denial of service".

20. "Equipment breakdown cause of loss" means any of the following:

    a.   Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices,
         wiring, or equipment;
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    b. Explosion, rupture, or bursting of steam boilers, steam pipes, steam engines, steam turbines, gas turbines,
       or apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
       explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
       within the flues or passages through which the products of combustion pass;

    c.   Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
         apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
         explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or
         within the flues or passages through which the gases of combustion pass;

    d. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment,
       engines other than steam engines, or pressure vessels when owned, operated, or controlled by you; and

    e.   Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property
         owned, operated, or controlled by you.

21. "Extended period of indemnity" means the period of time that begins on the date the "period of restoration" ends
    and ends on the earlier of:

    a.   The date your gross sales, including rental income, are restored to the amount that would have existed if no
         direct physical loss or damage occurred; or

    b. The date calculated by adding the number of days shown on the Declarations for Extended Period of
       Indemnity--Business Income to the date the "period of restoration" ended.

    "Extended period of indemnity" does not mean "research and development extended period of indemnity".

22. "Extra expense" means operating expenses you incur during the "period of restoration" that would not have been
    necessary to incur if there had been no direct physical loss or damage to the property, provided such expenses
    are incurred:

    a.   In an attempt to avoid a "suspension" of or to continue those "operations" which have been affected by the
         direct physical loss or damage to the property; or

    b. In an attempt to minimize the "period of restoration".

    "Extra expense" does not mean:

    a.   Costs incurred to purchase "merchandise" as a replacement for your "finished stock";

    b. "Continuing expenses" or "research and development continuing expenses";

    c.   Costs to repair, rebuild, or replace any property, or research or restore "original information property"; or

    d. Amounts incurred on financing or investment activity conducted for your own account.

23. "Fine arts" means paintings, etchings, pictures, tapestries, and other bona fide works of art, rarity, historical
    value, or artistic merit such as rugs, statuary, marbles, bronzes, antiques, furniture, rare books, antique silver,
    manuscripts, porcelains, rare glass, and bric-a-brac.

24. "Finished stock"means "goods you have manufactured" which are completed and ready for packing, shipment,
    installation, or sale.

    "Finished stock"does not mean "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale on a "premises" or "reported unscheduled premises" of any retail outlet at which you
    are insured by Business Income Insurance.


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25. "Fire protection sprinkler system piping" means valves, fittings, and piping located above the lowest floor, and
    limited to risers, check valves, control valves, gauges, feed mains, cross mains, branch lines, arm-overs, sprigs,
    and automatic sprinkler heads located inside the building as part of the fire protection sprinkler system.

26. "Flood" means a general and temporary condition of partial or complete inundation of land areas from:

    a.   The overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or
         man-made lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans, or any other body of water or
         watercourse;

    b. Waves or tides, including tsunami;

    or their spray, whether driven by wind or not.

27. "Fungus" means any type or form of fungus, mold, or mildew and any mycotoxins, spores, scents, or by-
    products produced or released by fungi.

28. "Goods you have manufactured" means:

    a. Goods manufactured at a location you own or operate; and

    b. Goods manufactured at a location that you do not own or operate, provided:

         1) You contracted for the goods to be manufactured exclusively for you; and

         2) You are the owner or licensee of the design, patent, trademark, or copyright for the goods.

29. "Gross earnings" means the sum of:

    a.   Total net sales value of production in manufacturing "operations";

    b. Total net sales of "merchandise" in mercantile "operations"; and

    c. Other earnings derived from "operations",

    Less the cost of:

    a.   "Raw stock" used in the production and manufacturing "operations" in a. above;

    b. Supplies consisting of materials consumed directly in the conversion of such "raw stock" into "finished stock"
       or in supplying the services sold by you;

    c.   "Merchandise" sold, including packaging materials; and

    d. Services purchased from others (not your employees, including leased or temporary employees) for resale
       that do not continue under contract.

30. "Gross leasehold interest" means:

    a.   The monthly rental value of the "premises" or "reported unscheduled premises" you rent or lease on the date
         the direct physical loss or damage occurs; minus

    b. The actual monthly rent you pay, including taxes, insurance, janitorial, or other services you pay as part of
       the rent.

         Example:

         Monthly rental value of your leased "premises":                                     $1,000

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         Monthly rent including taxes, insurance, janitorial,
         or other services that you pay for as part of the rent:                               - $700

    "Gross leasehold interest"                                                                  $300

31. "Improvements and betterments" means fixtures, alterations, installations, or additions:

    a.   Comprising a part of the building you occupy as a tenant but do not own;

    b. Made or acquired at your expense exclusive of rent paid by you; and

    c.   Which you cannot remove legally.

32. "Installation property" means materials, supplies, equipment, and machinery, and any other similar property
    owned by you or owned by others, which are in your care, custody, or control, that you are contractually
    responsible for, which are intended to become a permanent part of an "installation or service premises".

    "Installation property" does not mean "landscaping materials".

33. "Installation or service premises" means a location that is not owned, leased, or operated by you, at which you are
    installing or servicing property.

    "Installation or service premises" does not mean a "rigging premises".

34. "Landscaping materials"means trees, shrubs, plants, grass, lawns, and other landscaping materials owned by
    you or owned by others, which are in your care, custody, or control that you are contractually responsible for,
    and intended to become a permanent part of an "installation or service premises".

    "Landscaping materials"does not mean trees, shrubs, plants, grass, lawns, and other landscaping materials that
    exist as a permanent part of an "installation or service premises" prior to the start of the project.

35. "Leader locations"means locations owned and operated by others who you depend on to attract customers to
    your business.

36. "Malfunction" means any abnormal or imperfect function, including the failure to function, of machinery, systems,
    apparatus, or equipment.

37. "Manager" means a person elected by the "members" to direct the limited liability company’s business affairs.

38. "Manufacturing locations" means locations owned and operated by others who you depend on to manufacture
    products for delivery to your customers under contract of sale.

39. "Market value" means the price which the property might be expected to realize if offered for sale in a fair market
    on the date of loss or damage.

40. "Member" means an owner of a limited liability company represented by its membership interest, who also may
    serve as a "manager".

41. "Merchandise" means:

    a. Goods held for sale or installation by you which are not "goods you have manufactured"; and

    b. "Goods you have manufactured"which are completed and ready for packing, shipment, installation, or sale
       on a "premises" or "reported unscheduled premises" of any retail outlet at which you are insured by Business
       Income Insurance.

42. "Microorganism" means any type or form of organism of microscopic or ultramicroscopic size including, but not
    limited to, "fungus", wet or dry rot, virus, algae, or bacteria, or any by-product.

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43. "Mistake"means any act or decision, whether intentional or negligent, including the failure to act or decide, of any
    person, group, organization, or governmental body which creates or allows a result which is unexpected,
    inadequate, defective, faulty, or otherwise unsuitable for the intended purpose.

44. "Money" means:

    a.   Currency, coins, bullion, or bank notes, whether or not in current use; and

    b. Travelers checks, register checks, food stamps, and money orders held for sale to the public.

45. "Monthly leasehold interest" means the original costs you paid for:

    a. Bonus Payments ---- "Money" you originally paid to acquire your lease, but not including rent, prepaid rent, or
       security; and

    b. Prepaid Rent - Advance rent you paid that will not be refunded to you, other than periodic rental payments,

    divided by the number of months left in your lease at the time of the expenditure.

    Example:

    Original cost of Bonus Payment                                                                $4,000

    With 20 months left in the lease at the time of Bonus Payment                                    ÷20

    "Monthly leasehold interest"                                                                    $200

46. "Net income" means the net profit or loss, including rental income from tenants, that would have been earned or
    incurred before taxes.

47. "Net leasehold interest" means the sum of:

    a.   The net present value of your "gross leasehold interest" for each remaining month of your lease, discounted
         at the Prime Rate prevailing on the date the direct physical loss or damage occurs, rounded to the nearest
         whole number; plus

    b. Your "monthly leasehold interest" times the number of months left in your lease on the date direct physical
       loss or damage occurs, rounded to the nearest whole number.

    Example:

    With 20 months left in lease and 10% Prime Rate:

    "Gross leasehold interest"                                                                      $300

    Net Present Value Factor x 18.419 for 20 months                                             X 18.419

         Subtotal a.                                                                              $5,526

    "Monthly leasehold interest"                                                                    $200

    With 20 months left in lease                                                                     x 20

         Subtotal b.                                                                              $4,000

    "Net leasehold interest"

    Subtotal a. + Subtotal b.                                                                     $9,526

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48. "Newly acquired premises" means a permanently fixed location you own, lease, rent, or control. The location
    becomes a "newly acquired premises" on the later of:

    a.   The date you obtain possession or control of the location; or

    b. The date "real property" or "personal property" in which you have an insurable interest is first placed at the
       location.

    "Newly acquired premises" does not mean:

    a.   A "premises";

    b. An "unreported premises";

    c.   A "reported unscheduled premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "rigging premises"; or

    g. A "temporary storage location".

49. "Off-premises service interruption" means the interruption of power or other utility services supplied to a covered
    location, however caused, if the interruption takes place away from the covered location.

50. "Operations" means:

    a.   Your business activities occurring at the covered location prior to the physical loss or damage; and

    b. The covered location is tenantable prior to the physical loss or damage.

    "Operations" does not mean:

    a.   The activities of those with whom you do business;

    b. Investing or financing activities conducted for your own account; or

    c.   "Research and development operations".

51. "Original information property" means recorded information in any format which cannot be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including
    any material it is recorded upon.

    "Original information property" does not mean:

    a.   "Stock";

    b. "Fine arts";

    c.   "Money";

    d. "Securities";

    e.   "Electronic data processing hardware"; or

    f.   "Research and development property".

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52. "Outdoor trees, shrubs, plants, or lawns" means outdoor trees, shrubs, plants, or lawns you own.

    "Outdoor trees, shrubs, plants, or lawns" does not mean:

    a. Growing crops;

    b. Standing timber;

    c.   "Landscaping materials"; or

    d. "Stock".

53. "Period of restoration" means the period of time that begins when:

    a.   The direct physical loss or damage that causes "suspension" of your "operations" occurs; or

    b. The date "operations" would have begun if the start of "operations" is delayed because of loss of or damage
       to any of the following:

         1) "Real property", whether complete or under construction;

         2) Alterations or additions to "real property"; or

         3) "Personal property":

             a) Used in such construction, alterations, or additions;

             b) Incidental to the occupancy of the area intended for construction, alteration, or addition; or

             c) Incidental to the alteration of the occupancy of an existing building or structure.

    If you resume "operations", with reasonable speed, the "period of restoration" ends on the earlier of:

    a.   The date when the location where the loss or damage occurred could have been physically capable of
         resuming the level of "operations" which existed prior to the loss or damage, if the location had been restored
         to the physical size, construction, configuration, location, and material specifications which would satisfy the
         minimum requirements necessary to obtain all required building permits, occupancy permits, operating
         licenses, or similar documents; or

    b. The date when a new permanent location is physically capable of resuming the level of "operations" which
       existed prior to the loss or damage, if you resume "operations" at a new permanent location.

    If you do not resume "operations", or do not resume "operations" with reasonable speed (whether at your
    "premises" or "reported unscheduled premises" or elsewhere), the "period of restoration" will end on the date
    when the location where the loss or damage occurred could have been restored to the physical size,
    construction, configuration, location, and material specifications which existed at the time of loss or damage, with
    no consideration for any time:

    a.   Which would have been required to make changes in order to satisfy the minimum requirements necessary to
         obtain all required building permits, occupancy permits, operating licenses, or similar documents; and

    b. Which would have been necessary to make the location physically capable of resuming the level of
       "operations" which existed prior to the loss or damage after the completion of repairs, replacement, or
       rebuilding.

    "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
    or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
    neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

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   The expiration date of this policy will not cut short the "period of restoration".

54. "Personal property" means:

   a.   "Your personal property";

   b. "Your employees’ personal property";

   c.   "Personal property of others" in your care, custody, or control;

   d. The value of labor, materials, or services furnished or arranged by you on "personal property of others";

   e.   Your interest in "improvements and betterments" to buildings or structures; and

   f.   Glass which, as a tenant, you are required to insure.

   "Personal property" does not mean:

   a.   Naturally occurring water;

   b. Growing crops or standing timber;

   c.   "Outdoor trees, shrubs, plants, or lawns";

   d. "Money", bills, notes, or "securities";

   e.   Contraband or property in the course of illegal transportation or trade;

   f.   Animals, unless:

        1) Owned by others and boarded by you; or

        2) Owned by you as "stock" while inside of buildings;

   g. "Fine arts";

   h. "Original information property";

   i.   Vehicles or self-propelled machines (including aircraft or watercraft) that:

        1)    Are licensed for use on public roads; or

        2)    Are operated principally away from a "premises" or "reported unscheduled premises";

        But not:

        1)    Vehicles or self-propelled machines you manufacture, process, warehouse, or hold for sale, other than
              vehicles licensed for use on public roads;

        2)    Vehicles licensed for use on public roads that you manufacture, process, warehouse, or hold for sale,
              while on a "premises" or "reported unscheduled premises"; or

        3)    Unpowered watercraft while out of water on a "premises" or "reported unscheduled premises";

   j.   Property contained in underground mines, mine shafts, caverns, open pits, or quarries; or

   k.   "Research and development property".


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55. "Personal property of others" means personal property not owned by you, your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

56. "Pollutants" means any solid, liquid, gaseous, or thermal irritant, or "contaminant", including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned, or reclaimed.

57. "Premises" means:

    A location scheduled on the Declarations for this Commercial Property Coverage Part.

    a.   If the location is described by an address only, it includes the area associated with that address in which you
         are legally entitled to conduct your business activities and includes that area extending 1,000 feet beyond the
         address.

    b. If the location is described by an address and further described by geographic boundaries, it includes only
       the area within such geographic boundaries in which you are legally entitled to conduct your business
       activities and includes that area extending 1,000 feet beyond that area.

         If you are a tenant, for purposes of "time element coverage", "premises" includes those portions of the
         location not rented or intended to be rented to others.

58. "Raw stock" means material in the state in which you acquired it for conversion into "finished stock".

59. "Real property" means:

    a. Buildings;

    b. Permanent structures;

    c.   Equipment and apparatus used to maintain or service the buildings, structures, or their "premises" or
         "reported unscheduled premises"; and

    d. Materials, equipment, supplies, and temporary structures used for making additions, alterations, or repairs to
       the buildings or permanent structures.

    "Real property" does not mean:

    a.   "Fine arts";

    b. Land;

    c.   Water;

    d. Underground mines, mine shafts, caverns, open pits, or quarries;

    e. Growing crops or standing timber;

    f.   "Outdoor trees, shrubs, plants, or lawns";

    g. "Research and development property";

    h. "Contractor’s equipment";

    i.   "Contractor’s employees’ property";

    j.   "Installation property";

    k.   "Landscaping materials"; or

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    l.   Property of others in your care, custody, or control for "rigging".

60. "Recipient locations" means locations owned or operated by others, who you depend on to accept your products
    or services.

61. "Replacement cost" means the lesser of:

    a.   Repair Cost

         The cost to repair the "real property" or "personal property" at the time of direct physical loss or damage with
         new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance with
         all applicable zoning, land use, or construction codes in force at the time of loss or damage. This includes
         the cost to reconstruct or remodel undamaged portions of the "real property" when those costs are a
         consequence of enforcement of such codes.

    b. Rebuild Cost

         The cost to rebuild the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss or damage. Unless
         otherwise required at the time of loss by the applicable codes, this cost will be based on rebuilding at the
         same location where the loss occurred.

    c.   Replace Cost

         The cost to replace the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
         with all applicable zoning, land use, or construction codes in force at the time of loss. Unless otherwise
         required at the time of loss by the applicable codes, this cost will be based on replacing at the same location
         where the loss or damage occurred.

         If property of the same kind and quality is no longer available, we will pay to replace it with other property of
         similar quality and function, including property of greater processing capacity.

         "Real property"and "personal property" valuation includes the cost you paid for non-refundable or non-
         transferable extended warranties, maintenance contracts, or service contracts which were still in force at the
         time of loss or damage and are no longer valid as a result of loss of or damage to "real property" or "personal
         property".

         If there is an ordinance or law in force at the time of loss or damage that regulates zoning, land use, or
         construction of "real property" or "personal property" at the "premises" or "reported unscheduled premises",
         and if loss or damage covered by this Commercial Property Coverage Part causes a demolition order to be
         issued pursuant to any such ordinance or law, "replacement cost" includes the costs to demolish and clear
         the site of the undamaged portion of the "real property" or "personal property".

    "Replacement cost" does not mean:

    a.   Costs associated with the enforcement of any ordinance or law which requires any insured or others to test
         for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond to, or assess the
         effects of, "pollutants" or "microorganisms";

    b. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
       remodeling, or remediation of property due to contamination by "pollutants" or due to the presence, growth,
       proliferation, spread, or any activity of "microorganisms"; or

    c.   Costs to comply with any ordinance or law that you were required to comply with before the loss or damage.



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62. "Reported unscheduled premises" means permanently fixed locations for which you have submitted a schedule
    on file with us containing:

    a.   The address of the location and includes that area extending 1000 feet beyond the address;

    b. An identification of the property, business income, or extra expense to be covered; and

    c.   The value of such identified property, business income, or extra expense.

    If you are a tenant, for purposes of "time element coverage", "reported unscheduled premises" includes those
    portions of the location not rented or intended to be rented to others.

    "Reported unscheduled premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   An "unreported premises";

    d. A fair or exhibition;

    e.   An "installation or service premises";

    f.   A "temporary storage location";

    g. A "rigging premises"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

63. "Research and development continuing expenses" means your continuing normal operating expenses that are
    directly attributable to "research and development operations", including payroll, rental payments as tenants, and
    factory overhead.

64. "Research and development extended period of indemnity" means the period of time that begins on the date the
    "period of restoration"ends and ends on the earlier of:

    a.   The effective date of new contracts that will utilize that portion of your "research and development continuing
         expenses"attributable to a suspension, lapse, or cancellation for which coverage is provided under
         paragraph b. of the Extended Period of Indemnity Additional Coverage; or

    b. The date calculated by adding the number of days shown on the Declarations for Research and Development
       Extended Period of Indemnity--Business Income to the date the "period of restoration" ended.

65. "Research and development operations" means your business activities where "research and development
    property" is being planned, created, developed, or tested.

66. "Research and development property" means:

    a.   Information which cannot be duplicated or purchased from another source, including any material it is
         inscribed, printed, written, or recorded upon, including documents, manuscripts, records, data, or programs,
         developed or used in conjunction with any research and development project;

    b. Original or experimental property;

    c.   Prototypes or samples;

    d. Experiments in progress;
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    e. Biological products, processes, or cultures; and

    f.   "Research animals".

    "Research and development property" does not mean:

    a.   Animals, other than "research animals";

    b. "Money", bills, notes, or "securities";

    c.   "Stock";

    d. "Fine arts"; or

    e. Growing plants or crops.

67. "Research animal" means any multi-cellular organism that is used in your "research and development operations".

68. "Rigging" means rigging, hoisting, moving, erecting, lowering, and millwright work.

69. "Rigging premises" means a location for the purpose of:

    a.   "Rigging";

    b. Assembling or dismantling work done in connection with a "rigging" project; or

    c. Operations incidental to a "rigging", assembling, or dismantling project.

70. "Salespersons samples" means "personal property" that is in the custody of one of your salespersons and used
    only for sample purposes.

71. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or
    property and includes:

    a.   Tokens, tickets, revenue, and other stamps whether or not in current use; and

    b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you.

    "Securities" does not mean:

    a.   "Money"; or

    b. Lottery tickets held for sale.

72. "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by the
    action of water on limestone or similar rock formations.

    "Sinkhole collapse" does not mean the:

    a. Sinking or collapse of land into man-made underground cavities;

    b. Sinking or collapse of land caused by or resulting from "flood"; or

    c.   Cost of filling sinkholes.




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73. "Specified causes of loss" means the following:

    a.   Fire;

    b. Lightning;

    c.   Explosion;

    d. Windstorm or hail;

    e. Smoke;

    f.   Aircraft or vehicles;

    g. Riot or civil commotion;

    h. Vandalism;

    i.   Leakage from fire extinguishing equipment;

    j.   "Sinkhole collapse";

    k.   Volcanic action;

    l.   Falling objects, excluding loss or damage to:

         1) "Personal property" in the open; or

         2) The interior of buildings or property inside buildings, unless the roof or an outside wall of the building is
            first damaged by a falling object;

    m. Weight of snow, ice, or sleet;

    n. Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
       steam; and

    o. "Equipment breakdown cause of loss", excluding loss of or damage to "stock" caused by the discharge,
       dispersal, release, or escape of refrigerants.

74. "Stock" means the following:

    a.   "Raw stock";

    b. "Stock in process";

    c.   "Finished stock"; and

    d. "Merchandise".

75. "Stock in process" means "raw stock" which has undergone aging, seasoning, mechanical, or other process of
    manufacture but which has not become "finished stock".

76. "Suspended equipment" means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping
    and its accessory equipment, and any mechanical or electrical machine or apparatus used for the generation,
    transmission, or utilization of mechanical or electrical power, provided we have complied with the requirements
    described in the Suspended Equipment Condition contained in the COMMERCIAL PROPERTY CONDITIONS.


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77. "Suspension" means:

    a.   The slowdown or cessation of your business activities; or

    b. That a part or all of the covered location is rendered untenantable.

78. "Temporary storage location" means a permanently fixed location where "stock" or "installation property" that is to
    become a permanent part of an "installation or service premises" is stored while waiting to be delivered to an
    "installation or service premises":

    a.   That you do not own, lease, or operate; and

    b. Where there is a written construction or installation contract or agreement to install "stock" or "installation
       property" at that "installation or service premises".

    "Temporary storage location" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition; or

    f.   An "unreported premises".

79. "Time element coverage" means the coverage provided under any of the following:

    a. BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE);

    b. BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
       EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY; or

    c.   EXTRA EXPENSE COVERAGE FORM.

80. "Unreported premises" means a permanently fixed location that contains "real property" or "personal property" in
    which you have an insurable interest, but has not been reported to us.

    "Unreported premises" does not mean:

    a.   A "premises";

    b. A "newly acquired premises";

    c.   A "reported unscheduled premises";

    d. A "rigging premises";

    e.   A fair or exhibition;

    f.   An "installation or service premises";

    g. A "temporary storage location"; or

    h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

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81. "Your employees’ personal property" means personal property owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

82. "Your personal property" means personal property owned by you.




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Real and Personal Property Coverage Form


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Real and Personal Property Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises" directly
     caused by a "covered cause of loss". We will not pay more in any one occurrence than the applicable Limit of
     Insurance shown on the Declarations for such loss of or damage to Covered Property at that "premises".

B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Cracking and Settling

          We will not pay for loss or damage caused by or resulting from bulging, cracking, shrinkage, expansion, or
          settling of "real property" or "personal property". This exclusion applies even if one of these excluded
          causes of loss was caused by or resulted from a "mistake" or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     3.   Disappearance or Shortage

          We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
          inventory or where there is no physical evidence to show what happened to the property. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
          "malfunction".

     4.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
          or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:




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     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

5.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "real property" or "personal property" caused by leakage from "fire protection
     sprinkler system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
     "fire protection sprinkler system piping" leakage.

6.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

7.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".




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8.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

9.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property";

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

10. Impact Damage

     We will not pay for loss or damage caused by or resulting from water, including water pressure, ice, or
     impact of watercraft to buildings or structures located on or partially over water, including retaining walls,
     bulkheads, piers, wharves, docks, or any other property located on those structures. This exclusion applies
     even if one of these excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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    But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
    lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
    loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

    We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
    radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
    cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
    the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
    or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
    solely caused by that fire.

14. Off-Premises Service Interruption

    We will not pay for loss or damage caused by or resulting from any "off-premises service interruption". Such
    loss or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
    weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

15. Pollutants

    We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
    release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
    caused by a "specified cause of loss", we will pay only for that portion of the loss or damage solely caused
    by that "specified cause of loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

16. Process Failures, Defects, or Errors

    We will not pay for any of the following:

    a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
         or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
         calibration, development, distribution, installation, manufacturing, maintenance, processing, repair,
         research, or testing of such "stock".

    b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
         "mistake" in:




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         1)   Planning, zoning, development, surveying, siting;

         2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
              compaction;

         3)   Materials used in repair, construction, renovation, or remodeling; or

         4)   Maintaining or servicing,

         of part or all of any property on or off a "premises".

         But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
         portion of the loss or damage which was solely caused by that "covered cause of loss".

    c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
         incorporating "defective materials" into part or all of any property on or off a "premises".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
         the loss or damage which was solely caused by that "covered cause of loss".

    d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
         exclusion applies even if this excluded cause of loss was caused by or resulted from an "equipment
         breakdown cause of loss", "mistake", or "malfunction".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
         the loss or damage which was solely caused by that "covered cause of loss".

17. Suspended Equipment

    We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
    "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
    resulted from a "mistake" or "malfunction".

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

18. War and Military Action

    We will not pay for loss or damage arising, directly or indirectly, out of:

    a.   War, including undeclared or civil war;

    b.   Warlike action by a military force, including action in hindering or defending against an actual or
         expected attack, by any government, sovereign, or other authority using military personnel or other
         agents; or

    c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
         hindering or defending against any of these.

    Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
    "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.




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C.   LIMITATIONS

     The following types of property are covered only up to the Limits of Insurance shown below in any one
     occurrence for loss or damage due to theft:

     1.   $2,500 for furs, fur garments, and garments trimmed with fur.

     2.   $2,500 for jewelry, watches, watch movements, jewels, pearls, precious and semiprecious stones, bullion,
          gold, silver, platinum, and other precious alloys or metals.

          This limit does not apply to:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes.

     3.   $250 for lottery tickets held for sale.

     These Limits of Insurance are included in, and not in addition to, any other applicable Limits of Insurance.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace the "real property" or "personal property"
               at the same or another location.

     2.   Except as provided in 3., 5., 6., and 7. below, "real property" or "personal property", other than
          "improvements and betterments", which is not repaired, rebuilt, or replaced will be valued at the "actual cash
          value" at the time and place of loss or damage. If you commence the repair, rebuilding, or replacement of
          the lost or damaged "real property" or "personal property" within 24 months from the date the loss or damage
          occurred, upon completion of the repair, rebuilding, or replacement, we will pay you the difference between
          the "actual cash value" previously paid and the "replacement cost"at the time of loss or damage.

     3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
          less any discounts and expenses you otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
          proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
          no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   "Improvements and betterments"at:

          a.   The "replacement cost" if you make repairs with reasonable speed.




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          b.   A proportion of your original cost if you do not make repairs with reasonable speed. We will determine
               the proportionate value as follows:

               1)   Multiply the original cost by the number of days from the loss or damage to the expiration of the
                    lease; and

               2)   Divide the amount determined in 1) above by the number of days from the installation of
                    "improvements and betterments" to the expiration of the lease.

               If your lease contains a renewal option, the expiration of the renewal option period will be used as the
               expiration of the lease.

          c.   That portion which has not been paid if others pay for repairs, rebuilding, or replacement.

     6.   "Personal property" which has been permanently removed from service at "actual cash value".

     7.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

F.   OPTIONAL COVERAGE

     Margin Clause

     If Margin Clause is shown on the Declarations, we will not pay more than the lesser of the following:

     1.   The amount of covered loss or damage at the "premises"; or

     2.   The percentage applied to the applicable Limit of Insurance for such property at the "premises".

     The most we will pay is the applicable percentage shown on the Declarations for Margin Clause. However, in no
     event will we pay more than $5,000,000 over the applicable Limits of Insurance shown on the Declarations for
     that "premises".

     This Optional Coverage for "real property" or "personal property" does not apply to:

     1.   Any Limit of Insurance applicable to more than one "premises"; or

     2.   Any other Limit of Insurance applicable for which a specific coverage Limit of Insurance is provided.




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Additional Coverages Form

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Additional Coverages Form

A.   ADDITIONAL COVERAGES

     The following are Additional Coverages to coverages set forth in this Commercial Property Coverage Part. If you
     have not chosen a coverage elsewhere in this Commercial Property Coverage Part, there is no coverage under its
     corresponding Additional Coverages. For example, if you do not have coverage for "stock" under the REAL AND
     PERSONAL PROPERTY COVERAGE FORM, you will not have coverage related to "stock" under the
     Consequential Loss--Undamaged Stock Additional Coverage, or any other Additional Coverage for "stock".

     Each of the following Additional Coverages apply independently of one another. Unless otherwise stated, the
     excluded causes of loss, exclusions, terms, and conditions in the applicable Coverage Forms apply to these
     Additional Coverages.

     The most we will pay for loss, damage, cost, or expense under any of the following Additional Coverages are the
     Limits of Insurance shown on the Declarations. Limits for these Additional Coverages apply in addition to any
     other applicable policy limits, unless otherwise stated.

       1.   Consequential Loss--Net Leasehold Interest

            We will pay for the loss of "net leasehold interest" you sustain when your lease is cancelled:

            a.     By the lessor; and

            b.     As a result of a valid condition of your lease,

            due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
            "covered cause of loss" at a "premises" or "reported unscheduled premises". We will not pay more than the
            "net leasehold interest" at the time of the cancellation of the lease. However, if your lease is cancelled and
            your landlord lets you continue to use the "premises" or "reported unscheduled premises" under a new
            lease, we will not pay more than:

            a.     The rent you will pay under the new lease; minus

            b.     The rent you were paying at the time of cancellation.

            We will not pay under this Additional Coverage if the "premises" or "reported unscheduled premises" where
            the lease is cancelled had been vacant for more than 60 consecutive days prior to the loss or damage
            unless you had entered into an agreement to sublease the "premises" or "reported unscheduled premises".

            The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
            premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Net Leasehold
            Interest.

            The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
            Insurance.




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2.   Consequential Loss--Tenant’s Improvements and Betterments

     We will pay for the value of undamaged "improvements and betterments" when your lease is cancelled:

     a.     By the lessor; and

     b.     As a result of a valid condition of your lease,

     due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
     "covered cause of loss" at a "premises" or "reported unscheduled premises".

     If you rent an entire building, we will pay only if:

     a.     At least 25% of the area of that entire building has been damaged; or

     b.     A minimum of 6 months remains in your current lease and at least 6 months is required to repair the
            building for your occupancy.

     If you rent a portion of a building, we will only pay if:

     a.     A minimum of 6 months remains in your lease; and

     b.     At least 6 months is required to repair the building for your occupancy.

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Tenant’s
     Improvements and Betterments.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Consequential Loss--Undamaged Stock

     We will pay for the consequential loss in value of undamaged "stock" which has become unmarketable as a
     complete product because of direct physical loss of or damage to other "stock" directly caused by a
     "covered cause of loss".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Undamaged Stock.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Contamination by a Refrigerant

     We will pay for direct physical loss of or damage to "stock" caused by the release or escape of refrigerants
     from any equipment located at a "premises" or "reported unscheduled premises" provided the release or
     escape was not caused by or resulted from "flood" or "earth movement".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Contamination by a Refrigerant.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.




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5.   Debris Removal

     a.     We will pay your expense to remove debris of Covered Property, for which a Limit of Insurance is
            shown on the Declarations, remaining after a "covered cause of loss". The most we will pay under
            this Additional Coverage for Debris Removal is the remaining applicable Limit of Insurance for the
            Covered Property shown on the Declarations after payment of the covered physical loss or damage.

            If the total of the loss or damage and debris removal expense exceeds the applicable Limit of
            Insurance, we will pay the remaining debris removal expenses. The most we will pay under this
            Additional Coverage in any one occurrence is the Limit of Insurance shown on the Declarations for
            Debris Removal--Supplemental Limit.

     b.     If wind causes direct physical loss of or damage to Covered Property, we will also pay for the
            expenses you incur to remove debris of uncovered property that is blown on to the "premises" or
            "reported unscheduled premises" by wind and to remove debris of "outdoor trees, shrubs, plants, or
            lawns" damaged by wind.

            The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
            shown on the Declarations for Debris Removal--Uncovered Property.

     In no event will there be any coverage under this Debris Removal Additional Coverage for any costs to:

     a.     Extract "pollutants" from land or water; or

     b.     Remove, restore, or replace polluted land or water.

     The expenses will be paid only if they are reported to us in writing within 180 days of the date of loss or
     damage.

6.   Deferred Payments

     We will pay your financial interest in "personal property" that suffers direct physical loss or damage directly
     caused by a "covered cause of loss" after delivery to buyers and sold by you on a conditional sale or trust
     agreement, or any installment or deferred payment plan.

     This Additional Coverage does not apply to default of such agreement or plan by the buyer.

     We will determine the amount of covered loss or damage as follows:

     a.     In the event of a total loss and the buyer refuses to continue payment, coverage will be valued based
            on the amount shown on your books as due from the buyer;

     b.     In the event of partial loss or damage and the buyer refuses to continue payment, forcing you to
            repossess, coverage will be valued as follows:

            If the realized value of the repossessed "personal property" is:

            1)    Greater than or equal to the amount shown on your books as due from the buyer, we will
                  make no payment; or

            2)    Less than the amount shown on your books as due from the buyer, we will pay the difference,
                  less any amount that was past due at the time of loss by more than 30 days; and

     c.     When a loss occurs and the buyer continues to pay you, there will be no loss payment.




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      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Deferred Payments.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

7.    Electronic Vandalism--Direct Damage

      We will pay for loss of or damage to "accounts receivable records", "duplicate information property",
      "electronic data processing hardware", or "original information property" caused by "electronic vandalism".

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Electronic Vandalism--Direct Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

8.    Expediting Expense

      In the event of covered loss of or damage to "real property" or "personal property" at a "premises" or
      "reported unscheduled premises" directly caused by a "covered cause of loss", we will pay reasonable and
      necessary additional expenses you incur for temporary repair of damage to such "real property" or
      "personal property" and the additional expenses you incur for expediting the permanent repair or
      replacement of such damaged property. This Additional Coverage does not include expenses recoverable
      elsewhere in this Commercial Property Coverage Part.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Expediting Expense.

9.    Fairs or Exhibitions

      We will pay for direct physical loss of or damage to "personal property":

      a.     At fairs or exhibitions; and

      b.     In transit to or from fairs or exhibitions,

      directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Fairs or Exhibitions--Personal Property.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

10.   Fire Department Service Charge

      When the fire department is called to save or protect Covered Property from a "covered cause of loss" at a
      "premises" or "reported unscheduled premises", we will pay for your liability for the fire department service
      charges:

      a.     Assumed by contract or agreement prior to loss; or

      b.     Required by local ordinance, law, or statute.




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      We will also pay for those costs incurred by your fire brigade to save or protect Covered Property from a
      fire, but not including the costs to refill fire protective equipment.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Fire Department Service Charge.

      No deductible applies to this Additional Coverage.

11.   Fire Protective Equipment Refills

      We will pay the reasonable and necessary costs you incur to refill fire protective equipment which has been
      discharged:

      a.      Accidentally; or

      b.      In the course of saving or protecting Covered Property from a "covered cause of loss".

      No Limit applies to this Additional Coverage.

12.   Inflation Guard

      The Limits of Insurance to which the Inflation Guard applies will automatically increase by the annual
      percentage shown on the Declarations.

      The amount of the increase will be:

      a.      The Limit of Insurance that applied on the most recent of this Commercial Property Coverage Part’s
              inception date, anniversary date, or date of any other Commercial Property Coverage Part change
              amending the Limit of Insurance, multiplied by

      b.      The percentage of annual increase shown on the Declarations, expressed as a decimal (Example: 8%
              is .08), multiplied by

      c.      The number of days since the beginning of the most recent Commercial Property Coverage Part year
              or the effective date of the most recent Commercial Property Coverage Part change amending the
              Limit of Insurance, divided by 365.

      Example:

      If:           The applicable Limit of Insurance is                     $100,000

                    The annual percentage increase is                              8%

                    The number of days since the beginning of the
                    Coverage Part Year (or last Coverage Part change) is           146

      Then:         The amount of increase is $100,000 x .08 x 146 / 365 =   $   3,200

                    The available Limit of Insurance is                       $103,200

13.   Lock and Key Replacement

      We will pay the reasonable cost of:

      a.      Entry key replacement if keys to a "premises" or "reported unscheduled premises" are stolen; or




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      b.     Entry lock repair or replacement made necessary by theft or attempted theft at a "premises" or
             "reported unscheduled premises".



      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Lock and Key Replacement.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

14.   Microorganisms

      We will pay the following when "microorganisms" are the result of a "covered cause of loss", other than fire
      or lightning:

      a.     Direct physical loss of or damage to Covered Property caused by "microorganisms", including the
             cost of removal of the "microorganisms";

      b.     The reasonable cost to tear out and replace any part of the covered building or other property
             needed to gain access to the "microorganisms"; and

      c.     The reasonable cost of testing performed after removal, repair, replacement, or restoration of the
             damaged property is completed, provided there is a reason to believe that the "microorganisms" are
             still present.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Microorganisms. Regardless of the number of claims, this
      Limit is the most we will pay for the total of all loss, damage, or cost, even if the "microorganisms" continue
      to be present, active, or recur.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

15.   Newly Acquired Premises

      We will pay for direct physical loss of or damage to "real property" or "personal property" at a "newly
      acquired premises" directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the "newly acquired premises" to us;

      b.     The number of days shown on the Declarations from the date the location becomes a "newly
             acquired premises"; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the applicable
      Limit of Insurance shown on the Declarations for Newly Acquired Premises.

16.   Newly Acquired Property

      We will pay for direct physical loss of or damage to:




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      a.     Your newly acquired or constructed "real property" at a "premises" if coverage is not currently
             shown for "real property" at that "premises" on the Declarations; and

      b.      Your newly acquired "personal property" at a "premises" if coverage is not currently shown for
             "personal property" at that "premises" on the Declarations.

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.     The date you report the newly acquired property to us;

      b.     The number of days shown on the Declarations from the date construction of "real property" begins
             or completed "real property" or "personal property" is acquired; or

      c.     The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date construction of "real property"
      begins or "personal property" or completed "real property" is acquired.

      The most we will pay under this Additional Coverage at any one "premises" is the applicable Limit of
      Insurance shown on the Declarations for Newly Acquired Property.

17.   Off-Premises Service Interruption--Direct Damage

      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises"
      or "reported unscheduled premises" directly caused by an "off-premises service interruption". The
      interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
      to any property located away from the "premises" or "reported unscheduled premises" and used to
      provide any of the following services to the "premises" or "reported unscheduled premises":

      a.     Water;

      b.     Power, including steam and natural gas; or

      c.     Communication.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Direct
      Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

18.   Outdoor Trees, Shrubs, Plants, or Lawns

      We will pay for direct physical loss of or damage to "outdoor trees, shrubs, plants, or lawns" at a "premises"
      or "reported unscheduled premises" directly caused by:

      a.     Fire;

      b.     Lightning;

      c.     Explosion;

      d.     Riot or civil commotion; or




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      e.     Aircraft.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" and for any one tree, shrub, plant, or lawn are the Limits of Insurance shown on the
      Declarations for Outdoor Trees, Shrubs, Plants, or Lawns.

19.   Pollutant Clean Up and Removal--Land and Water

      We will pay the reasonable expenses you incur to extract "pollutants" from land or water at a "premises" or
      "reported unscheduled premises" if the discharge, dispersal, seepage, migration, release, or escape of the
      "pollutants" is directly caused by a "covered cause of loss".

      This Additional Coverage does not apply to the costs to test for, monitor, or assess the existence,
      concentration, or effects of "pollutants". But we will pay for the reasonable cost of testing performed in the
      course of extracting the "pollutants" from the land or water.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" in any one policy year is the Annual Aggregate Limit of Insurance shown on the Declarations for
      Pollutant Clean Up and Removal--Land and Water.

      The expenses will be paid only if they are reported to us in writing within 180 days of the date on which the
      "covered cause of loss" occurs.

20.   Preservation of Property

      If Covered Property is removed from a "premises" or "reported unscheduled premises" to preserve it from
      actual or imminent physical loss or damage caused by a "covered cause of loss":

      We will pay for:

      a.     Any direct physical loss of or damage to Covered Property while it is being moved to or while stored
             at another location for up to the number of days shown on the Declarations for Preservation of
             Property; and

      b.     The reasonable cost to remove Covered Property from the "premises" or "reported unscheduled
             premises".

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
      Insurance shown on the Declarations for that Covered Property.

21.   Professional Fees

      We will reimburse you for the reasonable expenses you incur for professional services for auditors,
      accountants, architects, or engineers which are necessary to prepare a statement of loss or exhibits
      required in connection with any loss covered under this Commercial Property Coverage Part. This
      Additional Coverage does not apply to fees and costs of:

      a.     Your employees; or

      b.     Attorneys, public adjusters, loss appraisers, or loss consultants.

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Professional Fees.

22.   Reported Unscheduled Premises




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      We will pay for direct physical loss of or damage to "real property" and "personal property" at a "reported
      unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
      applicable Limit of Insurance shown on the Declarations for Reported Unscheduled Premises.

23.   Reward Payments

      We will reimburse you for rewards you pay for information leading to:

      a.     The successful return of undamaged stolen Covered Property to you or a law enforcement agency;
             or

      b.     The arrest and conviction of any persons for having damaged or stolen your Covered Property.

      The reward payments must be documented.

      The most we will pay under this Additional Coverage in any one occurrence is 25% of the covered loss,
      prior to the application of any applicable deductible and recovery of any Covered Property, up to the Limit
      of Insurance shown on the Declarations for Reward Payments.

24.   Salespersons Samples

      We will pay for direct physical loss of or damage to "salespersons samples" in transit while in the custody
      of a salesperson or at any location, other than a "premises" or "reported unscheduled premises", directly
      caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Salespersons Samples.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

25.   Spoilage--Equipment Breakdown

      We will pay for direct physical loss of or damage to "stock" at a "premises" or "reported unscheduled
      premises" directly caused by the loss of or changes in any artificially maintained or generated temperature,
      humidity, or atmosphere resulting from an "equipment breakdown cause of loss" to atmosphere control
      equipment at the "premises" or "reported unscheduled premises".

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Spoilage--Equipment Breakdown.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

26.   Theft Damage to Buildings

      We will pay for direct physical loss of or damage to "real property" at a "premises" or "reported unscheduled
      premises" in which you are a tenant directly caused by theft, burglary, or robbery, provided you are legally
      obligated to pay for such loss or damage.

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations
      for "personal property" at that "premises" or "reported unscheduled premises".

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.




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     27.   Unreported Premises

           We will pay for direct physical loss of or damage to "real property" and "personal property", other than
           "salespersons samples" or property in transit, at an "unreported premises" directly caused by a "covered
           cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises.

B.   DEDUCTIBLE

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of loss, damage, cost,
     or expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, cost, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.




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Accounts Receivable Coverage Form
(Revenue Loss)

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Accounts Receivable Coverage Form
(Revenue Loss)

A.   COVERAGES

     1.    Accounts Receivable (Revenue Loss)

           We will pay for:

           a.   The "money" due you from customers that you are unable to collect;

           b.   Interest charges on any loan required to offset amounts you are unable to collect pending our
                payment of these amounts; and

           c.   Collection expenses in excess of your normal collection expenses that are made necessary by the
                loss or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" at a "premises" or
           "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
           premises" is the Limit of Insurance shown on the Declarations for Accounts Receivable (Revenue Loss).

      2.   Accounts Receivable (Revenue Loss)--Away From Premises

           We will also pay for:

           1.   The "money" due you from customers that you are unable to collect;

           2.   Interest charges on any loan required to offset amounts you are unable to collect pending our
                payment of these amounts; and

           3.   Collection expenses in excess of your normal collection expenses that are made necessary by the
                loss or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown
           on the Declarations for Accounts Receivable (Revenue Loss)--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "accounts receivable records" done to conceal the wrongful giving, taking, or withholding
           of "money", "securities", or other property.




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2.   Bookkeeping, Accounting, or Billing Mistakes

     We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in
     bookkeeping, accounting, or billing.

3.   Defects or Errors

     We will not pay for any of the following:

     a.   Loss or damage caused by or resulting from a "mistake" in:

          1)   Programming;

          2)   Instructions to a machine; or

          3)   Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing

          of part or all of any property on or off a "premises" or "reported unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "accounts receivable
     records". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including




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     leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
     you have entrusted the "accounts receivable records" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to
           them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will
     pay for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "accounts receivable records" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from
     the "fire protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.



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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion
     of the loss or damage which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation,
     expropriation, nationalization, or destruction of property by order of governmental authority. Such loss
     or damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause
     or event would otherwise be covered.

     This exclusion does not apply to acts of destruction of "accounts receivable records" ordered by
     governmental authority and taken at the time of fire to prevent its spread.

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage
     which was solely caused by that fire.

14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:




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          a.    War, including undeclared or civil war;

          b.    Warlike action by a military force, including action in hindering or defending against an actual or
                expected attack, by any government, sovereign, or other authority using military personnel or other
                agents; or

          c.    Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
                hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss, damage, or expense in any one occurrence until the amount of loss, damage, or
     expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.

D.   VALUATION

     If you cannot accurately establish the amount of accounts receivable outstanding at the time of loss or
     damage to "accounts receivable records", the following method will be used to determine the amount of
     covered loss, damage, or expense:

     1.   Determine the total of the average monthly amounts of accounts receivable for the 12 months immediately
          preceding the month in which the loss or damage occurred; and

     2.   Adjust that total for normal fluctuations in the amount of accounts receivable for the month in which the
          loss or damage occurred or for any demonstrated variance from the average for that month.

     The following will be deducted from the total amount of accounts receivable, however that amount is
     established:

     1.   The amount of the accounts receivable for which there is no loss or damage;

     2.   The amount of the accounts receivable that you are able to re-establish or collect;

     3.   An amount to allow for probable bad debts that you are normally unable to collect; and

     4.   All unearned interest and service charges.




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Fine Arts Coverage Form

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Fine Arts Coverage Form

A.   COVERAGES

     1.   Fine Arts

          We will pay for direct physical loss of or damage to "fine arts" at a "premises" or "reported unscheduled
          premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
          is the Limit of Insurance shown on the Declarations for Fine Arts.

      2. Fine Arts--Away From Premises

          We will also pay for direct physical loss of or damage to "fine arts" away from a "premises" or "reported
          unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
          the Declarations for Fine Arts--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.   Defects or Errors

          We will not pay for any of the following:

          a.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
               "mistake" in:

               1)   Planning, zoning, development, surveying, siting;

               2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
                    compaction;

               3)   Materials used in repair, construction, renovation, or remodeling; or

               4)   Maintaining or servicing,

               of part or all of any property on or off a "premises" or "reported unscheduled premises".

               But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
               portion of the loss or damage which was solely caused by that "covered cause of loss".

          b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
               incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
               unscheduled premises".

               But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
               portion of the loss or damage which was solely caused by that "covered cause of loss".




                                                                                            EXHIBIT B PAGE 105
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2.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "fine arts". This exclusion
     applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

3.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "fine arts" for any purpose:

     a.    Acting alone or in collusion with others; or

     b.    Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

4.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "fine arts" caused by leakage from "fire protection sprinkler system piping" results
     from "earth movement", and there is no other loss or damage from "earth movement" to that same property,
     we will pay for direct physical loss or damage caused solely from the "fire protection sprinkler system piping"
     leakage.

5.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.




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     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

6.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

7.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of "fine arts" by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property",

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

8.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

9.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.




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         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     10. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     11. Pollutants

         We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
         release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape is
         caused by a "specified cause of loss", we will pay only for that portion of the loss or damage which was
         solely caused by that "specified cause of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

     12. Repair, Restoration, or Retouching

         We will not pay for loss of or damage to "fine arts" caused by or resulting from repair, restoration, or
         retouching.

     13. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a.   War, including undeclared or civil war;

         b. Warlike action by a military force, including action in hindering or defending against an actual or
            expected attack, by any government, sovereign, or other authority using military personnel or other
            agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     1.   "Fine arts"are valued based on the lesser of:

          a.   "Market value" at the time of loss or damage; or

          b.   The value of "fine arts" that are individually listed and described on the schedule on file with us.

     2.   Pairs or Sets

          In case of loss to any part of a pair or set, we may:

          a.   Repair or replace any part to restore the pair or set to its value before the loss; or

          b.   Pay the difference between the value of the pair or set before and after the loss.




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Installation and Service Property Coverage Form

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Installation and Service Property Coverage Form

A.   COVERAGES

     1.   Stock to be Installed

          We will pay for direct physical loss of or damage to "stock" directly caused by a "covered cause of loss" while
          such "stock" is:

          a.   At an "installation or service premises";

          b.   At a "temporary storage location"; or

          c.   In transit, to or from an "installation or service premises" or a "temporary storage location".

          Coverage ends at the earlier of the following:

          a.   Your insurable interest in the "stock" ceases;

          b.   The "stock" is accepted by the purchaser;

          c.   The "stock" is installed and you have been paid;

          d.   The "stock" is installed and put to its intended use; or

          e.   The policy expires or is cancelled.

          The most we will pay under this Marine Coverage in any one occurrence is the applicable Limit of Insurance
          shown on the Declarations for Installation and Service Property--Stock to be Installed.

     2.   Tools and Equipment

          We will pay for direct physical loss of or damage to:

          a.   "Personal property" that are tools and equipment; and

          b.   Vehicles that are not licensed for use on public roads,

          used by you to install or service property at an "installation or service premises" directly caused by a
          "covered cause of loss". Coverage applies while such property is:

          a.   At an "installation or service premises"; or

          b.   In transit, to or from an "installation or service premises".

          The most we will pay under this Marine Coverage for any one item and in any one occurrence is the
          applicable Limit of Insurance shown on the Declarations for Installation and Service Property--Tools and
          Equipment or in a schedule on file with us.




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B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Disappearance or Shortage

          We will not pay for loss caused by disappearance or shortage disclosed on taking inventory or where there
          is no physical evidence to show what happened to the property. This exclusion applies even if one of these
          excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

     3.   Dishonest Acts

          We will not pay for loss caused by or resulting from fraudulent, dishonest, or criminal acts or omissions,
          committed by you, your partners, "members", officers, "managers", employees (including leased or
          temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

     4.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or




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     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

5.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to:

     a.    Seizure or destruction of property by order of governmental authority and taken at the time of fire to
           prevent its spread; or

     b.    Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
           regulating construction, use, or repair of any property; provided such demolition order has become
           legally enforceable as a result of physical damage to "real property" containing covered "personal
           property" directly caused by a "covered cause of loss".

           However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
           which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
           or in any way respond to, or assess the effects of "microorganisms".

6.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

7.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".




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8.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But, if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

9.   Precipitation

     We will not pay for loss or damage caused by or resulting from rain, hail, snow, ice, or sleet to property in
     the open. This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   "Stock" in the custody of a carrier for hire; or

     b.   Vehicles that are not licensed for use on public roads.

10. Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of any property on or off an "installation or service premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off an "installation or service
          premises".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
          the loss or damage which was solely caused by that "covered cause of loss".

     d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
          exclusion applies even this excluded cause of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     11. Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     12. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

     13. Weight of Load

          We will not pay for loss of or damage to "personal property" that are tools and equipment or vehicles used
          by you to install or service property caused by or resulting from the weight of a load exceeding the
          manufacturer’s rated lifting or supporting capacity of any machine under the operating conditions at the time
          of loss or damage.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

D. ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to Covered Property in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   The coverage provided for "stock" by this Coverage Form is primary to any other insurance not subject to
          the same plan, terms, conditions, and provisions as this Coverage Form.




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E.   VALUATION

     We will determine the value of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace Covered Property.

     2.   Except as provided in 3., 5., 6., and 7. below, Covered Property which is not repaired, rebuilt, or replaced will
          be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
          rebuilding, or replacement of the lost or damaged Covered Property within 24 months from the date the loss
          or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the difference
          between the "actual cash value" previously paid and the "replacement cost"at the time of loss or damage.

     3.   "Merchandise" and "finished stock" at the regular cash selling price, less any discounts and expenses you
          otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
          proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
          no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   Covered Property which has been permanently removed from service at "actual cash value".

     6.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

      7. Subject to 1., 2., and 5. above, the most we will pay for any one item for scheduled equipment is the value
         per item shown on the schedule on file with us.




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Original Information Property Coverage Form

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Original Information Property Coverage Form

A.   COVERAGES

      1.   Original Information Property

           We will pay for direct physical loss of or damage to "original information property" at a "premises" or
           "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled premises"
           is the Limit of Insurance shown on the Declarations for Original Information Property.

      2.   Original Information Property--Away From Premises

           We will also pay for direct physical loss of or damage to "original information property" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Original Information Property--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "original information property" done to conceal the wrongful giving, taking, or withholding of
           "money", "securities", or other property.

     2.    Bookkeeping, Accounting, or Billing Mistakes

           We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in bookkeeping,
           accounting, or billing.

     3.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage caused by or resulting from a "mistake" in:

                1)   Programming;

                2)   Instructions to a machine; or

                3)   Installation or maintenance of "electronic data processing hardware" or component parts.

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
                portion of the loss or damage which was solely caused by that "covered cause of loss".




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     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from a
          "mistake" in:

          1)   Planning, zoning, development, surveying, siting;

          2)   Design, specifications, workmanship, repair, construction, renovation, remodeling, grading,
               compaction;

          3)   Materials used in repair, construction, renovation, or remodeling; or

          4)   Maintaining or servicing,

          of part or all of "original information property" on or off a "premises" or "reported unscheduled
          premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "original information
     property". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "original information property" for any purpose:

     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by any "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event




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     would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that
     portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "original information property" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is not other loss or damage from "earth movement"
     to that same property, we will pay for the direct physical loss or damage caused solely from the "fire
     protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.     Wear and tear;

     b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.     Smog;

     d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

     e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

     f.     Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to acts of destruction of "original information property" ordered by
     governmental authority and taken at the time of fire to prevent its spread.




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     11. Loss of Market or Delay

         We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
         exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
         "malfunction".

     12. Microorganisms

         We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
         aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
         resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
         including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
         to the loss, even if such other cause or event would otherwise be covered.

         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
         loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     13. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to
         the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation,
         or radioactive contamination results in fire, we will pay for that portion of the loss or damage which was
         solely caused by that fire.

     14. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a.   War, including undeclared or civil war;

         b.   Warlike action by a military force, including action in hindering or defending against an actual or
              expected attack, by any government, sovereign, or other authority using military personnel or other
              agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     We will determine the value of covered loss or damage to lost or damaged "original information property" at the
     full cost necessary to research and reproduce a master copy, including the information and material on which it
     resides.     However, we will only pay for costs of research and reproduction if you reproduce your
     "original information property". We will not include the cost of making additional copies.




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Transit Coverage Form

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Transit Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "personal property" in transit, including:

     1.   Your interest in shipments sold under Free on Board or Freight Allowed terms;

     2.   "Personal property" when the purchaser refuses to accept delivery or returns it to the shipper; or

     3.   General average and salvage charges on shipments while waterborne,

     directly caused by a "covered cause of loss".

     The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on the
     Declarations for Transit--Personal Property.

B.   PROPERTY NOT COVERED

     This Coverage Form does not apply to:

     1.   "Personal property" in transit to or from a fair or exhibition;

     2.   "Salespersons samples";

     3.   Property of others in your care, custody, or control if you are acting as a carrier for hire, broker, loader,
          consolidator, or freight forwarder with a written contract or bill of lading;

     4.   "Personal property" used by you to install or service property at an "installation or service premises";

     5.   "Stock" in transit to or from an "installation or service premises" or a "temporary storage location";

     6.   Furs, fur garments, and garments trimmed with fur;

     7.   Jewelry, watches, watch movements, jewels, pearls, precious or semiprecious stones, bullion, gold, silver,
          platinum, and other precious alloys or metals, except for:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes; or

     8.   Lottery tickets held for sale.




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C.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information property".

     2.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
          or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the "personal property" for any purpose:

          a.    Acting alone or in collusion with others; or

          b.    Whether or not occurring during the hours of employment.

          This exclusion does not apply to:

          a.    Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.    Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

     3.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.     Wear and tear;

          b.     Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.     Smog;

          d.     Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
                 property that causes it to damage or destroy itself;

          e.     Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                 rodents, or other animals; or

          f.     Inherent vice.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
          such other cause or event would otherwise be covered.




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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered.

     This exclusion does not apply to seizure or destruction of property by order of governmental authority and
     taken at the time of fire to prevent its spread.

5.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

6.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

7.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other cause
     or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss,
     even if such other cause or event would otherwise be covered. But if nuclear reaction or radiation, or
     radioactive contamination results in fire, we will pay for that portion of the loss or damage which was solely
     caused by that fire.

8.   Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off the "premises".




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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of
               the loss or damage which was solely caused by that "covered cause of loss".

     9.   Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss" to
          "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     10. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to "personal property" in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   If "personal property" in transit which was sold under Free on Board or Freight Allowed terms is lost or
          damaged and the consignee refuses to pay for such "personal property" because of the loss or damage, we
          will not attempt to enforce collection from the consignee without your written permission.

F.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., and 6. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace "personal property".




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2.   Except as provided in 3., 5., and 6. below, "personal property" which is not repaired, rebuilt, or replaced will
     be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
     rebuilding, or replacement of the lost or damaged "personal property" within 24 months from the date the
     loss or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the
     difference between the "actual cash value" previously paid and the "replacement cost" at the time of loss or
     damage.

3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling price,
     less any discounts and expenses you otherwise would have had.

4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus the
     proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing. In
     no event will overhead be calculated in accordance with the principles of Absorption Costing.

5.   "Personal property" which has been permanently removed from service at "actual cash value".

6.   "Duplicate information property" at the lesser of:

     a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

     b. The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
         source on the same type of materials, provided such copying does not violate licensing or contract
         agreements.




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Business Income Coverage Form
Including Research and Development
Continuing Expenses
(Excluding Extra Expense)--Technology

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Business Income Coverage Form
Including Research and Development
Continuing Expenses
(Excluding Extra Expense)--Technology

A.   COVERAGES

     1.   Business Income

          We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
          "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
          damage to property at a "premises" at which a Limit of Insurance is shown on the Declarations for Business
          Income. The loss or damage must be directly caused by a "covered cause of loss". We will not pay more than
          the applicable Limit of Insurance shown on the Declarations for Business Income at that "premises".

     2.   Research and Development Continuing Expenses

          We will pay for the actual and necessary "research and development continuing expenses" you incur due to
          the necessary "suspension" of your "research and development operations" during the "period of restoration".
          The "suspension" must be caused by direct physical loss of or damage to property at a "premises" at which
          "research and development operations" are conducted and for which a Limit of Insurance is shown on the
          Declarations for Research and Development Continuing Expenses. The loss or damage must be directly
          caused by a "covered cause of loss". We will not pay more than the applicable Limit of Insurance shown on
          the Declarations for Research and Development Continuing Expenses at that "premises".

B.   ADDITIONAL COVERAGES

     1.   Civil Authority

          a.    We will pay for the actual loss of "business income" you sustain for up to the number of days shown on
                the Declarations for Civil Authority following the necessary "suspension", or delay in the start, of your
                "operations when a civil authority prohibits access to the "premises" or "reported unscheduled
                premises".

                The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
                damage to property located within one mile from the "premises" or "reported unscheduled premises"
                which sustains a "business income" loss. The loss or damage must be directly caused by a "covered
                cause of loss".

                The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
                Declarations for Business Income at the "premises" or "reported unscheduled premises" where access
                was prohibited.

                The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
                Insurance.




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     b.    We will pay for the actual and necessary "research and development continuing expenses" you incur for
           up to the number of days shown on the Declarations for Civil Authority following the necessary
           "suspension", or delay in the start, of your "research and development operations" when a civil authority
           prohibits access to the "premises" where "research and development operations" are conducted.

           The "suspension", or delay in the start, of your "research and development operations" must be caused
           by direct physical loss of or damage to property located within one mile from the "premises" where the
           "research and development continuing expenses" are incurred. The loss or damage must be directly
           caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where access was
           prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

2.   Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
     late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
     property at a "premises" or "reported unscheduled premises" at which a Limit of Insurance is shown on the
     Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Contractual Penalties.

3.   Delayed Net Income

     We will pay for the actual loss of "net income" you sustain after the "extended period of indemnity".

     We only pay if the following conditions apply:

     a.    The loss of "net income" must be caused by direct physical loss of or damage to property directly
           realted to "research and development operations" at a "premises" or "reported unscheduled premises" at
           which a Limit of Insurance is shown on the Declarations for Business Income and must result in a delay
           in the introduction of a new product or the enhancement of an existing product;

     b.    The loss or damage must be directly caused by a "covered cause of loss";

     c.    You begin to sustain the loss of "net income" within 24 months of the date of the direct physical loss of
           or damage to property; and

     d.    You notify us in writing of such loss of "net income" within 24 months of the date of the direct physical
           loss or damage.

     We will only pay the actual loss of "net income" you sustain during the period that:

     a.    Begins on the first date after the "extended period of indemnity" on which you begin to sustain the loss
           of "net income"; and

     b.    Continues for a period of time equal to the time it should have taken, with reasonable speed, to repair,
           rebuild, or replace the damaged property to the condition that existed prior to the loss or damage.




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     If a competitor introduces a similar product prior to the date you originally scheduled the introduction of a new
     or enhanced product, then the amount of the "net income" loss will be adjusted to reflect the competitor’s
     action.

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
     damage occurred.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

4.   Electronic Vandalism

     We will pay for the actual loss of "business income" you sustain and "research and development continuing
     expenses" you incur due to the necessary "suspension" of your "operations" or "research and development
     operations" provided the "suspension" was directly caused by "electronic vandalism".

     The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
     Insurance shown on the Declarations for Electronic Vandalism--Business Income.

5.   Expense to Reduce Loss

     We will pay reasonable and necessary expenses you incur, except the cost of extinguishing a fire, to reduce
     the amount of loss of "business income". We will pay for such expenses to the extent that they do not exceed
     the amount of loss that otherwise would have been payable under this Coverage Form.

6.   Extended Period of Indemnity

     a.    If the necessary "suspension" of your "operations" produces a "business income" loss payable under
           this Coverage Form, and you resume "operations" with reasonable speed, we will pay for the actual loss
           of "business income" you sustain during the "extended period of indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Business Income at the "premises" or "reported unscheduled premises" where the direct
           physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

     b.    If the necessary "suspension" of your "research and development operations" directly causes a
           suspension, lapse, or cancellation of any license, lease, or contract, including milestone contracts, we
           will pay the portion of "research and development continuing expenses" directly attributable to that
           suspension, lapse, or cancellation during the "research and development extended period of indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where the direct
           physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

7.   Fairs or Exhibitions

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension"must be caused by direct physical loss




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      of or damage to property at, or while in transit to or from, any fair or exhibition. The loss or damage must be
      directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
      on the Declarations for Fairs or Exhibitions--Business Income.

8.    Food and Drug Administration (FDA) Recertification--Business Income

      We will extend the "period of restoration" to include the period of time that begins when you advise the FDA,
      as required, that you are ready to resume your "operations" and ends when the FDA approves and certifies
      the "premises" or "reported unscheduled premises" to resume your "operations" at the same level of
      certification that existed prior to the "suspension" of your "operations". The "period of restoration" does not
      include time required to obtain approvals or certificates that you were not legally required to have prior to the
      "suspension" of your "operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
      damage occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

9.    Food and Drug Administration (FDA) Recertification--Research and Development Continuing Expenses

      We will extend the "period of restoration" to include the period of time that begins when you advise the FDA,
      as required, that you are ready to resume your "research and development operations" and ends when the
      FDA approves and certifies the "premises" to resume your "research and development operations" at the same
      level of certification that existed prior to the "suspension" of your "research and development operations". The
      "period of restoration" does not include time required to obtain approvals or certificates that you were not
      legally required to have prior to the "suspension" of your "research and development operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Research and Development Continuing Expenses at the "premises" where the direct physical loss or damage
      occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

10.   Ingress/ Egress

      a.    We will pay for the actual loss of "business income" you sustain for up to the number of days shown on
            the Declarations for Ingress / Egress following the necessary "suspension" of your "operations", when
            ingress or egress by your suppliers, customers, or employees to the "premises" or "reported
            unscheduled premises" is physically obstructed due to direct physical loss or damage. The loss or
            damage must be directly caused by a "covered cause of loss" to property not owned, occupied, leased,
            or rented by you, or insured under this Commercial Property Coverage Part. That property must be
            located within one mile from the "premises" or "reported unscheduled premises" which sustains a
            "business income" loss. The obstruction cannot be the result of an order of civil authority that prohibits
            access to that "premises" or "reported unscheduled premises".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Business Income at the "premises" or "reported unscheduled premises" where ingress
            or egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.




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      b.    We will pay for the actual and necessary "research and development continuing expenses" you incur for
            up to for up to the number of days shown on the Declarations for Ingress / Egress following the
            necessary "suspension" of your "research and development operations", when ingress or egress by
            your suppliers, customers, or employees to the "premises" is physically obstructed due to direct
            physical loss or damage. The loss or damage must be directly caused by a "covered cause of loss"
            to property not owned, occupied, leased, or rented by you, or insured under this Commercial Property
            Coverage Part. That property must be located within one mile from the "premises" where the "research
            and development operations" are conducted. The obstruction cannot be the result of an order of civil
            authority that prohibits access to that "premises".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Research and Development Continuing Expenses at the "premises" where ingress or
            egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.

11.   Microorganisms

      We will pay for the actual loss of "business income" you sustain due to the:

      a.    Necessary "suspension" of your "operations" from direct physical loss of or damage to Covered
            Property caused by "microorganisms" when the "microorganisms" are the result of a "covered cause of
            loss"; or

      b.    Prolonged "period of restoration" due to the remediation of "microorganisms" from a covered loss.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
      Insurance shown on the Declarations for Microorganisms--Business Income. Regardless of the number of
      claims, this Limit of Insurance is the most we will pay for the total of all loss, even if the "microorganisms"
      continue to be present, active, or recur.

12.   Newly Acquired Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
      "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
      damage to your property at a "newly acquired premises". The loss or damage must be directly caused by a
      "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
            premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
      Insurance shown on the Declarations for Newly Acquired Premises--Business Income.




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     13.   Reported Unscheduled Premises

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
           "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
           damage to property at a "reported unscheduled premises". The loss or damage must be directly caused by a
           "covered cause of loss".

           The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
           of Insurance shown on the Declarations for Reported Unscheduled Premises--Business Income.

     14.   Transit

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
           "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
           damage to property in transit, other than while in transit to or from any fair or exhibition. The loss or damage
           must be directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Transit--Business Income.

     15.   Unreported Premises

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
           "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
           damage to your property, or property of your landlord, at an "unreported premises". The loss or damage must
           be directly caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises--Business Income.

C.   EXCLUSIONS

     1.    Real or Personal Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the REAL AND
           PERSONAL PROPERTY COVERAGE FORM, except Off-Premises Service Interruption, apply to loss of
           "business income" and "research and development continuing expenses" caused by or resulting from loss of
           or damage to any property other than:

           a.    "Research and development property";

           b.    "Fine arts";

           c.    "Original information property";

           d.    "Outdoor trees, shrubs, plants, or lawns"; or

           e.    "Personal property" in transit.

     2.    Research and Development Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the RESEARCH AND
           DEVELOPMENT PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
           development continuing expenses" caused by or resulting from loss of or damage to "research and
           development property".

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3.   Fine Arts

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the FINE ARTS
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to "fine
     arts".


4.   Original Information Property

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the ORIGINAL
     INFORMATION PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
     development continuing expenses" caused by or resulting from loss of or damage to "original information
     property".

5.   Personal Property in Transit

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the TRANSIT
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
     "personal property" in transit.

6.   Finished Stock

     We will not pay for loss of "business income" caused by or resulting from:

     a.    Loss of or damage to "finished stock"; or

     b.    The time required to replace "finished stock".

7.   Off-Premises Service Interruption

     We will not pay for loss of "business income" or "research and development continuing expenses" caused by
     or resulting from any "off-premises service interruption". Such loss is excluded regardless of any other cause
     or event, including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

8.   Suspension, Lapse, or Cancellation

     a.    We will not pay for any loss of "business income" caused by or resulting from a suspension, lapse, or
           cancellation of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly
           caused by the "suspension" of your "operations". If the suspension, lapse, or cancellation of any
           license, lease, or contract is directly caused by the "suspension" of your "operations", we will not pay for
           that portion of any loss from such suspension, lapse, or cancellation which occurs after the "extended
           period of indemnity".

     b.    We will not pay for any "research and development continuing expenses" caused by or resulting from a
           suspension, lapse, or cancellation of any license, lease, or contract, unless the suspension, lapse, or
           cancellation is directly caused by the "suspension" of your "research and development operations". If
           the suspension, lapse, or cancellation of any license, lease, or contract is directly caused by the
           "suspension" of your "research and development operations", we will not pay for that portion of any loss
           from such suspension, lapse, or cancellation which occurs after the "research and development
           extended period of indemnity".




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     1.    Idle Periods

           We will not pay for loss of "business income" or "research and development continuing expenses" during any
           period in which business would not or could not have been conducted for any reason other than:

           a.    Direct physical loss of or damage to property as described in Section A., Coverages, above;

           b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                 the Civil Authority Additional Coverage above; or
           c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                 as described in the Ingress / Egress Additional Coverage above.

     2.    Strikers or Others Causing Delay

           We will not pay for any loss of "business income" or "research and development continuing expenses" caused
           by or resulting from delay in rebuilding, repairing, or replacing property, or resuming "operations" or "research
           and development operations", due to the interference at the location of the rebuilding, repair, or replacement
           by strikers or other persons.

     3.    Outdoor Trees, Shrubs, Plants, or Lawns

           We will not pay for loss of "business income" or "research and development continuing expenses" caused by
           or resulting from loss of or damage to "outdoor trees, shrubs, plants, or lawns" unless the loss or damage is
           directly caused by fire, lightning, explosion, riot or civil commotion, or aircraft.

E.   DEDUCTIBLE

     We will not pay for any loss of "business income" or "research and development continuing expenses" in any one
     occurrence until the amount of loss or expense exceeds the applicable Deductibles or is incurred after the applicable
     Waiting Periods shown on the Declarations. We will then pay the amount of loss or expense in excess of the
     Deductibles or incurred after the Waiting Periods, up to the applicable Limits of Insurance.

     If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical
     loss of or damage to property, directly caused by a "covered cause of loss".

F.   LOSS DETERMINATION

     1.    Sources of Information

           The amount of "business income" loss will be based on relevant sources of information, including, but not
           limited to:

           a.    Your financial records, tax returns, and accounting procedures;

           b.    Bills, invoices, and other vouchers; and

           c.    Deeds, liens, and contracts.

     2.    Net Income

           The amount of "net income" incurred will be determined based on:




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           a.    The "net income" of the business before the direct physical loss or damage occurred; and

           b.    The likely "net income" of the business if no direct physical loss or damage had occurred.

     3.    Continuing Expenses

           The amount of "continuing expenses" will be those expenses which are necessary to resume your "operations"
           with the same quality of service that existed just before the direct physical loss or damage and which are
           incurred during the "period of restoration" or "extended period of indemnity".

     4.    Resumption of Operations

           We will reduce the amount of the "business income" loss payment and "research and development continuing
           expenses":

           a.    To the extent you could resume your "operations" or "research and development operations", in whole
                 or in part, by using damaged or undamaged property, including "stock"; or

           b.    To the extent you could resume your "operations" or "research and development operations", in whole
                 or in part, by using any other location.

     5.    Research and Development Continuing Expenses

           The amount of "research and development continuing expenses" will be those expenses which are necessary
           to resume "research and development operations" of the same or similar nature that existed just before the
           direct physical loss or damage and which are incurred during the "period of restoration" or "research and
           development extended period of indemnity".

     6.    Finished STock and Merchandise

           Lost or damaged "finished stock" or "merchandise" that is valued at regular cash selling price will be
           considered to have been sold to your customers and will be credited against the lost sales.

G.   OPTIONAL COVERAGES

     If shown on the Declarations, the following Optional Coverages apply separately to each item:

     1.    Maximum Period of Indemnity

           The most we will pay for loss of "business income" is the lesser of:

           a.    The amount of loss sustained during the 120 days immediately following the beginning of the "period of
                 restoration"; or

           b.    The Limit of Insurance shown on the Declarations.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The following Additional Coverages do not apply:

           a.    Delayed Net Income; and

           b.    Extended Period of Indemnity.


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2.   Monthly Limit of Indemnity

     The most we will pay for loss of "business income" in each period of 30 consecutive days after the beginning
     of the "period of restoration" is:

     a.     The Limit of Insurance, multiplied by

     b.     The fraction shown on the Declarations for this Optional Coverage.

     The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

     The following Additional Coverages do not apply:

     a.     Delayed Net Income; and

     b.     Extended Period of Indemnity.

     Example:

     If:

     a.     The Limit of Insurance is $120,000.

     b.     The fraction shown on the Declarations for this Optional Coverage is 1/ 4.

     The most we will pay for loss in each period of 30 consecutive days is $30,000.

     If, in this example, the actual amount of the loss is:

     Days 1-30      $40,000
     Days 31-60      20,000
     Days 61-90      30,000
                    $90,000

     We will pay:

     Days 1-30      $30,000
     Days 31-60      20,000
     Days 61-90      30,000
                    $80,000

     The remaining $10,000 of loss is not covered.




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Extra Expense Coverage Form

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Extra Expense Coverage Form

A.   COVERAGE

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property at a "premises" at which a Limit of Insurance is shown for Extra Expense on the Declarations. The loss or
     damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable Limit of
     Insurance shown on the Declarations for Extra Expense at that "premises".

B.   ADDITIONAL COVERAGES

     1.    Civil Authority

          We will pay for the actual and necessary "extra expense" you incur due to the action of a civil authority that
          prohibits access to the "premises" or "reported unscheduled premises" caused by direct physical loss of or
          damage to property located within one mile from the "premises" or "reported unscheduled premises" where the
          "extra expense" was incurred. The loss or damage must be directly caused by a "covered cause of loss".

           This Additional Coverage is limited to the number of days shown on the Declarations for Civil Authority from
           the date the civil authority prohibits access.

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Ingress/ Egress

          We will pay for the actual and necessary "extra expense" you incur when ingress or egress by your suppliers,
          customers, or employees to the "premises" or "reported unscheduled premises" is physically obstructed due to
          direct physical loss or damage. The loss or damage must be caused by a "covered cause of loss" to property
          not owned, occupied, leased, or rented by you, or insured under this Commercial Property Coverage Part.
          That property must be located within one mile from the "premises" or "reported unscheduled premises" where
          the "extra expense" was incurred. The obstruction cannot be the result of an order of civil authority that
          prohibits access to that "premises" or "reported unscheduled premises".

           This Additional Coverage is limited to the number of days shown on the Declarations for Ingress / Egress
           following the date the physical obstruction prohibits ingress or egress.

           The most we will pay under the Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where ingress or egress was obstructed.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.




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     3.   Newly Acquired Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at a "newly acquired premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          This Additional Coverage will automatically expire on the earliest of the following dates:

          a.    The date you report the "newly acquired premises" to us;

          b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
                premises"; or

          c.    The date this policy expires or is cancelled.

          We will charge you additional premium for values reported from the date the location becomes a "newly
          acquired premises".

          The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
          Insurance shown on the Declarations for Newly Acquired Premises--Extra Expense.

     4.   Reported Unscheduled Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          property at a "reported unscheduled premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the Limit
          of Insurance shown on the Declarations for Reported Unscheduled Premises--Extra Expense.

     5.   Unreported Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
          your property at an "unreported premises". The loss or damage must be directly caused by a "covered cause
          of loss".

          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Extra Expense.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the REAL AND PERSONAL
          PROPERTY COVERAGE FORM, except Off Premises Service Interruption, apply to "extra expense" caused by
          or resulting from loss of or damage to any property other than:

          a.    "Fine arts";

          b.    "Original information property"; or

          c.    "Outdoor trees, shrubs, plants, or lawns".




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     2.   Fine Arts

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the FINE ARTS COVERAGE
          FORM apply to "extra expense" caused by or resulting from loss of or damage to "fine arts".

     3.   Original Information Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to "extra expense" caused by or resulting from loss of
          or damage to "original information property".

     4.   Off-Premises Service Interruption

          We will not pay for "extra expense" caused by or resulting from any "off-premises service interruption". Such
          loss is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
          condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
          would otherwise be covered.

     5.   Suspension, Lapse, or Cancellation

          We will not pay for "extra expense" caused by or resulting from a suspension, lapse, or cancellation of any
          license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused by the "suspension"
          of your "operations". If the suspension, lapse, or cancellation of any license, lease, or contract is directly
          caused by the "suspension" of your "operations", we will not pay for that portion of any "extra expense" from
          such suspension, lapse, or cancellation which occurs after the "period of restoration".

D.   LIMITATIONS

     1.   Idle Periods

          We will not pay for "extra expense" during any period in which business would not or could not have been
          conducted for any reason other than:

          a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

          b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as described in
                the Civil Authority Additional Coverage above; or

          c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled premises"
                as described in the Ingress / Egress Additional Coverage above.

     2.   Strikers or Others Causing Delay

          We will not pay for any increase in "extra expense" caused by delay in rebuilding, repairing, or replacing
          property or resuming "operations", due to the interference at the location of the rebuilding, repair, or
          replacement by strikers or other persons.

     3.   Outdoor Trees, Shrubs, Plants, or Lawns

          We will not pay for "extra expense" caused by or resulting from loss of or damage to "outdoor trees, shrubs,
          plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot or civil
          commotion, or aircraft.




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E.   DEDUCTIBLE

     We will not pay for any "extra expense" in any one occurrence until the amount of "extra expense" exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of "extra expense" in excess of the
     Deductibles up to the applicable Limits of Insurance.

F.   LOSS DETERMINATION

     1.    Sources of Information

           The amount of "extra expense" will be based on relevant sources of information, including, but not limited to :

           a.    Your financial records, tax returns, and accounting procedures;

           b.    Bills, invoices, and other vouchers; and

           c.    Deeds, liens, and contracts.

     2.    Extra Expense

           The amount of "extra expense" will be determined based on:

           a.    All "extra expense" that exceeds the normal operating expenses that would have been incurred by your
                 "operations" during the "period of restoration" if no direct physical loss or damage had occurred; and

           b.    All expenses that reduce the "extra expense" that otherwise would have been incurred.

           We will deduct from the total "extra expense" the salvage value of any property bought for temporary use
           during the "period of restoration", once "operations" are resumed.

     3.    Resumption of Operations

           We will reduce the amount of "extra expense" to the extent you can return "operations" to normal and
           discontinue such "extra expense".




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Wind and Hail--Direct Damage and
Time Element Deductible

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
    (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM


   The Wind and Hail--Direct Damage and Time Element Deductible only applies to loss or damage that, but for the
   application of the Deductible, would be paid by us under this Commercial Property Coverage Part.

   With respect to any "premises" at which a Wind and Hail--Direct Damage and Time Element Deductible is shown on
   the Declarations, the following is added to the Deductible section:

   With respect to all loss or damage caused directly or indirectly by wind or hail, regardless of whether any other
   cause or event, including a "mistake", "malfunction", or another weather condition, contributes concurrently or in any
   sequence to the loss, the following applies:

   We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the amount of
   covered loss, damage, cost, or expense exceeds the Wind and Hail--Direct Damage and Time Element Deductible
   shown on the Declarations for that "premises". We will then pay for the amount of covered loss, damage, cost, or
   expense in excess of the Deductible, up to the applicable Limits of Insurance.

   If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on the
   Declarations will apply separately and individually to the covered loss, damage, cost, or expense at each "premises".

   The Wind and Hail Deductibles apply to all covered loss, damage, cost, or expense covered by "time element
   coverage" when the loss, damage, cost, or expense is caused directly or indirectly by wind or hail even if no other
   deductible applies to the "time element coverage".




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Dependent Premises Business Income
Coverage--Scheduled Limits and Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                       SCHEDULE*

Name, Occupancy, and Location of "Dependent Premises"                             Limit of Insurance          Deductible

(A) "Contributing Locations":




(B) "Recipient Locations":




(C) "Manufacturing Locations":
    KaGa Electronics, Hong Kong                         $5,000,000                                           $500,000
    Room 1709-1710, 17/F Miramar Towerm 132 Nathan Rd.,
    Tsimshatsui
    Kowloon, Hong Kong

    PCBA and assembly




(D) "Leader Locations":




*Information required to complete this Schedule, if not shown on this endorsement, will be shown on the Declarations.


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A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
     TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises" described in the
     Schedule above. The loss or damage must be directly caused by a "covered cause of loss". We will not pay
     more than the applicable Limit of Insurance shown in the Schedule above at that "dependent premises".

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises" described in the Schedule above, the
     Civil Authority and Contractual Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are
     replaced by the following:

     1.   Civil Authority

          We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
          "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a
          "dependent premises" described in the Schedule above.

          The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or
          damage to property located within one mile from the "dependent premises" described in the Schedule
          above. The loss or damage must be directly caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above
          for the "dependent premises" where access was prohibited.

          The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     2.   Contractual Penalties

          We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
          late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
          property at a "dependent premises" described in the Schedule above. The loss or damage must be directly
          caused by a "covered cause of loss".

          The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on
          the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises" shown in the Schedule
     above. The loss or damage must be directly caused by a "covered cause of loss".




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     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     We will not pay more than the applicable Limit of Insurance shown in the Schedule above for that "dependent
     premises".

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, the Resumption of Operations Loss Determination in the BUSINESS
     INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE
     FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
     EXPENSE)--TECHNOLOGY is replaced by the following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your
     "operations", in whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises" described in the Schedule above, the "period of restoration" definition in the
     COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"
          described in the Schedule above; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced
          with reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
     or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
     neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F. DEDUCTIBLE

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, Section E. Deductible in the BUSINESS INCOME COVERAGE
     FORM (EXCLUDING EXTRA EXPENSE), the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH
     AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY, and the
     EXTRA EXPENSE COVERAGE FORM is replaced by the following:

     We will not pay for any loss of "business income" or "extra expense" in any one occurrence until the amount of
     loss or expense exceeds the applicable Deductible shown in the Schedule above at that "dependent premises"

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where the loss or damage occurred. We will then pay the amount of loss or expense in excess of the Deductible,
up to the applicable Limits of Insurance.

Any other deductible otherwise applicable to "business income" or "extra expense" does not apply to coverage
provided by this endorsement.




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Dependent Premises Business Income
Coverage--Unscheduled Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

A.   COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises". The loss or
     damage must be directly caused by a "covered cause of loss".

     The most we will pay in any one occurrence is the Limit of Insurance shown on the Declarations for Dependent
     Premises Business Income--Unscheduled Locations.

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises", the Civil Authority and Contractual
     Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
     EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the following:

     Civil Authority

     We will pay for the actual loss of "business income" you sustain for up to 30 days following the necessary
     "suspension", or delay in the start, of your "operations" when a civil authority prohibits access to a "dependent
     premises".

     The "suspension", or delay in the start, of your "operations" must be caused by direct physical loss of or damage
     to property located within one mile from the "dependent premises". The loss or damage must be directly caused
     by a "covered cause of loss".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.




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     The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late
     or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property
     at a "dependent premises". The loss or damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on
     the Declarations for Contractual Penalties.

C.   OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will also pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises". The loss or damage must be
     directly caused by a "covered cause of loss".

     If this Optional Coverage applies, the Civil Authority Additional Coverage in the EXTRA EXPENSE COVERAGE
     FORM applies to any loss or damage covered by this Optional Coverage.

     The most we will pay under this Optional Coverage is the Limit of Insurance shown on the Declarations for
     Dependent Premises Business Income--Unscheduled Locations.

     The Limit for this Optional Coverage is included in, and not in addition to, that Limit of Insurance.

D. LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises", the Resumption of Operations Loss Determination in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY is replaced by the
     following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your "operations", in
     whole or in part, by using:

     1.   Sources of materials or services; or

     2.   Outlets for your products or services,

     available to you.

E.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises", the "period of restoration" definition in the COMMERCIAL PROPERTY DEFINITIONS is
     replaced by the following:




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     "Period of restoration" means the period of time that:

     a.   Begins with the time of the direct physical loss of or damage to property at a "dependent premises"; and

     b.   Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
          reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize,
     or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F.   Coverage provided by this endorsement does not apply at any location at which "business income" coverage is
     provided by any other Coverage Form included in this Commercial Property Coverage Part.




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Enabling Endorsement

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS
REAL AND PERSONAL PROPERTY COVERAGE FORM

The provisions of any forms or endorsements that make reference to the BUILDING AND PERSONAL PROPERTY
COVERAGE FORM or the CAUSES OF LOSS SPECIAL FORM are applicable to the COMMERCIAL PROPERTY
CONDITIONS and the REAL AND PERSONAL PROPERTY COVERAGE FORM.




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Flood Coverage

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided by the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A. COVERAGE

   The Flood exclusion does not apply to loss or damage at a "premises" at which a Limit of Insurance is shown on
   the Declarations for Flood. However, we will not pay for loss or damage caused directly or indirectly by "flood" that
   begins before the inception of this Commercial Property Coverage Part.

   If the Earth Movement and Flood Coverage--Specified Property endorsement is included in this Commercial
   Property Coverage Part, this endorsement does not apply to property covered by that endorsement.

B. ADDITIONAL EXCLUDED CAUSES OF LOSS

   Off-Premises Damage

   We will not pay for loss or damage that is caused directly or indirectly by "flood" at any of the following locations:

   1.   "Dependent premises";

   2.   Fairs or exhibitions;

   3.   "Newly acquired premises";

   4.   "Reported unscheduled premises";

   5.   "Unreported premises"; or

   6.   Any location used to provide power or other utility service to "premises".




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C. LIMITS OF INSURANCE

   1.   Premises Limits

        The most we will pay in any one occurrence for loss or damage caused directly or indirectly by "flood" at any
        one "premises" is the Limit of Insurance shown on the Declarations for Flood for that "premises".

   2.   Occurrence Limit

        The most we will pay in any one occurrence for all loss or damage caused directly or indirectly by "flood",
        regardless of the number of "premises" involved, is the occurrence Limit of Insurance shown on the
        Declarations for Flood.

   3.   Annual Aggregate Limit

        The most we will pay for loss or damage caused directly or indirectly by "flood" in any one policy year,
        regardless of the number of occurrences or "premises" involved, is the Annual Aggregate Limit of Insurance
        shown on the Declarations for Flood.

   These Limits are included in, and not in addition to, any other applicable Limits of Insurance.

D. DEDUCTIBLE

   1.   The Flood Deductible only applies to loss or damage that, but for the application of the Deductible, would be
        paid by us under this Commercial Property Coverage Part.

   2.   With respect to loss or damage caused directly or indirectly by "flood", the Deductible section is replaced by the
        following:

        We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the
        amount of covered loss, damage, cost, or expense exceeds the Flood Deductible shown on the Declarations
        for that "premises". We will then pay for the amount covered loss, damage, cost, or expense in excess of the
        Deductible, up to the applicable Limits of Insurance.

        If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on
        the Declarations will apply separately and individually to covered loss, damage, cost, or expense at each
        "premises".

        The Flood Deductibles apply to all covered loss, damage, cost, or expense covered by "time element coverage"
        when the loss, damage, cost, or expense is caused directly or indirectly by covered "flood" even if no other
        deductible applies to the "time element coverage".

E. COINSURANCE

   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                   SCHEDULE

                                           POWER                                COMMUNICATION
                              Including           Excluding             Including            Excluding
               Water/        Overhead              Overhead            Overhead              Overhead
Premises #     Sewer        T&D Property         T&D Property         T&D Property          T&D Property

1               X                                     X                                          X
5               X                                     X                                          X
6               X                                     X                                          X



A.   COVERAGE

     1.   Blanket Business Income and Extra Expense

          For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
          Expense Limit of Insurance is shown on the Declarations, the following Additional Coverage is added to the
          following forms:

          BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
             EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
          EXTRA EXPENSE COVERAGE FORM

                We will pay for the actual loss of "business income" you sustain and actual and necessary "extra
          expense" you incur, as determined by the applicable Coverage Form, provided such loss and expense was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a.   Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".




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     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income and Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
     Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
     from direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
     premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
     Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense"you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Off-Premises Service Interruption--Extra Expense.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
     Insurance.

4.   Research and Development Continuing Expenses

     For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown
     on the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE

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           FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA
           EXPENSE)--TECHNOLOGY:

           We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
           such "research and development continuing expenses" were caused by an "off-premises service interruption".
           The interruption must result from direct physical loss or damage directly caused by a "covered cause of loss"
           to property:

           a.   Located away from the "premises"; and

           b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Off-Premises Service Interruption--Research and Development Continuing Expenses.

           The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
           Insurance.

B.   With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

     1.    Power

           Power includes all sources of power, including steam and natural gas.

     2.    Reported Unscheduled Premises (RUP)

           The Premises Symbol--RUP means all "reported unscheduled premises".

     3.    T&D Property

           The terms Including Overhead T&D Property and Excluding Overhead T&D Property have the following
           meanings:

           a.   Including Overhead T&D Property means the property providing the applicable service includes
                "overhead transmission and distribution property" and "transmission and distribution property".

           b.   Excluding Overhead T&D Property means the property providing the applicable service includes
                "transmission and distribution property" but does not include "overhead transmission and distribution
                property".

C. ADDITIONAL COVERAGES

     1.    The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
           COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this
           endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
           Interruption Limits of Insurance.

     2.   The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
          BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
          EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
          "research and development continuing expenses" covered by this endorsement. However, these Additional
          Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

     3.   The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM IS extended to
          apply to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
          applicable Off-Premises Service Interruption Limits of Insurance.


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D. ADDITIONAL DEFINITIONS

     The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

     "Transmission and distribution property" means property located away from "premises" and "reported unscheduled
     premises" and used to provide power or communications services to "premises" and "reported unscheduled
     premises", which consists of ground-level or underground wires, cables, lines, conductors, including related
     ground level or underground equipment used with such property.

     "Transmission and distribution property" does not mean "overhead transmission and distribution property".

     "Overhead transmission and distribution poperty" means property located away from "premises" and "reported
     unscheduled premises" and used to provide power or communications services to "premises" and "reported
     unscheduled premises", which consists of:

     a. Overhead wires, cables, lines, conductors, including related equipment used with such property; and

     b. Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

     "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

E.   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F.   DEDUCTIBLE

     We will not pay for any loss of "business income", "extra expense", or "research and development continuing
     expenses" in any one occurrence until the amount of loss or expense exceeds the applicable Deductibles or is
     incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service Interruption--
     Time Element. We will then pay the amount of loss or expense in excess of the Deductibles or incurred after the
     Waiting Periods, up to the applicable Limits of Insurance.

     If a waiting period is shown on the Declarations, the waiting period begins immediately following the direct physical
     loss of or damage to property directly caused by a "covered cause of loss".

     With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to
     "business income", "extra expense", or "research and development continuing expenses" does not apply to
     coverage provided by this endorsement.




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California Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS

A. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by fire:

   We do not provide coverage to the insured who, whether before or after a loss, has committed fraud or
   intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


B. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by a "covered cause of loss" other than fire:

   This Commercial Property Coverage Part is void if any insured, whether before or after a loss, has committed fraud
   or intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


C. Except as provided in D. below, the Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following:

   If we and you disagree on the value of the property or the amount of loss, either may make written request for an
   appraisal of the loss. If the request is accepted, each party will select a competent, disinterested, and impartial
   appraiser who has no direct or indirect financial interest in the claim.       Each party shall notify the other of the
   appraiser selected within 20 days of the request. The two appraisers will select an umpire. If they cannot agree
   within 15 days, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
   will state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
   accordance with the Valuation provisions of the applicable Coverage Form, or if not stated, the "actual cash value"
   and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to
   by any two will be binding. Each party will:

   1.   Pay its chosen appraiser; and
   2. Bear the other expenses of the appraisal and umpire equally.

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   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.

D. The Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the following with respect
   losses covered by the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the
   BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   If we and you disagree on the amount of "net income" and "continuing expenses" or the amount of loss, either may
   make written request for an appraisal of the loss. If the request is accepted, each party will select a competent,
   disinterested, and impartial appraiser who has no direct or indirect financial interest in the claim. Each party shall
   notify the other of the appraiser selected within 20 days of the request. The two appraisers will select an umpire. If
   they cannot agree within 15 days, either may request that selection be made by a judge of a court having
   jurisdiction. The appraisers will state separately the amount of "net income"and "continuing expenses" or amount of
   loss. If they fail to agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:

   a.   Pay its chosen appraiser; and

   b. Bear the other expenses of the appraisal and umpire equally.

   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.




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Florida Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

The following provisions only apply with respect to "premises" and "reported unscheduled premises" in the
state of Florida:

A.   The following provision applies when the Additional Condition--Coinsurance endorsement is applicable:

     Florida Law states as follows:

     Coinsurance contract: The rate charged in this Commercial Property Coverage Part is based upon the use
      of the
     coinsurance clause attached to this Commercial Property Coverage Part, with the consent of the insured.

B.   If wind is a "covered cause of loss" and loss or damage to Covered Property is caused by or resulting from
     wind, the following is added to Section B., Excluded Causes of Loss, in the REAL AND PERSONAL
     PROPERTY COVERAGE FORM and applies in:

     1. Broward County;

     2. Dade County;

     3. Martin County;

     4. Monroe County;

     5. Palm Beach County; and

     6. All the areas east of the west bank of the Intra-Coastal Waterway in the Counties of:

         a. Indian River; and

         b. St. Lucie.

     Wind Exterior

     We will not pay for loss or damage caused by or resulting from wind to paint or waterproofing material
     applied to the exterior of buildings unless the building to which such loss or damage occurs also sustains
     other loss or damage by wind in the course of the same wind event. But such coverage applies only if wind
     is a "covered cause of loss".

     When loss or damage to exterior paint or waterproofing material is excluded, we will not include the value of
     paint or waterproofing material to determine:

     a. The amount of the Wind and Hail Deductible;

     b. The amount of Named Storm Deductible; or

     c. The value of Covered Property when applying the coinsurance percentage.


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C.   Paragraph 6. in the Loss Payment Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the
     following:

     6. If you have complied with all of the terms of this Commercial Property Coverage Part, we will pay for
        covered loss or damage upon the earliest of the following:

         a. Within 20 days after we receive the sworn proof of loss and reach written agreement with you;

         b. Within 30 days after we receive the sworn proof of loss; and

             1) There is an entry of a final judgment; or

             2) There is a filing of an appraisal award with us; or

         c. Within 90 days of receiving notice of claim, unless we deny the claim during that time or factors
            beyond our control reasonably prevent such payment. If a portion of the claim is denied, then the 90
            day time period for payment of claim relates to the portion of the claims that is not denied.

             This paragraph c. applies only to the following:

             1) A claim under the Commercial Property Coverage Part covering residential property;

             2) A claim for "real property" or "personal property" coverage if the insured structure is 10,000
                square feet or less and the Commercial Property Coverage Part covers only "premises" or
                "reported unscheduled premises" in Florida; or

             3) A claim for "personal property" coverage under a tenant's policy if the rented "premises" or
                "reported unscheduled premises" are 10,000 square feet or less and the Commercial
                Property Coverage Part covers only "premises" or "reported unscheduled premises" in
                Florida.

D.   The following are added to the COMMERCIAL PROPERTY DEFINITIONS with respect to coverage
     provided by this endorsement:

     "Catastrophic ground cover collapse" means geological activity that results in all of the following:

     a. The abrupt collapse of the ground cover;

     b. A depression in the ground cover clearly visible to the naked eye;

     c. "Structural damage" to the building, including the foundation; and

     d. The insured structure being condemned and ordered to be vacated by the governmental agency
        authorized by law to issue such an order for that structure.

     "Catastrophic ground cover collapse" does not mean:

     a. Damage consisting of the mere settling or cracking of a foundation, structure, or building;

     b. "Sinkhole collapse"; or

     c. "Earth movement".

     "Structural damage" means a covered building, regardless of the date of its construction, has
     experienced the following:

     a. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the
        Florida Building Code, which results in settlement related damage to the interior such that the interior

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          building structure or members becomes unfit for service or represent a safety hazard as defined within the
          Florida Building code;

     b.   Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or
          the Florida Building Code, which results in settlement related damage to the primary structural members
          or primary structural systems that prevents those members or systems from supporting the loads and
          forces they were designed to support to the extent that stresses in those primary structural members or
          primary structural systems exceed one and one-third the nominal strength allowed under the Florida
          Building Code for new buildings or similar structure, purpose, or "premises";

     c.   Damage that results in listing, leaning, or buckling of the exterior load bearing walls or other vertical
          primary structural members to such extent that a plumb line passing through the center of gravity does
          not fall inside the middle one-third of the base as defined within the Florida Building Code;

     d.   Damage that results in the building, or any portion of the building containing primary structural members
          or primary structural systems, being significantly likely to imminently collapse because of the movement
          or instability of the ground within the influence zone of the supporting ground within the sheer plane
          necessary for the purpose of supporting such building as defined within the Florida Building Code; or

     e.   Damage occurring on or after October 15, 2005, that qualifies as substantial structural damage as
          defined in the Florida Building Code.

E.   The definition of "earth movement" in the COMMERCIAL PROPERTY DEFINITIONS is replaced by the
     following with respect to coverage provided by this endorsement:

     "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost
     heaves), or subsidence other than "sinkhole collapse" and "catastrophic ground cover collapse".

     "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or
     tsunami.

F.   The following is added to the definition of "specified causes of loss":

     "Catastrophic ground cover collapse".




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                                                                                      COMMERCIAL PROPERTY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANCELLATION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

The following is added to the CANCELLATION Com-             C. The building has:
mon Policy Condition:                                          1. An outstanding order to vacate;
If any one of the following conditions exists at any           2. An outstanding demolition order;
building that is Covered Property in this policy, we
may cancel this Coverage Part by mailing or delivering         3. Been declared unsafe by governmental author-
to the first Named Insured written notice of cancella-             ity.
tion at least 5 days before the effective date of cancel-   D. Fixed and salvageable items have been or are
lation.                                                        being removed from the building and are not being
A. The building has been vacant or unoccupied 60 or            replaced. This does not apply to such removal that
    more consecutive days. This does not apply to:             is necessary or incidental to any renovation or re-
                                                               modeling.
     1. Seasonal unoccupancy;
                                                            E. Failure to:
     2. Buildings in the course of construction, reno-
        vation or addition; or                                 1. Furnish necessary heat, water, sewer service
                                                                   or electricity for 30 consecutive days or more,
     3. Buildings to which the Vacancy Permit en-                  except during a period of seasonal unoccu-
        dorsement applies.                                         pancy; or
    Buildings with 65% or more of the rental units or          2. Pay property taxes that are owing and have
    floor area vacant or unoccupied are considered                 been outstanding for more than one year fol-
    unoccupied under this provision.                               lowing the date due, except that this provision
B. After damage by a covered cause of loss, perma-                 will not apply where you are in a bona fide dis-
   nent repairs to the building:                                   pute with the taxing authority regarding pay-
   1. Have not started, and                                        ment of such taxes.
   2. Have not been contracted for,
   within 30 days of initial payment of loss.




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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                      Policy Number:          CPO 5912284-01
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured    OMNICELL INC



  Policy Period: Coverage begins     09-01-2013           at 12:01 A.M.;   Coverage ends          09-01-2014              at 12:01 A.M.


  Producer Name:    MARSH RISK & INSURANCE SERVICES                                        Producer No. 70074-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                    $           2,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $               2,000,000

EACH OCCURRENCE LIMIT                                 $           1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $           1,000,000                   Any one premises

      MEDICAL EXPENSE LIMIT                           $                    10,000             Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $           1,000,000                   Any one person or
                                                                                              organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                           (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:                                                                    $           75,235.00
Other Premium:
Total Premium:                                                                            $           75,235.00




                                                                                                                    U-GL-D-1115-B CW (9/ 04)

                                                                                                           EXHIBIT B PAGE 170
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     THIS EN DORSEMENT CHA N GES THE POLICY . PLEA SE REA D IT CA REFU LLY
T his endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/ Complete d Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                        Sche dule
    1.   U nit of Exposure:




                                                                              X
                                                                              DOMESTIC SALES ONLY – FOREIGN SALES EXCLUDED




    Coverage      / D e scription        U nit of Exposure                  Rate(s)           Estimate d Premium(s)
    Computer Mfg.

    Premises / Operations           $ 360,750,000                  .143                    $ 51,587

    OPERATIONS

    Products/Completed

    Operations                                                     .056                    $ 20,202

    TOTAL RATE /                    PREMIUM                        .199                    $ 71,789



    EMPLOYEE                        BENEFITS                       LIABILITY               $ 574

    SUPPLEMENTAL                    COVERAGE                                               $ 2,872 F/C



    TERRORISM                       (REJECTED)                                             N/A
    (Add more rows as required)

3. D eposit Premium:                  $ 71,789
4. Minimum Premium:                   $ 57,431



                                                                                                         U- GL-872-B CW 04 09
                                                                                                                   P age 1 of 2


                                                                                              EXHIBIT B PAGE 171
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Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:

5.   Premium Audit
     a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
          Schedule above or attached hereto.
     b.   For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first
          day of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the
          statement of audited premium for each audit period, the earned premium due.
     c.   Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will com-
          pute the earned premium for the policy period by multiplying the composite rate against the total developed expo-
          sure. If the earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first
          Named Insured will pay us the excess; if less, we will return the unearned portion to the first Named Insured. How-
          ever, the earned premium will not be less than the Minimum Premium as shown in the Schedule.
     d.   The first Named Insured must maintain records of the information we need for premium computation and send us
          copies at such times as we may request.
     e.   The units of exposure shown in the Schedule are defined as follows:
          1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events
               conducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
          2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
               whether or not the insured actually takes possession of such gases.
          3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any govern-
               mental unit.
          4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos"
               at policy termination.
          5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of
               lodging.
          6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
               manuals.
          7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our
               rating manuals.
          8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course
               during the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total num-
               ber of rounds of golf played.
          9.   Each means the total number of exposure units as described in the exposure basis.
          10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
          11. Total cost means the total cost of all work let or sublet in connection with each specified project including the
              cost of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do
              not include the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor
              does no other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or
              due.
          12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without
              regard to source of revenue, including accounts payable.
          13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by
              a group of unrelated persons living together, or by a person living alone.
          14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to oth-
              ers.
               Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement



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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                     Policy Number:      CPO 5912284-01
Named Insured:      OMNICELL INC


Policy Period: Coverage begins 09-01-2013                  at 12:01 A.M.;   Coverage ends 09-01-2014          at 12:01 A.M.



Producer Name:      MARSH RISK & INSURANCE SERVICES                               Producer No.    70074-000


Item 1. Limits of Insurance



      $     1,000,000 Aggregate Limit
      $     1,000,000 Each Claim Limit

Item 2. Form of Business:
          Individual              Parnership           Joint Venture        X Corporation
          Other



Item 3. Premium Schedule:
    Code No.           Premium Basis                       Rate                               Advance Premium
                       (Estimated Number of Employees)

     92100             1044                                $ INCL              Per Employee   $        INCL

                                                           $ INCL              Flat Charge    $        INCL


Total Advance Premium For This Coverage Part:         $           INCL


Audit Period:     X Annual          Semi-annual           Quarterly            Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
9/01/2012           (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




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Deductible Endorsement Claims-Made
         Policy No.         Exp. D at e of Pol.   Eff. D at e of End.        Agency No.           Addl. Prem.         Return Prem.



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Employee Benefits Liability Coverage Part

It is agreed that the following deductible provisions are               2.     The terms of this Coverage Part apply regardless of
added to the policy as respects the Employee Benefit Li-                       the application of the deductible amount. This in-
ability Coverage Part:                                                         cludes those terms with respect to:
                                                                               a.   Our rights and duties with respect to the de-
    Deductible:       $        1,000                                                fense of "suits"; and
    1.   The deductible amount stated above shall be de-                       b.   The "insured’s" duties in the event of an act, er-
         ducted from the amount of all "claims" arising out
                                                                                    ror, or omission or a "claim" or "suit".
         of the same act, error, or omission. We shall be li-
         able only for the difference between such deducti-             3.     We may pay any part or all of the deductible
         ble amount and the amount of insurance otherwise                      amount to effect settlement of any "claim" or "suit".
         applicable on a per "claim" basis. The Aggregate                      You shall promptly reimburse us for such part of
         Limit will not be reduced by the application of such                  the deductible amount as has been paid by us after
         deductible.                                                           we notify you of our action.




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                                                                               COMMERCIAL GENERAL LIABILITY
                                                                                              CG 00 01 12 07

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.             b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,               "property damage" only if:
duties and what is and is not covered.                              (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                       caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,                   in the "coverage territory";
and any other person or organization qualifying as a                (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we", "us"                   occurs during the policy period; and
and "our" refer to the company providing this insur-
ance.                                                               (3) Prior to the policy period, no insured listed
                                                                        under Paragraph 1. of Section II ---- Who Is
The word "insured" means any person or organization                     An Insured and no "employee" authorized
qualifying as such under Section II ---- Who Is An In-                  by you to give or receive notice of an "oc-
sured.                                                                  currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                        jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V ----                     whole or in part. If such a listed insured or
Definitions.                                                            authorized "employee" knew, prior to the
SECTION I ---- COVERAGES                                                policy period, that the "bodily injury" or
                                                                        "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                                   tinuation, change or resumption of such
DAMAGE LIABILITY                                                        "bodily injury" or "property damage" during
1. Insuring Agreement                                                   or after the policy period will be deemed to
                                                                        have been known prior to the policy period.
   a. We will pay those sums that the insured be-
       comes legally obligated to pay as damages be-             c. "Bodily injury" or "property damage" which
       cause of "bodily injury" or "property damage" to              occurs during the policy period and was not,
       which this insurance applies. We will have the                prior to the policy period, known to have oc-
       right and duty to defend the insured against                  curred by any insured listed under Paragraph
       any "suit" seeking those damages. However, we                 1. of Section II ---- Who Is An Insured or any
       will have no duty to defend the insured against               "employee" authorized by you to give or receive
       any "suit" seeking damages for "bodily injury" or             notice of an "occurrence" or claim, includes any
       "property damage" to which this insurance                     continuation, change or resumption of that
       does not apply. We may, at our discretion, in-                "bodily injury" or "property damage" after the
       vestigate any "occurrence" and settle any claim               end of the policy period.
       or "suit" that may result. But:                           d. "Bodily injury" or "property damage" will be
      (1) The amount we will pay for damages is                      deemed to have been known to have occurred
           limited as described in Section III ---- Limits           at the earliest time when any insured listed un-
           Of Insurance; and                                         der Paragraph 1. of Section II ---- Who Is An In-
                                                                     sured or any "employee" authorized by you to
      (2) Our right and duty to defend ends when we
                                                                     give or receive notice of an "occurrence" or
           have used up the applicable limit of insur-
                                                                     claim:
           ance in the payment of judgments or set-
           tlements under Coverages A or B or medi-                 (1) Reports all, or any part, of the "bodily injury"
           cal expenses under Coverage C.                                or "property damage" to us or any other in-
                                                                         surer;
       No other obligation or liability to pay sums or
       perform acts or services is covered unless ex-               (2) Receives a written or verbal demand or
       plicitly provided for under Supplementary Pay-                   claim for damages because of the "bodily in-
       ments ---- Coverages A and B.                                    jury" or "property damage"; or
                                                                    (3) Becomes aware by any other means that
                                                                        "bodily injury" or "property damage" has oc-
                                                                        curred or has begun to occur.




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   e. Damages because of "bodily injury" include                   c. Liquor Liability
      damages claimed by any person or organiza-                       "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting               any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                      (1) Causing or contributing to the intoxication
2. Exclusions                                                             of any person;
   This insurance does not apply to:                                  (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                         person under the legal drinking age or un-
                                                                          der the influence of alcohol; or
       "Bodily injury" or "property damage" expected
       or intended from the standpoint of the insured.               (3) Any statute, ordinance or regulation relating
       This exclusion does not apply to "bodily injury"                  to the sale, gift, distribution or use of alco-
       resulting from the use of reasonable force to                     holic beverages.
       protect persons or property.                                   This exclusion applies only if you are in the
   b. Contractual Liability                                           business of manufacturing, distributing, selling,
       "Bodily injury" or "property damage" for which                 serving or furnishing alcoholic beverages.
       the insured is obligated to pay damages by rea-            d. Workers’ Compensation And Similar Laws
       son of the assumption of liability in a contract               Any obligation of the insured under a workers’
       or agreement. This exclusion does not apply to                 compensation, disability benefits or unemploy-
       liability for damages:                                         ment compensation law or any similar law.
      (1) That the insured would have in the absence              e. Employer’s Liability
           of the contract or agreement; or
                                                                      "Bodily injury" to:
      (2) Assumed in a contract or agreement that is
           an "insured contract", provided the "bodily               (1) An "employee" of the insured arising out of
           injury" or "property damage" occurs subse-                      and in the course of:
           quent to the execution of the contract or                      (a) Employment by the insured; or
           agreement. Solely for the purposes of liabil-                 (b) Performing duties related to the conduct
           ity assumed in an "insured contract", rea-                         of the insured’s business; or
           sonable attorney fees and necessary litiga-
           tion expenses incurred by or for a party                  (2) The spouse, child, parent, brother or sister
           other than an insured are deemed to be                          of that "employee" as a consequence of
           damages because of "bodily injury" or                           Paragraph (1) above.
           "property damage", provided:                               This exclusion applies whether the insured may
          (a) Liability to such party for, or for the cost            be liable as an employer or in any other capac-
                of, that party’s defense has also been                ity and to any obligation to share damages with
                assumed in the same "insured contract";               or repay someone else who must pay damages
                and                                                   because of the injury.
          (b) Such attorney fees and litigation ex-                   This exclusion does not apply to liability as-
                penses are for defense of that party                  sumed by the insured under an "insured con-
                against a civil or alternative dispute reso-          tract".
                lution proceeding in which damages to
                which this insurance applies are alleged.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened dis-                  or subcontractors working directly or
           charge, dispersal, seepage, migration, re-                     indirectly on any insured’s behalf are
           lease or escape of "pollutants":                               performing operations if the "pollutants"
                                                                          are brought on or to the premises, site
          (a) At or from any premises, site or location                   or location in connection with such op-
               which is or was at any time owned or                       erations by such insured, contractor or
               occupied by, or rented or loaned to, any                   subcontractor. However, this subpara-
               insured. However, this subparagraph                        graph does not apply to:
               does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                        arising out of the escape of fuels, lu-
                  building and caused by smoke,                               bricants or other operating fluids
                 fumes, vapor or soot produced by or                          which are needed to perform the
                  originating from equipment that is                          normal electrical, hydraulic or me-
                  used to heat, cool or dehumidify the                        chanical functions necessary for the
                  building, or equipment that is used to                      operation of "mobile equipment" or its
                  heat water for personal use, by the                         parts, if such fuels, lubricants or
                  building’s occupants or their guests;                       other operating fluids escape from a
            (ii) "Bodily injury" or "property damage"                         vehicle part designed to hold, store
                 for which you may be held liable, if                         or receive them. This exception does
                 you are a contractor and the owner                           not apply if the "bodily injury" or
                  or lessee of such premises, site or                         "property damage" arises out of the
                 location has been added to your pol-                         intentional discharge, dispersal or re-
                  icy as an additional insured with re-                       lease of the fuels, lubricants or other
                  spect to your ongoing operations                            operating fluids, or if such fuels, lu-
                  performed for that additional insured                       bricants or other operating fluids are
                 at that premises, site or location and                       brought on or to the premises, site
                  such premises, site or location is not                      or location with the intent that they
                 and never was owned or occupied                              be discharged, dispersed or released
                  by, or rented or loaned to, any in-                         as part of the operations being per-
                  sured, other than that additional in-                       formed by such insured, contractor
                  sured; or                                                   or subcontractor;
           (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                 arising out of heat, smoke or fumes                          sustained within a building and
                 from a "hostile fire";                                       caused by the release of gases,
                                                                              fumes or vapors from materials
        (b) At or from any premises, site or location
                                                                              brought into that building in connec-
             which is or was at any time used by or
                                                                              tion with operations being performed
             for any insured or others for the han-
                                                                              by you or on your behalf by a con-
             dling, storage, disposal, processing or
                                                                              tractor or subcontractor; or
             treatment of waste;
                                                                        (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time trans-
                                                                              arising out of heat, smoke or fumes
             ported, handled, stored, treated, dis-
                                                                              from a "hostile fire".
             posed of, or processed as waste by or
             for:                                                    (e) At or from any premises, site or location
                                                                          on which any insured or any contractors
             (i) Any insured; or
                                                                          or subcontractors working directly or
            (ii) Any person or organization for                           indirectly on any insured’s behalf are
                 whom you may be legally responsi-                        performing operations if the operations
                  ble; or                                                 are to test for, monitor, clean up, re-
                                                                          move, contain, treat, detoxify or neutral-
                                                                          ize, or in any way respond to, or assess
                                                                          the effects of, "pollutants".




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      (2) Any loss, cost or expense arising out of                 (5) "Bodily injury" or "property damage" arising
           any:                                                         out of:
          (a) Request, demand, order or statutory or                   (a) The operation of machinery or equip-
               regulatory requirement that any insured                     ment that is attached to, or part of, a
               or others test for, monitor, clean up, re-                  land vehicle that would qualify under the
               move, contain, treat, detoxify or neutral-                  definition of "mobile equipment" if it were
               ize, or in any way respond to, or assess                    not subject to a compulsory or financial
               the effects of, "pollutants"; or                            responsibility law or other motor vehicle
          (b) Claim or "suit" by or on behalf of a gov-                    insurance law in the state where it is li-
               ernmental authority for damages be-                         censed or principally garaged; or
               cause of testing for, monitoring, clean-                 (b) the operation of any of the machinery or
               ing up, removing, containing, treating,                      equipment listed in Paragraph f.(2) or
               detoxifying or neutralizing, or in any way                    f.(3) of the definition of "mobile equip-
               responding to, or assessing the effects                       ment".
               of, "pollutants".                                h. Mobile Equipment
           However, this paragraph does not apply to                 "Bodily injury" or "property damage" arising out
           liability for damages because of "property                of:
           damage" that the insured would have in the
           absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
           statutory or regulatory requirement, or such                  an "auto" owned or operated by or rented or
           claim or "suit" by or on behalf of a govern-                  loaned to any insured; or
           mental authority.                                        (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                       in practice for, or while being prepared for,
                                                                         any prearranged racing, speed, demolition,
       "Bodily injury" or "property damage" arising out                  or stunting activity.
       of the ownership, maintenance, use or en-
       trustment to others of any aircraft, "auto" or wa-        i. War
       tercraft owned or operated by or rented or                    "Bodily injury" or "property damage", however
       loaned to any insured. Use includes operation                 caused, arising, directly or indirectly, out of:
       and "loading or unloading".
                                                                    (1) War, including undeclared or civil war;
      This exclusion applies even if the claims                     (2) Warlike action by a military force, including
      against any insured allege negligence or other                    action in hindering or defending against an
      wrongdoing in the supervision, hiring, em-                        actual or expected attack, by any govern-
      ployment, training or monitoring of others by                     ment, sovereign or other authority using
      that insured, if the "occurrence" which caused                    military personnel or other agents; or
      the "bodily injury" or "property damage" in-
      volved the ownership, maintenance, use or en-                 (3) Insurrection, rebellion, revolution, usurped
      trustment to others of any aircraft, "auto" or wa-                power, or action taken by governmental au-
      tercraft that is owned or operated by or rented                   thority in hindering or defending against
      or loaned to any insured.                                         any of these.
      This exclusion does not apply to:                          j. Damage To Property
     (1) A watercraft while ashore on premises you                  "Property damage" to:
          own or rent;                                             (1) Property you own, rent, or occupy, includ-
     (2) A watercraft you do not own that is:                          ing any costs or expenses incurred by you,
                                                                       or any other person, organization or entity,
         (a) Less than 26 feet long; and
                                                                       for repair, replacement, enhancement, res-
        (b) Not being used to carry persons or                         toration or maintenance of such property
             property for a charge;                                    for any reason, including prevention of in-
     (3) Parking an "auto" on, or on the ways next                     jury to a person or damage to another’s
         to, premises you own or rent, provided the                    property;
         "auto" is not owned by or rented or loaned                (2) Premises you sell, give away or abandon, if
         to you or the insured;                                        the "property damage" arises out of any part
     (4) Liability assumed under any "insured con-                     of those premises;
         tract" for the ownership, maintenance or                  (3) Property loaned to you;
         use of aircraft or watercraft; or                         (4) Personal property in the care, custody or
                                                                       control of the insured;



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     (5) That particular part of real property on               This exclusion does not apply to the loss of
         which you or any contractors or subcon-                use of other property arising out of sudden
         tractors working directly or indirectly on             and accidental physical injury to "your product"
         your behalf are performing operations, if the          or "your work" after it has been put to its in-
         "property damage" arises out of those op-              tended use.
         erations; or                                        n. Recall Of Products, Work Or Impaired Property
     (6) That particular part of any property that              Damages claimed for any loss, cost or expense
         must be restored, repaired or replaced be-             incurred by you or others for the loss of use,
         cause "your work" was incorrectly per-                 withdrawal, recall, inspection, repair, replace-
         formed on it.                                          ment, adjustment, removal or disposal of:
      Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
      not apply to "property damage" (other than
      damage by fire) to premises, including the con-           (2) "Your work"; or
      tents of such premises, rented to you for a pe-           (3) "Impaired property";
      riod of 7 or fewer consecutive days. A separate            if such product, work, or property is withdrawn
      limit of insurance applies to Damage To Prem-              or recalled from the market or from use by any
      ises Rented To You as described in Section III             person or organization because of a known or
      ---- Limits Of Insurance.                                  suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply             dangerous condition in it.
      if the premises are "your work" and were never         o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                 "Bodily injury" arising out of "personal and ad-
      Paragraphs (3), (4), (5) and (6) of this exclu-            vertising injury".
      sion do not apply to liability assumed under a
      sidetrack agreement.                                   p. Electronic Data
      Paragraph (6) of this exclusion does not apply            Damages arising out of the loss of, loss of use
      to "property damage" included in the "products-           of, damage to, corruption of, inability to ac-
      completed operations hazard".                             cess, or inability to manipulate electronic data.
  k. Damage To Your Product                                     As used in this exclusion, electronic data
                                                                means information, facts or programs stored as
      "Property damage" to "your product" arising out           or on, created or used on, or transmitted to or
      of it or any part of it.                                  from computer software, including systems and
   l. Damage To Your Work                                       applications software, hard or floppy disks,
      "Property damage" to "your work" arising out of           CD-ROMS, tapes, drives, cells, data processing
      it or any part of it and included in the "prod-           devices or any other media which are used with
      ucts-completed operations hazard".                        electronically controlled equipment.
      This exclusion does not apply if the damaged           q. Distribution Of Material In Violation Of Statutes
      work or the work out of which the damage                  "Bodily injury" or "property damage" arising di-
      arises was performed on your behalf by a sub-             rectly or indirectly out of any action or omis-
      contractor.                                               sion that violates or is alleged to violate:
  m. Damage To Impaired Property Or Property Not                (1) The Telephone Consumer Protection Act
      Physically Injured                                            (TCPA), including any amendment of or
      "Property damage" to "impaired property" or                   addition to such law; or
      property that has not been physically injured,            (2) The CAN-SPAM Act of 2003, including any
      arising out of:                                               amendment of or addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-            (3) Any statute, ordinance or regulation, other
          ous condition in "your product" or "your                  than the TCPA or CAN-SPAM Act of 2003,
          work"; or                                                 that prohibits or limits the sending, transmit-
     (2) A delay or failure by you or anyone acting                 ting, communicating or distribution of mate-
          on your behalf to perform a contract or                   rial or information.
          agreement in accordance with its terms.




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   Exclusions c. through n. do not apply to damage               c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-                 "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                     oral or written publication of material whose
   owner. A separate limit of insurance applies to this              first publication took place before the begin-
   coverage as described in Section III ---- Limits Of In-           ning of the policy period.
   surance.
                                                                 d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                     "Personal and advertising injury" arising out of
                                                                     a criminal act committed by or at the direction
1. Insuring Agreement                                                of the insured.
   a. We will pay those sums that the insured be-                e. Contractual Liability
       comes legally obligated to pay as damages be-
       cause of "personal and advertising injury" to                 "Personal and advertising injury" for which the
       which this insurance applies. We will have the                insured has assumed liability in a contract or
       right and duty to defend the insured against                  agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However, we                 ability for damages that the insured would have
       will have no duty to defend the insured against               in the absence of the contract or agreement.
       any "suit" seeking damages for "personal and               f. Breach Of Contract
       advertising injury" to which this insurance does              "Personal and advertising injury" arising out of
       not apply. We may, at our discretion, investi-                a breach of contract, except an implied contract
       gate any offense and settle any claim or "suit"               to use another’s advertising idea in your "ad-
       that may result. But:                                         vertisement".
      (1) The amount we will pay for damages is                  g. Quality Or Performance Of Goods ---- Failure To
           limited as described in Section III ---- Limits           Conform To Statements
           Of Insurance; and
                                                                      "Personal and advertising injury" arising out of
      (2) Our right and duty to defend end when we
                                                                      the failure of goods, products or services to
           have used up the applicable limit of insur-
                                                                      conform with any statement of quality or per-
           ance in the payment of judgments or set-
                                                                      formance made in your "advertisement".
           tlements under Coverages A or B or medi-
           cal expenses under Coverage C.                        h. Wrong Description Of Prices
      No other obligation or liability to pay sums or                 "Personal and advertising injury" arising out of
      perform acts or services is covered unless ex-                  the wrong description of the price of goods,
      plicitly provided for under Supplementary Pay-                  products or services stated in your "advertise-
      ments ---- Coverages A and B.                                   ment".
   b. This insurance applies to "personal and adver-              i. Infringement Of Copyright, Patent, Trademark
      tising injury" caused by an offense arising out                 Or Trade Secret
      of your business but only if the offense was                    "Personal and advertising injury" arising out of
      committed in the "coverage territory" during the                the infringement of copyright, patent, trade-
      policy period.                                                  mark, trade secret or other intellectual property
2. Exclusions                                                         rights. Under this exclusion, such other intel-
                                                                      lectual property rights do not include the use of
   This insurance does not apply to:
                                                                      another’s advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                          ment".
      "Personal and advertising injury" caused by or                  However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-                 fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-               right, trade dress or slogan.
      other and would inflict "personal and advertis-             j. Insureds In Media And Internet Type
      ing injury".                                                    Businesses
   b. Material Published With Knowledge Of Falsity                    "Personal and advertising injury" committed by
      "Personal and advertising injury" arising out of                an insured whose business is:
      oral or written publication of material, if done               (1) Advertising, broadcasting, publishing or
      by or at the direction of the insured with knowl-                   telecasting;
      edge of its falsity.
                                                                     (2) Designing or determining content of web-
                                                                          sites for others; or




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      (3) An Internet search, access, content or                   (3) Insurrection, rebellion, revolution, usurped
           service provider.                                            power, or action taken by governmental au-
       However, this exclusion does not apply to                        thority in hindering or defending against
       Paragraphs 14.a., b. and c. of "personal and                     any of these.
       advertising injury" under the Definitions Sec-           p. Distribution Of Material In Violation Of Statutes
       tion.                                                        "Personal and advertising injury" arising directly
       For the purposes of this exclusion, the placing              or indirectly out of any action or omission that
       of frames, borders or links, or advertising, for             violates or is alleged to violate:
       you or others anywhere on the Internet, is not              (1) The Telephone Consumer Protection Act
       by itself, considered the business of advertis-                 (TCPA), including any amendment of or
       ing, broadcasting, publishing or telecasting.                   addition to such law; or
  k. Electronic Chatrooms Or Bulletin Boards                       (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of                amendment of or addition to such law; or
       an electronic chatroom or bulletin board the in-            (3) Any statute, ordinance or regulation, other
       sured hosts, owns, or over which the insured                    than the TCPA or CAN-SPAM Act of 2003,
       exercises control.                                              that prohibits or limits the sending, transmit-
   l. Unauthorized Use Of Another’s Name Or                            ting, communicating or distribution of mate-
       Product                                                         rial or information.
       "Personal and advertising injury" arising out of      COVERAGE C MEDICAL PAYMENTS
       the unauthorized use of another’s name or             1. Insuring Agreement
       product in your e-mail address, domain name
       or metatag, or any other similar tactics to mis-         a. We will pay medical expenses as described
       lead another’s potential customers.                          below for "bodily injury" caused by an accident:
  m. Pollution                                                     (1) On premises you own or rent;
       "Personal and advertising injury" arising out of            (2) On ways next to premises you own or rent;
       the actual, alleged or threatened discharge, dis-                or
       persal, seepage, migration, release or escape               (3) Because of your operations;
       of "pollutants" at any time.                                 provided that:
   n. Pollution-Related                                                (a) The accident takes place in the "cover-
       Any loss, cost or expense arising out of any:                        age territory" and during the policy pe-
      (1) Request, demand, order or statutory or                            riod;
           regulatory requirement that any insured or                  (b) The expenses are incurred and reported
           others test for, monitor, clean up, remove,                      to us within one year of the date of the
           contain, treat, detoxify or neutralize, or in                    accident; and
           any way respond to, or assess the effects                   (c) The injured person submits to examina-
           of, "pollutants"; or
                                                                            tion, at our expense, by physicians of
      (2) Claim or suit by or on behalf of a govern-                        our choice as often as we reasonably
           mental authority for damages because of                          require.
           testing for, monitoring, cleaning up, remov-
                                                                b. We will make these payments regardless of
           ing, containing, treating, detoxifying or neu-
                                                                    fault. These payments will not exceed the appli-
           tralizing, or in any way responding to, or               cable limit of insurance. We will pay reasonable
           assessing the effects of, "pollutants".                  expenses for:
   o. War                                                          (1) First aid administered at the time of an acci-
       "Personal and advertising injury", however                       dent;
       caused, arising, directly or indirectly, out of:            (2) Necessary medical, surgical, x-ray and
      (1) War, including undeclared or civil war;                       dental services, including prosthetic de-
      (2) Warlike action by a military force, including                 vices; and
           action in hindering or defending against an             (3) Necessary ambulance, hospital, profes-
           actual or expected attack, by any govern-                    sional nursing and funeral services.
           ment, sovereign or other authority using
           military personnel or other agents; or




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2. Exclusions                                                   f. Prejudgment interest awarded against the in-
   We will not pay expenses for "bodily injury":                   sured on that part of the judgment we pay. If
                                                                   we make an offer to pay the applicable limit of
   a. Any Insured                                                  insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                  terest based on that period of time after the of-
                                                                   fer.
   b. Hired Person
                                                               g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf                that accrues after entry of the judgment and be-
      of any insured or a tenant of any insured.                   fore we have paid, offered to pay, or deposited
   c. Injury On Normally Occupied Premises                         in court the part of the judgment that is within
      To a person injured on that part of premises                 the applicable limit of insurance.
      you own or rent that the person normally oc-             These payments will not reduce the limits of insur-
      cupies.                                                  ance.
   d. Workers Compensation And Similar Laws                 2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of             indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"         to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-            the following conditions are met:
      ers’ compensation or disability benefits law or a        a. The "suit" against the indemnitee seeks dam-
      similar law.                                                 ages for which the insured has assumed the li-
   e. Athletics Activities                                         ability of the indemnitee in a contract or agree-
                                                                   ment that is an "insured contract";
       To a person injured while practicing, instruct-
       ing or participating in any physical exercises or       b. This insurance applies to such liability assumed
       games, sports, or athletic contests.                        by the insured;
    f. Products-Completed Operations Hazard                    c. The obligation to defend, or the cost of the
                                                                   defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-              sumed by the insured in the same "insured
       tions hazard".                                              contract";
   g. Coverage A Exclusions                                    d. The allegations in the "suit" and the information
       Excluded under Coverage A.                                   we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS ---- COVERAGES A                             no conflict appears to exist between the inter-
AND B                                                               ests of the insured and the interests of the in-
                                                                    demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we         e. The indemnitee and the insured ask us to con-
   defend:                                                          duct and control the defense of that indemnitee
                                                                    against such "suit" and agree that we can as-
   a. All expenses we incur.                                        sign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                    and the indemnitee; and
       because of accidents or traffic law violations           f. The indemnitee:
       arising out of the use of any vehicle to which
       the Bodily Injury Liability Coverage applies. We            (1) Agrees in writing to:
       do not have to furnish these bonds.                             (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                        settlement or defense of the "suit";
       only for bond amounts within the applicable                   (b) Immediately send us copies of any de-
       limit of insurance. We do not have to furnish                      mands, notices, summonses or legal
       these bonds.                                                       papers received in connection with the
   d. All reasonable expenses incurred by the in-                         "suit";
       sured at our request to assist us in the investi-              (c) Notify any other insurer whose coverage
       gation or defense of the claim or "suit", includ-                  is available to the indemnitee; and
       ing actual loss of earnings up to $250 a day                  (d) Cooperate with us with respect to coor-
       because of time off from work.                                     dinating other applicable insurance avail-
   e. All court costs taxed against the insured in the                    able to the indemnitee; and
      "suit". However, these payments do not include              (2) Provides us with written authorization to:
      attorneys’ fees or attorneys’ expenses taxed
      against the insured.                                            (a) Obtain records and other information
                                                                          related to the "suit"; and




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          (b) Conduct and control the defense of the         2. Each of the following is also an insured:
               indemnitee in such "suit".                       a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-                  duties related to the conduct of your business,
   neys’ fees incurred by us in the defense of that in-             or your "employees", other than either your "ex-
   demnitee, necessary litigation expenses incurred                 ecutive officers" (if you are an organization
   by us and necessary litigation expenses incurred                 other than a partnership, joint venture or lim-
   by the indemnitee at our request will be paid as                 ited liability company) or your managers (if you
   Supplementary Payments. Notwithstanding the                      are a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I ---- Cov-           within the scope of their employment by you or
   erage A ---- Bodily Injury And Property Damage Li-               while performing duties related to the conduct
   ability, such payments will not be deemed to be                  of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"                ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                     for:
   Our obligation to defend an insured’s indemnitee                (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys’ fees and necessary litiga-                  injury":
   tion expenses as Supplementary Payments ends                        (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                          you are a partnership or joint venture),
   surance in the payment of judgments or settle-                            to your members (if you are a limited li-
   ments or the conditions set forth above, or the                           ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                          while in the course of his or her em-
   above, are no longer met.                                                 ployment or performing duties related to
SECTION II ---- WHO IS AN INSURED                                            the conduct of your business, or to your
1. If you are designated in the Declarations as:                             other "volunteer workers" while perform-
                                                                             ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                          business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                       (b) To the spouse, child, parent, brother or
                                                                             sister of that co-"employee" or "volunteer
   b. A partnership or joint venture, you are an in-                         worker" as a consequence of Paragraph
       sured. Your members, your partners, and their                         (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                          (c) For which there is any obligation to
                                                                           share damages with or repay someone
   c. A limited liability company, you are an insured.                     else who must pay damages because of
       Your members are also insureds, but only with                       the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                       or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                              (d) Arising out of his or her providing or
                                                                           failing to provide professional health
   d. An organization other than a partnership, joint                      care services.
       venture or limited liability company, you are an
       insured. Your "executive officers" and directors            (2) "Property damage" to property:
       are insureds, but only with respect to their du-                (a) Owned, occupied or used by,
       ties as your officers or directors. Your stock-                (b) Rented to, in the care, custody or con-
       holders are also insureds, but only with respect                    trol of, or over which physical control is
       to their liability as stockholders.                                 being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                    you, any of your "employees", "volunteer
       also insureds, but only with respect to their du-                workers", any partner or member (if you are
       ties as trustees.                                                a partnership or joint venture), or any mem-
                                                                        ber (if you are a limited liability company).




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   b. Any person (other than your "employee" or               3. The Products-Completed Operations Aggregate
       "volunteer worker"), or any organization while            Limit is the most we will pay under Coverage A for
       acting as your real estate manager.                       damages because of "bodily injury" and "property
   c. Any person or organization having proper                   damage" included in the "products-completed op-
       temporary custody of your property if you die,            erations hazard".
       but only:                                              4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the           Advertising Injury Limit is the most we will pay un-
           maintenance or use of that property; and              der Coverage B for the sum of all damages be-
                                                                 cause of all "personal and advertising injury" sus-
        (2) Until your legal representative has been             tained by any one person or organization.
             appointed.
                                                              5. Subject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only             applies, the Each Occurrence Limit is the most we
         with respect to duties as such. That representa-         will pay for the sum of:
         tive will have all your rights and duties under
         this Coverage Part.                                      a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other              b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability        because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership                age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named Insured     6. Subject to Paragraph 5. above, the Damage To
    if there is no other similar insurance available to           Premises Rented To You Limit is the most we will
    that organization. However:                                   pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only             "property damage" to any one premises, while
         until the 90th day after you acquire or form the         rented to you, or in the case of damage by fire,
         organization or the end of the policy period,            while rented to you or temporarily occupied by you
         whichever is earlier;                                    with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or        7. Subject to Paragraph 5. above, the Medical Ex-
         "property damage" that occurred before you               pense Limit is the most we will pay under Cover-
         acquired or formed the organization; and                 age C for all medical expenses because of "bodily
    c. Coverage B does not apply to "personal and                 injury" sustained by any one person.
         advertising injury" arising out of an offense        The Limits of Insurance of this Coverage Part apply
         committed before you acquired or formed the          separately to each consecutive annual period and to
         organization.                                        any remaining period of less than 12 months, starting
No person or organization is an insured with respect          with the beginning of the policy period shown in the
to the conduct of any current or past partnership,            Declarations, unless the policy period is extended
joint venture or limited liability company that is not        after issuance for an additional period of less than 12
shown as a Named Insured in the Declarations.                 months. In that case, the additional period will be
                                                              deemed part of the last preceding period for purposes
SECTION III ---- LIMITS OF INSURANCE                          of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations          SECTION IV ---- COMMERCIAL GENERAL LIABILITY
    and the rules below fix the most we will pay re-          CONDITIONS
    gardless of the number of:
                                                              1. Bankruptcy
    a. Insureds;
                                                                  Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                          insured’s estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                   tions under this Coverage Part.
      bringing "suits".                                       2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will                Claim Or Suit
   pay for the sum of:                                            a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                              as practicable of an "occurrence" or an offense
                                                                      which may result in a claim. To the extent pos-
   b. Damages under Coverage A, except damages
                                                                      sible, notice should include:
      because of "bodily injury" or "property damage"
      included in the "products-completed operations                 (1) How, when and where the "occurrence" or
      hazard"; and                                                        offense took place;
   c. Damages under Coverage B.                                      (2) The names and addresses of any injured
                                                                          persons and witnesses; and




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      (3) The nature and location of any injury or            4. Other Insurance
          damage arising out of the "occurrence" or              If other valid and collectible insurance is available
          offense.                                               to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against            ages A or B of this Coverage Part, our obligations
       any insured, you must:                                    are limited as follows:
      (1) Immediately record the specifics of the claim          a. Primary Insurance
          or "suit" and the date received; and                       This insurance is primary except when Para-
      (2) Notify us as soon as practicable.                          graph b. below applies. If this insurance is pri-
       You must see to it that we receive written no-                mary, our obligations are not affected unless
       tice of the claim or "suit" as soon as practicable.           any of the other insurance is also primary.
                                                                     Then, we will share with all that other insurance
   c. You and any other involved insured must:                       by the method described in Paragraph c. be-
      (1) Immediately send us copies of any de-                      low.
            mands, notices, summonses or legal papers            b. Excess Insurance
            received in connection with the claim or
            "suit";                                                 (1) This insurance is excess over:
      (2) Authorize us to obtain records and other                      (a) Any of the other insurance, whether
            information;                                                      primary, excess, contingent or on any
                                                                              other basis:
      (3) Cooperate with us in the investigation or
            settlement of the claim or defense against                        (i) That is Fire, Extended Coverage,
            the "suit"; and                                                       Builder’s Risk, Installation Risk or
                                                                                  similar coverage for "your work";
      (4) Assist us, upon our request, in the en-
                                                                             (ii) That is Fire insurance for premises
            forcement of any right against any person
                                                                                  rented to you or temporarily occu-
            or organization which may be liable to the
            insured because of injury or damage to                                pied by you with permission of the
            which this insurance may also apply.                                  owner;
   d. No insured will, except at that insured’s own                        (iii) That is insurance purchased by you
       cost, voluntarily make a payment, assume any                               to cover your liability as a tenant for
       obligation, or incur any expense, other than for                           "property damage" to premises
       first aid, without our consent.                                            rented to you or temporarily occu-
                                                                                  pied by you with permission of the
3. Legal Action Against Us                                                        owner; or
   No person or organization has a right under this                        (iv) If the loss arises out of the mainte-
   Coverage Part:                                                                 nance or use of aircraft, "autos" or
   a. To join us as a party or otherwise bring us into                            watercraft to the extent not subject to
       a "suit" asking for damages from an insured; or                            Exclusion g. of Section I ---- Coverage
                                                                                  A ---- Bodily Injury And Property Dam-
   b. To sue us on this Coverage Part unless all of
                                                                                  age Liability.
       its terms have been fully complied with.
                                                                        (b) Any other primary insurance available to
   A person or organization may sue us to recover                             you covering liability for damages arising
   on an agreed settlement or on a final judgment                             out of the premises or operations, or the
   against an insured; but we will not be liable for                          products and completed operations, for
   damages that are not payable under the terms of                            which you have been added as an addi-
   this Coverage Part or that are in excess of the ap-
                                                                              tional insured by attachment of an en-
   plicable limit of insurance. An agreed settlement
                                                                              dorsement.
   means a settlement and release of liability signed
   by us, the insured and the claimant or the claim-                (2) When this insurance is excess, we will have
   ant’s legal representative.                                           no duty under Coverages A or B to defend
                                                                         the insured against any "suit" if any other
                                                                         insurer has a duty to defend the insured
                                                                         against that "suit". If no other insurer de-
                                                                         fends, we will undertake to do so, but we
                                                                         will be entitled to the insured’s rights
                                                                         against all those other insurers.




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      (3) When this insurance is excess over other               c. We have issued this policy in reliance upon
           insurance, we will pay only our share of the              your representations.
           amount of the loss, if any, that exceeds the       7. Separation Of Insureds
           sum of:
                                                                 Except with respect to the Limits of Insurance, and
          (a) The total amount that all such other               any rights or duties specifically assigned in this
              insurance would pay for the loss in the            Coverage Part to the first Named Insured, this in-
              absence of this insurance; and                     surance applies:
         (b) The total of all deductible and self-               a. As if each Named Insured were the only Named
              insured amounts under all that other in-               Insured; and
              surance.
                                                                 b. Separately to each insured against whom claim
      (4) We will share the remaining loss, if any, with             is made or "suit" is brought.
           any other insurance that is not described in
           this Excess Insurance provision and was            8. Transfer Of Rights Of Recovery Against Others To
           not bought specifically to apply in excess of         Us
           the Limits of Insurance shown in the Decla-           If the insured has rights to recover all or part of
           rations of this Coverage Part.                        any payment we have made under this Coverage
   c. Method Of Sharing                                          Part, those rights are transferred to us. The in-
                                                                 sured must do nothing after loss to impair them. At
       If all of the other insurance permits contribution        our request, the insured will bring "suit" or transfer
       by equal shares, we will follow this method               those rights to us and help us enforce them.
       also. Under this approach each insurer con-
       tributes equal amounts until it has paid its ap-       9. When We Do Not Renew
       plicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
       remains, whichever comes first.                           will mail or deliver to the first Named Insured
       If any of the other insurance does not permit             shown in the Declarations written notice of the
       contribution by equal shares, we will contribute          nonrenewal not less than 30 days before the expi-
       by limits. Under this method, each insurer’s              ration date.
       share is based on the ratio of its applicable limit       If notice is mailed, proof of mailing will be sufficient
       of insurance to the total applicable limits of in-        proof of notice.
       surance of all insurers.                               SECTION V ---- DEFINITIONS
5. Premium Audit                                              1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Coverage             or published to the general public or specific mar-
       Part in accordance with our rules and rates.              ket segments about your goods, products or ser-
   b. Premium shown in this Coverage Part as ad-                 vices for the purpose of attracting customers or
       vance premium is a deposit premium only. At               supporters. For the purposes of this definition:
       the close of each audit period we will compute            a. Notices that are published include material
       the earned premium for that period and send                   placed on the Internet or on similar electronic
       notice to the first Named Insured. The due date               means of communication; and
       for audit and retrospective premiums is the               b. Regarding web-sites, only that part of a web-
       date shown as the due date on the bill. If the                site that is about your goods, products or ser-
       sum of the advance and audit premiums paid
                                                                     vices for the purposes of attracting customers
       for the policy period is greater than the earned
                                                                     or supporters is considered an advertisement.
       premium, we will return the excess to the first
       Named Insured.                                         2. "Auto" means:
   c. The first Named Insured must keep records of               a. A land motor vehicle, trailer or semitrailer de-
       the information we need for premium computa-                  signed for travel on public roads, including any
       tion, and send us copies at such times as we                  attached machinery or equipment; or
       may request.                                              b. Any other land vehicle that is subject to a com-
6. Representations                                                   pulsory or financial responsibility law or other
                                                                     motor vehicle insurance law in the state where
   By accepting this policy, you agree:                              it is licensed or principally garaged.
   a. The statements in the Declarations are accurate            However, "auto" does not include "mobile equip-
       and complete;                                             ment".
   b. Those statements are based upon representa-
       tions you made to us; and




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3. "Bodily injury" means bodily injury, sickness or           9. "Insured contract" means:
   disease sustained by a person, including death re-            a. A contract for a lease of premises. However,
   sulting from any of these at any time.                            that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                       ises that indemnifies any person or organiza-
   a. The United States of America (including its                    tion for damage by fire to premises while rented
       territories and possessions), Puerto Rico and                 to you or temporarily occupied by you with per-
       Canada;                                                       mission of the owner is not an "insured con-
                                                                     tract";
   b. International waters or airspace, but only if the
                                                                 b. A sidetrack agreement;
       injury or damage occurs in the course of travel
       or transportation between any places included             c. Any easement or license agreement, except in
       in Paragraph a. above; or                                     connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-             erations on or within 50 feet of a railroad;
       age arises out of:                                        d. An obligation, as required by ordinance, to
      (1) Goods or products made or sold by you in                   indemnify a municipality, except in connection
           the territory described in Paragraph a.                   with work for a municipality;
           above;                                                e. An elevator maintenance agreement;
      (2) The activities of a person whose home is in             f. That part of any other contract or agreement
           the territory described in Paragraph a.                   pertaining to your business (including an in-
           above, but is away for a short time on your               demnification of a municipality in connection
           business; or                                              with work performed for a municipality) under
      (3) "Personal and advertising injury" offenses                 which you assume the tort liability of another
           that take place through the Internet or simi-             party to pay for "bodily injury" or "property
           lar electronic means of communication                     damage" to a third person or organization. Tort
                                                                     liability means a liability that would be imposed
     provided the insured’s responsibility to pay dam-               by law in the absence of any contract or agree-
     ages is determined in a "suit" on the merits, in the            ment.
     territory described in Paragraph a. above or in a
     settlement we agree to.                                         Paragraph f. does not include that part of any
                                                                     contract or agreement:
5.   "Employee" includes a "leased worker". "Employee"
     does not include a "temporary worker".                         (1) That indemnifies a railroad for "bodily injury"
                                                                         or "property damage" arising out of con-
6.   "Executive officer" means a person holding any of                   struction or demolition operations, within 50
     the officer positions created by your charter, con-                 feet of any railroad property and affecting
     stitution, by-laws or any other similar governing                   any railroad bridge or trestle, tracks, road-
     document.                                                           beds, tunnel, underpass or crossing;
7.   "Hostile fire" means one which becomes uncontrol-              (2) That indemnifies an architect, engineer or
     lable or breaks out from where it was intended to                   surveyor for injury or damage arising out
     be.                                                                 of:
8.   "Impaired property" means tangible property, other                 (a) Preparing, approving, or failing to pre-
     than "your product" or "your work", that cannot be                      pare or approve, maps, shop drawings,
     used or is less useful because:                                         opinions, reports, surveys, field orders,
     a. It incorporates "your product" or "your work"                        change orders or drawings and specifi-
         that is known or thought to be defective, defi-                     cations; or
         cient, inadequate or dangerous; or                            (b) Giving directions or instructions, or
     b. You have failed to fulfill the terms of a contract                  failing to give them, if that is the primary
         or agreement;                                                      cause of the injury or damage; or
     if such property can be restored to use by the re-             (3) Under which the insured, if an architect,
     pair, replacement, adjustment or removal of "your                  engineer or surveyor, assumes liability for
     product" or "your work" or your fulfilling the terms               an injury or damage arising out of the in-
     of the contract or agreement.                                      sured’s rendering or failure to render pro-
                                                                        fessional services, including those listed in
                                                                        (2) above and supervisory, inspection, ar-
                                                                        chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                   However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                   lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                 ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                  considered "autos":
    worker" does not include a "temporary worker".                   (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                         (a) Snow removal;
    property:
                                                                        (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                          or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                            (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or               (2) Cherry pickers and similar devices mounted
       "auto"; or                                                         on automobile or truck chassis and used to
                                                                          raise or lower workers; and
    c. While it is being moved from an aircraft, water-
       craft or "auto" to the place where it is finally de-          (3) Air compressors, pumps and generators,
       livered;                                                           including spraying, welding, building clean-
                                                                          ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                       well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-              However, "mobile equipment" does not include any
    tached to the aircraft, watercraft or "auto".                 land vehicles that are subject to a compulsory or
                                                                  financial responsibility law or other motor vehicle
12. "Mobile equipment" means any of the following                 insurance law in the state where it is licensed or
    types of land vehicles, including any attached ma-            principally garaged. Land vehicles subject to a
    chinery or equipment:                                         compulsory or financial responsibility law or other
    a. Bulldozers, farm machinery, forklifts and other            motor vehicle insurance law are considered
       vehicles designed for use principally off public           "autos".
       roads;                                                  13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to             tinuous or repeated exposure to substantially the
        premises you own or rent;                                  same general harmful conditions.
   c. Vehicles that travel on crawler treads;                  14. "Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-               including consequential "bodily injury", arising out
        tained primarily to provide mobility to perma-             of one or more of the following offenses:
        nently mounted:                                            a. False arrest, detention or imprisonment;
       (1) Power cranes, shovels, loaders, diggers or              b. Malicious prosecution;
            drills; or                                             c. The wrongful eviction from, wrongful entry
       (2) Road construction or resurfacing equip-                     into, or invasion of the right of private occu-
            ment such as graders, scrapers or rollers;                 pancy of a room, dwelling or premises that a
   e. Vehicles not described in Paragraph a., b., c.                   person occupies, committed by or on behalf of
        or d. above that are not self-propelled and are                its owner, landlord or lessor;
        maintained primarily to provide mobility to per-           d. Oral or written publication, in any manner, of
        manently attached equipment of the following                   material that slanders or libels a person or or-
        types:                                                         ganization or disparages a person’s or organi-
       (1) Air compressors, pumps and generators,                      zation’s goods, products or services;
            including spraying, welding, building clean-           e. Oral or written publication, in any manner, of
            ing, geophysical exploration, lighting and                 material that violates a person’s right of pri-
            well servicing equipment; or                               vacy;
       (2) Cherry pickers and similar devices used to               f. The use of another’s advertising idea in your
            raise or lower workers;                                    "advertisement"; or
    f. Vehicles not described in Paragraph a., b., c.              g. Infringing upon another’s copyright, trade
        or d. above maintained primarily for purposes                  dress or slogan in your "advertisement".
        other than the transportation of persons or
        cargo.




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15. "Pollutants" mean any solid, liquid, gaseous or               b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,                 physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and                 deemed to occur at the time of the "occurrence"
    waste. Waste includes materials to be recycled, re-               that caused it.
    conditioned or reclaimed.                                     For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                       is not tangible property.
    a. Includes all "bodily injury" and "property dam-            As used in this definition, electronic data means in-
       age" occurring away from premises you own or               formation, facts or programs stored as or on, cre-
       rent and arising out of "your product" or "your            ated or used on, or transmitted to or from com-
       work" except:                                              puter software, including systems and applications
      (1) Products that are still in your physical pos-           software, hard or floppy disks, CD-ROMS, tapes,
           session; or                                            drives, cells, data processing devices or any other
                                                                  media which are used with electronically controlled
      (2) Work that has not yet been completed or                 equipment.
           abandoned. However, "your work" will be
           deemed completed at the earliest of the fol-       18. "Suit" means a civil proceeding in which damages
           lowing times:                                          because of "bodily injury", "property damage" or
                                                                  "personal and advertising injury" to which this in-
          (a) When all of the work called for in your             surance applies are alleged. "Suit" includes:
               contract has been completed.
                                                                  a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                   ages are claimed and to which the insured
               job site has been completed if your con-               must submit or does submit with our consent;
               tract calls for work at more than one job              or
               site.
                                                                  b. Any other alternative dispute resolution pro-
          (c) When that part of the work done at a job                ceeding in which such damages are claimed
               site has been put to its intended use by               and to which the insured submits with our con-
               any person or organization other than                  sent.
               another contractor or subcontractor
                                                              19. "Temporary worker" means a person who is fur-
               working on the same project.
                                                                  nished to you to substitute for a permanent "em-
           Work that may need service, maintenance,               ployee" on leave or to meet seasonal or short-term
           correction, repair or replacement, but which           workload conditions.
           is otherwise complete, will be treated as
           completed.                                         20. "Volunteer worker" means a person who is not
                                                                  your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property               and acts at the direction of and within the scope of
       damage" arising out of:                                    duties determined by you, and is not paid a fee,
      (1) The transportation of property, unless the              salary or other compensation by you or anyone
           injury or damage arises out of a condition in          else for their work performed for you.
           or on a vehicle not owned or operated by           21. "Your product":
           you, and that condition was created by the
           "loading or unloading" of that vehicle by any          a. Means:
           insured;                                                  (1) Any goods or products, other than real
      (2) The existence of tools, uninstalled equip-                      property, manufactured, sold, handled, dis-
           ment or abandoned or unused materials; or                      tributed or disposed of by:
                                                                         (a) You;
       (3) Products or operations for which the classi-
            fication, listed in the Declarations or in a               (b) Others trading under your name; or
            policy schedule, states that products-                      (c) A person or organization whose busi-
            completed operations are subject to the                         ness or assets you have acquired; and
            General Aggregate Limit.
                                                                    (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                             parts or equipment furnished in connection
    a. Physical injury to tangible property, including                   with such goods or products.
        all resulting loss of use of that property. All          b. Includes:
        such loss of use shall be deemed to occur at
        the time of the physical injury that caused it; or          (1) Warranties or representations made at any
                                                                         time with respect to the fitness, quality, du-
                                                                         rability, performance or use of "your prod-
                                                                         uct"; and




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       (2) The providing of or failure to provide warn-
           ings or instructions.
    c. Does not include vending machines or other
        property rented to or located for the use of oth-
        ers but not sold.
22. "Your work":
    a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
   b. Includes:
      (1) Warranties or representations made at any
          time with respect to the fitness, quality, du-
          rability, performance or use of "your work",
          and
      (2) The providing of or failure to provide warn-
          ings or instructions.




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                                                                              COMMERCIAL GENERAL LIABILITY
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                    employment, during employment or after em-
       ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 73 01 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS / COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


A. The following exclusion is added:                             2. "Certified act of terrorism" means an act that is
   This insurance does not apply to:                                certified by the Secretary of the Treasury, in
                                                                    concurrence with the Secretary of State and
   TERRORISM                                                        the Attorney General of the United States, to be
   "Any injury or damage" arising, directly or indi-                an act of terrorism pursuant to the federal Ter-
   rectly, out of a "certified act of terrorism".                   rorism Risk Insurance Act. The criteria con-
                                                                    tained in the Terrorism Risk Insurance Act for a
B. The following definitions are added:                             "certified act of terrorism" include the following:
   1. For the purposes of this endorsement, "any
                                                                    a. The act resulted in insured losses in excess
      injury or damage" means any injury or damage
                                                                       of $5 million in the aggregate, attributable to
      covered under any Coverage Part to which this
                                                                       all types of insurance subject to the Terror-
      endorsement is applicable, and includes but is
                                                                       ism Risk Insurance Act; and
      not limited to "bodily injury", "property damage",
      "personal and advertising injury", "injury" or "en-           b. The act is a violent act or an act that is
      vironmental damage" as may be defined in any                     dangerous to human life, property or infra-
      applicable Coverage Part.                                        structure and is committed by an individual
                                                                       or individuals as part of an effort to coerce
                                                                       the civilian population of the United States
                                                                       or to influence the policy or affect the con-
                                                                       duct of the United States Government by
                                                                       coercion.




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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                 CG 22 75 07 98

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                             PROFESSIONAL LIABILITY EXCLUSION -
                                   COMPUTER SOFTWARE


This endorsement modifies insurance provided under the following:

    COMM ERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Section I -                       tion with the selling, licensing, franchising or fur-
   Coverage A - Bodily Injury And Property Damage                        nishing of your computer software including elec-
   Liability and Section I - Coverage B - Personal                       tronic data processing programs, designs, specifi-
   And Advertising Injury Liability:                                     cations, manuals and instructions, Exclusion 2.b. -
                                                                         Contractual Liability under Section I - Coverage A
    This insurance does not apply to "bodily injury",                    - Bodily Injury And Property Damage Liability is
    "property damage" or "personal and advertising in-                   replaced by the following:
    jury" arising out of the rendering of or failure to
    render any service by you or on your behalf in con-                  2.   Exclusions
    nection with the selling, licensing, franchising or
    furnishing of your computer software including                            This insurance does not apply to:
    electronic data processing programs, designs, spec-
    ifications, manuals and instructions.                                     b. "Bodily injury" or "property damage" for
                                                                                 which the insured is obligated to pay dam-
B. With respect to the rendering of or failure to ren-                           ages by reason of the assumption of lia-
   der any service by you or on your behalf in connec-                           bility in a contract or agreement.




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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 32 34 01 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS / COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under Califor-
nia law.




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General Liability Supplemental Coverage Endorsement
Technology

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following changes apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any provisions to the contrary in this General Liability Supplemental Coverage Endorsement.

A.   Broadened Named Insured

     1.   The following is added to Section II ---- Who Is An Insured:

          Any organization of yours, other than a partnership or joint venture, which is not shown in the Declarations,
          and over which you maintain an ownership interest of more than 50% of such organization as of the effective
          date of this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a
          Named Insured under this provision if it:

          a.    Is newly acquired or formed during the policy period;

          b.    Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                Coverage Part; or

          c.    Would be an insured under another policy but for its termination or the exhaustion of its limits of
                insurance.

          Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
          more than 50% in the organization during the policy period.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

B.   Newly Acquired or Formed Organizations as Named Insureds

     1.   Paragraph 3. of Section II ---- Who Is An Insured is replaced by the following:

          3.    Any organization you newly acquire or form during the policy period, other than a partnership or joint
                venture, and over which you maintain an ownership interest of more than 50% of such organization, will
                qualify as a Named Insured if there is no other similar insurance available to that organization. However:

                a.   Coverage under this provision is afforded only until the 180th day after you acquire or form the
                     organization or the end of the policy period, whichever is earlier;

                b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                   or formed the organization; and

                c.   Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                     before you acquired or formed the organization.



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                An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                or formed the organization.

     2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.

C.   Insured Status ---- Employees

     Paragraph 2.a.(1) of Section II ---- Who Is An Insured is replaced by the following:

     2.   Each of the following is also an insured:

          a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                "employees", other than either your "executive officers" (if you are an organization other than a
                partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                company), but only for acts within the scope of their employment by you or while performing duties
                related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                insureds for:

                (1) "Bodily injury" or "personal and advertising injury":

                    (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                        (if you are a limited liability company), to a co-"employee" while in the course of his or her
                        employment or performing duties related to the conduct of your business, or to your other
                        "volunteer workers" while performing duties related to the conduct of your business;

                    (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                        consequence of Paragraph (1)(a) above;

                    (c) For which there is any obligation to share damages with or repay someone else who must pay
                        damages because of the injury described in Paragraphs (1)(a) or (b) above; or

                    (d) Arising out of his or her providing or failing to provide professional health care services.

                However:

                Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                conduct of your business.

                "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                situation for which no remuneration is demanded or received.

                Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                performed.

D.   Additional Insureds ---- Lessees of Premises

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who leases or rents
     a part of the premises you own or manage who you are required to add as an additional insured on this policy
     under a written contract or written agreement, but only with respect to liability arising out of your ownership,
     maintenance or repair of that part of the premises which is not reserved for the exclusive use or occupancy of such
     person or organization or any other tenant or lessee.


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     This provision does not apply:

     (1) To liability arising out of such person’s or organization’s sole negligence; or

     (2) After the person or organization ceases to lease or rent premises from you.

E.   Additional Insured --- Vendors

     The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
     damage" included in the "products-completed operations hazard":

     Section II ---- Who Is An Insured is amended to include as an insured any person or organization (referred to below
     as vendor) who you have agreed in a written contract or written agreement, prior to loss, to name as an additional
     insured, but only with respect to "bodily injury" or "property damage" arising out of "your products" which are
     distributed or sold in the regular course of the vendor’s business, subject to the following additional provisions:

     1.   The insurance afforded the vendor does not apply to:

          a.   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
               assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
               that the vendor would have in the absence of the contract or agreement;

          b.    Any express warranty unauthorized by you;

          c.    Any physical or chemical change in the product made intentionally by the vendor;

          d.   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
               substitution of parts under instructions from the manufacturer, and then repackaged in the original
               container;

          e.    Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make or
                normally undertakes to make in the usual course of business, in connection with the distribution or sale of
                the products;

          f.   Demonstration, installation, servicing or repair operations, except such operations performed at the
               vendor’s premises in connection with the sale of the product;

          g.    Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                part or ingredient of any other thing or substance by or for the vendor; or

          h.   "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
               omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
               apply to:

                (1) The exceptions contained in Subparagraphs d. or f.; or

                (2) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                    undertakes to make in the usual course of business, in connection with the distribution or sale of the
                    products.

     2.   This insurance does not apply to any insured person or organization, from whom you have acquired such
          products, or any ingredient, part or container, entering into, accompanying or containing such products.

     3.   This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
          Part.

F.   Additional Insured --- Managers, Lessors or Governmental Entity


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     Section II ---- Who Is An Insured is amended to include as an insured any person or organization who is a manager,
     lessor or governmental entity who you are required to add as an additional insured on this policy under a written
     contract, written agreement or permit, but only with respect to liability for "bodily injury", "property damage" or
     "personal and advertising injury" caused, in whole or in part, by:

     a.   Your acts or omissions; or

     b. The acts or omission of those acting on your behalf; and

     resulting directly from:

     a. Operations performed by you or on your behalf for which the state or political subdivision has issued a permit;

     b. Ownership, maintenance, occupancy or use of premises by you; or

     c.   Maintenance, operation or use by you of equipment leased to you by such person or organization.

     This provision does not apply:

     a.   Unless the written contract or written agreement has been executed, or the permit has been issued, prior to the
          "bodily injury", "property damage" or offense that caused "personal and advertising injury";

     b. To any person or organization:

          (1)   For "bodily injury", "property damage" or "personal and advertising injury" arising out of its sole
                negligence;

          (2)   Included as an insured under Paragraph 3. of Section II ---- Who Is An Insured;

     c.   To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;

     d. To any:

          (1)   Owners or other interests from whom land has been leased by you; or

          (2)   Managers or lessors of premises, if:

                (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a tenant in
                    that premises;

                (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the structural
                    alterations, new construction or demolition operations performed by or on behalf of the manager or
                    lessor; or

                (c) The premises are excluded under this Coverage Part.

G.   Damage to Premises Rented or Occupied by You

     1.   The last paragraph under Paragraph 2., Exclusions of Section I --- Coverage A ---- Bodily Injury And Property
          Damage Liability is replaced by the following:

          Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or
          temporarily occupied by you with permission of the owner. A separate Damage to Premises Rented To You
          Limit of Insurance applies to this coverage as described in Section III ---- Limits Of Insurance.

     2.   Paragraph 6. of Section III ---- Limits Of Insurance is replaced by the following:



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          6.      Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay
                  under Coverage A for damages because of "property damage" to any one premises while rented to you, or
                  in the case of damage by one or more "specific perils" to any one premises, while rented to you or
                  temporarily occupied by you with permission of the owner.

H.   Broadened Contractual Liability

     Definition 9. in Section V ---- Definitions is replaced by the following:

     9.   "Insured contract" means:

          a.      A contract for a lease of premises. However, that portion of the contract for a lease of premises that
                  indemnifies any person or organization for damage by "specific perils" to premises while rented to you or
                  temporarily occupied by you with permission of the owner is not an "insured contract";

          b.      A sidetrack agreement;

          c.      Any easement or license agreement;

          d.      An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
                  municipality;

          e.      An elevator maintenance agreement;

          f.      That part of any other contract or agreement pertaining to your business (including an indemnification of
                  a municipality in connection with work performed for a municipality) under which you assume the tort
                  liability of another party to pay for "bodily injury", "property damage", or "personal and advertising injury"
                  arising out of the offenses of false arrest, detention or imprisonment, to a third person or organization.
                  Tort liability means a liability that would be imposed by law in the absence of any contract or agreement.

                  Paragraph f. does not include that part of any contract or agreement:

                  (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:

                      (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports,
                          surveys, field orders, change orders or drawings and specifications; or

                      (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                          damage; or

                  (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                      damage arising out of the insured’s rendering or failure to render professional services, including
                      those listed in Paragraph (1) above and supervisory, inspection, architectural or engineering activities.

I.   Definition ---- Specific Perils

     The following definition is added to Section V ---- Definitions:

     "Specific perils" mean:
     a.   Fire;
     b. Lightning;
     c.   Explosion;
     d. Windstorm or hail;
     e. Smoke;
     f.   Aircraft or vehicles;

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     g. Vandalism;
     h. Weight of snow, ice or sleet;
     i.   Leakage from fire extinguishing equipment, including sprinklers; or
     j.   Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
          steam.

J.   Limited Contractual Liability Coverage ---- Personal and Advertising Injury

     1.   Exclusion e. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

          2.    Exclusions

                This insurance does not apply to:

                e.   Contractual Liability

                     "Personal and advertising injury" for which the insured has assumed liability in a contract or
                     agreement.

                     This exclusion does not apply to:

                     (1) Liability for damages that the insured would have in the absence of the contract or agreement; or

                     (2) Liability for "personal and advertising injury" if:

                         (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                             imprisonment;

                         (b) The liability pertains to your business and is assumed in a written contract or written
                             agreement in which you assume the tort liability of another. Tort liability means a liability that
                             would be imposed by law in the absence of any contract or agreement; and

                         (c) The "personal and advertising injury" occurs subsequent to the execution of the written
                             contract or written agreement.

                         Solely for purposes of liability so assumed in such written contract or written agreement,
                         reasonable attorney fees and necessary litigation expenses incurred by or for a party other than
                         an insured are deemed to be damages because of "personal and advertising injury" described in
                         Paragraph (a) above, provided:

                         (i) Liability to such party for, or for the cost of, that party’s defense has also been assumed in
                             the same written contract or written agreement; and

                         (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                              alternative dispute resolution proceeding in which damages to which this insurance applies
                              are alleged.

     2.   Paragraph 2.d. of Section I ---- Supplementary Payments --- Coverages A And B is replaced by the following:

          d.    The allegations in the "suit" and the information we know about the "occurrence" or offense are such that
                no conflict appears to exist between the interests of the insured and the interests of the indemnitee;

     3.   The following is added to the paragraph directly following Paragraph 2.f. of Section I ---- Supplementary
          Payments ---- Coverages A And B:




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          Notwithstanding the provisions of Paragraph 2.e.(2) of Section I ---- Coverage B --- Personal And Advertising
          Injury Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will
          not reduce the limits of insurance.

K.   Internet and Multimedia Services

     Exclusion j. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:

     2.   Exclusions

          This insurance does not apply to:

          j.    Insureds In Media And Internet Type Businesses

                "Personal and advertising injury" committed by an insured whose business is:

                (1) Advertising, broadcasting, publishing or telecasting;

                (2) Designing or determining content of websites for others; or

                (3) An Internet search, access, content or service provider; and

                arising out of goods, products or services provided by any insured to others.

                However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
                under the Definitions Section.

                For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or
                others anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting,
                publishing or telecasting.

L.   Supplementary Payments

     The following changes apply to Supplementary Payments ---- Coverages A and B:

     Paragraphs 1.b. and 1.d. are replaced by the following:

     b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the
        use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.

     d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
        claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.

M.   Broadened Property Damage

     1.   Property Damage to Contents of Premises Rented Short-Term

          The paragraph directly following Paragraph (6) in Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And
          Property Damage Liability is replaced by the following:

          Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
          by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
          agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
          Premises Rented to You as described in Section III ---- Limits Of Insurance.

     2.   Elevator Property Damage

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:
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                Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
                elevator at premises you own, rent or occupy.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to property loaned to you or personal property in the care, custody or control of the
                insured arising out of the use of an elevator at premises you own, rent or occupy is $25,000 per
                "occurrence".

     3.   Property Damage to Borrowed Equipment

          a.    The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                Liability:

                Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others
                at a jobsite.

          b.    The following is added to Section III ---- Limits Of Insurance:

                Subject to Paragraphs 2., 3. and 5. above, the most we will pay under Coverage A for damages because
                of "property damage" to equipment you borrow from others at a jobsite is $25,000 per "occurrence".

N.   Expected or Intended Injury or Damage

     Exclusion a. of Section I ---- Coverage A --- Bodily Injury And Property Damage Liability is replaced by the following:

     a.   Expected Or Intended Injury Or Damage

          "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion
          does not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect
          persons or property.

O.   Definition ---- Bodily Injury

     Definition 3. in Section V ---- Definitions is replaced by the following:

     3.   "Bodily injury" means bodily injury, sickness or disease sustained by a person. This includes mental anguish,
          mental injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or
          disease.

P.   Electronic Data

     Exclusion p. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     p. Electronic Data

          Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access or inability to
          manipulate electronic data.

          This exclusion does not apply to "bodily injury" or physical injury to tangible property including all resulting loss
          of use of that property.

          As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
          on, or transmitted to or from computer software (including systems and applications software), hard or floppy
          disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which are used with
          electronically controlled equipment.

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Q.   Insured Status ---- Amateur Athletic Participants

     Section II ---- Who Is An Insured is amended to include as an insured any person you sponsor while participating in
     amateur athletic activities. However, no such person is an insured for:

     a.   "Bodily injury" to:

          (1)   Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur
                athletic activities; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company) while participating in such amateur athletic activities; or

     b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
        over which the physical control is being exercised for any purpose by:

          (1)   Your "employee", "volunteer worker" or any person you sponsor; or

          (2)   You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
                liability company).

R.   Non-Owned Aircraft and Watercraft

     Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:

     g. Aircraft, Auto Or Watercraft

          "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
          any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes
          operation and "loading or unloading".

          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
          caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to
          others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.

          This exclusion does not apply to:

          (1)   A watercraft while ashore on premises you own or rent;

          (2)   A watercraft you do not own that is:

                (a) Less than 51 feet long; and

                (b) Not being used to carry persons for a charge;

          (3)   Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned
                by or rented or loaned to you or the insured;

          (4)   Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or
                watercraft;

          (5)   An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not
                owned in whole or in part by an insured; or

          (6)   "Bodily injury" or "property damage" arising out of:


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                (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would
                    qualify under the definition of "mobile equipment" if it were not subject to a compulsory or financial
                    responsibility law or other motor vehicle insurance law in the state where it is licensed or principally
                    garaged; or

                (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition
                    of "mobile equipment".

S.   Definitions ---- Leased Worker, Temporary Worker and Labor Leasing Firm

     1.   Definitions 10. and 19. in Section V -- Definitions are replaced by the following:

          10.   "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement
                between you and the "labor leasing firm", to perform duties related to the conduct of your business.
                "Leased worker" does not include a "temporary worker".

          19.   "Temporary worker" means a person who is furnished to you to support or supplement your work force
                during "employee" absences, temporary skill shortages, upturns or downturns in business or to meet
                seasonal or short-term workload conditions. "Temporary worker" does not include a "leased worker".

     2.   The following definition is added to Section V ---- Definitions:

          "Labor leasing firm" means any person or organization who hires out workers to others, including any:

          a.    Employment agency, contractor or services;
          b.    Professional employer organization; or
          c.    Temporary help service.

T.   Definition ---- Mobile Equipment

     Paragraph f. of Definition 12. in Section V ---- Definitions is replaced by the following:

     f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
          transportation of persons or cargo.

          However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
          combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":

          (1)   Equipment designed primarily for:

                (a) Snow removal;

                (b) Road maintenance, but not construction or resurfacing; or

                (c) Street cleaning;

          (2)   Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
                workers; and

          (3)   Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.

U.   Definitions ---- Your Product and Your Work

     Definitions 21. and 22. in Section V ---- Definitions are replaced by the following:

     21. "Your product":

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         a.     Means:

                (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or
                    disposed of by:

                    (a) You;

                    (b) Others trading under your name; or

                    (c) A person or organization whose business or assets you have acquired; and

                (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such
                    goods or products.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your product"; and

                (2) The providing of or failure to provide warnings or instructions.

         c.     Does not include vending machines or other property rented to or located for the use of others but not
                sold.

     22. "Your work":

         a.     Means:

                (1) Work, services or operations performed by you or on your behalf; and

                (2) Materials, parts or equipment furnished in connection with such work, services or operations.

         b.     Includes:

                (1) Warranties or representations made at any time with respect to the fitness, quality, durability,
                    performance, use, handling, maintenance, operation or safety of "your work"; and

                (2) The providing of or failure to provide warnings or instructions.

V.   Priority Condition

     The following paragraph is added to Section III --- Limits Of Insurance:

     In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
     injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
     same offense, we will apply the Limits of Insurance in the following order:

     (a) You;

     (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
         company) or "employees"; and

     (c) Any other insured in any order that we choose.

W.   Duties in the Event of Occurrence, Offense, Claim or Suit Condition



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      The following paragraphs are added to Paragraph 2., Duties In The Event Of Occurrence, Offense, Claim Or Suit of
      Section IV ---- Commercial General Liability Conditions:

     Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
     "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has
     been reported to any insured listed under Paragraph 1. of Section II ---- Who Is An Insured or an "employee"
     authorized by you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense,
     claim or "suit" does not imply that you also have such knowledge.

      In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
      this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured’s failure to
      report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this
      Condition. You must, however, give us notice as soon as practicable after being made aware that the particular
      claim is a General Liability rather than a Workers Compensation claim.

X.    Other Insurance Condition

      Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV ---- Commercial General Liability
      Conditions are replaced by the following:

     4.   Other Insurance

          If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
          this Coverage Part, our obligations are limited as follows:

          a.    Primary Insurance

                This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
                obligations are not affected unless any of the other insurance is also primary. Then, we will share with all
                that other insurance by the method described in Paragraph c. below. This insurance is primary insurance
                as respects our coverage to the additional insured person or organization where the written contract or
                written agreement requires that this insurance be primary and non-contributory. In that event, we will not
                seek contribution from any other insurance policy available to the additional insured on which the
                additional insured person or organization is a Named Insured. Other insurance includes any type of self
                insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

          b.    Excess Insurance

                (1) This insurance is excess over:

                    (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:

                        (i) That is property insurance, Builder’s Risk, Installation Risk or similar coverage for "your work";

                        (ii) That is property insurance purchased by you (including any deductible or self insurance
                             portion thereof) to cover premises rented to you or temporarily occupied by you with
                             permission of the owner;

                        (iii) That is insurance purchased by you (including any deductible or self insurance portion
                              thereof) to cover your liability as a tenant for "property damage" to premises rented to you or
                              temporarily occupied by you with permission of the owner;

                        (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent
                             not subject to Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
                             Liability; or

                        (v) That is property insurance (including any deductible or self insurance portion thereof)
                            purchased by you to cover damage to:

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                           Equipment you borrow from others at a jobsite; or

                           Property loaned to you or personal property in the care, custody or control of the insured
                           arising out of the use of an elevator at premises you own, rent or occupy.

                  (b) Any other primary insurance (including any deductible or self insurance portion thereof) available
                      to the insured covering liability for damages arising out of the premises, operations, products,
                      work or services for which the insured has been granted additional insured status either by policy
                      provision or attachment of any endorsement. Other primary insurance includes any type of self
                      insurance or other mechanism by which an insured arranges for funding of its legal liabilities.

                  (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available
                      to an additional insured, in which the additional insured on our policy is also covered as an
                      additional insured by attachment of an endorsement to another policy providing coverage for the
                      same "occurrence", claim or "suit". This provision does not apply to any policy in which the
                      additional insured is a Named Insured on such other policy and where our policy is required by
                      written contract or written agreement to provide coverage to the additional insured on a primary
                      and non-contributory basis.

Y.   Unintentional Failure to Disclose All Hazards

     Paragraph 6. Representations of Section IV ---- Commercial General Liability Conditions is replaced by the following:

     6. Representations

        By accepting this policy, you agree:

        a.    The statements in the Declarations are accurate and complete;

        b.    Those statements are based upon representations you made to us; and

        c.    We have issued this policy in reliance upon your representations.

        Coverage will continue to apply if you unintentionally:

        a.    Fail to disclose all hazards existing at the inception of this policy; or

        b.    Make an error, omission or improper description of premises or other statement of information stated in
              this policy.

        You must notify us in writing as soon as possible after the discovery of any hazards or any other information
        that was not provided to us prior to inception of this Coverage Part.

Z.   Waiver of Right of Subrogation

     Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV ---- Commercial General Liability
     Conditions is replaced by the following:

     8. Transfer Of Rights Of Recovery Against Others To Us

        a.    If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
              those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
              the insured will bring "suit" or transfer those rights to us and help us enforce them.

        b.    If the insured waives its right to recover payments for injury or damage from another person or
              organization in a written contract executed prior to a loss, we waive any right of recovery we may have
              against such person or organization because of any payment we have made under this Coverage Part.

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               The written contract will be considered executed when the insured’s performance begins, or when it is
               signed, whichever happens first. This waiver of rights shall not be construed to be a waiver with respect
               to any other operations in which the insured has no contractual interest.

AA.   Liberalization Condition

      The following condition is added to Section IV --- Commercial General Liability Conditions:

      Liberalization Clause

      If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
      automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
      address of your policy.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agreement                                                 (2) A "claim" will be dee med to have been made
                                                                            when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes                   corded by any "insured" or by us, whichever
        legally obligated to pay as da mages because of an                  comes first. "All "claims" for da mages to the
        act, error, or omission in the "administration" of the              sa me person or organization will be dee med to
        "insured’s" "e mployee benefit progra ms". We will                  have been made at the time the first of those
        have the right and duty to defend the "insured"                     "claims" is made against any "insured".
        against any suit seeking those da mages. However,
        we will have no duty to defend the "insured" against       2.   Exclusions
        any "suit" seeking da mages for any act, error, or
                                                                        This insurance does not apply to:
        omission for which this insurance does not apply.
        We may, at our discretion, investigate any "claim"              A. "Bodily injury", "property da mage", or "personal
        and settle any "suit" that may result; but:                        and advertising injury";
         (1) The a mount we pay for da mages is limited as              B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                        C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                     tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settle ments un-            D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                 or other provider’s failure to perform its con-
                                                                           tract;
         No other obligation or liability to pay sums or per-
                                                                        E. Any "claim" or "suit" arising out of your failure
         form acts or services is covered unless explicitly
                                                                           to comply with any workers compensation, un-
         provided for under Supple mentary Payments of this
         Coverage Part.                                                    e mployment insurance, social security, disabil-
                                                                           ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                               F. Any "claim" or "suit" arising out of the failure of
                                                                           any of your "e mployee benefit plans" to meet
             a.   A "claim" arising out of the act, error or               obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                             G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                (1) Advice given to any person to participate
                  the "coverage territory";                                     or not participate in a plan or progra m in-
                                                                                cluded in "e mployee benefit progra ms";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                    (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                         any investment manager, administrator,
                  "claim" or "suit"; and                                        trustee, actuary, advisor, counsel, account-
                                                                                ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-          C. Subject to the Aggregate Limit provisions in B.
                 age ment, administration or disposition of              above, the Each Claim Limit is the most we will
                 assets of your "e mployee benefit pro-                  pay for all da mages sustained by any one "e m-
                 gra ms"; or                                             ployee", including the "e mployee’s" dependents and
                                                                         beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as                 committed in the "administration" of your "e m-
                 represented by any "insured".
                                                                         ployee benefit progra ms".
         H. Any "claim" or "suit" arising out of an "insured’s"       D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:                              each consecutive annual period and to any re main-
             a.   The Employee Retire ment Income Secu-                  ing period of less than 12 months starting with the
                  rity Act of 1974 (PL93-406) and its                    beginning of the policy period shown in the Decla-
                  a mendments; or                                        rations, unless the policy period is extended after is-
                                                                         suance for an additional period of less than 12
             b.   The Internal Revenue Code of 1986 (in-                 months. In that case, the additional period will be
                  cluding the Internal Revenue Code of                   dee med part of the last preceding period for pur-
                  1954) and its a mendments.                             poses of determining the Limits of Insurance.
    3.   Supplementary Payments                                   III. Conditions
         We will pay, in addition to the applicable Limits of         A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                              Bankruptcy or insolvency of the "insured" or the "in-
                                                                          sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by           B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full a mount of any               Claim or Suit
            judgment which accrues after entry of the                     (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered                      plicable deductible a mount, you must see to it
            or deposited in court, that part of the judgment                  that we are notified as soon as practicable of
            which does not exceed the limit of our insur-                     any act, error, or omission which may result in
            ance.                                                             a "claim". To the extent possible, notice should
         B. Pre miums on appeal bonds required and on                         include:
            bonds to release attachments in any "suit". We                    a.    How, when, and where the act, error, or
            do not have to furnish these bonds.                                     omission took place;
         C. All reasonable expenses incurred by the "in-                      b.    The na mes and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                    "e mployee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-                         of any "e mployee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                    Notice of an act, error, or omission is not notice
                                                                              of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                   must:
            insurance, we will not pay any prejudgment in-
                                                                              a.    I mmediately record the specifics of the
            terest based on that period of time after the of-
                                                                                    "claim" and the date received; and
            fer.
                                                                              b.    Notify us as soon as practicable.
II. Limits of Insurance
                                                                              You must see to it that we receive written no-
    A. The Limits of Insurance shown in the Declarations
                                                                              tice of the "claim" as soon as practicable.
       and the rules below establish the most we will pay
       regardless of the number of:                                       (3) You and any other involved "insured" must:
         (1) "Insureds";                                                      a.    I mmediately send us copies of any de-
                                                                                    mands, notices, summonses, or legal papers
         (2) "Claims" made or "suits" brought; or
                                                                                    received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                          "suit";
             "e mployees" making "claims" or bringing "suits".
                                                                              b.    Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                          information;
       da mages because of all "claims" or "suits" arising
       from the "administration" of your "e mployee benefit
       progra ms" during the policy period.


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       c.   Cooperate with us in the investigation, set-                 When this insurance is excess, we will have no
            tle ment, or defense of the "claim" or "suit";               duty to defend any "claim" or "suit" that any
            and                                                          other insurer has a duty to defend. If no other
                                                                         insurer defends, we will undertake to do so, but
       d.   Assist us, upon our request, in the en-                      we will be entitled to the "insured’s" rights
            force ment of any right against any person                   against all those other insurers.
            or organization which may be liable to the
            "insured" because of injury to which this in-                When this insurance is excess over other insur-
            surance may also apply.                                      ance, we will pay only our share of the a mount
                                                                         of the loss, if any, that exceeds the sum of:
   (4) No insureds will, except at their own cost, vol-
       untarily make a payment, assume any obliga-                       i.    The total a mount that all such other insur-
       tion, or incur any expense without our consent.                         ance would pay for the loss in the absence
                                                                               of this insurance; and
C. Legal Action Against Us
                                                                         ii. The total of all deductible and self-insured
   No person or organization has a right:                                    a mounts under all that other insurance.
   (1) To join us as a party or otherwise bring us into                  We will share the re maining loss, if any, with
       a "suit" asking for da mages from an "insured";                   any other insurance that is not described in this
       or                                                                Excess Insurance provision and was not bought
   (2) To sue us on this Coverage Part unless all of its                 specifically to apply in excess of the Limits of
       terms have been fully complied with.                              Insurance shown in the Declarations of this
                                                                         Coverage Part.
   A person or organization may sue us to recover on
   an agreed settle ment or on a final judgment against              (3) Method of Sharing
   an "insured" obtained after an actual trial, but we                   If all of the other insurance permits contribu-
   will not be liable for da mages that are not payable                  tion by equal shares, we will follow this method
   under the terms of this Coverage Part or that are in                  also. Under this approach, each insurer con-
   excess of the applicable limit of insurance. An                       tributes equal a mounts until it has paid its ap-
   agreed settle ment means a settle ment and release                    plicable limit of insurance or none of the loss
   of liability signed by us, the "insured", and the                     re mains, whichever comes first.
   claimant or the claimant’s legal representative.
                                                                         If any of the other insurance does not permit
D. Other Insurance                                                       contribution by equal shares, we will contribute
   If other valid and collectible insurance is available                 by limits. Under this method, each insurer’s
   to the "insured" for a loss we cover under this Cov-                  share is based on the ratio of its applicable
   erage Part, our obligations are limited as follows:                   limit of insurance to the total applicable limits
                                                                         of insurance of all insurers.
   (1) Primary Insurance
                                                                 E. Separation of Insureds
       This insurance is primary except when 2. below
       applies. If this insurance is primary, our obli-              Except with respect to the Limits of Insurance and
       gations are not affected unless any of the other              any rights or duties specifically assigned in this
       insurance is also primary. Then, we will share                Coverage Part to the first Na med Insured, this in-
       with all that other insurance by the method de-               surance applies:
       scribed in 3. below.                                          (1) As if each Na med Insured were the only
   (2) Excess Insurance                                                  Na med Insured; and
       This insurance is excess over any other insur-                (2) Separately to each "insured" against whom
       ance whether primary, excess, contingent, or on                   "claim" is made or "suit" is brought.
       any other basis that is effective prior to the be-        F. Transfer Of Rights Of Recovery Against Others To
       ginning of the policy period shown in the Dec-               Us
       larations of this insurance and applies to an act,
       error, or omission on other than a claims-made                If the "insured" has rights to recover all or part of
       basis, if:                                                    any payment we made under this Coverage Part,
                                                                     those rights are transferred to us. The "insured"
       a.   No Retroactive Date is shown in the Dec-                 must do nothing after loss to impair the m. At our
            larations of this insurance; or                          request, the "insured" will bring "suit" or transfer
       b.   The other insurance has a policy period                  those rights to us and help us enforce the m.
            which continues after the Retroactive            IV. Definitions
            Date, if any, shown in the Declarations of
            this insurance.



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    A. "Advertise ment" means a notice that is broadcast or            You and any of your partners, executive officers, di-
       published to the general public or specific market              rectors, me mbers, stockholders or "e mployees",
       segments about your goods, products or services for             provided such "e mployee" is authorized to act in
       the purpose of attracting customers or supporters.              the "administration" of your "e mployee benefit pro-
       For the purposes of this definition:                            gra ms".
         (1) Notices that are published include material          I.   "Personal and advertising injury" means:
             placed on the Internet or on similar electronic
                                                                       Injury, including consequential "bodily injury", aris-
             means of communication; and
                                                                       ing out of one or more of the following offenses:
         (2) Regarding web-sites, only that part of a web-
                                                                       (1) False arrest, detention, or imprisonment;
             site that is about your goods, products or ser-
             vices for the purposes of attracting customers or         (2) Malicious prosecution;
             supporters is considered an advertise ment.
                                                                       (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                             or invasion of the right of private occupancy of,
                                                                           a room, dwelling, or pre mises that a person oc-
         (1) Counseling "e mployees", including their de-
                                                                           cupies by or on behalf of its owner, landlord, or
             pendents and beneficiaries, with respect to
                                                                           lessor;
             "e mployee benefit progra ms";
                                                                       (4) Oral or written publication, in any manner, of
         (2) Handling records in connection with "e mployee
                                                                           material that slanders or libels a person or or-
             benefit progra ms"; or
                                                                           ganization or disparages a person’s or organi-
         (3) Effecting or terminating an "e mployee’s" par-                zation’s goods, products, or services; or
             ticipation in a plan included in "e mployee
                                                                       (5) Oral or written publication,’ in any manner, of
             benefit progra ms".
                                                                           material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-               vacy;
       ease sustained by a person, including death result-
                                                                       (6) The use of another’s advertising idea in your
       ing from any of these at any time.
                                                                           "advertise ment"; or
    D. "Claim" means:
                                                                       (7) Infringing upon another’s copyright, trade dress
         The receipt by you of a de mand for money or ser-                 or slogan in your "advertise ment".
         vices which alleges an act, error, or omission in the
                                                                  J.   "Property da mage" means:
         "administration" of your "e mployee benefit pro-
         gra ms."                                                      (1) Physical injury to tangible property, including
                                                                           all resulting loss of use of that property.
    E. "Coverage territory" means:
                                                                       (2) Loss of use of tangible property that is not
         (1) The United States of America (including its
                                                                           physically injured.
             territories and possessions), Puerto Rico, and
             Canada; or                                                For the purposes of this insurance, electronic data is
                                                                       not tangible property.
         (2) All parts of the world if the "insured’s" respon-
             sibility to pay da mages is determined in a "suit"        As used in this definition, electronic data means in-
             on the merits, in the territory described in E. 1.        formation, facts or progra ms stored as or on, cre-
             above, or in a settle ment to which we agree.             ated or used on, or transmitted to or from computer
                                                                       software, including syste ms and applications, soft-
    F. "Employee" means:
                                                                       ware, hard or floppy disks, CD-ROMS, tapes,
         Your officers and e mployees, whether actively e m-           drives, cells, data processing devices or any other
         ployed, disabled, or retired.                                 media which are used with electronically controlled
                                                                       equipment.
    G. "Employee benefit progra ms" mean:
                                                                  K. "Suit" means:
         Group life insurance, group accident or health in-
         surance, profit sharing plans, pension plans, e m-            A civil proceeding in which da mages to which this
         ployee stock subscription plans, workers compensa-            insurance applies is alleged. "Suit" includes:
         tion, une mployment insurance, salary continuation
                                                                       (1) An arbitration proceeding in which such da m-
         plans, social security, disability benefits insurance,
                                                                           ages are claimed and to which you must submit
         savings plans, vacation plans, or any other similar
                                                                           or do submit with our consent; or
         plans or progra ms.
                                                                       (2) Any other alternative dispute resolution pro-
    H. "Insured" means:
                                                                           ceeding in which such da mages are claimed
                                                                           and to which you submit with our consent.



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                                                                                                   EXHIBIT B PAGE 213
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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.    Eff. Date of End.       Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
Damage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property da mage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, re moving, containing, treating,
        detoxifying, neutralizing, re mediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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Additional Insured --- Automatic --- Owners, Lessees Or
Contractors

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: OMNICELL,           INC.
Address (including ZIP Code):
590 E MIDDLEFIELD RD
MOUNTAIN VIEW, CA. 94043-1337

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
A. Section II ---- Who Is An Insured is amended to include as an insured any person or organization who you are required
    to add as an additional insured on this policy under a written contract or written agreement.
    However, if you have entered into a construction contract or construction agreement with an additional insured
    person or organization, the insurance afforded to such additional insured only applies to the extent permitted by law.
B. The insurance provided to the additional insured person or organization applies only to "bodily injury", "property
    damage" or "personal and advertising injury" covered under Section I ---- Coverage A ---- Bodily Injury And Property
    Damage Liability and Section I ---- Coverage B ---- Personal And Advertising Injury Liability, but only with respect to
    liability for "bodily injury", "property damage" or "personal and advertising injury" caused, in whole or in part, by:
    1. Your acts or omissions; or
    2. The acts or omissions of those acting on your behalf,
    and resulting directly from your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement.
C. However, regardless of the provisions of Paragraphs A. and B. above:
    1. We will not extend any insurance coverage to any additional insured person or organization:
         a. That is not provided to you in this policy; or
         b. That is any broader coverage than you are required to provide to the additional insured person or
               organization in the written contract or written agreement; and
    2. We will not provide Limits of Insurance to any additional insured person or organization that exceed the lower of:
         a. The Limits of Insurance provided to you in this policy; or
         b. The Limits of Insurance you are required to provide in the written contract or written agreement.
D. The insurance provided to the additional insured person or organization does not apply to:
    "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering or failure to render
    any professional architectural, engineering or surveying services including:
    1. The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys, field
         orders, change orders or drawings and specifications; and
    2. Supervisory, inspection, architectural or engineering activities.



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E. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV ----
   Commercial General Liability Conditions:
   The additional insured must see to it that:
   1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
   2. We receive written notice of a claim or "suit" as soon as practicable; and
   3. A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
       another insurer under which the additional insured may be an insured in any capacity. This provision does not
       apply to insurance on which the additional insured is a Named Insured, if the written contract or written agreement
        requires that this coverage be primary and non-contributory.
F. For the coverage provided by this endorsement:
   1. The following paragraph is added to Paragraph 4.a. of the Other Insurance Condition of Section IV ---- Commercial
        General Liability Conditions:
        This insurance is primary insurance as respects our coverage to the additional insured person or organization,
       where the written contract or written agreement requires that this insurance be primary and non-contributory with
        respect to any other policy upon which the additional insured is a Named Insured. In that event, we will not seek
        contribution from any other such insurance policy available to the additional insured on which the additional
        insured person or organization is a Named Insured.
   2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV ---- Commercial
        General Liability Conditions:
        This insurance is excess over:
        Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
        insured, in which the additional insured on our policy is also covered as an additional insured on another policy
        providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any policy
        in which the additional insured is a Named Insured on such other policy and where our policy is required by
       written contract or written agreement to provide coverage to the additional insured on a primary and non-
        contributory basis.
G. This endorsement does not apply to an additional insured which has been added to this policy by an endorsement
   showing the additional insured in a Schedule of additional insureds, and which endorsement applies specifically to
   that identified additional insured.


All other terms and conditions of this policy remain unchanged.




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Additional Insured – Owners, Lessees Or Contractors –
Scheduled Person Or Organization –

     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.        Eff. Date of End.      Producer No.           Add’l. Prem         Return Prem.
 CPO 5912284-00       09/01/2012            09/01/2013              05/08/2013             70074000                    $0                 $0



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured:Omnicell, Inc.
Address (including ZIP Code):
590 E. Middlefield Road
Mountain View, CA 94043


This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

                                                                  SCHEDULE

          Name Of Additional Insured Person(s)
                                                                              Location And Description Of Covered Operations
                  Or Organization(s)

    California State University, Fresno; The California State
University, Fresno Foundation, Inc.,; The California State      Attn: Procurement and Support Services,
University, Fresno Association, Inc.; The California State
University Athletic Corporation, Inc.; The Board of Trustees of 5150 North Maple Avenue, MS JA 111
the California State University; The State of California and    Fresno, CA 93740-8026
their employees, agents, volunteers and assigns as additional
insured for the duration and purpose of the event(s) being
held.



A. Section II – Who Is An Insured is amended to include as an insured the person or organization shown in the
   Schedule above, whom you are required to add as an additional insured on this policy under a written contract or
   written agreement.
     However, if you have entered into a construction contract or construction agreement with an additional insured person
     or organization shown in the Schedule of this endorsement, the insurance afforded to such additional insured only
     applies to the extent permitted by law.
B.    The insurance provided to the additional insured person or organization applies only to "bodily injury", "property
     damage" or "personal and advertising injury" covered under Section I – Coverage A – Bodily Injury And Property



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    2. The acts or omissions of those acting on your behalf,
    and resulting directly from your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement at the Location designated and described in
    the Schedule above.
C. However, regardless of the provisions of Paragraphs A. and B. above:
    1. We will not extend any insurance coverage to any additional insured person or organization:
         a. That is not provided to you in this policy; or
         b. That is any broader coverage than you are required to provide to the additional insured person or organization
            in the written contract or written agreement; and
    2. We will not provide Limits of Insurance to any additional insured person or organization that exceed the lower of:
         a. The Limits of Insurance provided to you in this policy; or
         b. The Limits of Insurance you are required to provide in the written contract or written agreement.
D. The insurance provided to the additional insured person or organization does not apply to:
    "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering or failure to render
    any professional architectural, engineering or surveying services including:
    1.   The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys, field
         orders, change orders or drawings and specifications; and
    2. Supervisory, inspection, architectural or engineering activities.
E. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV –
   Commercial General Liability Conditions:
    The additional insured must see to it that:
    1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
    2. We receive written notice of a claim or "suit" as soon as practicable; and
    3.    A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
         another insurer under which the additional insured may be an insured in any capacity. This provision does not
         apply to insurance on which the additional insured is a Named Insured, if the written contract or written agreement
         requires that this coverage be primary and non-contributory.
F. For the coverage provided by this endorsement:
    1. The following paragraph is added to Paragraph 4.a. of the Other Insurance Condition of Section IV – Commercial
       General Liability Conditions:
         This insurance is primary insurance as respects our coverage to the additional insured person or organization,
         where the written contract or written agreement requires that this insurance be primary and non-contributory with
         respect to any other policy upon which the additional insured is a Named Insured. In that event, we will not seek
         contribution from any other such insurance policy available to the additional insured on which the additional
         insured person or organization is a Named Insured.
    2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV – Commercial
       General Liability Conditions:
         This insurance is excess over:
         Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
         insured, in which the additional insured on our policy is also covered as an additional insured on another policy
         providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any policy
         in which the additional insured is a Named Insured on such other policy and where our policy is required by
         written contract or written agreement to provide coverage to the additional insured on a primary and non-
         contributory basis.


All other terms and conditions of this policy remain unchanged.


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Additional Insured – Owners, Lessees Or Contractors –
Scheduled Person Or Organization

   Policy No.     Eff. Date of Pol.     Exp. Date of Pol.        Eff. Date of End.       Producer No.            Add’l. Prem          Return Prem.


CPO5912284-00     09-01-2012             09-01-2013              09-01-2012          70074-000               0



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: OMNICELL, INC.
Address (including ZIP Code):

590 E MIDDLEFIELD ROAD
MOUNTAIN VIEW, CA. 94043-4008




This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

                                                               SCHEDULE

         Name Of Additional Insured Person(s)
                                                                            Location And Description Of Covered Operations
                 Or Organization(s)

COUNTY OF SANTA CLARA, AND MEMBERS OF THE
BOARD OF SUPERVISORS OF THE COUNTY OF SANTA
                                                                            “ALL LOCATIONS”
CLARA, AND THE OFFICERS, AGENTS AND
EMPLOYEES OF THE COUNTY OF SANTA CLARA,
INDIVIDUALLY AND COLLECTIVELY, AS ADDITIONAL
INSUREDS.




A. Section II – Who Is An Insured is amended to include as an insured the person or organization shown in the
   Schedule above, whom you are required to add as an additional insured on this policy under a written contract or
   written agreement.
   However, if you have entered into a construction contract or construction agreement with an additional insured person
   or organization shown in the Schedule of this endorsement, the insurance afforded to such additional insured only
   applies to the extent permitted by law.
B. The insurance provided to the additional insured person or organization applies only to "bodily injury", "property
   damage" or "personal and advertising injury" covered under Section I – Coverage A – Bodily Injury And Property
   Damage Liability and Section I – Coverage B – Personal And Advertising Injury Liability, but only with respect to
   liability for "bodily injury", "property damage" or "personal and advertising injury" caused, in whole or in part, by:
   1. Your acts or omissions; or
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    2. The acts or omissions of those acting on your behalf,
    and resulting directly from your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement at the Location designated and described in
    the Schedule above.
C. However, regardless of the provisions of Paragraphs A. and B. above:
    1. We will not extend any insurance coverage to any additional insured person or organization:
         a. That is not provided to you in this policy; or
         b. That is any broader coverage than you are required to provide to the additional insured person or organization
            in the written contract or written agreement; and
    2. We will not provide Limits of Insurance to any additional insured person or organization that exceed the lower of:
         a. The Limits of Insurance provided to you in this policy; or
         b. The Limits of Insurance you are required to provide in the written contract or written agreement.
D. The insurance provided to the additional insured person or organization does not apply to:
    "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering or failure to render
    any professional architectural, engineering or surveying services including:
    1.   The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys, field
         orders, change orders or drawings and specifications; and
    2. Supervisory, inspection, architectural or engineering activities.
E. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV –
   Commercial General Liability Conditions:
    The additional insured must see to it that:
    1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
    2. We receive written notice of a claim or "suit" as soon as practicable; and
    3.    A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
         another insurer under which the additional insured may be an insured in any capacity. This provision does not
         apply to insurance on which the additional insured is a Named Insured, if the written contract or written agreement
         requires that this coverage be primary and non-contributory.
F. For the coverage provided by this endorsement:
    1. The following paragraph is added to Paragraph 4.a. of the Other Insurance Condition of Section IV – Commercial
       General Liability Conditions:
         This insurance is primary insurance as respects our coverage to the additional insured person or organization,
         where the written contract or written agreement requires that this insurance be primary and non-contributory with
         respect to any other policy upon which the additional insured is a Named Insured. In that event, we will not seek
         contribution from any other such insurance policy available to the additional insured on which the additional
         insured person or organization is a Named Insured.
    2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV – Commercial
       General Liability Conditions:
         This insurance is excess over:
         Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
         insured, in which the additional insured on our policy is also covered as an additional insured on another policy
         providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any policy
         in which the additional insured is a Named Insured on such other policy and where our policy is required by
         written contract or written agreement to provide coverage to the additional insured on a primary and non-
         contributory basis.


All other terms and conditions of this policy remain unchanged.


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Asbestos Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property da mage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or da mage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, de mand, order, statutory or regulatory require ment, direction or determination that any insured or
              others test for, investigate, monitor, clean up, re move, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for da mages arising out of or relating in any way to any request, de mand, order, statutory or
              regulatory require ment, direction or determination that any insured or others test for, investigate, monitor,
              clean up, re move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Notification to Others of Cancellation
or Nonrenewal
    Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part
Liquor Liability Coverage Part
Products/ Completed Operations Liability Coverage Part


A. If we cancel or non-renew this Coverage Part(s) by written notice to the first Named Insured for any reason other than
   nonpayment of premium, we will mail or deliver a copy of such written notice of cancellation or non-renewal:
    1.   To the name and address corresponding to each person or organization shown in the Schedule below; and
    2.   At least 10 days prior to the effective date of the cancellation or non-renewal, as advised in our notice to the first
         Named Insured, or the longer number of days notice if indicated in the Schedule below.
B. If we cancel this Coverage Part(s) by written notice to the first Named Insured for nonpayment of premium, we will
   mail or deliver a copy of such written notice of cancellation to the name and address corresponding to each person or
   organization shown in the Schedule below at least 10 days prior to the effective date of such cancellation.
C. If notice as described in Paragraphs A. or B. of this endorsement is mailed, proof of mailing will be sufficient proof of
   such notice.



                                                                SCHEDULE

                                                                                                                                Number of Days
                       Name and Address of Other Person(s) / Organization(s):
                                                                                                                                   Notice:
H.D. SMITH WHOLESALE DRUG CO.                                                                                                         30
INSURANCE COMPLIANCE DEPARTMENT
P O BOX 12010-HS
HEMET, CA. 92546-8010




All other terms and conditions of this policy remain unchanged.




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Collection or Distribution of Material or Information in
Violation of Law Exclusion

    Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage A ----
   Bodily Injury And Property Damage Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         q. Collection Or Distribution Of Material Or Information In Violation Of Law
             "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
             that violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or
             (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                 or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                 that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                 sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Distribution Of Material In Violation Of Statutes of Paragraph 2. Exclusions of Section I ---- Coverage B ----
   Personal And Advertising Injury Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         p. Collection Or Distribution Of Material Or Information In Violation Of Law
            "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
            violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of,
                sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Exclusion of Certified Acts of Terrorism

Insureds Name                                                                Policy Number                       Effective Date    Endorsement
                                                                                                                                   Number
OMNICELL, INC.                                                               CPO 5912284-01                      09/01/2013




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


This endorsement modifies your insurance:


COMMERCIAL PROPERTY PORTFOLIO COVERAGE PART

                                                           SCHEDULE*

The exception relating to certain fire losses applies to property located in the following state(s), if covered by this insurance:


                                                         State(s)
 California, Georgia, Hawaii, Iowa, Illinois, Maine, Massachusetts, Missouri,
 New Jersey, New York, North Carolina, Oregon, Rhode Island, Virgin Islands, Washington,
 West Virginia and Wisconsin.



*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.

A. Exclusion of Certified Acts of Terrorism
We will not pay for loss or damage caused directly or indirectly by a “certified act of terrorism”, including action in
hindering or defending against an actual or expected “certified act of terrorism”. Such loss or damage is excluded regardless
of any other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
If the “certified act of terrorism” results in fire, we will pay for the direct physical loss or damage to Covered Property
caused by that fire. This exception does not apply to any other loss or damage including but not limited to business income,
extra expense, any additional coverage and any coverage extension.
C. Definition
“Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concurrence with the Secretary
of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall certify an act of
terrorism:
    1.   to be an act of terrorism;
    2.   to be a violent act or an act that is dangerous to human life, property or infrastructure;
    3.   to have resulted in damage within the United States, or outside of the United States in the case of an air carrier (as
         defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
         principally in the United States, on which United States income tax is paid and whose insurance coverage is subject
         to regulation in the United States), or the premises of a United States mission; and

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    4.   to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
         United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do not
exceed $5,000,000.
D. Application of Other Exclusions
The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terrorism
exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or restricted
under this policy.
E. Cap on Losses From Certified Acts of Terrorism
If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program Year
(January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance Act, we shall
not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
Treasury.




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POLICY NUMBER:          CPO 5912284-01                                                          COMMERCIAL AUTO

                           ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MARSH RISK & INSURANCE SERVICES


NAMED INSURED:          OMNICELL INC

MAILING ADDRESS:        1201 CHARLESTON RD
                        MOUNTAIN VIEW, CA 94043-1337

POLICY PERIOD:         From     09-01-2013          to   09-01-2014 at 12:01 A.M. Standard Time at your
                                                                           mailing address shown above
PREVIOUS POLICY NUMBER:           CPO 5912284-00

FORM OF BUSINESS:
   X CORPORATION                            LIMITED LIABILITY COMPANY                        INDIVIDUAL
       PARTNERSHIP                          OTHER


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.



Premium shown is payable at inception:     $        74,508.95
AUDIT PERIOD (IF APPLICABLE)       X      ANNUALLY          SEMI-               QUARTERLY           MONTHLY
                                                            ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ----Broad Form Nuclear Exclusion (Not Applicable in New York)


                               SEE SCHEDULE OF FORMS AND ENDORSEMENTS



COUNTERSIGNED                                                 BY
                                       (Date)                               (Authorized Representative)

NOTE
OFFICERS’ FACSIMILE SIGNATURES MAY BE INSERTED HERE, ON THE POLICY COVER OR ELSEWHERE
AT THE COMPANY’S OPTION.

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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INSURANCE)
                                                            SCHED ULE*


Pre mium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
Automobile                                                                                                           $737.00

*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                  B. Disclosure of Terrorism Premium

The Commercial Automobile line is not part of TRIA.                       We have elected to provide notice to you of the a mount
On Dece mber 22, 2005, the President of the United                        of the total policy pre mium attributable to the risk of
States signed the first TRIA extension act into law and,                  loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was re moved                       of insurance.
from the progra m. The federal government does not
share in Commercial Automobile terrorism losses..




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ITEM TWO

SCHEDULE OF COVERAGES AND COVERED AUTOS
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos"
for a particular coverage by the entry of one or more of the symbols from the Covered Autos Section of
the Business Auto Coverage Form next to the name of the coverage.
                                        COVERED
          COVERAGES                                                     LIMIT                            PREMIUM
                                         AUTOS

LIABILITY                                      1   $1,000,000                                       $       50,210
PERSONAL INJURY                                    SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT MINUS
No-fault Coverage)                                 DEDUCTIBLE.
ADDED PERSONAL INJURY                              SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent                          ENDORSEMENT.
Added No-fault Coverage)
PROPERTY PROTECTION                                SEPARATELY STATED IN THE P.P.I.
INSURANCE (Michigan only)                          ENDORSEMENT MINUS
                                                   DEDUCTIBLE FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                          2   $         5,000                                  $              642
MEDICAL EXPENSE AND                                SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                               EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                    ENDORSEMENT.
UNINSURED MOTORISTS
                                               2   SEE ENDT                                         $          1,954
UNDERINSURED MOTORISTS
(When not included in Uninsured                2   SEE ENDT                                                     INCL
Motorists Coverage)
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COMPREHENSIVE COVERAGE                             WHICHEVER IS LESS, MINUS SEE ENDT
                                           2,8     DEDUCTIBLE FOR EACH COVERED AUTO, BUT NO         $          6,022
                                                   DEDUCTIBLE APPLIES TO LOSS CAUSED BY
                                                   FIRE OR LIGHTNING.
                                                   See ITEM FOUR For Hired or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED CAUSES OF LOSS                           WHICHEVER IS LESS, MINUS
COVERAGE                                           DEDUCTIBLE FOR EACH COVERED AUTO FOR LOSS
                                                   CAUSED BY MISCHIEF OR VANDALISM.
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                    ACTUAL CASH VALUE OR COST OF REPAIR,
COLLISION COVERAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
                                           2,8     DEDUCTIBLE, FOR EACH COVERED AUTO.               $       13,400
                                                   See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE TOWING                                                FOR EACH DISABLEMENT OF A
AND LABOR                                          PRIVATE PASSENGER AUTO.
                                                                                TAX/SURCHARGE/FEE   $          88.95
                                                                     PREMIUM FOR ENDORSEMENTS       $          2,192
                                                                        *ESTIMATED TOTAL PREMIUM    $    74,508.95

 *This policy may be subject to final audit.




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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                                 DESCRIPTION                                     PURCHASED                               TERRITORY
                                                                                                                        Town & State
                                                                                               Actual                      Where The
                     Year, Model, Trade Name, Body Type                                        Cost &                   Covered Auto
Covered             Serial Number (S) Vehicle Identification                Original         NEW (N) or                Will Be Principally
Auto No.                       Number (VIN)                                Cost New           USED (U)                      Garaged
           2006, DODGE SPRINTER 2500, WD0PD744465916868              $ 35,755     ACV                              MOUNTAIN VIEW
 CA1
                                                                                                                   CA, 053

           2006, DODGE SPRINTER 2500, WD0PD744865930336              $ 35,755     ACV                              MOUNTAIN VIEW
 CA2
                                                                                                                   CA, 053

           2010, HONDA ELEMENT, 5J6YH130AL005824                     $ 21,475     ACV                              HUEYTOWN
 AL3
                                                                                                                   AL, 101

           2011, TOYOTA SIENNA LE, 5TDKK3DC3BS153030                 $ 28,900     ACV                              MANDEVILLE
 LA4
                                                                                                                   LA, 120

           2010, HONDA ELEMENT LX, 5J6YH2H36AL002111                 $ 21,775     ACV                              HINCKLEY
 IL5
                                                                                                                   IL, 134

                                                         CLASSIFICATION                                                  EXCEPT For Towing, All
                                                                                                                        Physical Damage Loss Is
                      Business Use Size GVW,                                                                            Payable To You And The
                                    GCW Or                                                                                 Loss Payee Named
            Radius s= service       Vehicle                                                                             Below According To Their
Covered       Of     r= retail      Seating  Age                                                                         Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                        Secondary Rating Classification       Code      The Time Of The Loss:
                                                                    All Others
 CA1       50                     C             8,550      8                                                  034990

                                                                    All Others
 CA2       50                     C             8,550      8                                                  034990


 AL3                                                       4                                                  739800


 LA4                                                       3                                                  739800


 IL5                                                       4                                                  739800

                                                  COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                               (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                   in the corresponding ITEM TWO column applies instead.)
                                                               PERSONAL INJURY                                   PROPERTY PROTECTION
                              LIABILITY                          PROTECTION                 ADDED P.I.P.            (Michigan Only)
                                                         Limit Stated                                          Limit Stated
                                                        In Each P.I.P.                      Premium For          In P.P.I.
                                                         Endt. Minus                       Limit Stated In     Endt. Minus
Covered                                                   Deductible                        Each Added          Deductible
Auto No.              Limit               Premium       Shown Below          Premium         P.I.P. Endt.     Shown Below             Premium
 CA1            $    1,000,000        $       2,017
 CA2            $    1,000,000        $       2,017
 AL3            $    1,000,000        $       1,776
 LA4            $    1,000,000        $       3,961
 IL5            $    1,000,000        $       1,158
  Total
Premium



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN
                                 DESCRIPTION                                     PURCHASED                               TERRITORY
                                                                                                                        Town & State
                                                                                               Actual                      Where The
                     Year, Model, Trade Name, Body Type                                        Cost &                   Covered Auto
Covered             Serial Number (S) Vehicle Identification                Original         NEW (N) or                Will Be Principally
Auto No.                       Number (VIN)                                Cost New           USED (U)                      Garaged
           2012, TOYOTA SIENNA LE, 5TDKK3DC3CS182044                 $ 29,700     ACV                              LIVERMORE
 CA6
                                                                                                                   CA, 075

           2011, FORD ESCAPE XLS, 1FMCU0C78BKC59686                  $ 21,060     ACV                              DERBY
 KS7
                                                                                                                   KS, 105

           2006, FORD F150, 1FTRF12266NA15219                        $ 23,325     ACV                              SAINT PETERSBURG
 FL8
                                                                                                                   FL, 106




                                                         CLASSIFICATION                                                  EXCEPT For Towing, All
                                                                                                                        Physical Damage Loss Is
                      Business Use Size GVW,                                                                            Payable To You And The
                                    GCW Or                                                                                 Loss Payee Named
            Radius s= service       Vehicle                                                                             Below According To Their
Covered       Of     r= retail      Seating  Age                                                                         Interests In The Auto At
Auto No.   Operation c= commercial Capacity Group                        Secondary Rating Classification       Code      The Time Of The Loss:

 CA6                                                       2                                                  739800


 KS7                                                       3                                                  739800

                                                                    All Others
 FL8       50                     C            10,000      8                                                  034990




                                                  COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                               (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                                   in the corresponding ITEM TWO column applies instead.)
                                                               PERSONAL INJURY                                   PROPERTY PROTECTION
                              LIABILITY                          PROTECTION                 ADDED P.I.P.            (Michigan Only)
                                                         Limit Stated                                          Limit Stated
                                                        In Each P.I.P.                      Premium For          In P.P.I.
                                                         Endt. Minus                       Limit Stated In     Endt. Minus
Covered                                                   Deductible                        Each Added          Deductible
Auto No.              Limit               Premium       Shown Below          Premium         P.I.P. Endt.     Shown Below             Premium
 CA6            $    1,000,000        $       1,549
 KS7            $    1,000,000        $         939
 FL8            $    1,000,000        $       5,757



  Total
                                      $      19,174
Premium



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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA1           $5,000            $           83

  CA2           $5,000            $           83

  AL3           $5,000            $           54

  LA4           $5,000            $          114

  IL5           $5,000            $           35

  Total
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                      COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                       Limit
 Auto No.    Stated In                      Stated In                   Stated In
            ITEM TWO                       ITEM TWO                    ITEM TWO
                                                                                                      Limit Per
               Minus         Premium         Minus       Premium         Minus           Premium     Disablement       Premium
            Deductible                     Deductible                  Deductible
              Shown                          Shown                       Shown
              Below                          Below                       Below
  CA1        $ 1,000     $            59                                 $ 1,000     $         197

  CA2        $ 1,000     $            59                                 $ 1,000     $         197

  AL3        $ 1,000     $            71                                 $ 1,000     $         281

  LA4        $ 1,000     $         104                                   $ 1,000     $         296

  IL5        $ 1,000     $            90                                 $ 1,000     $         213

  Total
Premium




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ITEM THREE
SCHEDULE OF COVERED AUTOS YOU OWN (Cont’d)

                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)

 Covered        AUTO MEDICAL PAYMENTS                   MEDICAL EXPENSE AND INCOME LOSS BENEFITS (Virginia Only)
 Auto No.
                                                              Limit Stated In The
                 Limit                Premium         Medical Expense and Income Loss                      Premium
                                                    Benefits Endorsement For Each Person
  CA6           $5,000            $           49

  KS7           $5,000            $           32

  FL8           $5,000            $          192




  Total
                                  $          642
Premium
                                       COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                    (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                        in the corresponding ITEM TWO column applies instead.)
                                             SPECIFIED CAUSES
               COMPREHENSIVE                     OF LOSS                      COLLISION                  TOWING & LABOR

 Covered       Limit                          Limit                       Limit
 Auto No.    Stated In                      Stated In                   Stated In
            ITEM TWO                       ITEM TWO                    ITEM TWO
                                                                                                      Limit Per
               Minus         Premium         Minus       Premium         Minus           Premium     Disablement       Premium
            Deductible                     Deductible                  Deductible
              Shown                          Shown                       Shown
              Below                          Below                       Below
  CA6        $ 1,000     $            71                                 $ 1,000     $         420

  KS7        $ 1,000     $         184                                   $ 1,000     $         254

  FL8        $ 1,000     $            55                                 $ 1,000     $         105




  Total
                         $         693                                               $       1,963
Premium




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                                           IF ANY                                          INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                            $         1,200,000                        $               26,580
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                                           IF ANY                                          INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                                           IF ANY                                        INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                                           IF ANY                                        INCL
     Excess Coverage

                                                                       TOTAL PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

        LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your Motor Carrier Operations
                                    (Other Than Mobile Or Farm Equipment)
                                                  ESTIMATED ANNUAL
      LIABILITY COVERAGE                                                                            PREMIUM
                                              COST OF HIRE FOR ALL STATES

     Primary Coverage                                           IF ANY                                        INCL
     Excess Coverage

                                                                       TOTAL PREMIUM        $               26,580

For "autos" used in your motor carrier operations, cost of hire means:
(a)    The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
       semitrailers), and if not included therein,
(b)    The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver
       by lessor or an "employee" of the lessee, or any other third party, and
(c)    The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with
       operating the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or
       owner, or paid to others.


     LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your Motor Carrier Operations
                                   (Other Than Mobile Or Farm Equipment)
                                                      ESTIMATED ANNUAL
   LIABILITY COVERAGE            STATE                                                              PREMIUM
                                                  COST OF HIRE FOR EACH STATE

     Primary Coverage

     Excess Coverage

                                                                       TOTAL PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire
 of "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their
 family members). Cost of hire does not include charges for services performed by motor carriers of property or
 passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                            Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                         (Other Than Mobile or Farm Equipment)

                                                                                    ESTIMATED ANNUAL
                                                                                     COST OF HIRE FOR
                                                                                        EACH STATE
                                                                                      (Excluding Autos
   COVERAGE         STATE                LIMIT OF INSURANCE                          Hired With A Driver)     PREMIUM
                             ACTUAL CASH VALUE OR COST OF REPAIR,
                                                                                          $1,200,000$               5,304
COMPREHENSIVE       CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO, BUT NO DEDUCTIBLE APPLIES TO LOSS
                             CAUSED BY FIRE OR LIGHTNING.
                             ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED                    WHICHEVER IS LESS, MINUS
CAUSES OF LOSS                                DEDUCTIBLE FOR EACH
                             COVERED AUTO FOR LOSS CAUSED BY MISCHIEF
                             OR VANDALISM.
                             ACTUAL CASH VALUE OR COST OF REPAIR,                         $1,200,000$              11,412
COLLISION           CA       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO.
                                                                                         TOTAL PREMIUM

 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire
 does not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                            Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                         (Other Than Mobile or Farm Equipment)

                                                                                    ESTIMATED ANNUAL
                                                                                     COST OF HIRE FOR
                                                                                        EACH STATE
                                                                                      (Excluding Autos
   COVERAGE         STATE                LIMIT OF INSURANCE                          Hired With A Driver)       PREMIUM
                             ACTUAL CASH VALUE OR COST OF REPAIR,
                                                                                          IF ANY            $             25
COMPREHENSIVE       FL       WHICHEVER IS LESS, MINUS
                             $     100 DEDUCTIBLE FOR EACH COVERED
                             AUTO, BUT NO DEDUCTIBLE APPLIES TO LOSS
                             CAUSED BY FIRE OR LIGHTNING.
                             ACTUAL CASH VALUE OR COST OF REPAIR,
SPECIFIED                    WHICHEVER IS LESS, MINUS
CAUSES OF LOSS                                DEDUCTIBLE FOR EACH
                             COVERED AUTO FOR LOSS CAUSED BY MISCHIEF
                             OR VANDALISM.
                             ACTUAL CASH VALUE OR COST OF REPAIR,                         IF ANY            $             25
COLLISION           FL       WHICHEVER IS LESS, MINUS
                             $ 1,000 DEDUCTIBLE FOR EACH COVERED
                             AUTO.
                                                                                         TOTAL PREMIUM      $        16,766
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire
 does not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


         Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                  ESTIMATED ANNUAL
                                                                                                        PREMIUM
                                              COST OF HIRE FOR EACH STATE
       COVERAGE                STATE
                                           Mobile Equipment       Farm Equipment        Mobile Equipment         Farm Equipment

Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                               TOTAL PREMIUMS

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for services
 performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                      Cost Of Hire Rating Basis For Mobile or Farm Equipment --- Physical Damage Coverages

                                                                 ESTIMATED ANNUAL
                                                                   COST OF HIRE
                                                                  FOR EACH STATE
                                                                (Excluding Autos Hired
                                                                     With A Driver)                          PREMIUM
                                                               Mobile                              Mobile             Farm
  COVERAGE         STATE       LIMIT OF INSURANCE            Equipment       Farm Equiment       Equipment          Equipment
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
                                         DEDUCTIBLE
COMPREHENSIVE              FOR EACH COVERED AUTO,
                           BUT NO DEDUCTIBLE AP-
                           PLIES TO LOSS CAUSED BY
                           FIRE OR LIGHTNING.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
SPECIFIED                                DEDUCTIBLE
CAUSES OF LOSS             FOR EACH COVERED AUTO
                           FOR LOSS CAUSED BY MIS-
                           CHIEF OR VANDALISM.
                           ACTUAL CASH VALUE OR
                           COST OF REPAIR, WHICH-
                           EVER IS LESS, MINUS
COLLISION
                                         DEDUCTIBLE
                           FOR EACH COVERED AUTO.
                                                                            TOTAL PREMIUM

  For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
  (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
  not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                             Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                   ESTIMATED
                                                                NUMBER OF DAYS
                                                                                              PREMIUM
                                                               EQUIPMENT WILL BE
                                                                     RENTED
                             TOWN AND STATE WHERE THE          Mobile       Farm         Mobile        Farm
        COVERAGE                JOB SITE IS LOCATED          Equipment    Equipment    Equipment     Equipment
Liability ---
Primary Coverage

Liability ---
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                                                   TOTAL PREMIUMS



ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP LIABILITY

     NAMED INSURED’S
        BUSINESS                         RATING BASIS               NUMBER                   PREMIUM
Other Than Garage Service      Number Of Employees                     1,044           $            4,456
Operations And Other Than      Number Of Partners
Social Service Agencies        (Active and Inactive)
Garage Service Operations      Number Of Employees Whose Princi-
                               pal Duty Involves
                               The Operation Of Autos
                               Number Of Partners
                               (Active and Inactive)
Social Service Agencies        Number Of Employees
                               Number Of Volunteers Who
                               Regularly Use Autos
                               To Transport Clients
                               Number Of Partners
                               (Active and Inactive)
                                                                    Total Premium      $            4,456




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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):         Public Autos                     Leasing Or Rental Concerns

Rating Basis (Check one):         Gross Receipts (Per $100)        Mileage (Per Mile)

Estimated Yearly (Check One):     Gross Receipts (Per $100)        Mileage
                                                    Premiums
Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
  FOR PUBLIC AUTOS
  Gross receipts means the total amount earned by the named insured for transporting passengers, mail and merchan-
  dise.
  Gross receipts does not include:
     A. Amounts paid to air, sea or land carriers operating under their own permits.
     B. Advertising revenue.
     C. Taxes collected as a separate item and paid directly to the government.
     D. C.O.D. collections for cost of mail or merchandise including collection fees.
   Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.
   FOR RENTAL OR LEASING CONCERNS
   Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to others
   without drivers.
   Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 00 01 03 10

                     BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.       SECTION I ---- COVERED AUTOS
Read the entire policy carefully to determine rights,      Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                     are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your" re-      following numerical symbols describe the "autos" that
fer to the Named Insured shown in the Declarations.        may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company        a coverage on the Declarations designate the only
providing this insurance.                                  "autos" that are covered "autos".
Other words and phrases that appear in quotation           A. Description Of Covered Auto Designation Symbols
marks have special meaning. Refer to Section V ----
Definitions.

 Symbol                             Description Of Covered Auto Designation Symbols
   1       Any "Auto"
   2       Owned "Autos"     Only those "autos" you own (and for Liability Coverage any "trailers" you don’t own
           Only              while attached to power units you own). This includes those "autos" you acquire
                             ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.

           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Liability Coverage any "trailers" you don’t own while attached to power units you
           Than Private      own). This includes those "autos" not of the private passenger type you acquire
           Passenger         ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Liability Coverage any "trailers" you don’t own
           "Autos"           while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19      Mobile Equip-       Only those "autos" that are land vehicles and that would qualify under the definition
            ment Subject To     of "mobile equipment" under this policy if they were not subject to a compulsory or
            Compulsory Or       financial responsibility law or other motor vehicle insurance law where they are
            Financial           licensed or principally garaged.
            Responsibility
            Or Other Motor
            Vehicle Insur-
            ance Law Only

B. Owned Autos You Acquire After The Policy Begins            SECTION II ---- LIABILITY COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered next      A. Coverage
       to a coverage in Item Two of the Declarations,            We will pay all sums an "insured" legally must pay
       then you have coverage for "autos" that you               as damages because of "bodily injury" or "property
       acquire of the type described for the remainder           damage" to which this insurance applies, caused
       of the policy period.                                     by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage             maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you            We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that cover-          pay as a "covered pollution cost or expense" to
       age only if:                                              which this insurance applies, caused by an "acci-
       a. We already cover all "autos" that you own              dent" and resulting from the ownership, mainte-
           for that coverage or it replaces an "auto"            nance or use of covered "autos". However, we will
           you previously owned that had that cover-             only pay for the "covered pollution cost or ex-
           age; and                                              pense" if there is either "bodily injury" or "property
       b. You tell us within 30 days after you acquire           damage" to which this insurance applies that is
           it that you want us to cover it for that cover-       caused by the same "accident".
           age.                                                  We have the right and duty to defend any "insured"
C. Certain Trailers, Mobile Equipment And Temporary              against a "suit" asking for such damages or a
   Substitute Autos                                              "covered pollution cost or expense". However, we
                                                                 have no duty to defend any "insured" against a
   If Liability Coverage is provided by this coverage            "suit" seeking damages for "bodily injury" or "prop-
   form, the following types of vehicles are also cov-           erty damage" or a "covered pollution cost or ex-
   ered "autos" for Liability Coverage:                          pense" to which this insurance does not apply. We
   1. "Trailers" with a load capacity of 2,000 pounds            may investigate and settle any claim or "suit" as we
       or less designed primarily for travel on public           consider appropriate. Our duty to defend or settle
       roads.                                                    ends when the Liability Coverage Limit of
                                                                 Insurance has been exhausted by payment of
   2. "Mobile equipment" while being carried or
                                                                 judgments or settlements.
       towed by a covered "auto".
                                                                 1. Who Is An Insured
   3. Any "auto" you do not own while used with the
      permission of its owner as a temporary substi-                 The following are "insureds":
      tute for a covered "auto" you own that is out of               a. You for any covered "auto".
      service because of its:
                                                                     b. Anyone else while using with your permis-
      a. Breakdown;                                                      sion a covered "auto" you own, hire or bor-
      b. Repair;                                                         row except:
      c. Servicing;                                                     (1) The owner or anyone else from whom
                                                                            you hire or borrow a covered "auto".
      d. "Loss"; or
                                                                         This exception does not apply if the
      e. Destruction.
                                                                         covered "auto" is a "trailer" connected to a
                                                                         covered "auto" you own.




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         (2) Your "employee" if the covered "auto" is                 These payments will not reduce the Limit of
             owned by that "employee" or a member                     Insurance.
             of his or her household.                             b. Out-of-state Coverage Extensions
         (3) Someone using a covered "auto" while                     While a covered "auto" is away from the
             he or she is working in a business of                    state where it is licensed we will:
             selling, servicing, repairing, parking or
             storing "autos" unless that business is                 (1) Increase the Limit of Insurance for Li-
             yours.                                                       ability Coverage to meet the limits speci-
                                                                          fied by a compulsory or financial re-
         (4) Anyone other than your "employees",                          sponsibility law of the jurisdiction where
             partners (if you are a partnership),                         the covered "auto" is being used. This
             members (if you are a limited liability                      extension does not apply to the limit or
             company) or a lessee or borrower or                          limits specified by any law governing
             any of their "employees", while moving                       motor carriers of passengers or prop-
             property to or from a covered "auto".                        erty.
         (5) A partner (if you are a partnership) or a               (2) Provide the minimum amounts and types
             member (if you are a limited liability                       of other coverages, such as no-fault,
             company) for a covered "auto" owned by                       required of out-of-state vehicles by the
             him or her or a member of his or her                         jurisdiction where the covered "auto" is
             household.                                                   being used.
      c. Anyone liable for the conduct of an "in-                     We will not pay anyone more than once for
          sured" described above but only to the ex-                  the same elements of loss because of these
          tent of that liability.                                     extensions.
   2. Coverage Extensions                                  B. Exclusions
      a. Supplementary Payments                               This insurance does not apply to any of the follow-
          We will pay for the "insured":                      ing:
         (1) All expenses we incur.                           1. Expected Or Intended Injury
         (2) Up to $2,000 for cost of bail bonds (in-            "Bodily injury" or "property damage" expected
             cluding bonds for related traffic law vio-          or intended from the standpoint of the "in-
             lations) required because of an "acci-              sured".
             dent" we cover. We do not have to fur-           2. Contractual
             nish these bonds.
                                                                 Liability assumed under any contract or
         (3) The cost of bonds to release attach-                agreement.
             ments in any "suit" against the "insured"
             we defend, but only for bond amounts                But this exclusion does not apply to liability for
             within our Limit of Insurance.                      damages:
         (4) All reasonable expenses incurred by the              a. Assumed in a contract or agreement that is
             "insured" at our request, including actual               an "insured contract" provided the "bodily
             loss of earnings up to $250 a day be-                    injury" or "property damage" occurs subse-
             cause of time off from work.                             quent to the execution of the contract or
                                                                      agreement; or
         (5) All court costs taxed against the "in-
             sured" in any "suit" against the "insured"           b. That the "insured" would have in the ab-
             we defend. However, these payments do                    sence of the contract or agreement.
             not include attorneys’ fees or attorneys’         3. Workers’ Compensation
             expenses taxed against the "insured".
                                                                  Any obligation for which the "insured" or the
         (6) All interest on the full amount of any               "insured’s" insurer may be held liable under any
             judgment that accrues after entry of the             workers’ compensation, disability benefits or
             judgment in any "suit" against the "in-              unemployment compensation law or any similar
             sured" we defend, but our duty to pay                law.
             interest ends when we have paid, of-
             fered to pay or deposited in court the
             part of the judgment that is within our
             Limit of Insurance.




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   4. Employee Indemnification And Employer’s                    b. After it is moved from the covered "auto" to
      Liability                                                      the place where it is finally delivered by the
      "Bodily injury" to:                                            "insured".
      a. An "employee" of the "insured" arising out of        8. Movement Of Property By Mechanical Device
          and in the course of:                                  "Bodily injury" or "property damage" resulting
         (1) Employment by the "insured"; or                     from the movement of property by a mechani-
                                                                 cal device (other than a hand truck) unless the
         (2) Performing the duties related to the                device is attached to the covered "auto".
              conduct of the "insured’s" business; or
                                                              9. Operations
      b. The spouse, child, parent, brother or sister
          of that "employee" as a consequence of Pa-             "Bodily injury" or "property damage" arising out
                                                                 of the operation of:
          ragraph a. above.
      This exclusion applies:                                    a. Any equipment listed in Paragraphs 6.b.
                                                                     and 6.c. of the definition of "mobile equip-
         (1) Whether the "insured" may be liable as                  ment"; or
              an employer or in any other capacity;
              and                                                b. Machinery or equipment that is on, attached
                                                                     to or part of a land vehicle that would qual-
         (2) To any obligation to share damages with                 ify under the definition of "mobile equip-
              or repay someone else who must pay                     ment" if it were not subject to a compulsory
              damages because of the injury.                         or financial responsibility law or other motor
      But this exclusion does not apply to "bodily in-               vehicle insurance law where it is licensed or
      jury" to domestic "employees" not entitled to                  principally garaged.
      workers’ compensation benefits or to liability         10. Completed Operations
      assumed by the "insured" under an "insured
      contract". For the purposes of the coverage                "Bodily injury" or "property damage" arising out
      form, a domestic "employee" is a person en-                of your work after that work has been com-
      gaged in household or domestic work per-                   pleted or abandoned.
      formed principally in connection with a resi-              In this exclusion, your work means:
      dence premises.                                            a. Work or operations performed by you or on
   5. Fellow Employee                                                your behalf; and
      "Bodily injury" to:                                        b. Materials, parts or equipment furnished in
      a. Any fellow "employee" of the "insured" aris-                connection with such work or operations.
          ing out of and in the course of the fellow             Your work includes warranties or representa-
          "employee’s" employment or while perform-              tions made at any time with respect to the fit-
          ing duties related to the conduct of your              ness, quality, durability or performance of any
          business; or                                           of the items included in Paragraph a. or b.
      b. The spouse, child, parent, brother or sister            above.
          of that fellow "employee" as a consequence             Your work will be deemed completed at the
          of Paragraph a. above.                                 earliest of the following times:
   6. Care, Custody Or Control                                      (1) When all of the work called for in your
      "Property damage" to or "covered pollution cost                    contract has been completed.
      or expense" involving property owned or trans-                (2) When all of the work to be done at the
      ported by the "insured" or in the "insured’s"                      site has been completed if your contract
      care, custody or control. But this exclusion                       calls for work at more than one site.
      does not apply to liability assumed under a si-               (3) When that part of the work done at a job
      detrack agreement.                                                 site has been put to its intended use by
   7. Handling Of Property                                               any person or organization other than
      "Bodily injury" or "property damage" resulting                     another contractor or subcontractor
      from the handling of property:                                     working on the same project.
      a. Before it is moved from the place where it is
          accepted by the "insured" for movement into
          or onto the covered "auto"; or




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      Work that may need service, maintenance, cor-                Paragraphs b. and c. above of this exclusion
      rection, repair or replacement, but which is                 do not apply to "accidents" that occur away
      otherwise complete, will be treated as com-                  from premises owned by or rented to an "in-
      pleted.                                                      sured" with respect to "pollutants" not in or
  11. Pollution                                                    upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                (a) The "pollutants" or any property in which
      of the actual, alleged or threatened discharge,                     the "pollutants" are contained are upset,
      dispersal, seepage, migration, release or es-                       overturned or damaged as a result of the
      cape of "pollutants":                                               maintenance or use of a covered "auto";
                                                                          and
      a. That are, or that are contained in any prop-
          erty that is:                                               (b) The discharge, dispersal, seepage, mi-
                                                                          gration, release or escape of the "pollut-
         (1) Being transported or towed by, handled                       ants" is caused directly by such upset,
              or handled for movement into, onto or                       overturn or damage.
              from the covered "auto";
                                                               12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                       "Bodily injury" or "property damage" arising di-
                                                                   rectly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered "au-                a. War, including undeclared or civil war;
              to";                                                 b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                   action in hindering or defending against an
          which the "pollutants" are contained are                    actual or expected attack, by any govern-
          moved from the place where they are ac-                     ment, sovereign or other authority using
          cepted by the "insured" for movement into                   military personnel or other agents; or
          or onto the covered "auto"; or                           c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                    power or action taken by governmental au-
          which the "pollutants" are contained are                    thority in hindering or defending against
          moved from the covered "auto" to the place                  any of these.
          where they are finally delivered, disposed of        13. Racing
          or abandoned by the "insured".                          Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels, lu-             or organized racing or demolition contest or
      bricants, fluids, exhaust gases or other similar            stunting activity, or while practicing for such
      "pollutants" that are needed for or result from             contest or activity. This insurance also does
      the normal electrical, hydraulic or mechanical              not apply while that covered "auto" is being
      functioning of the covered "auto" or its parts, if:         prepared for such a contest or activity.
         (1) The "pollutants" escape, seep, migrate or      C. Limit Of Insurance
              are discharged, dispersed or released            Regardless of the number of covered "autos", "in-
              directly from an "auto" part designed by         sureds", premiums paid, claims made or vehicles
              its manufacturer to hold, store, receive         involved in the "accident", the most we will pay for
              or dispose of such "pollutants"; and             the total of all damages and "covered pollution cost
         (2) The "bodily injury", "property damage" or         or expense" combined resulting from any one
              "covered pollution cost or expense" does         "accident" is the Limit of Insurance for Liability
              not arise out of the operation of any            Coverage shown in the Declarations.
              equipment listed in Paragraphs 6.b. and
              6.c. of the definition of "mobile
              equipment".




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   All "bodily injury", "property damage" and "covered            c. "Loss" caused by falling objects or missiles.
   pollution cost or expense" resulting from continu-             However, you have the option of having glass
   ous or repeated exposure to substantially the                  breakage caused by a covered "auto’s" collision
   same conditions will be considered as resulting                or overturn considered a "loss" under Collision
   from one "accident".                                           Coverage.
   No one will be entitled to receive duplicate pay-           4. Coverage Extensions
   ments for the same elements of "loss" under this
   coverage form and any Medical Payments Cover-                  a. Transportation Expenses
   age endorsement, Uninsured Motorists Coverage                      We will pay up to $20 per day to a maximum
   endorsement or Underinsured Motorists Coverage                     of $600 for temporary transportation
   endorsement attached to this Coverage Part.                        expense incurred by you because of the to-
SECTION III ---- PHYSICAL DAMAGE COVERAGE                             tal theft of a covered "auto" of the private
                                                                      passenger type. We will pay only for those
A. Coverage                                                           covered "autos" for which you carry either
   1. We will pay for "loss" to a covered "auto" or its               Comprehensive or Specified Causes Of
      equipment under:                                                Loss Coverage. We will pay for temporary
      a. Comprehensive Coverage                                       transportation expenses incurred during the
                                                                      period beginning 48 hours after the theft
          From any cause except:                                      and ending, regardless of the policy’s expi-
         (1) The covered "auto’s" collision with an-                  ration, when the covered "auto" is returned
             other object; or                                         to use or we pay for its "loss".
         (2) The covered "auto’s" overturn.                       b. Loss Of Use Expenses
      b. Specified Causes Of Loss Coverage                            For Hired Auto Physical Damage, we will
                                                                      pay expenses for which an "insured" be-
          Caused by:
                                                                      comes legally responsible to pay for loss of
         (1) Fire, lightning or explosion;                            use of a vehicle rented or hired without a
         (2)Theft;                                                    driver under a written rental contract or
                                                                      agreement. We will pay for loss of use ex-
         (3)Windstorm, hail or earthquake;                            penses if caused by:
         (4)Flood;                                                   (1) Other than collision only if the Declara-
         (5)Mischief or vandalism; or                                     tions indicate that Comprehensive Cov-
         (6)The sinking, burning, collision or derail-                    erage is provided for any covered "auto";
            ment of any conveyance transporting                     (2) Specified Causes Of Loss only if the
            the covered "auto".                                         Declarations indicate that Specified
      c. Collision Coverage                                             Causes Of Loss Coverage is provided
                                                                        for any covered "auto"; or
         Caused by:
                                                                    (3) Collision only if the Declarations indicate
          (1) The covered "auto’s" collision with an-                   that Collision Coverage is provided for
              other object; or                                          any covered "auto".
          (2) The covered "auto’s" overturn.                         However, the most we will pay for any ex-
   2. Towing                                                         penses for loss of use is $20 per day, to a
                                                                     maximum of $600.
      We will pay up to the limit shown in the Decla-
      rations for towing and labor costs incurred          B. Exclusions
      each time a covered "auto" of the private pas-          1. We will not pay for "loss" caused by or resulting
      senger type is disabled. However, the labor                from any of the following. Such "loss" is ex-
      must be performed at the place of disablement.             cluded regardless of any other cause or event
   3. Glass Breakage ---- Hitting A Bird Or Animal ---           that contributes concurrently or in any se-
      Falling Objects Or Missiles                                quence to the "loss".
      If you carry Comprehensive Coverage for the                a. Nuclear Hazard
      damaged covered "auto", we will pay for the                   (1) The explosion of any weapon employing
      following under Comprehensive Coverage:                           atomic fission or fusion; or
      a. Glass breakage;                                            (2) Nuclear reaction or radiation, or radioac-
      b. "Loss" caused by hitting a bird or animal;                     tive contamination, however caused.
         and


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      b. War Or Military Action                                   b. Removable from a housing unit which is
         (1) War, including undeclared or civil war;                  permanently installed in or upon the cov-
                                                                      ered "auto";
         (2) Warlike action by a military force, includ-
             ing action in hindering or defending                 c. An integral part of the same unit housing
             against an actual or expected attack, by                 any electronic equipment described in Pa-
             any government, sovereign or other au-                   ragraphs a. and b. above; or
             thority using military personnel or other            d. Necessary for the normal operation of the
             agents; or                                               covered "auto" or the monitoring of the
         (3) Insurrection,     rebellion,    revolution,              covered "auto’s" operating system.
             usurped power or action taken by gov-             6. We will not pay for "loss" to a covered "auto"
             ernmental authority in hindering or de-              due to "diminution in value".
             fending against any of these.                  C. Limit Of Insurance
   2. We will not pay for "loss" to any covered "auto"          1. The most we will pay for "loss" in any one "ac-
      while used in any professional or organized                  cident" is the lesser of:
      racing or demolition contest or stunting activ-
      ity, or while practicing for such contest or activ-          a. The actual cash value of the damaged or
      ity. We will also not pay for "loss" to any                      stolen property as of the time of the "loss";
      covered "auto" while that covered "auto" is                      or
      being prepared for such a contest or activity.               b. The cost of repairing or replacing the dam-
   3. We will not pay for "loss" due and confined to:                  aged or stolen property with other property
                                                                       of like kind and quality.
      a. Wear and tear, freezing, mechanical or
           electrical breakdown.                                2. $1,000 is the most we will pay for "loss" in any
                                                                   one "accident" to all electronic equipment that
      b. Blowouts, punctures or other road damage                  reproduces, receives or transmits audio, visual
           to tires.                                               or data signals which, at the time of "loss", is:
      This exclusion does not apply to such "loss"                 a. Permanently installed in or upon the cov-
      resulting from the total theft of a covered "au-                 ered "auto" in a housing, opening or other
      to".                                                             location that is not normally used by the
   4. We will not pay for "loss" to any of the follow-                 "auto" manufacturer for the installation of
      ing:                                                             such equipment;
      a. Tapes, records, discs or other similar audio,             b. Removable from a permanently installed
         visual or data electronic devices designed                    housing unit as described in Paragraph 2.a.
          for use with audio, visual or data electronic                above or is an integral part of that equip-
         equipment.                                                    ment; or
      b. Any device designed or used to detect                     c. An integral part of such equipment.
         speed-measuring equipment such as radar                3. An adjustment for depreciation and physical
         or laser detectors and any jamming appara-                condition will be made in determining actual
          tus intended to elude or disrupt speed-                  cash value in the event of a total "loss".
         measurement equipment.
                                                                4. If a repair or replacement results in better than
      c. Any electronic equipment, without regard to               like kind or quality, we will not pay for the
         whether this equipment is permanently in-                 amount of the betterment.
         stalled, that reproduces, receives or trans-
         mits audio, visual or data signals.                 D. Deductible
      d. Any accessories used with the electronic               For each covered "auto", our obligation to pay for,
         equipment described in Paragraph c.                    repair, return or replace damaged or stolen prop-
         above.                                                 erty will be reduced by the applicable deductible
                                                                shown in the Declarations. Any Comprehensive
   5. Exclusions 4.c. and 4.d. do not apply to                  Coverage deductible shown in the Declarations
      equipment designed to be operated solely by               does not apply to "loss" caused by fire or lightning.
      use of the power from the "auto’s" electrical
      system that, at the time of "loss", is:
      a. Permanently installed in or upon the cov-
         ered "auto";




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SECTION IV ---- BUSINESS AUTO CONDITIONS                               (5) Submit to examination, at our expense,
The following conditions apply in addition to the                          by physicians of our choice, as often as
Common Policy Conditions:                                                  we reasonably require.
A. Loss Conditions                                                  c. If there is "loss" to a covered "auto" or its
                                                                        equipment you must also do the following:
   1. Appraisal For Physical Damage Loss
                                                                       (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                      "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss". In
      this event, each party will select a competent                   (2) Take all reasonable steps to protect the
      appraiser. The two appraisers will select a                          covered "auto" from further damage. Al-
      competent and impartial umpire. The appraisers                       so keep a record of your expenses for
      will state separately the actual cash value and                      consideration in the settlement of the
      amount of "loss". If they fail to agree, they will                   claim.
      submit their differences to the umpire. A                       (3) Permit us to inspect the covered "auto"
      decision agreed to by any two will be binding.                       and records proving the "loss" before its
      Each party will:                                                     repair or disposition.
      a. Pay its chosen appraiser; and                                (4) Agree to examinations under oath at our
      b. Bear the other expenses of the appraisal                          request and give us a signed statement
          and umpire equally.                                              of your answers.
      If we submit to an appraisal, we will still retain        3. Legal Action Against Us
      our right to deny the claim.                                 No one may bring a legal action against us un-
   2. Duties In The Event Of Accident, Claim, Suit Or              der this coverage form until:
      Loss                                                         a. There has been full compliance with all the
      We have no duty to provide coverage under                        terms of this coverage form; and
      this policy unless there has been full compli-               b. Under Liability Coverage, we agree in writ-
      ance with the following duties:                                  ing that the "insured" has an obligation to
                                                                       pay or until the amount of that obligation
       a. In the event of "accident", claim, "suit" or
                                                                       has finally been determined by judgment af-
           "loss", you must give us or our authorized
           representative prompt notice of the "acci-                  ter trial. No one has the right under this pol-
           dent" or "loss". Include:                                   icy to bring us into an action to determine
                                                                       the "insured’s" liability.
          (1) How, when and where the "accident" or
               "loss" occurred;                                 4. Loss Payment ---- Physical Damage Coverages
          (2) The "insured’s" name and address; and                At our option we may:
          (3) To the extent possible, the names and                a. Pay for, repair or replace damaged or stolen
               addresses of any injured persons and                    property;
               witnesses.                                          b. Return the stolen property, at our expense.
       b. Additionally, you and any other involved                     We will pay for any damage that results to
           "insured" must:                                             the "auto" from the theft; or
          (1) Assume no obligation, make no payment                c. Take all or any part of the damaged or sto-
               or incur no expense without our                         len property at an agreed or appraised val-
               consent, except at the "insured’s" own                  ue.
               cost.                                               If we pay for the "loss", our payment will in-
          (2) Immediately send us copies of any re-                clude the applicable sales tax for the damaged
               quest, demand, order, notice, summons               or stolen property.
               or legal paper received concerning the           5. Transfer Of Rights Of Recovery Against Others
               claim or "suit".                                    To Us
          (3) Cooperate with us in the investigation or            If any person or organization to or for whom
               settlement of the claim or defense                  we make payment under this coverage form
               against the "suit".                                 has rights to recover damages from another,
          (4) Authorize us to obtain medical records               those rights are transferred to us. That person
               or other pertinent information.                     or organization must do everything necessary
                                                                   to secure our rights and must do nothing after
                                                                   "accident" or "loss" to impair them.



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B. General Conditions                                             d. When this coverage form and any other
   1. Bankruptcy                                                     coverage form or policy covers on the same
                                                                     basis, either excess or primary, we will pay
      Bankruptcy or insolvency of the "insured" or                   only our share. Our share is the proportion
      the "insured’s" estate will not relieve us of any              that the Limit of Insurance of our coverage
      obligations under this coverage form.                          form bears to the total of the limits of all the
   2. Concealment, Misrepresentation Or Fraud                        coverage forms and policies covering on
                                                                     the same basis.
      This coverage form is void in any case of fraud
      by you at any time as it relates to this coverage        6. Premium Audit
      form. It is also void if you or any other "in-              a. The estimated premium for this coverage
      sured", at any time, intentionally conceal or                  form is based on the exposures you told us
      misrepresent a material fact concerning:                       you would have when this policy began. We
      a. This coverage form;                                         will compute the final premium due when we
                                                                     determine your actual exposures. The
      b. The covered "auto";                                         estimated total premium will be credited
      c. Your interest in the covered "auto"; or                     against the final premium due and the first
      d. A claim under this coverage form.                           Named Insured will be billed for the bal-
                                                                     ance, if any. The due date for the final pre-
   3. Liberalization                                                 mium or retrospective premium is the date
      If we revise this coverage form to provide more                shown as the due date on the bill. If the es-
      coverage without additional premium charge,                    timated total premium exceeds the final
      your policy will automatically provide the addi-               premium due, the first Named Insured will
      tional coverage as of the day the revision is ef-              get a refund.
      fective in your state.                                      b. If this policy is issued for more than one
   4. No Benefit To Bailee ---- Physical Damage                      year, the premium for this coverage form
      Coverages                                                      will be computed annually based on our
      We will not recognize any assignment or grant                  rates or premiums in effect at the beginning
      any coverage for the benefit of any person or                  of each year of the policy.
      organization holding, storing or transporting            7. Policy Period, Coverage Territory
      property for a fee regardless of any other pro-             Under this coverage form, we cover "accidents"
      vision of this coverage form.                               and "losses" occurring:
   5. Other Insurance                                             a. During the policy period shown in the Dec-
      a. For any covered "auto" you own, this cov-                   larations; and
          erage form provides primary insurance. For               b. Within the coverage territory.
          any covered "auto" you don’t own, the in-
          surance provided by this coverage form is                The coverage territory is:
          excess over any other collectible insurance.            (1) The United States of America;
          However, while a covered "auto" which is a
                                                                  (2) The territories and possessions of the Unit-
          "trailer" is connected to another vehicle, the
                                                                       ed States of America;
          Liability Coverage this coverage form pro-
          vides for the "trailer" is:                             (3) Puerto Rico;
         (1) Excess while it is connected to a motor              (4) Canada; and
              vehicle you do not own.                             (5) Anywhere in the world if:
         (2) Primary while it is connected to a cov-                  (a) A covered "auto" of the private passen-
              ered "auto" you own.                                        ger type is leased, hired, rented or bor-
      b. For Hired Auto Physical Damage Coverage,                         rowed without a driver for a period of 30
          any covered "auto" you lease, hire, rent or                     days or less; and
          borrow is deemed to be a covered "auto"                    (b) The "insured’s" responsibility to pay
          you own. However, any "auto" that is                            damages is determined in a "suit" on the
          leased, hired, rented or borrowed with a                        merits, in the United States of America,
          driver is not a covered "auto".                                 the territories and possessions of the
      c. Regardless of the provisions of Paragraph                        United States of America, Puerto Rico or
          a. above, this coverage form’s Liability                        Canada or in a settlement we agree to.
          Coverage is primary for any liability as-
          sumed under an "insured contract".


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      We also cover "loss" to, or "accidents" involv-           "Covered pollution cost or expense" does not in-
      ing, a covered "auto" while being transported             clude any cost or expense arising out of the ac-
      between any of these places.                              tual, alleged or threatened discharge, dispersal,
   8. Two Or More Coverage Forms Or Policies                    seepage, migration, release or escape of "pollut-
      Issued By Us                                              ants":
      If this coverage form and any other coverage                  a. That are, or that are contained in any prop-
      form or policy issued to you by us or any com-                    erty that is:
      pany affiliated with us applies to the same "ac-                 (1) Being transported or towed by, handled
      cident", the aggregate maximum Limit of Insur-                        or handled for movement into, onto or
      ance under all the coverage forms or policies                         from the covered "auto";
      shall not exceed the highest applicable Limit of                 (2) Otherwise in the course of transit by or
      Insurance under any one coverage form or pol-                         on behalf of the "insured"; or
      icy. This condition does not apply to any cov-
      erage form or policy issued by us or an affili-                 (3) Being stored, disposed of, treated or
      ated company specifically to apply as excess                         processed in or upon the covered "au-
      insurance over this coverage form.                                   to";
SECTION V ---- DEFINITIONS                                         b. Before the "pollutants" or any property in
                                                                       which the "pollutants" are contained are
A. "Accident" includes continuous or repeated expo-                    moved from the place where they are ac-
   sure to the same conditions resulting in "bodily in-                cepted by the "insured" for movement into
   jury" or "property damage".                                         or onto the covered "auto"; or
B. "Auto" means:                                                   c. After the "pollutants" or any property in
   1. A land motor vehicle, "trailer" or semitrailer de-               which the "pollutants" are contained are
       signed for travel on public roads; or                           moved from the covered "auto" to the place
   2. Any other land vehicle that is subject to a com-                 where they are finally delivered, disposed of
       pulsory or financial responsibility law or other                or abandoned by the "insured".
       motor vehicle insurance law where it is licensed            Paragraph a. above does not apply to fuels, lu-
       or principally garaged.                                     bricants, fluids, exhaust gases or other similar
   However, "auto" does not include "mobile equip-                 "pollutants" that are needed for or result from
   ment".                                                          the normal electrical, hydraulic or mechanical
                                                                   functioning of the covered "auto" or its parts, if:
C. "Bodily injury" means bodily injury, sickness or
   disease sustained by a person including death re-                  (1) The "pollutants" escape, seep, migrate or
   sulting from any of these.                                             are discharged, dispersed or released
                                                                          directly from an "auto" part designed by
D. "Covered pollution cost or expense" means any                          its manufacturer to hold, store, receive
   cost or expense arising out of:                                        or dispose of such "pollutants"; and
   1. Any request, demand, order or statutory or                      (2) The "bodily injury", "property damage" or
       regulatory requirement that any "insured" or                       "covered pollution cost or expense" does
       others test for, monitor, clean up, remove, con-                   not arise out of the operation of any
       tain, treat, detoxify or neutralize, or in any way                 equipment listed in Paragraph 6.b. or
       respond to, or assess the effects of, "pollut-                     6.c. of the definition of "mobile
       ants"; or                                                          equipment".
   2. Any claim or "suit" by or on behalf of a gov-
       ernmental authority for damages because of
       testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying or neutralizing,
       or in any way responding to, or assessing the
       effects of, "pollutants".




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      Paragraphs b. and c. above do not apply to              An "insured contract" does not include that part of
      "accidents" that occur away from premises               any contract or agreement:
      owned by or rented to an "insured" with respect             a. That indemnifies a railroad for "bodily injury"
      to "pollutants" not in or upon a covered "auto"                 or "property damage" arising out of con-
      if:                                                             struction or demolition operations, within 50
          (a) The "pollutants" or any property in which               feet of any railroad property and affecting
              the "pollutants" are contained are upset,               any railroad bridge or trestle, tracks, road-
              overturned or damaged as a result of the                beds, tunnel, underpass or crossing;
              maintenance or use of a covered "auto";             b. That pertains to the loan, lease or rental of
              and                                                     an "auto" to you or any of your "employees",
                                                                      if the "auto" is loaned, leased or rented with
          (b) The discharge, dispersal, seepage, mi-
                                                                      a driver; or
              gration, release or escape of the "pollut-
              ants" is caused directly by such upset,             c. That holds a person or organization en-
              overturn or damage.                                     gaged in the business of transporting prop-
                                                                      erty by "auto" for hire harmless for your use
E. "Diminution in value" means the actual or perceived                of a covered "auto" over a route or territory
   loss in market value or resale value which results                 that person or organization is authorized to
   from a direct and accidental "loss".                               serve by public authority.
F. "Employee" includes a "leased worker". "Employee"       I. "Leased worker" means a person leased to you by
   does not include a "temporary worker".                     a labor leasing firm under an agreement between
G. "Insured" means any person or organization quali-          you and the labor leasing firm to perform duties re-
   fying as an insured in the Who Is An Insured pro-          lated to the conduct of your business. "Leased
   vision of the applicable coverage. Except with re-         worker" does not include a "temporary worker".
   spect to the Limit of Insurance, the coverage af-       J. "Loss" means direct and accidental loss or dam-
   forded applies separately to each insured who is           age.
   seeking coverage or against whom a claim or "suit"      K. "Mobile equipment" means any of the following
   is brought.                                                types of land vehicles, including any attached ma-
H. "Insured contract" means:                                  chinery or equipment:
   1. A lease of premises;                                    1. Bulldozers, farm machinery, forklifts and other
                                                                  vehicles designed for use principally off public
   2. A sidetrack agreement;                                      roads;
   3. Any easement or license agreement, except in            2. Vehicles maintained for use solely on or next to
      connection with construction or demolition op-              premises you own or rent;
      erations on or within 50 feet of a railroad;
                                                              3. Vehicles that travel on crawler treads;
   4. An obligation, as required by ordinance, to in-         4. Vehicles, whether self-propelled or not, main-
      demnify a municipality, except in connection                tained primarily to provide mobility to perma-
      with work for a municipality;                               nently mounted:
   5. That part of any other contract or agreement                a. Power cranes, shovels, loaders, diggers or
      pertaining to your business (including an in-                   drills; or
      demnification of a municipality in connection
      with work performed for a municipality) under               b. Road        construction      or    resurfacing
      which you assume the tort liability of another to               equipment such as graders, scrapers or
                                                                      rollers;
      pay for "bodily injury" or "property damage" to a
      third party or organization. Tort liability means       5. Vehicles not described in Paragraph 1., 2., 3. or
      a liability that would be imposed by law in the             4. above that are not self-propelled and are
      absence of any contract or agreement;                       maintained primarily to provide mobility to per-
                                                                  manently attached equipment of the following
   6. That part of any contract or agreement entered              types:
      into, as part of your business, pertaining to the
      rental or lease, by you or any of your "employ-             a. Air compressors, pumps and generators,
                                                                      including spraying, welding, building clean-
      ees", of any "auto". However, such contract or
                                                                      ing, geophysical exploration, lighting and
      agreement shall not be considered an "insured
                                                                      well-servicing equipment; or
      contract" to the extent that it obligates you or
      any of your "employees" to pay for "property                b. Cherry pickers and similar devices used to
      damage" to any "auto" rented or leased by you                   raise or lower workers; or
      or any of your "employees".




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   6. Vehicles not described in Paragraph 1., 2., 3. or     M. "Property damage" means damage to or loss of
      4. above maintained primarily for purposes               use of tangible property.
      other than the transportation of persons or car-      N. "Suit" means a civil proceeding in which:
      go. However, self-propelled vehicles with the
      following types of permanently attached                  1. Damages because of "bodily injury" or "prop-
      equipment are not "mobile equipment" but will               erty damage"; or
      be considered "autos":                                   2. A "covered pollution cost or expense";
      a. Equipment designed primarily for:                     to which this insurance applies, are alleged.
          (1) Snow removal;                                    "Suit" includes:
          (2) Road maintenance, but not construction               a. An arbitration proceeding in which such
              or resurfacing; or                                       damages or "covered pollution costs or ex-
          (3) Street cleaning;                                         penses" are claimed and to which the "in-
                                                                       sured" must submit or does submit with our
       b. Cherry pickers and similar devices mounted                   consent; or
          on automobile or truck chassis and used to
          raise or lower workers; and                              b. Any other alternative dispute resolution
                                                                       proceeding in which such damages or
       c. Air compressors, pumps and generators,                       "covered pollution costs or expenses" are
          including spraying, welding, building clean-                 claimed and to which the insured submits
          ing, geophysical exploration, lighting or                    with our consent.
          well-servicing equipment.
                                                            O. "Temporary worker" means a person who is fur-
   However, "mobile equipment" does not include                nished to you to substitute for a permanent "em-
   land vehicles that are subject to a compulsory or           ployee" on leave or to meet seasonal or short-term
   financial responsibility law or other motor vehicle         workload conditions.
   insurance law where it is licensed or principally ga-
   raged. Land vehicles subject to a compulsory or          P. "Trailer" includes semitrailer.
   financial responsibility law or other motor vehicle
   insurance law are considered "autos".
L. "Pollutants" means any solid, liquid, gaseous or
   thermal irritant or contaminant, including smoke,
   vapor, soot, fumes, acids, alkalis, chemicals and
   waste. Waste includes materials to be recycled,
   reconditioned or reclaimed.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 01 22 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      KANSAS CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this
endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Changes In Liability Coverage                                  d. The following is added to the War
   1. For coverage and limits required by the Kansas                  Exclusion:
      Financial Responsibility law, Exclusions is                     This Exclusion applies only to the extent
      changed as follows:                                             that the limit of insurance for this coverage
      a. The Workers’ Compensation Exclusion is                       in this policy exceeds the limit required by
         replaced by the following:                                   the Kansas Automobile Injury Reparations
                                                                      Act.
         Any obligation for which the "insured" or the
         "insured’s" insurer may be held liable under             e. The Racing Exclusion, if contained in the
         any workers’ compensation, disability                        coverage form, does not apply.
         benefits or any similar law.                              f. The exclusion relating to "bodily injury" or
      b. The      Employee     Indemnification     And                "property damage" arising out of the actual,
         Employers’ Liability Exclusion is replaced by                alleged or threatened discharge, dispersal,
         the following:                                               release or escape of pollutants does not
                                                                      apply if the discharge, dispersal, release or
         This coverage does not apply to "bodily                      escape is sudden and accidental.
         injury" to any "employee" of the "insured"
         arising out of and in the course of the fellow        2. Our Limit Of Insurance applies except that we
         "employee’s" employment by the "insured"                 will apply the limit shown in the Declarations to
         or while performing duties related to the                first provide the separate limits required by
         conduct of the "insured’s" business if                   Kansas law as follows:
         benefits are required or available for the               a. $25,000 for "bodily injury" to any one
         "employee"       under       any     workers’                person caused by any one "accident".
         compensation or disability benefits law or               b. $50,000 for "bodily injury" to two or more
         under any similar law. This exclusion does                   persons caused by any one "accident", and
         not apply to liability assumed by the
         "insured" under an "insured contract".                   c. $10,000 for "property damage" caused by
                                                                      any one "accident".
      c. The Care, Custody Or Control Exclusion is
         replaced by the following:                               This provision will not change our limit of
                                                                  insurance.
         This coverage does not apply to "property
         damage" to property owned by, rented to,
         or in charge of or transported by an
         "insured". However, this exclusion does not
         apply to "property damage" to a rented
         residence or private garage or to liability
         assumed by the "insured" under a sidetrack
         agreement.


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B. Changes In Physical Damage                                  2. The Appraisal For Physical Damage Loss
   1. The "Diminution In Value" Exclusion does not                Condition in the Business Auto, Garage,
      apply.                                                      Truckers and Motor Carrier Coverage Forms
                                                                  and the Appraisal Condition in the Business
   2. The Limit of Insurance provision with respect to            Auto Physical Damage Coverage Form is
      repair or replacement resulting in better than              replaced by the following:
      like kind or quality in any coverage form or
      endorsement does not apply.                                 If, after a claim has been made, a dispute arises
                                                                  because you and we disagree on the amount of
C. Changes In Conditions                                          the "loss", either party may make a written
   1. The Concealment, Misrepresentation Or Fraud                 request for an appraisal of the "loss". However
      General Condition is replaced by the following:             an appraisal will be made only if both you and
                                                                  we agree, voluntarily to have the loss
      We will not pay under this Coverage Form if
                                                                  appraised. If so agreed, each party will select a
      you or any other "insured" in relation to an
                                                                  competent appraiser. The two appraisers will
      insurance application, rating, claim or coverage
                                                                  select a competent and impartial umpire. The
      under this policy knowingly and with intent to
                                                                  appraisers will state separately the actual cash
      defraud:
                                                                  value and amount of "loss". If they fail to agree,
      a. Presents, causes to be presented or                      they will submit their differences to the umpire.
         prepares with knowledge or belief that it will           Each party will:
         be presented to or by an insurer, purported              a. Pay its chosen appraiser; and
         insurer, broker or any agent thereof, any
         written statement which such person knows                b. Bear the other expenses of the appraiser
         to contain materially false information                      and umpire equally.
         concerning any material fact; or                         If we submit to an appraisal, we will still retain
      b. Conceals information concerning any                      our right to deny the claim.
         material fact for the purpose of misleading.             An appraisal decision will be binding.




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                                                                                         COMMERCIAL AUTO
                                                                                             CA 01 43 05 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 CALIFORNIA CHANGES
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. The term "spouse" is replaced by the following:               b. The other provides coverage to a person
   Spouse or registered domestic partner under Cali-                not engaged in that business, and
   fornia law.                                                   c. At the time of an "accident" an "insured" un-
                                                                    der the Coverage Form described in Para-
B. The following are added to the Other Insurance
                                                                    graph 2.a. is operating an "auto" owned by
   Condition in the Business Auto and Garage Cov-
   erage Forms and the Other Insurance ---- Primary                 a person described in Paragraph 2.b., then
   And Excess Insurance Provisions in the Motor                     the Coverage Form issued to the business
   Carrier and Truckers Coverage Forms and super-                   described in Paragraph 2.a. is primary and
   sede any provisions to the contrary:                             the liability coverage issued to a person de-
                                                                    scribed in Paragraph 2.b. is excess over
   1. When this Coverage Form and any other Cov-                    any coverage available to the business.
      erage Form or policy providing liability cover-
      age apply to an "auto" and:                             3. When this Coverage Form and any other Cov-
                                                                 erage Form or policy providing liability cover-
      a. One provides coverage to a Named Insured                age apply to a "commercial vehicle" and:
          engaged in the business of selling, repair-
          ing, servicing, delivering, testing or road-           a. One provides coverage to a Named In-
          testing "autos", and                                      sured, who in the course of business, rents
                                                                    or leases "commercial vehicles" without op-
      b. The other provides coverage to a person                    erators, and
          not engaged in that business, and
                                                                 b. The other provides coverage to a person
      c. At the time of an "accident", a person de-                 other than as described in Paragraph 3.a.,
          scribed in Paragraph 1.b. is operating an                 and
          "auto" owned by the business described in
                                                                 c. At the time of an "accident", a person who is
          Paragraph 1.a., then that person’s liability
          coverage is primary and the Coverage Form                 not the Named Insured of the policy de-
          issued to a business described in Para-                   scribed in Paragraph 3.a., and who is not
          graph 1.a. is excess over any coverage                    the agent or "employee" of such Named In-
          available to that person.                                 sured is operating a "commercial vehicle"
                                                                    provided by the business covered by the
   2. When this Coverage Form and any other Cov-                    Coverage Form or policy described in Para-
      erage Form or policy providing liability cover-               graph 3.a., then the liability coverage pro-
      age apply to an "auto" and:                                   vided by the Coverage Form or policy de-
      a. One provides coverage to a Named Insured                   scribed in Paragraph 3.b. is primary, and
          engaged in the business of selling, repair-               the liability coverage provided by the Cov-
          ing, servicing, delivering, testing or road-              erage Form or policy described in Para-
          testing "autos", and                                      graph 3.a. is excess over any coverage
                                                                    available to that person.




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   4. Notwithstanding Paragraph B.3., when this            C. As used in this endorsement:
      Coverage Form and any other Coverage Form               "Commercial vehicle" means an "auto" subject to
      or policy providing liability coverage apply to a       registration or identification under California law
      power unit and any connected "trailer" or "trail-       which is:
      ers" and:
                                                              1. Used or maintained for the transportation of
      a. One provides coverage to a Named Insured                persons for hire, compensation or profit;
         engaged in the business of transporting
         property by "auto" for hire; and                     2. Designed, used or maintained primarily for the
                                                                 transportation of property; or
      b. The other provides coverage to a Named
         Insured not engaged in that business; and            3. Leased for a period of six months or more.
      c. At the time of an "accident", a power unit is
         being operated by a person insured under
         the Coverage Form or policy described in
         Paragraph 4.a., then that Coverage Form or
         policy is primary for both the power unit
         and any connected "trailer" or "trailers" and
         the Coverage Form or policy described in
         Paragraph 4.b. is excess over any other
         coverage available to such power unit and
         attached "trailer" or "trailers".




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                                                                                               COMMERCIAL AUTO
                                                                                                   CA 02 67 11 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES ---
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to the coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Paragraph A.2.b. of the Common Policy                      D. The following is added to Paragraph A. of the
   Conditions, Cancellation, is changed to read as               Common Policy Conditions, Cancellation:
   follows:                                                      7. If this policy provides Personal Injury
       b. 45 days before the effective date of                      Protection, Property Damage Liability Coverage
           cancellation if we cancel for any other                  or both and:
           reason.                                                  a. It is a new or renewal policy, it may not be
B. Paragraph A.4. of the Common Policy Conditions,                      cancelled by the first Named Insured during
   Cancellation, is replaced by the following:                          the first 60 days immediately following the
   4. Notice of cancellation will state the effective                   effective date of the policy or renewal,
       date of, and reason(s) for, the cancellation. The                except for one of the following reasons:
       policy period will end on that date.                            (1) The covered "auto" is completely
C. Paragraph A.5. of the Common Policy Conditions,                          destroyed such that it is no longer
   Cancellation, is replaced by the following:                              operable;
   5. If this policy is cancelled, we will send the first              (2) Ownership of the covered "auto" is
       Named Insured any premium refund due. If we                          transferred; or
       cancel, the refund will be pro rata. If the first               (3) The Named Insured has purchased
       Named Insured cancels, the refund may be less                        another policy covering the motor
       than pro rata. If the return premium is not                          vehicle insured under this policy.
       refunded with the notice of cancellation or                  b. It is a new policy, we may not cancel it
       when this policy is returned to us, we will mail                 during the first 60 days immediately
       the refund within 15 working days after the date                 following the effective date of the policy for
       cancellation takes effect, unless this is an audit               nonpayment of premium unless a check
       policy.                                                          used to pay us is dishonored for any
       If this is an audit policy, then, subject to your                reason or any other type of premium
       full cooperation with us or our agent in                         payment is subsequently determined to be
       securing the necessary data for audit, we will                   rejected or invalid.
       return any premium refund due within 90 days
       of the date cancellation takes effect. If our audit
       is not completed within this time limitation, then
       we shall accept your own audit, and any
       premium refund due shall be mailed within 10
       working days of receipt of your audit.
       The cancellation will be effective even if we
       have not made or offered a refund.



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E. The following condition is added:                          2. If we fail to mail proper notice of nonrenewal
   Nonrenewal                                                    and you obtain other insurance, this policy will
                                                                 end on the effective date of that insurance.
   1. If we decide not to renew or continue this
      policy, we will mail you notice at least 45 days        3. Notice of nonrenewal will state the reason(s)
      before the end of the policy period. If we offer           for the nonrenewal and the effective date of
      to renew or continue and you do not accept,                nonrenewal. The policy period will end on that
      this policy will terminate at the end of the               date.
      current policy period. Failure to pay the
      required renewal or continuation premium
      when due shall mean that you have not
      accepted our offer.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 04 24 04 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    CALIFORNIA AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Coverage                                                   3. "Bodily injury" sustained by any "family mem-
   We will pay reasonable expenses incurred for nec-             ber" while "occupying" or struck by any vehicle
   essary medical and funeral services to or for an              (other than a covered "auto") owned by or fur-
   "insured" who sustains "bodily injury" caused by              nished or available for the regular use of any
   "accident". We will pay only those expenses in-               "family member".
   curred, for services rendered within three years           4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                              and in the course of employment by you. How-
B. Who Is An Insured                                             ever, we will cover "bodily injury" to your do-
                                                                 mestic "employees" if not entitled to workers’
   1. You while "occupying" or, while a pedestrian,              compensation benefits. For the purposes of
       when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"              person engaged in household or domestic
       while "occupying" or, while a pedestrian, when            work performed principally in connection with a
       struck by any "auto".                                     residence premises.
   3. Anyone else "occupying" a covered "auto" or a           5. "Bodily injury" to an "insured" while working in a
       temporary substitute for a covered "auto". The            business of selling, servicing, repairing or park-
       covered "auto" must be out of service because             ing "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or de-       6. "Bodily injury" arising directly or indirectly out
       struction.                                                of:
C. Exclusions                                                    a. War, including undeclared or civil war;
   This insurance does not apply to any of the follow-           b. Warlike action by a military force, including
   ing:                                                              action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while                actual or expected attack, by any govern-
      "occupying" a vehicle located for use as a                     ment, sovereign or other authority using
       premises.                                                     military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family            c. Insurrection, rebellion, revolution, usurped
      member" while "occupying" or struck by any                     power, or action taken by governmental au-
      vehicle (other than a covered "auto") owned by                 thority in hindering or defending against
      you or furnished or available for your regular                 any of these.
      use.




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   7. "Bodily injury" to anyone using a vehicle with-       E. Changes In Conditions
      out a reasonable belief that the person is enti-         The Conditions are changed for Auto Medical
      tled to do so.                                           Payments Coverage as follows:
   8. "Bodily injury" sustained by an "insured" while          1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such       2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does               ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an            Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for            ance Provisions in the Truckers and Motor
      such a contest or activity.                                 Carrier Coverage Forms to "other collectible in-
                                                                  surance" applies only to other collectible auto
D. Limit Of Insurance                                             medical payments insurance.
   Regardless of the number of covered "autos", "in-        F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for        As used in this endorsement:
   "bodily injury" for each "insured" injured in any one       1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-            by blood, adoption, marriage or registered do-
   cal Payments Coverage shown in the Declarations.               mestic partnership under California law, who is
   No one will be entitled to receive duplicate pay-              a resident of your household, including a ward
   ments for the same elements of "loss" under this               or foster child.
   coverage and any Liability Coverage Form, Unin-             2. "Occupying" means in, upon, getting in, on, out
   sured Motorists Coverage Endorsement or Under-                 or off.
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 04 48 12 10

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           KANSAS COMMERCIAL AUTO
                              COVERAGE CHANGES
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:


   COMMERCIAL AUTOMOBILE COVERAGE PART


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.


A. Changes in Liability Coverage                           B. Changes in Definitions
   1. The paragraph within Supplementary Payments             The following is added         to   SECTION     V -
      relating to court costs taxed against the               DEFINITIONS:
      "insured" is replaced by the following:                 All reference to the term "total loss" shall mean a
      All costs taxed against the "insured" in any            motor vehicle required to be registered in this state
      "suit" against the "insured" we defend.                 that has been directly and accidentally wrecked or
   2. For coverage and limits required by the Kansas          damaged to the extent that the total cost of repair
      Financial Responsibility law, the Fellow Em-            is 75% or more of the fair market value, in accor-
      ployee Exclusion is replaced by the following:          dance with KAN. STAT. ANN. § 8-197(b)(2).
      "Bodily injury" to any fellow "employee" of the      C. If Repossessed Autos endorsement CA 20 19 is
      "insured" arising out of and in the course of the       attached, Paragraph D.3. Nonreporting Premium
      fellow "employee’s" employment or while per-            Basis does not apply.
      forming duties related to the conduct of your
      business.
   3. If the following endorsements are attached,
      they do not apply and are replaced in their en-
      tirety by the provisions of paragraph D. of this
      endorsement.
      a. Lessor ---- Additional Insured And Loss
          Payee endorsement CA 20 01; or
      b. Hired Autos Specified As Covered Autos
         You Own endorsement CA 99 16.




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D. Kansas Additional Named Insured Provisions
                                                 SCHEDULE
Name of Owner                                        Described Owned Motor Vehicle
1.                                                   1.

2.                                                      2.

3.                                                      3.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement.)
A. Any vehicle described in the Schedule will be considered a covered "auto" you own and not a covered "auto"
    you hire, borrow or lease under the coverage for which it is a covered "auto".
B. LIABILITY COVERAGE and Personal Injury Protection as prescribed in the Kansas Automobile Injury Repara-
    tions Act will apply to each owner named in the Schedule as an additional named insured but only while the
    motor vehicle described in the Schedule is being used by you or on your behalf.
C. The insurance will apply to the owner only while the described vehicle is leased to you.




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 POLICY NUMBER:      CPO 5912284-01                                                          COMMERCIAL AUTO
                                                                                                 CA 20 48 02 99

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   DESIGNATED INSURED
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by
this endorsement.
This endorsement identifies person(s) or organization(s) who are "insureds" under the Who Is An Insured Provision of
the Coverage Form. This endorsement does not alter coverage provided in the Coverage Form.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Endorsement Effective:                                    Countersigned By:

Named Insured:
                                                                                        (Authorized Representative)

                                                    SCHEDULE

Name of Person(s) or Organization(s):
COUNTY OF SANTA CLARA AND MEMBERS OF THE BOARD OF SUPERVISORS OF THE
COUNTY OF SANTA CLARA, AND THE OFFICERS, AGENTS AND EMPLOYEES OF THE
COUNTY OF SANTA CLARA, INDIVIDUALLY AND COLLECTIVELY ARE ADDITIONAL
INSURED WHERE REQUIRED BY WRITTEN CONTRACT. THIS INSURANCE IS PRIMARY
AND NONCONTRIBUTORY.
C/O EBIX BPO
P.O. BOX 257 REF #XX-XXXXXXX
PORTLAND, MI 48875-0257




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to the endorsement.)

Each person or organization shown in the Schedule is an "insured" for Liability Coverage, but only to the extent that
person or organization qualifies as an "insured" under the Who Is An Insured Provision contained in Section II of the
Coverage Form.



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 POLICY NUMBER:      CPO 5912284-01                                                          COMMERCIAL AUTO
                                                                                                 CA 20 48 02 99

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   DESIGNATED INSURED
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by
this endorsement.
This endorsement identifies person(s) or organization(s) who are "insureds" under the Who Is An Insured Provision of
the Coverage Form. This endorsement does not alter coverage provided in the Coverage Form.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Endorsement Effective:                                    Countersigned By:

Named Insured:
                                                                                        (Authorized Representative)

                                                    SCHEDULE

Name of Person(s) or Organization(s):
COLLIERS INTERNATIONAL ASSET & PROPERTY MANAGEMENT, LLC
THE PRUDENTIAL INSURANCE COMPANY OF AMERICA (OWNER); PR AMHURST LAKE
LLC (OWNER); COLLIERS INTERNATIONAL ASSET AND PROPERTY MANAGEMENT LLC
(MANAGER); AMHURST LAKE BUSINESS PARK OWNER’S ASSOCIATION, INC.
(ASSOCIATION) AND ALL PARENT SUBSIDIARIES, AFFILIATES, AGENTS, AND
EMPLOYEES ARE NAMED AS ADDITIONAL INSUREDS AS PER WRITTEN CONTRACT.
1588B SOUTH LAKESIDE DR
WAUKEGAN, IL 60085




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to the endorsement.)

Each person or organization shown in the Schedule is an "insured" for Liability Coverage, but only to the extent that
person or organization qualifies as an "insured" under the Who Is An Insured Provision contained in Section II of the
Coverage Form.



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POLICY NUMBER:        CPO 5912284-01                                                         COMMERCIAL AUTO
                                                                                                 CA 21 30 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          ILLINOIS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE


Limit Of Insurance:    $    1,000,000                                                   Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                 B. Who Is An Insured
   1. We will pay all sums the "insured" is legally            If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages              tions as:
      from the owner or driver of an "uninsured mo-
                                                               1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                    a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                          bers".
      driver’s liability for these damages must result              b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                    or a temporary substitute for a covered
      "uninsured motor vehicle".                                       "auto". The covered "auto" must be out of
   2. Any judgment for damages arising out of a                        service because of its breakdown, repair,
      "suit" brought without our written consent is                    servicing, "loss" or destruction.
      not binding on us.




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       c. Anyone else "occupying" an "auto" you do              4. Anyone using a vehicle without a reasonable
          not own who is an "insured" for Liability un-            belief that the person is entitled to do so.
          der the Coverage Form, but only at times              5. Punitive or exemplary damages.
          when that person is an "insured" for Liability
          under the Coverage Form.                              6. "Bodily injury" arising directly or indirectly out
                                                                   of:
      d. Anyone for damages he or she is entitled to
          recover because of "bodily injury" sustained             a. War, including undeclared or civil war;
          by another "insured".                                    b. Warlike action by a military force, including
   2. A partnership, limited liability company, corpo-                 action in hindering or defending against an
      ration or any other form of organization, then                   actual or expected attack, by any govern-
       the following are "insureds":                                   ment, sovereign or other authority using
                                                                       military personnel or other agents; or
       a. Anyone "occupying" a covered "auto" or a
          temporary substitute for a covered "auto".               c. Insurrection, rebellion, revolution, usurped
          The covered "auto" must be out of service                    power, or action taken by governmental au-
          because of its breakdown, repair, servicing,                 thority in hindering or defending against
          "loss" or destruction.                                       any of these.
       b. Anyone else "occupying" an "auto" you do           D. Limit Of Insurance
          not own who is an "insured" for Liability un-         1. Regardless of the number of covered "autos",
          der the Coverage Form, but only at times                 "insureds", premiums paid, claims made or ve-
          when that person is an "insured" for Liability           hicles involved in the "accident", the most we
          under the Coverage Form.                                 will pay for all damages resulting from any one
       c. Anyone for damages he or she is entitled to              "accident" is the Limit of Insurance for Unin-
          recover because of "bodily injury" sustained             sured Motorists Insurance shown in the Sched-
          by another "insured".                                    ule or Declarations.
C. Exclusions                                                      We will apply the limit shown in the Declara-
                                                                   tions to first provide the separate limits re-
   This insurance does not apply to any of the follow-             quired by the Illinois Safety Responsibility Law
   ing:                                                            as follows:
   1. Any claim settled without our consent.                       a. $20,000 for "bodily injury" to any one per-
   2. The direct or indirect benefit of any insurer or                 son caused by any one "accident"; and
      self-insurer under any workers’ compensation,                b. $40,000 for "bodily injury" to two or more
      disability benefits or similar law.                              persons caused by any one "accident".
   3. "Bodily injury" sustained by:                                This provision will not change our total limit of
      a. An individual Named Insured while "occupy-                liability.
          ing" or when struck by any vehicle owned              2. No one will be entitled to receive duplicate
          by that Named Insured that is not a covered              payments for the same elements of "loss" under
          "auto" for Uninsured Motorists Coverage                  this Coverage Form and any Liability Coverage
          under this Coverage Form;                                Form, Medical Payments Coverage Endorse-
      b. Any "family member" while "occupying" or                  ment or Underinsured Motorists Coverage En-
          when struck by any vehicle owned by that                 dorsement attached to this Coverage Part.
          "family member" that is not a covered "auto"             We will not make a duplicate payment under
          for Uninsured Motorists Coverage under                   this Coverage for any element of "loss" for
          this Coverage Form; or                                   which payment has been made by or for any-
      c. Any "family member" while "occupying" or                  one who is legally responsible.
          when struck by any vehicle owned by the                  We will not pay for any element of "loss" if a
          Named Insured that is insured for Unin-                  person is entitled to receive payment for the
          sured Motorists Coverage on a primary ba-                same element of "loss" under any workers’
          sis under any other Coverage Form or pol-                compensation, disability benefits or similar law.
          icy.




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E. Changes In Conditions                                                 b. Any legal action against us must be brought
   The Conditions are changed for Uninsured Motor-                          within two years after the date of the "acci-
   ists Insurance Coverage as follows:                                      dent". However, this Paragraph 3.b. does
                                                                            not apply to an "insured" if, within two years
   1. Other Insurance in the Business Auto and                              after the date of the "accident", arbitration
       Garage Coverage Forms and Other Insurance                            proceedings have commenced in accor-
       ---- Primary And Excess Insurance Provisions in                      dance with the provisions of this Coverage
       the Truckers and Motor Carrier Coverage                              Form.
       Forms are replaced by the following:
                                                                      4. Transfer Of Rights Of Recovery Against Others
       If there is other applicable insurance available                  To Us does not apply.
       under one or more policies or provisions of
       coverage:                                                      5. The following Conditions are added:
       a. The maximum recovery under all coverage                        REIMBURSEMENT AND TRUST
             forms or policies combined may equal but                    If we make any payment and the "insured" re-
             not exceed the highest applicable limit for                 covers from another party, the "insured" shall
             any one vehicle under any coverage form or                  hold the proceeds in trust for us and pay us
             policy providing coverage on either a pri-                  back the amount we have paid.
             mary or excess basis.                                       ARBITRATION
       b. Any insurance we provide with respect to a                     a. If we and an "insured" disagree whether the
             vehicle the Named Insured does not own                          "insured" is legally entitled to recover dam-
             shall be excess over any other collectible                      ages from the owner or driver of an "unin-
             uninsured motorists insurance providing                         sured motor vehicle" or do not agree as to
             coverage on a primary basis.                                    the amount of damages, then the disagree-
       c. If the coverage under this Coverage Form is                        ment will be arbitrated. If the "insured" re-
             provided:                                                       quests, we and the "insured" will each select
            (1) On a primary basis, we will pay only our                     an arbitrator. The two arbitrators will select
                 share of the loss that must be paid un-                     a third. If the arbitrators are not selected
                 der insurance providing coverage on a                       within 45 days of the "insured’s" request, ei-
                 primary basis. Our share is the propor-                     ther party may request that arbitration be
                 tion that our limit of liability bears to the               submitted to the American Arbitration Asso-
                 total of all applicable limits of liability for             ciation. We will bear all the expenses of the
                 coverage on a primary basis.                                arbitration except when the "insured’s" re-
                                                                             covery exceeds the minimum limit specified
           (2) On an excess basis, we will pay only our                      in the Illinois Safety Responsibility Law.
                 share of the loss that must be paid un-
                 der insurance providing coverage on an                      If this occurs, the "insured" will be respon-
                 excess basis. Our share is the propor-                      sible for payment of his or her expenses
                 tion that our limit of liability bears to the               and an equal share of the expenses of the
                 total of all applicable limits of liability for             third arbitrator up to the amount by which
                 coverage on an excess basis.                                the "insured’s" recovery exceeds the
                                                                             statutory minimum.
    2. Duties In The Event Of Accident, Claim, Suit Or
       Loss is changed by adding the following:                          b. Unless both parties agree otherwise, arbi-
                                                                             tration will take place in the county in which
       a. Promptly notify the police if a hit-and-run                        the "insured" lives.
            driver is involved; and
                                                                         c. If arbitration is submitted to the American
       b. Promptly send us copies of the legal papers                        Arbitration Association, then the American
            if a "suit" is brought.                                          Arbitration Association rules shall apply to
    3. Legal Action Against Us is replaced by the                            all matters except medical opinions. As to
       following:                                                            medical opinions, if the amount of damages
                                                                             being sought:
        a. No one may bring a legal action against us
           under this Coverage Form until there has                         (1) Is equal to or less than the minimum limit
           been full compliance with all the terms of                            for bodily injury liability specified by the
           this Coverage Form.                                                   Illinois Safety Responsibility Law, then
                                                                                 the American Arbitration Association
                                                                                 rules shall apply.




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         (2) Exceeds the minimum limit for bodily               3. "Uninsured motor vehicle" means a land motor
              injury liability specified by the Illinois           vehicle or "trailer":
              Safety Responsibility Law, then rules of             a. For which no liability bond or policy at the
              evidence that apply in the circuit court                 time of an "accident" provides at least the
              for placing medical opinions into evi-                   amounts required by the applicable law
              dence shall apply.                                       where a covered "auto" is principally ga-
              In all other arbitration proceedings, local              raged; or
              rules of law as to arbitration procedure             b. For which an insuring or bonding company
              and evidence will apply.                                 denies coverage or is or becomes insolvent;
      d. If the arbitration involves three arbitrators, a              or
          decision agreed to by two of the arbitrators             c. That is a hit-and-run vehicle and neither the
          will be binding for the amount of damages                    driver nor owner can be identified. The ve-
          not exceeding the lesser of either:                          hicle must hit, or cause an object to hit, an
         (1) $50,000 for "bodily injury" to any one                    "insured", a covered "auto" or a vehicle an
              person / $100,000 for "bodily injury" to                 "insured" is "occupying". If there is no physi-
              two or more persons caused by any one                    cal contact with the hit-and-run vehicle, the
              "accident"; or                                           facts of the "accident" must be proved.
         (2) The Limit Of Uninsured Motorists Insur-               However, "uninsured motor vehicle" does not
              ance shown in the Schedule or Declara-               include any vehicle:
              tions.                                               a. Owned or operated by a self-insurer under
F. Additional Definitions                                              any applicable motor vehicle law, except a
   As used in this endorsement:                                        self-insurer who is or becomes insolvent
                                                                       and cannot provide the amounts required
   1. "Family member" means a person related to an                     by that motor vehicle law;
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named                  b. Owned by a governmental unit or agency;
      Insured’s household, including a ward or foster                  or
      child.                                                       c. Designed for use mainly off public roads
   2. "Occupying" means in, upon, getting in, on, out                  while not on public roads.
      or off.




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POLICY NUMBER: CPO        5912284-01                                                       COMMERCIAL AUTO
                                                                                               CA 21 37 01 05

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          KANSAS UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Kansas, this en-
dorsement modifies insurance provided under the following:

     BUSINESS AUTO COVERAGE FORM
     GARAGE COVERAGE FORM
     MOTOR CARRIER COVERAGE FORM
     TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Endorsement Effective:                                    Countersigned By:


Named Insured:
                                                                                     (Authorized Representative)

                                                   SCHEDULE

 LIMIT OF INSURANCE
 $    1,000,000                                                                                 Each "Accident"
 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                       b. A tentative settlement has been made be-
   1. We will pay all sums the "insured" is legally                  tween an "insured" and the insurer of a ve-
      entitled to recover as damages from the owner                  hicle described in Paragraph b. of the defi-
                                                                     nition of "uninsured motor vehicle" and we:
      or driver of an "uninsured motor vehicle". The
      damages must result from "bodily injury" sus-                   (1) Have been given prompt written notice
      tained by the "insured" caused by an "accident".                    of such tentative settlement; and
      The owner’s or driver’s liability for these dam-                (2) Advance payment to the "insured" in an
      ages must result from the ownership, mainte-                        amount equal to the tentative settlement
      nance or use of the "uninsured motor vehicle".                      within 60 days after receipt of notifica-
   2. With respect to damages resulting from an                           tion.
      "accident" with a vehicle described in Para-         B. Who Is An Insured
      graph b. of the definition of "uninsured motor
      vehicle", we will pay under this coverage only if       If the Named Insured is designated in the Declara-
      a. or b. below applies:                                 tions as:
      a. The limit of any applicable liability bonds or       1. An individual, then the following are "insureds":
          policies have been exhausted by payment                  a. The Named Insured and any "family mem-
          of judgments or settlements; or                              bers".




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       b. Anyone else "occupying" a covered "auto"               b. $50,000 for "bodily injury" to two or more
           or a temporary substitute for a covered                   persons caused by any one "accident".
           "auto". The covered "auto" must be out of             This provision will not change our total limit of
           service because of its breakdown, repair,             liability.
           servicing, "loss" or destruction.
                                                              2. The limit for damages resulting from "bodily
       c. Anyone for damages he or she is entitled to            injury" caused by a vehicle described in Para-
           recover because of "bodily injury" sustained          graph b. of the definition of "uninsured motor
           by another "insured".                                 vehicle" applies separately from the limit for a
   2. A partnership, limited liability company, corpo-           vehicle described in Paragraphs a., c. and d. of
      ration or any other form of organization, then             that definition.
       the following are "insureds":                          3. No one will be entitled to receive duplicate
       a. Anyone "occupying" a covered "auto" or a                payments for the same elements of "loss" under
           temporary substitute for a covered "auto".             this Coverage and any Liability Coverage Form,
           The covered "auto" must be out of service              Medical Payments Coverage Endorsement, Un-
           because of its breakdown, repair, servicing,           insured Motorists Coverage Endorsement or
           "loss" or destruction.                                 Underinsured Motorists Coverage Endorse-
       b. Anyone for damages he or she is entitled to             ment attached to this Coverage Part.
           recover because of "bodily injury" sustained           We will not make a duplicate payment under
           by another "insured".                                  this Coverage for any element of "loss" for
C. Exclusions                                                     which payment has been made by or for any-
                                                                  one who is legally responsible.
   This insurance does not apply to any of the follow-
   ing:                                                           We will not pay for any element of "loss" if the
                                                                  person is entitled to receive payment for the
   1. Any claim settled or judgment reached without               same element of "loss" under any workers’
      our consent if the settlement or judgment                   compensation, disability benefits or similar law
       prejudices our right to recover payment. How-              or personal injury protection coverage.
      ever, this exclusion does not apply to a settle-
                                                              4. Any amount paid under this insurance will
      ment made with the insurer of a vehicle de-
      scribed in Paragraph b. of the definition of                reduce any amount an "insured" may be paid
      "uninsured motor vehicle".                                  under the Coverage Form’s Liability Coverage.
   2. The direct or indirect benefit of any insurer or     E. Changes In Conditions
      self-insurer under any workers’ compensation,           The conditions are changed for Uninsured Motor-
      disability benefits or similar law.                     ists Coverage as follows:
   3. Anyone using a vehicle without a reasonable             1. Other Insurance in the Business Auto and
       belief that the person is entitled to do so.               Garage Coverage Forms and Other Insurance
   4. "Bodily injury" sustained by an "insured" while             ---- Primary And Excess Insurance Provisions in
      "occupying" or when struck by any motor vehi-               the Truckers and Motor Carrier Coverage
      cle that is owned by or provided for the regular            Forms are changed by addition of the follow-
      use of that "insured" for which the security re-            ing:
      quired by Kansas law is not in effect.                       a. The reference to "other collectible insur-
D. Limit Of Insurance                                                   ance" applies only to other collectible unin-
                                                                        sured motorists insurance.
   1. Regardless of the number of covered "autos",
                                                                  b. If there is other applicable insurance avail-
      "insureds", premiums paid, claims made or ve-
      hicles involved in the "accident", the most we                    able under one or more policies or provi-
      will pay for all damages resulting from any one                   sions of coverage, the maximum recovery
      "accident", is the limit of Uninsured Motorists                   under all coverage forms or policies com-
      Insurance shown in the Schedule or Declara-                       bined may equal but not exceed the highest
      tions. We will apply the limit shown in the                       applicable limit for any one vehicle under
      Schedule or Declarations to first provide the                     any coverage form or policy providing cov-
      separate limits required by Kansas law as fol-                    erage on either a primary or excess basis.
      lows:                                                   2. Duties In The Event Of Accident, Claim, Suit Or
      a. $25,000 for "bodily injury" to any one per-              Loss is changed by adding the following:
          son caused by any one "accident", and                    a. Promptly notify the police if a hit-and-run
                                                                        driver is involved, and




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      b. Promptly send us copies of the legal papers                    (2) Fail to advance payments to the "in-
          if a "suit" is brought.                                            sured" in an amount equal to the tenta-
      c. A person seeking Uninsured Motorists                                tive settlement within 60 days after re-
          Coverage must also:                                                ceipt of the notice.
         (1) Notify us in writing, by certified mail, of a               If we advance payment to the "insured" in
               tentative settlement between the "in-                     an amount equal to the tentative settlement
               sured" and the insurer of a vehicle de-                   within 60 days after receipt of notification:
               scribed in Paragraph b. of the definition                (1) That payment will be separate from any
               of "uninsured motor vehicle"; and                             amount the "insured" is entitled to re-
                                                                             cover under the provisions of Uninsured
         (2) Allow us 60 days after receipt of the
              written notice to advance payment to                           Motorists Coverage; and
              that "insured", in an amount equal to the                 (2) We also have a right to recover the
              tentative settlement, to preserve our                          advance payment.
              rights against the insurer, owner or op-            4. The Two Or More Coverage Forms Or Policies
              erator of such vehicle described in                    Issued By Us General Condition does not ap-
              Paragraph b. of the definition of "unin-               ply.
              sured motor vehicle".
                                                                  5. The Concealment, Misrepresentation Or Fraud
          Such written notice shall include written                  General Condition does not apply.
          documentation of all damages incurred,
          copies of all medical bills and written au-             6. The following condition is added:
          thorization or a court order to obtain re-                 ARBITRATION
          ports from all employers and medical pro-                  a. If, after a claim has been made, a dispute
          viders.                                                        arises because we and an "insured" dis-
   3. Transfer Of Rights Of Recovery Against Others                      agree whether the "insured" is legally enti-
      To Us is changed by adding the following:                          tled to recover damages from the owner or
      a. If we make any payment and the "insured"                        driver of an "uninsured motor vehicle" or do
          recovers from another party, the "insured"                     not agree as to the amount of damages that
          shall hold the proceeds in trust for us and                    are recoverable by that "insured", then the
          pay us back the amount we have paid.                           parties may agree to arbitration. One party
                                                                         cannot force the other party into arbitration.
      b. We do not have a right of recovery with                         However, disputes concerning coverage
          respect to damages resulting from an "acci-                    under this endorsement may not be arbi-
          dent" with a vehicle described in Para-                        trated. If the parties agree to arbitration,
          graphs a., c. and d. of the definition of "un-                 each party will select an arbitrator. The two
          insured motor vehicle" to which a liability                    arbitrators will select a third. If they cannot
          bond or policy applies at the time of the "ac-                 agree within 30 days, either may request
          cident", but the bonding or insuring com-                      that selection be made by a judge of a court
          pany is or becomes insolvent.                                  having jurisdiction. Each party will pay the
      c. Our rights do not apply under this provi-                       expenses it incurs and bear the expenses of
          sion with respect to damages caused by an                      the third arbitrator equally.
          "accident" with a vehicle described in Para-               b. Unless both parties agree otherwise, arbi-
          graph b. of the definition of "uninsured mo-                   tration will take place in the county in which
          tor vehicle" if we:                                            the "insured" lives. Local rules of law as to
         (1) Have been given written notice by certi-                    procedure and evidence will apply. Any de-
              fied mail of a tentative agreement be-                     cision agreed to by the arbitrators will not
              tween the "insured" and the insuring                       be binding.
              company of the owner or operator of the                c. Once arbitration is agreed to by both par-
              underinsured motor vehicle to settle for                  ties, either party has the right to bring arbi-
              liability limits; and                                     tration under K.S.A. Sections 5-201 ---- 5-213
                                                                        inclusive, in lieu of the arbitration procedure
                                                                        provided in this condition.




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F. Additional Definitions                                                (2) Cause "bodily injury" to an "insured"
   As used in this endorsement:                                              without hitting an "insured", a covered
                                                                             "auto" or a vehicle an "insured" is "occu-
   1. "Family member" means a person related to an                           pying", provided the facts of the "acci-
      individual Named Insured by blood, marriage                            dent" can be corroborated by competent
      or adoption who is a resident of such Named                            evidence other than the testimony of any
      Insured’s household, including a ward or foster                        person having a claim under this or any
      child.                                                                 other similar insurance as the result of
   2. "Occupying" means in, upon, getting in, on, out                        such "accident".
      or off.                                                         However, "uninsured motor vehicle" does not
   3. "Uninsured motor vehicle" means a land motor                    include any vehicle:
      vehicle or "trailer":                                           a. Owned or operated by a self-insurer under
      a. For which no liability bond or policy at the                    any applicable motor vehicle law, except a
          time of an "accident" provides at least the                    self-insurer who is or becomes insolvent
          amounts required by Kansas law, or                             and cannot provide the amounts required
                                                                         by that motor vehicle law.
      b. That is an underinsured motor vehicle. An
          underinsured motor vehicle is a land motor                  b. Owned by a governmental unit or agency.
          vehicle or "trailer" for which the sum of all li-           c. Designed for use mainly off public roads
          ability bonds or policies at the time of an                    while not on public roads.
          "accident" provides at least the amounts re-
          quired by Kansas law, but their limits are
          less than the limit of this insurance, or
      c. For which an insuring or bonding company
          denies coverage or is or becomes insolvent,
          or
       d. For which neither the driver nor owner can
           be identified. The vehicle must either:
          (1) Hit an "insured", a covered "auto" or a
               vehicle an "insured" is "occupying"; or




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POLICY NUMBER:        CPO 5912284-01                                                        COMMERCIAL AUTO
                                                                                                CA 21 48 11 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      LOUISIANA UNINSURED MOTORISTS
                         COVERAGE --- BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Louisiana, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided under this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy or as of the date indicated be-
low.

Named Insured:

Endorsement Effective Date:


                                                     SCHEDULE


Limit Of Insurance:     $    1,000,000                                                  Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                 B. Who Is An Insured
   1. We will pay all sums the "insured" is legally            If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages              tions as:
      from the owner or driver of an "uninsured mo-            1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                    a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                          bers".
      driver’s liability for these damages must result              b. Anyone else "occupying" with the Named
      from the ownership, maintenance or use of the                    Insured’s express or implied permission a
      "uninsured motor vehicle".                                       covered "auto" or a temporary substitute for
   2. If this insurance provides a limit in excess of                  a covered "auto". The covered "auto" must
      the amounts required by the applicable law                       be out of service because of its breakdown,
      where a covered "auto" is principally garaged,                   repair, servicing, "loss" or destruction.
      we will pay only after all liability bonds or poli-           c. Anyone for damages he or she is entitled to
      cies have been exhausted by payments of                          recover because of "bodily injury" sustained
      judgments or settlements.                                        by another "insured".




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      d. Anyone else "occupying" an "auto" the                 2. No one will be entitled to receive duplicate
          Named Insured does not own who is an "in-                payments for the same elements of "loss" under
          sured" for Liability under the Coverage                  this Coverage Form and any Liability Coverage
          Form, but only at times when that person is              Form or Medical Payments Coverage endorse-
          an "insured" for Liability under the Coverage            ment attached to this Coverage Part.
          Form.                                                    We will not make a duplicate payment under
   2. A partnership, limited liability company, corpo-             this Coverage for any element of "loss" for
      ration or any other form of organization, then               which payment has been made by or for any-
      the following are "insureds":                                one who is legally responsible.
      a. Anyone "occupying" with the Named In-              E. Changes In Conditions
          sured’s express or implied permission a              The conditions are changed for Uninsured Motor-
          covered "auto" or a temporary substitute for         ists Coverage as follows:
          a covered "auto". The covered "auto" must
          be out of service because of its breakdown,           1. Other Insurance in the Business Auto and
          repair, servicing, "loss" or destruction.                Garage Coverage Forms and Other Insurance
                                                                   ---- Primary And Excess Insurance Provisions in
      b. Anyone for damages he or she is entitled to               the Truckers and Motor Carrier Coverage
          recover because of "bodily injury" sustained             Forms is replaced by the following:
          by another "insured".
                                                                   If there is other applicable similar insurance, we
      c. Anyone else "occupying" an "auto" the                     will pay only our share of the loss. Our share is
          Named Insured does not own who is an "in-                the proportion that our limit of insurance bears
          sured" for Liability under the Coverage                  to the total of all applicable limits. However,
          Form, but only at times when that person is              with respect to "bodily injury" sustained by an
          an "insured" for Liability under the Coverage            "insured":
          Form.
                                                                    a. While "occupying" a vehicle owned by that
C. Exclusions                                                            person or while not "occupying" any vehi-
   This insurance does not apply to:                                     cle, the maximum recovery for damages
   1. The direct or indirect benefit of any insurer or                   sustained by an "insured" as a Named In-
      self-insurer under any workers’ compensation,                      sured or family member may equal but not
      disability benefits or similar law.                                exceed the highest applicable limit for any
                                                                         one vehicle under this Coverage Form or
   2. "Bodily injury" sustained by an "insured" while                    any other Coverage Form or policy.
      "occupying" or struck by any vehicle owned by
      that "insured" that is not a covered "auto".                 b. While "occupying" a vehicle not owned by
                                                                       that person, the following priorities of re-
   3. Punitive or exemplary damages.                                   covery will apply:
   4. "Bodily injury" arising directly or indirectly out              (1) The uninsured motorists coverage appli-
      of:                                                                 cable to the vehicle the "insured" was
      a. War, including undeclared or civil war;                          "occupying" at the time of the "accident"
                                                                          will be primary.
      b. Warlike action by a military force, including
          action in hindering or defending against an                 (2) If the primary insurance is exhausted,
          actual or expected attack, by any govern-                       any excess recovery for damages sus-
          ment, sovereign or other authority using                        tained by an "insured" as a Named In-
          military personnel or other agents; or                          sured or family member may equal but
                                                                          not exceed the highest applicable limit
      c. Insurrection, rebellion, revolution, usurped
                                                                           for any one vehicle under this Coverage
          power, or action taken by governmental au-
                                                                          Form or any other Coverage Form or
          thority in hindering or defending against
                                                                          policy. In no instance will more than one
          any of these.                                                   uninsured motorists coverage limit be
D. Limit Of Insurance                                                     available as excess insurance.
   1. Regardless of the number of covered "autos",              2. Duties In The Event Of Accident, Claim, Suit Or
      "insureds", premiums paid, claims made or ve-                Loss is changed by adding the following:
      hicles involved in the "accident", the most we
                                                                    a. Promptly notify the police if a hit-and-run
      will pay for all damages resulting from any one
                                                                       driver is involved; and
      "accident" is the limit of Uninsured Motorists
      Coverage shown in the Schedule or Declara-
      tions.


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      b. Promptly send us copies of the legal papers             2. "Occupying" means in, upon, getting in, on, out
          if a "suit" is brought.                                   or off.
   3. Transfer Of Rights Of Recovery Against Others              3. "Uninsured motor vehicle" means a land motor
      To Us does not apply to vehicles described in                 vehicle or "trailer":
      Paragraph b. of the definition of "uninsured                  a. For which no liability bonds or policy at the
      motor vehicle".                                                   time of an "accident" provides at least the
   4. The following condition is added:                                 amounts required by the applicable law
      ARBITRATION                                                       where a covered "auto" is principally ga-
                                                                        raged;
      a. If we and an "insured" disagree whether the
          "insured" is legally entitled to recover dam-             b. Which is an underinsured motor vehicle. An
          ages from the owner or driver of an "unin-                    underinsured motor vehicle means a land
          sured motor vehicle" or do not agree as to                    motor vehicle or "trailer" to which a liability
                                                                        bond or policy affording coverage for "bod-
          the amount of damages that are recoverable
                                                                        ily injury" applies at the time of the accident
          by that "insured", then the matter may be
          arbitrated. However, arbitration will take                    but the amount paid for "bodily injury" un-
          place only if we and the "insured" agree,                     der that bond or policy to an "insured" is
          voluntarily, to have the matter arbitrated. If                not enough to pay the full amount the "in-
          so agreed, each party will select an arbitra-                 sured" is legally entitled to recover as dam-
          tor. The two arbitrators will select a third. If              ages;
          they cannot agree within 30 days, either                  c. For which an insuring or bonding company
          may request that selection be made by a                       denies coverage or is or becomes insolvent;
          court having jurisdiction. Each party will                    or
          pay the expenses it incurs and bear the ex-               d. Which is a hit-and-run vehicle and neither
          penses of the third arbitrator equally.                       the driver nor owner can be identified. The
      b. Unless both parties agree otherwise, arbi-                     vehicle must either:
          tration will take place in the parish in which               (1) Hit an "insured", a covered "auto" or a
          the "insured" lives. Local rules of law as to                      vehicle the "insured" is "occupying"; or
          arbitration procedures and evidence will
          apply. Any decision of the arbitrators will                  (2) Cause "bodily injury" to an "insured"
          not be binding on either party.                                    without any actual physical contact with
                                                                             the "insured", a covered "auto" or a vehi-
F. Additional Definitions                                                    cle the "insured" is "occupying". How-
   As used in this endorsement:                                              ever, in such cases, the "insured" must
   1. "Family member" means a person related to an                           show, by an independent and disinter-
      individual Named Insured by blood, marriage                            ested witness, that the "bodily injury" re-
      or adoption who is a resident of such Named                            sulted from the actions of an unidentified
      Insured’s household, including a ward or foster                        motorist.
      child.                                                        However, "uninsured motor vehicle" does not
                                                                    include any vehicle:
                                                                    a. Owned by a governmental unit or agency;
                                                                        or
                                                                    b. Designed for use mainly off public roads
                                                                        while not on public roads.




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 21 53 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      ILLINOIS UNINSURED MOTORISTS
                       COVERAGE --- PROPERTY DAMAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Illinois, this endorse-
ment modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
A. Coverage                                                  6. "Property damage" arising directly or indirectly
    1. We will pay all sums the "insured" is legally            out of:
       entitled to recover as damages from the owner            a. War, including undeclared or civil war;
       or driver of an "uninsured motor vehicle". The           b. Warlike action by a military force, including
       damages must result from "property damage"                   action in hindering or defending against an
       caused by an "accident" arising out of actual                actual or expected attack, by any govern-
        physical contact with your covered "auto". The              ment, sovereign or other authority using
       owner’s or driver’s liability for these damages              military personnel or other agents; or
       must result from the ownership, maintenance
       or use of an "uninsured motor vehicle".                  c.  Insurrection, rebellion, revolution, usurped
                                                                    power, or action taken by governmental au-
    2. Any judgment for damages arising out of a suit               thority in hindering or defending against
        brought without our written consent is not                  any of these.
        binding on us.
                                                         C. Limit Of Insurance
B. Exclusions
                                                             1. Regardless of the number of covered "autos",
    This insurance does not apply to any of the follow-         premiums paid, claims made or vehicles in-
    ing:                                                        volved in the "accident", the most we will pay
    1. Any claim settled without our consent.                   for all damages resulting from any one "acci-
    2. Anyone using a vehicle without a reasonable              dent"  will be the lesser of $15,000 or the actual
        belief that the person is entitled to do so.            cash  value   of your damaged "auto" at the time
                                                                of the "accident".
    3. The first $250 of the amount of "property dam-
       age" to a covered "auto" as a result of any one       2. Any amount payable under this coverage shall
       "accident".                                              be reduced by all sums paid by or for anyone
                                                                who is legally responsible.
    4. Any motor vehicle owned by you for which you
       have purchased collision coverage under this
        policy or any other policy.
    5. If the owner or operator of the "uninsured
       motor vehicle" cannot be identified.




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D. Changes In Conditions                                             3. Legal Action Against Us is replaced by the
   The Conditions are changed for Uninsured Motor-                      following:
   ists Coverage ---- Property Damage (Illinois) as fol-                a. No one may bring a legal action against us
   lows:                                                                    under this Coverage Form until there has
   1. Other Insurance in the Business Auto and                              been full compliance with all the terms of
       Garage Coverage Forms and Other Insurance                            this Coverage Form.
       ---- Primary And Excess Insurance Provisions in                  b. Any legal action against us must be brought
       the Truckers and Motor Carrier Coverage                              within two years after the date of the "acci-
       Forms are replaced by the following:                                 dent". However, this Paragraph 3.b. does
                                                                            not apply to an "insured" if, within two years
      If there is other applicable insurance available
      under one or more policies or provisions of                           after the date of the "accident", arbitration
      coverage:                                                             proceedings have commenced in accor-
                                                                            dance with the provisions of this Coverage
      a. The maximum recovery under all coverage                            Form.
          forms or policies combined may equal but
          not exceed the highest applicable limit for                4. Transfer Of Rights Of Recovery Against Others
          any one vehicle under any coverage form or                    To Us does not apply.
          policy providing coverage on either a pri-                 5. The following Conditions are added:
          mary or excess basis.                                         REIMBURSEMENT AND TRUST
      b. Any insurance we provide with respect to a                     If we make any payment and the "insured" re-
          vehicle you do not own shall be excess                        covers from another party, the "insured" shall
          over any other collectible "property damage"                  hold the proceeds in trust for us and pay us
          uninsured motorists insurance providing                       back the amount we have paid.
          coverage on a primary basis.
                                                                        ARBITRATION
      c. If the coverage under this Coverage Form is
          provided:                                                     a. If we and an "insured" disagree whether the
                                                                           "insured" is legally entitled to recover dam-
         (1) On a primary basis, we will pay only our                      ages under this endorsement or do not
               share of the loss that must be paid un-                     agree as to the amount of damages that are
               der insurance providing coverage on a                       recoverable by that "insured", then the mat-
               primary basis. Our share is the propor-                     ter may be arbitrated. The insured may
               tion that our limit of liability bears to the               make a written demand for arbitration. In
               total of all applicable limits of liability for             this event, each party will select an arbitra-
               coverage on a primary basis.                                tor. The two arbitrators will select a third. If
         (2) On an excess basis, we will pay only our                      such arbitrators are not selected within 45
               share of the loss that must be paid un-                     days, either party may request that the arbi-
               der insurance providing coverage on an                      tration be submitted to the American Arbi-
               excess basis. Our share is the propor-                      tration Association. Each party will pay the
               tion that our limit of liability bears to the               expenses it incurs and bear the expenses of
               total of all applicable limits of liability for             the third arbitrator equally.
               coverage on an excess basis.                             b. Unless both parties agree otherwise, arbi-
   2. Duties In The Event Of Accident, Claim, Suit Or                      tration will take place in the county in which
      Loss is changed by adding the following:                             the "insured" lives. Local rules of law as to
      a. Promptly send us copies of the legal papers                       arbitration procedure and evidence will ap-
          if a suit is brought.                                            ply. A decision agreed to by two of the arbi-
                                                                           trators will be binding.
      b. Provide us with the name and address of
         the owner of the "uninsured motor vehicle"              E. Additional Definitions
         or a registration number and description of                As used in this endorsement:
         such vehicle, or any other available informa-              1. "Property damage" means injury to or destruc-
         tion to establish that there is no applicable                 tion of a covered "auto". However, "property
         motor vehicle property damage liability cov-                  damage" does not include loss of use or dam-
         erage.                                                        age to personal property contained in your
                                                                       covered "auto". This definition replaces the
                                                                       definition in the policy.




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   2. "Uninsured motor vehicle" means a land motor               However, "uninsured motor vehicle" does not
      vehicle or trailer:                                        include any vehicle:
      a. For which no liability bond or policy provid-           a. Owned or operated by a self-insurer under
         ing coverage for "property damage" applies                  any applicable motor vehicle law, except a
         at the time of the "accident"; or                           self-insurer who is or becomes insolvent
      b. For which no liability bond or policy at the                and cannot provide the amounts required
         time of an "accident" provides at least the                 by that motor vehicle law;
         amount required for "property damage" li-               b. Owned by a governmental unit or agency;
         ability covered by the Illinois Financial Re-           c. Designed for use mainly off public roads
         sponsibility Law; or                                       while not on public roads.
      c. For which an insuring or bonding company
         denies coverage or is or becomes insolvent.




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POLICY NUMBER: CPO          5912284-01                                                       COMMERCIAL AUTO
                                                                                                 CA 21 54 09 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CALIFORNIA UNINSURED MOTORISTS COVERAGE ---
                    BODILY INJURY
For a covered "auto" licensed or principally garaged in or "garage operations" conducted in California, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                      SCHEDULE


Limit Of Insurance:     $     1,000,000                               Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                  B. Who Is An Insured
   1. We will pay all sums the "insured" is legally             If the Named Insured is designated in the Declara-
      entitled to recover as compensatory damages               tions as:
      from the owner or driver of an "uninsured mo-             1. An individual, then the following are "insureds":
      tor vehicle". The damages must result from
      "bodily injury" sustained by the "insured"                    a. The Named Insured and any "family mem-
      caused by an "accident". The owner’s or                          bers".
      driver’s liability for these damages must result              b. Anyone else "occupying" a covered "auto"
      from the ownership, maintenance or use of the                    or a temporary substitute for a covered
      "uninsured motor vehicle".                                       "auto". The covered "auto" must be out of
   2. We will pay only after the limits of liability under             service because of its breakdown, repair,
      any liability bonds or policies have been ex-                    servicing, "loss" or destruction.
      hausted by payment of judgments or settle-                    c. Anyone for damages he or she is entitled to
      ments.                                                           recover because of "bodily injury" sustained
   3. Any judgment for damages arising out of a                        by another "insured".
      "suit" brought without our written consent is
      not binding on us.




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   2. A partnership, limited liability company, corpo-          5. "Bodily injury" sustained by an individual
      ration or any other form of organization, then               Named Insured or any "family member" while
       the following are "insureds":                               "occupying" any vehicle leased by that Named
       a. Anyone "occupying" a covered "auto" or a                 Insured or any "family member" under a written
          temporary substitute for a covered "auto".               contract for a period of six months or more that
          The covered "auto" must be out of service                is not a covered "auto".
          because of its breakdown, repair, servicing,          6. Anyone using a vehicle without a reasonable
          "loss" or destruction.                                   belief that the person is entitled to do so.
       b. Anyone for damages he or she is entitled to           7. "Bodily injury" sustained by an "insured" while
          recover because of "bodily injury" sustained             "occupying" any "auto" that is rented or leased
          by another "insured".                                    to that "insured" for use as a public or livery
C. Exclusions                                                      conveyance. However, this exclusion does not
                                                                   apply if the "insured" is in the business of pro-
   This insurance does not apply to any of the follow-             viding public or livery conveyance.
   ing:
                                                                8. "Bodily injury" arising directly or indirectly out
   1. Punitive or exemplary damages.                               of:
   2. Any claim settled without our consent. How-                  a. War, including undeclared or civil war;
      ever, this exclusion does not apply to a settle-
      ment made with the insurer of a vehicle de-                  b. Warlike action by a military force, including
      scribed in Paragraph b. of the definition of                     action in hindering or defending against an
      "uninsured motor vehicle".                                       actual or expected attack, by any govern-
                                                                       ment, sovereign or other authority using
   3. The direct or indirect benefit of any insurer or                 military personnel or other agents; or
      self-insurer under any workers’ compensation,
      disability benefits or similar law or to the direct          c. Insurrection, rebellion, revolution, usurped
      benefit of the United States, a state or its politi-             power, or action taken by governmental au-
      cal subdivisions.                                                thority in hindering or defending against
                                                                       any of these.
   4. "Bodily injury" sustained by:
                                                             D. Limit Of Insurance
      a. An individual Named Insured while "occupy-
          ing" or when struck by any vehicle owned              1. Regardless of the number of covered "autos",
          by that Named Insured that is not a covered              "insureds", premiums paid, claims made or ve-
          "auto" for Uninsured Motorists Coverage                  hicles involved in the "accident", the most we
          under this coverage form;                                will pay for all damages resulting from any one
                                                                   "accident" is the Limit of Insurance for Unin-
      b. Any "family member" while "occupying" or                  sured Motorists Coverage shown in the Sched-
          when struck by any vehicle owned by that                 ule or Declarations.
          "family member" that is not a covered "auto"
          for Uninsured Motorists Coverage under                2. For a vehicle described in Paragraph b. of the
          this coverage form; or                                   definition of "uninsured motor vehicle", our
                                                                   Limit of Insurance shall be reduced by all sums
      c. Any "family member" while "occupying" or                  paid because of "bodily injury" by or for anyone
          when struck by any vehicle owned by the                  who is legally responsible, including all sums
          Named Insured that is insured for Unin-                  paid or payable under this policy’s Liability
          sured Motorists Coverage on a primary ba-                Coverage.
          sis under any other coverage form or pol-
          icy.                                                  3. No one will be entitled to receive duplicate
                                                                   payments for the same elements of "loss" under
      However, Exclusion 4. shall not apply to "bodily             this coverage and any Liability Coverage form
      injury" sustained by an individual Named In-                 or Medical Payments Coverage endorsement
      sured or "family member" when struck by a ve-                attached to this Coverage Part.
      hicle owned by that "insured" and operated or
      caused to be operated by a person without that               We will not make a duplicate payment under
      "insured’s" consent in connection with criminal              this coverage for any element of "loss" for
      activity that has been documented in a police                which payment has been made by or for any-
      report and to which that "insured" is not a party            one who is legally responsible.
      to.




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      We will not pay for any element of "loss" if a                  Written notice of the "suit" must be given to
      person is entitled to receive payment for the                   us within a reasonable time after the "in-
      same element of "loss" under any workers’                       sured" knew, or should have known, that
      compensation, disability benefits or similar law.               the other motorist is uninsured. In no event
E. Changes In Conditions                                              will such notice be required before two
                                                                      years from the date of the accident. Failure
   The Conditions are changed for California Unin-                    of the "insured" or his or her representative
   sured Motorists Coverage ---- Bodily Injury as fol-                to give us such notice of the "suit" will re-
   lows:                                                              lieve us of our obligations under this cover-
   1. Duties In The Event Of Accident, Claim, Suit Or                 age form only if the failure to give notice
      Loss is changed by adding the following:                        prejudices our rights.
      a. Promptly notify the police if a hit-and-run         3. Transfer Of Rights Of Recovery Against Others
         driver is involved; and                                To Us is replaced by the following:
      b. Send us copies of the legal papers if a "suit"          a. With respect to Paragraphs a., c. and d. of
         is brought. In addition, a person seeking                    the definition of "uninsured motor vehicle", if
         coverage under Paragraph b. of the defini-                   we make any payment, we are entitled to re-
         tion of "uninsured motor vehicle" must:                      cover what we paid from other parties. Any
                                                                      person to or for whom we make payment
          (1) Provide us with a copy of the complaint                 must transfer to us his or her rights of re-
              by personal service or certified mail if the            covery against any other party. This person
              "insured" brings an action against the                  must do everything necessary to secure
              owner or operator of such "uninsured                    these rights and must do nothing that
              motor vehicle";
                                                                      would jeopardize them.
          (2) Within a reasonable time, make all plead-
                                                                b. With respect to Paragraph b. of the defini-
              ings and depositions available for copy-
                                                                      tion of "uninsured motor vehicle", if we
              ing by us or furnish us copies at our ex-
                                                                      make any payment and the "insured" recov-
              pense; and
                                                                      ers from another party, the "insured" shall
          (3) Provide us with proof that the limits of                hold the proceeds in trust for us and pay us
              insurance under any applicable liability                back the amount we have paid.
              bonds or policies have been exhausted
                                                             4. Other Insurance in the Business Auto and
              by payment of judgments or settlements.
                                                                Garage Coverage Forms and Other Insurance
   2. Legal Action Against Us is replaced by the                ---- Primary And Excess Insurance Provisions in
      following:                                                the Truckers and Motor Carrier Coverage
      No legal action may be brought against us un-             Forms are replaced by the following:
      der this coverage form until there has been full          If there is other applicable insurance available
      compliance with all the terms of this coverage            under one or more policies or provisions of
      form and with respect to Paragraphs a., c. and            coverage:
      d. of the definition of "uninsured motor vehicle"          a. The maximum recovery under all coverage
      unless within two years from the date of the                    forms or policies combined may equal but
      "accident":
                                                                      not exceed the highest applicable limit for
      a. Agreement as to the amount due under this                    any one vehicle under any coverage form or
          insurance has been concluded;                               policy providing coverage on either a pri-
      b. The "insured" has formally instituted arbitra-               mary or excess basis.
          tion proceedings against us. In the event             b. Any insurance we provide with respect to a
          that the "insured" decides to arbitrate, the                vehicle the Named Insured does not own
          "insured" must formally begin arbitration                   shall be excess over any other collectible
          proceedings by notifying us in writing, sent                uninsured motorists insurance providing
          by certified mail, return receipt requested;                coverage on a primary basis.
          or
      c. "Suit" for "bodily injury" has been filed
          against the uninsured motorist in a court of
          competent jurisdiction.




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      c. If the coverage under this coverage form is           2. "Occupying" means in, upon, getting in, on, out
          provided:                                               or off.
         (1) On a primary basis, we will pay only our          3. "Uninsured motor vehicle" means a land motor
             share of the "loss" that must be paid un-            vehicle or trailer:
             der insurance providing coverage on a                a. For which no liability bond or policy at the
             primary basis. Our share is the propor-                 time of an "accident" provides at least the
             tion that our limit of liability bears to the           amounts required by the applicable law
             total of all applicable limits of liability for         where a covered "auto" is principally ga-
             coverage on a primary basis.                            raged;
         (2) On an excess basis, we will pay only our             b. That is an underinsured motor vehicle. An
             share of the "loss" that must be paid un-               underinsured motor vehicle is a land motor
             der insurance providing coverage on an                  vehicle or "trailer" for which the sum of all li-
             excess basis. Our share is the propor-                  ability bonds or policies at the time of an
             tion that our limit of liability bears to the           "accident" provides at least the amounts re-
             total of all applicable limits of liability for         quired by the applicable law where a cov-
             coverage on an excess basis.                            ered "auto" is principally garaged but that
   5. The following Condition is added:                              sum is less than the Limit of Insurance for
      Arbitration                                                    this coverage;

      a. If we and an "insured" disagree whether the              c. For which an insuring or bonding company
         "insured" is legally entitled to recover dam-                denies coverage or refuses to admit cover-
         ages from the owner or driver of an "unin-                   age except conditionally or with reservation
         sured motor vehicle" or do not agree as to                   or becomes insolvent;
         the amount of damages that are recoverable               d. That is a hit-and-run vehicle and neither the
         by that "insured", the disagreement will be                  driver nor owner can be identified. The ve-
         settled by arbitration. Such arbitration may                 hicle must make physical contact with an
         be initiated by a written demand for arbitra-                "insured", a covered "auto" or a vehicle an
         tion made by either party. The arbitration                   "insured" is "occupying"; or
         shall be conducted by a single neutral arbi-             e. That is owned by an individual Named In-
         trator. However, disputes concerning cov-                    sured or "family member" and operated or
         erage under this endorsement may not be                      caused to be operated by a person without
         arbitrated. Each party will bear the ex-                     the owner’s consent in connection with
         penses of the arbitrator equally.                            criminal activity that has been documented
      b. Unless both parties agree otherwise, arbi-                   in a police report.
         tration will take place in the county in which           However, "uninsured motor vehicle" does not
         the "insured" lives. Local rules of law as to            include any vehicle:
         arbitration procedures and evidence will
         apply. The decision of the arbitrator will be            a. Owned or operated by a self-insurer under
         binding.                                                    any applicable motor vehicle law except a
                                                                     self-insurer who is or becomes insolvent
F. Additional Definitions                                            and cannot provide the amounts required
   The following are added to the Definitions section:               by that motor vehicle law;
   1. "Family member" means the individual Named                  b. Owned by the United States of America,
      Insured’s spouse, whether or not a resident of                 Canada, a state or political subdivision of
      the individual Named Insured’s household, and                  any of those governments or an agency of
      any other person related to such Named In-                     any of the foregoing; or
      sured by blood, adoption, marriage or regis-                c. Designed or modified for use primarily off
      tered domestic partnership under California                    public roads while not on public roads.
      law, who is a resident of such Named Insured’s
      household, including a ward or foster child.




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POLICY NUMBER:        CPO 5912284-01                                                       COMMERCIAL AUTO
                                                                                               CA 21 59 03 06

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         ALABAMA UNINSURED MOTORISTS COVERAGE
For a covered "auto" licensed or principally garaged in, or "garage operations" conducted in Alabama, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                 Countersignature Of Authorized Representative
Name:

Title:

Signature:

Date:


                                                  SCHEDULE


Limit Of Insurance:    $    1,000,000                                       Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.




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A. Coverage                                                 C. Exclusions
   1. We will pay all sums the "insured" is legally            This insurance does not apply to:
        entitled to recover as damages from the owner          1. Any claim settled without our consent.
        or driver of an "uninsured motor vehicle". The
        damages must result from "bodily injury" sus-             However, this exclusion does not apply to a
        tained by the "insured" caused by an "accident".          settlement made with the insurer of a vehicle
        The owner’s or driver’s liability for these dam-          described in Paragraph b. of the definition of
        ages must result from the ownership, mainte-              "uninsured motor vehicle".
        nance or use of the "uninsured motor vehicle".         2. The direct or indirect benefit of any insurer or
   2. No judgment for damages arising out of a "suit"             self-insurer under any workers’ compensation,
        brought against the owner or operator of an               disability benefits or similar law.
        "uninsured motor vehicle" is binding on us             3. Anyone using a vehicle without a reasonable
        unless we:                                                belief that the person is entitled to do so.
        a. Received reasonable notice of the pendency          4. "Bodily injury" arising directly or indirectly out
            of the "suit" resulting in the judgment; and          of:
        b. Had a reasonable opportunity to protect our            a. War, including undeclared or civil war;
            interest in the "suit".                               b. Warlike action by a military force, including
        However, if reasonable notice has not been                    action in hindering or defending against an
        given to us, we have the option to accept the                 actual or expected attack, by any govern-
        judgment in the suit as binding on us.                        ment, sovereign or other authority using
B. Who Is An Insured                                                  military personnel or other agents; or
   If the Named Insured is designated in the Declara-             c. Insurrection, rebellion, revolution, usurped
   tions as:                                                          power, or action taken by governmental au-
                                                                      thority in hindering or defending against
   1. An individual, then the following are "insureds":               any of these.
      a. The Named Insured and any "family mem-             D. Limit Of Insurance
          bers".
                                                               1. Regardless of the number of covered "autos",
      b. Anyone else "occupying" a covered "auto"                 "insureds", premiums paid, claims made or ve-
          or a temporary substitute for a covered                 hicles involved in the accident, the most we will
          "auto". The covered "auto" must be out of               pay for all damages resulting from any one "ac-
          service because of its breakdown, repair,               cident" is the limit of Uninsured Motorists In-
          servicing, "loss" or destruction.                       surance shown in the declarations. If there is
      c. Anyone for damages he or she is entitled to              more than one covered "auto", our limit of in-
          recover because of "bodily injury" sustained            surance for any one "accident" is the sum of
          by another "insured".                                   the limits applicable to each covered "auto",
   2. A partnership, limited liability company, corpo-            subject to a maximum of three covered "autos".
      ration or any other form of organization, then           2. No one will be entitled to receive duplicate
      the following are "insureds":                               payments for the same elements of "loss" under
      a. Anyone "occupying" a covered "auto" or a                 this Coverage Form and any Liability Coverage
                                                                  Form or Medical Payments Coverage En-
          temporary substitute for a covered "auto".
                                                                  dorsement attached to this Coverage Part.
          The covered "auto" must be out of service
          because of its breakdown, repair, servicing,             We will not make a duplicate payment under
          "loss" or destruction.                                   this Coverage Form for any element of "loss"
      b. Anyone for damages he or she is entitled to               for which payment has been made by or for
          recover because of "bodily injury" sustained             anyone who is legally responsible.
          by another "insured".                                    We will not pay for any element of "loss" if a
                                                                   person is entitled to receive payment for the
                                                                   same element of "loss" under any workers’
                                                                   compensation, disability benefits or similar law.




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   3. We will reduce the "insured’s" total damages by                c. A person seeking Uninsured Motorists
       any amount available to that "insured", under                    Coverage must also promptly notify us in
       any bodily injury liability bonds or policies ap-                writing of a tentative settlement between the
       plicable to the vehicle described in Paragraph                   "insured" and the insurer of a vehicle de-
       b. of the definition of "uninsured motor vehicle",               scribed in Paragraph b. of the definition of
       that such "insured" did not recover as a result                  "uninsured motor vehicle" and allow us 30
       of a settlement between that "insured" and the                   days to advance payment to that insured in
       insurer of such vehicle. However, any reduc-                     an amount equal to the tentative settlement
       tion of the "insured’s" total damages will not re-               to preserve our rights against the insurer,
       duce the limit of liability for this coverage.                   owner or operator of such a vehicle de-
       This Paragraph (D.3.) shall not apply if we ad-                  scribed in Paragraph b. of the definition of
       vance payment to the "insured" in an amount                      "uninsured motor vehicle".
       equal to the tentative settlement with the in-             3. Transfer Of Rights Of Recovery Against Others
       surer of the vehicle described in Paragraph b.                To Us is changed by adding the following:
       of the definition of "uninsured motor vehicle".               Our rights do not apply under this provision
E. Changes In Conditions                                             with respect to damages caused by an "acci-
   The conditions are changed for Uninsured Motor-                   dent" with a vehicle described in Paragraph b.
   ists Coverage as follows:                                         of the definition of "uninsured motor vehicle" if
                                                                     we:
   1. Other Insurance in the Business Auto and
       Garage Coverage Forms and Other Insurance                     a. Have been given prompt written notice of a
       ---- Primary And Excess Insurance Provisions in                   tentative settlement between an "insured"
       the Truckers and Motor Carrier Coverage                           and the insurer of a vehicle described in
       Forms are changed by addition of the follow-                      Paragraph b. of the definition of "uninsured
       ing:                                                              motor vehicle"; and
       a. The reference to "other collectible insur-                 b. Fail to advance payment to the "insured" in
             ance" applies only to other collectible unin-               an amount equal to the tentative settlement
             sured motorists insurance.                                  within 30 days after receipt of notification.
                                                                     If we advance payment to the "insured" in an
      b. Any insurance we provide with respect to a
                                                                     amount equal to the tentative settlement within
         vehicle owned by the Named Insured or, if
         the Named Insured is an individual, any                     30 days after receipt of notification:
         "family member", that is not a covered "auto"               a. That payment will be separate from any
         for Uninsured Motorists Coverage under                          amount the "insured" is entitled to recover
         this Coverage Form, shall be excess over                        under the provisions of Uninsured Motor-
         any other collectible uninsured motorists                       ists Coverage; and
         insurance providing coverage on a primary                   b. We have a right to recover the advanced
         basis.                                                          payment.
   2. Duties In The Event Of Accident, Claim, Suit Or                If we make any payment and the "insured" re-
      Loss is changed by adding the following:                       covers from another party, the "insured" shall
      a. Promptly notify the police if a hit-and-run                 hold the proceeds in trust for us and pay us
         driver is involved, and                                     back the amount we have paid.
      b. Promptly send us copies of the legal papers              4. The Two Or More Coverage Forms Or Policies
         if a "suit" is brought.                                     Issued By Us General Condition does not ap-
                                                                     ply to an individual Named Insured or any "fam-
                                                                     ily member".




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   5. THE FOLLOWING CONDITION IS ADDED:                      2. "Occupying" means in, upon, getting in, on, out
      ARBITRATION                                               or off.
      A. IF WE AND AN "INSURED" DISAGREE                     3. "Uninsured motor vehicle" means a land motor
          WHETHER THE "INSURED" IS LEGALLY                      vehicle or "trailer":
          ENTITLED TO RECOVER DAMAGES                           a. For which no liability bond or policy at the
          FROM THE OWNER OR DRIVER OF AN                           time of an "accident" provides at least the
          "UNINSURED MOTOR VEHICLE" OR DO                          amounts required by the applicable law
          NOT AGREE AS TO THE AMOUNT OF                            where a covered "auto" is principally ga-
          DAMAGES THAT ARE RECOVERABLE BY                          raged;
          THAT "INSURED", THEN THE MATTER                       b. That is an underinsured motor vehicle. An
          MAY BE          ARBITRATED. HOWEVER,                      underinsured motor vehicle is a land motor
          DISPUTES CONCERNING COVERAGE                              vehicle or "trailer" for which the sum of all li-
          UNDER THIS ENDORSEMENT MAY NOT                            ability bonds or policies at the time of an
          BE ARBITRATED. BOTH PARTIES MUST                          "accident" provides a limit that is less than
          AGREE TO ARBITRATION. IF SO                               the amount an "insured" is legally entitled to
          AGREED, EACH PARTY WILL SELECT AN                         recover as damages caused by the "acci-
          ARBITRATOR. THE TWO ARBITRATORS                           dent";
          WILL SELECT A THIRD. IF THEY CANNOT
          AGREE WITHIN 30 DAYS, EITHER MAY                      c. For which an insuring or bonding company
          REQUEST THAT SELECTION BE MADE                            denies coverage or is or becomes insolvent;
          BY A JUDGE OF A COURT HAVING                              or
          JURISDICTION.        THE    ARBITRATION               d. That is a hit-and-run vehicle and neither the
          PROCEEDINGS         SHALL     COMMENCE                    driver nor owner can be identified. The ve-
          WITHIN ONE YEAR AFTER THE DATE                            hicle must either:
          BOTH PARTIES AGREE TO SETTLE A                           (1) Hit an "insured", a covered "auto" or a
          DISPUTE           BY       ARBITRATION.                       vehicle an "insured" is "occupying"; or
          ARBITRATION       EXPENSES WILL BE
          DETERMINED BY THE ARBITRATOR                             (2) Cause "bodily injury" to an "insured"
          ACCORDING TO ALABAMA LAW.                                     without hitting an "insured", a covered
                                                                        "auto" or a vehicle an "insured" is "occu-
          UNLESS        BOTH     PARTIES     AGREE
                                                                        pying".
          OTHERWISE, ARBITRATION WILL TAKE
          PLACE IN THE COUNTY IN WHICH THE                      However, "uninsured motor vehicle" does not
          "INSURED" LIVES. LOCAL RULES OF LAW                   include any vehicle:
          AS TO ARBITRATION PROCEDURE AND                       a. Owned or operated by a self-insurer under
          EVIDENCE WILL APPLY. A DECISION                           any applicable motor vehicle law, except a
          AGREED TO BY TWO OF THE                                   self-insurer who is or becomes insolvent
          ARBITRATORS WILL BE BINDING.                              and cannot provide the amounts required
      B. THIS ARBITRATION PROVISION WILL                            by that motor vehicle law;
          NOT APPLY IF LEGAL ACTION HAS BEEN                    b. Designed for use mainly off public roads
          COMMENCED         BY    THE    "INSURED"                  while not on public roads.
          AGAINST THE OWNER OR OPERATOR
          OF AN "UNINSURED MOTOR VEHICLE".
F. Additional Definitions
   As used in this endorsement:
   1. "Family member" means a person related to an
      individual Named Insured by blood, marriage
      or adoption who is a resident of such Named
      Insured’s household, including a ward or foster
      child.




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POLICY NUMBER: CPO         5912284-01                                                        COMMERCIAL AUTO
                                                                                                 CA 21 72 10 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FLORIDA UNINSURED MOTORISTS
                         COVERAGE --- NONSTACKED
For a covered ‘‘auto’’ licensed or principally garaged in, or ‘‘garage operations’’ conducted in, Florida, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE


Limit Of Insurance:    $     1,000,000                               Each ‘‘Accident’’

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made be-
   1. We will pay all sums the ‘‘insured’’ is legally                  tween an ‘‘insured’’ and the insurer of the
      entitled to recover as compensatory damages                      ‘‘underinsured motor vehicle’’ and we:
      from the owner or driver of an ‘‘uninsured mo-                  (1) Have been given prompt written notice
      tor vehicle’’. The damages must result from                          of such tentative settlement; and
      ‘‘bodily injury’’ sustained by the ‘‘insured’’                  (2) Advance payment to the ‘‘insured’’ in an
      caused by an ‘‘accident’’. The owner’s or                            amount equal to the tentative settlement
      driver’s liability for these damages must result                     within 30 days after receipt of notifica-
      from the ownership, maintenance or use of the                        tion.
      ‘‘uninsured motor vehicle’’.
                                                               3. Any judgment for damages arising out of a
   2. With respect to damages resulting from an                     ‘‘suit’’ brought without our written consent is
      ‘‘accident’’ with a vehicle described in Para-                not binding on us.
      graph b. of the definition of ‘‘uninsured motor
      vehicle’’, we will pay under this coverage only if    B. Who Is An Insured
      Paragraph a. or b. below applies:                        If the Named Insured is designated in the Declara-
       a. The limit of any applicable liability bonds or       tions as:
          policies has been exhausted by payment of            1. An individual, then the following are ‘‘insureds’’:
          judgments or settlements; or                               a. The Named Insured and any ‘‘family mem-
                                                                        bers’’.




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      b. Anyone else ‘‘occupying’’ a covered ‘‘auto’’              d. Any ‘‘insured’’ with respect to damages for
          or a temporary substitute for a covered                       pain, suffering, mental anguish or inconven-
          ‘‘auto’’. The covered ‘‘auto’’ must be out of                 ience unless the ‘‘bodily injury’’ consists in
          service because of its breakdown, repair,                     whole or in part of:
          servicing, ‘‘loss’’ or destruction.                          (1) Significant and permanent loss of an
       c. Anyone for damages he or she is entitled to                       important bodily function;
          recover because of ‘‘bodily injury’’ sustained               (2) Permanent injury within a reasonable
           by another ‘‘insured’’.                                          degree of medical probability, other than
   2. A partnership, limited liability company, corpo-                      scarring or disfigurement;
      ration or any other form of organization, then                   (3) Significant and permanent scarring or
      the following are ‘‘insureds’’:                                       disfigurement; or
       a. Anyone ‘‘occupying’’ a covered ‘‘auto’’ or a                 (4) Death.
           temporary substitute for a covered ‘‘auto’’.
          The covered ‘‘auto’’ must be out of service           5. Punitive or exemplary damages.
           because of its breakdown, repair, servicing,         6. ‘‘Bodily injury’’ arising directly or indirectly out
          ‘‘loss’’ or destruction.                                 of:
      b. Anyone for damages he or she is entitled to                a. War, including undeclared or civil war;
          recover because of ‘‘bodily injury’’ sustained
                                                                   b. Warlike action by a military force, including
           by another ‘‘insured’’.                                      action in hindering or defending against an
C. Exclusions                                                           actual or expected attack, by any govern-
   This insurance does not apply to:                                    ment, sovereign or other authority using
                                                                        military personnel or other agents; or
   1. Any claim settled or judgment reached without
      our consent, unless our right to recover pay-                 c. Insurrection, rebellion, revolution, usurped
      ment has not been prejudiced by such settle-                      power, or action taken by governmental au-
      ment or judgment. However, this exclusion                         thority in hindering or defending against
      does not apply to a settlement made with the                      any of these.
      insurer of a vehicle described in Paragraph b.         D. Limit Of Insurance
      of the definition of an ‘‘uninsured motor vehi-           1. Regardless of the number of covered ‘‘autos’’,
      cle’’.                                                       ‘‘insureds’’, premiums paid, claims made or ve-
   2. The direct or indirect benefit of any insurer or             hicles involved in the ‘‘accident’’, the most we
      self-insurer under any workers’ compensation,                will pay for all damages resulting from any one
      disability benefits or similar law.                          ‘‘accident’’ is the limit of Uninsured Motorists
   3. Anyone using a vehicle without a reasonable                  Coverage shown in the Schedule or Declara-
      belief that the person is entitled to do so.                 tions.
   4. ‘‘Bodily injury’’ sustained by:                           2. No one will be entitled to receive duplicate
                                                                   payments for the same elements of ‘‘loss’’ un-
       a. An individual Named Insured while ‘‘occupy-              der this coverage form and any Liability Cover-
          ing’’ or when struck by a vehicle owned by               age form, No-fault Coverage endorsement,
           that individual Named Insured that is not a             Medical Payments Coverage endorsement, or
          covered ‘‘auto’’ for Uninsured Motorists                 Uninsured Motorists Coverage endorsement at-
          Coverage under this coverage form;                       tached to this Coverage Part.
      b. Any ‘‘family member’’ while ‘‘occupying’’ or           3. We will not make a duplicate payment under
          when struck by any vehicle owned by that                 this coverage for any element of ‘‘loss’’ for
          ‘‘family member’’ that is not a covered ‘‘auto’’         which payment has been made by or for any-
           for Uninsured Motorists Coverage under                  one who is legally responsible.
           this coverage form;
                                                                4. We will not pay for any element of ‘‘loss’’ if a
       c. Any ‘‘family member’’ while ‘‘occupying’’ or             person is entitled to receive payment for the
          when struck by any vehicle owned by the                  same element of ‘‘loss’’ under any workers’
          Named Insured that is insured for Unin-                  compensation, disability benefits or similar law.
          sured Motorists Coverage on a primary ba-
          sis under any other coverage form or pol-
          icy; or




                                                                                             EXHIBIT B PAGE 293
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E. Changes In Conditions                                                  (2) On an excess basis, we will pay only our
   The Conditions are changed for Uninsured Motor-                              share of the loss that must be paid un-
   ists Coverage Nonstacked as follows:                                         der insurance providing coverage on an
                                                                                excess basis. Our share is the propor-
   1. Other Insurance in the Business Auto and                                  tion that our limit of liability bears to the
       Garage Coverage Forms and Other Insurance                                total of all applicable limits of liability for
       ---- Primary And Excess Insurance Provisions in                          coverage on an excess basis.
       the Truckers and Motor Carrier Coverage
       Forms are replaced by the following:                        2. Duties In The Event Of Accident, Claim, Suit Or
                                                                      Loss is changed by adding the following:
       a. If there is other applicable insurance avail-
             able under one or more coverage forms,                   a. Promptly notify the police if a hit-and-run
             policies or provisions of coverage, any re-                   driver is involved; and
             covery for damages sustained by an indi-                 b. Promptly send us copies of the legal papers
             vidual Named Insured or any ‘‘family mem-                     if a ‘‘suit’’ is brought.
             ber’’:                                                   c. A person seeking Uninsured Motorists
            (1) While ‘‘occupying’’ a vehicle owned by                     Coverage must also promptly notify us in
                 that Named Insured or any ‘‘family mem-                   writing by certified or registered mail of a
                 ber’’ may equal, but not exceed, the limit                tentative settlement between the ‘‘insured’’
                 of insurance for Uninsured Motorists                      and the insurer of the vehicle described in
                 Coverage applicable to that vehicle.                      Paragraph b. of the definition of an ‘‘unin-
            (2) While ‘‘occupying’’ a vehicle not owned                    sured motor vehicle’’ and allow us 30 days
                 by that Named Insured or any ‘‘family                     to advance payment to that ‘‘insured’’ in an
                 member’’ may equal, but not exceed, the                   amount equal to the tentative settlement to
                 sum of:                                                   preserve our rights against the insurer,
                                                                           owner or operator of such vehicle de-
                (a) The limit of insurance for Uninsured                   scribed in Paragraph b. of the definition of
                     Motorists Coverage applicable to the                  an ‘‘uninsured motor vehicle’’.
                     vehicle such Named Insured or any
                     ‘‘family member’’ was ‘‘occupying’’ at        3. Transfer Of Rights Of Recovery Against Others
                     the time of the ‘‘accident’’; and                To Us is changed by adding the following:
                (b) The highest limit of insurance for                If we make any payment and the ‘‘insured’’ re-
                     Uninsured Motorists Coverage appli-              covers from another party, the ‘‘insured’’ shall
                     cable to any one vehicle under any               hold the proceeds in trust for us and pay us
                     one policy affording coverage to                 back the amount we have paid.
                     such Named Insured or any ‘‘family               Our rights do not apply under this provision
                     member’’.                                        with respect to Uninsured Motorists Coverage
            (3) While not ‘‘occupying’’ any vehicle may               if we:
                 equal, but not exceed, the highest limit             a. Have been given prompt written notice of a
                 of insurance for Uninsured Motorists                     tentative settlement between an ‘‘insured’’
                 Coverage applicable to any one vehicle                   and the insurer of a vehicle described in
                 under any one policy affording coverage                  Paragraph b. of the definition of an ‘‘unin-
                 to an individual Named Insured or any                    sured motor vehicle’’; and
                 ‘‘family member’’.                                   b. Fail to advance payment to the ‘‘insured’’ in
       b. Any insurance we provide with respect to a                      an amount equal to the tentative settlement
             vehicle the Named Insured does not own                       within 30 days after receipt of notification.
             shall be excess over any collectible unin-               If we advance payment to the ‘‘insured’’ in an
             sured motorists insurance providing cover-               amount equal to the tentative settlement within
             age on a primary basis.                                  30 days after receipt of notification:
        c. If the coverage under this coverage form is                a. That payment will be separate from any
             provided:                                                    amount the ‘‘insured’’ is entitled to recover
            (1) On a primary basis, we will pay only our                  under the provisions of Uninsured Motor-
                 share of the loss that must be paid un-                  ists Coverage; and
                 der insurance providing coverage on a                b. We also have a right to recover the ad-
                 primary basis. Our share is the propor-                  vanced payment.
                 tion that our limit of liability bears to the
                 total of all applicable limits of liability for
                 coverage on a primary basis.




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4. The following condition is added:                               (2) A written request for mediation must be
   a. Arbitration                                                       filed with the Florida Department of Fi-
                                                                        nancial Services on an approved form,
      (1) If we and an ‘‘insured’’ do not agree:                        which may be obtained from the Florida
          (a) Whether that person is legally entitled                   Department of Financial Services.
                to recover damages under this en-                  (3) The request must state:
               dorsement; or
                                                                       (a) Why mediation is being requested.
          (b) As to the amount of damages that
                are recoverable by that person;                       (b) The issues in dispute, which are to
                                                                             be mediated.
           Then the matter may be mediated, in ac-
           cordance with the Mediation Provision                   (4) The Florida Department of Financial
           contained in General Conditions, if the                      Services will randomly select mediators.
           damages resulting from ‘‘bodily injury’’                     Each party may reject one mediator, ei-
           are for $10,000 or less, or arbitrated.                      ther before or after the opposing side
           However, disputes concerning coverage                        has rejected a mediator. The mediator
           under this endorsement may not be arbi-                      will notify the parties of the date, time
           trated. Both parties must agree to arbi-                     and place of the mediation conference.
                                                                        The mediation conference will be held
           tration. In this event, each party will se-
                                                                        within 45 days of the request for media-
           lect an arbitrator. The two arbitrators will
           select a third. If they cannot agree within                  tion. The conference will be held by tele-
           30 days, either may request that selec-                      phone, if feasible. Participants in the
           tion be made by a judge of a court hav-                      mediation conference must have the au-
           ing jurisdiction.                                            thority to make a binding decision, and
                                                                        must mediate in good faith. Each party
      (2) Each party will pay the expenses it in-                       will bear the expenses of the mediation
           curs and bear the expenses of the third                      equally, unless the mediator determines
           arbitrator equally.                                          that one party has not mediated in good
      (3) Unless both parties agree otherwise,                          faith.
           arbitration will take place in the county in            (5) Only one mediation may be requested
           which the ‘‘insured’’ lives. Local rules of                  for each claim unless all parties agree to
           law as to arbitration procedure and evi-                     further mediation. A party demanding
           dence will apply. A decision agreed to by                    mediation shall not be entitled to de-
           two of the arbitrators will be binding.                      mand or request mediation after a suit is
   b. Florida Arbitration Act                                           filed relating to the same facts already
                                                                        mediated.
       If we and an ‘‘insured’’ agree to arbitration,
       the Florida Arbitration Act will not apply.                 (6) The mediation shall be conducted as an
                                                                        informal process and formal rules of evi-
   c. Mediation                                                         dence and procedures need not be ob-
      (1) In any claim filed by an ‘‘insured’’ with us                  served.
           for:
                                                          F. Additional Definitions
          (a) ‘‘Bodily injury’’ in an amount of
                                                             As used in this endorsement:
                $10,000 or less, arising out of the
                ownership, operation, use or mainte-         1. ‘‘Family member’’ means a person related to an
                nance of a covered ‘‘auto’’;                    individual Named Insured by blood, marriage
                                                                or adoption who is a resident of such Named
          (b) ‘‘Property damage’’ in any amount,
                                                                Insured’s household, including a ward or foster
                arising out of the ownership, opera-
                                                                child.
                tion, maintenance or use of a cov-
                ered ‘‘auto’’; or                            2. ‘‘Occupying’’ means in, upon, getting in, on,
                                                                out or off.
          (c) ‘‘Loss’’ to a covered ‘‘auto’’ or its
                equipment, in any amount;                    3. ‘‘Uninsured motor vehicle’’ means a land motor
                                                                vehicle or ‘‘trailer’’:
          either party may make a written demand
          for mediation of the claim prior to the in-            a. For which no liability bond or policy applies
          stitution of litigation.                                  at the time of an ‘‘accident’’;




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b. That is an underinsured motor vehicle. An                   If there is no physical contact with the land
    underinsured motor vehicle is a land motor                 motor vehicle or ‘‘trailer’’, the facts of the
    vehicle or ‘‘trailer’’ for which a ‘‘bodily injury’’       ‘‘accident’’ must be proved. We will only ac-
    liability bond or policy applies at the time of            cept competent evidence other than the tes-
    an ‘‘accident’’ but the amount paid under                  timony of a person making claims under
    that bond or policy to an ‘‘insured’’ is not               this or any similar coverage.
    enough to pay the full amount the ‘‘insured’’          However, ‘‘uninsured motor vehicle’’ does not
    is legally entitled to recover as damages              include any vehicle:
    caused by the ‘‘accident’’;
                                                           a. Owned by a governmental unit or agency;
c. For which an insuring or bonding company
    denies coverage or is or becomes insolvent;            b. Designed for use mainly off public roads
    or                                                         while not on public roads; or
d. For which neither the driver nor owner can              c. Owned by or furnished or available for the
    be identified. The land motor vehicle or                   regular use of the Named Insured, or if the
    ‘‘trailer’’ must:                                          Named Insured is an individual, any ‘‘family
                                                               member’’ unless it is a covered ‘‘auto’’ to
   (1) Hit an individual Named Insured or any                  which the coverage form’s Liability Cover-
         ‘‘family member’’, a covered ‘‘auto’’ or a            age applies and liability coverage is ex-
         vehicle such Named Insured or any                     cluded for any person or organization other
         ‘‘family member’’ is ‘‘occupying’’; or                than the Named Insured, or if the Named
   (2) Cause an ‘‘accident’’ resulting in ‘‘bodily             Insured is an individual, any ‘‘family mem-
       injury’’ to an individual Named Insured                 ber’’.
       or any ‘‘family member’’ without hitting
       that Named Insured, any ‘‘family mem-
       ber’’, a covered ‘‘auto’’ or a vehicle such
       Named Insured or any ‘‘family member’’
       is ‘‘occupying’’.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 99 03 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorse-             3. "Bodily injury" sustained by any "family mem-
ment, the provisions of the Coverage Form apply                   ber" while "occupying" or struck by any vehicle
unless modified by the endorsement.                               (other than a covered "auto") owned by or fur-
A. Coverage                                                       nished or available for the regular use of any
                                                                  "family member".
   We will pay reasonable expenses incurred for nec-
   essary medical and funeral services to or for an            4. "Bodily injury" to your "employee" arising out of
   "insured" who sustains "bodily injury" caused by               and in the course of employment by you. How-
   "accident". We will pay only those expenses in-                ever, we will cover "bodily injury" to your do-
                                                                  mestic "employees" if not entitled to workers’
   curred, for services rendered within three years
                                                                  compensation benefits. For the purposes of
   from the date of the "accident".
                                                                  this endorsement, a domestic "employee" is a
B. Who Is An Insured                                              person engaged in household or domestic
   1. You while "occupying" or, while a pedestrian,               work performed principally in connection with a
       when struck by any "auto".                                 residence premises.
   2. If you are an individual, any "family member"            5. "Bodily injury" to an "insured" while working in a
       while "occupying" or, while a pedestrian, when             business of selling, servicing, repairing or park-
       struck by any "auto".                                      ing "autos" unless that business is yours.
   3. Anyone else "occupying" a covered "auto" or a            6. "Bodily injury" arising directly or indirectly out
       temporary substitute for a covered "auto". The             of:
       covered "auto" must be out of service because              a. War, including undeclared or civil war;
       of its breakdown, repair, servicing, loss or de-
       struction.                                                 b. Warlike action by a military force, including
                                                                      action in hindering or defending against an
C. Exclusions                                                         actual or expected attack, by any govern-
   This insurance does not apply to any of the follow-                ment, sovereign or other authority using
   ing:                                                               military personnel or other agents; or
   1. "Bodily injury" sustained by an "insured" while             c. Insurrection, rebellion, revolution, usurped
      "occupying" a vehicle located for use as a                     power, or action taken by governmental au-
       premises.                                                     thority in hindering or defending against
                                                                     any of these.
   2. "Bodily injury" sustained by you or any "family
      member" while "occupying" or struck by any
      vehicle (other than a covered "auto") owned by
      you or furnished or available for your regular
      use.




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   7. "Bodily injury" to anyone using a vehicle with-       E. Changes In Conditions
      out a reasonable belief that the person is enti-         The Conditions are changed for Auto Medical
      tled to do so.                                           Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while          1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such       2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does               ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an            Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for            ance Provisions in the Truckers and Motor
      such a contest or activity.                                 Carrier Coverage Forms to "other collectible in-
                                                                  surance" applies only to other collectible auto
D. Limit Of Insurance                                             medical payments insurance.
   Regardless of the number of covered "autos", "in-        F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for        As used in this endorsement:
   "bodily injury" for each "insured" injured in any one       1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-            by blood, marriage or adoption who is a resi-
   cal Payments Coverage shown in the Declarations.               dent of your household, including a ward or
   No one will be entitled to receive duplicate pay-              foster child.
   ments for the same elements of "loss" under this            2. "Occupying" means in, upon, getting in, on, out
   coverage and any Liability Coverage Form, Unin-                or off.
   sured Motorists Coverage Endorsement or Under-
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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Who Is An Insured Amendment --- Broad Form

     Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Garage Coverage Form
Motor Carrier Coverage Form
Truckers Coverage Form

1.   The following is added to the Who Is An Insured provision of Section II, Liability Coverage:
     A. Broadened Named Insured
         1.   Any organization of yours that has been acquired or formed prior to this policy period (other than a
              partnership, limited liability company or joint venture) but is not shown in the Declarations as of the effective
              date of this Coverage Form, will nevertheless qualify as a Named Insured if:
              a.   You maintain an ownership interest of more than 50% of such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each such organization remains qualified as a Named Insured only while you maintain an ownership interest
              of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above, no such organization will qualify as a Named
              Insured under this Coverage Form if the organization:
              a.   Was newly acquired or formed by you in the preceding policy period in which we provided coverage, but
                   was not reported to us before the end of that preceding policy period;
              b. Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                 Coverage Form; or
              c.   Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                   limits of insurance.
     B. Newly Acquired or Formed Organizations as Named Insureds
         1.   Newly Acquired Or Formed Organizations Other Than Partnerships, Joint Ventures or Limited Liability
              Companies
              Any organization you newly acquire or form during this policy period (other than a partnership, limited liability
              company or joint venture) will qualify as a Named Insured if:
              a.   You have an ownership interest of more than 50% in such organization; and
              b. Such organization has been incorporated or organized under the laws of the United States of America
                 (including any state thereof), its territories or possessions.
              Each newly acquired or formed organization shall remain qualified as a Named Insured only while you
              maintain an ownership interest of more than 50% in the organization during the current policy period.
         2.   However, regardless of the provisions of Paragraph 1. above:

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             a.   No such organization will qualify as a Named Insured under this Coverage Form if the organization:
                  (1) Is also an insured under another policy, other than a policy written to apply specifically in excess of
                      this Coverage Form; or
                  (2) Would be an insured under another policy, regardless of coverage termination or the exhaustion of its
                      limits of insurance; and
             b. Coverage will be afforded to any such organization qualifying as a Named Insured only until the end of
                this policy period if the organization is not reported to us during this policy period.
        3.   Newly Formed Partnerships, Limited Liability Companies, or Joint Ventures
             Any partnership, limited liability company or joint venture you newly form during this policy period, where:
             a.   You maintain an ownership interest;
             b. As respects any joint venture, you have agreed in the Joint Venture Agreement to name the joint venture
                as a Named insured to your policy; and
             c . Such partnership, limited liability company or joint venture has been organized under the laws of the
                 United States of America (including any state thereof), its territories or possessions,
             will qualify as a Named Insured, provided no other similar insurance was purchased for the partnership,
             limited liability company or joint venture. However, coverage under this provision is afforded only until the
             90th day after you form the partnership, limited liability company or joint venture, or the end of the policy
             period, whichever is earlier, if the organization is not reported to us during this policy period.
        4.   With regard to Paragraphs 1. and 3. above, the following additional provision applies:
             No coverage shall apply to "bodily injury" or "property damage" that results from an "accident" that occurred
             before you acquired or formed the organization.




All other terms and conditions of this policy remain unchanged.




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Coverage Extension Endorsement

    Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem        Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Business Auto Coverage Form
Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1.   The following is added to the Who Is An Insured Provision in Section II ---- Liability Coverage:
        The following are also "insureds":
        a.   Any "employee" of yours is an "insured" while using a covered "auto" you don’t own, hire or borrow for acts
             performed within the scope of employment by you.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c.   Anyone else who furnishes an "auto" referenced in Paragraphs a. and b. above.
        d. Any person(s) or organization(s) where required by written contract or written agreement executed prior to
           any "accident" provided the "accident" arises out of operations contemplated by such contract or agreement.
   2.   The following is added to the Other Insurance Provision in the Conditions Section:
        Coverage for any person(s) or organization(s) where required by written contract or written agreement executed
        prior to any "accident" will apply on a primary basis and any insurance maintained by the additional "insured" will
        apply on an excess basis. However, in no event will this coverage extend beyond the terms and conditions of the
        coverage form.
B. Amendment ---- Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II ---- Liability Coverage are replaced by the
   following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.
C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II ---- Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1.   The following is added to the Racing Exclusion in Section II ---- Liability Coverage:
        This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
        limited to, auto or truck rodeos and other auto or truck agility demonstrations.



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     2.   The following is added to Paragraph 2. in the Exclusions of Section III ---- Physical Damage Coverage of the
          Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV ---- Physical Damage Coverage
          of the Motor Carrier Coverage Form:
          This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
          limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Lease Or Loan Gap Coverage
     In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
     "auto", less:
     a.   Any amount paid under the Physical Damage Coverage Section of the coverage form; and
     b. Any:
          (1) Overdue lease or loan payments at the time of the "loss";
          (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
          (3) Security deposits not returned by the lessor;
          (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
              loan or lease; and
          (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
     The following is added to Paragraph A.2. of the Physical Damage Coverage Section:
     We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
     disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
     The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
     If glass must be replaced, the deductible will be $100 or the deductible shown in the Declarations, whichever is less. If
     glass can be repaired and is actually repaired rather than replaced, the deductible will be waived. You have the option
     of having the glass repaired rather than replaced.
H. Hired Auto Physical Damage ---- Increased Loss of Use Expenses
     The Loss Of Use Expenses Provision of the Physical Damage Coverage Section is replaced by the following:
     Loss Of Use Expenses
     For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
     loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
     will pay for loss of use expenses if caused by:
     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided for
         any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a.   We will pay up to $750 for "loss" to personal effects which are:
          (1) Personal property owned by an "insured"; and
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          (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
          (1) The reasonable cost to replace; or
          (2) The actual cash value.
     c.   The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered "auto".
          No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of the
          following:
          (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
              documents of value.
          (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
              precious or semi-precious stones.
          (3) Paintings, statuary and other works of art.
          (4) Contraband or property in the course of illegal transportation or trade.
          (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J.   Tapes, Records and Discs Coverage
     1.   The Exclusion in Paragraph B.4.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage
          Form and the Exclusion in Paragraph B.2.c. of Section IV ---- Physical Damage Coverage in the Motor Carrier
          Coverage Form do not apply.
     2.   The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the Physical
          Damage Coverage Section:
          We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
          equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
              (a) Are the property of an "insured"; and
              (b) Are in a covered "auto" at the time of "loss".
          The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
          Damage Coverage Deductible Provision does not apply to such "loss".
K. Airbag Coverage
     The Exclusion in Paragraph B.3.a. of Section III ---- Physical Damage Coverage in the Business Auto Coverage Form
     and the Exclusion in Paragraph B.4.a. of Section IV ---- Physical Damage Coverage in the Motor Carrier Coverage Form
     do not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     If an accident is covered both by this policy or coverage form and by another policy or coverage form issued to you
     by us, the following applies for each covered "auto" on a per vehicle basis:
     1.   If the deductible on this policy or coverage form is the smaller (or smallest) deductible, it will be waived; or
     2.   If the deductible on this policy or coverage form is not the smaller (or smallest) deductible, it will be reduced by
          the amount of the smaller (or smallest) deductible.
M. Physical Damage ---- Comprehensive Coverage ---- Deductible
     The following is added to the Deductible Provision of the Physical Damage Coverage Section:
     Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
     Comprehensive Coverage for all "loss" from any one cause is $5,000.




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N. Temporary Substitute Autos ---- Physical Damage
   1.   The following is added to Section I ---- Covered Autos:
        Temporary Substitute Autos ---- Physical Damage
        If Physical Damage Coverage is provided by this coverage form on your owned covered "autos", the following
        types of vehicles are also covered "autos" for Physical Damage Coverage:
        Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
        "auto" you do own but is out of service because of its:
        1.   Breakdown;
        2. Repair;
        3.   Servicing;
        4.   "Loss"; or
        5.   Destruction.
   2.   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
        Temporary Substitute Autos ---- Physical Damage
        We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
        omissions on your part. If we make any payment to the owner, we will obtain the owner’s rights against any other
        party.
        The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
        replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a.   In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
        of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or "loss"
        is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
        liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any agent,
        servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate the
        insurance afforded by this policy.
        Include, as soon as practicable:
        (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
            notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
        (2) The "insured’s" name and address; and
        (3) To the extent possible, the names and addresses of any injured persons and witnesses.
        If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
        failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
        as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos ---- Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance ---- Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced by
   the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:

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    (1) Any covered "auto" you lease, hire, rent or borrow; and
    (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
        elected or appointed official with your permission while being operated within the course and scope of that
        "employee’s" employment by you or that elected or appointed official’s duties as respect their obligations to you.
    However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
    The following is added to the Concealment, Misrepresentation Or Fraud Condition:
    However, we will not deny coverage under this coverage form if you unintentionally:
        (1) Fail to disclose any hazards existing at the inception date of this coverage form; or
        (2) Make an error, omission, improper description of "autos" or other misstatement of information.
    You must notify us as soon as possible after the discovery of any hazards or any other information that was not
    provided to us prior to the acceptance of this policy.
S. Hired Auto ---- World Wide Coverage
    Paragraph (5)(a) of the Policy Period, Coverage Territory Condition is replaced by the following:
    (a) A covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less; and
T. Bodily Injury Redefined
    The definition of "bodily injury" in the Definitions Section is replaced by the following:
    "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
    resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.


All other terms and conditions of this policy remain unchanged.




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Named Driver Exclusion Endorsement
Exclusion of Coverage For Any Insured When Auto Is
Driven or Operated By Excluded Driver
    Policy No.      Eff. Date of Pol.   Exp. Date of Pol.      Eff. Date of End.           Producer           Add’l. Prem          Return Prem.
                                                                                                          $                    $

Named Insured / Mailing Address:                                         Producer:




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:
    BUSINESS AUTO COVERAGE FORM
    COMMERCIAL INLAND MARINE CARGO BROAD FORM COVERAGE FORM
    INSURANCE FOR NON-TRUCKING USE COVERAGE FORM
    GARAGE COVERAGE FORM
    MOTOR CARRIER COVERAGE FORM
    TRUCKERS COVERAGE FORM
With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modified by
the endorsement.
We will not be liable for any "accidents" or "losses" including, but not limited to, defense or indemnity for "bodily injury" or
"property damage" to which this insurance applies, caused by an "accident" and resulting from the ownership, maintenance
or use of a covered "auto" described in the policy, or any other auto(s) to which the terms of the policy are extended, while
the "auto" is being driven or operated by the named person(s) set forth in the Schedule below.
This exclusion applies whether or not the maintenance or use of a covered "auto" was with the express or implied
permission of its owner or the owner’s agent except that minimum financial responsibility limits will be provided where
required by applicable law.
                                                    SCHEDULE
Excluded Driver(s) or Operator(s):
ROBERT PEREZ




In all other respects, this policy remains unchanged.
The Named Insured, or if a Corporation, an Authorized Representative accepts this endorsement as witness such
signatures:



Signature of any Named Insured, or if a Corporation, an Authorized Representative


Date                                                                               Title


Print / Type Name of Person Who Signed



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Fraud Warnings Disclosure


TO BE ATTACHED TO AND FORM PART OF THE APPLICATION. IF FRAUD WARNINGS ARE INCLUDED IN THE
APPLICATION TO WHICH THIS IS ATTACHED, THIS DISCLOSURE REPLACES THOSE WARNINGS.

Any person who knowingly and with intent to defraud any insurance company or another person files an application for
insurance or statement of claim containing any materially false information, or conceals for the purpose of misleading
information concerning any fact material thereto, commits a fraudulent insurance act, which is a crime and subjects the
person to criminal and civil penalties. (Not applicable in AL, AR, CO, DC, FL, KS, KY, LA, MD, ME, NJ, NM, NY, OH, OK,
OR, PA, PR, RI, TN, TX, VA, VT, WA, and WV.)
In Arkansas, Louisiana, Rhode Island, or West Virginia: Any person who knowingly presents a false or fraudulent
claim for payment of a loss or benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to fines and confinement in prison.

In Alabama: Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or who
knowingly presents false information in an application for insurance is guilty of a crime and may be subject to restitution,
fines or confinement in prison, or any combination thereof.

In Colorado: It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance
company for the purpose of defrauding or attempting to defraud the company. Penalties may include imprisonment, fines,
denial of insurance and civil damages. Any insurance company or agent of an insurance company who knowingly
provides false, incomplete, or misleading facts or information to a policyholder or claimant for the purpose of defrauding or
attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds
shall be reported to the Colorado division of insurance within the department of regulatory agencies.

In District of Columbia: Warning: It is a crime to provide false or misleading information to an insurer for the purpose of
defrauding the insurer or any other person. Penalties include imprisonment and/or fines. In addition, an insurer may deny
insurance benefits if false information materially related to a claim was provided by the applicant.

In Florida: Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim
or an application containing any false, incomplete, or misleading information is guilty of a felony of the third degree.

In Kansas: Any person who, knowingly and with intent to defraud, presents, causes to be presented or
prepares with knowledge or belief that it will be presented to an insurer, purported insurer, or to or by a broker
or any agent thereof, any written statement as part of, or in support of, an application for the issuance of, or the
rating of an insurance policy for personal or commercial insurance, or a claim for payment or other benefit
pursuant to an insurance policy for commercial or personal insurance which such person knows to contain
materially false information concerning any fact material thereto; or conceals, for the purpose of misleading,
information concerning any fact material thereto, commits a fraudulent insurance act and may be subject to
criminal and/or civil fines or penalties.

In Kentucky: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance containing any materially false information or conceals, for the purpose of misleading,
information concerning any fact material thereto commits a fraudulent insurance act, which is a crime.

In Maine, Tennessee, Virginia, or Washington: It is a crime to knowingly provide false, incomplete or misleading
information to an insurance company for the purpose of defrauding the company. Penalties may include imprisonment,
fines or a denial of insurance benefits.



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In Maryland: Any person who knowingly or willfully presents a false or fraudulent claim for payment of a loss or benefit or
who knowingly or willfully presents false information in an application for insurance is guilty of a crime and may be subject
to fines and confinement in prison.

In New Jersey: Any person who includes any false or misleading information on an application for an insurance policy is
subject to criminal and civil penalties.

In New Mexico: ANY PERSON WHO KNOWINGLY PRESENTS A FALSE OR FRAUDULENT CLAIM FOR PAYMENT
OF A LOSS OR BENEFIT OR KNOWINGLY PRESENTS FALSE INFORMATION IN AN APPLICATION FOR
INSURANCE IS GUILTY OF A CRIME AND MAY BE SUBJECT TO CIVIL FINES AND CRIMINAL PENALTIES.

In New York: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance or statement of claim containing any materially false information, or conceals for the purpose of
misleading, information concerning any fact material thereto, commits a fraudulent insurance act, which is a crime and
shall also be subject to a civil penalty not to exceed five thousand dollars and the stated value of the claim for each such
violation.

In Ohio: Any person who, with intent to defraud or knowing that he is facilitating a fraud against an insurer, submits an
application or files a claim containing a false or deceptive statement is guilty of insurance fraud.

In Oklahoma: WARNING: Any person who knowingly, and with intent to injure, defraud or deceive any insurer, makes
any claim for the proceeds of an insurance policy containing any false, incomplete or misleading information is guilty of a
felony.

In Oregon: Any person who knowingly and with intent to defraud any insurer or other person files an application for
insurance or statement of claim containing any materially false information upon which an insurer relies, if such
information was either material to the risk assumed by the insurer or the misinformation was provided fraudulently, may
commit a fraudulent insurance act, which may be a crime and may subject the person to criminal and civil penalties.

In Pennsylvania: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance or statement of claim containing any materially false information or conceals for the purpose of
misleading, information concerning any fact material thereto commits a fraudulent insurance act, which is a crime and
subjects such person to criminal and civil penalties.

In Puerto Rico: Any person who has committed fraud, as defined in the law, shall incur a felony, and if convicted, shall be
sanctioned for each violation by a penalty of a fine of not less than five thousand dollars ($5,000), nor more than ten
thousand dollars ($10,000), or a penalty of imprisonment for a fixed term of three (3) years, or both penalties. If there were
aggravating circumstances, the fixed penalty thus established may be increased up to a maximum of five (5) years; if
extenuating circumstances are present, it may be reduced to a minimum of two (2) years. In addition to the penalties
provided in this chapter, any person who, as a result of the fraud thus committed is benefited in any way to obtain
insurance, or in the payment of a loss pursuant to an insurance contract, shall be imposed the payment of restitution of
the amount of money resulting from the fraud. Every violation shall have a prescription term of (5) five years.

In Texas: Any person who knowingly presents a false or fraudulent claim for the payment of a loss is guilty of a crime and
may be subject to fines and confinement in state prison.

In Vermont: Any person who knowingly presents a false statement in an application for insurance may be guilty of a
criminal offense and subject to penalties under state law.
The undersigned, on behalf of all Insureds, acknowledges that discovery of any fraud, intentional concealment, or
misrepresentation of any material fact may render this policy, if issued, voidable at inception or otherwise cancelled.

Applicant
    Applicant Name and Title:                                                     Date:
    Applicant Signature:




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                        NOTICE TO POLICYHOLDERS (PROPERTY – 2)

                  POTENTIAL RESTRICTIONS OF TERRORISM COVERAGE


This Notice has been prepared in conjunction with the POTENTIAL implementation of changes related
to coverage of terrorism under your policy.

The Terrorism Risk Insurance Act, as amended, established a program (Terrorism Risk Insurance
Program) within the Department of the Treasury, under which the federal government shares, with the
insurance industry, the risk of loss from future terrorist attacks. That Program will terminate at the end
of December 31, 2014 unless extended by the federal government. Your policy will become effective
(or will be renewed) while the federal Program is still in effect, but prior to a decision by the federal
government on extension of the federal Program. If the federal Program terminates, or is extended with
certain changes, during the term of your policy, then the treatment of terrorism under your policy will
change. This Notice is being provided to you for the purpose of summarizing potential impact on your
coverage. The summary is a brief synopsis of significant exclusionary provisions and limitations.

This Notice does not form a part of your insurance contract. The Notice is designed to alert you to
coverage restrictions and to other provisions in certain terrorism endorsement(s) in this policy. If there
is any conflict between this Notice and the policy (including its endorsements), the provisions of the
policy (including its endorsements) apply.

Carefully read your policy, including the endorsements attached to your policy.

YOUR POLICY AT START OF NEW POLICY TERM:

This policy contains an endorsement excluding coverage for "certified acts of terrorism", which is more
fully defined in the endorsement but involves acts of terrorism by or on behalf of a foreign interest.

POTENTIAL CHANGE DURING THE TERM OF YOUR POLICY:

A Conditional Terrorism Exclusion Endorsement is attached to your policy. Its provisions will
become applicable to your policy only if certain events (one or more of them) occur. Those events
include the following:

       • If the federal Terrorism Risk Insurance Program (TRIP) terminates with respect to the type of
       insurance provided under this policy. (TRIP is scheduled to terminate at the end of December 31,
       2014 unless extended by the federal government.); or

       • If TRIP is extended with changes that redefine terrorism, and we are not required to make such
       revised coverage available to you; or




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       • If TRIP is extended with changes that make insurance coverage for terrorism subject to
       provisions or requirements that differ from those that apply to other events or occurrences under
       this policy, and we are not required to make such revised coverage available to you; or

       • If TRIP is extended with changes that increase insurers' statutory percentage deductible under
       TRIP for terrorism losses, or decrease the federal government's statutory percentage share in
       potential terrorism losses, and we are not required to make terrorism coverage available to you.
       Our deductible is 20% of the total of our previous year's direct earned premiums. The
       government's share is 85% of the terrorism losses paid by us above the deductible.

The Conditional Terrorism Exclusion Endorsement treats terrorism as follows:

       Coverage for loss or damage arising out of a terrorism incident is excluded only if:

       • The total of all insured damage to all types of property (including business interruption losses
       sustained by owners or occupants of damaged property), from the incident, exceeds $25 million.
       The $25 million property damage threshold is based on losses sustained by all persons and
       entities who are affected by an incident of terrorism, and who are insured for the damage, or who
       would be insured but for a terrorism exclusion; or

       • The terrorism event involves nuclear materials or results in nuclear reaction or radiation or
       radioactive contamination; or

       • The terrorism event involves the release of radioactive material, and it appears that one purpose
       of the terrorism was to release such material; or

       • The terrorism event is carried out by means of the dispersal or application of pathogenic or
       poisonous biological or chemical materials; or

       • The terrorism event involves the release of pathogenic or poisonous biological or chemical
       materials, and it appears that one purpose of the terrorism was to release such materials.

                See the definition of terrorism for purposes of the terrorism exclusion.




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               Commercial Property Coverage Part
Property Portfolio Protection Revision of Forms and Endorsements
                  Advisory Notice to Policyholders
This is a summary of the major changes in your Commercial Property Coverage Part. No coverage is provided by this
summary nor can it be construed to replace any provisions of your pol icy. You should read your policy and review your
Declarations Page for complete information on the coverage you are p rovided. If there is any conflict between the policy
and this summary, THE PROVISIONS OF THIS POLICY SHALL PRE VAIL.

The areas within the policy that broaden or reduce coverage, and othe r changes, are highlighted below. This notice does
not reference every editorial change made in your policy.

The material in this notice makes reference to form and endorsement numbers; however, not all forms and
endorsements are included in a particular policy.

Commercial Property Coverage Part General Provisions (PPP-01 01)
    Language has been added under the Deductibles section to c ontemplate th     hat water damage and theft may be
     subject to separate deductible amounts. The wind or wind/ha il deductible llanguage has been modified to clarify
     the all other peril deductible applies unless there is a separate wind or wind/hail deductible on the policy.

Commercial Property Conditions (PPP-0102)
   Reduction or Potential Reduction in Coverage:
    The Coverage Territory condition has been modified to elimina
                                                                 ate Canada for other than transit losses. Our Envoy
      product would cover Canada risks.

Commercial Property Definitions (PPP-0103)
    Four new definitions have been added:
    “Cloud Facility” to specify intent for new Cloud Coverage fo rm PPP-0417
    “Computer systems” added as a term within Cloud Covera ge form PPP    P-0417
    “Green roofing systems” to provide coverage without the op tional Better Green endorsement
    “Information technology services” added as a term within C loud Coverage form PPP-0417

A number of definitions have been modified
     “Continuing expenses” was amended to clarify that “contin uing expenses” does not include non-continuing
      expenses
     “Contractor’s equipment” was amended to add what “conttractor’s equipment” does not mean as temporary
      forms, shoring and false work are provided as an additional co verage with a sub limit in the Contractors
      Equipment Coverage Form.
     “Contributing locations” was amended to clarify the intent
     “Electronic vandalism” was broadened to include “research and development property”
     “Improvements and betterments” was broadened to include additional cover for tenant contract responsibility
     “Installation or service premises” was broadened to include a location where you are constructing property
     “Landscaping materials” was amended to include “green ro     oofing systems”
     “Outdoor trees, shrubs, plants, or lawns” was amended fo r what “gree    en roofing systems” does not mean
      “Personal property” was amended for what “green roofing systems” does not mean
     “Real property” was amended to include “green roofing sy    ystems”
     “Temporary storage location” was amended to expand cov erage for locations leased, rented or occupied for
      less than one year




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Real and Personal Property Coverage Form (PPP-0110)
    Language under the exclusion of Process Failures, Defects or Errors has been modified to clarify the coverage
       intent of lack of maintenance and not an error while performin
                                                                    ng maintenance
    Language under Dishonest Acts has been reformatted
Broadened Coverage:
    “Green roofing systems” has been added to the form with a broadened peril set than previously provided under
       the optional Better Green endorsement.

Additional Coverages Form (PPP-0111)
    Language under Electronic Vandalism-Direct Damage was ex panded to include “research and development
       property” and will apply when the Research and Developmen t Property Coverage Form (PPP-0118) applies to a
       premises.

Accounts Receivable Coverage Form (Revenue Loss) (PPP-0112 )
Fine Arts Coverage Form (PPP-0114)
Original Information Property Coverage Form (PPP-0116)
     Language under Defects or Errors has been modified to clariffy
                                                                   y the coverage intent of lack of maintenance and not
       an error while performing maintenance.
     Language under Dishonest Acts has been reformatted

Installation and Service Property Coverage Form (PPP-0115)
     Language under Process Failures, Defects or Errors has been modified to clarify the coverage intent of lack of
        maintenance and not an error while performing maintenance.
     Language under Dishonest Acts has been reformatted

Transit Coverage Form (PPP-0117)
    Language under Dishonest Acts has been reformatted

Research and Development Property Coverage Form (PPP-0118)
    Language under the Additional Coverages has been revised t o clarify that the additional coverage applies to a
      “premises” for which you have purchased the optional coverag e for “research and development property”
    Language under the Artificially Maintained Conditions and the Off-Premise   es Service Interruption exclusion had
      been clarified to indicate the exception for coverage provided in the Additional Coverages section
    Language under Process Failures, Defects or Errors has been modified to clarify the coverage intent of lack of
      maintenance and not an error while performing maintenance.
    Language under Dishonest Acts has been reformatted

Business Income Coverage Form (Excluding Extra Expense) (PP P-0130)
Business Income Coverage Form Including Research and Develo pment Continuing Expenses (Excluding Extra
Expense)--Technology (PPP-0131)
    Language under Civil Authority has been revised to clarify the intent
    Language under Expense to Reduce loss has been amended       d to clarify it is subject to the Business Income limit
    Language under Ingress/Egress has been amended to clarify the loss or damage but be directly caused by a
      “covered cause of loss”
    “Green roofing systems” has been added to the list of exce pted property types under the Real or Personal
      Property exclusion.
    “Green roofing systems” has been added to the Limitations to remain consistent with the causes of loss
      excepted in the Real and Personal Property Coverage Form.




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Extra Expense Coverage Form (PPP-0132)
     Language under Civil Authority has been revised to clarify the intent
     Language under Ingress/Egress has been amended to clarify the loss or damage but be directly caused by a
       “covered cause of loss”
     “Green roofing systems” has been added to the list of exce pted property types under the Real or Personal
       Property exclusion.
     “Green roofing systems” has been added to the Limitations to remain consistent with the causes of loss
       excepted in the Real and Personal Property Coverage Form.

Contractor’s Equipment Coverage Form (PPP-0140)
    Language under the exclusion for Process Failures, Defects o r Errors has been modified to clarify the coverage
       intent of lack of maintenance and not an error while performin
                                                                    ng maintenance
    Language was modified in the Deductible section to allow for an option of waiting period
    Language under Dishonest Acts has been reformatted
Broadened Coverage:
    Language was amended to include two new additional covera ges
       1. Contractor’s Equipment Continuing Lease or Rental Paym ents
       2. Contractor’s Equipment Fire Department Service Charge
       Language was modified in the Deductible section to $ 0 out th e deductible for theft if the “contractors equipment”
        was registered with National Equipment Register prior to the l oss

Installation Property Coverage Form (PPP-0141)
     Language under the exclusion for Process Failures, Defects o r Errors has been modified to clarify the coverage
        intent of lack of maintenance and not an error while performin
                                                                     ng maintenance
     Language under the valuation for installation property was cla rified to reflect what the cost was at the time of loss
        or damage if not repaired, replaced or rebuilt
     Language under Dishonest Acts has been reformatted
Broadened Coverage:
     Language was amended to include two new additional covera ges
        1. Installation Property Fire Department Service Charge
        2. Installation Property Pollutant Clean Up- Land and Water
     Language was added to the Additional Conditions section to a ddress additional insured’s as respects to their
        financial interest
Reduction or Potential Reduction in Coverage
     A Property Not Covered section was added to the policy to ex clude coverage for contraband or property in the
        course of illegal transportation or trade.

Riggers Liability Coverage Form (PPP-0142)
    Language under the exclusion for Process Failures, Defects o r Errors has been modified to clarify the coverage
       intent of lack of maintenance and not an error while performin
                                                                    ng maintenance
Reduction or Potential Reduction in Coverage
    Language under Property Not Covered has been modified fro m lawns to land
    Buildings or other structures has been added to the list of Pro perty Not Covered
    Precipitation damage to property in the open has been added as an exclusion

Increased Cost of Construction Exclusion (PPP-0210)
     Language has been amended under the definition for “replac ement cost” to reflect “new” materials
     Language has been clarified under the definition of “period of restoration” with no change in intent




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Nam
  med Storm--Direct Damage Deductible (PPP-0216)
Nam
  med Storm--Direct Damage and Time Element Deductible (PPP -0217)
Nam
  med Storm--Direct Damage and Time Element Deductible (Prem ises and Reported Unscheduled Premises)
(PPP-0218)
  med Storm Occurrence--Direct Damage and Time Element Ded uctible (PP
Nam                                                                       PP-0219)
Nam
  med Storm Sublimit--Contractor’s Equipment and Installation Property (PPP-0247)
Reduction or Potential Reduction in Coverage
    The definition of “named storm” has been amended by sepa rating out the occurrence portion of the definition.
    Language has been added to clarify an occurrence of when a “named storm
                                                                           m” begins and ends

Personal Property Redefined--Contractors (PPP-0240)
    “Green roofing systems” was added to the list of what “per sonal property” does not mean. This is to remain
      consistent with adding “green roofing systems” under what “real property” does mean within the Commercial
      Property Definitions form

Dependent Premises Business Income Coverage--Scheduled Lim its and Locations (PPP-0301)
    Language under Additional Coverages for Civil Authority has been modified to clarify intent
    Language with respect to civil authority has been added to the Optional Coverage section
      The Deductible section has been moved to follow the Optiona l Coverage s ection

Dependent Premises Business Income Coverage--Unscheduled L ocations (PPP-0302)
    Language under Additional Coverages for Civil Authority has been modified to clarify intent
    Language with respect to civil authority has been added to the Optional Coverage section

Dependent Premises Extra Expense Coverage--Scheduled Limits and Locations (PPP-0303)
    Language was restated to include the time limitation for Civil A uthority within the Civil authority coverage grant

Earth Movement Coverage (PPP-0304)
Earth Movement Coverage--Premises and Reported Unscheduled Premises (PPP-0306)
Flood Coverage (PPP-0310)
Flood Coverage--Premises and Reported Unscheduled Premises (PPP-0311))
     These optional endorsements were modified to reflect that a “ cloud facility” as part of the new Cloud Facility
       Coverage is added as a location under Off-Premises Damage locations excluded from coverage.

Off-Premises Service Interruption--Direct Damage (PPP-0320)
     Language referencing Including or Excluding was modified to With or Without
     Language was added to advise what the term Communication does and does not include to clarify “information
       technology systems” is not included

Off-Premises Service Interruption--Time Element (PPP-0321)
     Language referencing Including or Excluding was modified to With or Without
     Language was added to advise what the term Communication does and does not include to clarify “information
       technology systems” is not included
     Language was modified by splitting out how the policy respon nds to Business Income and Extra Expense when the
       policy is issued with a Blanket Business Income and Extra Exxpense limit
     Language under the deductible section was clarified to restate what we pay after the deductible or waiting period
       is exceeded




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Better Green Coverage (PPP-0331)
     Language throughout the form relating to “green roofing sys tems” was removed from this Optional
        Endorsement as it is now provided with a broader peril set und
                                                                     der the Real and Personal Property Coverage Form
        (PPP-0110)

Scheduled Contractor’s Equipment—Special Valuation (PPP-034 0)
Broadened Coverage:
    Language has been amended to reflect “new” materials for va luation
    Language has been added to include the costs of in force serv ice contracts, warranties, and the like in the
       valuation

Financial Institution Coverage (PPP-0402)
     Language has been modified under the definitions of “newly acquired premises” and “unreported premises”
       to add “rigging premises” to what each does not mean. Thiis remains consistent with their definitions as listed in
       the Commercial Property Definitions Form PPP-0103
     Language for the definition of “personal property” does not mean was modified to include “Green roofing
       systems” which remains consistent with its definitions as liste d in the Commercial Property Definitions Form
       PPP-0103 (03 14)

Golf Course Outdoor Grounds Coverage (PPP-0404)
Limited Golf Course Outdoor Grounds Coverage (PPP-0407)
Reduction or Potential Reduction in Coverage:
    The valuation provision has been amended to reduce the num ber of months from 24 to 12 in which you have to
       replace damaged trees and receive loss payment.
    The valuation provision has been amended to sub limit per oc currence the amount payable for all damaged trees
       that are not replaced.

Healthcare Industry Coverage (PPP-0409)
    Language has been added to the mobile medical equipment p rovision to reflect how the amount of covered
       damage will be determined in a loss.
    Language has been added to optionally choose a per item lim it lower than the occurrence limit
Broadened Coverage:
    The definition of “Mobile medical equipment” has been ame nded to include any trailer to which the equipment
       is permanently attached.
    Language has been added to include the costs of in force serv ice contracts, warranties, and the like in the
       valuation

Contingent Real Property Coverage (PPP-0410)
    A modification of language was made as to reasons this insur ance is primary

Loss Payable Provisions (PPP-0502)
Broadened Coverage:
    A provision has been added to include Building Owner as an o ption for Loss payee




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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


            If you want to learn more about the compensation Zurich pays agents and brokers visit:

                              http: / / www.zurichnaproducercompensation.com

                             or call the following toll-free number: (866) 903-1192.



                  This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.




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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




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Florida Hurricane Catastrophe Fund ( FHCF)
Emergency Assessment - 2005 Hurricanes

The Florida legislature created the FHCF in order to provide capacity to the personal and commercial residential property
insurance market. In accordance with Florida law, deficits of the FHCF are funded through emergency assessments on
direct premiums for certain property and casualty lines of business in the state of Florida.
The current FHCF emergency assessment is for the purpose of financing the FHCF’s shortfall from the 2005 hurricane
season. In order to fund this deficit, policies effective on or after January 1, 2011 are subject to an emergency assessment
of 1.30% of premium for the following lines of business:
      Fire, Allied Lines, Multi-Peril Crop, Farmowners Multi-Peril, Homeowners Multi-Peril, Commercial Multi-Peril (liability
      and non-liability), Mortgage Guaranty, Ocean Marine, Inland Marine, Financial Guaranty, Earthquake, Other Liability,
      Products Liability, Private Passenger Auto No-Fault, Other Private Passenger Auto Liability, Commercial Auto No-
      Fault, Other Commercial Auto Liability, Private Passenger Auto Physical Damage, Commercial Auto Physical
      Damage, Aircraft, Fidelity, Surety, Burglary and Theft, Boiler and Machinery, Credit, Warranty, and Aggregate Write
      Ins for Other Lines of Insurance.
The FHCF emergency assessment applicable to this policy is not subject to premium taxes, fees, or commissions.




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Illinois Civil Union Act Policyholder Notice


On June 1, 2011, Public Act 96-1513, the Religious Freedom Protection and Civil Union Act ("the Act") became
effective. Under the Act, both same-sex and opposite-sex couples may enter into a civil union. A party to a
civil union is entitled to the same legal obligations, responsibilities, protections, and benefits as are afforded or
recognized by the law of Illinois a spouse; whether they derive from statute, administrative rule, common law,
or any other source of civil or criminal law. A marriage between persons of the same sex, a civil union, or a
substantially similar legal relationship other than common law marriage, legally entered into in another
jurisdiction, shall be legally recognized in Illinois as a civil union.


CAUTION: FEDERAL LAW RIGHTS MAY OR MAY NOT BE AVAILABLE:
Illinois law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to
health insurance that are available to married persons under federal law may not be available to parties to a civil
union. For example, the Employee Retirement Income Security Act of 1974, a federal law known as "ERISA"
controls the employer /employee relationship with regard to determining eligibility for enrollment in private
employer health benefit plans. Because of ERISA, Act 91 does not state requirements pertaining to a private
employer’s enrollment of a party to a civil union in an ERISA employee welfare benefit plan. However,
governmental employers (not federal government) are required to provide health benefits to the dependents of
a party to a civil union if the public employer provides health benefits to the dependents of married persons.
Federal law also controls group health insurance continuation rights under "COBRA" for employers with 20 or
more employees as well as the Internal Revenue Code treatment of health insurance premiums. As a result,
parties to a civil union and their families may or may not have access to certain benefits under this policy,
contract, certificate, rider or endorsement that derive from federal law. You are advised to seek expert advice
to determine your rights.




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Exclusion of Certified Acts of Terrorism

Insureds Name                                                                Policy Number                       Effective Date    Endorsement
                                                                                                                                   Number




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies your insurance:


COMMERCIAL PROPERTY PORTFOLIO COVERAGE PART



                                                           SCHEDULE*

The exception relating to certain fire losses applies to property located in the following state(s), if covered by this insurance:

                                                      State(s)
 CA, GA, HI, IL, IA, ME, MO, NJ, NY, NC, OR, RI (except as to commercial special risks),
 Virgin Islands, WA, WV, WI




*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.

A. Exclusion of Certified Acts of Terrorism
We will not pay for loss or damage caused directly or indirectly by a "certified act of terrorism", including action in hindering
or defending against an actual or expected "certified act of terrorism". Such loss or damage is excluded regardless of any
other cause or event that contributes concurrently or in any sequence to the loss.
B. Exception Relating to Fire Losses Applicable to Property Located in Certain States
If the "certified act of terrorism" results in fire, we will pay for the direct physical loss or damage to Covered Property caused
by that fire. This exception does not apply to any other loss or damage including but not limited to business income, extra
expense, any additional coverage and any coverage extension.
C. Definition
"Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the Secretary
of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall certify an act of
terrorism:
    1.   to be an act of terrorism;
    2.   to be a violent act or an act that is dangerous to human life, property or infrastructure;
    3.   to have resulted in damage within the United States, or outside of the United States in the case of an air carrier (as
         defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based principally
         in the United States, on which United States income tax is paid and whose insurance coverage is subject to
         regulation in the United States), or the premises of a United States mission; and
    4.   to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
         United States or to influence the policy or affect the conduct of the United States Government by coercion.
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No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
(except for workers' compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do not
exceed $5,000,000.
D. Application of Other Exclusions
The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terrorism
exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or restricted
under this policy.
E. Cap on Losses From Certified Acts of Terrorism
If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program Year
(January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance Act, we shall
not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
Treasury.




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 CONDITIONAL EXCLUSION OF TERRORISM (RELATING
   TO DISPOSITION OF FEDERAL TERRORISM RISK
                INSURANCE ACT)
Insureds Name                                                           Policy Number                    E ffective         E ndorsement
                                                                                                         Date               Number



    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


This endorsement modifies insurance provided by:




COMMERCIAL PROPERTY PORTFOLIO COVERAGE PART



                                                         SCHEDULE*
The Exception Covering Certain Fire Losses (Paragraph D) applies to property located in the following state(s), if
covered by this insurance:


                                                             State(s)
CA, GA, HI, IL, IA, ME, MO, NJ, NY, NC, OR, RI (EXCEPT AS TO
COMMERCIAL SPECIAL RISKS), VIRGIN ISLANDS, WA, WV, WI




*Information required to complete the Schedule, if not shown above, will be shown in the Declarations.


A. Applicability of the Provisions of this Endorsement                          b.    A renewal, extension or replacement of the
   1. The provisions of this endorsement become                                       Program has become effective without a
      applicable commencing on the date when any                                      requirement to make terrorism coverage
      one or more of the following first occurs. But if                               available to you and with revisions that:
      your policy (meaning the policy period in which                                 (1) Increase our statutory percentage
      this endorsement applies) begins after such date,                                   deductible under the Program for
      then the provisions of this endorsement become                                      terrorism losses. (That deductible
      applicable on the date your policy begins.                                          determines the amount of all certified
      a. The federal Terrorism Risk Insurance                                             terrorism losses we must pay in a
           Program ("Program"), established by the                                        calendar year, before the federal
           Terrorism Risk Insurance Act, has                                              government shares in subsequent
           terminated with respect to the type of                                         payment of certified terrorism losses.);
           insurance provided under this Coverage                                         or
           Form, Coverage Part or Policy; or                                          (2) Decrease the federal government’s
                                                                                          statutory percentage share in potential
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                  terrorism losses above such deductible;          excluded regardless of any other cause or event that
                  or                                               contributes concurrently or in any sequence to the
             (3) Redefine terrorism or make insurance              loss. But for loss or damage in the United States, its
                  coverage for terrorism subject to                territories and possessions, Puerto Rico and Canada,
                  provisions or requirements that differ           this exclusion applies only when one or more of the
                  from those that apply to other types of          following are attributed to an incident of "terrorism":
                  events or occurrences under this policy.         1. The "terrorism" is carried out by means of the
   2. If the provisions of this endorsement become                      dispersal or application of radioactive material,
        applicable, such provisions:                                    or through the use of a nuclear weapon or device
                                                                        that involves or produces a nuclear reaction,
        a. Supersede any terrorism endorsement                          nuclear radiation or radioactive contamination;
             already endorsed to this policy that                       or
             addresses "certified acts of terrorism" and/ or
             "other acts of terrorism," but only with              2. Radioactive material is released, and it appears
             respect to loss or damage from an                        that one purpose of the "terrorism" was to
             incident(s) of terrorism (however defined)               release such material; or
             that occurs on or after the date when the             3. The "terrorism" is carried out by means of the
             provisions of this endorsement become                    dispersal or application of pathogenic or poi-
             applicable; and                                          sonous biological or chemical materials; or
        b. Remain applicable unless we notify you of               4. Pathogenic or poisonous biological or chemical
             changes in these provisions, in response to              materials are released, and it appears that one
             federal law.                                             purpose of the "terrorism" was to release such
   3. If the provisions of this endorsement do NOT                    materials; or
        become applicable, any terrorism endorsement               5. The total of insured damage to all types of
        already endorsed to this policy that addresses                property in the United States, its territories and
       "certified acts of terrorism" and/ or "other acts of           possessions, Puerto Rico and Canada exceeds
        terrorism", will continue in effect unless we                 $25,000,000. In determining whether the
        notify you of changes to that endorsement in                  $25,000,000 threshold is exceeded, we will
        response to federal law.                                      include all insured damage sustained by property
B. The following definition is added and applies under                of all persons and entities affected by the
   this endorsement wherever the term terrorism is                    "terrorism" and business interruption losses
   enclosed in quotation marks.                                       sustained by owners or occupants of the
                                                                      damaged property. For the purpose of this
   "Terrorism" means activities against persons, or-                  provision, insured damage means damage that is
   ganizations or property of any nature:                             covered by any insurance plus damage that
   1. That involve the following or preparation for the               would be covered by any insurance but for the
        following:                                                    application of any terrorism exclusions. Multiple
        a. Use or threat of force or violence; or                     incidents of "terrorism" which occur within a 72-
                                                                      hour period and appear to be carried out in
        b. Commission or threat of a dangerous act; or                concert or to have a related purpose or common
        c. Commission or threat of an act that in-                    leadership will be deemed to be one incident,
             terferes with or disrupts an electronic,                 for the purpose of determining whether the
             communication, information or mechanical                 threshold is exceeded.
             system; and                                              With respect to this item C.5., the immediately
   2. When one or both of the following applies:                      preceding paragraph describes the threshold
                                                                      used to measure the magnitude of an incident of
         a. The effect is to intimidate or coerce a                   "terrorism" and the circumstances in which the
            government or the civilian population or any              threshold will apply for the purpose of
            segment thereof, or to disrupt any segment                determining whether this Exclusion will apply to
            of the economy; or                                        that incident. When the Exclusion applies to an
        b. It appears that the intent is to intimidate or             incident of "terrorism", there is no coverage
            coerce a government, or to further political,             under this Coverage Form, Coverage Part or
            ideological, religious, social or economic                Policy.
            objectives or to express (or express
                                                               D. Exception Covering Certain Fire Losses
            opposition to) a philosophy or ideology.
                                                                  The following exception to the Exclusion of Ter-
C. The following exclusion is added:
                                                                  rorism applies only if indicated in the Schedule of
   EXCLUSION OF TERRORISM                                         this endorsement.
   We will not pay for loss or damage caused directly or          If "terrorism" results in fire, we will pay for the loss
   indirectly by "terrorism", including action in                 or damage caused by that fire, subject to all ap-
   hindering or defending against an actual or expected           plicable policy provisions including the Limit of In-
   incident of "terrorism". Such loss or damage is                surance on the affected property. Such coverage for



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   fire applies only to direct loss or damage by fire to        Hazard Exclusion in this Coverage Form,
   Covered Property. Therefore, for example, the                Coverage Part or Policy.
   coverage does not apply to insurance provided under     2.   The terms and limitations of any terrorism ex-
   business income and/ or extra expense coverage               clusion, or the inapplicability or omission of a
   forms or endorsements that apply to those coverage           terrorism exclusion, do not serve to create
   forms, or to the Legal Liability Coverage Form or            coverage for any loss or damage which would
   the Leasehold Interest Coverage Form.                        otherwise be excluded under this Coverage
E. Application of Other Exclusions                              Form, Coverage Part or Policy, such as losses
   1. When the Exclusion of Terrorism applies in                excluded by the Nuclear Hazard Exclusion or
        accordance with the terms of C.1. or C.2., such         the War And Military Action Exclusion.
        exclusion applies without regard to the Nuclear




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    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS
           AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                         DISCLOSURE OF PREMIUM
                    (RELATING TO DISPOSITION OF TRIA)
                                                           SCHEDULE*


(1) Premium attributable to risk of loss from certified acts of terrorism through the end of the policy period based on the
extension of the Terrorism Risk Insurance Act of 2002, as amended by the Terrorism Risk Insurance Extension Act of 2005,
(“TRIA”) for lines subject to TRIA and the Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA):
 General Liability                                             $1,355.00
 Property Portfolio Protection                                 Not Applicable – Terrorism Exclusion


If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by any
change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.
(2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:

    No change unless one of the following is completed -

     Return Premium: N/A

     Additional Premium: N/A

If we notify you of an additional premium charge, the additional premium will be due as specified in such notice.
*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure of Premium                                                     December 31, 2014 unless extended by the federal
                                                                             government.
   In accordance with the TRIA, we are required to
   provide you with a notice disclosing the portion of                    C. Possibility of Additional or Return Premium
   your premium, if any, attributable to the risk of loss                    The premium attributable to the risk of loss from
   from terrorist acts certified under that Act for lines                    certified acts of terrorism coverage is calculated
   subject to TRIA. That portion of your premium                             based on the coverage (if any) in effect at the
   attributable is shown in the Schedule of this                             beginning of your policy for certified acts of
   endorsement or in the Declarations.                                       terrorism. If your policy contains a Conditional
B. Disclosure of Federal Participation in Payment of                         Endorsement, the termination of TRIA or extension
   Terrorism Losses                                                          of the federal program with certain modifications (as
                                                                             explained in that endorsement) may modify the
   The United States Government, Department of the                           extent of coverage (if any) your policy provides for
   Treasury, will pay a share of terrorism losses insured                    terrorism. If TRIA terminates or the Conditional
   under the federal program. The federal share equals                       Endorsement becomes applicable to your policy, the
   85% of that portion of the amount of such insured                         return premium (if any) or additional premium (if
   losses that exceeds the applicable insurer retention.                     any) shown in (2) of the Schedule will apply. If the
   The Act currently provides for no insurance industry                      level or terms of federal participation change, the
   or United States government participation in                              premium shown in (1) of the Schedule attributable to
   terrorism losses that exceed $100 billion in any one                      that part of the policy period extending beyond such a
   calendar year. The federal program established by                         change may not be appropriate and we will notify
   the Act is scheduled to terminate at the end of                           you of any changes in your premium.

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     CAP ON LOSS ES FROM CERTIFIED ACTS OF
     TERRORISM
     Insureds Name                                                                 Policy Number                      Effective     Endorsement
                                                                                                                      Dat e         Number




                       THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.


     This endorsement modifies your insurance:


     This endorsement applies to all Coverage Parts included in this policy.

A.       Cap on Losses From Certified Terrorism Losses
         "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
         Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
         Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
         shall certify an act of terrorism:
         1.          to be an act of terrorism;
         2.          to be a violent act or an act that is dangerous to human life, property or infrastructure;
         3.          to have resulted in damage within the United States, or outside of the United States in the case of an air
                     carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
                     vessel based principally in the United States, on which United States income tax is paid and whose
                     insurance coverage is subject to regulation in the United States), or the premises of a United States mission;
                     and
         4.          to have been committed by an individual or individuals as part of an effort to coerce the civilian population
                     of the United States or to influence the policy or affect the conduct of the United States Government by
                     coercion.
         No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
         Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
         subject to TRIA, do not exceed $5,000,000.
         If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
         Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
         Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
         in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
         established by the Secretary of Treasury.

B.       Application of Other Exclusions
         The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
         terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
         limited or restricted under this policy.




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                                                                                                                 IL 00 17 11 98


                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                                   and
      tions may cancel this policy by mailing or de-                             c. Recommend changes.
      livering to us advance written notice of cancel-                      2.   We are not obligated to make any inspections,
      lation.                                                                    surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                             such actions we do undertake relate only to in-
      ering to the first Named Insured written notice                            surability and the premiums to be charged. We
      of cancellation at least:                                                  do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-                            dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-                            organization to provide for the health or safety
           mium; or                                                              of workers or the public. And we do not war-
                                                                                 rant that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                             a. Are safe or healthful; or
    3.We will mail or deliver our notice to the first                            b. Comply with laws, regulations, codes or
      Named Insured’s last mailing address known to                                  standards.
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                        service or similar organization which makes in-
      on that date.                                                           surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
   This policy contains all the agreements between                         1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded. The                           and
   first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
   authorized to make changes in the terms of this                             pay.
   policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                        Policy
   us and made a part of this policy.
                                                                          Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                  transferred without our written consent except in
   We may examine and audit your books and records                        the case of death of an individual named insured.
   as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                         to your legal representative but only while acting
D. Inspections And Surveys                                                within the scope of duties as your legal representa-
   1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                          anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                          with respect to that property.




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                                                                                                      IL 00 21 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:
     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any
                                                             2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                                  IL 02 70 09 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2. and 3. of the      Cancellation               3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the
                                                                  a. If this policy has been in effect for more
   following:
                                                                      than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                      issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                  the policy, of one or more of the following:
      previously issued, we may cancel this policy by                (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                   payment due on a prior policy we issued
      at the mailing address shown in the policy, and                     and due during the current policy term
      to the producer of record, advance written                          covering the same risks.
      notice of cancellation, stating the reason for                 (2) Discovery      of   fraud    or material
      cancellation, at least:                                             misrepresentation by:
       a. 10 days before the effective date of                           (a) Any insured or his or her
           cancellation if we cancel for:                                    representative in obtaining this
          (1) Nonpayment of premium; or                                      insurance; or
          (2) Discovery of fraud by:                                     (b) You or your representative in
            (a) Any insured or his or her                                    pursuing a claim under this policy.
                representative in obtaining this                     (3) A judgment by a court or an
                insurance; or                                            administrative tribunal that you have
            (b) You or your representative in                            violated a California or Federal law,
                pursuing a claim under this policy.                      having as one of its necessary elements
                                                                         an act which materially increases any of
      b. 30 days before the effective date of                            the risks insured against.
         cancellation if we cancel for any other
         reason.




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         (4) Discovery of willful or grossly negligent       B. The following provision is added to the
              acts or omissions, or of any violations of        Cancellation Common Policy Condition:
              state laws or regulations establishing            7. Residential Property
              safety standards, by you or your
              representative, which             materially         This provision applies to coverage on real
              increase       any of the risks insured              property which is used predominantly for
              against.                                             residential purposes and consisting of not
                                                                   more than four dwelling units, and to coverage
         (5) Failure by you or your representative to              on tenants’ household personal property in a
              implement reasonable loss control                    residential unit, if such coverage is written
              requirements, agreed to by you as a                  under one of the following:
              condition of policy issuance, or which
              were conditions precedent to our use of               Commercial Property Coverage Part
              a particular rate or rating plan, if that             Farm Coverage Part ---- Farm Property ---- Farm
              failure materially increases any of the               Dwellings,     Appurtenant     Structures   And
              risks insured against.                                Household Personal Property Coverage Form
         (6) A determination by the Commissioner of                 a. If such coverage has been in effect for 60
              Insurance that the:                                       days or less, and is not a renewal of
             (a) Loss of, or changes in, our                            coverage we previously issued, we may
                   reinsurance covering all or part of                  cancel this coverage for any reason, except
                   the risk would threaten our financial                as provided in b. and c. below.
                   integrity or solvency; or                        b. We may not cancel this policy solely
            (b) Continuation of the policy coverage                     because the first Named Insured has:
                   would:                                              (1) Accepted an offer of earthquake
                   (i) Place us in violation of California                 coverage; or
                       law or the laws of the state where              (2) Cancelled or did not renew a policy
                       we are domiciled; or                                issued by the California Earthquake
                  (ii) Threaten our solvency.                              Authority (CEA) that included an
                                                                           earthquake policy premium surcharge.
         (7) A change by you or your representative
             in the activities or property of the                       However, we shall cancel this policy if the
             commercial or industrial enterprise,                       first Named Insured has accepted a new or
             which results in a materially added,                       renewal policy issued by the CEA that
             increased or changed risk, unless the                      includes an earthquake policy premium
             added, increased or changed risk is                        surcharge but fails to pay the earthquake
             included in the policy.                                    policy premium surcharge authorized by the
                                                                        CEA.
      b. We will mail or deliver advance written
          notice of cancellation, stating the reason for            c. We may not cancel such coverage solely
          cancellation, to the first Named Insured, at                  because corrosive soil conditions exist on
          the mailing address shown in the policy,                      the premises. This restriction (c.) applies
          and to the producer of record, at least:                      only if coverage is subject to one of the
                                                                        following, which exclude loss or damage
         (1) 10 days before the effective date of                       caused by or resulting from corrosive soil
             cancellation         if    we cancel for                   conditions:
             nonpayment of premium or discovery of
                                                                       (1) Commercial Property Coverage Part ----
              fraud; or                                                     Causes Of Loss -- Special Form; or
         (2) 30 days before the effective date of                      (2) Farm Coverage Part ---- Causes Of Loss
             cancellation if we cancel for any other                        Form ---- Farm Property, Paragraph D.
             reason listed in Paragraph 3.a.                                Covered Causes Of Loss ---- Special.




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C. The following is added and supersedes any                          (2) The Commissioner of Insurance finds
   provisions to the contrary:                                            that the exposure to potential losses will
   Nonrenewal                                                             threaten our solvency or place us in a
                                                                          hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                        condition includes, but is not limited to,
      and C.3. below, if we elect not to renew this                       a condition in which we make claims
      policy, we will mail or deliver written notice,                     payments for losses resulting from an
      stating the reason for nonrenewal, to the first                     earthquake that occurred within the
      Named Insured shown in the Declarations, and                        preceding two years and that required a
      to the producer of record, at least 60 days, but                    reduction in policyholder surplus of at
      not more than 120 days, before the expiration                       least 25% for payment of those claims;
      or anniversary date.
                                                                          or
      We will mail or deliver our notice to the first
      Named Insured, and to the producer of record,                   (3) We have:
      at the mailing address shown in the policy.                         (a) Lost or experienced a substantial
   2. Residential Property                                                    reduction in the availability or scope
                                                                              of reinsurance coverage; or
      This provision applies to coverage on real
      property used predominantly for residential                        (b) Experienced a substantial increase
      purposes and consisting of not more than four                           in the premium charged for
      dwelling units, and to coverage on tenants’                             reinsurance     coverage      of   our
      household property contained in a residential                           residential    property      insurance
      unit, if such coverage is written under one of                          policies; and
      the following:                                                       the Commissioner has approved a plan
      Commercial Property Coverage Part                                    for the nonrenewals that is fair and
      Farm Coverage Part ---- Farm Property ---- Farm                      equitable, and that is responsive to the
      Dwellings,     Appurtenant    Structures    And                      changes in our reinsurance position.
      Household Personal Property Coverage Form
                                                                   c. We will not refuse to renew such coverage
      a. We may elect not to renew such coverage                       solely because the first Named Insured has
          for any reason, except as provided in b., c.                 cancelled or did not renew a policy, issued
          and d. below.                                                by the California Earthquake Authority, that
      b. We will not refuse to renew such coverage                     included an earthquake policy premium
          solely because the first Named Insured has                   surcharge.
          accepted an offer of earthquake coverage.                d. We will not refuse to renew such coverage
          However, the following applies only to                       solely because corrosive soil conditions
          insurers who are associate participating                     exist on the premises. This restriction (d.)
          insurers as established by Cal. Ins. Code                    applies only if coverage is subject to one of
          Section 10089.16. We may elect not to                        the following, which exclude loss
          renew such coverage after the first Named                     or damage caused by or resulting from
                                                                       corrosive soil conditions:
          Insured has accepted an offer of
          earthquake coverage, if one or more of the                  (1) Commercial Property Coverage Part ----
          following reasons applies:                                       Causes Of Loss -- Special Form; or
         (1) The nonrenewal is based on sound                         (2) Farm Coverage Part ---- Causes Of Loss
              underwriting principles that relate to the                   Form ---- Farm Property, Paragraph D.
              coverages provided by this policy and                        Covered Causes Of Loss ---- Special.
              that are consistent with the approved             3. We are not required to send notice of
              rating plan and related documents filed              nonrenewal in the following situations:
              with the Department of Insurance as
                                                                   a. If the transfer or renewal of a policy, without
              required by existing law;                                any changes in terms, conditions or rates,
                                                                       is between us and a member of our
                                                                       insurance group.




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      b. If the policy has been extended for 90 days              e. If the first Named Insured requests a
         or less, provided that notice has been given                change in the terms or conditions or risks
         in accordance with Paragraph C.1.                           covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                  end of the policy period.
         or if the first Named Insured has agreed, in             f. If we have made a written offer to the first
         writing, within 60 days of the termination of               Named Insured, in accordance with the
         the policy, to obtain that coverage.                        timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than               renew the policy under changed terms or
         60 days and you are notified at the time of                 conditions or at an increased premium rate,
         issuance that it will not be renewed.                       when the increase exceeds 25%.




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                                                                                                      IL 02 77 03 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LOUISIANA CHANGES --- CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. Paragraph 2. of the Cancellation Common Policy                  b. Cancellation Of Renewal Policies And New
   Condition is replaced by the following, which                       Policies In Effect For 60 Days Or More
   applies unless Paragraph B. of this endorsement                     If this policy has been in effect for 60 days
   applies:                                                            or more, or is a renewal of a policy we
   2. Notice Of Cancellation                                           issued, we may cancel only for one or more
      a. Cancellation Of Policies In Effect For Fewer                  of the following reasons:
          Than 60 Days Which Are Not Renewals                         (1) Nonpayment of premium;
          If this policy has been in effect for fewer                 (2) Fraud or material misrepresentation
          than 60 days and is not a renewal of a                           made by you or with your knowledge
          policy we issued, we may cancel this policy                      with the intent to deceive in obtaining
          for any reason, subject to the following:                        the policy, continuing the policy, or in
         (1) Cancellation     for    nonpayment       of                   presenting a claim under the policy;
              premium:                                                (3) Activities or omissions by you which
              We may cancel this policy by mailing or                      change or increase any hazard insured
              delivering to the first Named Insured                        against;
              written notice of cancellation at least 10              (4) Change in the risk which increases the
              days before the effective date of                            risk of loss after we issued or renewed
              cancellation.                                                this policy, including an increase in
         (2) Cancellation for any other reason:                            exposure due to regulation, legislation,
                                                                           or court decision;
              We may cancel this policy by mailing or
              delivering to the first Named Insured                   (5) Determination by the Commissioner of
              written notice of cancellation at least 60                   Insurance that the continuation of this
              days before the effective date of                            policy would jeopardize our solvency or
              cancellation.                                                would place us in violation of the
                                                                           insurance laws of this or any other state;




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         (6) The insured s violation or breach of any               b. If the first Named Insured cancels, the
              policy terms or conditions; or                           refund will not be less than 90% of the pro
         (7) Any other reasons that are approved by                    rata unearned premium, rounded to the
              the Commissioner of Insurance.                           next higher whole dollar. The refund will be
                                                                       returned within 30 days after the effective
              We will mail or deliver written notice of                date of cancellation.
              cancellation under Paragraph A.2.b. to
              the first Named Insured at least:                     c. We will send the refund to the first Named
                                                                       Insured unless Paragraph C.5.d. or C.5.e.
             (a) 10 days before the effective date of                  applies.
                  cancellation if we cancel for
                  nonpayment of premium; or                         d. If we cancel based on Paragraph B.2. of
                                                                        this endorsement, we will return the
             (b) 30 days before the effective date of                   premium due, if any, within 10 days after the
                  cancellation if we cancel for a reason                expiration of the 10-day period referred to in
                  described in Paragraphs A.2.b.(2)                     B.2.c. If the policy was financed by a
                  through (7) above.                                    premium finance company, or if payment
B. Paragraph 2. of the Cancellation Common Policy                       was advanced by the insurance agent, we
   Condition is replaced by the following, which                        will send the return premium directly to
   applies with respect to premium payments due on                      such payor.
   new and renewal policies, including installment                  e. With respect to any cancellation of the
   payments:                                                            Commercial Auto Coverage Part, we will
   2. Notice Of Cancellation                                            send the return premium, if any, to the
      a. If your premium payment check or other                         premium finance company if the premium
          negotiable instrument is returned to us or                    was financed by such company.
          our agent or a premium finance company                     f. When return premium payment is sent to
          because it is uncollectible for any reason,                   the premium finance company or the agent
          we may cancel the policy subject to                           of the insured, we will provide notice to
          Paragraphs B.2.b. and B.2.c.                                  you, at the time of cancellation, that a return
      b. We may cancel the policy effective from the                    of unearned premium may be generated by
          date the premium payment was due, by                          the cancellation.
          sending you written notice by certified mail,      D. With respect to the Equipment Breakdown
          or by delivering such notice to you within            Coverage Part, Paragraph 5. of the Cancellation
          10 days of the date that we receive notice of         Common Policy Condition is replaced by the
          the     returned    check     or    negotiable        following:
          instrument.                                           5. Premium Refund
       c. The cancellation notice will also advise you              If this policy is cancelled, we will return any
           that the policy will be reinstated effective             premium refund due, subject to Paragraphs
           from the date the premium payment was                    D.5.a., D.5.b., D.5.c., D.5.d. and D.5.e. The
           due, if you present to us a cashier s check              cancellation will be effective even if we have not
           or money order for the full amount of the                made or offered a refund.
           returned check or other negotiable
           instrument within 10 days of the date that                a. If we cancel, the refund will be pro rata.
           the cancellation notice was mailed.                      b. If the first Named Insured cancels, the
C. With respect to the Coverage Parts and Policies to                   refund will not be less than 75% of the pro
   which this endorsement applies, except the                           rata unearned premium, rounded to the
   Equipment Breakdown Coverage Part, Paragraph                         next higher whole dollar. The refund will be
   5. of the Cancellation Common Policy Condition is                    returned within 30 days after the effective
   replaced by the following:                                           date of cancellation.
   5. Premium Refund                                                 c. We will send the refund to the first Named
                                                                        Insured unless Paragraph D.5.d. applies.
       If this policy is cancelled, we will return any
       premium refund due, subject to Paragraphs
       C.5.a., C.5.b., C.5.c., C.5.d., C.5.e. and C.5.f.
       The cancellation will be effective even if we
       have not made or offered a refund.
       a. If we cancel, the refund will be pro rata.



Page 2 of 3                               Insurance Services Office, Inc., 2011                         IL 02 77 03 12


                                                                                            EXHIBIT C PAGE 30
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      d. If we cancel based on Paragraph B.2. of                        If we cancel a policy that has been in effect
          this endorsement, we will return the                          for 60 days or more, or is a renewal of a
          premium due, if any, within 10 days after the                 policy we issued, we will give written notice
          expiration of the 10-day period referred to in                to the mortgageholder, pledgee or other
          B.2.c. If the policy was financed by a                        known person shown in the policy to have
          premium finance company, or if payment                        an insurable interest in any loss, at least:
          was advanced by the insurance agent, we                      (1) 10 days before the effective date of
          will send the return premium directly to                          cancellation,     if  we     cancel      for
          such payor.                                                       nonpayment of premium; or
       e. When return premium payment is sent to                       (2) 30 days before the effective date of
          the premium finance company or the agent                          cancellation, if we cancel for any other
          of the insured, we will provide notice to                         reason.
          you, at the time of cancellation, that a return
          of unearned premium may be generated by            G. The following is added and supersedes any other
          the cancellation.                                     provision to the contrary:
E. The Premiums Common Policy Condition is                      Nonrenewal
   replaced by the following:                                   1. If we decide not to renew this policy, we will
   Premiums                                                        mail or deliver written notice of nonrenewal to
                                                                   the first Named Insured, mortgageholder,
   1. The first Named Insured shown in the                         pledgee or other known person shown in the
      Declarations is responsible for the payment of               policy to have an insurable interest in any loss,
      all premiums.                                                at least 60 days before its expiration date, or its
   2. We will pay return premiums, if any, to the first            anniversary date if it is a policy written for a
      Named Insured, unless another person or                      term of more than one year or with no fixed
      entity is entitled to be the payee in accordance             expiration date.
      with Paragraph C. or D. of this endorsement.              2. We need not mail or deliver this notice if:
F. Paragraph f. of the Mortgageholders Condition in                a. We or another company within our
   the Commercial Property Coverage Part, Standard                      insurance group have offered to issue a
   Property Policy and the Capital Assets Program                       renewal policy; or
   (Output Policy) Coverage Part, and Paragraph 4.f.
   of the Mortgageholders Condition in the Farm                    b. You have obtained replacement coverage or
   Coverage Part are replaced by the following:                         have agreed         in writing to obtain
                                                                        replacement coverage.
           If we cancel a policy that has been in effect
           for fewer than 60 days and is not a renewal          3. Any notice of nonrenewal will be mailed or
           of a policy we issued, we will give written             delivered to the first Named Insured,
           notice to the mortgageholder, pledgee or                mortgageholder, pledgee or other known
           other known person shown in the policy to               person shown in the policy to have an
           have an insurable interest in any loss, at              insurable interest in any loss, at the last mailing
           least:                                                  address known to us. If notice is mailed, proof
                                                                   of mailing will be sufficient proof of notice.
          (1) 10 days before the effective date of
               cancellation,    if   we    cancel    for        4. Such notice to the insured shall include the
               nonpayment of premium; or                           insured s loss run information for the period
                                                                   the policy has been in force within, but not to
          (2) 60 days before the effective date of                 exceed, the last three years of coverage.
               cancellation, if we cancel for any other
               reason.




IL 02 77 03 12                            Insurance Services Office, Inc., 2011                            Page 3 of 3


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                                                                              IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                              ISO Properties, Inc., 2007           Page 1 of 1


                                                                         EXHIBIT C PAGE 32
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                                                                                                        IL 01 12 06 10

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       FLORIDA CHANGES --- MEDIATION OR APPRAISAL
          (COMMERCIAL RESIDENTIAL PROPERTY)
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY


With respect to a loss to commercial residential               2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                     without good cause, we will pay your actual
Condition:                                                         cash expenses you incur in attending the
Mediation Or Appraisal                                             mediation conference and also pay the total
                                                                   cost of the rescheduled mediation conference.
If we and you:
                                                            B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either          amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance           the loss, in writing. In this event, each party will
   with the rules established by the Florida                   select a competent and impartial appraiser. The
   Department of Financial Services. The loss amount           two appraisers will select an umpire. If they cannot
   must be $500 or more, prior to application of the           agree, either may request that selection be made
   deductible; or there must be a difference of $500           by a judge of a court having jurisdiction. The
   or more between the loss settlement amount we               appraisers will state separately the value of the
   offer and the loss settlement amount that you               property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation          they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on       decision agreed to by any two will be binding.
   a settlement, and you have not rescinded the                Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                  2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                   umpire equally.
   We will pay the cost of conducting the mediation            If there is an appraisal, we will still retain our right
   conference. However, if:                                    to deny the claim.
   1. You fail to appear at the mediation conference           However, you are not required to submit to, or
       and you wish to schedule a new conference               participate in, any appraisal of the loss as a
       after failing to appear, then the new conference        precondition to action against us for failure to pay
       will be scheduled only upon your payment of a           the loss, if we:
       sum equal to the fees we paid for the mediation         1. Requested mediation and either party rejected
       conference at which you failed to appear. This              the mediation result; or
       sum will then be applied to the cost of the
       rescheduled mediation conference, and we will           2. Failed to notify you of your right to participate
       pay the balance, if any, of the cost of                     in the mediation program.
       conducting       the    rescheduled    mediation
       conference; or




IL 01 12 06 10                           Insurance Services Office, Inc., 2009                            Page 1 of 1


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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




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Florida Insurance Guaranty Association
2012 Regular Assessment


The Florida Insurance Guaranty Association, Inc. ("FIGA") pays the claims of insolvent property and casualty insurance
companies. FIGA has statutory authority to fund its deficits through assessments based on the premium of subject lines of
property and casualty insurance.
To secure funds for the payment of covered claims and to pay the reasonable costs to administer the same, FIGA has
imposed a 2012 Regular Assessment on premium for the following lines: Fire, allied lines, farmowners multiple peril,
homeowners multiple peril, commercial multiple peril (non-liability portion), commercial multiple peril (liability portion),
inland marine, medical malpractice, earthquake, other liability, other liability – occurrence, other liability - claims made,
products liability, products liability – occurrence, products liability – claims made, aircraft (all perils), burglary and theft,
and boiler and machinery.
For new and renewal policies effective on or after May 1, 2014, a 0.14% regular assessment applies to premium for the
subject lines.


2012 FIGA Regular Assessment


The assessment is not subject to fees, or commissions.




                                                                                                                U-GU-1005-D FL (05/14)
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                                                                                                 COMMON POLICY DECLARATIONS

Policy Number        CPO 5912284-02                                      Renewal of Number          CPO 5912284-01
Named Insured and Mailing Address                                    Producer and Mailing Address
OMNICELL INC                                                         MARSH RISK & INSURANCE SERVICES
(SEE NAMED INSURED ENDT)                                             1732 N 1ST ST STE 400
590 E MIDDLEFIELD RD                                                 SAN JOSE CA 95112-4508
MOUNTAIN VIEW CA 94043-4008
                                                           Producer Code    70074-000
Policy Period: Coverage begins            09-01-2014 at 12:01 A.M.; Coverage ends 09-01-2015 at 12:01 A.M.
The name insured is              Individual                   Partnership             X     Corporation
                                   Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
PROPERTY PORTFOLIO PROTECTION                                                                     PREMIUM            $      151,304.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
GENERAL LIABILITY COVERAGE                                                                        PREMIUM            $        69,099.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
BUSINESS AUTOMOBILE                                                                               PREMIUM            $        51,968.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
CA-AUTO SPECIAL PURPOSE SURCHARGE                                                                                    $                5.25
FL-HURRICANE CAT FUND ASSESSMENT                                                                                     $              676.44
CA Seismic Safety Fee                                                                                                $                 .45
STATE FIRE MARSHALL REG ASSESS SURCHG                                                                                $               45.13
FL-DEPT OF REVENUE SURCHARGE                                                                                         $                4.00
2012 FIGA REGULAR ASSESSMENT                                                                                         $               64.91
2005 FL CITIZENS EMERGENCY SURCHARGE                                                                                 $              451.33




THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                       TOTAL               $       272,371.00
This premium does not include Taxes and Surcharges.                                           SEE INSTALLMENT SCHEDULE
Taxes and Surcharges                                                        TOTAL               $         1,247.51
                                                                                              SEE INSTALLMENT SCHEDULE
Form(s) and Endorsement(s) made a part of this policy at time of issue are listed on the SCHEDULE of FORMS and
ENDORSEMENTS.
Countersigned this                    day of
                                                                                               Authorized Representative

  THIS DECLARATION TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


                                                                                                                           U-GU-D-365-A (03/ 94)
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                                                                                  INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amounts shown below.

         Premium                    Service Charge                    Total Due                     Date Due

 $        90,700.00                                         $         91,947.51                   09/01/14
 $        60,557.00                                         $         60,557.00                   12/01/14
 $        60,557.00                                         $         60,557.00                   03/01/15
 $        60,557.00                                         $         60,557.00                   06/01/15




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.
                                                                                                        U-GU-315-A (01/ 93)
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                                                                                                                Last page


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                                                             Policy Number
                                                             CPO 5912284-02
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                             Zurich American Insurance Company

Named Insured   OMNICELL INC                                              Effective Date: 09-01-14
                                                                            12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVICES                           Agent No.   70074-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-D-365-A                 03-94     POLICY COMMON DECLARATIONS
U-GU-319-F                   01-09     IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-681-B                   01-08     EXCLUSION OF CERTIFIED ACTS OF TERRORISM
U-GU-686-B CW                01-06     CONDITIONAL EXCLUSION TERRORISM
U-GU-692-C CW                06-13     DISCL OF PREM. RELATING TO DISP. OF TRIA
U-GU-767-A CW                01-08     CAP ON LOSSES FROM CERTIFIED ACTS OF TER
U-GU-618-A CW                10-02     SCHEDULE OF LOCATIONS
IL 00 17                     11-98     COMMON POLICY CONDITIONS
IL 00 21                     09-08     NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 70                     09-12     CA CHANGES - CANCELLATION & NONRENEWAL
IL 02 77                     03-12     LOUISIANA CHANGES-CANC & NONRENL
IL 00 03                     09-08     CALCULATION OF PREMIUM
IL 01 12                     06-10     FL CHGS-MEDIATION/APPRL (CMML RES PROP)
U-GU-315-A                   01-93     SCHEDULE OF INSTALLMENTS
U-GU-619-A CW                10-02     SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-621-A CW                10-02     SCHEDULE OF NAMED INSURED(S)
PROPERTY PORTFOLIO PROTECTION FORMS AND ENDORSEMENTS
PPP-0001                     06-06     COMMERCIAL PROP CVG PART DECLARATIONS
PPP-0101                     03-14     COMMERCIAL PROP CVG PART GEN PROVISIONS
PPP-0102                     03-14     COMMERCIAL PROPERTY CONDITIONS
PPP-0103                     03-14     COMMERCIAL PROPERTY DEFINITIONS
PPP-0110                     03-14     REAL AND PERSONAL PROPERTY COVERAGE FORM
PPP-0111                     03-14     ADDITIONAL COVERAGES FORM
PPP-0112                     03-14     ACCOUNTS RECEIVABLE CVG (REVENUE LOSS)
PPP-0114                     03-14     FINE ARTS COVERAGE FORM
PPP-0115                     03-14     INSTALLATION & SERVICE PROPERTY CVG FORM
PPP-0116                     03-14     ORIGINAL INFORMATION PROPERTY CVG FORM
PPP-0117                     03-14     TRANSIT COVERAGE FORM
PPP-0131                     03-14     BUS INCCVG FORM INCL RESEARCH & DEVEL.
PPP-0132                     03-14     EXTRA EXPENSE COVERAGE FORM
PPP-0226                     06-06     WIND & HAIL -- DD & TE DEDUCTIBLE
PPP-0301                     03-14     DED PREM BI COVG--SCHED LIMITS & LOCS
PPP-0302                     03-14     DEP PREM BI CVG -- UNSCHEDULED LOCS
PPP-0308                     06-06     ENABLING ENDORSEMENT
PPP-0310                     03-14     FLOOD COVERAGE
PPP-0321                     03-14     OFF-PREM SERVICE INTERRUPTION--TE
PPP-1041                     03-11     CALIFORNIA CHANGES
PPP-1091                     04-13     FLORIDA CHANGES
CP 02 99                     11-85     CANCELLATION CHANGES
GENERAL LIABILITY FORMS AND ENDORSEMENTS
CG 21 47                     12-07     EMPLOYMENT-RELATED PRACTICES EXCLUSION
UGL1171ACW                   07-03     FUNGI OR BACTERIA EXCLUSION
U-GL-1369-B CW               04-13     GL SUPPLEMENTAL COVERAGE ENDT TECHNOLOGY
U-GL-1370-B CW               04-13     GL SUPPLEMENTAL COV ENDT TECH QUICK REF
U-GL-1517-B CW               04-13     RECORD OR DISTRB OF MATRL OR INFO EXCL
U-GL-849-B CW                08-04     EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
U-GL-D-1115-B CW             09-04     COMMERCIAL GL COVERAGE PART DECLARATIONS
U-GL-D-849-B CW              09-04     EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
CG 00 01                     04-13     COMMERCIAL GENERAL LIABILITY COV FORM
   U-GU-619-A CW (10/ 02)

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                                                           Policy Number
                                                           CPO 5912284-02
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC                                            Effective Date: 09-01-14
                                                                          12:01 A.M., Standard Time
Agent Name MARSH RISK & INSURANCE SERVICES                    Agent No. 70074-000
U-GL-1178ACW          07-03    ASBESTOS EXCLUSION ENDORSEMENT
U-GL-872-B CW         04-09    PREMIUM & REPORTS AGREEMENT-COMP RATED
CG 32 34              01-05    CALIFORNIA CHANGES
UGL850ACW             07-96    DEDUCTIBLE ENDORSEMENT CLAIMS-MADE
CG 22 75              04-13    PROF LIAB EXCL-COMPUTER SOFTWARE
AUTOMOBILE FORMS AND ENDORSEMENTS
CA 02 67                    11-12     FL CHANGES - CANCELLATION AND NONRENEWAL
U-CA-531-B                  02-08     NOTICE REGARDING TERRORISM PREMIUM
U-CA-D-600-C                04-14     BUSINESS AUTO DECLARATIONS
CA 00 01                    10-13     BUSINESS AUTO COVERAGE FORM
CA 01 22                    10-13     KANSAS CHANGES
CA 01 43                    10-13     CALIFORNIA CHANGES
CA 21 48                    10-13     LA UM COVERAGE - BODILY INJURY
CA 21 54                    10-13     CA UM COVERAGE - BODILY INJURY
CA 21 72                    10-09     FL UNINSURED MOTORISTS COV - NON STACKED
CA 04 24                    10-13     CA - AUTO MEDICAL PAYMENTS COVERAGE
U-CA-424-F CW               04-14     COVERAGE EXTENSION ENDORSEMENT
CA 99 03                    03-06     AUTO MEDICAL PAYMENTS COVERAGE
CA 99 03                    10-13     AUTO MEDICAL PAYMENTS COVERAGE




   U-GU-619-A CW (10/ 02)

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                                                                Policy Number
                                                                CPO 5912284-02
                                 SCHEDULE OF NAMED INSURED(S)

              ZURICH AMERICAN INSURANCE COMPANY

 Named Insured    OMNICELL INC                                  Effective Date:      09-01-14
                                                                         12:01 A.M., Standard Time
 Agent Name       MARSH RISK & INSURANCE SERVICES               Agent No.        70074-000
                                 NAMED INSURED
OMNICELL INC
OMNICELL HEALTHCARE CANADA
OMNICELL EUROPE, SARL
SURE MED
OMNICELL.COM
OMNICELL TECHNOLOGIES, INC.
MEDISAFE
APRS, INC.
BCX TECHNOLOGY
OMNICELL CORPORATION (INDIA) PVT LTD
OMNICELL INC - SPAIN
RIOUX VISION, INC.
PANDORA DATA SYSTEMS
OMNICELL INTERNATIONAL, INC., DUBAI - UAE
MTS PACKAGING INC
MEDPAK HOLDINGS INC
MTS PACKAGING SYSTEMS, INC.
MTS MEDICATION TECHNOLOGIES INC
MTS MEDICATION TECHNOLOGIES LTD.
MTS PACKAGING SYSTEMS, INC.
MTS MEDICATION TECHNOLOGIES GMBH
OMNICELL INTERNATIONAL, INC., HONG KONG BRANCH
OMNICELL INTERNATIONAL, INC., AUSTRALIA BRANCH
OMNICELL TECHNOLOGY (BEIJING) CO., LTD.
OMNICELL INTERNATIONAL, INC.




U-GU-621-A CW (10/ 02)

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                                                              Policy Number
                                                              CPO 5912284-02
                                      SCHEDULE OF LOCATIONS

                         Zurich American Insurance Company

 Named Insured    OMNICELL INC                                Effective Date: 09-01-14
                                                                        12:01 A.M., Standard Time
 Agent Name      MARSH RISK & INSURANCE SERVICES              Agent No.     70074-000
Loc. Bldg.                     Designated Locations                          Occupancy
No.    No.                 (Address, City, State, Zip Code)
001 001 590 E MIDDLEFIELD
        MOUNTAIN VIEW, CA 94043

002 001 3661 BURWOOD DR
        WAUKEGAN, IL 60085

003 001 443 DONELSON PIKE
        STE 200
        NASHVILLE, TN 37214

004 001 2003 GANDY BLVD
        ST PETERSBURG, FL 33702

005 001 21540 DRAKE RD
        STRONGSVILLE, OH 44149

006 001 5501-A AIRPORT BLVD
        TAMPA, FL 33634

007 001 725 SYCAMORE DR
        MILPITAS, CA 95035

008 001 800 MILIPITAS BLVD.
        MILPITAS, CA 95035




U-GU-618-A CW (10/ 02)

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2014    To:  9/1/2015
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         1                     PREMISES ADDRESS
                                         590 E MIDDLEFIELD
                                         MOUNTAIN VIEW, CA 94043


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                             1

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2014    To:  9/1/2015
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         2                    PREMISES ADDRESS
                                        3661 BURWOOD DR
                                        WAUKEGAN, IL 60085


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




PPP-0001 (06 06)                                                                            2

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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2014    To:  9/1/2015
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         3                    PREMISES ADDRESS
                                        443 DONELSON PIKE
                                        STE 200
                                        NASHVILLE, TN 37214


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2014    To:  9/1/2015
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         4                     PREMISES ADDRESS
                                         2003 GANDY BLVD
                                         ST PETERSBURG, FL 33702


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           950,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                           POLICY PERIOD:
OMNICELL INC                             From:    9/1/2014    To:  9/1/2015
                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                         ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         5                    PREMISES ADDRESS
                                        21540 DRAKE RD
                                        STRONGSVILLE, OH 44149


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                           POLICY PERIOD:
OMNICELL INC                             From:    9/1/2014    To:  9/1/2015
                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                         ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         6                    PREMISES ADDRESS
                                        5501-A AIRPORT BLVD
                                        TAMPA, FL 33634


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2014    To:  9/1/2015
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         7                    PREMISES ADDRESS
                                        725 SYCAMORE DR
                                        MILPITAS, CA 95035


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2014    To:  9/1/2015
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-02

SUMMARY OF PREMISES

PREMISES #         8                    PREMISES ADDRESS
                                        800 MILIPITAS BLVD.
                                        MILPITAS, CA 95035


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       NOT COVERED

BUSINESS INCOME                         NOT COVERED

ACCOUNTS RECEIVABLE (REVENUE LOSS)      $           250,000

OFF-PREMISES SERVICE                    $           100,000
 INTERRUPTION--DIRECT DAMAGE

ORIGINAL INFORMATION PROPERTY           $           250,000

POLLUTANT CLEAN UP AND REMOVAL--LAND    $            25,000
 AND WATER


DEDUCTIBLE                              AMOUNT

PROPERTY                                $             5,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2014    To:  9/1/2015
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:                CPO 5912284-02

BLANKET LIMITS OF INSURANCE



PERSONAL PROPERTY BLANKET LIMIT OF INSURANCE                                                $     39,997,194

The above Limit of Insurance is the most we will pay for direct physical loss or damage in
any one occurrence for all "personal property" at "premises" for which the Limit of
Insurance is shown as Included in Blanket Limit of Insurance. If "personal property"
coverage does not apply at any specific "premises", the Limit of Insurance will show as
Not Covered for those "premises". If a more specific Limit of Insurance is shown for
"personal property" at a "premises", that Limit of Insurance replaces, and is not in addition
to, the Blanket Limit of Insurance.

BUSINESS INCOME AND EXTRA EXPENSE BLANKET LIMIT OF INSURANCE                                $     20,000,000

The above Limit of Insurance is the most we will pay for in any one occurrence for all loss
of "business income" and "extra expense" at "premises" for which the Limit of Insurance
is shown as Included in Blanket Limit of Insurance. If "business income" or "extra
expense" coverage does not apply at any specific "premises", the Limit of Insurance will
show as Not Covered for those "premises". If a more specific Limit of Insurance is shown
for "business income" or "extra expense" at a "premises", that Limit of Insurance
replaces, and is not in addition to, the Blanket Limit of Insurance.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2014    To:  9/1/2015
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-02

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

CIVIL AUTHORITY
 BUSINESS INCOME                                                     30 DAYS
 EXTRA EXPENSE                                                       30 DAYS

CONSEQUENTIAL LOSS--NET LEASEHOLD                      $         25,000 PER PREMISES
 INTEREST

CONSEQUENTIAL LOSS--TENANT'S                           $       250,000 PER PREMISES
 IMPROVEMENTS AND BETTERMENTS

CONSEQUENTIAL LOSS--UNDAMAGED STOCK                    $       250,000 PER PREMISES

CONTAMINATION BY A REFRIGERANT                         $         25,000 PER PREMISES

CONTRACTUAL PENALTIES--BUSINESS INCOME $                         25,000 PER OCCURRENCE

DEBRIS REMOVAL--COVERED PROPERTY                                          COVERED

DEBRIS REMOVAL--SUPPLEMENTAL LIMIT                     $       500,000 PER OCCURRENCE

DEBRIS REMOVAL--UNCOVERED PROPERTY                     $          2,500 PER OCCURRENCE

DEFERRED PAYMENTS                                      $         50,000 PER OCCURRENCE

DELAYED NET INCOME                                                        INCLUDED

DEPENDENT BUSINESS INCOME--UNSCHEDULED$                      2,000,000 PER OCCURRENCE
 LOCATIONS




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2014    To:  9/1/2015
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-02

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

ELECTRONIC VANDALISM
  BUSINESS INCOME                                      $        25,000 ANNUAL AGGREGATE
  DIRECT DAMAGE                                        $       100,000 ANNUAL AGGREGATE

EXPEDITING EXPENSE                                     $         25,000 PER PREMISES

EXPENSE TO REDUCE LOSS--BUSINESS INCOME                                   COVERED

EXTENDED PERIOD OF INDEMNITY--BUSINESS                                    UNLIMITED
 INCOME

EXTRA EXPENSE                                          $         25,000 PER PREMISES

FAIRS OR EXHIBITIONS
  BUSINESS INCOME                                      $         10,000 PER OCCURRENCE
  PERSONAL PROPERTY                                    $         25,000 PER OCCURRENCE

FIRE DEPARTMENT SERVICE CHARGE                         $       250,000 PER PREMISES

FIRE PROTECTIVE EQUIPMENT REFILLS                                         COVERED

FOOD AND DRUG ADMINISTRATION (FDA)                                        INCLUDED
 RECERTIFICATION--BUSINESS INCOME

INFLATION GUARD
  PERSONAL PROPERTY                                                    4 % ANNUAL

INGRESS/EGRESS
  BUSINESS INCOME                                                    30 DAYS
  EXTRA EXPENSE                                                      30 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2014    To:  9/1/2015
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-02

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

LOCK AND KEY REPLACEMENT                               $         25,000 PER PREMISES

MICROORGANISMS                                         $         50,000 ANNUAL AGGREGATE

MICROORGANISMS--BUSINESS INCOME                        $         25,000 ANNUAL AGGREGATE

NEWLY ACQUIRED PREMISES
 REAL PROPERTY                                         $    2,000,000 FOR 180 DAYS
 PERSONAL PROPERTY                                     $    1,000,000 FOR 180 DAYS
 BUSINESS INCOME                                       $      250,000 FOR 180 DAYS
 EXTRA EXPENSE                                         $       25,000 FOR 180 DAYS
                                                       THE ABOVE LIMITS APPLY SEPARATELY TO EACH
                                                       NEWLY ACQUIRED PREMISES

NEWLY ACQUIRED PROPERTY
 REAL PROPERTY                                         $       250,000 PER PREMISES FOR 180 DAYS
 PERSONAL PROPERTY                                     $       250,000 PER PREMISES FOR 180 DAYS

OFF-PREMISES SERVICE INTERRUPTION--DIRECT$                   1,000,000 PER PREMISES
 DAMAGE

OUTDOOR TREES, SHRUBS, PLANTS, OR LAWNS$                       250,000 PER PREMISES
                                       $                         5,000 PER TREE, SHRUB, PLANT, OR
                                                                       LAWN


POLLUTANT CLEAN UP AND REMOVAL--LAND AND$                        50,000 ANNUAL AGGREGATE PER
 WATER                                                                  PREMISES

PRESERVATION OF PROPERTY                                            180 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2014    To:  9/1/2015
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-02

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

PROFESSIONAL FEES                                      $         25,000 PER OCCURRENCE

REPORTED UNSCHEDULED PREMISES
 REAL PROPERTY                                                            NOT COVERED
 PERSONAL PROPERTY                                                        NOT COVERED
 BUSINESS INCOME                                                          NOT COVERED
 EXTRA EXPENSE                                                            NOT COVERED

REWARD PAYMENTS                                        $         25,000 PER OCCURRENCE

SALESPERSONS SAMPLES                                   $         25,000 PER OCCURRENCE

SPOILAGE--EQUIPMENT BREAKDOWN                          $       100,000 PER PREMISES

THEFT DAMAGE TO BUILDINGS                                                 COVERED

UNREPORTED PREMISES
 REAL PROPERTY                                         $       100,000    PER UNREPORTED PREMISES
 PERSONAL PROPERTY                                     $       500,000    PER UNREPORTED PREMISES
 EXTRA EXPENSE                                         $       250,000    PER UNREPORTED PREMISES
 BUSINESS INCOME                                       $       250,000    PER UNREPORTED PREMISES




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC                                           From:    9/1/2014    To:  9/1/2015
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-02

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

ACCOUNTS RECEIVABLE (REVENUE LOSS)                    $        500,000 PER PREMISES
ACCOUNTS RECEIVABLE (REVENUE                          $        500,000 PER OCCURRENCE
 LOSS)--AWAY FROM PREMISES

FINE ARTS                                             $         25,000 PER PREMISES
FINE ARTS--AWAY FROM PREMISES                         $         25,000 PER OCCURRENCE

INSTALLATION AND SERVICE PROPERTY
    STOCK TO BE INSTALLED                             $         50,000 PER OCCURRENCE--INSTALLATION
                                                                       PREMISES
                                                      $         50,000 PER OCCURRENCE--TEMPORARY
                                                                       STORAGE LOCATION
                                                      $         50,000 PER OCCURRENCE--TRANSIT
     TOOLS AND EQUIPMENT
       SCHEDULED EQUIPMENT                                             NOT COVERED
       UNSCHEDULED TOOLS & EQUIPMENT                $         1,000 PER ANY ONE ITEM
                                                    $        50,000 PER OCCURRENCE
        Unscheduled tools and equipment coverage is intended for items valued at or less than the limit per
         any one item shown above. An item valued at more than this limit must be specifically scheduled or
         no coverage applies to that item.

ORIGINAL INFORMATION PROPERTY                         $        500,000 PER PREMISES
ORIGINAL INFORMATION PROPERTY--AWAY                   $        500,000 PER OCCURRENCE
 FROM PREMISES

TRANSIT
   PERSONAL PROPERTY                                  $         25,000 PER OCCURRENCE
   BUSINESS INCOME                                    $         10,000 PER OCCURRENCE



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                            POLICY PERIOD:
OMNICELL INC                                              From:    9/1/2014    To:  9/1/2015
                                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                          ADDRESS

POLICY NUMBER:              CPO 5912284-02

DEDUCTIBLES

GENERAL DEDUCTIBLES

  PROPERTY DEDUCTIBLE                                 $            100,000 PER OCCURRENCE

  The above deductible applies to all loss, damage, cost, or expense covered by this Commercial Property
  Coverage Part, unless a specific coverage deductible is shown elsewhere on this Declarations or an
  endorsement.

  BUSINESS INCOME AND EXTRA EXPENSE                                      24 HOURS
    WAITING PERIOD

  The above waiting period applies to all loss or expense covered by Business Income and Extra Expense
  coverages contained in this Commercial Property Coverage Part, unless a specific coverage deductible
  is shown elsewhere on this Declarations or an endorsement.

  OFF PREMISES SERVICE                                                   24 HOURS
    INTERRUPTION--TIME ELEMENT WAITING
    PERIOD

  The above waiting period applies to all loss or expense covered by Off-Premises Service Interruption--Time
  Element coverage contained in this Commercial Property Coverage Part.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2014    To:  9/1/2015
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:               CPO 5912284-02

DEDUCTIBLES

CATASTROPHE PERIL DEDUCTIBLES

  FLOOD DEDUCTIBLES

  Loss or damage to Covered Property caused by "flood" is subject to separate deductible amounts. The
  deductibles applicable to "flood" are stated in the Summary of Premises section of this Declarations for
  that specific "premises" . If the Flood coverage applies to loss or damage at "reported unscheduled
  premises" , the deductible amounts for "reported unscheduled premises" are stated on the Catastrophe
  Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Flood Deductibles only apply to loss or damage that, but for the application of the Deductibles, would
  be paid by us under this Commercial Property Coverage Part.

  WIND AND HAIL DEDUCTIBLES

  Loss or damage to Covered Property caused by wind or hail is subject to separate deductible amounts.
  The deductibles applicable to wind and hail are stated in the Summary of Premises section of this
  Declarations for that specific "premises" . If the Wind and Hail Deductibles apply to loss or damage at
  "reported unscheduled premises" , the deductible amounts for "reported unscheduled premises"
  are stated on the Catastrophe Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Wind and Hail Deductibles only apply to loss or damage that, but for the application of the Deductibles,
  would be paid by us under this Commercial Property Coverage Part.

APPLICATION OF MULTIPLE DEDUCTIBLES

  Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we
  will apply each deductible separately, but the total of all deductible amounts applied will not exceed the
  highest applicable deductible for loss or damage to Covered Property and the highest applicable deductible
  for loss under "time element coverage" . This provision does not apply to Covered Property and "time
  element coverage" for covered loss or damage due to "earth movement", "flood", "named storm",
  or to wind or hail when a separate Wind and Hail Deductible is applicable.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                        POLICY PERIOD:
OMNICELL INC                                          From:    9/1/2014    To:  9/1/2015
                                                      12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                      ADDRESS

POLICY NUMBER:              CPO 5912284-02

CATASTROPHE COVERAGE--LIMITS OF INSURANCE AND DEDUCTIBLES

Catastrophe Coverages shown below apply only at those "premises" that show an applicable Limit of Insurance for
that Catastrophe Coverage in the Summary of Premises section of this Declarations. If coverage applies at "reported
unscheduled premises", those Limits of Insurance and Deductibles are shown below.

CATASTROPHE COVERAGE                           LIMIT OF INSURANCE AND DEDUCTIBLES



FLOOD
 PREMISES                                      SEE SUMMARY OF PREMISES SECTION
 OCCURRENCE                                    $      1,000,000
 ANNUAL AGGREGATE                              $      1,000,000
 DEDUCTIBLE                                    SEE SUMMARY OF PREMISES SECTION

WIND AND HAIL--DIRECT DAMAGE AND TIME
 ELEMENT
  DEDUCTIBLE                          SEE SUMMARY OF PREMISES SECTION




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Commercial Property Coverage Part
General Provisions

IMPORTANT INFORMATION ABOUT THIS COMMERCIAL PROPERTY COVERAGE PART. PLEASE READ IT
CAREFULLY.


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and what
is and what is not covered.

DEFINITIONS AND MEANINGS

Throughout this Commercial Property Coverage Part, the words "you" and "your" refer to the Named Insured shown on
the Commercial Property Coverage Part Declarations. The words "we", "us", and "our" refer to the Company providing
this insurance coverage.

The word "occurrence" includes all losses or damages that are attributable directly or indirectly to one cause or a series
of similar causes. All such losses or damages will be treated as one occurrence. However, if occurrence is specifically
defined in a Coverage Form, that definition applies to the insurance provided by that Coverage Form and any
endorsements to that Coverage Form.

For purposes of this Commercial Property Coverage Part:

a.   Covered Property is the property that is insured for loss or damage under the applicable Coverage Forms or
     endorsements.

b.   Covered Income is the income that is insured for loss under the applicable Coverage Forms or endorsements.

Other words and phrases that appear in bold and in quotation marks, or in quotation marks only, have special meaning.
You will find these definitions in the Commercial Property Definitions, Coverage Forms, and in endorsements to the
Coverage Forms.

Words or phrases that are not defined are intended to have their ordinary or common meaning. Disputes concerning
the meaning of words or phrases will be resolved using the most recently published version of Webster’s Unabridged
Dictionary.

Unless otherwise stated, words that are used in the plural tense include the singular tense (and vice versa).

FORMS

In addition to these General Provisions, the Commercial Property Coverage Part contains the Common Policy
Conditions, Commercial Property Conditions, Commercial Property Definitions, and various Coverage Forms and
endorsements as shown on the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements. Some forms and endorsements may refer to other Coverage Forms, but you only have coverage under
a particular Coverage Form if it is shown on the Property Forms and Endorsements Section of the Schedule of Forms
and Endorsements. Similarly, even if the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements shows that you have a Coverage Form, you will not have coverage for each coverage and optional
coverage mentioned in that Coverage Form unless they are shown on the Commercial Property Coverage Part
Declarations.

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DEDUCTIBLES

If a deductible applies, it is described in the applicable Coverage Form or endorsement. The amount of the deductible
to be applied is shown on the Summary of Premises, Deductibles, or Catastrophe Coverage - Limits of Insurance and
Deductibles sections of the Commercial Property Coverage Part Declarations.

Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we will apply each
deductible separately, but the total of all deductible amounts applied will not exceed the highest applicable deductible
for loss or damage to Covered Property and the highest applicable deductible for loss under "time element coverage".
However, this provision does not apply to Covered Property and "time element coverage" for covered loss or damage
due to "earth movement", "flood", or "named storm", or to wind or hail when a separate Wind Deductible or Wind
and Hail Deductible is applicable.

Loss or damage to Covered Property caused by "earth movement", "flood", "named storm", water damage, theft
and wind or hail may be subject to separate deductible amounts. The Summary of Premises section of the Commercial
Property Coverage Part Declarations identify the "premises" subject to the separate deductibles and the deductible
amounts. If the Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, or Wind and Hail
Deductibles apply to loss or damage at "reported unscheduled premises", to "contractor's equipment" away from
"premises", or to "installation property" away from "premises", the deductible amounts are stated on the
Catastrophe Coverage - Limits of Insurance and Deductibles section of the Commercial Property Coverage Part
Declarations.

The Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, Wind Deductibles, and Wind and Hail
Deductibles only apply to loss or damage that, but for the application of the Deductibles, would be paid by us under this
Commercial Property Coverage Part.




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Commercial Property Conditions

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Commercial Property Conditions
This Commercial Property Coverage Part is subject to the following conditions as well as the Common Policy Conditions.

A.    ABANDONMENT

      There can be no abandonment of any property to us.

B.    APPRAISAL

      If we and you disagree on the value of the property or the amount of the loss, either may make written demand for an
      appraisal of the loss. In this event, each party will select a competent, disinterested, and impartial appraiser who has
      no direct or indirect financial interest in the claim. The two appraisers will select an umpire. If they cannot agree,
      either may request that selection of an umpire be made by a judge of a court having jurisdiction. The appraisers will
      state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
      accordance with the Valuation provisions of the applicable Coverage Form or, if not stated, the "actual cash value"
      and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to by
      any two will be binding. Each party will:

      1.    Pay its chosen appraiser; and

      2.    Bear the other expenses of the appraisal and umpire equally.

      If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
      conditions of the policy.

C.    CONCEALMENT, MISREPRESENTATION, OR FRAUD

      This policy is void in any case of fraud by you or any other insured as it relates to this Commercial Property Coverage
      Part at any time before or after a loss. It is also void as to you or any other insured, and we will not pay you or any
      other insured, if you or any other insured, at any time before or after a loss, intentionally conceal or misrepresent a
      material fact concerning:

      1.    The insurance provided by this policy;

      2.    The Covered Property;

      3.    Your interest in the Covered Property; or

      4.    A claim under the policy.

D.    CONFORMITY TO STATUTE

      Terms of this Commercial Property Coverage Part that are in conflict with the statutes of the state in which this policy
      is issued are hereby amended to conform to such statutes.

E.    CONTROL OF PROPERTY

      Breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions by any
      person, other than you, beyond your direction or control will not affect this insurance.

      The breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions at any
      one or more locations will not affect coverage at any location where, at the time of loss or damage, there was no
      breach.

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F.   DUTIES IN THE EVENT OF LOSS OR DAMAGE

     1.   You must see that the following are done in the event of loss or damage to Covered Property:

          a.    Notify the police if a law may have been broken.

          b.    Give us prompt notice of the loss or damage, including a description of the property involved.

          c.    As soon as possible, give us a description of how, when, and where the loss or damage occurred.

          d.    Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                your expenses necessary to protect the Covered Property, for consideration in the settlement of the claim.
                This will not increase the Limit of Insurance. However, we will not pay for any subsequent loss or damage
                resulting from a cause of loss that is not a "covered cause of loss". Also, if feasible, set the damaged
                property aside and in the best possible order for examination.

          e.    At our request, give us complete inventories of the damaged and undamaged property.                                 Include
                quantities, costs, values, and amount of loss claimed.

          f.    As often as may be reasonably required, permit us to inspect the property proving the loss or damage and
                examine your books and records.

                Also, permit us to take samples of damaged and undamaged property for inspection, testing, and
                analysis, and permit us to make copies from your books and records.

          g.    Send us a signed, sworn proof of loss containing the information we request to investigate the claim. You
                must do this within 60 days after our request. We will supply you with the necessary forms.

          h.    Cooperate with us in the investigation or settlement of the claim.

     2.   We may examine any insured under oath, while not in the presence of any other insured and at such times as
          may be reasonably required, about any matter relating to this insurance or the claim, including an insured's
          books and records. In the event of an examination, an insured's answers must be signed.

     3.   Failure of an agent or one of your employees, other than an officer, partner, manager, "member", director,
          trustee, proprietor, or risk management employee, to notify us of any loss or damage that they know about will
          not affect the insurance afforded you by this Commercial Property Coverage Part.

G.   INSURANCE UNDER TWO OR MORE COVERAGES

     If two or more of this policy's coverages apply to the same loss or damage, we will not pay more than the actual
     amount of the loss or damage.

H.   LEGAL ACTION AGAINST US

     No one may bring a legal action against us under this Commercial Property Coverage Part unless:

     1.   All of its terms have been fully complied with; and

     2.   The action is brought within 2 years after the date on which the loss or damage commenced.

I.   LIBERALIZATION

     If we adopt any revision that would broaden the coverage under this Commercial Property Coverage Part, without
     additional premium and within 45 days prior to or during the policy period, the broadened coverage will immediately
     apply to this Commercial Property Coverage Part.




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J.   LOSS PAYMENT

     The following apply unless otherwise provided in a Coverage Form in this Commercial Property Coverage Part:

     1.   In the event of loss or damage covered by this Commercial Property Coverage Part, at our option, we will
          either:

          a.    Pay the amount of the loss or damage;

          b.    Pay the cost of repairing or replacing the lost or damaged property;

          c.    Take all or any part of the property at an agreed or appraised value; or

          d.    Repair, rebuild, or replace the property with other property of like kind and quality.

          We will give notice of our intentions within 30 days after we receive the sworn proof of loss.

     2.   If we elect to exercise option 1.c. with respect to any branded or labeled "merchandise" or "finished stock",
          you may:

          a.   Stamp salvage on the "merchandise" or "finished stock", or its containers, if the stamp will not
               physically damage the "merchandise" or "finished stock"; or

          b.   Remove the brands or labels, if doing so will not physically damage the "merchandise" or "finished
               stock". You must relabel the "merchandise" or "finished stock", or its containers, to comply with the
               law.

          We will assume the cost of stamping or removal and charge it to salvage expense.

     3.   We will not pay you more than your financial interest in the Covered Property.

     4.   This Commercial Property Coverage Part provides no rights or benefits to any other person or organization,
          unless otherwise provided. Any claim for loss that is covered under this Commercial Property Coverage Part
          must be presented by you. At our option, we may adjust the loss with the owners of lost or damaged property if
          other than you. If we pay the owners, such payment will satisfy your claims against us for the owners' property.
          We will not pay the owners more than their financial interest in the Covered Property.

     5.   We may elect to defend you against suits arising from claims of owners of Covered Property. We will do this at
          our expense.

     6.   We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you have
          complied with all of the terms of this Commercial Property Coverage Part and:

          a.    We have reached agreement with you on the amount of the loss; or

          b.    An appraisal award has been made.

     7.   The first Named Insured shown on the Declarations will be the payee for any payment of claims that we may
          make with respect to this Commercial Property Coverage Part, subject to the Mortgageholders Condition below
          and any endorsements. However, our payment for loss or damage to "personal property of others" may be
          to the account of the owner of the property.




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K.   MORTGAGEHOLDERS

     1.    Mortgageholder includes trustee.

     2.    We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown on the
           Declarations in their order of precedence, as interests may appear.

     3.    The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure or
           similar action on the building or structure.

     4.    If we deny your claim because of your acts or because you have failed to comply with the terms of this
           Commercial Property Coverage Part, the mortgageholder will still have the right to receive loss payment if the
           mortgageholder:

           a.    Pays the premium due under this Commercial Property Coverage Part at our request if you have failed to
                 do so;

           b.    Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do so;
                 and

           c.    Has notified us of any change in ownership, occupancy, or substantial change in risk known to the
                 mortgageholder.

           All of the terms of this Commercial Property Coverage Part will then apply directly to the mortgageholder.

     5.    If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or because
           you have failed to comply with the terms of this Commercial Property Coverage Part:

           a.    The mortgageholder's rights under the mortgage will be transferred to us to the extent of the amount we
                 pay; and

           b.    The mortgageholder's right to recover the full amount of the mortgageholder's claim will not be impaired.

           At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued interest.
           In this event, your mortgage and note will be transferred to us and you will pay your remaining mortgage debt to
           us.

     6.    If we cancel the policy, we will give written notice to the mortgageholder at least:

           a.    10 days before the effective date of cancellation if we cancel for your nonpayment of premium; or

           b.    30 days before the effective date of cancellation if we cancel for any other reason.

     7.    If we elect not to renew the policy, we will give written notice to the mortgageholder at least 10 days before the
           expiration date of this policy.

L.   NO BENEFIT TO BAILEE

     No person or organization, other than you, having custody of Covered Property will benefit from this insurance.




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M.   OTHER INSURANCE

     1.   You may have other insurance subject to the same plan, terms, conditions, and provisions as the insurance
          under this Commercial Property Coverage Part. If you do, we will pay our share of the covered loss or damage.
          Our share is the proportion that the applicable Limit of Insurance under this Commercial Property Coverage Part
          bears to the sum of all the Limits of Insurance covering on the same basis.

     2.   If there is other insurance covering the same loss or damage, other than that described in 1. above, we will pay
          only the least of the following amounts:

          a.    Any Limit of Insurance applicable to the Covered Property that has sustained such loss or damage;

          b.    The amount of covered loss or damage in excess of the amount due from that other insurance, whether
                you can collect on it or not, without application of any deductible amounts contained elsewhere in this
                Commercial Property Coverage Part; or

          c.    The amount we would have paid had such other insurance not existed.

     3.   Paragraphs 1. and 2. above do not apply to other insurance that is purchased as insurance in excess of the
          Limit of Insurance under this Commercial Property Coverage Part.

N.   POLICY PERIOD, COVERAGE TERRITORY

     Under this Commercial Property Coverage Part:

     1.   We cover loss or damage which happens:

          a.    During the policy period shown on the Declarations; and

          b.    Within the coverage territory.

     2.   The coverage territory is:

          a.    The United States of America (including its territories and possessions); and

          b.    Puerto Rico.

     3.   When this Commercial Property Coverage Part provides coverage for property in transit:

          a.    The coverage territory is extended to Canada for property in transit as long as the origin or destination is
                included in 2. above, except when property is being transported by a vessel.

          b.    The coverage territory is extended to everywhere else in the world for property while being transported by
                an aircraft, as long as either the origin or destination is included in 2. above and neither the origin nor the
                destination is in any country upon which the United States government has imposed sanctions,
                embargoes or similar prohibitions.

     4.   If the property is in transit by a vessel that originated outside the coverage territory included in 2. above, then
          coverage commences when the property has been fully discharged from the vessel onto a point within the
          coverage territory.

     5.   If the property is in transit by a vessel with a destination outside the coverage territory included in 2. above, then
          coverage ends when the property has been loaded on board the vessel.




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O.   RECOVERED PROPERTY

     1.    If either you or we recover any property after loss settlement, that party must give the other prompt notice. At
           your option, you may do one of the following:

           a.    Keep the loss payment and transfer the recovered property to us; or

           b.    Keep the recovered property and return the loss payment to us. If you do this, we will pay for the recovery
                 expenses and the expense to repair the recovered property up to the applicable Limit of Insurance.

     2.    The amount of loss can be reduced by any salvage recovery through the sale of the damaged Covered
           Property.

           a.    If, following a loss, a recovery is made from the sale of damaged Covered Property and your claim has
                 not yet been paid, we will be entitled to this salvage recovery until we have recovered our salvaging fees
                 and expenses. The balance of the salvage recovery will be paid to you and the amount of your loss
                 settlement will be reduced by this balance.

           b.    If your claim has already been paid when a salvage recovery is made, we will be entitled to the salvage
                 proceeds until we have recovered the difference between the amount we paid you for your claim and the
                 amount we would have paid you had the salvage recovery been handled in accordance with a. above.
                 Any balance of the salvage recovery will then be promptly refunded to you.

P.   SUSPENDED EQUIPMENT

     We, or any of our representatives, have the right to declare property to be "suspended equipment" when the
     property is found to be in, or exposed to, a dangerous condition, provided we have:

     1.    Told you of the dangerous condition immediately upon discovering it and informed you of its designation as
           "suspended equipment"; and

     2.    Mailed or delivered a written notice of such condition and designation, within 24 hours of the discovery, which
           notice is mailed or delivered to:

           a.    Your last known address; or

           b.    The address where said object is located.

     Any designation of "suspended equipment" can only be rescinded, in writing, by endorsement to this Commercial
     Property Coverage Part.

     Any designation of "suspended equipment" will result in your receiving a pro rata refund of premium you paid for the
     coverage of that property under this Commercial Property Coverage Part. However, any designation of "suspended
     equipment" will be in effect if we have not yet made or offered the refund.

Q.   TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If any person or organization to or for whom we make payment under this Commercial Property Coverage Part has
     rights to recover damages from another, those rights are transferred to us to the extent of our payment. That person
     or organization must do everything necessary to secure our rights and cooperate with our efforts to recover our
     payment and must do nothing after loss to impair our rights. But you may, without restricting your coverage, waive
     your rights against another party in writing:

     1.    Prior to a loss to your Covered Property or Covered Income.

     2.    After a loss to your Covered Property or Covered Income only if, at the time of loss, that party is one of the
           following:

           a.    Someone insured under this Commercial Property Coverage Part;
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      b.    A business firm owned or controlled by you;

      c.    A business firm, or an individual, that owns or controls you; or

      d.    Your tenant.

Any recovery as a result of subrogation proceedings arising out of a covered loss, net of fees (including legal fees)
and expenses we incur in such subrogation proceedings, will be shared with you in the following manner:

1.    We will add the amount of any deductible you incurred to the amount of any other provable uninsured loss you
      incurred. This is your interest.

2.    We will determine the proportion your interest bears to the entire provable loss (both insured and uninsured).
      This is your pro rata share.

3.    We will reimburse to you your pro rata share of the recovery after deduction, from the total recovery, of recovery
      expenses paid by us and after deduction of any legal fees paid by us. We will retain the balance. We will not
      owe you any amount for any legal fees or any expenses incurred by you in furtherance of any recovery unless
      those fees or expenses are approved by us in writing and in advance of your incurring those fees or expenses.




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Commercial Property Definitions
1. "Accounts receivable records" means accounting records you use to document the billing and collection of
   "money" due from your customers, regardless of what material it is inscribed, printed, written, or recorded upon.

2. "Actual cash value" means "replacement cost" reduced by each of the following:

   a.   Physical deterioration;

   b. Depreciation;

   c. Obsolescence;

   d. Depletion;

   e. Non-conformity to codes, regulations, or statutes; and

   f.   The cost to reconstruct or remodel undamaged portions of "real property".

   But in no event will "actual cash value" be higher than the "market value".

3. "Amount you actually spend" means:

   a. The total payments you make to an entity you do not own or operate at the time of loss or damage to repair
      the damaged "real property" or "personal property"; and

   b. For goods and services provided by entities you own or operate at the time of loss or damage to repair the
      damaged "real property" or "personal property":

        1) Direct payroll cost, excluding fixed payroll, for labor directly chargeable to the repair, rebuilding, or
           replacement of the damaged property;

        2) "Replacement cost" for your "merchandise" used in the repair, rebuilding, or replacement of the
           damaged property;

        3) Regular cash selling price, less any discounts and expenses you otherwise would have had, for your
           "finished stock" used in the repair, rebuilding, or replacement of the damaged property; and

        4) "Replacement cost" for your property other than "merchandise" or "finished stock" used in the repair,
           rebuilding, or replacement of the damaged property if replaced within 24 months, otherwise your original
           cost.

4. "Banking premises" means the interior of that portion of any building occupied by a banking institution or similar
   safe depository.

5. "Business income" means:

   a. "Net income"; plus

   b. "Continuing expenses".

6. "Cessation of work" means any period of time when your business activities have ceased.

   "Cessation of work" does not mean:

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   a. Any period of time during which your business activities would not normally have been conducted, such as
      weekends or holidays;

   b. Seasonal activity planned in advance;

   c. Schedule delays due to weather; or

   d. Labor actions beyond your control.

7. "Cloud facility" means a data center(s) owned and operated by others whom you depend on to provide
   "information technology services".

8. "Computer systems" means:

    a. Computer hardware, software, and electronic data;

    b. Input and output devices;

    c. Data storage devices;

    d. Networking equipment and components;

    e. Firmware; and

    f. Electronic backup facilities, including systems accessible through the internet, intranets, or virtual private
       networks.

9. "Contaminant" means any substance that creates an impurity when it mixes with or comes into contact with
   another substance.

10. "Continuing expenses" means:

   a. Your continuing normal operating expenses including, but not limited to:

       1) Payroll;

       2) Rental payments as tenants; and

       3) Factory overhead; and

   b. Charges, which are the legal obligations of your tenants and have not been satisfied, and which are now your
      obligation.

   "Continuing expenses" does not mean:

   a. "Extra expense";

   b. Expediting expense;

   c. "Research and development continuing expenses";

   d. Any charges or expenses that do not necessarily continue during the "period of restoration" or "extended
      period of indemnity"; or

   e. Bad debts.

11. "Contractor's employees' property" means tools and clothing owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).




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12. "Contractor's equipment" means:

    a. Equipment, tools, machinery, and other mechanical and electrical devices of a mobile nature used for
       contracting, installation, erection, repair, or moving operations or projects;

    b. Self-propelled vehicles designed and used primarily to carry mounted equipment;

    c. Vehicles designed for highway use that are unlicensed and not operated on public roads; and

    d. Watercraft, marine floats, or barges less than 26 feet long,

    owned by you or owned by others in your care, custody, or control.

    "Contractor's equipment" does not mean:

    a. Contraband or property in the course of illegal transportation or trade;

    b. Aircraft;

    c. Railroad cars;

    d. Temporary or permanent forms, shoring, scaffolding, or falsework;

    e. "Contractor's employees' property"; or

    f.   Recreational watercraft.

13. "Contributing locations" means locations owned and operated by others who:

    a. You depend on to deliver materials or services directly to you, or to others under your contract of sale; or

    b. Pay you royalties, licensing fees, or commissions under written agreements.

    "Contributing locations" does not mean:

    a. Locations owned and operated by others who you depend upon to provide only power, communications, or
       other utility services to you; or

    b. "Manufacturing locations".

14. "Covered cause of loss" means a fortuitous cause or event, not otherwise excluded, which actually occurs during
    this policy period.

    "Covered cause of loss" does not mean:

    a. A fortuitous cause or event, whether or not excluded, which actually occurred prior to this policy period,
       regardless of the date on which it first becomes manifest or is first discovered; or

    b. Damage.

15. "Defective materials" means materials which are broken, inadequate, improper, faulty, flawed, improperly
    specified, contaminated, unfit for the purpose intended, or which contain a latent defect.

16. "Denial of service" means the direction of a high volume of inquiries to web site or e-mail destinations, effectively
    denying or limiting legitimate access, whether or not known to you.

17. "Dependent premises" means the following types of locations:

    a. "Contributing locations";

    b. "Recipient locations";

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    c. "Manufacturing locations"; and

    d. "Leader locations".

    If the location is described by an address only, it includes the area associated with that address in which you or
    the occupant are legally entitled to conduct "operations" and includes that area extending 1,000 feet beyond that
    address.

    If the location is described by an address and further described by geographic boundaries, only the area within
    such boundaries, and within 1,000 feet thereof, is included.

    "Dependent premises" does not mean any of the above locations within any country in which the United States
    government or Canadian government have imposed sanctions, embargoes, or similar prohibitions.

18. "Duplicate information property" means recorded information in any format which can either be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including any
    material it is recorded upon.

    "Duplicate information property" does not mean:

    a. "Stock";

    b. "Fine arts";

    c. "Money";

    d. "Securities"; or

    e. "Electronic data processing hardware".

19. "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
    or subsidence other than "sinkhole collapse".

    "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

20. "Electronic data processing hardware" means:

    a. A network of electronic components capable of accepting information and processing it according to a plan
       and which exists primarily to generate information in tangible form or on electronic media, as well as air
       conditioning equipment and fire protection equipment used exclusively for data processing operations;

    b. Telephone equipment; and

    c. Facsimile equipment.

    "Electronic data processing hardware" does not mean computers, devices, or components which:

    a. Exist primarily to control or operate machinery or equipment or to produce "stock in process" or "finished
       stock"; or

    b. Are "stock".

21. "Electronic vandalism" means:

    a. Willful or malicious electronic alteration, manipulation, tampering, or destruction of "accounts receivable
       records",     "duplicate information property", "electronic data processing hardware", "original
       information property", or "research and development property";

    b. Introduction of a virus, code, or similar instruction that disrupts the normal operation of "electronic data
       processing hardware" and may destroy, alter, contaminate, or compromise the integrity, quality, or

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       performance of "accounts receivable records", "duplicate information property", "electronic data
       processing hardware", "original information property", or "research and development property";

   c. Unauthorized viewing, copying, or use of any electronic "accounts receivable records", "duplicate
      information property", "original information property", or "research and development property"; and

   d. "Denial of service".

22. "Equipment breakdown cause of loss" means any of the following:

   a. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices,
      wiring, or equipment;

   b. Explosion, rupture, or bursting of steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
      apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
      explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or within
      the flues or passages through which the products of combustion pass;

   c. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
      apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
      explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or within
      the flues or passages through which the gases of combustion pass;

   d. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment,
      engines other than steam engines, or pressure vessels when owned, operated, or controlled by you; and

   e. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property
      owned, operated, or controlled by you.

23. "Extended period of indemnity" means the period of time that begins on the date the "period of restoration"
    ends and ends on the earlier of:

   a. The date your gross sales, including rental income, are restored to the amount that would have existed if no
      direct physical loss or damage occurred; or

   b. The date calculated by adding the number of days shown on the Declarations for Extended Period of
      Indemnity--Business Income to the date the "period of restoration" ended.

   "Extended period of indemnity" does not mean "research and development extended period of indemnity".

24. "Extra expense" means operating expenses you incur during the "period of restoration" that would not have
    been necessary to incur if there had been no direct physical loss or damage to the property, provided such
    expenses are incurred:

   a. In an attempt to avoid a "suspension" of or to continue those "operations" which have been affected by the
      direct physical loss or damage to the property; or

   b. In an attempt to minimize the "period of restoration".

   "Extra expense" does not mean:

   a. Costs incurred to purchase "merchandise" as a replacement for your "finished stock";

   b. "Continuing expenses" or "research and development continuing expenses";

   c. Costs to repair, rebuild, or replace any property, or research or restore "original information property"; or

   d. Amounts incurred on financing or investment activity conducted for your own account.




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25. "Fine arts" means paintings, etchings, pictures, tapestries, and other bona fide works of art, rarity, historical value,
    or artistic merit such as rugs, statuary, marbles, bronzes, antiques, furniture, rare books, antique silver,
    manuscripts, porcelains, rare glass, and bric-a-brac.

26. "Finished stock" means "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale.

    "Finished stock" does not mean "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale on a "premises" or "reported unscheduled premises" of any retail outlet at which
    you are insured by Business Income Insurance.

27. "Fire protection sprinkler system piping" means valves, fittings, and piping located above the lowest floor, and
    limited to risers, check valves, control valves, gauges, feed mains, cross mains, branch lines, arm-overs, sprigs,
    and automatic sprinkler heads located inside the building as part of the fire protection sprinkler system.

28. "Flood" means a general and temporary condition of partial or complete inundation of land areas from:

    a. The overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-
       made lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans, or any other body of water or
       watercourse;

    b. Waves or tides, including tsunami;

    or their spray, whether driven by wind or not.

29. "Fungus" means any type or form of fungus, mold, or mildew and any mycotoxins, spores, scents, or by-products
    produced or released by fungi.

30. "Goods you have manufactured" means:

    a. Goods manufactured at a location you own or operate; and

    b. Goods manufactured at a location that you do not own or operate, provided:

        1) You contracted for the goods to be manufactured exclusively for you; and

        2) You are the owner or licensee of the design, patent, trademark, or copyright for the goods.
                                                                                                   ®
31. "Green roofing systems" means environmentally friendly roof coverings as defined by the LEED Green Building
    Rating System™ of the U.S. Green Building Council or any other trees, shrubs, plants, grass, or lawns and other
    landscaping materials which are part of a vegetated roof.

32. "Gross leasehold interest" means:

    a. The monthly rental value of the "premises" or "reported unscheduled premises" you rent or lease on the
       date the direct physical loss or damage occurs; minus

    b. The actual monthly rent you pay, including taxes, insurance, janitorial, or other services you pay as part of the
       rent.

        Example:

        Monthly rental value of your leased "premises":                                       $1,000

        Monthly rent including taxes, insurance, janitorial,
        or other services that you pay for as part of the rent:                               - $700

    "Gross leasehold interest"                                                                  $300


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33. "Improvements and betterments" means fixtures, alterations, installations, or additions:

    a. Comprising a part of the building you occupy as a tenant but do not own;

    b. Made or acquired at your expense exclusive of rent paid by you or for which you are legally required by written
       contract to insure; and

    c. Which you cannot remove legally.

34. "Information technology services" means technology services provided under a written contract consisting of:

    a. Maintaining, managing, or controlling "computer systems";

    b. Hosting or facilitating your internet website or web application(s); and

    c. Other related technology services.

    "Information technology services" does not mean video, voice, or data communication services.

35. "Installation property" means materials, supplies, equipment, and machinery, and any other similar property
    owned by you or owned by others, which are in your care, custody, or control, that you are contractually
    responsible for, which are intended to become a permanent part of an "installation or service premises".

    "Installation property" does not mean "landscaping materials" or land.

36. "Installation or service premises" means a location that is not owned, leased, or operated by you, at which you
    are installing, constructing, or servicing property.

    "Installation or service premises" does not mean a "rigging premises".

37. "Landscaping materials" means trees, shrubs, plants, grass, lawns, and other landscaping materials, including
    "green roofing systems" owned by you or owned by others, which are in your care, custody, or control that you
    are contractually responsible for, and intended to become a permanent part of an "installation or service
    premises".

    "Landscaping materials" does not mean trees, shrubs, plants, grass, lawns, or other landscaping materials or
    "green roofing systems" that exist as a permanent part of an "installation or service premises" prior to the
    start of the project.

38. "Leader locations" means locations owned and operated by others who you depend on to attract customers to
    your business.

39. "Malfunction" means any abnormal or imperfect function, including the failure to function, of machinery, systems,
    apparatus, or equipment.

40. "Manager" means a person elected by the "members" to direct the limited liability company's business affairs.

41. "Manufacturing locations" means locations owned and operated by others who you depend on to manufacture
    products for delivery to your customers under contract of sale.

42. "Market value" means the price which the property might be expected to realize if offered for sale in a fair market
    on the date of loss or damage.

43. "Member" means an owner of a limited liability company represented by its membership interest, who also may
    serve as a "manager".

44. "Merchandise" means:

    a. Goods held for sale or installation by you which are not "goods you have manufactured"; and

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    b. "Goods you have manufactured" which are completed and ready for packing, shipment, installation, or sale
       on a "premises" or "reported unscheduled premises" of any retail outlet at which you are insured by
       Business Income Insurance.

45. "Microorganism" means any type or form of organism of microscopic or ultramicroscopic size including, but not
    limited to, "fungus", wet or dry rot, virus, algae, or bacteria, or any by-product.

46. "Mistake" means any act or decision, whether intentional or negligent, including the failure to act or decide, of any
    person, group, organization, or governmental body which creates or allows a result which is unexpected,
    inadequate, defective, faulty, or otherwise unsuitable for the intended purpose.

47. "Money" means:

    a. Currency, coins, bullion, or bank notes, whether or not in current use; and

    b. Travelers checks, register checks, food stamps, and money orders held for sale to the public.

48. "Monthly leasehold interest" means the original costs you paid for:

    a. Bonus Payments – "Money" you originally paid to acquire your lease, but not including rent, prepaid rent, or
       security; and

    b. Prepaid Rent - Advance rent you paid that will not be refunded to you, other than periodic rental payments,

    divided by the number of months left in your lease at the time of the expenditure.

    Example:

    Original cost of Bonus Payment                                                                 $4,000

    With 20 months left in the lease at the time of Bonus Payment                                      ÷20

    "Monthly leasehold interest"                                                                     $200

49. "Net income" means the net profit or loss, including rental income from tenants, that would have been earned or
    incurred before taxes.

50. "Net leasehold interest" means the sum of:

    a. The net present value of your "gross leasehold interest" for each remaining month of your lease, discounted
       at the Prime Rate prevailing on the date the direct physical loss or damage occurs, rounded to the nearest
       whole number; plus

    b. Your "monthly leasehold interest" times the number of months left in your lease on the date direct physical
       loss or damage occurs, rounded to the nearest whole number.

    Example:

    With 20 months left in lease and 10% Prime Rate:

    "Gross leasehold interest"                                                                       $300

    Net Present Value Factor x 18.419 for 20 months                                             X 18.419

       Subtotal a.                                                                                 $5,526

    "Monthly leasehold interest"                                                                     $200

    With 20 months left in lease                                                                      x 20

        Subtotal b.                                                                                $4,000
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    "Net leasehold interest"

         Subtotal a. + Subtotal b.                                                                 $9,526

51. "Newly acquired premises" means a permanently fixed location you own, lease, rent, or control. The location
    becomes a "newly acquired premises" on the later of:

    a. The date you obtain possession or control of the location; or

    b. The date "real property" or "personal property" in which you have an insurable interest is first placed at the
       location.

    "Newly acquired premises" does not mean:

    a. A "premises";

    b. An "unreported premises";

    c. A "reported unscheduled premises";

    d. A fair or exhibition;

    e. An "installation or service premises";

    f.   A "rigging premises"; or

    g. A "temporary storage location".

52. "Off-premises service interruption" means the interruption of power or other utility services supplied to a
    covered location, however caused, if the interruption takes place away from the covered location.

53. "Operations" means:

    a. Your business activities occurring at the covered location prior to the physical loss or damage; and

    b. The covered location is tenantable prior to the physical loss or damage.

    "Operations" does not mean:

    a. The activities of those with whom you do business;

    b. Investing or financing activities conducted for your own account; or

    c. "Research and development operations".

54. "Original information property" means recorded information in any format which cannot be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including any
    material it is recorded upon.

    "Original information property" does not mean:

    a. "Stock";

    b. "Fine arts";

    c. "Money";

    d. "Securities";

    e. "Electronic data processing hardware"; or

    f.   "Research and development property".

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55. "Outdoor trees, shrubs, plants, or lawns" means outdoor trees, shrubs, plants, grass, or lawns you own.

   "Outdoor trees, shrubs, plants, or lawns" does not mean:

   a. Growing crops;

   b. Standing timber;

   c. "Landscaping materials";

   d. "Stock", or

   e. "Green roofing systems".

56. "Period of restoration" means the period of time that begins when:

   a. The direct physical loss or damage that causes "suspension" of your "operations" occurs; or

   b. The date "operations" would have begun if the start of "operations" is delayed because of loss of or
      damage to any of the following:

       1) "Real property", whether complete or under construction;

       2) Alterations or additions to "real property"; or

       3) "Personal property":

           a) Used in such construction, alterations, or additions;

           b) Incidental to the occupancy of the area intended for construction, alteration, or addition; or

           c) Incidental to the alteration of the occupancy of an existing building or structure.

   If you resume "operations", with reasonable speed, the "period of restoration" ends on the earlier of:

   a. The date when the location where the loss or damage occurred could have been physically capable of
      resuming the level of "operations" which existed prior to the loss or damage, if the location had been restored
      to the physical size, construction, configuration, location, and material specifications which would satisfy the
      minimum requirements necessary to obtain all required building permits, occupancy permits, operating
      licenses, or similar documents; or

   b. The date when a new permanent location is physically capable of resuming the level of "operations" which
      existed prior to the loss or damage, if you resume "operations" at a new permanent location.

   If you do not resume "operations", or do not resume "operations" with reasonable speed (whether at your
   "premises" or "reported unscheduled premises" or elsewhere), the "period of restoration" will end on the
   date when the location where the loss or damage occurred could have been restored to the physical size,
   construction, configuration, location, and material specifications which existed at the time of loss or damage, with
   no consideration for any time:

   a. Which would have been required to make changes in order to satisfy the minimum requirements necessary to
      obtain all required building permits, occupancy permits, operating licenses, or similar documents; and

   b. Which would have been necessary to make the location physically capable of resuming the level of
      "operations" which existed prior to the loss or damage after the completion of repairs, replacement, or
      rebuilding.

   "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
   or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
   neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

   The expiration date of this policy will not cut short the "period of restoration".
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57. "Personal property" means:

    a. "Your personal property";

    b. "Your employees' personal property";

    c. "Personal property of others" in your care, custody, or control;

    d. The value of labor, materials, or services furnished or arranged by you on "personal property of others";

    e. Your interest in "improvements and betterments" to buildings or structures; and

    f.   Glass which, as a tenant, you are required to insure.

    "Personal property" does not mean:

    a. Naturally occurring water;

    b. Growing crops or standing timber;

    c. "Outdoor trees, shrubs, plants, or lawns";

    d. "Green roofing systems";

    e. "Money", bills, notes, or "securities";

    f.   Contraband or property in the course of illegal transportation or trade;

    g. Animals, unless:

         1) Owned by others and boarded by you; or

         2) Owned by you as "stock" while inside of buildings;

    h. "Fine arts";

    i.   "Original information property";

    j.   Vehicles or self-propelled machines (including aircraft or watercraft) that:

         1)   Are licensed for use on public roads; or

         2)   Are operated principally away from a "premises" or "reported unscheduled premises";

         But not:

         1)   Vehicles or self-propelled machines you manufacture, process, warehouse, or hold for sale, other than
              vehicles licensed for use on public roads;

         2)   Vehicles licensed for use on public roads that you manufacture, process, warehouse, or hold for sale,
              while on a "premises" or "reported unscheduled premises"; or

         3)   Unpowered watercraft while out of water on a "premises" or "reported unscheduled premises";

    k. Property contained in underground mines, mine shafts, caverns, open pits, or quarries; or

    l.   "Research and development property".

58. "Personal property of others" means personal property not owned by you, your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

59. "Pollutants" means any solid, liquid, gaseous, or thermal irritant, or "contaminant", including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned, or reclaimed.


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60. "Premises" means:

    A location scheduled on the Declarations for this Commercial Property Coverage Part.

    a. If the location is described by an address only, it includes the area associated with that address in which you
       are legally entitled to conduct your business activities and includes that area extending 1,000 feet beyond the
       address.

    b. If the location is described by an address and further described by geographic boundaries, it includes only the
       area within such geographic boundaries in which you are legally entitled to conduct your business activities
       and includes that area extending 1,000 feet beyond that area.

         If you are a tenant, for purposes of "time element coverage", "premises" includes those portions of the
         location not rented or intended to be rented to others.

61. "Raw stock" means material in the state in which you acquired it for conversion into "finished stock".

62. "Real property" means:

    a. Buildings, including their "green roofing systems";

    b. Permanent structures;

    c. Equipment and apparatus used to maintain or service the buildings, structures, or their "premises" or
       "reported unscheduled premises"; and

    d. Materials, equipment, supplies, and temporary structures used for making additions, alterations, or repairs to
       the buildings or permanent structures.

    "Real property" does not mean:

    a. "Fine arts";

    b. Land;

    c. Water;

    d. Underground mines, mine shafts, caverns, open pits, or quarries;

    e. Growing crops or standing timber;

    f.   "Outdoor trees, shrubs, plants, or lawns";

    g. "Research and development property";

    h. "Contractor's equipment";

    i.   "Contractor's employees' property";

    j.   "Installation property";

    k. "Landscaping materials"; or

    l.   Property of others in your care, custody, or control for "rigging".

63. "Recipient locations" means locations owned or operated by others, who you depend on to accept your products
    or services.

64. "Replacement cost" means the lesser of:

    a. Repair Cost

         The cost to repair the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
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       with all applicable zoning, land use, or construction codes in force at the time of loss or damage. This includes
       the cost to reconstruct or remodel undamaged portions of the "real property" when those costs are a
       consequence of enforcement of such codes.

   b. Rebuild Cost

       The cost to rebuild the "real property" or "personal property" at the time of direct physical loss or damage
       with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
       with all applicable zoning, land use, or construction codes in force at the time of loss or damage. Unless
       otherwise required at the time of loss by the applicable codes, this cost will be based on rebuilding at the same
       location where the loss occurred.

   c. Replace Cost

       The cost to replace the "real property" or "personal property" at the time of direct physical loss or damage
       with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
       with all applicable zoning, land use, or construction codes in force at the time of loss. Unless otherwise
       required at the time of loss by the applicable codes, this cost will be based on replacing at the same location
       where the loss or damage occurred.

       If property of the same kind and quality is no longer available, we will pay to replace it with other property of
       similar quality and function, including property of greater processing capacity.

       "Real property" and "personal property" valuation includes the cost you paid for non-refundable or non-
       transferable extended warranties, maintenance contracts, or service contracts which were still in force at the
       time of loss or damage and are no longer valid as a result of loss of or damage to "real property" or
       "personal property".

       If there is an ordinance or law in force at the time of loss or damage that regulates zoning, land use, or
       construction of "real property" or "personal property" at the "premises" or "reported unscheduled
       premises", and if loss or damage covered by this Commercial Property Coverage Part causes a demolition
       order to be issued pursuant to any such ordinance or law, "replacement cost" includes the costs to demolish
       and clear the site of the undamaged portion of the "real property" or "personal property".

   "Replacement cost" does not mean:

   a. Costs associated with the enforcement of any ordinance or law which requires any insured or others to test for,
      monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond to, or assess the
      effects of, "pollutants" or "microorganisms";

   b. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
      remodeling, or remediation of property due to contamination by "pollutants" or due to the presence, growth,
      proliferation, spread, or any activity of "microorganisms"; or

   c. Costs to comply with any ordinance or law that you were required to comply with before the loss or damage.

65. "Reported unscheduled premises" means permanently fixed locations for which you have submitted a schedule
    on file with us containing:

   a. The address of the location and includes that area extending 1000 feet beyond the address;

   b. An identification of the property, business income, or extra expense to be covered; and

   c. The value of such identified property, business income, or extra expense.

   If you are a tenant, for purposes of "time element coverage", "reported unscheduled premises" includes those
   portions of the location not rented or intended to be rented to others.

   "Reported unscheduled premises" does not mean:

   a. A "premises";
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   b. A "newly acquired premises";

   c. An "unreported premises";

   d. A fair or exhibition;

   e. An "installation or service premises";

   f.   A "temporary storage location";

   g. A "rigging premises"; or

   h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

66. "Research and development continuing expenses" means your continuing normal operating expenses that are
    directly attributable to "research and development operations", including payroll, rental payments as tenants,
    and factory overhead.

67. "Research and development extended period of indemnity" means the period of time that begins on the date
    the "period of restoration" ends and ends on the earlier of:

   a. The effective date of new contracts that will utilize that portion of your "research and development
      continuing expenses" attributable to a suspension, lapse, or cancellation for which coverage is provided
      under paragraph b. of the Extended Period of Indemnity Additional Coverage; or

   b. The date calculated by adding the number of days shown on the Declarations for Research and Development
      Extended Period of Indemnity--Business Income to the date the "period of restoration" ended.

68. "Research and development operations" means your business activities where "research and development
    property" is being planned, created, developed, or tested.

69. "Research and development property" means:

   a. Information which cannot be duplicated or purchased from another source, including any material it is
      inscribed, printed, written, or recorded upon, including documents, manuscripts, records, data, or programs,
      developed or used in conjunction with any research and development project;

   b. Original or experimental property;

   c. Prototypes or samples;

   d. Experiments in progress;

   e. Biological products, processes, or cultures; and

   f.   "Research animals".

   "Research and development property" does not mean:

   a. Animals, other than "research animals";

   b. "Money", bills, notes, or "securities";

   c. "Stock";

   d. "Fine arts"; or

   e. Growing plants or crops.

70. "Research animal" means any multi-cellular organism that is used in your "research and development
    operations".


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71. "Rigging" means rigging, hoisting, moving, erecting, lowering, and millwright work.

72. "Rigging premises" means a location for the purpose of:

    a. "Rigging";

    b. Assembling or dismantling work done in connection with a "rigging" project; or

    c. Operations incidental to a "rigging", assembling, or dismantling project.

73. "Salespersons samples" means "personal property" that is in the custody of one of your salespersons and
    used only for sample purposes.

74. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or
    property and includes:

    a. Tokens, tickets, revenue, and other stamps whether or not in current use; and

    b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you.

    "Securities" does not mean:

    a. "Money"; or

    b. Lottery tickets held for sale.

75. "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by the
    action of water on limestone or similar rock formations.

    "Sinkhole collapse" does not mean the:

    a. Sinking or collapse of land into man-made underground cavities;

    b. Sinking or collapse of land caused by or resulting from "flood"; or

    c. Cost of filling sinkholes.

76. "Specified causes of loss" means the following:

    a. Fire;

    b. Lightning;

    c. Explosion;

    d. Windstorm or hail;

    e. Smoke;

    f.   Aircraft or vehicles;

    g. Riot or civil commotion;

    h. Vandalism;

    i.   Leakage from fire extinguishing equipment;

    j.   "Sinkhole collapse";

    k. Volcanic action;

    l.   Falling objects, excluding loss or damage to:

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         1) "Personal property" in the open; or

         2) The interior of buildings or property inside buildings, unless the roof or an outside wall of the building is
            first damaged by a falling object;

    m. Weight of snow, ice, or sleet;

    n. Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
       steam; and

    o. "Equipment breakdown cause of loss", excluding loss of or damage to "stock" caused by the discharge,
       dispersal, release, or escape of refrigerants.

77. "Stock" means the following:

    a. "Raw stock";

    b. "Stock in process";

    c. "Finished stock"; and

    d. "Merchandise".

78. "Stock in process" means "raw stock" which has undergone aging, seasoning, mechanical, or other process of
    manufacture but which has not become "finished stock".

79. "Suspended equipment" means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping
    and its accessory equipment, and any mechanical or electrical machine or apparatus used for the generation,
    transmission, or utilization of mechanical or electrical power, provided we have complied with the requirements
    described in the Suspended Equipment Condition contained in the COMMERCIAL PROPERTY CONDITIONS.

80. "Suspension" means:

    a. The slowdown or cessation of your business activities; or

    b. That a part or all of the covered location is rendered untenantable.

81. "Temporary storage location" means a permanently fixed location that you lease, rent, or occupy for a period of
    less than one year where "stock" or "installation property" that is to become a permanent part of an
    "installation or service premises" is stored while waiting to be delivered to an "installation or service
    premises" and there is a written construction or installation contract or agreement to install that "stock" or
    "installation property" at that "installation or service premises".

    "Temporary storage location" does not mean:

    a. A "premises";

    b. A "newly acquired premises";

    c. A "reported unscheduled premises";

    d. A "rigging premises";

    e. A fair or exhibition; or

    f.   An "unreported premises".

82. "Time element coverage" means the coverage provided under any of the following:

    a. BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE);


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   b. BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
      EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY; or

   c. EXTRA EXPENSE COVERAGE FORM.

83. "Unreported premises" means a permanently fixed location that contains "real property" or "personal
    property" in which you have an insurable interest, but has not been reported to us.

   "Unreported premises" does not mean:

   a. A "premises";

   b. A "newly acquired premises";

   c. A "reported unscheduled premises";

   d. A "rigging premises";

   e. A fair or exhibition;

   f.   An "installation or service premises";

   g. A "temporary storage location"; or

   h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

84. "Your employees' personal property" means personal property owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

85. "Your personal property" means personal property owned by you.




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Real and Personal Property Coverage Form


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Real and Personal Property Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises"
     directly caused by a "covered cause of loss". We will not pay more in any one occurrence than the applicable
     Limit of Insurance shown on the Declarations for such loss of or damage to Covered Property at that
     "premises".

B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Cracking and Settling

          We will not pay for loss or damage caused by or resulting from bulging, cracking, shrinkage, expansion, or
          settling of "real property" or "personal property". This exclusion applies even if one of these excluded
          causes of loss was caused by or resulted from a "mistake" or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     3.   Disappearance or Shortage

          We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
          inventory or where there is no physical evidence to show what happened to the property. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
          "malfunction".

     4.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including
          leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
          you have entrusted the property for any purpose:




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     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

5.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
     event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
     for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "real property" or "personal property" caused by leakage from "fire protection
     sprinkler system piping" results from "earth movement", and there is no other loss or damage from
     "earth movement" to that same property, we will pay for the direct physical loss or damage caused solely
     from the "fire protection sprinkler system piping" leakage.

6.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

7.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.   Wear and tear;

     b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.   Smog;

     d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
          property that causes it to damage or destroy itself;

     e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
          rodents, or other animals; or

     f.   Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".


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8.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
     the loss or damage which was solely caused by that fire, explosion, or theft.

9.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property";

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

10. Impact Damage

     We will not pay for loss or damage caused by or resulting from water, including water pressure, ice, or
     impact of watercraft to buildings or structures located on or partially over water, including retaining walls,
     bulkheads, piers, wharves, docks, or any other property located on those structures. This exclusion applies
     even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
     or "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.


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    But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
    lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
    of loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

    We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
    radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
    cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
    to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
    radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
    was solely caused by that fire.

14. Off-Premises Service Interruption

    We will not pay for loss or damage caused by or resulting from any "off-premises service interruption".
    Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
    "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
    such other cause or event would otherwise be covered.

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information
    property".

15. Pollutants

    We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
    release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape
    is caused by a "specified cause of loss", we will pay only for that portion of the loss or damage solely
    caused by that "specified cause of loss".

    We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
    regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
    detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

    This exclusion does not apply to "electronic data processing hardware" or "duplicate information
    property".

16. Process Failures, Defects, or Errors

    We will not pay for any of the following:

    a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
         or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
         calibration, development, distribution, installation, manufacturing, maintenance, processing, repair,
         research, or testing of such "stock".

    b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:




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         1)   A "mistake" in planning, zoning, development, surveying, siting;

         2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
              grading, compaction;

         3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

         4)   Insufficient or failure of maintenance or servicing,

         of part or all of any property on or off a "premises".

         But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
         that portion of the loss or damage which was solely caused by that "covered cause of loss".

    c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
         incorporating "defective materials" into part or all of any property on or off a "premises".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
         of the loss or damage which was solely caused by that "covered cause of loss".

    d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
         exclusion applies even if this excluded cause of loss was caused by or resulted from an "equipment
         breakdown cause of loss", "mistake", or "malfunction".

         But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
         of the loss or damage which was solely caused by that "covered cause of loss".

17. Suspended Equipment

    We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
    to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
    resulted from a "mistake" or "malfunction".

    But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
    loss or damage which was solely caused by that "covered cause of loss".

18. War and Military Action

    We will not pay for loss or damage arising, directly or indirectly, out of:

    a.   War, including undeclared or civil war;

    b.   Warlike action by a military force, including action in hindering or defending against an actual or
         expected attack, by any government, sovereign, or other authority using military personnel or other
         agents; or

    c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
         hindering or defending against any of these.

    Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
    "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
    event would otherwise be covered.




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C.    LIMITATIONS

      1.    The following types of property are covered only up to the Limits of Insurance shown below in any one
           occurrence for loss or damage due to theft:

           a.   $2,500 for furs, fur garments, and garments trimmed with fur.

           b.   $2,500 for jewelry, watches, watch movements, jewels, pearls, precious and semiprecious stones,
                bullion, gold, silver, platinum, and other precious alloys or metals.

           This limit does not apply to:

                i.   Jewelry or watches worth $100 or less per item; or

                ii. Precious or semiprecious stones or metals used for industrial purposes.

           c.   $250 for lottery tickets held for sale.

           These Limits of Insurance are included in, and not in addition to, any other applicable Limits of Insurance.

     2.    We will pay for direct physical loss of or damage to "green roofing systems" directly caused by a
           "covered cause of loss" other than loss or damage caused by or resulting from:

           a.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                rodents, or other animals;

           b.   Disease;

           c.   Changes in or extremes of temperature;

           d.   Dampness or dryness of atmosphere or of soil supporting the vegetation; or

           e.   Rain, snow, hail, ice, or sleet.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.    Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

           a.   The "replacement cost"; or

           b.   The "amount you actually spend" to repair, rebuild, or replace the "real property" or "personal
                property" at the same or another location.

     2.    Except as provided in 3., 5., 6., and 7. below, "real property" or "personal property", other than
           "improvements and betterments", which is not repaired, rebuilt, or replaced will be valued at the "actual
           cash value" at the time and place of loss or damage. If you commence the repair, rebuilding, or
           replacement of the lost or damaged "real property" or "personal property" within 24 months from the
           date the loss or damage occurred, upon completion of the repair, rebuilding, or replacement, we will pay you
           the difference between the "actual cash value" previously paid and the "replacement cost" at the time of
           loss or damage.

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     3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling
          price, less any discounts and expenses you otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
          the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
          In no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   "Improvements and betterments" at:

          a.   The "replacement cost" if you make repairs with reasonable speed.

          b.   A proportion of your original cost if you do not make repairs with reasonable speed. We will determine
               the proportionate value as follows:

               1)   Multiply the original cost by the number of days from the loss or damage to the expiration of the
                    lease; and

               2)   Divide the amount determined in 1) above by the number of days from the installation of
                    "improvements and betterments" to the expiration of the lease.

               If your lease contains a renewal option, the expiration of the renewal option period will be used as the
               expiration of the lease.

          c.   That portion which has not been paid if others pay for repairs, rebuilding, or replacement.

     6.   "Personal property" which has been permanently removed from service at "actual cash value".

     7.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

F.   OPTIONAL COVERAGE

     Margin Clause

     If Margin Clause is shown on the Declarations, we will not pay more than the lesser of the following:

     1.   The amount of covered loss or damage at the "premises"; or

     2.   The percentage applied to the applicable Limit of Insurance for such property at the "premises".

     The most we will pay is the applicable percentage shown on the Declarations for Margin Clause. However, in no
     event will we pay more than $5,000,000 over the applicable Limits of Insurance shown on the Declarations for
     that "premises".

     This Optional Coverage for "real property" or "personal property" does not apply to:

     1.   Any Limit of Insurance applicable to more than one "premises"; or

     2.   Any other Limit of Insurance applicable for which a specific coverage Limit of Insurance is provided.




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Additional Coverages Form

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Additional Coverages Form

A.   ADDITIONAL COVERAGES

     The following are Additional Coverages to coverages set forth in this Commercial Property Coverage Part. If you
     have not chosen a coverage elsewhere in this Commercial Property Coverage Part, there is no coverage under its
     corresponding Additional Coverages. For example, if you do not have coverage for "stock" under the REAL AND
     PERSONAL PROPERTY COVERAGE FORM, you will not have coverage related to "stock" under the
     Consequential Loss--Undamaged Stock Additional Coverage, or any other Additional Coverage for "stock".

     Each of the following Additional Coverages apply independently of one another. Unless otherwise stated, the
     excluded causes of loss, exclusions, terms, and conditions in the applicable Coverage Forms apply to these
     Additional Coverages.

     The most we will pay for loss, damage, cost, or expense under any of the following Additional Coverages are the
     Limits of Insurance shown on the Declarations. Limits for these Additional Coverages apply in addition to any
     other applicable policy limits, unless otherwise stated.

       1.   Consequential Loss--Net Leasehold Interest

            We will pay for the loss of "net leasehold interest" you sustain when your lease is cancelled:

            a.    By the lessor; and

            b.    As a result of a valid condition of your lease,

            due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
            "covered cause of loss" at a "premises" or "reported unscheduled premises". We will not pay more
            than the "net leasehold interest" at the time of the cancellation of the lease. However, if your lease is
            cancelled and your landlord lets you continue to use the "premises" or "reported unscheduled
            premises" under a new lease, we will not pay more than:

            a.    The rent you will pay under the new lease; minus

            b.    The rent you were paying at the time of cancellation.

            We will not pay under this Additional Coverage if the "premises" or "reported unscheduled premises"
            where the lease is cancelled had been vacant for more than 60 consecutive days prior to the loss or
            damage unless you had entered into an agreement to sublease the "premises" or "reported
            unscheduled premises".

            The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
            premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Net Leasehold
            Interest.

            The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
            Insurance.



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2.     Consequential Loss--Tenant's Improvements and Betterments

       We will pay for the value of undamaged "improvements and betterments" when your lease is cancelled:

       a.    By the lessor; and

       b.    As a result of a valid condition of your lease,

       due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
       "covered cause of loss" at a "premises" or "reported unscheduled premises".

       If you rent an entire building, we will pay only if:

       a.    At least 25% of the area of that entire building has been damaged; or

       b.    A minimum of 6 months remains in your current lease and at least 6 months is required to repair the
             building for your occupancy.

       If you rent a portion of a building, we will only pay if:

       a.    A minimum of 6 months remains in your lease; and

       b.    At least 6 months is required to repair the building for your occupancy.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Tenant's
       Improvements and Betterments.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

3.     Consequential Loss--Undamaged Stock

       We will pay for the consequential loss in value of undamaged "stock" which has become unmarketable as
       a complete product because of direct physical loss of or damage to other "stock" directly caused by a
       "covered cause of loss".

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Undamaged
       Stock.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

4.     Contamination by a Refrigerant

       We will pay for direct physical loss of or damage to "stock" caused by the release or escape of
       refrigerants from any equipment located at a "premises" or "reported unscheduled premises" provided
       the release or escape was not caused by or resulted from "flood" or "earth movement".

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Contamination by a Refrigerant.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.



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5.     Debris Removal

       a.    We will pay your expense to remove debris of Covered Property, for which a Limit of Insurance is
             shown on the Declarations, remaining after a "covered cause of loss". The most we will pay
             under this Additional Coverage for Debris Removal is the remaining applicable Limit of Insurance for
             the Covered Property shown on the Declarations after payment of the covered physical loss or
             damage.

             If the total of the loss or damage and debris removal expense exceeds the applicable Limit of
             Insurance, we will pay the remaining debris removal expenses. The most we will pay under this
             Additional Coverage in any one occurrence is the Limit of Insurance shown on the Declarations for
             Debris Removal--Supplemental Limit.

       b.    If wind causes direct physical loss of or damage to Covered Property, we will also pay for the
             expenses you incur to remove debris of uncovered property that is blown on to the "premises" or
             "reported unscheduled premises" by wind and to remove debris of "outdoor trees, shrubs,
             plants, or lawns" damaged by wind.

             The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
             shown on the Declarations for Debris Removal--Uncovered Property.

       In no event will there be any coverage under this Debris Removal Additional Coverage for any costs to:

       a.    Extract "pollutants" from land or water; or

       b.    Remove, restore, or replace polluted land or water.

       The expenses will be paid only if they are reported to us in writing within 180 days of the date of loss or
       damage.

6.     Deferred Payments

       We will pay your financial interest in "personal property" that suffers direct physical loss or damage
       directly caused by a "covered cause of loss" after delivery to buyers and sold by you on a conditional
       sale or trust agreement, or any installment or deferred payment plan.

       This Additional Coverage does not apply to default of such agreement or plan by the buyer.

       We will determine the amount of covered loss or damage as follows:

       a.    In the event of a total loss and the buyer refuses to continue payment, coverage will be valued
             based on the amount shown on your books as due from the buyer;

       b.    In the event of partial loss or damage and the buyer refuses to continue payment, forcing you to
             repossess, coverage will be valued as follows:

             If the realized value of the repossessed "personal property" is:

             1)      Greater than or equal to the amount shown on your books as due from the buyer, we will
                     make no payment; or

             2)      Less than the amount shown on your books as due from the buyer, we will pay the difference,
                     less any amount that was past due at the time of loss by more than 30 days; and

       c.    When a loss occurs and the buyer continues to pay you, there will be no loss payment.



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       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Deferred Payments.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

7.     Electronic Vandalism--Direct Damage

       We will pay for loss of or damage to "accounts receivable records", "duplicate information property",
       "electronic data processing hardware", "original information property" or "research and
       development property" caused by "electronic vandalism".

       The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
       of Insurance shown on the Declarations for Electronic Vandalism--Direct Damage.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

8.     Expediting Expense

       In the event of covered loss of or damage to "real property" or "personal property" at a "premises" or
       "reported unscheduled premises" directly caused by a "covered cause of loss", we will pay
       reasonable and necessary additional expenses you incur for temporary repair of damage to such "real
       property" or "personal property" and the additional expenses you incur for expediting the permanent
       repair or replacement of such damaged property. This Additional Coverage does not include expenses
       recoverable elsewhere in this Commercial Property Coverage Part.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Expediting Expense.

9.     Fairs or Exhibitions

       We will pay for direct physical loss of or damage to "personal property":

       a.    At fairs or exhibitions; and

       b.    In transit to or from fairs or exhibitions,

       directly caused by a "covered cause of loss".

       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Fairs or Exhibitions--Personal Property.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

10.    Fire Department Service Charge

       When the fire department is called to save or protect Covered Property from a "covered cause of loss"
       at a "premises" or "reported unscheduled premises", we will pay for your liability for the fire
       department service charges:

       a.    Assumed by contract or agreement prior to loss; or

       b.    Required by local ordinance, law, or statute.



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      We will also pay for those costs incurred by your fire brigade to save or protect Covered Property from a
      fire, but not including the costs to refill fire protective equipment.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Fire Department Service Charge.

      No deductible applies to this Additional Coverage.

11.   Fire Protective Equipment Refills

      We will pay the reasonable and necessary costs you incur to refill fire protective equipment which has
      been discharged:

      a.      Accidentally; or

      b.      In the course of saving or protecting Covered Property from a "covered cause of loss".

      No Limit applies to this Additional Coverage.

12.   Inflation Guard

      The Limits of Insurance to which the Inflation Guard applies will automatically increase by the annual
      percentage shown on the Declarations.

      The amount of the increase will be:

      a.      The Limit of Insurance that applied on the most recent of this Commercial Property Coverage Part's
              inception date, anniversary date, or date of any other Commercial Property Coverage Part change
              amending the Limit of Insurance, multiplied by

      b.      The percentage of annual increase shown on the Declarations, expressed as a decimal (Example:
              8% is .08), multiplied by

      c.      The number of days since the beginning of the most recent Commercial Property Coverage Part
              year or the effective date of the most recent Commercial Property Coverage Part change amending
              the Limit of Insurance, divided by 365.

      Example:

      If:           The applicable Limit of Insurance is                                     $100,000

                    The annual percentage increase is                                               8%

                    The number of days since the beginning of the
                    Coverage Part Year (or last Coverage Part change) is                            146

      Then:         The amount of increase is $100,000 x .08 x 146 / 365 = $                      3,200

                    The available Limit of Insurance is                                      $103,200

13.   Lock and Key Replacement

      We will pay the reasonable cost of:

      a.      Entry key replacement if keys to a "premises" or "reported unscheduled premises" are stolen; or

      b.      Entry lock repair or replacement made necessary by theft or attempted theft at a "premises" or
              "reported unscheduled premises".
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      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Lock and Key Replacement.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

14.   Microorganisms

      We will pay the following when "microorganisms" are the result of a "covered cause of loss", other
      than fire or lightning:

      a.    Direct physical loss of or damage to Covered Property caused by "microorganisms", including the
            cost of removal of the "microorganisms";

      b.    The reasonable cost to tear out and replace any part of the covered building or other property
            needed to gain access to the "microorganisms"; and

      c.    The reasonable cost of testing performed after removal, repair, replacement, or restoration of the
            damaged property is completed, provided there is a reason to believe that the "microorganisms"
            are still present.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
      of Insurance shown on the Declarations for Microorganisms. Regardless of the number of claims, this
      Limit is the most we will pay for the total of all loss, damage, or cost, even if the "microorganisms"
      continue to be present, active, or recur.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

15.   Newly Acquired Premises

      We will pay for direct physical loss of or damage to "real property" or "personal property" at a "newly
      acquired premises" directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly
            acquired premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the
      applicable Limit of Insurance shown on the Declarations for Newly Acquired Premises.

16.   Newly Acquired Property

      We will pay for direct physical loss of or damage to:



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      a.    Your newly acquired or constructed "real property" at a "premises" if coverage is not currently
            shown for "real property" at that "premises" on the Declarations; and

      b.     Your newly acquired "personal property" at a "premises" if coverage is not currently shown for
            "personal property" at that "premises" on the Declarations.

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the newly acquired property to us;

      b.    The number of days shown on the Declarations from the date construction of "real property"
            begins or completed "real property" or "personal property" is acquired; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date construction of "real property"
      begins or "personal property" or completed "real property" is acquired.

      The most we will pay under this Additional Coverage at any one "premises" is the applicable Limit of
      Insurance shown on the Declarations for Newly Acquired Property.

17.   Off-Premises Service Interruption--Direct Damage

      We will pay for direct physical loss of or damage to "real property" and "personal property" at a
      "premises" or "reported unscheduled premises" directly caused by an "off-premises service
      interruption". The interruption must result from direct physical loss or damage directly caused by a
      "covered cause of loss" to any property located away from the "premises" or "reported
      unscheduled premises" and used to provide any of the following services to the "premises" or
      "reported unscheduled premises":

      a.    Water;

      b.    Power, including steam and natural gas; or

      c.    Communication.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--
      Direct Damage.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

18.   Outdoor Trees, Shrubs, Plants, or Lawns

      We will pay for direct physical loss of or damage to "outdoor trees, shrubs, plants, or lawns" at a
      "premises" or "reported unscheduled premises" directly caused by:

      a.    Fire;

      b.    Lightning;

      c.    Explosion;

      d.    Riot or civil commotion; or

      e.    Aircraft.
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      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" and for any one tree, shrub, plant, or lawn are the Limits of Insurance shown on the
      Declarations for Outdoor Trees, Shrubs, Plants, or Lawns.

19.   Pollutant Clean Up and Removal--Land and Water

      We will pay the reasonable expenses you incur to extract "pollutants" from land or water at a "premises"
      or "reported unscheduled premises" if the discharge, dispersal, seepage, migration, release, or escape
      of the "pollutants" is directly caused by a "covered cause of loss".

      This Additional Coverage does not apply to the costs to test for, monitor, or assess the existence,
      concentration, or effects of "pollutants". But we will pay for the reasonable cost of testing performed in
      the course of extracting the "pollutants" from the land or water.

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" in any one policy year is the Annual Aggregate Limit of Insurance shown on the Declarations
      for Pollutant Clean Up and Removal--Land and Water.

      The expenses will be paid only if they are reported to us in writing within 180 days of the date on which the
      "covered cause of loss" occurs.

20.   Preservation of Property

      If Covered Property is removed from a "premises" or "reported unscheduled premises" to preserve it
      from actual or imminent physical loss or damage caused by a "covered cause of loss":

      We will pay for:

      a.    Any direct physical loss of or damage to Covered Property while it is being moved to or while stored
            at another location for up to the number of days shown on the Declarations for Preservation of
            Property; and

      b.    The reasonable cost to remove Covered Property from the "premises" or "reported unscheduled
            premises".

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
      Insurance shown on the Declarations for that Covered Property.

21.   Professional Fees

      We will reimburse you for the reasonable expenses you incur for professional services for auditors,
      accountants, architects, or engineers which are necessary to prepare a statement of loss or exhibits
      required in connection with any loss covered under this Commercial Property Coverage Part. This
      Additional Coverage does not apply to fees and costs of:

      a.    Your employees; or

      b.    Attorneys, public adjusters, loss appraisers, or loss consultants.

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Professional Fees.

22.   Reported Unscheduled Premises

      We will pay for direct physical loss of or damage to "real property" and "personal property" at a
      "reported unscheduled premises" directly caused by a "covered cause of loss".
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      The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is
      the applicable Limit of Insurance shown on the Declarations for Reported Unscheduled Premises.

23.   Reward Payments

      We will reimburse you for rewards you pay for information leading to:

      a.    The successful return of undamaged stolen Covered Property to you or a law enforcement agency;
            or

      b.    The arrest and conviction of any persons for having damaged or stolen your Covered Property.

      The reward payments must be documented.

      The most we will pay under this Additional Coverage in any one occurrence is 25% of the covered loss,
      prior to the application of any applicable deductible and recovery of any Covered Property, up to the Limit
      of Insurance shown on the Declarations for Reward Payments.

24.   Salespersons Samples

      We will pay for direct physical loss of or damage to "salespersons samples" in transit while in the
      custody of a salesperson or at any location, other than a "premises" or "reported unscheduled
      premises", directly caused by a "covered cause of loss".

      The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
      shown on the Declarations for Salespersons Samples.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

25.   Spoilage--Equipment Breakdown

      We will pay for direct physical loss of or damage to "stock" at a "premises" or "reported unscheduled
      premises" directly caused by the loss of or changes in any artificially maintained or generated
      temperature, humidity, or atmosphere resulting from an "equipment breakdown cause of loss" to
      atmosphere control equipment at the "premises" or "reported unscheduled premises".

      The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Spoilage--Equipment Breakdown.

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.

26.   Theft Damage to Buildings

      We will pay for direct physical loss of or damage to "real property" at a "premises" or "reported
      unscheduled premises" in which you are a tenant directly caused by theft, burglary, or robbery, provided
      you are legally obligated to pay for such loss or damage.

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations
      for "personal property" at that "premises" or "reported unscheduled premises".

      The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
      Insurance.



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     27.   Unreported Premises

           We will pay for direct physical loss of or damage to "real property" and "personal property", other than
           "salespersons samples" or property in transit, at an "unreported premises" directly caused by a
           "covered cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises.

B.   DEDUCTIBLE

     We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of loss, damage, cost,
     or expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, cost, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.




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Accounts Receivable Coverage Form
(Revenue Loss)

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Accounts Receivable Coverage Form
(Revenue Loss)

A.   COVERAGES

     1.    Accounts Receivable (Revenue Loss)

           We will pay for:

           a.   The "money" due you from customers that you are unable to collect;

           b.   Interest charges on any loan required to offset amounts you are unable to collect pending our payment
                of these amounts; and

           c.   Collection expenses in excess of your normal collection expenses that are made necessary by the loss
                or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" at a "premises"
           or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
           premises" is the Limit of Insurance shown on the Declarations for Accounts Receivable (Revenue Loss).

     2. Accounts Receivable (Revenue Loss)--Away From Premises

           We will also pay for:

           1.   The "money" due you from customers that you are unable to collect;

           2.   Interest charges on any loan required to offset amounts you are unable to collect pending our payment
                of these amounts; and

           3.   Collection expenses in excess of your normal collection expenses that are made necessary by the loss
                or damage,

           that result from direct physical loss of or damage to your "accounts receivable records" away from a
           "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Accounts Receivable (Revenue Loss)--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Alteration, Falsification, Concealment, or Destruction

           We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
           destruction of "accounts receivable records" done to conceal the wrongful giving, taking, or withholding of
           "money", "securities", or other property.




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2.   Bookkeeping, Accounting, or Billing Mistakes

     We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in
     bookkeeping, accounting, or billing.

3.   Defects or Errors

     We will not pay for any of the following:

     a.   Loss or damage caused by or resulting from a "mistake" in:

          1)   Programming;

          2)   Instructions to a machine; or

          3)   Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting:

          1)   A "mistake" in planning, zoning, development, surveying, siting;

          2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
               grading, compaction;

          3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

          4)   Insufficient or failure of maintenance or servicing,

          of part or all of any property on or off a "premises" or "reported unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
          unscheduled premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "accounts receivable
     records". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

5.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including
     leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
     you have entrusted the "accounts receivable records" for any purpose:



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     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

6.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
     event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
     for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "accounts receivable records" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
     "fire protection sprinkler system piping" leakage.

7.   Electronic Vandalism

     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

8.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.   Wear and tear;

     b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.   Smog;

     d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
          property that causes it to damage or destroy itself;

     e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
          rodents, or other animals; or

     f.   Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".


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9.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
     the loss or damage which was solely caused by that fire, explosion, or theft.

10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

     This exclusion does not apply to acts of destruction of "accounts receivable records" ordered by
     governmental authority and taken at the time of fire to prevent its spread.

11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
     or "malfunction".

12. Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
     was solely caused by that fire.

14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:

     a.   War, including undeclared or civil war;



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          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss, damage, or expense in any one occurrence until the amount of loss, damage, or
     expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.

D.   VALUATION

     If you cannot accurately establish the amount of accounts receivable outstanding at the time of loss or damage
     to "accounts receivable records", the following method will be used to determine the amount of covered loss,
     damage, or expense:

     1.   Determine the total of the average monthly amounts of accounts receivable for the 12 months immediately
          preceding the month in which the loss or damage occurred; and

     2.   Adjust that total for normal fluctuations in the amount of accounts receivable for the month in which the loss
          or damage occurred or for any demonstrated variance from the average for that month.

     The following will be deducted from the total amount of accounts receivable, however that amount is established:

     1.   The amount of the accounts receivable for which there is no loss or damage;

     2.   The amount of the accounts receivable that you are able to re-establish or collect;

     3.   An amount to allow for probable bad debts that you are normally unable to collect; and

     4.   All unearned interest and service charges.




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Fine Arts Coverage Form

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Fine Arts Coverage Form

A.   COVERAGES

     1.    Fine Arts

           We will pay for direct physical loss of or damage to "fine arts" at a "premises" or "reported unscheduled
           premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
           premises" is the Limit of Insurance shown on the Declarations for Fine Arts.

      2. Fine Arts--Away From Premises

           We will also pay for direct physical loss of or damage to "fine arts" away from a "premises" or "reported
           unscheduled premises" directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Fine Arts--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.    Defects or Errors

           We will not pay for any of the following:

           a.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:

                1)   A "mistake" in planning, zoning, development, surveying, siting;

                2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
                     grading, compaction;

                3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

                4)   Insufficient or failure of maintenance or servicing,

                of part or all of any property on or off a "premises" or "reported unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
                that portion of the loss or damage which was solely caused by that "covered cause of loss".

           b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
                incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
                unscheduled premises".

                But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
                that portion of the loss or damage which was solely caused by that "covered cause of loss".




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2.   Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
     inventory or where there is no physical evidence to show what happened to the "fine arts". This exclusion
     applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

3.   Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including
     leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
     you have entrusted the "fine arts" for any purpose:

     a.   Acting alone or in collusion with others; or

     b.   Whether or not occurring during the hours of employment.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

     b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

4.   Earth Movement

     We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
     damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
     weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
     event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
     for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "fine arts" caused by leakage from "fire protection sprinkler system piping"
     results from "earth movement", and there is no other loss or damage from "earth movement" to that
     same property, we will pay for the direct physical loss or damage caused solely from the "fire protection
     sprinkler system piping" leakage.

5.   Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a.   Wear and tear;

     b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c.   Smog;

     d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
          property that causes it to damage or destroy itself;

     e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
          rodents, or other animals; or

     f.   Inherent vice.


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     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

6.   Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
     the loss or damage which was solely caused by that fire, explosion, or theft.

7.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of "fine arts" by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to:

          1)   Covered "real property"; or

          2)   Covered "personal property",

          directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

8.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
     or "malfunction".

9.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.




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         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
         of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     10. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
         to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
         radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
         was solely caused by that fire.

     11. Pollutants

         We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
         release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape
         is caused by a "specified cause of loss", we will pay only for that portion of the loss or damage which was
         solely caused by that "specified cause of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

     12. Repair, Restoration, or Retouching

         We will not pay for loss of or damage to "fine arts" caused by or resulting from repair, restoration, or
         retouching.

     13. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a. War, including undeclared or civil war;

         b. Warlike action by a military force, including action in hindering or defending against an actual or
            expected attack, by any government, sovereign, or other authority using military personnel or other
            agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     1.    "Fine arts" are valued based on the lesser of:

           a.   "Market value" at the time of loss or damage; or

           b.   The value of "fine arts" that are individually listed and described on the schedule on file with us.

     2.    Pairs or Sets

           In case of loss to any part of a pair or set, we may:

           a.   Repair or replace any part to restore the pair or set to its value before the loss; or

           b.   Pay the difference between the value of the pair or set before and after the loss.




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Installation and Service Property Coverage Form

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Installation and Service Property Coverage Form

A.   COVERAGES

     1.   Stock to be Installed

          We will pay for direct physical loss of or damage to "stock" directly caused by a "covered cause of loss"
          while such "stock" is:

          a.   At an "installation or service premises";

          b.   At a "temporary storage location"; or

          c.   In transit, to or from an "installation or service premises" or a "temporary storage location".

          Coverage ends at the earlier of the following:

          a.   Your insurable interest in the "stock" ceases;

          b.   The "stock" is accepted by the purchaser;

          c.   The "stock" is installed and you have been paid;

          d.   The "stock" is installed and put to its intended use; or

          e.   The policy expires or is cancelled.

          The most we will pay under this Marine Coverage in any one occurrence is the applicable Limit of Insurance
          shown on the Declarations for Installation and Service Property--Stock to be Installed.

     2.   Tools and Equipment

          We will pay for direct physical loss of or damage to:

          a.   "Personal property" that are tools and equipment; and

          b.   Vehicles that are not licensed for use on public roads,

          used by you to install or service property at an "installation or service premises" directly caused by a
          "covered cause of loss". Coverage applies while such property is:

          a.   At an "installation or service premises"; or

          b.   In transit, to or from an "installation or service premises".

          The most we will pay under this Marine Coverage for any one item and in any one occurrence is the
          applicable Limit of Insurance shown on the Declarations for Installation and Service Property--Tools and
          Equipment or in a schedule on file with us.




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B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Disappearance or Shortage

          We will not pay for loss caused by disappearance or shortage disclosed on taking inventory or where there
          is no physical evidence to show what happened to the property. This exclusion applies even if one of these
          excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

     3.   Dishonest Acts

          We will not pay for loss caused by or resulting from fraudulent, dishonest, or criminal acts or omissions,
          committed by you, your partners, "members", officers, "managers", employees (including leased or
          temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     4.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or



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     f.   Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

5.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

     This exclusion does not apply to:

     a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
          prevent its spread; or

     b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
          regulating construction, use, or repair of any property; provided such demolition order has become
          legally enforceable as a result of physical damage to "real property" containing covered "personal
          property" directly caused by a "covered cause of loss".

          However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
          which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
          or in any way respond to, or assess the effects of "microorganisms".

6.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
     or "malfunction".

7.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

8.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence

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     to the loss, even if such other cause or event would otherwise be covered. But, if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
     was solely caused by that fire.

9.   Precipitation

     We will not pay for loss or damage caused by or resulting from rain, hail, snow, ice, or sleet to property in
     the open. This exclusion applies even if one of these excluded causes of loss was caused by or resulted
     from a "mistake" or "malfunction".

     This exclusion does not apply to:

     a.   "Stock" in the custody of a carrier for hire; or

     b.   Vehicles that are not licensed for use on public roads.

10. Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:

          1)   A "mistake" in planning, zoning, development, surveying, siting;

          2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
               grading, compaction;

          3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

          4)   Insufficient or failure of maintenance or servicing,

          of part or all of any property on or off an "installation or service premises".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
          that portion of the loss or damage which was solely caused by that "covered cause of loss".

     c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off an "installation or service
          premises".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
          of the loss or damage which was solely caused by that "covered cause of loss".

     d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
          exclusion applies even this excluded cause of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
          of the loss or damage which was solely caused by that "covered cause of loss".




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     11. Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
          to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     12. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

     13. Weight of Load

          We will not pay for loss of or damage to "personal property" that are tools and equipment or vehicles used
          by you to install or service property caused by or resulting from the weight of a load exceeding the
          manufacturer's rated lifting or supporting capacity of any machine under the operating conditions at the time
          of loss or damage.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

D.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to Covered Property in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   The coverage provided for "stock" by this Coverage Form is primary to any other insurance not subject to
          the same plan, terms, conditions, and provisions as this Coverage Form.

E.   VALUATION

     We will determine the value of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or


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     b.   The "amount you actually spend" to repair, rebuild, or replace Covered Property.

2. Except as provided in 3., 5., 6., and 7. below, Covered Property which is not repaired, rebuilt, or replaced will
   be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
   rebuilding, or replacement of the lost or damaged Covered Property within 24 months from the date the loss
   or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the difference
   between the "actual cash value" previously paid and the "replacement cost" at the time of loss or
   damage.

3.   "Merchandise" and "finished stock" at the regular cash selling price, less any discounts and expenses
     you otherwise would have had.

4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
     the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
     In no event will overhead be calculated in accordance with the principles of Absorption Costing.

5.   Covered Property which has been permanently removed from service at "actual cash value".

6.   "Duplicate information property" at the lesser of:

     a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

     b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
          source on the same type of materials, provided such copying does not violate licensing or contract
          agreements.

 7. Subject to 1., 2., and 5. above, the most we will pay for any one item for scheduled equipment is the value
    per item shown on the schedule on file with us.




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Original Information Property Coverage Form

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Original Information Property Coverage Form

A. COVERAGES

  1. Original Information Property

      We will pay for direct physical loss of or damage to "original information property" at a "premises" or
      "reported unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Original Information Property.

  2. Original Information Property--Away From Premises

      We will also pay for direct physical loss of or damage to "original information property" away from a
      "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
      the Declarations for Original Information Property--Away From Premises.

B. EXCLUDED CAUSES OF LOSS

  1. Alteration, Falsification, Concealment, or Destruction

      We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
      destruction of "original information property" done to conceal the wrongful giving, taking, or withholding of
      "money", "securities", or other property.

   2. Bookkeeping, Accounting, or Billing Mistakes

      We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in bookkeeping,
      accounting, or billing.

   3. Defects or Errors

      We will not pay for any of the following:

      a. Loss or damage caused by or resulting from a "mistake" in:

          1) Programming;

          2) Instructions to a machine; or

          3) Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

      b. Loss or damage, including the costs of correcting or making good, caused by or resulting from:

          1) A "mistake" in planning, zoning, development, surveying, siting;

          2) A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
             grading, compaction;
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       3) A "mistake" in materials used in repair, construction, renovation, or remodeling; or

       4) Insufficient or failure of maintenance or servicing,

       of part or all of any "original information property" on or off a "premises" or "reported unscheduled
       premises".

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".

   c. Loss or damage, including the costs of correcting or making good, caused by or resulting from
      incorporating "defective materials" into part or all of any "original information property" on or off a
      "premises" or "reported unscheduled premises".

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".

4. Disappearance or Shortage

   We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking inventory
   or where there is no physical evidence to show what happened to the "original information property". This
   exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
   "malfunction".

5. Dishonest Acts

   We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
   omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
   or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
   entrusted the "original information property" for any purpose:

   a. Acting alone or in collusion with others; or

   b. Whether or not occurring during the hours of employment.

   This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
   "mistake" or "malfunction".

   This exclusion does not apply to:

   a. Acts of vandalism committed by your employees (including leased or temporary employees); or

   b. Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

6. Earth Movement

   We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or damage
   is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
   condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event would
   otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that portion
   of the loss or damage which was solely caused by that fire, explosion, or theft.

   If loss of or damage to "original information property" caused by leakage from "fire protection sprinkler
   system piping" results from "earth movement", and there is no other loss or damage from "earth
   movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
   "fire protection sprinkler system piping" leakage.

7. Electronic Vandalism
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   We will not pay for loss or damage caused by or resulting from "electronic vandalism".

   This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
   "malfunction".

8. Expected, Preventable, or Accumulated Losses

   We will not pay for loss or damage caused by or resulting from:

   a. Wear and tear;

   b. Smoke, vapor, or gas from agricultural smudging or industrial operations;

   c. Smog;

   d. Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the property
      that causes it to damage or destroy itself;

   e. Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents,
      or other animals; or

   f.   Inherent vice.

   Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
   "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
   other cause or event would otherwise be covered.

   But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
   portion of the loss or damage which was solely caused by that "covered cause of loss".

9. Flood

   We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
   regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
   contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise be
   covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
   which was solely caused by that fire, explosion, or theft.

10. Governmental Action

   We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
   nationalization, or destruction of property by order of governmental authority. Such loss or damage is
   excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
   that contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
   be covered.

   This exclusion does not apply to acts of destruction of "original information property" ordered by
   governmental authority and taken at the time of fire to prevent its spread.

11. Loss of Market or Delay

   We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
   exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
   "malfunction".

12. Microorganisms


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     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or aggravated
     by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless resulting from fire
     or lightning. Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
     other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or radioactive
     contamination, however caused. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered. But if nuclear reaction or radiation, or radioactive
     contamination results in fire, we will pay for that portion of the loss or damage which was solely caused by that
     fire.

  14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:

     a. War, including undeclared or civil war;

     b. Warlike action by a military force, including action in hindering or defending against an actual or expected
        attack, by any government, sovereign, or other authority using military personnel or other agents; or

     c. Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by hindering
        or defending against any of these.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
     "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

C. DEDUCTIBLE

  We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
  applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
  the Deductibles, up to the applicable Limits of Insurance.

D. VALUATION

  We will determine the value of covered loss or damage to lost or damaged "original information property" at the
  full cost necessary to research and reproduce a master copy, including the information and material on which it
  resides. However, we will only pay for costs of research and reproduction if you reproduce your "original
  information property". We will not include the cost of making additional copies.




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Transit Coverage Form

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Transit Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "personal property" in transit, including:

     1.   Your interest in shipments sold under Free on Board or Freight Allowed terms;

     2.   "Personal property" when the purchaser refuses to accept delivery or returns it to the shipper; or

     3.   General average and salvage charges on shipments while waterborne,

     directly caused by a "covered cause of loss".

     The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on the
     Declarations for Transit--Personal Property.

B.   PROPERTY NOT COVERED

     This Coverage Form does not apply to:

     1.   "Personal property" in transit to or from a fair or exhibition;

     2.   "Salespersons samples";

     3.   Property of others in your care, custody, or control if you are acting as a carrier for hire, broker, loader,
          consolidator, or freight forwarder with a written contract or bill of lading;

     4.   "Personal property" used by you to install or service property at an "installation or service premises";

     5.   "Stock" in transit to or from an "installation or service premises" or a "temporary storage location";

     6.   Furs, fur garments, and garments trimmed with fur;

     7.   Jewelry, watches, watch movements, jewels, pearls, precious or semiprecious stones, bullion, gold, silver,
          platinum, and other precious alloys or metals, except for:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes; or

     8.   Lottery tickets held for sale.




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C.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including
          leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
          you have entrusted the "personal property" for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     3.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or

          f.   Inherent vice.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
          such other cause or event would otherwise be covered.



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     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

4.   Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

     This exclusion does not apply to seizure or destruction of property by order of governmental authority and
     taken at the time of fire to prevent its spread.

5.   Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
     or "malfunction".

6.   Microorganisms

     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
     aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
     resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
     sequence to the loss, even if such other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
     of loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

7.   Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
     radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
     cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
     to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
     radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
     was solely caused by that fire.

8.   Process Failures, Defects, or Errors

     We will not pay for any of the following:

     a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
          or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
          development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
          such "stock".

     b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
          incorporating "defective materials" into part or all of any property on or off the "premises".



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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
               of the loss or damage which was solely caused by that "covered cause of loss".

     9.   Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
          to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     10. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to "personal property" in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   If "personal property" in transit which was sold under Free on Board or Freight Allowed terms is lost or
          damaged and the consignee refuses to pay for such "personal property" because of the loss or damage,
          we will not attempt to enforce collection from the consignee without your written permission.

F.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., and 6. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace "personal property".



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2.   Except as provided in 3., 5., and 6. below, "personal property" which is not repaired, rebuilt, or replaced
     will be valued at the "actual cash value" at the time and place of loss or damage. If you commence the
     repair, rebuilding, or replacement of the lost or damaged "personal property" within 24 months from the
     date the loss or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you
     the difference between the "actual cash value" previously paid and the "replacement cost" at the time of
     loss or damage.

3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling
     price, less any discounts and expenses you otherwise would have had.

4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
     the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
     In no event will overhead be calculated in accordance with the principles of Absorption Costing.

5.   "Personal property" which has been permanently removed from service at "actual cash value".

6.   "Duplicate information property" at the lesser of:

     a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

     b. The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
         source on the same type of materials, provided such copying does not violate licensing or contract
         agreements.




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Business Income Coverage Form Including
Research and Development Continuing Expenses
(Excluding Extra Expense)--Technology

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Business Income Coverage Form Including
Research and Development Continuing Expenses
(Excluding Extra Expense)--Technology
A.   COVERAGES

     1.     Business Income

            We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
            your "operations" during the "period of restoration". The "suspension" must be caused by direct
            physical loss of or damage to property at a "premises" at which a Limit of Insurance is shown on the
            Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of
            loss". We will not pay more than the applicable Limit of Insurance shown on the Declarations for Business
            Income at that "premises".

     2.     Research and Development Continuing Expenses

            We will pay for the actual and necessary "research and development continuing expenses" you incur due
            to the necessary "suspension" of your "research and development operations" during the "period of
            restoration". The "suspension" must be caused by direct physical loss of or damage to property at a
            "premises" at which "research and development operations" are conducted and for which a Limit of
            Insurance is shown on the Declarations for Research and Development Continuing Expenses. The loss or
            damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable
            Limit of Insurance shown on the Declarations for Research and Development Continuing Expenses at that
            "premises".

B.   ADDITIONAL COVERAGES

     1.     Civil Authority

            a.   We will pay for the actual loss of "business income" you sustain for up to the number of days shown
                 on the Declarations for Civil Authority resulting from the necessary "suspension", or delay in the start,
                 of your "operations" if the "suspension" or delay is caused by order of civil authority that prohibits
                 access to the "premises" or "reported unscheduled premises". That order must result from a civil
                 authority’s response to direct physical loss of or damage to property located within one mile from the
                 "premises" or "reported unscheduled premises" which sustains a "business income" loss. The
                 loss or damage must be directly caused by a "covered cause of loss".

                 The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
                 Declarations for Business Income at the "premises" or "reported unscheduled premises" where
                 access was prohibited.

                 The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
                 Insurance.

            b.   We will pay for the actual and necessary "research and development continuing expenses" you
                 incur for up to the number of days shown on the Declarations for Civil Authority resulting from the
                 necessary "suspension", or delay in the start, of your "research and development operations" if the
                 "suspension" or delay is caused by order of civil authority that prohibits access to the "premises"
                 where "research and development operations" are conducted. That order must result from a civil
                 authority’s response to direct physical loss of or damage to property located within one mile from the
                 "premises" where the "research and development continuing expenses" are incurred. The loss or
                 damage must be directly caused by a "covered cause of loss".

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           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where access
           was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

2.   Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
     late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
     property at a "premises" or "reported unscheduled premises" at which a Limit of Insurance is shown on
     the Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of
     loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Contractual Penalties.

3.   Delayed Net Income

     We will pay for the actual loss of "net income" you sustain after the "extended period of indemnity".

     We only pay if the following conditions apply:

     a.    The loss of "net income" must be caused by direct physical loss of or damage to property directly
           related to "research and development operations" at a "premises" or "reported unscheduled
           premises" at which a Limit of Insurance is shown on the Declarations for Business Income and must
           result in a delay in the introduction of a new product or the enhancement of an existing product;

     b.    The loss or damage must be directly caused by a "covered cause of loss";

     c.    You begin to sustain the loss of "net income" within 24 months of the date of the direct physical loss of
           or damage to property; and

     d.    You notify us in writing of such loss of "net income" within 24 months of the date of the direct physical
           loss or damage.

     We will only pay the actual loss of "net income" you sustain during the period that:

     a.    Begins on the first date after the "extended period of indemnity" on which you begin to sustain the
           loss of "net income"; and

     b.    Continues for a period of time equal to the time it should have taken, with reasonable speed, to repair,
           rebuild, or replace the damaged property to the condition that existed prior to the loss or damage.

     If a competitor introduces a similar product prior to the date you originally scheduled the introduction of a new
     or enhanced product, then the amount of the "net income" loss will be adjusted to reflect the competitor's
     action.

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
     damage occurred.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.



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4.   Electronic Vandalism

     We will pay for the actual loss of "business income" you sustain and the actual and necessary "research
     and development continuing expenses" you incur due to the necessary "suspension" of your
     "operations" or "research and development operations" provided the "suspension" was directly caused
     by "electronic vandalism".

     The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
     Insurance shown on the Declarations for Electronic Vandalism--Business Income.

5.   Expense to Reduce Loss

     We will pay reasonable and necessary expenses you incur, except the cost of extinguishing a fire, to reduce
     the amount of loss of "business income". We will pay for such expenses to the extent that they do not
     exceed the amount of loss that otherwise would have been payable under this Coverage Form and subject to
     the applicable Limit of Insurance shown on the Declarations for Business Income at that "premises".

6.   Extended Period of Indemnity

     a.    If the necessary "suspension" of your "operations" produces a "business income" loss payable
           under this Coverage Form, and you resume "operations" with reasonable speed, we will pay for the
           actual loss of "business income" you sustain during the "extended period of indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Business Income at the "premises" or "reported unscheduled premises" where the
           direct physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

     b.    If the necessary "suspension" of your "research and development operations" directly causes a
           suspension, lapse, or cancellation of any license, lease, or contract, including milestone contracts, we
           will pay the portion of "research and development continuing expenses" directly attributable to that
           suspension, lapse, or cancellation during the "research and development extended period of
           indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where the direct
           physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

7.   Fairs or Exhibitions

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
     your "operations" during the "period of restoration". The "suspension" must be caused by direct
     physical loss of or damage to property at, or while in transit to or from, any fair or exhibition. The loss or
     damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Fairs or Exhibitions--Business Income.

8.   Food and Drug Administration (FDA) Recertification--Business Income




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      We will extend the "period of restoration" to include the period of time that begins when you advise the
      FDA, as required, that you are ready to resume your "operations" and ends when the FDA approves and
      certifies the "premises" or "reported unscheduled premises" to resume your "operations" at the same
      level of certification that existed prior to the "suspension" of your "operations". The "period of
      restoration" does not include time required to obtain approvals or certificates that you were not legally
      required to have prior to the "suspension" of your "operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
      damage occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

9.    Food and Drug Administration (FDA) Recertification--Research and Development Continuing
      Expenses

      We will extend the "period of restoration" to include the period of time that begins when you advise the
      FDA, as required, that you are ready to resume your "research and development operations" and ends
      when the FDA approves and certifies the "premises" to resume your "research and development
      operations" at the same level of certification that existed prior to the "suspension" of your "research and
      development operations". The "period of restoration" does not include time required to obtain approvals
      or certificates that you were not legally required to have prior to the "suspension" of your "research and
      development operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Research and Development Continuing Expenses at the "premises" where the direct physical loss or
      damage occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

10.   Ingress/Egress

      a.    We will pay for the actual loss of "business income" you sustain for up to the number of days shown
            on the Declarations for Ingress/Egress following the necessary "suspension" of your "operations",
            when ingress or egress by your suppliers, customers, or employees to the "premises" or "reported
            unscheduled premises" is physically obstructed due to direct physical loss or damage. The actual
            loss of "business income" you sustain must be caused by direct physical loss of or damage to
            property not owned, occupied, leased, or rented by you, or insured under this Commercial Property
            Coverage Part. That property must be located within one mile from the "premises" or "reported
            unscheduled premises" which sustains a "business income" loss. The obstruction cannot be the
            result of an order of civil authority that prohibits access to that "premises" or "reported unscheduled
            premises". The loss or damage must be directly caused by a "covered cause of loss".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Business Income at the "premises" or "reported unscheduled premises" where
            ingress or egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.

      b.    We will pay for the actual and necessary "research and development continuing expenses" you
            incur for up to for up to the number of days shown on the Declarations for Ingress/Egress following the
            necessary "suspension" of your "research and development operations", when ingress or egress
            by your suppliers, customers, or employees to the "premises" is physically obstructed due to direct
            physical loss or damage. The actual and necessary "research and development continuing
            expenses" you incur must be caused by direct physical loss of or damage to property not owned,


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            occupied, leased, or rented by you, or insured under this Commercial Property Coverage Part. That
            property must be located within one mile from the "premises" where the "research and development
            operations" are conducted. The obstruction cannot be the result of an order of civil authority that
            prohibits access to that "premises". The loss or damage must be directly caused by a "covered cause
            of loss".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Research and Development Continuing Expenses at the "premises" where ingress or
            egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.

11.   Microorganisms

      We will pay for the actual loss of "business income" you sustain due to the:

      a.    Necessary "suspension" of your "operations" from direct physical loss of or damage to Covered
            Property caused by "microorganisms" when the "microorganisms" are the result of a "covered
            cause of loss"; or

      b.    Prolonged "period of restoration" due to the remediation of "microorganisms" from a covered loss.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
      Insurance shown on the Declarations for Microorganisms--Business Income. Regardless of the number of
      claims, this Limit of Insurance is the most we will pay for the total of all loss, even if the "microorganisms"
      continue to be present, active, or recur.

12.   Newly Acquired Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
      your "operations" during the "period of restoration". The "suspension" must be caused by direct
      physical loss of or damage to your property at a "newly acquired premises". The loss or damage must be
      directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
            premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
      Insurance shown on the Declarations for Newly Acquired Premises--Business Income.

13.   Reported Unscheduled Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
      your "operations" during the "period of restoration". The "suspension" must be caused by direct
      physical loss of or damage to property at a "reported unscheduled premises". The loss or damage must
      be directly caused by a "covered cause of loss".


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           The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
           Limit of Insurance shown on the Declarations for Reported Unscheduled Premises--Business Income.

     14.   Transit

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
           your "operations" during the "period of restoration". The "suspension" must be caused by direct
           physical loss of or damage to property in transit, other than while in transit to or from any fair or exhibition.
           The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Transit--Business Income.

     15.   Unreported Premises

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
           your "operations" during the "period of restoration". The "suspension" must be caused by direct
           physical loss of or damage to your property, or property of your landlord, at an "unreported premises". The
           loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises--Business Income.

C.   EXCLUSIONS

     1.    Real or Personal Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the REAL AND
           PERSONAL PROPERTY COVERAGE FORM, except Off-Premises Service Interruption, apply to loss of
           "business income" and "research and development continuing expenses" incurred caused by or
           resulting from loss of or damage to any property other than:

           a.    "Research and development property";

           b.    "Fine arts";

           c.    "Original information property";

           d.    "Outdoor trees, shrubs, plants, or lawns";

           e.    "Green roofing systems"; or

           f.    "Personal property" in transit.

     2.    Research and Development Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the RESEARCH AND
           DEVELOPMENT PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
           development continuing expenses" incurred caused by or resulting from loss of or damage to "research
           and development property".




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3.   Fine Arts

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the FINE ARTS
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
     "fine arts".

4.   Original Information Property

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the ORIGINAL
     INFORMATION PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
     development continuing expenses" incurred caused by or resulting from loss of or damage to "original
     information property".

5.   Personal Property in Transit

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the TRANSIT
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
     "personal property" in transit.

6.   Finished Stock

     We will not pay for loss of "business income" caused by or resulting from:

     a.    Loss of or damage to "finished stock"; or

     b.    The time required to replace "finished stock".

7.   Off-Premises Service Interruption

     We will not pay for loss of "business income" or "research and development continuing expenses"
     incurred caused by or resulting from any "off-premises service interruption". Such loss is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise be
     covered.

8.   Suspension, Lapse, or Cancellation

     a.    We will not pay for any loss of "business income" caused by or resulting from a suspension, lapse, or
           cancellation of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly
           caused by the "suspension" of your "operations". If the suspension, lapse, or cancellation of any
           license, lease, or contract is directly caused by the "suspension" of your "operations", we will not pay
           for that portion of any loss from such suspension, lapse, or cancellation which occurs after the
           "extended period of indemnity".

     b.    We will not pay for any "research and development continuing expenses" incurred caused by or
           resulting from a suspension, lapse, or cancellation of any license, lease, or contract, unless the
           suspension, lapse, or cancellation is directly caused by the "suspension" of your "research and
           development operations". If the suspension, lapse, or cancellation of any license, lease, or contract
           is directly caused by the "suspension" of your "research and development operations", we will not
           pay for that portion of any loss from such suspension, lapse, or cancellation which occurs after the
           "research and development extended period of indemnity".




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D.   LIMITATIONS

     1.    Idle Periods
           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred during any period in which business would not or could not have been conducted for any reason
           other than:
           a.     Direct physical loss of or damage to property as described in Section A., Coverages, above;

           b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as
                 described in the Civil Authority Additional Coverage above; or

           c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled
                 premises" as described in the Ingress/Egress Additional Coverage above.

     2.    Strikers or Others Causing Delay

           We will not pay for any loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from delay in rebuilding, repairing, or replacing property, or resuming
           "operations" or "research and development operations", due to the interference at the location of the
           rebuilding, repair, or replacement by strikers or other persons.

     3.    Outdoor Trees, Shrubs, Plants, or Lawns

           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from loss of or damage to "outdoor trees, shrubs, plants, or lawns" unless
           the loss or damage is directly caused by fire, lightning, explosion, riot or civil commotion, or aircraft.

     4.    Green Roofing Systems

           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from loss of or damage to "green roofing systems" unless the loss or
           damage is directly caused by a "covered cause of loss" other than loss or damage caused by or resulting
           from:

           a.    Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                 rodents, or other animals;

           b.    Disease;

           c.    Changes in or extremes of temperature;

           d.    Dampness or dryness of atmosphere or of soil supporting the vegetation; or

           e.    Rain, snow, hail, ice, or sleet.

E.   DEDUCTIBLE

     We will not pay for any loss of "business income" or "research and development continuing expenses"
     incurred in any one occurrence until the amount of loss or expense incurred exceeds the applicable Deductibles or
     is incurred after the applicable Waiting Periods shown on the Declarations. We will then pay the amount of actual
     "business income" loss sustained or actual and necessary "research and development continuing expenses"
     incurred in excess of the Deductibles or incurred after the Waiting Periods, up to the applicable Limits of Insurance.

     If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical
     loss of or damage to property, directly caused by a "covered cause of loss".



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F.   LOSS DETERMINATION

     1.   Sources of Information

          The amount of actual "business income" loss sustained will be based on relevant sources of information,
          including, but not limited to:

          a.    Your financial records, tax returns, and accounting procedures;

          b.    Bills, invoices, and other vouchers; and

          c.    Deeds, liens, and contracts.

     2.   Net Income

          The amount of "net income" will be determined based on:

          a.    The "net income" of the business before the direct physical loss or damage occurred; and

          b.    The likely "net income" of the business if no direct physical loss or damage had occurred.

     3.   Continuing Expenses

          The amount of "continuing expenses" will be determined based on those expenses which are necessary to
          resume your "operations" with the same quality of service that existed just before the direct physical loss or
          damage and which are incurred during the "period of restoration" or "extended period of indemnity".

     4.   Resumption of Operations

          We will reduce the amount of the "business income" loss and "research and development continuing
          expenses" paid:

          a.    To the extent you could resume your "operations" or "research and development operations", in
                whole or in part, by using damaged or undamaged property, including "stock"; or

          b.    To the extent you could resume your "operations" or "research and development operations", in
                whole or in part, by using any other location.

     5.   Research and Development Continuing Expenses

          The amount of "research and development continuing expenses" incurred will be determined based on
          those expenses which are necessary to resume "research and development operations" of the same or
          similar nature that existed just before the direct physical loss or damage and which are incurred during the
          "period of restoration" or "research and development extended period of indemnity".

     6.   Finished Stock and Merchandise

          Lost or damaged "finished stock" or "merchandise" that is valued at regular cash selling price will be
          considered to have been sold to your customers and will be credited against the lost sales.




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G.   OPTIONAL COVERAGES

     If shown on the Declarations, the following Optional Coverages apply separately to each item:

     1.    Maximum Period of Indemnity

           The most we will pay for loss of "business income" is the lesser of:

           a.    The amount of loss sustained during the 120 days immediately following the beginning of the "period
                 of restoration"; or

           b.    The Limit of Insurance shown on the Declarations.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The following Additional Coverages do not apply:

           a.    Delayed Net Income; and

           b.    Extended Period of Indemnity.

     2.    Monthly Limit of Indemnity

           The most we will pay for loss of "business income" in each period of 30 consecutive days after the
           beginning of the "period of restoration" is:

           a.    The Limit of Insurance, multiplied by

           b.    The fraction shown on the Declarations for this Optional Coverage.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The following Additional Coverages do not apply:

           a.    Delayed Net Income; and

           b.    Extended Period of Indemnity.

           Example:

           If:

           a.    The Limit of Insurance is $120,000.

           b.    The fraction shown on the Declarations for this Optional Coverage is 1/4.

           The most we will pay for loss in each period of 30 consecutive days is $30,000.

           If, in this example, the actual amount of the loss is:

           Days 1-30      $40,000
           Days 31-60      20,000
           Days 61-90      30,000
                          $90,000




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We will pay:

Days 1-30      $30,000
Days 31-60      20,000
Days 61-90      30,000
               $80,000

The remaining $10,000 of loss is not covered.




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Extra Expense Coverage Form

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Extra Expense Coverage Form
A.   COVERAGE

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property at a "premises" at which a Limit of Insurance is shown for Extra Expense on the Declarations. The loss or
     damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable Limit of
     Insurance shown on the Declarations for Extra Expense at that "premises".

B.   ADDITIONAL COVERAGES

     1.    Civil Authority

           We will pay for the actual and necessary "extra expense" you incur for up to the number of days shown on
           the Declarations for Civil Authority when an order of civil authority prohibits access to the "premises" or
           "reported unscheduled premises". That order must result from a civil authority’s response to direct physical
           loss of or damage to property located within one mile from the "premises" or "reported unscheduled
           premises" where the "extra expense" was incurred. The loss or damage must be directly caused by a
           "covered cause of loss".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Ingress/Egress

           We will pay for the actual and necessary "extra expense" you incur for up to the number of days shown on
           the Declarations for Ingress/Egress, when ingress or egress by your suppliers, customers, or employees to the
           "premises" or "reported unscheduled premises" is physically obstructed due to direct physical loss or
           damage. The actual and necessary "extra expense" you incur must be caused by direct physical loss of or
           damage to property not owned, occupied, leased, or rented by you, or insured under this Commercial Property
           Coverage Part. That property must be located within one mile from the "premises" or "reported
           unscheduled premises" where the "extra expense" was incurred. The obstruction cannot be the result of
           an order of civil authority that prohibits access to that "premises" or "reported unscheduled premises".
           The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under the Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where ingress or egress was
           obstructed.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     3.    Newly Acquired Premises

           We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
           to your property at a "newly acquired premises". The loss or damage must be directly caused by a
           "covered cause of loss".

           This Additional Coverage will automatically expire on the earliest of the following dates:

           a.    The date you report the "newly acquired premises" to us;


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          b.   The number of days shown on the Declarations from the date the location becomes a "newly acquired
               premises"; or

          c.   The date this policy expires or is cancelled.

          We will charge you additional premium for values reported from the date the location becomes a "newly
          acquired premises".

          The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
          Insurance shown on the Declarations for Newly Acquired Premises--Extra Expense.

     4.   Reported Unscheduled Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
          to property at a "reported unscheduled premises". The loss or damage must be directly caused by a
          "covered cause of loss".

          The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
          Limit of Insurance shown on the Declarations for Reported Unscheduled Premises--Extra Expense.

     5.   Unreported Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
          to your property at an "unreported premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Extra Expense.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the REAL AND PERSONAL
          PROPERTY COVERAGE FORM, except Off Premises Service Interruption, apply to "extra expense"
          incurred caused by or resulting from loss of or damage to any property other than:

          a.   "Fine arts";

          b.   "Original information property";

          c.   "Outdoor trees, shrubs, plants, or lawns"; or

          d.   "Green roofing systems".

     2.   Fine Arts

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the FINE ARTS COVERAGE
          FORM apply to "extra expense" incurred caused by or resulting from loss of or damage to "fine arts".




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     3.   Original Information Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to "extra expense" incurred caused by or resulting
          from loss of or damage to "original information property".

     4.   Off-Premises Service Interruption

          We will not pay for "extra expense" incurred caused by or resulting from any "off-premises service
          interruption". Such loss is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
          other cause or event would otherwise be covered.

     5.   Suspension, Lapse, or Cancellation

          We will not pay for "extra expense" incurred caused by or resulting from a suspension, lapse, or cancellation
          of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused by the
          "suspension" of your "operations". If the suspension, lapse, or cancellation of any license, lease, or
          contract is directly caused by the "suspension" of your "operations", we will not pay for that portion of any
          "extra expense" incurred from such suspension, lapse, or cancellation which occurs after the "period of
          restoration".

D.   LIMITATIONS

     1.   Idle Periods

          We will not pay for "extra expense" incurred during any period in which business would not or could not have
          been conducted for any reason other than:

          a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

          b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as
                described in the Civil Authority Additional Coverage above; or

          c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled
                premises" as described in the Ingress/Egress Additional Coverage above.

     2.   Strikers or Others Causing Delay

          We will not pay for any increase in "extra expense" incurred caused by delay in rebuilding, repairing, or
          replacing property or resuming "operations", due to the interference at the location of the rebuilding, repair,
          or replacement by strikers or other persons.

     3.   Outdoor Trees, Shrubs, Plants, or Lawns

          We will not pay for "extra expense" incurred caused by or resulting from loss of or damage to "outdoor
          trees, shrubs, plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot
          or civil commotion, or aircraft.

     4.   Green Roofing Systems

          We will not pay for "extra expense" incurred caused by or resulting from loss of or damage to "green
          roofing systems" unless the loss or damage is directly caused by a "covered cause of loss" other than loss
          or damage caused by or resulting from:




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          a.    Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                rodents, or other animals;

          b.    Disease;

          c.    Changes in or extremes of temperature;

          d.    Dampness or dryness of atmosphere or of soil supporting the vegetation; or

          e.    Rain, snow, hail, ice, or sleet.

E.   DEDUCTIBLE

     We will not pay for any "extra expense" incurred in any one occurrence until the amount of "extra expense"
     incurred exceeds the applicable Deductibles shown on the Declarations. We will then pay the actual and necessary
     "extra expense" incurred in excess of the Deductibles up to the applicable Limits of Insurance.

F.   LOSS DETERMINATION

     1.   Sources of Information

          The amount of actual and necessary "extra expense" incurred will be based on relevant sources of
          information, including, but not limited to:

          a.    Your financial records, tax returns, and accounting procedures;

          b.    Bills, invoices, and other vouchers; and

          c.    Deeds, liens, and contracts.

     2.   Extra Expense

          The amount of actual and necessary "extra expense" incurred will be determined based on:

          a.    All "extra expense" that exceeds the normal operating expenses that would have been incurred by your
                "operations" during the "period of restoration" if no direct physical loss or damage had occurred; and

          b.    All expenses that reduce the "extra expense" that otherwise would have been incurred.

          We will deduct from the total "extra expense" incurred the salvage value of any property bought for
          temporary use during the "period of restoration", once "operations" are resumed.

     3.    Resumption of Operations

          We will reduce the amount of "extra expense" paid to the extent you can return "operations" to normal and
          discontinue such "extra expense".




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Wind and Hail--Direct Damage and
Time Element Deductible

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
    (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM


   The Wind and Hail--Direct Damage and Time Element Deductible only applies to loss or damage that, but for the
   application of the Deductible, would be paid by us under this Commercial Property Coverage Part.

   With respect to any "premises" at which a Wind and Hail--Direct Damage and Time Element Deductible is shown on
   the Declarations, the following is added to the Deductible section:

   With respect to all loss or damage caused directly or indirectly by wind or hail, regardless of whether any other
   cause or event, including a "mistake", "malfunction", or another weather condition, contributes concurrently or in any
   sequence to the loss, the following applies:

   We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the amount of
   covered loss, damage, cost, or expense exceeds the Wind and Hail--Direct Damage and Time Element Deductible
   shown on the Declarations for that "premises". We will then pay for the amount of covered loss, damage, cost, or
   expense in excess of the Deductible, up to the applicable Limits of Insurance.

   If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on the
   Declarations will apply separately and individually to the covered loss, damage, cost, or expense at each "premises".

   The Wind and Hail Deductibles apply to all covered loss, damage, cost, or expense covered by "time element
   coverage" when the loss, damage, cost, or expense is caused directly or indirectly by wind or hail even if no other
   deductible applies to the "time element coverage".




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Dependent Premises Business Income
Coverage--Scheduled Limits and Locations

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                      SCHEDULE*

Name, Occupancy, and Location of "Dependent Premises"                            Limit of Insurance               Deductible

"Contributing Locations":



"Recipient Locations":



"Manufacturing Locations":

KaGa Electronics, Hong Kong                                                       $    5,000,000                  $ 500,000
Room 1709-1710, 17/F Miramar Tower
132 Nathan Rd, Tsimshatsui, Kowloon, Hong Kong

De Anza Manufacturing Services                                                    $    3,000,000                  $ 250,000
1271 Reamwood Avenue
Sunnyvale, CA 94089

Diamond Phoenix Corp.                                                             $    5,000,000                  $ 500,000
Alfred Plourde Parkway
Lewiston, ME 04241

UniPrecision Industrial Ltd.                                                      $    5,000,000                  $ 500,000
Heng Li, Shan Xia Gong
Ye Qu, Dongguan, Guangdong


"Leader Locations":



*Information required to complete this Schedule, if not shown on this endorsement, will be shown on the Declarations.


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A. COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises" described in the
     Schedule above. The loss or damage must be directly caused by a "covered cause of loss". We will not pay more
     than the applicable Limit of Insurance shown in the Schedule above at that "dependent premises".

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises" described in the Schedule above, the
     Civil Authority and Contractual Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the
     following:

     1. Civil Authority

         We will pay for the actual loss of "business income" you sustain for up to 30 days resulting from the necessary
         "suspension", or delay in the start, of your "operations" if the "suspension" or delay is caused by order of civil
         authority that prohibits access to a "dependent premises" described in the Schedule above. That order must
         result from a civil authority’s response to direct physical loss of or damage to property located within one mile
         from the "dependent premises" described in the Schedule above. The loss or damage must be directly caused
         by a "covered cause of loss".

         The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above for
         the "dependent premises" where access was prohibited.

         The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     2. Contractual Penalties

         We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late
         or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property
         at a "dependent premises" described in the Schedule above. The loss or damage must be directly caused by a
         "covered cause of loss".

         The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on
         the Declarations for Contractual Penalties.

C. OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises" shown in the Schedule above.
     The loss or damage must be directly caused by a "covered cause of loss". We will not pay more than the
     applicable Limit of Insurance shown in the Schedule above for that "dependent premises". This Limit is included in,
     and not in addition, to any other applicable Limits of Insurance.

     If a Blanket Business Income and Extra Expense Limit of Insurance applies, the Civil Authority Additional Coverage in
     the EXTRA EXPENSE COVERAGE FORM applies to the actual and necessary "extra expense" you incur for up to
     30 days after an order of civil authority prohibits access to that "dependent premises". That order must result from
     a civil authority’s response to direct physical loss of or damage to property located within one mile from the
     "dependent premises" described in the Schedule above. The loss or damage must be directly caused by a
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     "covered cause of loss". The most we will pay under this Additional Coverage is the Limit of Insurance shown in
     the Schedule above for the "dependent premises" where access was prohibited. The Limit for this Additional
     Coverage is included in, and not in addition to, any other applicable Limit of Insurance.

D. DEDUCTIBLE

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, Section E. Deductible in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE), the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY, and the EXTRA
     EXPENSE COVERAGE FORM is replaced by the following:

     We will not pay for any loss of "business income" or "extra expense" incurred in any one occurrence until the
     amount of loss or "extra expense" incurred exceeds the applicable Deductible shown in the Schedule above at that
     "dependent premises" where the loss or damage occurred. We will then pay the amount of actual "business
     income" loss sustained or actual and necessary "extra expense" incurred in excess of the Deductible, up to the
     applicable Limits of Insurance.

     Any other deductible otherwise applicable to "business income" or "extra expense" does not apply to coverage
     provided by this endorsement.

E.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, the Resumption of Operations Loss Determination in the BUSINESS
     INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM
     INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
     TECHNOLOGY is replaced by the following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your "operations",
     in whole or in part, by using:

     a. Sources of materials or services; or

     b. Outlets for your products or services,

     available to you.

F.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises" described in the Schedule above, the "period of restoration" definition in the
     COMMERCIAL PROPERTY DEFINITIONS is replaced by the following:

     "Period of restoration" means the period of time that:

     a. Begins when the direct physical loss of or damage to property at a "dependent premises" described in the
        Schedule above occurs; and

     b. Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
        reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or
     in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".


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Dependent Premises Business Income
Coverage--Unscheduled Locations
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

A. COVERAGE

   The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
   EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
   RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
   "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
   damage to property, including property in the open (or in a vehicle), at a "dependent premises". The loss or
   damage must be directly caused by a "covered cause of loss".

   The most we will pay in any one occurrence is the Limit of Insurance shown on the Declarations for Dependent
   Premises Business Income--Unscheduled Locations.

B. ADDITIONAL COVERAGES

   With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
   including property in the open (or in a vehicle), at a "dependent premises", the Civil Authority and Contractual
   Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
   and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the following:

   Civil Authority

   We will pay for the actual loss of "business income" you sustain for up to 30 days resulting from the necessary
   "suspension", or delay in the start, of your "operations" if the "suspension" or delay is caused by order of civil
   authority that prohibits access to a "dependent premises". That order must result from a civil authority’s response to
   direct physical loss of or damage to property located within one mile from the "dependent premises". The loss or
   damage must be directly caused by a "covered cause of loss".

   The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
   Dependent Premises Business Income--Unscheduled Locations.

   The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

   Contractual Penalties

   We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late or
   non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property at a
   "dependent premises". The loss or damage must be directly caused by a "covered cause of loss".
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   The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on the
   Declarations for Contractual Penalties.

C. OPTIONAL COVERAGE

   If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
   Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

   We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
   property, including property in the open (or in a vehicle), at a "dependent premises". The loss or damage must be
   directly caused by a "covered cause of loss". The most we will pay in any one occurrence is the Limit of Insurance
   shown on the Declarations for Dependent Premises Business Income--Unscheduled Locations. This Limit is included
   in, and not in addition to, any other applicable Limit of Insurance.

   If a Blanket Business Income and Extra Expense Limit of Insurance applies, the Civil Authority Additional Coverage in
   the EXTRA EXPENSE COVERAGE FORM applies to the actual and necessary "extra expense" you incur for up to
   30 days after an order of civil authority prohibits access to that "dependent premises". That order must result from
   a civil authority’s response to direct physical loss of or damage to property located within one mile from the
   "dependent premises". The loss or damage must be directly caused by a "covered cause of loss". The most we
   will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Dependent Premises
   Business Income--Unscheduled Locations. The Limit for this Additional Coverage is included in, and not in addition to,
   any other applicable Limit of Insurance.

D. LOSS DETERMINATION

   With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
   premises", the Resumption of Operations Loss Determination in the BUSINESS INCOME COVERAGE FORM
   (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
   DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY is replaced by the
   following:

   Resumption of Operations

   We will reduce the amount of "business income" loss payment to the extent you could resume your "operations",
   in whole or in part, by using:

   a. Sources of materials or services; or

   b. Outlets for your products or services,

   available to you.

E. DEFINITIONS

   With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
   "dependent premises", the "period of restoration" definition in the COMMERCIAL PROPERTY DEFINITIONS is
   replaced by the following:

   "Period of restoration" means the period of time that:

   a. Begins when the direct physical loss of or damage to property at a "dependent premises" occurs; and

   b. Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
      reasonable speed and similar quality.




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     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or
     in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F.   Coverage provided by this endorsement does not apply at any location at which "business income" coverage is
     provided by any other Coverage Form included in this Commercial Property Coverage Part.




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Enabling Endorsement

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS
REAL AND PERSONAL PROPERTY COVERAGE FORM

The provisions of any forms or endorsements that make reference to the BUILDING AND PERSONAL PROPERTY
COVERAGE FORM or the CAUSES OF LOSS SPECIAL FORM are applicable to the COMMERCIAL PROPERTY
CONDITIONS and the REAL AND PERSONAL PROPERTY COVERAGE FORM.




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Flood Coverage

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A. COVERAGE

   The Flood exclusion does not apply to loss or damage at a "premises" at which a Limit of Insurance is shown on
   the Declarations for Flood. However, we will not pay for loss or damage caused directly or indirectly by "flood"
   that begins before the inception of this Commercial Property Coverage Part.

   If the Earth Movement and Flood Coverage--Specified Property endorsement is included in this Commercial
   Property Coverage Part, this endorsement does not apply to property covered by that endorsement.

B. ADDITIONAL EXCLUDED CAUSES OF LOSS

   Off-Premises Damage

   We will not pay for loss or damage that is caused directly or indirectly by "flood" at any of the following locations:

   1. "Cloud facility";

   2. "Dependent premises";

   3. Fairs or exhibitions;

   4. "Newly acquired premises";

   5. "Reported unscheduled premises";

   6. "Unreported premises"; or

   7. Any location used to provide power or other utility service to "premises".




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C. LIMITS OF INSURANCE

   1. Premises Limits

       The most we will pay in any one occurrence for loss or damage caused directly or indirectly by "flood" at any
       one "premises" is the Limit of Insurance shown on the Declarations for Flood for that "premises".

   2. Occurrence Limit

       The most we will pay in any one occurrence for all loss or damage caused directly or indirectly by "flood",
       regardless of the number of "premises" involved, is the occurrence Limit of Insurance shown on the
       Declarations for Flood.

   3. Annual Aggregate Limit

       The most we will pay for loss or damage caused directly or indirectly by "flood" in any one policy year,
       regardless of the number of occurrences or "premises" involved, is the Annual Aggregate Limit of Insurance
       shown on the Declarations for Flood.

   These Limits are included in, and not in addition to, any other applicable Limits of Insurance.

D. DEDUCTIBLE

   1. The Flood Deductible only applies to loss or damage that, but for the application of the Deductible, would be
      paid by us under this Commercial Property Coverage Part.

   2. With respect to loss or damage caused directly or indirectly by "flood", the Deductible section is replaced by
      the following:

       We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the
       amount of covered loss, damage, cost, or expense exceeds the Flood Deductible shown on the Declarations
       for that "premises". We will then pay for the amount of covered loss, damage, cost, or expense in excess of
       the Deductible, up to the applicable Limits of Insurance.

       If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on
       the Declarations will apply separately and individually to covered loss, damage, cost, or expense at each
       "premises".

       The Flood Deductibles apply to all covered loss, damage, cost, or expense covered by "time element
       coverage" when the loss, damage, cost, or expense is caused directly or indirectly by covered "flood" even if
       no other deductible applies to the "time element coverage".

E. COINSURANCE

   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                      SCHEDULE

                                             POWER                                  COMMUNICATION
                                 With                  Without                With               Without
                               Overhead               Overhead              Overhead            Overhead
Premises #        Water/
                              T&D Property           T&D Property          T&D Property        T&D Property
                  Sewer

        1            X                                      X                                        X
        4            X                                      X                                        X




A. COVERAGE

   1.       Blanket Business Income and Extra Expense

            For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
            Expense Limit of Insurance is shown on the Declarations:

            a. The following Additional Coverage is added to the following forms:

                BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
                BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
                   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

                We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
                Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
                from direct physical loss or damage directly caused by a "covered cause of loss" to property:

                a. Located away from the "premises" or "reported unscheduled premises"; and

                b. Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
                   unscheduled premises".

                The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
                premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
                Income and Extra Expense.
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          The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
          Insurance.

     b. The following Additional Coverage is added to the EXTRA EXPENSE COVERAGE FORM:

          We will pay for the actual and necessary "extra expense" you incur, provided such "extra expense" was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a. Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".

          The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
          premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
          Income and Extra Expense.

          The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
          Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage Form,
     provided such loss was caused by an "off-premises service interruption". The interruption must result from
     direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled premises"
     is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense" you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and



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        b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
             unscheduled premises".

        The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Off-
        Premises Service Interruption--Extra Expense.

        The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

   4.   Research and Development Continuing Expenses

        For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown on
        the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE FORM
        INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
        TECHNOLOGY:

        We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
        such "research and development continuing expenses" were caused by an "off-premises service
        interruption". The interruption must result from direct physical loss or damage directly caused by a "covered
        cause of loss" to property:

        a.   Located away from the "premises"; and

        b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

        The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Off-
        Premises Service Interruption--Research and Development Continuing Expenses.

        The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

B. With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

   1.    Communication

        Communication includes video, voice, and data, but does not include "information technology services".

   2.   Power

        Power includes all sources of power, including steam and natural gas.

   3.   Reported Unscheduled Premises (RUP)

        The Premises Symbol--RUP means all "reported unscheduled premises".

   4.   T&D Property

        The terms With Overhead T&D Property and Without Overhead T&D Property have the following meanings:

        a.   With Overhead T&D Property means the property providing the applicable service includes "overhead
             transmission and distribution property" and "transmission and distribution property".

        b.   Without Overhead T&D Property means the property providing the applicable service includes "transmission
             and distribution property" but does not include "overhead transmission and distribution property".

C. ADDITIONAL COVERAGES

   1. The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
      COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this


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        endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
        Interruption Limits of Insurance.

   2. The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
      BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
      EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
      "research and development continuing expenses" covered by this endorsement. However, these Additional
      Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

   3. The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM is extended to apply
      to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
      applicable Off-Premises Service Interruption Limits of Insurance.

D. ADDITIONAL DEFINITIONS

   The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

   "Overhead transmission and distribution property" means property located away from "premises" and "reported
   unscheduled premises" and used to provide power or communications services to "premises" and "reported
   unscheduled premises", which consists of:

   a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

   b.   Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

   "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

   "Transmission and distribution property" means property located away from "premises" and "reported
   unscheduled premises" and used to provide power or communications services to "premises" and "reported
   unscheduled premises", which consists of ground-level or underground wires, cables, lines, conductors, including
   related ground level or underground equipment used with such property.

   "Transmission and distribution property" does not mean "overhead transmission and distribution property".

E. The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F. DEDUCTIBLE

   We will not pay for any loss of "business income", "extra expense", or "research and development continuing
   expenses" incurred in any one occurrence until the amount of loss or expense incurred exceeds the applicable
   Deductibles or is incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service
   Interruption--Time Element. We will then pay the amount of actual "business income" loss sustained or actual and
   necessary "extra expense" or "research and development continuing expenses" incurred in excess of the
   Deductibles or incurred after the Waiting Periods, up to the applicable Limits of Insurance.

   If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical loss
   of or damage to property directly caused by a "covered cause of loss".

    With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to "business
  income", "extra expense", or "research and development continuing expenses" does not apply to coverage provided
                                                                                                    by this endorsement.




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California Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS

A. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by fire:

   We do not provide coverage to the insured who, whether before or after a loss, has committed fraud or
   intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


B. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by a "covered cause of loss" other than fire:

   This Commercial Property Coverage Part is void if any insured, whether before or after a loss, has committed fraud
   or intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.


C. Except as provided in D. below, the Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following:

   If we and you disagree on the value of the property or the amount of loss, either may make written request for an
   appraisal of the loss. If the request is accepted, each party will select a competent, disinterested, and impartial
   appraiser who has no direct or indirect financial interest in the claim.       Each party shall notify the other of the
   appraiser selected within 20 days of the request. The two appraisers will select an umpire. If they cannot agree
   within 15 days, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
   will state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
   accordance with the Valuation provisions of the applicable Coverage Form, or if not stated, the "actual cash value"
   and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to
   by any two will be binding. Each party will:

   1.   Pay its chosen appraiser; and
   2. Bear the other expenses of the appraisal and umpire equally.

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   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.

D. The Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the following with respect
   losses covered by the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the
   BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   If we and you disagree on the amount of "net income" and "continuing expenses" or the amount of loss, either may
   make written request for an appraisal of the loss. If the request is accepted, each party will select a competent,
   disinterested, and impartial appraiser who has no direct or indirect financial interest in the claim. Each party shall
   notify the other of the appraiser selected within 20 days of the request. The two appraisers will select an umpire. If
   they cannot agree within 15 days, either may request that selection be made by a judge of a court having
   jurisdiction. The appraisers will state separately the amount of "net income"and "continuing expenses" or amount of
   loss. If they fail to agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:

   a.   Pay its chosen appraiser; and

   b. Bear the other expenses of the appraisal and umpire equally.

   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.




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Florida Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

The following provisions only apply with respect to "premises" and "reported unscheduled premises" in the
state of Florida:

A.   The following provision applies when the Additional Condition--Coinsurance endorsement is applicable:

     Florida Law states as follows:

     Coinsurance contract: The rate charged in this Commercial Property Coverage Part is based upon the use
      of the
     coinsurance clause attached to this Commercial Property Coverage Part, with the consent of the insured.

B.   If wind is a "covered cause of loss" and loss or damage to Covered Property is caused by or resulting from
     wind, the following is added to Section B., Excluded Causes of Loss, in the REAL AND PERSONAL
     PROPERTY COVERAGE FORM and applies in:

     1. Broward County;

     2. Dade County;

     3. Martin County;

     4. Monroe County;

     5. Palm Beach County; and

     6. All the areas east of the west bank of the Intra-Coastal Waterway in the Counties of:

         a. Indian River; and

         b. St. Lucie.

     Wind Exterior

     We will not pay for loss or damage caused by or resulting from wind to paint or waterproofing material
     applied to the exterior of buildings unless the building to which such loss or damage occurs also sustains
     other loss or damage by wind in the course of the same wind event. But such coverage applies only if wind
     is a "covered cause of loss".

     When loss or damage to exterior paint or waterproofing material is excluded, we will not include the value of
     paint or waterproofing material to determine:

     a. The amount of the Wind and Hail Deductible;

     b. The amount of Named Storm Deductible; or

     c. The value of Covered Property when applying the coinsurance percentage.


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C.   Paragraph 6. in the Loss Payment Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the
     following:

     6. If you have complied with all of the terms of this Commercial Property Coverage Part, we will pay for
        covered loss or damage upon the earliest of the following:

         a. Within 20 days after we receive the sworn proof of loss and reach written agreement with you;

         b. Within 30 days after we receive the sworn proof of loss; and

             1) There is an entry of a final judgment; or

             2) There is a filing of an appraisal award with us; or

         c. Within 90 days of receiving notice of claim, unless we deny the claim during that time or factors
            beyond our control reasonably prevent such payment. If a portion of the claim is denied, then the 90
            day time period for payment of claim relates to the portion of the claims that is not denied.

             This paragraph c. applies only to the following:

             1) A claim under the Commercial Property Coverage Part covering residential property;

             2) A claim for "real property" or "personal property" coverage if the insured structure is 10,000
                square feet or less and the Commercial Property Coverage Part covers only "premises" or
                "reported unscheduled premises" in Florida; or

             3) A claim for "personal property" coverage under a tenant's policy if the rented "premises" or
                "reported unscheduled premises" are 10,000 square feet or less and the Commercial
                Property Coverage Part covers only "premises" or "reported unscheduled premises" in
                Florida.

D.   The following are added to the COMMERCIAL PROPERTY DEFINITIONS with respect to coverage
     provided by this endorsement:

     "Catastrophic ground cover collapse" means geological activity that results in all of the following:

     a. The abrupt collapse of the ground cover;

     b. A depression in the ground cover clearly visible to the naked eye;

     c. "Structural damage" to the building, including the foundation; and

     d. The insured structure being condemned and ordered to be vacated by the governmental agency
        authorized by law to issue such an order for that structure.

     "Catastrophic ground cover collapse" does not mean:

     a. Damage consisting of the mere settling or cracking of a foundation, structure, or building;

     b. "Sinkhole collapse"; or

     c. "Earth movement".

     "Structural damage" means a covered building, regardless of the date of its construction, has
     experienced the following:

     a. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the
        Florida Building Code, which results in settlement related damage to the interior such that the interior

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          building structure or members becomes unfit for service or represent a safety hazard as defined within the
          Florida Building code;

     b.   Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or
          the Florida Building Code, which results in settlement related damage to the primary structural members
          or primary structural systems that prevents those members or systems from supporting the loads and
          forces they were designed to support to the extent that stresses in those primary structural members or
          primary structural systems exceed one and one-third the nominal strength allowed under the Florida
          Building Code for new buildings or similar structure, purpose, or "premises";

     c.   Damage that results in listing, leaning, or buckling of the exterior load bearing walls or other vertical
          primary structural members to such extent that a plumb line passing through the center of gravity does
          not fall inside the middle one-third of the base as defined within the Florida Building Code;

     d.   Damage that results in the building, or any portion of the building containing primary structural members
          or primary structural systems, being significantly likely to imminently collapse because of the movement
          or instability of the ground within the influence zone of the supporting ground within the sheer plane
          necessary for the purpose of supporting such building as defined within the Florida Building Code; or

     e.   Damage occurring on or after October 15, 2005, that qualifies as substantial structural damage as
          defined in the Florida Building Code.

E.   The definition of "earth movement" in the COMMERCIAL PROPERTY DEFINITIONS is replaced by the
     following with respect to coverage provided by this endorsement:

     "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost
     heaves), or subsidence other than "sinkhole collapse" and "catastrophic ground cover collapse".

     "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or
     tsunami.

F.   The following is added to the definition of "specified causes of loss":

     "Catastrophic ground cover collapse".




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                                                                                      COMMERCIAL PROPERTY


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANCELLATION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

The following is added to the CANCELLATION Com-             C. The building has:
mon Policy Condition:                                          1. An outstanding order to vacate;
If any one of the following conditions exists at any
                                                               2. An outstanding demolition order;
building that is Covered Property in this policy, we
may cancel this Coverage Part by mailing or delivering         3. Been declared unsafe by governmental author-
to the first Named Insured written notice of cancella-             ity.
tion at least 5 days before the effective date of cancel-   D. Fixed and salvageable items have been or are
lation.                                                        being removed from the building and are not being
A. The building has been vacant or unoccupied 60 or            replaced. This does not apply to such removal that
    more consecutive days. This does not apply to:             is necessary or incidental to any renovation or re-
                                                               modeling.
     1. Seasonal unoccupancy;
                                                            E. Failure to:
     2. Buildings in the course of construction, reno-
        vation or addition; or                                 1. Furnish necessary heat, water, sewer service
                                                                   or electricity for 30 consecutive days or more,
     3. Buildings to which the Vacancy Permit en-                  except during a period of seasonal unoccu-
        dorsement applies.                                         pancy; or
    Buildings with 65% or more of the rental units or          2. Pay property taxes that are owing and have
    floor area vacant or unoccupied are considered
                                                                   been outstanding for more than one year fol-
    unoccupied under this provision.
                                                                   lowing the date due, except that this provision
B. After damage by a covered cause of loss, perma-                 will not apply where you are in a bona fide dis-
   nent repairs to the building:                                   pute with the taxing authority regarding pay-
   1. Have not started, and                                        ment of such taxes.
   2. Have not been contracted for,
   within 30 days of initial payment of loss.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
       Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
       employment, during employment or after em-                    employment, during employment or after em-
       ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      Eff. Dat e of Pol.   Exp. Dat e of Pol.   Eff. Dat e of End.     Producer            Add’l. Prem            Return Prem.
                                                                                                       $                      $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
D amage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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General Liability Supplemental Coverage Endorsement
Technology

     Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem          Return Prem.




                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


The following changes apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any provisions to the contrary in this General Liability Supplemental Coverage Endorsement.


A.    Broadened Named Insured
      1.   The following is added to Section II ---- Who Is An Insured:
           Any organization of yours, other than a partnership or joint venture, which is not shown in the Declarations,
           and over which you maintain an ownership interest of more than 50% of such organization as of the effective
           date of this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a
           Named Insured under this provision if it:
           a.     Is newly acquired or formed during the policy period;
           b.     Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                  Coverage Part; or
           c.     Would be an insured under another policy but for its termination or the exhaustion of its limits of
                  insurance.
           Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
           more than 50% in the organization during the policy period.
      2.   The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
           paragraph would conflict with this provision.
B.    Newly Acquired or Formed Organizations as Named Insureds
      1.   Paragraph 3. of Section II ---- Who Is An Insured is replaced by the following:
           3.     Any organization you newly acquire or form during the policy period, other than a partnership or joint
                  venture, and over which you maintain an ownership interest of more than 50% of such organization, will
                  qualify as a Named Insured if there is no other similar insurance available to that organization. However:
                  a. Coverage under this provision is afforded only until the 180th day after you acquire or form the
                       organization or the end of the policy period, whichever is earlier;
                  b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                     or formed the organization; and
                  c.   Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                       before you acquired or formed the organization.


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                   An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                   or formed the organization.

      2.  The last paragraph of Section II ---- Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.
C.    Insured Status ---- Employees
      Paragraph 2.a.(1) of Section II ---- Who Is An Insured is replaced by the following:
      2.     Each of the following is also an insured:
             a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                   "employees", other than either your "executive officers" (if you are an organization other than a
                   partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                   company), but only for acts within the scope of their employment by you or while performing duties
                   related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                   insureds for:
                   (1) "Bodily injury" or "personal and advertising injury":
                       (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                           (if you are a limited liability company), to a co-"employee" while in the course of his or her
                           employment or performing duties related to the conduct of your business, or to your other
                           "volunteer workers" while performing duties related to the conduct of your business;
                       (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                           consequence of Paragraph (1)(a) above;
                       (c) For which there is any obligation to share damages with or repay someone else who must pay
                           damages because of the injury described in Paragraphs (1)(a) or (b) above; or
                       (d) Arising out of his or her providing or failing to provide professional health care services.
                   However:
                   Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                   employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                   "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                   conduct of your business.
                   "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                   situation for which no remuneration is demanded or received.
                   Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                   rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                   as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                   indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                   performed.
D. Additional Insureds ---- Lessees of Premises
           Section II --- Who Is An Insured is amended to include as an additional insured any person(s) or organization(s)
           who leases or rents a part of the premises you own or manage who you are required to add as an additional
           insured on this policy under a written contract or written agreement, but only with respect to liability arising out of
           your ownership, maintenance or repair of that part of the premises which is not reserved for the exclusive use or
           occupancy of such person or organization or any other tenant or lessee.
           This provision does not apply after the person or organization ceases to lease or rent premises from you.


           However, the insurance afforded to such additional insured:
           a. Only applies to the extent permitted by law; and
           b. Will not be broader than that which you are required by the written contract or written agreement to provide for
              such additional insured.

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    2. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
       Section III ---- Limits Of Insurance:
           The most we will pay on behalf of the additional insured is the amount of insurance:
           a. Required by the written contract or written agreement referenced in Subparagraph D.1. above (of this
               endorsement); or
      b. Available under the applicable Limits of Insurance shown in the Declarations,
      whichever is less.
      This Paragraph D. shall not increase the applicable Limits of Insurance shown in the Declarations.
E. Additional Insured ---- Vendors
           The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
           damage" included in the "products-completed operations hazard":
           Section II --- Who Is An Insured is amended to include as an additional insured any person or organization
           (referred to throughout this Paragraph E. as vendor) who you have agreed in a written contract or written
           agreement, prior to loss, to name as an additional insured, but only with respect to "bodily injury" or "property
           damage" arising out of "your products" which are distributed or sold in the regular course of the vendor’ s
           business:
           However, the insurance afforded to such vendor:
           a. Only applies to the extent permitted by law; and
           b. Will not be broader than that which you are required by the written contract or written agreement to provide
              for such additional insured.
           With respect to the insurance afforded to these vendors, the following additional exclusions apply:
      a.     The insurance afforded the vendor does not apply to:
             (1)   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
                   assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
                   that the vendor would have in the absence of the contract or agreement;
             (2)   Any express warranty unauthorized by you;
             (3)   Any physical or chemical change in the product made intentionally by the vendor;
             (4)   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                   substitution of parts under instructions from the manufacturer, and then repackaged in the original
                   container;
             (5)   Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make or
                   normally undertakes to make in the usual course of business, in connection with the distribution or sale of
                   the products;
             (6)   Demonstration, installation, servicing or repair operations, except such operations performed at the
                   vendor’s premises in connection with the sale of the product;
             (7)   Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                   part or ingredient of any other thing or substance by or for the vendor; or
             (8)   "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                   omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                   apply to:
                   (a) The exceptions contained in Subparagraphs (4) or (6) ; or
                   (b) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                       undertakes to make in the usual course of business, in connection with the distribution or sale of the
                       products.
      b.     This insurance does not apply to any insured person or organization, from whom you have acquired such
             products, or any ingredient, part or container, entering into, accompanying or containing such products.


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       c.     This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
              Part.
     3. With respect to the insurance afforded to the vendor under this endorsement, the following is added to Section III
        ---- Limits Of Insurance:
            The most we will pay on behalf of the vendor is the amount of insurance:
            a. Required by the written contract or written agreement referenced in Subparagraph E.1. above (of this
               endorsement); or
            b. Available under the applicable Limits of Insurance shown in the Declarations,
            whichever is less.
            This Paragraph E. shall not increase the applicable Limits of Insurance shown in the Declarations.
F.    Additional Insured ---- Managers, Lessors or Governmental Entity
      1. Section II ---- Who Is An Insured is amended to include as an additional insured any person or organization who
         is a manager, lessor or governmental entity who you are required to add as an additional insured on this policy
         under a written contract, written agreement or permit, but only with respect to liability for "bodily injury",
         "property damage" or "personal and advertising injury" caused, in whole or in part, by:
              a.   Your acts or omissions; or
              b.   The acts or omission of those acting on your behalf; and
              resulting directly from:
              a.     Operations performed by you or on your behalf for which the state or political subdivision has issued a
                   permit;
              b.   Ownership, maintenance, occupancy or use of premises by you; or
              c.   Maintenance, operation or use by you of equipment leased to you by such person or organization.
              However, the insurance afforded to such additional insured:
              a. Only applies to the extent permitted by law; and
              b. Will not be broader than that which you are required by the written contract or written agreement to provide
                 for such additional insured.
       2. This provision does not apply:
              a.   Unless the written contract or written agreement has been executed, or the permit has been issued, prior to
                   the "bodily injury", "property damage" or offense that caused "personal and advertising injury";
              b. To any person or organization included as an insured under Paragraph 3. of Section II ---- Who Is An
                 Insured;
              c.   To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;
              d. To any:
                   (1) Owners or other interests from whom land has been leased by you; or
                   (2) Managers or lessors of premises, if:
                       (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a tenant
                           in that premises;
                       (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the
                           structural alterations, new construction or demolition operations performed by or on behalf of the
                           manager or lessor; or
                       (c) The premises are excluded under this Coverage Part.
            With respect to the insurance afforded to the additional insureds under this endorsement, the following is added
             to Section III ---- Limits Of Insurance:
              The most we will pay on behalf of the additional insured is the amount of insurance:


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            a.     Required by the written contract or written agreement referenced in Subparagraph F.1. above (of this
                 endorsement); or
        b. Available under the applicable Limits of Insurance shown in the Declarations,
        whichever is less.
        This Paragraph F. shall not increase the applicable Limits of Insurance shown in the Declarations.
G. Damage to Premises Rented or Occupied by You
   1. The last paragraph under Paragraph 2. Exclusions of Section I ---- Coverage A ---- Bodily Injury And Property
      Damage Liability is replaced by the following:
          Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or
          temporarily occupied by you with permission of the owner. A separate Damage To Premises Rented To You Limit
          of Insurance applies to this coverage as described in Section III ---- Limits Of Insurance.
     2.   Paragraph 6. of Section III ---- Limits Of Insurance is replaced by the following:
          6. Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
             Coverage A for damages because of "property damage" to any one premises while rented to you, or in the
             case of damage by one or more "specific perils" to any one premises, while rented to you or temporarily
             occupied by you with permission of the owner.
H. Broadened Contractual Liability
   The "insured contract" definition under the Definitions Section is replaced by the following:
     "Insured contract" means:
     a.   A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
          any person or organization for damage by "specific perils" to premises while rented to you or temporarily occupied
          by you with permission of the owner is not an "insured contract";
     b. A sidetrack agreement;
     c.   Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e.   An elevator maintenance agreement;
     f.   That part of any other contract or agreement pertaining to your business (including an indemnification of a
          municipality in connection with work performed for a municipality) under which you assume the tort liability of
          another party to pay for "bodily injury", "property damage", or "personal and advertising injury" arising out of the
          offenses of false arrest, detention or imprisonment, to a third person or organization. Tort liability means a liability
          that would be imposed by law in the absence of any contract or agreement.
          Paragraph f. does not include that part of any contract or agreement:
          (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                 (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                     field orders, change orders or drawings and specifications; or
                 (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                     damage; or
          (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
              arising out of the insured’s rendering or failure to render professional services, including those listed in
              Paragraph (1) above and supervisory, inspection, architectural or engineering activities.
I.   Definition --- Specific Perils
     The following definition is added to the Definitions Section:
     "Specific perils" means:
     a.   Fire;
     b. Lightning;

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     c.     Explosion;
     d. Windstorm or hail;
     e. Smoke;
     f.     Aircraft or vehicles;
     g. Vandalism;
     h. Weight of snow, ice or sleet;
     i.     Leakage from fire extinguishing equipment, including sprinklers; or
     j.     Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
            steam.
J. Limited Contractual Liability Coverage --- Personal and Advertising Injury
     1.     Exclusion e. of Section I ---- Coverage B ---- Personal And Advertising Injury Liability is replaced by the following:
                Exclusions
                This insurance does not apply to:
                e.   Contractual Liability
                     "Personal and advertising injury" for which the insured has assumed liability in a contract or agreement.
                     This exclusion does not apply to:
                     (1) Liability for damages that the insured would have in the absence of the contract or agreement; or
                     (2) Liability for "personal and advertising injury" if:
                         (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                             imprisonment;
                         (b) The liability pertains to your business and is assumed in a written contract or written agreement in
                             which you assume the tort liability of another. Tort liability means a liability that would be imposed
                             by law in the absence of any contract or agreement; and
                         (c) The "personal and advertising injury" occurs subsequent to the execution of the written contract
                             or written agreement.
                         Solely for purposes of liability so assumed in such written contract or written agreement, reasonable
                         attorney fees and necessary litigation expenses incurred by or for a party other than an insured are
                         deemed to be damages because of "personal and advertising injury" described in Paragraph (a)
                         above, provided:
                         (i) Liability to such party for, or for the cost of, that party’s defense has also been assumed in the
                             same written contract or written agreement; and
                         (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                              alternative dispute resolution proceeding in which damages to which this insurance applies are
                              alleged.
     2.     Paragraph 2.d. of Section I ---- Supplementary Payments ---- Coverages A and B is replaced by the following:
            d. The allegations in the "suit" and the information we know about the "occurrence" or offense are such that no
               conflict appears to exist between the interests of the insured and the interests of the indemnitee;
     3.     The following is added to the paragraph directly following Paragraph 2.f. of Section I ---- Supplementary Payments ----
            Coverages A and B:
            Notwithstanding the provisions of Paragraph 2.e.(2) of Section I ---- Coverage B ---- Personal And Advertising Injury
            Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will not
            reduce the limits of insurance.


K.        Internet and Multimedia Services
          Exclusion j. of Section I ---- Coverage B --- Personal And Advertising Injury Liability is replaced by the following:


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          Exclusions
          This insurance does not apply to:
          j. Insureds In Media And Internet Type Businesses
            "Personal and advertising injury" committed by an insured whose business is:
            (1) Advertising, broadcasting, publishing or telecasting;
            (2) Designing or determining content of websites for others; or
            (3) An Internet search, access, content or service provider; and
            arising out of goods, products or services provided by any insured to others.
            However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
            under the Definitions Section.
            For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
            anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
            telecasting.
L. Supplementary Payments
   The following changes apply to Supplementary Payments ---- Coverages A and B:
   Paragraphs 1.b. and 1.d. are replaced by the following:
   b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the use
      of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
   d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
      claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.
M. Broadened Property Damage
   1.   Property Damage to Contents of Premises Rented Short-Term
        The paragraph directly following Paragraph (6) in Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And
        Property Damage Liability is replaced by the following:
        Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
        by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
        agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
        Premises Rented to You as described in Section III ---- Limits Of Insurance.
   2.   Elevator Property Damage
        a. The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
            Liability:
            Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
            elevator at premises you own, rent or occupy.
        b. The following is added to Section III ---- Limits Of Insurance:
            Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
            damage" to property loaned to you or personal property in the care, custody or control of the insured arising
            out of the use of an elevator at premises you own, rent or occupy is $25,000 per "occurrence".
   3.   Property Damage to Borrowed Equipment
        a. The following is added to Exclusion j. of Section I ---- Coverage A ---- Bodily Injury And Property Damage
           Liability:
            Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others at
            a jobsite.
        b. The following is added to Section III ---- Limits Of Insurance:
           Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
           damage" to equipment you borrow from others is $25,000 per "occurrence".

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N. Expected or Intended Injury or Damage
   Exclusion a. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    a.   Expected Or Intended Injury Or Damage
         "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion does
         not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
         property.
O. Definitions ---- Bodily Injury
   The "property damage" definition under the Definitions Section is replaced by the following:
         "Bodily injury" means bodily injury, sickness or disease sustained by a person, including mental anguish, mental
         injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or disease.
P. Electronic Data
   Exclusion p. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    p. Electronic Data
         Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access or inability to
         manipulate electronic data.
         However, this exclusion does not apply to liability for damages because of "bodily injury" or physical injury to
         tangible property including all resulting loss of use of that property.
         As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
         on, or transmitted to or from computer software (including systems and applications software), hard or floppy
         disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with
         electronically controlled equipment.
Q. Insured Status ---- Amateur Athletic Participants
   Section II ---- Who Is An Insured is amended to include as an insured any person you sponsor while participating in
   amateur athletic activities. However, no such person is an insured for:
    a.   "Bodily injury" to:
         (1) Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur athletic
             activities; or
         (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
             liability company) while participating in such amateur athletic activities; or
    b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
       over which the physical control is being exercised for any purpose by:
         (1) Your "employee", "volunteer worker" or any person you sponsor; or
         (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
             liability company).
R. Non-Owned Aircraft, Auto and Watercraft
   Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
       any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes operation
       and "loading or unloading".
         This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
         supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which
         caused the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to
         others of any aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.
         This exclusion does not apply to:

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         (1) A watercraft while ashore on premises you own or rent;
         (2) A watercraft you do not own that is:
               (a) Less than 51 feet long; and
               (b) Not being used to carry persons for a charge;
         (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned by
             or rented or loaned to you or the insured;
         (4) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or watercraft;
         (5) An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not owned
             in whole or in part by an insured; or
         (6) "Bodily injury" or "property damage" arising out of:
               (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
                   under the definition of "mobile equipment" if it were not subject to a compulsory or financial responsibility
                   law or other motor vehicle insurance law where it is licensed or principally garaged; or
               (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
                   "mobile equipment".
S. Definitions ---- Leased Worker, Temporary Worker and Labor Leasing Firm
    1.   The "leased worker" and "temporary worker" definitions under the Definitions Section are replaced by the
         following:
         "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement between you
         and the "labor leasing firm", to perform duties related to the conduct of your business. "Leased worker" does not
         include a "temporary worker".
         "Temporary worker" means a person who is furnished to you to support or supplement your work force during
         "employee" absences, temporary skill shortages, upturns or downturns in business or to meet seasonal or short-
         term workload conditions. "Temporary worker" does not include a "leased worker".
    2.   The following definition is added to the Definitions Section:
         "Labor leasing firm" means any person or organization who hires out workers to others, including any:
         a.    Employment agency, contractor or services;
         b. Professional employer organization; or
         c.    Temporary help service.
T. Definition --- Mobile Equipment
    Paragraph f. of the "mobile equipment" definition under the Definitions Section is replaced by the following:
    f.   Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
         transportation of persons or cargo.
         However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
         combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":
         (1) Equipment designed primarily for:
               (a) Snow removal;
               (b) Road maintenance, but not construction or resurfacing; or
               (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.



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U. Definitions ---- Your Product and Your Work
     The "your product" and "your work" definitions under the Definitions Section are replaced by the following:
     "Your product":
     a.     Means:
            (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
                (a) You;
                (b) Others trading under your name; or
                (c) A person or organization whose business or assets you have acquired; and
            (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
                products.
     b. Includes:
            (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
                use, handling, maintenance, operation or safety of "your product"; and
            (2) The providing of or failure to provide warnings or instructions.
     c.     Does not include vending machines or other property rented to or located for the use of others but not sold.


     "Your work":
     a.     Means:
            (1) Work, services or operations performed by you or on your behalf; and
            (2) Materials, parts or equipment furnished in connection with such work, services or operations.
     b. Includes:
            (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
                use, handling, maintenance, operation or safety of "your work"; and
            (2) The providing of or failure to provide warnings or instructions.
V.        Priority Condition
          The following paragraph is added to Section III --- Limits Of Insurance:
          In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
          injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
          same offense, we will apply the Limits of Insurance in the following order:
          (a) You;
          (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
              company) or "employees"; and
          (c) Any other insured in any order that we choose.
W. Duties in the Event of Occurrence, Offense, Claim or Suit Condition
     The following paragraphs are added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of
     Section IV ---- Commercial General Liability Conditions:
     Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
     "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has been
     reported to any insured listed under Paragraph 1. of Section II ---- Who Is An Insured or an "employee" authorized by
     you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense, claim or "suit" does
     not imply that you also have such knowledge.
     In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
     this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured’s failure to
     report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this Condition.


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    You must, however, give us notice as soon as practicable after being made aware that the particular claim is a
    General Liability rather than a Workers Compensation claim.

X. Other Insurance Condition
   Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV ---- Commercial General Liability Conditions
   are replaced by the following:
    4.   Other Insurance
         If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
         this Coverage Part, our obligations are limited as follows:
         a.    Primary Insurance
               This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
               obligations are not affected unless any of the other insurance is also primary. Then, we will share with all that
               other insurance by the method described in Paragraph c. below. However, this insurance is primary to and
               will not seek contribution from any other insurance available to an additional insured provided that:
               (1) The additional insured is a Named Insured under such other insurance; and
               (2) You are required by written contract or written agreement that this insurance be primary and not seek
                   contribution from any other insurance available to the additional insured.
                Other insurance includes any type of self insurance or other mechanism by which an insured arranges for
               funding of its legal liabilities.
         b. Excess Insurance
            (1) This insurance is excess over:
                   (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                       (i) That is property insurance, Builder’s Risk, Installation Risk or similar coverage for "your work";
                       (ii) That is property insurance purchased by you (including any deductible or self insurance portion
                            thereof) to cover premises rented to you or temporarily occupied by you with permission of the
                            owner;
                       (iii) That is insurance purchased by you (including any deductible or self insurance portion thereof) to
                             cover your liability as a tenant for "property damage" to premises rented to you or temporarily
                             occupied by you with permission of the owner;
                       (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent not
                            subject to Exclusion g. of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability;
                            or
                       (v) That is property insurance (including any deductible or self insurance portion thereof) purchased
                           by you to cover damage to:
                           Equipment you borrow from others; or
                           Property loaned to you or personal property in the care, custody or control of the insured arising
                           out of the use of an elevator at premises you own, rent or occupy.
                   (b) Any other primary insurance (including any deductible or self insurance portion thereof) available to
                       the insured covering liability for damages arising out of the premises, operations, products, work or
                       services for which the insured has been granted additional insured status either by policy provision or
                       attachment of any endorsement. Other primary insurance includes any type of self insurance or other
                       mechanism by which an insured arranges for funding of its legal liabilities.
                   (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an
                       additional insured, in which the additional insured on our policy is also covered as an additional
                       insured on another policy providing coverage for the same "occurrence", claim or "suit". This
                       provision does not apply to any policy in which the additional insured is a Named Insured on such
                       other policy and where our policy is required by written contract or written agreement to provide
                       coverage to the additional insured on a primary and non-contributory basis.

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Y. Unintentional Failure to Disclose All Hazards
      Paragraph 6. Representations of Section IV ---- Commercial General Liability Conditions is replaced by the following:
      6.     Representations
             By accepting this policy, you agree:
             a.        The statements in the Declarations are accurate and complete;
             b. Those statements are based upon representations you made to us; and
             c. We have issued this policy in reliance upon your representations.
             Coverage will continue to apply if you unintentionally:
             a.        Fail to disclose all hazards existing at the inception of this policy; or
             b. Make an error, omission or improper description of premises or other statement of information stated in this
                policy.
             You must notify us as soon as possible after the discovery of any hazards or any other information that was not
             provided to us prior to inception of this Coverage Part.
Z.          Waiver of Right of Subrogation
            Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV ---- Commercial General Liability
            Conditions is replaced by the following:
            8. Transfer Of Rights Of Recovery Against Others To Us
                  a.     If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
                         those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
                         the insured will bring "suit" or transfer those rights to us and help us enforce them.
                  b. If the insured waives its right to recover payments for injury or damage from another person or organization
                     in a written contract executed prior to a loss, we waive any right of recovery we may have against such
                     person or organization because of any payment we have made under this Coverage Part. The written
                     contract will be considered executed when the insured’s performance begins, or when it is signed,
                     whichever happens first. This waiver of rights shall not be construed to be a waiver with respect to any
                     other operations in which the insured has no contractual interest


AA.        Liberalization Condition
           The following condition is added to Section IV ---- Commercial General Liability Conditions:
           Liberalization Clause
           If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
           automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
           address of your policy.


All other terms and conditions of this policy remain unchanged.




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General Liability Supplemental Coverage Endorsement
Technology
Quick Reference



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Recording And Distribution Of Material                                                                           Or
Information In Violation Of Law Exclusion

    Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
   Exclusions of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         q. Recording And Distribution Of Material Or Information In Violation Of Law
             "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
             that violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or
             (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                 or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                 that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                 use of, sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2. Exclusions of
   Section I ---- Coverage B ---- Personal And Advertising Injury Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         p. Recording And Distribution Of Material Or Information In Violation Of Law
            "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
            violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                use of, sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agree ment                                                (2) A "claim" will be dee med to have been made
                                                                            when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes
                                                                            corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an
                                                                            comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the
                                                                            same person or organization will be dee med to
        "insured’s" "e mployee benefit programs". We will
                                                                            have been made at the time the first of those
        have the right and duty to defend the "insured"
                                                                            "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against       2.   Exclusions
        any "suit" seeking damages for any act, error, or
        omission for which this insurance does not apply.               This insurance does not apply to:
        We may, at our discretion, investigate any "claim"              A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                        and advertising injury";
         (1) The amount we pay for damages is limited as                B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                        C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                     tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settle ments un-            D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                 or other provider’s failure to perform its con-
                                                                           tract;
         No other obligation or liability to pay sums or per-
         form acts or services is covered unless explicitly             E. Any "claim" or "suit" arising out of your failure
         provided for under Supple mentary Payments of this                to comply with any workers compensation, un-
         Coverage Part.                                                    e mployment insurance, social security, disabil-
                                                                           ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                               F. Any "claim" or "suit" arising out of the failure of
                                                                           any of your "e mployee benefit plans" to meet
             a.   A "claim" arising out of the act, error or               obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                             G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                (1) Advice given to any person to participate
                  the "coverage territory";                                     or not participate in a plan or program in-
                                                                                cluded in "e mployee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                    (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                         any investment manager, administrator,
                  "claim" or "suit"; and                                        trustee, actuary, advisor, counsel, account-
                                                                                ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-          C. Subject to the Aggregate Limit provisions in B.
                 age ment, administration or disposition of              above, the Each Claim Limit is the most we will
                 assets of your "e mployee benefit pro-                  pay for all damages sustained by any one "e m-
                 grams"; or                                              ployee", including the "e mployee’s" dependents and
                                                                         beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as
                                                                         committed in the "administration" of your "e m-
                 represented by any "insured".
                                                                         ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"
                                                                      D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:
                                                                         each consecutive annual period and to any re main-
             a.   The Employee Retire ment Income Secu-                  ing period of less than 12 months starting with the
                  rity Act of 1974 (PL93-406) and its                    beginning of the policy period shown in the Decla-
                  amendments; or                                         rations, unless the policy period is extended after is-
                                                                         suance for an additional period of less than 12
             b.   The Internal Revenue Code of 1986 (in-                 months. In that case, the additional period will be
                  cluding the Internal Revenue Code of                   dee med part of the last preceding period for pur-
                  1954) and its amendments.                              poses of determining the Limits of Insurance.
    3.   Supple mentary Payments                                  III. Conditions
         We will pay, in addition to the applicable Limits of         A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                              Bankruptcy or insolvency of the "insured" or the "in-
                                                                          sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by           B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                Claim or Suit
            judgment which accrues after entry of the
                                                                          (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered
                                                                              plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment
                                                                              that we are notified as soon as practicable of
            which does not exceed the limit of our insur-
                                                                              any act, error, or omission which may result in
            ance.
                                                                              a "claim". To the extent possible, notice should
         B. Pre miums on appeal bonds required and on                         include:
            bonds to release attachments in any "suit". We
                                                                              a.    How, when, and where the act, error, or
            do not have to furnish these bonds.
                                                                                    omission took place;
         C. All reasonable expenses incurred by the "in-
                                                                              b.    The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                    "e mployee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-
                                                                                    of any "e mployee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                    Notice of an act, error, or omission is not notice
                                                                              of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                   must:
            insurance, we will not pay any prejudgment in-
            terest based on that period of time after the of-                 a.    Immediately record the specifics of the
            fer.                                                                    "claim" and the date received; and

II. Limits of Insurance                                                       b.    Notify us as soon as practicable.

    A. The Limits of Insurance shown in the Declarations                      You must see to it that we receive written no-
       and the rules below establish the most we will pay                     tice of the "claim" as soon as practicable.
       regardless of the number of:                                       (3) You and any other involved "insured" must:
         (1) "Insureds";                                                      a.    Immediately send us copies of any de-
         (2) "Claims" made or "suits" brought; or                                   mands, notices, summonses, or legal papers
                                                                                    received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                          "suit";
             "e mployees" making "claims" or bringing "suits".
                                                                              b.    Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                          information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "e mployee benefit
       programs" during the policy period.


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       c.   Cooperate with us in the investigation, set-                 When this insurance is excess, we will have no
            tle ment, or defense of the "claim" or "suit";               duty to defend any "claim" or "suit" that any
            and                                                          other insurer has a duty to defend. If no other
                                                                         insurer defends, we will undertake to do so, but
       d.   Assist us, upon our request, in the en-
                                                                         we will be entitled to the "insured’s" rights
            force ment of any right against any person
                                                                         against all those other insurers.
            or organization which may be liable to the
            "insured" because of injury to which this in-                When this insurance is excess over other insur-
            surance may also apply.                                      ance, we will pay only our share of the amount
                                                                         of the loss, if any, that exceeds the sum of:
   (4) No insureds will, except at their own cost, vol-
       untarily make a payment, assume any obliga-                       i.    The total amount that all such other insur-
       tion, or incur any expense without our consent.                         ance would pay for the loss in the absence
                                                                               of this insurance; and
C. Legal Action Against Us
                                                                         ii. The total of all deductible and self-insured
   No person or organization has a right:
                                                                             amounts under all that other insurance.
   (1) To join us as a party or otherwise bring us into
                                                                         We will share the re maining loss, if any, with
       a "suit" asking for damages from an "insured";
                                                                         any other insurance that is not described in this
       or
                                                                         Excess Insurance provision and was not bought
   (2) To sue us on this Coverage Part unless all of its                 specifically to apply in excess of the Limits of
       terms have been fully complied with.                              Insurance shown in the Declarations of this
                                                                         Coverage Part.
   A person or organization may sue us to recover on
   an agreed settle ment or on a final judgment against              (3) Method of Sharing
   an "insured" obtained after an actual trial, but we
                                                                         If all of the other insurance permits contribu-
   will not be liable for damages that are not payable
                                                                         tion by equal shares, we will follow this method
   under the terms of this Coverage Part or that are in
                                                                         also. Under this approach, each insurer con-
   excess of the applicable limit of insurance. An
                                                                         tributes equal amounts until it has paid its ap-
   agreed settle ment means a settle ment and release
                                                                         plicable limit of insurance or none of the loss
   of liability signed by us, the "insured", and the
                                                                         re mains, whichever comes first.
   claimant or the claimant’s legal representative.
                                                                         If any of the other insurance does not permit
D. Other Insurance
                                                                         contribution by equal shares, we will contribute
   If other valid and collectible insurance is available                 by limits. Under this method, each insurer’s
   to the "insured" for a loss we cover under this Cov-                  share is based on the ratio of its applicable
   erage Part, our obligations are limited as follows:                   limit of insurance to the total applicable limits
                                                                         of insurance of all insurers.
   (1) Primary Insurance
                                                                 E. Separation of Insureds
       This insurance is primary except when 2. below
       applies. If this insurance is primary, our obli-              Except with respect to the Limits of Insurance and
       gations are not affected unless any of the other              any rights or duties specifically assigned in this
       insurance is also primary. Then, we will share                Coverage Part to the first Named Insured, this in-
       with all that other insurance by the method de-               surance applies:
       scribed in 3. below.
                                                                     (1) As if each Named Insured were the only
   (2) Excess Insurance                                                  Named Insured; and
       This insurance is excess over any other insur-                (2) Separately to each "insured" against whom
       ance whether primary, excess, contingent, or on                   "claim" is made or "suit" is brought.
       any other basis that is effective prior to the be-
                                                                 F. Transfer Of Rights Of Recovery Against Others To
       ginning of the policy period shown in the Dec-
                                                                    Us
       larations of this insurance and applies to an act,
       error, or omission on other than a claims-made                If the "insured" has rights to recover all or part of
       basis, if:                                                    any payment we made under this Coverage Part,
                                                                     those rights are transferred to us. The "insured"
       a.   No Retroactive Date is shown in the Dec-
                                                                     must do nothing after loss to impair the m. At our
            larations of this insurance; or
                                                                     request, the "insured" will bring "suit" or transfer
       b.   The other insurance has a policy period                  those rights to us and help us enforce the m.
            which continues after the Retroactive
                                                             IV. Definitions
            Date, if any, shown in the Declarations of
            this insurance.



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    A. "Advertise ment" means a notice that is broadcast or           You and any of your partners, executive officers, di-
       published to the general public or specific market             rectors, me mbers, stockholders or "e mployees",
       segments about your goods, products or services for            provided such "e mployee" is authorized to act in
       the purpose of attracting customers or supporters.             the "administration" of your "e mployee benefit pro-
       For the purposes of this definition:                           grams".
        (1) Notices that are published include material          I.   "Personal and advertising injury" means:
            placed on the Internet or on similar electronic
            means of communication; and                               Injury, including consequential "bodily injury", aris-
                                                                      ing out of one or more of the following offenses:
        (2) Regarding web-sites, only that part of a web-
            site that is about your goods, products or ser-           (1) False arrest, detention, or imprisonment;
            vices for the purposes of attracting customers or         (2) Malicious prosecution;
            supporters is considered an advertise ment.
                                                                      (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                            or invasion of the right of private occupancy of,
        (1) Counseling "e mployees", including their de-                  a room, dwelling, or pre mises that a person oc-
            pendents and beneficiaries, with respect to                   cupies by or on behalf of its owner, landlord, or
            "e mployee benefit programs";                                 lessor;

        (2) Handling records in connection with "e mployee            (4) Oral or written publication, in any manner, of
            benefit programs"; or                                         material that slanders or libels a person or or-
                                                                          ganization or disparages a person’s or organi-
        (3) Effecting or terminating an "e mployee’s" par-                zation’s goods, products, or services; or
            ticipation in a plan included in "e mployee
            benefit programs".                                        (5) Oral or written publication,’ in any manner, of
                                                                          material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-              vacy;
       ease sustained by a person, including death result-
       ing from any of these at any time.                             (6) The use of another’s advertising idea in your
                                                                          "advertise ment"; or
    D. "Claim" means:
                                                                      (7) Infringing upon another’s copyright, trade dress
        The receipt by you of a de mand for money or ser-                 or slogan in your "advertise ment".
        vices which alleges an act, error, or omission in the
        "administration" of your "e mployee benefit pro-         J.   "Property damage" means:
        grams."                                                       (1) Physical injury to tangible property, including
    E. "Coverage territory" means:                                        all resulting loss of use of that property.

        (1) The United States of America (including its               (2) Loss of use of tangible property that is not
                                                                          physically injured.
            territories and possessions), Puerto Rico, and
            Canada; or                                                For the purposes of this insurance, electronic data is
        (2) All parts of the world if the "insured’s" respon-         not tangible property.
            sibility to pay damages is determined in a "suit"         As used in this definition, electronic data means in-
            on the merits, in the territory described in E. 1.        formation, facts or programs stored as or on, cre-
            above, or in a settle ment to which we agree.             ated or used on, or transmitted to or from computer
    F. "Employee" means:                                              software, including syste ms and applications, soft-
                                                                      ware, hard or floppy disks, CD-ROMS, tapes,
        Your officers and e mployees, whether actively e m-           drives, cells, data processing devices or any other
        ployed, disabled, or retired.                                 media which are used with electronically controlled
                                                                      equipment.
    G. "Employee benefit programs" mean:
                                                                 K. "Suit" means:
        Group life insurance, group accident or health in-
        surance, profit sharing plans, pension plans, e m-            A civil proceeding in which damages to which this
        ployee stock subscription plans, workers compensa-            insurance applies is alleged. "Suit" includes:
        tion, une mployment insurance, salary continuation
        plans, social security, disability benefits insurance,        (1) An arbitration proceeding in which such dam-
        savings plans, vacation plans, or any other similar               ages are claimed and to which you must submit
        plans or programs.                                                or do submit with our consent; or

    H. "Insured" means:                                               (2) Any other alternative dispute resolution pro-
                                                                          ceeding in which such damages are claimed
                                                                          and to which you submit with our consent.



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2012 General Liability Multistate Forms Revision
Notice to Policyholders

This is a summary of the major changes in your policy. No coverage is provided by this summary nor can it be construed
to replace any provision of your policy. You should read your policy and review your Declarations page for complete
information on the coverages you are provided. If there is any conflict between the policy and this summary, THE
PROVISIONS OF THE POLICY SHALL PREVAIL.
The major areas within the policy that broaden or reduce coverage, and other changes, are highlighted below. This notice
does not reference every editorial change made in your policy. We have followed the policy sequence of provisions in
setting out this material.


                          COMMERCIAL GENERAL LIABILITY COVERAGE FORMS
                                 CG 00 01 04 13 AND CG 00 02 04 13
I. EXCLUSIONS
   A. BROADENING OF COVERAGE
       1. Coverage A ---- Exclusion 2.c. (Liquor Liability) is revised to provide an exception with respect to allowing a
          person to bring alcoholic beverages onto the named insured’s premises for consumption on the named
          insured’s premises.
        2. Coverage A ---- Exclusion 2.p. (Electronic Data) is revised to introduce an exception for liability for damages
           because of bodily injury.
     B. OTHER CHANGES
        1. Coverage A ---- Exclusion 2.c. (Liquor Liability) is revised to reinforce that the exclusion applies even if claims
           against an insured allege negligence or other wrongdoing in the supervision, hiring, employment, training or
           monitoring of others, or providing or failing to provide transportation with respect to any person that may be
           under the influence of alcohol.
        2. Coverage A ---- Exclusion 2.g. (Aircraft, Auto Or Watercraft) is revised to delete reference to "in the state".
        3. Coverage A ---- Exclusion 2.q. and Coverage B -- Exclusion 2.p. (Recording And Distribution Of Material Or
           Information In Violation Of Law) were previously added to your policy via mandatory endorsement. The
           endorsement contained an exclusion addressing injury or damage arising out of any action or omission that
           violates or is alleged to violate certain statutes, ordinances and regulations. This exclusion has been
           incorporated directly into your policy.
        4. Coverage B ---- Exclusions 2.b. and 2.c. (Material Published With Knowledge Of Falsity and Material Published
           Prior To Policy Period) are revised to reference "in any manner", with respect to oral or written publication, for
           consistency with the definition of personal and advertising injury.
II. CONDITIONS
        OTHER CHANGES
        Condition 4. (Other Insurance) is generally revised so that the insurance provided is excess over any for which the
        named insured has been added as an additional insured, whether by endorsement or any other means.
III. DEFINITIONS
      OTHER CHANGES
      1. Definition 2. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is licensed or
         principally garaged.
      2. Definition 12. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a vehicle
         is licensed or principally garaged.




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     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM --- COVERAGE
                  FOR OPERATIONS OF DESIGNATED CONTRACTOR
                                CG 00 09 04 13

 I. EXCLUSIONS
      BROADENING OF COVERAGE
      Exclusion 2.l. (Electronic Data) is revised to introduce an exception for liability for damages because of bodily
      injury.
II. DEFINITIONS
      OTHER CHANGES
       1. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is licensed or
          principally garaged.
       2. Definition 10. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a vehicle is
          licensed or principally garaged.


                                       LIQUOR LIABILITY COVERAGE FORMS
                                         CG 00 33 04 13 AND CG 00 33 04 13

   WHO IS AN INSURED
     BROADENING OF COVERAGE
       We have included trusts as Named Insureds. In addition, trustees have been included as insureds but only with
       respect to their duties as trustees.


                 CG 00 35 04 13 --- RAILROAD PROTECTIVE LIABILITY COVERAGE FORM

   EXCLUSIONS
       BROADENING OF COVERAGE
       Exclusion 2.f.(3)(a) (Pollution) is amended to expand the exception to the exclusion with respect to bodily injury or
       property damage arising out of fuel or lubricants for equipment used at the job location not just when they escape
       from such equipment.


                PRODUCTS/ COMPLECATED OPERATIONS LIABILITY COVERAGE FORM


I. EXCLUSIONS
       BROADENING OF COVERAGE
       1. Exclusion 2.c. (Liquor Liability) is revised to provide an exception with respect to allowing a person to bring
          alcoholic beverages onto the named insured’s premises for consumption on the named insured’s premises.
       2. Exclusion 2.l. (Electronic Data) is revised to introduce an exception for liability for damages because of bodily
          injury.
II.DEFINITIONS
       OTHER CHANGES
       1. Exclusion 2.c. (Liquor Liability) is revised to reinforce that the exclusion applies even if claims against an insured
          allege negligence or other wrongdoing in the supervision, hiring, employment, training or monitoring of others,
          or providing or failing to prov ide transportation with respect to any person that may be under the
          influence of alcohol.


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       2. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is licensed or
          principally garaged.
       3. Definition 10. (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a vehicle is
          licensed or principally garaged.


           CG 00 39 04 13 --- POLLUTION LIABILITY COVERAGE FORM DESIGNATED SITES
                CG 00 40 04 13 --- POLLUTION LIABILITY LIMITED COVERAGE FORM
                                        DESIGNATED SITES

I. EXCLUSIONS
   A. BROADENING OF COVERAGE
      Exclusion 2.p. (Electronic Data) is revised to introduce an exception for liability for damages because of bodily
      injury.
   B. OTHER CHANGES
      Exclusion (Aircraft, Auto, Rolling Stock Or Watercraft) is generally revised to reinforce that the exclusion applies
      even if the claims against any insured allege negligence or other wrongdoing in the supervision, hiring,
      employment, training or monitoring of others by that insured.
      The exclusion is also revised to express that a land motor vehicle subject to compulsory or financial responsibility
      laws or other motor vehicle insurance laws will not be covered with respect to its over-the-road exposures.
II. DEFINITIONS
      OTHER CHANGES
       1. Exclusion 2.j. (Aircraft, Auto, Rolling Stock Or Watercraft) is revised to delete reference to "in the state". (CG 00
          40 only)
       2. Definition 1. (Auto) is revised to delete reference to "in the state" with respect to where a vehicle is licensed or
          principally garaged.
       3. Definition (Mobile Equipment) is revised to delete reference to "in the state" with respect to where a vehicle is
          licensed or principally garaged.


          CG 00 42 04 13 --- UNDERGROUND STORAGE TANK POLICY DESIGNATED TANKS

   EXCLUSIONS
     BROADENING OF COVERAGE
     Exclusion 2.i. (Electronic Data) is revised to introduce an exception for liability for damages because of bodily
     injury.


                    CG 00 65 04 13 --- ELECTRONIC DATA LIABILITY COVERAGE FORM

   EXCLUSIONS
     OTHER CHANGES
       Exclusion 2.g. (Infringement Of Intellectual Property Rights) is revised to delete the exception pertaining to the use
       of another’s advertising idea.




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                                         MULTISTATE ENDORSEMENTS

A. BROADENING OF COVERAGE
   1. Electronic Data Liability Endorsement CG 04 37 is revised to introduce an exception to the electronic data
      exclusion in order to provide that the exclusion does not apply to liability for damages because of bodily injury.
   2. Additional Insured ---- Owners, Lessees Or Contractors --- Automatic Status For Other Parties When Required In
      Written Construction Agreement Endorsement CG 20 38 is introduced to provide additional insured status to
      those parties whom the named insured is obligated in writing in a contract or agreement to name as an
      additional insured.
   3. Druggists Endorsement CG 22 69 is revised to introduce an exception for the administering of vaccinations.
   4. Liquor Liability ---- Bring Your Own Alcohol Establishments Endorsement CG 24 06 is introduced to provide
      coverage to insureds who permit any person to bring any alcoholic beverage on an insured’s premises, for
      consumption on the insured’s premises.
B. REDUCTIONS OF COVERAGE
   1. Additional Insured ---- Users Of Golfmobiles Endorsement CG 20 08 is revised to include a definition of the term
      golfmobile.
   2. Liquor Liability Exclusion Endorsements
      The following endorsements are revised to indicate that the liquor liability exclusion will apply if a named insured
      permits any person to bring any alcoholic beverages on the named insured’s premises, for consumption on the
      named insured’s premises:
         CG 21 50 ---- Amendment Of Liquor Liability Exclusion (for use with Commercial General Liability Coverage
            Part)
         CG 21 51 ---- Amendment Of Liquor Liability Exclusion --- Exception For Scheduled Premises Or Activities (for
            use with Commercial General Liability Coverage Part)
         CG 29 52 ---- Amendment Of Liquor Liability Exclusion (for use with Products / Completed Operations Liability
            Coverage Part)
         CG 29 53 ---- Amendment Of Liquor Liability Exclusion --- Exception For Scheduled Premises Or Activities (for
            use with Products / Completed Operations Liability Coverage Part)
   3. Total Pollution Exclusion For Designated Products Or Work Endorsement CG 21 99 is introduced to exclude
      coverage with respect to bodily injury or property damage arising out of the actual, alleged or threatened
      discharge, dispersal, seepage, migration, release or escape of pollutants which arises out of the product or
      work scheduled in the endorsement.
   4. Amendment Of Personal And Advertising Injury Definition Endorsement CG 24 13 is introduced to remove from
      the definition of personal and advertising injury the offense of oral and written publication, in any manner, of
      material that violates a person’s right of privacy.
C. OTHER CHANGES
   1. Limited Product Withdrawal Expense Endorsement CG 04 36 is revised, in part, to reinforce that the Participation
      Percentage is indicated in the Schedule and to reflect that the cost of the insured’s participation in each product
      withdrawal will be borne by the named insured when due.
   2. Primary And Noncontributory ---- Other Insurance Condition Endorsement CG 20 01 is introduced to revise the
      Other Insurance Condition to indicated that coverage is provided to an additional insured on a primary and
      noncontributory basis, provided that certain requirements are met.
   3. Additional Insured Endorsements
      The following additional insured endorsements are revised to indicate that when these endorsements are
      attached to a policy, if coverage provided to the additional insured is required by contract or agreement,
      coverage to the additional insured will be afforded to the extent permissible by law and to the extent the named
      insured is required by the contract or agreement to provide insurance for the additional insured.
       Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of
       insurance of the named insured’s policy that are available to an additional insured will be limited to the extent
       required by the contract or agreement or the amount of insurance available under the applicable Limits of
       Insurance shown in the Declarations, whichever is less:


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     CG 20 03 ---- Additional Insured ---- Concessionaires Trading Under Your Name
     CG 20 05 ---- Additional Insured ---- Controlling Interest
     CG 20 07 ---- Additional Insured ---- Engineers, Architects Or Surveyors
     CG 20 10 ---- Additional Insured ---- Owners, Lessees Or Contractors ---- Scheduled Person Or Organization
     CG 20 11 ---- Additional Insured ---- Managers Or Lessors Of Premises
     CG 20 12 ---- Additional Insured ---- State Or Governmental Agency Or Subdivision Or Political Subdivision ----
       Permits Or Authorizations
     CG 20 13 ---- Additional Insured ---- State Or Governmental Agency Or Subdivision Or Political Subdivision ----
       Permits Or Authorizations Relating To Premises
     CG 20 15 ---- Additional Insured ---- Vendors
     CG 20 18 ---- Additional Insured ---- Mortgagee, Assignee Or Receiver
     CG 20 23 ---- Additional Insured ---- Executors, Administrators, Trustees Or Beneficiaries
     CG 20 24 ---- Additional Insured ---- Owners Or Other Interest From Whom Land Has Been Leased
     CG 20 26 ---- Additional Insured ---- Designated Person Or Organization
     CG 20 27 ---- Additional Insured ---- Co-owner Of Insured Premises
     CG 20 28 ---- Additional Insured ---- Lessor Of Leased Equipment
     CG 20 29 ---- Additional Insured ---- Grantor Of Franchise
     CG 20 30 ---- Oil Or Gas Operations ---- Nonoperating, Working Interests
     CG 20 31 ---- Additional Insured ---- Engineers, Architects Or Surveyors
     CG 20 32 ---- Additional Insured ---- Engineers, Architects Or Surveyors Not Engaged By The Named Insured
     CG 20 33 ---- Additional Insured ---- Owners, Lessees Or Contractors ---- Automatic Status When Required In
       Construction Agreement With You
     CG 20 34 ---- Additional Insured ---- Lessor Of Leased Equipment ---- Automatic Status When Required In Lease
       Agreement With You
     CG 20 35 ---- Additional Insured ---- Grantor Of Licenses --- Automatic Status When Required By Licensor
     CG 20 36 ---- Additional Insured ---- Grantor Of Licenses
     CG 20 37 ---- Additional Insured ---- Owners, Lessees Or Contractors ---- Completed Operations
     CG 29 35 ---- Additional Insured ---- State Or Governmental Agency Or Subdivision Or Political Subdivision ----
         Permits Or Authorizations
4. Professional Services Endorsements
   The following endorsements are revised to expressly address, in part, claims alleging negligence or other
   wrongdoing in the hiring, employment, training, supervision or monitoring of others by any insured:
     CG 21 16 ---- Exclusion ---- Designated Professional Services
     CG 21 52 ---- Exclusion ---- Financial Services
     CG 21 56 ---- Exclusion ---- Funeral Services
     CG 21 57 ---- Exclusion ---- Counseling Services
     CG 21 58 ---- Exclusion ---- Professional Veterinarian Services
     CG 21 59 ---- Exclusion ---- Diagnostic Testing Laboratories
     CG 22 24 ---- Exclusion   ---- Inspection, Appraisal And Survey Companies
     CG 22 32 ---- Exclusion   ---- Professional Services --- Blood Banks
     CG 22 33 ---- Exclusion   ---- Testing Or Consulting Errors And Omissions
     CG 22 34 ---- Exclusion   ---- Construction Management Errors And Omissions
     CG 22 36 ---- Exclusion   ---- Products And Professional Services (Druggists)
     CG 22 37 ---- Exclusion   ---- Products And Professional Services (Optical And Hearing Aid Establishments)
     CG 22 39 ---- Exclusion   ---- Camps Or Campgrounds
     CG 22 43 ---- Exclusion ---- Engineers, Architects Or Surveyors Professional Liability

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      CG 22 44 ---- Exclusion ---- Services Furnished By Health Care Providers
      CG 22 45 ---- Exclusion ---- Specified Therapeutic Or Cosmetic Services
      CG 22 48 ---- Exclusion ---- Insurance And Related Operations
      CG 22 69 ---- Druggists
      CG 22 71 ---- Colleges Or Schools (Limited Form)
      CG 22 72 ---- Colleges Or Schools
      CG 22 75 ---- Professional Liability Exclusion ---- Computer Software
      CG 22 76 ---- Professional Liability Exclusion ---- Health Or Exercise Clubs Or Commercially Operated Health Or
        Exercise Facilities
      CG 22 77 ---- Professional Liability Exclusion ---- Computer Data Processing
      CG 22 79 ---- Exclusion ---- Contractors ---- Professional Liability
      CG 22 80 ---- Limited Exclusion ---- Contractors ---- Professional Liability
      CG 22 87 ---- Exclusion ---- Adult Day Care Centers
      CG 22 88 ---- Professional Liability Exclusion ---- Electronic Data Processing Services And Computer Consulting
        Or Programming Services
      CG 22 90 ---- Professional Liability Exclusion ---- Spas or Personal Enhancement Facilities
      CG 22 91 ---- Exclusion ---- Telecommunication Equipment Or Service Providers Errors And Omissions
      CG 22 96 ---- Limited Exclusion ---- Personal And Advertising Injury ---- Lawyers
      CG 22 98 ---- Exclusion ---- Internet Service Providers And Internet Access Providers Errors And Omissions
      CG 22 99 ---- Professional Liability Exclusion ---- Web Site Designers
      CG 23 01 ---- Exclusion ---- Real Estate Agents Or Brokers Errors Or Omissions
      CG 31 15 ---- Construction Project Management Protective Liability Coverage
 5. Exclusion ---- Volunteer Workers Endorsement CG 21 66 is revised to delete reference to "in the state" from
    Exclusion 2.g. (Aircraft, Auto Or Watercraft).
 6. Exclusion ---- Failure To Supply Endorsement CG 22 50 is revised to expressly state that the exclusion also
    applies to the failure of any insured to adequately supply biofuel.
 7. Pesticide Or Herbicide Applicator Coverage Endorsements CG 22 64 and CG 28 12 and Lawn Care Services
    Coverage Endorsement CG 22 93 are revised to reflect a change in titles to Herbicide Applicator ---- Limited
    Pollution Coverage endorsements and Lawn Care Services ---- Limited Pollution Coverage.
 8. Real Estate Property Managed Endorsement CG 22 70 is revised to reinforce that the insurance provided is
    excess over any other insurance available, whether such insurance is primary or excess.
 9. Colleges Or Schools Endorsements CG 22 71 and CG 22 72 are revised to expressly address, in part, claims
    alleging negligence or other wrongdoing in the hiring, employment, training, supervision or monitoring of others
    by any insured.
10. Waiver Of Governmental Immunity Endorsement CG 24 14 is revised to reference that the endorsement also
    applies to the Owners And Contractors Protective Liability Coverage Part and the Railroad Protective Liability
    Coverage Part.
11. Amendment Of Insured Contract Definition Endorsement CG 24 26 and Limited Contractual Liability ---- Railroads
    Endorsement CG 24 27 are revised to reflect that the defined term insured contract addresses certain liability
    assumed by the named insured with respect to the tort liability of another party to the extent the assumption of
    the tort liability is permitted by law.
12. Designated Locations(s) Aggregate Limit Endorsement CG 25 14 is introduced to make a separate Designated
    Location Aggregate Limit available for each location of the insured listed in the Schedule of the endorsement.
13. Supplemental Extended Reporting Period Endorsement CG 27 10 and Supplemental Extended Reporting Period
    Endorsement For Specific Accidents, Products, Work Or Locations Endorsement CG 27 11 are revised to
    amend Condition 4. (Other Insurance) so that the insurance provided is excess over any for which the named
    insured has been added as an additional insured, whether by endorsement or any other means.
14. Principals Protective Liability Coverage Endorsement CG 28 07 is revised to delete reference to "in the state"
    from Exclusion 2.c.(1)(e)(i).


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     15. Liquor Liability Exclusion Endorsements
         The following endorsements are revised to reinforce that the exclusion applies even if claims against an insured
         allege negligence or other wrongdoing in the supervision, hiring, employment, training or monitoring of others,
         or providing or failing to provide transportation with respect to any person that may be under the influence of
         alcohol:
            CG 21 50 ---- Amendment Of Liquor Liability Exclusion (for use with Commercial General Liability Coverage
               Part)
            CG 21 51 ---- Amendment Of Liquor Liability Exclusion --- Exception For Scheduled Premises Or Activities (for
               use with Commercial General Liability Coverage Part)
           CG 29 52 ---- Amendment Of Liquor Liability Exclusion (for use with Products / Completed Operations Liability
             Coverage Part)
           CG 29 53 ---- Amendment Of Liquor Liability Exclusion --- Exception For Scheduled Premises Or Activities (for
             use with Products / Completed Operations Liability Coverage Part)

                            ZURICH N.A. PROPRIETARY MULTISTATE ENDORSEMENTS

U-GL-393 Exclusion - Liquor Liability and Alcohol Consumption Health Hazards
BROADENING OF COVERAGE
Coverage A ---- Exclusion 2.c. (Liquor Liability) is revised to provide an exception with respect to allowing a person to
bring alcoholic beverages onto the named insured’s premises for consumption on the named insured’s premises.
OTHER CHANGES
Exclusion 2.c. (Liquor Liability) is revised to reinforce that the exclusion applies even if claims against an insured allege
negligence or other wrongdoing in the supervision, hiring, employment, training or monitoring of others, or providing
or failing to provide transportation with respect to any person that may be under the influence of alcohol.
U-GL-655 Clinical Testing Exclusion
OTHER CHANGES
This endorsement was revised to expressly address, in part, claims alleging negligence or other wrongdoing in the
hiring, employment, training, supervision or monitoring of others by any insured.
U-GL-1060 Contractors Liability Supplemental Coverages And Conditions
BROADENING OF COVERAGE
1. The Additional Insured ---- Lessor Of Leased Equipment ---- Automatic Status When Required In Lease Agreement
With You Section has been added to provide coverage similar to the coverage provided by ISO endorsement CG 20
28.
2. The Additional Insured ---- Managers Or Lessors Of Premises Section has been added to provide coverage similar
to the coverage provided by ISO endorsement CG 20 11.
3. The Additional Insured ---- State Or Governmental Agency Or subdivision Or Political Subdivision ---- Permits Or
Authorizations Section has been added to provide coverage similar to the coverage provided by ISO endorsement CG
20 12.
4. The Amendment ---- Duties In The Event of Occurrence, Offense, Claim or Suit Section has been broadened to
state that the reporting of an "occurrence" to a workers compensation carrier is not considered a violation of the
Duties In The Event Of Occurrence, Offense, Claim Or Suit Condition under certain circumstances.
OTHER CHANGES
1.     The Who Is An Insured Sections of U-GL-1060 have been moved to U-GL-1518.
2. The Non-owned Watercraft Liability Extended Coverage Section is revised to include a Schedule that provides an
option to change the 51 feet watercraft length default.
3. The items relating to revising the peril of fire to "specific perils" have been grouped under the Damage To
Premises Rented Or Occupied By You Section.



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U-GL-1081 Additional Insured-Owners, Lessees or Contractors (Primary Insurance)
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Finally, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001-
Primary and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1175 Additional Insured ---- Automatic ---- Owners, Lessees Or Contractors
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
Finally, the Architects and Engineers Exclusion in this endorsement was revised to expressly address, in part, claims
alleging negligence or the wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
insured.
U-GL-1177 Additional Insured ---- Owners, Lessees Or Contractors ---- Scheduled Person Or Organization
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
Finally, the Architects and Engineers Exclusion in this endorsement was revised to expressly address, in part, claims
alleging negligence or the wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
insured.
U-GL-1321 Broad Form Additional Insured Coverage ---- Owners, Lessees Or Contractors ---- Scheduled Person or
Organization
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.

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Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
Finally, the Architects and Engineers Exclusion in this endorsement was revised to expressly address, in part, claims
alleging negligence or the wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
insured.
U-GL-1327 Other Insurance Amendment -- Primary and Noncontributory
OTHER CHANGES
This endorsement has been revised to be consistent with the new ISO CG2001- Primary and Noncontributory ---- Other
Insurance Condition Endorsement.
U-GL-1445 Electrical Contractors Liability Coverage Enhancement
BROADENING OF COVERAGE
Coverage A ---- Exclusion 2.p. (Electronic Data) is revised to introduce an exception for liability for damages because of
bodily injury.
U-GL-1452 Printers Errors and Omissions Liability Including Cost to Correct and Expenses of Withdrawal or
Inspection Coverage
BROADENING OF COVERAGE
The Electronic Data exclusion is revised to introduce an exception for liability for damages because of bodily injury.
OTHER CHANGES
The word "monitoring" has been added to Recording and Distribution of Material or Information of Law exclusion
(Exclusion t.) for clarity.
U-GL-1453 Printers Errors and Omissions Liability and Expenses of Withdrawal or Inspection Coverage
BROADENING OF COVERAGE
The Electronic Data exclusion is revised to introduce an exception for liability for damages because of bodily injury.
OTHER CHANGES
The word "monitoring" has been added to Recording and Distribution of Material or Information of Law exclusion
(Exclusion t.) for clarity.
U-GL-1461 Additional Insured ---- Automatic ---- Owners, Lessees Or Contractors ---- Products-Completed Operations
Liability Amendment
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
Finally, the Architects and Engineers Exclusion in this endorsement was revised to expressly address, in part, claims
alleging negligence or the wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
insured.

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U-GL-1462 Additional Insured ---- Owners, Lessees Or Contractors ---- Products-Completed Operations Liability
Amendment ---- Scheduled Person Or Organization
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
Finally, the Architects and Engineers Exclusion in this endorsement was revised to expressly address, in part, claims
alleging negligence or the wrongdoing in the hiring, employment, training, supervision or monitoring of others by any
insured.
U-GL-1465 Additional Insured ---- Owners, Lessees Or Contractors ---- Ongoing Operations ---- Scheduled
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
U-GL-1466 Additional Insured ---- Owners, Lessees Or Contractors ---- Completed Operations --- Scheduled
OTHER CHANGES
This additional insured endorsement has been revised to indicate that when this endorsement is attached to a policy, if
coverage provided to the additional insured is required by contract or agreement, coverage to the additional insured
will be afforded to the extent permissible by law and to the extent the named insured is required by the contract or
agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
U-GL-1477 General Liability Extended Coverages
OTHER CHANGES
This endorsement contains two additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.


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U-GL-1484 Contractor’s Pollution Liability Endorsement
BROADENING OF COVERAGE
The Electronic Data exclusion is revised to introduce an exception for liability for damages because of bodily injury.
OTHER CHANGES
This endorsement was revised to expressly address, in part, claims alleging negligence or other wrongdoing in the
hiring, employment, training, supervision or monitoring of others by any insured.
The word "monitoring" has been added to Recording and Distribution of Material or Information of Law exclusion for
clarity.
U-GL-1489 Heating And Air Conditioning Contractor Liability
Coverage Enhancement
BROADENING OF COVERAGE
The Electronic Data exclusion is revised to introduce an exception for liability for damages because of bodily injury.
U-GL-1504 General Liability Supplemental Coverage Endorsement -- Real Estate --- Enhancement
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1505 General Liability Supplemental Coverage Endorsement -- Real Estate --- Class A
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1506 General Liability Supplemental Coverage Endorsement -- Real Estate --- Trophy Asset
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.


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Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1513 Interior Trade Contractor Liability Coverage Enhancement
BROADENING OF COVERAGE
The Electronic Data exclusion is revised to introduce an exception for liability for damages because of bodily injury.
U-GL-1517 Recording and Distribution of Material or Information of Law Exclusion
OTHER CHANGES
The word "monitoring" has been added to Recording and Distribution of Material or Information of Law exclusion for
clarity.
U-GL-1330 Financial Institutions Extension
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1345 General Liability Supplemental Coverage Endorsement
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.
U-GL-1369 General Liability Supplemental Coverage Endorsement Technology
OTHER CHANGES
This endorsement contains three additional insured provisions that have been revised to indicate that when this
endorsement is attached to a policy, if coverage provided to the additional insured is required by contract or
agreement, coverage to the additional insured will be afforded to the extent permissible by law and to the extent the
named insured is required by the contract or agreement to provide insurance for the additional insured.
Additionally, if coverage provided to the additional insured is required by contract or agreement, the limits of insurance
of the named insured’s policy that are available to an additional insured will be limited to the extent required by the
contract or agreement or the amount of insurance available under the applicable Limits of Insurance shown in the
Declarations, whichever is less.
Also, the Primary and Noncontributory wording has been revised to be consistent with the new ISO CG2001- Primary
and Noncontributory ---- Other Insurance Condition Endorsement.




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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                      Policy Number: CPO 5912284-02
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured OMNICELL INC




  Policy Period: Coverage begins     09-01-2014           at 12:01 A.M.;   Coverage ends          09-01-2015              at 12:01 A.M.


  Producer Name: MARSH RISK & INSURANCE SERVICES                                           Producer No. 70074-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                    $           5,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $               5,000,000

EACH OCCURRENCE LIMIT                                 $           1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $           1,000,000                   Any one premises

      MEDICAL EXPENSE LIMIT                           $                    10,000             Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $           1,000,000                   Any one person or
                                                                                              organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                           (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:                                                                    $           69,099.00
Other Premium:
Total Premium:                                                                            $           69,099.00




                                                                                                                    U-GL-D-1115-B CW (9/ 04)
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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                     Policy Number:      CPO 5912284-02
Named Insured:      OMNICELL INC


Policy Period: Coverage begins 09-01-2014                  at 12:01 A.M.;   Coverage ends 09-01-2015           at 12:01 A.M.



Producer Name:      MARSH RISK & INSURANCE SERVICES                               Producer No.     70074-000


Item 1. Limits of Insurance



      $     3,000,000 Aggregate Limit
      $     1,000,000 Each Claim Limit

Item 2. Form of Business:
          Individual              Parnership           Joint Venture        X Corporation
          Other



Item 3. Premium Schedule:
     Code No.          Premium Basis                       Rate                                Advance Premium
                       (Estimated Number of Employees)

     92100             600                                 $ INCL              Per Employee    $        INCL

                                                           $ INCL              Flat Charge     $        INCL


Total Advance Premium For This Coverage Part:         $           INCL


Audit Period:     X Annual          Semi-annual           Quarterly            Monthly


Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
9/01/2012           (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,               occurs during the policy period; and
duties and what is and is not covered.
                                                                (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer              under Paragraph 1. of Section II ---- Who Is An
to the Named Insured shown in the Declarations, and                  Insured and no "employee" authorized by you
any other person or organization qualifying as a Named               to give or receive notice of an "occurrence" or
Insured under this policy. The words "we", "us" and                  claim, knew that the "bodily injury" or
"our" refer to the company providing this insurance.                 "property damage" had occurred, in whole or
The word "insured" means any person or organization                  in part. If such a listed insured or authorized
qualifying as such under Section II ---- Who Is An                   "employee" knew, prior to the policy period,
Insured.                                                             that the "bodily injury" or "property damage"
                                                                     occurred, then any continuation, change or
Other words and phrases that appear in quotation                     resumption of such "bodily injury" or
marks have special meaning. Refer to Section V ----                  "property damage" during or after the policy
Definitions.                                                         period will be deemed to have been known
SECTION I ---- COVERAGES                                             prior to the policy period.
COVERAGE A ---- BODILY INJURY AND PROPERTY                   c. "Bodily injury" or "property damage" which
DAMAGE LIABILITY                                                 occurs during the policy period and was not,
                                                                 prior to the policy period, known to have
1. Insuring Agreement
                                                                 occurred by any insured listed under Paragraph
   a. We will pay those sums that the insured becomes            1. of Section II ---- Who Is An Insured or any
       legally obligated to pay as damages because of            "employee" authorized by you to give or receive
       "bodily injury" or "property damage" to which this        notice of an "occurrence" or claim, includes any
       insurance applies. We will have the right and             continuation, change or resumption of that
       duty to defend the insured against any "suit"             "bodily injury" or "property damage" after the end
       seeking those damages. However, we will have              of the policy period.
       no duty to defend the insured against any "suit"
       seeking damages for "bodily injury" or "property      d. "Bodily injury" or "property damage" will be
       damage" to which this insurance does not apply.           deemed to have been known to have occurred at
       We may, at our discretion, investigate any                the earliest time when any insured listed under
       "occurrence" and settle any claim or "suit" that          Paragraph 1. of Section II ---- Who Is An Insured
       may result. But:                                          or any "employee" authorized by you to give or
                                                                 receive notice of an "occurrence" or claim:
      (1) The amount we will pay for damages is limited
          as described in Section III ---- Limits Of            (1) Reports all, or any part, of the "bodily injury"
          Insurance; and                                             or "property damage" to us or any other
                                                                     insurer;
      (2) Our right and duty to defend ends when we
          have used up the applicable limit of insurance        (2) Receives a written or verbal demand or claim
          in the payment of judgments or settlements                 for damages because of the "bodily injury" or
                                                                     "property damage"; or
          under Coverages A or B or medical expenses
          under Coverage C.                                     (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has
       No other obligation or liability to pay sums or
                                                                     occurred or has begun to occur.
       perform acts or services is covered unless
       explicitly provided for under Supplementary           e. Damages because of "bodily injury" include
       Payments ---- Coverages A and B.                         damages claimed by any person or organization
   b. This insurance applies to "bodily injury" and             for    care, loss       of services      or death
       "property damage" only if:                               resulting at any time from the "bodily injury".
      (1) The "bodily injury" or "property damage" is
          caused by an "occurrence" that takes place
          in the "coverage territory";




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2. Exclusions                                                    This exclusion applies even if the claims
   This insurance does not apply to:                             against any insured allege negligence or other
                                                                 wrongdoing in:
   a. Expected Or Intended Injury
                                                                    (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                     training or monitoring of others by that
       or intended from the standpoint of the insured.                   insured; or
       This exclusion does not apply to "bodily injury"
       resulting from the use of reasonable force to                (b) Providing      or   failing   to     provide
       protect persons or property.                                      transportation with respect to any person
                                                                         that may be under the influence of alcohol;
   b. Contractual Liability
                                                                 if the "occurrence" which caused the "bodily
       "Bodily injury" or "property damage" for which the        injury" or "property damage", involved that which
       insured is obligated to pay damages by reason of          is described in Paragraph (1), (2) or (3) above.
       the assumption of liability in a contract or
       agreement. This exclusion does not apply to               However, this exclusion applies only if you are in
       liability for damages:                                    the business of manufacturing, distributing,
                                                                 selling,    serving   or     furnishing   alcoholic
      (1) That the insured would have in the absence             beverages. For the purposes of this exclusion,
           of the contract or agreement; or                      permitting a person to bring alcoholic beverages
      (2) Assumed in a contract or agreement that is             on your premises, for consumption on your
           an "insured contract", provided the "bodily           premises, whether or not a fee is charged or a
           injury" or "property         damage" occurs           license is required for such activity, is not by
           subsequent to the execution of the contract           itself considered the business of selling, serving
           or agreement. Solely for the purposes of              or furnishing alcoholic beverages.
           liability assumed in an "insured contract",        d. Workers Compensation And Similar Laws
           reasonable attorneys fees and necessary
           litigation expenses incurred by or for a party        Any obligation of the insured under a workers
           other than an insured are deemed to be                compensation,        disability     benefits    or
           damages because of "bodily injury" or                 unemployment compensation law or any similar
           "property damage", provided:                          law.
          (a) Liability to such party for, or for the cost    e. Employer s Liability
                of, that party s defense has also been           "Bodily injury" to:
                assumed in the same "insured contract";          (1) An "employee" of the insured arising out of
                and                                                   and in the course of:
          (b) Such attorneys fees and litigation                     (a) Employment by the insured; or
                expenses are for defense of that party
                against a civil or alternative dispute              (b) Performing duties related to the conduct
                resolution proceeding in which damages                    of the insured s business; or
                to which this insurance applies are              (2) The spouse, child, parent, brother or sister of
                alleged.                                              that "employee" as a consequence of
   c. Liquor Liability                                                Paragraph (1) above.
       "Bodily injury" or "property damage" for which             This exclusion applies whether the insured may
       any insured may be held liable by reason of:               be liable as an employer or in any other capacity
                                                                  and to any obligation to share damages with or
      (1) Causing or contributing to the intoxication of          repay someone else who must pay damages
           any person;                                            because of the injury.
      (2) The furnishing of alcoholic beverages to a
                                                                 This exclusion does not apply to liability
           person under the legal drinking age or under
                                                                 assumed by the insured under an "insured
           the influence of alcohol; or                          contract".
      (3) Any statute, ordinance or regulation relating
           to the sale, gift, distribution or use of
           alcoholic beverages.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened                       or subcontractors working directly or
           discharge, dispersal, seepage, migration,                      indirectly on any insured s behalf are
           release or escape of "pollutants":                             performing operations if the "pollutants"
                                                                          are brought on or to the premises, site or
          (a) At or from any premises, site or location                   location in connection with such
                which is or was at any time owned or                      operations by such insured, contractor or
                occupied by, or rented or loaned to, any                  subcontractor.           However,        this
                insured. However, this subparagraph                       subparagraph does not apply to:
                does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
                (i) "Bodily injury" if sustained within a                     arising out of the escape of fuels,
                    building and caused by smoke, fumes,                      lubricants or other operating fluids
                    vapor or soot produced by or                              which are needed to perform the
                    originating from equipment that is used                   normal      electrical,   hydraulic    or
                    to heat, cool or dehumidify the                           mechanical functions necessary for the
                    building, or equipment that is used to                    operation of "mobile equipment" or its
                    heat water for personal use, by the                       parts, if such fuels, lubricants or other
                    building s occupants or their guests;                     operating fluids escape from a vehicle
               (ii) "Bodily injury" or "property damage" for                  part designed to hold, store or receive
                    which you may be held liable, if you                      them. This exception does not apply if
                    are a contractor and the owner or                         the "bodily injury" or "property damage"
                    lessee of such premises, site or                          arises out of the intentional discharge,
                    location has been added to your policy                    dispersal or release of the fuels,
                    as an additional insured with respect to                  lubricants or other operating fluids, or
                    your ongoing operations performed for                     if such fuels, lubricants or other
                    that additional insured at that                           operating fluids are brought on or to
                    premises, site or location and such                       the premises, site or location with the
                    premises, site or location is not and                     intent that they be discharged,
                    never was owned or occupied by, or                        dispersed or released as part of the
                    rented or loaned to, any insured, other                   operations being performed by such
                    than that additional insured; or                          insured, contractor or subcontractor;
              (iii) "Bodily injury" or "property damage"                 (ii) "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                       sustained within a building and caused
                    from a "hostile fire";                                    by the release of gases, fumes or
                                                                              vapors from materials brought into that
        (b) At or from any premises, site or location
                                                                              building in connection with operations
             which is or was at any time used by or for
                                                                              being performed by you or on your
             any insured or others for the handling,
                                                                              behalf      by     a     contractor    or
             storage, disposal, processing or treatment
                                                                              subcontractor; or
             of waste;
        (c) Which are or were at any time transported,                  (iii) "Bodily injury" or "property damage"
             handled, stored, treated, disposed of, or                        arising out of heat, smoke or fumes
             processed as waste by or for:                                    from a "hostile fire".
             (i) Any insured; or                                     (e) At or from any premises, site or location
                                                                         on which any insured or any contractors
           (ii) Any person or organization for whom                      or subcontractors working directly or
                 you may be legally responsible; or                      indirectly on any insured s behalf are
                                                                         performing operations if the operations
                                                                         are to test for,          monitor, clean up,
                                                                         remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
                                                                         assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
          any:                                                        out of:
         (a) Request, demand, order or statutory or                  (a) The operation of machinery or equipment
             regulatory requirement that any insured or                  that is attached to, or part of, a land
             others test for, monitor, clean up, remove,                 vehicle that would qualify under the
             contain, treat, detoxify or neutralize, or in               definition of "mobile equipment" if it were
             any way respond to, or assess the effects                   not subject to a compulsory or financial
             of, "pollutants"; or                                        responsibility law or other motor vehicle
        (b) Claim or suit by or on behalf of a                           insurance law where it is licensed or
             governmental authority for damages                          principally garaged; or
             because of testing for, monitoring,                    (b) The operation of any of the machinery or
             cleaning up, removing,           containing,                equipment listed in Paragraph f.(2) or f.(3)
             treating, detoxifying or neutralizing, or in                of the definition of "mobile equipment".
             any way responding to, or assessing the          h. Mobile Equipment
             effects of, "pollutants".
                                                                   "Bodily injury" or "property damage" arising out
           However, this paragraph does not apply to               of:
           liability for damages because of "property
           damage" that the insured would have in the             (1) The transportation of "mobile equipment" by
           absence of such request, demand, order or                   an "auto" owned or operated by or rented or
           statutory or regulatory requirement, or such                loaned to any insured; or
           claim or "suit" by or on behalf of a                   (2) The use of "mobile equipment" in, or while in
           governmental authority.                                     practice for, or while being prepared for, any
   g. Aircraft, Auto Or Watercraft                                     prearranged racing, speed, demolition, or
                                                                       stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment          i. War
       to others of any aircraft, "auto" or watercraft             "Bodily injury" or "property damage", however
       owned or operated by or rented or loaned to any             caused, arising, directly or indirectly, out of:
       insured. Use includes operation and "loading or
                                                                  (1) War, including undeclared or civil war;
       unloading".
       This exclusion applies even if the claims against          (2) Warlike action by a military force, including
       any insured allege negligence or other                         action in hindering or defending against an
       wrongdoing        in   the   supervision,    hiring,           actual    or expected attack, by any
       employment, training or monitoring of others by                government, sovereign or other authority
                                                                      using military personnel or other agents; or
       that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved          (3) Insurrection, rebellion, revolution, usurped
       the ownership, maintenance, use or entrustment                 power, or action taken by governmental
       to others of any aircraft, "auto" or watercraft that           authority in hindering or defending against
       is owned or operated by or rented or loaned to                 any of these.
       any insured.                                            j. Damage To Property
       This exclusion does not apply to:                           "Property damage" to:
      (1) A watercraft while ashore on premises you               (1) Property you own, rent, or occupy, including
           own or rent;                                               any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                        any other person, organization or entity, for
                                                                      repair, replacement, enhancement, restoration
          (a) Less than 26 feet long; and
                                                                      or maintenance of such property for any
          (b) Not being used to carry persons or                      reason, including prevention of injury to a
               property for a charge;                                 person or damage to another s property;
     (3) Parking an "auto" on, or on the ways next to,            (2) Premises you sell, give away or abandon, if
         premises you own or rent, provided the "auto"                the "property damage" arises out of any part
         is not owned by or rented or loaned to you or                of those premises;
         the insured;
                                                                  (3) Property loaned to you;
     (4) Liability assumed under any "insured
         contract" for the ownership, maintenance or
         use of aircraft or watercraft; or



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     (4) Personal property in the care, custody or               This exclusion does not apply to the loss of use
             control of the insured;                             of other property arising out of sudden and
     (5) That particular part of real property on which          accidental physical injury to "your product" or
             you or any contractors or subcontractors            "your work" after it has been put to its intended
             working directly or indirectly on your behalf       use.
             are performing operations, if the "property     n. Recall Of Products, Work Or Impaired Property
             damage" arises out of those operations; or          Damages claimed for any loss, cost or expense
     (6) That particular part of any property that must          incurred by you or others for the loss of use,
             be restored, repaired or replaced because           withdrawal,     recall,    inspection,      repair,
             "your work" was incorrectly performed on it.        replacement, adjustment, removal or disposal of:
      Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
      not apply to "property damage" (other than                (2) "Your work"; or
      damage by fire) to premises, including the
      contents of such premises, rented to you for a            (3) "Impaired property";
      period of seven or fewer consecutive days. A               if such product, work, or property is withdrawn
      separate limit of insurance applies to Damage To           or recalled from the market or from use by any
      Premises Rented To You as described in Section             person or organization because of a known or
      III ---- Limits Of Insurance.                              suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply if          dangerous condition in it.
      the premises are "your work" and were never            o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                 "Bodily injury" arising out of "personal and
      Paragraphs (3), (4), (5) and (6) of this exclusion         advertising injury".
      do not apply to liability assumed under a
                                                             p. Electronic Data
      sidetrack agreement.
                                                                 Damages arising out of the loss of, loss of use
      Paragraph (6) of this exclusion does not apply to
                                                                 of, damage to, corruption of, inability to access,
      "property damage" included in the "products-
                                                                 or inability to manipulate electronic data.
      completed operations hazard".
  k. Damage To Your Product                                     However, this exclusion does not apply to liability
                                                                for damages because of "bodily injury".
      "Property damage" to "your product" arising out
                                                                As used in this exclusion, electronic data means
      of it or any part of it.
                                                                information, facts or programs stored as or on,
   l. Damage To Your Work                                       created or used on, or transmitted to or from
      "Property damage" to "your work" arising out of it        computer software, including systems and
      or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
      completed operations hazard".                             ROMs, tapes, drives, cells, data processing
                                                                devices or any other media which are used with
      This exclusion does not apply if the damaged              electronically controlled equipment.
      work or the work out of which the damage arises
      was performed on your behalf by a                      q. Recording And Distribution Of Material Or
      subcontractor.                                            Information In Violation Of Law
  m. Damage To Impaired Property Or Property Not                "Bodily injury" or "property damage" arising
      Physically Injured                                        directly or indirectly out of any action or
                                                                omission that violates or is alleged to violate:
      "Property damage" to "impaired property" or
      property that has not been physically injured,            (1) The Telephone Consumer Protection Act
      arising out of:                                               (TCPA), including any amendment of or
                                                                    addition to such law;
     (1) A    defect, deficiency,     inadequacy     or
         dangerous condition in "your product" or               (2) The CAN-SPAM Act of 2003, including any
         "your work"; or                                            amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting on          (3) The Fair Credit Reporting Act (FCRA), and
         your behalf to perform a contract or                       any amendment of or addition to such law,
         agreement in accordance with its terms.                    including the Fair and Accurate Credit
                                                                    Transactions Act (FACTA); or




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       (4) Any      federal, state or local statute, 2. Exclusions
            ordinance or regulation, other than the TCPA,     This insurance does not apply to:
            CAN-SPAM Act of 2003 or FCRA and their
            amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
            prohibits, or limits the printing, dissemination,     "Personal and advertising injury" caused by or
            disposal, collecting, recording, sending,             at the direction of the insured with the knowledge
            transmitting, communicating or distribution of        that the act would violate the rights of another
            material or information.                              and would inflict "personal and advertising
   Exclusions c. through n. do not apply to damage by             injury".
   fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
   occupied by you with permission of the owner. A
                                                                  "Personal and advertising injury" arising out of
   separate limit of insurance applies to this coverage
   as described in Section III ---- Limits Of Insurance.          oral or written publication, in any manner, of
                                                                  material, if done by or at the direction of the
COVERAGE B ---- PERSONAL AND ADVERTISING                          insured with knowledge of its falsity.
INJURY LIABILITY
                                                              c. Material Published Prior To Policy Period
1. Insuring Agreement
                                                                  "Personal and advertising injury" arising out of
   a. We will pay those sums that the insured becomes             oral or written publication, in any manner, of
        legally obligated to pay as damages because of            material whose first publication took place before
        "personal and advertising injury" to which this           the beginning of the policy period.
        insurance applies. We will have the right and
                                                              d. Criminal Acts
        duty to defend the insured against any "suit"
        seeking those damages. However, we will have              "Personal and advertising injury" arising out of a
        no duty to defend the insured against any "suit"          criminal act committed by or at the direction of
        seeking damages for "personal and advertising             the insured.
        injury" to which this insurance does not apply.       e. Contractual Liability
        We may, at our discretion, investigate any
        offense and settle any claim or "suit" that may           "Personal and advertising injury" for which the
        result. But:                                              insured has assumed liability in a contract or
                                                                  agreement. This exclusion does not apply to
       (1) The amount we will pay for damages is limited          liability for damages that the insured would have
            as described in Section III ---- Limits Of            in the absence of the contract or agreement.
            Insurance; and
                                                               f. Breach Of Contract
       (2) Our right and duty to defend end when we
            have used up the applicable limit of insurance        "Personal and advertising injury" arising out of a
            in the payment of judgments or settlements            breach of contract, except an implied contract to
            under Coverages A or B or medical expenses            use another s advertising idea in your
            under Coverage C.                                     "advertisement".
        No other obligation or liability to pay sums or       g. Quality Or Performance Of Goods ---- Failure To
        perform acts or services is covered unless                Conform To Statements
        explicitly provided for under Supplementary               "Personal and advertising injury" arising out of
        Payments ---- Coverages A and B.                          the failure of goods, products or services to
   b. This insurance applies to "personal and                     conform with any statement of quality or
        advertising injury" caused by an offense arising          performance made in your "advertisement".
      out of your business but only if the offense was        h. Wrong Description Of Prices
      committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
      policy period.                                             the wrong description of the price of goods,
                                                                 products    or services      stated    in  your
                                                                 "advertisement".




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   i. Infringement Of Copyright, Patent,                      n. Pollution-related
      Trademark Or Trade Secret                                   Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of           (1) Request, demand, order or statutory or
      the infringement of copyright, patent, trademark,              regulatory requirement that any insured or
      trade secret or other intellectual property rights.            others test for, monitor, clean up, remove,
      Under this exclusion, such other intellectual                  contain, treat, detoxify or neutralize, or in any
      property rights do not include the use of                      way respond to, or assess the effects of,
      another s     advertising      idea    in     your             "pollutants"; or
      "advertisement".
                                                                 (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                      governmental authority for damages because
      infringement, in your "advertisement", of                      of testing for, monitoring, cleaning up,
      copyright, trade dress or slogan.                              removing, containing, treating, detoxifying or
   j. Insureds In Media And Internet Type Businesses                 neutralizing, or in any way responding to, or
       "Personal and advertising injury" committed by                assessing the effects of, "pollutants".
       an insured whose business is:                          o. War
      (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
           telecasting;                                           caused, arising, directly or indirectly, out of:
      (2) Designing or determining content of web                (1) War, including undeclared or civil war;
           sites for others; or                                  (2) Warlike action by a military force, including
      (3) An Internet search, access, content or service             action in hindering or defending against an
           provider.                                                 actual    or expected attack, by any
       However, this exclusion does not apply to                     government, sovereign or other authority
       Paragraphs 14.a., b. and c. of "personal and                  using military personnel or other agents; or
       advertising injury" under the Definitions section.        (3) Insurrection, rebellion, revolution, usurped
       For the purposes of this exclusion, the placing of            power, or action taken by governmental
       frames, borders or links, or advertising, for you             authority in hindering or defending against
       or others anywhere on the Internet, is not by                 any of these.
       itself, considered the business of advertising,        p. Recording And Distribution Of Material Or
       broadcasting, publishing or telecasting.                   Information In Violation Of Law
  k. Electronic Chatrooms Or Bulletin Boards                      "Personal and advertising injury" arising directly
       "Personal and advertising injury" arising out of an        or indirectly out of any action or omission that
       electronic chatroom or bulletin board the insured          violates or is alleged to violate:
       hosts, owns, or over which the insured exercises          (1) The Telephone Consumer Protection Act
       control.                                                       (TCPA), including any amendment of or
   l. Unauthorized Use Of Another s Name Or                           addition to such law;
       Product                                                   (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of               amendment of or addition to such law;
       the unauthorized use of another s name or                 (3) The Fair Credit Reporting Act (FCRA), and
       product in your e-mail address, domain name or                 any amendment of or addition to such law,
       metatag, or any other similar tactics to mislead               including the Fair and Accurate Credit
       another s potential customers.                                 Transactions Act (FACTA); or
  m. Pollution                                                   (4) Any federal, state or local statute, ordinance
      "Personal and advertising injury" arising out of                or regulation, other than the TCPA, CAN-
      the actual, alleged or threatened discharge,                    SPAM Act of 2003 or FCRA and their
      dispersal, seepage, migration, release or                       amendments          and        additions,       that
      escape of "pollutants" at any time.                             addresses, prohibits, or limits the printing,
                                                                      dissemination,          disposal,        collecting,
                                                                      recording,         sending,           transmitting,
                                                                      communicating or distribution of material or
                                                                      information.




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COVERAGE C ---- MEDICAL PAYMENTS                              d. Workers Compensation And Similar Laws
1. Insuring Agreement                                             To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury" are
       below for "bodily injury" caused by an accident:           payable or must be provided under a workers
                                                                  compensation or disability benefits law or a
      (1) On premises you own or rent;                            similar law.
      (2) On ways next to premises you own or rent;           e. Athletics Activities
          or
                                                                  To a person injured while practicing, instructing
      (3) Because of your operations;                             or participating in any physical exercises or
       provided that:                                             games, sports, or athletic contests.
          (a) The accident takes place in the "coverage        f. Products-Completed Operations Hazard
              territory" and during the policy period;           Included      within    the    "products-completed
          (b) The expenses are incurred and reported             operations hazard".
              to us within one year of the date of the       g. Coverage A Exclusions
              accident; and
                                                                 Excluded under Coverage A.
          (c) The      injured    person     submits   to
              examination, at        our expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
              physicians of our choice as often as we B
              reasonably require.                         1. We will pay, with respect to any claim we investigate
   b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
       These payments will not exceed the applicable         a. All expenses we incur.
       limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
       expenses for:                                             because of accidents or traffic law violations
      (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
           accident;                                             Bodily Injury Liability Coverage applies. We do
      (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
           services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
      (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
           nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                 bonds.
2. Exclusions
                                                             d. All reasonable expenses incurred by the insured
   We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
   a. Any Insured                                                defense of the claim or "suit", including actual
       To any insured, except "volunteer workers".               loss   of earnings up to $250 a day because of
                                                                 time off from work.
   b. Hired Person
                                                             e. All court costs taxed against the insured in the
       To a person hired to do work for or on behalf of          "suit". However, these payments do not include
       any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
   c. Injury On Normally Occupied Premises                       against the insured.
       To a person injured on that part of premises you       f. Prejudgment interest awarded against the
       own or rent that the person normally                      insured on that part of the judgment we pay. If
       occupies.                                                 we   make an offer to pay the applicable limit of
                                                                 insurance, we will not pay any prejudgment
                                                                 interest based on that period of time after the
                                                                 offer.




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   g. All interest on the full amount of any judgment        So long as the above conditions are met,
        that accrues after entry of the judgment and         attorneys fees incurred by us in the defense of that
        before we have paid, offered to pay, or deposited    indemnitee, necessary litigation expenses incurred
        in court the part of the judgment that is within the by us and necessary litigation expenses incurred by
        applicable limit of insurance.                       the indemnitee at our request will be paid as
   These payments will not reduce the limits of              Supplementary       Payments. Notwithstanding the
   insurance.                                                provisions     of  Paragraph  2.b.(2) of Section I ----
                                                             Coverage A ---- Bodily Injury And Property Damage
2. If we defend an insured against a "suit" and an           Liability, such payments will not be deemed to be
   indemnitee of the insured is also named as a party to     damages for "bodily injury" and "property damage"
   the "suit", we will defend that indemnitee if all of the  and will not reduce the limits of insurance.
   following conditions are met:
                                                             Our obligation to defend an insured s indemnitee
   a. The "suit" against the indemnitee seeks damages        and to pay for attorneys fees and necessary
        for which the insured has assumed the liability of   litigation expenses as Supplementary Payments
        the indemnitee in a contract or agreement that is    ends when we have used up the applicable limit of
        an "insured contract";                               insurance in the payment of judgments or
   b. This insurance applies to such liability assumed       settlements or the conditions set forth above, or the
        by the insured;                                      terms of the agreement described in Paragraph f.
   c. The obligation to defend, or the cost of the           above,   are no longer met.
        defense of, that indemnitee, has also been SECTION II ---- WHO IS AN INSURED
        assumed by the insured in the same "insured 1. If you are designated in the Declarations as:
        contract";
                                                             a. An individual, you and your spouse are insureds,
   d. The allegations in the "suit" and the information           but only with respect to the conduct of a
        we know about the "occurrence" are such that no           business of which you are the sole owner.
        conflict appears to exist between the interests of
        the insured and the interests of the indemnitee;     b. A partnership or joint venture, you are an
                                                                  insured. Your members, your partners, and their
   e. The indemnitee and the insured ask us to                    spouses are also insureds, but only with respect
        conduct and control the defense of that                   to the conduct of your business.
        indemnitee against such "suit" and agree that we
        can assign the same counsel to defend the            c. A limited liability company, you are an insured.
        insured and the indemnitee; and                           Your members are also insureds, but only with
                                                                  respect to the conduct of your business. Your
    f. The indemnitee:                                            managers are insureds, but only with respect to
       (1) Agrees in writing to:                                  their duties as your managers.
         (a) Cooperate with us in the investigation,          d. An organization other than a partnership, joint
             settlement or defense of the "suit";                venture or limited liability company, you are an
         (b) Immediately send us copies of any                   insured. Your "executive officers" and directors
             demands, notices, summonses or legal                are insureds, but only with respect to their duties
             papers received in connection with the              as your officers or directors. Your stockholders
             "suit";                                             are also insureds, but only with respect to their
                                                                 liability as stockholders.
         (c) Notify any other insurer whose coverage
             is available to the indemnitee; and              e. A trust, you are an insured. Your trustees are
                                                                 also insureds, but only with respect to their
         (d) Cooperate with us with respect to                   duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
     (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
        (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                    c. Any person or organization having proper
   a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
       duties related to the conduct of your business,              but only:
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                 maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are a                appointed.
       limited liability company), but only for acts within
       the scope of their employment by you or while            d. Your legal representative if you die, but only with
       performing duties related to the conduct of your             respect to duties as such. That representative will
       business. However, none of these "employees"                 have all your rights and duties under this
       or "volunteer workers" are insureds for:                     Coverage Part.
      (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
           injury":                                             than a partnership, joint venture or limited liability
                                                                company, and over which you maintain ownership
          (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                you are a partnership or joint venture), to     there is no other similar insurance available to that
                your members (if you are a limited liability    organization. However:
                company), to a co-"employee" while in the
                course of his or her employment or              a. Coverage under this provision is afforded only
                performing duties related to the conduct            until the 90th day after you acquire or form the
                of your business, or to your other                  organization or the end of the policy period,
                "volunteer workers" while performing                whichever is earlier;
                duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                business;                                           "property damage" that occurred before you
          (b) To the spouse, child, parent, brother or              acquired  or formed the organization; and
                sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                (1)(a) above;                                       committed before you acquired or formed the
          (c) For which there is any obligation to share            organization.
                damages with or repay someone else who No person or organization is an insured with respect to
                must pay damages because of the injury the conduct of any current or past partnership, joint
                described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                above; or                                    a Named Insured in the Declarations.
          (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                failing to provide professional health care
                                                             1. The Limits of Insurance shown in the Declarations
                services.
                                                                and the rules below fix the most we will pay
      (2) "Property damage" to property:                        regardless of the number of:
          (a) Owned, occupied or used by;                       a. Insureds;
          (b) Rented to, in the care, custody or control        b. Claims made or "suits" brought; or
                of, or over which physical control is being
                                                                c. Persons or organizations making claims or
                exercised for any purpose by;
                                                                    bringing "suits".
           you, any of your "employees", "volunteer
                                                             2. The General Aggregate Limit is the most we will pay
           workers", any partner or member (if you are a
                                                                for the sum of:
           partnership or joint venture), or any member
           (if you are a limited liability company).            a. Medical expenses under Coverage C;
   b. Any person (other than your "employee" or                 b.  Damages under Coverage A, except damages
       "volunteer worker"), or any organization while               because of "bodily injury" or "property damage"
       acting as your real estate manager.                          included in the "products-completed operations
                                                                    hazard"; and
                                                                c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
   Limit is the most we will pay under Coverage A for                damage arising out of the "occurrence" or
   damages because of "bodily injury" and "property                  offense.
   damage" included in the "products-completed               b. If a claim is made or "suit" is brought against any
   operations hazard".                                           insured, you must:
4. Subject to Paragraph 2. above, the Personal And              (1) Immediately record the specifics of the claim
   Advertising Injury Limit is the most we will pay under            or "suit" and the date received; and
   Coverage B for the sum of all damages because of
   all "personal and advertising injury" sustained by any       (2) Notify us as soon as practicable.
   one person or organization.                                   You must see to it that we receive written notice
5. Subject to Paragraph 2. or 3. above, whichever                of the claim or "suit" as soon as practicable.
   applies, the Each Occurrence Limit is the most we        c. You and any other involved insured must:
   will pay for the sum of:
                                                               (1) Immediately send us copies of any demands,
    a. Damages under Coverage A; and                                notices, summonses or legal papers received
    b. Medical expenses under Coverage C                            in connection with the claim or "suit";
    because of all "bodily injury" and "property damage"       (2) Authorize us to obtain records and other
    arising out of any one "occurrence".                            information;
6. Subject to Paragraph 5. above, the Damage To                (3) Cooperate with us in the investigation or
    Premises Rented To You Limit is the most we will                settlement of the claim or defense against the
    pay under Coverage A for damages because of                     "suit"; and
    "property damage" to any one premises, while rented        (4) Assist us, upon our request, in the
    to you, or in the case of damage by fire, while rented          enforcement of any right against any person
    to you or temporarily occupied by you with                       or organization which may be liable to the
    permission of the owner.                                        insured because of injury or damage to which
7. Subject to Paragraph 5. above, the Medical Expense               this insurance may also apply.
    Limit is the most we will pay under Coverage C for      d. No insured will, except at that insured s own
    all medical expenses because of "bodily injury"             cost, voluntarily make a payment, assume any
    sustained by any one person.                                obligation, or incur any expense, other than for
The Limits of Insurance of this Coverage Part apply             first aid, without our consent.
separately to each consecutive annual period and to 3. Legal Action Against Us
any remaining period of less than 12 months, starting
                                                            No person or organization has a right under this
with the beginning of the policy period shown in the
                                                            Coverage Part:
Declarations, unless the policy period is extended after
issuance for an additional period of less than 12           a. To join us as a party or otherwise bring us into a
months. In that case, the additional period will be             "suit" asking for damages from an insured; or
deemed part of the last preceding period for purposes       b. To sue us on this Coverage Part unless all of its
of determining the Limits of Insurance.                         terms have been fully complied with.
SECTION IV ---- COMMERCIAL GENERAL LIABILITY                A person or organization may sue us to recover on
CONDITIONS                                                  an agreed settlement or on a final judgment
1. Bankruptcy                                               against an insured; but we will not be liable for
                                                            damages that are not payable under the terms of
    Bankruptcy or insolvency of the insured or of the
                                                            this Coverage Part or that are in excess of the
    insured s estate will not relieve us of our obligations
    under this Coverage Part.                               applicable    limit of insurance. An agreed settlement
                                                            means a settlement and release of liability signed
2. Duties In The Event Of Occurrence, Offense, Claim        by us, the insured and the claimant or the
    Or Suit                                                 claimant s legal representative.
    a. You must see to it that we are notified as soon as
        practicable of an "occurrence" or an offense
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and


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4. Other Insurance                                               (3) When this insurance is excess over other
   If other valid and collectible insurance is available              insurance, we will pay only our share of the
   to the insured for a loss we cover under Coverages                 amount of the loss, if any, that exceeds the
   A or B of this Coverage Part, our obligations are                  sum of:
   limited as follows:                                               (a) The total amount that all such other
   a. Primary Insurance                                                    insurance would pay for the loss in the
                                                                          absence of this insurance; and
       This insurance is primary except when
       Paragraph b. below applies. If this insurance is              (b) The total of all deductible and self-insured
       primary, our obligations are not affected unless                   amounts under all that other insurance.
       any of the other insurance is also primary. Then,         (4) We will share the remaining loss, if any, with
       we will share with all that other insurance by the             any other insurance that is not described in
       method described in Paragraph c. below.                        this Excess Insurance provision and was not
   b. Excess Insurance                                                bought specifically to apply in excess of the
                                                                      Limits of Insurance shown in the Declarations
      (1) This insurance is excess over:                              of this Coverage Part.
          (a) Any of the other insurance, whether              c. Method Of Sharing
               primary, excess, contingent or on any
               other basis:                                       If all of the other insurance permits contribution
                                                                  by equal shares, we will follow this method also.
               (i) That is Fire, Extended Coverage,               Under this approach each insurer contributes
                   Builder s Risk, Installation Risk or           equal amounts until it has paid its applicable limit
                   similar coverage for "your work";              of insurance or none of the loss remains,
              (ii) That is Fire insurance for premises            whichever comes first.
                   rented to you or temporarily occupied          If any of the other insurance does not permit
                   by you with permission of the owner;           contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you to          by limits. Under this method, each insurer s
                   cover your liability as a tenant for           share is based on the ratio of its applicable limit
                   "property damage" to premises rented           of insurance to the total applicable limits of
                   to you or temporarily occupied by you          insurance of all insurers.
                   with permission of the owner; or         5. Premium Audit
             (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                   maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                   or watercraft to the extent not subject
                   to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                   Coverage A ---- Bodily Injury And                advance premium is a deposit premium only. At
                   Property Damage Liability.                       the close of each audit period we will compute
                                                                    the earned premium for that period and send
         (b) Any other primary insurance available to               notice to the first Named Insured. The due date
               you covering liability for damages arising           for audit and retrospective premiums is the date
               out of the premises or operations, or the            shown as the due date on the bill. If the sum of
               products and completed operations, for               the advance and audit premiums paid for the
               which you have been added as an                      policy period is greater than the earned premium,
               additional insured.                                  we will return the excess to the first Named
      (2) When this insurance is excess, we will have               Insured.
           no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
           the insured against any "suit" if any other              the information we need for premium
           insurer has a duty to defend the insured                 computation, and send us copies at such times
           against that "suit". If no other insurer defends,        as we may request.
           we will undertake to do so, but we will be
           entitled      to     the      insured s     rights 6. Representations
           against all those other insurers.                     By accepting this policy, you agree:
                                                                 a. The statements in the Declarations are
                                                                    accurate and complete;




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   b. Those        statements      are     based      upon      However, "auto" does not include "mobile
        representations you made to us; and                     equipment".
    c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
        representations.                                        disease sustained by a person, including death
7. Separation Of Insureds                                       resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and 4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
   insurance applies:                                                Canada;
    a. As if each Named Insured were the only Named             b. International waters or airspace, but only if the
        Insured; and                                                 injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim is               or transportation between any places included in
        made or "suit" is brought.                                   Paragraph    a. above; or
8. Transfer Of Rights Of Recovery Against Others To              c.  All  other   parts  of the world if the injury or
   Us                                                                damage    arises out of:
   If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
   payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
   those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
   do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
   the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
   us and help us enforce them.                                          or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
   If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
   mail or deliver to the first Named Insured shown in                   electronic  means of communication;
   the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
   less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
   If notice is mailed, proof of mailing will be sufficient     the territory described in Paragraph a. above or in a
   proof of notice.                                             settlement    we agree to.
SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                does not include a "temporary worker".
1. "Advertisement" means a notice that is broadcast or
   published to the general public or specific market        6. "Executive officer" means a person holding any of
   segments about your goods, products or services              the officer positions created by your charter,
   for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:             document.
    a. Notices that are published include material           7. "Hostile fire" means one which becomes
        placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
        means of communication; and                             intended to be.
   b. Regarding web sites, only that part of a web site 8. "Impaired property" means tangible property, other
        that is about your goods, products or services          than "your product" or "your work", that cannot be
        for the purposes of attracting customers or             used or is less useful because:
        supporters is considered an advertisement.               a. It incorporates "your product" or "your work" that
2. "Auto" means:                                                     is known or thought to be defective, deficient,
                                                                     inadequate or dangerous; or
    a. A land motor vehicle, trailer or semitrailer
        designed for travel on public roads, including          b.   You   have failed to fulfill the terms of a contract or
        any attached machinery or equipment; or                      agreement;
   b. Any other land vehicle that is subject to a               if such property can be restored to use by the
        compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
        other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
        licensed or principally garaged.                        terms of the contract or agreement.




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9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
       that portion of the contract for a lease of           you   and the labor leasing firm, to perform duties
       premises that indemnifies any person or               related  to the conduct of your business. "Leased
       organization for damage by fire to premises while     worker" does not include a "temporary worker".
       rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
       with permission of the owner is not an "insured       property:
       contract";                                            a. After it is moved from the place where it is
   b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in               watercraft or "auto";
       connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;            "auto"; or
   d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
        indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
        with work for a municipality;                               delivered;
   e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
    f. That part of any other contract or agreement            movement of property by means of a mechanical
        pertaining to your business (including an              device, other than a hand truck, that is not attached
        indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
        with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
        which you assume the tort liability of another         of land vehicles, including any attached machinery
        party to pay for "bodily injury" or "property          or equipment:
        damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
        liability means a liability that would be imposed           vehicles designed for use principally off public
        by law in the absence of any contract or                    roads;
        agreement.
                                                               b. Vehicles maintained for use solely on or next to
        Paragraph f. does not include that part of any              premises you own or rent;
        contract or agreement:
                                                               c. Vehicles that travel on crawler treads;
       (1) That indemnifies a railroad for "bodily injury"
            or "property damage" arising out of                d. Vehicles,        whether   self-propelled or not,
            construction or demolition operations, within           maintained primarily to provide mobility to
            50 feet of any railroad property and affecting          permanently mounted:
            any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
            beds, tunnel, underpass or crossing;                        drills; or
       (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
            surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
           (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                 or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                 opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                 change      orders or        drawings and          permanently attached equipment of the following
                 specifications; or                                 types:
           (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                 to give them, if that is the primary cause of          including     spraying,     welding,   building
                 the injury or damage; or                               cleaning, geophysical exploration, lighting
       (3) Under which the insured, if an architect,                    and well servicing equipment; or
            engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
            injury or damage arising out of the                         raise or lower workers;
            insured s rendering or failure to render
                                                                f. Vehicles not described in Paragraph a., b., c. or
            professional services, including those listed
                                                                    d. above maintained primarily for purposes other
            in (2) above and supervisory, inspection,
                                                                    than the transportation of persons or
            architectural or engineering activities.
                                                                    cargo.




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         However, self-propelled vehicles with the 16. "Products-completed operations hazard":
         following types of permanently attached                   a. Includes all "bodily injury" and             "property
         equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
         considered "autos":                                           or rent and arising out of "your product" or "your
        (1) Equipment designed primarily for:                          work" except:
             (a) Snow removal;                                        (1) Products that are still in your physical
            (b) Road maintenance, but not construction                     possession; or
                  or resurfacing; or                                  (2) Work that has not yet been completed or
             (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                           deemed completed at the earliest of the
        (2) Cherry pickers and similar devices mounted                     following times:
              on automobile or truck chassis and used to
              raise or lower workers; and                                 (a) When all of the work called for in your
                                                                               contract has been completed.
        (3) Air compressors, pumps and generators,
              including     spraying,   welding,      building            (b)  When    all of the work to be done at the job
              cleaning, geophysical exploration, lighting                      site  has   been completed if your contract
              and well servicing equipment.                                    calls for  work  at more than one job site.
    However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
    land vehicles that are subject to a compulsory or                          site has been put to its intended use by
    financial responsibility law or other motor vehicle                        any    person or organization other than
    insurance law where it is licensed or principally                          another      contractor or subcontractor
    garaged. Land vehicles subject to a compulsory or                          working    on  the same project.
    financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
    insurance law are considered "autos".                                  correction, repair or replacement, but which
13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
    continuous or repeated exposure to substantially the                   completed.
    same general harmful conditions.                               b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,                    damage" arising out of:
    including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
    one or more of the following offenses:                                 injury or damage arises out of a condition in
     a. False arrest, detention or imprisonment;                           or on a vehicle not owned or operated by
                                                                           you, and that condition was created by the
    b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
     c. The wrongful eviction from, wrongful entry into,                   insured;
         or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
         room, dwelling or premises that a person                          or abandoned or unused materials; or
         occupies, committed by or on behalf of its
         owner, landlord or lessor;                                   (3) Products or operations for which the
                                                                           classification, listed in the Declarations or in a
    d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
         material that slanders or libels a person or                      completed operations are subject to the
         organization or disparages a person s or                          General Aggregate Limit.
         organization s goods, products or services;
                                                               17. "Property damage" means:
    e. Oral or written publication, in any manner, of
         material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                       resulting loss of use of that property. All such
     f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
         "advertisement"; or                                           of the physical injury that caused it; or
    g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
         or slogan in your "advertisement".                            physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
    thermal irritant or contaminant, including smoke,                  that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,                is not tangible property.
    reconditioned or reclaimed.




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    As used in this definition, electronic data means       b. Includes:
    information, facts or programs stored as or on,            (1) Warranties or representations made at any
    created or used on, or transmitted to or from                  time with respect to the fitness, quality,
    computer      software, including systems and                  durability, performance or use of "your
    applications software, hard or floppy disks, CD-               product"; and
    ROMs, tapes, drives, cells, data processing devices
    or any other media which are used with                     (2) The providing of or failure to provide
    electronically controlled equipment.                           warnings or instructions.
18. "Suit" means a civil proceeding in which damages        c. Does not include vending machines or other
    because of "bodily injury", "property damage" or            property rented to or located for the use of
    "personal and advertising injury" to which this             others but not sold.
    insurance applies are alleged. "Suit" includes:     22. "Your work":
    a. An arbitration proceeding in which such              a. Means:
        damages are claimed and to which the insured
        must submit or does submit with our consent; or        (1) Work or operations performed by you or on
                                                                   your behalf; and
    b. Any other alternative dispute resolution
                                                               (2) Materials, parts or equipment furnished in
        proceeding in which such damages are claimed
                                                                   connection with such work or operations.
        and to which the insured submits with our
        consent.                                            b. Includes:
19. "Temporary worker" means a person who is                   (1) Warranties or representations made at any
    furnished to you to substitute for a permanent                 time with respect to the fitness, quality,
    "employee" on leave or to meet seasonal or short-              durability, performance or use of "your work";
    term workload conditions.                                      and
20. "Volunteer worker" means a person who is not your          (2) The providing of or failure to provide
    "employee", and who donates his or her work and                warnings or instructions.
    acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone else
    for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
         (b) Others trading under your name; or
          (c) A person or organization whose business
               or assets you have acquired; and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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Asbestos Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, de mand, order, statutory or regulatory require ment, direction or determination that any insured or
              others test for, investigate, monitor, clean up, re move, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, de mand, order, statutory or
              regulatory require ment, direction or determination that any insured or others test for, investigate, monitor,
              clean up, re move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




                                                                                                                       U-GL-1178-A CW (07/03)
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                                                                                                          EXHIBIT C PAGE 224
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Premium And Reports Agreement –
Composite Rated Policies



            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                         Schedule
      1.    Unit of Exposure:

           ‫܆‬   Gross sales            ‫܆‬   Area                             ‫܆‬    Gallons
           ‫܆‬   Each                   ‫܆‬   Rooms                            ‫܆‬    General Liability Payroll
           ‫܆‬   Admissions             ‫܆‬   Units                            ‫܆‬    Rounds played
           ‫܆‬   Total Cost             ‫܆‬   Total Operating Expenditures     ‫܆‬    Occupied rooms
           ‫܆‬   Licensed Autos         ‫܆‬   Workers Compensation Payroll     x Other       - Domestic sales only -
                                                                                            Foreign sales excluded


2.
       Coverage       / Description           Unit of Exposure                 Rate(s)                Estimated Premium(s)
     COMPUTER MFG.                          $340,500,000
     PREMISES/OPERATIONS                                            .139                            $47,330
     PRODUCTS/COMPLETED                                             .051                            $17,366
     OPERATIONS                                                     Total Rate = .19                TOTAL = $64,696



     EMPLOYEE BENEFITS                                                                              $457
     LIABILITY
     SUPPLEMENTAL                                                                                   $2,591 FLAT CHG
     COVERAGE
     TERRORISM                                                      2% of GL Premium                $1,355




      (Add more rows as required)

3. Deposit Premium:                        $64,696
4. Minimum Premium:                        $51,757
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Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:


5.   Premium Audit
     a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
          Schedule above or attached hereto.
     b. For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first day
        of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the statement
        of audited premium for each audit period, the earned premium due.
     c. Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will compute
        the earned premium for the policy period by multiplying the composite rate against the total developed exposure. If the
        earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first Named Insured
        will pay us the excess; if less, we will return the unearned portion to the first Named Insured. However, the earned pre-
        mium will not be less than the Minimum Premium as shown in the Schedule.
     d. The first Named Insured must maintain records of the information we need for premium computation and send us copies
        at such times as we may request.
     e.   The units of exposure shown in the Schedule are defined as follows:
          1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events con-
               ducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
          2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
               whether or not the insured actually takes possession of such gases.
          3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any governmental
               unit.
          4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos" at
               policy termination.
          5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of lodg-
               ing.
          6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
               manuals.
          7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our rat-
               ing manuals.
          8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course dur-
               ing the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total number of
               rounds of golf played.
          9.   Each means the total number of exposure units as described in the exposure basis.
          10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
          11. Total cost means the total cost of all work let or sublet in connection with each specified project including the cost
              of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do not in-
              clude the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor does no
              other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or due.
          12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without re-
              gard to source of revenue, including accounts payable.
          13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by a
              group of unrelated persons living together, or by a person living alone.
          14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to others.
          15. Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement


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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 32 34 01 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS / COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under Califor-
nia law.




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Deductible Endorsement Claims-Made
         Policy No.         Exp. Date of Pol.   Eff. Date of End.        Agency No.           Addl. Prem.         Return Prem.



                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Employee Benefits Liability Coverage Part

It is agreed that the following deductible provisions are           2.     The terms of this Coverage Part apply regardless of
added to the policy as respects the Employee Benefit Li-                   the application of the deductible amount. This in-
ability Coverage Part:                                                     cludes those terms with respect to:
                                                                           a.   Our rights and duties with respect to the de-
    Deductible:       $        1,000                                            fense of "suits"; and
    1.   The deductible amount stated above shall be de-                   b.   The "insured’s" duties in the event of an act, er-
         ducted from the amount of all "claims" arising out
                                                                                ror, or omission or a "claim" or "suit".
         of the same act, error, or omission. We shall be li-
         able only for the difference between such deducti-         3.     We may pay any part or all of the deductible
         ble amount and the amount of insurance otherwise                  amount to effect settle ment of any "claim" or "suit".
         applicable on a per "claim" basis. The Aggregate                  You shall promptly reimburse us for such part of
         Limit will not be reduced by the application of such              the deductible amount as has been paid by us after
         deductible.                                                       we notify you of our action.




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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 22 75 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 PROFESSIONAL LIABILITY EXCLUSION ---
                       COMPUTER SOFTWARE
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.         B. With respect to the rendering of or failure to render
   Exclusions of Section I ---- Coverage A ---- Bodily         any service by you or on your behalf in connection
   Injury And Property Damage Liability and Section I          with the selling, licensing, franchising or furnishing
   ---- Coverage B ---- Personal And Advertising Injury        of your computer software including electronic
   Liability:                                                  data processing programs, designs, specifications,
   This insurance does not apply to "bodily injury",           manuals and instructions, Exclusion 2.b.
   "property damage" or "personal and advertising              Contractual Liability under Section I ---- Coverage A
   injury" arising out of the rendering of or failure to       ---- Bodily Injury And Property Damage Liability is
   render any service by you or on your behalf in              replaced by the following:
   connection with the selling, licensing, franchising         2. Exclusions
   or furnishing of your computer software including                 This insurance does not apply to:
   electronic data processing programs, designs,
   specifications, manuals and instructions.                       b. "Bodily injury" or "property damage" for
                                                                      which the insured is obligated to pay
   This exclusion applies even if the claims against                  damages by reason of the assumption of
   any insured allege negligence or other wrongdoing                  liability in a contract or agreement.
   in the supervision, hiring, employment, training or
   monitoring of others by that insured, if the
   "occurrence" which caused the "bodily injury" or
   "property damage", or the offense which caused
   the "personal and advertising injury", involved the
   rendering of or failure to render any service
   described above.




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                                                                                              COMMERCIAL AUTO
                                                                                                  CA 02 67 11 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES ---
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to the coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Paragraph A.2.b. of the Common Policy                     D. The following is added to Paragraph A. of the
   Conditions, Cancellation, is changed to read as              Common Policy Conditions, Cancellation:
   follows:                                                     7. If this policy provides Personal Injury
       b. 45 days before the effective date of                     Protection, Property Damage Liability Coverage
           cancellation if we cancel for any other                 or both and:
           reason.                                                 a. It is a new or renewal policy, it may not be
B. Paragraph A.4. of the Common Policy Conditions,                     cancelled by the first Named Insured during
   Cancellation, is replaced by the following:                         the first 60 days immediately following the
   4. Notice of cancellation will state the effective                  effective date of the policy or renewal,
       date of, and reason(s) for, the cancellation. The               except for one of the following reasons:
       policy period will end on that date.                           (1) The covered "auto" is completely
C. Paragraph A.5. of the Common Policy Conditions,                         destroyed such that it is no longer
   Cancellation, is replaced by the following:                             operable;
   5. If this policy is cancelled, we will send the first             (2) Ownership of the covered "auto" is
       Named Insured any premium refund due. If we                         transferred; or
       cancel, the refund will be pro rata. If the first              (3) The Named Insured has purchased
       Named Insured cancels, the refund may be less                       another policy covering the motor
       than pro rata. If the return premium is not                         vehicle insured under this policy.
       refunded with the notice of cancellation or                 b. It is a new policy, we may not cancel it
       when this policy is returned to us, we will mail
                                                                       during the first 60 days immediately
       the refund within 15 working days after the date
                                                                       following the effective date of the policy for
       cancellation takes effect, unless this is an audit              nonpayment of premium unless a check
       policy.                                                         used to pay us is dishonored for any
       If this is an audit policy, then, subject to your               reason or any other type of premium
       full cooperation with us or our agent in                        payment is subsequently determined to be
       securing the necessary data for audit, we will                  rejected or invalid.
       return any premium refund due within 90 days
       of the date cancellation takes effect. If our audit
       is not completed within this time limitation, then
       we shall accept your own audit, and any
       premium refund due shall be mailed within 10
       working days of receipt of your audit.
       The cancellation will be effective even if we
       have not made or offered a refund.



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E. The following condition is added:                          2. If we fail to mail proper notice of nonrenewal
   Nonrenewal                                                    and you obtain other insurance, this policy will
                                                                 end on the effective date of that insurance.
   1. If we decide not to renew or continue this
      policy, we will mail you notice at least 45 days        3. Notice of nonrenewal will state the reason(s)
      before the end of the policy period. If we offer           for the nonrenewal and the effective date of
      to renew or continue and you do not accept,                nonrenewal. The policy period will end on that
      this policy will terminate at the end of the               date.
      current policy period. Failure to pay the
      required renewal or continuation premium
      when due shall mean that you have not
      accepted our offer.




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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INSURANCE)
                                                            SCHEDULE*


Pre mium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
Automobile                                                                                                            $515.00

*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                  B. Disclosure of Terrorism Pre mium

The Commercial Automobile line is not part of TRIA.                       We have elected to provide notice to you of the amount
On Dece mber 22, 2005, the President of the United                        of the total policy pre mium attributable to the risk of
States signed the first TRIA extension act into law and,                  loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was re moved                       of insurance.
from the program. The federal government does not
share in Commercial Automobile terrorism losses..




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POLICY NUMBER:           CPO 5912284-02                                                       COMMERCIAL AUTO

                            ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MARSH RISK & INSURANCE SERVICES


NAMED INSURED:          OMNICELL INC
                        (SEE NAMED INSURED ENDORSEMENT)
MAILING ADDRESS:        590 E MIDDLEFIELD RD
                        MOUNTAIN VIEW, CA 94043-4008

POLICY PERIOD:         From     09-01-2014 to 09-01-2015 at 12:01 A.M. Standard Time at your
                                                                           mailing address shown above
PREVIOUS POLICY NUMBER:           CPO 5912284-01

FORM OF BUSINESS:
  X CORPORATION                         LIMITED LIABILITY COMPANY                        INDIVIDUAL
     PARTNERSHIP                        OTHER


IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


Premium shown is payable at inception:     $        52,046.93
AUDIT PERIOD (IF APPLICABLE)       X      ANNUALLY          SEMI-               QUARTERLY            MONTHLY
                                                            ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ----Broad Form Nuclear Exclusion (not Applicable in New York) ( IL 01 98 in Washington)


                              SEE SCHEDULE OF FORMS AND ENDORSEMENTS




COUNTERSIGNED                                                 BY
                                       (Date)                               (Authorized Representative)



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ITEM TWO

Schedule Of Coverages And Covered Autos
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos" for a
particular coverage by the entry of one or more of the symbols from the Covered Autos section of the Business
Auto Coverage Form next to the name of the coverage.
                                      COVERED
          COVERAGES                    AUTOS                       LIMIT                          PREMIUM
COVERED AUTOS LIABILITY                1        $1,000,000                                   $          35,007
PERSONAL INJURY                                 SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent                       ENDORSEMENT MINUS
No-fault Coverage)                              DEDUCTIBLE.
ADDED PERSONAL INJURY
                                                SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent
                                                ENDORSEMENT.
Added No-fault Coverage)
                                                SEPARATELY STATED IN THE PROPERTY
PROPERTY PROTECTION                             PROTECTION INSURANCE ENDORSEMENT
INSURANCE (Michigan only)                       MINUS                DEDUCTIBLE
                                                FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                  2        $        5,000     EACH INSURED              $                536
MEDICAL EXPENSE AND                             SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                            EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                 ENDORSEMENT.
UNINSURED MOTORISTS                    2        SEE ENDT                                     $              1,600
UNDERINSURED
MOTORISTS
(When not included in
                                       2        SEE ENDT                                                     INCL
Uninsured Motorists Coverage)
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
                                                WHICHEVER IS LESS, MINUS SEE ENDT
PHYSICAL DAMAGE
                                                DEDUCTIBLE FOR EACH COVERED AUTO, BUT
COMPREHENSIVE                         2,8       NO DEDUCTIBLE APPLIES TO LOSS
                                                                                             $              4,104
COVERAGE
                                                CAUSED BY FIRE OR LIGHTNING.
                                                See ITEM FOUR For Hired or Borrowed Autos.
PHYSICAL DAMAGE                                 ACTUAL CASH VALUE OR COST OF REPAIR,
                                                WHICHEVER IS LESS, MINUS
SPECIFIED
                                                DEDUCTIBLE FOR EACH COVERED AUTO FOR
CAUSES OF LOSS
                                                LOSS CAUSED BY MISCHIEF OR VANDALISM.
COVERAGE
                                                See ITEM FOUR For Hired Or Borrowed Autos.
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
PHYSICAL DAMAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
COLLISION COVERAGE
                                      2,8       DEDUCTIBLE, FOR EACH COVERED AUTO.
                                                                                             $              9,197
                                                See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                                   FOR EACH DISABLEMENT
TOWING AND LABOR                                OF A PRIVATE PASSENGER AUTO.
                                                                      TAX/ SURCHARGE/ FEE    $              78.93
                                                             PREMIUM FOR ENDORSEMENTS        $              1,524
                                                               *ESTIMATED TOTAL PREMIUM      $     52,046.93
*This policy may be subject to final audit.



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                            TERRITORY
                     Year, Model, Trade Name, Body Type                               Town & State Where The
Covered             Serial Number (S) Vehicle Identification                           Covered Auto Will Be
Auto No.                       Number (VIN)                                             Principally Garaged               Original Cost New
                2006, DODGE SPRINTER 2500, WD0PD744465916868                          MOUNTAIN VIEW                        $ 35,755    ACV
 CA1                                                                                  CA, 053

                2006, DODGE SPRINTER 2500, WD0PD744865930336                          MOUNTAIN VIEW                        $ 35,755    ACV
 CA2                                                                                  CA, 053
                2011, TOYOTA SIENNA LE, 5TDKK3DC3BS153030                             MANDEVILLE                           $ 28,900    ACV
 LA3                                                                                  LA, 120

                2012, TOYOTA SIENNA LE, 5TDKK3DC3CS182044                             LIVERMORE                            $ 29,700    ACV
 CA4                                                                                  CA, 075

                2006, FORD F150, 1FTRF12266NA15219                                    SAINT PETERSBURG                     $ 23,325    ACV
 FL5                                                                                  FL, 106

                                                          CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                        All Physical Damage
                                                                                                                         Loss Is Payable To
                                            Size                                                                          You And The Loss
                         Business Use                                                                                   Payee Named Below
                                            GVW,
                                           GCW Or                                                                        According To Their
            Radius s= service              Vehicle                                                                      Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification        Code             Loss:
                                                                    All Others
 CA1       50                C                 8,550       9                                                   034990

                                                                    All Others
 CA2       50                C                 8,550       9                                                   034990

 LA3                                                       4                                                   739800

 CA4                                                       3                                                   739800

                                                                    All Others
 FL5       50                C             10,000          9                                                   034990

                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                               PERSONAL INJURY                                    PROPERTY PROTECTION
                      LIABILITY                                  PROTECTION                 ADDED P.I.P.             (Michigan Only)
                                                        Limit Stated                                             Limit Stated
                                                       In Each P.I.P.                        Premium For           In P.P.I.
                                                        Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                                  Deductible                          Each Added           Deductible
Auto No.         Limit               Premium           Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium

 CA1        $   1,000,000        $       1,704

 CA2        $   1,000,000        $       1,704

 LA3        $   1,000,000        $       2,899

 CA4        $   1,000,000        $       1,150

 FL5        $   1,000,000        $       4,669

Total
Premium                          $      12,126




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 CA1        $5,000   $          83                                      $           1,000,000        $      126                INCL

 CA2        $5,000   $          83                                      $           1,000,000        $      126                INCL

 LA3        $5,000   $          114                                     $           1,000,000        $      628                INCL

 CA4        $5,000   $          43                                      $           1,000,000        $      207                INCL

 FL5        $5,000   $          213                                     $           1,000,000        $      513                INCL
Total
                     $          536                                                                  $      1,600               INCL
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 CA1          $ 1,000       $         42                                     $ 1,000    $         161

 CA2          $ 1,000       $         42                                     $ 1,000    $         161

 LA3          $ 1,000       $         112                                    $ 1,000    $         301

 CA4          $ 1,000       $         50                                     $ 1,000    $         335

 FL5          $ 1,000       $         65                                     $ 1,000    $         102
Total
Premium                     $         311                                               $       1,060




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            AL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            CA                     $         1,200,000                     $              21,444
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            FL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            IL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            KS                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            LA                                    IF ANY                                    INCL
                                                           TOTAL HIRED AUTO PREMIUM            $              21,444

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF                       $1,200,000           $          3,768
COMPREHENSIVE         CA      REPAIR, WHICHEVER IS LESS, MINUS
                              $ 1,000        DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        $1,200,000 $                 8,112
COLLISION             CA        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.

                                                                  TOTAL HIRED AUTO PREMIUM
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF                       IF ANY               $               25
COMPREHENSIVE         FL      REPAIR, WHICHEVER IS LESS, MINUS
                              $     100      DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        IF ANY            $               25
COLLISION             FL        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.

                                                                  TOTAL HIRED AUTO PREMIUM            $      11,930
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


          Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                ESTIMATED ANNUAL
                                                                                               PREMIUM
                                           COST OF HIRE FOR EACH STATE
        COVERAGE               STATE
                                               Mobile          Farm                    Mobile             Farm
                                             Equipment       Equipment               Equipment          Equipment

Covered Autos Liability ----
Primary Coverage

Covered Autos Liability ----
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)

Income Loss Benefits
(Virginia Only)

Auto Medical Payments


                                              TOTAL HIRED AUTO PREMIUM

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for
 services performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                Cost Of Hire Rating Basis For Mobile or Farm Equipment ---- Physical Damage Coverages

                                                            ESTIMATED ANNUAL
                                                              COST OF HIRE
                                                             FOR EACH STATE
                                                           (Excluding Autos Hired
                                                                With A Driver)                      PREMIUM
                                                           Mobile            Farm            Mobile         Farm
  COVERAGE          STATE    LIMIT OF INSURANCE          Equipment        Equipment        Equipment     Equipment
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
                            MINUS
                            DEDUCTIBLE FOR
COMPREHENSIVE               EACH COVERED
                            AUTO, BUT NO
                            DEDUCTIBLE APPLIES
                            TO LOSS CAUSED BY
                            FIRE OR LIGHTNING.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
SPECIFIED                   MINUS
CAUSES                      DEDUCTIBLE FOR
OF LOSS                     EACH COVERED AUTO
                            FOR LOSS CAUSED
                            BY MISCHIEF OR
                            VANDALISM.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
COLLISION                   MINUS
                            DEDUCTIBLE FOR
                            EACH COVERED
                            AUTO.
                                                           TOTAL HIRED AUTO PREMIUM

 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                               Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                   ESTIMATED
                                                                 NUMBER OF DAYS
                                                                                               PREMIUM
                                                                 EQUIPMENT WILL
                                                                   BE RENTED
                                  TOWN AND STATE
                                 WHERE THE JOB SITE              Mobile       Farm         Mobile      Farm
       COVERAGE                     IS LOCATED                 Equipment    Equipment    Equipment   Equipment
Covered Autos Liability ----
Primary Coverage
Covered Autos Liability ----
Excess Coverage

Personal Injury
Protection

Medical Expense
Benefits (Virginia Only)
Income Loss Benefits
(Virginia Only)

Auto Medical Payments

                                                         TOTAL HIRED AUTO PREMIUMS


ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP COVERED AUTOS LIABILITY

     NAMED INSURED’S
        BUSINESS                           RATING BASIS               NUMBER                 PREMIUM
Other Than Garage Service        Number Of Employees                        600          $           1,437
Operations And Other Than
Social Service Agencies          Number Of Partners
                                 (Active and Inactive)

Garage Service Operations        Number Of Employees Whose
                                 Principal Duty Involves
                                 The Operation Of Autos

                                 Number Of Partners
                                 (Active and Inactive)
Social Service Agencies          Number Of Employees

                                 Number Of Volunteers Who
                                 Regularly Use Autos
                                 To Transport Clients

                                 Number Of Partners
                                 (Active and Inactive)
                   TOTAL NON-OWNERSHIP COVERED AUTOS LIABILITY PREMIUM                   $           1,437



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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):          Public Autos                       Leasing Or Rental Concerns

Rating Basis (Check one):          Gross Receipts (Per $100)          Mileage (Per Mile)

Estimated Yearly (Check One):      Gross Receipts (Per $100)          Mileage
                                                       Premiums
Covered Autos Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
  FOR PUBLIC AUTOS
  Gross receipts means the total amount earned by the named insured for transporting passengers, mail and
  merchandise.
  Gross receipts does not include:
      1. Amounts paid to air, sea or land carriers operating under their own permits.
      2. Advertising revenue.
      3. Taxes collected as a separate item and paid directly to the government.
      4. C.O.D. collections for cost of mail or merchandise including collection fees.
  Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.


  FOR RENTAL OR LEASING CONCERNS
  Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to
  others without drivers.
  Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 00 01 10 13

                    BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.       SECTION I – COVERED AUTOS
Read the entire policy carefully to determine rights,      Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                     are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your"          following numerical symbols describe the "autos" that
refer to the Named Insured shown in the Declarations.      may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company        a coverage on the Declarations designate the only
providing this insurance.                                  "autos" that are covered "autos".
Other words and phrases that appear in quotation           A. Description Of Covered Auto Designation
marks have special meaning. Refer to Section V –               Symbols
Definitions.

 Symbol                           Description Of Covered Auto Designation Symbols
   1    Any "Auto"
   2    Owned "Autos"        Only those "autos" you own (and for Covered Autos Liability Coverage any
        Only                 "trailers" you don't own while attached to power units you own). This includes
                             those "autos" you acquire ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.
           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Covered Autos Liability Coverage any "trailers" you don't own while attached to
           Than Private      power units you own). This includes those "autos" not of the private passenger
           Passenger         type you acquire ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Covered Autos Liability Coverage any "trailers"
           "Autos"           you don't own while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19       Mobile           Only those "autos" that are land vehicles and that would qualify under the definition
             Equipment        of "mobile equipment" under this policy if they were not subject to a compulsory or
             Subject To       financial responsibility law or other motor vehicle insurance law where they are
             Compulsory Or    licensed or principally garaged.
             Financial
             Responsibility
             Or Other Motor
             Vehicle
             Insurance Law
             Only

B. Owned Autos You Acquire After The Policy                 SECTION II – COVERED AUTOS LIABILITY
   Begins                                                   COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered         A. Coverage
      next to a coverage in Item Two of the                    We will pay all sums an "insured" legally must pay
      Declarations, then you have coverage for                 as damages because of "bodily injury" or "property
      "autos" that you acquire of the type described           damage" to which this insurance applies, caused
      for the remainder of the policy period.                  by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage           maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you          We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that               pay as a "covered pollution cost or expense" to
       coverage only if:                                       which this insurance applies, caused by an
       a. We already cover all "autos" that you own            "accident" and resulting from the ownership,
           for that coverage or it replaces an "auto"          maintenance or use of covered "autos". However,
           you previously owned that had that                  we will only pay for the "covered pollution cost or
           coverage; and                                       expense" if there is either "bodily injury" or
       b. You tell us within 30 days after you acquire         "property damage" to which this insurance applies
           it that you want us to cover it for that            that is caused by the same "accident".
           coverage.                                           We have the right and duty to defend any
C. Certain Trailers, Mobile Equipment And                      "insured" against a "suit" asking for such damages
   Temporary Substitute Autos                                  or a "covered pollution cost or expense". However,
                                                               we have no duty to defend any "insured" against a
   If Covered Autos Liability Coverage is provided by          "suit" seeking damages for "bodily injury" or
   this Coverage Form, the following types of                  "property damage" or a "covered pollution cost or
   vehicles are also covered "autos" for Covered               expense" to which this insurance does not apply.
   Autos Liability Coverage:                                   We may investigate and settle any claim or "suit"
   1. "Trailers" with a load capacity of 2,000 pounds          as we consider appropriate. Our duty to defend or
       or less designed primarily for travel on public         settle ends when the Covered Autos Liability
       roads.                                                  Coverage Limit of Insurance has been exhausted
   2. "Mobile equipment" while being carried or                by payment of judgments or settlements.
       towed by a covered "auto".                              1. Who Is An Insured
   3. Any "auto" you do not own while used with the                The following are "insureds":
      permission of its owner as a temporary                       a. You for any covered "auto".
      substitute for a covered "auto" you own that is
      out of service because of its:                               b. Anyone else while using with your
                                                                      permission a covered "auto" you own, hire
      a. Breakdown;                                                   or borrow except:
      b. Repair;                                                     (1) The owner or anyone else from whom
         c. Servicing;                                                    you hire or borrow a covered "auto".
         d. "Loss"; or                                                    This exception does not apply if the
         e. Destruction.                                                  covered "auto" is a "trailer" connected to
                                                                          a covered "auto" you own.




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         (2) Your "employee" if the covered "auto" is                 These payments will not reduce the Limit of
             owned by that "employee" or a member                     Insurance.
             of his or her household.                              b. Out-of-state Coverage Extensions
         (3) Someone using a covered "auto" while                     While a covered "auto" is away from the
             he or she is working in a business of                    state where it is licensed, we will:
             selling, servicing, repairing, parking or
             storing "autos" unless that business is                 (1) Increase the Limit of Insurance for
             yours.                                                      Covered Autos Liability Coverage to
                                                                         meet the limits specified by a
         (4) Anyone other than your "employees",                         compulsory or financial responsibility
             partners (if you are a partnership),                        law of the jurisdiction where the covered
             members (if you are a limited liability                     "auto" is being used. This extension
             company) or a lessee or borrower or                         does not apply to the limit or limits
             any of their "employees", while moving                      specified by any law governing motor
             property to or from a covered "auto".                       carriers of passengers or property.
         (5) A partner (if you are a partnership) or a                (2) Provide the minimum amounts and
             member (if you are a limited liability                       types of other coverages, such as no-
             company) for a covered "auto" owned by                       fault, required of out-of-state vehicles by
             him or her or a member of his or her                         the jurisdiction where the covered "auto"
             household.                                                   is being used.
      c. Anyone liable for the conduct of an                           We will not pay anyone more than once for
         "insured" described above but only to the                     the same elements of loss because of
         extent of that liability.                                     these extensions.
   2. Coverage Extensions                                   B. Exclusions
      a. Supplementary Payments                                This insurance does not apply to any of the
         We will pay for the "insured":                        following:
         (1) All expenses we incur.                            1. Expected Or Intended Injury
        (2) Up to $2,000 for cost of bail bonds                   "Bodily injury" or "property damage" expected
            (including bonds for related traffic law              or intended from the standpoint of the
            violations) required because of an                    "insured".
            "accident" we cover. We do not have to             2. Contractual
            furnish these bonds.
                                                                  Liability assumed under any contract or
        (3) The cost of bonds to release                          agreement.
            attachments in any "suit" against the
            "insured" we defend, but only for bond                But this exclusion does not apply to liability for
            amounts within our Limit of Insurance.                damages:
        (4) All reasonable expenses incurred by the               a. Assumed in a contract or agreement that is
            "insured" at our request, including actual                an "insured contract", provided the "bodily
            loss of earnings up to $250 a day                         injury" or "property damage" occurs
            because of time off from work.                            subsequent to the execution of the contract
                                                                      or agreement; or
         (5) All court costs taxed against the
             "insured" in any "suit" against the                  b. That the "insured" would have in the
             "insured" we defend. However, these                      absence of the contract or agreement.
             payments do not include attorneys' fees           3. Workers' Compensation
             or attorneys' expenses taxed against the             Any obligation for which the "insured" or the
             "insured".                                           "insured's" insurer may be held liable under
         (6) All interest on the full amount of any               any workers' compensation, disability benefits
             judgment that accrues after entry of the             or unemployment compensation law or any
             judgment in any "suit" against the                   similar law.
             "insured" we defend, but our duty to pay
             interest ends when we have paid,
             offered to pay or deposited in court the
             part of the judgment that is within our
             Limit of Insurance.




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   4. Employee Indemnification And Employer's                     b. After it is moved from the covered "auto" to
      Liability                                                       the place where it is finally delivered by the
      "Bodily injury" to:                                             "insured".
      a. An "employee" of the "insured" arising out            8. Movement Of Property By Mechanical
         of and in the course of:                                 Device
        (1) Employment by the "insured"; or                       "Bodily injury" or "property damage" resulting
                                                                  from the movement of property by a
        (2) Performing the duties related to the                  mechanical device (other than a hand truck)
             conduct of the "insured's" business; or              unless the device is attached to the covered
      b. The spouse, child, parent, brother or sister             "auto".
         of that "employee" as a consequence of                9. Operations
         Paragraph a. above.
                                                                  "Bodily injury" or "property damage" arising out
      This exclusion applies:                                     of the operation of:
         (1) Whether the "insured" may be liable as               a. Any equipment listed in Paragraphs 6.b.
             an employer or in any other capacity;                   and 6.c. of the definition of "mobile
             and                                                     equipment"; or
         (2) To any obligation to share damages with              b. Machinery or equipment that is on, attached
             or repay someone else who must pay                      to or part of a land vehicle that would
             damages because of the injury.                          qualify under the definition of "mobile
      But this exclusion does not apply to "bodily                   equipment" if it were not subject to a
      injury" to domestic "employees" not entitled to                compulsory or financial responsibility law or
      workers' compensation benefits or to liability                 other motor vehicle insurance law where it
      assumed by the "insured" under an "insured                     is licensed or principally garaged.
      contract". For the purposes of the Coverage             10. Completed Operations
      Form, a domestic "employee" is a person
      engaged in household or domestic work                       "Bodily injury" or "property damage" arising out
      performed principally in connection with a                  of your work after that work has been
      residence premises.                                         completed or abandoned.
   5. Fellow Employee                                             In this exclusion, your work means:
      "Bodily injury" to:                                         a. Work or operations performed by you or on
                                                                      your behalf; and
      a. Any fellow "employee" of the "insured"
          arising out of and in the course of the fellow          b. Materials, parts or equipment furnished in
          "employee's"      employment      or     while              connection with such work or operations.
          performing duties related to the conduct of             Your       work      includes      warranties   or
          your business; or                                       representations made at any time with respect
      b. The spouse, child, parent, brother or sister             to the fitness, quality, durability or performance
          of that fellow "employee" as a consequence              of any of the items included in Paragraph a. or
          of Paragraph a. above.                                  b. above.
   6. Care, Custody Or Control                                    Your work will be deemed completed at the
                                                                  earliest of the following times:
      "Property damage" to or "covered pollution cost
      or expense" involving property owned or                        (1) When all of the work called for in your
      transported by the "insured" or in the                             contract has been completed;
      "insured's" care, custody or control. But this                 (2) When all of the work to be done at the
      exclusion does not apply to liability assumed                      site has been completed if your contract
      under a sidetrack agreement.                                       calls for work at more than one site; or
   7. Handling Of Property                                           (3) When that part of the work done at a job
      "Bodily injury" or "property damage" resulting                     site has been put to its intended use by
      from the handling of property:                                     any person or organization other than
                                                                         another contractor or subcontractor
      a. Before it is moved from the place where it is                   working on the same project.
         accepted by the "insured" for movement
         into or onto the covered "auto"; or




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      Work that may need service, maintenance,                    Paragraphs b. and c. above of this exclusion
      correction, repair or replacement, but which is             do not apply to "accidents" that occur away
      otherwise complete, will be treated as                      from premises owned by or rented to an
      completed.                                                  "insured" with respect to "pollutants" not in or
  11. Pollution                                                   upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                  (a) The "pollutants" or any property in
      of the actual, alleged or threatened discharge,                       which the "pollutants" are contained
      dispersal, seepage, migration, release or                             are upset, overturned or damaged as
      escape of "pollutants":                                               a result of the maintenance or use of
                                                                            a covered "auto"; and
      a. That are, or that are contained in any
          property that is:                                             (b) The discharge, dispersal, seepage,
                                                                            migration, release or escape of the
         (1) Being transported or towed by, handled                         "pollutants" is caused directly by
              or handled for movement into, onto or                         such upset, overturn or damage.
              from the covered "auto";
                                                              12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                      "Bodily injury" or "property damage" arising
                                                                  directly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered                    a. War, including undeclared or civil war;
              "auto";                                             b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                  action in hindering or defending against an
          which the "pollutants" are contained are                   actual or expected attack, by any
          moved from the place where they are                        government, sovereign or other authority
          accepted by the "insured" for movement                     using military personnel or other agents; or
          into or onto the covered "auto"; or                     c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                   power or action taken by governmental
           which the "pollutants" are contained are                  authority in hindering or defending against
           moved from the covered "auto" to the place                any of these.
           where they are finally delivered, disposed of      13. Racing
           or abandoned by the "insured".                          Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels,                  or organized racing or demolition contest or
      lubricants, fluids, exhaust gases or other                   stunting activity, or while practicing for such
      similar "pollutants" that are needed for or result           contest or activity. This insurance also does
      from the normal electrical, hydraulic or                     not apply while that covered "auto" is being
      mechanical functioning of the covered "auto" or              prepared for such a contest or activity.
      its parts if:                                         C. Limit Of Insurance
          (1) The "pollutants" escape, seep, migrate           Regardless of the number of covered "autos",
               or are discharged, dispersed or released        "insureds", premiums paid, claims made or
               directly from an "auto" part designed by        vehicles involved in the "accident", the most we
               its manufacturer to hold, store, receive        will pay for the total of all damages and "covered
               or dispose of such "pollutants"; and            pollution cost or expense" combined resulting from
         (2) The "bodily injury", "property damage" or         any one "accident" is the Limit Of Insurance for
             "covered pollution cost or expense"               Covered Autos Liability Coverage shown in the
             does not arise out of the operation of            Declarations.
             any equipment listed in Paragraphs 6.b.
             and 6.c. of the definition of "mobile
             equipment".




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   All "bodily injury", "property damage" and "covered         3. Glass Breakage – Hitting A Bird Or Animal –
   pollution cost or expense" resulting from                      Falling Objects Or Missiles
   continuous or repeated exposure to substantially               If you carry Comprehensive Coverage for the
   the same conditions will be considered as                      damaged covered "auto", we will pay for the
   resulting from one "accident".                                 following under Comprehensive Coverage:
   No one will be entitled to receive duplicate                   a. Glass breakage;
   payments for the same elements of "loss" under
   this Coverage Form and any Medical Payments                    b. "Loss" caused by hitting a bird or animal;
   Coverage endorsement, Uninsured Motorists                          and
   Coverage endorsement or Underinsured Motorists                 c. "Loss" caused by falling objects or missiles.
   Coverage endorsement attached to this Coverage                 However, you have the option of having glass
   Part.                                                          breakage caused by a covered "auto's"
SECTION III – PHYSICAL DAMAGE COVERAGE                            collision or overturn considered a "loss" under
A. Coverage                                                       Collision Coverage.
   1. We will pay for "loss" to a covered "auto" or its        4. Coverage Extensions
      equipment under:                                            a. Transportation Expenses
      a. Comprehensive Coverage                                      We will pay up to $20 per day, to a
          From any cause except:                                     maximum       of     $600,     for  temporary
                                                                     transportation expense incurred by you
         (1) The covered "auto's"        collision   with            because of the total theft of a covered
             another object; or                                      "auto" of the private passenger type. We
        (2) The covered "auto's" overturn.                           will pay only for those covered "autos" for
      b. Specified Causes Of Loss Coverage                           which you carry either Comprehensive or
                                                                     Specified Causes Of Loss Coverage. We
         Caused by:                                                  will pay for temporary transportation
         (1) Fire, lightning or explosion;                           expenses incurred during the period
         (2) Theft;                                                  beginning 48 hours after the theft and
                                                                     ending, regardless of the policy's expiration,
         (3)Windstorm, hail or earthquake;                           when the covered "auto" is returned to use
         (4)Flood;                                                   or we pay for its "loss".
         (5)Mischief or vandalism; or                             b. Loss Of Use Expenses
         (6)The sinking, burning, collision or                       For Hired Auto Physical Damage, we will
            derailment     of    any    conveyance                   pay expenses for which an "insured"
            transporting the covered "auto".                         becomes legally responsible to pay for loss
                                                                     of use of a vehicle rented or hired without a
      c. Collision Coverage                                          driver under a written rental contract or
         Caused by:                                                  agreement. We will pay for loss of use
        (1) The covered "auto's" collision with                      expenses if caused by:
            another object; or                                      (1) Other than collision only if the
        (2) The covered "auto's" overturn.                               Declarations          indicates       that
                                                                         Comprehensive Coverage is provided
   2. Towing                                                             for any covered "auto";
      We will pay up to the limit shown in the                      (2) Specified Causes Of Loss only if the
      Declarations for towing and labor costs                            Declarations indicates that Specified
      incurred each time a covered "auto" of the                         Causes Of Loss Coverage is provided
      private passenger type is disabled. However,                       for any covered "auto"; or
      the labor must be performed at the place of
      disablement.




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         (3) Collision only if the Declarations                   b. Any device designed or used to detect
             indicates that Collision Coverage is                    speed-measuring equipment, such as radar
             provided for any covered "auto".                        or laser detectors, and any jamming
          However, the most we will pay for any                      apparatus intended to elude or disrupt
          expenses for loss of use is $20 per day, to                speed-measuring equipment.
          a maximum of $600.                                      c. Any electronic equipment, without regard to
B. Exclusions                                                        whether this equipment is permanently
                                                                     installed, that reproduces, receives or
   1. We will not pay for "loss" caused by or resulting              transmits audio, visual or data signals.
      from any of the following. Such "loss" is
      excluded regardless of any other cause or                   d. Any accessories used with the electronic
      event that contributes concurrently or in any                  equipment described in Paragraph c.
      sequence to the "loss".                                        above.
      a. Nuclear Hazard                                        5. Exclusions 4.c. and 4.d. do not apply to
                                                                  equipment designed to be operated solely by
         (1) The explosion of any weapon employing                use of the power from the "auto's" electrical
             atomic fission or fusion; or                         system that, at the time of "loss", is:
         (2) Nuclear reaction or radiation, or                    a. Permanently installed in or upon the
             radioactive contamination, however                      covered "auto";
             caused.
                                                                  b. Removable from a housing unit which is
      b. War Or Military Action                                      permanently installed in or upon the
        (1) War, including undeclared or civil war;                  covered "auto";
        (2) Warlike action by a military force,                   c. An integral part of the same unit housing
            including action in hindering or                         any electronic equipment described in
            defending against an actual or expected                  Paragraphs a. and b. above; or
            attack, by any government, sovereign or               d. Necessary for the normal operation of the
            other authority using military personnel                 covered "auto" or the monitoring of the
            or other agents; or                                      covered "auto's" operating system.
         (3) Insurrection,     rebellion,    revolution,       6. We will not pay for "loss" to a covered "auto"
               usurped power or action taken by                   due to "diminution in value".
               governmental authority in hindering or
               defending against any of these.              C. Limits Of Insurance
   2. We will not pay for "loss" to any covered "auto"         1. The most we will pay for:
      while used in any professional or organized                 a. "Loss" to any one covered "auto" is the
      racing or demolition contest or stunting activity,              lesser of:
      or while practicing for such contest or activity.              (1) The actual cash value of the damaged
      We will also not pay for "loss" to any covered                     or stolen property as of the time of the
      "auto" while that covered "auto" is being                          "loss"; or
      prepared for such a contest or activity.
                                                                     (2) The cost of repairing or replacing the
   3. We will not pay for "loss" due and confined to:                    damaged or stolen property with other
      a. Wear and tear, freezing, mechanical or                          property of like kind and quality.
          electrical breakdown.                                   b. All electronic equipment that reproduces,
      b. Blowouts, punctures or other road damage                    receives or transmits audio, visual or data
          to tires.                                                  signals in any one "loss" is $1,000, if, at the
      This exclusion does not apply to such "loss"                   time of "loss", such electronic equipment is:
      resulting from the total theft of a covered                   (1) Permanently installed in or upon the
      "auto".                                                            covered "auto" in a housing, opening or
   4. We will not pay for "loss" to any of the                           other location that is not normally used
      following:                                                         by the "auto" manufacturer for the
                                                                         installation of such equipment;
      a. Tapes, records, discs or other similar audio,
          visual or data electronic devices designed
          for use with audio, visual or data electronic
          equipment.




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         (2) Removable from a permanently installed                 (2) The "insured's" name and address; and
              housing unit as described in Paragraph                (3) To the extent possible, the names and
              b.(1) above; or                                            addresses of any injured persons and
         (3) An integral part of such equipment as                       witnesses.
              described in Paragraphs b.(1) and b.(2)             b. Additionally, you and any other involved
              above.                                                 "insured" must:
   2. An adjustment for depreciation and physical                   (1) Assume no obligation, make no
      condition will be made in determining actual                       payment or incur no expense without
      cash value in the event of a total "loss".                         our consent, except at the "insured's"
   3. If a repair or replacement results in better than                  own cost.
      like kind or quality, we will not pay for the                 (2) Immediately send us copies of any
      amount of the betterment.                                          request,    demand,     order,   notice,
D. Deductible                                                            summons or legal paper received
   For each covered "auto", our obligation to pay for,                   concerning the claim or "suit".
   repair, return or replace damaged or stolen                      (3) Cooperate with us in the investigation or
   property will be reduced by the applicable                            settlement of the claim or defense
   deductible shown in the Declarations. Any                             against the "suit".
   Comprehensive Coverage deductible shown in the                   (4) Authorize us to obtain medical records
   Declarations does not apply to "loss" caused by                       or other pertinent information.
   fire or lightning.
                                                                    (5) Submit to examination, at our expense,
SECTION IV – BUSINESS AUTO CONDITIONS                                    by physicians of our choice, as often as
The following conditions apply in addition to the                        we reasonably require.
Common Policy Conditions:                                         c. If there is "loss" to a covered "auto" or its
A. Loss Conditions                                                   equipment, you must also do the following:
   1. Appraisal For Physical Damage Loss                            (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                    "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss".                 (2) Take all reasonable steps to protect the
      In this event, each party will select a competent                  covered "auto" from further damage.
      appraiser. The two appraisers will select a                        Also keep a record of your expenses for
      competent and impartial umpire. The                                consideration in the settlement of the
      appraisers will state separately the actual cash                   claim.
      value and amount of "loss". If they fail to agree,            (3) Permit us to inspect the covered "auto"
      they will submit their differences to the umpire.                  and records proving the "loss" before its
      A decision agreed to by any two will be                            repair or disposition.
      binding. Each party will:
                                                                    (4) Agree to examinations under oath at our
      a. Pay its chosen appraiser; and                                   request and give us a signed statement
      b. Bear the other expenses of the appraisal                        of your answers.
          and umpire equally.                                  3. Legal Action Against Us
      If we submit to an appraisal, we will still retain          No one may bring a legal action against us
      our right to deny the claim.                                under this Coverage Form until:
   2. Duties In The Event Of Accident, Claim, Suit                a. There has been full compliance with all the
      Or Loss                                                        terms of this Coverage Form; and
      We have no duty to provide coverage under                   b. Under Covered Autos Liability Coverage,
      this policy unless there has been full                         we agree in writing that the "insured" has an
      compliance with the following duties:                          obligation to pay or until the amount of that
       a. In the event of "accident", claim, "suit" or               obligation has finally been determined by
          "loss", you must give us or our authorized                 judgment after trial. No one has the right
          representative prompt notice of the                        under this policy to bring us into an action
          "accident" or "loss". Include:                             to determine the "insured's" liability.
         (1) How, when and where the "accident" or
              "loss" occurred;




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   4. Loss Payment – Physical Damage                          5. Other Insurance
      Coverages                                                  a. For any covered "auto" you own, this
      At our option, we may:                                        Coverage       Form     provides    primary
      a. Pay for, repair or replace damaged or                      insurance. For any covered "auto" you don't
          stolen property;                                          own, the insurance provided by this
                                                                    Coverage Form is excess over any other
      b. Return the stolen property, at our expense.                collectible insurance. However, while a
          We will pay for any damage that results to                covered "auto" which is a "trailer" is
          the "auto" from the theft; or                             connected to another vehicle, the Covered
      c. Take all or any part of the damaged or                     Autos Liability Coverage this Coverage
          stolen property at an agreed or appraised                 Form provides for the "trailer" is:
          value.                                                   (1) Excess while it is connected to a motor
      If we pay for the "loss", our payment will                        vehicle you do not own; or
      include the applicable sales tax for the                     (2) Primary while it is connected to a
      damaged or stolen property.                                       covered "auto" you own.
   5. Transfer Of Rights Of Recovery Against                     b. For Hired Auto Physical Damage Coverage,
      Others To Us                                                  any covered "auto" you lease, hire, rent or
      If any person or organization to or for whom we               borrow is deemed to be a covered "auto"
      make payment under this Coverage Form has                     you own. However, any "auto" that is
      rights to recover damages from another, those                 leased, hired, rented or borrowed with a
      rights are transferred to us. That person or                  driver is not a covered "auto".
      organization must do everything necessary to               c. Regardless of the provisions of Paragraph
      secure our rights and must do nothing after                   a. above, this Coverage Form's Covered
      "accident" or "loss" to impair them.                          Autos Liability Coverage is primary for any
B. General Conditions                                               liability assumed under an "insured
                                                                    contract".
   1. Bankruptcy
                                                                 d. When this Coverage Form and any other
      Bankruptcy or insolvency of the "insured" or the
                                                                    Coverage Form or policy covers on the
      "insured's" estate will not relieve us of any
                                                                    same basis, either excess or primary, we
      obligations under this Coverage Form.
                                                                    will pay only our share. Our share is the
   2. Concealment, Misrepresentation Or Fraud                       proportion that the Limit of Insurance of our
      This Coverage Form is void in any case of                     Coverage Form bears to the total of the
      fraud by you at any time as it relates to this                limits of all the Coverage Forms and
      Coverage Form. It is also void if you or any                  policies covering on the same basis.
      other "insured", at any time, intentionally             6. Premium Audit
      conceals or misrepresents a material fact
                                                                 a. The estimated premium for this Coverage
      concerning:
                                                                    Form is based on the exposures you told us
      a. This Coverage Form;                                        you would have when this policy began. We
      b. The covered "auto";                                        will compute the final premium due when
                                                                    we determine your actual exposures. The
      c. Your interest in the covered "auto"; or                    estimated total premium will be credited
      d. A claim under this Coverage Form.                          against the final premium due and the first
   3. Liberalization                                                Named Insured will be billed for the
                                                                    balance, if any. The due date for the final
      If we revise this Coverage Form to provide                    premium or retrospective premium is the
      more coverage without additional premium                      date shown as the due date on the bill. If
      charge, your policy will automatically provide                the estimated total premium exceeds the
      the additional coverage as of the day the                     final premium due, the first Named Insured
      revision is effective in your state.                          will get a refund.
   4. No Benefit To Bailee – Physical Damage                     b. If this policy is issued for more than one
      Coverages                                                     year, the premium for this Coverage Form
      We will not recognize any assignment or grant                 will be computed annually based on our
      any coverage for the benefit of any person or                 rates or premiums in effect at the beginning
      organization holding, storing or transporting                 of each year of the policy.
      property for a fee regardless of any other
      provision of this Coverage Form.


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   7. Policy Period, Coverage Territory                       2. Any other land vehicle that is subject to a
      Under this Coverage Form, we cover                          compulsory or financial responsibility law or
      "accidents" and "losses" occurring:                         other motor vehicle insurance law where it is
                                                                  licensed or principally garaged.
      a. During the policy period shown in the
          Declarations; and                                   However, "auto" does not include "mobile
                                                              equipment".
      b. Within the coverage territory.
                                                           C. "Bodily injury" means bodily injury, sickness or
      The coverage territory is:                              disease sustained by a person, including death
         (1) The United States of America;                    resulting from any of these.
         (2) The territories and possessions of the        D. "Covered pollution cost or expense" means any
             United States of America;                        cost or expense arising out of:
         (3) Puerto Rico;                                     1. Any request, demand, order or statutory or
                                                                  regulatory requirement that any "insured" or
         (4) Canada; and
                                                                  others test for, monitor, clean up, remove,
         (5) Anywhere in the world if a covered                   contain, treat, detoxify or neutralize, or in any
               "auto" of the private passenger type is            way respond to, or assess the effects of,
               leased, hired, rented or borrowed                  "pollutants"; or
               without a driver for a period of 30 days
                                                              2. Any claim or "suit" by or on behalf of a
               or less,
                                                                  governmental authority for damages because
      provided that the "insured's" responsibility to             of testing for, monitoring, cleaning up,
      pay damages is determined in a "suit" on the                removing, containing, treating, detoxifying or
      merits, in the United States of America, the                neutralizing, or in any way responding to, or
      territories and possessions of the United States            assessing the effects of, "pollutants".
      of America, Puerto Rico or Canada, or in a
      settlement we agree to.                                 "Covered pollution cost or expense" does not
                                                              include any cost or expense arising out of the
      We also cover "loss" to, or "accidents"                 actual, alleged or threatened discharge, dispersal,
      involving, a covered "auto" while being                 seepage, migration, release or escape of
      transported between any of these places.                "pollutants":
   8. Two Or More Coverage Forms Or Policies                      a. That are, or that are contained in any
      Issued By Us                                                    property that is:
      If this Coverage Form and any other Coverage                   (1) Being transported or towed by, handled
      Form or policy issued to you by us or any                           or handled for movement into, onto or
      company affiliated with us applies to the same                      from the covered "auto";
      "accident", the aggregate maximum Limit of
      Insurance under all the Coverage Forms or                      (2) Otherwise in the course of transit by or
      policies shall not exceed the highest applicable                    on behalf of the "insured"; or
      Limit of Insurance under any one Coverage                      (3) Being stored, disposed of, treated or
      Form or policy. This condition does not apply to                    processed in or upon the covered
      any Coverage Form or policy issued by us or                         "auto";
      an affiliated company specifically to apply as              b. Before the "pollutants" or any property in
      excess insurance over this Coverage Form.                       which the "pollutants" are contained are
SECTION V – DEFINITIONS                                               moved from the place where they are
                                                                      accepted by the "insured" for movement
A. "Accident" includes continuous or repeated
                                                                      into or onto the covered "auto"; or
   exposure to the same conditions resulting in
   "bodily injury" or "property damage".                          c. After the "pollutants" or any property in
B. "Auto" means:                                                      which the "pollutants" are contained are
                                                                      moved from the covered "auto" to the place
   1. A land motor vehicle, "trailer" or semitrailer                  where they are finally delivered, disposed of
      designed for travel on public roads; or                         or abandoned by the "insured".




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        Paragraph a. above does not apply to fuels,              5. That part of any other contract or agreement
        lubricants, fluids, exhaust gases or other                   pertaining to your business (including an
        similar "pollutants" that are needed for or result           indemnification of a municipality in connection
        from the normal electrical, hydraulic or                     with work performed for a municipality) under
        mechanical functioning of the covered "auto" or              which you assume the tort liability of another to
        its parts, if:                                               pay for "bodily injury" or "property damage" to a
            (1) The "pollutants" escape, seep, migrate               third party or organization. Tort liability means
                or are discharged, dispersed or released             a liability that would be imposed by law in the
                directly from an "auto" part designed by             absence of any contract or agreement; or
                its manufacturer to hold, store, receive         6. That part of any contract or agreement entered
                or dispose of such "pollutants"; and                 into, as part of your business, pertaining to the
            (2) The "bodily injury", "property damage" or            rental or lease, by you or any of your
                "covered pollution cost or expense"                  "employees", of any "auto". However, such
                does not arise out of the operation of               contract or agreement shall not be considered
                any equipment listed in Paragraph 6.b.               an "insured contract" to the extent that it
                or 6.c. of the definition of "mobile                 obligates you or any of your "employees" to
                equipment".                                          pay for "property damage" to any "auto" rented
                                                                     or leased by you or any of your "employees".
        Paragraphs b. and c. above do not apply to
        "accidents" that occur away from premises                An "insured contract" does not include that part of
        owned by or rented to an "insured" with respect          any contract or agreement:
        to "pollutants" not in or upon a covered "auto"              a. That indemnifies a railroad for "bodily injury"
        if:                                                              or "property damage" arising out of
              (a) The "pollutants" or any property in                    construction or demolition operations, within
                   which the "pollutants" are contained                  50 feet of any railroad property and
                   are upset, overturned or damaged as                   affecting any railroad bridge or trestle,
                   a result of the maintenance or use of                 tracks, roadbeds, tunnel, underpass or
                   a covered "auto"; and                                 crossing;
                (b) The discharge, dispersal, seepage,               b. That pertains to the loan, lease or rental of
                    migration, release or escape of the                  an "auto" to you or any of your
                    "pollutants" is caused directly by                   "employees", if the "auto" is loaned, leased
                    such upset, overturn or damage.                      or rented with a driver; or
E.   "Diminution in value" means the actual or                       c. That holds a person or organization
     perceived loss in market value or resale value                      engaged in the business of transporting
     which results from a direct and accidental "loss".                  property by "auto" for hire harmless for your
                                                                         use of a covered "auto" over a route or
F.   "Employee"       includes    a   "leased    worker".                territory that person or organization is
     "Employee" does not include a "temporary                            authorized to serve by public authority.
     worker".
                                                              I. "Leased worker" means a person leased to you by
G.   "Insured" means any person or organization                  a labor leasing firm under an agreement between
     qualifying as an insured in the Who Is An Insured           you and the labor leasing firm to perform duties
     provision of the applicable coverage. Except with           related to the conduct of your business. "Leased
     respect to the Limit of Insurance, the coverage             worker" does not include a "temporary worker".
     afforded applies separately to each insured who is
     seeking coverage or against whom a claim or              J. "Loss" means direct and accidental loss or
     "suit" is brought.                                          damage.
H.   "Insured contract" means:                                K. "Mobile equipment" means any of the following
                                                                 types of land vehicles, including any attached
     1. A lease of premises;                                     machinery or equipment:
     2. A sidetrack agreement;                                   1. Bulldozers, farm machinery, forklifts and other
     3. Any easement or license agreement, except in                vehicles designed for use principally off public
        connection with construction or demolition                  roads;
        operations on or within 50 feet of a railroad;           2. Vehicles maintained for use solely on or next to
     4. An obligation, as required by ordinance, to                 premises you own or rent;
        indemnify a municipality, except in connection           3. Vehicles that travel on crawler treads;
        with work for a municipality;




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   4. Vehicles, whether self-propelled or not,               However, "mobile equipment" does not include
      maintained primarily to provide mobility to            land vehicles that are subject to a compulsory or
      permanently mounted:                                   financial responsibility law or other motor vehicle
      a. Power cranes, shovels, loaders, diggers or          insurance law where it is licensed or principally
          drills; or                                         garaged. Land vehicles subject to a compulsory or
                                                             financial responsibility law or other motor vehicle
      b. Road construction or resurfacing equipment          insurance law are considered "autos".
          such as graders, scrapers or rollers;
                                                          L. "Pollutants" means any solid, liquid, gaseous or
   5. Vehicles not described in Paragraph 1., 2., 3.         thermal irritant or contaminant, including smoke,
      or 4. above that are not self-propelled and are        vapor, soot, fumes, acids, alkalis, chemicals and
      maintained primarily to provide mobility to            waste. Waste includes materials to be recycled,
      permanently attached equipment of the                  reconditioned or reclaimed.
      following types:
                                                          M. "Property damage" means damage to or loss of
      a. Air compressors, pumps and generators,              use of tangible property.
          including spraying, welding, building
          cleaning, geophysical exploration, lighting     N. "Suit" means a civil proceeding in which:
          and well-servicing equipment; or                   1. Damages because of "bodily injury"           or
      b. Cherry pickers and similar devices used to             "property damage"; or
          raise or lower workers; or                         2. A "covered pollution cost or expense";
   6. Vehicles not described in Paragraph 1., 2., 3.         to which this insurance applies, are alleged.
      or 4. above maintained primarily for purposes          "Suit" includes:
      other than the transportation of persons or
      cargo. However, self-propelled vehicles with               a. An arbitration proceeding in which such
      the following types of permanently attached                   damages or "covered pollution costs or
      equipment are not "mobile equipment" but will                 expenses" are claimed and to which the
      be considered "autos":                                        "insured" must submit or does submit with
                                                                    our consent; or
      a. Equipment designed primarily for:
                                                                 b. Any other alternative dispute resolution
        (1) Snow removal;                                           proceeding in which such damages or
        (2) Road maintenance, but not construction                  "covered pollution costs or expenses" are
             or resurfacing; or                                     claimed and to which the insured submits
        (3) Street cleaning;                                        with our consent.
      b. Cherry pickers and similar devices mounted       O. "Temporary worker" means a person who is
         on automobile or truck chassis and used to          furnished to you to substitute for a permanent
         raise or lower workers; and                         "employee" on leave or to meet seasonal or short-
                                                             term workload conditions.
      c. Air compressors, pumps and generators,
         including spraying, welding, building            P. "Trailer" includes semitrailer.
         cleaning, geophysical exploration, lighting
         or well-servicing equipment.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 01 22 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     KANSAS CHANGES
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Kansas, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Changes In Covered Autos Liability Coverage                   c. The Fellow Employee Exclusion is
   1. The      paragraph     within   Supplementary                 replaced by the following:
      Payments relating to court costs taxed against                Fellow Employee
      the "insured" is replaced by the following:                   "Bodily injury" to any fellow "employee" of
      All costs taxed against the "insured" in any                  the "insured" arising out of and in the
      "suit" against the "insured" we defend.                       course of the fellow "employee's"
   2. Paragraph 2.b.(4) of the Who Is An Insured                    employment or while performing duties
      provision of the Auto Dealers Coverage Form                   related to the conduct of your business.
      does not apply.                                            d. The Care, Custody Or Control Exclusion
   3. For coverage and limits required by the Kansas                is replaced by the following:
      Financial Responsibility law, Exclusions is                   Care, Custody Or Control
      changed as follows:                                           This coverage does not apply to "property
      a. The Workers' Compensation Exclusion is                     damage" to property owned by, rented to,
         replaced by the following:                                 or in charge of or transported by an
         Workers' Compensation                                      "insured". However, this exclusion does not
                                                                    apply to "property damage" to a rented
         Any obligation for which the "insured" or the              residence or private garage or to liability
         "insured's" insurer may be held liable under               assumed by the "insured" under a sidetrack
         any workers' compensation, disability                      agreement.
         benefits or any similar law.
                                                                 e. The following is added to the War
      b. The Employee Indemnification And                           Exclusion:
         Employers' Liability Exclusion is replaced
         by the following:                                          This exclusion applies only to the extent
                                                                    that the limit of insurance for this coverage
         Employee Indemnification And                               in this policy exceeds the limit required by
         Employers' Liability                                       the Kansas Automobile Injury Reparations
         This coverage does not apply to "bodily                    Act.
         injury" to any "employee" of the "insured"              f. The Racing Exclusion does not apply.
         arising out of and in the course of the
         "employee's" employment by the "insured"                g. The exclusion relating to "bodily injury" or
         or while performing duties related to the                  "property damage" arising out of the actual,
         conduct of the "insured's" business if                     alleged or threatened discharge, dispersal,
         benefits are required or available for the                 release or escape of pollutants does not
         "employee"      under      any     workers'                apply if the discharge, dispersal, release or
         compensation or disability benefits law or                 escape is sudden and accidental.
         under any similar law. This exclusion does
         not apply to liability assumed by the
         "insured" under an "insured contract".



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   4. Our Limit of Insurance applies except that we               b. Conceals information concerning any
      will apply the limit shown in the Declarations to               material fact for the purpose of misleading.
      first provide the separate limits required by            3. The Appraisal For Physical Damage Loss
      Kansas law as follows:                                      Condition is replaced by the following:
      a. $25,000 for "bodily injury" to any one                   Appraisal For Physical Damage Loss
           person caused by any one "accident";
                                                                  If, after a claim has been made, a dispute
      b. $50,000 for "bodily injury" to two or more               arises because you and we disagree on the
           persons caused by any one "accident"; and              amount of the "loss", either party may make a
      c. $10,000 for "property damage" caused by                  written request for an appraisal of the "loss".
           any one "accident".                                    However, an appraisal will be made only if
      This provision will not change our limit of                 both you and we agree, voluntarily, to have
      insurance.                                                  the loss appraised. If so agreed, each party
                                                                  will select a competent appraiser. The two
B. Changes In Physical Damage Coverage                            appraisers will select a competent and
   1. The "Diminution In Value" Exclusion does not                impartial umpire. The appraisers will state
      apply.                                                      separately the actual cash value and amount of
   2. The Limits Of Insurance provision with respect              "loss". If they fail to agree, they will submit their
      to repair or replacement resulting in better than           differences to the umpire. Each party will:
      like kind or quality in any coverage form or                a. Pay its chosen appraiser; and
      endorsement does not apply.                                 b. Bear the other expenses of the appraiser
C. Changes In Conditions                                              and umpire equally.
   1. The following is added to the Loss Payment –                If we submit to an appraisal, we will still retain
      Physical Damage Coverages Condition:                        our right to deny the claim.
      An "auto" shall be deemed a total "loss" when               An appraisal decision will be binding.
      such "auto" is required to be registered in this
      state and has been directly and accidentally
      wrecked or damaged to the extent that the total
      cost of repair is 75% or more of the fair market
      value, in accordance with KAN. STAT. ANN. §
      8-197(b)(2).
   2. The Concealment, Misrepresentation Or
      Fraud General Condition is replaced by the
      following:
      Concealment, Misrepresentation Or Fraud
      We will not pay under this coverage form if you
      or any other "insured" in relation to an
      insurance application, rating, claim or coverage
      under this policy knowingly and with intent to
      defraud:
      a. Presents, causes to be presented or
          prepares with knowledge or belief that it will
          be presented to or by an insurer, purported
          insurer, broker or any agent thereof, any
          written statement which such person knows
          to contain materially false information
          concerning any material fact; or




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                                                                                            COMMERCIAL AUTO
                                                                                                CA 01 43 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  CALIFORNIA CHANGES
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, California, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. The term "spouse" is replaced by the following:                b. The other provides coverage to a person
   Spouse or registered domestic partner under                       not engaged in that business; and
   California law.                                                c. At the time of an "accident", an "insured"
B. The following are added to the Other Insurance                    under the Coverage Form described in
   Condition in the Auto Dealers and Business Auto                   Paragraph 2.a. is operating an "auto"
   Coverage Forms and the Other Insurance –                          owned by a person described in Paragraph
   Primary And Excess Insurance Provisions                           2.b., then the Coverage Form issued to the
   Condition in the Motor Carrier Coverage Form and                  business described in Paragraph 2.a. is
   supersede any provisions to the contrary:                         primary and the liability coverage issued to
                                                                     a person described in Paragraph 2.b. is
   1. When this Coverage Form and any other                          excess over any coverage available to the
      Coverage Form or policy providing liability                    business.
      coverage apply to an "auto" and:
                                                               3. When this Coverage Form and any other
      a. One provides coverage to a Named Insured                 Coverage Form or policy providing liability
          engaged in the business of selling,                     coverage apply to a "commercial vehicle" and:
          repairing, servicing, delivering, testing or
          road-testing "autos"; and                               a. One provides coverage to a Named
                                                                     Insured, who in the course of business,
      b. The other provides coverage to a person                     rents or leases "commercial vehicles"
          not engaged in that business; and                          without operators; and
      c. At the time of an "accident", a person                   b. The other provides coverage to a person
          described in Paragraph 1.b. is operating an                other than as described in Paragraph 3.a.;
          "auto" owned by the business described in                  and
          Paragraph 1.a., then that person's liability
          coverage is primary and the Coverage                    c. At the time of an "accident", a person who
          Form issued to a business described in                     is not the Named Insured of the policy
          Paragraph 1.a. is excess over any                          described in Paragraph 3.a., and who is not
          coverage available to that person.                         the agent or "employee" of such Named
                                                                     Insured, is operating a "commercial vehicle"
   2. When this Coverage Form and any other                          provided by the business covered by the
      Coverage Form or policy providing liability                    Coverage Form or policy described in
      coverage apply to an "auto" and:                               Paragraph 3.a., then the liability coverage
      a. One provides coverage to a Named Insured                    provided by the Coverage Form or policy
         engaged in the business of selling,                         described in Paragraph 3.b. is primary, and
         repairing, servicing, delivering, testing or                the liability coverage provided by the
         road-testing "autos"; and                                   Coverage Form or policy described in
                                                                     Paragraph 3.a. is excess over any
                                                                     coverage available to that person.




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   4. Notwithstanding Paragraph B.3., when this            C. As used in this endorsement:
      Coverage Form and any other Coverage Form               "Commercial vehicle" means an "auto" subject to
      or policy providing liability coverage apply to a       registration or identification under California law
      power unit and any connected "trailer" or               which is:
      "trailers" and:
                                                              1. Used or maintained for the transportation of
      a. One provides coverage to a Named Insured                persons for hire, compensation or profit;
          engaged in the business of transporting
          property by "auto" for hire; and                    2. Designed, used or maintained primarily for the
                                                                 transportation of property; or
      b. The other provides coverage to a Named
          Insured not engaged in that business; and           3. Leased for a period of six months or more.
      c. At the time of an "accident", a power unit is
          being operated by a person insured under
          the Coverage Form or policy described in
          Paragraph 4.a., then that Coverage Form or
          policy is primary for both the power unit and
          any connected "trailer" or "trailers" and the
          Coverage Form or policy described in
          Paragraph 4.b. is excess over any other
          coverage available to such power unit and
          attached "trailer" or "trailers".




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POLICY NUMBER: CPO        5912284-02                                                      COMMERCIAL AUTO
                                                                                              CA 21 48 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    LOUISIANA UNINSURED MOTORISTS
                      COVERAGE – BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Louisiana, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided under this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy or as of the date indicated
below.

Named Insured:

Endorsement Effective Date:


                                                   SCHEDULE


Limit Of Insurance: $1,000,000                                                        Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                 B. Who Is An Insured
   1. We will pay all sums the "insured" is legally            If the Named Insured is designated in the
      entitled to recover as compensatory damages              Declarations as:
      from the owner or driver of an "uninsured motor          1. An individual, then the following are "insureds":
      vehicle". The damages must result from "bodily
      injury" sustained by the "insured" caused by an             a. The Named Insured and any "family
      "accident". The owner's or driver's liability for              members".
      these damages must result from the                          b. Anyone else "occupying" with the Named
      ownership, maintenance or use of the                           Insured's express or implied permission a
      "uninsured motor vehicle".                                     covered "auto" or a temporary substitute for
   2. If this insurance provides a limit in excess of                a covered "auto". The covered "auto" must
      the amounts required by the applicable law                     be out of service because of its breakdown,
      where a covered "auto" is principally garaged,                 repair, servicing, "loss" or destruction.
      we will pay only after all liability bonds or                c. Anyone for damages he or she is entitled to
      policies have been exhausted by payments of                     recover because of "bodily injury" sustained
      judgments or settlements.                                       by another "insured".




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      d. Anyone else "occupying" an "auto" the                 2. No one will be entitled to receive duplicate
          Named Insured does not own who is an                    payments for the same elements of "loss"
          "insured" for Covered Autos Liability under             under this Coverage Form and any Liability
          the Coverage Form, but only at times when               Coverage form or Medical Payments Coverage
          that person is an "insured" for Covered                 endorsement attached to this Coverage Part.
          Autos Liability under the Coverage Form.                We will not make a duplicate payment under
   2. A partnership, limited liability company,                   this coverage for any element of "loss" for
      corporation or any other form of organization,              which payment has been made by or for
      then the following are "insureds":                          anyone who is legally responsible.
      a. Anyone "occupying" with the Named                  E. Changes In Conditions
          Insured's express or implied permission a            The Conditions are changed for Uninsured
          covered "auto" or a temporary substitute for         Motorists Coverage as follows:
          a covered "auto". The covered "auto" must
          be out of service because of its breakdown,          1. Other Insurance in the Auto Dealers and
          repair, servicing, "loss" or destruction.               Business Auto Coverage Forms and Other
                                                                  Insurance – Primary And Excess Insurance
      b. Anyone for damages he or she is entitled to              Provisions in the Motor Carrier Coverage
          recover because of "bodily injury" sustained            Form are replaced by the following:
          by another "insured".
                                                                  If there is other applicable similar insurance,
      c. Anyone else "occupying" an "auto" the                    we will pay only our share of the loss. Our
          Named Insured does not own who is an                    share is the proportion that our limit of
          "insured" for Covered Autos Liability under             insurance bears to the total of all applicable
          the Coverage Form, but only at times when               limits. However, with respect to "bodily injury"
          that person is an "insured" for Covered                 sustained by an "insured":
          Autos Liability under the Coverage Form.
                                                                  a. While "occupying" a vehicle owned by that
C. Exclusions                                                         person or while not "occupying" any vehicle,
   This insurance does not apply to:                                  the maximum recovery for damages
   1. The direct or indirect benefit of any insurer or                sustained by an "insured" as a Named
      self-insurer under any workers' compensation,                   Insured or "family member" may equal but
      disability benefits or similar law.                             not exceed the highest applicable limit for
                                                                      any one vehicle under this Coverage Form
   2. "Bodily injury" sustained by an "insured" while                 or any other Coverage Form or policy.
      "occupying" or struck by any vehicle owned by
      that "insured" that is not a covered "auto".                b. While "occupying" a vehicle not owned by
                                                                      that person, the following priorities of
   3. Punitive or exemplary damages.                                  recovery will apply:
   4. "Bodily injury" arising directly or indirectly out             (1) The uninsured motorists coverage
      of:                                                                 applicable to the vehicle the "insured"
      a. War, including undeclared or civil war;                          was "occupying" at the time of the
                                                                          "accident" will be primary.
      b. Warlike action by a military force, including
          action in hindering or defending against an                (2) If the primary insurance is exhausted,
          actual or expected attack, by any                               any excess recovery for damages
          government, sovereign or other authority                        sustained by an "insured" as a Named
          using military personnel or other agents; or                    Insured or "family member" may equal
                                                                          but not exceed the highest applicable
      c. Insurrection, rebellion, revolution, usurped
                                                                          limit for any one vehicle under this
          power, or action taken by governmental
                                                                          Coverage Form or any other Coverage
          authority in hindering or defending against
                                                                          Form or policy. In no instance will more
          any of these.
                                                                          than one uninsured motorists coverage
D. Limit Of Insurance                                                     limit be available as excess insurance.
   1. Regardless of the number of covered "autos",
      "insureds", premiums paid, claims made or
      vehicles involved in the "accident", the most we
      will pay for all damages resulting from any one
      "accident" is the limit of Uninsured Motorists
      Coverage shown in the Schedule or
      Declarations.



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   2. Duties In The Event Of Accident, Claim, Suit             2. "Occupying" means in, upon, getting in, on, out
      Or Loss in the Business Auto and Motor                      or off.
      Carrier Coverage Forms and Duties In The                 3. "Uninsured motor vehicle" means a land motor
      Event Of Accident, Claim, Offense, Suit,                    vehicle or "trailer":
      Loss Or Acts, Errors Or Omissions in the
      Auto Dealers Coverage Form are changed by                   a. For which no liability bonds or policy at the
      adding the following:                                           time of an "accident" provides at least the
                                                                      amounts required by the applicable law
      a. Promptly notify the police if a hit-and-run                  where a covered "auto" is principally
         driver is involved; and                                      garaged;
      b. Promptly send us copies of the legal papers              b. Which is an underinsured motor vehicle. An
         if a "suit" is brought.                                      underinsured motor vehicle means a land
   3. Transfer Of Rights Of Recovery Against                          motor vehicle or "trailer" to which a liability
      Others To Us does not apply to vehicles                         bond or policy affording coverage for "bodily
      described in Paragraph b. of the definition of                  injury" applies at the time of the accident,
      "uninsured motor vehicle".                                      but the amount paid for "bodily injury" under
   4. The following condition is added:                               that bond or policy to an "insured" is not
                                                                      enough to pay the full amount the "insured"
      Arbitration                                                     is legally entitled to recover as damages;
      a. If we and an "insured" disagree whether the              c. For which an insuring or bonding company
         "insured" is legally entitled to recover                     denies coverage or is or becomes
         damages from the owner or driver of an                       insolvent; or
         "uninsured motor vehicle" or do not agree
         as to the amount of damages that are                     d. Which is a hit-and-run vehicle and neither
         recoverable by that "insured", then the                     the driver nor owner can be identified. The
         matter may be arbitrated. However,                          vehicle must either:
         arbitration will take place only if we and the              (1) Hit an "insured", a covered "auto" or a
         "insured" agree, voluntarily, to have the                       vehicle the "insured" is "occupying"; or
         matter arbitrated. If so agreed, each party                 (2) Cause "bodily injury" to an "insured"
         will select an arbitrator. The two arbitrators                  without any actual physical contact with
         will select a third. If they cannot agree                       the "insured", a covered "auto" or a
         within 30 days, either may request that                         vehicle the "insured" is "occupying".
         selection be made by a court having                             However, in such cases, the "insured"
         jurisdiction. Each party will pay the                           must show, by an independent and
         expenses it incurs and bear the expenses                        disinterested witness, that the "bodily
         of the third arbitrator equally.                                injury" resulted from the actions of an
      b. Unless both parties agree otherwise,                            unidentified motorist.
         arbitration will take place in the parish in             However, "uninsured motor vehicle" does not
         which the "insured" lives. Local rules of law            include any vehicle:
         as to arbitration procedures and evidence
         will apply. Any decision of the arbitrators              a. Owned by a governmental unit or agency;
         will not be binding on either party.                         or
F. Additional Definitions                                         b. Designed for use mainly off public roads
                                                                      while not on public roads.
   As used in this endorsement:
   1. "Family member" means a person related to an
      individual Named Insured by blood, marriage
      or adoption, who is a resident of such Named
      Insured's household, including a ward or foster
      child.




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POLICY NUMBER: CPO          5912284-02                                                      COMMERCIAL AUTO
                                                                                                CA 21 54 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CALIFORNIA UNINSURED MOTORISTS COVERAGE –
                    BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, California, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                      SCHEDULE


Limit Of Insurance:         $1,000,000                                Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                   B. Who Is An Insured
   1. We will pay all sums the "insured" is legally              If the Named Insured is designated in the
      entitled to recover as compensatory damages                Declarations as:
      from the owner or driver of an "uninsured motor            1. An individual, then the following are "insureds":
      vehicle". The damages must result from "bodily
      injury" sustained by the "insured" caused by an               a. The Named Insured and any "family
      "accident". The owner's or driver's liability for                members".
      these damages must result from the                            b. Anyone else "occupying" a covered "auto"
      ownership, maintenance or use of the                             or a temporary substitute for a covered
      "uninsured motor vehicle".                                       "auto". The covered "auto" must be out of
   2. We will pay only after the limits of liability under             service because of its breakdown, repair,
      any liability bonds or policies have been                        servicing, "loss" or destruction.
      exhausted by payment of judgments or                           c. Anyone for damages he or she is entitled to
      settlements.                                                      recover because of "bodily injury" sustained
   3. Any judgment for damages arising out of a                         by another "insured".
      "suit" brought without our written consent is not
      binding on us.




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   2. A partnership, limited liability company,                  5. "Bodily injury" sustained by an individual
       corporation or any other form of organization,               Named Insured or any "family member" while
       then the following are "insureds":                           "occupying" any vehicle leased by that Named
       a. Anyone "occupying" a covered "auto" or a                  Insured or any "family member" under a written
           temporary substitute for a covered "auto".               contract for a period of six months or more that
           The covered "auto" must be out of service                is not a covered "auto".
           because of its breakdown, repair, servicing,          6. Anyone using a vehicle without a reasonable
           "loss" or destruction.                                   belief that the person is entitled to do so.
       b. Anyone for damages he or she is entitled to            7. "Bodily injury" sustained by an "insured" while
           recover because of "bodily injury" sustained             "occupying" any "auto" that is rented or leased
           by another "insured".                                    to that "insured" for use as a public or livery
C. Exclusions                                                       conveyance. However, this exclusion does not
                                                                    apply if the "insured" is in the business of
   This insurance does not apply to any of the                      providing public or livery conveyance.
   following:
                                                                 8. "Bodily injury" arising directly or indirectly out
   1. Punitive or exemplary damages.                                of:
   2. Any claim settled without our consent.                        a. War, including undeclared or civil war;
       However, this exclusion does not apply to a
       settlement made with the insurer of a vehicle                b. Warlike action by a military force, including
       described in Paragraph b. of the definition of                   action in hindering or defending against an
       "uninsured motor vehicle".                                       actual or expected attack, by any
                                                                        government, sovereign or other authority
   3. The direct or indirect benefit of any insurer or                  using military personnel or other agents; or
       self-insurer under any workers' compensation,
       disability benefits or similar law or to the direct          c. Insurrection, rebellion, revolution, usurped
       benefit of the United States, a state or its                     power, or action taken by governmental
       political subdivisions.                                          authority in hindering or defending against
                                                                        any of these.
   4. "Bodily injury" sustained by:
                                                              D. Limit Of Insurance
       a. An individual Named Insured while
           "occupying" or when struck by any vehicle             1. Regardless of the number of covered "autos",
           owned by that Named Insured that is not a                "insureds", premiums paid, claims made or
           covered "auto" for Uninsured Motorists                   vehicles involved in the "accident", the most we
           Coverage under this Coverage Form;                       will pay for all damages resulting from any one
                                                                    "accident" is the Limit Of Insurance for
       b. Any "family member" while "occupying" or                  Uninsured Motorists Coverage shown in the
           when struck by any vehicle owned by that                 Schedule or Declarations.
           "family member" that is not a covered "auto"
           for Uninsured Motorists Coverage under                2. For a vehicle described in Paragraph b. of the
           this Coverage Form; or                                   definition of "uninsured motor vehicle", our
                                                                    Limit of Insurance shall be reduced by all sums
       c. Any "family member" while "occupying" or                  paid because of "bodily injury" by or for anyone
           when struck by any vehicle owned by the                  who is legally responsible, including all sums
           Named Insured that is insured for                        paid or payable under this policy's Covered
           Uninsured Motorists Coverage on a primary                Autos Liability Coverage.
           basis under any other Coverage Form or
           policy.                                               3. No one will be entitled to receive duplicate
                                                                    payments for the same elements of "loss"
       However, Exclusion 4. shall not apply to "bodily             under this coverage and any Liability Coverage
       injury" sustained by an individual Named                     form or Medical Payments Coverage
       Insured or "family member" when struck by a                  endorsement attached to this Coverage Part.
       vehicle owned by that "insured" and operated
       or caused to be operated by a person without                 We will not make a duplicate payment under
       that "insured's" consent in connection with                  this coverage for any element of "loss" for
       criminal activity that has been documented in a              which payment has been made by or for
       police report and to which that "insured" is not             anyone who is legally responsible.
       a party to.




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       We will not pay for any element of "loss" if a             c. "Suit" for "bodily injury" has been filed
       person is entitled to receive payment for the                 against the uninsured motorist in a court of
       same element of "loss" under any workers'                     competent jurisdiction.
       compensation, disability benefits or similar law.             Written notice of the "suit" must be given to
E. Changes In Conditions                                             us within a reasonable time after the
   The Conditions are changed for California                         "insured" knew, or should have known, that
   Uninsured Motorists Coverage – Bodily Injury as                   the other motorist is uninsured. In no event
   follows:                                                          will such notice be required before two
                                                                     years from the date of the accident. Failure
   1. Duties In The Event Of Accident, Claim, Suit                   of the "insured" or his or her representative
       Or Loss in the Business Auto and Motor                        to give us such notice of the "suit" will
       Carrier Coverage Forms and Duties In The                      relieve us of our obligations under this
       Event Of Accident, Claim, Offense, Suit,                      Coverage Form only if the failure to give
       Loss Or Acts, Errors Or Omissions in the                      notice prejudices our rights.
       Auto Dealers Coverage Form are changed by
       adding the following:                                   3. Transfer Of Rights Of Recovery Against
                                                                  Others To Us is replaced by the following:
       a. Promptly notify the police if a hit-and-run
          driver is involved; and                                 Transfer Of Rights Of Recovery Against
                                                                  Others To Us
       b. Send us copies of the legal papers if a "suit"
          is brought. In addition, a person seeking               a. With respect to Paragraphs a., c. and d. of
          coverage under Paragraph b. of the                         the definition of "uninsured motor vehicle", if
          definition of "uninsured motor vehicle" must:              we make any payment, we are entitled to
                                                                     recover what we paid from other parties.
         (1) Provide us with a copy of the complaint                 Any person to or for whom we make
              by personal service or certified mail if               payment must transfer to us his or her
              the "insured" brings an action against                 rights of recovery against any other party.
              the owner or operator of such                          This person must do everything necessary
              "uninsured motor vehicle";                             to secure these rights and must do nothing
          (2) Within a reasonable time, make all                     that would jeopardize them.
              pleadings and depositions available for             b. With respect to Paragraph b. of the
              copying by us or furnish us copies at our               definition of "uninsured motor vehicle", if we
              expense; and                                            make any payment and the "insured"
          (3) Provide us with proof that the limits of                recovers from another party, the "insured"
              insurance under any applicable liability                shall hold the proceeds in trust for us and
              bonds or policies have been exhausted                   pay us back the amount we have paid.
              by    payment      of    judgments     or        4. Other Insurance in the Auto Dealers and
              settlements.                                        Business Auto Coverage Forms and Other
   2. Legal Action Against Us is replaced by the                  Insurance – Primary And Excess Insurance
      following:                                                  Provisions in the Motor Carrier Coverage
      Legal Action Against Us                                     Form are replaced by the following:
      No legal action may be brought against us                   If there is other applicable insurance available
      under this Coverage Form until there has been               under one or more policies or provisions of
      full compliance with all the terms of this                  coverage:
      Coverage Form and with respect to                           a. The maximum recovery under all Coverage
      Paragraphs a., c. and d. of the definition of                   Forms or policies combined may equal but
      "uninsured motor vehicle" unless within two                     not exceed the highest applicable limit for
      years from the date of the "accident":                          any one vehicle under any Coverage Form
                                                                      or policy providing coverage on either a
       a. Agreement as to the amount due under this
                                                                      primary or excess basis.
          insurance has been concluded;
       b. The "insured" has formally instituted                   b. Any insurance we provide with respect to a
          arbitration proceedings against us. In the                  vehicle the Named Insured does not own
          event that the "insured" decides to arbitrate,              shall be excess over any other collectible
          the "insured" must formally begin arbitration               uninsured motorists insurance providing
          proceedings by notifying us in writing, sent                coverage on a primary basis.
          by certified mail, return receipt requested;
          or


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      c. If the coverage under this Coverage Form               2. "Occupying" means in, upon, getting in, on, out
         is provided:                                              or off.
        (1) On a primary basis, we will pay only our            3. "Uninsured motor vehicle" means a land motor
             share of the "loss" that must be paid                 vehicle or "trailer":
             under insurance providing coverage on                 a. For which no liability bond or policy at the
             a primary basis. Our share is the                         time of an "accident" provides at least the
             proportion that our limit of liability bears              amounts required by the applicable law
             to the total of all applicable limits of                  where a covered "auto" is principally
             liability for coverage on a primary basis.                garaged;
        (2) On an excess basis, we will pay only our               b. That is an underinsured motor vehicle. An
             share of the "loss" that must be paid                     underinsured motor vehicle is a land motor
             under insurance providing coverage on                     vehicle or "trailer" for which the sum of all
             an excess basis. Our share is the                         liability bonds or policies at the time of an
             proportion that our limit of liability bears              "accident" provides at least the amounts
             to the total of all applicable limits of                  required by the applicable law where a
             liability for coverage on an excess basis.                covered "auto" is principally garaged but
   5. The following condition is added:                                that sum is less than the Limit of Insurance
      Arbitration                                                      for this coverage;
      a. If we and an "insured" disagree whether the               c. For which an insuring or bonding company
          "insured" is legally entitled to recover                     denies coverage or refuses to admit
          damages from the owner or driver of an                       coverage except conditionally or with
          "uninsured motor vehicle" or do not agree                    reservation or becomes insolvent;
          as to the amount of damages that are                     d. That is a hit-and-run vehicle and neither the
          recoverable by that "insured", the                          driver nor owner can be identified. The
          disagreement will be settled by arbitration.                vehicle must make physical contact with an
          Such arbitration may be initiated by a                      "insured", a covered "auto" or a vehicle an
          written demand for arbitration made by                      "insured" is "occupying"; or
          either party. The arbitration shall be                   e. That is owned by an individual Named
          conducted by a single neutral arbitrator.                    Insured or "family member" and operated or
          However, disputes concerning coverage                        caused to be operated by a person without
          under this endorsement may not be                            the owner's consent in connection with
          arbitrated. Each party will bear the                         criminal activity that has been documented
          expenses of the arbitrator equally.                          in a police report.
      b. Unless both parties agree otherwise,                      However, "uninsured motor vehicle" does not
          arbitration will take place in the county in             include any vehicle:
          which the "insured" lives. Local rules of law
          as to arbitration procedures and evidence                a. Owned or operated by a self-insurer under
          will apply. The decision of the arbitrator will              any applicable motor vehicle law except a
          be binding.                                                  self-insurer who is or becomes insolvent
                                                                       and cannot provide the amounts required
F. Additional Definitions                                              by that motor vehicle law;
   The following are added to the Definitions                      b. Owned by the United States of America,
   section:                                                           Canada, a state or political subdivision of
   1. "Family member" means the individual Named                      any of those governments or an agency of
      Insured's spouse, whether or not a resident of                  any of the foregoing; or
      the individual Named Insured's household, and                c. Designed or modified for use primarily off
      any other person related to such Named                          public roads while not on public roads.
      Insured by blood, adoption, marriage or
      registered      domestic     partnership    under
      California law, who is a resident of such
      Named Insured's household, including a ward
      or foster child.




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POLICY NUMBER: CPO         5912284-02                                                        COMMERCIAL AUTO
                                                                                                 CA 21 72 10 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FLORIDA UNINSURED MOTORISTS
                         COVERAGE --- NONSTACKED
For a covered ‘‘auto’’ licensed or principally garaged in, or ‘‘garage operations’’ conducted in, Florida, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE


Limit Of Insurance:    $     1,000,000                               Each ‘‘Accident’’

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made be-
   1. We will pay all sums the ‘ insured’’ is legally                  tween an ‘‘insured’’ and the insurer of the
      entitled to recover as compensatory damages                      ‘‘underinsured motor vehicle’’ and we:
      from the owner or driver of an ‘‘uninsured mo-                  (1) Have been given prompt written notice
      tor vehicle’’. The damages must result from                          of such tentative settlement; and
      ‘‘bodily injury’’ sustained by the ‘‘insured’’                  (2) Advance payment to the ‘‘insured’’ in an
      caused by an ‘‘accident’’. The owner’s or                            amount equal to the tentative settlement
      driver’s liability for these damages must result                     within 30 days after receipt of notifica-
      from the ownership, maintenance or use of the                        tion.
      ‘‘uninsured motor vehicle’’.
                                                               3. Any judgment for damages arising out of a
   2. With respect to damages resulting from an
                                                                    ‘‘suit’’ brought without our written consent is
      ‘‘accident’’ with a vehicle described in Para-                not binding on us.
      graph b. of the definition of ‘‘uninsured motor
      vehicle’’, we will pay under this coverage only if    B. Who Is An Insured
      Paragraph a. or b. below applies:                        If the Named Insured is designated in the Declara-
       a. The limit of any applicable liability bonds or       tions as:
          policies has been exhausted by payment of            1. An individual, then the following are ‘‘insureds’’:
          judgments or settlements; or
                                                                     a. The Named Insured and any ‘‘family mem-
                                                                        bers’’.




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      b. Anyone else ‘‘occupying’’ a covered ‘‘auto’’              d. Any ‘ insured’’ with respect to damages for
          or a temporary substitute for a covered                       pain, suffering, mental anguish or inconven-
          ‘‘auto’’. The covered ‘‘auto’’ must be out of                 ience unless the ‘ bodily injury’’ consists in
          service because of its breakdown, repair,                     whole or in part of:
          servicing, ‘‘loss’’ or destruction.                          (1) Significant and permanent loss of an
       c. Anyone for damages he or she is entitled to                       important bodily function;
          recover because of ‘‘bodily injury’’ sustained               (2) Permanent injury within a reasonable
           by another ‘‘insured’’.                                          degree of medical probability, other than
   2. A partnership, limited liability company, corpo-                      scarring or disfigurement;
      ration or any other form of organization, then                   (3) Significant and permanent scarring or
      the following are ‘‘insureds’’:                                       disfigurement; or
       a. Anyone ‘‘occupying’’ a covered ‘‘auto’’ or a                 (4) Death.
           temporary substitute for a covered ‘‘auto’’.
          The covered ‘ auto’’ must be out of service           5. Punitive or exemplary damages.
           because of its breakdown, repair, servicing,         6. ‘‘Bodily injury’’ arising directly or indirectly out
          ‘‘loss’’ or destruction.                                 of:
      b. Anyone for damages he or she is entitled to                a. War, including undeclared or civil war;
          recover because of ‘‘bodily injury’’ sustained
                                                                   b. Warlike action by a military force, including
           by another ‘‘insured’’.
                                                                        action in hindering or defending against an
C. Exclusions                                                           actual or expected attack, by any govern-
   This insurance does not apply to:                                    ment, sovereign or other authority using
                                                                        military personnel or other agents; or
   1. Any claim settled or judgment reached without
      our consent, unless our right to recover pay-                c. Insurrection, rebellion, revolution, usurped
      ment has not been prejudiced by such settle-                     power, or action taken by governmental au-
      ment or judgment. However, this exclusion                        thority in hindering or defending against
      does not apply to a settlement made with the                     any of these.
      insurer of a vehicle described in Paragraph b.         D. Limit Of Insurance
      of the definition of an ‘ uninsured motor vehi-
                                                                1. Regardless of the number of covered ‘‘autos’’,
      cle’’.
                                                                   ‘‘insureds’’, premiums paid, claims made or ve-
   2. The direct or indirect benefit of any insurer or             hicles involved in the ‘‘accident’’, the most we
      self-insurer under any workers’ compensation,                will pay for all damages resulting from any one
      disability benefits or similar law.                          ‘‘accident’’ is the limit of Uninsured Motorists
   3. Anyone using a vehicle without a reasonable                  Coverage shown in the Schedule or Declara-
      belief that the person is entitled to do so.                 tions.
   4. ‘‘Bodily injury’’ sustained by:                           2. No one will be entitled to receive duplicate
                                                                   payments for the same elements of ‘ loss’’ un-
       a. An individual Named Insured while ‘‘occupy-              der this coverage form and any Liability Cover-
          ing’’ or when struck by a vehicle owned by               age form, No-fault Coverage endorsement,
           that individual Named Insured that is not a             Medical Payments Coverage endorsement, or
          covered ‘‘auto’’ for Uninsured Motorists                 Uninsured Motorists Coverage endorsement at-
          Coverage under this coverage form;                       tached to this Coverage Part.
      b. Any ‘‘family member’’ while ‘‘occupying’’ or           3. We will not make a duplicate payment under
          when struck by any vehicle owned by that                 this coverage for any element of ‘ loss’’ for
          ‘‘family member’’ that is not a covered ‘‘auto’’         which payment has been made by or for any-
          for Uninsured Motorists Coverage under                   one who is legally responsible.
           this coverage form;
                                                                4. We will not pay for any element of ‘‘loss’’ if a
      c. Any ‘‘family member’’ while ‘‘occupying’’ or              person is entitled to receive payment for the
          when struck by any vehicle owned by the                  same element of ‘‘loss’’ under any workers’
          Named Insured that is insured for Unin-                  compensation, disability benefits or similar law.
          sured Motorists Coverage on a primary ba-
          sis under any other coverage form or pol-
          icy; or




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E. Changes In Conditions                                                 (2) On an excess basis, we will pay only our
   The Conditions are changed for Uninsured Motor-                             share of the loss that must be paid un-
   ists Coverage Nonstacked as follows:                                        der insurance providing coverage on an
                                                                               excess basis. Our share is the propor-
   1. Other Insurance in the Business Auto and                                 tion that our limit of liability bears to the
       Garage Coverage Forms and Other Insurance                               total of all applicable limits of liability for
       ---- Primary And Excess Insurance Provisions in                         coverage on an excess basis.
       the Truckers and Motor Carrier Coverage
       Forms are replaced by the following:                        2. Duties In The Event Of Accident, Claim, Suit Or
                                                                      Loss is changed by adding the following:
        a. If there is other applicable insurance avail-
             able under one or more coverage forms,                   a. Promptly notify the police if a hit-and-run
             policies or provisions of coverage, any re-                  driver is involved; and
             covery for damages sustained by an indi-                 b. Promptly send us copies of the legal papers
             vidual Named Insured or any ‘‘family mem-                    if a ‘‘suit’’ is brought.
             ber’’:                                                   c. A person seeking Uninsured Motorists
            (1) While ‘‘occupying’’ a vehicle owned by                    Coverage must also promptly notify us in
                 that Named Insured or any ‘‘family mem-                  writing by certified or registered mail of a
                 ber’’ may equal, but not exceed, the limit               tentative settlement between the ‘‘insured’’
                 of insurance for Uninsured Motorists                     and the insurer of the vehicle described in
                 Coverage applicable to that vehicle.                     Paragraph b. of the definition of an ‘‘unin-
            (2) While ‘‘occupying’’ a vehicle not owned                   sured motor vehicle’’ and allow us 30 days
                 by that Named Insured or any ‘‘family                    to advance payment to that ‘‘insured’’ in an
                 member’’ may equal, but not exceed, the                  amount equal to the tentative settlement to
                 sum of:                                                  preserve our rights against the insurer,
                                                                          owner or operator of such vehicle de-
                (a) The limit of insurance for Uninsured                  scribed in Paragraph b. of the definition of
                     Motorists Coverage applicable to the                 an ‘‘uninsured motor vehicle’’.
                     vehicle such Named Insured or any
                     ‘‘family member’’ was ‘‘occupying’’ at        3. Transfer Of Rights Of Recovery Against Others
                     the time of the ‘‘accident’’; and                To Us is changed by adding the following:
                (b) The highest limit of insurance for                If we make any payment and the ‘ insured’’ re-
                     Uninsured Motorists Coverage appli-              covers from another party, the ‘ insured’’ shall
                     cable to any one vehicle under any               hold the proceeds in trust for us and pay us
                     one policy affording coverage to                 back the amount we have paid.
                     such Named Insured or any ‘‘family               Our rights do not apply under this provision
                     member’’.                                        with respect to Uninsured Motorists Coverage
            (3) While not ‘‘occupying’’ any vehicle may               if we:
                 equal, but not exceed, the highest limit             a. Have been given prompt written notice of a
                 of insurance for Uninsured Motorists                     tentative settlement between an ‘‘insured’’
                 Coverage applicable to any one vehicle                   and the insurer of a vehicle described in
                 under any one policy affording coverage                  Paragraph b. of the definition of an ‘‘unin-
                 to an individual Named Insured or any                    sured motor vehicle’’; and
                 ‘‘family member’’.                                   b. Fail to advance payment to the ‘‘insured’’ in
       b. Any insurance we provide with respect to a                      an amount equal to the tentative settlement
             vehicle the Named Insured does not own                       within 30 days after receipt of notification.
             shall be excess over any collectible unin-               If we advance payment to the ‘‘insured’’ in an
             sured motorists insurance providing cover-               amount equal to the tentative settlement within
             age on a primary basis.                                  30 days after receipt of notification:
        c. If the coverage under this coverage form is                a. That payment will be separate from any
             provided:                                                    amount the ‘‘insured’’ is entitled to recover
            (1) On a primary basis, we will pay only our                  under the provisions of Uninsured Motor-
                 share of the loss that must be paid un-                  ists Coverage; and
                 der insurance providing coverage on a                b. We also have a right to recover the ad-
                 primary basis. Our share is the propor-                  vanced payment.
                 tion that our limit of liability bears to the
                 total of all applicable limits of liability for
                 coverage on a primary basis.




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4. The following condition is added:                               (2) A written request for mediation must be
   a. Arbitration                                                       filed with the Florida Department of Fi-
                                                                        nancial Services on an approved form,
      (1) If we and an ‘‘insured’’ do not agree:                        which may be obtained from the Florida
          (a) Whether that person is legally entitled                   Department of Financial Services.
                to recover damages under this en-                  (3) The request must state:
               dorsement; or
                                                                       (a) Why mediation is being requested.
          (b) As to the amount of damages that
                are recoverable by that person;                       (b) The issues in dispute, which are to
                                                                             be mediated.
           Then the matter may be mediated, in ac-
           cordance with the Mediation Provision                   (4) The Florida Department of Financial
           contained in General Conditions, if the                      Services will randomly select mediators.
           damages resulting from ‘‘bodily injury’’                     Each party may reject one mediator, ei-
           are for $10,000 or less, or arbitrated.                      ther before or after the opposing side
           However, disputes concerning coverage                        has rejected a mediator. The mediator
           under this endorsement may not be arbi-                      will notify the parties of the date, time
           trated. Both parties must agree to arbi-                     and place of the mediation conference.
           tration. In this event, each party will se-                  The mediation conference will be held
           lect an arbitrator. The two arbitrators will                 within 45 days of the request for media-
           select a third. If they cannot agree within                  tion. The conference will be held by tele-
           30 days, either may request that selec-                      phone, if feasible. Participants in the
           tion be made by a judge of a court hav-                      mediation conference must have the au-
           ing jurisdiction.                                            thority to make a binding decision, and
                                                                        must mediate in good faith. Each party
      (2) Each party will pay the expenses it in-                       will bear the expenses of the mediation
           curs and bear the expenses of the third                      equally, unless the mediator determines
           arbitrator equally.                                          that one party has not mediated in good
      (3) Unless both parties agree otherwise,                          faith.
           arbitration will take place in the county in            (5) Only one mediation may be requested
           which the ‘‘insured’’ lives. Local rules of                  for each claim unless all parties agree to
           law as to arbitration procedure and evi-                     further mediation. A party demanding
           dence will apply. A decision agreed to by                    mediation shall not be entitled to de-
           two of the arbitrators will be binding.                      mand or request mediation after a suit is
   b. Florida Arbitration Act                                           filed relating to the same facts already
       If we and an ‘‘insured’’ agree to arbitration,                   mediated.
       the Florida Arbitration Act will not apply.                 (6) The mediation shall be conducted as an
                                                                        informal process and formal rules of evi-
   c. Mediation
                                                                        dence and procedures need not be ob-
      (1) In any claim filed by an ‘‘insured’’ with us                  served.
           for:
                                                          F. Additional Definitions
          (a) ‘‘Bodily injury’’ in an amount of
                $10,000 or less, arising out of the          As used in this endorsement:
                ownership, operation, use or mainte-         1. ‘‘Family member’’ means a person related to an
                nance of a covered ‘‘auto’’;                    individual Named Insured by blood, marriage
          (b) ‘‘Property damage’’ in any amount,                or adoption who is a resident of such Named
                arising out of the ownership, opera-            Insured’s household, including a ward or foster
                tion, maintenance or use of a cov-              child.
                ered ‘‘auto’’; or                            2. ‘‘Occupying’’ means in, upon, getting in, on,
          (c) ‘‘Loss’’ to a covered ‘‘auto’’ or its             out or off.
                equipment, in any amount;                    3. ‘‘Uninsured motor vehicle’’ means a land motor
                                                                vehicle or ‘‘trailer’’:
          either party may make a written demand
          for mediation of the claim prior to the in-            a. For which no liability bond or policy applies
          stitution of litigation.                                  at the time of an ‘‘accident’’;




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b. That is an underinsured motor vehicle. An                   If there is no physical contact with the land
    underinsured motor vehicle is a land motor                 motor vehicle or ‘‘trailer’’, the facts of the
    vehicle or ‘‘trailer’’ for which a ‘‘bodily injury’’       ‘‘accident’’ must be proved. We will only ac-
    liability bond or policy applies at the time of            cept competent evidence other than the tes-
    an ‘‘accident’’ but the amount paid under                  timony of a person making claims under
    that bond or policy to an ‘‘insured’’ is not               this or any similar coverage.
    enough to pay the full amount the ‘‘insured’’          However, ‘‘uninsured motor vehicle’’ does not
    is legally entitled to recover as damages              include any vehicle:
    caused by the ‘‘accident’’;
                                                           a. Owned by a governmental unit or agency;
c. For which an insuring or bonding company
    denies coverage or is or becomes insolvent;            b. Designed for use mainly off public roads
    or                                                         while not on public roads; or
d. For which neither the driver nor owner can              c. Owned by or furnished or available for the
    be identified. The land motor vehicle or                   regular use of the Named Insured, or if the
    ‘‘trailer’’ must:                                          Named Insured is an individual, any ‘‘family
                                                               member’’ unless it is a covered ‘ auto’’ to
   (1) Hit an individual Named Insured or any                  which the coverage form’s Liability Cover-
         ‘‘family member’’, a covered ‘ auto’’ or a            age applies and liability coverage is ex-
         vehicle such Named Insured or any                     cluded for any person or organization other
         ‘‘family member’’ is ‘‘occupying’’; or
                                                               than the Named Insured, or if the Named
   (2) Cause an ‘‘accident’’ resulting in ‘‘bodily             Insured is an individual, any ‘‘family mem-
       injury’’ to an individual Named Insured                 ber’’.
       or any ‘‘family member’’ without hitting
       that Named Insured, any ‘‘family mem-
       ber’’, a covered ‘‘auto’’ or a vehicle such
       Named Insured or any ‘‘family member’’
       is ‘‘occupying’’.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 04 24 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    CALIFORNIA AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Coverage                                                  3. "Bodily injury" sustained by any "family
   We will pay reasonable expenses incurred for                 member" while "occupying" or struck by any
   necessary medical and funeral services to or for             vehicle (other than a covered "auto") owned by
   an "insured" who sustains "bodily injury" caused             or furnished or available for the regular use of
   by "accident". We will pay only those expenses               any "family member".
   incurred, for services rendered within three years        4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                             and in the course of employment by you.
B. Who Is An Insured                                            However, we will cover "bodily injury" to your
                                                                domestic "employees" if not entitled to workers'
   1. You while "occupying" or, while a pedestrian,             compensation benefits. For the purposes of
      when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"             person engaged in household or domestic
       while "occupying" or, while a pedestrian, when           work performed principally in connection with a
       struck by any "auto".                                    residence premises.
   3. Anyone else "occupying" a covered "auto" or a          5. "Bodily injury" to an "insured" while working in
       temporary substitute for a covered "auto". The           a business of selling, servicing, repairing or
       covered "auto" must be out of service because            parking "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or          6. "Bodily injury" arising directly or indirectly out
       destruction.                                             of:
C. Exclusions                                                   a. War, including undeclared or civil war;
   This insurance does not apply to any of the                  b. Warlike action by a military force, including
   following:                                                       action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while               actual or expected attack, by any
       "occupying" a vehicle located for use as a                   government, sovereign or other authority
       premises.                                                    using military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family           c. Insurrection, rebellion, revolution, usurped
       member" while "occupying" or struck by any                   power, or action taken by governmental
       vehicle (other than a covered "auto") owned by               authority in hindering or defending against
       you or furnished or available for your regular               any of these.
       use.




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   7. "Bodily injury" to anyone using a vehicle               E. Changes In Conditions
       without a reasonable belief that the person is            The Conditions are changed for Auto Medical
       entitled to do so.                                        Payments Coverage as follows:
   8. "Bodily injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
       "occupying" any covered "auto" while used in                 Others To Us Condition does not apply.
       any professional racing or demolition contest or
       stunting activity, or while practicing for such           2. The reference in Other Insurance in the Auto
       contest or activity. This insurance also does                Dealers and Business Auto Coverage Forms
       not apply to any "bodily injury" sustained by an             and Other Insurance – Primary And Excess
       "insured" while the "auto" is being prepared for             Insurance Provisions in the Motor Carrier
       such a contest or activity.                                  Coverage Form to "other collectible insurance"
                                                                    applies only to other collectible auto medical
D. Limit Of Insurance                                               payments insurance.
   Regardless of the number of covered "autos",               F. Additional Definitions
   "insureds", premiums paid, claims made or
   vehicles involved in the "accident", the most we              As used in this endorsement:
   will pay for "bodily injury" for each "insured" injured       1. "Family member" means a person related to
   in any one "accident" is the Limit Of Insurance for              you by blood, adoption, marriage or registered
   Auto Medical Payments Coverage shown in the                      domestic partnership under California law, who
   Declarations.                                                    is a resident of your household, including a
   No one will be entitled to receive duplicate                     ward or foster child.
   payments for the same elements of "loss" under                2. "Occupying" means in, upon, getting in, on, out
   this coverage and any Liability Coverage form,                   or off.
   Uninsured Motorists Coverage endorsement or
   Underinsured Motorists Coverage endorsement
   attached to this Coverage Part.




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Coverage Extension Endorsement

    Policy No.     Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem         Return Prem.




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
   Business Auto Coverage Form
   Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1. The following is added to the Who Is An Insured Provision in Section II – Covered Autos Liability Coverage:
        The following are also "insureds":
        a. Any "employee" of yours is an "insured" while using a covered "auto" you don't own, hire or borrow for acts
           performed within the scope of employment by you. Any “employee” of yours is also an “insured” while
           operating an “auto” hired or rented under a contract or agreement in an “employee’s” name, with your
           permission, while performing duties related to the conduct of your business.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c. Anyone else who furnishes an "auto" referenced in Paragraphs A.1.a. and A.1.b. in this endorsement.
        d. Where and to the extent permitted by law, any person(s) or organization(s) where required by written contract
           or written agreement with you executed prior to any "accident", including those person(s) or organization(s)
           directing your work pursuant to such written contract or written agreement with you, provided the "accident"
           arises out of operations governed by such contract or agreement and only up to the limits required in the
           written contract or written agreement, or the Limits of Insurance shown in the Declarations, whichever is less.
   2. The following is added to the Other Insurance Condition in the Business Auto Coverage Form and the Other
      Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form:
        Coverage for any person(s) or organization(s), where required by written contract or written agreement with you
        executed prior to any "accident", will apply on a primary and non-contributory basis and any insurance maintained
        by the additional "insured" will apply on an excess basis. However, in no event will this coverage extend beyond
        the terms and conditions of the Coverage Form.
B. Amendment – Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II – Covered Autos Liability
   Coverage are replaced by the following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.




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C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II – Covered Autos Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1. The following is added to the Racing Exclusion in Section II – Covered Autos Liability Coverage:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
   2. The following is added to Paragraph 2. in the Exclusions of Section III – Physical Damage Coverage of the
      Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV – Physical Damage
      Coverage of the Motor Carrier Coverage Form:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
   Lease Or Loan Gap Coverage
   In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
   "auto", less:
   a. Any amount paid under the Physical Damage Coverage Section of the Coverage Form; and
   b. Any:
       (1) Overdue lease or loan payments at the time of the "loss";
       (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
       (3) Security deposits not returned by the lessor;
       (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
           loan or lease; and
       (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
   Paragraph A.2. of the Physical Damage Coverage Section is replaced by the following:
   We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
   disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
   The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
   If glass must be replaced, the deductible shown in the Declarations will apply. However, if glass can be repaired and
   is actually repaired rather than replaced, the deductible will be waived. You have the option of having the glass
   repaired rather than replaced.
H. Hired Auto Physical Damage – Increased Loss of Use Expenses
   The Coverage Extension for Loss Of Use Expenses in the Physical Damage Coverage Section is replaced by the
   following:
   Loss Of Use Expenses
   For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
   loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
   will pay for loss of use expenses if caused by:




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     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided
         for any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a. We will pay up to $750 for "loss" to personal effects which are:
         (1) Personal property owned by an "insured"; and
         (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
         (1) The reasonable cost to replace; or
         (2) The actual cash value.
     c. The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered
        "auto". No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of
        the following:
         (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
             documents of value.
         (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
             precious or semi-precious stones.
         (3) Paintings, statuary and other works of art.
         (4) Contraband or property in the course of illegal transportation or trade.
         (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J. Tapes, Records and Discs Coverage
     1. The Exclusion in Paragraph B.4.a. of Section III – Physical Damage Coverage in the Business Auto Coverage
        Form and the Exclusion in Paragraph B.2.c. of Section IV – Physical Damage Coverage in the Motor Carrier
        Coverage Form does not apply.
     2. The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the
        Physical Damage Coverage Section:
         We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
         equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
         (a) Are the property of an "insured"; and
         (b) Are in a covered "auto" at the time of "loss".
         The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
         Damage Coverage Deductible Provision does not apply to such "loss".




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K. Airbag Coverage
   The Exclusion in Paragraph B.3.a. of Section III – Physical Damage Coverage in the Business Auto Coverage Form
   and the Exclusion in Paragraph B.4.a. of Section IV – Physical Damage Coverage in the Motor Carrier Coverage
   Form does not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   If an accident is covered both by this policy or Coverage Form and by another policy or Coverage Form issued to you
   by us, the following applies for each covered "auto" on a per vehicle basis:
   1. If the deductible on this policy or Coverage Form is the smaller (or smallest) deductible, it will be waived; or
   2. If the deductible on this policy or Coverage Form is not the smaller (or smallest) deductible, it will be reduced by
      the amount of the smaller (or smallest) deductible.
M. Physical Damage – Comprehensive Coverage – Deductible
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
   Comprehensive Coverage for all "loss" from any one cause is $5,000 or the deductible shown in the Declarations,
   whichever is greater.
N. Temporary Substitute Autos – Physical Damage
   1. The following is added to Section I – Covered Autos:
       Temporary Substitute Autos – Physical Damage
       If Physical Damage Coverage is provided by this Coverage Form on your owned covered "autos", the following
       types of vehicles are also covered "autos" for Physical Damage Coverage:
       Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
       "auto" you do own but is out of service because of its:
       1. Breakdown;
       2. Repair;
       3. Servicing;
       4. "Loss"; or
       5. Destruction.
   2. The following is added to the Paragraph A. Coverage Provision of the Physical Damage Coverage Section:
       Temporary Substitute Autos – Physical Damage
       We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
       omissions on your part. If we make any payment to the owner, we will obtain the owner's rights against any other
       party.
       The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
       replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a. In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
      of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or
      "loss" is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
      liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any




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       agent, servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate
       the insurance afforded by this policy.
       Include, as soon as practicable:
       (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
           notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
       (2) The "insured’s" name and address; and
       (3) To the extent possible, the names and addresses of any injured persons and witnesses.
       If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
       failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
       as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos – Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced
   by the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:
   (1) Any covered "auto" you lease, hire, rent or borrow; and
   (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
       elected or appointed official with your permission while being operated within the course and scope of that
       "employee's" employment by you or that elected or appointed official’s duties as respect their obligations to you.
   However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
   The following is added to the Concealment, Misrepresentation Or Fraud Condition:
   However, we will not deny coverage under this Coverage Form if you unintentionally:
   (1) Fail to disclose any hazards existing at the inception date of this Coverage Form; or
   (2) Make an error, omission, improper description of "autos" or other misstatement of information.
   You must notify us as soon as possible after the discovery of any hazards or any other information that was not
   provided to us prior to the acceptance of this policy.
S. Hired Auto – World Wide Coverage
   Paragraph 7a.(5) of the Policy Period, Coverage Territory Condition is replaced by the following:
   (5) Anywhere in the world if a covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less,
T. Bodily Injury Redefined
   The definition of "bodily injury" in the Definitions Section is replaced by the following:
   "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
   resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.




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U. Expected Or Intended Injury
    The Expected Or Intended Injury Exclusion in Paragraph B. Exclusions under Section II – Covered Auto Liability
    Coverage is replaced by the following:
    Expected Or Intended Injury
    "Bodily injury" or "property damage" expected or intended from the standpoint of the "insured". This exclusion does
    not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
    property.
V. Physical Damage – Additional Temporary Transportation Expense Coverage
    Paragraph A.4.a. of Section III – Physical Damage Coverage is replaced by the following:
    4. Coverage Extensions
        a. Transportation Expenses
            We will pay up to $50 per day to a maximum of $1,000 for temporary transportation expense incurred by you
            because of the total theft of a covered "auto" of the private passenger type. We will pay only for those
            covered "autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage. We will
            pay for temporary transportation expenses incurred during the period beginning 48 hours after the theft and
            ending, regardless of the policy's expiration, when the covered "auto" is returned to use or we pay for its
            "loss".
W. Replacement of a Private Passenger Auto with a Hybrid or Alternative Fuel Source Auto
    The following is added to Paragraph A. Coverage of the Physical Damage Coverage Section:
    In the event of a total "loss" to a covered "auto" of the private passenger type that is replaced with a hybrid "auto" or
    "auto" powered by an alternative fuel source of the private passenger type, we will pay an additional 10% of the cost
    of the replacement "auto", excluding tax, title, license, other fees and any aftermarket vehicle upgrades, up to a
    maximum of $2500. The covered "auto" must be replaced by a hybrid "auto" or an "auto" powered by an alternative
    fuel source within 60 calendar days of the payment of the "loss" and evidenced by a bill of sale or new vehicle lease
    agreement.
    To qualify as a hybrid "auto", the "auto" must be powered by a conventional gasoline engine and another source of
    propulsion power. The other source of propulsion power must be electric, hydrogen, propane, solar or natural gas,
    either compressed or liquefied. To qualify as an "auto" powered by an alternative fuel source, the "auto" must be
    powered by a source of propulsion power other than a conventional gasoline engine. An "auto" solely propelled by
    biofuel, gasoline or diesel fuel or any blend thereof is not an "auto" powered by an alternative fuel source.
X. Return of Stolen Automobile
    The following is added to the Coverage Extension Provision of the Physical Damage Coverage Section:
    If a covered “auto” is stolen and recovered, we will pay the cost of transport to return the “auto” to you. We will pay
    only for those covered “autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 99 03 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorse-             3. "Bodily injury" sustained by any "family mem-
ment, the provisions of the Coverage Form apply                   ber" while "occupying" or struck by any vehicle
unless modified by the endorsement.                               (other than a covered "auto") owned by or fur-
A. Coverage                                                       nished or available for the regular use of any
                                                                  "family member".
   We will pay reasonable expenses incurred for nec-
   essary medical and funeral services to or for an            4. "Bodily injury" to your "employee" arising out of
   "insured" who sustains "bodily injury" caused by               and in the course of employment by you. How-
   "accident". We will pay only those expenses in-                ever, we will cover "bodily injury" to your do-
   curred, for services rendered within three years               mestic "employees" if not entitled to workers’
   from the date of the "accident".                               compensation benefits. For the purposes of
                                                                  this endorsement, a domestic "employee" is a
B. Who Is An Insured                                              person engaged in household or domestic
   1. You while "occupying" or, while a pedestrian,               work performed principally in connection with a
       when struck by any "auto".                                 residence premises.
   2. If you are an individual, any "family member"            5. "Bodily injury" to an "insured" while working in a
       while "occupying" or, while a pedestrian, when             business of selling, servicing, repairing or park-
       struck by any "auto".                                      ing "autos" unless that business is yours.
   3. Anyone else "occupying" a covered "auto" or a            6. "Bodily injury" arising directly or indirectly out
       temporary substitute for a covered "auto". The             of:
       covered "auto" must be out of service because              a. War, including undeclared or civil war;
       of its breakdown, repair, servicing, loss or de-
       struction.                                                 b. Warlike action by a military force, including
                                                                      action in hindering or defending against an
C. Exclusions                                                         actual or expected attack, by any govern-
   This insurance does not apply to any of the follow-                ment, sovereign or other authority using
   ing:                                                               military personnel or other agents; or
   1. "Bodily injury" sustained by an "insured" while             c. Insurrection, rebellion, revolution, usurped
      "occupying" a vehicle located for use as a                     power, or action taken by governmental au-
       premises.                                                     thority in hindering or defending against
   2. "Bodily injury" sustained by you or any "family                any of these.
      member" while "occupying" or struck by any
      vehicle (other than a covered "auto") owned by
      you or furnished or available for your regular
      use.




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   7. "Bodily injury" to anyone using a vehicle with-       E. Changes In Conditions
      out a reasonable belief that the person is enti-         The Conditions are changed for Auto Medical
      tled to do so.                                           Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while          1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such       2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does               ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an            Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for            ance Provisions in the Truckers and Motor
      such a contest or activity.                                 Carrier Coverage Forms to "other collectible in-
                                                                  surance" applies only to other collectible auto
D. Limit Of Insurance                                             medical payments insurance.
   Regardless of the number of covered "autos", "in-        F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for        As used in this endorsement:
   "bodily injury" for each "insured" injured in any one        1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-             by blood, marriage or adoption who is a resi-
   cal Payments Coverage shown in the Declarations.                dent of your household, including a ward or
   No one will be entitled to receive duplicate pay-               foster child.
   ments for the same elements of "loss" under this             2. "Occupying" means in, upon, getting in, on, out
   coverage and any Liability Coverage Form, Unin-                 or off.
   sured Motorists Coverage Endorsement or Under-
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 99 03 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Coverage                                                  3. "Bodily injury" sustained by any "family
   We will pay reasonable expenses incurred for                 member" while "occupying" or struck by any
   necessary medical and funeral services to or for             vehicle (other than a covered "auto") owned by
   an "insured" who sustains "bodily injury" caused             or furnished or available for the regular use of
   by "accident". We will pay only those expenses               any "family member".
   incurred, for services rendered within three years        4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                             and in the course of employment by you.
B. Who Is An Insured                                            However, we will cover "bodily injury" to your
                                                                domestic "employees" if not entitled to workers'
   1. You while "occupying" or, while a pedestrian,             compensation benefits. For the purposes of
      when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"             person engaged in household or domestic
       while "occupying" or, while a pedestrian, when           work performed principally in connection with a
       struck by any "auto".                                    residence premises.
   3. Anyone else "occupying" a covered "auto" or a          5. "Bodily injury" to an "insured" while working in
       temporary substitute for a covered "auto". The           a business of selling, servicing, repairing or
       covered "auto" must be out of service because            parking "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or          6. "Bodily injury" arising directly or indirectly out
       destruction.                                             of:
C. Exclusions                                                   a. War, including undeclared or civil war;
   This insurance does not apply to any of the                  b. Warlike action by a military force, including
   following:                                                       action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while               actual or expected attack, by any
       "occupying" a vehicle located for use as a                   government, sovereign or other authority
       premises.                                                    using military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family           c. Insurrection, rebellion, revolution, usurped
       member" while "occupying" or struck by any                   power, or action taken by governmental
       vehicle (other than a covered "auto") owned by               authority in hindering or defending against
       you or furnished or available for your regular               any of these.
       use.




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   7. "Bodily injury" to anyone using a vehicle               E. Changes In Conditions
       without a reasonable belief that the person is            The Conditions are changed for Auto Medical
       entitled to do so.                                        Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
       "occupying" any covered "auto" while used in                 Others To Us Condition does not apply.
       any professional racing or demolition contest or
       stunting activity, or while practicing for such           2. The reference in Other Insurance in the Auto
       contest or activity. This insurance also does                Dealers and Business Auto Coverage Forms
       not apply to any "bodily injury" sustained by an             and Other Insurance – Primary And Excess
       "insured" while the "auto" is being prepared for             Insurance Provisions in the Motor Carrier
       such a contest or activity.                                  Coverage Form to "other collectible insurance"
                                                                    applies only to other collectible auto medical
D. Limit Of Insurance                                               payments insurance.
   Regardless of the number of covered "autos",               F. Additional Definitions
   "insureds", premiums paid, claims made or
   vehicles involved in the "accident", the most we              As used in this endorsement:
   will pay for "bodily injury" for each "insured" injured       1. "Family member" means a person related to
   in any one "accident" is the Limit Of Insurance for              you by blood, marriage or adoption who is a
   Auto Medical Payments Coverage shown in the                      resident of your household, including a ward or
   Declarations.                                                    foster child.
   No one will be entitled to receive duplicate                  2. "Occupying" means in, upon, getting in, on, out
   payments for the same elements of "loss" under                   or off.
   this coverage and any Liability Coverage Form,
   Uninsured Motorists Coverage Endorsement or
   Underinsured Motorists Coverage Endorsement
   attached to this Coverage Part.




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2013 Commercial Auto Multistate Forms Revision
Advisory Notice To Policyholders

This is a summary of the major changes to your policy. No coverage is provided by this summary nor can it be
construed to replace any provisions of your policy or endorsements. You should read your policy and review your
Declarations page for complete information on the coverages you are provided. If there is any conflict between
the Policy and this summary, THE PROVISIONS OF THE POLICY SHALL PREVAIL.
Highlighted below are areas within the Policy that broaden, reduce or reinforce coverage. This notice does not
reference every change, including editorial changes, made in your policy.


                                                  COVERAGE FORMS

                                    REINFORCEMENTS OF COVERAGE

Revision To "Liability Coverage" Form References
  CA 00 01 – Business Auto Coverage Form
  CA 00 20 – Motor Carrier Coverage Form
  References to "Liability Coverage" that pertain to auto liability in the Business Auto Coverage Form and Motor
  Carrier Coverage Form are replaced with "Covered Autos Liability Coverage" to distinguish such coverage
  from the other types of liability coverages that may be included in your policy.
Revisions To Physical Damage Coverage
  CA 00 01 – Business Auto Coverage Form
   CA 00 05 – Motor Carrier Coverage Form
   The Limits Of Insurance provision under Physical Damage Coverage is reinforced to reflect that "loss" rather
   than "accident" triggers coverage under this section.


                                        MULTISTATE ENDORSEMENTS

                                        BROADENINGS OF COVERAGE

NEW OPTIONAL ENDORSEMENTS
   CA 23 30 – Motor Carrier Endorsement
   In general, this endorsement may be used to convert the Business Auto Coverage Form into a Motor Carrier
   Coverage Form for autos used in your operations as a motor carrier.


EXISTING OPTIONAL ENDORSEMENTS
   CA 20 54 – Employee Hired Autos
   This endorsement is revised to reinforce that any employee of yours is an insured while operating a rental or
   hired vehicle taken out in another employee's name for the purposes of performing duties related to the
   conduct of your business and with your permission.
   CA 99 16 – Hired Autos Specified As Covered Auto You Own
   This endorsement has been revised to remove the wording which limits coverage with respect to the lessor
   solely to liability arising out of the acts or omissions of the lessee or anyone else acting on the lessee's behalf.




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   CA 99 37 – Garagekeepers Coverage
   Spouses of partners, managers of limited liability companies and executive officers are included as insureds
   with respect to the conduct of your garage operations.


   UCA 424 – Coverage Extension Endorsement


   This endorsement has been revised to:
   A. Reinforce that an employee of yours is an insured under Covered Autos Liability Coverage while
        operating an “auto” hired or rented under a contract or agreement in that employee’s name, with your
        permission, while performing duties related to the conduct of your business;
   B. Extend Insured status under Covered Autos Liability Coverage to any person(s) or organization(s) where
        required by written contract or written agreement including those person(s) or organization(s) directing
        your work. Such coverage will apply on a primary and non-contributory basis with any insurance
        maintained by the additional “insured” on an excess basis;
   C. Reinforce that the Expected Or Intended Injury Exclusion under the Covered Autos Liability Coverage
      does not apply if the bodily injury or property damage results from reasonable force to protect persons or
      property;
   D. Include payment of up to $50 per day, to a maximum of $1000, for temporary transportation expense
      incurred by you in the event of a total theft of a covered "auto" of the private passenger type when
      Comprehensive of Specified Cause of Loss Coverage is selected;
   E. Revises the Physical Damage Coverage to provide for payment of an additional 10% of the cost of a
      replacement auto, up to $2500, if, in the event of a total loss to a covered auto of the private passenger
      type, the covered auto is replaced with a hybrid auto or an auto powered by an alternative fuel source.
      Qualifications for consideration as a hybrid auto or auto powered by an alternative fuel source are
      described within the endorsement; and
   F. Include payment for the cost of transport to return a stolen auto that has been recovered to you, provided
      you carry either Comprehensive or Specified Causes of Loss Coverage on the auto.



                                   REINFORCEMENTS OF COVERAGE

EXISTING OPTIONAL ENDORSEMENTS
   CA 01 21 – Limited Mexico Coverage
   CA 02 38 – Reinstatement Of Insurance
   CA 02 40 – Suspension Of Insurance
   CA 03 01 – Deductible Liability Coverage
   CA 03 02 – Deductible Liability Coverage
   CA 04 42 – Exclusion Of Federal Employees Using Autos In Government Business
   CA 04 44 – Waiver Of Transfer Of Rights Of Recovery Against Others To Us (Waiver Of Subrogation)
   CA 04 45 – Golf Carts And Low-speed Vehicles
   CA 20 01 – Lessor – Additional Insured And Loss Payee
   CA 20 02 – Audio, Visual And Data Electronic Equipment Coverage – Fire, Police And Emergency
   Vehicles
   CA 20 05 – Drive-away Contractors
   CA 20 06 – Driving Schools – Non-owned Autos
   CA 20 07 – Emergency Services – Volunteer Firefighters' And Workers' Injuries Limited Exclusion
   CA 20 08 – Farm Tractors And Farm Tractors Equipment
   CA 20 09 – Leasing Or Rental Concerns – Contingent Coverage
   CA 20 10 – Leasing Or Rental Concerns – Conversion, Embezzlement Or Secretion Coverage



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   CA 20 11 – Leasing Or Rental Concerns – Exclusion Of Certain Leased Autos
   CA 20 12 – Leasing Or Rental Concerns – Rent-it-there/Leave-it-here Autos
   CA 20 13 – Leasing Or Rental Concerns – Schedule Of Limits For Owned Autos
   CA 20 14 – Leasing Or Rental Concerns – Second Level Coverage
   CA 20 15 – Mobile Equipment
   CA 20 16 – Mobile Homes Contents Coverage
   CA 20 17 – Mobile Homes Contents Not Covered
   CA 20 18 – Professional Services Not Covered
   CA 20 19 – Repossessed Autos
   CA 20 21 – Snowmobiles
   CA 20 27 – Registration Plates Not Issued For A Specific Auto
   CA 20 30 – Emergency Services – Volunteer Firefighters' And Workers' Injuries Excluded
   CA 20 33 – Autos Leased, Hired, Rented Or Borrowed With Drivers – Physical Damage Coverage
   CA 20 48 – Designated Insured (Newly titled Designated Insured For Covered Autos Liability Coverage)
   CA 20 54 – Employee Hired Autos
   CA 20 55 – Fellow Employee Coverage
   CA 20 56 – Fellow Employee Coverage For Designated Employees/Positions
   CA 20 70 – Coverage For Certain Operations In Connection With Railroads
   CA 20 71 – Auto Loan/Lease Gap Coverage
   CA 23 01 – Explosives
   CA 23 03 – Multi-purpose Equipment
   CA 23 04 – Rolling Stores
   CA 23 05 – Wrong Delivery Of Liquid Products
   CA 23 08 – Truckers – Excess Coverage For The Named Insured And Named Lessors For Leased
   Autos (Newly titled Motor Carriers – Excess Coverage For The Named Insured And Named Lessors For
   Leased Autos)
   CA 23 09 – Truckers – Insurance For Non-trucking Use (Newly titled Motor Carriers – Insurance For
   Non-trucking Use)
   CA 23 12 – Truckers – Named Lessee As Insured (Newly titled Motor Carriers – Named Lessee As
   Insured)
   CA 23 13 – Trailer Interchange Fire And Fire And Theft Coverages
   CA 23 17 – Truckers – Uniform Intermodal Interchange Endorsement Form UIIE-1
   CA 23 24 – Agricultural Produce Trailers – Seasonal
   CA 23 25 – Coverage For Injury To Leased Workers
   CA 23 94 – Silica Or Silica-related Dust Exclusion For Covered Autos Exposure
   CA 23 97 – Amphibious Vehicles
   CA 24 01 – Transportation Of Seasonal Or Migrant Agricultural Workers
   CA 24 02 – Public Transportation Autos
   CA 99 03 – Auto Medical Payments Coverage
   CA 99 10 – Drive Other Car Coverage – Broadened Coverage For Named Individuals
   CA 99 13 – Fiduciary Liability Of Banks
   CA 99 14 – Fire, Fire And Theft, Fire, Theft And Windstorm And Limited Specified Causes Of Loss
   Coverages
   CA 99 16 – Hired Autos Specified As Covered Autos You Own
   CA 99 17 – Individual Named Insured
   CA 99 23 – Rental Reimbursement Coverage



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   CA 99 28 – Stated Amount Insurance
   CA 99 30 – Tapes, Records And Discs Coverage
   CA 99 33 – Employees As Insureds
   CA 99 34 – Social Service Agencies – Volunteers As Insureds
   CA 99 37 – Garagekeepers Coverage
   CA 99 40 – Exclusion Or Excess Coverage Hazards Otherwise Insured
   CA 99 44 – Loss Payable Clause
   CA 99 47 – Employee As Lessor
   CA 99 48 – Pollution Liability – Broadened Coverage For Covered Autos – Business Auto, Motor
   Carrier And Truckers Coverage Forms (Newly titled Pollution Liability – Broadened Coverage For
   Covered Autos – Business Auto And Motor Carrier Coverage Forms)
   CA 99 54 – Covered Auto Designation Symbol
   CA 99 59 – Garagekeepers Coverage – Customers' Sound-receiving Equipment
   CA 99 60 – Audio, Visual And Data Electronic Equipment Coverage Added Limits
   CA 99 61 – Loss Payable Clause – Audio, Visual And Data Electronic Equipment Coverage Added
   Limits
  CA 99 90 – Optional Limits – Loss Of Use Expenses
  These forms have been revised, where appropriate, to:
  A. Add reference to "Auto Dealer Coverage Form" and delete references to the "Business Auto Physical
     Damage Coverage Form", "Garage Coverage Form" and/or "Truckers Coverage Form" in the list of the
     coverage forms to which the endorsement modifies; and/or
  B. Replace references to "Liability Coverage" with respect to auto liability with "Covered Autos Liability
     Coverage" to distinguish such coverage from the other types of liability coverages included in your policy.
  CA 23 97 – Amphibious Vehicles
   This endorsement, in general, is revised to reinforce that insurance is not applicable to amphibious vehicles
   while being launched into, used in or beached from the water. This includes, but is not limited to, coverages
   such as liability and physical damage coverages.
   CA 23 98 – Trailer Interchange Coverage
   The Supplementary Payments provision is revised to reinforce that it applies to court costs taxed against the
   insured that do not include the attorneys' fees or expenses taxed against the insured.
   A definition of the term "trailer" is added to reinforce that such term includes a semitrailer, container or a dolly
   used to convert a semitrailer into a trailer.
   CA 99 28 – Stated Amount Insurance
   CA 99 60 – Audio, Visual And Data Electronic Equipment Coverage Added Limits
   CA 99 61 – Loss Payable Clause – Audio, Visual And Data Electronic Equipment Coverage Added
   Limits
   Various provisions and schedules applicable to physical damage coverage have been reinforced to reflect that
   "loss" rather than "accident" triggers coverage under this section.

                                             REDUCTION IN COVERAGE

   UCA 424 – Coverage Extension Endorsement

  The Extended Glass Coverage under this endorsement has been revised to require the deductible, which is
  shown in the Declarations, if glass must be replaced rather than repaired. However, if glass can be repaired,
  the waiver of the deductible remains.




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Advisory notice to policyholders regarding the
U.S. Treasury Department’s Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department’s Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

             Foreign agents;
             Front organizations;
             Terrorists;
             Terrorist organizations; and
             Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury’s web
site - http: / / www.treasury.gov / about / organizational-structure/ offices / Pages / Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on premiums
and payments also apply.




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                                                                                                 COMMON POLICY DECLARATIONS

Policy Number   CPO 5912284-03                                          Renewal of Number     CPO 5912284-02
Named Insured and Mailing Address                                    Producer and Mailing Address
OMNICELL INC                                                         MARSH RISK & INSURANCE SERVICES
(SEE NAMED INSURED ENDT)                                             1735 TECHNOLOGY DR STE 790
590 E MIDDLEFIELD RD                                                 SAN JOSE CA 95110-3804
MOUNTAIN VIEW CA 94043-4008
                                                          Producer Code    70074-000
Policy Period: Coverage begins           09-01-2015 at 12:01 A.M.; Coverage ends 09-01-2016 at 12:01 A.M.
The name insured is              Individual         Partnership       X Corporation
                                   Other:
This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.
THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
PROPERTY PORTFOLIO PROTECTION                                                                     PREMIUM            $      260,180.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
GENERAL LIABILITY COVERAGE                                                                        PREMIUM            $        84,722.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
BUSINESS AUTOMOBILE                                                                               PREMIUM            $        31,226.00
 issued by ZURICH AMERICAN INSURANCE COMPANY
CA-AUTO SPECIAL PURPOSE SURCHARGE                                                                                    $                 3.52
CA SEISMIC SAFETY FEE                                                                                                $                  .45
STATE FIRE MARSHALL REG ASSESS SURCHG                                                                                $                86.65
FL-DEPT OF REVENUE SURCHARGE                                                                                         $                 4.00




THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                       TOTAL               $       376,128.00
This premium does not include Taxes and Surcharges.                                           SEE INSTALLMENT SCHEDULE
Taxes and Surcharges                                                        TOTAL               $            94.62
                                                                                              SEE INSTALLMENT SCHEDULE
Form(s) and Endorsement(s) made a part of this policy at time of issue are listed on the SCHEDULE of FORMS and
ENDORSEMENTS.
Countersigned this                    day of
                                                                                               Authorized Representative

  THIS DECLARATION TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.


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Disclosure Statement

                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED / ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                      WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement

                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


             If you want to learn more about the compensation Zurich pays agents and brokers visit:

                               http: / / www.zurichnaproducercompensation.com

                              or call the following toll-free number: (866) 903-1192.



                   This Notice is provided on behalf of Zurich American Insurance Company

                                        and its underwriting subsidiaries.




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Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets Control
("OFAC") regulations


No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").

Please read this Notice carefully.

OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:

           Foreign agents;
           Front organizations;
           Terrorists;
           Terrorist organizations; and
           Narcotics traffickers;

as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.


In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.




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Fraud Warnings Disclosure

TO BE ATTACHED TO AND FORM PART OF THE APPLICATION. IF FRAUD WARNINGS ARE INCLUDED IN THE
APPLICATION TO WHICH THIS IS ATTACHED, THIS DISCLOSURE REPLACES THOSE WARNINGS.
Any person who knowingly and with intent to defraud any insurance company or another person files an application for
insurance or statement of claim containing any materially false information, or conceals for the purpose of misleading
information concerning any fact material thereto, commits a fraudulent insurance act, which is a crime and subjects the
person to criminal and civil penalties. (Not applicable in AL, AR, CO, DC, FL, KS, KY, LA, MD, ME, NJ, NM, NY, OH, OK,
OR, PA, PR, RI, TN, TX, VA, VT, WA, and WV.)
In Arkansas, Louisiana, Rhode Island, or West Virginia: Any person who knowingly presents a false or fraudulent
claim for payment of a loss or benefit or knowingly presents false information in an application for insurance is guilty of a
crime and may be subject to fines and confinement in prison.
In Alabama: Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or who
knowingly presents false information in an application for insurance is guilty of a crime and may be subject to restitution,
fines or confinement in prison, or any combination thereof.
In Colorado: It is unlawful to knowingly provide false, incomplete, or misleading facts or information to an insurance
company for the purpose of defrauding or attempting to defraud the company. Penalties may include imprisonment, fines,
denial of insurance and civil damages. Any insurance company or agent of an insurance company who knowingly
provides false, incomplete, or misleading facts or information to a policyholder or claimant for the purpose of defrauding or
attempting to defraud the policyholder or claimant with regard to a settlement or award payable from insurance proceeds
shall be reported to the Colorado division of insurance within the department of regulatory agencies.
In District of Columbia: Warning: It is a crime to provide false or misleading information to an insurer for the purpose of
defrauding the insurer or any other person. Penalties include imprisonment and/or fines. In addition, an insurer may deny
insurance benefits if false information materially related to a claim was provided by the applicant.
In Florida: Any person who knowingly and with intent to injure, defraud, or deceive any insurer files a statement of claim
or an application containing any false, incomplete, or misleading information is guilty of a felony of the third degree.
In Kansas: Any person who, knowingly and with intent to defraud, presents, causes to be presented or prepares with
knowledge or belief that it will be presented to an insurer, purported insurer, or to or by a broker or any agent thereof, any
written statement as part of, or in support of, an application for the issuance of, or the rating of an insurance policy for
personal or commercial insurance, or a claim for payment or other benefit pursuant to an insurance policy for commercial
or personal insurance which such person knows to contain materially false information concerning any fact material
thereto; or conceals, for the purpose of misleading, information concerning any fact material thereto, commits a fraudulent
insurance act and may be subject to criminal and/or civil fines or penalties.
In Kentucky: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance containing any materially false information or conceals, for the purpose of misleading,
information concerning any fact material thereto commits a fraudulent insurance act, which is a crime.
In Maine, Tennessee, Virginia, or Washington: It is a crime to knowingly provide false, incomplete or misleading
information to an insurance company for the purpose of defrauding the company. Penalties may include imprisonment,
fines or a denial of insurance benefits.
In Maryland: Any person who knowingly or willfully presents a false or fraudulent claim for payment of a loss or benefit or
who knowingly or willfully presents false information in an application for insurance is guilty of a crime and may be subject
to fines and confinement in prison.




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In New Jersey: Any person who includes any false or misleading information on an application for an insurance policy is
subject to criminal and civil penalties.
In New Mexico: Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or
knowingly presents false information in an application for insurance is guilty of a crime and may be subject to civil fines
and criminal penalties.
In New York: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance or statement of claim containing any materially false information, or conceals for the purpose of
misleading, information concerning any fact material thereto, commits a fraudulent insurance act, which is a crime and
shall also be subject to a civil penalty not to exceed five thousand dollars and the stated value of the claim for each such
violation.
In Ohio: Any person who, with intent to defraud or knowing that he is facilitating a fraud against an insurer, submits an
application or files a claim containing a false or deceptive statement is guilty of insurance fraud.
In Oklahoma: WARNING: Any person who knowingly, and with intent to injure, defraud or deceive any insurer, makes
any claim for the proceeds of an insurance policy containing any false, incomplete or misleading information is guilty of a
felony.
In Oregon: Any person who knowingly and with intent to defraud any insurer or other person files an application for
insurance or statement of claim containing any materially false information upon which an insurer relies, if such
information was either material to the risk assumed by the insurer or the misinformation was provided fraudulently, may
commit a fraudulent insurance act, which may be a crime and may subject the person to criminal and civil penalties.
In Pennsylvania: Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance or statement of claim containing any materially false information or conceals for the purpose of
misleading, information concerning any fact material thereto commits a fraudulent insurance act, which is a crime and
subjects such person to criminal and civil penalties.
In Puerto Rico: Any person who has committed fraud, as defined in the law, shall incur a felony, and if convicted, shall be
sanctioned for each violation by a penalty of a fine of not less than five thousand dollars ($5,000), nor more than ten
thousand dollars ($10,000), or a penalty of imprisonment for a fixed term of three (3) years, or both penalties. If there were
aggravating circumstances, the fixed penalty thus established may be increased up to a maximum of five (5) years; if
extenuating circumstances are present, it may be reduced to a minimum of two (2) years. In addition to the penalties
provided in this chapter, any person who, as a result of the fraud thus committed is benefited in any way to obtain
insurance, or in the payment of a loss pursuant to an insurance contract, shall be imposed the payment of restitution of
the amount of money resulting from the fraud. Every violation shall have a prescription term of (5) five years.
In Texas: Any person who knowingly presents a false or fraudulent claim for the payment of a loss is guilty of a crime and
may be subject to fines and confinement in state prison.
In Vermont: Any person who knowingly presents a false statement in an application for insurance may be guilty of a
criminal offense and subject to penalties under state law.
The undersigned, on behalf of all Insureds, acknowledges that discovery of any fraud, intentional concealment, or
misrepresentation of any material fact may render this policy, if issued, voidable at inception or otherwise cancelled.



Applicant
    Applicant Name and Title:                                                     Date:
     Applicant Signature:




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Important Notice --- In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1400 American Lane
                                             Schaumburg, Illinois 60196-1056
                                    1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                            Email: info.source zurichna.com




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Illinois Civil Union Act Policyholder Notice


On June 1, 2011, Public Act 96-1513, the Religious Freedom Protection and Civil Union Act ("the Act") became
effective. Under the Act, both same-sex and opposite-sex couples may enter into a civil union. A party to a
civil union is entitled to the same legal obligations, responsibilities, protections, and benefits as are afforded or
recognized by the law of Illinois a spouse; whether they derive from statute, administrative rule, common law,
or any other source of civil or criminal law. A marriage between persons of the same sex, a civil union, or a
substantially similar legal relationship other than common law marriage, legally entered into in another
jurisdiction, shall be legally recognized in Illinois as a civil union.


CAUTION: FEDERAL LAW RIGHTS MAY OR MAY NOT BE AVAILABLE:
Illinois law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to
health insurance that are available to married persons under federal law may not be available to parties to a civil
union. For example, the Employee Retirement Income Security Act of 1974, a federal law known as "ERISA"
controls the employer /employee relationship with regard to determining eligibility for enrollment in private
employer health benefit plans. Because of ERISA, Act 91 does not state requirements pertaining to a private
employer’s enrollment of a party to a civil union in an ERISA employee welfare benefit plan. However,
governmental employers (not federal government) are required to provide health benefits to the dependents of
a party to a civil union if the public employer provides health benefits to the dependents of married persons.
Federal law also controls group health insurance continuation rights under "COBRA" for employers with 20 or
more employees as well as the Internal Revenue Code treatment of health insurance premiums. As a result,
parties to a civil union and their families may or may not have access to certain benefits under this policy,
contract, certificate, rider or endorsement that derive from federal law. You are advised to seek expert advice
to determine your rights.




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    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS
           AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

                         DISCLOSURE OF PREMIUM
                    (RELATING TO DISPOSITION OF TRIA)
                                                           SCHEDULE*


(1) Premium attributable to risk of loss from certified acts of terrorism through the end of the policy period based on the
extension of the Terrorism Risk Insurance Act of 2002, as amended by the Terrorism Risk Insurance Extension Act of 2005,
(“TRIA”) for lines subject to TRIA and the Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA):
 General Liability
                                                               $1,661.00
 Property Portfolio Protection
                                                               $2,195.00


If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by any
change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.
(2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:

    No change unless one of the following is completed -

     Return Premium: N/A

     Additional Premium: N/A

If we notify you of an additional premium charge, the additional premium will be due as specified in such notice.
*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure of Premium                                                     the Act is scheduled to terminate at the end of
                                                                             December 31, 2014 unless extended by the federal
   In accordance with the TRIA, we are required to                           government.
   provide you with a notice disclosing the portion of
   your premium, if any, attributable to the risk of loss                 C. Possibility of Additional or Return Premium
   from terrorist acts certified under that Act for lines                       The premium attributable to the risk of loss from
   subject to TRIA. That portion of your premium                                certified acts of terrorism coverage is calculated
   attributable is shown in the Schedule of this                                based on the coverage (if any) in effect at the
   endorsement or in the Declarations.                                          beginning of your policy for certified acts of
B. Disclosure of Federal Participation in Payment of                            terrorism. If your policy contains a Conditional
   Terrorism Losses                                                             Endorsement, the termination of TRIA or extension
                                                                                of the federal program with certain modifications (as
   The United States Government, Department of the                              explained in that endorsement) may modify the
   Treasury, will pay a share of terrorism losses insured                       extent of coverage (if any) your policy provides for
   under the federal program. The federal share equals                          terrorism. If TRIA terminates or the Conditional
   85% of that portion of the amount of such insured                            Endorsement becomes applicable to your policy, the
   losses that exceeds the applicable insurer retention.                        return premium (if any) or additional premium (if
   The Act currently provides for no insurance industry                         any) shown in (2) of the Schedule will apply. If the
   or United States government participation in                                 level or terms of federal participation change, the
   terrorism losses that exceed $100 billion in any one                         premium shown in (1) of the Schedule attributable to
   calendar year. The federal program established by                            that part of the policy period extending beyond such a
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  change may not be appropriate and we will notify
  you of any changes in your premium.




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                                                                        Policy Number
                                                                        CPO 5912284-03
                                                SCHEDULE OF LOCATIONS

                               Zurich American Insurance Company

 Named Insured       OMNICELL INC                                        Effective Date: 09-01-15
                                                                                 12:01 A.M., Standard Time
 Agent Name         MARSH RISK & INSURANCE SERVICES                      Agent No.     70074-000
Loc. Bldg.                     Designated Locations
                                                                                     Occupancy
No. No.                    (Address, City, State, Zip Code)
001     001   590 E MIDDLEFIELD RD
              MOUNTAIN VIEW, CA 94043


002     001   3661 BURWOOD DR
              WAUKEGAN, IL 60085


003     001   443 DONELSON PIKE #200
              NASHVILLE, TN 37214


004     001   2003 GANDY BLVD
              ST PETERSBURG, FL 33702


005     001   21540 DRAKE RD
              STRONGSVILLE, OH 44149


006     001   5501 A AIRPORT BLVD
              TAMPA, FL 33634


007     001   725 SYCAMORE
              MILPITAS, CA 95035


008     001   3661 BURR
              WAUKEGAN, IL 60085


010     001   1200 STRIKER AVE
              SACRAMENTO, CA 95834


011     001   5501 A AIRPORT BLVD
              TAMPA, FL 33634




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                                      COMMON POLICY CONDITIONS

All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                                  b.   Give you reports on the conditions we find;
    1.   The first Named Insured shown in the Declara-                                and
         tions may cancel this policy by mailing or de-                          c. Recommend changes.
         livering to us advance written notice of cancel-                   2.   We are not obligated to make any inspections,
         lation.                                                                 surveys, reports or recommendations and any
    2.   We may cancel this policy by mailing or deliv-                          such actions we do undertake relate only to in-
         ering to the first Named Insured written notice                         surability and the premiums to be charged. We
         of cancellation at least:                                               do not make safety inspections. We do not un-
         a. 10 days before the effective date of cancel-                         dertake to perform the duty of any person or
              lation if we cancel for nonpayment of pre-                         organization to provide for the health or safety
              mium; or                                                           of workers or the public. And we do not war-
                                                                                 rant that conditions:
         b.   30 days before the effective date of cancel-
              lation if we cancel for any other reason.                          a.   Are safe or healthful; or
    3.We will mail or deliver our notice to the first                            b.   Comply with laws, regulations, codes or
                                                                                      standards.
      Named Insured’s last mailing address known to
      us.                                                                   3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                          only to us, but also to any rating, advisory, rate
      date of cancellation. The policy period will end                        service or similar organization which makes in-
      on that date.                                                           surance inspections, surveys, reports or recom-
                                                                               mendations.
   5. If this policy is cancelled, we will send the first
      Named Insured any premium refund due. If we                          4. Paragraph 2. of this condition does not apply to
      cancel, the refund will be pro rata. If the first                        any inspections, surveys, reports or recommen-
      Named Insured cancels, the refund may be less                            dations we may make relative to certification,
      than pro rata. The cancellation will be effective                        under state or municipal statutes, ordinances or
      even if we have not made or offered a refund.                            regulations, of boilers, pressure vessels or ele-
                                                                              vators.
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                          E. Premiums
B. Changes                                                                 The first Named Insured shown in the Declarations:
   This policy contains all the agreements between                         1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded. The                           and
   first Named Insured shown in the Declarations is                         2. Will be the payee for any return premiums we
   authorized to make changes in the terms of this                             pay.
   policy with our consent. This policy’s terms can be                 F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued by                        Policy
   us and made a part of this policy.
                                                                          Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                                  transferred without our written consent except in
   We may examine and audit your books and records                        the case of death of an individual named insured.
   as they relate to this policy at any time during the                   If you die, your rights and duties will be transferred
   policy period and up to three years afterward.                         to your legal representative but only while acting
D. Inspections And Surveys                                                within the scope of duties as your legal representa-
   1. We have the right to:                                               tive. Until your legal representative is appointed,
                                                                          anyone having proper temporary custody of your
        a. Make inspections and surveys at any time;                      property will have your rights and duties but only
                                                                          with respect to that property.




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                                                                                                      IL 00 21 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                    (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                                C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazardous
      or "property damage":                                        properties" of "nuclear material", if:

     (1) With respect to which an "insured" under                  (1) The "nuclear material" (a) is at any "nuclear
          the policy is also an insured under a nu-                    facility" owned by, or operated by or on be-
          clear energy liability policy issued by Nu-                  half of, an "insured" or (b) has been dis-
          clear Energy Liability Insurance Association,                charged or dispersed therefrom;
          Mutual Atomic Energy Liability Underwrit-                (2) The "nuclear material" is contained in "spent
          ers, Nuclear Insurance Association of Can-                   fuel" or "waste" at any time possessed, han-
          ada or any of their successors, or would be                  dled, used, processed, stored, transported
          an insured under any such policy but for its                 or disposed of, by or on behalf of an "in-
          termination upon exhaustion of its limit of li-              sured"; or
          ability; or                                              (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                     arises out of the furnishing by an "insured"
          of "nuclear material" and with respect to                    of services, materials, parts or equipment in
          which (a) any person or organization is re-                  connection with the planning, construction,
          quired to maintain financial protection pur-                 maintenance, operation or use of any "nu-
          suant to the Atomic Energy Act of 1954, or                   clear facility", but if such facility is located
          any law amendatory thereof, or (b) the "in-                  within the United States of America, its terri-
          sured" is, or had this policy not been issued                tories or possessions or Canada, this ex-
          would be, entitled to indemnity from the                     clusion (3) applies only to "property dam-
          United States of America, or any agency                      age" to such "nuclear facility" and any
          thereof, under any agreement entered into                    property thereat.
          by the United States of America, or any            2. As used in this endorsement:
          agency thereof, with any person or organi-
          zation.                                               "Hazardous properties" includes radioactive, toxic
                                                                or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-             "Nuclear material" means "source material", "special
      jury" resulting from the "hazardous properties"           nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.



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                                                                                       EXHIBIT D PAGE 13
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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or                   equipment or device is located consists of
   exposed to radiation in a "nuclear reactor".                      or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
                                                                 (d) Any structure, basin, excavation, premises
   tion of uranium or thorium from any ore processed
                                                                     or place prepared or used for the storage or
   primarily for its "source material" content, and (b)
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the forego-
   the first two paragraphs of the definition of "nu-         ing is located, all operations conducted on such
   clear facility".                                           site and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                              or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used            mass of fissionable material.
           for (1) separating the isotopes of uranium
           or plutonium, (2) processing or utilizing          "Property damage" includes all forms of radioactive
           "spent fuel", or (3) handling, processing or       contamination of property.
           packaging "waste";




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                                                                                   EXHIBIT D PAGE 14
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                                                                                                  IL 02 70 09 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 CALIFORNIA CHANGES --- CANCELLATION
                          AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART


A. Paragraphs 2. and 3. of the      Cancellation               3. All Policies In Effect For More Than 60 Days
   Common Policy Condition are replaced by the
                                                                  a. If this policy has been in effect for more
   following:                                                         than 60 days, or is a renewal of a policy we
   2. All Policies In Effect For 60 Days Or Less                      issued, we may cancel this policy only upon
      If this policy has been in effect for 60 days or                the occurrence, after the effective date of
      less, and is not a renewal of a policy we have                  the policy, of one or more of the following:
      previously issued, we may cancel this policy by                (1) Nonpayment of premium, including
      mailing or delivering to the first Named Insured,                   payment due on a prior policy we issued
      at the mailing address shown in the policy, and                     and due during the current policy term
      to the producer of record, advance written                          covering the same risks.
      notice of cancellation, stating the reason for                 (2) Discovery      of   fraud    or material
      cancellation, at least:                                             misrepresentation by:
       a. 10 days before the effective date of                           (a) Any insured or his or her
           cancellation if we cancel for:                                    representative in obtaining this
          (1) Nonpayment of premium; or                                      insurance; or
          (2) Discovery of fraud by:                                     (b) You or your representative in
                                                                             pursuing a claim under this policy.
            (a) Any insured or his or her
                representative in obtaining this                     (3) A judgment by a court or an
                insurance; or                                            administrative tribunal that you have
            (b) You or your representative in                            violated a California or Federal law,
                pursuing a claim under this policy.                      having as one of its necessary elements
                                                                         an act which materially increases any of
      b. 30 days before the effective date of                            the risks insured against.
         cancellation if we cancel for any other
         reason.




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                                                                                    EXHIBIT D PAGE 15
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         (4) Discovery of willful or grossly negligent        B. The following provision is added to the
              acts or omissions, or of any violations of         Cancellation Common Policy Condition:
              state laws or regulations establishing             7. Residential Property
              safety standards, by you or your
              representative, which           materially            This provision applies to coverage on real
              increase      any of the risks insured                property which is used predominantly for
              against.                                              residential purposes and consisting of not
                                                                    more than four dwelling units, and to coverage
         (5) Failure by you or your representative to               on tenants’ household personal property in a
              implement reasonable loss control                     residential unit, if such coverage is written
              requirements, agreed to by you as a                   under one of the following:
              condition of policy issuance, or which
              were conditions precedent to our use of                Commercial Property Coverage Part
              a particular rate or rating plan, if that              Farm Coverage Part ---- Farm Property ---- Farm
              failure materially increases any of the                Dwellings,     Appurtenant     Structures   And
              risks insured against.                                 Household Personal Property Coverage Form
         (6) A determination by the Commissioner of                  a. If such coverage has been in effect for 60
              Insurance that the:                                        days or less, and is not a renewal of
                                                                         coverage we previously issued, we may
             (a) Loss of, or changes in, our
                                                                         cancel this coverage for any reason, except
                  reinsurance covering all or part of
                                                                         as provided in b. and c. below.
                  the risk would threaten our financial
                  integrity or solvency; or                          b. We may not cancel this policy solely
                                                                         because the first Named Insured has:
              (b) Continuation of the policy coverage
                   would:                                               (1) Accepted an offer of earthquake
                                                                            coverage; or
                   (i) Place us in violation of California
                       law or the laws of the state where               (2) Cancelled or did not renew a policy
                       we are domiciled; or                                 issued by the California Earthquake
                                                                            Authority (CEA) that included an
                  (ii) Threaten our solvency.
                                                                            earthquake policy premium surcharge.
         (7) A change by you or your representative
                                                                         However, we shall cancel this policy if the
             in the activities or property of the
                                                                         first Named Insured has accepted a new or
             commercial or industrial enterprise,
                                                                         renewal policy issued by the CEA that
             which results in a materially added,
                                                                         includes an earthquake policy premium
             increased or changed risk, unless the
                                                                         surcharge but fails to pay the earthquake
             added, increased or changed risk is
                                                                         policy premium surcharge authorized by the
             included in the policy.
                                                                         CEA.
      b. We will mail or deliver advance written
                                                                     c. We may not cancel such coverage solely
          notice of cancellation, stating the reason for
                                                                         because corrosive soil conditions exist on
          cancellation, to the first Named Insured, at
                                                                         the premises. This restriction (c.) applies
          the mailing address shown in the policy,
                                                                         only if coverage is subject to one of the
          and to the producer of record, at least:
                                                                         following, which exclude loss or damage
         (1) 10 days before the effective date of                        caused by or resulting from corrosive soil
             cancellation         if    we cancel for                    conditions:
             nonpayment of premium or discovery of
                                                                        (1) Commercial Property Coverage Part ----
              fraud; or                                                      Causes Of Loss --- Special Form; or
         (2) 30 days before the effective date of                       (2) Farm Coverage Part ---- Causes Of Loss
             cancellation if we cancel for any other                         Form ---- Farm Property, Paragraph D.
             reason listed in Paragraph 3.a.                                 Covered Causes Of Loss ---- Special.




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                                                                                      EXHIBIT D PAGE 16
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C. The following is added and supersedes any                          (2) The Commissioner of Insurance finds
   provisions to the contrary:                                            that the exposure to potential losses will
   Nonrenewal                                                             threaten our solvency or place us in a
                                                                          hazardous condition. A hazardous
   1. Subject to the provisions of Paragraphs C.2.                        condition includes, but is not limited to,
      and C.3. below, if we elect not to renew this                       a condition in which we make claims
      policy, we will mail or deliver written notice,                     payments for losses resulting from an
      stating the reason for nonrenewal, to the first                     earthquake that occurred within the
      Named Insured shown in the Declarations, and                        preceding two years and that required a
      to the producer of record, at least 60 days, but                    reduction in policyholder surplus of at
      not more than 120 days, before the expiration                       least 25% for payment of those claims;
      or anniversary date.
                                                                          or
      We will mail or deliver our notice to the first
      Named Insured, and to the producer of record,                   (3) We have:
      at the mailing address shown in the policy.                         (a) Lost or experienced a substantial
   2. Residential Property                                                    reduction in the availability or scope
                                                                              of reinsurance coverage; or
      This provision applies to coverage on real
      property used predominantly for residential                        (b) Experienced a substantial increase
      purposes and consisting of not more than four                           in the premium charged for
      dwelling units, and to coverage on tenants’                             reinsurance     coverage      of   our
      household property contained in a residential                           residential    property      insurance
      unit, if such coverage is written under one of                          policies; and
      the following:                                                       the Commissioner has approved a plan
      Commercial Property Coverage Part                                    for the nonrenewals that is fair and
      Farm Coverage Part ---- Farm Property ---- Farm                      equitable, and that is responsive to the
      Dwellings,     Appurtenant    Structures    And                      changes in our reinsurance position.
      Household Personal Property Coverage Form                    c. We will not refuse to renew such coverage
      a. We may elect not to renew such coverage                       solely because the first Named Insured has
          for any reason, except as provided in b., c.                 cancelled or did not renew a policy, issued
          and d. below.                                                by the California Earthquake Authority, that
      b. We will not refuse to renew such coverage                     included an earthquake policy premium
          solely because the first Named Insured has                   surcharge.
          accepted an offer of earthquake coverage.                d. We will not refuse to renew such coverage
          However, the following applies only to                       solely because corrosive soil conditions
          insurers who are associate participating                     exist on the premises. This restriction (d.)
          insurers as established by Cal. Ins. Code                    applies only if coverage is subject to one of
          Section 10089.16. We may elect not to                        the following, which exclude loss
          renew such coverage after the first Named                     or damage caused by or resulting from
                                                                       corrosive soil conditions:
          Insured has accepted an offer of
          earthquake coverage, if one or more of the                  (1) Commercial Property Coverage Part ----
          following reasons applies:                                       Causes Of Loss --- Special Form; or
         (1) The nonrenewal is based on sound                         (2) Farm Coverage Part ---- Causes Of Loss
              underwriting principles that relate to the                   Form ---- Farm Property, Paragraph D.
              coverages provided by this policy and                        Covered Causes Of Loss ---- Special.
              that are consistent with the approved             3. We are not required to send notice of
              rating plan and related documents filed              nonrenewal in the following situations:
              with the Department of Insurance as                  a. If the transfer or renewal of a policy, without
              required by existing law;                                any changes in terms, conditions or rates,
                                                                       is between us and a member of our
                                                                       insurance group.




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                                                                                     EXHIBIT D PAGE 17
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      b. If the policy has been extended for 90 days             e. If the first Named Insured requests a
         or less, provided that notice has been given               change in the terms or conditions or risks
         in accordance with Paragraph C.1.                          covered by the policy within 60 days of the
      c. If you have obtained replacement coverage,                 end of the policy period.
         or if the first Named Insured has agreed, in            f. If we have made a written offer to the first
         writing, within 60 days of the termination of              Named Insured, in accordance with the
         the policy, to obtain that coverage.                       timeframes shown in Paragraph C.1., to
      d. If the policy is for a period of no more than              renew the policy under changed terms or
         60 days and you are notified at the time of                conditions or at an increased premium rate,
         issuance that it will not be renewed.                      when the increase exceeds 25%.




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                                                                                  EXHIBIT D PAGE 18
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                                                                                                     IL 02 77 03 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 LOUISIANA CHANGES --- CANCELLATION
                         AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   STANDARD PROPERTY POLICY


A. Paragraph 2. of the Cancellation Common Policy                 b. Cancellation Of Renewal Policies And New
   Condition is replaced by the following, which                     Policies In Effect For 60 Days Or More
   applies unless Paragraph B. of this endorsement                    If this policy has been in effect for 60 days
   applies:                                                           or more, or is a renewal of a policy we
   2. Notice Of Cancellation                                          issued, we may cancel only for one or more
      a. Cancellation Of Policies In Effect For Fewer                 of the following reasons:
          Than 60 Days Which Are Not Renewals                        (1) Nonpayment of premium;
          If this policy has been in effect for fewer                (2) Fraud or material misrepresentation
          than 60 days and is not a renewal of a                          made by you or with your knowledge
          policy we issued, we may cancel this policy                     with the intent to deceive in obtaining
          for any reason, subject to the following:                       the policy, continuing the policy, or in
         (1) Cancellation     for   nonpayment       of                   presenting a claim under the policy;
             premium:                                                (3) Activities or omissions by you which
             We may cancel this policy by mailing or                      change or increase any hazard insured
             delivering to the first Named Insured                        against;
             written notice of cancellation at least 10              (4) Change in the risk which increases the
             days before the effective date of                            risk of loss after we issued or renewed
             cancellation.                                                this policy, including an increase in
         (2) Cancellation for any other reason:                           exposure due to regulation, legislation,
                                                                          or court decision;
             We may cancel this policy by mailing or
             delivering to the first Named Insured                   (5) Determination by the Commissioner of
             written notice of cancellation at least 60                   Insurance that the continuation of this
             days before the effective date of                            policy would jeopardize our solvency or
             cancellation.                                                would place us in violation of the
                                                                          insurance laws of this or any other state;




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                                                                                   EXHIBIT D PAGE 19
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         (6) The insured s violation or breach of any               b. If the first Named Insured cancels, the
              policy terms or conditions; or                            refund will not be less than 90% of the pro
         (7) Any other reasons that are approved by                     rata unearned premium, rounded to the
              the Commissioner of Insurance.                            next higher whole dollar. The refund will be
                                                                        returned within 30 days after the effective
              We will mail or deliver written notice of                 date of cancellation.
              cancellation under Paragraph A.2.b. to
              the first Named Insured at least:                      c. We will send the refund to the first Named
                                                                        Insured unless Paragraph C.5.d. or C.5.e.
             (a) 10 days before the effective date of                   applies.
                  cancellation if we cancel for
                  nonpayment of premium; or                         d. If we cancel based on Paragraph B.2. of
                                                                        this endorsement, we will return the
            (b) 30 days before the effective date of                    premium due, if any, within 10 days after the
                  cancellation if we cancel for a reason                expiration of the 10-day period referred to in
                  described in Paragraphs A.2.b.(2)                     B.2.c. If the policy was financed by a
                  through (7) above.                                    premium finance company, or if payment
B. Paragraph 2. of the Cancellation Common Policy                       was advanced by the insurance agent, we
   Condition is replaced by the following, which                        will send the return premium directly to
   applies with respect to premium payments due on                      such payor.
   new and renewal policies, including installment                  e. With respect to any cancellation of the
   payments:                                                            Commercial Auto Coverage Part, we will
   2. Notice Of Cancellation                                            send the return premium, if any, to the
                                                                        premium finance company if the premium
      a. If your premium payment check or other
                                                                        was financed by such company.
         negotiable instrument is returned to us or
         our agent or a premium finance company                      f. When return premium payment is sent to
         because it is uncollectible for any reason,                    the premium finance company or the agent
         we may cancel the policy subject to                            of the insured, we will provide notice to
         Paragraphs B.2.b. and B.2.c.                                   you, at the time of cancellation, that a return
                                                                        of unearned premium may be generated by
      b. We may cancel the policy effective from the
                                                                        the cancellation.
         date the premium payment was due, by
         sending you written notice by certified mail,       D. With respect to the Equipment Breakdown
         or by delivering such notice to you within             Coverage Part, Paragraph 5. of the Cancellation
         10 days of the date that we receive notice of          Common Policy Condition is replaced by the
         the    returned    check     or   negotiable           following:
         instrument.                                            5. Premium Refund
       c. The cancellation notice will also advise you              If this policy is cancelled, we will return any
           that the policy will be reinstated effective             premium refund due, subject to Paragraphs
           from the date the premium payment was                    D.5.a., D.5.b., D.5.c., D.5.d. and D.5.e. The
           due, if you present to us a cashier s check              cancellation will be effective even if we have not
           or money order for the full amount of the                made or offered a refund.
           returned check or other negotiable
           instrument within 10 days of the date that                a. If we cancel, the refund will be pro rata.
           the cancellation notice was mailed.                      b. If the first Named Insured cancels, the
C. With respect to the Coverage Parts and Policies to                   refund will not be less than 75% of the pro
   which this endorsement applies, except the                           rata unearned premium, rounded to the
   Equipment Breakdown Coverage Part, Paragraph                         next higher whole dollar. The refund will be
   5. of the Cancellation Common Policy Condition is                    returned within 30 days after the effective
   replaced by the following:                                           date of cancellation.
   5. Premium Refund                                                 c. We will send the refund to the first Named
                                                                        Insured unless Paragraph D.5.d. applies.
       If this policy is cancelled, we will return any
       premium refund due, subject to Paragraphs
       C.5.a., C.5.b., C.5.c., C.5.d., C.5.e. and C.5.f.
       The cancellation will be effective even if we
       have not made or offered a refund.
       a. If we cancel, the refund will be pro rata.



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      d. If we cancel based on Paragraph B.2. of                       If we cancel a policy that has been in effect
          this endorsement, we will return the                         for 60 days or more, or is a renewal of a
          premium due, if any, within 10 days after the                policy we issued, we will give written notice
          expiration of the 10-day period referred to in               to the mortgageholder, pledgee or other
          B.2.c. If the policy was financed by a                       known person shown in the policy to have
          premium finance company, or if payment                       an insurable interest in any loss, at least:
          was advanced by the insurance agent, we                     (1) 10 days before the effective date of
          will send the return premium directly to                         cancellation,     if  we     cancel      for
          such payor.                                                      nonpayment of premium; or
       e. When return premium payment is sent to                      (2) 30 days before the effective date of
          the premium finance company or the agent                         cancellation, if we cancel for any other
          of the insured, we will provide notice to                        reason.
          you, at the time of cancellation, that a return
          of unearned premium may be generated by           G. The following is added and supersedes any other
          the cancellation.                                    provision to the contrary:
E. The Premiums Common Policy Condition is                     Nonrenewal
   replaced by the following:                                  1. If we decide not to renew this policy, we will
   Premiums                                                       mail or deliver written notice of nonrenewal to
                                                                  the first Named Insured, mortgageholder,
   1. The first Named Insured shown in the                        pledgee or other known person shown in the
      Declarations is responsible for the payment of              policy to have an insurable interest in any loss,
      all premiums.                                               at least 60 days before its expiration date, or its
   2. We will pay return premiums, if any, to the first           anniversary date if it is a policy written for a
      Named Insured, unless another person or                     term of more than one year or with no fixed
      entity is entitled to be the payee in accordance            expiration date.
      with Paragraph C. or D. of this endorsement.             2. We need not mail or deliver this notice if:
F. Paragraph f. of the Mortgageholders Condition in               a. We or another company within our
   the Commercial Property Coverage Part, Standard                     insurance group have offered to issue a
   Property Policy and the Capital Assets Program                      renewal policy; or
   (Output Policy) Coverage Part, and Paragraph 4.f.
   of the Mortgageholders Condition in the Farm                   b. You have obtained replacement coverage or
   Coverage Part are replaced by the following:                        have agreed         in writing to obtain
                                                                       replacement coverage.
           If we cancel a policy that has been in effect
           for fewer than 60 days and is not a renewal         3. Any notice of nonrenewal will be mailed or
           of a policy we issued, we will give written            delivered to the first Named Insured,
           notice to the mortgageholder, pledgee or               mortgageholder, pledgee or other known
           other known person shown in the policy to              person shown in the policy to have an
           have an insurable interest in any loss, at             insurable interest in any loss, at the last mailing
           least:                                                 address known to us. If notice is mailed, proof
                                                                  of mailing will be sufficient proof of notice.
          (1) 10 days before the effective date of
               cancellation,    if   we    cancel    for       4. Such notice to the insured shall include the
               nonpayment of premium; or                          insured s loss run information for the period
                                                                  the policy has been in force within, but not to
          (2) 60 days before the effective date of                exceed, the last three years of coverage.
               cancellation, if we cancel for any other
               reason.




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                                                                                     EXHIBIT D PAGE 21
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                                                                                 IL 00 03 09 08

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CALCULATION OF PREMIUM
This endorsement modifies insurance provided under the following:

   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART


The following is added:
The premium shown in the Declarations was com-
puted based on rates in effect at the time the policy
was issued. On each renewal, continuation, or anni-
versary of the effective date of this policy, we will
compute the premium in accordance with our rates
and rules then in effect.




IL 00 03 09 08                              ISO Properties, Inc., 2007              Page 1 of 1




                                                                         EXHIBIT D PAGE 22
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SANCTIONS EXCLUSION
ENDORSEMENT




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate any applicable trade or economic sanctions law or regulation.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                            U-GU-1191-A CW (03/15)
                                                                                                         Page 1 of 1




                                                                                     EXHIBIT D PAGE 23
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Important Notice to Policyholders



The address for the headquarters of Zurich North America will change after August 1, 2016 due to a relocation of our
office in the same city. The new address is:




                                                Customer Inquiry Center
                                                Zurich North America
                                                1299 Zurich Way
                                                Schaumburg, IL 60196
                                                1-800-382-2150

For specific questions regarding your policy, please contact your agent or broker. For other questions, you may contact
the Customer Inquiry Center of Zurich North America. Any references to post office boxes previously provided remain
unchanged.




                                                                                                    U-GU-1194-A CW (08/15)
                                                                                                                Page 1 of 1




                                                                                          EXHIBIT D PAGE 24
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Insured Name:
Policy Number:
Effective Date:




            THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                              SCHEDULE*

Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
General Liability                                          $1,661.00
Property Portfolio Protection                              $2,195.00



*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January1, 2015 – December 31, 2015 federal share: 85%
    January1, 2016 – December 31, 2016 federal share: 84%
    January1, 2017 – December 31, 2017 federal share: 83%
    January1, 2018 – December 31, 2018 federal share: 82%
    January1, 2019 – December 31, 2019 federal share: 81%
    January1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
    of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.




                                                                                                                     U-GU-630-D CW (01/15)
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                                                                                                            EXHIBIT D PAGE 25
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E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is
      subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject
   to TRIA, do not exceed $5,000,000.




                                                                                                                    U-GU-630-D CW (01/15)
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                                                                                                           EXHIBIT D PAGE 26
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                                                                                  INSTALLMENT PREMIUM SCHEDULE
The total premium shown in the Declarations of this policy is made payable in installments, on the dates and in the
amounts shown below.

         Premium                    Service Charge                    Total Due                     Date Due

 $       125,250.00                                         $       125,344.62                    09/01/15
 $        83,626.00                                         $        83,626.00                    12/01/15
 $        83,626.00                                         $        83,626.00                    03/01/16
 $        83,626.00                                         $        83,626.00                    06/01/16




Failure to pay the Installment Premium by the Date Due shown shall constitute non-payment of premium for which we
may cancel this policy.                                                                             U-GU-315-A (01/ 93)
                                                                                                                  Page 1
                                                                                                                Last page


                                                                                      EXHIBIT D PAGE 27
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                                                           Policy Number
                                                           CPO 5912284-03
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC                                            Effective Date: 09-01-15
                                                                          12:01 A.M., Standard Time
Agent Name      MARSH RISK & INSURANCE SERVICES                         Agent No.   70074-000
COMMON POLICY FORMS AND ENDORSEMENTS
U-GU-D-365-A                03-94     POLICY COMMON DECLARATIONS
U-GU-319-F                  01-09     IMPORTANT NOTICE - IN WITNESS CLAUSE
U-GU-692-C CW               06-13     DISCL OF PREM. RELATING TO DISP. OF TRIA
U-GU-618-A CW               10-02     SCHEDULE OF LOCATIONS
IL 00 17                    11-98     COMMON POLICY CONDITIONS
IL 00 21                    09-08     NUCLEAR ENERGY LIABILITY EXCLUSION ENDT
IL 02 70                    09-12     CA CHANGES - CANCELLATION & NONRENEWAL
IL 02 77                    03-12     LOUISIANA CHANGES-CANC & NONRENL
IL 00 03                    09-08     CALCULATION OF PREMIUM
U-GU-1191-A CW              03-15     SANCTIONS EXCLUSION ENDORSEMENT
U-GU-630-D CW               01-15     DISCLOSURE OF INFO RELATING TO TRIA
U-GU-315-A                  01-93     SCHEDULE OF INSTALLMENTS
U-GU-619-A CW               10-02     SCHEDULE OF FORMS AND ENDORSEMENTS
U-GU-621-A CW               10-02     SCHEDULE OF NAMED INSURED(S)
IL 01 12                    06-10     FL CHGS-MEDIATION/APPRL (CMML RES PROP)
PROPERTY PORTFOLIO PROTECTION FORMS AND ENDORSEMENTS
PPP-0001                    06-06     COMMERCIAL PROP CVG PART DECLARATIONS
PPP-0226                    06-06     WIND & HAIL -- DD & TE DEDUCTIBLE
PPP-0302                    03-14     DEP PREM BI CVG -- UNSCHEDULED LOCS
PPP-0308                    06-06     ENABLING ENDORSEMENT
PPP-1091                    04-13     FLORIDA CHANGES
PPP-0101                    03-14     COMMERCIAL PROP CVG PART GEN PROVISIONS
PPP-0102                    03-14     COMMERCIAL PROPERTY CONDITIONS
PPP-0103                    03-14     COMMERCIAL PROPERTY DEFINITIONS
PPP-0110                    03-14     REAL AND PERSONAL PROPERTY COVERAGE FORM
PPP-0111                    03-14     ADDITIONAL COVERAGES FORM
PPP-0112                    03-14     ACCOUNTS RECEIVABLE CVG (REVENUE LOSS)
PPP-0114                    03-14     FINE ARTS COVERAGE FORM
PPP-0115                    03-14     INSTALLATION & SERVICE PROPERTY CVG FORM
PPP-0116                    03-14     ORIGINAL INFORMATION PROPERTY CVG FORM
PPP-0117                    03-14     TRANSIT COVERAGE FORM
PPP-0131                    03-14     BUS INCCVG FORM INCL RESEARCH & DEVEL.
PPP-0132                    03-14     EXTRA EXPENSE COVERAGE FORM
PPP-0301                    03-14     DED PREM BI COVG--SCHED LIMITS & LOCS
PPP-0310                    03-14     FLOOD COVERAGE
PPP-0321                    03-14     OFF-PREM SERVICE INTERRUPTION--TE
PPP-1041                    03-11     CALIFORNIA CHANGES
CP 02 99                    06-07     CANCELLATION CHANGES
GENERAL LIABILITY FORMS AND ENDORSEMENTS
CG 21 47                    12-07     EMPLOYMENT-RELATED PRACTICES EXCLUSION
UGL1171ACW                  07-03     FUNGI OR BACTERIA EXCLUSION
U-GL-1369-B CW              04-13     GL SUPPLEMENTAL COVERAGE ENDT TECHNOLOGY
U-GL-1370-B CW              04-13     GL SUPPLEMENTAL COV ENDT TECH QUICK REF
U-GL-1517-B CW              04-13     RECORD OR DISTRB OF MATRL OR INFO EXCL
U-GL-849-B CW               08-04     EMPLOYEE BENEFITS LIABILITY-CLAIMS MADE
U-GL-D-1115-B CW            09-04     COMMERCIAL GL COVERAGE PART DECLARATIONS
U-GL-D-849-B CW             09-04     EMPLOYEE BENEFITS LIAB DEC - CLAIMS MADE
CG 00 01                    04-13     COMMERCIAL GENERAL LIABILITY COV FORM
U-GL-1175-F CW              04-13     ADDL INSD-AUTO-OWNERS LESSEES CONTRACTR
   U-GU-619-A CW (10/ 02)




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                                                           Policy Number
                                                           CPO 5912284-03
                               SCHEDULE OF FORMS AND ENDORSEMENTS

                            Zurich American Insurance Company

Named Insured   OMNICELL INC                                            Effective Date: 09-01-15
                                                                          12:01 A.M., Standard Time
Agent Name MARSH RISK & INSURANCE SERVICES                    Agent No. 70074-000
U-GL-1178ACW          07-03    ASBESTOS EXCLUSION ENDORSEMENT
U-GL-872-B CW         04-09    PREMIUM & REPORTS AGREEMENT-COMP RATED
CG 32 34              01-05    CALIFORNIA CHANGES
UGL850ACW             07-96    DEDUCTIBLE ENDORSEMENT CLAIMS-MADE
CG 20 10              04-13    ADDL INSD - OWNERS/LESSEES/CONTRACTORS
CG 21 06              05-14    EXCL-ACC/DISCL OF CONFI OR PERSONAL INFO
CG 22 75              04-13    PROF LIAB EXCL-COMPUTER SOFTWARE
AUTOMOBILE FORMS AND ENDORSEMENTS
CA 02 67                    11-12     FL CHANGES - CANCELLATION AND NONRENEWAL
U-CA-531-B                  02-08     NOTICE REGARDING TERRORISM PREMIUM
U-CA-D-600-C                04-14     BUSINESS AUTO DECLARATIONS
CA 00 01                    10-13     BUSINESS AUTO COVERAGE FORM
CA 01 22                    10-13     KANSAS CHANGES
CA 01 43                    10-13     CALIFORNIA CHANGES
CA 21 54                    10-13     CA UM COVERAGE - BODILY INJURY
CA 21 72                    10-09     FL UNINSURED MOTORISTS COV - NON STACKED
CA 04 24                    10-13     CA - AUTO MEDICAL PAYMENTS COVERAGE
U-CA-424-F CW               04-14     COVERAGE EXTENSION ENDORSEMENT
CA 99 03                    03-06     AUTO MEDICAL PAYMENTS COVERAGE
CA 20 48                    10-13     DESIGNATED INSURED




   U-GU-619-A CW (10/ 02)




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              NOTIFICATION OF IMPORTANT CHANGES
           RELATING TO TERRORISM RISK INSURANCE ACT
To Our Valued Customers:
The Terrorism Risk Insurance Program Reauthorization Act of 2007 ("TRIPRA 2007") had been scheduled to expire on
December 31, 2014. Congress enacted a six year extension of TRIA entitled, Terrorism Risk Insurance Program
Reauthorization Act of 2015(“TRIPRA 2015”), which will expire on December 31, 2020. For purposes of simplicity we will
simply reference the act as TRIA. There are several important changes to TRIA included within the extension of which you
should be aware:
A.   Change in Definition of "Act of Terrorism"
     Prior to the enactment of the extension legislation, TRIA had required that an “act of terrorism” meant any act that is
     certified by the Secretary of the Treasury in concurrence with the Secretary of State. However, this has been
     changed in that certification by the Secretary of the Treasury shall be in consultation with the Secretary of Homeland
     Security and the United States Attorney General.
B. Reduction in the Federal Share of Terrorism Losses by Increasing the Insurer Co-Pay from 15% to 20% Over
   Five Years
     The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
     share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
     amount during the same period. The schedule below illustrates the decrease in the federal share:
     January1, 2015 – December 31, 2015 federal share: 85%
     January1, 2016 – December 31, 2016 federal share: 84%
     January1, 2017 – December 31, 2017 federal share: 83%
     January1, 2018 – December 31, 2018 federal share: 82%
     January1, 2019 – December 31, 2019 federal share: 81%
     January1, 2020 – December 31, 2020 federal share: 80%
C. The Current Program Trigger for Aggregate Industry Insured Losses Will Increase from $100 Million to $200
   Million Over Five Years
     The extension of TRIA increases the Program trigger from $100 million to $200 million over a five year period. This
     means that the Program trigger will increase by $20 million with respect to any such insured losses occurring in
     calendar year 2016 and continue to increase by $20 million until calendar year 2020. At the end of this five year
     period the Program trigger will be $200 million.
D. Increases in the Recoupment of the Federal Share of Insured Losses
     The extension of TRIA increases the amount used to calculate marketplace aggregate retention from $27.5 billion to
     $37.5 billion in $2 billion increments beginning in the calendar year 2015 and reaching $37.5 billion in calendar year
     2019. Beginning in calendar year 2020 the TRIA extension revises the mandatory recoupment amount to be the
     amount equal to the annual average of the sum of insurer deductibles for all insurers participating in the Program for
     the prior three calendar years, with such amount to be determined annually by the Secretary of the Treasury. Under
     the TRIA extension, the recoupment of mandatory recoupment amounts has increased from 133% to 140%.




                                                                                                                     U-GU-766-B CW (01/15)
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                                                                Policy Number
                                                                CPO 5912284-03
                                 SCHEDULE OF NAMED INSURED(S)

              ZURICH AMERICAN INSURANCE COMPANY

 Named Insured    OMNICELL INC                                  Effective Date:      09-01-15
                                                                         12:01 A.M., Standard Time
 Agent Name       MARSH RISK & INSURANCE SERVICES               Agent No.        70074-000
                                 NAMED INSURED
OMNICELL INC
OMNICELL HEALTHCARE CANADA
OMNICELL EUROPE, SARL
SURE MED
OMNICELL.COM
OMNICELL TECHNOLOGIES, INC.
MEDISAFE
APRS, INC.
BCX TECHNOLOGY
OMNICELL CORPORATION (INDIA) PVT LTD
OMNICELL INC - SPAIN
RIOUX VISION, INC.
PANDORA DATA SYSTEMS
OMNICELL INTERNATIONAL, INC., DUBAI - UAE
MTS PACKAGING INC
MEDPAK HOLDINGS INC
MTS PACKAGING SYSTEMS, INC.
MTS MEDICATION TECHNOLOGIES INC
MTS MEDICATION TECHNOLOGIES LTD.
MTS PACKAGING SYSTEMS, INC.
MTS MEDICATION TECHNOLOGIES GMBH
OMNICELL INTERNATIONAL, INC., HONG KONG BRANCH
OMNICELL INTERNATIONAL, INC., AUSTRALIA BRANCH
OMNICELL TECHNOLOGY (BEIJING) CO., LTD.
OMNICELL INTERNATIONAL, INC.




U-GU-621-A CW (10/ 02)




                                                                    EXHIBIT D PAGE 31
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                                                                                                        IL 01 12 06 10

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       FLORIDA CHANGES --- MEDIATION OR APPRAISAL
          (COMMERCIAL RESIDENTIAL PROPERTY)
This endorsement modifies insurance provided under the following:

   BUILDERS RISK COVERAGE FORM (COMMERCIAL PROPERTY COVERAGE PART)
   BUILDING AND PERSONAL PROPERTY COVERAGE FORM
   CAPITAL ASSETS PROGRAM (OUTPUT POLICY) COVERAGE PART
   CONDOMINIUM ASSOCIATION COVERAGE FORM
   CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
   MORTGAGEHOLDERS ERRORS AND OMISSIONS COVERAGE FORM
   STANDARD PROPERTY POLICY

With respect to a loss to commercial residential               2. We fail to appear at a mediation conference
property, the following replaces the Appraisal                     without good cause, we will pay your actual
Condition:                                                         cash expenses you incur in attending the
Mediation Or Appraisal                                             mediation conference and also pay the total
                                                                   cost of the rescheduled mediation conference.
If we and you:
                                                            B. Disagree on the value of the property or the
A. Are engaged in a dispute regarding a claim, either          amount of loss, either may request an appraisal of
   may request a mediation of the loss in accordance           the loss, in writing. In this event, each party will
   with the rules established by the Florida                   select a competent and impartial appraiser. The
   Department of Financial Services. The loss amount           two appraisers will select an umpire. If they cannot
   must be $500 or more, prior to application of the           agree, either may request that selection be made
   deductible; or there must be a difference of $500           by a judge of a court having jurisdiction. The
   or more between the loss settlement amount we               appraisers will state separately the value of the
   offer and the loss settlement amount that you               property and amount of loss. If they fail to agree,
   request. The settlement in the course of mediation          they will submit their differences to the umpire. A
   is binding only if both parties agree, in writing, on       decision agreed to by any two will be binding.
   a settlement, and you have not rescinded the                Each party will:
   settlement within three business days after
   reaching settlement. You may not rescind the                1. Pay its chosen appraiser; and
   settlement after cashing or depositing the                  2. Bear the other expenses of the appraisal and
   settlement check or draft we provided to you.                   umpire equally.
   We will pay the cost of conducting the mediation            If there is an appraisal, we will still retain our right
   conference. However, if:                                    to deny the claim.
   1. You fail to appear at the mediation conference           However, you are not required to submit to, or
       and you wish to schedule a new conference               participate in, any appraisal of the loss as a
       after failing to appear, then the new conference        precondition to action against us for failure to pay
       will be scheduled only upon your payment of a           the loss, if we:
       sum equal to the fees we paid for the mediation         1. Requested mediation and either party rejected
       conference at which you failed to appear. This              the mediation result; or
       sum will then be applied to the cost of the
       rescheduled mediation conference, and we will            2. Failed to notify you of your right to participate
       pay the balance, if any, of the cost of                     in the mediation program.
       conducting       the    rescheduled    mediation
       conference; or




IL 01 12 06 10                           Insurance Services Office, Inc., 2009                            Page 1 of 1




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Important Notice to Florida Policyholders



In the event you need to contact someone about this policy, for any reason, please contact your agent.
If you have additional questions, you may contact the Zurich U.S. office at the following address and
telephone number:

                                              Customer Inquiry Center
                                              Zurich North America
                                              1400 American Lane
                                              Schaumburg, IL 60196
                                              800-382-2150


If you have been unable to contact or obtain satisfaction from your agent or company, you may contact the Florida Office
of Insurance Regulation at:

                                              Office of Insurance Regulation
                                              200 East Gaines Street
                                              Tallahassee, Florida 32399
                                              850-413-3140


ATTACH THIS NOTICE TO YOUR POLICY:
This notice is for information only and does not become a part or condition of the attached document.




                                                                                                          U-GU-395-D (07/ 09)
                                                                                                                 Page 1 of 1




                                                                                        EXHIBIT D PAGE 33
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2015    To:  9/1/2016
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         1                     PREMISES ADDRESS
                                         590 E MIDDLEFIELD RD
                                         MOUNTAIN VIEW, CA 94043


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

FLOOD                                    $          1,000,000

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

FLOOD                                    $           100,000




PPP-0001 (06 06)                                                                             1

                                                                         EXHIBIT D PAGE 34
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2015    To:  9/1/2016
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         2                    PREMISES ADDRESS
                                        3661 BURWOOD DR
                                        WAUKEGAN, IL 60085


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




PPP-0001 (06 06)                                                                            2

                                                                        EXHIBIT D PAGE 35
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2015    To:  9/1/2016
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         3                    PREMISES ADDRESS
                                        443 DONELSON PIKE #200
                                        NASHVILLE, TN 37214


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




PPP-0001 (06 06)                                                                            3

                                                                        EXHIBIT D PAGE 36
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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                               POLICY PERIOD:
OMNICELL INC                                 From:    9/1/2015    To:  9/1/2016
                                             12:01 A.M. STANDARD TIME AT YOUR MAILING
                                             ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         4                     PREMISES ADDRESS
                                         2003 GANDY BLVD
                                         ST PETERSBURG, FL 33702


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME AND EXTRA EXPENSE        INCLUDED IN BLANKET LIMIT OF INSURANCE

OFF-PREMISES SERVICE                     $          1,000,000
 INTERRUPTION--BUSINESS INCOME AND EXTRA
 EXPENSE


DEDUCTIBLE                               AMOUNT

WIND AND HAIL--DIRECT DAMAGE AND TIME    $           950,000
 ELEMENT




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                           POLICY PERIOD:
OMNICELL INC                             From:    9/1/2015    To:  9/1/2016
                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                         ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         5                    PREMISES ADDRESS
                                        21540 DRAKE RD
                                        STRONGSVILLE, OH 44149


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                           POLICY PERIOD:
OMNICELL INC                             From:    9/1/2015    To:  9/1/2016
                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                         ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         6                    PREMISES ADDRESS
                                        5501 A AIRPORT BLVD
                                        TAMPA, FL 33634


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2015    To:  9/1/2016
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         7                    PREMISES ADDRESS
                                        725 SYCAMORE
                                        MILPITAS, CA 95035


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

FLOOD                                   $          1,000,000


DEDUCTIBLE                              AMOUNT

FLOOD                                   $           100,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                              POLICY PERIOD:
OMNICELL INC                                From:    9/1/2015    To:  9/1/2016
                                            12:01 A.M. STANDARD TIME AT YOUR MAILING
                                            ADDRESS

POLICY NUMBER:         CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         8                    PREMISES ADDRESS
                                        3661 BURR
                                        WAUKEGAN, IL 60085


COVERAGE                                LIMIT OF INSURANCE

PERSONAL PROPERTY                       INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                         NOT COVERED

ACCOUNTS RECEIVABLE (REVENUE LOSS)      $           250,000

OFF-PREMISES SERVICE                    $           100,000
 INTERRUPTION--DIRECT DAMAGE

ORIGINAL INFORMATION PROPERTY           $           250,000

POLLUTANT CLEAN UP AND REMOVAL--LAND    $            25,000
 AND WATER


DEDUCTIBLE                              AMOUNT

PROPERTY                                $             5,000




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                            POLICY PERIOD:
OMNICELL INC                              From:    9/1/2015    To:  9/1/2016
                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                          ADDRESS

POLICY NUMBER:          CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         10                    PREMISES ADDRESS
                                         1200 STRIKER AVE
                                         SACRAMENTO, CA 95834


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                            POLICY PERIOD:
OMNICELL INC                              From:    9/1/2015    To:  9/1/2016
                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                          ADDRESS

POLICY NUMBER:          CPO 5912284-03

SUMMARY OF PREMISES

PREMISES #         11                    PREMISES ADDRESS
                                         5501 A AIRPORT BLVD
                                         TAMPA, FL 33634


COVERAGE                                 LIMIT OF INSURANCE

PERSONAL PROPERTY                        INCLUDED IN BLANKET LIMIT OF INSURANCE

BUSINESS INCOME                          NOT COVERED




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2015    To:  9/1/2016
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:                CPO 5912284-03

BLANKET LIMITS OF INSURANCE



PERSONAL PROPERTY BLANKET LIMIT OF INSURANCE                                                $     86,052,810

The above Limit of Insurance is the most we will pay for direct physical loss or damage in
any one occurrence for all "personal property" at "premises" for which the Limit of
Insurance is shown as Included in Blanket Limit of Insurance. If "personal property"
coverage does not apply at any specific "premises", the Limit of Insurance will show as
Not Covered for those "premises". If a more specific Limit of Insurance is shown for
"personal property" at a "premises", that Limit of Insurance replaces, and is not in addition
to, the Blanket Limit of Insurance.

BUSINESS INCOME AND EXTRA EXPENSE BLANKET LIMIT OF INSURANCE                                $     26,500,000

The above Limit of Insurance is the most we will pay for in any one occurrence for all loss
of "business income" and "extra expense" at "premises" for which the Limit of Insurance
is shown as Included in Blanket Limit of Insurance. If "business income" or "extra
expense" coverage does not apply at any specific "premises", the Limit of Insurance will
show as Not Covered for those "premises". If a more specific Limit of Insurance is shown
for "business income" or "extra expense" at a "premises", that Limit of Insurance
replaces, and is not in addition to, the Blanket Limit of Insurance.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2015    To:  9/1/2016
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-03

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

CIVIL AUTHORITY
 BUSINESS INCOME                                                     30 DAYS
 EXTRA EXPENSE                                                       30 DAYS

CONSEQUENTIAL LOSS--NET LEASEHOLD                      $         25,000 PER PREMISES
 INTEREST

CONSEQUENTIAL LOSS--TENANT'S                           $       250,000 PER PREMISES
 IMPROVEMENTS AND BETTERMENTS

CONSEQUENTIAL LOSS--UNDAMAGED STOCK                    $       250,000 PER PREMISES

CONTAMINATION BY A REFRIGERANT                         $         25,000 PER PREMISES

CONTRACTUAL PENALTIES--BUSINESS INCOME $                         25,000 PER OCCURRENCE

DEBRIS REMOVAL--COVERED PROPERTY                                          COVERED

DEBRIS REMOVAL--SUPPLEMENTAL LIMIT                     $       500,000 PER OCCURRENCE

DEBRIS REMOVAL--UNCOVERED PROPERTY                     $          2,500 PER OCCURRENCE

DEFERRED PAYMENTS                                      $         50,000 PER OCCURRENCE

DELAYED NET INCOME                                                        INCLUDED

DEPENDENT BUSINESS INCOME--UNSCHEDULED$                      2,000,000 PER OCCURRENCE
 LOCATIONS




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2015    To:  9/1/2016
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-03

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

ELECTRONIC VANDALISM
  BUSINESS INCOME                                      $        25,000 ANNUAL AGGREGATE
  DIRECT DAMAGE                                        $       100,000 ANNUAL AGGREGATE

EXPEDITING EXPENSE                                     $         25,000 PER PREMISES

EXPENSE TO REDUCE LOSS--BUSINESS INCOME                                   COVERED

EXTENDED PERIOD OF INDEMNITY--BUSINESS                                    UNLIMITED
 INCOME

EXTRA EXPENSE                                          $         25,000 PER PREMISES

FAIRS OR EXHIBITIONS
  BUSINESS INCOME                                      $         10,000 PER OCCURRENCE
  PERSONAL PROPERTY                                    $         25,000 PER OCCURRENCE

FIRE DEPARTMENT SERVICE CHARGE                         $       250,000 PER PREMISES

FIRE PROTECTIVE EQUIPMENT REFILLS                                         COVERED

FOOD AND DRUG ADMINISTRATION (FDA)                                        INCLUDED
 RECERTIFICATION--BUSINESS INCOME

INFLATION GUARD
  PERSONAL PROPERTY                                                    4 % ANNUAL

INGRESS/EGRESS
  BUSINESS INCOME                                                    30 DAYS
  EXTRA EXPENSE                                                      30 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2015    To:  9/1/2016
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-03

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

LOCK AND KEY REPLACEMENT                               $         25,000 PER PREMISES

MICROORGANISMS                                         $         50,000 ANNUAL AGGREGATE

MICROORGANISMS--BUSINESS INCOME                        $         25,000 ANNUAL AGGREGATE

NEWLY ACQUIRED PREMISES
 REAL PROPERTY                                         $    2,000,000 FOR 180 DAYS
 PERSONAL PROPERTY                                     $    1,000,000 FOR 180 DAYS
 BUSINESS INCOME                                       $      250,000 FOR 180 DAYS
 EXTRA EXPENSE                                         $       25,000 FOR 180 DAYS
                                                       THE ABOVE LIMITS APPLY SEPARATELY TO EACH
                                                       NEWLY ACQUIRED PREMISES

NEWLY ACQUIRED PROPERTY
 REAL PROPERTY                                         $       250,000 PER PREMISES FOR 180 DAYS
 PERSONAL PROPERTY                                     $       250,000 PER PREMISES FOR 180 DAYS

OFF-PREMISES SERVICE INTERRUPTION--DIRECT$                   1,000,000 PER PREMISES
 DAMAGE

OUTDOOR TREES, SHRUBS, PLANTS, OR LAWNS$                       250,000 PER PREMISES
                                       $                         5,000 PER TREE, SHRUB, PLANT, OR
                                                                       LAWN


POLLUTANT CLEAN UP AND REMOVAL--LAND AND$                        50,000 ANNUAL AGGREGATE PER
 WATER                                                                  PREMISES

PRESERVATION OF PROPERTY                                            180 DAYS



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                             POLICY PERIOD:
OMNICELL INC                                               From:    9/1/2015    To:  9/1/2016
                                                           12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                           ADDRESS

POLICY NUMBER:                CPO 5912284-03

ADDITIONAL COVERAGES--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If
any Additional Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not
Covered for those "premises".If a specific coverage is shown at a "premises" as ‘Included in Blanket Limit of
Insurance’, then that Blanket Limit of Insurance replaces, and is not in addition to, the Limits of Insurance shown
below for that coverage.

COVERAGE                                               LIMIT OF INSURANCE

PROFESSIONAL FEES                                      $         25,000 PER OCCURRENCE

REPORTED UNSCHEDULED PREMISES
 REAL PROPERTY                                                            NOT COVERED
 PERSONAL PROPERTY                                                        NOT COVERED
 BUSINESS INCOME                                                          NOT COVERED
 EXTRA EXPENSE                                                            NOT COVERED

REWARD PAYMENTS                                        $         25,000 PER OCCURRENCE

SALESPERSONS SAMPLES                                   $         25,000 PER OCCURRENCE

SPOILAGE--EQUIPMENT BREAKDOWN                          $       100,000 PER PREMISES

THEFT DAMAGE TO BUILDINGS                                                 COVERED

UNREPORTED PREMISES
 REAL PROPERTY                                         $       100,000    PER UNREPORTED PREMISES
 PERSONAL PROPERTY                                     $       500,000    PER UNREPORTED PREMISES
 EXTRA EXPENSE                                         $       250,000    PER UNREPORTED PREMISES
 BUSINESS INCOME                                       $       250,000    PER UNREPORTED PREMISES




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                         POLICY PERIOD:
OMNICELL INC                                           From:    9/1/2015    To:  9/1/2016
                                                       12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                       ADDRESS

POLICY NUMBER:              CPO 5912284-03

MARINE COVERAGE--LIMITS OF INSURANCE

Limits of Insurance applicable at a "premises" that differ from those indicated below will be shown under the
Summary of Premises section of this Declarations for that "premises". Those Limits of Insurance replace, and
are not in addition to, the Limits of Insurance shown below for those specified coverages and "premises". If any
Marine Coverages do not apply at any specific "premises", the Limit of Insurance will show as Not Covered for
those "premises".

COVERAGE                                              LIMIT OF INSURANCE

ACCOUNTS RECEIVABLE (REVENUE LOSS)                    $        500,000 PER PREMISES
ACCOUNTS RECEIVABLE (REVENUE                          $        500,000 PER OCCURRENCE
 LOSS)--AWAY FROM PREMISES

FINE ARTS                                             $         25,000 PER PREMISES
FINE ARTS--AWAY FROM PREMISES                         $         25,000 PER OCCURRENCE

INSTALLATION AND SERVICE PROPERTY
    STOCK TO BE INSTALLED                             $         50,000 PER OCCURRENCE--INSTALLATION
                                                                       PREMISES
                                                      $         50,000 PER OCCURRENCE--TEMPORARY
                                                                       STORAGE LOCATION
                                                      $         50,000 PER OCCURRENCE--TRANSIT
     TOOLS AND EQUIPMENT
       SCHEDULED EQUIPMENT                                             NOT COVERED
       UNSCHEDULED TOOLS & EQUIPMENT                $         1,000 PER ANY ONE ITEM
                                                    $        50,000 PER OCCURRENCE
        Unscheduled tools and equipment coverage is intended for items valued at or less than the limit per
         any one item shown above. An item valued at more than this limit must be specifically scheduled or
         no coverage applies to that item.

ORIGINAL INFORMATION PROPERTY                         $        500,000 PER PREMISES
ORIGINAL INFORMATION PROPERTY--AWAY                   $        500,000 PER OCCURRENCE
 FROM PREMISES

TRANSIT
   PERSONAL PROPERTY                                  $         25,000 PER OCCURRENCE
   BUSINESS INCOME                                    $         10,000 PER OCCURRENCE



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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                            POLICY PERIOD:
OMNICELL INC                                              From:    9/1/2015    To:  9/1/2016
                                                          12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                          ADDRESS

POLICY NUMBER:              CPO 5912284-03

DEDUCTIBLES

GENERAL DEDUCTIBLES

  PROPERTY DEDUCTIBLE                                 $            100,000 PER OCCURRENCE

  The above deductible applies to all loss, damage, cost, or expense covered by this Commercial Property
  Coverage Part, unless a specific coverage deductible is shown elsewhere on this Declarations or an
  endorsement.

  BUSINESS INCOME AND EXTRA EXPENSE                                      24 HOURS
    WAITING PERIOD

  The above waiting period applies to all loss or expense covered by Business Income and Extra Expense
  coverages contained in this Commercial Property Coverage Part, unless a specific coverage deductible
  is shown elsewhere on this Declarations or an endorsement.

  OFF PREMISES SERVICE                                                   24 HOURS
    INTERRUPTION--TIME ELEMENT WAITING
    PERIOD

  The above waiting period applies to all loss or expense covered by Off-Premises Service Interruption--Time
  Element coverage contained in this Commercial Property Coverage Part.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                           POLICY PERIOD:
OMNICELL INC                                             From:    9/1/2015    To:  9/1/2016
                                                         12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                         ADDRESS

POLICY NUMBER:               CPO 5912284-03

DEDUCTIBLES

CATASTROPHE PERIL DEDUCTIBLES

  FLOOD DEDUCTIBLES

  Loss or damage to Covered Property caused by"flood"is subject to separate deductible amounts. The
  deductibles applicable to"flood"are stated in the Summary of Premises section of this Declarations for
  that specific"premises". If the Flood coverage applies to loss or damage at"reported unscheduled
  premises", the deductible amounts for"reported unscheduled premises"are stated on the Catastrophe
  Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Flood Deductibles only apply to loss or damage that, but for the application of the Deductibles, would
  be paid by us under this Commercial Property Coverage Part.

  WIND AND HAIL DEDUCTIBLES

  Loss or damage to Covered Property caused by wind or hail is subject to separate deductible amounts.
  The deductibles applicable to wind and hail are stated in the Summary of Premises section of this
  Declarations for that specific"premises". If the Wind and Hail Deductibles apply to loss or damage
  at"reported unscheduled premises", the deductible amounts for"reported unscheduled premises"are
  stated on the Catastrophe Coverage--Limits of Insurance and Deductibles section of this Declarations.

  The Wind and Hail Deductibles only apply to loss or damage that, but for the application of the Deductibles,
  would be paid by us under this Commercial Property Coverage Part.

APPLICATION OF MULTIPLE DEDUCTIBLES

  Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we
  will apply each deductible separately, but the total of all deductible amounts applied will not exceed the
  highest applicable deductible for loss or damage to Covered Property and the highest applicable deductible
  for loss under"time element coverage". This provision does not apply to Covered Property and"time
  element coverage"for covered loss or damage due to"earth movement", "flood", "named storm",or
  to wind or hail when a separate Wind and Hail Deductible is applicable.




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Commercial Property Coverage Part Declarations
ZURICH AMERICAN INSURANCE COMPANY

NAMED INSURED:                                        POLICY PERIOD:
OMNICELL INC                                          From:    9/1/2015    To:  9/1/2016
                                                      12:01 A.M. STANDARD TIME AT YOUR MAILING
                                                      ADDRESS

POLICY NUMBER:              CPO 5912284-03

CATASTROPHE COVERAGE--LIMITS OF INSURANCE AND DEDUCTIBLES

Catastrophe Coverages shown below apply only at those "premises" that show an applicable Limit of Insurance for
that Catastrophe Coverage in the Summary of Premises section of this Declarations. If coverage applies at "reported
unscheduled premises", those Limits of Insurance and Deductibles are shown below.

CATASTROPHE COVERAGE                           LIMIT OF INSURANCE AND DEDUCTIBLES



FLOOD
 PREMISES                                      SEE SUMMARY OF PREMISES SECTION
 OCCURRENCE                                    $      1,000,000
 ANNUAL AGGREGATE                              $      1,000,000
 DEDUCTIBLE                                    SEE SUMMARY OF PREMISES SECTION

WIND AND HAIL--DIRECT DAMAGE AND TIME
 ELEMENT
  DEDUCTIBLE                          SEE SUMMARY OF PREMISES SECTION




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Wind and Hail--Direct Damage and
Time Element Deductible

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
    (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM


   The Wind and Hail--Direct Damage and Time Element Deductible only applies to loss or damage that, but for the
   application of the Deductible, would be paid by us under this Commercial Property Coverage Part.

   With respect to any "premises" at which a Wind and Hail--Direct Damage and Time Element Deductible is shown on
   the Declarations, the following is added to the Deductible section:

   With respect to all loss or damage caused directly or indirectly by wind or hail, regardless of whether any other
   cause or event, including a "mistake", "malfunction", or another weather condition, contributes concurrently or in any
   sequence to the loss, the following applies:

   We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the amount of
   covered loss, damage, cost, or expense exceeds the Wind and Hail--Direct Damage and Time Element Deductible
   shown on the Declarations for that "premises". We will then pay for the amount of covered loss, damage, cost, or
   expense in excess of the Deductible, up to the applicable Limits of Insurance.

   If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on the
   Declarations will apply separately and individually to the covered loss, damage, cost, or expense at each "premises".

   The Wind and Hail Deductibles apply to all covered loss, damage, cost, or expense covered by "time element
   coverage" when the loss, damage, cost, or expense is caused directly or indirectly by wind or hail even if no other
   deductible applies to the "time element coverage".




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Dependent Premises Business Income
Coverage--Unscheduled Locations
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

A. COVERAGE

   The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
   EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
   RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
   "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
   damage to property, including property in the open (or in a vehicle), at a "dependent premises". The loss or
   damage must be directly caused by a "covered cause of loss".

   The most we will pay in any one occurrence is the Limit of Insurance shown on the Declarations for Dependent
   Premises Business Income--Unscheduled Locations.

B. ADDITIONAL COVERAGES

   With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
   including property in the open (or in a vehicle), at a "dependent premises", the Civil Authority and Contractual
   Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
   and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the following:

   Civil Authority

   We will pay for the actual loss of "business income" you sustain for up to 30 days resulting from the necessary
   "suspension", or delay in the start, of your "operations" if the "suspension" or delay is caused by order of civil
   authority that prohibits access to a "dependent premises". That order must result from a civil authority’s response to
   direct physical loss of or damage to property located within one mile from the "dependent premises". The loss or
   damage must be directly caused by a "covered cause of loss".

   The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
   Dependent Premises Business Income--Unscheduled Locations.

   The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

   Contractual Penalties

   We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late or
   non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property at a
   "dependent premises". The loss or damage must be directly caused by a "covered cause of loss".
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   The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on the
   Declarations for Contractual Penalties.

C. OPTIONAL COVERAGE

   If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
   Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

   We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
   property, including property in the open (or in a vehicle), at a "dependent premises". The loss or damage must be
   directly caused by a "covered cause of loss". The most we will pay in any one occurrence is the Limit of Insurance
   shown on the Declarations for Dependent Premises Business Income--Unscheduled Locations. This Limit is included
   in, and not in addition to, any other applicable Limit of Insurance.

   If a Blanket Business Income and Extra Expense Limit of Insurance applies, the Civil Authority Additional Coverage in
   the EXTRA EXPENSE COVERAGE FORM applies to the actual and necessary "extra expense" you incur for up to
   30 days after an order of civil authority prohibits access to that "dependent premises". That order must result from
   a civil authority’s response to direct physical loss of or damage to property located within one mile from the
   "dependent premises". The loss or damage must be directly caused by a "covered cause of loss". The most we
   will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Dependent Premises
   Business Income--Unscheduled Locations. The Limit for this Additional Coverage is included in, and not in addition to,
   any other applicable Limit of Insurance.

D. LOSS DETERMINATION

   With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
   premises", the Resumption of Operations Loss Determination in the BUSINESS INCOME COVERAGE FORM
   (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
   DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY is replaced by the
   following:

   Resumption of Operations

   We will reduce the amount of "business income" loss payment to the extent you could resume your "operations",
   in whole or in part, by using:

   a. Sources of materials or services; or

   b. Outlets for your products or services,

   available to you.

E. DEFINITIONS

   With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
   "dependent premises", the "period of restoration" definition in the COMMERCIAL PROPERTY DEFINITIONS is
   replaced by the following:

   "Period of restoration" means the period of time that:

   a. Begins when the direct physical loss of or damage to property at a "dependent premises" occurs; and

   b. Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
      reasonable speed and similar quality.




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     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or
     in any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".

F.   Coverage provided by this endorsement does not apply at any location at which "business income" coverage is
     provided by any other Coverage Form included in this Commercial Property Coverage Part.




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Enabling Endorsement

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS
REAL AND PERSONAL PROPERTY COVERAGE FORM

The provisions of any forms or endorsements that make reference to the BUILDING AND PERSONAL PROPERTY
COVERAGE FORM or the CAUSES OF LOSS SPECIAL FORM are applicable to the COMMERCIAL PROPERTY
CONDITIONS and the REAL AND PERSONAL PROPERTY COVERAGE FORM.




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Florida Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

COMMERCIAL PROPERTY COVERAGE PART

The following provisions only apply with respect to "premises" and "reported unscheduled premises" in the
state of Florida:

A.   The following provision applies when the Additional Condition--Coinsurance endorsement is applicable:

     Florida Law states as follows:

     Coinsurance contract: The rate charged in this Commercial Property Coverage Part is based upon the use
      of the
     coinsurance clause attached to this Commercial Property Coverage Part, with the consent of the insured.

B.   If wind is a "covered cause of loss" and loss or damage to Covered Property is caused by or resulting from
     wind, the following is added to Section B., Excluded Causes of Loss, in the REAL AND PERSONAL
     PROPERTY COVERAGE FORM and applies in:

     1. Broward County;

     2. Dade County;

     3. Martin County;

     4. Monroe County;

     5. Palm Beach County; and

     6. All the areas east of the west bank of the Intra-Coastal Waterway in the Counties of:

         a. Indian River; and

         b. St. Lucie.

     Wind Exterior

     We will not pay for loss or damage caused by or resulting from wind to paint or waterproofing material
     applied to the exterior of buildings unless the building to which such loss or damage occurs also sustains
     other loss or damage by wind in the course of the same wind event. But such coverage applies only if wind
     is a "covered cause of loss".

     When loss or damage to exterior paint or waterproofing material is excluded, we will not include the value of
     paint or waterproofing material to determine:

     a. The amount of the Wind and Hail Deductible;

     b. The amount of Named Storm Deductible; or

     c. The value of Covered Property when applying the coinsurance percentage.


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C.     Paragraph 6. in the Loss Payment Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the
       following:

       6. If you have complied with all of the terms of this Commercial Property Coverage Part, we will pay for
          covered loss or damage upon the earliest of the following:

           a. Within 20 days after we receive the sworn proof of loss and reach written agreement with you;

           b. Within 30 days after we receive the sworn proof of loss; and

               1) There is an entry of a final judgment; or

               2) There is a filing of an appraisal award with us; or

           c. Within 90 days of receiving notice of claim, unless we deny the claim during that time or factors
              beyond our control reasonably prevent such payment. If a portion of the claim is denied, then the 90
              day time period for payment of claim relates to the portion of the claims that is not denied.

               This paragraph c. applies only to the following:

               1) A claim under the Commercial Property Coverage Part covering residential property;

               2) A claim for "real property" or "personal property" coverage if the insured structure is 10,000
                  square feet or less and the Commercial Property Coverage Part covers only "premises" or
                  "reported unscheduled premises" in Florida; or

               3) A claim for "personal property" coverage under a tenant's policy if the rented "premises" or
                  "reported unscheduled premises" are 10,000 square feet or less and the Commercial
                  Property Coverage Part covers only "premises" or "reported unscheduled premises" in
                  Florida.

D.     The following are added to the COMMERCIAL PROPERTY DEFINITIONS with respect to coverage
       provided by this endorsement:

       "Catastrophic ground cover collapse" means geological activity that results in all of the following:

       a. The abrupt collapse of the ground cover;

       b. A depression in the ground cover clearly visible to the naked eye;

       c. "Structural damage" to the building, including the foundation; and

       d. The insured structure being condemned and ordered to be vacated by the governmental agency
          authorized by law to issue such an order for that structure.

       "Catastrophic ground cover collapse" does not mean:

       a. Damage consisting of the mere settling or cracking of a foundation, structure, or building;

       b. "Sinkhole collapse"; or

       c. "Earth movement".

       "Structural damage" means a covered building, regardless of the date of its construction, has
       experienced the following:

       a. Interior floor displacement or deflection in excess of acceptable variances as defined in ACI 117-90 or the
          Florida Building Code, which results in settlement related damage to the interior such that the interior

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            building structure or members becomes unfit for service or represent a safety hazard as defined within the
            Florida Building code;

       b.   Foundation displacement or deflection in excess of acceptable variances as defined in ACI 318-95 or
            the Florida Building Code, which results in settlement related damage to the primary structural members
            or primary structural systems that prevents those members or systems from supporting the loads and
            forces they were designed to support to the extent that stresses in those primary structural members or
            primary structural systems exceed one and one-third the nominal strength allowed under the Florida
            Building Code for new buildings or similar structure, purpose, or "premises";

       c.   Damage that results in listing, leaning, or buckling of the exterior load bearing walls or other vertical
            primary structural members to such extent that a plumb line passing through the center of gravity does
            not fall inside the middle one-third of the base as defined within the Florida Building Code;

       d.   Damage that results in the building, or any portion of the building containing primary structural members
            or primary structural systems, being significantly likely to imminently collapse because of the movement
            or instability of the ground within the influence zone of the supporting ground within the sheer plane
            necessary for the purpose of supporting such building as defined within the Florida Building Code; or

       e.   Damage occurring on or after October 15, 2005, that qualifies as substantial structural damage as
            defined in the Florida Building Code.

E.     The definition of "earth movement" in the COMMERCIAL PROPERTY DEFINITIONS is replaced by the
       following with respect to coverage provided by this endorsement:

       "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost
       heaves), or subsidence other than "sinkhole collapse" and "catastrophic ground cover collapse".

       "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or
       tsunami.

F.     The following is added to the definition of "specified causes of loss":

       "Catastrophic ground cover collapse".




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Commercial Property Coverage Part
General Provisions

IMPORTANT INFORMATION ABOUT THIS COMMERCIAL PROPERTY COVERAGE PART. PLEASE READ IT
CAREFULLY.


Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties, and what
is and what is not covered.

DEFINITIONS AND MEANINGS

Throughout this Commercial Property Coverage Part, the words "you" and "your" refer to the Named Insured shown on
the Commercial Property Coverage Part Declarations. The words "we", "us", and "our" refer to the Company providing
this insurance coverage.

The word "occurrence" includes all losses or damages that are attributable directly or indirectly to one cause or a series
of similar causes. All such losses or damages will be treated as one occurrence. However, if occurrence is specifically
defined in a Coverage Form, that definition applies to the insurance provided by that Coverage Form and any
endorsements to that Coverage Form.

For purposes of this Commercial Property Coverage Part:

a.   Covered Property is the property that is insured for loss or damage under the applicable Coverage Forms or
     endorsements.

b.   Covered Income is the income that is insured for loss under the applicable Coverage Forms or endorsements.

Other words and phrases that appear in bold and in quotation marks, or in quotation marks only, have special meaning.
You will find these definitions in the Commercial Property Definitions, Coverage Forms, and in endorsements to the
Coverage Forms.

Words or phrases that are not defined are intended to have their ordinary or common meaning. Disputes concerning
the meaning of words or phrases will be resolved using the most recently published version of Webster’s Unabridged
Dictionary.

Unless otherwise stated, words that are used in the plural tense include the singular tense (and vice versa).

FORMS

In addition to these General Provisions, the Commercial Property Coverage Part contains the Common Policy
Conditions, Commercial Property Conditions, Commercial Property Definitions, and various Coverage Forms and
endorsements as shown on the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements. Some forms and endorsements may refer to other Coverage Forms, but you only have coverage under
a particular Coverage Form if it is shown on the Property Forms and Endorsements Section of the Schedule of Forms
and Endorsements. Similarly, even if the Property Forms and Endorsements Section of the Schedule of Forms and
Endorsements shows that you have a Coverage Form, you will not have coverage for each coverage and optional
coverage mentioned in that Coverage Form unless they are shown on the Commercial Property Coverage Part
Declarations.

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DEDUCTIBLES

If a deductible applies, it is described in the applicable Coverage Form or endorsement. The amount of the deductible
to be applied is shown on the Summary of Premises, Deductibles, or Catastrophe Coverage - Limits of Insurance and
Deductibles sections of the Commercial Property Coverage Part Declarations.

Unless otherwise stated in a Coverage Form or endorsement, if more than one deductible applies, we will apply each
deductible separately, but the total of all deductible amounts applied will not exceed the highest applicable deductible
for loss or damage to Covered Property and the highest applicable deductible for loss under "time element coverage".
However, this provision does not apply to Covered Property and "time element coverage" for covered loss or damage
due to "earth movement", "flood", or "named storm", or to wind or hail when a separate Wind Deductible or Wind
and Hail Deductible is applicable.

Loss or damage to Covered Property caused by "earth movement", "flood", "named storm", water damage, theft
and wind or hail may be subject to separate deductible amounts. The Summary of Premises section of the Commercial
Property Coverage Part Declarations identify the "premises" subject to the separate deductibles and the deductible
amounts. If the Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, or Wind and Hail
Deductibles apply to loss or damage at "reported unscheduled premises", to "contractor's equipment" away from
"premises", or to "installation property" away from "premises", the deductible amounts are stated on the
Catastrophe Coverage - Limits of Insurance and Deductibles section of the Commercial Property Coverage Part
Declarations.

The Earth Movement Deductibles, Flood Deductibles, Named Storm Deductibles, Wind Deductibles, and Wind and Hail
Deductibles only apply to loss or damage that, but for the application of the Deductibles, would be paid by us under this
Commercial Property Coverage Part.




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Commercial Property Conditions

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Commercial Property Conditions
This Commercial Property Coverage Part is subject to the following conditions as well as the Common Policy Conditions.

A.    ABANDONMENT

      There can be no abandonment of any property to us.

B.    APPRAISAL

      If we and you disagree on the value of the property or the amount of the loss, either may make written demand for an
      appraisal of the loss. In this event, each party will select a competent, disinterested, and impartial appraiser who has
      no direct or indirect financial interest in the claim. The two appraisers will select an umpire. If they cannot agree,
      either may request that selection of an umpire be made by a judge of a court having jurisdiction. The appraisers will
      state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
      accordance with the Valuation provisions of the applicable Coverage Form or, if not stated, the "actual cash value"
      and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to by
      any two will be binding. Each party will:

      1.    Pay its chosen appraiser; and

      2.    Bear the other expenses of the appraisal and umpire equally.

      If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
      conditions of the policy.

C.    CONCEALMENT, MISREPRESENTATION, OR FRAUD

      This policy is void in any case of fraud by you or any other insured as it relates to this Commercial Property Coverage
      Part at any time before or after a loss. It is also void as to you or any other insured, and we will not pay you or any
      other insured, if you or any other insured, at any time before or after a loss, intentionally conceal or misrepresent a
      material fact concerning:

      1.    The insurance provided by this policy;

      2.    The Covered Property;

      3.    Your interest in the Covered Property; or

      4.    A claim under the policy.

D.    CONFORMITY TO STATUTE

      Terms of this Commercial Property Coverage Part that are in conflict with the statutes of the state in which this policy
      is issued are hereby amended to conform to such statutes.

E.    CONTROL OF PROPERTY

      Breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions by any
      person, other than you, beyond your direction or control will not affect this insurance.

      The breach of any provision contained in the Commercial Property Conditions or Common Policy Conditions at any
      one or more locations will not affect coverage at any location where, at the time of loss or damage, there was no
      breach.

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F.   DUTIES IN THE EVENT OF LOSS OR DAMAGE

     1.     You must see that the following are done in the event of loss or damage to Covered Property:

            a.    Notify the police if a law may have been broken.

            b.    Give us prompt notice of the loss or damage, including a description of the property involved.

            c.    As soon as possible, give us a description of how, when, and where the loss or damage occurred.

            d.    Take all reasonable steps to protect the Covered Property from further damage, and keep a record of
                  your expenses necessary to protect the Covered Property, for consideration in the settlement of the claim.
                  This will not increase the Limit of Insurance. However, we will not pay for any subsequent loss or damage
                  resulting from a cause of loss that is not a "covered cause of loss". Also, if feasible, set the damaged
                  property aside and in the best possible order for examination.

            e.    At our request, give us complete inventories of the damaged and undamaged property.                                 Include
                  quantities, costs, values, and amount of loss claimed.

            f.    As often as may be reasonably required, permit us to inspect the property proving the loss or damage and
                  examine your books and records.

                  Also, permit us to take samples of damaged and undamaged property for inspection, testing, and
                  analysis, and permit us to make copies from your books and records.

            g.    Send us a signed, sworn proof of loss containing the information we request to investigate the claim. You
                  must do this within 60 days after our request. We will supply you with the necessary forms.

            h.    Cooperate with us in the investigation or settlement of the claim.

     2.     We may examine any insured under oath, while not in the presence of any other insured and at such times as
            may be reasonably required, about any matter relating to this insurance or the claim, including an insured's
            books and records. In the event of an examination, an insured's answers must be signed.

     3.     Failure of an agent or one of your employees, other than an officer, partner, manager, "member", director,
            trustee, proprietor, or risk management employee, to notify us of any loss or damage that they know about will
            not affect the insurance afforded you by this Commercial Property Coverage Part.

G.   INSURANCE UNDER TWO OR MORE COVERAGES

     If two or more of this policy's coverages apply to the same loss or damage, we will not pay more than the actual
     amount of the loss or damage.

H.   LEGAL ACTION AGAINST US

     No one may bring a legal action against us under this Commercial Property Coverage Part unless:

     1.     All of its terms have been fully complied with; and

     2.     The action is brought within 2 years after the date on which the loss or damage commenced.

I.   LIBERALIZATION

     If we adopt any revision that would broaden the coverage under this Commercial Property Coverage Part, without
     additional premium and within 45 days prior to or during the policy period, the broadened coverage will immediately
     apply to this Commercial Property Coverage Part.




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J.   LOSS PAYMENT

     The following apply unless otherwise provided in a Coverage Form in this Commercial Property Coverage Part:

     1.     In the event of loss or damage covered by this Commercial Property Coverage Part, at our option, we will
            either:

            a.    Pay the amount of the loss or damage;

            b.    Pay the cost of repairing or replacing the lost or damaged property;

            c.    Take all or any part of the property at an agreed or appraised value; or

            d.    Repair, rebuild, or replace the property with other property of like kind and quality.

            We will give notice of our intentions within 30 days after we receive the sworn proof of loss.

     2.     If we elect to exercise option 1.c. with respect to any branded or labeled "merchandise" or "finished stock",
            you may:

            a.   Stamp salvage on the "merchandise" or "finished stock", or its containers, if the stamp will not
                 physically damage the "merchandise" or "finished stock"; or

            b.   Remove the brands or labels, if doing so will not physically damage the "merchandise" or "finished
                 stock". You must relabel the "merchandise" or "finished stock", or its containers, to comply with the
                 law.

            We will assume the cost of stamping or removal and charge it to salvage expense.

     3.     We will not pay you more than your financial interest in the Covered Property.

     4.     This Commercial Property Coverage Part provides no rights or benefits to any other person or organization,
            unless otherwise provided. Any claim for loss that is covered under this Commercial Property Coverage Part
            must be presented by you. At our option, we may adjust the loss with the owners of lost or damaged property if
            other than you. If we pay the owners, such payment will satisfy your claims against us for the owners' property.
            We will not pay the owners more than their financial interest in the Covered Property.

     5.     We may elect to defend you against suits arising from claims of owners of Covered Property. We will do this at
            our expense.

     6.     We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if you have
            complied with all of the terms of this Commercial Property Coverage Part and:

            a.    We have reached agreement with you on the amount of the loss; or

            b.    An appraisal award has been made.

     7.     The first Named Insured shown on the Declarations will be the payee for any payment of claims that we may
            make with respect to this Commercial Property Coverage Part, subject to the Mortgageholders Condition below
            and any endorsements. However, our payment for loss or damage to "personal property of others" may be
            to the account of the owner of the property.




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K.   MORTGAGEHOLDERS

     1.     Mortgageholder includes trustee.

     2.     We will pay for covered loss of or damage to buildings or structures to each mortgageholder shown on the
            Declarations in their order of precedence, as interests may appear.

     3.     The mortgageholder has the right to receive loss payment even if the mortgageholder has started foreclosure or
            similar action on the building or structure.

     4.     If we deny your claim because of your acts or because you have failed to comply with the terms of this
            Commercial Property Coverage Part, the mortgageholder will still have the right to receive loss payment if the
            mortgageholder:

            a.    Pays the premium due under this Commercial Property Coverage Part at our request if you have failed to
                  do so;

            b.    Submits a signed, sworn proof of loss within 60 days after receiving notice from us of your failure to do so;
                  and

            c.    Has notified us of any change in ownership, occupancy, or substantial change in risk known to the
                  mortgageholder.

            All of the terms of this Commercial Property Coverage Part will then apply directly to the mortgageholder.

     5.     If we pay the mortgageholder for any loss or damage and deny payment to you because of your acts or because
            you have failed to comply with the terms of this Commercial Property Coverage Part:

            a.    The mortgageholder's rights under the mortgage will be transferred to us to the extent of the amount we
                  pay; and

            b.    The mortgageholder's right to recover the full amount of the mortgageholder's claim will not be impaired.

            At our option, we may pay to the mortgageholder the whole principal on the mortgage plus any accrued interest.
            In this event, your mortgage and note will be transferred to us and you will pay your remaining mortgage debt to
            us.

     6.     If we cancel the policy, we will give written notice to the mortgageholder at least:

            a.    10 days before the effective date of cancellation if we cancel for your nonpayment of premium; or

            b.    30 days before the effective date of cancellation if we cancel for any other reason.

     7.     If we elect not to renew the policy, we will give written notice to the mortgageholder at least 10 days before the
            expiration date of this policy.

L.   NO BENEFIT TO BAILEE

     No person or organization, other than you, having custody of Covered Property will benefit from this insurance.




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M.   OTHER INSURANCE

     1.     You may have other insurance subject to the same plan, terms, conditions, and provisions as the insurance
            under this Commercial Property Coverage Part. If you do, we will pay our share of the covered loss or damage.
            Our share is the proportion that the applicable Limit of Insurance under this Commercial Property Coverage Part
            bears to the sum of all the Limits of Insurance covering on the same basis.

     2.     If there is other insurance covering the same loss or damage, other than that described in 1. above, we will pay
            only the least of the following amounts:

            a.    Any Limit of Insurance applicable to the Covered Property that has sustained such loss or damage;

            b.    The amount of covered loss or damage in excess of the amount due from that other insurance, whether
                  you can collect on it or not, without application of any deductible amounts contained elsewhere in this
                  Commercial Property Coverage Part; or

            c.    The amount we would have paid had such other insurance not existed.

     3.     Paragraphs 1. and 2. above do not apply to other insurance that is purchased as insurance in excess of the
            Limit of Insurance under this Commercial Property Coverage Part.

N.   POLICY PERIOD, COVERAGE TERRITORY

     Under this Commercial Property Coverage Part:

     1.     We cover loss or damage which happens:

            a.    During the policy period shown on the Declarations; and

            b.    Within the coverage territory.

     2.     The coverage territory is:

            a.    The United States of America (including its territories and possessions); and

            b.    Puerto Rico.

     3.     When this Commercial Property Coverage Part provides coverage for property in transit:

            a.    The coverage territory is extended to Canada for property in transit as long as the origin or destination is
                  included in 2. above, except when property is being transported by a vessel.

            b.    The coverage territory is extended to everywhere else in the world for property while being transported by
                  an aircraft, as long as either the origin or destination is included in 2. above and neither the origin nor the
                  destination is in any country upon which the United States government has imposed sanctions,
                  embargoes or similar prohibitions.

     4.     If the property is in transit by a vessel that originated outside the coverage territory included in 2. above, then
            coverage commences when the property has been fully discharged from the vessel onto a point within the
            coverage territory.

     5.     If the property is in transit by a vessel with a destination outside the coverage territory included in 2. above, then
            coverage ends when the property has been loaded on board the vessel.




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O.   RECOVERED PROPERTY

     1.     If either you or we recover any property after loss settlement, that party must give the other prompt notice. At
            your option, you may do one of the following:

            a.    Keep the loss payment and transfer the recovered property to us; or

            b.    Keep the recovered property and return the loss payment to us. If you do this, we will pay for the recovery
                  expenses and the expense to repair the recovered property up to the applicable Limit of Insurance.

     2.     The amount of loss can be reduced by any salvage recovery through the sale of the damaged Covered
            Property.

            a.    If, following a loss, a recovery is made from the sale of damaged Covered Property and your claim has
                  not yet been paid, we will be entitled to this salvage recovery until we have recovered our salvaging fees
                  and expenses. The balance of the salvage recovery will be paid to you and the amount of your loss
                  settlement will be reduced by this balance.

            b.    If your claim has already been paid when a salvage recovery is made, we will be entitled to the salvage
                  proceeds until we have recovered the difference between the amount we paid you for your claim and the
                  amount we would have paid you had the salvage recovery been handled in accordance with a. above.
                  Any balance of the salvage recovery will then be promptly refunded to you.

P.   SUSPENDED EQUIPMENT

     We, or any of our representatives, have the right to declare property to be "suspended equipment" when the
     property is found to be in, or exposed to, a dangerous condition, provided we have:

     1.     Told you of the dangerous condition immediately upon discovering it and informed you of its designation as
            "suspended equipment"; and

     2.     Mailed or delivered a written notice of such condition and designation, within 24 hours of the discovery, which
            notice is mailed or delivered to:

            a.    Your last known address; or

            b.    The address where said object is located.

     Any designation of "suspended equipment" can only be rescinded, in writing, by endorsement to this Commercial
     Property Coverage Part.

     Any designation of "suspended equipment" will result in your receiving a pro rata refund of premium you paid for the
     coverage of that property under this Commercial Property Coverage Part. However, any designation of "suspended
     equipment" will be in effect if we have not yet made or offered the refund.

Q.   TRANSFER OF RIGHTS OF RECOVERY AGAINST OTHERS TO US

     If any person or organization to or for whom we make payment under this Commercial Property Coverage Part has
     rights to recover damages from another, those rights are transferred to us to the extent of our payment. That person
     or organization must do everything necessary to secure our rights and cooperate with our efforts to recover our
     payment and must do nothing after loss to impair our rights. But you may, without restricting your coverage, waive
     your rights against another party in writing:

     1.     Prior to a loss to your Covered Property or Covered Income.

     2.     After a loss to your Covered Property or Covered Income only if, at the time of loss, that party is one of the
            following:

            a.    Someone insured under this Commercial Property Coverage Part;
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       b.    A business firm owned or controlled by you;

       c.    A business firm, or an individual, that owns or controls you; or

       d.    Your tenant.

Any recovery as a result of subrogation proceedings arising out of a covered loss, net of fees (including legal fees)
and expenses we incur in such subrogation proceedings, will be shared with you in the following manner:

1.     We will add the amount of any deductible you incurred to the amount of any other provable uninsured loss you
       incurred. This is your interest.

2.     We will determine the proportion your interest bears to the entire provable loss (both insured and uninsured).
       This is your pro rata share.

3.     We will reimburse to you your pro rata share of the recovery after deduction, from the total recovery, of recovery
       expenses paid by us and after deduction of any legal fees paid by us. We will retain the balance. We will not
       owe you any amount for any legal fees or any expenses incurred by you in furtherance of any recovery unless
       those fees or expenses are approved by us in writing and in advance of your incurring those fees or expenses.




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Commercial Property Definitions
1. "Accounts receivable records" means accounting records you use to document the billing and collection of
   "money" due from your customers, regardless of what material it is inscribed, printed, written, or recorded upon.

2. "Actual cash value" means "replacement cost" reduced by each of the following:

   a.   Physical deterioration;

   b. Depreciation;

   c. Obsolescence;

   d. Depletion;

   e. Non-conformity to codes, regulations, or statutes; and

   f.   The cost to reconstruct or remodel undamaged portions of "real property".

   But in no event will "actual cash value" be higher than the "market value".

3. "Amount you actually spend" means:

   a. The total payments you make to an entity you do not own or operate at the time of loss or damage to repair
      the damaged "real property" or "personal property"; and

   b. For goods and services provided by entities you own or operate at the time of loss or damage to repair the
      damaged "real property" or "personal property":

        1) Direct payroll cost, excluding fixed payroll, for labor directly chargeable to the repair, rebuilding, or
           replacement of the damaged property;

        2) "Replacement cost" for your "merchandise" used in the repair, rebuilding, or replacement of the
           damaged property;

        3) Regular cash selling price, less any discounts and expenses you otherwise would have had, for your
           "finished stock" used in the repair, rebuilding, or replacement of the damaged property; and

        4) "Replacement cost" for your property other than "merchandise" or "finished stock" used in the repair,
           rebuilding, or replacement of the damaged property if replaced within 24 months, otherwise your original
           cost.

4. "Banking premises" means the interior of that portion of any building occupied by a banking institution or similar
   safe depository.

5. "Business income" means:

   a. "Net income"; plus

   b. "Continuing expenses".

6. "Cessation of work" means any period of time when your business activities have ceased.

   "Cessation of work" does not mean:

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   a. Any period of time during which your business activities would not normally have been conducted, such as
      weekends or holidays;

   b. Seasonal activity planned in advance;

   c. Schedule delays due to weather; or

   d. Labor actions beyond your control.

7. "Cloud facility" means a data center(s) owned and operated by others whom you depend on to provide
   "information technology services".

8. "Computer systems" means:

    a. Computer hardware, software, and electronic data;

    b. Input and output devices;

    c. Data storage devices;

    d. Networking equipment and components;

    e. Firmware; and

    f. Electronic backup facilities, including systems accessible through the internet, intranets, or virtual private
       networks.

9. "Contaminant" means any substance that creates an impurity when it mixes with or comes into contact with
   another substance.

10. "Continuing expenses" means:

   a. Your continuing normal operating expenses including, but not limited to:

       1) Payroll;

       2) Rental payments as tenants; and

       3) Factory overhead; and

   b. Charges, which are the legal obligations of your tenants and have not been satisfied, and which are now your
      obligation.

   "Continuing expenses" does not mean:

   a. "Extra expense";

   b. Expediting expense;

   c. "Research and development continuing expenses";

   d. Any charges or expenses that do not necessarily continue during the "period of restoration" or "extended
      period of indemnity"; or

   e. Bad debts.

11. "Contractor's employees' property" means tools and clothing owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).




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12. "Contractor's equipment" means:

    a. Equipment, tools, machinery, and other mechanical and electrical devices of a mobile nature used for
       contracting, installation, erection, repair, or moving operations or projects;

    b. Self-propelled vehicles designed and used primarily to carry mounted equipment;

    c. Vehicles designed for highway use that are unlicensed and not operated on public roads; and

    d. Watercraft, marine floats, or barges less than 26 feet long,

    owned by you or owned by others in your care, custody, or control.

    "Contractor's equipment" does not mean:

    a. Contraband or property in the course of illegal transportation or trade;

    b. Aircraft;

    c. Railroad cars;

    d. Temporary or permanent forms, shoring, scaffolding, or falsework;

    e. "Contractor's employees' property"; or

    f.   Recreational watercraft.

13. "Contributing locations" means locations owned and operated by others who:

    a. You depend on to deliver materials or services directly to you, or to others under your contract of sale; or

    b. Pay you royalties, licensing fees, or commissions under written agreements.

    "Contributing locations" does not mean:

    a. Locations owned and operated by others who you depend upon to provide only power, communications, or
       other utility services to you; or

    b. "Manufacturing locations".

14. "Covered cause of loss" means a fortuitous cause or event, not otherwise excluded, which actually occurs during
    this policy period.

    "Covered cause of loss" does not mean:

    a. A fortuitous cause or event, whether or not excluded, which actually occurred prior to this policy period,
       regardless of the date on which it first becomes manifest or is first discovered; or

    b. Damage.

15. "Defective materials" means materials which are broken, inadequate, improper, faulty, flawed, improperly
    specified, contaminated, unfit for the purpose intended, or which contain a latent defect.

16. "Denial of service" means the direction of a high volume of inquiries to web site or e-mail destinations, effectively
    denying or limiting legitimate access, whether or not known to you.

17. "Dependent premises" means the following types of locations:

    a. "Contributing locations";

    b. "Recipient locations";

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    c. "Manufacturing locations"; and

    d. "Leader locations".

    If the location is described by an address only, it includes the area associated with that address in which you or
    the occupant are legally entitled to conduct "operations" and includes that area extending 1,000 feet beyond that
    address.

    If the location is described by an address and further described by geographic boundaries, only the area within
    such boundaries, and within 1,000 feet thereof, is included.

    "Dependent premises" does not mean any of the above locations within any country in which the United States
    government or Canadian government have imposed sanctions, embargoes, or similar prohibitions.

18. "Duplicate information property" means recorded information in any format which can either be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including any
    material it is recorded upon.

    "Duplicate information property" does not mean:

    a. "Stock";

    b. "Fine arts";

    c. "Money";

    d. "Securities"; or

    e. "Electronic data processing hardware".

19. "Earth movement" means earthquake or other seismic activity, rising or shifting of earth (including frost heaves),
    or subsidence other than "sinkhole collapse".

    "Earth movement" does not mean landslide, avalanche, or volcanic eruption, explosion or effusion, or tsunami.

20. "Electronic data processing hardware" means:

    a. A network of electronic components capable of accepting information and processing it according to a plan
       and which exists primarily to generate information in tangible form or on electronic media, as well as air
       conditioning equipment and fire protection equipment used exclusively for data processing operations;

    b. Telephone equipment; and

    c. Facsimile equipment.

    "Electronic data processing hardware" does not mean computers, devices, or components which:

    a. Exist primarily to control or operate machinery or equipment or to produce "stock in process" or "finished
       stock"; or

    b. Are "stock".

21. "Electronic vandalism" means:

    a. Willful or malicious electronic alteration, manipulation, tampering, or destruction of "accounts receivable
       records",     "duplicate information property", "electronic data processing hardware", "original
       information property", or "research and development property";

    b. Introduction of a virus, code, or similar instruction that disrupts the normal operation of "electronic data
       processing hardware" and may destroy, alter, contaminate, or compromise the integrity, quality, or

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       performance of "accounts receivable records", "duplicate information property", "electronic data
       processing hardware", "original information property", or "research and development property";

   c. Unauthorized viewing, copying, or use of any electronic "accounts receivable records", "duplicate
      information property", "original information property", or "research and development property"; and

   d. "Denial of service".

22. "Equipment breakdown cause of loss" means any of the following:

   a. Artificially generated electrical current, including electrical arcing, that injures or disturbs electrical devices,
      wiring, or equipment;

   b. Explosion, rupture, or bursting of steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
      apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
      explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or within
      the flues or passages through which the products of combustion pass;

   c. Any condition or event inside steam boilers, steam pipes, steam engines, steam turbines, gas turbines, or
      apparatus attached to and forming a part thereof, when owned, operated, or controlled by you; except for
      explosion of accumulated gases or fuel within the furnace of any fired vessel, other than gas turbines, or within
      the flues or passages through which the gases of combustion pass;

   d. Any condition or event, other than an explosion, inside hot water boilers, other water heating equipment,
      engines other than steam engines, or pressure vessels when owned, operated, or controlled by you; and

   e. Mechanical or machinery breakdown, including rupture or bursting caused by centrifugal force, of property
      owned, operated, or controlled by you.

23. "Extended period of indemnity" means the period of time that begins on the date the "period of restoration"
    ends and ends on the earlier of:

   a. The date your gross sales, including rental income, are restored to the amount that would have existed if no
      direct physical loss or damage occurred; or

   b. The date calculated by adding the number of days shown on the Declarations for Extended Period of
      Indemnity--Business Income to the date the "period of restoration" ended.

   "Extended period of indemnity" does not mean "research and development extended period of indemnity".

24. "Extra expense" means operating expenses you incur during the "period of restoration" that would not have
    been necessary to incur if there had been no direct physical loss or damage to the property, provided such
    expenses are incurred:

   a. In an attempt to avoid a "suspension" of or to continue those "operations" which have been affected by the
      direct physical loss or damage to the property; or

   b. In an attempt to minimize the "period of restoration".

   "Extra expense" does not mean:

   a. Costs incurred to purchase "merchandise" as a replacement for your "finished stock";

   b. "Continuing expenses" or "research and development continuing expenses";

   c. Costs to repair, rebuild, or replace any property, or research or restore "original information property"; or

   d. Amounts incurred on financing or investment activity conducted for your own account.




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25. "Fine arts" means paintings, etchings, pictures, tapestries, and other bona fide works of art, rarity, historical value,
    or artistic merit such as rugs, statuary, marbles, bronzes, antiques, furniture, rare books, antique silver,
    manuscripts, porcelains, rare glass, and bric-a-brac.

26. "Finished stock" means "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale.

    "Finished stock" does not mean "goods you have manufactured" which are completed and ready for packing,
    shipment, installation, or sale on a "premises" or "reported unscheduled premises" of any retail outlet at which
    you are insured by Business Income Insurance.

27. "Fire protection sprinkler system piping" means valves, fittings, and piping located above the lowest floor, and
    limited to risers, check valves, control valves, gauges, feed mains, cross mains, branch lines, arm-overs, sprigs,
    and automatic sprinkler heads located inside the building as part of the fire protection sprinkler system.

28. "Flood" means a general and temporary condition of partial or complete inundation of land areas from:

    a. The overflow, or the expansion beyond normal boundaries, of inland or tidal waters, including natural or man-
       made lakes, reservoirs, ponds, brooks, rivers, streams, harbors, oceans, or any other body of water or
       watercourse;

    b. Waves or tides, including tsunami;

    or their spray, whether driven by wind or not.

29. "Fungus" means any type or form of fungus, mold, or mildew and any mycotoxins, spores, scents, or by-products
    produced or released by fungi.

30. "Goods you have manufactured" means:

    a. Goods manufactured at a location you own or operate; and

    b. Goods manufactured at a location that you do not own or operate, provided:

        1) You contracted for the goods to be manufactured exclusively for you; and

        2) You are the owner or licensee of the design, patent, trademark, or copyright for the goods.
                                                                                                   ®
31. "Green roofing systems" means environmentally friendly roof coverings as defined by the LEED Green Building
    Rating System™ of the U.S. Green Building Council or any other trees, shrubs, plants, grass, or lawns and other
    landscaping materials which are part of a vegetated roof.

32. "Gross leasehold interest" means:

    a. The monthly rental value of the "premises" or "reported unscheduled premises" you rent or lease on the
       date the direct physical loss or damage occurs; minus

    b. The actual monthly rent you pay, including taxes, insurance, janitorial, or other services you pay as part of the
       rent.

        Example:

        Monthly rental value of your leased "premises":                                       $1,000

        Monthly rent including taxes, insurance, janitorial,
        or other services that you pay for as part of the rent:                               - $700

    "Gross leasehold interest"                                                                  $300


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33. "Improvements and betterments" means fixtures, alterations, installations, or additions:

    a. Comprising a part of the building you occupy as a tenant but do not own;

    b. Made or acquired at your expense exclusive of rent paid by you or for which you are legally required by written
       contract to insure; and

    c. Which you cannot remove legally.

34. "Information technology services" means technology services provided under a written contract consisting of:

    a. Maintaining, managing, or controlling "computer systems";

    b. Hosting or facilitating your internet website or web application(s); and

    c. Other related technology services.

    "Information technology services" does not mean video, voice, or data communication services.

35. "Installation property" means materials, supplies, equipment, and machinery, and any other similar property
    owned by you or owned by others, which are in your care, custody, or control, that you are contractually
    responsible for, which are intended to become a permanent part of an "installation or service premises".

    "Installation property" does not mean "landscaping materials" or land.

36. "Installation or service premises" means a location that is not owned, leased, or operated by you, at which you
    are installing, constructing, or servicing property.

    "Installation or service premises" does not mean a "rigging premises".

37. "Landscaping materials" means trees, shrubs, plants, grass, lawns, and other landscaping materials, including
    "green roofing systems" owned by you or owned by others, which are in your care, custody, or control that you
    are contractually responsible for, and intended to become a permanent part of an "installation or service
    premises".

    "Landscaping materials" does not mean trees, shrubs, plants, grass, lawns, or other landscaping materials or
    "green roofing systems" that exist as a permanent part of an "installation or service premises" prior to the
    start of the project.

38. "Leader locations" means locations owned and operated by others who you depend on to attract customers to
    your business.

39. "Malfunction" means any abnormal or imperfect function, including the failure to function, of machinery, systems,
    apparatus, or equipment.

40. "Manager" means a person elected by the "members" to direct the limited liability company's business affairs.

41. "Manufacturing locations" means locations owned and operated by others who you depend on to manufacture
    products for delivery to your customers under contract of sale.

42. "Market value" means the price which the property might be expected to realize if offered for sale in a fair market
    on the date of loss or damage.

43. "Member" means an owner of a limited liability company represented by its membership interest, who also may
    serve as a "manager".

44. "Merchandise" means:

    a. Goods held for sale or installation by you which are not "goods you have manufactured"; and

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    b. "Goods you have manufactured" which are completed and ready for packing, shipment, installation, or sale
       on a "premises" or "reported unscheduled premises" of any retail outlet at which you are insured by
       Business Income Insurance.

45. "Microorganism" means any type or form of organism of microscopic or ultramicroscopic size including, but not
    limited to, "fungus", wet or dry rot, virus, algae, or bacteria, or any by-product.

46. "Mistake" means any act or decision, whether intentional or negligent, including the failure to act or decide, of any
    person, group, organization, or governmental body which creates or allows a result which is unexpected,
    inadequate, defective, faulty, or otherwise unsuitable for the intended purpose.

47. "Money" means:

    a. Currency, coins, bullion, or bank notes, whether or not in current use; and

    b. Travelers checks, register checks, food stamps, and money orders held for sale to the public.

48. "Monthly leasehold interest" means the original costs you paid for:

    a. Bonus Payments – "Money" you originally paid to acquire your lease, but not including rent, prepaid rent, or
       security; and

    b. Prepaid Rent - Advance rent you paid that will not be refunded to you, other than periodic rental payments,

    divided by the number of months left in your lease at the time of the expenditure.

    Example:

    Original cost of Bonus Payment                                                                $4,000

    With 20 months left in the lease at the time of Bonus Payment                                     ÷20

    "Monthly leasehold interest"                                                                    $200

49. "Net income" means the net profit or loss, including rental income from tenants, that would have been earned or
    incurred before taxes.

50. "Net leasehold interest" means the sum of:

    a. The net present value of your "gross leasehold interest" for each remaining month of your lease, discounted
       at the Prime Rate prevailing on the date the direct physical loss or damage occurs, rounded to the nearest
       whole number; plus

    b. Your "monthly leasehold interest" times the number of months left in your lease on the date direct physical
       loss or damage occurs, rounded to the nearest whole number.

    Example:

    With 20 months left in lease and 10% Prime Rate:

    "Gross leasehold interest"                                                                      $300

    Net Present Value Factor x 18.419 for 20 months                                            X 18.419

       Subtotal a.                                                                                $5,526

    "Monthly leasehold interest"                                                                    $200

    With 20 months left in lease                                                                     x 20

        Subtotal b.                                                                               $4,000
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    "Net leasehold interest"

         Subtotal a. + Subtotal b.                                                                 $9,526

51. "Newly acquired premises" means a permanently fixed location you own, lease, rent, or control. The location
    becomes a "newly acquired premises" on the later of:

    a. The date you obtain possession or control of the location; or

    b. The date "real property" or "personal property" in which you have an insurable interest is first placed at the
       location.

    "Newly acquired premises" does not mean:

    a. A "premises";

    b. An "unreported premises";

    c. A "reported unscheduled premises";

    d. A fair or exhibition;

    e. An "installation or service premises";

    f.   A "rigging premises"; or

    g. A "temporary storage location".

52. "Off-premises service interruption" means the interruption of power or other utility services supplied to a
    covered location, however caused, if the interruption takes place away from the covered location.

53. "Operations" means:

    a. Your business activities occurring at the covered location prior to the physical loss or damage; and

    b. The covered location is tenantable prior to the physical loss or damage.

    "Operations" does not mean:

    a. The activities of those with whom you do business;

    b. Investing or financing activities conducted for your own account; or

    c. "Research and development operations".

54. "Original information property" means recorded information in any format which cannot be copied from an
    existing original or duplicate or replaced by purchasing an existing duplicate that is available for sale, including any
    material it is recorded upon.

    "Original information property" does not mean:

    a. "Stock";

    b. "Fine arts";

    c. "Money";

    d. "Securities";

    e. "Electronic data processing hardware"; or

    f.   "Research and development property".

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55. "Outdoor trees, shrubs, plants, or lawns" means outdoor trees, shrubs, plants, grass, or lawns you own.

   "Outdoor trees, shrubs, plants, or lawns" does not mean:

   a. Growing crops;

   b. Standing timber;

   c. "Landscaping materials";

   d. "Stock", or

   e. "Green roofing systems".

56. "Period of restoration" means the period of time that begins when:

   a. The direct physical loss or damage that causes "suspension" of your "operations" occurs; or

   b. The date "operations" would have begun if the start of "operations" is delayed because of loss of or
      damage to any of the following:

       1) "Real property", whether complete or under construction;

       2) Alterations or additions to "real property"; or

       3) "Personal property":

           a) Used in such construction, alterations, or additions;

           b) Incidental to the occupancy of the area intended for construction, alteration, or addition; or

           c) Incidental to the alteration of the occupancy of an existing building or structure.

   If you resume "operations", with reasonable speed, the "period of restoration" ends on the earlier of:

   a. The date when the location where the loss or damage occurred could have been physically capable of
      resuming the level of "operations" which existed prior to the loss or damage, if the location had been restored
      to the physical size, construction, configuration, location, and material specifications which would satisfy the
      minimum requirements necessary to obtain all required building permits, occupancy permits, operating
      licenses, or similar documents; or

   b. The date when a new permanent location is physically capable of resuming the level of "operations" which
      existed prior to the loss or damage, if you resume "operations" at a new permanent location.

   If you do not resume "operations", or do not resume "operations" with reasonable speed (whether at your
   "premises" or "reported unscheduled premises" or elsewhere), the "period of restoration" will end on the
   date when the location where the loss or damage occurred could have been restored to the physical size,
   construction, configuration, location, and material specifications which existed at the time of loss or damage, with
   no consideration for any time:

   a. Which would have been required to make changes in order to satisfy the minimum requirements necessary to
      obtain all required building permits, occupancy permits, operating licenses, or similar documents; and

   b. Which would have been necessary to make the location physically capable of resuming the level of
      "operations" which existed prior to the loss or damage after the completion of repairs, replacement, or
      rebuilding.

   "Period of restoration" does not include any increased period required due to the enforcement of any ordinance
   or law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify or
   neutralize, or in any way respond to, or assess the effects of "pollutants" or "microorganisms".

   The expiration date of this policy will not cut short the "period of restoration".
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57. "Personal property" means:

    a. "Your personal property";

    b. "Your employees' personal property";

    c. "Personal property of others" in your care, custody, or control;

    d. The value of labor, materials, or services furnished or arranged by you on "personal property of others";

    e. Your interest in "improvements and betterments" to buildings or structures; and

    f.   Glass which, as a tenant, you are required to insure.

    "Personal property" does not mean:

    a. Naturally occurring water;

    b. Growing crops or standing timber;

    c. "Outdoor trees, shrubs, plants, or lawns";

    d. "Green roofing systems";

    e. "Money", bills, notes, or "securities";

    f.   Contraband or property in the course of illegal transportation or trade;

    g. Animals, unless:

         1) Owned by others and boarded by you; or

         2) Owned by you as "stock" while inside of buildings;

    h. "Fine arts";

    i.   "Original information property";

    j.   Vehicles or self-propelled machines (including aircraft or watercraft) that:

         1)   Are licensed for use on public roads; or

         2)   Are operated principally away from a "premises" or "reported unscheduled premises";

         But not:

         1)   Vehicles or self-propelled machines you manufacture, process, warehouse, or hold for sale, other than
              vehicles licensed for use on public roads;

         2)   Vehicles licensed for use on public roads that you manufacture, process, warehouse, or hold for sale,
              while on a "premises" or "reported unscheduled premises"; or

         3)   Unpowered watercraft while out of water on a "premises" or "reported unscheduled premises";

    k. Property contained in underground mines, mine shafts, caverns, open pits, or quarries; or

    l.   "Research and development property".

58. "Personal property of others" means personal property not owned by you, your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

59. "Pollutants" means any solid, liquid, gaseous, or thermal irritant, or "contaminant", including smoke, vapor, soot,
    fumes, acids, alkalis, chemicals, and waste. Waste includes materials to be recycled, reconditioned, or reclaimed.


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60. "Premises" means:

    A location scheduled on the Declarations for this Commercial Property Coverage Part.

    a. If the location is described by an address only, it includes the area associated with that address in which you
       are legally entitled to conduct your business activities and includes that area extending 1,000 feet beyond the
       address.

    b. If the location is described by an address and further described by geographic boundaries, it includes only the
       area within such geographic boundaries in which you are legally entitled to conduct your business activities
       and includes that area extending 1,000 feet beyond that area.

         If you are a tenant, for purposes of "time element coverage", "premises" includes those portions of the
         location not rented or intended to be rented to others.

61. "Raw stock" means material in the state in which you acquired it for conversion into "finished stock".

62. "Real property" means:

    a. Buildings, including their "green roofing systems";

    b. Permanent structures;

    c. Equipment and apparatus used to maintain or service the buildings, structures, or their "premises" or
       "reported unscheduled premises"; and

    d. Materials, equipment, supplies, and temporary structures used for making additions, alterations, or repairs to
       the buildings or permanent structures.

    "Real property" does not mean:

    a. "Fine arts";

    b. Land;

    c. Water;

    d. Underground mines, mine shafts, caverns, open pits, or quarries;

    e. Growing crops or standing timber;

    f.   "Outdoor trees, shrubs, plants, or lawns";

    g. "Research and development property";

    h. "Contractor's equipment";

    i.   "Contractor's employees' property";

    j.   "Installation property";

    k. "Landscaping materials"; or

    l.   Property of others in your care, custody, or control for "rigging".

63. "Recipient locations" means locations owned or operated by others, who you depend on to accept your products
    or services.

64. "Replacement cost" means the lesser of:

    a. Repair Cost

         The cost to repair the "real property" or "personal property" at the time of direct physical loss or damage
         with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
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       with all applicable zoning, land use, or construction codes in force at the time of loss or damage. This includes
       the cost to reconstruct or remodel undamaged portions of the "real property" when those costs are a
       consequence of enforcement of such codes.

   b. Rebuild Cost

       The cost to rebuild the "real property" or "personal property" at the time of direct physical loss or damage
       with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
       with all applicable zoning, land use, or construction codes in force at the time of loss or damage. Unless
       otherwise required at the time of loss by the applicable codes, this cost will be based on rebuilding at the same
       location where the loss occurred.

   c. Replace Cost

       The cost to replace the "real property" or "personal property" at the time of direct physical loss or damage
       with new materials of like kind and quality, of similar size, for the same use or occupancy, and in compliance
       with all applicable zoning, land use, or construction codes in force at the time of loss. Unless otherwise
       required at the time of loss by the applicable codes, this cost will be based on replacing at the same location
       where the loss or damage occurred.

       If property of the same kind and quality is no longer available, we will pay to replace it with other property of
       similar quality and function, including property of greater processing capacity.

       "Real property" and "personal property" valuation includes the cost you paid for non-refundable or non-
       transferable extended warranties, maintenance contracts, or service contracts which were still in force at the
       time of loss or damage and are no longer valid as a result of loss of or damage to "real property" or
       "personal property".

       If there is an ordinance or law in force at the time of loss or damage that regulates zoning, land use, or
       construction of "real property" or "personal property" at the "premises" or "reported unscheduled
       premises", and if loss or damage covered by this Commercial Property Coverage Part causes a demolition
       order to be issued pursuant to any such ordinance or law, "replacement cost" includes the costs to demolish
       and clear the site of the undamaged portion of the "real property" or "personal property".

   "Replacement cost" does not mean:

   a. Costs associated with the enforcement of any ordinance or law which requires any insured or others to test for,
      monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in any way respond to, or assess the
      effects of, "pollutants" or "microorganisms";

   b. Enforcement of any ordinance or law which requires the demolition, repair, replacement, reconstruction,
      remodeling, or remediation of property due to contamination by "pollutants" or due to the presence, growth,
      proliferation, spread, or any activity of "microorganisms"; or

   c. Costs to comply with any ordinance or law that you were required to comply with before the loss or damage.

65. "Reported unscheduled premises" means permanently fixed locations for which you have submitted a schedule
    on file with us containing:

   a. The address of the location and includes that area extending 1000 feet beyond the address;

   b. An identification of the property, business income, or extra expense to be covered; and

   c. The value of such identified property, business income, or extra expense.

   If you are a tenant, for purposes of "time element coverage", "reported unscheduled premises" includes those
   portions of the location not rented or intended to be rented to others.

   "Reported unscheduled premises" does not mean:

   a. A "premises";
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   b. A "newly acquired premises";

   c. An "unreported premises";

   d. A fair or exhibition;

   e. An "installation or service premises";

   f.   A "temporary storage location";

   g. A "rigging premises"; or

   h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

66. "Research and development continuing expenses" means your continuing normal operating expenses that are
    directly attributable to "research and development operations", including payroll, rental payments as tenants,
    and factory overhead.

67. "Research and development extended period of indemnity" means the period of time that begins on the date
    the "period of restoration" ends and ends on the earlier of:

   a. The effective date of new contracts that will utilize that portion of your "research and development
      continuing expenses" attributable to a suspension, lapse, or cancellation for which coverage is provided
      under paragraph b. of the Extended Period of Indemnity Additional Coverage; or

   b. The date calculated by adding the number of days shown on the Declarations for Research and Development
      Extended Period of Indemnity--Business Income to the date the "period of restoration" ended.

68. "Research and development operations" means your business activities where "research and development
    property" is being planned, created, developed, or tested.

69. "Research and development property" means:

   a. Information which cannot be duplicated or purchased from another source, including any material it is
      inscribed, printed, written, or recorded upon, including documents, manuscripts, records, data, or programs,
      developed or used in conjunction with any research and development project;

   b. Original or experimental property;

   c. Prototypes or samples;

   d. Experiments in progress;

   e. Biological products, processes, or cultures; and

   f.   "Research animals".

   "Research and development property" does not mean:

   a. Animals, other than "research animals";

   b. "Money", bills, notes, or "securities";

   c. "Stock";

   d. "Fine arts"; or

   e. Growing plants or crops.

70. "Research animal" means any multi-cellular organism that is used in your "research and development
    operations".


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71. "Rigging" means rigging, hoisting, moving, erecting, lowering, and millwright work.

72. "Rigging premises" means a location for the purpose of:

    a. "Rigging";

    b. Assembling or dismantling work done in connection with a "rigging" project; or

    c. Operations incidental to a "rigging", assembling, or dismantling project.

73. "Salespersons samples" means "personal property" that is in the custody of one of your salespersons and
    used only for sample purposes.

74. "Securities" means negotiable and non-negotiable instruments or contracts representing either "money" or
    property and includes:

    a. Tokens, tickets, revenue, and other stamps whether or not in current use; and

    b. Evidences of debt issued in connection with credit or charge cards, which cards are not issued by you.

    "Securities" does not mean:

    a. "Money"; or

    b. Lottery tickets held for sale.

75. "Sinkhole collapse" means the sudden sinking or collapse of land into underground empty spaces created by the
    action of water on limestone or similar rock formations.

    "Sinkhole collapse" does not mean the:

    a. Sinking or collapse of land into man-made underground cavities;

    b. Sinking or collapse of land caused by or resulting from "flood"; or

    c. Cost of filling sinkholes.

76. "Specified causes of loss" means the following:

    a. Fire;

    b. Lightning;

    c. Explosion;

    d. Windstorm or hail;

    e. Smoke;

    f.   Aircraft or vehicles;

    g. Riot or civil commotion;

    h. Vandalism;

    i.   Leakage from fire extinguishing equipment;

    j.   "Sinkhole collapse";

    k. Volcanic action;

    l.   Falling objects, excluding loss or damage to:

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         1) "Personal property" in the open; or

         2) The interior of buildings or property inside buildings, unless the roof or an outside wall of the building is
            first damaged by a falling object;

    m. Weight of snow, ice, or sleet;

    n. Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
       steam; and

    o. "Equipment breakdown cause of loss", excluding loss of or damage to "stock" caused by the discharge,
       dispersal, release, or escape of refrigerants.

77. "Stock" means the following:

    a. "Raw stock";

    b. "Stock in process";

    c. "Finished stock"; and

    d. "Merchandise".

78. "Stock in process" means "raw stock" which has undergone aging, seasoning, mechanical, or other process of
    manufacture but which has not become "finished stock".

79. "Suspended equipment" means any boiler, fired or unfired vessel, refrigerating or air conditioning system, piping
    and its accessory equipment, and any mechanical or electrical machine or apparatus used for the generation,
    transmission, or utilization of mechanical or electrical power, provided we have complied with the requirements
    described in the Suspended Equipment Condition contained in the COMMERCIAL PROPERTY CONDITIONS.

80. "Suspension" means:

    a. The slowdown or cessation of your business activities; or

    b. That a part or all of the covered location is rendered untenantable.

81. "Temporary storage location" means a permanently fixed location that you lease, rent, or occupy for a period of
    less than one year where "stock" or "installation property" that is to become a permanent part of an
    "installation or service premises" is stored while waiting to be delivered to an "installation or service
    premises" and there is a written construction or installation contract or agreement to install that "stock" or
    "installation property" at that "installation or service premises".

    "Temporary storage location" does not mean:

    a. A "premises";

    b. A "newly acquired premises";

    c. A "reported unscheduled premises";

    d. A "rigging premises";

    e. A fair or exhibition; or

    f.   An "unreported premises".

82. "Time element coverage" means the coverage provided under any of the following:

    a. BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE);


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   b. BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
      EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY; or

   c. EXTRA EXPENSE COVERAGE FORM.

83. "Unreported premises" means a permanently fixed location that contains "real property" or "personal
    property" in which you have an insurable interest, but has not been reported to us.

   "Unreported premises" does not mean:

   a. A "premises";

   b. A "newly acquired premises";

   c. A "reported unscheduled premises";

   d. A "rigging premises";

   e. A fair or exhibition;

   f.   An "installation or service premises";

   g. A "temporary storage location"; or

   h. With respect to loss or damage covered by any "time element coverage", a "dependent premises".

84. "Your employees' personal property" means personal property owned by your officers, directors, partners,
    "managers", "members", or employees (including leased or temporary employees).

85. "Your personal property" means personal property owned by you.




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Real and Personal Property Coverage Form


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Real and Personal Property Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "real property" and "personal property" at a "premises"
     directly caused by a "covered cause of loss". We will not pay more in any one occurrence than the applicable
     Limit of Insurance shown on the Declarations for such loss of or damage to Covered Property at that
     "premises".

B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Cracking and Settling

          We will not pay for loss or damage caused by or resulting from bulging, cracking, shrinkage, expansion, or
          settling of "real property" or "personal property". This exclusion applies even if one of these excluded
          causes of loss was caused by or resulted from a "mistake" or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

     3.   Disappearance or Shortage

          We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
          inventory or where there is no physical evidence to show what happened to the property. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
          "malfunction".

     4.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including
          leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
          you have entrusted the property for any purpose:




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       a.   Acting alone or in collusion with others; or

       b.   Whether or not occurring during the hours of employment.

       This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
       "mistake" or "malfunction".

       This exclusion does not apply to:

       a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

       b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

  5.   Earth Movement

       We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
       damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
       weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
       event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
       for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

       If loss of or damage to "real property" or "personal property" caused by leakage from "fire protection
       sprinkler system piping" results from "earth movement", and there is no other loss or damage from
       "earth movement" to that same property, we will pay for the direct physical loss or damage caused solely
       from the "fire protection sprinkler system piping" leakage.

  6.   Electronic Vandalism

       We will not pay for loss or damage caused by or resulting from "electronic vandalism".

       This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
       "malfunction".

  7.   Expected, Preventable, or Accumulated Losses

       We will not pay for loss or damage caused by or resulting from:

       a.   Wear and tear;

       b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

       c.   Smog;

       d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

       e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

       f.   Inherent vice.

       Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
       "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
       such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".


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 8.    Flood

       We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
       the loss or damage which was solely caused by that fire, explosion, or theft.

  9.   Governmental Action

       We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
       nationalization, or destruction of property by order of governmental authority. Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered.

       This exclusion does not apply to:

       a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
            prevent its spread; or

       b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
            regulating construction, use, or repair of any property; provided such demolition order has become
            legally enforceable as a result of physical damage to:

            1)   Covered "real property"; or

            2)   Covered "personal property";

            directly caused by a "covered cause of loss".

            However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
            which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
            or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

  10. Impact Damage

       We will not pay for loss or damage caused by or resulting from water, including water pressure, ice, or
       impact of watercraft to buildings or structures located on or partially over water, including retaining walls,
       bulkheads, piers, wharves, docks, or any other property located on those structures. This exclusion applies
       even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
       "malfunction".

  11. Loss of Market or Delay

       We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
       exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
       or "malfunction".

  12. Microorganisms

       We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
       aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
       resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
       including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
       sequence to the loss, even if such other cause or event would otherwise be covered.


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      But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
      lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
      of loss".

      We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
      regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
      detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  13. Nuclear Hazard

      We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
      radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
      cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
      to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
      radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
      was solely caused by that fire.

  14. Off-Premises Service Interruption

      We will not pay for loss or damage caused by or resulting from any "off-premises service interruption".
      Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
      "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
      such other cause or event would otherwise be covered.

      But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
      loss or damage which was solely caused by that "covered cause of loss".

      This exclusion does not apply to "electronic data processing hardware" or "duplicate information
      property".

  15. Pollutants

      We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
      release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape
      is caused by a "specified cause of loss", we will pay only for that portion of the loss or damage solely
      caused by that "specified cause of loss".

      We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
      regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
      detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

      This exclusion does not apply to "electronic data processing hardware" or "duplicate information
      property".

  16. Process Failures, Defects, or Errors

      We will not pay for any of the following:

      a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
           or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
           calibration, development, distribution, installation, manufacturing, maintenance, processing, repair,
           research, or testing of such "stock".

      b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:




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           1)   A "mistake" in planning, zoning, development, surveying, siting;

           2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
                grading, compaction;

           3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

           4)   Insufficient or failure of maintenance or servicing,

           of part or all of any property on or off a "premises".

           But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
           that portion of the loss or damage which was solely caused by that "covered cause of loss".

      c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
           incorporating "defective materials" into part or all of any property on or off a "premises".

           But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
           of the loss or damage which was solely caused by that "covered cause of loss".

      d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
           exclusion applies even if this excluded cause of loss was caused by or resulted from an "equipment
           breakdown cause of loss", "mistake", or "malfunction".

           But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
           of the loss or damage which was solely caused by that "covered cause of loss".

  17. Suspended Equipment

      We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
      to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
      resulted from a "mistake" or "malfunction".

      But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
      loss or damage which was solely caused by that "covered cause of loss".

  18. War and Military Action

      We will not pay for loss or damage arising, directly or indirectly, out of:

      a.   War, including undeclared or civil war;

      b.   Warlike action by a military force, including action in hindering or defending against an actual or
           expected attack, by any government, sovereign, or other authority using military personnel or other
           agents; or

      c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
           hindering or defending against any of these.

      Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
      "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
      event would otherwise be covered.




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C.    LIMITATIONS

      1.    The following types of property are covered only up to the Limits of Insurance shown below in any one
           occurrence for loss or damage due to theft:

           a.   $2,500 for furs, fur garments, and garments trimmed with fur.

           b.   $2,500 for jewelry, watches, watch movements, jewels, pearls, precious and semiprecious stones,
                bullion, gold, silver, platinum, and other precious alloys or metals.

           This limit does not apply to:

                i.   Jewelry or watches worth $100 or less per item; or

                ii. Precious or semiprecious stones or metals used for industrial purposes.

           c.   $250 for lottery tickets held for sale.

           These Limits of Insurance are included in, and not in addition to, any other applicable Limits of Insurance.

     2.    We will pay for direct physical loss of or damage to "green roofing systems" directly caused by a
           "covered cause of loss" other than loss or damage caused by or resulting from:

           a.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                rodents, or other animals;

           b.   Disease;

           c.   Changes in or extremes of temperature;

           d.   Dampness or dryness of atmosphere or of soil supporting the vegetation; or

           e.   Rain, snow, hail, ice, or sleet.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.    Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

           a.   The "replacement cost"; or

           b.   The "amount you actually spend" to repair, rebuild, or replace the "real property" or "personal
                property" at the same or another location.

     2.    Except as provided in 3., 5., 6., and 7. below, "real property" or "personal property", other than
           "improvements and betterments", which is not repaired, rebuilt, or replaced will be valued at the "actual
           cash value" at the time and place of loss or damage. If you commence the repair, rebuilding, or
           replacement of the lost or damaged "real property" or "personal property" within 24 months from the
           date the loss or damage occurred, upon completion of the repair, rebuilding, or replacement, we will pay you
           the difference between the "actual cash value" previously paid and the "replacement cost" at the time of
           loss or damage.

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     3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling
          price, less any discounts and expenses you otherwise would have had.

     4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
          the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
          In no event will overhead be calculated in accordance with the principles of Absorption Costing.

     5.   "Improvements and betterments" at:

          a.   The "replacement cost" if you make repairs with reasonable speed.

          b.   A proportion of your original cost if you do not make repairs with reasonable speed. We will determine
               the proportionate value as follows:

               1)   Multiply the original cost by the number of days from the loss or damage to the expiration of the
                    lease; and

               2)   Divide the amount determined in 1) above by the number of days from the installation of
                    "improvements and betterments" to the expiration of the lease.

               If your lease contains a renewal option, the expiration of the renewal option period will be used as the
               expiration of the lease.

          c.   That portion which has not been paid if others pay for repairs, rebuilding, or replacement.

     6.   "Personal property" which has been permanently removed from service at "actual cash value".

     7.   "Duplicate information property" at the lesser of:

          a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

          b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
               source on the same type of materials, provided such copying does not violate licensing or contract
               agreements.

F.   OPTIONAL COVERAGE

     Margin Clause

     If Margin Clause is shown on the Declarations, we will not pay more than the lesser of the following:

     1.   The amount of covered loss or damage at the "premises"; or

     2.   The percentage applied to the applicable Limit of Insurance for such property at the "premises".

     The most we will pay is the applicable percentage shown on the Declarations for Margin Clause. However, in no
     event will we pay more than $5,000,000 over the applicable Limits of Insurance shown on the Declarations for
     that "premises".

     This Optional Coverage for "real property" or "personal property" does not apply to:

     1.   Any Limit of Insurance applicable to more than one "premises"; or

     2.   Any other Limit of Insurance applicable for which a specific coverage Limit of Insurance is provided.




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Additional Coverages Form

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Additional Coverages Form

A.   ADDITIONAL COVERAGES

     The following are Additional Coverages to coverages set forth in this Commercial Property Coverage Part. If you
     have not chosen a coverage elsewhere in this Commercial Property Coverage Part, there is no coverage under its
     corresponding Additional Coverages. For example, if you do not have coverage for "stock" under the REAL AND
     PERSONAL PROPERTY COVERAGE FORM, you will not have coverage related to "stock" under the
     Consequential Loss--Undamaged Stock Additional Coverage, or any other Additional Coverage for "stock".

     Each of the following Additional Coverages apply independently of one another. Unless otherwise stated, the
     excluded causes of loss, exclusions, terms, and conditions in the applicable Coverage Forms apply to these
     Additional Coverages.

     The most we will pay for loss, damage, cost, or expense under any of the following Additional Coverages are the
     Limits of Insurance shown on the Declarations. Limits for these Additional Coverages apply in addition to any
     other applicable policy limits, unless otherwise stated.

       1.   Consequential Loss--Net Leasehold Interest

            We will pay for the loss of "net leasehold interest" you sustain when your lease is cancelled:

            a.    By the lessor; and

            b.    As a result of a valid condition of your lease,

            due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
            "covered cause of loss" at a "premises" or "reported unscheduled premises". We will not pay more
            than the "net leasehold interest" at the time of the cancellation of the lease. However, if your lease is
            cancelled and your landlord lets you continue to use the "premises" or "reported unscheduled
            premises" under a new lease, we will not pay more than:

            a.    The rent you will pay under the new lease; minus

            b.    The rent you were paying at the time of cancellation.

            We will not pay under this Additional Coverage if the "premises" or "reported unscheduled premises"
            where the lease is cancelled had been vacant for more than 60 consecutive days prior to the loss or
            damage unless you had entered into an agreement to sublease the "premises" or "reported
            unscheduled premises".

            The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
            premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Net Leasehold
            Interest.

            The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
            Insurance.



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  2.   Consequential Loss--Tenant's Improvements and Betterments

       We will pay for the value of undamaged "improvements and betterments" when your lease is cancelled:

       a.    By the lessor; and

       b.    As a result of a valid condition of your lease,

       due to direct physical loss of or damage to "real property" or "personal property" directly caused by a
       "covered cause of loss" at a "premises" or "reported unscheduled premises".

       If you rent an entire building, we will pay only if:

       a.    At least 25% of the area of that entire building has been damaged; or

       b.    A minimum of 6 months remains in your current lease and at least 6 months is required to repair the
             building for your occupancy.

       If you rent a portion of a building, we will only pay if:

       a.    A minimum of 6 months remains in your lease; and

       b.    At least 6 months is required to repair the building for your occupancy.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Tenant's
       Improvements and Betterments.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

  3.   Consequential Loss--Undamaged Stock

       We will pay for the consequential loss in value of undamaged "stock" which has become unmarketable as
       a complete product because of direct physical loss of or damage to other "stock" directly caused by a
       "covered cause of loss".

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Consequential Loss--Undamaged
       Stock.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

  4.   Contamination by a Refrigerant

       We will pay for direct physical loss of or damage to "stock" caused by the release or escape of
       refrigerants from any equipment located at a "premises" or "reported unscheduled premises" provided
       the release or escape was not caused by or resulted from "flood" or "earth movement".

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Contamination by a Refrigerant.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.



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  5.   Debris Removal

       a.    We will pay your expense to remove debris of Covered Property, for which a Limit of Insurance is
             shown on the Declarations, remaining after a "covered cause of loss". The most we will pay
             under this Additional Coverage for Debris Removal is the remaining applicable Limit of Insurance for
             the Covered Property shown on the Declarations after payment of the covered physical loss or
             damage.

             If the total of the loss or damage and debris removal expense exceeds the applicable Limit of
             Insurance, we will pay the remaining debris removal expenses. The most we will pay under this
             Additional Coverage in any one occurrence is the Limit of Insurance shown on the Declarations for
             Debris Removal--Supplemental Limit.

       b.    If wind causes direct physical loss of or damage to Covered Property, we will also pay for the
             expenses you incur to remove debris of uncovered property that is blown on to the "premises" or
             "reported unscheduled premises" by wind and to remove debris of "outdoor trees, shrubs,
             plants, or lawns" damaged by wind.

             The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
             shown on the Declarations for Debris Removal--Uncovered Property.

       In no event will there be any coverage under this Debris Removal Additional Coverage for any costs to:

       a.    Extract "pollutants" from land or water; or

       b.    Remove, restore, or replace polluted land or water.

       The expenses will be paid only if they are reported to us in writing within 180 days of the date of loss or
       damage.

  6.   Deferred Payments

       We will pay your financial interest in "personal property" that suffers direct physical loss or damage
       directly caused by a "covered cause of loss" after delivery to buyers and sold by you on a conditional
       sale or trust agreement, or any installment or deferred payment plan.

       This Additional Coverage does not apply to default of such agreement or plan by the buyer.

       We will determine the amount of covered loss or damage as follows:

       a.    In the event of a total loss and the buyer refuses to continue payment, coverage will be valued
             based on the amount shown on your books as due from the buyer;

       b.    In the event of partial loss or damage and the buyer refuses to continue payment, forcing you to
             repossess, coverage will be valued as follows:

             If the realized value of the repossessed "personal property" is:

             1)      Greater than or equal to the amount shown on your books as due from the buyer, we will
                     make no payment; or

             2)      Less than the amount shown on your books as due from the buyer, we will pay the difference,
                     less any amount that was past due at the time of loss by more than 30 days; and

       c.    When a loss occurs and the buyer continues to pay you, there will be no loss payment.



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       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Deferred Payments.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

  7.   Electronic Vandalism--Direct Damage

       We will pay for loss of or damage to "accounts receivable records", "duplicate information property",
       "electronic data processing hardware", "original information property" or "research and
       development property" caused by "electronic vandalism".

       The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
       of Insurance shown on the Declarations for Electronic Vandalism--Direct Damage.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

  8.   Expediting Expense

       In the event of covered loss of or damage to "real property" or "personal property" at a "premises" or
       "reported unscheduled premises" directly caused by a "covered cause of loss", we will pay
       reasonable and necessary additional expenses you incur for temporary repair of damage to such "real
       property" or "personal property" and the additional expenses you incur for expediting the permanent
       repair or replacement of such damaged property. This Additional Coverage does not include expenses
       recoverable elsewhere in this Commercial Property Coverage Part.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Expediting Expense.

  9.   Fairs or Exhibitions

       We will pay for direct physical loss of or damage to "personal property":

       a.    At fairs or exhibitions; and

       b.    In transit to or from fairs or exhibitions,

       directly caused by a "covered cause of loss".

       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Fairs or Exhibitions--Personal Property.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 10.   Fire Department Service Charge

       When the fire department is called to save or protect Covered Property from a "covered cause of loss"
       at a "premises" or "reported unscheduled premises", we will pay for your liability for the fire
       department service charges:

       a.    Assumed by contract or agreement prior to loss; or

       b.    Required by local ordinance, law, or statute.



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       We will also pay for those costs incurred by your fire brigade to save or protect Covered Property from a
       fire, but not including the costs to refill fire protective equipment.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Fire Department Service Charge.

       No deductible applies to this Additional Coverage.

 11.   Fire Protective Equipment Refills

       We will pay the reasonable and necessary costs you incur to refill fire protective equipment which has
       been discharged:

       a.      Accidentally; or

       b.      In the course of saving or protecting Covered Property from a "covered cause of loss".

       No Limit applies to this Additional Coverage.

 12.   Inflation Guard

       The Limits of Insurance to which the Inflation Guard applies will automatically increase by the annual
       percentage shown on the Declarations.

       The amount of the increase will be:

       a.      The Limit of Insurance that applied on the most recent of this Commercial Property Coverage Part's
               inception date, anniversary date, or date of any other Commercial Property Coverage Part change
               amending the Limit of Insurance, multiplied by

       b.      The percentage of annual increase shown on the Declarations, expressed as a decimal (Example:
               8% is .08), multiplied by

       c.      The number of days since the beginning of the most recent Commercial Property Coverage Part
               year or the effective date of the most recent Commercial Property Coverage Part change amending
               the Limit of Insurance, divided by 365.

       Example:

       If:           The applicable Limit of Insurance is                                     $100,000

                     The annual percentage increase is                                               8%

                     The number of days since the beginning of the
                     Coverage Part Year (or last Coverage Part change) is                            146

       Then:         The amount of increase is $100,000 x .08 x 146 / 365 = $                      3,200

                     The available Limit of Insurance is                                      $103,200

 13.   Lock and Key Replacement

       We will pay the reasonable cost of:

       a.      Entry key replacement if keys to a "premises" or "reported unscheduled premises" are stolen; or

       b.      Entry lock repair or replacement made necessary by theft or attempted theft at a "premises" or
               "reported unscheduled premises".
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       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Lock and Key Replacement.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 14.   Microorganisms

       We will pay the following when "microorganisms" are the result of a "covered cause of loss", other
       than fire or lightning:

       a.    Direct physical loss of or damage to Covered Property caused by "microorganisms", including the
             cost of removal of the "microorganisms";

       b.    The reasonable cost to tear out and replace any part of the covered building or other property
             needed to gain access to the "microorganisms"; and

       c.    The reasonable cost of testing performed after removal, repair, replacement, or restoration of the
             damaged property is completed, provided there is a reason to believe that the "microorganisms"
             are still present.

       The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit
       of Insurance shown on the Declarations for Microorganisms. Regardless of the number of claims, this
       Limit is the most we will pay for the total of all loss, damage, or cost, even if the "microorganisms"
       continue to be present, active, or recur.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 15.   Newly Acquired Premises

       We will pay for direct physical loss of or damage to "real property" or "personal property" at a "newly
       acquired premises" directly caused by a "covered cause of loss".

       This Additional Coverage will automatically expire on the earliest of the following dates:

       a.    The date you report the "newly acquired premises" to us;

       b.    The number of days shown on the Declarations from the date the location becomes a "newly
             acquired premises"; or

       c.    The date this policy expires or is cancelled.

       We will charge you additional premium for values reported from the date the location becomes a "newly
       acquired premises".

       The most we will pay under this Additional Coverage at any one "newly acquired premises" is the
       applicable Limit of Insurance shown on the Declarations for Newly Acquired Premises.

 16.   Newly Acquired Property

       We will pay for direct physical loss of or damage to:



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       a.    Your newly acquired or constructed "real property" at a "premises" if coverage is not currently
             shown for "real property" at that "premises" on the Declarations; and

       b.     Your newly acquired "personal property" at a "premises" if coverage is not currently shown for
             "personal property" at that "premises" on the Declarations.

       This Additional Coverage will automatically expire on the earliest of the following dates:

       a.    The date you report the newly acquired property to us;

       b.    The number of days shown on the Declarations from the date construction of "real property"
             begins or completed "real property" or "personal property" is acquired; or

       c.    The date this policy expires or is cancelled.

       We will charge you additional premium for values reported from the date construction of "real property"
       begins or "personal property" or completed "real property" is acquired.

       The most we will pay under this Additional Coverage at any one "premises" is the applicable Limit of
       Insurance shown on the Declarations for Newly Acquired Property.

 17.   Off-Premises Service Interruption--Direct Damage

       We will pay for direct physical loss of or damage to "real property" and "personal property" at a
       "premises" or "reported unscheduled premises" directly caused by an "off-premises service
       interruption". The interruption must result from direct physical loss or damage directly caused by a
       "covered cause of loss" to any property located away from the "premises" or "reported
       unscheduled premises" and used to provide any of the following services to the "premises" or
       "reported unscheduled premises":

       a.    Water;

       b.    Power, including steam and natural gas; or

       c.    Communication.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--
       Direct Damage.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 18.   Outdoor Trees, Shrubs, Plants, or Lawns

       We will pay for direct physical loss of or damage to "outdoor trees, shrubs, plants, or lawns" at a
       "premises" or "reported unscheduled premises" directly caused by:

       a.    Fire;

       b.    Lightning;

       c.    Explosion;

       d.    Riot or civil commotion; or

       e.    Aircraft.
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       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" and for any one tree, shrub, plant, or lawn are the Limits of Insurance shown on the
       Declarations for Outdoor Trees, Shrubs, Plants, or Lawns.

 19.   Pollutant Clean Up and Removal--Land and Water

       We will pay the reasonable expenses you incur to extract "pollutants" from land or water at a "premises"
       or "reported unscheduled premises" if the discharge, dispersal, seepage, migration, release, or escape
       of the "pollutants" is directly caused by a "covered cause of loss".

       This Additional Coverage does not apply to the costs to test for, monitor, or assess the existence,
       concentration, or effects of "pollutants". But we will pay for the reasonable cost of testing performed in
       the course of extracting the "pollutants" from the land or water.

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" in any one policy year is the Annual Aggregate Limit of Insurance shown on the Declarations
       for Pollutant Clean Up and Removal--Land and Water.

       The expenses will be paid only if they are reported to us in writing within 180 days of the date on which the
       "covered cause of loss" occurs.

 20.   Preservation of Property

       If Covered Property is removed from a "premises" or "reported unscheduled premises" to preserve it
       from actual or imminent physical loss or damage caused by a "covered cause of loss":

       We will pay for:

       a.    Any direct physical loss of or damage to Covered Property while it is being moved to or while stored
             at another location for up to the number of days shown on the Declarations for Preservation of
             Property; and

       b.    The reasonable cost to remove Covered Property from the "premises" or "reported unscheduled
             premises".

       The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
       Insurance shown on the Declarations for that Covered Property.

 21.   Professional Fees

       We will reimburse you for the reasonable expenses you incur for professional services for auditors,
       accountants, architects, or engineers which are necessary to prepare a statement of loss or exhibits
       required in connection with any loss covered under this Commercial Property Coverage Part. This
       Additional Coverage does not apply to fees and costs of:

       a.    Your employees; or

       b.    Attorneys, public adjusters, loss appraisers, or loss consultants.

       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Professional Fees.

 22.   Reported Unscheduled Premises

       We will pay for direct physical loss of or damage to "real property" and "personal property" at a
       "reported unscheduled premises" directly caused by a "covered cause of loss".
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       The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is
       the applicable Limit of Insurance shown on the Declarations for Reported Unscheduled Premises.

 23.   Reward Payments

       We will reimburse you for rewards you pay for information leading to:

       a.    The successful return of undamaged stolen Covered Property to you or a law enforcement agency;
             or

       b.    The arrest and conviction of any persons for having damaged or stolen your Covered Property.

       The reward payments must be documented.

       The most we will pay under this Additional Coverage in any one occurrence is 25% of the covered loss,
       prior to the application of any applicable deductible and recovery of any Covered Property, up to the Limit
       of Insurance shown on the Declarations for Reward Payments.

 24.   Salespersons Samples

       We will pay for direct physical loss of or damage to "salespersons samples" in transit while in the
       custody of a salesperson or at any location, other than a "premises" or "reported unscheduled
       premises", directly caused by a "covered cause of loss".

       The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance
       shown on the Declarations for Salespersons Samples.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 25.   Spoilage--Equipment Breakdown

       We will pay for direct physical loss of or damage to "stock" at a "premises" or "reported unscheduled
       premises" directly caused by the loss of or changes in any artificially maintained or generated
       temperature, humidity, or atmosphere resulting from an "equipment breakdown cause of loss" to
       atmosphere control equipment at the "premises" or "reported unscheduled premises".

       The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
       premises" is the Limit of Insurance shown on the Declarations for Spoilage--Equipment Breakdown.

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.

 26.   Theft Damage to Buildings

       We will pay for direct physical loss of or damage to "real property" at a "premises" or "reported
       unscheduled premises" in which you are a tenant directly caused by theft, burglary, or robbery, provided
       you are legally obligated to pay for such loss or damage.

       The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations
       for "personal property" at that "premises" or "reported unscheduled premises".

       The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
       Insurance.



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      27.   Unreported Premises

            We will pay for direct physical loss of or damage to "real property" and "personal property", other than
            "salespersons samples" or property in transit, at an "unreported premises" directly caused by a
            "covered cause of loss".

            The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
            Insurance shown on the Declarations for Unreported Premises.

B.    DEDUCTIBLE

      We will not pay for loss, damage, cost, or expense in any one occurrence until the amount of loss, damage, cost,
      or expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
      damage, cost, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.




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Accounts Receivable Coverage Form
(Revenue Loss)

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Accounts Receivable Coverage Form
(Revenue Loss)

A.   COVERAGES

     1.   Accounts Receivable (Revenue Loss)

          We will pay for:

          a.   The "money" due you from customers that you are unable to collect;

          b.   Interest charges on any loan required to offset amounts you are unable to collect pending our payment
               of these amounts; and

          c.   Collection expenses in excess of your normal collection expenses that are made necessary by the loss
               or damage,

          that result from direct physical loss of or damage to your "accounts receivable records" at a "premises"
          or "reported unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
          premises" is the Limit of Insurance shown on the Declarations for Accounts Receivable (Revenue Loss).

     2. Accounts Receivable (Revenue Loss)--Away From Premises

          We will also pay for:

          1.   The "money" due you from customers that you are unable to collect;

          2.   Interest charges on any loan required to offset amounts you are unable to collect pending our payment
               of these amounts; and

          3.   Collection expenses in excess of your normal collection expenses that are made necessary by the loss
               or damage,

          that result from direct physical loss of or damage to your "accounts receivable records" away from a
          "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
          the Declarations for Accounts Receivable (Revenue Loss)--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.   Alteration, Falsification, Concealment, or Destruction

          We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
          destruction of "accounts receivable records" done to conceal the wrongful giving, taking, or withholding of
          "money", "securities", or other property.




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  2.   Bookkeeping, Accounting, or Billing Mistakes

       We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in
       bookkeeping, accounting, or billing.

  3.   Defects or Errors

       We will not pay for any of the following:

       a.   Loss or damage caused by or resulting from a "mistake" in:

            1)   Programming;

            2)   Instructions to a machine; or

            3)   Installation or maintenance of "electronic data processing hardware" or component parts.

            But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
            that portion of the loss or damage which was solely caused by that "covered cause of loss".

       b.   Loss or damage, including the costs of correcting or making good, caused by or resulting:

            1)   A "mistake" in planning, zoning, development, surveying, siting;

            2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
                 grading, compaction;

            3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

            4)   Insufficient or failure of maintenance or servicing,

            of part or all of any property on or off a "premises" or "reported unscheduled premises".

            But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
            that portion of the loss or damage which was solely caused by that "covered cause of loss".

       c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
            incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
            unscheduled premises".

            But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
            that portion of the loss or damage which was solely caused by that "covered cause of loss".

  4.   Disappearance or Shortage

       We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
       inventory or where there is no physical evidence to show what happened to the "accounts receivable
       records". This exclusion applies even if one of these excluded causes of loss was caused by or resulted
       from a "mistake" or "malfunction".

  5.   Dishonest Acts

       We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
       omissions, committed by you, your partners, "members", officers, "managers", employees (including
       leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
       you have entrusted the "accounts receivable records" for any purpose:



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       a.   Acting alone or in collusion with others; or

       b.   Whether or not occurring during the hours of employment.

       This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
       "mistake" or "malfunction".

       This exclusion does not apply to:

       a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

       b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

  6.   Earth Movement

       We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
       damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
       weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
       event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
       for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

       If loss of or damage to "accounts receivable records" caused by leakage from "fire protection sprinkler
       system piping" results from "earth movement", and there is no other loss or damage from "earth
       movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
       "fire protection sprinkler system piping" leakage.

  7.   Electronic Vandalism

       We will not pay for loss or damage caused by or resulting from "electronic vandalism".

       This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
       "malfunction".

  8.   Expected, Preventable, or Accumulated Losses

       We will not pay for loss or damage caused by or resulting from:

       a.   Wear and tear;

       b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

       c.   Smog;

       d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

       e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

       f.   Inherent vice.

       Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
       "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
       such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".


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  9.   Flood

       We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
       the loss or damage which was solely caused by that fire, explosion, or theft.

  10. Governmental Action

       We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
       nationalization, or destruction of property by order of governmental authority. Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered.

       This exclusion does not apply to acts of destruction of "accounts receivable records" ordered by
       governmental authority and taken at the time of fire to prevent its spread.

  11. Loss of Market or Delay

       We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
       exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
       or "malfunction".

  12. Microorganisms

       We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
       aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
       resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
       including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
       sequence to the loss, even if such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
       lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
       of loss".

       We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
       regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
       detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  13. Nuclear Hazard

       We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
       radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
       cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
       to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
       radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
       was solely caused by that fire.

  14. War and Military Action

       We will not pay for loss or damage arising, directly or indirectly, out of:

       a.   War, including undeclared or civil war;



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          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss, damage, or expense in any one occurrence until the amount of loss, damage, or
     expense exceeds the applicable Deductibles shown on the Declarations. We will then pay the amount of loss,
     damage, or expense in excess of the Deductibles, up to the applicable Limits of Insurance.

D.   VALUATION

     If you cannot accurately establish the amount of accounts receivable outstanding at the time of loss or damage
     to "accounts receivable records", the following method will be used to determine the amount of covered loss,
     damage, or expense:

     1.   Determine the total of the average monthly amounts of accounts receivable for the 12 months immediately
          preceding the month in which the loss or damage occurred; and

     2.   Adjust that total for normal fluctuations in the amount of accounts receivable for the month in which the loss
          or damage occurred or for any demonstrated variance from the average for that month.

     The following will be deducted from the total amount of accounts receivable, however that amount is established:

     1.   The amount of the accounts receivable for which there is no loss or damage;

     2.   The amount of the accounts receivable that you are able to re-establish or collect;

     3.   An amount to allow for probable bad debts that you are normally unable to collect; and

     4.   All unearned interest and service charges.




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Fine Arts Coverage Form

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Fine Arts Coverage Form

A.   COVERAGES

     1.   Fine Arts

          We will pay for direct physical loss of or damage to "fine arts" at a "premises" or "reported unscheduled
          premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
          premises" is the Limit of Insurance shown on the Declarations for Fine Arts.

      2. Fine Arts--Away From Premises

          We will also pay for direct physical loss of or damage to "fine arts" away from a "premises" or "reported
          unscheduled premises" directly caused by a "covered cause of loss".

          The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
          the Declarations for Fine Arts--Away From Premises.

B.   EXCLUDED CAUSES OF LOSS

     1.   Defects or Errors

          We will not pay for any of the following:

          a.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:

               1)   A "mistake" in planning, zoning, development, surveying, siting;

               2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
                    grading, compaction;

               3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

               4)   Insufficient or failure of maintenance or servicing,

               of part or all of any property on or off a "premises" or "reported unscheduled premises".

               But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
               that portion of the loss or damage which was solely caused by that "covered cause of loss".

          b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
               incorporating "defective materials" into part or all of any property on or off a "premises" or "reported
               unscheduled premises".

               But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
               that portion of the loss or damage which was solely caused by that "covered cause of loss".




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  2.   Disappearance or Shortage

       We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking
       inventory or where there is no physical evidence to show what happened to the "fine arts". This exclusion
       applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
       "malfunction".

  3.   Dishonest Acts

       We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
       omissions, committed by you, your partners, "members", officers, "managers", employees (including
       leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
       you have entrusted the "fine arts" for any purpose:

       a.   Acting alone or in collusion with others; or

       b.   Whether or not occurring during the hours of employment.

       This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
       "mistake" or "malfunction".

       This exclusion does not apply to:

       a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

       b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

  4.   Earth Movement

       We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or
       damage is excluded regardless of any other cause or event, including a "mistake", "malfunction", or
       weather condition, that contributes concurrently or in any sequence to the loss, even if such other cause or
       event would otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay
       for that portion of the loss or damage which was solely caused by that fire, explosion, or theft.

       If loss of or damage to "fine arts" caused by leakage from "fire protection sprinkler system piping"
       results from "earth movement", and there is no other loss or damage from "earth movement" to that
       same property, we will pay for the direct physical loss or damage caused solely from the "fire protection
       sprinkler system piping" leakage.

  5.   Expected, Preventable, or Accumulated Losses

       We will not pay for loss or damage caused by or resulting from:

       a.   Wear and tear;

       b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

       c.   Smog;

       d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
            property that causes it to damage or destroy itself;

       e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
            rodents, or other animals; or

       f.   Inherent vice.


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       Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
       "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
       such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".

  6.   Flood

       We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of
       the loss or damage which was solely caused by that fire, explosion, or theft.

  7.   Governmental Action

       We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
       nationalization, or destruction of property by order of governmental authority. Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered.

       This exclusion does not apply to:

       a.   Seizure or destruction of "fine arts" by order of governmental authority and taken at the time of fire to
            prevent its spread; or

       b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
            regulating construction, use, or repair of any property; provided such demolition order has become
            legally enforceable as a result of physical damage to:

            1)   Covered "real property"; or

            2)   Covered "personal property",

            directly caused by a "covered cause of loss".

            However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
            which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
            or in any way respond to, or assess the effects of, "pollutants" or "microorganisms".

  8.   Loss of Market or Delay

       We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
       exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
       or "malfunction".

  9.   Microorganisms

       We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
       aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
       resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
       including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
       sequence to the loss, even if such other cause or event would otherwise be covered.




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         But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
         lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
         of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

     10. Nuclear Hazard

         We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
         radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
         cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
         to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
         radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
         was solely caused by that fire.

     11. Pollutants

         We will not pay for loss or damage caused by or resulting from the discharge, dispersal, seepage, migration,
         release, or escape of "pollutants". But, if the discharge, dispersal, seepage, migration, release, or escape
         is caused by a "specified cause of loss", we will pay only for that portion of the loss or damage which was
         solely caused by that "specified cause of loss".

         We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
         regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
         detoxify, or neutralize, or in any way respond to, or assess the effects of "pollutants".

     12. Repair, Restoration, or Retouching

         We will not pay for loss of or damage to "fine arts" caused by or resulting from repair, restoration, or
         retouching.

     13. War and Military Action

         We will not pay for loss or damage arising, directly or indirectly, out of:

         a. War, including undeclared or civil war;

         b. Warlike action by a military force, including action in hindering or defending against an actual or
            expected attack, by any government, sovereign, or other authority using military personnel or other
            agents; or

         c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
              hindering or defending against any of these.

         Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
         "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
         event would otherwise be covered.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.




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D.   VALUATION

     1.   "Fine arts" are valued based on the lesser of:

          a.   "Market value" at the time of loss or damage; or

          b.   The value of "fine arts" that are individually listed and described on the schedule on file with us.

     2.   Pairs or Sets

          In case of loss to any part of a pair or set, we may:

          a.   Repair or replace any part to restore the pair or set to its value before the loss; or

          b.   Pay the difference between the value of the pair or set before and after the loss.




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Installation and Service Property Coverage Form

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Installation and Service Property Coverage Form

A.   COVERAGES

     1.   Stock to be Installed

          We will pay for direct physical loss of or damage to "stock" directly caused by a "covered cause of loss"
          while such "stock" is:

          a.   At an "installation or service premises";

          b.   At a "temporary storage location"; or

          c.   In transit, to or from an "installation or service premises" or a "temporary storage location".

          Coverage ends at the earlier of the following:

          a.   Your insurable interest in the "stock" ceases;

          b.   The "stock" is accepted by the purchaser;

          c.   The "stock" is installed and you have been paid;

          d.   The "stock" is installed and put to its intended use; or

          e.   The policy expires or is cancelled.

          The most we will pay under this Marine Coverage in any one occurrence is the applicable Limit of Insurance
          shown on the Declarations for Installation and Service Property--Stock to be Installed.

     2.   Tools and Equipment

          We will pay for direct physical loss of or damage to:

          a.   "Personal property" that are tools and equipment; and

          b.   Vehicles that are not licensed for use on public roads,

          used by you to install or service property at an "installation or service premises" directly caused by a
          "covered cause of loss". Coverage applies while such property is:

          a.   At an "installation or service premises"; or

          b.   In transit, to or from an "installation or service premises".

          The most we will pay under this Marine Coverage for any one item and in any one occurrence is the
          applicable Limit of Insurance shown on the Declarations for Installation and Service Property--Tools and
          Equipment or in a schedule on file with us.




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B.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Disappearance or Shortage

          We will not pay for loss caused by disappearance or shortage disclosed on taking inventory or where there
          is no physical evidence to show what happened to the property. This exclusion applies even if one of these
          excluded causes of loss was caused by or resulted from a "mistake" or "malfunction".

     3.   Dishonest Acts

          We will not pay for loss caused by or resulting from fraudulent, dishonest, or criminal acts or omissions,
          committed by you, your partners, "members", officers, "managers", employees (including leased or
          temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
          entrusted the property for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     4.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or



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       f.   Inherent vice.

       Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
       "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
       such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".

  5.   Governmental Action

       We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
       nationalization, or destruction of property by order of governmental authority. Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered.

       This exclusion does not apply to:

       a.   Seizure or destruction of property by order of governmental authority and taken at the time of fire to
            prevent its spread; or

       b.   Demolition orders issued pursuant to any ordinance or law in effect at the time of loss or damage
            regulating construction, use, or repair of any property; provided such demolition order has become
            legally enforceable as a result of physical damage to "real property" containing covered "personal
            property" directly caused by a "covered cause of loss".

            However, this exception does not apply to demolition orders issued pursuant to any ordinance or law
            which requires any insured or others to test for, monitor, clean up, remove, treat, detoxify, or neutralize,
            or in any way respond to, or assess the effects of "microorganisms".

  6.   Loss of Market or Delay

       We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
       exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
       or "malfunction".

  7.   Microorganisms

       We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
       aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
       resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
       including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
       sequence to the loss, even if such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
       lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
       of loss".

       We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
       regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
       detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  8.   Nuclear Hazard

       We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
       radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
       cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence

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       to the loss, even if such other cause or event would otherwise be covered. But, if nuclear reaction or
       radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
       was solely caused by that fire.

  9.   Precipitation

       We will not pay for loss or damage caused by or resulting from rain, hail, snow, ice, or sleet to property in
       the open. This exclusion applies even if one of these excluded causes of loss was caused by or resulted
       from a "mistake" or "malfunction".

       This exclusion does not apply to:

       a.   "Stock" in the custody of a carrier for hire; or

       b.   Vehicles that are not licensed for use on public roads.

  10. Process Failures, Defects, or Errors

       We will not pay for any of the following:

       a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
            or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
            development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
            such "stock".

       b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from:

            1)   A "mistake" in planning, zoning, development, surveying, siting;

            2)   A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
                 grading, compaction;

            3)   A "mistake" in materials used in repair, construction, renovation, or remodeling; or

            4)   Insufficient or failure of maintenance or servicing,

            of part or all of any property on or off an "installation or service premises".

            But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for
            that portion of the loss or damage which was solely caused by that "covered cause of loss".

       c.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
            incorporating "defective materials" into part or all of any property on or off an "installation or service
            premises".

            But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
            of the loss or damage which was solely caused by that "covered cause of loss".

       d.   Loss of or damage to machinery or equipment while undergoing a pressure or electrical test. This
            exclusion applies even this excluded cause of loss was caused by or resulted from an "equipment
            breakdown cause of loss", "mistake", or "malfunction".

            But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
            of the loss or damage which was solely caused by that "covered cause of loss".




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     11. Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
          to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     12. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

     13. Weight of Load

          We will not pay for loss of or damage to "personal property" that are tools and equipment or vehicles used
          by you to install or service property caused by or resulting from the weight of a load exceeding the
          manufacturer's rated lifting or supporting capacity of any machine under the operating conditions at the time
          of loss or damage.

C.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

D.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to Covered Property in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   The coverage provided for "stock" by this Coverage Form is primary to any other insurance not subject to
          the same plan, terms, conditions, and provisions as this Coverage Form.

E.   VALUATION

     We will determine the value of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., 6., and 7. below, the lesser of the following amounts:

          a.   The "replacement cost"; or


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       b.   The "amount you actually spend" to repair, rebuild, or replace Covered Property.

 2. Except as provided in 3., 5., 6., and 7. below, Covered Property which is not repaired, rebuilt, or replaced will
    be valued at the "actual cash value" at the time and place of loss or damage. If you commence the repair,
    rebuilding, or replacement of the lost or damaged Covered Property within 24 months from the date the loss
    or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you the difference
    between the "actual cash value" previously paid and the "replacement cost" at the time of loss or
    damage.

  3.   "Merchandise" and "finished stock" at the regular cash selling price, less any discounts and expenses
       you otherwise would have had.

  4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
       the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
       In no event will overhead be calculated in accordance with the principles of Absorption Costing.

  5.   Covered Property which has been permanently removed from service at "actual cash value".

  6.   "Duplicate information property" at the lesser of:

       a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

       b.   The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
            source on the same type of materials, provided such copying does not violate licensing or contract
            agreements.

  7. Subject to 1., 2., and 5. above, the most we will pay for any one item for scheduled equipment is the value
     per item shown on the schedule on file with us.




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Original Information Property Coverage Form

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Original Information Property Coverage Form

A. COVERAGES

  1. Original Information Property

      We will pay for direct physical loss of or damage to "original information property" at a "premises" or
      "reported unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage at any one "premises" or "reported unscheduled
      premises" is the Limit of Insurance shown on the Declarations for Original Information Property.

  2. Original Information Property--Away From Premises

      We will also pay for direct physical loss of or damage to "original information property" away from a
      "premises" or "reported unscheduled premises" directly caused by a "covered cause of loss".

      The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
      the Declarations for Original Information Property--Away From Premises.

B. EXCLUDED CAUSES OF LOSS

  1. Alteration, Falsification, Concealment, or Destruction

      We will not pay for loss or damage caused by or resulting from alteration, falsification, concealment, or
      destruction of "original information property" done to conceal the wrongful giving, taking, or withholding of
      "money", "securities", or other property.

   2. Bookkeeping, Accounting, or Billing Mistakes

      We will not pay for loss or damage caused by or resulting from a "mistake" or "malfunction" in bookkeeping,
      accounting, or billing.

   3. Defects or Errors

      We will not pay for any of the following:

      a. Loss or damage caused by or resulting from a "mistake" in:

          1) Programming;

          2) Instructions to a machine; or

          3) Installation or maintenance of "electronic data processing hardware" or component parts.

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

      b. Loss or damage, including the costs of correcting or making good, caused by or resulting from:

          1) A "mistake" in planning, zoning, development, surveying, siting;

          2) A "mistake" in design, specifications, workmanship, repair, construction, renovation, remodeling,
             grading, compaction;
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         3) A "mistake" in materials used in repair, construction, renovation, or remodeling; or

         4) Insufficient or failure of maintenance or servicing,

         of part or all of any "original information property" on or off a "premises" or "reported unscheduled
         premises".

         But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
         portion of the loss or damage which was solely caused by that "covered cause of loss".

     c. Loss or damage, including the costs of correcting or making good, caused by or resulting from
        incorporating "defective materials" into part or all of any "original information property" on or off a
        "premises" or "reported unscheduled premises".

         But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
         portion of the loss or damage which was solely caused by that "covered cause of loss".

  4. Disappearance or Shortage

     We will not pay for loss caused by or resulting from disappearance or shortage disclosed on taking inventory
     or where there is no physical evidence to show what happened to the "original information property". This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

  5. Dishonest Acts

     We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
     omissions, committed by you, your partners, "members", officers, "managers", employees (including leased
     or temporary employees), directors, trustees, authorized representatives, or anyone else to whom you have
     entrusted the "original information property" for any purpose:

     a. Acting alone or in collusion with others; or

     b. Whether or not occurring during the hours of employment.

     This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
     "mistake" or "malfunction".

     This exclusion does not apply to:

     a. Acts of vandalism committed by your employees (including leased or temporary employees); or

     b. Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

  6. Earth Movement

     We will not pay for loss or damage caused directly or indirectly by "earth movement". Such loss or damage
     is excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
     condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event would
     otherwise be covered. But if "earth movement" results in fire, explosion, or theft, we will pay for that portion
     of the loss or damage which was solely caused by that fire, explosion, or theft.

     If loss of or damage to "original information property" caused by leakage from "fire protection sprinkler
     system piping" results from "earth movement", and there is no other loss or damage from "earth
     movement" to that same property, we will pay for the direct physical loss or damage caused solely from the
     "fire protection sprinkler system piping" leakage.

  7. Electronic Vandalism
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     We will not pay for loss or damage caused by or resulting from "electronic vandalism".

     This exclusion applies even if the "electronic vandalism" was caused by or resulted from a "mistake" or
     "malfunction".

  8. Expected, Preventable, or Accumulated Losses

     We will not pay for loss or damage caused by or resulting from:

     a. Wear and tear;

     b. Smoke, vapor, or gas from agricultural smudging or industrial operations;

     c. Smog;

     d. Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the property
        that causes it to damage or destroy itself;

     e. Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds, rodents,
        or other animals; or

     f.   Inherent vice.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
     other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
     portion of the loss or damage which was solely caused by that "covered cause of loss".

  9. Flood

     We will not pay for loss or damage caused directly or indirectly by "flood". Such loss or damage is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise be
     covered. But if "flood" results in fire, explosion, or theft, we will pay for that portion of the loss or damage
     which was solely caused by that fire, explosion, or theft.

  10. Governmental Action

     We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
     nationalization, or destruction of property by order of governmental authority. Such loss or damage is
     excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather condition,
     that contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise
     be covered.

     This exclusion does not apply to acts of destruction of "original information property" ordered by
     governmental authority and taken at the time of fire to prevent its spread.

  11. Loss of Market or Delay

     We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
     exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake" or
     "malfunction".

  12. Microorganisms


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     We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or aggravated
     by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless resulting from fire
     or lightning. Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
     "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
     other cause or event would otherwise be covered.

     But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
     lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause of
     loss".

     We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
     regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
     detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  13. Nuclear Hazard

     We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or radioactive
     contamination, however caused. Such loss or damage is excluded regardless of any other cause or event,
     including a "mistake" or "malfunction", that contributes concurrently or in any sequence to the loss, even if
     such other cause or event would otherwise be covered. But if nuclear reaction or radiation, or radioactive
     contamination results in fire, we will pay for that portion of the loss or damage which was solely caused by that
     fire.

  14. War and Military Action

     We will not pay for loss or damage arising, directly or indirectly, out of:

     a. War, including undeclared or civil war;

     b. Warlike action by a military force, including action in hindering or defending against an actual or expected
        attack, by any government, sovereign, or other authority using military personnel or other agents; or

     c. Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by hindering
        or defending against any of these.

     Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
     "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or event
     would otherwise be covered.

C. DEDUCTIBLE

  We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
  applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
  the Deductibles, up to the applicable Limits of Insurance.

D. VALUATION

  We will determine the value of covered loss or damage to lost or damaged "original information property" at the
  full cost necessary to research and reproduce a master copy, including the information and material on which it
  resides. However, we will only pay for costs of research and reproduction if you reproduce your "original
  information property". We will not include the cost of making additional copies.




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Transit Coverage Form

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Transit Coverage Form

A.   COVERAGE

     We will pay for direct physical loss of or damage to "personal property" in transit, including:

     1.   Your interest in shipments sold under Free on Board or Freight Allowed terms;

     2.   "Personal property" when the purchaser refuses to accept delivery or returns it to the shipper; or

     3.   General average and salvage charges on shipments while waterborne,

     directly caused by a "covered cause of loss".

     The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on the
     Declarations for Transit--Personal Property.

B.   PROPERTY NOT COVERED

     This Coverage Form does not apply to:

     1.   "Personal property" in transit to or from a fair or exhibition;

     2.   "Salespersons samples";

     3.   Property of others in your care, custody, or control if you are acting as a carrier for hire, broker, loader,
          consolidator, or freight forwarder with a written contract or bill of lading;

     4.   "Personal property" used by you to install or service property at an "installation or service premises";

     5.   "Stock" in transit to or from an "installation or service premises" or a "temporary storage location";

     6.   Furs, fur garments, and garments trimmed with fur;

     7.   Jewelry, watches, watch movements, jewels, pearls, precious or semiprecious stones, bullion, gold, silver,
          platinum, and other precious alloys or metals, except for:

          a.   Jewelry or watches worth $100 or less per item; or

          b.   Precious or semiprecious stones or metals used for industrial purposes; or

     8.   Lottery tickets held for sale.




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C.   EXCLUDED CAUSES OF LOSS

     1.   Artificially Maintained Conditions

          We will not pay for loss of or damage to "personal property" caused by or resulting from the loss of or
          change in any artificially maintained or generated temperature, humidity, or atmosphere. This exclusion
          applies even if one of these excluded causes of loss was caused by or resulted from an "equipment
          breakdown cause of loss", "mistake", or "malfunction".

          But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
          portion of the loss or damage which was solely caused by that "covered cause of loss".

          This exclusion does not apply to "electronic data processing hardware" or "duplicate information
          property".

     2.   Dishonest Acts

          We will not pay for loss or damage caused by or resulting from fraudulent, dishonest, or criminal acts or
          omissions, committed by you, your partners, "members", officers, "managers", employees (including
          leased or temporary employees), directors, trustees, authorized representatives, or anyone else to whom
          you have entrusted the "personal property" for any purpose:

          a.   Acting alone or in collusion with others; or

          b.   Whether or not occurring during the hours of employment.

          This exclusion applies even if one of these excluded causes of loss was caused by or resulted from a
          "mistake" or "malfunction".

          This exclusion does not apply to:

          a.   Acts of vandalism committed by your employees (including leased or temporary employees); or

          b.   Carriers for hire or anyone claiming to be a carrier for hire at the time the property is entrusted to them.

     3.   Expected, Preventable, or Accumulated Losses

          We will not pay for loss or damage caused by or resulting from:

          a.   Wear and tear;

          b.   Smoke, vapor, or gas from agricultural smudging or industrial operations;

          c.   Smog;

          d.   Rust or other corrosion, decay, deterioration, fading, hidden or latent defect, or any quality of the
               property that causes it to damage or destroy itself;

          e.   Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
               rodents, or other animals; or

          f.   Inherent vice.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if
          such other cause or event would otherwise be covered.



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       But if a result of one of these excluded causes of loss is a "covered cause of loss", we will pay for that
       portion of the loss or damage which was solely caused by that "covered cause of loss".

  4.   Governmental Action

       We will not pay for loss or damage caused directly or indirectly by any seizure, confiscation, expropriation,
       nationalization, or destruction of property by order of governmental authority. Such loss or damage is
       excluded regardless of any other cause or event, including a "mistake", "malfunction", or weather
       condition, that contributes concurrently or in any sequence to the loss, even if such other cause or event
       would otherwise be covered.

       This exclusion does not apply to seizure or destruction of property by order of governmental authority and
       taken at the time of fire to prevent its spread.

  5.   Loss of Market or Delay

       We will not pay for loss or damage caused by or resulting from loss of market, loss of use, or delay. This
       exclusion applies even if one of these excluded causes of loss was caused by or resulted from a "mistake"
       or "malfunction".

  6.   Microorganisms

       We will not pay for loss or damage consisting of, directly or indirectly caused by, contributed to, or
       aggravated by the presence, growth, proliferation, spread, or any activity of "microorganisms", unless
       resulting from fire or lightning. Such loss or damage is excluded regardless of any other cause or event,
       including a "mistake", "malfunction", or weather condition, that contributes concurrently or in any
       sequence to the loss, even if such other cause or event would otherwise be covered.

       But if a result of one of these excluded causes of loss is a "specified cause of loss", other than fire or
       lightning, we will pay that portion of the loss or damage which was solely caused by that "specified cause
       of loss".

       We will also not pay for loss, cost, or expense arising out of any request, demand, order, or statutory or
       regulatory requirement that requires any insured or others to test for, monitor, clean up, remove, treat,
       detoxify, or neutralize, or in any way respond to, or assess the effects of "microorganisms".

  7.   Nuclear Hazard

       We will not pay for loss or damage caused directly or indirectly by nuclear reaction or radiation, or
       radioactive contamination, however caused. Such loss or damage is excluded regardless of any other
       cause or event, including a "mistake" or "malfunction", that contributes concurrently or in any sequence
       to the loss, even if such other cause or event would otherwise be covered. But if nuclear reaction or
       radiation, or radioactive contamination results in fire, we will pay for that portion of the loss or damage which
       was solely caused by that fire.

  8.   Process Failures, Defects, or Errors

       We will not pay for any of the following:

       a.   Loss or damage due to spoilage, destruction, adulteration, discard, reduction in value, or any other loss
            or damage to "stock" caused by or resulting from a "mistake" or "malfunction" in the alteration,
            development, distribution, installation, manufacturing, maintenance, processing, repair, or testing of
            such "stock".

       b.   Loss or damage, including the costs of correcting or making good, caused by or resulting from
            incorporating "defective materials" into part or all of any property on or off the "premises".



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               But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion
               of the loss or damage which was solely caused by that "covered cause of loss".

     9.   Suspended Equipment

          We will not pay for loss or damage caused by or resulting from an "equipment breakdown cause of loss"
          to "suspended equipment". This exclusion applies even if this excluded cause of loss was caused by or
          resulted from a "mistake" or "malfunction".

          But if a result of this excluded cause of loss is a "covered cause of loss", we will pay for that portion of the
          loss or damage which was solely caused by that "covered cause of loss".

     10. War and Military Action

          We will not pay for loss or damage arising, directly or indirectly, out of:

          a.   War, including undeclared or civil war;

          b.   Warlike action by a military force, including action in hindering or defending against an actual or
               expected attack, by any government, sovereign, or other authority using military personnel or other
               agents; or

          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority by
               hindering or defending against any of these.

          Such loss or damage is excluded regardless of any other cause or event, including a "mistake" or
          "malfunction", that contributes concurrently or in any sequence to the loss, even if such other cause or
          event would otherwise be covered.

D.   DEDUCTIBLE

     We will not pay for loss or damage in any one occurrence until the amount of loss or damage exceeds the
     applicable Deductibles shown on the Declarations. We will then pay the amount of loss or damage in excess of
     the Deductibles, up to the applicable Limits of Insurance.

E.   ADDITIONAL CONDITIONS

     The following conditions apply in addition to the COMMERCIAL PROPERTY CONDITIONS and the COMMON
     POLICY CONDITIONS:

     1.   In the event of any loss or damage to "personal property" in transit, you must immediately make a claim in
          writing against the carrier, bailee, or others involved.

     2.   If "personal property" in transit which was sold under Free on Board or Freight Allowed terms is lost or
          damaged and the consignee refuses to pay for such "personal property" because of the loss or damage,
          we will not attempt to enforce collection from the consignee without your written permission.

F.   VALUATION

     We will determine the amount of covered loss or damage as follows:

     1.   Except as provided in 2., 3., 4., 5., and 6. below, the lesser of the following amounts:

          a.   The "replacement cost"; or

          b.   The "amount you actually spend" to repair, rebuild, or replace "personal property".



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  2.   Except as provided in 3., 5., and 6. below, "personal property" which is not repaired, rebuilt, or replaced
       will be valued at the "actual cash value" at the time and place of loss or damage. If you commence the
       repair, rebuilding, or replacement of the lost or damaged "personal property" within 24 months from the
       date the loss or damage occurred, upon completion of the repair, rebuilding, or replacement we will pay you
       the difference between the "actual cash value" previously paid and the "replacement cost" at the time of
       loss or damage.

  3.   "Merchandise" which has been sold but not delivered and "finished stock" at the regular cash selling
       price, less any discounts and expenses you otherwise would have had.

  4.   "Stock in process" at the value of "raw stock", your labor expended, and your materials incorporated plus
       the proper proportion of your overhead charges, calculated in accordance with principles of Direct Costing.
       In no event will overhead be calculated in accordance with the principles of Absorption Costing.

  5.   "Personal property" which has been permanently removed from service at "actual cash value".

  6.   "Duplicate information property" at the lesser of:

       a.   The cost to purchase a duplicate copy, if a duplicate copy exists and is available for sale; or

       b. The cost of blank materials, plus any cost incurred to copy data onto blank materials from a duplicate
           source on the same type of materials, provided such copying does not violate licensing or contract
           agreements.




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Business Income Coverage Form Including
Research and Development Continuing Expenses
(Excluding Extra Expense)--Technology

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Business Income Coverage Form Including
Research and Development Continuing Expenses
(Excluding Extra Expense)--Technology
A.   COVERAGES

     1.   Business Income

          We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
          your "operations" during the "period of restoration". The "suspension" must be caused by direct
          physical loss of or damage to property at a "premises" at which a Limit of Insurance is shown on the
          Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of
          loss". We will not pay more than the applicable Limit of Insurance shown on the Declarations for Business
          Income at that "premises".

     2.   Research and Development Continuing Expenses

          We will pay for the actual and necessary "research and development continuing expenses" you incur due
          to the necessary "suspension" of your "research and development operations" during the "period of
          restoration". The "suspension" must be caused by direct physical loss of or damage to property at a
          "premises" at which "research and development operations" are conducted and for which a Limit of
          Insurance is shown on the Declarations for Research and Development Continuing Expenses. The loss or
          damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable
          Limit of Insurance shown on the Declarations for Research and Development Continuing Expenses at that
          "premises".

B.   ADDITIONAL COVERAGES

     1.   Civil Authority

          a.   We will pay for the actual loss of "business income" you sustain for up to the number of days shown
               on the Declarations for Civil Authority resulting from the necessary "suspension", or delay in the start,
               of your "operations" if the "suspension" or delay is caused by order of civil authority that prohibits
               access to the "premises" or "reported unscheduled premises". That order must result from a civil
               authority’s response to direct physical loss of or damage to property located within one mile from the
               "premises" or "reported unscheduled premises" which sustains a "business income" loss. The
               loss or damage must be directly caused by a "covered cause of loss".

               The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
               Declarations for Business Income at the "premises" or "reported unscheduled premises" where
               access was prohibited.

               The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
               Insurance.

          b.   We will pay for the actual and necessary "research and development continuing expenses" you
               incur for up to the number of days shown on the Declarations for Civil Authority resulting from the
               necessary "suspension", or delay in the start, of your "research and development operations" if the
               "suspension" or delay is caused by order of civil authority that prohibits access to the "premises"
               where "research and development operations" are conducted. That order must result from a civil
               authority’s response to direct physical loss of or damage to property located within one mile from the
               "premises" where the "research and development continuing expenses" are incurred. The loss or
               damage must be directly caused by a "covered cause of loss".

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           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where access
           was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

2.   Contractual Penalties

     We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to
     late or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to
     property at a "premises" or "reported unscheduled premises" at which a Limit of Insurance is shown on
     the Declarations for Business Income. The loss or damage must be directly caused by a "covered cause of
     loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Contractual Penalties.

3.   Delayed Net Income

     We will pay for the actual loss of "net income" you sustain after the "extended period of indemnity".

     We only pay if the following conditions apply:

     a.    The loss of "net income" must be caused by direct physical loss of or damage to property directly
           related to "research and development operations" at a "premises" or "reported unscheduled
           premises" at which a Limit of Insurance is shown on the Declarations for Business Income and must
           result in a delay in the introduction of a new product or the enhancement of an existing product;

     b.    The loss or damage must be directly caused by a "covered cause of loss";

     c.    You begin to sustain the loss of "net income" within 24 months of the date of the direct physical loss of
           or damage to property; and

     d.    You notify us in writing of such loss of "net income" within 24 months of the date of the direct physical
           loss or damage.

     We will only pay the actual loss of "net income" you sustain during the period that:

     a.    Begins on the first date after the "extended period of indemnity" on which you begin to sustain the
           loss of "net income"; and

     b.    Continues for a period of time equal to the time it should have taken, with reasonable speed, to repair,
           rebuild, or replace the damaged property to the condition that existed prior to the loss or damage.

     If a competitor introduces a similar product prior to the date you originally scheduled the introduction of a new
     or enhanced product, then the amount of the "net income" loss will be adjusted to reflect the competitor's
     action.

     The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
     Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
     damage occurred.

     The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.



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4.   Electronic Vandalism

     We will pay for the actual loss of "business income" you sustain and the actual and necessary "research
     and development continuing expenses" you incur due to the necessary "suspension" of your
     "operations" or "research and development operations" provided the "suspension" was directly caused
     by "electronic vandalism".

     The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
     Insurance shown on the Declarations for Electronic Vandalism--Business Income.

5.   Expense to Reduce Loss

     We will pay reasonable and necessary expenses you incur, except the cost of extinguishing a fire, to reduce
     the amount of loss of "business income". We will pay for such expenses to the extent that they do not
     exceed the amount of loss that otherwise would have been payable under this Coverage Form and subject to
     the applicable Limit of Insurance shown on the Declarations for Business Income at that "premises".

6.   Extended Period of Indemnity

     a.    If the necessary "suspension" of your "operations" produces a "business income" loss payable
           under this Coverage Form, and you resume "operations" with reasonable speed, we will pay for the
           actual loss of "business income" you sustain during the "extended period of indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Business Income at the "premises" or "reported unscheduled premises" where the
           direct physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

     b.    If the necessary "suspension" of your "research and development operations" directly causes a
           suspension, lapse, or cancellation of any license, lease, or contract, including milestone contracts, we
           will pay the portion of "research and development continuing expenses" directly attributable to that
           suspension, lapse, or cancellation during the "research and development extended period of
           indemnity".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
           Declarations for Research and Development Continuing Expenses at the "premises" where the direct
           physical loss or damage occurred.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
           Insurance.

7.   Fairs or Exhibitions

     We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
     your "operations" during the "period of restoration". The "suspension" must be caused by direct
     physical loss of or damage to property at, or while in transit to or from, any fair or exhibition. The loss or
     damage must be directly caused by a "covered cause of loss".

     The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown
     on the Declarations for Fairs or Exhibitions--Business Income.

8.   Food and Drug Administration (FDA) Recertification--Business Income




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      We will extend the "period of restoration" to include the period of time that begins when you advise the
      FDA, as required, that you are ready to resume your "operations" and ends when the FDA approves and
      certifies the "premises" or "reported unscheduled premises" to resume your "operations" at the same
      level of certification that existed prior to the "suspension" of your "operations". The "period of
      restoration" does not include time required to obtain approvals or certificates that you were not legally
      required to have prior to the "suspension" of your "operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Business Income at the "premises" or "reported unscheduled premises" where the direct physical loss or
      damage occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

9.    Food and Drug Administration (FDA) Recertification--Research and Development Continuing
      Expenses

      We will extend the "period of restoration" to include the period of time that begins when you advise the
      FDA, as required, that you are ready to resume your "research and development operations" and ends
      when the FDA approves and certifies the "premises" to resume your "research and development
      operations" at the same level of certification that existed prior to the "suspension" of your "research and
      development operations". The "period of restoration" does not include time required to obtain approvals
      or certificates that you were not legally required to have prior to the "suspension" of your "research and
      development operations".

      The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
      Research and Development Continuing Expenses at the "premises" where the direct physical loss or
      damage occurred.

      The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

10.   Ingress/Egress

      a.    We will pay for the actual loss of "business income" you sustain for up to the number of days shown
            on the Declarations for Ingress/Egress following the necessary "suspension" of your "operations",
            when ingress or egress by your suppliers, customers, or employees to the "premises" or "reported
            unscheduled premises" is physically obstructed due to direct physical loss or damage. The actual
            loss of "business income" you sustain must be caused by direct physical loss of or damage to
            property not owned, occupied, leased, or rented by you, or insured under this Commercial Property
            Coverage Part. That property must be located within one mile from the "premises" or "reported
            unscheduled premises" which sustains a "business income" loss. The obstruction cannot be the
            result of an order of civil authority that prohibits access to that "premises" or "reported unscheduled
            premises". The loss or damage must be directly caused by a "covered cause of loss".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Business Income at the "premises" or "reported unscheduled premises" where
            ingress or egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.

      b.    We will pay for the actual and necessary "research and development continuing expenses" you
            incur for up to for up to the number of days shown on the Declarations for Ingress/Egress following the
            necessary "suspension" of your "research and development operations", when ingress or egress
            by your suppliers, customers, or employees to the "premises" is physically obstructed due to direct
            physical loss or damage. The actual and necessary "research and development continuing
            expenses" you incur must be caused by direct physical loss of or damage to property not owned,


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            occupied, leased, or rented by you, or insured under this Commercial Property Coverage Part. That
            property must be located within one mile from the "premises" where the "research and development
            operations" are conducted. The obstruction cannot be the result of an order of civil authority that
            prohibits access to that "premises". The loss or damage must be directly caused by a "covered cause
            of loss".

            The most we will pay under this Additional Coverage is the Limit of Insurance shown on the
            Declarations for Research and Development Continuing Expenses at the "premises" where ingress or
            egress was obstructed.

            The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of
            Insurance.

11.   Microorganisms

      We will pay for the actual loss of "business income" you sustain due to the:

      a.    Necessary "suspension" of your "operations" from direct physical loss of or damage to Covered
            Property caused by "microorganisms" when the "microorganisms" are the result of a "covered
            cause of loss"; or

      b.    Prolonged "period of restoration" due to the remediation of "microorganisms" from a covered loss.

      The most we will pay under this Additional Coverage in any one policy year is the Annual Aggregate Limit of
      Insurance shown on the Declarations for Microorganisms--Business Income. Regardless of the number of
      claims, this Limit of Insurance is the most we will pay for the total of all loss, even if the "microorganisms"
      continue to be present, active, or recur.

12.   Newly Acquired Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
      your "operations" during the "period of restoration". The "suspension" must be caused by direct
      physical loss of or damage to your property at a "newly acquired premises". The loss or damage must be
      directly caused by a "covered cause of loss".

      This Additional Coverage will automatically expire on the earliest of the following dates:

      a.    The date you report the "newly acquired premises" to us;

      b.    The number of days shown on the Declarations from the date the location becomes a "newly acquired
            premises"; or

      c.    The date this policy expires or is cancelled.

      We will charge you additional premium for values reported from the date the location becomes a "newly
      acquired premises".

      The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
      Insurance shown on the Declarations for Newly Acquired Premises--Business Income.

13.   Reported Unscheduled Premises

      We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
      your "operations" during the "period of restoration". The "suspension" must be caused by direct
      physical loss of or damage to property at a "reported unscheduled premises". The loss or damage must
      be directly caused by a "covered cause of loss".


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           The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
           Limit of Insurance shown on the Declarations for Reported Unscheduled Premises--Business Income.

     14.   Transit

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
           your "operations" during the "period of restoration". The "suspension" must be caused by direct
           physical loss of or damage to property in transit, other than while in transit to or from any fair or exhibition.
           The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Marine Coverage in any one occurrence is the Limit of Insurance shown on
           the Declarations for Transit--Business Income.

     15.   Unreported Premises

           We will pay for the actual loss of "business income" you sustain due to the necessary "suspension" of
           your "operations" during the "period of restoration". The "suspension" must be caused by direct
           physical loss of or damage to your property, or property of your landlord, at an "unreported premises". The
           loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
           Insurance shown on the Declarations for Unreported Premises--Business Income.

C.   EXCLUSIONS

     1.    Real or Personal Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the REAL AND
           PERSONAL PROPERTY COVERAGE FORM, except Off-Premises Service Interruption, apply to loss of
           "business income" and "research and development continuing expenses" incurred caused by or
           resulting from loss of or damage to any property other than:

           a.    "Research and development property";

           b.    "Fine arts";

           c.    "Original information property";

           d.    "Outdoor trees, shrubs, plants, or lawns";

           e.    "Green roofing systems"; or

           f.    "Personal property" in transit.

     2.    Research and Development Property

           The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the RESEARCH AND
           DEVELOPMENT PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
           development continuing expenses" incurred caused by or resulting from loss of or damage to "research
           and development property".




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3.   Fine Arts

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the FINE ARTS
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
     "fine arts".

4.   Original Information Property

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the ORIGINAL
     INFORMATION PROPERTY COVERAGE FORM apply to loss of "business income" and "research and
     development continuing expenses" incurred caused by or resulting from loss of or damage to "original
     information property".

5.   Personal Property in Transit

     The exclusions in paragraphs 6., 7., and 8. below and the excluded causes of loss in the TRANSIT
     COVERAGE FORM apply to loss of "business income" caused by or resulting from loss of or damage to
     "personal property" in transit.

6.   Finished Stock

     We will not pay for loss of "business income" caused by or resulting from:

     a.    Loss of or damage to "finished stock"; or

     b.    The time required to replace "finished stock".

7.   Off-Premises Service Interruption

     We will not pay for loss of "business income" or "research and development continuing expenses"
     incurred caused by or resulting from any "off-premises service interruption". Such loss is excluded
     regardless of any other cause or event, including a "mistake", "malfunction", or weather condition, that
     contributes concurrently or in any sequence to the loss, even if such other cause or event would otherwise be
     covered.

8.   Suspension, Lapse, or Cancellation

     a.    We will not pay for any loss of "business income" caused by or resulting from a suspension, lapse, or
           cancellation of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly
           caused by the "suspension" of your "operations". If the suspension, lapse, or cancellation of any
           license, lease, or contract is directly caused by the "suspension" of your "operations", we will not pay
           for that portion of any loss from such suspension, lapse, or cancellation which occurs after the
           "extended period of indemnity".

     b.    We will not pay for any "research and development continuing expenses" incurred caused by or
           resulting from a suspension, lapse, or cancellation of any license, lease, or contract, unless the
           suspension, lapse, or cancellation is directly caused by the "suspension" of your "research and
           development operations". If the suspension, lapse, or cancellation of any license, lease, or contract
           is directly caused by the "suspension" of your "research and development operations", we will not
           pay for that portion of any loss from such suspension, lapse, or cancellation which occurs after the
           "research and development extended period of indemnity".




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D.   LIMITATIONS

     1.    Idle Periods
           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred during any period in which business would not or could not have been conducted for any reason
           other than:
           a.     Direct physical loss of or damage to property as described in Section A., Coverages, above;

           b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as
                 described in the Civil Authority Additional Coverage above; or

           c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled
                 premises" as described in the Ingress/Egress Additional Coverage above.

     2.    Strikers or Others Causing Delay

           We will not pay for any loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from delay in rebuilding, repairing, or replacing property, or resuming
           "operations" or "research and development operations", due to the interference at the location of the
           rebuilding, repair, or replacement by strikers or other persons.

     3.    Outdoor Trees, Shrubs, Plants, or Lawns

           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from loss of or damage to "outdoor trees, shrubs, plants, or lawns" unless
           the loss or damage is directly caused by fire, lightning, explosion, riot or civil commotion, or aircraft.

     4.    Green Roofing Systems

           We will not pay for loss of "business income" or "research and development continuing expenses"
           incurred caused by or resulting from loss of or damage to "green roofing systems" unless the loss or
           damage is directly caused by a "covered cause of loss" other than loss or damage caused by or resulting
           from:

           a.    Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                 rodents, or other animals;

           b.    Disease;

           c.    Changes in or extremes of temperature;

           d.    Dampness or dryness of atmosphere or of soil supporting the vegetation; or

           e.    Rain, snow, hail, ice, or sleet.

E.   DEDUCTIBLE

     We will not pay for any loss of "business income" or "research and development continuing expenses"
     incurred in any one occurrence until the amount of loss or expense incurred exceeds the applicable Deductibles or
     is incurred after the applicable Waiting Periods shown on the Declarations. We will then pay the amount of actual
     "business income" loss sustained or actual and necessary "research and development continuing expenses"
     incurred in excess of the Deductibles or incurred after the Waiting Periods, up to the applicable Limits of Insurance.

     If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical
     loss of or damage to property, directly caused by a "covered cause of loss".



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F.   LOSS DETERMINATION

     1.   Sources of Information

          The amount of actual "business income" loss sustained will be based on relevant sources of information,
          including, but not limited to:

          a.    Your financial records, tax returns, and accounting procedures;

          b.    Bills, invoices, and other vouchers; and

          c.    Deeds, liens, and contracts.

     2.   Net Income

          The amount of "net income" will be determined based on:

          a.    The "net income" of the business before the direct physical loss or damage occurred; and

          b.    The likely "net income" of the business if no direct physical loss or damage had occurred.

     3.   Continuing Expenses

          The amount of "continuing expenses" will be determined based on those expenses which are necessary to
          resume your "operations" with the same quality of service that existed just before the direct physical loss or
          damage and which are incurred during the "period of restoration" or "extended period of indemnity".

     4.   Resumption of Operations

          We will reduce the amount of the "business income" loss and "research and development continuing
          expenses" paid:

          a.    To the extent you could resume your "operations" or "research and development operations", in
                whole or in part, by using damaged or undamaged property, including "stock"; or

          b.    To the extent you could resume your "operations" or "research and development operations", in
                whole or in part, by using any other location.

     5.   Research and Development Continuing Expenses

          The amount of "research and development continuing expenses" incurred will be determined based on
          those expenses which are necessary to resume "research and development operations" of the same or
          similar nature that existed just before the direct physical loss or damage and which are incurred during the
          "period of restoration" or "research and development extended period of indemnity".

     6.   Finished Stock and Merchandise

          Lost or damaged "finished stock" or "merchandise" that is valued at regular cash selling price will be
          considered to have been sold to your customers and will be credited against the lost sales.




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G.   OPTIONAL COVERAGES

     If shown on the Declarations, the following Optional Coverages apply separately to each item:

     1.    Maximum Period of Indemnity

           The most we will pay for loss of "business income" is the lesser of:

           a.    The amount of loss sustained during the 120 days immediately following the beginning of the "period
                 of restoration"; or

           b.    The Limit of Insurance shown on the Declarations.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The following Additional Coverages do not apply:

           a.    Delayed Net Income; and

           b.    Extended Period of Indemnity.

     2.    Monthly Limit of Indemnity

           The most we will pay for loss of "business income" in each period of 30 consecutive days after the
           beginning of the "period of restoration" is:

           a.    The Limit of Insurance, multiplied by

           b.    The fraction shown on the Declarations for this Optional Coverage.

           The Additional Condition--Coinsurance endorsement does not apply to this Optional Coverage.

           The following Additional Coverages do not apply:

           a.    Delayed Net Income; and

           b.    Extended Period of Indemnity.

           Example:

           If:

           a.    The Limit of Insurance is $120,000.

           b.    The fraction shown on the Declarations for this Optional Coverage is 1/4.

           The most we will pay for loss in each period of 30 consecutive days is $30,000.

           If, in this example, the actual amount of the loss is:

           Days 1-30      $40,000
           Days 31-60      20,000
           Days 61-90      30,000
                          $90,000




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   We will pay:

   Days 1-30      $30,000
   Days 31-60      20,000
   Days 61-90      30,000
                  $80,000

   The remaining $10,000 of loss is not covered.




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Extra Expense Coverage Form

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Extra Expense Coverage Form
A.   COVERAGE

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property at a "premises" at which a Limit of Insurance is shown for Extra Expense on the Declarations. The loss or
     damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable Limit of
     Insurance shown on the Declarations for Extra Expense at that "premises".

B.   ADDITIONAL COVERAGES

     1.    Civil Authority

           We will pay for the actual and necessary "extra expense" you incur for up to the number of days shown on
           the Declarations for Civil Authority when an order of civil authority prohibits access to the "premises" or
           "reported unscheduled premises". That order must result from a civil authority’s response to direct physical
           loss of or damage to property located within one mile from the "premises" or "reported unscheduled
           premises" where the "extra expense" was incurred. The loss or damage must be directly caused by a
           "covered cause of loss".

           The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where access was prohibited.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     2.    Ingress/Egress

           We will pay for the actual and necessary "extra expense" you incur for up to the number of days shown on
           the Declarations for Ingress/Egress, when ingress or egress by your suppliers, customers, or employees to the
           "premises" or "reported unscheduled premises" is physically obstructed due to direct physical loss or
           damage. The actual and necessary "extra expense" you incur must be caused by direct physical loss of or
           damage to property not owned, occupied, leased, or rented by you, or insured under this Commercial Property
           Coverage Part. That property must be located within one mile from the "premises" or "reported
           unscheduled premises" where the "extra expense" was incurred. The obstruction cannot be the result of
           an order of civil authority that prohibits access to that "premises" or "reported unscheduled premises".
           The loss or damage must be directly caused by a "covered cause of loss".

           The most we will pay under the Additional Coverage is the Limit of Insurance shown on the Declarations for
           Extra Expense at the "premises" or "reported unscheduled premises" where ingress or egress was
           obstructed.

           The Limit for this Additional Coverage is included in, and not in addition to, the applicable Limit of Insurance.

     3.    Newly Acquired Premises

           We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
           to your property at a "newly acquired premises". The loss or damage must be directly caused by a
           "covered cause of loss".

           This Additional Coverage will automatically expire on the earliest of the following dates:

           a.    The date you report the "newly acquired premises" to us;


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          b.   The number of days shown on the Declarations from the date the location becomes a "newly acquired
               premises"; or

          c.   The date this policy expires or is cancelled.

          We will charge you additional premium for values reported from the date the location becomes a "newly
          acquired premises".

          The most we will pay under this Additional Coverage at any one "newly acquired premises" is the Limit of
          Insurance shown on the Declarations for Newly Acquired Premises--Extra Expense.

     4.   Reported Unscheduled Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
          to property at a "reported unscheduled premises". The loss or damage must be directly caused by a
          "covered cause of loss".

          The most we will pay under this Additional Coverage at any one "reported unscheduled premises" is the
          Limit of Insurance shown on the Declarations for Reported Unscheduled Premises--Extra Expense.

     5.   Unreported Premises

          We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage
          to your property at an "unreported premises". The loss or damage must be directly caused by a "covered
          cause of loss".

          The most we will pay under this Additional Coverage at any one "unreported premises" is the Limit of
          Insurance shown on the Declarations for Unreported Premises--Extra Expense.

C.   EXCLUSIONS

     1.   Real or Personal Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the REAL AND PERSONAL
          PROPERTY COVERAGE FORM, except Off Premises Service Interruption, apply to "extra expense"
          incurred caused by or resulting from loss of or damage to any property other than:

          a.   "Fine arts";

          b.   "Original information property";

          c.   "Outdoor trees, shrubs, plants, or lawns"; or

          d.   "Green roofing systems".

     2.   Fine Arts

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the FINE ARTS COVERAGE
          FORM apply to "extra expense" incurred caused by or resulting from loss of or damage to "fine arts".




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     3.   Original Information Property

          The exclusions in paragraphs 4. and 5. below and the excluded causes of loss in the ORIGINAL
          INFORMATION PROPERTY COVERAGE FORM apply to "extra expense" incurred caused by or resulting
          from loss of or damage to "original information property".

     4.   Off-Premises Service Interruption

          We will not pay for "extra expense" incurred caused by or resulting from any "off-premises service
          interruption". Such loss is excluded regardless of any other cause or event, including a "mistake",
          "malfunction", or weather condition, that contributes concurrently or in any sequence to the loss, even if such
          other cause or event would otherwise be covered.

     5.   Suspension, Lapse, or Cancellation

          We will not pay for "extra expense" incurred caused by or resulting from a suspension, lapse, or cancellation
          of any license, lease, or contract, unless the suspension, lapse, or cancellation is directly caused by the
          "suspension" of your "operations". If the suspension, lapse, or cancellation of any license, lease, or
          contract is directly caused by the "suspension" of your "operations", we will not pay for that portion of any
          "extra expense" incurred from such suspension, lapse, or cancellation which occurs after the "period of
          restoration".

D.   LIMITATIONS

     1.   Idle Periods

          We will not pay for "extra expense" incurred during any period in which business would not or could not have
          been conducted for any reason other than:

          a.    Direct physical loss of or damage to property as described in Section A., Coverage, above;

          b.    A civil authority prohibiting access to the "premises" or "reported unscheduled premises" as
                described in the Civil Authority Additional Coverage above; or

          c.    A physical obstruction affecting ingress or egress to the "premises" or "reported unscheduled
                premises" as described in the Ingress/Egress Additional Coverage above.

     2.   Strikers or Others Causing Delay

          We will not pay for any increase in "extra expense" incurred caused by delay in rebuilding, repairing, or
          replacing property or resuming "operations", due to the interference at the location of the rebuilding, repair,
          or replacement by strikers or other persons.

     3.   Outdoor Trees, Shrubs, Plants, or Lawns

          We will not pay for "extra expense" incurred caused by or resulting from loss of or damage to "outdoor
          trees, shrubs, plants, or lawns" unless the loss or damage is directly caused by fire, lightning, explosion, riot
          or civil commotion, or aircraft.

     4.   Green Roofing Systems

          We will not pay for "extra expense" incurred caused by or resulting from loss of or damage to "green
          roofing systems" unless the loss or damage is directly caused by a "covered cause of loss" other than loss
          or damage caused by or resulting from:




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          a.    Nesting or infestation, or discharge or release of waste products or secretions, by insects, birds,
                rodents, or other animals;

          b.    Disease;

          c.    Changes in or extremes of temperature;

          d.    Dampness or dryness of atmosphere or of soil supporting the vegetation; or

          e.    Rain, snow, hail, ice, or sleet.

E.   DEDUCTIBLE

     We will not pay for any "extra expense" incurred in any one occurrence until the amount of "extra expense"
     incurred exceeds the applicable Deductibles shown on the Declarations. We will then pay the actual and necessary
     "extra expense" incurred in excess of the Deductibles up to the applicable Limits of Insurance.

F.   LOSS DETERMINATION

     1.   Sources of Information

          The amount of actual and necessary "extra expense" incurred will be based on relevant sources of
          information, including, but not limited to:

          a.    Your financial records, tax returns, and accounting procedures;

          b.    Bills, invoices, and other vouchers; and

          c.    Deeds, liens, and contracts.

     2.   Extra Expense

          The amount of actual and necessary "extra expense" incurred will be determined based on:

          a.    All "extra expense" that exceeds the normal operating expenses that would have been incurred by your
                "operations" during the "period of restoration" if no direct physical loss or damage had occurred; and

          b.    All expenses that reduce the "extra expense" that otherwise would have been incurred.

          We will deduct from the total "extra expense" incurred the salvage value of any property bought for
          temporary use during the "period of restoration", once "operations" are resumed.

     3.   Resumption of Operations

          We will reduce the amount of "extra expense" paid to the extent you can return "operations" to normal and
          discontinue such "extra expense".




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 Dependent Premises Business Income
 Coverage--Scheduled Limits and Locations

 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

 This endorsement modifies the following:

 BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
 BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
    (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
 COMMERCIAL PROPERTY DEFINITIONS
 EXTRA EXPENSE COVERAGE FORM

                                                     SCHEDULE*

Name, Occupancy, and Location of "Dependent Premises"                            Limit of Insurance               Deductible


“Manufacturing Locations”

KaGa Electronics, Hong Kong                                                        $ 8,000,000           $ 500,000
Room 1709-1710, 17/F Miramar Tower
132 Nathan Rd, Tsimshatsui, Kowloon, Hong Kong

De Anza Manufacturing Services                                                       $ 5,000,000          $ 500,000
1271 Reamwood Avenue
Sunnyvale, CA 94089

UniPrecision Industrial Ltd.                                                        $ 4,000,000          $ 500,000
Heng Li, Shan Xia Gong
Ye QU, Dongguan, Guangdong

Rock Ten Mill                                                                    $ 5,000,000            $ 500,000
28270 US Highway 80 West
Demopolis, AL 36732

Pacur LLC                                                                       $ 4,000,000              $ 500,000
355 Moser St
Oshkosh, WI 54901



*Information required to complete this Schedule, if not shown on this endorsement, will be shown on the
Declarations.




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A. COVERAGE

     The following is added to Section A., Coverage, in the BUSINESS INCOME COVERAGE FORM (EXCLUDING
     EXTRA EXPENSE) and Section A., Coverages, in the BUSINESS INCOME COVERAGE FORM INCLUDING
     RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

     We will also pay for the actual loss of "business income" you sustain due to the necessary "suspension" of your
     "operations" during the "period of restoration". The "suspension" must be caused by direct physical loss of or
     damage to property, including property in the open (or in a vehicle), at a "dependent premises" described in the
     Schedule above. The loss or damage must be directly caused by a "covered cause of loss". We will not pay more
     than the applicable Limit of Insurance shown in the Schedule above at that "dependent premises".

B.   ADDITIONAL COVERAGES

     With respect to a "suspension" of your "operations" caused by direct physical loss of or damage to property,
     including property in the open (or in a vehicle), at a "dependent premises" described in the Schedule above, the Civil
     Authority and Contractual Penalties Additional Coverages in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY are replaced by the
     following:

     1. Civil Authority

         We will pay for the actual loss of "business income" you sustain for up to 30 days resulting from the necessary
         "suspension", or delay in the start, of your "operations" if the "suspension" or delay is caused by order of civil
         authority that prohibits access to a "dependent premises" described in the Schedule above. That order must
         result from a civil authority’s response to direct physical loss of or damage to property located within one mile from
         the "dependent premises" described in the Schedule above. The loss or damage must be directly caused by a
         "covered cause of loss".

         The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above for the
         "dependent premises" where access was prohibited.

         The Limit for this Additional Coverage is included in, and not in addition to, that Limit of Insurance.

     2. Contractual Penalties

         We will pay contractual penalties you are legally liable to pay under the provisions of a written contract due to late
         or non-completion of orders. Those penalties must be the result of direct physical loss of or damage to property at
         a "dependent premises" described in the Schedule above. The loss or damage must be directly caused by a
         "covered cause of loss".

         The most we will pay under this Additional Coverage in any one occurrence is the Limit of Insurance shown on the
         Declarations for Contractual Penalties.

C. OPTIONAL COVERAGE

     If a Blanket Business Income and Extra Expense Limit of Insurance is shown on the Declarations, the following
     Optional Coverage is added to Section A., Coverage, in the EXTRA EXPENSE COVERAGE FORM:

     We will pay for the actual and necessary "extra expense" you incur due to direct physical loss of or damage to
     property, including property in the open (or in a vehicle), at a "dependent premises" shown in the Schedule above.
     The loss or damage must be directly caused by a "covered cause of loss". We will not pay more than the applicable
     Limit of Insurance shown in the Schedule above for that "dependent premises". This Limit is included in, and not in
     addition, to any other applicable Limits of Insurance.

     If a Blanket Business Income and Extra Expense Limit of Insurance applies, the Civil Authority Additional Coverage in
     the EXTRA EXPENSE COVERAGE FORM applies to the actual and necessary "extra expense" you incur for up to
     30 days after an order of civil authority prohibits access to that "dependent premises". That order must result from a
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     civil authority’s response to direct physical loss of or damage to property located within one mile from the "dependent
     premises" described in the Schedule above. The loss or damage must be directly caused by a "covered cause of
     loss". The most we will pay under this Additional Coverage is the Limit of Insurance shown in the Schedule above for
     the "dependent premises" where access was prohibited. The Limit for this Additional Coverage is included in, and
     not in addition to, any other applicable Limit of Insurance.

D. DEDUCTIBLE

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, Section E. Deductible in the BUSINESS INCOME COVERAGE FORM
     (EXCLUDING EXTRA EXPENSE), the BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND
     DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY, and the EXTRA
     EXPENSE COVERAGE FORM is replaced by the following:

     We will not pay for any loss of "business income" or "extra expense" incurred in any one occurrence until the
     amount of loss or "extra expense" incurred exceeds the applicable Deductible shown in the Schedule above at that
     "dependent premises" where the loss or damage occurred. We will then pay the amount of actual "business
     income" loss sustained or actual and necessary "extra expense" incurred in excess of the Deductible, up to the
     applicable Limits of Insurance.

     Any other deductible otherwise applicable to "business income" or "extra expense" does not apply to coverage
     provided by this endorsement.

E.   LOSS DETERMINATION

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to a "dependent
     premises" described in the Schedule above, the Resumption of Operations Loss Determination in the BUSINESS
     INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the BUSINESS INCOME COVERAGE FORM
     INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
     TECHNOLOGY is replaced by the following:

     Resumption of Operations

     We will reduce the amount of "business income" loss payment to the extent you could resume your "operations",
     in whole or in part, by using:

     a. Sources of materials or services; or

     b. Outlets for your products or services,

     available to you.

F.   DEFINITIONS

     With respect to a "suspension" of "operations" caused by direct physical loss of or damage to property at a
     "dependent premises" described in the Schedule above, the "period of restoration" definition in the COMMERCIAL
     PROPERTY DEFINITIONS is replaced by the following:

     "Period of restoration" means the period of time that:

     a. Begins when the direct physical loss of or damage to property at a "dependent premises" described in the
        Schedule above occurs; and

     b. Ends on the date when the property at that "dependent premises" should be repaired, rebuilt, or replaced with
        reasonable speed and similar quality.

     "Period of restoration" does not include any increased period required due to the enforcement of any ordinance or
     law that requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or neutralize, or in
     any way respond to, or assess the effects of "pollutants" or "microorganisms".

     The expiration of this policy will not cut short the "period of restoration".
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Flood Coverage

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the following:

ACCOUNTS RECEIVABLE COVERAGE FORM (REVENUE LOSS)
BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
EXTRA EXPENSE COVERAGE FORM
FINE ARTS COVERAGE FORM
ORIGINAL INFORMATION PROPERTY COVERAGE FORM
REAL AND PERSONAL PROPERTY COVERAGE FORM
RESEARCH AND DEVELOPMENT PROPERTY COVERAGE FORM

A. COVERAGE

   The Flood exclusion does not apply to loss or damage at a "premises" at which a Limit of Insurance is shown on
   the Declarations for Flood. However, we will not pay for loss or damage caused directly or indirectly by "flood"
   that begins before the inception of this Commercial Property Coverage Part.

   If the Earth Movement and Flood Coverage--Specified Property endorsement is included in this Commercial
   Property Coverage Part, this endorsement does not apply to property covered by that endorsement.

B. ADDITIONAL EXCLUDED CAUSES OF LOSS

   Off-Premises Damage

   We will not pay for loss or damage that is caused directly or indirectly by "flood" at any of the following locations:

   1. "Cloud facility";

   2. "Dependent premises";

   3. Fairs or exhibitions;

   4. "Newly acquired premises";

   5. "Reported unscheduled premises";

   6. "Unreported premises"; or

   7. Any location used to provide power or other utility service to "premises".




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C. LIMITS OF INSURANCE

   1. Premises Limits

       The most we will pay in any one occurrence for loss or damage caused directly or indirectly by "flood" at any
       one "premises" is the Limit of Insurance shown on the Declarations for Flood for that "premises".

   2. Occurrence Limit

       The most we will pay in any one occurrence for all loss or damage caused directly or indirectly by "flood",
       regardless of the number of "premises" involved, is the occurrence Limit of Insurance shown on the
       Declarations for Flood.

   3. Annual Aggregate Limit

       The most we will pay for loss or damage caused directly or indirectly by "flood" in any one policy year,
       regardless of the number of occurrences or "premises" involved, is the Annual Aggregate Limit of Insurance
       shown on the Declarations for Flood.

   These Limits are included in, and not in addition to, any other applicable Limits of Insurance.

D. DEDUCTIBLE

   1. The Flood Deductible only applies to loss or damage that, but for the application of the Deductible, would be
      paid by us under this Commercial Property Coverage Part.

   2. With respect to loss or damage caused directly or indirectly by "flood", the Deductible section is replaced by
      the following:

       We will not pay for loss, damage, cost, or expense at any one "premises" in any one occurrence until the
       amount of covered loss, damage, cost, or expense exceeds the Flood Deductible shown on the Declarations
       for that "premises". We will then pay for the amount of covered loss, damage, cost, or expense in excess of
       the Deductible, up to the applicable Limits of Insurance.

       If more than one "premises" suffers loss or damage in one occurrence, the applicable Deductibles shown on
       the Declarations will apply separately and individually to covered loss, damage, cost, or expense at each
       "premises".

       The Flood Deductibles apply to all covered loss, damage, cost, or expense covered by "time element
       coverage" when the loss, damage, cost, or expense is caused directly or indirectly by covered "flood" even if
       no other deductible applies to the "time element coverage".

E. COINSURANCE

   The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.




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Off-Premises Service Interruption--Time Element
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES
   (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY
COMMERCIAL PROPERTY DEFINITIONS
EXTRA EXPENSE COVERAGE FORM

                                                      SCHEDULE

                                             POWER                                  COMMUNICATION
                                 With                  Without                With               Without
                               Overhead               Overhead              Overhead            Overhead
Premises #        Water/
                              T&D Property           T&D Property          T&D Property        T&D Property
                  Sewer

        1            X                                      X                                        X
        4            X                                      X                                        X




A. COVERAGE

   1.       Blanket Business Income and Extra Expense

            For those "premises" and "reported unscheduled premises" at which a Blanket Business Income and Extra
            Expense Limit of Insurance is shown on the Declarations:

            a. The following Additional Coverage is added to the following forms:

                BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
                BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
                   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

                We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage
                Form, provided such loss was caused by an "off-premises service interruption". The interruption must result
                from direct physical loss or damage directly caused by a "covered cause of loss" to property:

                a. Located away from the "premises" or "reported unscheduled premises"; and

                b. Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
                   unscheduled premises".

                The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
                premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
                Income and Extra Expense.
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          The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
          Insurance.

     b. The following Additional Coverage is added to the EXTRA EXPENSE COVERAGE FORM:

          We will pay for the actual and necessary "extra expense" you incur, provided such "extra expense" was
          caused by an "off-premises service interruption". The interruption must result from direct physical loss or
          damage directly caused by a "covered cause of loss" to property:

          a. Located away from the "premises" or "reported unscheduled premises"; and

          b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
               unscheduled premises".

          The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled
          premises" is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business
          Income and Extra Expense.

          The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of
          Insurance.

2.   Business Income

     For those "premises" and "reported unscheduled premises" at which a Business Income Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the following forms:

     BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE)
     BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
        EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY

     We will pay for the actual loss of "business income" you sustain, as determined by the applicable Coverage Form,
     provided such loss was caused by an "off-premises service interruption". The interruption must result from
     direct physical loss or damage directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and

     b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
          unscheduled premises".

     The most we will pay under this Additional Coverage at any one "premises" or "reported unscheduled premises"
     is the Limit of Insurance shown on the Declarations for Off-Premises Service Interruption--Business Income.

     The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

3.   Extra Expense

     For those "premises" and "reported unscheduled premises" at which an Extra Expense Limit of Insurance is
     shown on the Declarations, the following Additional Coverage is added to the EXTRA EXPENSE COVERAGE
     FORM:

     We will pay for the actual and necessary "extra expense" you incur, provided such "extra expense" was caused
     by an "off-premises service interruption". The interruption must result from direct physical loss or damage
     directly caused by a "covered cause of loss" to property:

     a.   Located away from the "premises" or "reported unscheduled premises"; and



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        b.   Used to provide the services checked by an "X" in the Schedule above to the "premises" or "reported
             unscheduled premises".

        The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Off-
        Premises Service Interruption--Extra Expense.

        The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

   4.   Research and Development Continuing Expenses

        For those "premises" at which a Research and Development Continuing Expenses Limit of Insurance is shown on
        the Declarations, the following Additional Coverage is added to the BUSINESS INCOME COVERAGE FORM
        INCLUDING RESEARCH AND DEVELOPMENT CONTINUING EXPENSES (EXCLUDING EXTRA EXPENSE)--
        TECHNOLOGY:

        We will pay for the actual and necessary "research and development continuing expenses" you incur, provided
        such "research and development continuing expenses" were caused by an "off-premises service
        interruption". The interruption must result from direct physical loss or damage directly caused by a "covered
        cause of loss" to property:

        a.   Located away from the "premises"; and

        b.   Used to provide the services checked by an "X" in the Schedule above to the "premises".

        The most we will pay under this Additional Coverage is the Limit of Insurance shown on the Declarations for Off-
        Premises Service Interruption--Research and Development Continuing Expenses.

        The Limit for this Additional Coverage is included in, and not in addition to, any other applicable Limits of Insurance.

B. With respect to loss or expense covered by this endorsement, the terms used in the Schedule above mean:

   1.    Communication

        Communication includes video, voice, and data, but does not include "information technology services".

   2.   Power

        Power includes all sources of power, including steam and natural gas.

   3.   Reported Unscheduled Premises (RUP)

        The Premises Symbol--RUP means all "reported unscheduled premises".

   4.   T&D Property

        The terms With Overhead T&D Property and Without Overhead T&D Property have the following meanings:

        a.   With Overhead T&D Property means the property providing the applicable service includes "overhead
             transmission and distribution property" and "transmission and distribution property".

        b.   Without Overhead T&D Property means the property providing the applicable service includes "transmission
             and distribution property" but does not include "overhead transmission and distribution property".

C. ADDITIONAL COVERAGES

   1. The Civil Authority and Contractual Penalties Additional Coverages contained in the BUSINESS INCOME
      COVERAGE FORM (EXCLUDING EXTRA EXPENSE) apply to loss of "business income" covered by this


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        endorsement. However, these Additional Coverages will not increase the applicable Off-Premises Service
        Interruption Limits of Insurance.

   2. The Civil Authority, Contractual Penalties, and Delayed Net Income Additional Coverages contained in the
      BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
      EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY apply to loss of "business income" and
      "research and development continuing expenses" covered by this endorsement. However, these Additional
      Coverages will not increase the applicable Off-Premises Service Interruption Limits of Insurance.

   3. The Civil Authority Additional Coverage contained in the EXTRA EXPENSE COVERAGE FORM is extended to apply
      to "extra expense" covered by this endorsement. However, this Additional Coverage will not increase the
      applicable Off-Premises Service Interruption Limits of Insurance.

D. ADDITIONAL DEFINITIONS

   The following definitions are added to the COMMERCIAL PROPERTY DEFINITIONS:

   "Overhead transmission and distribution property" means property located away from "premises" and "reported
   unscheduled premises" and used to provide power or communications services to "premises" and "reported
   unscheduled premises", which consists of:

   a.   Overhead wires, cables, lines, conductors, including related equipment used with such property; and

   b.   Poles, towers, similar structures, and any property mounted on them, including antennae, transmitters, and
        transformers.

   "Overhead transmission and distribution property" does not mean satellites or any other orbiting equipment.

   "Transmission and distribution property" means property located away from "premises" and "reported
   unscheduled premises" and used to provide power or communications services to "premises" and "reported
   unscheduled premises", which consists of ground-level or underground wires, cables, lines, conductors, including
   related ground level or underground equipment used with such property.

   "Transmission and distribution property" does not mean "overhead transmission and distribution property".

E. The Additional Condition--Coinsurance endorsement does not apply to coverage provided by this endorsement.

F. DEDUCTIBLE

   We will not pay for any loss of "business income", "extra expense", or "research and development continuing
   expenses" incurred in any one occurrence until the amount of loss or expense incurred exceeds the applicable
   Deductibles or is incurred after the applicable Waiting Periods shown on the Declarations for Off-Premises Service
   Interruption--Time Element. We will then pay the amount of actual "business income" loss sustained or actual and
   necessary "extra expense" or "research and development continuing expenses" incurred in excess of the
   Deductibles or incurred after the Waiting Periods, up to the applicable Limits of Insurance.

   If a Waiting Period is shown on the Declarations, the Waiting Period begins immediately following the direct physical loss
   of or damage to property directly caused by a "covered cause of loss".

    With the exception of any applicable Named Storm Deductibles, any other deductible otherwise applicable to "business
  income", "extra expense", or "research and development continuing expenses" does not apply to coverage provided
                                                                                                    by this endorsement.




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California Changes

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies the following:

COMMERCIAL PROPERTY CONDITIONS

A. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by fire:

   We do not provide coverage to the insured who, whether before or after a loss, has committed fraud or
   intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.

B. The Concealment, Misrepresentation, or Fraud Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following with respect to loss or damage caused by a "covered cause of loss" other than fire:

   This Commercial Property Coverage Part is void if any insured, whether before or after a loss, has committed fraud
   or intentionally concealed or misrepresented any material fact or circumstance concerning:

   1.   This Commercial Property Coverage Part;
   2.   The Covered Property;
   3.   That insured’s interest in the Covered Property; or
   4.   A claim under this Commercial Property Coverage Part.

C. Except as provided in D. below, the Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is
   replaced by the following:

   If we and you disagree on the value of the property or the amount of loss, either may make written request for an
   appraisal of the loss. If the request is accepted, each party will select a competent, disinterested, and impartial
   appraiser who has no direct or indirect financial interest in the claim.       Each party shall notify the other of the
   appraiser selected within 20 days of the request. The two appraisers will select an umpire. If they cannot agree
   within 15 days, either may request that selection be made by a judge of a court having jurisdiction. The appraisers
   will state separately the value of each item of lost or damaged property as of the date of loss and amount of loss in
   accordance with the Valuation provisions of the applicable Coverage Form, or if not stated, the "actual cash value"
   and "replacement cost". If they fail to agree, they will submit their differences to the umpire. A decision agreed to
   by any two will be binding. Each party will:

   1. Pay its chosen appraiser; and
   2. Bear the other expenses of the appraisal and umpire equally.

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   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.

D. The Appraisal Condition in the COMMERCIAL PROPERTY CONDITIONS is replaced by the following with respect
   losses covered by the BUSINESS INCOME COVERAGE FORM (EXCLUDING EXTRA EXPENSE) and the
   BUSINESS INCOME COVERAGE FORM INCLUDING RESEARCH AND DEVELOPMENT CONTINUING
   EXPENSES (EXCLUDING EXTRA EXPENSE)--TECHNOLOGY:

   If we and you disagree on the amount of "net income" and "continuing expenses" or the amount of loss, either may
   make written request for an appraisal of the loss. If the request is accepted, each party will select a competent,
   disinterested, and impartial appraiser who has no direct or indirect financial interest in the claim. Each party shall
   notify the other of the appraiser selected within 20 days of the request. The two appraisers will select an umpire. If
   they cannot agree within 15 days, either may request that selection be made by a judge of a court having
   jurisdiction. The appraisers will state separately the amount of "net income"and "continuing expenses" or amount of
   loss. If they fail to agree, they will submit their differences to the umpire. A decision agreed to by any two will be
   binding. Each party will:

   a. Pay its chosen appraiser; and

   b. Bear the other expenses of the appraisal and umpire equally.

   If there is an appraisal, we will still retain our right to deny the claim in whole or in part, based on the terms and
   conditions of the policy.




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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 02 99 06 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                               CANCELLATION CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY


The following is added to the Cancellation Common             C. The building has:
Policy Condition:                                                1. An outstanding order to vacate;
If any one of the following conditions exists at any             2. An outstanding demolition order;
building that is Covered Property in this policy, we
may cancel this Coverage Part by mailing or delivering           3. Been declared unsafe by governmental
to the first Named Insured written notice of                         authority.
cancellation at least five days before the effective date     D. Fixed and salvageable items have been or are
of cancellation.                                                 being removed from the building and are not being
A. The building has been vacant or unoccupied 60 or              replaced. This does not apply to such removal that
   more consecutive days. This does not apply to:                is necessary or incidental to any renovation or
                                                                 remodeling.
   1. Seasonal unoccupancy;
                                                              E. Failure to:
   2. Buildings in the course of construction,
       renovation or addition; or                                1. Furnish necessary heat, water, sewer service
                                                                     or electricity for 30 consecutive days or more,
   3. Buildings to which the Vacancy Permit                          except during a period of seasonal
       endorsement applies.                                          unoccupancy; or
   Buildings with 65% or more of the rental units or             2. Pay property taxes that are owing and have
   floor area vacant or unoccupied are considered                    been outstanding for more than one year
   unoccupied under this provision.                                  following the date due, except that this
B. After damage by a covered cause of loss,                          provision will not apply where you are in a
   permanent repairs to the building:                                bona fide dispute with the taxing authority
   1. Have not started; and                                          regarding payment of such taxes.
   2. Have not been contracted for,
   within 30 days of initial payment of loss.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 47 12 07

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I --- Coverage A ---- Bodily In-       Exclusions of Section I ---- Coverage B ---- Personal
   jury And Property Damage Liability:                          And Advertising Injury Liability:
   This insurance does not apply to:                            This insurance does not apply to:
   "Bodily injury" to:                                          "Personal and advertising injury" to:
  (1) A person arising out of any:                             (1) A person arising out of any:
      (a) Refusal to employ that person;                           (a) Refusal to employ that person;
      (b) Termination of that person’s employment;                (b) Termination of that person’s employment;
          or                                                           or
      (c) Employment-related practices, policies, acts              (c) Employment-related practices, policies, acts
           or omissions, such as coercion, demotion,                     or omissions, such as coercion, demotion,
           evaluation, reassignment, discipline, defa-                   evaluation, reassignment, discipline, defa-
           mation, harassment, humiliation, discrimina-                  mation, harassment, humiliation, discrimina-
           tion or malicious prosecution directed at                     tion or malicious prosecution directed at
           that person; or                                               that person; or
  (2) The spouse, child, parent, brother or sister of           (2) The spouse, child, parent, brother or sister of
       that person as a consequence of "bodily injury"               that person as a consequence of "personal and
       to that person at whom any of the employment-                 advertising injury" to that person at whom any
       related practices described in Paragraphs (a),                of the employment-related practices described
       (b), or (c) above is directed.                                in Paragraphs (a), (b), or (c) above is directed.
   This exclusion applies:                                       This exclusion applies:
  (1) Whether the injury-causing event described in             (1) Whether the injury-causing event described in
      Paragraphs (a), (b) or (c) above occurs before                Paragraphs (a), (b) or (c) above occurs before
      employment, during employment or after em-                    employment, during employment or after em-
      ployment of that person;                                      ployment of that person;
  (2) Whether the insured may be liable as an em-               (2) Whether the insured may be liable as an em-
      ployer or in any other capacity; and                          ployer or in any other capacity; and
  (3) To any obligation to share damages with or                (3) To any obligation to share damages with or
      repay someone else who must pay damages                       repay someone else who must pay damages
      because of the injury.                                        because of the injury.




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Fungi Or Bacteria Exclusion Endorsement

      Policy No.      E ff. D ate of Pol.   Exp. D ate of Pol.   E ff. D ate of E nd.   Producer            Add’l. Prem            Return Prem.
                                                                                                        $                      $




                   THIS END ORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

The following exclusion is added to paragraph 2. Exclusions of Section I. --- Coverage A --- Bodily Injury And Property
D amage Liability and paragraph 2. Exclusions of Coverage B --- Personal And Advertising Injury Liability:

2.   Exclusions

     This insurance does not apply to:
     Fungi or Bacteria
     A. "Bodily injury", "property damage" or "personal and advertising injury " caused directly or indirectly by the actual,
        alleged or threatened inhalation of, ingestion of, contact with, exposure to, existence of, or presence of any:
         1. "Fungi"or "bacteria"; or
         2.    Substance, vapor or gas produced by or arising out of any "fungi" or "bacteria".
     B. Loss, costs or expenses arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating,
        detoxifying, neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, "fungi"
        or "bacteria", by any insured or by any other person or entity.
     C. For the purposes of this exclusion, the following definitions are added:
         1. "Fungi" means any type or form of fungus, including mold or mildew and any mycotoxins, "spores", scents or
            byproducts produced or released by fungi.
         2. "Spores" means reproductive bodies produced by or arising out of "fungi".
         3. "Bacteria" means any type or form of bacteria and any materials or substances that are produced or released by
            bacteria.
     This exclusion does not apply to any "fungi"or "bacteria" that are, are on, or are contained in, an edible good or edible
     product intended for human or animal consumption.




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General Liability Supplemental Coverage Endorsement
Technology

     Policy No.      Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem.      Return Prem.




                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


The following changes apply to this Coverage Part. However, endorsements attached to this Coverage Part will
supersede any provisions to the contrary in this General Liability Supplemental Coverage Endorsement.


A.     Broadened Named Insured
       1. The following is added to Section II – Who Is An Insured:
           Any organization of yours, other than a partnership or joint venture, which is not shown in the Declarations, and
           over which you maintain an ownership interest of more than 50% of such organization as of the effective date of
           this Coverage Part, will qualify as a Named Insured. However, such organization will not qualify as a Named
           Insured under this provision if it:
           a.     Is newly acquired or formed during the policy period;
           b.     Is also an insured under another policy, other than a policy written to apply specifically in excess of this
                  Coverage Part; or
           c.     Would be an insured under another policy but for its termination or the exhaustion of its limits of
                  insurance.
           Each such organization remains qualified as a Named Insured only while you maintain an ownership interest of
           more than 50% in the organization during the policy period.
       2. The last paragraph of Section II – Who Is An Insured does not apply to this provision to the extent that such
          paragraph would conflict with this provision.
B.     Newly Acquired or Formed Organizations as Named Insureds
       1. Paragraph 3. of Section II – Who Is An Insured is replaced by the following:
           3.     Any organization you newly acquire or form during the policy period, other than a partnership or joint
                  venture, and over which you maintain an ownership interest of more than 50% of such organization, will
                  qualify as a Named Insured if there is no other similar insurance available to that organization. However:
                  a. Coverage under this provision is afforded only until the 180th day after you acquire or form the
                     organization or the end of the policy period, whichever is earlier;
                  b. Coverage A does not apply to "bodily injury" or "property damage" that occurred before you acquired
                     or formed the organization; and
                  c. Coverage B does not apply to "personal and advertising injury" arising out of an offense committed
                     before you acquired or formed the organization.



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                 An additional premium will apply in accordance with our rules and rates in effect on the date you acquired
                 or formed the organization.


      2. The last paragraph of Section II – Who Is An Insured does not apply to this provision to the extent that such
         paragraph would conflict with this provision.
C.    Insured Status – Employees
      Paragraph 2.a.(1) of Section II – Who Is An Insured is replaced by the following:
      2. Each of the following is also an insured:
           a.    Your "volunteer workers" only while performing duties related to the conduct of your business, or your
                 "employees", other than either your "executive officers" (if you are an organization other than a
                 partnership, joint venture or limited liability company) or your managers (if you are a limited liability
                 company), but only for acts within the scope of their employment by you or while performing duties
                 related to the conduct of your business. However, none of these "employees" or "volunteer workers" are
                 insureds for:
                 (1) "Bodily injury" or "personal and advertising injury":
                     (a) To you, to your partners or members (if you are a partnership or joint venture), to your members
                         (if you are a limited liability company), to a co-"employee" while in the course of his or her
                         employment or performing duties related to the conduct of your business, or to your other
                         "volunteer workers" while performing duties related to the conduct of your business;
                     (b) To the spouse, child, parent, brother or sister of that co-"employee" or "volunteer worker" as a
                         consequence of Paragraph (1)(a) above;
                     (c) For which there is any obligation to share damages with or repay someone else who must pay
                         damages because of the injury described in Paragraphs (1)(a) or (b) above; or
                     (d) Arising out of his or her providing or failing to provide professional health care services.
                 However:
                 Paragraphs (1)(a) and (1)(d) do not apply to your "employees" or "volunteer workers", who are not
                 employed by you or volunteering for you as health care professionals, for "bodily injury" arising out of
                 "Good Samaritan Acts" while the "employee" or "volunteer worker" is performing duties related to the
                 conduct of your business.
                 "Good Samaritan Acts" mean any assistance of a medical nature rendered or provided in an emergency
                 situation for which no remuneration is demanded or received.
                 Paragraphs (1)(a), (b) and (c) do not apply to any "employee" designated as a supervisor or higher in
                 rank, with respect to "bodily injury" to co-"employees". As used in this provision, "employees" designated
                 as a supervisor or higher in rank means only "employees" who are authorized by you to exercise direct or
                 indirect supervision or control over "employees" or "volunteer workers" and the manner in which work is
                 performed.
D. Additional Insureds – Lessees of Premises
     1. Section II – Who Is An Insured is amended to include as an additional insured any person(s) or organization(s)
        who leases or rents a part of the premises you own or manage who you are required to add as an additional
        insured on this policy under a written contract or written agreement, but only with respect to liability arising out of
        your ownership, maintenance or repair of that part of the premises which is not reserved for the exclusive use or
        occupancy of such person or organization or any other tenant or lessee.
         This provision does not apply after the person or organization ceases to lease or rent premises from you.


         However, the insurance afforded to such additional insured:
         a. Only applies to the extent permitted by law; and
         b. Will not be broader than that which you are required by the written contract or written agreement to provide for
            such additional insured.

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   2. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
      Section III – Limits Of Insurance:
             The most we will pay on behalf of the additional insured is the amount of insurance:
             a.      Required by the written contract or written agreement referenced in Subparagraph D.1. above (of this
                    endorsement); or
             b.     Available under the applicable Limits of Insurance shown in the Declarations,
             whichever is less.
             This Paragraph D. shall not increase the applicable Limits of Insurance shown in the Declarations.
E. Additional Insured – Vendors
   1. The following change applies if this Coverage Part provides insurance to you for "bodily injury" and "property
      damage" included in the "products-completed operations hazard":
             Section II – Who Is An Insured is amended to include as an additional insured any person or organization
             (referred to throughout this Paragraph E. as vendor) who you have agreed in a written contract or written
             agreement, prior to loss, to name as an additional insured, but only with respect to "bodily injury" or "property
             damage" arising out of "your products" which are distributed or sold in the regular course of the vendor's
             business:
             However, the insurance afforded to such vendor:
             a. Only applies to the extent permitted by law; and
             b. Will not be broader than that which you are required by the written contract or written agreement to provide for
                such additional insured.
   2.              With respect to the insurance afforded to these vendors, the following additional exclusions apply:
        a.        The insurance afforded the vendor does not apply to:
                  (1)   "Bodily injury" or "property damage" for which the vendor is obligated to pay damages by reason of the
                        assumption of liability in a contract or agreement. This exclusion does not apply to liability for damages
                        that the vendor would have in the absence of the contract or agreement;
                  (2)   Any express warranty unauthorized by you;
                  (3)   Any physical or chemical change in the product made intentionally by the vendor;
                  (4)   Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing, or the
                        substitution of parts under instructions from the manufacturer, and then repackaged in the original
                        container;
                  (5)   Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to make
                        or normally undertakes to make in the usual course of business, in connection with the distribution or sale
                        of the products;
                  (6)   Demonstration, installation, servicing or repair operations, except such operations performed at the
                        vendor's premises in connection with the sale of the product;
                  (7)   Products which, after distribution or sale by you, have been labeled or relabeled or used as a container,
                        part or ingredient of any other thing or substance by or for the vendor; or
                  (8)   "Bodily injury" or "property damage" arising out of the sole negligence of the vendor for its own acts or
                        omissions or those of its employees or anyone else acting on its behalf. However, this exclusion does not
                        apply to:
                        (a) The exceptions contained in Subparagraphs (4) or (6); or
                        (b) Such inspections, adjustments, tests or servicing as the vendor has agreed to make or normally
                            undertakes to make in the usual course of business, in connection with the distribution or sale of the
                            products.
        b.        This insurance does not apply to any insured person or organization, from whom you have acquired such
                  products, or any ingredient, part or container, entering into, accompanying or containing such products.



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          c.        This insurance does not apply to any of "your products" for which coverage is excluded under this Coverage
                    Part.
     3. With respect to the insurance afforded to the vendor under this endorsement, the following is added to Section III
        – Limits Of Insurance:
               The most we will pay on behalf of the vendor is the amount of insurance:
               a.         Required by the written contract or written agreement referenced in Subparagraph E.1. above (of this
                         endorsement); or
               b. Available under the applicable Limits of Insurance shown in the Declarations,
               whichever is less.
               This Paragraph E. shall not increase the applicable Limits of Insurance shown in the Declarations.
F.        Additional Insured – Managers, Lessors or Governmental Entity
          1. Section II – Who Is An Insured is amended to include as an additional insured any person or organization who
             is a manager, lessor or governmental entity who you are required to add as an additional insured on this policy
             under a written contract, written agreement or permit, but only with respect to liability for "bodily injury",
             "property damage" or "personal and advertising injury" caused, in whole or in part, by:
                    a. Your acts or omissions; or
                    b.     The acts or omission of those acting on your behalf; and
                    resulting directly from:
                    a.     Operations performed by you or on your behalf for which the state or political subdivision has issued a
                          permit;
                    b.     Ownership, maintenance, occupancy or use of premises by you; or
                    c.     Maintenance, operation or use by you of equipment leased to you by such person or organization.
                    However, the insurance afforded to such additional insured:
                    a. Only applies to the extent permitted by law; and
                    b. Will not be broader than that which you are required by the written contract or written agreement to provide
                       for such additional insured.
          2. This provision does not apply:
                    a. Unless the written contract or written agreement has been executed, or the permit has been issued, prior to
                       the "bodily injury", "property damage" or offense that caused "personal and advertising injury";
                    b. To any person or organization included as an insured under Paragraph 3. of Section II – Who Is An Insured;
                    c. To any lessor of equipment if the "occurrence" or offense takes place after the equipment lease expires;
                    d. To any:
                          (1) Owners or other interests from whom land has been leased by you; or
                          (2) Managers or lessors of premises, if:
                              (a) The "occurrence" or offense takes place after the expiration of the lease or you cease to be a
                                  tenant in that premises;
                              (b) The "bodily injury", "property damage" or "personal and advertising injury" arises out of the
                                  structural alterations, new construction or demolition operations performed by or on behalf of the
                                  manager or lessor; or
                              (c) The premises are excluded under this Coverage Part.
     3.               With respect to the insurance afforded to the additional insureds under this endorsement, the following is
                    added to Section III – Limits Of Insurance:
                    The most we will pay on behalf of the additional insured is the amount of insurance:




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             a. Required by the written contract or written agreement referenced in Subparagraph F.1. above (of this
               endorsement); or
             b. Available under the applicable Limits of Insurance shown in the Declarations,
             whichever is less.
             This Paragraph F. shall not increase the applicable Limits of Insurance shown in the Declarations.
G. Damage to Premises Rented or Occupied by You
     1. The last paragraph under Paragraph 2. Exclusions of Section I – Coverage A – Bodily Injury And Property
        Damage Liability is replaced by the following:
           Exclusions c. through n. do not apply to damage by "specific perils" to premises while rented to you or temporarily
           occupied by you with permission of the owner. A separate Damage To Premises Rented To You Limit of
           Insurance applies to this coverage as described in Section III – Limits Of Insurance.
     2. Paragraph 6. of Section III – Limits Of Insurance is replaced by the following:
           6. Subject to Paragraph 5. above, the Damage To Premises Rented To You Limit is the most we will pay under
              Coverage A for damages because of "property damage" to any one premises while rented to you, or in the
              case of damage by one or more "specific perils" to any one premises, while rented to you or temporarily
              occupied by you with permission of the owner.
H. Broadened Contractual Liability
     The "insured contract" definition under the Definitions Section is replaced by the following:
     "Insured contract" means:
     a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that indemnifies
        any person or organization for damage by "specific perils" to premises while rented to you or temporarily occupied
        by you with permission of the owner is not an "insured contract";
     b. A sidetrack agreement;
     c. Any easement or license agreement;
     d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work for a
        municipality;
     e. An elevator maintenance agreement;
     f.    That part of any other contract or agreement pertaining to your business (including an indemnification of a
           municipality in connection with work performed for a municipality) under which you assume the tort liability of
           another party to pay for "bodily injury", "property damage", or "personal and advertising injury" arising out of the
           offenses of false arrest, detention or imprisonment, to a third person or organization. Tort liability means a liability
           that would be imposed by law in the absence of any contract or agreement.
           Paragraph f. does not include that part of any contract or agreement:
           (1) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
               (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions, reports, surveys,
                   field orders, change orders or drawings and specifications; or
               (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the injury or
                   damage; or
           (2) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or damage
               arising out of the insured's rendering or failure to render professional services, including those listed in
               Paragraph (1) above and supervisory, inspection, architectural or engineering activities.
I.   Definition – Specific Perils
     The following definition is added to the Definitions Section:
     "Specific perils" means:
     a. Fire;
     b. Lightning;


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     c. Explosion;
     d. Windstorm or hail;
     e. Smoke;
     f.    Aircraft or vehicles;
     g. Vandalism;
     h. Weight of snow, ice or sleet;
     i.    Leakage from fire extinguishing equipment, including sprinklers; or
     j.    Accidental discharge or leakage of water or steam from any part of a system or appliance containing water or
           steam.
J. Limited Contractual Liability Coverage – Personal and Advertising Injury
     1. Exclusion e. of Section I – Coverage B – Personal And Advertising Injury Liability is replaced by the following:
               Exclusions
               This insurance does not apply to:
               e. Contractual Liability
                   "Personal and advertising injury" for which the insured has assumed liability in a contract or agreement.
                   This exclusion does not apply to:
                   (1) Liability for damages that the insured would have in the absence of the contract or agreement; or
                   (2) Liability for "personal and advertising injury" if:
                        (a) The "personal and advertising injury" arises out of the offenses of false arrest, detention or
                            imprisonment;
                        (b) The liability pertains to your business and is assumed in a written contract or written agreement in
                            which you assume the tort liability of another. Tort liability means a liability that would be
                            imposed by law in the absence of any contract or agreement; and
                        (c) The "personal and advertising injury" occurs subsequent to the execution of the written contract
                            or written agreement.
                        Solely for purposes of liability so assumed in such written contract or written agreement, reasonable
                        attorney fees and necessary litigation expenses incurred by or for a party other than an insured are
                        deemed to be damages because of "personal and advertising injury" described in Paragraph (a)
                        above, provided:
                        (i) Liability to such party for, or for the cost of, that party's defense has also been assumed in the
                            same written contract or written agreement; and
                        (ii) Such attorney fees and litigation expenses are for defense of that party against a civil or
                             alternative dispute resolution proceeding in which damages to which this insurance applies are
                             alleged.
     2. Paragraph 2.d. of Section I – Supplementary Payments – Coverages A and B is replaced by the following:
           d. The allegations in the "suit" and the information we know about the "occurrence" or offense are such that no
              conflict appears to exist between the interests of the insured and the interests of the indemnitee;
     3. The following is added to the paragraph directly following Paragraph 2.f. of Section I – Supplementary
        Payments – Coverages A and B:
           Notwithstanding the provisions of Paragraph 2.e.(2) of Section I – Coverage B – Personal And Advertising Injury
           Liability, such payments will not be deemed to be damages for "personal and advertising injury" and will not
           reduce the limits of insurance.


K.        Internet and Multimedia Services
          Exclusion j. of Section I – Coverage B – Personal And Advertising Injury Liability is replaced by the following:


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         Exclusions
         This insurance does not apply to:
         j.     Insureds In Media And Internet Type Businesses
              "Personal and advertising injury" committed by an insured whose business is:
              (1)     Advertising, broadcasting, publishing or telecasting;
              (2)     Designing or determining content of websites for others; or
              (3) An Internet search, access, content or service provider; and
              arising out of goods, products or services provided by any insured to others.
              However, this exclusion does not apply to Paragraphs 14.a., b. and c. of "personal and advertising injury"
              under the Definitions Section.
              For the purposes of this exclusion, the placing of frames, borders or links, or advertising, for you or others
              anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
              telecasting.
L. Supplementary Payments
   The following changes apply to Supplementary Payments – Coverages A and B:
   Paragraphs 1.b. and 1.d. are replaced by the following:
   b. Up to $2,500 for the cost of bail bonds required because of accidents or traffic law violations arising out of the use
      of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish these bonds.
   d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
      claim or "suit", including actual loss of earnings up to $500 a day because of time off from work.
M. Broadened Property Damage
   1. Property Damage to Contents of Premises Rented Short-Term
       The paragraph directly following Paragraph (6) in Exclusion j. of Section I – Coverage A – Bodily Injury And
       Property Damage Liability is replaced by the following:
       Paragraphs (1), (3) and (4) of this exclusion do not apply to "property damage" to premises (other than damage
       by "specific perils"), including "property damage" to the contents of such premises, rented to you under a rental
       agreement for a period of 14 or fewer consecutive days. A separate Limit of Insurance applies to Damage to
       Premises Rented to You as described in Section III – Limits Of Insurance.
   2. Elevator Property Damage
       a. The following is added to Exclusion j. of Section I – Coverage A – Bodily Injury And Property Damage
          Liability:
              Paragraphs (3) and (4) of this exclusion do not apply to "property damage" arising out of the use of an
              elevator at premises you own, rent or occupy.
       b. The following is added to Section III – Limits Of Insurance:
              Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
              damage" to property loaned to you or personal property in the care, custody or control of the insured arising
              out of the use of an elevator at premises you own, rent or occupy is $25,000 per "occurrence".
   3. Property Damage to Borrowed Equipment
       a. The following is added to Exclusion j. of Section I – Coverage A – Bodily Injury And Property Damage
          Liability:
              Paragraph (4) of this exclusion does not apply to "property damage" to equipment you borrow from others at a
              jobsite.
       b. The following is added to Section III – Limits Of Insurance:
              Subject to Paragraph 5. above, the most we will pay under Coverage A for damages because of "property
              damage" to equipment you borrow from others is $25,000 per "occurrence".


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N. Expected or Intended Injury or Damage
   Exclusion a. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   a. Expected Or Intended Injury Or Damage
       "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion does
       not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
       property.
O. Definitions – Bodily Injury
   The "bodily injury" definition under the Definitions Section is replaced by the following:
       "Bodily injury" means bodily injury, sickness or disease sustained by a person, including mental anguish, mental
       injury, shock, fright or death sustained by that person which results from that bodily injury, sickness or disease.
P. Electronic Data
   Exclusion p. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   p. Electronic Data
       Damages arising out of the loss of, loss of use of, damage to, corruption of, inability to access or inability to
       manipulate electronic data.
       However, this exclusion does not apply to liability for damages because of "bodily injury" or physical injury to
       tangible property including all resulting loss of use of that property.
       As used in this exclusion, electronic data means information, facts or programs stored as or on, created or used
       on, or transmitted to or from computer software (including systems and applications software), hard or floppy
       disks, CD-ROMs, tapes, drives, cells, data processing devices or any other media which are used with
       electronically controlled equipment.
Q. Insured Status – Amateur Athletic Participants
   Section II – Who Is An Insured is amended to include as an insured any person you sponsor while participating in
   amateur athletic activities. However, no such person is an insured for:
   a. "Bodily injury" to:
       (1) Your "employee", "volunteer worker" or any person you sponsor while participating in such amateur athletic
           activities; or
       (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
           liability company) while participating in such amateur athletic activities; or
   b. "Property damage" to property owned by, occupied or used by, rented to, in the care, custody or control of, or
      over which the physical control is being exercised for any purpose by:
       (1) Your "employee", "volunteer worker" or any person you sponsor; or
       (2) You, any partner or member (if you are a partnership or joint venture), or any member (if you are a limited
           liability company).
R. Non-Owned Aircraft, Auto and Watercraft
   Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability is replaced by the following:
   g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising out of the ownership, maintenance, use or entrustment to others of
       any aircraft, "auto" or watercraft owned or operated by or rented or loaned to any insured. Use includes operation
       and "loading or unloading".
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
       supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved the ownership, maintenance, use or entrustment to others of any
       aircraft, "auto" or watercraft that is owned or operated by or rented or loaned to any insured.
       This exclusion does not apply to:

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         (1) A watercraft while ashore on premises you own or rent;
         (2) A watercraft you do not own that is:
             (a) Less than 51 feet long; and
             (b) Not being used to carry persons for a charge;
         (3) Parking an "auto" on, or on the ways next to, premises you own or rent, provided the "auto" is not owned by
             or rented or loaned to you or the insured;
         (4) Liability assumed under any "insured contract" for the ownership, maintenance or use of aircraft or watercraft;
         (5) An aircraft that is hired or chartered by you or loaned to you, with a paid and licensed crew, and is not owned
             in whole or in part by an insured; or
         (6) "Bodily injury" or "property damage" arising out of:
             (a) The operation of machinery or equipment that is attached to, or part of, a land vehicle that would qualify
                 under the definition of "mobile equipment" if it were not subject to a compulsory or financial responsibility
                 law or other motor vehicle insurance law where it is licensed or principally garaged; or
             (b) The operation of any of the machinery or equipment listed in Paragraph f.(2) or f.(3) of the definition of
                 "mobile equipment".
S. Definitions – Leased Worker, Temporary Worker and Labor Leasing Firm
   1. The "leased worker" and "temporary worker" definitions under the Definitions Section are replaced by the
      following:
         "Leased worker" means a person leased to you by a "labor leasing firm" under a written agreement between you
         and the "labor leasing firm", to perform duties related to the conduct of your business. "Leased worker" does not
         include a "temporary worker".
         "Temporary worker" means a person who is furnished to you to support or supplement your work force during
         "employee" absences, temporary skill shortages, upturns or downturns in business or to meet seasonal or short-
         term workload conditions. "Temporary worker" does not include a "leased worker".
   2. The following definition is added to the Definitions Section:
         "Labor leasing firm" means any person or organization who hires out workers to others, including any:
         a. Employment agency, contractor or services;
         b. Professional employer organization; or
         c. Temporary help service.
T. Definition – Mobile Equipment
   Paragraph f. of the "mobile equipment" definition under the Definitions Section is replaced by the following:
   f.    Vehicles not described in Paragraph a., b., c. or d. above maintained primarily for purposes other than the
         transportation of persons or cargo.
         However, self-propelled vehicles with the following types of permanently attached equipment, exceeding a
         combined gross vehicle weight of 1000 pounds, are not "mobile equipment" but will be considered "autos":
         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c) Street cleaning;
         (2) Cherry pickers and similar devices mounted on automobile or truck chassis and used to raise or lower
             workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment.




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U. Definitions – Your Product and Your Work
     The "your product" and "your work" definitions under the Definitions Section are replaced by the following:
     "Your product":
     a. Means:
         (1) Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
             (a) You;
             (b) Others trading under your name; or
             (c) A person or organization whose business or assets you have acquired; and
         (2) Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
             products.
     b. Includes:
         (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
             use, handling, maintenance, operation or safety of "your product"; and
         (2) The providing of or failure to provide warnings or instructions.
     c. Does not include vending machines or other property rented to or located for the use of others but not sold.


     "Your work":
     a. Means:
         (1) Work, services or operations performed by you or on your behalf; and
         (2) Materials, parts or equipment furnished in connection with such work, services or operations.
     b. Includes:
         (1) Warranties or representations made at any time with respect to the fitness, quality, durability, performance,
             use, handling, maintenance, operation or safety of "your work"; and
         (2) The providing of or failure to provide warnings or instructions.
V.     Priority Condition
       The following paragraph is added to Section III – Limits Of Insurance:
       In the event a claim is made or "suit" is brought against more than one insured seeking damages because of "bodily
       injury" or "property damage" caused by the same "occurrence" or "personal and advertising injury" caused by the
       same offense, we will apply the Limits of Insurance in the following order:
       (a) You;
       (b) Your "executive officers", partners, directors, stockholders, members, managers (if you are a limited liability
           company) or "employees"; and
       (c) Any other insured in any order that we choose.
W. Duties in the Event of Occurrence, Offense, Claim or Suit Condition
     The following paragraphs are added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit
     of Section IV – Commercial General Liability Conditions:
     Notice of an "occurrence" or of an offense which may result in a claim under this insurance or notice of a claim or
     "suit" shall be given to us as soon as practicable after knowledge of the "occurrence", offense, claim or "suit" has
     been reported to any insured listed under Paragraph 1. of Section II – Who Is An Insured or an "employee" authorized
     by you to give or receive such notice. Knowledge by other "employees" of an "occurrence", offense, claim or "suit"
     does not imply that you also have such knowledge.
     In the event that an insured reports an "occurrence" to the workers compensation carrier of the Named Insured and
     this "occurrence" later develops into a General Liability claim, covered by this Coverage Part, the insured's failure to
     report such "occurrence" to us at the time of the "occurrence" shall not be deemed to be a violation of this Condition.


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   You must, however, give us notice as soon as practicable after being made aware that the particular claim is a
   General Liability rather than a Workers Compensation claim.


X. Other Insurance Condition
   Paragraphs 4.a. and 4.b.(1) of the Other Insurance Condition of Section IV – Commercial General Liability
   Conditions are replaced by the following:
   4. Other Insurance
      If other valid and collectible insurance is available to the insured for a loss we cover under Coverages A or B of
      this Coverage Part, our obligations are limited as follows:
      a. Primary Insurance
          This insurance is primary except when Paragraph b. below applies. If this insurance is primary, our
          obligations are not affected unless any of the other insurance is also primary. Then, we will share with all that
          other insurance by the method described in Paragraph c. below. However, this insurance is primary to and
          will not seek contribution from any other insurance available to an additional insured provided that:
          (1) The additional insured is a Named Insured under such other insurance; and
          (2) You are required by written contract or written agreement that this insurance be primary and not seek
              contribution from any other insurance available to the additional insured.
           Other insurance includes any type of self insurance or other mechanism by which an insured arranges for
          funding of its legal liabilities.
      b. Excess Insurance
          (1) This insurance is excess over:
              (a) Any of the other insurance, whether primary, excess, contingent or on any other basis:
                  (i) That is property insurance, Builder's Risk, Installation Risk or similar coverage for "your work";
                  (ii) That is property insurance purchased by you (including any deductible or self insurance portion
                       thereof) to cover premises rented to you or temporarily occupied by you with permission of the
                       owner;
                  (iii) That is insurance purchased by you (including any deductible or self insurance portion thereof) to
                        cover your liability as a tenant for "property damage" to premises rented to you or temporarily
                        occupied by you with permission of the owner;
                  (iv) If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent not
                       subject to Exclusion g. of Section I – Coverage A – Bodily Injury And Property Damage Liability;
                       or
                  (v) That is property insurance (including any deductible or self insurance portion thereof) purchased
                      by you to cover damage to:
                      Equipment you borrow from others; or
                      Property loaned to you or personal property in the care, custody or control of the insured arising
                      out of the use of an elevator at premises you own, rent or occupy.
              (b) Any other primary insurance (including any deductible or self insurance portion thereof) available to
                  the insured covering liability for damages arising out of the premises, operations, products, work or
                  services for which the insured has been granted additional insured status either by policy provision or
                  attachment of any endorsement. Other primary insurance includes any type of self insurance or other
                  mechanism by which an insured arranges for funding of its legal liabilities.
              (c) Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an
                  additional insured, in which the additional insured on our policy is also covered as an additional
                  insured on another policy providing coverage for the same "occurrence", claim or "suit". This
                  provision does not apply to any policy in which the additional insured is a Named Insured on such
                  other policy and where our policy is required by written contract or written agreement to provide
                  coverage to the additional insured on a primary and non-contributory basis.


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Y. Unintentional Failure to Disclose All Hazards
     Paragraph 6. Representations of Section IV – Commercial General Liability Conditions is replaced by the
     following:
     6. Representations
        By accepting this policy, you agree:
        a. The statements in the Declarations are accurate and complete;
        b. Those statements are based upon representations you made to us; and
        c. We have issued this policy in reliance upon your representations.
        Coverage will continue to apply if you unintentionally:
        a. Fail to disclose all hazards existing at the inception of this policy; or
        b. Make an error, omission or improper description of premises or other statement of information stated in this
           policy.
        You must notify us as soon as possible after the discovery of any hazards or any other information that was not
        provided to us prior to inception of this Coverage Part.
Z.     Waiver of Right of Subrogation
       Paragraph 8. Transfer Of Rights Of Recovery Against Others To Us of Section IV – Commercial General
       Liability Conditions is replaced by the following:
       8. Transfer Of Rights Of Recovery Against Others To Us
          a. If the insured has rights to recover all or part of any payment we have made under this Coverage Part,
             those rights are transferred to us. The insured must do nothing after loss to impair them. At our request,
             the insured will bring "suit" or transfer those rights to us and help us enforce them.
          b. If the insured waives its right to recover payments for injury or damage from another person or organization
             in a written contract executed prior to a loss, we waive any right of recovery we may have against such
             person or organization because of any payment we have made under this Coverage Part. The written
             contract will be considered executed when the insured's performance begins, or when it is signed,
             whichever happens first. This waiver of rights shall not be construed to be a waiver with respect to any
             other operations in which the insured has no contractual interest


AA. Liberalization Condition
      The following condition is added to Section IV – Commercial General Liability Conditions:
      Liberalization Clause
      If we revise this Coverage Part to broaden coverage without an additional premium charge, your policy will
      automatically provide the additional coverage as of the day the revision is effective in the state shown in the mailing
      address of your policy.


All other terms and conditions of this policy remain unchanged.




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General Liability Supplemental Coverage Endorsement
Technology
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Recording And Distribution Of Material                                                                           Or
Information In Violation Of Law Exclusion

    Policy No.        Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

A. Exclusion q. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2.
   Exclusions of Section I ---- Coverage A ---- Bodily Injury And Property Damage Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         q. Recording And Distribution Of Material Or Information In Violation Of Law
             "Bodily injury" or "property damage" directly or indirectly arising out of or based upon any action or omission
             that violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or
             (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                 or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                 that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                 use of, sending, transmitting, communicating or distribution of material or information.
B. Exclusion p. Recording And Distribution Of Material Or Information In Violation Of Law of Paragraph 2. Exclusions of
   Section I ---- Coverage B ---- Personal And Advertising Injury Liability is replaced by the following:
    2.   Exclusions
         This insurance does not apply to:
         p. Recording And Distribution Of Material Or Information In Violation Of Law
            "Personal and advertising injury" directly or indirectly arising out of or based upon any action or omission that
            violates or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the Fair
                 and Accurate Credit Transaction Act (FACTA); or




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            (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of 2003
                or FCRA and their amendments and additions, or any other legal liability, at common law or otherwise,
                that addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording,
                use of, sending, transmitting, communicating or distribution of material or information.


All other terms and conditions of this policy remain unchanged.




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Policyholder Notice - General Liability Access Or
Disclosure Of Confidential
Or Personal Information Exclusions

This Notice does not form part of your policy. No coverage is provided by this Notice nor can it be construed to replace
any provision of your policy. You should read your policy and review your Declarations page for complete information on
the coverages you are provided. If there is a conflict between the Policy and this Notice, THE PROVISIONS OF THE
POLICY SHALL PREVAIL.
Carefully read your policy, including the endorsements attached to your policy.
This Notice provides information concerning the following new endorsements, which applies to your renewal policy being
issued by us:
CG 21 06 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data – related
Liability – With Limited Bodily Injury Exception (For Use With The Commercial General Liability Coverage Part)
When this endorsement is attached to your policy:
        Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
         of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
         reinforcement of coverage intent.
        Under Coverage B - Personal And Advertising Injury Liability, coverage is excluded for personal and advertising
         injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
         information. To the extent that any access or disclosure of confidential or personal information results in an oral or
         written publication that violates a person’s right of privacy, this may result in a reduction in coverage.
CG 21 07 05 14 – Exclusion – Access or Disclosure of Confidential or Personal Information and Data-related
Liability – Limited Bodily Injury Exception Not Included (For Use With The Commercial General Liability Coverage
Part)
When this endorsement is attached to your policy:
        Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
         of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
         reinforcement of coverage intent. Coverage is also excluded for damages because of bodily injury arising out of
         loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate electronic data. This
         is a reduction of coverage.
        Under Coverage B – Personal and Advertising Injury Liability, coverage is excluded for personal and advertising
         injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
         information. To the extent that any access or disclosure of confidential or personal information results in an oral
         or written publication that violates a person’s right of privacy, this may result in a reduction of coverage.
CG 21 08 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information (Coverage B Only)
(For Use With The Commercial General Liability Coverage Part)
When this endorsement is attached to your policy, coverage is excluded for personal and advertising injury arising out of
any access to or disclosure of any person’s or organization’s confidential or personal information. To the extent that any
access or disclosure of confidential or personal information results in an oral or written publication that violates a person’s
right of privacy, this may result in a reduction in coverage.




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CG 04 37 05 14 – Electronic Data Liability (For Use With The Commercial General Liability Coverage Part)
With respect to damages arising out of any access to or disclosure of any person’s or organization’s confidential or
personal information, when this endorsement is attached to your policy:
      Under Coverage A – Bodily Injury And Property Damage Liability, coverage is excluded for damages arising out
       of any access to or disclosure of any person’s or organization’s confidential or personal information. This is a
       reinforcement of coverage intent.
      Under Coverage B – Personal And Advertising injury Liability, coverage is excluded for personal and advertising
       injury arising out of any access to or disclosure of any person’s or organization’s confidential or personal
       information. To the extent that any access or disclosure of confidential or personal information results in an oral
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CG 33 53 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data – related
Liability – With Limited Bodily Injury Exception (For Use With The Owners and Contractors Protective Liability
Coverage Part and Products/Completed Operations Coverage Parts)
When this endorsement is attached to your policy, coverage is excluded for damages arising out of any access to or
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CG 33 59 05 14 – Exclusion – Access Or Disclosure Of Confidential Or Personal Information And Data-related
Liability – Limited Bodily Injury Exception Not Included (For Use With The Owners And Contractors Protective
Liability and Products/Completed Operations Liability Coverage Parts)
When this endorsement is attached to your policy, coverage is excluded for damages arising out of any access to or
disclosure of any person’s or organization’s confidential or personal information. This is a reinforcement of coverage
intent. Coverage is also excluded for damages because of bodily injury arising out of loss, loss of use of, damage to,
corruption of, inability to access, or inability to manipulate electronic data. This is a reduction of coverage.




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Employee Benefits Liability ---
Claims-Made Coverage Form
       This Coverage Form provides claims-made coverage. Please read the entire form carefully.
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights,
duties, and what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declara-
tions. The words "we", "us", and "our" refer to the Company providing this insurance.
Other words and phrases that appear in quotes have special meaning. Refer to the Definitions Section.
Section I. Coverage - Employee Benefit Liability
1.   Insuring Agree ment                                                (2) A "claim" will be dee med to have been made
                                                                            when notice of such claim is received and re-
     A. We will pay those sums that the "insured" becomes
                                                                            corded by any "insured" or by us, whichever
        legally obligated to pay as damages because of an                   comes first. "All "claims" for damages to the
        act, error, or omission in the "administration" of the              same person or organization will be dee med to
        "insured’s" "e mployee benefit programs". We will
                                                                            have been made at the time the first of those
        have the right and duty to defend the "insured"                     "claims" is made against any "insured".
        against any suit seeking those damages. However,
        we will have no duty to defend the "insured" against       2.   Exclusions
        any "suit" seeking damages for any act, error, or
        omission for which this insurance does not apply.               This insurance does not apply to:
        We may, at our discretion, investigate any "claim"              A. "Bodily injury", "property damage", or "personal
        and settle any "suit" that may result; but:                        and advertising injury";
         (1) The amount we pay for damages is limited as                B. Any "claim" or "suit" arising out of any dishon-
             described in Section II. - Limits of Insurance                est, fraudulent, criminal or malicious act;
             of this Coverage Part; and
                                                                        C. Any "claim" or "suit" arising out of discrimina-
         (2) Our right and duty to defend ends when we                     tion or humiliation;
             have used up the applicable limit of insurance
             in the payment of judgments or settle ments un-            D. Any "claim" or "suit" arising out of an insurer’s
             der this Employee Benefit Liability coverage.                 or other provider’s failure to perform its con-
                                                                           tract;
         No other obligation or liability to pay sums or per-
         form acts or services is covered unless explicitly             E. Any "claim" or "suit" arising out of your failure
                                                                           to comply with any workers compensation, un-
         provided for under Supple mentary Payments of this
         Coverage Part.                                                    e mployment insurance, social security, disabil-
                                                                           ity benefits law, or similar laws;
     B. (1) This insurance applies to an act, error or omis-
            sion only if:                                               F. Any "claim" or "suit" arising out of the failure of
                                                                           any of your "e mployee benefit plans" to meet
             a.   A "claim" arising out of the act, error or               obligations due to insufficient funds;
                  omission is first made against any "insured"
                  during the policy period;                             G. Any "claim" or "suit" arising out of:

             b.   The act, error, or omission takes place in                (1) Advice given to any person to participate
                  the "coverage territory";                                     or not participate in a plan or program in-
                                                                                cluded in "e mployee benefit programs";
             c.   The "insured" had no knowledge of and
                  could not have reasonably foreseen any                    (2) The appointment of, or failure to appoint,
                  circumstances which might result in a                         any investment manager, administrator,
                  "claim" or "suit"; and                                        trustee, actuary, advisor, counsel, account-
                                                                                ant, custodian, or consultant;
             d.   The act, error, or omission did not occur
                  before the Retroactive Date, if any, shown
                  in the Declarations or after the end of the
                  policy period.

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             (3) Any investment activity, including the man-          C. Subject to the Aggregate Limit provisions in B.
                 age ment, administration or disposition of              above, the Each Claim Limit is the most we will
                 assets of your "e mployee benefit pro-                  pay for all damages sustained by any one "e m-
                 grams"; or                                              ployee", including the "e mployee’s" dependents and
                                                                         beneficiaries, because of acts, errors, or omissions
             (4) Failure of any investment to perform as
                                                                         committed in the "administration" of your "e m-
                 represented by any "insured".
                                                                         ployee benefit programs".
         H. Any "claim" or "suit" arising out of an "insured’s"
                                                                      D. The limits of this Coverage Part apply separately to
            liability as a fiduciary under:                              each consecutive annual period and to any re main-
             a.   The Employee Retire ment Income Secu-                  ing period of less than 12 months starting with the
                  rity Act of 1974 (PL93-406) and its                    beginning of the policy period shown in the Decla-
                  amendments; or                                         rations, unless the policy period is extended after is-
                                                                         suance for an additional period of less than 12
             b.   The Internal Revenue Code of 1986 (in-                 months. In that case, the additional period will be
                  cluding the Internal Revenue Code of                   dee med part of the last preceding period for pur-
                  1954) and its amendments.                              poses of determining the Limits of Insurance.
    3.   Supple mentary Payments                                  III. Conditions
         We will pay, in addition to the applicable Limits of         A. Bankruptcy
         Insurance, with respect to any "claim" we investi-
         gate or settle or "suit" we defend:                              Bankruptcy or insolvency of the "insured" or the "in-
                                                                          sured’s" estate will not relieve us of our obligations.
         A. All expenses incurred by us, all costs taxed
            against the "insured" in any "suit" defended by           B. Duties in the Event of an Act, Error, Omission,
            us and all interest on the full amount of any                Claim or Suit
            judgment which accrues after entry of the
                                                                          (1) Regardless of whether the loss exceeds any ap-
            judgment and before we have paid or tendered
                                                                              plicable deductible amount, you must see to it
            or deposited in court, that part of the judgment                  that we are notified as soon as practicable of
            which does not exceed the limit of our insur-
                                                                              any act, error, or omission which may result in
            ance.                                                             a "claim". To the extent possible, notice should
         B. Pre miums on appeal bonds required and on                         include:
            bonds to release attachments in any "suit". We
                                                                              a.    How, when, and where the act, error, or
            do not have to furnish these bonds.                                     omission took place;
         C. All reasonable expenses incurred by the "in-                      b.    The names and addresses of any injured
            sured" at our request to assist us in the investi-
                                                                                    "e mployee", dependents, or beneficiaries
            gation or defense of the "claim" or "suit", in-                         of any "e mployee" and witnesses.
            cluding actual loss of earnings up to $250 a day
            because of time off from work.                                    Notice of an act, error, or omission is not notice
                                                                              of a "claim".
         D. Prejudgment interest awarded against the "in-
            sured" on that part of the judgment we pay. If                (2) If a "claim" is received by any "insured", you
            we make an offer to pay the applicable limit of                   must:
            insurance, we will not pay any prejudgment in-
                                                                              a.    Immediately record the specifics of the
            terest based on that period of time after the of-
            fer.                                                                    "claim" and the date received; and

II. Limits of Insurance                                                       b.    Notify us as soon as practicable.

    A. The Limits of Insurance shown in the Declarations                      You must see to it that we receive written no-
       and the rules below establish the most we will pay                     tice of the "claim" as soon as practicable.
       regardless of the number of:                                       (3) You and any other involved "insured" must:
         (1) "Insureds";                                                      a.    Immediately send us copies of any de-
         (2) "Claims" made or "suits" brought; or                                   mands, notices, summonses, or legal papers
                                                                                    received in connection with the "claim" or
         (3) "Employees" or dependents or beneficiaries of                          "suit";
             "e mployees" making "claims" or bringing "suits".
                                                                              b.    Authorize us to obtain records and other
    B. The Aggregate Limit is the most we will pay for all                          information;
       damages because of all "claims" or "suits" arising
       from the "administration" of your "e mployee benefit
       programs" during the policy period.


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         c.   Cooperate with us in the investigation, set-                 When this insurance is excess, we will have no
              tle ment, or defense of the "claim" or "suit";               duty to defend any "claim" or "suit" that any
              and                                                          other insurer has a duty to defend. If no other
                                                                           insurer defends, we will undertake to do so, but
         d.   Assist us, upon our request, in the en-                      we will be entitled to the "insured’s" rights
              force ment of any right against any person
                                                                           against all those other insurers.
              or organization which may be liable to the
              "insured" because of injury to which this in-                When this insurance is excess over other insur-
              surance may also apply.                                      ance, we will pay only our share of the amount
                                                                           of the loss, if any, that exceeds the sum of:
     (4) No insureds will, except at their own cost, vol-
         untarily make a payment, assume any obliga-                       i.    The total amount that all such other insur-
         tion, or incur any expense without our consent.                         ance would pay for the loss in the absence
                                                                                 of this insurance; and
  C. Legal Action Against Us
                                                                           ii. The total of all deductible and self-insured
     No person or organization has a right:
                                                                               amounts under all that other insurance.
     (1) To join us as a party or otherwise bring us into                  We will share the re maining loss, if any, with
         a "suit" asking for damages from an "insured";                    any other insurance that is not described in this
         or                                                                Excess Insurance provision and was not bought
     (2) To sue us on this Coverage Part unless all of its                 specifically to apply in excess of the Limits of
         terms have been fully complied with.                              Insurance shown in the Declarations of this
                                                                           Coverage Part.
     A person or organization may sue us to recover on
     an agreed settle ment or on a final judgment against              (3) Method of Sharing
     an "insured" obtained after an actual trial, but we                   If all of the other insurance permits contribu-
     will not be liable for damages that are not payable
                                                                           tion by equal shares, we will follow this method
     under the terms of this Coverage Part or that are in
                                                                           also. Under this approach, each insurer con-
     excess of the applicable limit of insurance. An                       tributes equal amounts until it has paid its ap-
     agreed settle ment means a settle ment and release
                                                                           plicable limit of insurance or none of the loss
     of liability signed by us, the "insured", and the                     re mains, whichever comes first.
     claimant or the claimant’s legal representative.
                                                                           If any of the other insurance does not permit
  D. Other Insurance
                                                                           contribution by equal shares, we will contribute
     If other valid and collectible insurance is available                 by limits. Under this method, each insurer’s
     to the "insured" for a loss we cover under this Cov-                  share is based on the ratio of its applicable
     erage Part, our obligations are limited as follows:                   limit of insurance to the total applicable limits
                                                                           of insurance of all insurers.
     (1) Primary Insurance
                                                                   E. Separation of Insureds
         This insurance is primary except when 2. below
         applies. If this insurance is primary, our obli-              Except with respect to the Limits of Insurance and
         gations are not affected unless any of the other              any rights or duties specifically assigned in this
         insurance is also primary. Then, we will share                Coverage Part to the first Named Insured, this in-
         with all that other insurance by the method de-               surance applies:
         scribed in 3. below.
                                                                       (1) As if each Named Insured were the only
     (2) Excess Insurance                                                  Named Insured; and
         This insurance is excess over any other insur-                (2) Separately to each "insured" against whom
         ance whether primary, excess, contingent, or on                   "claim" is made or "suit" is brought.
         any other basis that is effective prior to the be-        F. Transfer Of Rights Of Recovery Against Others To
         ginning of the policy period shown in the Dec-               Us
         larations of this insurance and applies to an act,
         error, or omission on other than a claims-made                If the "insured" has rights to recover all or part of
         basis, if:                                                    any payment we made under this Coverage Part,
                                                                       those rights are transferred to us. The "insured"
         a.   No Retroactive Date is shown in the Dec-                 must do nothing after loss to impair the m. At our
              larations of this insurance; or                          request, the "insured" will bring "suit" or transfer
         b.   The other insurance has a policy period                  those rights to us and help us enforce the m.
              which continues after the Retroactive            IV. Definitions
              Date, if any, shown in the Declarations of
              this insurance.



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    A. "Advertise ment" means a notice that is broadcast or            You and any of your partners, executive officers, di-
       published to the general public or specific market              rectors, me mbers, stockholders or "e mployees",
       segments about your goods, products or services for             provided such "e mployee" is authorized to act in
       the purpose of attracting customers or supporters.              the "administration" of your "e mployee benefit pro-
       For the purposes of this definition:                            grams".
         (1) Notices that are published include material          I.   "Personal and advertising injury" means:
             placed on the Internet or on similar electronic
                                                                       Injury, including consequential "bodily injury", aris-
             means of communication; and
                                                                       ing out of one or more of the following offenses:
         (2) Regarding web-sites, only that part of a web-
             site that is about your goods, products or ser-           (1) False arrest, detention, or imprisonment;
             vices for the purposes of attracting customers or         (2) Malicious prosecution;
             supporters is considered an advertise ment.
                                                                       (3) The wrongful eviction from wrongful entry into,
    B. "Administration" means:                                             or invasion of the right of private occupancy of,
                                                                           a room, dwelling, or pre mises that a person oc-
         (1) Counseling "e mployees", including their de-
             pendents and beneficiaries, with respect to                   cupies by or on behalf of its owner, landlord, or
             "e mployee benefit programs";                                 lessor;

         (2) Handling records in connection with "e mployee            (4) Oral or written publication, in any manner, of
                                                                           material that slanders or libels a person or or-
             benefit programs"; or
                                                                           ganization or disparages a person’s or organi-
         (3) Effecting or terminating an "e mployee’s" par-                zation’s goods, products, or services; or
             ticipation in a plan included in "e mployee
                                                                       (5) Oral or written publication,’ in any manner, of
             benefit programs".
                                                                           material that violates a person’s right of pri-
    C. "Bodily injury" means bodily injury, sickness or dis-               vacy;
       ease sustained by a person, including death result-
                                                                       (6) The use of another’s advertising idea in your
       ing from any of these at any time.
                                                                           "advertise ment"; or
    D. "Claim" means:
                                                                       (7) Infringing upon another’s copyright, trade dress
         The receipt by you of a de mand for money or ser-                 or slogan in your "advertise ment".
         vices which alleges an act, error, or omission in the
         "administration" of your "e mployee benefit pro-         J.   "Property damage" means:
         grams."                                                       (1) Physical injury to tangible property, including
                                                                           all resulting loss of use of that property.
    E. "Coverage territory" means:
         (1) The United States of America (including its               (2) Loss of use of tangible property that is not
                                                                           physically injured.
             territories and possessions), Puerto Rico, and
             Canada; or                                                For the purposes of this insurance, electronic data is
                                                                       not tangible property.
         (2) All parts of the world if the "insured’s" respon-
             sibility to pay damages is determined in a "suit"         As used in this definition, electronic data means in-
             on the merits, in the territory described in E. 1.        formation, facts or programs stored as or on, cre-
             above, or in a settle ment to which we agree.             ated or used on, or transmitted to or from computer
    F. "Employee" means:                                               software, including syste ms and applications, soft-
                                                                       ware, hard or floppy disks, CD-ROMS, tapes,
         Your officers and e mployees, whether actively e m-           drives, cells, data processing devices or any other
         ployed, disabled, or retired.                                 media which are used with electronically controlled
                                                                       equipment.
    G. "Employee benefit programs" mean:
                                                                  K. "Suit" means:
         Group life insurance, group accident or health in-
         surance, profit sharing plans, pension plans, e m-            A civil proceeding in which damages to which this
         ployee stock subscription plans, workers compensa-            insurance applies is alleged. "Suit" includes:
         tion, une mployment insurance, salary continuation
         plans, social security, disability benefits insurance,        (1) An arbitration proceeding in which such dam-
         savings plans, vacation plans, or any other similar               ages are claimed and to which you must submit
         plans or programs.                                                or do submit with our consent; or

    H. "Insured" means:                                                (2) Any other alternative dispute resolution pro-
                                                                           ceeding in which such damages are claimed
                                                                           and to which you submit with our consent.



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                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS
                                                                      Policy Number:          CPO 5912284-03
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured    OMNICELL INC



  Policy Period: Coverage begins     09-01-2015           at 12:01 A.M.;   Coverage ends          09-01-2016              at 12:01 A.M.


  Producer Name:    MARSH RISK & INSURANCE SERVICES                                        Producer No. 70074-000
Item 1. Business Description:
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                    $           5,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $               5,000,000

EACH OCCURRENCE LIMIT                                 $           1,000,000

      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                             $           1,000,000                   Any one premises

       MEDICAL EXPENSE LIMIT                          $                    10,000             Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                 $           1,000,000                   Any one person or
                                                                                              organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:          NONE
                                                                           (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:                                                                    $           84,722.00
Other Premium:
Total Premium:                                                                            $           84,722.00




                                                                                                                    U-GL-D-1115-B CW (9/ 04)



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                EMPLOYEE BENEFIT LIABILITY COVERAGE PART - CLAIMS MADE DECLARATIONS


                                                                     Policy Number: CPO 5912284-03

Named Insured: OMNICELL INC


Policy Period: Coverage begins 09-01-2015                  at 12:01 A.M.;   Coverage ends 09-01-2016         at 12:01 A.M.



Producer Name: MARSH RISK & INSURANCE SERVICES                                    Producer No. 70074-000


Item 1. Limits of Insurance



      $     3,000,000 Aggregate Limit
      $     1,000,000 Each Claim Limit

Item 2. Form of Business:
          Individual              Parnership           Joint Venture X         Corporation
          Other


Item 3. Premium Schedule:
    Code No.           Premium Basis                       Rate                               Advance Premium
                       (Estimated Number of Employees)

     92100             1100                                $ INCL              Per Employee   $       INCL

                                                           $ INCL              Flat Charge    $       INCL


Total Advance Premium For This Coverage Part:         $           INCL


Audit Period:     X Annual          Semi-annual           Quarterly            Monthly

Forms And Endorsements Applicable To This Coverage Part:

  SEE SCHEDULE OF FORMS AND ENDORSEMENTS



Retroactive Date:
 9/01/2012          (Enter date or "None" if no Retroactive Date applies)
This insurance does not apply to damages caused by an act, error, or omission which occurred before the Retroac-
tive Date, if any, shown above.




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,               occurs during the policy period; and
duties and what is and is not covered.                          (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer              under Paragraph 1. of Section II -- Who Is An
to the Named Insured shown in the Declarations, and                  Insured and no "employee" authorized by you
any other person or organization qualifying as a Named               to give or receive notice of an "occurrence" or
Insured under this policy. The words "we", "us" and                  claim, knew that the "bodily injury" or
"our" refer to the company providing this insurance.                 "property damage" had occurred, in whole or
The word "insured" means any person or organization                  in part. If such a listed insured or authorized
qualifying as such under Section II ---- Who Is An                   "employee" knew, prior to the policy period,
Insured.                                                             that the "bodily injury" or "property damage"
                                                                     occurred, then any continuation, change or
Other words and phrases that appear in quotation                     resumption of such "bodily injury" or
marks have special meaning. Refer to Section V ----                  "property damage" during or after the policy
Definitions.                                                         period will be deemed to have been known
SECTION I ---- COVERAGES                                             prior to the policy period.
COVERAGE A ---- BODILY INJURY AND PROPERTY                   c. "Bodily injury" or "property damage" which
DAMAGE LIABILITY                                                 occurs during the policy period and was not,
                                                                 prior to the policy period, known to have
1. Insuring Agreement                                            occurred by any insured listed under Paragraph
   a. We will pay those sums that the insured becomes            1. of Section II ---- Who Is An Insured or any
       legally obligated to pay as damages because of            "employee" authorized by you to give or receive
       "bodily injury" or "property damage" to which this        notice of an "occurrence" or claim, includes any
       insurance applies. We will have the right and             continuation, change or resumption of that
       duty to defend the insured against any "suit"             "bodily injury" or "property damage" after the end
       seeking those damages. However, we will have              of the policy period.
       no duty to defend the insured against any "suit"
                                                             d. "Bodily injury" or "property damage" will be
       seeking damages for "bodily injury" or "property
                                                                 deemed to have been known to have occurred at
       damage" to which this insurance does not apply.
                                                                 the earliest time when any insured listed under
       We may, at our discretion, investigate any
                                                                 Paragraph 1. of Section II ---- Who Is An Insured
       "occurrence" and settle any claim or "suit" that
                                                                 or any "employee" authorized by you to give or
       may result. But:
                                                                 receive notice of an "occurrence" or claim:
      (1) The amount we will pay for damages is limited
          as described in Section III ---- Limits Of            (1) Reports all, or any part, of the "bodily injury"
          Insurance; and                                            or "property damage" to us or any other
                                                                    insurer;
      (2) Our right and duty to defend ends when we
                                                                (2) Receives a written or verbal demand or claim
          have used up the applicable limit of insurance
          in the payment of judgments or settlements                for damages because of the "bodily injury" or
                                                                    "property damage"; or
          under Coverages A or B or medical expenses
          under Coverage C.                                     (3) Becomes aware by any other means that
                                                                    "bodily injury" or "property damage" has
       No other obligation or liability to pay sums or              occurred or has begun to occur.
       perform acts or services is covered unless
       explicitly provided for under Supplementary           e. Damages because of "bodily injury" include
       Payments ---- Coverages A and B.                         damages claimed by any person or organization
                                                                for    care, loss       of services      or death
   b. This insurance applies to "bodily injury" and
                                                                resulting at any time from the "bodily injury".
       "property damage" only if:
      (1) The "bodily injury" or "property damage" is
          caused by an "occurrence" that takes place
          in the "coverage territory";




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2. Exclusions                                                    This exclusion applies even if the claims
   This insurance does not apply to:                             against any insured allege negligence or other
                                                                 wrongdoing in:
   a. Expected Or Intended Injury
                                                                    (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                     training or monitoring of others by that
       or intended from the standpoint of the insured.                   insured; or
       This exclusion does not apply to "bodily injury"
       resulting from the use of reasonable force to                (b) Providing      or   failing   to     provide
       protect persons or property.                                      transportation with respect to any person
                                                                         that may be under the influence of alcohol;
   b. Contractual Liability
                                                                 if the "occurrence" which caused the "bodily
       "Bodily injury" or "property damage" for which the        injury" or "property damage", involved that which
       insured is obligated to pay damages by reason of          is described in Paragraph (1), (2) or (3) above.
       the assumption of liability in a contract or
       agreement. This exclusion does not apply to               However, this exclusion applies only if you are in
       liability for damages:                                    the business of manufacturing, distributing,
                                                                 selling,    serving   or     furnishing    alcoholic
      (1) That the insured would have in the absence             beverages. For the purposes of this exclusion,
           of the contract or agreement; or                      permitting a person to bring alcoholic beverages
      (2) Assumed in a contract or agreement that is             on your premises, for consumption on your
           an "insured contract", provided the "bodily           premises, whether or not a fee is charged or a
           injury" or "property        damage" occurs            license is required for such activity, is not by
           subsequent to the execution of the contract           itself considered the business of selling, serving
           or agreement. Solely for the purposes of              or furnishing alcoholic beverages.
           liability assumed in an "insured contract",        d. Workers Compensation And Similar Laws
           reasonable attorneys fees and necessary
           litigation expenses incurred by or for a party        Any obligation of the insured under a workers
           other than an insured are deemed to be                compensation,        disability      benefits    or
           damages because of "bodily injury" or                 unemployment compensation law or any similar
           "property damage", provided:                          law.
          (a) Liability to such party for, or for the cost    e. Employer s Liability
                of, that party s defense has also been           "Bodily injury" to:
                assumed in the same "insured contract";          (1) An "employee" of the insured arising out of
                and                                                   and in the course of:
          (b) Such attorneys fees and litigation                     (a) Employment by the insured; or
                expenses are for defense of that party
                against a civil or alternative dispute              (b) Performing duties related to the conduct
                resolution proceeding in which damages                    of the insured s business; or
                to which this insurance applies are              (2) The spouse, child, parent, brother or sister of
                alleged.                                              that "employee" as a consequence of
   c. Liquor Liability                                                Paragraph (1) above.
       "Bodily injury" or "property damage" for which             This exclusion applies whether the insured may
       any insured may be held liable by reason of:               be liable as an employer or in any other capacity
                                                                  and to any obligation to share damages with or
      (1) Causing or contributing to the intoxication of          repay someone else who must pay damages
          any person;                                             because of the injury.
      (2) The furnishing of alcoholic beverages to a
                                                                 This exclusion does not apply to liability
          person under the legal drinking age or under           assumed by the insured under an "insured
          the influence of alcohol; or                           contract".
      (3) Any statute, ordinance or regulation relating
          to the sale, gift, distribution or use of
          alcoholic beverages.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                   on which any insured or any contractors
           out of the actual, alleged or threatened                      or subcontractors working directly or
           discharge, dispersal, seepage, migration,                     indirectly on any insured s behalf are
           release or escape of "pollutants":                            performing operations if the "pollutants"
                                                                         are brought on or to the premises, site or
          (a) At or from any premises, site or location                  location in connection with such
                which is or was at any time owned or                     operations by such insured, contractor or
                occupied by, or rented or loaned to, any                 subcontractor.           However,        this
                insured. However, this subparagraph                      subparagraph does not apply to:
                does not apply to:
                                                                         (i) "Bodily injury" or "property damage"
                (i) "Bodily injury" if sustained within a                    arising out of the escape of fuels,
                    building and caused by smoke, fumes,                     lubricants or other operating fluids
                    vapor or soot produced by or                             which are needed to perform the
                    originating from equipment that is used                  normal      electrical,   hydraulic    or
                    to heat, cool or dehumidify the                          mechanical functions necessary for the
                    building, or equipment that is used to                   operation of "mobile equipment" or its
                    heat water for personal use, by the                      parts, if such fuels, lubricants or other
                    building s occupants or their guests;                    operating fluids escape from a vehicle
               (ii) "Bodily injury" or "property damage" for                 part designed to hold, store or receive
                    which you may be held liable, if you                     them. This exception does not apply if
                    are a contractor and the owner or                        the "bodily injury" or "property damage"
                    lessee of such premises, site or                         arises out of the intentional discharge,
                    location has been added to your policy                   dispersal or release of the fuels,
                    as an additional insured with respect to                 lubricants or other operating fluids, or
                    your ongoing operations performed for                    if such fuels, lubricants or other
                    that additional insured at that                          operating fluids are brought on or to
                    premises, site or location and such                      the premises, site or location with the
                    premises, site or location is not and                    intent that they be discharged,
                    never was owned or occupied by, or                       dispersed or released as part of the
                    rented or loaned to, any insured, other                  operations being performed by such
                    than that additional insured; or                         insured, contractor or subcontractor;
              (iii) "Bodily injury" or "property damage"                 (ii) "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                       sustained within a building and caused
                    from a "hostile fire";                                    by the release of gases, fumes or
                                                                              vapors from materials brought into that
        (b) At or from any premises, site or location
                                                                              building in connection with operations
             which is or was at any time used by or for
                                                                              being performed by you or on your
             any insured or others for the handling,                          behalf     by    a     contractor    or
             storage, disposal, processing or treatment                       subcontractor; or
             of waste;
                                                                        (iii) "Bodily injury" or "property damage"
        (c) Which are or were at any time transported,
             handled, stored, treated, disposed of, or                        arising out of heat, smoke or fumes
             processed as waste by or for:                                    from a "hostile fire".
             (i) Any insured; or                                     (e) At or from any premises, site or location
                                                                         on which any insured or any contractors
           (ii) Any person or organization for whom                      or subcontractors working directly or
                 you may be legally responsible; or                      indirectly on any insured s behalf are
                                                                         performing operations if the operations
                                                                         are to test for,          monitor, clean up,
                                                                         remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
                                                                         assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
          any:                                                        out of:
         (a) Request, demand, order or statutory or                  (a) The operation of machinery or equipment
             regulatory requirement that any insured or                  that is attached to, or part of, a land
             others test for, monitor, clean up, remove,                 vehicle that would qualify under the
             contain, treat, detoxify or neutralize, or in               definition of "mobile equipment" if it were
             any way respond to, or assess the effects                   not subject to a compulsory or financial
             of, "pollutants"; or                                        responsibility law or other motor vehicle
        (b) Claim or suit by or on behalf of a                           insurance law where it is licensed or
             governmental authority for damages                          principally garaged; or
             because of testing for, monitoring,                    (b) The operation of any of the machinery or
             cleaning up, removing,           containing,                equipment listed in Paragraph f.(2) or f.(3)
             treating, detoxifying or neutralizing, or in                of the definition of "mobile equipment".
             any way responding to, or assessing the          h. Mobile Equipment
             effects of, "pollutants".
                                                                 "Bodily injury" or "property damage" arising out
           However, this paragraph does not apply to             of:
           liability for damages because of "property
           damage" that the insured would have in the            (1) The transportation of "mobile equipment" by
           absence of such request, demand, order or                 an "auto" owned or operated by or rented or
           statutory or regulatory requirement, or such              loaned to any insured; or
           claim or "suit" by or on behalf of a                   (2) The use of "mobile equipment" in, or while in
           governmental authority.                                    practice for, or while being prepared for, any
   g. Aircraft, Auto Or Watercraft                                    prearranged racing, speed, demolition, or
                                                                      stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment          i. War
       to others of any aircraft, "auto" or watercraft             "Bodily injury" or "property damage", however
       owned or operated by or rented or loaned to any             caused, arising, directly or indirectly, out of:
       insured. Use includes operation and "loading or            (1) War, including undeclared or civil war;
       unloading".
                                                                  (2) Warlike action by a military force, including
       This exclusion applies even if the claims against
                                                                      action in hindering or defending against an
       any insured allege negligence or other
       wrongdoing        in   the   supervision,    hiring,           actual    or expected attack, by any
       employment, training or monitoring of others by                government, sovereign or other authority
                                                                      using military personnel or other agents; or
       that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved          (3) Insurrection, rebellion, revolution, usurped
       the ownership, maintenance, use or entrustment                 power, or action taken by governmental
       to others of any aircraft, "auto" or watercraft that           authority in hindering or defending against
       is owned or operated by or rented or loaned to                 any of these.
       any insured.                                            j. Damage To Property
       This exclusion does not apply to:                           "Property damage" to:
      (1) A watercraft while ashore on premises you               (1) Property you own, rent, or occupy, including
           own or rent;                                               any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                        any other person, organization or entity, for
                                                                      repair, replacement, enhancement, restoration
          (a) Less than 26 feet long; and
                                                                      or maintenance of such property for any
          (b) Not being used to carry persons or                      reason, including prevention of injury to a
               property for a charge;                                 person or damage to another s property;
     (3) Parking an "auto" on, or on the ways next to,            (2) Premises you sell, give away or abandon, if
         premises you own or rent, provided the "auto"                the "property damage" arises out of any part
         is not owned by or rented or loaned to you or                of those premises;
         the insured;
                                                                  (3) Property loaned to you;
     (4) Liability assumed under any "insured
         contract" for the ownership, maintenance or
         use of aircraft or watercraft; or



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      (4) Personal property in the care, custody or              This exclusion does not apply to the loss of use
              control of the insured;                            of other property arising out of sudden and
      (5) That particular part of real property on which         accidental physical injury to "your product" or
              you or any contractors or subcontractors           "your work" after it has been put to its intended
              working directly or indirectly on your behalf      use.
              are performing operations, if the "property     n. Recall Of Products, Work Or Impaired Property
              damage" arises out of those operations; or          Damages claimed for any loss, cost or expense
      (6) That particular part of any property that must          incurred by you or others for the loss of use,
              be restored, repaired or replaced because           withdrawal,     recall,    inspection,    repair,
              "your work" was incorrectly performed on it.        replacement, adjustment, removal or disposal of:
       Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
       not apply to "property damage" (other than                (2) "Your work"; or
       damage by fire) to premises, including the
       contents of such premises, rented to you for a            (3) "Impaired property";
       period of seven or fewer consecutive days. A               if such product, work, or property is withdrawn
       separate limit of insurance applies to Damage To           or recalled from the market or from use by any
       Premises Rented To You as described in Section             person or organization because of a known or
       III ---- Limits Of Insurance.                              suspected defect, deficiency, inadequacy or
       Paragraph (2) of this exclusion does not apply if          dangerous condition in it.
       the premises are "your work" and were never            o. Personal And Advertising Injury
       occupied, rented or held for rental by you.
                                                                 "Bodily injury" arising out of "personal and
       Paragraphs (3), (4), (5) and (6) of this exclusion        advertising injury".
       do not apply to liability assumed under a
                                                              p. Electronic Data
       sidetrack agreement.
                                                                 Damages arising out of the loss of, loss of use
       Paragraph (6) of this exclusion does not apply to
                                                                 of, damage to, corruption of, inability to access,
       "property damage" included in the "products-
                                                                 or inability to manipulate electronic data.
       completed operations hazard".
                                                                 However, this exclusion does not apply to liability
  k. Damage To Your Product
                                                                 for damages because of "bodily injury".
       "Property damage" to "your product" arising out
                                                                 As used in this exclusion, electronic data means
       of it or any part of it.                                  information, facts or programs stored as or on,
   l. Damage To Your Work                                        created or used on, or transmitted to or from
       "Property damage" to "your work" arising out of it        computer software, including systems and
       or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
       completed operations hazard".                             ROMs, tapes, drives, cells, data processing
                                                                 devices or any other media which are used with
       This exclusion does not apply if the damaged              electronically controlled equipment.
       work or the work out of which the damage arises
       was performed on your behalf by a                      q. Recording And Distribution Of Material Or
       subcontractor.                                            Information In Violation Of Law
  m. Damage To Impaired Property Or Property Not                 "Bodily injury" or "property damage" arising
       Physically Injured                                        directly or indirectly out of any action or
                                                                 omission that violates or is alleged to violate:
       "Property damage" to "impaired property" or
       property that has not been physically injured,            (1) The Telephone Consumer Protection Act
       arising out of:                                               (TCPA), including any amendment of or
                                                                     addition to such law;
     (1) A    defect, deficiency,     inadequacy     or
         dangerous condition in "your product" or                (2) The CAN-SPAM Act of 2003, including any
         "your work"; or                                             amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting on           (3) The Fair Credit Reporting Act (FCRA), and
         your behalf to perform a contract or                        any amendment of or addition to such law,
         agreement in accordance with its terms.                     including the Fair and Accurate Credit
                                                                     Transactions Act (FACTA); or




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       (4) Any      federal, state or local statute, 2. Exclusions
            ordinance or regulation, other than the TCPA,     This insurance does not apply to:
            CAN-SPAM Act of 2003 or FCRA and their
            amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
            prohibits, or limits the printing, dissemination,     "Personal and advertising injury" caused by or
            disposal, collecting, recording, sending,             at the direction of the insured with the knowledge
            transmitting, communicating or distribution of        that the act would violate the rights of another
            material or information.                              and would inflict "personal and advertising
   Exclusions c. through n. do not apply to damage by             injury".
   fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
   occupied by you with permission of the owner. A
                                                                  "Personal and advertising injury" arising out of
   separate limit of insurance applies to this coverage
   as described in Section III ---- Limits Of Insurance.          oral or written publication, in any manner, of
                                                                  material, if done by or at the direction of the
COVERAGE B ---- PERSONAL AND ADVERTISING                          insured with knowledge of its falsity.
INJURY LIABILITY
                                                              c. Material Published Prior To Policy Period
1. Insuring Agreement                                             "Personal and advertising injury" arising out of
   a. We will pay those sums that the insured becomes             oral or written publication, in any manner, of
        legally obligated to pay as damages because of            material whose first publication took place before
        "personal and advertising injury" to which this           the beginning of the policy period.
        insurance applies. We will have the right and         d. Criminal Acts
        duty to defend the insured against any "suit"
        seeking those damages. However, we will have              "Personal and advertising injury" arising out of a
        no duty to defend the insured against any "suit"          criminal act committed by or at the direction of
        seeking damages for "personal and advertising             the insured.
        injury" to which this insurance does not apply.       e. Contractual Liability
        We may, at our discretion, investigate any
        offense and settle any claim or "suit" that may           "Personal and advertising injury" for which the
        result. But:                                              insured has assumed liability in a contract or
                                                                  agreement. This exclusion does not apply to
       (1) The amount we will pay for damages is limited          liability for damages that the insured would have
            as described in Section III ---- Limits Of            in the absence of the contract or agreement.
            Insurance; and
                                                               f. Breach Of Contract
       (2) Our right and duty to defend end when we
            have used up the applicable limit of insurance        "Personal and advertising injury" arising out of a
            in the payment of judgments or settlements            breach of contract, except an implied contract to
            under Coverages A or B or medical expenses            use another s advertising idea in your
            under Coverage C.                                     "advertisement".
                                                              g. Quality Or Performance Of Goods ---- Failure To
        No other obligation or liability to pay sums or
                                                                  Conform To Statements
        perform acts or services is covered unless
        explicitly provided for under Supplementary               "Personal and advertising injury" arising out of
        Payments ---- Coverages A and B.                          the failure of goods, products or services to
                                                                  conform with any statement of quality or
   b. This insurance applies to "personal and
        advertising injury" caused by an offense arising          performance made in your "advertisement".
      out of your business but only if the offense was        h. Wrong Description Of Prices
      committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
      policy period.                                             the wrong description of the price of goods,
                                                                 products    or services      stated    in  your
                                                                 "advertisement".




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   i. Infringement Of Copyright, Patent,                      n. Pollution-related
      Trademark Or Trade Secret                                   Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of           (1) Request, demand, order or statutory or
      the infringement of copyright, patent, trademark,              regulatory requirement that any insured or
      trade secret or other intellectual property rights.            others test for, monitor, clean up, remove,
      Under this exclusion, such other intellectual                  contain, treat, detoxify or neutralize, or in any
      property rights do not include the use of                      way respond to, or assess the effects of,
      another s     advertising      idea    in     your             "pollutants"; or
      "advertisement".
                                                                 (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                      governmental authority for damages because
      infringement, in your "advertisement", of                      of testing for, monitoring, cleaning up,
      copyright, trade dress or slogan.                              removing, containing, treating, detoxifying or
   j. Insureds In Media And Internet Type Businesses                 neutralizing, or in any way responding to, or
      "Personal and advertising injury" committed by                 assessing the effects of, "pollutants".
      an insured whose business is:                           o. War
     (1) Advertising, broadcasting, publishing or                 "Personal and advertising injury", however
          telecasting;                                            caused, arising, directly or indirectly, out of:
     (2) Designing or determining content of web                 (1) War, including undeclared or civil war;
          sites for others; or                                   (2) Warlike action by a military force, including
     (3) An Internet search, access, content or service              action in hindering or defending against an
          provider.                                                  actual    or expected attack, by any
      However, this exclusion does not apply to                      government, sovereign or other authority
      Paragraphs 14.a., b. and c. of "personal and                   using military personnel or other agents; or
      advertising injury" under the Definitions section.         (3) Insurrection, rebellion, revolution, usurped
      For the purposes of this exclusion, the placing of             power, or action taken by governmental
      frames, borders or links, or advertising, for you              authority in hindering or defending against
      or others anywhere on the Internet, is not by                  any of these.
      itself, considered the business of advertising,         p. Recording And Distribution Of Material Or
      broadcasting, publishing or telecasting.                   Information In Violation Of Law
   k. Electronic Chatrooms Or Bulletin Boards                     "Personal and advertising injury" arising directly
       "Personal and advertising injury" arising out of an        or indirectly out of any action or omission that
       electronic chatroom or bulletin board the insured          violates or is alleged to violate:
       hosts, owns, or over which the insured exercises          (1) The Telephone Consumer Protection Act
       control.                                                       (TCPA), including any amendment of or
    l. Unauthorized Use Of Another s Name Or                          addition to such law;
       Product                                                   (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of               amendment of or addition to such law;
       the unauthorized use of another s name or                 (3) The Fair Credit Reporting Act (FCRA), and
       product in your e-mail address, domain name or                 any amendment of or addition to such law,
       metatag, or any other similar tactics to mislead               including the Fair and Accurate Credit
       another s potential customers.                                 Transactions Act (FACTA); or
  m. Pollution                                                   (4) Any federal, state or local statute, ordinance
      "Personal and advertising injury" arising out of               or regulation, other than the TCPA, CAN-
      the actual, alleged or threatened discharge,                   SPAM Act of 2003 or FCRA and their
      dispersal, seepage, migration, release or                      amendments        and      additions,       that
      escape of "pollutants" at any time.                            addresses, prohibits, or limits the printing,
                                                                     dissemination,        disposal,      collecting,
                                                                     recording,        sending,        transmitting,
                                                                     communicating or distribution of material or
                                                                     information.




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COVERAGE C ---- MEDICAL PAYMENTS                              d. Workers Compensation And Similar Laws
1. Insuring Agreement                                             To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury" are
       below for "bodily injury" caused by an accident:           payable or must be provided under a workers
                                                                  compensation or disability benefits law or a
      (1) On premises you own or rent;                            similar law.
      (2) On ways next to premises you own or rent;           e. Athletics Activities
          or
                                                                  To a person injured while practicing, instructing
      (3) Because of your operations;                             or participating in any physical exercises or
      provided that:                                              games, sports, or athletic contests.
          (a) The accident takes place in the "coverage        f. Products-Completed Operations Hazard
              territory" and during the policy period;           Included      within    the    "products-completed
          (b) The expenses are incurred and reported             operations hazard".
              to us within one year of the date of the       g. Coverage A Exclusions
              accident; and
                                                                 Excluded under Coverage A.
          (c) The      injured    person     submits   to
              examination, at        our expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
              physicians of our choice as often as we B
              reasonably require.                         1. We will pay, with respect to any claim we investigate
   b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
       These payments will not exceed the applicable         a. All expenses we incur.
       limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
       expenses for:                                             because of accidents or traffic law violations
      (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
           accident;                                             Bodily Injury Liability Coverage applies. We do
      (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
           services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
      (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
           nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                 bonds.
2. Exclusions
                                                             d. All reasonable expenses incurred by the insured
   We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
   a. Any Insured                                                defense of the claim or "suit", including actual
       To any insured, except "volunteer workers".               loss   of earnings up to $250 a day because of
                                                                 time off from work.
   b. Hired Person
                                                             e. All court costs taxed against the insured in the
       To a person hired to do work for or on behalf of          "suit". However, these payments do not include
       any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
   c. Injury On Normally Occupied Premises                       against the insured.
       To a person injured on that part of premises you       f. Prejudgment interest awarded against the
       own or rent that the person normally                      insured on that part of the judgment we pay. If
       occupies.                                                 we make an offer to pay the applicable limit of
                                                                 insurance, we will not pay any prejudgment
                                                                 interest based on that period of time after the
                                                                 offer.




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   g. All interest on the full amount of any judgment            So long as the above conditions are met,
      that accrues after entry of the judgment and               attorneys fees incurred by us in the defense of that
      before we have paid, offered to pay, or deposited          indemnitee, necessary litigation expenses incurred
      in court the part of the judgment that is within the       by us and necessary litigation expenses incurred by
      applicable limit of insurance.                             the indemnitee at our request will be paid as
   These payments will not reduce the limits of                  Supplementary Payments. Notwithstanding the
   insurance.                                                    provisions of Paragraph 2.b.(2) of Section I ----
                                                                 Coverage A ---- Bodily Injury And Property Damage
2. If we defend an insured against a "suit" and an               Liability, such payments will not be deemed to be
   indemnitee of the insured is also named as a party to         damages for "bodily injury" and "property damage"
   the "suit", we will defend that indemnitee if all of the      and will not reduce the limits of insurance.
   following conditions are met:
                                                                 Our obligation to defend an insured s indemnitee
   a. The "suit" against the indemnitee seeks damages            and to pay for attorneys fees and necessary
       for which the insured has assumed the liability of        litigation expenses as Supplementary Payments
       the indemnitee in a contract or agreement that is         ends when we have used up the applicable limit of
       an "insured contract";                                    insurance in the payment of judgments or
   b. This insurance applies to such liability assumed           settlements or the conditions set forth above, or the
       by the insured;                                           terms of the agreement described in Paragraph f.
   c. The obligation to defend, or the cost of the               above, are no longer met.
       defense of, that indemnitee, has also been             SECTION II ---- WHO IS AN INSURED
       assumed by the insured in the same "insured            1. If you are designated in the Declarations as:
       contract";
                                                                 a. An individual, you and your spouse are insureds,
   d. The allegations in the "suit" and the information               but only with respect to the conduct of a
       we know about the "occurrence" are such that no                business of which you are the sole owner.
       conflict appears to exist between the interests of
       the insured and the interests of the indemnitee;          b. A partnership or joint venture, you are an
                                                                      insured. Your members, your partners, and their
   e. The indemnitee and the insured ask us to                        spouses are also insureds, but only with respect
       conduct and control the defense of that                        to the conduct of your business.
       indemnitee against such "suit" and agree that we
       can assign the same counsel to defend the                 c. A limited liability company, you are an insured.
       insured and the indemnitee; and                                Your members are also insureds, but only with
                                                                      respect to the conduct of your business. Your
    f. The indemnitee:                                                managers are insureds, but only with respect to
       (1) Agrees in writing to:                                      their duties as your managers.
           (a) Cooperate with us in the investigation,           d. An organization other than a partnership, joint
               settlement or defense of the "suit";                 venture or limited liability company, you are an
                                                                    insured. Your "executive officers" and directors
          (b) Immediately send us copies of any
               demands, notices, summonses or legal                 are insureds, but only with respect to their duties
               papers received in connection with the               as your officers or directors. Your stockholders
                                                                    are also insureds, but only with respect to their
               "suit";
                                                                    liability as stockholders.
           (c) Notify any other insurer whose coverage
               is available to the indemnitee; and               e. A trust, you are an insured. Your trustees are
                                                                    also insureds, but only with respect to their
          (d) Cooperate with us with respect to                     duties as trustees.
               coordinating other applicable insurance
               available to the indemnitee; and
      (2) Provides us with written authorization to:
          (a) Obtain records and other information
              related to the "suit"; and
         (b) Conduct and control the defense of the
              indemnitee in such "suit".




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2. Each of the following is also an insured:                    c. Any person or organization having proper
   a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
       duties related to the conduct of your business,              but only:
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                 maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are a                appointed.
       limited liability company), but only for acts within
       the scope of their employment by you or while            d. Your legal representative if you die, but only with
       performing duties related to the conduct of your             respect to duties as such. That representative will
       business. However, none of these "employees"                 have all your rights and duties under this
       or "volunteer workers" are insureds for:                     Coverage Part.
      (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
           injury":                                             than a partnership, joint venture or limited liability
                                                                company, and over which you maintain ownership
          (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                you are a partnership or joint venture), to     there is no other similar insurance available to that
                your members (if you are a limited liability    organization. However:
                company), to a co-"employee" while in the
                course of his or her employment or              a. Coverage under this provision is afforded only
                performing duties related to the conduct            until the 90th day after you acquire or form the
                of your business, or to your other                  organization or the end of the policy period,
                "volunteer workers" while performing                whichever is earlier;
                duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                business;                                           "property damage" that occurred before you
          (b) To the spouse, child, parent, brother or              acquired  or formed the organization; and
                sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                (1)(a) above;                                       committed before you acquired or formed the
          (c) For which there is any obligation to share            organization.
                damages with or repay someone else who No person or organization is an insured with respect to
                must pay damages because of the injury the conduct of any current or past partnership, joint
                described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                above; or                                    a Named Insured in the Declarations.
          (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                failing to provide professional health care
                                                             1. The Limits of Insurance shown in the Declarations
                services.
                                                                and the rules below fix the most we will pay
      (2) "Property damage" to property:                        regardless of the number of:
          (a) Owned, occupied or used by;                       a. Insureds;
          (b) Rented to, in the care, custody or control        b. Claims made or "suits" brought; or
                of, or over which physical control is being     c. Persons or organizations making claims or
                exercised for any purpose by;
                                                                    bringing "suits".
           you, any of your "employees", "volunteer
                                                             2. The General Aggregate Limit is the most we will pay
           workers", any partner or member (if you are a
                                                                for the sum of:
           partnership or joint venture), or any member
           (if you are a limited liability company).            a. Medical expenses under Coverage C;
   b. Any person (other than your "employee" or                 b. Damages under Coverage A, except damages
       "volunteer worker"), or any organization while               because of "bodily injury" or "property damage"
       acting as your real estate manager.                          included in the "products-completed operations
                                                                    hazard"; and
                                                                c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
   Limit is the most we will pay under Coverage A for                damage arising out of the "occurrence" or
   damages because of "bodily injury" and "property                  offense.
   damage" included in the "products-completed               b. If a claim is made or "suit" is brought against any
   operations hazard".                                           insured, you must:
4. Subject to Paragraph 2. above, the Personal And              (1) Immediately record the specifics of the claim
   Advertising Injury Limit is the most we will pay under            or "suit" and the date received; and
   Coverage B for the sum of all damages because of
   all "personal and advertising injury" sustained by any       (2) Notify us as soon as practicable.
   one person or organization.                                   You must see to it that we receive written notice
5. Subject to Paragraph 2. or 3. above, whichever                of the claim or "suit" as soon as practicable.
   applies, the Each Occurrence Limit is the most we         c. You and any other involved insured must:
   will pay for the sum of:
                                                                (1) Immediately send us copies of any demands,
   a. Damages under Coverage A; and                                 notices, summonses or legal papers received
    b. Medical expenses under Coverage C                            in connection with the claim or "suit";
    because of all "bodily injury" and "property damage"        (2) Authorize us to obtain records and other
    arising out of any one "occurrence".                            information;
6. Subject to Paragraph 5. above, the Damage To                 (3) Cooperate with us in the investigation or
    Premises Rented To You Limit is the most we will                settlement of the claim or defense against the
    pay under Coverage A for damages because of                     "suit"; and
    "property damage" to any one premises, while rented        (4) Assist us, upon our request, in the
    to you, or in the case of damage by fire, while rented          enforcement of any right against any person
    to you or temporarily occupied by you with                       or organization which may be liable to the
    permission of the owner.                                        insured because of injury or damage to which
7. Subject to Paragraph 5. above, the Medical Expense               this insurance may also apply.
    Limit is the most we will pay under Coverage C for      d. No insured will, except at that insured s own
    all medical expenses because of "bodily injury"             cost, voluntarily make a payment, assume any
    sustained by any one person.                                obligation, or incur any expense, other than for
The Limits of Insurance of this Coverage Part apply             first aid, without our consent.
separately to each consecutive annual period and to 3. Legal Action Against Us
any remaining period of less than 12 months, starting       No person or organization has a right under this
with the beginning of the policy period shown in the
                                                            Coverage Part:
Declarations, unless the policy period is extended after
issuance for an additional period of less than 12           a. To join us as a party or otherwise bring us into a
months. In that case, the additional period will be             "suit" asking for damages from an insured; or
deemed part of the last preceding period for purposes       b. To sue us on this Coverage Part unless all of its
of determining the Limits of Insurance.                         terms have been fully complied with.
SECTION IV ---- COMMERCIAL GENERAL LIABILITY                A person or organization may sue us to recover on
CONDITIONS                                                  an agreed settlement or on a final judgment
1. Bankruptcy                                               against an insured; but we will not be liable for
                                                            damages that are not payable under the terms of
    Bankruptcy or insolvency of the insured or of the
                                                            this Coverage Part or that are in excess of the
    insured s estate will not relieve us of our obligations
    under this Coverage Part.                               applicable    limit of insurance. An agreed settlement
                                                            means a settlement and release of liability signed
2. Duties In The Event Of Occurrence, Offense, Claim        by us, the insured and the claimant or the
    Or Suit                                                 claimant s legal representative.
    a. You must see to it that we are notified as soon as
        practicable of an "occurrence" or an offense
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
       (2) The names and addresses of any injured
            persons and witnesses; and


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4. Other Insurance                                                (3) When this insurance is excess over other
   If other valid and collectible insurance is available               insurance, we will pay only our share of the
   to the insured for a loss we cover under Coverages                  amount of the loss, if any, that exceeds the
   A or B of this Coverage Part, our obligations are                   sum of:
   limited as follows:                                                (a) The total amount that all such other
   a. Primary Insurance                                                    insurance would pay for the loss in the
                                                                           absence of this insurance; and
      This insurance is primary except when
      Paragraph b. below applies. If this insurance is               (b) The total of all deductible and self-insured
      primary, our obligations are not affected unless                     amounts under all that other insurance.
      any of the other insurance is also primary. Then,           (4) We will share the remaining loss, if any, with
      we will share with all that other insurance by the               any other insurance that is not described in
      method described in Paragraph c. below.                          this Excess Insurance provision and was not
   b. Excess Insurance                                                 bought specifically to apply in excess of the
                                                                       Limits of Insurance shown in the Declarations
      (1) This insurance is excess over:                               of this Coverage Part.
          (a) Any of the other insurance, whether               c. Method Of Sharing
               primary, excess, contingent or on any
               other basis:                                         If all of the other insurance permits contribution
                                                                    by equal shares, we will follow this method also.
               (i) That is Fire, Extended Coverage,                 Under this approach each insurer contributes
                   Builder s Risk, Installation Risk or             equal amounts until it has paid its applicable limit
                   similar coverage for "your work";                of insurance or none of the loss remains,
              (ii) That is Fire insurance for premises              whichever comes first.
                   rented to you or temporarily occupied            If any of the other insurance does not permit
                   by you with permission of the owner;             contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you to            by limits. Under this method, each insurer s
                   cover your liability as a tenant for             share is based on the ratio of its applicable limit
                   "property damage" to premises rented             of insurance to the total applicable limits of
                   to you or temporarily occupied by you            insurance of all insurers.
                   with permission of the owner; or           5. Premium Audit
             (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                   maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                   or watercraft to the extent not subject
                   to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                   Coverage A ---- Bodily Injury And                advance premium is a deposit premium only. At
                   Property Damage Liability.                       the close of each audit period we will compute
                                                                    the earned premium for that period and send
         (b) Any other primary insurance available to               notice to the first Named Insured. The due date
               you covering liability for damages arising           for audit and retrospective premiums is the date
               out of the premises or operations, or the            shown as the due date on the bill. If the sum of
               products and completed operations, for               the advance and audit premiums paid for the
               which you have been added as an                      policy period is greater than the earned premium,
               additional insured.                                  we will return the excess to the first Named
      (2) When this insurance is excess, we will have               Insured.
           no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
           the insured against any "suit" if any other              the information we need for premium
           insurer has a duty to defend the insured                 computation, and send us copies at such times
           against that "suit". If no other insurer defends,        as we may request.
           we will undertake to do so, but we will be
                                                              6. Representations
           entitled      to     the      insured s     rights
           against all those other insurers.                     By accepting this policy, you agree:
                                                                a. The statements in the            Declarations    are
                                                                   accurate and complete;




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   b. Those        statements      are     based      upon      However, "auto" does not include "mobile
        representations you made to us; and                     equipment".
    c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
        representations.                                        disease sustained by a person, including death
7. Separation Of Insureds                                       resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and       4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
   insurance applies:                                                Canada;
    a. As if each Named Insured were the only Named             b. International waters or airspace, but only if the
        Insured; and                                                 injury or damage occurs in the course of travel
                                                                     or transportation between any places included in
   b. Separately to each insured against whom claim is
        made or "suit" is brought.                                   Paragraph    a. above; or
8. Transfer Of Rights Of Recovery Against Others To              c. All other parts of the world if the injury or
   Us                                                                damage arises out of:
   If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
   payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
   those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
   do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
   the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
   us and help us enforce them.                                          or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
   If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
   mail or deliver to the first Named Insured shown in                   electronic  means of communication;
   the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
   less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
                                                                the territory described in Paragraph a. above or in a
   If notice is mailed, proof of mailing will be sufficient
   proof of notice.                                             settlement we agree to.
SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                does not include a "temporary worker".
1. "Advertisement" means a notice that is broadcast or
   published to the general public or specific market        6. "Executive officer" means a person holding any of
   segments about your goods, products or services              the officer positions created by your charter,
   for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:             document.
    a. Notices that are published include material 7. "Hostile fire" means one which becomes
        placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
        means of communication; and                             intended to be.
   b. Regarding web sites, only that part of a web site      8. "Impaired property" means tangible property, other
        that is about your goods, products or services          than "your product" or "your work", that cannot be
        for the purposes of attracting customers or             used or is less useful because:
        supporters is considered an advertisement.               a. It incorporates "your product" or "your work" that
2. "Auto" means:                                                     is known or thought to be defective, deficient,
                                                                     inadequate or dangerous; or
    a. A land motor vehicle, trailer or semitrailer
        designed for travel on public roads, including          b. You have failed to fulfill the terms of a contract or
        any attached machinery or equipment; or                      agreement;
   b. Any other land vehicle that is subject to a               if such property can be restored to use by the
        compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
        other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
        licensed or principally garaged.                        terms of the contract or agreement.




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9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
       that portion of the contract for a lease of           you   and the labor leasing firm, to perform duties
       premises that indemnifies any person or               related  to the conduct of your business. "Leased
       organization for damage by fire to premises while     worker"  does not include a "temporary worker".
       rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
       with permission of the owner is not an "insured       property:
       contract";                                            a. After it is moved from the place where it is
   b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in               watercraft or "auto";
       connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;            "auto"; or
   d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
        indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
        with work for a municipality;                               delivered;
   e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
    f. That part of any other contract or agreement            movement of property by means of a mechanical
        pertaining to your business (including an              device, other than a hand truck, that is not attached
        indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
        with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
        which you assume the tort liability of another         of land vehicles, including any attached machinery
        party to pay for "bodily injury" or "property          or equipment:
        damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
        liability means a liability that would be imposed           vehicles designed for use principally off public
        by law in the absence of any contract or                    roads;
        agreement.
                                                               b. Vehicles maintained for use solely on or next to
        Paragraph f. does not include that part of any              premises you own or rent;
        contract or agreement:
                                                               c. Vehicles that travel on crawler treads;
       (1) That indemnifies a railroad for "bodily injury"
            or "property damage" arising out of                d. Vehicles,        whether   self-propelled or not,
            construction or demolition operations, within           maintained primarily to provide mobility to
            50 feet of any railroad property and affecting          permanently mounted:
            any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
            beds, tunnel, underpass or crossing;                        drills; or
       (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
            surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
           (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                 or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                 opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                 change      orders or        drawings and          permanently attached equipment of the following
                 specifications; or                                 types:
           (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                 to give them, if that is the primary cause of          including     spraying,     welding,   building
                 the injury or damage; or                               cleaning, geophysical exploration, lighting
       (3) Under which the insured, if an architect,                    and well servicing equipment; or
            engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
            injury or damage arising out of the                         raise or lower workers;
            insured s rendering or failure to render
                                                                f. Vehicles not described in Paragraph a., b., c. or
            professional services, including those listed           d. above maintained primarily for purposes other
            in (2) above and supervisory, inspection,
                                                                    than the transportation of persons or
            architectural or engineering activities.                cargo.




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         However, self-propelled vehicles with the 16. "Products-completed operations hazard":
         following types of permanently attached                   a. Includes all "bodily injury" and             "property
         equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
         considered "autos":                                           or rent and arising out of "your product" or "your
        (1) Equipment designed primarily for:                          work" except:
             (a) Snow removal;                                        (1) Products that are still in your physical
            (b) Road maintenance, but not construction                     possession; or
                  or resurfacing; or                                  (2) Work that has not yet been completed or
             (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                           deemed completed at the earliest of the
        (2) Cherry pickers and similar devices mounted                     following times:
              on automobile or truck chassis and used to
                                                                          (a) When all of the work called for in your
              raise or lower workers; and
                                                                               contract has been completed.
        (3) Air compressors, pumps and generators,
              including     spraying,   welding,      building            (b) When all of the work to be done at the job
              cleaning, geophysical exploration, lighting                      site has been completed if your contract
              and well servicing equipment.                                    calls for work at more than one job site.
    However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
    land vehicles that are subject to a compulsory or                          site has been put to its intended use by
    financial responsibility law or other motor vehicle                        any   person or organization other than
    insurance law where it is licensed or principally                          another     contractor or subcontractor
    garaged. Land vehicles subject to a compulsory or                          working   on  the same project.
    financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
    insurance law are considered "autos".                                  correction, repair or replacement, but which
13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
    continuous or repeated exposure to substantially the                   completed.
    same general harmful conditions.                               b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,                    damage" arising out of:
    including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
    one or more of the following offenses:                                 injury or damage arises out of a condition in
     a. False arrest, detention or imprisonment;                           or on a vehicle not owned or operated by
                                                                           you, and that condition was created by the
    b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
     c. The wrongful eviction from, wrongful entry into,                   insured;
         or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
         room, dwelling or premises that a person                          or abandoned or unused materials; or
         occupies, committed by or on behalf of its
         owner, landlord or lessor;                                   (3) Products or operations for which the
                                                                           classification, listed in the Declarations or in a
    d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
         material that slanders or libels a person or                      completed operations are subject to the
         organization or disparages a person s or                          General Aggregate Limit.
         organization s goods, products or services;
                                                               17. "Property damage" means:
    e. Oral or written publication, in any manner, of
         material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                       resulting loss of use of that property. All such
     f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
         "advertisement"; or                                           of the physical injury that caused it; or
    g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
         or slogan in your "advertisement".                            physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
    thermal irritant or contaminant, including smoke,                  that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,                is not tangible property.
    reconditioned or reclaimed.




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    As used in this definition, electronic data means       b. Includes:
    information, facts or programs stored as or on,            (1) Warranties or representations made at any
    created or used on, or transmitted to or from                  time with respect to the fitness, quality,
    computer      software, including systems and                  durability, performance or use of "your
    applications software, hard or floppy disks, CD-               product"; and
    ROMs, tapes, drives, cells, data processing devices
    or any other media which are used with                     (2) The providing of or failure to provide
    electronically controlled equipment.                           warnings   or instructions.
18. "Suit" means a civil proceeding in which damages        c. Does not include vending machines or other
    because of "bodily injury", "property damage" or            property rented to or located for the use of
    "personal and advertising injury" to which this             others but not sold.
    insurance applies are alleged. "Suit" includes:     22. "Your work":
    a. An arbitration proceeding in which such              a. Means:
        damages are claimed and to which the insured
        must submit or does submit with our consent; or        (1) Work or operations performed by you or on
                                                                   your behalf; and
    b. Any other alternative dispute resolution                (2) Materials, parts or equipment furnished in
        proceeding in which such damages are claimed               connection with such work or operations.
        and to which the insured submits with our
        consent.                                            b. Includes:
19. "Temporary worker" means a person who is                   (1) Warranties or representations made at any
    furnished to you to substitute for a permanent                 time with respect to the fitness, quality,
    "employee" on leave or to meet seasonal or short-              durability, performance or use of "your work";
    term workload conditions.                                      and
20. "Volunteer worker" means a person who is not your          (2) The providing of or failure to provide
    "employee", and who donates his or her work and                warnings or instructions.
    acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone else
    for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
         (b) Others trading under your name; or
          (c) A person or organization whose business
               or assets you have acquired; and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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Additional Insured --- Automatic --- Owners, Lessees Or
Contractors

    Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.          Add’l. Prem         Return Prem.




                     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: OMNICELL           INC
Address (including ZIP Code):
590 E MIDDLEFIELD RD
MOUNTAIN VIEW, CA.                  94043-4008
This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part


A. Section II ---- Who Is An Insured is amended to include as an additional insured any person or organization whom you
   are required to add as an additional insured on this policy under a written contract or written agreement . Such person
   or organization is an additional insured only with respect to liability for "bodily injury", "property damage" or "personal
   and advertising injury" caused, in whole or in part, by:
    1.   Your acts or omissions; or
    2.   The acts or omissions of those acting on your behalf,
    in the performance of your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement.
    However, the insurance afforded to such additional insured:
    1.   Only applies to the extent permitted by law; and
    2.   Will not be broader than that which you are required by the written contract or written agreement to provide for
         such additional insured.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusion applies:
    This insurance does not apply to:
          "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering of, or failure to
         render, any professional architectural, engineering or surveying services including:
            The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
            field orders, change orders or drawings and specifications; or
             Supervisory, inspection, architectural or engineering activities.
    This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the supervision,
    hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused the "bodily
    injury" or "property damage", or the offense which caused the "personal and advertising injury", involved the
    rendering of or the failure to render any professional architectural, engineering or surveying services .




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C. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV ----
   Commercial General Liability Conditions:
    The additional insured must see to it that:
    1.    We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
    2.    We receive written notice of a claim or "suit" as soon as practicable; and
    3.    A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
          another insurer under which the additional insured may be an insured in any capacity. This provision does not
          apply to insurance on which the additional insured is a Named Insured if the written contract or written agreement
          requires that this coverage be primary and non-contributory.
D. For the purposes of the coverage provided by this endorsement:
    1.    The following is added to the Other Insurance Condition of Section IV ---- Commercial General Liability Conditions:
          Primary and Noncontributory insurance
          This insurance is primary to and will not seek contribution from any other insurance available to an additional
          insured provided that:
          a. The additional insured is a Named Insured under such other insurance; and
          b. You are required by written contract or written agreement that this insurance be primary and not seek
             contribution from any other insurance available to the additional insured.
    2.    The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV ---- Commercial
          General Liability Conditions:
          This insurance is excess over:
          Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
          insured, in which the additional insured on our policy is also covered as an additional insured on another policy
          providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any
          policy in which the additional insured is a Named Insured on such other policy and where our policy is required
          by a written contract or written agreement to provide coverage to the additional insured on a primary and non-
          contributory basis.
E. This endorsement does not apply to an additional insured which has been added to this policy by an endorsement
   showing the additional insured in a Schedule of additional insureds, and which endorsement applies specifically to
   that identified additional insured.
F. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
   Section III ---- Limits Of Insurance:
    The most we will pay on behalf of the additional insured is the amount of insurance:
    1. Required by the written contract or written agreement referenced in Paragraph A. of this endorsement; or
    2. Available under the applicable Limits of Insurance shown in the Declarations,
    whichever is less.
    This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.


All other terms and conditions of this policy remain unchanged.




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Asbestos Exclusion Endorsement

      Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer            Add’l. Prem           Return Prem.
                                                                                                      $                     $




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Commercial General Liability Coverage Part



The following exclusion is added to paragraph 2. Exclusions of Section I - Coverage A --- Bodily Injury And Property Damage
Liability and Coverage B - Personal And Advertising Injury Liability:
2.   Exclusions
     This insurance does not apply to:
     Asbestos
     A. "Bodily injury", "property damage" or "personal and advertising injury" arising out of or which would not have oc-
        curred, in whole or in part, but for the actual, alleged or threatened discharge, dispersal, release, leakage, leaching,
        friability, flaking, escape or presence of asbestos, regardless of whether any other cause, event, material or product
        contributed concurrently or in any sequence to the injury or damage; or
     B. Any sums that any insured or other entity must pay, repay or reimburse because of any:
         1.   Request, de mand, order, statutory or regulatory require ment, direction or determination that any insured or
              others test for, investigate, monitor, clean up, re move, study, contain, treat, encapsulate, control or take any
              other action regarding asbestos; or
         2.   Claim or "suit" for damages arising out of or relating in any way to any request, de mand, order, statutory or
              regulatory require ment, direction or determination that any insured or others test for, investigate, monitor,
              clean up, re move, study, contain, treat, encapsulate, control or take any other action regarding asbestos; or
     C. Any other loss, cost or expense arising out of or relating in any way to asbestos.




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Premium And Reports Agreement –
Composite Rated Policies




           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under any of the following:
Commercial General Liability Coverage Part
Products/Completed Operations Liability Coverage Part
Owners Contractors Protective Coverage Part
Railroad Protective Coverage Part
                                                         Schedule
      1.   Unit of Exposure:

           ☐   Gross sales          ☐   Area                               ☐   Gallons
           ☐   Each                 ☐   Rooms                              ☐   General Liability Payroll
           ☐   Admissions           ☐   Units                              ☐   Rounds played
           ☐   Total Cost           ☐   Total Operating Expenditures       ☐   Occupied rooms
           ☐   Licensed Autos       ☐   Workers Compensation Payroll       ☒   Other

                                                                           DOMESTIC SALES ONLY-FOREIGN EXCL

2.
       Coverage       / Description              Unit of Exposure                Rate(s)           Estimated Premium(s)
     COMPUTER SOFTWARE                   $416,900,000.
     MFG-PRE-PACKAGED
     PREMISES/OPERATIONS                                                   0.145                  $60,451
     PROD/COMPLETED OPS                                                    0.045                  $18,761
                                         TOTAL RATE:                       0.103                  $79,212
     EMPL BENEFITS LIAB                                                                           $681
     SUPPLEMENTAL                                                                                 3271 F/C
     COVERAG
     TERRORISM                                                             2% OF GL               $1,661
                                                                           PREMIUM



      (Add more rows as required)

3. Deposit Premium:                      $79,212
4. Minimum Premium:                      $63,369

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Condition 5, Premium Audit, of Section IV, Commercial General Liability Conditions, is replaced by the following:


5.   Premium Audit
     a.   We will compute all premiums for this Coverage Part according to our rules and the composite rates shown in the
          Schedule above or attached hereto.
     b. For policies other than Annual Reporting, the deposit premium shown in the Schedule is due and payable on the first day
        of the policy period. The first Named Insured will pay, within 20 days following the mailing or delivery of the statement
        of audited premium for each audit period, the earned premium due.
     c. Within 180 days after this Coverage Part expires we will conduct an audit, which may not be waived. We will compute
        the earned premium for the policy period by multiplying the composite rate against the total developed exposure. If the
        earned premium is greater than the sum of the deposit and any interim adjustment premiums, the first Named Insured
        will pay us the excess; if less, we will return the unearned portion to the first Named Insured. However, the earned pre-
        mium will not be less than the Minimum Premium as shown in the Schedule.
     d. The first Named Insured must maintain records of the information we need for premium computation and send us copies
        at such times as we may request.
     e.   The units of exposure shown in the Schedule are defined as follows:
          1.   Admissions means the total number of persons, other than employees of the named insured, admitted to events con-
               ducted on the insured premises whether on paid admissions, tickets, complimentary tickets or passes.
          2.   Gallons means the total number of gallons of liquefied petroleum gasses invoiced on any basis to any customer,
               whether or not the insured actually takes possession of such gases.
          3.   Gross sales means gross sales invoiced, before discounts, but does not include taxes collected for any governmental
               unit.
          4.   Licensed "auto" means the final average of the number of "autos" at policy inception and the number of "autos" at
               policy termination.
          5.   Occupied rooms means the number of rooms actually rented during the policy year in a hotel or other place of lodg-
               ing.
          6.   General Liability payroll means total remuneration for all "employees" of the insured as defined in our rating
               manuals.
          7.   Workers Compensation payroll means total remuneration for all "employees" of the insured as defined in our rat-
               ing manuals.
          8.   Rounds played means the number of both paid and gratuitous rounds of golf played on an 18 hole golf course dur-
               ing the policy year. Rounds that are less then 10 holes will be counted as a half round toward the total number of
               rounds of golf played.
          9.   Each means the total number of exposure units as described in the exposure basis.
          10. Rooms mean the total number of rooms available for rent in a hotel or other place of lodging.
          11. Total cost means the total cost of all work let or sublet in connection with each specified project including the cost
              of all labor, material and equipment furnished, used or delivered in the execution of the work, however, do not in-
              clude the cost of finished equipment installed but not furnished by the subcontractor if the subcontractor does no
              other work on or in connection with such equipment; and all fees, bonuses or commissions made, paid or due.
          12. Total Operating Expenditures means expenditures (including grants, entitlements and shared revenue) without re-
              gard to source of revenue, including accounts payable.
          13. Units means a single room or group of rooms intended for occupancy as separate living quarters by a family, by a
              group of unrelated persons living together, or by a person living alone.
          14. Area means the total number of square feet of floor space at the insured premises they occupy or lease to others.
          15. Other means the unit of exposure as defined in the Unit of Exposure Schedule of this endorsement


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                                                                        COMMERCIAL GENERAL LIABILITY
                                                                                       CG 32 34 01 05

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CALIFORNIA CHANGES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   ELECTRONIC DATA LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCT WITHDRAWAL COVERAGE PART
   PRODUCTS/ COMPLETED OPERATIONS LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under Califor-
nia law.




CG 32 34 01 05                             ISO Properties, Inc., 2004                       Page 1 of 1



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Deductible Endorsement Claims-Made
         Policy No.         Exp. Date of Pol.   Eff. Date of End.        Agency No.           Addl. Prem.         Return Prem.



                  THIS END ORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorse ment modifies insurance provided under the:
Employee Benefits Liability Coverage Part

It is agreed that the following deductible provisions are           2.     The terms of this Coverage Part apply regardless of
added to the policy as respects the Employee Benefit Li-                   the application of the deductible amount. This in-
ability Coverage Part:                                                     cludes those terms with respect to:
                                                                           a.   Our rights and duties with respect to the de-
    Deductible:       $        1,000                                            fense of "suits"; and
    1.   The deductible amount stated above shall be de-
                                                                           b.   The "insured’s" duties in the event of an act, er-
         ducted from the amount of all "claims" arising out
                                                                                ror, or omission or a "claim" or "suit".
         of the same act, error, or omission. We shall be li-
         able only for the difference between such deducti-         3.     We may pay any part or all of the deductible
         ble amount and the amount of insurance otherwise                  amount to effect settle ment of any "claim" or "suit".
         applicable on a per "claim" basis. The Aggregate                  You shall promptly reimburse us for such part of
         Limit will not be reduced by the application of such              the deductible amount as has been paid by us after
         deductible.                                                       we notify you of our action.




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         POLICY NUMBER: CPO 5912284-03                                                    COMMERCIAL GENERAL LIABILITY
                                                                                                         CG 20 10 04 13

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                  ADDITIONAL INSURED --- OWNERS, LESSEES OR
                   CONTRACTORS --- SCHEDULED PERSON OR
                               ORGANIZATION
         This endorsement modifies insurance provided under the following:

            COMMERCIAL GENERAL LIABILITY COVERAGE PART


                                                               SCHEDULE

             Name Of Additional Insured Person(s)
                     Or Organization(s)                                              Location(s) Of Covered Operations
COUNTY OF SANTA CLARA
COUNTY OF SANTA CLARA, AND MEMBERS OF
THE BOARD OF SUPERVISORS OF THE COUNTY
OF SANTA CLARA, AND THE OFFICERS, AGENTS
AND EMPLOYEES OF THE COUNTY OF SANTA
CLARA, INDIVIDUALLY AND COLLECTIVELY ARE
C/O EBIX BPO
P.O. BOX 257, REF. #XX-XXXXXXX
PORTLAND, MI USA 48875-0257
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

         A. Section II ---- Who Is An Insured is amended to            B. With respect to the insurance afforded to these
            include as an additional insured the person(s) or             additional insureds, the following additional
            organization(s) shown in the Schedule, but only               exclusions apply:
            with respect to liability for "bodily injury", "property      This insurance does not apply to "bodily injury" or
            damage" or "personal and advertising injury"                  "property damage" occurring after:
            caused, in whole or in part, by:
                                                                          1. All work, including materials, parts or
            1. Your acts or omissions; or                                    equipment furnished in connection with such
            2. The acts or omissions of those acting on your                 work, on the project (other than service,
                behalf;                                                      maintenance or repairs) to be performed by or
            in the performance of your ongoing operations for                on behalf of the additional insured(s) at the
            the additional insured(s) at the location(s)                     location of the covered operations has been
            designated above.                                                completed; or
            However:                                                       2. That portion of "your work" out of which the
                                                                              injury or damage arises has been put to its
            1. The insurance afforded to such additional                      intended use by any person or organization
               insured only applies to the extent permitted by                other    than     another      contractor      or
               law; and                                                       subcontractor     engaged       in    performing
             2. If coverage provided to the additional insured is             operations for a principal as a part of the same
                required by a contract or agreement, the                      project.
                insurance afforded to such additional insured
                will not be broader than that which you are
                required by the contract or agreement to
                provide for such additional insured.




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C. With respect to the insurance afforded to these            2.Available under the applicable Limits of
   additional insureds, the following is added to                    Insurance shown in the Declarations;
   Section III --- Limits Of Insurance:                       whichever is less.
   If coverage provided to the additional insured is          This endorsement shall not increase the
   required by a contract or agreement, the most we           applicable Limits of Insurance shown in the
   will pay on behalf of the additional insured is the        Declarations.
   amount of insurance:
   1. Required by the contract or agreement; or




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                                                                           COMMERCIAL GENERAL LIABILITY
                                                                                          CG 21 06 05 14

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION – ACCESS OR DISCLOSURE OF
      CONFIDENTIAL OR PERSONAL INFORMATION AND
            DATA-RELATED LIABILITY – WITH
           LIMITED BODILY INJURY EXCEPTION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion 2.p. of Section I – Coverage A –                        As used in this exclusion, electronic data
   Bodily Injury And Property Damage Liability is                    means information, facts or programs
   replaced by the following:                                        stored as or on, created or used on, or
   2. Exclusions                                                     transmitted to or from computer software,
                                                                     including    systems      and      applications
      This insurance does not apply to:                              software, hard or floppy disks, CD-ROMs,
      p. Access Or Disclosure Of Confidential Or                     tapes, drives, cells, data processing
         Personal Information And Data-related                       devices or any other media which are used
         Liability                                                   with electronically controlled equipment.
         Damages arising out of:                           B. The following is added to Paragraph 2.
                                                              Exclusions of Section I – Coverage B –
        (1) Any access to or disclosure of any
             person's or organization's confidential or       Personal And Advertising Injury Liability:
             personal information, including patents,         2. Exclusions
             trade secrets, processing methods,                  This insurance does not apply to:
             customer lists, financial information,
             credit      card    information,    health          Access Or Disclosure Of Confidential Or
             information or any other type of                    Personal Information
             nonpublic information; or                           "Personal and advertising injury" arising out of
        (2) The loss of, loss of use of, damage to,              any access to or disclosure of any person's or
             corruption of, inability to access, or              organization's     confidential     or    personal
             inability to manipulate electronic data.            information, including patents, trade secrets,
                                                                 processing methods, customer lists, financial
         This exclusion applies even if damages are              information, credit card information, health
         claimed for notification costs, credit                  information or any other type of nonpublic
         monitoring expenses, forensic expenses,                 information.
         public relations expenses or any other loss,
         cost or expense incurred by you or others                This exclusion applies even if damages are
         arising out of that which is described in                claimed for notification costs, credit monitoring
         Paragraph (1) or (2) above.                              expenses, forensic expenses, public relations
                                                                  expenses or any other loss, cost or expense
         However, unless Paragraph (1) above                      incurred by you or others arising out of any
         applies, this exclusion does not apply to                access to or disclosure of any person's or
         damages because of "bodily injury".                      organization's     confidential   or    personal
                                                                  information.




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                                                                                 COMMERCIAL GENERAL LIABILITY
                                                                                                CG 22 75 04 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 PROFESSIONAL LIABILITY EXCLUSION ---
                       COMPUTER SOFTWARE
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. The following exclusion is added to Paragraph 2.         B. With respect to the rendering of or failure to render
   Exclusions of Section I ---- Coverage A ---- Bodily         any service by you or on your behalf in connection
   Injury And Property Damage Liability and Section I          with the selling, licensing, franchising or furnishing
   ---- Coverage B ---- Personal And Advertising Injury        of your computer software including electronic
   Liability:                                                  data processing programs, designs, specifications,
   This insurance does not apply to "bodily injury",           manuals and instructions, Exclusion 2.b.
   "property damage" or "personal and advertising              Contractual Liability under Section I -- Coverage A
   injury" arising out of the rendering of or failure to       ---- Bodily Injury And Property Damage Liability is
   render any service by you or on your behalf in              replaced by the following:
   connection with the selling, licensing, franchising          2. Exclusions
   or furnishing of your computer software including                 This insurance does not apply to:
   electronic data processing programs, designs,
   specifications, manuals and instructions.                       b. "Bodily injury" or "property damage" for
                                                                      which the insured is obligated to pay
   This exclusion applies even if the claims against                  damages by reason of the assumption of
   any insured allege negligence or other wrongdoing                  liability in a contract or agreement.
   in the supervision, hiring, employment, training or
   monitoring of others by that insured, if the
   "occurrence" which caused the "bodily injury" or
   "property damage", or the offense which caused
   the "personal and advertising injury", involved the
   rendering of or failure to render any service
   described above.




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                                                                                               COMMERCIAL AUTO
                                                                                                   CA 02 67 11 12

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          FLORIDA CHANGES ---
                     CANCELLATION AND NONRENEWAL
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   BUSINESS AUTO PHYSICAL DAMAGE COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to the coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Paragraph A.2.b. of the Common Policy                     D. The following is added to Paragraph A. of the
   Conditions, Cancellation, is changed to read as              Common Policy Conditions, Cancellation:
   follows:                                                     7. If this policy provides Personal Injury
       b. 45 days before the effective date of                     Protection, Property Damage Liability Coverage
           cancellation if we cancel for any other                 or both and:
           reason.                                                 a. It is a new or renewal policy, it may not be
B. Paragraph A.4. of the Common Policy Conditions,                    cancelled by the first Named Insured during
   Cancellation, is replaced by the following:                        the first 60 days immediately following the
   4. Notice of cancellation will state the effective                 effective date of the policy or renewal,
       date of, and reason(s) for, the cancellation. The              except for one of the following reasons:
       policy period will end on that date.                            (1) The covered "auto" is completely
C. Paragraph A.5. of the Common Policy Conditions,                          destroyed such that it is no longer
   Cancellation, is replaced by the following:                              operable;
   5. If this policy is cancelled, we will send the first              (2) Ownership of the covered "auto" is
       Named Insured any premium refund due. If we                          transferred; or
       cancel, the refund will be pro rata. If the first               (3) The Named Insured has purchased
       Named Insured cancels, the refund may be less                        another policy covering the motor
       than pro rata. If the return premium is not                          vehicle insured under this policy.
       refunded with the notice of cancellation or                  b. It is a new policy, we may not cancel it
       when this policy is returned to us, we will mail                 during the first 60 days immediately
       the refund within 15 working days after the date                 following the effective date of the policy for
       cancellation takes effect, unless this is an audit               nonpayment of premium unless a check
       policy.                                                          used to pay us is dishonored for any
       If this is an audit policy, then, subject to your                reason or any other type of premium
       full cooperation with us or our agent in                         payment is subsequently determined to be
       securing the necessary data for audit, we will                   rejected or invalid.
       return any premium refund due within 90 days
       of the date cancellation takes effect. If our audit
       is not completed within this time limitation, then
       we shall accept your own audit, and any
       premium refund due shall be mailed within 10
       working days of receipt of your audit.
       The cancellation will be effective even if we
       have not made or offered a refund.



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E. The following condition is added:                          2. If we fail to mail proper notice of nonrenewal
   Nonrenewal                                                    and you obtain other insurance, this policy will
                                                                 end on the effective date of that insurance.
   1. If we decide not to renew or continue this
      policy, we will mail you notice at least 45 days        3. Notice of nonrenewal will state the reason(s)
      before the end of the policy period. If we offer           for the nonrenewal and the effective date of
      to renew or continue and you do not accept,                nonrenewal. The policy period will end on that
      this policy will terminate at the end of the               date.
      current policy period. Failure to pay the
      required renewal or continuation premium
      when due shall mean that you have not
      accepted our offer.




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 THIS NOTICE DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
            CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

           NOTICE REGARDING TERRORISM PREMIUM
         (FOR COMMERCIAL AUTOMOBILE INS URANCE)
                                                            SCHED ULE*


Pre mium attributable to risk of loss resulting from terrorism for the Commercial Automobile line of insurance:
Automobile                                                                                                         $310.00

*Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Terrorism Risk Insurance Act ("TRIA")                                  B. Disclosure of Terrorism Pre mium

The Commercial Automobile line is not part of TRIA.                       We have elected to provide notice to you of the amount
On Dece mber 22, 2005, the President of the United                        of the total policy pre mium attributable to the risk of
States signed the first TRIA extension act into law and,                  loss from terrorism for the Commercial Automobile line
at that time, the Commercial Auto line was re moved                       of insurance.
from the program. The federal government does not
share in Commercial Automobile terrorism losses..




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                                                                                                       EXHIBIT D PAGE 222
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POLICY NUMBER:           CPO 5912284-03                                                       COMMERCIAL AUTO
                            ZURICH AMERICAN INSURANCE COMPANY


                                              1400 American Lane
                                         Schaumburg, Illinois 60196-1056
                                                1-800-382-2150

                      BUSINESS AUTO DECLARATIONS

ITEM ONE

PRODUCER:
MARSH RISK & INSURANCE SERVICES


NAMED INSURED:          OMNICELL INC
                        (SEE NAMED INSURED ENDORSEMENT)
MAILING ADDRESS:        590 E MIDDLEFIELD RD
                        MOUNTAIN VIEW, CA 94043-4008

POLICY PERIOD:         From     09-01-2015          to   09-01-2016 at 12:01 A.M. Standard Time at your
                                                                           mailing address shown above
PREVIOUS POLICY NUMBER:           CPO 5912284-02

FORM OF BUSINESS:
  X CORPORATION                        LIMITED LIABILITY COMPANY                         INDIVIDUAL
     PARTNERSHIP                       OTHER

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY,
WE AGREE WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


Premium shown is payable at inception:     $        31,229.52
AUDIT PERIOD (IF APPLICABLE) X            ANNUALLY           SEMI-              QUARTERLY            MONTHLY
                                                             ANNUALLY
ENDORSEMENTS ATTACHED TO THIS POLICY:
  IL 00 17 ---- Common Policy Conditions (IL 01 46 in Washington)
  IL 00 21 ----Broad Form Nuclear Exclusion (not Applicable in New York) ( IL 01 98 in Washington)


                              SEE SCHEDULE OF FORMS AND ENDORSEMENTS




COUNTERSIGNED                                                 BY
                                     (Date)                                 (Authorized Representative)



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ITEM TWO

Schedule Of Coverages And Covered Autos
This policy provides only those coverages where a charge is shown in the premium column below. Each of these
coverages will apply only to those "autos" shown as covered "autos". "Autos" are shown as covered "autos" for a
particular coverage by the entry of one or more of the symbols from the Covered Autos section of the Business
Auto Coverage Form next to the name of the coverage.
                                      COVERED
          COVERAGES                    AUTOS                       LIMIT                          PREMIUM
COVERED AUTOS LIABILITY                1        $1,000,000                                   $        21,201
PERSONAL INJURY                                 SEPARATELY STATED IN EACH P.I.P.
PROTECTION (or equivalent                       ENDORSEMENT MINUS
No-fault Coverage)                              DEDUCTIBLE.
ADDED PERSONAL INJURY
                                                SEPARATELY STATED IN EACH ADDED P.I.P.
PROTECTION (or equivalent
                                                ENDORSEMENT.
Added No-fault Coverage)
                                                SEPARATELY STATED IN THE PROPERTY
PROPERTY PROTECTION                             PROTECTION INSURANCE ENDORSEMENT
INSURANCE (Michigan only)                       MINUS                DEDUCTIBLE
                                                FOR EACH ACCIDENT.
AUTO MEDICAL PAYMENTS                  2        $        5,000     EACH INSURED              $              334
MEDICAL EXPENSE AND                             SEPARATELY STATED IN THE MEDICAL
INCOME LOSS BENEFITS                            EXPENSE AND INCOME LOSS BENEFITS
(Virginia only)                                 ENDORSEMENT.
UNINSURED MOTORISTS                    2        SEE ENDT                                     $              739
UNDERINSURED
MOTORISTS
                                       2        SEE ENDT                                                  INCL
(When not included in
Uninsured Motorists Coverage)
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
                                                WHICHEVER IS LESS, MINUS SEE ENDT
PHYSICAL DAMAGE
                                                DEDUCTIBLE FOR EACH COVERED AUTO, BUT
COMPREHENSIVE                         7,8                                                    $            2,579
                                                NO DEDUCTIBLE APPLIES TO LOSS
COVERAGE
                                                CAUSED BY FIRE OR LIGHTNING.
                                                See ITEM FOUR For Hired or Borrowed Autos.
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
PHYSICAL DAMAGE
                                                WHICHEVER IS LESS, MINUS
SPECIFIED
                                                DEDUCTIBLE FOR EACH COVERED AUTO FOR
CAUSES OF LOSS
                                                LOSS CAUSED BY MISCHIEF OR VANDALISM.
COVERAGE
                                                See ITEM FOUR For Hired Or Borrowed Autos.
                                                ACTUAL CASH VALUE OR COST OF REPAIR,
PHYSICAL DAMAGE                                 WHICHEVER IS LESS, MINUS SEE ENDT
                                      7,8                                                    $            5,456
COLLISION COVERAGE                              DEDUCTIBLE, FOR EACH COVERED AUTO.
                                                See ITEM FOUR For Hired Or Borrowed Autos.
PHYSICAL DAMAGE                                                   FOR EACH DISABLEMENT
TOWING AND LABOR                                OF A PRIVATE PASSENGER AUTO.
                                                                      TAX/ SURCHARGE/ FEE $               3.52
                                                             PREMIUM FOR ENDORSEMENTS $                     917
                                                               *ESTIMATED TOTAL PREMIUM $         31,229.52
*This policy may be subject to final audit.



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 ITEM THREE
 SCHEDULE OF COVERED AUTOS YOU OWN

                                     DESCRIPTION                                            TERRITORY
                     Year, Model, Trade Name, Body Type                               Town & State Where The
Covered             Serial Number (S) Vehicle Identification                           Covered Auto Will Be
Auto No.                       Number (VIN)                                             Principally Garaged               Original Cost New
                2006, DODGE SPRINTER 2500, WD0PD744465916868                          MOUNTAIN VIEW                        $ 35,755    ACV
 CA1                                                                                  CA, 053

                2006, DODGE SPRINTER 2500, WD0PD744865930336                          MOUNTAIN VIEW                        $ 35,755    ACV
 CA2                                                                                  CA, 053

                2006, FORD F150, 1FTRF12266NA15219                                    SAINT PETERSBURG                     $ 23,325    ACV
 FL5                                                                                  FL, 106




                                                          CLASSIFICATION                                                EXCEPT For Towing,
                                                                                                                        All Physical Damage
                                                                                                                         Loss Is Payable To
                                            Size                                                                          You And The Loss
                         Business Use                                                                                   Payee Named Below
                                            GVW,
                                           GCW Or                                                                        According To Their
            Radius s= service              Vehicle                                                                      Interests In The Auto
Covered       Of     r= retail             Seating         Age                                                           At The Time Of The
Auto No.   Operation c= commercial         Capacity       Group         Secondary Rating Classification        Code             Loss:
                                                                    All Others
 CA1       50                C                 8,550       10                                                  031990
                                                                    All Others
 CA2       50                C                 8,550       10                                                  031990

                                                                    All Others
 FL5       50                C              10,000         10                                                  031990




                                            COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                         (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                             in the corresponding ITEM TWO column applies instead.)
                   COVERED AUTOS                            PERSONAL INJURY                                       PROPERTY PROTECTION
                      LIABILITY                               PROTECTION                    ADDED P.I.P.             (Michigan Only)
                                                        Limit Stated                                             Limit Stated
                                                       In Each P.I.P.                        Premium For           In P.P.I.
                                                        Endt. Minus                         Limit Stated In      Endt. Minus
Covered                                                  Deductible                          Each Added           Deductible
Auto No.         Limit               Premium           Shown Below          Premium           P.I.P. Endt.      Shown Below        Premium
 CA1        $   1,000,000        $         831

 CA2        $   1,000,000        $         831

 FL5        $   1,000,000        $       5,638




Total
Premium                          $       7,300




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  ITEM THREE
  SCHEDULE OF COVERED AUTOS YOU OWN (Continued)

                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                     (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                          in the corresponding ITEM TWO column applies instead.)
                                        MEDICAL EXPENSE AND
              AUTO MEDICAL
                                       INCOME LOSS BENEFITS                                                          UNDERINSURED
                 PAYMENTS
                                             (Virginia Only)                   UNINSURED MOTORISTS                     MOTORISTS
                                      Limit Stated
                                     In The Medical
                                      Expense and
                                      Income Loss
            Limit                        Benefits
Covered     Each                     Endorsement
Auto No.   Insured   Premium        For Each Person        Premium               Limit                Premium             Premium
 CA1       $5,000    $          45                                      $           1,000,000        $      126                 INCL

 CA2       $5,000    $          45                                      $           1,000,000        $      126                 INCL

 FL5       $5,000    $          244                                     $           1,000,000        $      487                 INCL




Total
                     $          334                                                                  $         739               INCL
Premium
                                          COVERAGES --- PREMIUMS, LIMITS AND DEDUCTIBLES
                       (Absence of a deductible or limit entry in any column below means that the limit or deductible entry
                                           in the corresponding ITEM TWO column applies instead.)
                                                SPECIFIED CAUSES
                COMPREHENSIVE                          OF LOSS                     COLLISION                   TOWING & LABOR
               Limit                             Limit                          Limit
             Stated In                         Stated In                      Stated In
            ITEM TWO                         ITEM TWO                        ITEM TWO
              Minus                             Minus                          Minus
            Deductible                       Deductible                      Deductible
Covered       Shown                             Shown                          Shown                       Limit Per
Auto No.      Below          Premium            Below           Premium        Below      Premium       Disablement         Premium
 CA1          $ 1,000       $         28                                     $ 1,000    $          83

 CA2          $ 1,000       $         28                                     $ 1,000    $          83

 FL5          $ 1,000       $         146                                    $ 1,000    $         197




Total
Premium                     $         202                                               $         363




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            AL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            CA                     $         1,400,000                     $              13,412
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            FL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            IL                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            KS                                    IF ANY                                      INCL
                                                           TOTAL HIRED AUTO PREMIUM

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS

             COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos Used In Your
                       Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage            LA                                    IF ANY                                    INCL
                                                           TOTAL HIRED AUTO PREMIUM            $              13,412

For "autos" used in your motor carrier operations, cost of hire means:
1.   The total dollar amount of costs you incurred for the hire of automobiles (includes "trailers" and
     semitrailers), and if not included therein,
2.   The total remunerations of all operators and drivers’ helpers, of hired automobiles whether hired with a driver by
     lessor or an "employee" of the lessee, or any other third party, and
3.   The total dollar amount of any other costs (i.e., repair, maintenance, fuel, etc.) directly associated with operating
     the hired automobiles whether such costs are absorbed by the "insured", paid to the lessor or owner, or paid to
     others.


          COVERED AUTOS LIABILITY COVERAGE ---- Cost Of Hire Rating Basis for Autos NOT Used In Your
                      Motor Carrier Operations (Other Than Mobile Or Farm Equipment)
      COVERED AUTOS                                    ESTIMATED ANNUAL
    LIABILITY COVERAGE           STATE             COST OF HIRE FOR EACH STATE                          PREMIUM
     Primary Coverage

     Excess Coverage

                                                           TOTAL HIRED AUTO PREMIUM

 For "autos" NOT used in your motor carrier operations, cost of hire means the total amount you incur for the hire of
 "autos" you don’t own (not including "autos" you borrow or rent from your partners or "employees" or their family
 members). Cost of hire does not include charges for services performed by motor carriers of property or passengers.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF
COMPREHENSIVE         CA      REPAIR, WHICHEVER IS LESS, MINUS
                                                                                 $1,400,000           $          2,352
                              $ 1,000        DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        $1,400,000 $                 5,068
COLLISION             CA        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.
                                                                  TOTAL HIRED AUTO PREMIUM
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                        Physical Damage Coverages --- Cost Of Hire Rating Basis For All Autos
                                     (Other Than Mobile or Farm Equipment)
                                                                                ESTIMATED
                                                                                  ANNUAL
                                                                               COST OF HIRE
                                                                             FOR EACH STATE
                                                                              (Excluding Autos
                                                                                 Hired With
   COVERAGE           STATE             LIMIT OF INSURANCE                        A Driver)               PREMIUM
                              ACTUAL CASH VALUE OR COST OF
COMPREHENSIVE         FL      REPAIR, WHICHEVER IS LESS, MINUS
                                                                                 IF ANY               $               25
                              $     100      DEDUCTIBLE FOR EACH
                              COVERED AUTO, BUT NO DEDUCTIBLE
                              APPLIES TO LOSS CAUSED BY FIRE OR
                              LIGHTNING.
                                ACTUAL CASH VALUE OR COST OF
SPECIFIED                       REPAIR, WHICHEVER IS LESS, MINUS
CAUSES                                       DEDUCTIBLE FOR EACH
OF LOSS                         COVERED AUTO FOR LOSS CAUSED BY
                                MISCHIEF OR VANDALISM.
                                ACTUAL CASH VALUE OR COST OF                        IF ANY            $               25
COLLISION             FL        REPAIR, WHICHEVER IS LESS, MINUS
                                $ 1,000     DEDUCTIBLE FOR EACH
                                COVERED AUTO.
                                                                  TOTAL HIRED AUTO PREMIUM            $          7,470
 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any "auto" that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


          Cost Of Hire Rating Basis For Mobile Or Farm Equipment ---- Other Than Physical Damage Coverages
                                                ESTIMATED ANNUAL
                                                                                               PREMIUM
                                           COST OF HIRE FOR EACH STATE
        COVERAGE               STATE
                                               Mobile          Farm                    Mobile             Farm
                                             Equipment       Equipment               Equipment          Equipment

Covered Autos Liability ----
Primary Coverage

Covered Autos Liability ----
Excess Coverage

Personal Injury Protection

Medical Expense Benefits
(Virginia Only)
Income Loss Benefits
(Virginia Only)

Auto Medical Payments

                                              TOTAL HIRED AUTO PREMIUM

 Cost of hire means the total amount you incur for the hire of "autos" you don’t own (not including "autos" you
 borrow or rent from your partners or "employees" or their family members). Cost of hire does not include charges for
 services performed by motor carriers of property or passengers.




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 ITEM FOUR
 SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)


                Cost Of Hire Rating Basis For Mobile or Farm Equipment --- Physical Damage Coverages
                                                            ESTIMATED ANNUAL
                                                              COST OF HIRE
                                                             FOR EACH STATE
                                                           (Excluding Autos Hired
                                                                With A Driver)                      PREMIUM
                                                           Mobile            Farm            Mobile         Farm
  COVERAGE          STATE    LIMIT OF INSURANCE          Equipment        Equipment        Equipment     Equipment
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
                            MINUS
                            DEDUCTIBLE FOR
COMPREHENSIVE               EACH COVERED
                            AUTO, BUT NO
                            DEDUCTIBLE APPLIES
                            TO LOSS CAUSED BY
                            FIRE OR LIGHTNING.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
SPECIFIED                   MINUS
CAUSES                      DEDUCTIBLE FOR
OF LOSS                     EACH COVERED AUTO
                            FOR LOSS CAUSED
                            BY MISCHIEF OR
                            VANDALISM.
                            ACTUAL CASH VALUE
                            OR COST OF REPAIR,
                            WHICHEVER IS LESS,
                            MINUS
COLLISION
                            DEDUCTIBLE FOR
                            EACH COVERED
                            AUTO.
                                                           TOTAL HIRED AUTO PREMIUM

 For Physical Damage Coverages, cost of hire means the total amount you incur for the hire of "autos" you don’t own
 (not including "autos" you borrow or rent from your partners or "employees" or their family members). Cost of hire does
 not include charges for any auto that is leased, hired, rented or borrowed with a driver.




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ITEM FOUR
SCHEDULE OF HIRED OR BORROWED COVERED AUTO COVERAGE AND PREMIUMS (Cont’d)

                               Rental Period Rating Basis For Mobile Or Farm Equipment
                                                                   ESTIMATED
                                                                 NUMBER OF DAYS
                                                                                               PREMIUM
                                                                 EQUIPMENT WILL
                                                                   BE RENTED
                                  TOWN AND STATE
                                 WHERE THE JOB SITE              Mobile       Farm         Mobile      Farm
       COVERAGE                     IS LOCATED                 Equipment    Equipment    Equipment   Equipment
Covered Autos Liability ----
Primary Coverage
Covered Autos Liability ----
Excess Coverage

Personal Injury
Protection

Medical Expense
Benefits (Virginia Only)
Income Loss Benefits
(Virginia Only)

Auto Medical Payments

                                                         TOTAL HIRED AUTO PREMIUMS


ITEM FIVE
SCHEDULE FOR NON-OWNERSHIP COVERED AUTOS LIABILITY

     NAMED INSURED’S
        BUSINESS                           RATING BASIS               NUMBER                 PREMIUM
Other Than Garage Service        Number Of Employees                        400          $             489
Operations And Other Than
Social Service Agencies          Number Of Partners
                                 (Active and Inactive)
Garage Service Operations        Number Of Employees Whose
                                 Principal Duty Involves
                                 The Operation Of Autos
                                 Number Of Partners
                                 (Active and Inactive)
Social Service Agencies          Number Of Employees

                                 Number Of Volunteers Who
                                 Regularly Use Autos
                                 To Transport Clients
                                 Number Of Partners
                                 (Active and Inactive)
                   TOTAL NON-OWNERSHIP COVERED AUTOS LIABILITY PREMIUM                   $             489



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ITEM SIX
SCHEDULE FOR GROSS RECEIPTS OR MILEAGE BASIS


Type Of Risk (Check one):           Public Autos                       Leasing Or Rental Concerns

Rating Basis (Check one):           Gross Receipts (Per $100)          Mileage (Per Mile)

Estimated Yearly (Check One):       Gross Receipts (Per $100)          Mileage
                                                        Premiums
Covered Autos Liability
Personal Injury Protection
Added Personal Injury Protection
Property Protection Insurance (Michigan Only)
Auto Medical Payments
Medical Expense And Income Loss Benefits (Virginia Only)
Comprehensive
Specified Causes Of Loss
Collision
Towing And Labor

When used as a premium basis:
   FOR PUBLIC AUTOS
   Gross receipts means the total amount earned by the named insured for transporting passengers, mail and
   merchandise.
   Gross receipts does not include:
      1. Amounts paid to air, sea or land carriers operating under their own permits.
      2. Advertising revenue.
      3. Taxes collected as a separate item and paid directly to the government.
      4. C.O.D. collections for cost of mail or merchandise including collection fees.
   Mileage means the total live and dead mileage of all revenue producing "autos" during the policy period.

   FOR RENTAL OR LEASING CONCERNS
   Gross receipts means the total amount earned by the named insured for the leasing or renting of "autos" to
   others without drivers.
   Mileage means the total live and dead mileage of all "autos" you leased or rented to others without drivers.




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                                                                                           COMMERCIAL AUTO
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                    BUSINESS AUTO COVERAGE FORM
Various provisions in this policy restrict coverage.       SECTION I – COVERED AUTOS
Read the entire policy carefully to determine rights,      Item Two of the Declarations shows the "autos" that
duties and what is and is not covered.                     are covered "autos" for each of your coverages. The
Throughout this policy the words "you" and "your"          following numerical symbols describe the "autos" that
refer to the Named Insured shown in the Declarations.      may be covered "autos". The symbols entered next to
The words "we", "us" and "our" refer to the company        a coverage on the Declarations designate the only
providing this insurance.                                  "autos" that are covered "autos".
Other words and phrases that appear in quotation           A. Description Of Covered Auto Designation
marks have special meaning. Refer to Section V –              Symbols
Definitions.

 Symbol                           Description Of Covered Auto Designation Symbols
   1    Any "Auto"
   2    Owned "Autos"        Only those "autos" you own (and for Covered Autos Liability Coverage any
        Only                 "trailers" you don't own while attached to power units you own). This includes
                             those "autos" you acquire ownership of after the policy begins.
    3      Owned Private     Only the private passenger "autos" you own. This includes those private
           Passenger         passenger "autos" you acquire ownership of after the policy begins.
           "Autos" Only
    4      Owned             Only those "autos" you own that are not of the private passenger type (and for
           "Autos" Other     Covered Autos Liability Coverage any "trailers" you don't own while attached to
           Than Private      power units you own). This includes those "autos" not of the private passenger
           Passenger         type you acquire ownership of after the policy begins.
           "Autos" Only
    5      Owned "Autos"     Only those "autos" you own that are required to have no-fault benefits in the state
           Subject To        where they are licensed or principally garaged. This includes those "autos" you
           No-fault          acquire ownership of after the policy begins provided they are required to have no-
                             fault benefits in the state where they are licensed or principally garaged.
    6      Owned "Autos"     Only those "autos" you own that because of the law in the state where they are
           Subject To A      licensed or principally garaged are required to have and cannot reject Uninsured
           Compulsory        Motorists Coverage. This includes those "autos" you acquire ownership of after the
           Uninsured         policy begins provided they are subject to the same state uninsured motorists
           Motorists Law     requirement.
    7      Specifically      Only those "autos" described in Item Three of the Declarations for which a
           Described         premium charge is shown (and for Covered Autos Liability Coverage any "trailers"
           "Autos"           you don't own while attached to any power unit described in Item Three).
    8      Hired "Autos"     Only those "autos" you lease, hire, rent or borrow. This does not include any "auto"
           Only              you lease, hire, rent or borrow from any of your "employees", partners (if you are a
                             partnership), members (if you are a limited liability company) or members of their
                             households.
    9      Non-owned         Only those "autos" you do not own, lease, hire, rent or borrow that are used in
           "Autos" Only      connection with your business. This includes "autos" owned by your "employees",
                             partners (if you are a partnership), members (if you are a limited liability company)
                             or members of their households but only while used in your business or your
                             personal affairs.




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    19       Mobile           Only those "autos" that are land vehicles and that would qualify under the definition
             Equipment        of "mobile equipment" under this policy if they were not subject to a compulsory or
             Subject To       financial responsibility law or other motor vehicle insurance law where they are
             Compulsory Or    licensed or principally garaged.
             Financial
             Responsibility
             Or Other Motor
             Vehicle
             Insurance Law
             Only

B. Owned Autos You Acquire After The Policy                 SECTION II – COVERED AUTOS LIABILITY
   Begins                                                   COVERAGE
   1. If Symbols 1, 2, 3, 4, 5, 6 or 19 are entered         A. Coverage
      next to a coverage in Item Two of the                    We will pay all sums an "insured" legally must pay
      Declarations, then you have coverage for                 as damages because of "bodily injury" or "property
      "autos" that you acquire of the type described           damage" to which this insurance applies, caused
      for the remainder of the policy period.                  by an "accident" and resulting from the ownership,
   2. But, if Symbol 7 is entered next to a coverage           maintenance or use of a covered "auto".
       in Item Two of the Declarations, an "auto" you          We will also pay all sums an "insured" legally must
       acquire will be a covered "auto" for that               pay as a "covered pollution cost or expense" to
       coverage only if:                                       which this insurance applies, caused by an
       a. We already cover all "autos" that you own            "accident" and resulting from the ownership,
           for that coverage or it replaces an "auto"          maintenance or use of covered "autos". However,
           you previously owned that had that                  we will only pay for the "covered pollution cost or
           coverage; and                                       expense" if there is either "bodily injury" or
       b. You tell us within 30 days after you acquire         "property damage" to which this insurance applies
           it that you want us to cover it for that            that is caused by the same "accident".
           coverage.                                           We have the right and duty to defend any
C. Certain Trailers, Mobile Equipment And                      "insured" against a "suit" asking for such damages
   Temporary Substitute Autos                                  or a "covered pollution cost or expense". However,
                                                               we have no duty to defend any "insured" against a
   If Covered Autos Liability Coverage is provided by          "suit" seeking damages for "bodily injury" or
   this Coverage Form, the following types of                  "property damage" or a "covered pollution cost or
   vehicles are also covered "autos" for Covered               expense" to which this insurance does not apply.
   Autos Liability Coverage:                                   We may investigate and settle any claim or "suit"
   1. "Trailers" with a load capacity of 2,000 pounds          as we consider appropriate. Our duty to defend or
       or less designed primarily for travel on public         settle ends when the Covered Autos Liability
       roads.                                                  Coverage Limit of Insurance has been exhausted
   2. "Mobile equipment" while being carried or                by payment of judgments or settlements.
       towed by a covered "auto".                              1. Who Is An Insured
   3. Any "auto" you do not own while used with the                The following are "insureds":
      permission of its owner as a temporary                       a. You for any covered "auto".
      substitute for a covered "auto" you own that is
      out of service because of its:                               b. Anyone else while using with your
                                                                      permission a covered "auto" you own, hire
      a. Breakdown;                                                   or borrow except:
      b. Repair;                                                     (1) The owner or anyone else from whom
         c. Servicing;                                                    you hire or borrow a covered "auto".
         d. "Loss"; or                                                    This exception does not apply if the
         e. Destruction.                                                  covered "auto" is a "trailer" connected to
                                                                          a covered "auto" you own.




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         (2) Your "employee" if the covered "auto" is                 These payments will not reduce the Limit of
             owned by that "employee" or a member                     Insurance.
             of his or her household.                              b. Out-of-state Coverage Extensions
         (3) Someone using a covered "auto" while                     While a covered "auto" is away from the
             he or she is working in a business of                    state where it is licensed, we will:
             selling, servicing, repairing, parking or
             storing "autos" unless that business is                 (1) Increase the Limit of Insurance for
             yours.                                                      Covered Autos Liability Coverage to
                                                                         meet the limits specified by a
         (4) Anyone other than your "employees",                         compulsory or financial responsibility
             partners (if you are a partnership),                        law of the jurisdiction where the covered
             members (if you are a limited liability                     "auto" is being used. This extension
             company) or a lessee or borrower or                         does not apply to the limit or limits
             any of their "employees", while moving                      specified by any law governing motor
             property to or from a covered "auto".                       carriers of passengers or property.
         (5) A partner (if you are a partnership) or a                (2) Provide the minimum amounts and
             member (if you are a limited liability                       types of other coverages, such as no-
             company) for a covered "auto" owned by                       fault, required of out-of-state vehicles by
             him or her or a member of his or her                         the jurisdiction where the covered "auto"
             household.                                                   is being used.
      c. Anyone liable for the conduct of an                           We will not pay anyone more than once for
         "insured" described above but only to the                     the same elements of loss because of
         extent of that liability.                                     these extensions.
   2. Coverage Extensions                                   B. Exclusions
      a. Supplementary Payments                                This insurance does not apply to any of the
         We will pay for the "insured":                        following:
         (1) All expenses we incur.                            1. Expected Or Intended Injury
         (2) Up to $2,000 for cost of bail bonds                  "Bodily injury" or "property damage" expected
             (including bonds for related traffic law             or intended from the standpoint of the
             violations) required because of an                   "insured".
             "accident" we cover. We do not have to            2. Contractual
             furnish these bonds.
                                                                  Liability assumed under any contract or
         (3) The cost of bonds to release                         agreement.
             attachments in any "suit" against the
             "insured" we defend, but only for bond               But this exclusion does not apply to liability for
             amounts within our Limit of Insurance.               damages:
         (4) All reasonable expenses incurred by the              a. Assumed in a contract or agreement that is
             "insured" at our request, including actual               an "insured contract", provided the "bodily
             loss of earnings up to $250 a day                        injury" or "property damage" occurs
             because of time off from work.                           subsequent to the execution of the contract
                                                                      or agreement; or
         (5) All court costs taxed against the
             "insured" in any "suit" against the                  b. That the "insured" would have in the
             "insured" we defend. However, these                      absence of the contract or agreement.
             payments do not include attorneys' fees           3. Workers' Compensation
             or attorneys' expenses taxed against the             Any obligation for which the "insured" or the
             "insured".                                           "insured's" insurer may be held liable under
         (6) All interest on the full amount of any               any workers' compensation, disability benefits
             judgment that accrues after entry of the             or unemployment compensation law or any
             judgment in any "suit" against the                   similar law.
             "insured" we defend, but our duty to pay
             interest ends when we have paid,
             offered to pay or deposited in court the
             part of the judgment that is within our
             Limit of Insurance.




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   4. Employee Indemnification And Employer's                     b. After it is moved from the covered "auto" to
      Liability                                                       the place where it is finally delivered by the
      "Bodily injury" to:                                             "insured".
      a. An "employee" of the "insured" arising out            8. Movement Of Property By Mechanical
         of and in the course of:                                 Device
        (1) Employment by the "insured"; or                       "Bodily injury" or "property damage" resulting
                                                                  from the movement of property by a
        (2) Performing the duties related to the                  mechanical device (other than a hand truck)
             conduct of the "insured's" business; or              unless the device is attached to the covered
      b. The spouse, child, parent, brother or sister             "auto".
         of that "employee" as a consequence of                9. Operations
         Paragraph a. above.
                                                                  "Bodily injury" or "property damage" arising out
      This exclusion applies:                                     of the operation of:
         (1) Whether the "insured" may be liable as               a. Any equipment listed in Paragraphs 6.b.
             an employer or in any other capacity;                   and 6.c. of the definition of "mobile
             and                                                     equipment"; or
         (2) To any obligation to share damages with              b. Machinery or equipment that is on, attached
             or repay someone else who must pay                      to or part of a land vehicle that would
             damages because of the injury.                          qualify under the definition of "mobile
      But this exclusion does not apply to "bodily                   equipment" if it were not subject to a
      injury" to domestic "employees" not entitled to                compulsory or financial responsibility law or
      workers' compensation benefits or to liability                 other motor vehicle insurance law where it
      assumed by the "insured" under an "insured                     is licensed or principally garaged.
      contract". For the purposes of the Coverage             10. Completed Operations
      Form, a domestic "employee" is a person
      engaged in household or domestic work                       "Bodily injury" or "property damage" arising out
      performed principally in connection with a                  of your work after that work has been
      residence premises.                                         completed or abandoned.
   5. Fellow Employee                                             In this exclusion, your work means:
      "Bodily injury" to:                                         a. Work or operations performed by you or on
                                                                      your behalf; and
      a. Any fellow "employee" of the "insured"
          arising out of and in the course of the fellow          b. Materials, parts or equipment furnished in
          "employee's"      employment      or     while              connection with such work or operations.
          performing duties related to the conduct of             Your       work      includes      warranties   or
          your business; or                                       representations made at any time with respect
      b. The spouse, child, parent, brother or sister             to the fitness, quality, durability or performance
          of that fellow "employee" as a consequence              of any of the items included in Paragraph a. or
          of Paragraph a. above.                                  b. above.
   6. Care, Custody Or Control                                    Your work will be deemed completed at the
                                                                  earliest of the following times:
      "Property damage" to or "covered pollution cost
      or expense" involving property owned or                        (1) When all of the work called for in your
      transported by the "insured" or in the                             contract has been completed;
      "insured's" care, custody or control. But this                 (2) When all of the work to be done at the
      exclusion does not apply to liability assumed                      site has been completed if your contract
      under a sidetrack agreement.                                       calls for work at more than one site; or
   7. Handling Of Property                                           (3) When that part of the work done at a job
      "Bodily injury" or "property damage" resulting                     site has been put to its intended use by
      from the handling of property:                                     any person or organization other than
                                                                         another contractor or subcontractor
      a. Before it is moved from the place where it is                   working on the same project.
         accepted by the "insured" for movement
         into or onto the covered "auto"; or




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      Work that may need service, maintenance,                    Paragraphs b. and c. above of this exclusion
      correction, repair or replacement, but which is             do not apply to "accidents" that occur away
      otherwise complete, will be treated as                      from premises owned by or rented to an
      completed.                                                  "insured" with respect to "pollutants" not in or
  11. Pollution                                                   upon a covered "auto" if:
      "Bodily injury" or "property damage" arising out                  (a) The "pollutants" or any property in
      of the actual, alleged or threatened discharge,                       which the "pollutants" are contained
      dispersal, seepage, migration, release or                             are upset, overturned or damaged as
      escape of "pollutants":                                               a result of the maintenance or use of
                                                                            a covered "auto"; and
      a. That are, or that are contained in any
          property that is:                                             (b) The discharge, dispersal, seepage,
                                                                            migration, release or escape of the
         (1) Being transported or towed by, handled                         "pollutants" is caused directly by
              or handled for movement into, onto or                         such upset, overturn or damage.
              from the covered "auto";
                                                              12. War
         (2) Otherwise in the course of transit by or
              on behalf of the "insured"; or                      "Bodily injury" or "property damage" arising
                                                                  directly or indirectly out of:
         (3) Being stored, disposed of, treated or
              processed in or upon the covered                    a. War, including undeclared or civil war;
              "auto";                                             b. Warlike action by a military force, including
      b. Before the "pollutants" or any property in                   action in hindering or defending against an
          which the "pollutants" are contained are                    actual or expected attack, by any
          moved from the place where they are                         government, sovereign or other authority
          accepted by the "insured" for movement                      using military personnel or other agents; or
          into or onto the covered "auto"; or                     c. Insurrection, rebellion, revolution, usurped
      c. After the "pollutants" or any property in                    power or action taken by governmental
           which the "pollutants" are contained are                   authority in hindering or defending against
           moved from the covered "auto" to the place                 any of these.
           where they are finally delivered, disposed of      13. Racing
           or abandoned by the "insured".                          Covered "autos" while used in any professional
      Paragraph a. above does not apply to fuels,                  or organized racing or demolition contest or
      lubricants, fluids, exhaust gases or other                   stunting activity, or while practicing for such
      similar "pollutants" that are needed for or result           contest or activity. This insurance also does
      from the normal electrical, hydraulic or                     not apply while that covered "auto" is being
      mechanical functioning of the covered "auto" or              prepared for such a contest or activity.
      its parts if:                                         C. Limit Of Insurance
          (1) The "pollutants" escape, seep, migrate           Regardless of the number of covered "autos",
               or are discharged, dispersed or released        "insureds", premiums paid, claims made or
               directly from an "auto" part designed by        vehicles involved in the "accident", the most we
               its manufacturer to hold, store, receive        will pay for the total of all damages and "covered
               or dispose of such "pollutants"; and            pollution cost or expense" combined resulting from
         (2) The "bodily injury", "property damage" or         any one "accident" is the Limit Of Insurance for
             "covered pollution cost or expense"               Covered Autos Liability Coverage shown in the
             does not arise out of the operation of            Declarations.
             any equipment listed in Paragraphs 6.b.
             and 6.c. of the definition of "mobile
             equipment".




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   All "bodily injury", "property damage" and "covered         3. Glass Breakage – Hitting A Bird Or Animal –
   pollution cost or expense" resulting from                      Falling Objects Or Missiles
   continuous or repeated exposure to substantially               If you carry Comprehensive Coverage for the
   the same conditions will be considered as                      damaged covered "auto", we will pay for the
   resulting from one "accident".                                 following under Comprehensive Coverage:
   No one will be entitled to receive duplicate                   a. Glass breakage;
   payments for the same elements of "loss" under
   this Coverage Form and any Medical Payments                    b. "Loss" caused by hitting a bird or animal;
   Coverage endorsement, Uninsured Motorists                          and
   Coverage endorsement or Underinsured Motorists                 c. "Loss" caused by falling objects or missiles.
   Coverage endorsement attached to this Coverage                 However, you have the option of having glass
   Part.                                                          breakage caused by a covered "auto's"
SECTION III – PHYSICAL DAMAGE COVERAGE                            collision or overturn considered a "loss" under
A. Coverage                                                       Collision Coverage.
   1. We will pay for "loss" to a covered "auto" or its        4. Coverage Extensions
      equipment under:                                            a. Transportation Expenses
      a. Comprehensive Coverage                                      We will pay up to $20 per day, to a
         From any cause except:                                      maximum       of     $600,     for  temporary
                                                                     transportation expense incurred by you
         (1) The covered "auto's"        collision   with            because of the total theft of a covered
             another object; or                                      "auto" of the private passenger type. We
        (2) The covered "auto's" overturn.                           will pay only for those covered "autos" for
      b. Specified Causes Of Loss Coverage                           which you carry either Comprehensive or
                                                                     Specified Causes Of Loss Coverage. We
         Caused by:                                                  will pay for temporary transportation
         (1) Fire, lightning or explosion;                           expenses incurred during the period
         (2) Theft;                                                  beginning 48 hours after the theft and
                                                                     ending, regardless of the policy's expiration,
         (3)Windstorm, hail or earthquake;                           when the covered "auto" is returned to use
         (4)Flood;                                                   or we pay for its "loss".
         (5)Mischief or vandalism; or                             b. Loss Of Use Expenses
         (6)The sinking, burning, collision or                       For Hired Auto Physical Damage, we will
            derailment     of    any    conveyance                   pay expenses for which an "insured"
            transporting the covered "auto".                         becomes legally responsible to pay for loss
                                                                     of use of a vehicle rented or hired without a
      c. Collision Coverage                                          driver under a written rental contract or
         Caused by:                                                  agreement. We will pay for loss of use
        (1) The covered "auto's" collision with                      expenses if caused by:
            another object; or                                      (1) Other than collision only if the
        (2) The covered "auto's" overturn.                               Declarations          indicates       that
                                                                         Comprehensive Coverage is provided
   2. Towing                                                             for any covered "auto";
      We will pay up to the limit shown in the                      (2) Specified Causes Of Loss only if the
      Declarations for towing and labor costs                            Declarations indicates that Specified
      incurred each time a covered "auto" of the                         Causes Of Loss Coverage is provided
      private passenger type is disabled. However,                       for any covered "auto"; or
      the labor must be performed at the place of
      disablement.




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         (3) Collision only if the Declarations                   b. Any device designed or used to detect
             indicates that Collision Coverage is                    speed-measuring equipment, such as radar
             provided for any covered "auto".                        or laser detectors, and any jamming
          However, the most we will pay for any                      apparatus intended to elude or disrupt
          expenses for loss of use is $20 per day, to                speed-measuring equipment.
          a maximum of $600.                                      c. Any electronic equipment, without regard to
B. Exclusions                                                        whether this equipment is permanently
                                                                     installed, that reproduces, receives or
   1. We will not pay for "loss" caused by or resulting              transmits audio, visual or data signals.
      from any of the following. Such "loss" is
      excluded regardless of any other cause or                   d. Any accessories used with the electronic
      event that contributes concurrently or in any                  equipment described in Paragraph c.
      sequence to the "loss".                                        above.
      a. Nuclear Hazard                                        5. Exclusions 4.c. and 4.d. do not apply to
                                                                  equipment designed to be operated solely by
         (1) The explosion of any weapon employing                use of the power from the "auto's" electrical
             atomic fission or fusion; or                         system that, at the time of "loss", is:
         (2) Nuclear reaction or radiation, or                    a. Permanently installed in or upon the
             radioactive contamination, however                      covered "auto";
             caused.
                                                                  b. Removable from a housing unit which is
      b. War Or Military Action                                      permanently installed in or upon the
        (1) War, including undeclared or civil war;                  covered "auto";
        (2) Warlike action by a military force,                   c. An integral part of the same unit housing
            including action in hindering or                         any electronic equipment described in
            defending against an actual or expected                  Paragraphs a. and b. above; or
            attack, by any government, sovereign or               d. Necessary for the normal operation of the
            other authority using military personnel                 covered "auto" or the monitoring of the
            or other agents; or                                      covered "auto's" operating system.
         (3) Insurrection,     rebellion,    revolution,       6. We will not pay for "loss" to a covered "auto"
               usurped power or action taken by                   due to "diminution in value".
               governmental authority in hindering or
               defending against any of these.              C. Limits Of Insurance
   2. We will not pay for "loss" to any covered "auto"         1. The most we will pay for:
      while used in any professional or organized                 a. "Loss" to any one covered "auto" is the
      racing or demolition contest or stunting activity,              lesser of:
      or while practicing for such contest or activity.              (1) The actual cash value of the damaged
      We will also not pay for "loss" to any covered                     or stolen property as of the time of the
      "auto" while that covered "auto" is being                          "loss"; or
      prepared for such a contest or activity.
                                                                     (2) The cost of repairing or replacing the
   3. We will not pay for "loss" due and confined to:                    damaged or stolen property with other
      a. Wear and tear, freezing, mechanical or                          property of like kind and quality.
          electrical breakdown.                                   b. All electronic equipment that reproduces,
      b. Blowouts, punctures or other road damage                    receives or transmits audio, visual or data
          to tires.                                                  signals in any one "loss" is $1,000, if, at the
      This exclusion does not apply to such "loss"                   time of "loss", such electronic equipment is:
      resulting from the total theft of a covered                   (1) Permanently installed in or upon the
      "auto".                                                            covered "auto" in a housing, opening or
   4. We will not pay for "loss" to any of the                           other location that is not normally used
      following:                                                         by the "auto" manufacturer for the
                                                                         installation of such equipment;
      a. Tapes, records, discs or other similar audio,
          visual or data electronic devices designed
          for use with audio, visual or data electronic
          equipment.




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         (2) Removable from a permanently installed                 (2) The "insured's" name and address; and
              housing unit as described in Paragraph                (3) To the extent possible, the names and
              b.(1) above; or                                            addresses of any injured persons and
         (3) An integral part of such equipment as                       witnesses.
              described in Paragraphs b.(1) and b.(2)             b. Additionally, you and any other involved
              above.                                                 "insured" must:
   2. An adjustment for depreciation and physical                   (1) Assume no obligation, make no
      condition will be made in determining actual                       payment or incur no expense without
      cash value in the event of a total "loss".                         our consent, except at the "insured's"
   3. If a repair or replacement results in better than                  own cost.
      like kind or quality, we will not pay for the                 (2) Immediately send us copies of any
      amount of the betterment.                                          request,     demand,      order,    notice,
D. Deductible                                                            summons or legal paper received
   For each covered "auto", our obligation to pay for,                   concerning the claim or "suit".
   repair, return or replace damaged or stolen                      (3) Cooperate with us in the investigation or
   property will be reduced by the applicable                            settlement of the claim or defense
   deductible shown in the Declarations. Any                             against the "suit".
   Comprehensive Coverage deductible shown in the                   (4) Authorize us to obtain medical records
   Declarations does not apply to "loss" caused by                       or other pertinent information.
   fire or lightning.
                                                                    (5) Submit to examination, at our expense,
SECTION IV – BUSINESS AUTO CONDITIONS                                    by physicians of our choice, as often as
The following conditions apply in addition to the                        we reasonably require.
Common Policy Conditions:                                         c. If there is "loss" to a covered "auto" or its
A. Loss Conditions                                                   equipment, you must also do the following:
   1. Appraisal For Physical Damage Loss                            (1) Promptly notify the police if the covered
      If you and we disagree on the amount of "loss",                    "auto" or any of its equipment is stolen.
      either may demand an appraisal of the "loss".                 (2) Take all reasonable steps to protect the
      In this event, each party will select a competent                  covered "auto" from further damage.
      appraiser. The two appraisers will select a                        Also keep a record of your expenses for
      competent and impartial umpire. The                                consideration in the settlement of the
      appraisers will state separately the actual cash                   claim.
      value and amount of "loss". If they fail to agree,            (3) Permit us to inspect the covered "auto"
      they will submit their differences to the umpire.                  and records proving the "loss" before its
      A decision agreed to by any two will be                            repair or disposition.
      binding. Each party will:
                                                                    (4) Agree to examinations under oath at our
      a. Pay its chosen appraiser; and                                   request and give us a signed statement
      b. Bear the other expenses of the appraisal                        of your answers.
          and umpire equally.                                  3. Legal Action Against Us
      If we submit to an appraisal, we will still retain          No one may bring a legal action against us
      our right to deny the claim.                                under this Coverage Form until:
   2. Duties In The Event Of Accident, Claim, Suit                a. There has been full compliance with all the
      Or Loss                                                        terms of this Coverage Form; and
      We have no duty to provide coverage under                   b. Under Covered Autos Liability Coverage,
      this policy unless there has been full                         we agree in writing that the "insured" has an
      compliance with the following duties:                          obligation to pay or until the amount of that
       a. In the event of "accident", claim, "suit" or               obligation has finally been determined by
          "loss", you must give us or our authorized                 judgment after trial. No one has the right
          representative prompt notice of the                        under this policy to bring us into an action
          "accident" or "loss". Include:                             to determine the "insured's" liability.
         (1) How, when and where the "accident" or
              "loss" occurred;




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   4. Loss Payment – Physical Damage                          5. Other Insurance
      Coverages                                                  a. For any covered "auto" you own, this
      At our option, we may:                                        Coverage       Form     provides    primary
      a. Pay for, repair or replace damaged or                      insurance. For any covered "auto" you don't
          stolen property;                                          own, the insurance provided by this
                                                                    Coverage Form is excess over any other
      b. Return the stolen property, at our expense.                collectible insurance. However, while a
          We will pay for any damage that results to                covered "auto" which is a "trailer" is
          the "auto" from the theft; or                             connected to another vehicle, the Covered
      c. Take all or any part of the damaged or                     Autos Liability Coverage this Coverage
          stolen property at an agreed or appraised                 Form provides for the "trailer" is:
          value.                                                   (1) Excess while it is connected to a motor
      If we pay for the "loss", our payment will                        vehicle you do not own; or
      include the applicable sales tax for the                     (2) Primary while it is connected to a
      damaged or stolen property.                                       covered "auto" you own.
   5. Transfer Of Rights Of Recovery Against                     b. For Hired Auto Physical Damage Coverage,
      Others To Us                                                  any covered "auto" you lease, hire, rent or
      If any person or organization to or for whom we               borrow is deemed to be a covered "auto"
      make payment under this Coverage Form has                     you own. However, any "auto" that is
      rights to recover damages from another, those                 leased, hired, rented or borrowed with a
      rights are transferred to us. That person or                  driver is not a covered "auto".
      organization must do everything necessary to               c. Regardless of the provisions of Paragraph
      secure our rights and must do nothing after                   a. above, this Coverage Form's Covered
      "accident" or "loss" to impair them.                          Autos Liability Coverage is primary for any
B. General Conditions                                               liability assumed under an "insured
                                                                    contract".
   1. Bankruptcy
                                                                 d. When this Coverage Form and any other
      Bankruptcy or insolvency of the "insured" or the
      "insured's" estate will not relieve us of any                 Coverage Form or policy covers on the
      obligations under this Coverage Form.                         same basis, either excess or primary, we
                                                                    will pay only our share. Our share is the
   2. Concealment, Misrepresentation Or Fraud                       proportion that the Limit of Insurance of our
      This Coverage Form is void in any case of                     Coverage Form bears to the total of the
      fraud by you at any time as it relates to this                limits of all the Coverage Forms and
      Coverage Form. It is also void if you or any                  policies covering on the same basis.
      other "insured", at any time, intentionally             6. Premium Audit
      conceals or misrepresents a material fact
                                                                 a. The estimated premium for this Coverage
      concerning:
                                                                    Form is based on the exposures you told us
      a. This Coverage Form;                                        you would have when this policy began. We
      b. The covered "auto";                                        will compute the final premium due when
                                                                    we determine your actual exposures. The
      c. Your interest in the covered "auto"; or                    estimated total premium will be credited
      d. A claim under this Coverage Form.                          against the final premium due and the first
   3. Liberalization                                                Named Insured will be billed for the
                                                                    balance, if any. The due date for the final
      If we revise this Coverage Form to provide                    premium or retrospective premium is the
      more coverage without additional premium                      date shown as the due date on the bill. If
      charge, your policy will automatically provide                the estimated total premium exceeds the
      the additional coverage as of the day the                     final premium due, the first Named Insured
      revision is effective in your state.                          will get a refund.
   4. No Benefit To Bailee – Physical Damage                     b. If this policy is issued for more than one
      Coverages                                                     year, the premium for this Coverage Form
      We will not recognize any assignment or grant                 will be computed annually based on our
      any coverage for the benefit of any person or                 rates or premiums in effect at the beginning
      organization holding, storing or transporting                 of each year of the policy.
      property for a fee regardless of any other
      provision of this Coverage Form.


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   7. Policy Period, Coverage Territory                       2. Any other land vehicle that is subject to a
      Under this Coverage Form, we cover                          compulsory or financial responsibility law or
      "accidents" and "losses" occurring:                         other motor vehicle insurance law where it is
                                                                  licensed or principally garaged.
      a. During the policy period shown in the
          Declarations; and                                   However, "auto" does not include "mobile
                                                              equipment".
      b. Within the coverage territory.
                                                           C. "Bodily injury" means bodily injury, sickness or
      The coverage territory is:                              disease sustained by a person, including death
         (1) The United States of America;                    resulting from any of these.
         (2) The territories and possessions of the        D. "Covered pollution cost or expense" means any
             United States of America;                        cost or expense arising out of:
         (3) Puerto Rico;                                     1. Any request, demand, order or statutory or
                                                                  regulatory requirement that any "insured" or
         (4) Canada; and
                                                                  others test for, monitor, clean up, remove,
         (5) Anywhere in the world if a covered                   contain, treat, detoxify or neutralize, or in any
               "auto" of the private passenger type is            way respond to, or assess the effects of,
               leased, hired, rented or borrowed                  "pollutants"; or
               without a driver for a period of 30 days
                                                              2. Any claim or "suit" by or on behalf of a
               or less,
                                                                  governmental authority for damages because
      provided that the "insured's" responsibility to             of testing for, monitoring, cleaning up,
      pay damages is determined in a "suit" on the                removing, containing, treating, detoxifying or
      merits, in the United States of America, the                neutralizing, or in any way responding to, or
      territories and possessions of the United States            assessing the effects of, "pollutants".
      of America, Puerto Rico or Canada, or in a
                                                              "Covered pollution cost or expense" does not
      settlement we agree to.
                                                              include any cost or expense arising out of the
      We also cover "loss" to, or "accidents"                 actual, alleged or threatened discharge, dispersal,
      involving, a covered "auto" while being                 seepage, migration, release or escape of
      transported between any of these places.                "pollutants":
   8. Two Or More Coverage Forms Or Policies                      a. That are, or that are contained in any
      Issued By Us                                                    property that is:
      If this Coverage Form and any other Coverage                   (1) Being transported or towed by, handled
      Form or policy issued to you by us or any                           or handled for movement into, onto or
      company affiliated with us applies to the same                      from the covered "auto";
      "accident", the aggregate maximum Limit of
                                                                     (2) Otherwise in the course of transit by or
      Insurance under all the Coverage Forms or
                                                                          on behalf of the "insured"; or
      policies shall not exceed the highest applicable
      Limit of Insurance under any one Coverage                      (3) Being stored, disposed of, treated or
      Form or policy. This condition does not apply to                    processed in or upon the covered
      any Coverage Form or policy issued by us or                         "auto";
      an affiliated company specifically to apply as              b. Before the "pollutants" or any property in
      excess insurance over this Coverage Form.                       which the "pollutants" are contained are
SECTION V – DEFINITIONS                                               moved from the place where they are
                                                                      accepted by the "insured" for movement
A. "Accident" includes continuous or repeated
                                                                      into or onto the covered "auto"; or
   exposure to the same conditions resulting in
   "bodily injury" or "property damage".                          c. After the "pollutants" or any property in
B. "Auto" means:                                                      which the "pollutants" are contained are
                                                                      moved from the covered "auto" to the place
   1. A land motor vehicle, "trailer" or semitrailer                  where they are finally delivered, disposed of
      designed for travel on public roads; or                         or abandoned by the "insured".




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        Paragraph a. above does not apply to fuels,              5. That part of any other contract or agreement
        lubricants, fluids, exhaust gases or other                  pertaining to your business (including an
        similar "pollutants" that are needed for or result          indemnification of a municipality in connection
        from the normal electrical, hydraulic or                    with work performed for a municipality) under
        mechanical functioning of the covered "auto" or             which you assume the tort liability of another to
        its parts, if:                                              pay for "bodily injury" or "property damage" to a
            (1) The "pollutants" escape, seep, migrate              third party or organization. Tort liability means
                or are discharged, dispersed or released            a liability that would be imposed by law in the
                directly from an "auto" part designed by            absence of any contract or agreement; or
                its manufacturer to hold, store, receive         6. That part of any contract or agreement entered
                or dispose of such "pollutants"; and                into, as part of your business, pertaining to the
            (2) The "bodily injury", "property damage" or           rental or lease, by you or any of your
                "covered pollution cost or expense"                 "employees", of any "auto". However, such
                does not arise out of the operation of              contract or agreement shall not be considered
                any equipment listed in Paragraph 6.b.              an "insured contract" to the extent that it
                or 6.c. of the definition of "mobile                obligates you or any of your "employees" to
                equipment".                                         pay for "property damage" to any "auto" rented
                                                                    or leased by you or any of your "employees".
        Paragraphs b. and c. above do not apply to
        "accidents" that occur away from premises                An "insured contract" does not include that part of
        owned by or rented to an "insured" with respect          any contract or agreement:
        to "pollutants" not in or upon a covered "auto"             a. That indemnifies a railroad for "bodily injury"
        if:                                                             or "property damage" arising out of
              (a) The "pollutants" or any property in                   construction or demolition operations, within
                   which the "pollutants" are contained                 50 feet of any railroad property and
                   are upset, overturned or damaged as                  affecting any railroad bridge or trestle,
                   a result of the maintenance or use of                tracks, roadbeds, tunnel, underpass or
                   a covered "auto"; and                                crossing;
                (b) The discharge, dispersal, seepage,              b. That pertains to the loan, lease or rental of
                    migration, release or escape of the                 an "auto" to you or any of your
                    "pollutants" is caused directly by                  "employees", if the "auto" is loaned, leased
                    such upset, overturn or damage.                     or rented with a driver; or
E.   "Diminution in value" means the actual or                      c. That holds a person or organization
     perceived loss in market value or resale value                     engaged in the business of transporting
     which results from a direct and accidental "loss".                 property by "auto" for hire harmless for your
                                                                        use of a covered "auto" over a route or
F.   "Employee"       includes    a   "leased    worker".               territory that person or organization is
     "Employee" does not include a "temporary                           authorized to serve by public authority.
     worker".
                                                              I. "Leased worker" means a person leased to you by
G.   "Insured" means any person or organization                  a labor leasing firm under an agreement between
     qualifying as an insured in the Who Is An Insured           you and the labor leasing firm to perform duties
     provision of the applicable coverage. Except with           related to the conduct of your business. "Leased
     respect to the Limit of Insurance, the coverage             worker" does not include a "temporary worker".
     afforded applies separately to each insured who is
     seeking coverage or against whom a claim or              J. "Loss" means direct and accidental loss or
     "suit" is brought.                                          damage.
H.   "Insured contract" means:                                K. "Mobile equipment" means any of the following
                                                                 types of land vehicles, including any attached
     1. A lease of premises;                                     machinery or equipment:
     2. A sidetrack agreement;                                   1. Bulldozers, farm machinery, forklifts and other
     3. Any easement or license agreement, except in                vehicles designed for use principally off public
        connection with construction or demolition                  roads;
        operations on or within 50 feet of a railroad;           2. Vehicles maintained for use solely on or next to
     4. An obligation, as required by ordinance, to                 premises you own or rent;
        indemnify a municipality, except in connection           3. Vehicles that travel on crawler treads;
        with work for a municipality;




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   4. Vehicles, whether self-propelled or not,               However, "mobile equipment" does not include
      maintained primarily to provide mobility to            land vehicles that are subject to a compulsory or
      permanently mounted:                                   financial responsibility law or other motor vehicle
      a. Power cranes, shovels, loaders, diggers or          insurance law where it is licensed or principally
          drills; or                                         garaged. Land vehicles subject to a compulsory or
                                                             financial responsibility law or other motor vehicle
      b. Road construction or resurfacing equipment          insurance law are considered "autos".
          such as graders, scrapers or rollers;
                                                          L. "Pollutants" means any solid, liquid, gaseous or
   5. Vehicles not described in Paragraph 1., 2., 3.         thermal irritant or contaminant, including smoke,
      or 4. above that are not self-propelled and are        vapor, soot, fumes, acids, alkalis, chemicals and
      maintained primarily to provide mobility to            waste. Waste includes materials to be recycled,
      permanently attached equipment of the                  reconditioned or reclaimed.
      following types:
                                                          M. "Property damage" means damage to or loss of
      a. Air compressors, pumps and generators,              use of tangible property.
          including spraying, welding, building
          cleaning, geophysical exploration, lighting     N. "Suit" means a civil proceeding in which:
          and well-servicing equipment; or                   1. Damages because of "bodily injury"           or
      b. Cherry pickers and similar devices used to              "property damage"; or
          raise or lower workers; or                         2. A "covered pollution cost or expense";
   6. Vehicles not described in Paragraph 1., 2., 3.         to which this insurance applies, are alleged.
      or 4. above maintained primarily for purposes          "Suit" includes:
      other than the transportation of persons or
      cargo. However, self-propelled vehicles with              a. An arbitration proceeding in which such
      the following types of permanently attached                  damages or "covered pollution costs or
      equipment are not "mobile equipment" but will                expenses" are claimed and to which the
      be considered "autos":                                       "insured" must submit or does submit with
                                                                   our consent; or
      a. Equipment designed primarily for:
                                                                b. Any other alternative dispute resolution
        (1) Snow removal;                                          proceeding in which such damages or
        (2) Road maintenance, but not construction                 "covered pollution costs or expenses" are
             or resurfacing; or                                    claimed and to which the insured submits
        (3) Street cleaning;                                       with our consent.
      b. Cherry pickers and similar devices mounted       O. "Temporary worker" means a person who is
         on automobile or truck chassis and used to          furnished to you to substitute for a permanent
         raise or lower workers; and                         "employee" on leave or to meet seasonal or short-
                                                             term workload conditions.
      c. Air compressors, pumps and generators,
         including spraying, welding, building            P. "Trailer" includes semitrailer.
         cleaning, geophysical exploration, lighting
         or well-servicing equipment.




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                                                                                          COMMERCIAL AUTO
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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     KANSAS CHANGES
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, Kansas, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Changes In Covered Autos Liability Coverage                   c. The Fellow Employee Exclusion is
   1. The      paragraph     within   Supplementary                 replaced by the following:
      Payments relating to court costs taxed against                Fellow Employee
      the "insured" is replaced by the following:                   "Bodily injury" to any fellow "employee" of
      All costs taxed against the "insured" in any                  the "insured" arising out of and in the
      "suit" against the "insured" we defend.                       course of the fellow "employee's"
   2. Paragraph 2.b.(4) of the Who Is An Insured                    employment or while performing duties
      provision of the Auto Dealers Coverage Form                   related to the conduct of your business.
      does not apply.                                            d. The Care, Custody Or Control Exclusion
   3. For coverage and limits required by the Kansas                is replaced by the following:
      Financial Responsibility law, Exclusions is                   Care, Custody Or Control
      changed as follows:                                           This coverage does not apply to "property
      a. The Workers' Compensation Exclusion is                     damage" to property owned by, rented to,
         replaced by the following:                                 or in charge of or transported by an
         Workers' Compensation                                      "insured". However, this exclusion does not
                                                                    apply to "property damage" to a rented
         Any obligation for which the "insured" or the              residence or private garage or to liability
         "insured's" insurer may be held liable under               assumed by the "insured" under a sidetrack
         any workers' compensation, disability                      agreement.
         benefits or any similar law.
                                                                 e. The following is added to the War
      b. The Employee Indemnification And                           Exclusion:
         Employers' Liability Exclusion is replaced
         by the following:                                          This exclusion applies only to the extent
                                                                    that the limit of insurance for this coverage
         Employee Indemnification And                               in this policy exceeds the limit required by
         Employers' Liability                                       the Kansas Automobile Injury Reparations
         This coverage does not apply to "bodily                    Act.
         injury" to any "employee" of the "insured"              f. The Racing Exclusion does not apply.
         arising out of and in the course of the
         "employee's" employment by the "insured"                g. The exclusion relating to "bodily injury" or
         or while performing duties related to the                  "property damage" arising out of the actual,
         conduct of the "insured's" business if                     alleged or threatened discharge, dispersal,
         benefits are required or available for the                 release or escape of pollutants does not
         "employee"      under      any     workers'                apply if the discharge, dispersal, release or
         compensation or disability benefits law or                 escape is sudden and accidental.
         under any similar law. This exclusion does
         not apply to liability assumed by the
         "insured" under an "insured contract".



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   4. Our Limit of Insurance applies except that we               b. Conceals information concerning any
      will apply the limit shown in the Declarations to               material fact for the purpose of misleading.
      first provide the separate limits required by            3. The Appraisal For Physical Damage Loss
      Kansas law as follows:                                      Condition is replaced by the following:
      a. $25,000 for "bodily injury" to any one                   Appraisal For Physical Damage Loss
           person caused by any one "accident";
                                                                  If, after a claim has been made, a dispute
      b. $50,000 for "bodily injury" to two or more               arises because you and we disagree on the
           persons caused by any one "accident"; and              amount of the "loss", either party may make a
      c. $10,000 for "property damage" caused by                  written request for an appraisal of the "loss".
           any one "accident".                                    However, an appraisal will be made only if
      This provision will not change our limit of                 both you and we agree, voluntarily, to have
      insurance.                                                  the loss appraised. If so agreed, each party
                                                                  will select a competent appraiser. The two
B. Changes In Physical Damage Coverage                            appraisers will select a competent and
   1. The "Diminution In Value" Exclusion does not                impartial umpire. The appraisers will state
      apply.                                                      separately the actual cash value and amount of
                                                                  "loss". If they fail to agree, they will submit their
   2. The Limits Of Insurance provision with respect
                                                                  differences to the umpire. Each party will:
      to repair or replacement resulting in better than
      like kind or quality in any coverage form or                a. Pay its chosen appraiser; and
      endorsement does not apply.                                 b. Bear the other expenses of the appraiser
C. Changes In Conditions                                              and umpire equally.
   1. The following is added to the Loss Payment –                If we submit to an appraisal, we will still retain
      Physical Damage Coverages Condition:                        our right to deny the claim.
      An "auto" shall be deemed a total "loss" when               An appraisal decision will be binding.
      such "auto" is required to be registered in this
      state and has been directly and accidentally
      wrecked or damaged to the extent that the total
      cost of repair is 75% or more of the fair market
      value, in accordance with KAN. STAT. ANN. §
      8-197(b)(2).
   2. The Concealment, Misrepresentation Or
      Fraud General Condition is replaced by the
      following:
      Concealment, Misrepresentation Or Fraud
      We will not pay under this coverage form if you
      or any other "insured" in relation to an
      insurance application, rating, claim or coverage
      under this policy knowingly and with intent to
      defraud:
      a. Presents, causes to be presented or
          prepares with knowledge or belief that it will
          be presented to or by an insurer, purported
          insurer, broker or any agent thereof, any
          written statement which such person knows
          to contain materially false information
          concerning any material fact; or




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                                                                                   EXHIBIT D PAGE 252
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                                                                                            COMMERCIAL AUTO
                                                                                                CA 01 43 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  CALIFORNIA CHANGES
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, California, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM


With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.

A. The term "spouse" is replaced by the following:                b. The other provides coverage to a person
   Spouse or registered domestic partner under                       not engaged in that business; and
   California law.                                                c. At the time of an "accident", an "insured"
B. The following are added to the Other Insurance                    under the Coverage Form described in
   Condition in the Auto Dealers and Business Auto                   Paragraph 2.a. is operating an "auto"
   Coverage Forms and the Other Insurance –                          owned by a person described in Paragraph
   Primary And Excess Insurance Provisions                           2.b., then the Coverage Form issued to the
   Condition in the Motor Carrier Coverage Form and                  business described in Paragraph 2.a. is
   supersede any provisions to the contrary:                         primary and the liability coverage issued to
                                                                     a person described in Paragraph 2.b. is
   1. When this Coverage Form and any other                          excess over any coverage available to the
      Coverage Form or policy providing liability                    business.
      coverage apply to an "auto" and:
                                                               3. When this Coverage Form and any other
      a. One provides coverage to a Named Insured                 Coverage Form or policy providing liability
          engaged in the business of selling,                     coverage apply to a "commercial vehicle" and:
          repairing, servicing, delivering, testing or
          road-testing "autos"; and                               a. One provides coverage to a Named
                                                                     Insured, who in the course of business,
      b. The other provides coverage to a person                     rents or leases "commercial vehicles"
          not engaged in that business; and                          without operators; and
      c. At the time of an "accident", a person                   b. The other provides coverage to a person
          described in Paragraph 1.b. is operating an                other than as described in Paragraph 3.a.;
          "auto" owned by the business described in                  and
          Paragraph 1.a., then that person's liability
          coverage is primary and the Coverage                    c. At the time of an "accident", a person who
          Form issued to a business described in                     is not the Named Insured of the policy
          Paragraph 1.a. is excess over any                          described in Paragraph 3.a., and who is not
          coverage available to that person.                         the agent or "employee" of such Named
                                                                     Insured, is operating a "commercial vehicle"
   2. When this Coverage Form and any other                          provided by the business covered by the
      Coverage Form or policy providing liability                    Coverage Form or policy described in
      coverage apply to an "auto" and:                               Paragraph 3.a., then the liability coverage
      a. One provides coverage to a Named Insured                    provided by the Coverage Form or policy
         engaged in the business of selling,                         described in Paragraph 3.b. is primary, and
         repairing, servicing, delivering, testing or                the liability coverage provided by the
         road-testing "autos"; and                                   Coverage Form or policy described in
                                                                     Paragraph 3.a. is excess over any
                                                                     coverage available to that person.




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   4. Notwithstanding Paragraph B.3., when this            C. As used in this endorsement:
      Coverage Form and any other Coverage Form               "Commercial vehicle" means an "auto" subject to
      or policy providing liability coverage apply to a       registration or identification under California law
      power unit and any connected "trailer" or               which is:
      "trailers" and:
                                                              1. Used or maintained for the transportation of
      a. One provides coverage to a Named Insured                persons for hire, compensation or profit;
          engaged in the business of transporting
          property by "auto" for hire; and                    2. Designed, used or maintained primarily for the
                                                                 transportation of property; or
      b. The other provides coverage to a Named
          Insured not engaged in that business; and           3. Leased for a period of six months or more.
      c. At the time of an "accident", a power unit is
          being operated by a person insured under
          the Coverage Form or policy described in
          Paragraph 4.a., then that Coverage Form or
          policy is primary for both the power unit and
          any connected "trailer" or "trailers" and the
          Coverage Form or policy described in
          Paragraph 4.b. is excess over any other
          coverage available to such power unit and
          attached "trailer" or "trailers".




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                                                                                 EXHIBIT D PAGE 254
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POLICY NUMBER: CPO 5912284-03                                                               COMMERCIAL AUTO
                                                                                                CA 21 54 10 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

     CALIFORNIA UNINSURED MOTORISTS COVERAGE –
                    BODILY INJURY
For a covered "auto" licensed or principally garaged in, or "auto dealer operations" conducted in, California, this
endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.

Named Insured:

Endorsement Effective Date:


                                                      SCHEDULE


Limit Of Insurance:         $1,000,000                                Each "Accident"

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Coverage                                                   B. Who Is An Insured
   1. We will pay all sums the "insured" is legally              If the Named Insured is designated in the
      entitled to recover as compensatory damages                Declarations as:
      from the owner or driver of an "uninsured motor            1. An individual, then the following are "insureds":
      vehicle". The damages must result from "bodily
      injury" sustained by the "insured" caused by an               a. The Named Insured and any "family
      "accident". The owner's or driver's liability for                members".
      these damages must result from the                            b. Anyone else "occupying" a covered "auto"
      ownership, maintenance or use of the                             or a temporary substitute for a covered
      "uninsured motor vehicle".                                       "auto". The covered "auto" must be out of
   2. We will pay only after the limits of liability under             service because of its breakdown, repair,
      any liability bonds or policies have been                        servicing, "loss" or destruction.
      exhausted by payment of judgments or                           c. Anyone for damages he or she is entitled to
      settlements.                                                      recover because of "bodily injury" sustained
   3. Any judgment for damages arising out of a                         by another "insured".
      "suit" brought without our written consent is not
      binding on us.




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   2. A partnership, limited liability company,                  5. "Bodily injury" sustained by an individual
       corporation or any other form of organization,               Named Insured or any "family member" while
       then the following are "insureds":                           "occupying" any vehicle leased by that Named
       a. Anyone "occupying" a covered "auto" or a                  Insured or any "family member" under a written
           temporary substitute for a covered "auto".               contract for a period of six months or more that
           The covered "auto" must be out of service                is not a covered "auto".
           because of its breakdown, repair, servicing,          6. Anyone using a vehicle without a reasonable
           "loss" or destruction.                                   belief that the person is entitled to do so.
       b. Anyone for damages he or she is entitled to            7. "Bodily injury" sustained by an "insured" while
           recover because of "bodily injury" sustained             "occupying" any "auto" that is rented or leased
           by another "insured".                                    to that "insured" for use as a public or livery
C. Exclusions                                                       conveyance. However, this exclusion does not
                                                                    apply if the "insured" is in the business of
   This insurance does not apply to any of the                      providing public or livery conveyance.
   following:
                                                                 8. "Bodily injury" arising directly or indirectly out
   1. Punitive or exemplary damages.                                of:
   2. Any claim settled without our consent.                        a. War, including undeclared or civil war;
       However, this exclusion does not apply to a
       settlement made with the insurer of a vehicle                b. Warlike action by a military force, including
       described in Paragraph b. of the definition of                   action in hindering or defending against an
       "uninsured motor vehicle".                                       actual or expected attack, by any
                                                                        government, sovereign or other authority
   3. The direct or indirect benefit of any insurer or                  using military personnel or other agents; or
       self-insurer under any workers' compensation,
       disability benefits or similar law or to the direct          c. Insurrection, rebellion, revolution, usurped
       benefit of the United States, a state or its                     power, or action taken by governmental
       political subdivisions.                                          authority in hindering or defending against
                                                                        any of these.
   4. "Bodily injury" sustained by:
                                                              D. Limit Of Insurance
       a. An individual Named Insured while
           "occupying" or when struck by any vehicle             1. Regardless of the number of covered "autos",
           owned by that Named Insured that is not a                "insureds", premiums paid, claims made or
           covered "auto" for Uninsured Motorists                   vehicles involved in the "accident", the most we
           Coverage under this Coverage Form;                       will pay for all damages resulting from any one
                                                                    "accident" is the Limit Of Insurance for
       b. Any "family member" while "occupying" or                  Uninsured Motorists Coverage shown in the
           when struck by any vehicle owned by that                 Schedule or Declarations.
           "family member" that is not a covered "auto"
           for Uninsured Motorists Coverage under                2. For a vehicle described in Paragraph b. of the
           this Coverage Form; or                                   definition of "uninsured motor vehicle", our
                                                                    Limit of Insurance shall be reduced by all sums
       c. Any "family member" while "occupying" or                  paid because of "bodily injury" by or for anyone
           when struck by any vehicle owned by the                  who is legally responsible, including all sums
           Named Insured that is insured for                        paid or payable under this policy's Covered
           Uninsured Motorists Coverage on a primary                Autos Liability Coverage.
           basis under any other Coverage Form or
           policy.                                               3. No one will be entitled to receive duplicate
                                                                    payments for the same elements of "loss"
       However, Exclusion 4. shall not apply to "bodily             under this coverage and any Liability Coverage
       injury" sustained by an individual Named                     form or Medical Payments Coverage
       Insured or "family member" when struck by a                  endorsement attached to this Coverage Part.
       vehicle owned by that "insured" and operated
       or caused to be operated by a person without                 We will not make a duplicate payment under
       that "insured's" consent in connection with                  this coverage for any element of "loss" for
       criminal activity that has been documented in a              which payment has been made by or for
       police report and to which that "insured" is not             anyone who is legally responsible.
       a party to.




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       We will not pay for any element of "loss" if a             c. "Suit" for "bodily injury" has been filed
       person is entitled to receive payment for the                 against the uninsured motorist in a court of
       same element of "loss" under any workers'                     competent jurisdiction.
       compensation, disability benefits or similar law.             Written notice of the "suit" must be given to
E. Changes In Conditions                                             us within a reasonable time after the
   The Conditions are changed for California                         "insured" knew, or should have known, that
   Uninsured Motorists Coverage – Bodily Injury as                   the other motorist is uninsured. In no event
   follows:                                                          will such notice be required before two
                                                                     years from the date of the accident. Failure
   1. Duties In The Event Of Accident, Claim, Suit                   of the "insured" or his or her representative
       Or Loss in the Business Auto and Motor                        to give us such notice of the "suit" will
       Carrier Coverage Forms and Duties In The                      relieve us of our obligations under this
       Event Of Accident, Claim, Offense, Suit,                      Coverage Form only if the failure to give
       Loss Or Acts, Errors Or Omissions in the                      notice prejudices our rights.
       Auto Dealers Coverage Form are changed by
       adding the following:                                   3. Transfer Of Rights Of Recovery Against
                                                                  Others To Us is replaced by the following:
       a. Promptly notify the police if a hit-and-run
          driver is involved; and                                 Transfer Of Rights Of Recovery Against
                                                                  Others To Us
       b. Send us copies of the legal papers if a "suit"
          is brought. In addition, a person seeking               a. With respect to Paragraphs a., c. and d. of
          coverage under Paragraph b. of the                         the definition of "uninsured motor vehicle", if
          definition of "uninsured motor vehicle" must:              we make any payment, we are entitled to
                                                                     recover what we paid from other parties.
         (1) Provide us with a copy of the complaint                 Any person to or for whom we make
              by personal service or certified mail if               payment must transfer to us his or her
              the "insured" brings an action against                 rights of recovery against any other party.
              the owner or operator of such                          This person must do everything necessary
              "uninsured motor vehicle";                             to secure these rights and must do nothing
          (2) Within a reasonable time, make all                     that would jeopardize them.
              pleadings and depositions available for             b. With respect to Paragraph b. of the
              copying by us or furnish us copies at our               definition of "uninsured motor vehicle", if we
              expense; and                                            make any payment and the "insured"
          (3) Provide us with proof that the limits of                recovers from another party, the "insured"
              insurance under any applicable liability                shall hold the proceeds in trust for us and
              bonds or policies have been exhausted                   pay us back the amount we have paid.
              by    payment      of    judgments     or        4. Other Insurance in the Auto Dealers and
              settlements.                                        Business Auto Coverage Forms and Other
   2. Legal Action Against Us is replaced by the                  Insurance – Primary And Excess Insurance
      following:                                                  Provisions in the Motor Carrier Coverage
                                                                  Form are replaced by the following:
      Legal Action Against Us
                                                                  If there is other applicable insurance available
      No legal action may be brought against us
                                                                  under one or more policies or provisions of
      under this Coverage Form until there has been
                                                                  coverage:
      full compliance with all the terms of this
      Coverage Form and with respect to                           a. The maximum recovery under all Coverage
      Paragraphs a., c. and d. of the definition of                  Forms or policies combined may equal but
      "uninsured motor vehicle" unless within two                    not exceed the highest applicable limit for
      years from the date of the "accident":                         any one vehicle under any Coverage Form
                                                                     or policy providing coverage on either a
       a. Agreement as to the amount due under this
                                                                     primary or excess basis.
          insurance has been concluded;
       b. The "insured" has formally instituted                   b. Any insurance we provide with respect to a
                                                                     vehicle the Named Insured does not own
          arbitration proceedings against us. In the
          event that the "insured" decides to arbitrate,             shall be excess over any other collectible
          the "insured" must formally begin arbitration              uninsured motorists insurance providing
                                                                     coverage on a primary basis.
          proceedings by notifying us in writing, sent
          by certified mail, return receipt requested;
          or


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      c. If the coverage under this Coverage Form                2. "Occupying" means in, upon, getting in, on, out
          is provided:                                              or off.
         (1) On a primary basis, we will pay only our            3. "Uninsured motor vehicle" means a land motor
              share of the "loss" that must be paid                 vehicle or "trailer":
              under insurance providing coverage on                 a. For which no liability bond or policy at the
              a primary basis. Our share is the                         time of an "accident" provides at least the
              proportion that our limit of liability bears              amounts required by the applicable law
              to the total of all applicable limits of                  where a covered "auto" is principally
              liability for coverage on a primary basis.                garaged;
         (2) On an excess basis, we will pay only our               b. That is an underinsured motor vehicle. An
              share of the "loss" that must be paid                     underinsured motor vehicle is a land motor
              under insurance providing coverage on                     vehicle or "trailer" for which the sum of all
              an excess basis. Our share is the                         liability bonds or policies at the time of an
              proportion that our limit of liability bears              "accident" provides at least the amounts
              to the total of all applicable limits of                  required by the applicable law where a
              liability for coverage on an excess basis.                covered "auto" is principally garaged but
   5. The following condition is added:                                 that sum is less than the Limit of Insurance
      Arbitration                                                       for this coverage;
      a. If we and an "insured" disagree whether the                c. For which an insuring or bonding company
          "insured" is legally entitled to recover                      denies coverage or refuses to admit
          damages from the owner or driver of an                        coverage except conditionally or with
          "uninsured motor vehicle" or do not agree                     reservation or becomes insolvent;
          as to the amount of damages that are                      d. That is a hit-and-run vehicle and neither the
          recoverable by that "insured", the                           driver nor owner can be identified. The
          disagreement will be settled by arbitration.                 vehicle must make physical contact with an
          Such arbitration may be initiated by a                       "insured", a covered "auto" or a vehicle an
          written demand for arbitration made by                       "insured" is "occupying"; or
          either party. The arbitration shall be                    e. That is owned by an individual Named
          conducted by a single neutral arbitrator.                     Insured or "family member" and operated or
          However, disputes concerning coverage                         caused to be operated by a person without
          under this endorsement may not be                             the owner's consent in connection with
          arbitrated. Each party will bear the                          criminal activity that has been documented
          expenses of the arbitrator equally.                           in a police report.
      b. Unless both parties agree otherwise,                       However, "uninsured motor vehicle" does not
          arbitration will take place in the county in              include any vehicle:
          which the "insured" lives. Local rules of law
          as to arbitration procedures and evidence                 a. Owned or operated by a self-insurer under
          will apply. The decision of the arbitrator will               any applicable motor vehicle law except a
          be binding.                                                   self-insurer who is or becomes insolvent
                                                                        and cannot provide the amounts required
F. Additional Definitions                                               by that motor vehicle law;
   The following are added to the Definitions                       b. Owned by the United States of America,
   section:                                                            Canada, a state or political subdivision of
   1. "Family member" means the individual Named                       any of those governments or an agency of
      Insured's spouse, whether or not a resident of                   any of the foregoing; or
      the individual Named Insured's household, and                 c. Designed or modified for use primarily off
      any other person related to such Named                           public roads while not on public roads.
      Insured by blood, adoption, marriage or
      registered     domestic  partnership    under
      California law, who is a resident of such
      Named Insured's household, including a ward
      or foster child.




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                                                                                    EXHIBIT D PAGE 258
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POLICY NUMBER: CPO 5912284-03                                                                COMMERCIAL AUTO
                                                                                                 CA 21 72 10 09

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FLORIDA UNINSURED MOTORISTS
                         COVERAGE --- NONSTACKED
For a covered ‘‘auto’’ licensed or principally garaged in, or ‘‘garage operations’’ conducted in, Florida, this en-
dorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless modi-
fied by the endorsement.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE


Limit Of Insurance:    $     1,000,000                               Each ‘‘Accident’’

Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Coverage                                                        b. A tentative settlement has been made be-
   1. We will pay all sums the ‘‘insured’’ is legally                  tween an ‘ insured’’ and the insurer of the
      entitled to recover as compensatory damages                      ‘‘underinsured motor vehicle’’ and we:
      from the owner or driver of an ‘‘uninsured mo-                  (1) Have been given prompt written notice
      tor vehicle’’. The damages must result from                          of such tentative settlement; and
      ‘‘bodily injury’’ sustained by the ‘‘insured’’                  (2) Advance payment to the ‘‘insured’’ in an
      caused by an ‘ accident’’. The owner’s or                            amount equal to the tentative settlement
      driver’s liability for these damages must result                     within 30 days after receipt of notifica-
      from the ownership, maintenance or use of the                        tion.
      ‘‘uninsured motor vehicle’’.
                                                               3. Any judgment for damages arising out of a
   2. With respect to damages resulting from an
                                                                    ‘‘suit’’ brought without our written consent is
      ‘‘accident’’ with a vehicle described in Para-                not binding on us.
      graph b. of the definition of ‘ uninsured motor
      vehicle’’, we will pay under this coverage only if    B. Who Is An Insured
      Paragraph a. or b. below applies:                        If the Named Insured is designated in the Declara-
      a. The limit of any applicable liability bonds or        tions as:
          policies has been exhausted by payment of            1. An individual, then the following are ‘‘insureds’’:
          judgments or settlements; or
                                                                    a. The Named Insured and any ‘‘family mem-
                                                                       bers’’.




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      b. Anyone else ‘‘occupying’’ a covered ‘‘auto’’              d. Any ‘‘insured’’ with respect to damages for
          or a temporary substitute for a covered                       pain, suffering, mental anguish or inconven-
          ‘‘auto’’. The covered ‘‘auto’’ must be out of                 ience unless the ‘‘bodily injury’’ consists in
          service because of its breakdown, repair,                     whole or in part of:
          servicing, ‘‘loss’’ or destruction.                          (1) Significant and permanent loss of an
      c. Anyone for damages he or she is entitled to                        important bodily function;
          recover because of ‘‘bodily injury’’ sustained               (2) Permanent injury within a reasonable
          by another ‘‘insured’’.                                           degree of medical probability, other than
   2. A partnership, limited liability company, corpo-                      scarring or disfigurement;
      ration or any other form of organization, then                   (3) Significant and permanent scarring or
      the following are ‘‘insureds’’:                                       disfigurement; or
      a. Anyone ‘‘occupying’’ a covered ‘‘auto’’ or a                  (4) Death.
          temporary substitute for a covered ‘‘auto’’.
          The covered ‘‘auto’’ must be out of service           5. Punitive or exemplary damages.
          because of its breakdown, repair, servicing,          6. ‘‘Bodily injury’’ arising directly or indirectly out
          ‘‘loss’’ or destruction.                                 of:
      b. Anyone for damages he or she is entitled to                a. War, including undeclared or civil war;
          recover because of ‘‘bodily injury’’ sustained
                                                                   b. Warlike action by a military force, including
          by another ‘‘insured’’.                                       action in hindering or defending against an
C. Exclusions                                                           actual or expected attack, by any govern-
   This insurance does not apply to:                                    ment, sovereign or other authority using
                                                                        military personnel or other agents; or
   1. Any claim settled or judgment reached without
      our consent, unless our right to recover pay-                 c. Insurrection, rebellion, revolution, usurped
      ment has not been prejudiced by such settle-                      power, or action taken by governmental au-
      ment or judgment. However, this exclusion                         thority in hindering or defending against
      does not apply to a settlement made with the                      any of these.
      insurer of a vehicle described in Paragraph b.         D. Limit Of Insurance
      of the definition of an ‘‘uninsured motor vehi-           1. Regardless of the number of covered ‘‘autos’’,
      cle’’.                                                       ‘‘insureds’’, premiums paid, claims made or ve-
   2. The direct or indirect benefit of any insurer or             hicles involved in the ‘‘accident’’, the most we
      self-insurer under any workers’ compensation,                will pay for all damages resulting from any one
      disability benefits or similar law.                          ‘‘accident’’ is the limit of Uninsured Motorists
   3. Anyone using a vehicle without a reasonable                  Coverage shown in the Schedule or Declara-
      belief that the person is entitled to do so.                 tions.
   4. ‘‘Bodily injury’’ sustained by:                           2. No one will be entitled to receive duplicate
                                                                   payments for the same elements of ‘‘loss’’ un-
       a. An individual Named Insured while ‘‘occupy-              der this coverage form and any Liability Cover-
          ing’’ or when struck by a vehicle owned by               age form, No-fault Coverage endorsement,
           that individual Named Insured that is not a             Medical Payments Coverage endorsement, or
          covered ‘‘auto’’ for Uninsured Motorists                 Uninsured Motorists Coverage endorsement at-
          Coverage under this coverage form;                       tached to this Coverage Part.
      b. Any ‘‘family member’’ while ‘‘occupying’’ or           3. We will not make a duplicate payment under
          when struck by any vehicle owned by that                 this coverage for any element of ‘‘loss’’ for
          ‘‘family member’’ that is not a covered ‘‘auto’’         which payment has been made by or for any-
          for Uninsured Motorists Coverage under                   one who is legally responsible.
           this coverage form;
                                                                4. We will not pay for any element of ‘‘loss’’ if a
       c. Any ‘‘family member’’ while ‘‘occupying’’ or             person is entitled to receive payment for the
          when struck by any vehicle owned by the                  same element of ‘‘loss’’ under any workers’
          Named Insured that is insured for Unin-                  compensation, disability benefits or similar law.
          sured Motorists Coverage on a primary ba-
          sis under any other coverage form or pol-
          icy; or




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E. Changes In Conditions                                               (2) On an excess basis, we will pay only our
   The Conditions are changed for Uninsured Motor-                           share of the loss that must be paid un-
   ists Coverage Nonstacked as follows:                                      der insurance providing coverage on an
                                                                             excess basis. Our share is the propor-
   1. Other Insurance in the Business Auto and                               tion that our limit of liability bears to the
       Garage Coverage Forms and Other Insurance                             total of all applicable limits of liability for
       ---- Primary And Excess Insurance Provisions in                       coverage on an excess basis.
       the Truckers and Motor Carrier Coverage
       Forms are replaced by the following:                     2. Duties In The Event Of Accident, Claim, Suit Or
                                                                   Loss is changed by adding the following:
        a. If there is other applicable insurance avail-
             able under one or more coverage forms,                a. Promptly notify the police if a hit-and-run
             policies or provisions of coverage, any re-                driver is involved; and
             covery for damages sustained by an indi-              b. Promptly send us copies of the legal papers
             vidual Named Insured or any ‘‘family mem-                  if a ‘‘suit’’ is brought.
             ber’’:                                                c. A person seeking Uninsured Motorists
            (1) While ‘‘occupying’’ a vehicle owned by                  Coverage must also promptly notify us in
                 that Named Insured or any ‘‘family mem-                writing by certified or registered mail of a
                 ber’’ may equal, but not exceed, the limit             tentative settlement between the ‘‘insured’’
                 of insurance for Uninsured Motorists                   and the insurer of the vehicle described in
                 Coverage applicable to that vehicle.                   Paragraph b. of the definition of an ‘‘unin-
         (2) While ‘‘occupying’’ a vehicle not owned                    sured motor vehicle’’ and allow us 30 days
              by that Named Insured or any ‘‘family                     to advance payment to that ‘‘insured’’ in an
              member’’ may equal, but not exceed, the                   amount equal to the tentative settlement to
              sum of:                                                   preserve our rights against the insurer,
                                                                        owner or operator of such vehicle de-
             (a) The limit of insurance for Uninsured                   scribed in Paragraph b. of the definition of
                  Motorists Coverage applicable to the                  an ‘‘uninsured motor vehicle’’.
                  vehicle such Named Insured or any
                  ‘‘family member’’ was ‘‘occupying’’ at        3. Transfer Of Rights Of Recovery Against Others
                  the time of the ‘‘accident’’; and                To Us is changed by adding the following:
            (b) The highest limit of insurance for                 If we make any payment and the ‘‘insured’’ re-
                  Uninsured Motorists Coverage appli-              covers from another party, the ‘‘insured’’ shall
                  cable to any one vehicle under any               hold the proceeds in trust for us and pay us
                  one policy affording coverage to                 back the amount we have paid.
                  such Named Insured or any ‘‘family               Our rights do not apply under this provision
                  member’’.                                        with respect to Uninsured Motorists Coverage
         (3) While not ‘‘occupying’’ any vehicle may               if we:
              equal, but not exceed, the highest limit             a. Have been given prompt written notice of a
              of insurance for Uninsured Motorists                     tentative settlement between an ‘‘insured’’
              Coverage applicable to any one vehicle                   and the insurer of a vehicle described in
              under any one policy affording coverage                  Paragraph b. of the definition of an ‘‘unin-
              to an individual Named Insured or any                    sured motor vehicle’’; and
              ‘‘family member’’.                                   b. Fail to advance payment to the ‘‘insured’’ in
      b. Any insurance we provide with respect to a                    an amount equal to the tentative settlement
          vehicle the Named Insured does not own                       within 30 days after receipt of notification.
          shall be excess over any collectible unin-               If we advance payment to the ‘‘insured’’ in an
          sured motorists insurance providing cover-               amount equal to the tentative settlement within
          age on a primary basis.                                  30 days after receipt of notification:
      c. If the coverage under this coverage form is               a. That payment will be separate from any
          provided:                                                    amount the ‘‘insured’’ is entitled to recover
         (1) On a primary basis, we will pay only our                  under the provisions of Uninsured Motor-
              share of the loss that must be paid un-                  ists Coverage; and
              der insurance providing coverage on a                b. We also have a right to recover the ad-
              primary basis. Our share is the propor-                  vanced payment.
              tion that our limit of liability bears to the
              total of all applicable limits of liability for
              coverage on a primary basis.




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4. The following condition is added:                               (2) A written request for mediation must be
   a. Arbitration                                                       filed with the Florida Department of Fi-
                                                                        nancial Services on an approved form,
      (1) If we and an ‘‘insured’’ do not agree:                        which may be obtained from the Florida
          (a) Whether that person is legally entitled                   Department of Financial Services.
                to recover damages under this en-                  (3) The request must state:
               dorsement; or
                                                                       (a) Why mediation is being requested.
          (b) As to the amount of damages that
                are recoverable by that person;                       (b) The issues in dispute, which are to
                                                                             be mediated.
           Then the matter may be mediated, in ac-
           cordance with the Mediation Provision                   (4) The Florida Department of Financial
           contained in General Conditions, if the                      Services will randomly select mediators.
           damages resulting from ‘‘bodily injury’’                     Each party may reject one mediator, ei-
           are for $10,000 or less, or arbitrated.                      ther before or after the opposing side
           However, disputes concerning coverage                        has rejected a mediator. The mediator
           under this endorsement may not be arbi-                      will notify the parties of the date, time
           trated. Both parties must agree to arbi-                     and place of the mediation conference.
                                                                        The mediation conference will be held
           tration. In this event, each party will se-
                                                                        within 45 days of the request for media-
           lect an arbitrator. The two arbitrators will
           select a third. If they cannot agree within                  tion. The conference will be held by tele-
           30 days, either may request that selec-                      phone, if feasible. Participants in the
           tion be made by a judge of a court hav-                      mediation conference must have the au-
           ing jurisdiction.                                            thority to make a binding decision, and
                                                                        must mediate in good faith. Each party
      (2) Each party will pay the expenses it in-                       will bear the expenses of the mediation
           curs and bear the expenses of the third                      equally, unless the mediator determines
           arbitrator equally.                                          that one party has not mediated in good
      (3) Unless both parties agree otherwise,                          faith.
           arbitration will take place in the county in            (5) Only one mediation may be requested
           which the ‘‘insured’’ lives. Local rules of                  for each claim unless all parties agree to
           law as to arbitration procedure and evi-                     further mediation. A party demanding
           dence will apply. A decision agreed to by                    mediation shall not be entitled to de-
           two of the arbitrators will be binding.                      mand or request mediation after a suit is
   b. Florida Arbitration Act                                           filed relating to the same facts already
                                                                        mediated.
       If we and an ‘‘insured’’ agree to arbitration,
       the Florida Arbitration Act will not apply.                 (6) The mediation shall be conducted as an
                                                                        informal process and formal rules of evi-
   c. Mediation                                                         dence and procedures need not be ob-
      (1) In any claim filed by an ‘‘insured’’ with us                  served.
           for:
                                                          F. Additional Definitions
          (a) ‘‘Bodily injury’’ in an amount of
                                                             As used in this endorsement:
                $10,000 or less, arising out of the
                ownership, operation, use or mainte-         1. ‘‘Family member’’ means a person related to an
                nance of a covered ‘‘auto’’;                    individual Named Insured by blood, marriage
                                                                or adoption who is a resident of such Named
          (b) ‘‘Property damage’’ in any amount,
                                                                Insured’s household, including a ward or foster
                arising out of the ownership, opera-
                                                                child.
                tion, maintenance or use of a cov-
                ered ‘‘auto’’; or                            2. ‘‘Occupying’’ means in, upon, getting in, on,
                                                                out or off.
          (c) ‘‘Loss’’ to a covered ‘‘auto’’ or its
                equipment, in any amount;                    3. ‘‘Uninsured motor vehicle’’ means a land motor
                                                                vehicle or ‘‘trailer’’:
          either party may make a written demand
          for mediation of the claim prior to the in-           a. For which no liability bond or policy applies
          stitution of litigation.                                  at the time of an ‘‘accident’’;




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   b. That is an underinsured motor vehicle. An                   If there is no physical contact with the land
       underinsured motor vehicle is a land motor                 motor vehicle or ‘‘trailer’’, the facts of the
       vehicle or ‘‘trailer’’ for which a ‘‘bodily injury’’       ‘‘accident’’ must be proved. We will only ac-
       liability bond or policy applies at the time of            cept competent evidence other than the tes-
       an ‘‘accident’’ but the amount paid under                  timony of a person making claims under
       that bond or policy to an ‘‘insured’’ is not               this or any similar coverage.
       enough to pay the full amount the ‘‘insured’’          However, ‘‘uninsured motor vehicle’’ does not
       is legally entitled to recover as damages              include any vehicle:
       caused by the ‘‘accident’’;
                                                              a. Owned by a governmental unit or agency;
   c. For which an insuring or bonding company
       denies coverage or is or becomes insolvent;            b. Designed for use mainly off public roads
       or                                                         while not on public roads; or
   d. For which neither the driver nor owner can              c. Owned by or furnished or available for the
       be identified. The land motor vehicle or                   regular use of the Named Insured, or if the
       ‘‘trailer’’ must:                                          Named Insured is an individual, any ‘‘family
                                                                  member’’ unless it is a covered ‘‘auto’’ to
      (1) Hit an individual Named Insured or any                  which the coverage form’s Liability Cover-
            ‘‘family member’’, a covered ‘‘auto’’ or a            age applies and liability coverage is ex-
            vehicle such Named Insured or any                     cluded for any person or organization other
            ‘‘family member’’ is ‘‘occupying’’; or                than the Named Insured, or if the Named
      (2) Cause an ‘‘accident’’ resulting in ‘‘bodily             Insured is an individual, any ‘‘family mem-
          injury’’ to an individual Named Insured                 ber’’.
          or any ‘‘family member’’ without hitting
          that Named Insured, any ‘‘family mem-
          ber’’, a covered ‘‘auto’’ or a vehicle such
          Named Insured or any ‘‘family member’’
          is ‘‘occupying’’.




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                                                                                          COMMERCIAL AUTO
                                                                                              CA 04 24 10 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    CALIFORNIA AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by the endorsement.


A. Coverage                                                  3. "Bodily injury" sustained by any "family
   We will pay reasonable expenses incurred for                 member" while "occupying" or struck by any
   necessary medical and funeral services to or for             vehicle (other than a covered "auto") owned by
   an "insured" who sustains "bodily injury" caused             or furnished or available for the regular use of
   by "accident". We will pay only those expenses               any "family member".
   incurred, for services rendered within three years        4. "Bodily injury" to your "employee" arising out of
   from the date of the "accident".                             and in the course of employment by you.
B. Who Is An Insured                                            However, we will cover "bodily injury" to your
                                                                domestic "employees" if not entitled to workers'
   1. You while "occupying" or, while a pedestrian,             compensation benefits. For the purposes of
      when struck by any "auto".                                this endorsement, a domestic "employee" is a
   2. If you are an individual, any "family member"             person engaged in household or domestic
       while "occupying" or, while a pedestrian, when           work performed principally in connection with a
       struck by any "auto".                                    residence premises.
   3. Anyone else "occupying" a covered "auto" or a          5. "Bodily injury" to an "insured" while working in
       temporary substitute for a covered "auto". The           a business of selling, servicing, repairing or
       covered "auto" must be out of service because            parking "autos" unless that business is yours.
       of its breakdown, repair, servicing, loss or          6. "Bodily injury" arising directly or indirectly out
       destruction.                                             of:
C. Exclusions                                                   a. War, including undeclared or civil war;
   This insurance does not apply to any of the                  b. Warlike action by a military force, including
   following:                                                       action in hindering or defending against an
   1. "Bodily injury" sustained by an "insured" while               actual or expected attack, by any
       "occupying" a vehicle located for use as a                   government, sovereign or other authority
       premises.                                                    using military personnel or other agents; or
   2. "Bodily injury" sustained by you or any "family           c. Insurrection, rebellion, revolution, usurped
       member" while "occupying" or struck by any                   power, or action taken by governmental
       vehicle (other than a covered "auto") owned by               authority in hindering or defending against
       you or furnished or available for your regular               any of these.
       use.




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   7. "Bodily injury" to anyone using a vehicle               E. Changes In Conditions
       without a reasonable belief that the person is            The Conditions are changed for Auto Medical
       entitled to do so.                                        Payments Coverage as follows:
   8. "Bodily injury" sustained by an "insured" while            1. The Transfer Of Rights Of Recovery Against
       "occupying" any covered "auto" while used in                 Others To Us Condition does not apply.
       any professional racing or demolition contest or
       stunting activity, or while practicing for such           2. The reference in Other Insurance in the Auto
       contest or activity. This insurance also does                Dealers and Business Auto Coverage Forms
       not apply to any "bodily injury" sustained by an             and Other Insurance – Primary And Excess
       "insured" while the "auto" is being prepared for             Insurance Provisions in the Motor Carrier
       such a contest or activity.                                  Coverage Form to "other collectible insurance"
                                                                    applies only to other collectible auto medical
D. Limit Of Insurance                                               payments insurance.
   Regardless of the number of covered "autos",               F. Additional Definitions
   "insureds", premiums paid, claims made or
   vehicles involved in the "accident", the most we              As used in this endorsement:
   will pay for "bodily injury" for each "insured" injured       1. "Family member" means a person related to
   in any one "accident" is the Limit Of Insurance for              you by blood, adoption, marriage or registered
   Auto Medical Payments Coverage shown in the                      domestic partnership under California law, who
   Declarations.                                                    is a resident of your household, including a
   No one will be entitled to receive duplicate                     ward or foster child.
   payments for the same elements of "loss" under                2. "Occupying" means in, upon, getting in, on, out
   this coverage and any Liability Coverage form,                   or off.
   Uninsured Motorists Coverage endorsement or
   Underinsured Motorists Coverage endorsement
   attached to this Coverage Part.




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Coverage Extension Endorsement

    Policy No.     Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.      Producer No.           Add’l. Prem         Return Prem.




                  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
   Business Auto Coverage Form
   Motor Carrier Coverage Form

A. Amended Who Is An Insured
   1. The following is added to the Who Is An Insured Provision in Section II – Covered Autos Liability Coverage:
        The following are also "insureds":
        a. Any "employee" of yours is an "insured" while using a covered "auto" you don't own, hire or borrow for acts
           performed within the scope of employment by you. Any “employee” of yours is also an “insured” while
           operating an “auto” hired or rented under a contract or agreement in an “employee’s” name, with your
           permission, while performing duties related to the conduct of your business.
        b. Anyone volunteering services to you is an "insured" while using a covered "auto" you don’t own, hire or
           borrow to transport your clients or other persons in activities necessary to your business.
        c. Anyone else who furnishes an "auto" referenced in Paragraphs A.1.a. and A.1.b. in this endorsement.
        d. Where and to the extent permitted by law, any person(s) or organization(s) where required by written contract
           or written agreement with you executed prior to any "accident", including those person(s) or organization(s)
           directing your work pursuant to such written contract or written agreement with you, provided the "accident"
           arises out of operations governed by such contract or agreement and only up to the limits required in the
           written contract or written agreement, or the Limits of Insurance shown in the Declarations, whichever is less.
   2. The following is added to the Other Insurance Condition in the Business Auto Coverage Form and the Other
      Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form:
        Coverage for any person(s) or organization(s), where required by written contract or written agreement with you
        executed prior to any "accident", will apply on a primary and non-contributory basis and any insurance maintained
        by the additional "insured" will apply on an excess basis. However, in no event will this coverage extend beyond
        the terms and conditions of the Coverage Form.
B. Amendment – Supplementary Payments
   Paragraphs a.(2) and a.(4) of the Coverage Extensions Provision in Section II – Covered Autos Liability
   Coverage are replaced by the following:
   (2) Up to $5,000 for the cost of bail bonds (including bonds for related traffic law violations) required because of an
       "accident" we cover. We do not have to furnish these bonds.
   (4) All reasonable expenses incurred by the "insured" at our request, including actual loss of earnings up to $500 a
       day because of time off from work.




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C. Fellow Employee Coverage
   The Fellow Employee Exclusion contained in Section II – Covered Autos Liability Coverage does not apply.
D. Driver Safety Program Liability and Physical Damage Coverage
   1. The following is added to the Racing Exclusion in Section II – Covered Autos Liability Coverage:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
   2. The following is added to Paragraph 2. in the Exclusions of Section III – Physical Damage Coverage of the
      Business Auto Coverage Form and Paragraph 2.b. in the Exclusions of Section IV – Physical Damage
      Coverage of the Motor Carrier Coverage Form:
       This exclusion does not apply to covered "autos" participating in a driver safety program event, such as, but not
       limited to, auto or truck rodeos and other auto or truck agility demonstrations.
E. Lease or Loan Gap Coverage
   The following is added to the Coverage Provision of the Physical Damage Coverage Section:
   Lease Or Loan Gap Coverage
   In the event of a total "loss" to a covered "auto", we will pay any unpaid amount due on the lease or loan for a covered
   "auto", less:
   a. Any amount paid under the Physical Damage Coverage Section of the Coverage Form; and
   b. Any:
       (1) Overdue lease or loan payments at the time of the "loss";
       (2) Financial penalties imposed under a lease for excessive use, abnormal wear and tear or high mileage;
       (3) Security deposits not returned by the lessor;
       (4) Costs for extended warranties, credit life insurance, health, accident or disability insurance purchased with the
           loan or lease; and
       (5) Carry-over balances from previous leases or loans.
F. Towing and Labor
   Paragraph A.2. of the Physical Damage Coverage Section is replaced by the following:
   We will pay up to $75 for towing and labor costs incurred each time a covered "auto" of the private passenger type is
   disabled. However, the labor must be performed at the place of disablement.
G. Extended Glass Coverage
   The following is added to Paragraph A.3.a. of the Physical Damage Coverage Section:
   If glass must be replaced, the deductible shown in the Declarations will apply. However, if glass can be repaired and
   is actually repaired rather than replaced, the deductible will be waived. You have the option of having the glass
   repaired rather than replaced.
H. Hired Auto Physical Damage – Increased Loss of Use Expenses
   The Coverage Extension for Loss Of Use Expenses in the Physical Damage Coverage Section is replaced by the
   following:
   Loss Of Use Expenses
   For Hired Auto Physical Damage, we will pay expenses for which an "insured" becomes legally responsible to pay for
   loss of use of a vehicle rented or hired without a driver under a written rental contract or written rental agreement. We
   will pay for loss of use expenses if caused by:




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     (1) Other than collision only if the Declarations indicate that Comprehensive Coverage is provided for any covered
         "auto";
     (2) Specified Causes Of Loss only if the Declarations indicate that Specified Causes Of Loss Coverage is provided
         for any covered "auto"; or
     (3) Collision only if the Declarations indicate that Collision Coverage is provided for any covered "auto".
     However, the most we will pay for any expenses for loss of use is $100 per day, to a maximum of $3000.
I.   Personal Effects Coverage
     The following is added to the Coverage Provision of the Physical Damage Coverage Section:
     Personal Effects Coverage
     a. We will pay up to $750 for "loss" to personal effects which are:
         (1) Personal property owned by an "insured"; and
         (2) In or on a covered "auto".
     b. Subject to Paragraph a. above, the amount to be paid for "loss" to personal effects will be based on the lesser of:
         (1) The reasonable cost to replace; or
         (2) The actual cash value.
     c. The coverage provided in Paragraphs a. and b. above, only applies in the event of a total theft of a covered
        "auto". No deductible applies to this coverage. However, we will not pay for "loss" to personal effects of any of
        the following:
         (1) Accounts, bills, currency, deeds, evidence of debt, money, notes, securities, or commercial paper or other
             documents of value.
         (2) Bullion, gold, silver, platinum, or other precious alloys or metals; furs or fur garments; jewelry, watches,
             precious or semi-precious stones.
         (3) Paintings, statuary and other works of art.
         (4) Contraband or property in the course of illegal transportation or trade.
         (5) Tapes, records, discs or other similar devices used with audio, visual or data electronic equipment.
     Any coverage provided by this Provision is excess over any other insurance coverage available for the same "loss".
J. Tapes, Records and Discs Coverage
     1. The Exclusion in Paragraph B.4.a. of Section III – Physical Damage Coverage in the Business Auto Coverage
        Form and the Exclusion in Paragraph B.2.c. of Section IV – Physical Damage Coverage in the Motor Carrier
        Coverage Form does not apply.
     2. The following is added to Paragraph 1.a. Comprehensive Coverage under the Coverage Provision of the
        Physical Damage Coverage Section:
         We will pay for "loss" to tapes, records, discs or other similar devices used with audio, visual or data electronic
         equipment. We will pay only if the tapes, records, discs or other similar audio, visual or data electronic devices:
         (a) Are the property of an "insured"; and
         (b) Are in a covered "auto" at the time of "loss".
         The most we will pay for such "loss" to tapes, records, discs or other similar devices is $500. The Physical
         Damage Coverage Deductible Provision does not apply to such "loss".




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K. Airbag Coverage
   The Exclusion in Paragraph B.3.a. of Section III – Physical Damage Coverage in the Business Auto Coverage Form
   and the Exclusion in Paragraph B.4.a. of Section IV – Physical Damage Coverage in the Motor Carrier Coverage
   Form does not apply to the accidental discharge of an airbag.
L. Two or More Deductibles
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   If an accident is covered both by this policy or Coverage Form and by another policy or Coverage Form issued to you
   by us, the following applies for each covered "auto" on a per vehicle basis:
   1. If the deductible on this policy or Coverage Form is the smaller (or smallest) deductible, it will be waived; or
   2. If the deductible on this policy or Coverage Form is not the smaller (or smallest) deductible, it will be reduced by
      the amount of the smaller (or smallest) deductible.
M. Physical Damage – Comprehensive Coverage – Deductible
   The following is added to the Deductible Provision of the Physical Damage Coverage Section:
   Regardless of the number of covered "autos" damaged or stolen, the maximum deductible that will be applied to
   Comprehensive Coverage for all "loss" from any one cause is $5,000 or the deductible shown in the Declarations,
   whichever is greater.
N. Temporary Substitute Autos – Physical Damage
   1. The following is added to Section I – Covered Autos:
       Temporary Substitute Autos – Physical Damage
       If Physical Damage Coverage is provided by this Coverage Form on your owned covered "autos", the following
       types of vehicles are also covered "autos" for Physical Damage Coverage:
       Any "auto" you do not own when used with the permission of its owner as a temporary substitute for a covered
       "auto" you do own but is out of service because of its:
       1. Breakdown;
       2. Repair;
       3. Servicing;
       4. "Loss"; or
       5. Destruction.
   2. The following is added to the Paragraph A. Coverage Provision of the Physical Damage Coverage Section:
       Temporary Substitute Autos – Physical Damage
       We will pay the owner for "loss" to the temporary substitute "auto" unless the "loss" results from fraudulent acts or
       omissions on your part. If we make any payment to the owner, we will obtain the owner's rights against any other
       party.
       The deductible for the temporary substitute "auto" will be the same as the deductible for the covered "auto" it
       replaces.
O. Amended Duties In The Event Of Accident, Claim, Suit Or Loss
   Paragraph a. of the Duties In The Event Of Accident, Claim, Suit Or Loss Condition is replaced by the following:
   a. In the event of "accident", claim, "suit" or "loss", you must give us or our authorized representative prompt notice
      of the "accident", claim, "suit" or "loss". However, these duties only apply when the "accident", claim, "suit" or
      "loss" is known to you (if you are an individual), a partner (if you are a partnership), a member (if you are a limited
      liability company) or an executive officer or insurance manager (if you are a corporation). The failure of any




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       agent, servant or employee of the "insured" to notify us of any "accident", claim, "suit" or "loss" shall not invalidate
       the insurance afforded by this policy.
       Include, as soon as practicable:
       (1) How, when and where the "accident" or "loss" occurred and if a claim is made or "suit" is brought, written
           notice of the claim or "suit" including, but not limited to, the date and details of such claim or "suit";
       (2) The "insured’s" name and address; and
       (3) To the extent possible, the names and addresses of any injured persons and witnesses.
       If you report an "accident", claim, "suit" or "loss" to another insurer when you should have reported to us, your
       failure to report to us will not be seen as a violation of these amended duties provided you give us notice as soon
       as practicable after the fact of the delay becomes known to you.
P. Waiver of Transfer Of Rights Of Recovery Against Others To Us
   The following is added to the Transfer Of Rights Of Recovery Against Others To Us Condition:
   This Condition does not apply to the extent required of you by a written contract, executed prior to any "accident" or
   "loss", provided that the "accident" or "loss" arises out of operations contemplated by such contract. This waiver only
   applies to the person or organization designated in the contract.
Q. Employee Hired Autos – Physical Damage
   Paragraph b. of the Other Insurance Condition in the Business Auto Coverage Form and Paragraph f. of the Other
   Insurance – Primary and Excess Insurance Provisions Condition in the Motor Carrier Coverage Form are replaced
   by the following:
   For Hired Auto Physical Damage Coverage, the following are deemed to be covered "autos" you own:
   (1) Any covered "auto" you lease, hire, rent or borrow; and
   (2) Any covered "auto" hired or rented under a written contract or written agreement entered into by an "employee" or
       elected or appointed official with your permission while being operated within the course and scope of that
       "employee's" employment by you or that elected or appointed official’s duties as respect their obligations to you.
   However, any "auto" that is leased, hired, rented or borrowed with a driver is not a covered "auto".
R. Unintentional Failure to Disclose Hazards
   The following is added to the Concealment, Misrepresentation Or Fraud Condition:
   However, we will not deny coverage under this Coverage Form if you unintentionally:
   (1) Fail to disclose any hazards existing at the inception date of this Coverage Form; or
   (2) Make an error, omission, improper description of "autos" or other misstatement of information.
   You must notify us as soon as possible after the discovery of any hazards or any other information that was not
   provided to us prior to the acceptance of this policy.
S. Hired Auto – World Wide Coverage
   Paragraph 7a.(5) of the Policy Period, Coverage Territory Condition is replaced by the following:
   (5) Anywhere in the world if a covered "auto" is leased, hired, rented or borrowed for a period of 60 days or less,
T. Bodily Injury Redefined
   The definition of "bodily injury" in the Definitions Section is replaced by the following:
   "Bodily injury" means bodily injury, sickness or disease, sustained by a person including death or mental anguish,
   resulting from any of these at any time. Mental anguish means any type of mental or emotional illness or disease.




                                                                                                                    U-CA-424-F CW (04-14)
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U. Expected Or Intended Injury
    The Expected Or Intended Injury Exclusion in Paragraph B. Exclusions under Section II – Covered Auto Liability
    Coverage is replaced by the following:
    Expected Or Intended Injury
    "Bodily injury" or "property damage" expected or intended from the standpoint of the "insured". This exclusion does
    not apply to "bodily injury" or "property damage" resulting from the use of reasonable force to protect persons or
    property.
V. Physical Damage – Additional Temporary Transportation Expense Coverage
    Paragraph A.4.a. of Section III – Physical Damage Coverage is replaced by the following:
    4. Coverage Extensions
        a. Transportation Expenses
            We will pay up to $50 per day to a maximum of $1,000 for temporary transportation expense incurred by you
            because of the total theft of a covered "auto" of the private passenger type. We will pay only for those
            covered "autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage. We will
            pay for temporary transportation expenses incurred during the period beginning 48 hours after the theft and
            ending, regardless of the policy's expiration, when the covered "auto" is returned to use or we pay for its
            "loss".
W. Replacement of a Private Passenger Auto with a Hybrid or Alternative Fuel Source Auto
    The following is added to Paragraph A. Coverage of the Physical Damage Coverage Section:
    In the event of a total "loss" to a covered "auto" of the private passenger type that is replaced with a hybrid "auto" or
    "auto" powered by an alternative fuel source of the private passenger type, we will pay an additional 10% of the cost
    of the replacement "auto", excluding tax, title, license, other fees and any aftermarket vehicle upgrades, up to a
    maximum of $2500. The covered "auto" must be replaced by a hybrid "auto" or an "auto" powered by an alternative
    fuel source within 60 calendar days of the payment of the "loss" and evidenced by a bill of sale or new vehicle lease
    agreement.
    To qualify as a hybrid "auto", the "auto" must be powered by a conventional gasoline engine and another source of
    propulsion power. The other source of propulsion power must be electric, hydrogen, propane, solar or natural gas,
    either compressed or liquefied. To qualify as an "auto" powered by an alternative fuel source, the "auto" must be
    powered by a source of propulsion power other than a conventional gasoline engine. An "auto" solely propelled by
    biofuel, gasoline or diesel fuel or any blend thereof is not an "auto" powered by an alternative fuel source.
X. Return of Stolen Automobile
    The following is added to the Coverage Extension Provision of the Physical Damage Coverage Section:
    If a covered “auto” is stolen and recovered, we will pay the cost of transport to return the “auto” to you. We will pay
    only for those covered “autos" for which you carry either Comprehensive or Specified Causes of Loss Coverage.


All other terms, conditions, provisions and exclusions of this policy remain the same.




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                                                                                           COMMERCIAL AUTO
                                                                                               CA 99 03 03 06

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 AUTO MEDICAL PAYMENTS COVERAGE
This endorsement modifies insurance provided under the following:

   BUSINESS AUTO COVERAGE FORM
   GARAGE COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM
   TRUCKERS COVERAGE FORM


With respect to coverage provided by this endorse-             3. "Bodily injury" sustained by any "family mem-
ment, the provisions of the Coverage Form apply                   ber" while "occupying" or struck by any vehicle
unless modified by the endorsement.                               (other than a covered "auto") owned by or fur-
A. Coverage                                                       nished or available for the regular use of any
                                                                  "family member".
   We will pay reasonable expenses incurred for nec-
   essary medical and funeral services to or for an            4. "Bodily injury" to your "employee" arising out of
   "insured" who sustains "bodily injury" caused by               and in the course of employment by you. How-
   "accident". We will pay only those expenses in-                ever, we will cover "bodily injury" to your do-
                                                                  mestic "employees" if not entitled to workers’
   curred, for services rendered within three years
                                                                  compensation benefits. For the purposes of
   from the date of the "accident".
                                                                  this endorsement, a domestic "employee" is a
B. Who Is An Insured                                              person engaged in household or domestic
   1. You while "occupying" or, while a pedestrian,               work performed principally in connection with a
       when struck by any "auto".                                 residence premises.
   2. If you are an individual, any "family member"            5. "Bodily injury" to an "insured" while working in a
       while "occupying" or, while a pedestrian, when             business of selling, servicing, repairing or park-
       struck by any "auto".                                      ing "autos" unless that business is yours.
   3. Anyone else "occupying" a covered "auto" or a            6. "Bodily injury" arising directly or indirectly out
       temporary substitute for a covered "auto". The             of:
       covered "auto" must be out of service because              a. War, including undeclared or civil war;
       of its breakdown, repair, servicing, loss or de-
       struction.                                                 b. Warlike action by a military force, including
                                                                      action in hindering or defending against an
C. Exclusions                                                         actual or expected attack, by any govern-
   This insurance does not apply to any of the follow-                ment, sovereign or other authority using
   ing:                                                               military personnel or other agents; or
   1. "Bodily injury" sustained by an "insured" while             c. Insurrection, rebellion, revolution, usurped
      "occupying" a vehicle located for use as a                     power, or action taken by governmental au-
       premises.                                                     thority in hindering or defending against
   2. "Bodily injury" sustained by you or any "family                any of these.
      member" while "occupying" or struck by any
      vehicle (other than a covered "auto") owned by
      you or furnished or available for your regular
      use.




CA 99 03 03 06                               ISO Properties, Inc., 2005                                Page 1 of 2



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   7. "Bodily injury" to anyone using a vehicle with-       E. Changes In Conditions
      out a reasonable belief that the person is enti-         The Conditions are changed for Auto Medical
      tled to do so.                                           Payments Coverage as follows:
   8. "Bodily Injury" sustained by an "insured" while          1. The Transfer Of Rights Of Recovery Against
      "occupying" any covered "auto" while used in                Others To Us Condition does not apply.
      any professional racing or demolition contest
      or stunting activity, or while practicing for such       2. The reference in Other Insurance in the Busi-
      contest or activity. This insurance also does               ness Auto and Garage Coverage Forms and
      not apply to any "bodily injury" sustained by an            Other Insurance ---- Primary And Excess Insur-
      "insured" while the "auto" is being prepared for            ance Provisions in the Truckers and Motor
      such a contest or activity.                                 Carrier Coverage Forms to "other collectible in-
                                                                  surance" applies only to other collectible auto
D. Limit Of Insurance                                             medical payments insurance.
   Regardless of the number of covered "autos", "in-        F. Additional Definitions
   sureds", premiums paid, claims made or vehicles
   involved in the "accident", the most we will pay for        As used in this endorsement:
   "bodily injury" for each "insured" injured in any one       1. "Family member" means a person related to you
   "accident" is the Limit Of Insurance for Auto Medi-            by blood, marriage or adoption who is a resi-
   cal Payments Coverage shown in the Declarations.               dent of your household, including a ward or
   No one will be entitled to receive duplicate pay-              foster child.
   ments for the same elements of "loss" under this            2. "Occupying" means in, upon, getting in, on, out
   coverage and any Liability Coverage Form, Unin-                or off.
   sured Motorists Coverage Endorsement or Under-
   insured Motorists Coverage Endorsement attached
   to this Coverage Part.




Page 2 of 2                                   ISO Properties, Inc., 2005                           CA 99 03 03 06



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POLICY NUMBER: CPO 5912284-03                                                                   COMMERCIAL AUTO
                                                                                                    CA 20 48 10 13

        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                     DESIGNATED INSURED FOR
                 COVERED AUTOS LIABILITY COVERAGE
This endorsement modifies insurance provided under the following:


   AUTO DEALERS COVERAGE FORM
   BUSINESS AUTO COVERAGE FORM
   MOTOR CARRIER COVERAGE FORM

With respect to coverage provided by this endorsement, the provisions of the Coverage Form apply unless
modified by this endorsement.
This endorsement identifies person(s) or organization(s) who are ‘‘insureds’’ for Covered Autos Liability Coverage
under the Who Is An Insured provision of the Coverage Form. This endorsement does not alter coverage
provided in the Coverage Form.
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.


Named Insured:

Endorsement Effective Date:


                                                    SCHEDULE

Name Of Person(s) Or Organization(s):
COUNTY OF SANTA CLARA
COUNTY OF SANTA CLARA, AND MEMBERS OF
THE BOARD OF SUPERVISORS OF THE COUNTY
OF SANTA CLARA, AND THE OFFICERS, AGENTS
AND EMPLOYEES OF THE COUNTY OF SANTA
C/O EBIX BPO
P.O. BOX 257, REF. #XX-XXXXXXX
PORTLAND, MI USA 48875-0257
Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

Each person or organization shown in the Schedule is
an ‘‘insured’’ for Covered Autos Liability Coverage, but
only to the extent that person or organization qualifies
as an ‘‘insured’’ under the Who Is An Insured
provision contained in Paragraph A.1. of Section II ----
Covered Autos Liability Coverage in the Business
Auto and Motor Carrier Coverage Forms and
Paragraph D.2. of Section I ---- Covered Autos
Coverages of the Auto Dealers Coverage Form.




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                                    California
                      Auto Body Repair Consumer Bill of Rights

A CONSUMER IS ENTITLED TO:

1.    SELECT THE AUTO BODY REPAIR SHOP TO REPAIR AUTO BODY DAMAGE COVERED BY THE
      INSURANCE COMPANY. AN INSURANCE COMPANY MAY NOT REQUIRE THE REPAIRS TO BE
      DONE AT A SPECIFIC AUTO BODY REPAIR SHOP.

2.    AN ITEMIZED WRITTEN ESTIMATE FOR AUTO BODY REPAIRS AND, UPON COMPLETION OF
      REPAIRS, A DETAILED INVOICE. THE ESTIMATE AND THE INVOICE MUST INCLUDE AN
      ITEMIZED LIST OF PARTS AND LABOR ALONG WITH THE TOTAL PRICE FOR THE WORK
      PERFORMED. THE ESTIMATE AND INVOICE MUST ALSO IDENTIFY ALL PARTS AS NEW, USED,
      AFTERMARKET, RECONDITIONED, OR REBUILT.

3.    BE INFORMED ABOUT COVERAGE FOR TOWING SERVICES. UNLESS THE INSURANCE
      COMPANY HAS PROVIDED AN INSURED WITH THE NAME OF A SPECIFIC TOWING COMPANY
      PRIOR TO THE INSURED’S USE OF ANOTHER TOWING COMPANY, THE INSURANCE COMPANY
      MUST PAY ALL REASONABLE TOWING CHARGES OF THE TOWING COMPANY USED BY THE
      INSURED.

4.    BE INFORMED ABOUT THE EXTENT OF COVERAGE, IF ANY, FOR A REPLACEMENT RENTAL
      VEHICLE WHILE A DAMAGED VEHICLE IS BEING REPAIRED.

5.    BE INFORMED OF WHERE TO REPORT SUSPECTED FRAUD OR OTHER COMPLAINTS AND
      CONCERNS ABOUT AUTO BODY REPAIRS.



        COMPLAINTS WITHIN THE JURISDICTION OF THE BUREAU OF AUTOMOTIVE REPAIR

             Complaints concerning the repair of a vehicle by an auto body repair shop should be directed to:

                                               Toll Free (800) 952-5210
                                     California Department of Consumer Affairs
                                            Bureau of Automotive Repair
                                               10240 Systems Parkway
                                                Sacramento, CA 95827

        The Bureau of Automotive Repair can also accept complaints over its web site at: www.autorepair.ca.gov



     COMPLAINTS WITHIN THE JURISDICTION OF THE CALIFORNIA INSURANCE COMMISSIONER

Any concerns regarding how an auto insurance claim is being handled should be submitted to the California Department of
                                                     Insurance at:

                                          (800) 927-HELP or (213) 897-8921
                                         California Department of Insurance
                                             Consumer Services Division
                                               300 South Spring Street
                                                Los Angeles, CA 90013

The California Department of Insurance can also accept complaints over its web site at: www.insurance.ca.gov


UA 213 (Ed. 1-01) UNIFORM INFORMATION SERVICES, INC.
                                                                                                                          .




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2013 Commercial Auto Multistate Forms Revision
Advisory Notice To Policyholders

This is a summary of the major changes to your policy. No coverage is provided by this summary nor can it be
construed to replace any provisions of your policy or endorsements. You should read your policy and review your
Declarations page for complete information on the coverages you are provided. If there is any conflict between
the Policy and this summary, THE PROVISIONS OF THE POLICY SHALL PREVAIL.
Highlighted below are areas within the Policy that broaden, reduce or reinforce coverage. This notice does not
reference every change, including editorial changes, made in your policy.


                                                  COVERAGE FORMS

                                    REINFORCEMENTS OF COVERAGE

Revision To "Liability Coverage" Form References
  CA 00 01 – Business Auto Coverage Form
   CA 00 20 – Motor Carrier Coverage Form
   References to "Liability Coverage" that pertain to auto liability in the Business Auto Coverage Form and Motor
   Carrier Coverage Form are replaced with "Covered Autos Liability Coverage" to distinguish such coverage
   from the other types of liability coverages that may be included in your policy.
Revisions To Physical Damage Coverage
  CA 00 01 – Business Auto Coverage Form
   CA 00 05 – Motor Carrier Coverage Form
   The Limits Of Insurance provision under Physical Damage Coverage is reinforced to reflect that "loss" rather
   than "accident" triggers coverage under this section.


                                        MULTISTATE ENDORSEMENTS

                                        BROADENINGS OF COVERAGE

NEW OPTIONAL ENDORSEMENTS
   CA 23 30 – Motor Carrier Endorsement
   In general, this endorsement may be used to convert the Business Auto Coverage Form into a Motor Carrier
   Coverage Form for autos used in your operations as a motor carrier.


EXISTING OPTIONAL ENDORSEMENTS
   CA 20 54 – Employee Hired Autos
   This endorsement is revised to reinforce that any employee of yours is an insured while operating a rental or
   hired vehicle taken out in another employee's name for the purposes of performing duties related to the
   conduct of your business and with your permission.
   CA 99 16 – Hired Autos Specified As Covered Auto You Own
   This endorsement has been revised to remove the wording which limits coverage with respect to the lessor
   solely to liability arising out of the acts or omissions of the lessee or anyone else acting on the lessee's behalf.




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   CA 99 37 – Garagekeepers Coverage
   Spouses of partners, managers of limited liability companies and executive officers are included as insureds
   with respect to the conduct of your garage operations.


   UCA 424 – Coverage Extension Endorsement


   This endorsement has been revised to:
   A. Reinforce that an employee of yours is an insured under Covered Autos Liability Coverage while
        operating an “auto” hired or rented under a contract or agreement in that employee’s name, with your
        permission, while performing duties related to the conduct of your business;
   B. Extend Insured status under Covered Autos Liability Coverage to any person(s) or organization(s) where
        required by written contract or written agreement including those person(s) or organization(s) directing
        your work. Such coverage will apply on a primary and non-contributory basis with any insurance
        maintained by the additional “insured” on an excess basis;
   C. Reinforce that the Expected Or Intended Injury Exclusion under the Covered Autos Liability Coverage
      does not apply if the bodily injury or property damage results from reasonable force to protect persons or
      property;
   D. Include payment of up to $50 per day, to a maximum of $1000, for temporary transportation expense
      incurred by you in the event of a total theft of a covered "auto" of the private passenger type when
      Comprehensive of Specified Cause of Loss Coverage is selected;
   E. Revises the Physical Damage Coverage to provide for payment of an additional 10% of the cost of a
      replacement auto, up to $2500, if, in the event of a total loss to a covered auto of the private passenger
      type, the covered auto is replaced with a hybrid auto or an auto powered by an alternative fuel source.
      Qualifications for consideration as a hybrid auto or auto powered by an alternative fuel source are
      described within the endorsement; and
   F. Include payment for the cost of transport to return a stolen auto that has been recovered to you, provided
      you carry either Comprehensive or Specified Causes of Loss Coverage on the auto.



                                   REINFORCEMENTS OF COVERAGE

EXISTING OPTIONAL ENDORSEMENTS
   CA 01 21 – Limited Mexico Coverage
   CA 02 38 – Reinstatement Of Insurance
   CA 02 40 – Suspension Of Insurance
   CA 03 01 – Deductible Liability Coverage
   CA 03 02 – Deductible Liability Coverage
   CA 04 42 – Exclusion Of Federal Employees Using Autos In Government Business
   CA 04 44 – Waiver Of Transfer Of Rights Of Recovery Against Others To Us (Waiver Of Subrogation)
   CA 04 45 – Golf Carts And Low-speed Vehicles
   CA 20 01 – Lessor – Additional Insured And Loss Payee
   CA 20 02 – Audio, Visual And Data Electronic Equipment Coverage – Fire, Police And Emergency
   Vehicles
   CA 20 05 – Drive-away Contractors
   CA 20 06 – Driving Schools – Non-owned Autos
   CA 20 07 – Emergency Services – Volunteer Firefighters' And Workers' Injuries Limited Exclusion
   CA 20 08 – Farm Tractors And Farm Tractors Equipment
   CA 20 09 – Leasing Or Rental Concerns – Contingent Coverage
   CA 20 10 – Leasing Or Rental Concerns – Conversion, Embezzlement Or Secretion Coverage



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   CA 20 11 – Leasing Or Rental Concerns – Exclusion Of Certain Leased Autos
   CA 20 12 – Leasing Or Rental Concerns – Rent-it-there/Leave-it-here Autos
   CA 20 13 – Leasing Or Rental Concerns – Schedule Of Limits For Owned Autos
   CA 20 14 – Leasing Or Rental Concerns – Second Level Coverage
   CA 20 15 – Mobile Equipment
   CA 20 16 – Mobile Homes Contents Coverage
   CA 20 17 – Mobile Homes Contents Not Covered
   CA 20 18 – Professional Services Not Covered
   CA 20 19 – Repossessed Autos
   CA 20 21 – Snowmobiles
   CA 20 27 – Registration Plates Not Issued For A Specific Auto
   CA 20 30 – Emergency Services – Volunteer Firefighters' And Workers' Injuries Excluded
   CA 20 33 – Autos Leased, Hired, Rented Or Borrowed With Drivers – Physical Damage Coverage
   CA 20 48 – Designated Insured (Newly titled Designated Insured For Covered Autos Liability Coverage)
   CA 20 54 – Employee Hired Autos
   CA 20 55 – Fellow Employee Coverage
   CA 20 56 – Fellow Employee Coverage For Designated Employees/Positions
   CA 20 70 – Coverage For Certain Operations In Connection With Railroads
   CA 20 71 – Auto Loan/Lease Gap Coverage
   CA 23 01 – Explosives
   CA 23 03 – Multi-purpose Equipment
   CA 23 04 – Rolling Stores
   CA 23 05 – Wrong Delivery Of Liquid Products
   CA 23 08 – Truckers – Excess Coverage For The Named Insured And Named Lessors For Leased
   Autos (Newly titled Motor Carriers – Excess Coverage For The Named Insured And Named Lessors For
   Leased Autos)
   CA 23 09 – Truckers – Insurance For Non-trucking Use (Newly titled Motor Carriers – Insurance For
   Non-trucking Use)
   CA 23 12 – Truckers – Named Lessee As Insured (Newly titled Motor Carriers – Named Lessee As
   Insured)
   CA 23 13 – Trailer Interchange Fire And Fire And Theft Coverages
   CA 23 17 – Truckers – Uniform Intermodal Interchange Endorsement Form UIIE-1
   CA 23 24 – Agricultural Produce Trailers – Seasonal
   CA 23 25 – Coverage For Injury To Leased Workers
   CA 23 94 – Silica Or Silica-related Dust Exclusion For Covered Autos Exposure
   CA 23 97 – Amphibious Vehicles
   CA 24 01 – Transportation Of Seasonal Or Migrant Agricultural Workers
   CA 24 02 – Public Transportation Autos
   CA 99 03 – Auto Medical Payments Coverage
   CA 99 10 – Drive Other Car Coverage – Broadened Coverage For Named Individuals
   CA 99 13 – Fiduciary Liability Of Banks
   CA 99 14 – Fire, Fire And Theft, Fire, Theft And Windstorm And Limited Specified Causes Of Loss
   Coverages
   CA 99 16 – Hired Autos Specified As Covered Autos You Own
   CA 99 17 – Individual Named Insured
   CA 99 23 – Rental Reimbursement Coverage



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   CA 99 28 – Stated Amount Insurance
   CA 99 30 – Tapes, Records And Discs Coverage
   CA 99 33 – Employees As Insureds
   CA 99 34 – Social Service Agencies – Volunteers As Insureds
   CA 99 37 – Garagekeepers Coverage
   CA 99 40 – Exclusion Or Excess Coverage Hazards Otherwise Insured
   CA 99 44 – Loss Payable Clause
   CA 99 47 – Employee As Lessor
   CA 99 48 – Pollution Liability – Broadened Coverage For Covered Autos – Business Auto, Motor
   Carrier And Truckers Coverage Forms (Newly titled Pollution Liability – Broadened Coverage For
   Covered Autos – Business Auto And Motor Carrier Coverage Forms)
   CA 99 54 – Covered Auto Designation Symbol
   CA 99 59 – Garagekeepers Coverage – Customers' Sound-receiving Equipment
   CA 99 60 – Audio, Visual And Data Electronic Equipment Coverage Added Limits
   CA 99 61 – Loss Payable Clause – Audio, Visual And Data Electronic Equipment Coverage Added
   Limits
   CA 99 90 – Optional Limits – Loss Of Use Expenses
   These forms have been revised, where appropriate, to:
  A. Add reference to "Auto Dealer Coverage Form" and delete references to the "Business Auto Physical
     Damage Coverage Form", "Garage Coverage Form" and/or "Truckers Coverage Form" in the list of the
     coverage forms to which the endorsement modifies; and/or
  B. Replace references to "Liability Coverage" with respect to auto liability with "Covered Autos Liability
     Coverage" to distinguish such coverage from the other types of liability coverages included in your policy.
  CA 23 97 – Amphibious Vehicles
   This endorsement, in general, is revised to reinforce that insurance is not applicable to amphibious vehicles
   while being launched into, used in or beached from the water. This includes, but is not limited to, coverages
   such as liability and physical damage coverages.
   CA 23 98 – Trailer Interchange Coverage
   The Supplementary Payments provision is revised to reinforce that it applies to court costs taxed against the
   insured that do not include the attorneys' fees or expenses taxed against the insured.
   A definition of the term "trailer" is added to reinforce that such term includes a semitrailer, container or a dolly
   used to convert a semitrailer into a trailer.
   CA 99 28 – Stated Amount Insurance
   CA 99 60 – Audio, Visual And Data Electronic Equipment Coverage Added Limits
   CA 99 61 – Loss Payable Clause – Audio, Visual And Data Electronic Equipment Coverage Added
   Limits
   Various provisions and schedules applicable to physical damage coverage have been reinforced to reflect that
   "loss" rather than "accident" triggers coverage under this section.


                                             REDUCTION IN COVERAGE

   UCA 424 – Coverage Extension Endorsement

  The Extended Glass Coverage under this endorsement has been revised to require the deductible, which is
  shown in the Declarations, if glass must be replaced rather than repaired. However, if glass can be repaired,
  the waiver of the deductible remains.




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            EXHIBIT E
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UGU873ACW – Disclosure Statement




Disclosure Statement

                                                    It is our pleasure to present the enclosed policy to you
                                                                for presentation to your customer.


                                                         INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

                  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                                    U-GU-873-A CW (06/11)
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UGU874ACW – Disclosure Statement




Disclosure Statement

                                             NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


                                           If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                                              http://www.zurichnaproducercompensation.com

                                                           or call the following toll-free number: (866) 903-1192.



                                                 This Notice is provided on behalf of Zurich American Insurance Company

                                                                     and its underwriting subsidiaries.




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UGU1041A – Advisory notice to policyholders regarding the U.S. Treasury Department's Office of Foreign Assets Control ("OFAC") regulations




Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets
Control ("OFAC") regulations

No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.

This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").
Please read this Notice carefully.
OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:
                                                          Foreign agents;
                                                          Front organizations;
                                                          Terrorists;
                                                          Terrorist organizations; and
                                                          Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site - http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.




                                                                                                                                                                                                                               U-GU-1041-A (03/11)
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                                                                                                                                      Includes copyrighted material of Insurance Services Office, Inc., with its permission

                                                                                                                                                                                                                         EXHIBIT E PAGE 3
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UUMB100BCW – Commercial Umbrella Liability Policy




                  Commercial
                  Umbrella
                  Liability
                  Policy
                  Zurich North America
                  Insurance is provided by the company designated on the Declarations of this policy.




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                                                                                                        EXHIBIT E PAGE 4
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UUMBD101CCW – Commercial Umbrella Liability Policy Declarations




Commercial Umbrella Liability Policy
Declarations



Insurance is provided by the company below:
                                                                  American Guarantee & Liability Insurance Company
Policy Number: UMB 5912288 00                                                            Renewal of: New Business
1. Named Insured                                                                             Producer:
                    OMNICELL INC                                                             MARSH RISK & INSURANCE SERVICES



2. Mailing Address:
                    1201 CHARLESTON RD                                                       1732 N 1ST ST STE 400
                    MOUNTAIN VIEW, CA 94043-1337                                             SAN JOSE, CA 95112-4508



                   Email Address:



3. Policy Period:                                                 From: 09/01/2012 To: 09/01/2013
                                                                  At 12:01 A.M. Standard Time at the address of the Named Insured.

4. Limits of Insurance:                                           A. $25,000,000 Occurrence
                                                                  B. $25,000,000 Other Aggregate
                                                                  C. $25,000,000 Products/Completed Operations Aggregate
                                                                  D. $250,000     Casualty Business Crisis Aggregate Limit

5. Retained Limit:                                                               $0 Occurrence
6. Policy Premium:
   Advance Premium                                                               $36,600
   Policy Minimum Earned Premium                                                 $9,150.00


7. Schedule of Underlying Insurance:                                             See attached Schedule of Underlying Insurance
8. Endorsements Attached:                                                        See attached Schedule of Endorsements




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UUMB103CCW – Commercial Umbrella Liability Policy




Commercial Umbrella Liability Policy

There are provisions in this policy that restrict coverage. Read the entire policy carefully to determine your rights, duties
and what is and is not covered.
Throughout this policy the words “you” and “your” refer to the Named Insured shown in the Declarations, and any other
person or organization qualifying as a named insured under this policy. The words “we”, “us” and “our” refer to the
company providing this insurance.
The word insured means any person or organization qualifying as such in SECTION V. DEFINITIONS of this policy.
Words and phrases that are printed in bold-face type are defined in this policy. These definitions are found in SECTION
V. DEFINITIONS of this policy or in the specific policy provision where they appear.
In consideration of the payment of the premium and in reliance upon the statements in the Declarations and in
accordance with the provisions of this policy we agree with you to provide coverage as follows:
Insuring Agreements
SECTION I.       COVERAGE
A. Coverage A - Excess Follow Form Liability Insurance
    Under Coverage A, we will pay on behalf of the insured those damages covered by this insurance in excess of the
    total applicable limits of underlying insurance. With respect to Coverage A, this policy includes:
                  1. The terms and conditions of underlying insurance to the extent such terms and conditions are not inconsistent
                     or do not conflict with the terms and conditions referred to in Paragraph 2. below; and
                  2. The terms and conditions that apply to Coverage A of this policy.
                  Notwithstanding anything to the contrary contained above, if underlying insurance does not apply to damages, for
                  reasons other than exhaustion of applicable Limits of Insurance by payment of loss, then Coverage A does not apply
                  to such damages. Also, Coverage A does not apply to any form of casualty business crisis expense insurance
                  even if such insurance is afforded under underlying insurance or would have been afforded except for the
                  exhaustion of the Limits of Insurance of underlying insurance.
B. Coverage B - Umbrella Liability Insurance
                  Under Coverage B, we will pay on behalf of the insured those damages the insured becomes legally obligated to
                  pay by reason of liability:
                      1. Imposed by law because of bodily injury, property damage, or personal and advertising injury; or
                      2. Assumed under an insured contract because of bodily injury or property damage;
                  covered by this insurance but only if the injury, damage or offense arises out of your business, takes place during the
                  policy period of this policy and is caused by an occurrence happening anywhere. We will pay such damages in
                  excess of the Retained Limit specified in Item 5. of the Declarations or the amount payable by other insurance,
                  whichever is greater.
                  Coverage B does not apply to any loss, claim or suit for which insurance is afforded under underlying insurance or
                  would have been afforded except for the exhaustion of the Limits of Insurance of underlying insurance.
The amount we will pay for loss under Coverage A or Coverage B is limited as described in SECTION II. LIMITS OF
INSURANCE.
We have no obligation under Coverage A and/or Coverage B with respect to any settlement made without our consent.
The insurance afforded under Coverage A and Coverage B applies to bodily injury or property damage only if prior to
the policy period, no designated insured knew that the bodily injury or property damage had occurred, in whole or in
part. If such a designated insured knew, prior to the policy period, that the bodily injury or property damage occurred,
then any continuation, change or resumption of such bodily injury or property damage during or after the policy period
will be deemed to have been known prior to the policy period.



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Bodily injury or property damage which occurs during the policy period and was not, prior to the policy period, known to
have occurred by any designated insured includes any continuation, change or resumption of that bodily injury or
property damage after the policy period; and
Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time when any
designated insured:
    1. Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
    2. Receives a written or verbal demand or claim for damages because of the bodily injury or property damage; or
    3. Becomes aware by any other means that bodily injury or property damage has occurred or has begun to occur.
C. Coverage C - Casualty Business Crisis Expense
    Under Coverage C, we will pay for casualty business crisis expense regardless of fault arising from a casualty
    business crisis first commencing during the policy period. No underlying insurance or Retained Limit applies to
    Coverage C. Subject to the other terms and conditions of this coverage, we shall pay casualty business crisis
    expense from the first dollar of such expense.
    The amount we will pay for casualty business crisis expense under Coverage C is limited as described in
    SECTION II. LIMITS OF INSURANCE.
    Any amounts that we pay under Coverage C will not obligate us in any way under Coverage A or Coverage B.
SECTION II.    LIMITS OF INSURANCE
A. With respect to Coverage A and Coverage B, the Limits of Insurance shown in the Declarations and the rules below
   describe the most we will pay, regardless of the number of:
   1. Insureds;
   2. Claims made or suits brought;
   3. Coverages provided under this policy; or
   4. Persons or organizations making claims or bringing suits.
B. The Limits of Insurance of this policy will apply as follows:
   1. The limit stated in Item 4.B. of the Declarations for the Other Aggregate is the most we will pay for all loss under
       Coverage A and Coverage B combined except for:
        a. Loss covered under the products-completed operations hazard; and
        b. Loss covered in underlying insurance to which no underlying aggregate limit applies.
        In addition, with respect to Coverage A only, if a policy listed on the Schedule of Underlying Insurance contains
        aggregate limits, other than an aggregate limit applying to the products-completed operations hazard, the
        Other Aggregate limit stated in Item 4.B. of the Declarations will apply in the same manner as such other
        aggregate limits of each policy listed in the Schedule of Underlying Insurance.
    2. The limit stated in Item 4.C. of the Declarations for the Products-Completed Operations Aggregate is the most we
       will pay for all loss under both Coverage A and Coverage B combined as a result of bodily injury or property
       damage included within the products-completed operations hazard.
    3. Subject to Paragraph B.1. or B.2. above, whichever applies, the limit stated in Item 4.A. of the Declarations for
       Occurrence is the most we will pay for all loss arising out of any one occurrence, even if such loss is covered, in
       whole or in part, under both Coverage A and Coverage B.
C. Coverage A applies only in excess of the greater of the actual Limits of Insurance of underlying insurance or the
   Limits of Insurance shown on the Schedule of Underlying Insurance forming a part of this policy.
D. With respect to Coverage C, the limit stated as the Casualty Business Crisis Expense Aggregate Limit in Item 4.D.
   of the Declarations is the most we will pay for all casualty business crisis expense first commencing during the
   policy period. This limit is in addition to, and casualty business crisis expense does not reduce or exhaust, any
   other Limit of Insurance applicable to this policy.
E. The Limits of Insurance of this policy apply separately to each consecutive annual period and to any remaining period
   of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the policy
   period is extended after issuance for an additional period of less than 12 months. In that case, the additional period
   will be deemed part of the preceding period for purposes of determining the Limits of Insurance.
F. With respect to Coverage A only and subject to paragraphs B.1., B.2.,B.3. and C. above:

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    1. If the limits of underlying insurance have been reduced solely by payment of loss for which coverage is
       afforded under this policy, this policy will drop down to become immediately excess of the reduced underlying
       limit; or
    2. If the limits of underlying insurance have been exhausted solely by payment of loss for which coverage is
       afforded under this policy, this policy will continue in force as underlying insurance.
SECTION III.    DEFENSE AND SUPPLEMENTARY PAYMENTS
A. We have the right and duty to assume control of the investigation and settlement of any claim, or defense of any suit
   against the insured for damages covered by this policy:
   1. Under Coverage A, when the applicable limit of underlying insurance and other insurance has been
       exhausted by payment of loss for which coverage is afforded under this policy; or
   2. Under Coverage B, when damages are sought for bodily injury, property damage, or personal and
       advertising injury to which no underlying insurance or other insurance applies.
B. Under Coverage C, we do not assume any duty to control the investigation and settlement of any claim, or defense of
   any suit that may arise from a covered casualty business crisis.
C. In those circumstances where paragraph A. above applies we will pay our expenses and the following to the extent
   that they are not included in underlying insurance:
   1. Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds.
   2. The cost of bonds to release attachments, but only for bond amounts within the amount of insurance available.
        We do not have to furnish these bonds.
   3. Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
        claim or suit, including actual loss of earnings because of time off from work.
   4. All court costs taxed against the insured in the suit. However, these payments do not include attorneys' fees or
        attorneys' expenses taxed against the insured.
   5. Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we make an
        offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest based on that period of
        time after the offer.
    6. All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
       offered to pay, or deposited in court that part of the judgment that is within the applicable Limits of Insurance.
    When our expenses and the payments described in paragraph C. above are not included in the definition of loss, they
    will not reduce the Limits of Insurance.
D. In those circumstances where paragraph A. above does not apply, we do not have the duty to assume control of the
   investigation and settlement of any claim, or defense of any suit against the insured. We do, however, have the right
   to participate in the investigation and settlement of any claim, or defense of any suit that we feel may create liability
   on our part under the terms of this policy. If we exercise this right, we will do so at our expense.
We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of Insurance
as stated in Item 4. of the Declarations.
If we are prevented by law from carrying out the provisions of Section III. Paragraph A. above, we will pay any expense
incurred with our consent.
SECTION IV.     EXCLUSIONS
A. Under Coverage A and Coverage B, this policy does not apply to any liability, damage, loss, cost or expense:
    ASBESTOS
    1. Arising out of or relating in any way to:
        a. Asbestos or which would not have occurred in whole or in part but for the actual, alleged or threatened
           discharge, dispersal, release, leakage, leaching, friability, flaking escape or presence of asbestos, regardless
           of whether any other cause, event, material or product contributed concurrently or in any sequence to the
           injury or damage; or
        b. Any:




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        (1) Request, demand, order, statutory or regulatory requirement, direction or determination, that any
            insured or others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate,
            control or take any other action regarding asbestos; or
        (2) Claim or suit for damages arising out of or relating in any way to any request, demand, order, statutory or
            regulatory requirement, direction or determination than any insured or others test for, investigate,
            monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other action regarding
            asbestos.
EMPLOYMENT PRACTICES
2. Arising out of any bodily injury or personal and advertising injury to:
    a. A person arising out of any:
        (1) Failure to employ or promote that person;
        (2) Termination of that person's employment, including actual or alleged constructive dismissal;
        (3) Employment-related practices, policies, acts or omissions, including but not limited to injury arising from
            coercion, demotion, evaluation, reassignment, discipline, defamation, harassment, molestation,
            humiliation, retaliation, hostile work environment, discrimination or malicious prosecution directed at that
            person; or
    b. The spouse, domestic partner, child, parent, brother or sister of that person as a consequence of any bodily
       injury or personal and advertising injury to that person at whom any of the employment related practices
       described in subparagraphs (1), (2) or (3) above is directed.
    This exclusion applies:
    a. Whether the injury causing event described in paragraph 2.a. above occurs before employment, during
       employment or after employment of that person;
    b. Whether the insured may be held liable as an employer or in any other capacity; or
    c. To any obligation to share damages with or repay someone who must pay damages because of the injury.
LAWS, MISCELLANEOUS
3. Under any of the following:
   a. Any uninsured/underinsured motorist or auto no-fault or first party personal injury law;
   b. Any workers’ compensation, unemployment compensation, or disability benefits law or any similar law; or
   c. The Employees’ Retirement Income Security Act (E.R.I.S.A.) of 1974 as now or hereafter amended.
LOSS OF, OR LOSS OF USE OF INTANGIBLE PROPERTY
4. Arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate or
   process intangible property. For purposes of this insurance, electronic data is intangible property.
NUCLEAR
5. a. With respect to which any insured under this policy is also an insured under a nuclear energy liability policy
      issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability Underwriters,
      Nuclear Insurance Association of Canada or any of their successors, or would be an insured under any such
      policy but for its termination upon exhaustion of its Limits of Insurance; or
   b. Resulting from the hazardous properties of nuclear material and with respect to which:
      (1) A person or organization is required to maintain financial protection pursuant to the Atomic Energy Act of
          1954, or any law amendatory thereof; or
      (2) Any insured is, or had this policy not been issued would be, entitled to indemnity from the United States
          of America, or any agency thereof, under any agreement entered into by the United States of America, or
          any agency thereof, with any person or organization; or
   c. Any injury or nuclear property damage resulting from the hazardous properties of nuclear material, if:
        (1) The nuclear material:
            (a) Is at any nuclear facility owned by, or operated by or on behalf of, any insured;
            (b) Has been discharged or dispersed therefrom;


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         (2) The nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
             processed, stored, transported or disposed of by or on behalf of any insured; or
         (3) The injury or nuclear property damage arises out of the furnishing by any insured of services,
             materials, parts or equipment in connection with the planning, construction, maintenance operation or use
             of any nuclear facility, but if such facility is located within the United States of America, its territories or
             possessions or Canada, this subparagraph (3) applies only to nuclear property damage to such nuclear
             facility and any property thereat.
    As used in this exclusion:
    a. Hazardous properties include radioactive, toxic or explosive properties.
    b. Nuclear Facility means:
         (1) Any nuclear reactor;
         (2) Any equipment or device designed or used for:
             (a) Separating the isotopes of uranium or plutonium,
             (b) Processing or utilizing spent fuel, or
             (c) Handling, processing or packaging waste;
         (3) Any equipment or device used for the processing, fabricating or alloying of special nuclear material if at
             any time the total amount of such material in the custody of any insured at the premises where such
             equipment or device is located consists of or contains more than 25 grams of plutonium or uranium 233
             or any combination thereof, or more than 250 grams of uranium 235; or
         (4) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
             waste, and includes the site on which any of the foregoing is located, all operations conducted on such
             site and all premises used for such operations.
    c. Nuclear material means source material, special nuclear material or by-product material.
    d. Nuclear property damage includes all forms of radioactive contamination of property.
    e. Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting chain
       reaction or to contain a critical mass of fissionable material.
    f.   Source material, special nuclear material and by-product material have the meanings given them in the
         Atomic Energy Act of 1954 or in any law amendatory thereof.
    g. Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to
       radiation in a nuclear reactor.
    h. Waste means any waste material:
         (1) Containing by-product material other than the tailings or wastes produced by the extraction or
             concentration of uranium or thorium from any ore processed primarily for its source material content; and
         (2) Resulting from the operation by any person or organization of any nuclear facility included under the first
             two paragraphs of the definition of nuclear facility.
VIOLATION OF STATUTES
6. Resulting from or arising directly or indirectly out of any action or omission that violates or is alleged to violate:
    a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
    b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
    c. The Fair Credit Reporting Act (FCRA) and any amendment or addition to such law including the Fair and
       Accurate Credit Transactions Act (FACTA); or
    d. Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
       FCRA and their amendments and additions, that addresses, prohibits or limits the printing, dissemination,
       disposal, collecting, recording, sending, transmitting, communicating or distribution of material or information.

WAR AND MILITARY ACTION


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    7. Arising directly or indirectly out of:
        a. War, including undeclared or civil war;
        b. Warlike action by a military force, including action in hindering or defending against an actual or expected
           attack, by any government, sovereign or other authority using military personnel or other agents; or
        c. Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
           defending against any of these,
        regardless of any other cause or event that contributes concurrently or in any sequence to injury or damage.
B. Under Coverage A this policy does not apply to any liability, damage, loss, cost or expense:
    POLLUTION
    1. Arising directly or indirectly out of the actual, alleged or threatened discharge, dispersal, seepage, migration,
       release or escape of pollutants:
        a. At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
           loaned to, any insured. However, this subparagraph does not apply to:
             (1) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by or
                 originating from equipment that is used to heat, cool or dehumidify the building, or equipment that is used
                 to heat water for personal use, by the building's occupants or their guests;
             (2) Bodily injury or property damage for which you may be held liable, if you are a contractor, and the owner
                 or lessee of such premises, site or location has been added to underlying insurance as an additional
                 insured with respect to your ongoing operations performed for that additional insured at that premises,
                 site or location and such premises, site or location is not and never was owned or occupied by, or rented
                 or loaned to, any insured, other than that additional insured; or
             (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
        b. At or from any premises, site or location which is or was at any time used by or for any insured or others for
           the handling, storage, disposal, processing or treatment of waste;
        c. Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste by or
           for any insured or any person or organization for whom you maybe legally responsible; or
        d. At or from any premises, site or location on which any insured or any contractors or subcontractors working
           directly or indirectly on any insured’s behalf are performing operations if the pollutants are brought on or to
           the premises, site or location in connection with such operations by such insured, contractor or
           subcontractor. However, this subparagraph does not apply to:
             (1) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating fluids
                 which are needed to perform the normal electrical, hydraulic or mechanical functions necessary for the
                 operation of mobile equipment or its parts, if such fuels, lubricants or other operation fluids escape from a
                 vehicle part designed to hold, store or receive them. This exception does not apply if the bodily injury or
                 property damage arises out of the intentional discharge, dispersal or release of the fuels, lubricants or
                 other operating fluids, or if such fuels, lubricants or other operating fluids are brought on or to the
                 premises, site or location with the intent that they be discharged, dispersed or released as part of the
                 operations being performed by such insured, contractor or subcontractor;
             (2) Bodily injury or property damage sustained within a building and caused by the release of gases, fumes
                 or vapors from materials brought into that building in connection with operations being performed by you
                 or on your behalf by a contractor or subcontractor;
             (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
        e. At or from any premises, site or location on which any insured or any contractors or subcontractors working
           directly or indirectly on any insured’s behalf are performing operations if the operations are to test for,
           monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
           effects of, pollutants.
        f.   That are, or that are contained in any property that is:
             (1) Being transported or towed by, handled, or handled for movement into, onto or from, any auto for which
                 coverage is provided by underlying insurance;


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            (2) Otherwise in the course of transit by or on behalf of any insured; or
            (3) Being stored, disposed of, treated or processed in or upon any auto.
            However, this subparagraph f. does not apply to bodily injury or property damage arising out of:
                (i)    The escape of fuels, lubricants, other operating fluids, exhaust gases or other similar pollutants that
                       are needed for or result from the normal electrical, hydraulic or mechanical functioning of a covered
                       auto; or
                (ii)   The escape of pollutants from a covered auto that directly results from the collision, upset or
                       overturn of such auto while in the course of transit away from any premises owned by or rented to
                       any insured.
   2. Arising out of any:
       a. Request, demand, order or statutory or regulatory requirement that any insured or others test for, monitor,
          clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
          pollutants; or
       b. Claim or suit brought by or on behalf of a governmental authority for damages because of testing for,
          monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding
          to, or assessing the effects of, pollutants.
C. Under Coverage B this policy does not apply to:
   AIRCRAFT, AUTOS OR WATERCRAFT
   1. Any liability, damage, loss, cost or expense arising out of the ownership, maintenance, operation, use, loading or
      unloading or entrustment to others of any
       a. Aircraft owned by you or rented, loaned or chartered by or on behalf of you without crew;
       b. Auto; or
       c.       Watercraft owned by you except watercraft while ashore on premises you own or rent.
       This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
       supervision, hiring, employment, training or monitoring of others by that insured.
   EMPLOYEE INJURY
   2. Any injury to:
       a. An employee of the insured arising out of and in the course of:
            (1) Employment by the insured; or
            (2) Performing duties related to the conduct of the insured's business; or
       b. Any injury to the spouse, domestic partner, child, parent, brother, or sister of that employee as a
          consequence of exclusion 2.a. above.
       This exclusion applies whether the insured may be liable as an employer or in any other capacity, or to any
       obligation to share damages with or repay someone else who must pay damages because of an injury.
   IMPAIRED PROPERTY
   3. Property damage to impaired property or property that has not been physically injured arising out of:
       a. A defect, deficiency, inadequacy or dangerous condition in your product or your work; or
       b. A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
          with its terms.
       This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
       injury to your product or your work after it has been put to its intended use.
   INTENTIONAL INJURY
   4. Bodily injury or property damage expected or intended from the standpoint of the insured. This exclusion does
      not apply to bodily injury or property damage resulting from the use of reasonable force to protect persons or
      property.


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PERSONAL and ADVERTISING INJURY
5. Personal and advertising injury:
    a. Caused by or at the direction of the insured with the knowledge that the act would violate the rights of
       another and would inflict personal and advertising injury;
    b. Arising out of oral or written publication of material, if done by or at the direction of the insured with
       knowledge of its falsity;
    c. Arising out of oral or written publication of material whose first publication took place before the beginning of
       the policy period;
    d. Arising out of a criminal act committed by or at the direction of any insured;
    e. For which the insured has assumed liability in a contract or agreement. This exclusion does not apply to
       liability for damages that the insured would have in the absence of the contract or agreement;
    f.   Arising out of a breach of contract, except an implied contract to use another’s advertising idea in your
         advertisement;
    g. Arising out of the failure of goods, products or services to conform with any statement of quality or
       performance made in your advertisement;
    h. Arising out of the wrong description of the price of goods, products or services stated in your advertisement;
    i.   Arising out of the infringement of copyright, patent, trademark, trade secret, trade dress, slogan or other
         intellectual property rights.
         However, this exclusion does not apply to infringement of copyright, trade dress or slogan in your
         advertisement;
    j.   Committed by an insured whose business is:
         (1) Advertising, broadcasting, publishing, electronic publishing or telecasting;
         (2) Designing or determining content of web-sites for others; or
         (3) An Internet search, access or content provider.
         However, this exclusion 5.j., does not apply to sub-paragraphs C., 12. a., b., c. and h. of personal and
         advertising injury under SECTION V. DEFINITIONS.
         For purposes of this exclusion 5.j., the placing of frames, borders or links, or advertising, for you or others
         anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing or
         telecasting;
    k. Arising out of an electronic chatroom or bulletin board the insured hosts, owns or over which the insured
       exercises control; or
    l.   Arising out of the unauthorized use of another’s name or product in your e-mail address, domain name or
         metatag, or any other similar tactics to mislead another’s potential customers.
POLLUTION
6. Any liability, damage, loss, cost or expense:
    a. Arising directly or indirectly out of the actual, alleged or threatened existence, discharge, seepage, migration,
       dispersal, release or escape of pollutants; or
    b. Arising out of any:
         (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
             monitor, clean-up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the
             effects of pollutants; or
         (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for, monitoring,
             cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way responding to, or
             assessing the effects of pollutants.
PRODUCT RECALL



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    7. Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
       inspection, repair, replacement, adjustment, removal or disposal of:
        a. Your product;
        b. Your work; or
        c. Impaired property;
        if such product, work or property is withdrawn or recalled from the market or from use by any person or
        organization because of a known or suspected defect, deficiency, inadequacy, or dangerous condition in it.
    PROPERTY DAMAGE
    8. Property damage to:
        a. Property you own, rent or occupy, including any costs or expenses incurred by you, or any person or
           organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property for
           any reason, including prevention of injury to a person or damage to another’s property;
        b. Premises you sell, give away or abandon if the property damage arises out of any part of those premises;
        c. Property loaned to you;
        d. Personal property in your care, custody or control;
        e. That particular part of real property on which you or any contractors or subcontractors working directly or
           indirectly on your behalf are performing operations, if the property damage arises out of those operations;
        f.   That particular part of any property that must be restored, repaired or replaced because your work was
             incorrectly performed on it;
        g. Your product arising out of it or any part of it; or
        h. Your work arising out of it or any part of it and included in the products-completed operations hazard.
D. Under Coverage C, this policy does not apply to any casualty business crisis arising out of, based upon or
   attributable to:
    PRIOR NOTICE
    1. Facts alleged, or to the same or related acts alleged or contained, in any crisis, claim or suit that has been
       reported, or in any circumstances where notice has been given under any policy of which this policy or any
       underlying insurance is a renewal or replacement; or
    PENDING OR PRIOR CRISIS CLAIM OR SUIT
    2. Any pending or prior claim or suit as of the inception date of this policy.
SECTION V.        DEFINITIONS
In this policy, words and phrases appearing in bold face type have the definitions shown below.
A. The following definitions are applicable to Coverage A, Coverage B and Coverage C.
     1. Designated insured means:
        a. The person(s) and organization(s) specifically described under SECTION V. DEFINITIONS, sub-paragraphs
           C.6.a. through C.6.e. below for any insured; or
        b. Any employee authorized by you to give or receive notice of an occurrence, claim or suit.
    2. Electronic data means information, facts or programs stored as or on, created or used on, or transmitted to or
       from computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes,
       drives, cells, data processing devices or any other media which are used with electronically controlled equipment.
    3. Loss means those sums actually paid that the insured is legally obligated to pay as damages for the settlement
       or satisfaction of a claim because of injury or offense, after making proper deductions for all recoveries and
       salvage. However:
       a. Under Coverage A:
           (1) Loss also includes defense expenses and supplementary payments if underlying insurance includes
                defense expenses and supplementary payments in the Limits of Insurance; and



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           (2) Loss does not include defense expenses and supplementary payments if underlying insurance does
                 not include defense expenses and supplementary payments in the Limits of Insurance.
      b. Under Coverage B., loss does not include defense expenses and supplementary payments.
   4. Other insurance means a policy of insurance providing coverage that this policy also provides. Other insurance
      includes any type of self-insurance or other mechanisms by which an insured arranges for funding of legal
      liabilities.
      Other insurance does not include underlying insurance or a policy of insurance specifically purchased to be
      excess of this policy providing coverage that this policy also provides.
   5. Pollutants mean any man-made or naturally occurring solid, liquid, gaseous or thermal irritant or contaminant,
      including but not limited to: smoke; vapor; soot; fumes; acids; alkalis; chemicals and waste. Waste includes
      materials to be recycled, reconditioned or reclaimed.
   6. Suit means a civil proceeding in which injuries or damages to which this insurance applies are alleged. Suit
      includes:
        a. An arbitration proceeding in which such damages are claimed and to which the insured must submit pursuant
           to law or contract or does submit with our consent; or
        b. Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
           insured submits with our consent.
    7. Underlying insurance means the policy or policies of insurance listed in the Schedule of Underlying Insurance
       forming a part of this policy. We will only be liable for amounts in excess of the Limits of Insurance shown in the
       Schedule of Underlying Insurance for any underlying insurance.
B. The following definitions are applicable to Coverage A only:
    1. Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
    2. Insured means:
        a. You;
        b. Any person or organization included as an insured in underlying insurance; and
        c. Any person or organization qualifying as an additional insured in underlying insurance but only to the same
           extent that such person or organization is an additional insured under such underlying insurance.
    3. Non-Admitted Jurisdiction means:
       a. Any country or political subdivision in which we are not licensed or permitted to insure risks and where doing
          so would violate the insurance laws and regulations of such jurisdiction; or
       b. Any country or political subdivision where we are prevented by law from investigating, defending or settling an
          occurrence or suit.
    4. Occurrence means a covered event as defined in underlying insurance.
    5. Qualified Entity means any entity, person or organization that is not an insured under this policy and would
       qualify as an insured under this policy, but for the fact that the entity is registered, domiciled or has ongoing
       operations in a non-admitted jurisdiction.
C. The following definitions are applicable to Coverage B only:
    1. Advertisement means a notice that is broadcast or published to the general public or specific market segments
       about your goods, products or services for the purpose of attracting customers or supporters. For purpose of this
       definition:
        a. Notices that are published include material placed on the Internet or on similar electronic means of
           communication; and
        b. Regarding websites, only that part of a website that is about your goods, products or services for the purpose
           of attracting customers or supporters is considered an advertisement.
   2. Auto means:
        a. A land motor vehicle, trailer or semi-trailer designed for travel on public roads, including any attached
           machinery or equipment; or




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    b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
       insurance law in the state where it is licensed or principally garaged.
    However, auto does not include mobile equipment.
3. Bodily injury means physical injury, sickness, or disease, including death of a person. Bodily injury to such
   person also means mental anguish, mental injury, humiliation, or shock if directly resulting from physical injury,
   sickness, or disease.
4. Employee includes a leased worker. Employee does not include a temporary worker.
5. Impaired property means tangible property, other than your product or your work, that cannot be used or is
   less useful because:
    a. It incorporates your product or your work that is known or thought to be defective, deficient, inadequate or
       dangerous; or
    b. You have failed to fulfill the terms of a contract or agreement;
    If such property can be restored to use by;
    a. The repair, replacement, adjustment or removal of your product or your work; or
    b.      Your fulfilling the terms of the contract or agreement.
6. Insured means:
   a. You, if you are an organization shown in the Declarations, other than a partnership, joint venture or limited
       liability company. Your executive officers and directors are insureds, but only with respect to their duties as
       your executive officers or directors. Your stockholders are also insureds, but only with respect to their liability
       as stockholders;
   b. You, if you are a partnership or joint venture shown in the Declarations. Your members, your partners, and
       their spouses or domestic partners are also insureds, but only with respect to the conduct of your business;
   c. You and your spouse or domestic partner, if you are an individual shown in the Declarations, but only with
       respect to the conduct of a business of which you are the sole owner;
   d. You, if you are a limited liability company shown in the Declarations. Your members are also insureds, but
       only with respect to the conduct of your business. Your managers are insureds, but only with respect to their
       duties as your managers;
   e. You, if you are a trust shown in the Declarations. Your trustees are also insureds, but only with respect to
       their duties as trustees;
    f.   Your employees, but only for acts within the scope of their employment by you;
    g. Your volunteer workers, but only while performing duties related to the conduct of your business;
   h. Any person or organization while acting as your real estate manager; or
   i. Your legal representative if you die, but only with respect to duties as such.
   No person or organization is an insured with respect to the conduct of any current, past or newly formed
   partnership, limited liability company or joint venture that is not designated within the Declarations of this policy as
   Named Insured.
7. Insured contract means any written or oral agreement entered into by the insured in the usual course of the
   business operations of the insured in which the insured assumes the tort liability of another to pay damages
   because of bodily injury or property damage to a third person or organization where the contract or agreement
   is made prior to the injury or damage. Liability means a liability that would be imposed by law in the absence of
   any contract or agreement.
8. Leased worker means a person leased to you by a labor leasing firm under an agreement between you and
   labor leasing firm, to perform duties related to the conduct of your business. Leased worker does not include a
   temporary worker.
9. Mobile equipment means any of the following types of land vehicles, including any attached machinery or
   equipment:
    a. Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
    b. Vehicles maintained for use solely on or next to premises you own or rent;



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    c. Vehicles that travel on crawler treads;
    d. Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
         (1) Power cranes, shovels, loaders, diggers or drills; or
         (2) Road construction or resurfacing equipment such as graders, scrapers or rollers.
    e. Vehicles not described in a., b., c. or d. above, that are not self-propelled and are maintained primarily to
       provide mobility to permanently attached equipment of the following types:
         (1) Air compressors, pumps and generators including spraying, welding, building cleaning, geophysical
             exploration, lighting and well servicing equipment; or
         (2) Cherry pickers and similar devices used to raise or lower workers.
    f.   Vehicles not described in a., b., c. or d. above, maintained primarily for purposes other than the transportation
         of persons or cargo.
         However, self-propelled vehicles with the following types of permanently attached equipment are not mobile
         equipment but are considered autos:
         (1) Equipment designed primarily for:
             (a) Snow removal;
             (b) Road maintenance, but not construction or resurfacing; or
             (c)     Street cleaning;
         (2) Cherry pickers and similar devices mounted on an auto or truck chassis and used to raise or lower
              workers; and
         (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
              exploration, lighting and well servicing equipment.
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law in the state where it is licensed or principally garaged.
    Land vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
    considered autos.
10. Named insured means:
    a. The person(s) and organization(s) designated in Item 1. of the Declarations of this policy;
    b. Any organization, other than a partnership, joint venture or limited liability company, over which you maintain
         majority interest and to which more specific insurance does not apply, other than one which you newly
         acquire or form; or
    c. Any newly acquired or formed organization, other than a partnership, joint venture or limited liability company,
         over which you maintain majority interest and to which more specific insurance does not apply; provided that
         this policy does not apply to any injury or damage that took place before you acquired or formed the
         organization.
11. Occurrence means:
    a. With respect to bodily injury or property damage liability, an accident, including continuous or repeated
         exposure to substantially the same general harmful conditions.
    b. With respect to personal and advertising injury, a covered offense. All damages that arise from the same
         act, publication or general conditions are considered to arise out of the same occurrence, regardless of the
         frequency or repetition thereof, the number or kind of media used or the number of claimants.
12. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or more
    of the following offenses:
    a. False arrest, detention or imprisonment;
    b. Malicious prosecution;
    c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
       dwelling or premises that a person occupies committed by or on behalf of its owner, landlord or lessor;
    d. Oral or written publication, in any manner, of material that slanders or libels a person or organization or
       disparages a person’s or organization’s goods, products or services;


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    e. Oral or written publication, in any manner, of material that violates a person’s right of privacy;
    f.   The use of another’s advertising idea in your advertisement;
    g. Infringement upon another’s copyright, trade dress or slogan in your advertisement; or
    h. Discrimination (unless insurance thereof is prohibited by law), not arising out of or related to employment
       practices.
    Personal and advertising injury also means mental anguish, mental injury, humiliation, or shock, if directly
    resulting from an offense listed in Items 12.a. through 12.h. above.
13. Products-completed operations hazard means all bodily injury and property damage occurring away from
    premises you own or rent and arising out of your product or your work except:
    a. Products that are still in your physical possession; or
    b. Work that has not yet been completed or abandoned. Your work will be deemed completed at the earliest of
       the following times:
         (1) When all of the work called for in your contract has been completed;
         (2) When all of the work to be done at the site has been completed if your contract calls for work at more
             than one site; or
         (3) When that part of the work done at a job site has been put to its intended use by any person or
             organization other than another contractor or subcontractor working on the same project.
         Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
         complete, will be treated as completed.
    This hazard does not include bodily injury or property damage arising out of:
    a. The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle created
       by the loading or unloading of it by any insured; or
    b. The existence of tools, uninstalled equipment or abandoned or unused materials.
14. Property damage means:
    a. Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
       shall be deemed to occur at the time of the physical injury that caused it; or
    b. Loss of use of tangible property that is not physically injured. All such loss shall be deemed to occur at the
       time of the occurrence that caused it.
15. Retained limit means the amount of damages applicable to each occurrence for which the insured is
    responsible that is shown in Item 5. of the Declarations.
16. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave or
    to meet seasonal or short-term workload conditions.
17. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
    direction of and within the scope of duties determined by you, and is not paid a fee, salary or other compensation
    by you or anyone else for their work performed for you.
18. Your product means:
    a. Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of by:
       (1) You;
         (2) Others trading under your name; or
         (3) A person or organization whose business or assets you have acquired; and
    b. Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
       products.
    Your product includes:
    a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
       use of your product; and
    b. The providing or failure to provide warnings or instructions.

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        Your product does not include vending machines or other property rented to or located for use of others but not
        sold.
    19. Your work means:
        a. Work or operations performed by you or on your behalf; and
        b. Materials, parts or equipment furnished in connection with such work or operations.
        Your work includes:
        a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance or
           use of your work; and
        b. The providing of or failure to provide warnings or instructions.
D. The following definitions are applicable to Coverage C only:
    1. Casualty business crisis means an event that in the good faith opinion of your principal, in the absence of
       casualty business crisis services, has been or may be associated with:
        a. Damages covered by this policy under Coverage A that are in excess of the applicable limits of underlying
           insurance or under Coverage B that are in excess of the Retained Limit; and
        b. Significant adverse regional or national media coverage.
        Casualty business crisis shall include, without limitation, man-made disasters such as explosions, major
        crashes, multiple deaths or injuries, burns, dismemberment, traumatic brain injury, paraplegia, or contamination of
        food, drink or pharmaceuticals.
        For purposes of Coverage C, a casualty business crisis will first commence when your principal first become
        aware of the occurrence and will conclude at the earliest of the time when the casualty business crisis advisor
        advises you that the crisis no longer exists or when the Casualty Business Crisis Expense Aggregate Limit has
        been exhausted.
    2. Casualty business crisis advisor means any public relations firm or crisis management firm approved by us
       that is hired by you to perform casualty business crisis services in connection with a casualty business
       crisis.
    3. Casualty business crisis expense means amounts paid:
        a. To you for the reasonable and necessary:
            (1) Fees and expenses of a casualty business crisis advisor in the performance for you of casualty
                business crisis services solely for a covered casualty business crisis; and
            (2) Amounts for printing, advertising, mailing of materials or travel by your directors, officers, employees or
                agents or a casualty business crisis advisor solely for a casualty business crisis; and
        b. To others for the following reasonable and necessary expenses resulting from such covered casualty
           business crisis provided that such expenses have been approved by us:
            (1) Medical expenses;
            (2) Funeral expenses;
            (3) Psychological counseling;
            (4) Travel expenses;
            (5) Temporary living expenses;
            (6) Expenses to secure the scene of a casualty business crisis; and
            (7) Any other expenses pre-approved by us.
    4. Casualty business crisis services means those services performed by a casualty business crisis advisor in
       advising you on minimizing potential harm to you from a covered casualty business crisis by maintaining or
       restoring public confidence in you.
    5. Principal means your Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, President, General
       Counsel or general partner (if you are a partnership) or sole proprietor (if you are a proprietorship).


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SECTION VI.    CONDITIONS
A. The following Conditions are applicable to Coverage A, Coverage B and Coverage C.
   1. Appeals
       In the event you or any underlying insurer elects not to appeal a judgment in excess of the amount of the
       underlying insurance, we may elect to appeal at our expense. If we do so elect, we will be liable for the costs
       and additional interest accruing during this appeal. In no event will this provision increase our liability beyond the
       applicable Limits of Insurance described in SECTION II. of this policy.
   2. Audit of Books and Records
       We may audit and examine your books and records as they relate to this policy at any time during the period of
       this policy and for up to three (3) years after the expiration or termination of this policy.
   3. Bankruptcy or Insolvency
       The bankruptcy, insolvency or inability to pay of any insured will not relieve us from our obligation to pay
       damages covered by this policy.
       In the event of bankruptcy, insolvency or refusal or inability to pay, of any underlying insurer, the insurance
       afforded by this policy will not replace such underlying insurance, but will apply as if all the limits of any
       underlying insurance are fully available and collectible.
   4. Cancellation and Nonrenewal
       a. Cancellation
           (1) You may cancel this policy. You must mail or deliver advance written notice to us stating when the
               cancellation is to take effect.
           (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver to
               you not less than ten (10) days advance written notice when the cancellation is to take effect. If we
               cancel for any other reason, we will mail or deliver to you not less than ninety (90) days advance written
               notice stating the reason(s) for cancellation, as well as the date when the cancellation is to take effect.
               Mailing notice to you at your mailing address shown in Item 2. of the Declarations will be sufficient to
               prove notice.
           (3) The policy period will end on the day and hour stated in the cancellation notice.
           (4) If this policy is cancelled, the final premium will be calculated pro rata based on the time this policy was in
               force.
           (5) Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter but the
               cancellation will be effective even if we have not made or offered any refund due you. Our check or our
               representative’s check, mailed or delivered, will be sufficient tender of any refund due you.
       b. Nonrenewal
           If we decide not to renew this policy, we will mail or deliver to the first Named insured shown in the
           Declarations written notice of the nonrenewal not less than thirty (30) days before the expiration date.
           If notice is mailed, proof of mailing will be sufficient proof of notice.
   5. Changes
       Notice to any agent or knowledge possessed by any agent or any other person will not effect a waiver or a
       change in any part of this policy. This policy can only be changed by a written endorsement that becomes a part
       of this policy.
   6. Currency
       Settlements will be paid in United States currency or, when required, in the currency of the country or jurisdiction
       where the loss or casualty business crisis occurred. When conversion into another currency from United
       States currency is required to pay any loss or casualty business crisis expense, the rate of exchange will be
       determined on the date of the settlement. The rate of exchange will be the rate we incur in obtaining the foreign
       currency.
   7. First Named Insured


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   The person or organization first named in Item 1. of the Declarations is responsible for the payment of all
   premiums. The first Named Insured will act on behalf of all other insureds for the giving and receiving of notice
   of cancellation or any other notice required under this policy or by statute or regulation, for the receipt and
   acceptance of this policy and any endorsements forming a part of this policy, and for the receiving of any return
   premiums that become payable under this policy.
8. Inspection
   We have the right, but are not obligated to inspect the insured’s premises and operations at any time. Our
   inspections are not safety inspections. They relate only to the insurability of the premises and operations and the
   premium to be charged. We may provide reports on the conditions we find. We may also recommend changes.
   While these reports may help reduce losses, we do not undertake to perform the duty of any person or
   organization to provide for the health or safety of workers or the public. We do not warrant that the premises or
   operations are safe or healthful, or that they comply with laws, regulations, codes or standards
9. Entities That Are Registered, Domiciled or Have Ongoing Operations in Non-Admitted Jurisdictions
   This condition applies solely with respect to entities that are registered, domiciled or have ongoing operations in
   non-admitted jurisdictions.
   With respect to a qualified entity:
   a. Under Coverage A, we will reimburse the first Named Insured for loss incurred by a qualified entity that
       would have been covered this policy but for the fact that the loss was incurred by a qualified entity
       including:
       (1) Damages covered by this policy in excess of the total applicable limits of underlying insurance; and
       (2) Reasonable defense expenses incurred with our consent.
       We have no duty to defend any person or organization against any claim or suit brought or proceeding
       instituted against any qualified entity in a non-admitted jurisdiction, but we may, at our discretion, assume
       control of or participate in any investigation, defense, settlement or recovery proceedings.
   b. Coverage under this policy will not apply until the qualified entity or the qualified entity's underlying insurer
      has paid or is obligated to pay the full amount of the applicable limits of underlying insurance.
   c. The duties and requirements imposed upon any insured under this policy will not apply to any non-admitted
      jurisdiction. However, with respect to any claims made or suits brought in a non-admitted jurisdiction, it
      will be the duty of the first Named Insured to do or cause the applicable qualified entity to do such things as
      would be required of such qualified entity if Coverage A applied directly to such claim or suit, including:
       (1) Make such investigation, defense or settlement as we deem reasonable;
       (2) Obtain our approval for any payment; and
       (3) Effect approved payments to others, in accordance with the terms and conditions of this insurance.
   d. Under Coverage B, this policy does not apply to any liability, damage, loss, cost or expense arising out of
      any operations or activities of a qualified entity.
   e. We will promptly pay the first Named Insured at the mailing address listed in Item 2. of the Declarations the
      amount of damages covered under the terms of this policy. If the first Named Insured or any qualified entity
      recovers from any third party all or part of any amount that we have paid pursuant to this insurance, the first
      Named Insured will promptly reimburse the amount of any such recovery to us.
10. Legal Action Against Us
   There will be no right of action against us under this insurance unless:
   a. You have complied with all the terms of this policy; and
   b. The amount you owe has been determined by settlement with our consent or by actual trial and final
      judgment.
   This insurance does not give anyone the right to add us as a party in an action against you to determine your
   liability.
11. Maintenance of Underlying Insurance
   During the period of this policy, you agree:



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    a. To keep the policies listed in the Schedule of Underlying Insurance in full force and effect;
    b. That the Limits of Insurance of the policies listed in the Schedule of Underlying Insurance will be maintained
       except for any reduction or exhaustion of limits by payment of claims or suits for damages covered by
       underlying insurance;
    c. The policies listed in the Schedule of Underlying Insurance may not be canceled or not renewed by you
       without notifying us, and you agree to notify us in the event an insurance company cancels or declines to
       renew any policy listed in the Schedule of Underlying Insurance; and
    d. Renewals or replacements of the policies listed in the Schedule of Underlying Insurance will not be materially
       changed without our agreement.
    If you fail to comply with these requirements, we will only be liable to the same extent that we would have been
    had you fully complied with these requirements.

12. Miscellaneous Unintentional Errors and Omissions
    Any unintentional error or omission in the description of, or failure to describe completely, any premises or
    operations intended to be covered by this policy, shall not invalidate or affect the coverage for those operations or
    premises. However, the insured must report such error or omission to the company as soon as practicable after
    its discovery.

13. Other Insurance
    If other insurance applies to damages that are also covered by this policy, this policy will apply excess of the
    other insurance. However, this provision will not apply:
    a. If the other insurance is written to be excess of this policy; or
    b. With respect to Coverage A only, if the named insured has agreed in a written contract to carry insurance to
       apply prior to and be non-contributory with that of another person or organization's insurance, but only as
       respects damages arising out of insured operations or work on behalf of the named insured performed under
       such written contract. The limits available to the other person or organization will be the lesser of the policy
       limits or the minimum limits required by such written contract. In that case, other insurance of that person or
       organization will apply as excess and not contribute prior to the insurance afforded by this policy.
    Nothing herein will be construed to make this policy subject to the terms, conditions and limitations of such other
    insurance.

14. Premium
    The premium for this policy as stated in Item 6. of the Declarations is a flat premium. It is not subject to
    adjustment unless an endorsement is attached to this policy.
15. Separation of Insureds
    Except with respect to the Limits of Insurance, and any rights or duties specifically assigned to the first Named
    Insured, this insurance applies:
    a. As if each named insured were the only named insured; and
    b. Separately to each insured against whom claim is made or suit is brought.
16. Terms Conformed to Statute
    The terms of this policy which are in conflict with the statutes, laws, ordinances or regulations in any country,
    jurisdiction, state or province where this policy is issued are amended to conform to such statutes, laws,
    ordinances or regulations. If we are prevented by law or statute from paying on behalf of the insured, then we
    will, where permitted by law or statute, indemnify the insured.
17. Transfer of Rights of Recovery Against Others to Us
     a. If the insured has rights to recover all or part of any payment we have made under this insurance, those
        rights are transferred to us. The insured must do nothing after the loss to impair them. At our request, the
        insured will bring suit or transfer those rights to us and help us enforce them.
         However, if any insured is required by a written contract or agreement which is executed before a loss to
         waive their rights of recovery from others, we agree to waive our rights of recovery. This waiver of rights


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             shall not be construed to be a waiver with respect to any other operations for which the insured has not
             waived their rights of recovery by contract.
        b. Any amount recovered will be apportioned in the inverse order of payment of loss to the extent of actual
           payment. The expenses of all such recovery proceedings will be apportioned in the ratio of respective
           recoveries.
   18. Transfer of Your Rights and Duties
       Your rights and duties under this insurance may not be transferred without our written consent. If you die, then
       your rights and duties will be transferred to your legal representative, but only while acting within the scope of
       duties as your legal representative. Until your legal representative is appointed, anyone having temporary
       custody of your property will have your rights and duties but only with respect to that property s
   19. When Loss is Payable
       Coverage under this policy will not apply until the insured, or the insured’s underlying insurer has paid or is
       legally obligated to pay the full amount of the Underlying Limits of Insurance or Retained Limit.
       When the amount of loss is determined by an agreed settlement or on a final judgment against an insured
       obtained after an actual trial, we will promptly pay on behalf of the insured the amount of loss covered under the
       terms of this policy. The first Named Insured will promptly reimburse us for any amount within the Retained
       Limit paid by us.
   20. Violation of Economic or Trade Sanctions
       If coverage for a claim or suit under this policy is in violation of any economic or trade sanctions of the United
       States of America then coverage for that claim or suit will be null and void.
B. The following Condition is applicable to Coverage A and Coverage B:
   1. Notice of Occurrence, Claim or Suit
      a. You must see to it that we are notified as soon as practicable of an occurrence which may result in damages
         covered by this policy.
            To the extent possible, notice will include:
            (1) How, when and where the occurrence took place;
            (2) The names and addresses of any injured persons and witnesses; and
          (3) The nature and location of any injury or damage arising out of the occurrence.
       b. Knowledge of an occurrence by the agent, servant or employee of yours, shall not in itself constitute
          knowledge by the insured unless you, or any employee authorized by you to give or receive notice of an
          occurrence, claim or suit shall have received such notice from the agent, servants or employee.
       c. If a claim or suit against any Insured is reasonably likely to involve this policy you must notify us in writing as
          soon as practicable.
       d. You and any other involved insured must:
            (1) Immediately send us copies of any demands, notices, summonses or legal papers received in connection
                with the claim or suit;
            (2) Authorize us to obtain records and other information;
            (3) Cooperate with us in the investigation, settlement or defense of the claim or suit; and
            (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                may be liable to the insured because of injury or damage to which this insurance may also apply.
       e. The insureds will not, except at their own cost, voluntarily make a payment, assume any obligation, or incur
          any expense, other than for first aid, without our consent.
       f.   Your failure to give notice of an occurrence to us shall not invalidate coverage under this policy if the
            occurrence was inadvertently reported to another Insurer. However, you shall report any such occurrence
            to us as soon as practicable once you become aware of such error.

C. The following Conditions are applicable to Coverage C:
   1. Notice of a Casualty Business Crisis

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   You must see to it that we are notified of a casualty business crisis as soon as practicable after it first
   commences. Such notice shall include a description of the casualty business crisis and the reason it is likely to
   involve damages covered by this policy in excess of the applicable limits of underlying insurance under
   Coverage A or Retained Limit under Coverage B and significant adverse regional or national media coverage.
   We will not be liable for casualty business crisis expense incurred prior to, or more than one hundred eighty
   (180) days after the date notice of such casualty business crisis is first given to us. Notice to us shall be given
   to Zurich Claim Reporting, Care Center, P.O. Box 49547, Colorado Springs, CO 80949, Phone 1-800-987-3373,
   Fax 1-877-962-2567, E-Mail USZ Care Center@Zurichna.com.
2. Arbitration
   If you and we disagree as to whether a casualty business crisis has occurred, both parties may, by mutual
   consent agree in writing to arbitration of the disagreement and the right to any reimbursement for casualty
   business crisis expense.
   In this event, each party will select an arbitrator. The two arbitrators will select a third. If they cannot agree within
   30 days, both parties must request that selection be made by a judge of a court having jurisdiction. Each party
   will:
   a. Pay the expenses it incurs; and
   b. Bear the expenses of the third arbitrator equally.
   Unless both parties agree otherwise, arbitration will take place in the state, county or parish in which the address
   shown in the Declarations is located. Local rules of law as to procedure and evidence will apply.




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UUMB105ACW-Schedule of Underlying Insurance




Schedule of Underlying Insurance
                                          Policy No.                Eff. Date of Pol.      Exp. Date of Pol.          Eff. Date of End.          Producer No.

                              UMB 5912288 00                          09/01/2012              09/01/2013                09/01/2012                 70074000

Named Insured and Mailing Address:                                                             Producer:
OMNICELL INC                                                                                    MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                              1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                    SAN JOSE, CA 95112-4508

Schedule Contents



Company, Policy No. and Term                                                            Coverage                               Applicable Limits
A. Company:      ZURICH AMERICAN                                                        Commercial General Liability           $1,000,000     Each Occurrence
INSURANCE COMPANY
                                                                                                                               $2,000,000      Products – Completed
             Policy No:                           CPO 5912284-00                                                                                 Operations Aggregate

             Term:                                09/01/2012 to 09/01/2013

                                                                                                                               $2,000,000      General Aggregate

                                                                                                                                               Per Location
                                                                                                                                               Per Job/Project
                                                                                                                               $1,000,000      Personal Injury
                                                                                                                                                  Advertising Injury
                                                                                        Including Employee Benefits            $1,000,000      Each Claim
                                                                                                                               $1,000,000      Aggregate

B. Company: ZURICH AMERICAN                                                             Commercial Auto Liability              $1,000,000      Bodily Injury &
INSURANCE COMPANY                                                                                                                              Property Damage
                                                                                                                                               Combined Single Limit


              Policy No:                           CPO 5912284-00


              Term:                                09/01/2012 to 09/01/2013

C.                  Company:                       TBD                                  Employers Liability                    Bodily Injury By Accident


                    Policy No:                     TBD                                                                         $1,000,000      Each Accident


                    Term:                          09/01/2012 to 09/01/2013                                                    Bodily Injury By Disease


                                                                                                                               $1,000,000      Policy Limit


                                                                                                                               Bodily Injury By Disease


                                                                                                                               $1,000,000      Each Employee




Signed by:_________________________________                                                            _______________________________________
          Authorized Representative                                                                    Date


                                                                                                                                                   U-UMB-105-A CW (7/99)
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UUMB200ACW - Installment Schedule



Endorsement#


Installment Schedule

                 Policy No.               Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.      Producer       Add'l Prem.      Return Prem.
    UMB 5912288 00                          09/01/2012          09/01/2013          09/01/2012          70074000            ---              ---



Named Insured and Mailing Address:                                                        Producer:
OMNICELL INC                                                                                MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY



DATE DUE                                         PREMIUM DUE

09/01/2012                                       $14,640.00
12/01/2012                                         7,320.00
03/01/2012                                         7,320.00
06/01/2012                                         7,320.00




Signed by: _____________________________________________                                        ________________________________________
           Authorized Representative                                                            Date




                                                                                                                              U-UMB-200-A CW (7/99)
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                                                                                                                      EXHIBIT E PAGE 26
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UUMB104ACW - Schedule of Forms and Endorsements




Schedule of Forms and Endorsements

                    Policy No.                        Eff. Date of Pol.         Exp. Date of Pol.          Eff. Date of End          Producer
                  UMB 5912288 00                        09/01/2012                09/01/2013                 09/01/2012              70074000

Named Insured and Mailing Address:                                                            Producer:
OMNICELL INC                                                                                  MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                            1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                  SAN JOSE, CA 95112-4508


                                                                          Schedule of Forms and Endorsements
Form Name                                                                                           Form Number                   Edition Date
Commercial Umbrella Liability Policy Jacket                                                         UUMB100BCW                    7/2003
Commercial Umbrella Liability Policy Declarations                                                   UUMBD101CCW                   3/2010
Commercial Umbrella Liability Policy                                                                UUMB103CCW                    3/2010
Schedule of Underlying Insurance                                                                    UUMB105ACW                    7/1999
Installment Schedule                                                                                UUMB200ACW                    7/1999
Schedule of Forms and Endorsements                                                                  UUMB104ACW                    7/1999
Care, Custody Or Control Exclusion                                                                  UUMB129BCW                    7/2003
Fungus or Bacteria Exclusion                                                                        UUMB385BCW                    7/2003
Lead Exclusion                                                                                      UUMB193ACW                    7/1999
Employee Benefits Liability Follow Form                                                             UUMB167BCW                    7/2003
Foreign Operations Follow Form                                                                      UUMB183ACW                    7/1999
Personal and Advertising Injury Follow Form                                                         UUMB217ACW                    7/1999
Technology Errors and Omissions Follow Form                                                         UUMB663ACW                    2/2009
California Cancellation and Nonrenewal Endorsement                                                  UUMB265CCA                    4/2010
CAP on Losses from Certified Acts of Terrorism                                                      UGU767ACW                     1/2008
Disclosure of Important Information Relating to TRIA                                                UGU630C                       12/2007
Important Notice - In Witness Clause                                                                UGU319F                       1/2009




Signed by:______________________________________________                                            __________________________________________________
          Authorized Representative                                                                 Date



                                                                                                                                     U-UMB-104-A CW (7/99)
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UUMB129BCW – Care, Custody Or Control Exclusion



Endorsement #

Care, Custody Or Control Exclusion

Premium



                      Policy No.                   Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.      Producer      Add’l Prem.        Return Prem.
          UMB 5912288 00                             09/01/2012          09/01/2013          09/01/2012          70074000           ---                 ---


Named Insured and Mailing Address:                                                                Producer:
OMNICELL INC                                                                                        MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                  1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                        SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Property Damage to:




Under Coverage A this policy does not apply to property damage to: Real and/or Personal Property
of others in the care, custody or control of the insured.




(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as applicable to this
endorsement.)




Signed by: ____________________________________________                                                    ______________________________________________
           Authorized Representative                                                                       Date




                                                                                                                                              U-UMB-129-B CW (7/2003)
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UUMB385BCW – Fungus or Bacteria Exclusion
Endt #



Endorsement #

Fungus or Bacteria Exclusion

Premium



                     Policy No.                      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer      Add’l Prem.        Return Prem.
          UMB 5912288 00                               09/01/2012          09/01/2013          09/01/2012          70074000          ---                 ---


Named Insured and Mailing Address:                                                                   Producer:
OMNICELL INC                                                                                          MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                          SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


Under Coverage A and Coverage B this policy does not apply to any liability, damage, loss, cost or expense:
                  A. Caused directly or indirectly by the actual, alleged or threatened inhalation of, ingestion of, contact with, exposure to,
                     existence of, or presence of any:
                                     1.      Fungi, or bacteria; or
                                     2.      Substance, vapor or gas produced by or arising out of any fungi or bacteria.
                  B. Arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing,
                     remediating or disposing of, or in any way responding to, or assessing the effects of, fungi or bacteria, by any insured or by
                     any other person or entity.
Definitions
                  As used in this endorsement:
                  1.                 Bacteria means any type or form of bacteria and any materials or substances that are produced or released by bacteria.
                  2.                 Fungi means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents or by-products
                                     produced or released by fungi.
                  3.                 Spores means reproductive bodies produced by or arising out of fungi.
This exclusion does not apply to any fungi or bacteria that are, are on, or are contained in, an edible good or edible product intended
for human or animal consumption.




Signed by:_____________________________________________                                                      ______________________________________________
          Authorized Representative                                                                          Date




                                                                                                                                               U-UMB-385-B CW (7/2003)
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UUMB193ACW – Lead Exclusion
Endr. No.



Endorsement #

Lead Exclusion

Premium



                   Policy No.             Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer         Add’l Prem.        Return Prem.

          UMB 5912288 00                     09/01/2012         09/01/2013          09/01/2012          70074000             ---                ---


Named Insured and Mailing Address:                                                        Producer:
OMNICELL INC                                                                               MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                         1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                               SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


A. Under Coverage A and Coverage B this policy does not apply to:
                 1.           Any liability, damage, loss, cost or expense arising out of, resulting from, caused by or contributed to by toxic or pathological
                              properties of lead, lead compounds or lead contained in any materials;
                 2.           Any cost or expense to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead;
                 3.           Any supervision, instructions, recommendations, warnings or advice given or which should have been given in connection
                              with paragraphs 1. or 2. above; or
                 4.           Any obligation to share damages with or repay anyone else who must pay damages in connection with paragraphs 1., 2., or 3.
                              above.




Signed by:_____________________________________________                                           ______________________________________________
          Authorized Representative                                                               Date




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UUMB167BCW – Employee Benefits Liability Follow Form
Endr. No.



Endorsement #

Employee Benefits Liability Follow Form

Premium



                     Policy No.                        Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer      Add’l Prem.        Return Prem.

          UMB 5912288 00                                 09/01/2012          09/01/2013          09/01/2012          70074000          ---                ---


Named Insured and Mailing Address:                                                                     Producer:
OMNICELL INC                                                                                            MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                            SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense imposed on any insured as a
Fiduciary Administrator, or other party in interest arising out of any Employee Benefits Program, record handling in connection with
any Employee Benefits Program, or effecting or terminating any employee’s participation in any plan included in any “Employee
Benefits Program”.
As used in this endorsement:
Employee Benefits Program means any group life insurance, group accident or health insurance, profit sharing plans, pension plans,
stock subscription plans, unemployment insurance, social security benefits, workers’ compensation and disability benefits and any
other similar plans.




Signed by:_____________________________________________                                                        ______________________________________________
          Authorized Representative                                                                            Date




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UUMB183ACW – Foreign Operations Follow Form
Endr. No.



Endorsement #

Foreign Operations Follow Form

Premium



                    Policy No.                       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer      Add’l Prem.       Return Prem.
          UMB 5912288 00                               09/01/2012          09/01/2013          09/01/2012          70074000          ---               ---


Named Insured and Mailing Address:                                                                   Producer:
OMNICELL INC                                                                                          MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                          SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any insured’s
operations or activities outside of the United States of America (including its territories and possessions), Puerto Rico or Canada
whether or not the insured’s responsibility to pay damages is determined in a suit on the merits in the United States of America
(including its territories and possessions), Puerto Rico or Canada.




Signed by:___________________________________________                                                        ______________________________________________
          Authorized Representative                                                                          Date



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UUMB217ACW – Personal and Advertising Injury Follow Form
Endr Number



Endorsement #

Personal and Advertising Injury Follow Form

Premium



                     Policy No.                            Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer      Add’l Prem.       Return Prem.

          UMB 5912288 00                                     09/01/2012          09/01/2013          09/01/2012          70074000          ---               ---



Named Insured and Mailing Address:                                                                         Producer:
OMNICELL INC                                                                                                MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                                SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any personal and
advertising injury offense.




Signed by:_____________________________________________                                                            ______________________________________________
          Authorized Representative                                                                                Date




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UUMB663ACW - Technology Errors and Omissions Follow Form



Endorsement #


Technology Errors and Omissions Follow Form


                   Policy No.                                      Eff. Date of Pol.      Exp. Date of Pol.      Eff. Date of End.           Producer              Add’l Prem.        Return Prem.

      UMB 5912288 00                                                 09/01/2012              09/01/2013             09/01/2012               70074000                     ---             ---


Named Insured and Mailing Address:                                                                                        Producer:
OMNICELL INC                                                                                                               MARSH RISK & INSURANCE SERVICES
1201 CHARLESTON RD                                                                                                         1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                                                               SAN JOSE, CA 95112-4508



THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damages, loss, cost or expense arising out of:
1.                The failure of your product to perform the function or serve the purpose intended;
2.                The performance or nonperformance of your work;
3.                Purchase or contract price for your product or your work;
4.                Disgorgement of profits, restitution, or any money or credits that represent any gain, profit, or advantage to which you are not
                  legally entitled; or
5.                Criminal or civil penalties.
As used in this endorsement the following definitions apply:
1.                Damages means a monetary amount to compensate for a wrongful act.
2.                Wrongful act means an error or omission by or on behalf of any insured.
3.                Your product means
                  a.                 Any goods or products manufactured, developed, designed, created, sold, handled, licensed, marketed, distributed, or
                                     disposed of by you or on your behalf, including but not limited to:
                                     1) Computer software or computer programming;
                                     2) Electronic or computer equipment, components, or peripherals;
                                     3) Telecommunications or broadcasting equipment; or
                                     4) Industrial or robotic equipment; and
                  b. Containers (other than vehicles), materials, parts, or equipment furnished in connection with such goods or products.
                                     Your product includes:
                                     a.                    Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use of
                                                           your product; and
                                     b. The providing of or failure to provide warnings or instructions.
4.                Your work means:
                  a.                 Work or operations performed by you or on your behalf, including but not limited to:
                                     1) Installation, service, technical support, system integration, maintenance, repair, consulting, or                                                       analysis
                                        of:


                                                                                                                                                                                 U-UMB-663-A CW (02/09)
                                                                                                                                                                                              Page 1 of 2
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                                                                                                                                                                     EXHIBIT E PAGE 34
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               a) Computer software or computer programming;
               b) Electronic or computer equipment, components, or peripherals;
               c)   Telecommunications or broadcasting equipment; or
               d) Industrial or robotic equipment;
               and any training services provided in conjunction with the above activities;
         2) Electronic processing, management, mining, or warehousing of data or records for others;
         3) Providing multimedia services, including but not limited to:
               a) Television broadcasting;
               b) Cable and satellite broadcasting;
               c)   Radio broadcasting;
               d) Electronic broadcasting;
               e)   Internet access; or
               f)   Website design;
         4) Providing telecommunication services, including but not limited to:
               a) Wire based telecommunications;
               b) Wireless telecommunications; or
               c)   Paging services; and
         5) Administration, management, operation, or hosting of systems, technology, or computer facilities                      for another
            person or organization; and
     b. Materials, parts, or equipment furnished in connection with such work or operations.
         Your work includes:
         a.    Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use of
               your work; and
b.       The providing of or failure to provide warnings or instruction.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




Signed by:_____________________________________________                              _______________________________________
           Authorized Representative                                                 Date



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                                                                                                                        EXHIBIT E PAGE 35
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UUMB265CCA – California Cancellation and Nonrenewal



Endorsement #




California Cancellation and Nonrenewal Endorsement
California Cancellation and Nonrenewal Endorsement
California Cancellation and Nonrenewal Endorsement




                      Policy No.                             Eff. Date of Pol.    Exp. Date of Pol.     Eff. Date of End.         Producer            Add’l Prem.       Return Prem.

       UMB 5912288 00                                          09/01/2012            09/01/2013            09/01/2012            70074000                  ---              ---



Named Insured and Mailing Address:                                                                               Producer:
      OMNICELL INC                                                                                                 MARSH RISK & INSURANCE SERVICES
      1201 CHARLESTON RD                                                                                           1732 N 1ST ST STE 400
      MOUNTAIN VIEW, CA 94043-1337                                                                                 SAN JOSE, CA 95112-4508




                                                             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

A. SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, a. Cancellation, paragraph (2), is deleted and
   replaced with the following:
                    (2) We may cancel this policy if we cancel because of non-payment of premium; we will mail or deliver to you at the
                        address shown on your policy not less than ten (10) days advance written notice when the cancellation is to take
                        effect. If we cancel for any other reason, we will mail or deliver to you not less than ninety (90) days advance
                        written notice stating the reason(s) for the cancellation and stating when the cancellation is to take effect. Mailing
                        or delivery of the notice of cancellation to you shall be deemed to have been given to all insureds.
                                         (a) If this policy has been in effect for less than sixty (60) days and it is not a renewal of a policy we issued, we
                                             may cancel this policy for any reason.
                                         (b) If this policy has been in effect for sixty (60) days or more or if this policy is a renewal of policy we issued, we
                                             may cancel this policy for one or more of the following reasons:
                                                      i    Non-payment of premium, including payment due on a prior policy we issued and due during the current
                                                           policy term covering the same risks.
                                                      ii   Discovery of fraud or material misrepresentation by any insured or his or her representative in obtaining
                                                           this insurance or in pursuing a claim under this policy
                                                      iii A judgment by a court or an administrative tribunal that you have violated a California or Federal law,
                                                          having as one of its necessary elements an act which materially increases any of the risks insured
                                                          against.
                                                      iv Discovery of willfully or grossly negligent acts or omissions, or of any violations of state laws or
                                                         regulations establishing safety standards, by you or your representative, which materially increase any of
                                                         the risks insured against
                                                      v Failure by you or your representative to implement reasonable loss control requirements, agreed to as a
                                                         condition of policy issuance, or which were conditions precedent to our use of a particular rate or rating
                                                         plan, if that failure materially increases any of the risks insured against.
                                                      vi A determination by the Commissioner of Insurance that the loss of, or changes in, our reinsurance
                                                         covering all or part of the risk would threaten our financial integrity or solvency;
                                                      vii determination by the Commissioner of Insurance that continuation of the policy coverage would place us
                                                          in violation of California law or the laws of the state where we are domiciled or threaten our solvency;
                                                      viii A change by you or your representative in the activities or property of the commercial or industrial
                                                           enterprise, which results in a materially added, increased or changed risk, unless the added, increased,
                                                           or changed risk is included in the policy;




                                                                                                                                                                    U-UMB-265-C CA (04/10)
                                                                                                                                                                               Page 1 of 2
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                                                                                                                                                         EXHIBIT E PAGE 36
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             ix A material change in limits, type or scope of coverage, or exclusions in one or more of the underlying
                 policies;
             x Cancellation or nonrenewal of one or more of the underlying policies where such policies are not replaced
                 without lapse;
             xi A reduction in financial rating or grade of one or more insurers, insuring one or more underlying policies
                 based on an evaluation obtained from a recognized financial rating organization.
         (c) If we cancel for non-payment of premium, you may continue coverage and avoid the effect of the cancellation
             by payment in full at any time prior to the effective date of cancellation.
B   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, b Nonrenewal,is deleted and replaced with the
    following:
    b. Nonrenewal
        (1) If we decide not to renew this policy, we will mail or deliver notice of nonrenewal at least sixty (60) days, but
            not more than one hundred, twenty (120) days, before the expiration date of this policy. Such notice will be
            mailed or delivered to you, at the mailing address last known to us and producer of record (if any). Proof of
            mailing will be sufficient proof of notice. Mailing or delivery of the notice of nonrenewal to you shall be deemed
            to have been given to all insureds.
        (2)     We need not provide notice of nonrenewal if:
            (a) The transfer or renewal of a policy, without any changes in terms, conditions, or rates, is between us and
                a member of our insurance group;
            (b) The policy has been extended for ninety (90) days or less, provided that notice has been given in
                accordance with the paragraph (1);
            (c) You have obtained replacement coverage, or if you have agreed, in writing, within sixty (60) days of the
                termination of the policy, to obtain that coverage;
            (d) The policy is for a period of no more than 60 days and you are notified at the time of issuance that it will
                not be renewed;
            (e) You request a change in the terms or conditions or risks covered by the policy within sixty (60) days of the
                end of the policy;
            (f) We have made a written offer to you, in accordance with paragraph (1), to renew the policy under
                changed terms or conditions or at an increased premium rate, when the increase exceeds 25%;
            (g) The policy has been designated as nonrenewable.

    ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                                     U-UMB-265-C CA (04/10)
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UGU767ACW – CAP on Losses from Certified Acts of Terrorism
Endr Number




CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
Premium



          Insureds Name                                                                                                   Policy Number                      Effective Date   Endorsement
                                                                                                                                                                              Number
          OMNICELL INC                                                                                                    UMB 5912288 00                      09/01/2012

                                                              THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance:
Commercial Umbrella Liability
A.                                     Cap on Losses From Certified Terrorism Losses
                                       “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concurrence with the Secretary
                                       of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
                                       Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury shall certify an act of
                                       terrorism:
                                       1.                    to be an act of terrorism;
                                       2.                    to be a violent act or an act that is dangerous to human life, property or infrastructure;
                                       3.                    to have resulted in damage within the United States, or outside of the United States in the case of an air carrier (as
                                                             defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based principally
                                                             in the United States, on which United States income tax is paid and whose insurance coverage is subject to
                                                             regulation in the United States), or the premises of a United States mission; and
                                       4.                    to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
                                                             United States or to influence the policy or affect the conduct of the United States Government by coercion.
                                       No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress
                                       (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do not
                                       exceed $5,000,000.
                                       If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program Year
                                       (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance Act, we shall
                                       not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
                                       losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of
                                       Treasury.
B.                                     Application of Other Exclusions
                                       The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terrorism
                                       exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or restricted
                                       under this policy.




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                                                                                                                                                                 EXHIBIT E PAGE 38
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UGU630C – Disclosure of Important Information Relating to TRIA.




Insured Name:                                                     OMNICELL INC
Reference Number:                                                 UMB 5912288 00
Effective Date:                                                   09/01/2012



                                                       THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

                                                 DISCLOSURE OF IMPORTANT INFORMATION
                                               RELATING TO TERRORISM RISK INSURANCE ACT
SCHEDULE*
Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
Not Applicable - Terrorism Exclusion.




*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. Disclosure of Premium
In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you with a notice
disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under that Act for lines
subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium shown in the Schedule above
is subject to adjustment upon premium audit, if applicable.

B. Disclosure of Federal Participation in Payment of Terrorism Losses
The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share equals 85%
of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention equals 20% of the
insurer's prior calendar year direct earned premium associated with lines of insurance subject to TRIA. TRIA is scheduled to expire
on December 31, 2014.

C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year (January 1
through December 31) and an insurer has met its deductible under the program, that insurer shall not be liable for the payment of
any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up to that amount are subject to
pro rata allocation in accordance with procedures established by the Secretary of Treasury.

D. Availability
As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts of terrorism
certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses arising from events
other than acts of terrorism.

E. Definition of Act of Terrorism under TRIA
TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the Secretary of
State and the Attorney General of the United States:
   1. to be an act of terrorism;
   2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier (as defined in
      section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based principally in the United
      States, on which United States income tax is paid and whose insurance coverage is subject to regulation in the United States),
      or the premises of a United States mission; and
   4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the United
      States or to influence the policy or affect the conduct of the United States Government by coercion.

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No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Congress (except for
workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to TRIA, do not exceed
$5,000,000.




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                                                                                                                      EXHIBIT E PAGE 40
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UGU319F – Important Notice – In Witness Clause




Important Notice – In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                                                     President                                                      Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                                              Zurich in North America
                                                                              Customer Inquiry Center
                                                                                1400 American Lane
                                                                          Schaumburg, Illinois 60196-1056
                                                                  1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                                                          Email: info.source@zurichna.com




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            EXHIBIT F
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Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets
Control ("OFAC") regulations

No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.
This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").
Please read this Notice carefully.
OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:
               Foreign agents;
               Front organizations;
               Terrorists;
               Terrorist organizations; and
               Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.




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                                                                                                                EXHIBIT F PAGE 1
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Insured Name:          OMNICELL, INC

Reference Number:      AUC 5912288-01
Effective Date:        09/01/2013




              THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

              DISCLOSURE OF IMPORTANT INFORMATION
            RELATING TO TERRORISM RISK INSURANCE ACT
                                                             SCHEDULE*
 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
     $836

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you with a
notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified under that
Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The premium shown
in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal share
equals 85% of that portion of the amount of such insured losses that exceeds the insurer retention. The insurer retention
equals 20% of the insurer's prior calendar year direct earned premium associated with lines of insurance subject to TRIA.
TRIA is scheduled to expire on December 31, 2014.
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations

If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a Program Year
(January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be liable
for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured losses up
to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary of Treasury.
D. Availability
As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts of
terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
arising from events other than acts of terrorism.
E. Definition of Act of Terrorism under TRIA
TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in concurrence with the
Secretary of State and the Attorney General of the United States:
    1. to be an act of terrorism;
    2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
    3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
    4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an "act of terrorism" if the act is committed as part of the course of a war declared by
Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to
TRIA, do not exceed $5,000,000.


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Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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                                                                                          EXHIBIT F PAGE 3
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Disclosure Statement


               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


         If you want to learn more about the compensation Zurich pays agents and brokers visit:

                            http://www.zurichnaproducercompensation.com

                         or call the following toll-free number: (866) 903-1192.



               This Notice is provided on behalf of Zurich American Insurance Company

                                   and its underwriting subsidiaries.




                                                                                            U-GU-874-A CW (06/11)
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                                                                                   EXHIBIT F PAGE 4
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Commercial Umbrella Liability Policy
Declarations

Insurance is provided by the company below.

                              American Guarantee and Liability Insurance Company

Policy Number:    AUC 5912288-01                               Renewal of Number:     UMB 5912288-00

1.   Named Insured:     OMNICELL, INC                          Producer: MARSH RISK & INSURANCE
                                                                         SERVICES
2.   Mailing Address:   590 E. Middlefield Rd.                             1732 N 1ST ST STE 400
                        MOUNTAIN VIEW, CA 94043-1337                       SAN JOSE, CA 95112-4508

     Email Address:                                                        Eric.Chua@marsh.com

3.   Policy Period:     From: 09/01/2013 To: 09/01/2014
                        at 12:01 A.M. Standard Time at the address of the Named Insured.


4.   Limits of Insurance:   A.   $25,000,000        Occurrence
                            B.   $25,000,000        Other Aggregate
                            C.   $25,000,000        Products/Completed Operations Aggregate
                            D.   $250,000           Casualty Business Crisis Aggregate Limit

5.   Retained Limit:             $0                 Occurrence

6.   Policy Premium:
     Advance Premium                      $42,636
     Policy Minimum Earned Premium        $10,659

7.   Schedule of Underlying Insurance:    See attached Schedule of Underlying Insurance

8.   Endorsements Attached:               See attached Schedule of Forms and Endorsements




                                                                                            U-UMB-D-101-C CW (03/10)
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                                                                                       EXHIBIT F PAGE 5
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Schedule of Forms and Endorsements

     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer       Add'l Prem.          Return Prem.

 AUC 5912288-01        09/01/2013          09/01/2014          09/01/2013            70074000       ----------           ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




                           Form Name                                               Form Number                     Edition Date

Advisory Notice To Policyholders Regarding the U.S.                                U-GU-1041-A                         (03/11)
Treasury Department's Office of Foreign Assets Control
("OFAC") Regulations

Commercial Umbrella Liability Policy Declarations                                U-UMB-D-101-C CW                      (03/10)

Schedule of Underlying Insurance                                                 U-UMB-105-A CW                        (07/99)

Extended Schedule of Underlying Insurance                                        U-UMB-106-A CW                        (07/99)

Commercial Umbrella Liability Policy                                             U-UMB-103-C CW                        (03/10)

Care, Custody Or Control Exclusion                                               U-UMB-129-B CW                        (07/03)

Employee Benefits Liability Follow Form                                          U-UMB-167-B CW                        (07/03)

Foreign Operations Follow Form                                                   U-UMB-183-A CW                        (07/99)

Lead Exclusion                                                                   U-UMB-193-A CW                        (07/99)

Personal and Advertising Injury Follow Form                                      U-UMB-217-A CW                        (07/99)

Fungus or Bacteria Exclusion                                                     U-UMB-385-B CW                        (07/03)

Technology Errors and Omissions Follow Form                                      U-UMB-663-A CW                        (02/09)

Important Notice - In Witness Clause                                              U-GU-319-F CW                        (01/09)

CAP on Losses from Certified Acts of Terrorism                                    U-GU-767-A CW                        (01/08)

California Cancellation and Nonrenewal                                            U-UMB-265-C CA                       (04/10)

Exclusion - Collection or Distribution of Material or                            U-UMB-525-E CW                        (01/12)
Information in Violation of Law




                                                                                                                  U-UMB-104-A CW (07/99)
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                                                                                                    EXHIBIT F PAGE 6
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Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-01        09/01/2013          09/01/2014          09/01/2013         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

A. Company: TBD                                          Commercial General                   $1,000,000        Premises - Each
                                                         Liability                                              Occurrence

   Policy No: CPO 5912284                                Domestic Package                     $1,000,000        Products /
                                                         Policy                                                 Completed Ops -
                                                                                                                Each Occurrence
   Term:         09/01/2013 to 09/01/2014                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate

                                                                                              $2,000,000        General Aggregate

                                                                                                                Per Location

                                                                                              $1,000,000        Personal Injury/
                                                                                                                Advertising Injury
                                                         Including Employee                   $1,000,000        Employee Benefits -
                                                         Benefits                                               Each Claim
                                                                                              $1,000,000        Employee Benefits -
                                                                                                                General Aggregate

   Company, Policy No. and Term                                Coverage                         Applicable Limits

B. Company: TBD                                          Commercial Auto Liability            $1,000,000        Combined Single
                                                                                                                Limit
   Policy No: CPO 5912284                                Domestic Package
                                                         Policy
   Term:         09/01/2013 to 09/01/2014
   Company, Policy No. and Term                                Coverage                         Applicable Limits

C. Company: TBD                                          Employers Liability                  $1,000,000        Bodily Injury By
                                                                                                                Accident - Each
                                                                                                                Accident



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Policy No: WC 5543003                 Workers                 $1,000,000   Bodily Injury By
                                      Compensation Policy                  Disease - Each
                                                                           Employee
Term:      01/01/2013 to 01/01/2014                           $1,000,000   Bodily Injury By
                                                                           Disease - Policy
                                                                           Limit




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Extended Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-01        09/01/2013          09/01/2014          09/01/2013         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: TBD                                          Foreign Liability                    $1,000,000        Each Occurrence
                                                         Premises and
                                                         Products/Completed
                                                         Ops Liability
   Policy No: TBD                                        Foreign Package Policy               $2,000,000        General Aggregate
   Term:         09/01/2013 to 09/01/2014                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: TBD                                          Foreign Liability                    $1,000,000        Combined Single
                                                         Automobile Liability                                   Limit
   Policy No: TBD                                        Foreign Package Policy
   Term:         09/01/2013 to 09/01/2014

   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: TBD                                          Foreign Liability                    $1,000,000        Bodily Injury By
                                                         Employers Liability                                    Accident - Each
                                                                                                                Accident
   Policy No: ZE 5912294                                 Foreign Package Policy               $1,000,000        Bodily Injury By
                                                                                                                Disease - Each
                                                                                                                Employee
   Term:         09/01/2013 to 09/01/2014                                                     $1,000,000        Bodily Injury By
                                                                                                                Disease - Policy
                                                                                                                Limit




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Commercial
Umbrella
Liability
Policy



Zurich North America

Insurance is provided by the company designated on the Declarations of this policy.




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Commercial Umbrella Liability Policy

There are provisions in this policy that restrict coverage. Read the entire policy carefully to determine your rights, duties
and what is and is not covered.
Throughout this policy the words “you” and “your” refer to the Named Insured shown in the Declarations, and any other
person or organization qualifying as a named insured under this policy. The words “we”, “us” and “our” refer to the
company providing this insurance.
The word insured means any person or organization qualifying as such in SECTION V. DEFINITIONS of this policy.
Words and phrases that are printed in bold-face type are defined in this policy. These definitions are found in SECTION
V. DEFINITIONS of this policy or in the specific policy provision where they appear.
In consideration of the payment of the premium and in reliance upon the statements in the Declarations and in
accordance with the provisions of this policy we agree with you to provide coverage as follows:
                                                  Insuring Agreements
SECTION I.    COVERAGE
A.   Coverage A - Excess Follow Form Liability Insurance
     Under Coverage A, we will pay on behalf of the insured those damages covered by this insurance in excess of the
     total applicable limits of underlying insurance. With respect to Coverage A, this policy includes:
     1.   The terms and conditions of underlying insurance to the extent such terms and conditions are not inconsistent
          or do not conflict with the terms and conditions referred to in Paragraph 2. below; and
     2.   The terms and conditions that apply to Coverage A of this policy.
     Notwithstanding anything to the contrary contained above, if underlying insurance does not apply to damages, for
     reasons other than exhaustion of applicable Limits of Insurance by payment of loss, then Coverage A does not
     apply to such damages. Also, Coverage A does not apply to any form of casualty business crisis expense
     insurance even if such insurance is afforded under underlying insurance or would have been afforded except for
     the exhaustion of the Limits of Insurance of underlying insurance.
B.   Coverage B - Umbrella Liability Insurance
     Under Coverage B, we will pay on behalf of the insured those damages the insured becomes legally obligated to
     pay by reason of liability:
     1.   Imposed by law because of bodily injury, property damage, or personal and advertising injury; or
     2.   Assumed under an insured contract because of bodily injury or property damage;
     covered by this insurance but only if the injury, damage or offense arises out of your business, takes place during the
     policy period of this policy and is caused by an occurrence happening anywhere. We will pay such damages in
     excess of the Retained Limit specified in Item 5. of the Declarations or the amount payable by other insurance,
     whichever is greater.
     Coverage B does not apply to any loss, claim or suit for which insurance is afforded under underlying insurance
     or would have been afforded except for the exhaustion of the Limits of Insurance of underlying insurance.
The amount we will pay for loss under Coverage A or Coverage B is limited as described in SECTION II. LIMITS OF
INSURANCE.
We have no obligation under Coverage A and/or Coverage B with respect to any settlement made without our consent.
The insurance afforded under Coverage A and Coverage B applies to bodily injury or property damage only if prior to
the policy period, no designated insured knew that the bodily injury or property damage had occurred, in whole or in
part. If such a designated insured knew, prior to the policy period, that the bodily injury or property damage occurred,
then any continuation, change or resumption of such bodily injury or property damage during or after the policy period
will be deemed to have been known prior to the policy period.

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Bodily injury or property damage which occurs during the policy period and was not, prior to the policy period, known to
have occurred by any designated insured includes any continuation, change or resumption of that bodily injury or
property damage after the policy period; and
Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time when any
designated insured:
     1.   Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
     2.   Receives a written or verbal demand or claim for damages because of the bodily injury or property damage;
          or
     3.   Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
          occur.
C.   Coverage C - Casualty Business Crisis Expense
     Under Coverage C, we will pay for casualty business crisis expense regardless of fault arising from a casualty
     business crisis first commencing during the policy period. No underlying insurance or Retained Limit applies to
     Coverage C. Subject to the other terms and conditions of this coverage, we shall pay casualty business crisis
     expense from the first dollar of such expense.
     The amount we will pay for casualty business crisis expense under Coverage C is limited as described in
     SECTION II. LIMITS OF INSURANCE.
     Any amounts that we pay under Coverage C will not obligate us in any way under Coverage A or Coverage B.
SECTION II. LIMITS OF INSURANCE
A.   With respect to Coverage A and Coverage B, the Limits of Insurance shown in the Declarations and the rules below
     describe the most we will pay, regardless of the number of:
     1.   Insureds;
     2.   Claims made or suits brought;
     3.   Coverages provided under this policy; or
     4.   Persons or organizations making claims or bringing suits.
B.   The Limits of Insurance of this policy will apply as follows:
     1.   The limit stated in Item 4.B. of the Declarations for the Other Aggregate is the most we will pay for all loss
          under Coverage A and Coverage B combined except for:
          a.   Loss covered under the products-completed operations hazard; and
          b.   Loss covered in underlying insurance to which no underlying aggregate limit applies.
          In addition, with respect to Coverage A only, if a policy listed on the Schedule of Underlying Insurance contains
          aggregate limits, other than an aggregate limit applying to the products-completed operations hazard, the
          Other Aggregate limit stated in Item 4.B. of the Declarations will apply in the same manner as such other
          aggregate limits of each policy listed in the Schedule of Underlying Insurance.
     2.   The limit stated in Item 4.C. of the Declarations for the Products-Completed Operations Aggregate is the most
          we will pay for all loss under both Coverage A and Coverage B combined as a result of bodily injury or
          property damage included within the products-completed operations hazard.
     3.   Subject to Paragraph B.1. or B.2. above, whichever applies, the limit stated in Item 4.A. of the Declarations for
          Occurrence is the most we will pay for all loss arising out of any one occurrence, even if such loss is covered,
          in whole or in part, under both Coverage A and Coverage B.
C.   Coverage A applies only in excess of the greater of the actual Limits of Insurance of underlying insurance or the
     Limits of Insurance shown on the Schedule of Underlying Insurance forming a part of this policy.
D.   With respect to Coverage C, the limit stated as the Casualty Business Crisis Expense Aggregate Limit in Item
     4.D. of the Declarations is the most we will pay for all casualty business crisis expense first commencing during
     the policy period. This limit is in addition to, and casualty business crisis expense does not reduce or exhaust,
     any other Limit of Insurance applicable to this policy.




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E.   The Limits of Insurance of this policy apply separately to each consecutive annual period and to any remaining
     period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
     policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional
     period will be deemed part of the preceding period for purposes of determining the Limits of Insurance.
F.   With respect to Coverage A only and subject to paragraphs B.1., B.2., B.3. and C. above:
     1.   If the limits of underlying insurance have been reduced solely by payment of loss for which coverage is
          afforded under this policy, this policy will drop down to become immediately excess of the reduced underlying
          limit; or
     2.   If the limits of underlying insurance have been exhausted solely by payment of loss for which coverage is
          afforded under this policy, this policy will continue in force as underlying insurance.
SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS
A.   We have the right and duty to assume control of the investigation and settlement of any claim, or defense of any suit
     against the insured for damages covered by this policy:
     1.   Under Coverage A, when the applicable limit of underlying insurance and other insurance has been
          exhausted by payment of loss for which coverage is afforded under this policy; or
     2.   Under Coverage B, when damages are sought for bodily injury, property damage, or personal and
          advertising injury to which no underlying insurance or other insurance applies.
B.   Under Coverage C, we do not assume any duty to control the investigation and settlement of any claim, or defense
     of any suit that may arise from a covered casualty business crisis.
C.   In those circumstances where paragraph A. above applies we will pay our expenses and the following to the extent
     that they are not included in underlying insurance:
     1.   Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds.
     2.   The cost of bonds to release attachments, but only for bond amounts within the amount of insurance available.
          We do not have to furnish these bonds.
     3.   Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
          claim or suit, including actual loss of earnings because of time off from work.
     4.   All court costs taxed against the insured in the suit. However, these payments do not include attorneys' fees
          or attorneys' expenses taxed against the insured.
     5.   Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we make
          an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest based on that period
          of time after the offer.
     6.   All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
          offered to pay, or deposited in court that part of the judgment that is within the applicable Limits of Insurance.
     When our expenses and the payments described in paragraph C. above are not included in the definition of loss,
     they will not reduce the Limits of Insurance.
D.   In those circumstances where paragraph A. above does not apply, we do not have the duty to assume control of the
     investigation and settlement of any claim, or defense of any suit against the insured. We do, however, have the
     right to participate in the investigation and settlement of any claim, or defense of any suit that we feel may create
     liability on our part under the terms of this policy. If we exercise this right, we will do so at our expense.
We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of Insurance
as stated in Item 4. of the Declarations.
If we are prevented by law from carrying out the provisions of Section III. Paragraph A. above, we will pay any expense
incurred with our consent.
SECTION IV. EXCLUSIONS
A.   Under Coverage A and Coverage B, this policy does not apply to any liability, damage, loss, cost or expense:
     ASBESTOS
     1.   Arising out of or relating in any way to:



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     a.    Asbestos or which would not have occurred in whole or in part but for the actual, alleged or threatened
           discharge, dispersal, release, leakage, leaching, friability, flaking escape or presence of asbestos,
           regardless of whether any other cause, event, material or product contributed concurrently or in any
           sequence to the injury or damage; or
     b.    Any:
           (1) Request, demand, order, statutory or regulatory requirement, direction or determination, that any
               insured or others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate,
                  control or take any other action regarding asbestos; or
           (2) Claim or suit for damages arising out of or relating in any way to any request, demand, order,
               statutory or regulatory requirement, direction or determination than any insured or others test for,
                  investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other
                  action regarding asbestos.
EMPLOYMENT PRACTICES
2.   Arising out of any bodily injury or personal and advertising injury to:
     a.    A person arising out of any:
           (1) Failure to employ or promote that person;
           (2) Termination of that person's employment, including actual or alleged constructive dismissal;
           (3) Employment-related practices, policies, acts or omissions, including but not limited to injury arising
                  from coercion, demotion, evaluation, reassignment, discipline, defamation, harassment, molestation,
                  humiliation, retaliation, hostile work environment, discrimination or malicious prosecution directed at
                  that person; or
     b.    The spouse, domestic partner, child, parent, brother or sister of that person as a consequence of any
           bodily injury or personal and advertising injury to that person at whom any of the employment related
           practices described in subparagraphs (1), (2) or (3) above is directed.
     This exclusion applies:
     a.    Whether the injury causing event described in paragraph 2.a. above occurs before employment, during
           employment or after employment of that person;
     b.    Whether the insured may be held liable as an employer or in any other capacity; or
     c.    To any obligation to share damages with or repay someone who must pay damages because of the injury.
LAWS, MISCELLANEOUS
3.   Under any of the following:
     a.    Any uninsured/underinsured motorist or auto no-fault or first party personal injury law;
     b.    Any workers’ compensation, unemployment compensation, or disability benefits law or any similar law; or
     c.    The Employees’ Retirement Income Security Act (E.R.I.S.A.) of 1974 as now or hereafter amended.
LOSS OF, OR LOSS OF USE OF INTANGIBLE PROPERTY
4.   Arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate or
     process intangible property. For purposes of this insurance, electronic data is intangible property.
NUCLEAR
5.   a.    With respect to which any insured under this policy is also an insured under a nuclear energy liability
           policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability
           Underwriters, Nuclear Insurance Association of Canada or any of their successors, or would be an insured
           under any such policy but for its termination upon exhaustion of its Limits of Insurance; or
     b.    Resulting from the hazardous properties of nuclear material and with respect to which:
           (1) A person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                  of 1954, or any law amendatory thereof; or




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           (2) Any insured is, or had this policy not been issued would be, entitled to indemnity from the United
                States of America, or any agency thereof, under any agreement entered into by the United States of
                America, or any agency thereof, with any person or organization; or
     c.    Any injury or nuclear property damage resulting from the hazardous properties of nuclear material, if:
           (1) The nuclear material:
                (a) Is at any nuclear facility owned by, or operated by or on behalf of, any insured;
                (b) Has been discharged or dispersed therefrom;
           (2) The nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
               processed, stored, transported or disposed of by or on behalf of any insured; or
           (3) The injury or nuclear property damage arises out of the furnishing by any insured of services,
                materials, parts or equipment in connection with the planning, construction, maintenance operation or
                use of any nuclear facility, but if such facility is located within the United States of America, its
                territories or possessions or Canada, this subparagraph (3) applies only to nuclear property damage
                to such nuclear facility and any property thereat.
     As used in this exclusion:
     a.    Hazardous properties include radioactive, toxic or explosive properties.
     b.    Nuclear Facility means:
           (1) Any nuclear reactor;
           (2) Any equipment or device designed or used for:
                (a) Separating the isotopes of uranium or plutonium,
                (b) Processing or utilizing spent fuel, or
                (c) Handling, processing or packaging waste;
           (3) Any equipment or device used for the processing, fabricating or alloying of special nuclear material if
               at any time the total amount of such material in the custody of any insured at the premises where
                such equipment or device is located consists of or contains more than 25 grams of plutonium or
                uranium 233 or any combination thereof, or more than 250 grams of uranium 235; or
           (4) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
               waste, and includes the site on which any of the foregoing is located, all operations conducted on
                such site and all premises used for such operations.
     c.    Nuclear material means source material, special nuclear material or by-product material.
     d.    Nuclear property damage includes all forms of radioactive contamination of property.
     e.    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting
           chain reaction or to contain a critical mass of fissionable material.
     f.    Source material, special nuclear material and by-product material have the meanings given them in
           the Atomic Energy Act of 1954 or in any law amendatory thereof.
     g.    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to
           radiation in a nuclear reactor.
     h.    Waste means any waste material:
           (1) Containing by-product material other than the tailings or wastes produced by the extraction or
               concentration of uranium or thorium from any ore processed primarily for its source material content;
                and
           (2) Resulting from the operation by any person or organization of any nuclear facility included under the
               first two paragraphs of the definition of nuclear facility.
VIOLATION OF STATUTES
6.   Resulting from or arising directly or indirectly out of any action or omission that violates or is alleged to violate:
     a.    The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;


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          b.   The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
          c.   The Fair Credit Reporting Act (FCRA) and any amendment or addition to such law including the Fair and
               Accurate Credit Transactions Act (FACTA); or
          d.   Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003
               or FCRA and their amendments and additions, that addresses, prohibits or limits the printing,
               dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
               material or information.
     WAR AND MILITARY ACTION
     7.   Arising directly or indirectly out of:
          a.   War, including undeclared or civil war;
          b.   Warlike action by a military force, including action in hindering or defending against an actual or expected
               attack, by any government, sovereign or other authority using military personnel or other agents; or
          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
               defending against any of these,
          regardless of any other cause or event that contributes concurrently or in any sequence to injury or damage.
B.   Under Coverage A this policy does not apply to any liability, damage, loss, cost or expense:
     POLLUTION
     1.   Arising directly or indirectly out of the actual, alleged or threatened discharge, dispersal, seepage, migration,
          release or escape of pollutants:
          a.   At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
               loaned to, any insured. However, this subparagraph does not apply to:
               (1) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by or
                    originating from equipment that is used to heat, cool or dehumidify the building, or equipment that is
                    used to heat water for personal use, by the building's occupants or their guests;
               (2) Bodily injury or property damage for which you may be held liable, if you are a contractor, and the
                   owner or lessee of such premises, site or location has been added to underlying insurance as an
                    additional insured with respect to your ongoing operations performed for that additional insured at that
                    premises, site or location and such premises, site or location is not and never was owned or occupied
                    by, or rented or loaned to, any insured, other than that additional insured; or
               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
          b.   At or from any premises, site or location which is or was at any time used by or for any insured or others
               for the handling, storage, disposal, processing or treatment of waste;
          c.   Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste by
               or for any insured or any person or organization for whom you maybe legally responsible; or
          d.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the pollutants are
               brought on or to the premises, site or location in connection with such operations by such insured,
               contractor or subcontractor. However, this subparagraph does not apply to:
               (1) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating fluids
                    which are needed to perform the normal electrical, hydraulic or mechanical functions necessary for the
                    operation of mobile equipment or its parts, if such fuels, lubricants or other operation fluids escape
                    from a vehicle part designed to hold, store or receive them. This exception does not apply if the bodily
                    injury or property damage arises out of the intentional discharge, dispersal or release of the fuels,
                    lubricants or other operating fluids, or if such fuels, lubricants or other operating fluids are brought on
                    or to the premises, site or location with the intent that they be discharged, dispersed or released as
                    part of the operations being performed by such insured, contractor or subcontractor;
               (2) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor;



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               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          e.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the operations are to test
               for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
               the effects of, pollutants.
          f.   That are, or that are contained in any property that is:
               (1) Being transported or towed by, handled, or handled for movement into, onto or from, any auto for
                   which coverage is provided by underlying insurance;
               (2) Otherwise in the course of transit by or on behalf of any insured; or
               (3) Being stored, disposed of, treated or processed in or upon any auto.
               However, this subparagraph f. does not apply to bodily injury or property damage arising out of:
                    (i)    The escape of fuels, lubricants, other operating fluids, exhaust gases or other similar pollutants
                           that are needed for or result from the normal electrical, hydraulic or mechanical functioning of a
                           covered auto; or
                    (ii) The escape of pollutants from a covered auto that directly results from the collision, upset or
                           overturn of such auto while in the course of transit away from any premises owned by or rented
                           to any insured.
     2.   Arising out of any:
          a.   Request, demand, order or statutory or regulatory requirement that any insured or others test for, monitor,
               clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
               pollutants; or
          b.   Claim or suit brought by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of, pollutants.
C.   Under Coverage B this policy does not apply to:
     AIRCRAFT, AUTOS OR WATERCRAFT
     1.   Any liability, damage, loss, cost or expense arising out of the ownership, maintenance, operation, use, loading
          or unloading or entrustment to others of any
          a.   Aircraft owned by you or rented, loaned or chartered by or on behalf of you without crew;
          b.   Auto; or
          c.   Watercraft owned by you except watercraft while ashore on premises you own or rent.
          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured.
     EMPLOYEE INJURY
     2.   Any injury to:
          a.   An employee of the insured arising out of and in the course of:
               (1) Employment by the insured; or
               (2) Performing duties related to the conduct of the insured's business; or
          b.   Any injury to the spouse, domestic partner, child, parent, brother, or sister of that employee as a
               consequence of exclusion 2.a. above.
          This exclusion applies whether the insured may be liable as an employer or in any other capacity, or to any
          obligation to share damages with or repay someone else who must pay damages because of an injury.
     IMPAIRED PROPERTY
     3.   Property damage to impaired property or property that has not been physically injured arising out of:
          a.   A defect, deficiency, inadequacy or dangerous condition in your product or your work; or


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     b.    A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
     This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
     injury to your product or your work after it has been put to its intended use.
INTENTIONAL INJURY
4.   Bodily injury or property damage expected or intended from the standpoint of the insured. This exclusion
     does not apply to bodily injury or property damage resulting from the use of reasonable force to protect
     persons or property.
PERSONAL and ADVERTISING INJURY
5.   Personal and advertising injury:
     a.    Caused by or at the direction of the insured with the knowledge that the act would violate the rights of
           another and would inflict personal and advertising injury;
     b.    Arising out of oral or written publication of material, if done by or at the direction of the insured with
           knowledge of its falsity;
     c.    Arising out of oral or written publication of material whose first publication took place before the beginning
           of the policy period;
     d.    Arising out of a criminal act committed by or at the direction of any insured;
     e.    For which the insured has assumed liability in a contract or agreement. This exclusion does not apply to
           liability for damages that the insured would have in the absence of the contract or agreement;
     f.    Arising out of a breach of contract, except an implied contract to use another’s advertising idea in your
           advertisement;
     g.    Arising out of the failure of goods, products or services to conform with any statement of quality or
           performance made in your advertisement;
     h.    Arising out of the wrong description of the price of goods, products or services stated in your
           advertisement;
     i.    Arising out of the infringement of copyright, patent, trademark, trade secret, trade dress, slogan or other
           intellectual property rights.
           However, this exclusion does not apply to infringement of copyright, trade dress or slogan in your
           advertisement;
     j.    Committed by an insured whose business is:
           (1) Advertising, broadcasting, publishing, electronic publishing or telecasting;
           (2) Designing or determining content of web-sites for others; or
           (3) An Internet search, access or content provider.
           However, this exclusion 5.j., does not apply to sub-paragraphs C., 12. a., b., c. and h. of personal and
           advertising injury under SECTION V. DEFINITIONS.
           For purposes of this exclusion 5.j., the placing of frames, borders or links, or advertising, for you or others
           anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing
           or telecasting;
     k.    Arising out of an electronic chatroom or bulletin board the insured hosts, owns or over which the insured
           exercises control; or
     l.    Arising out of the unauthorized use of another’s name or product in your e-mail address, domain name or
           metatag, or any other similar tactics to mislead another’s potential customers.
POLLUTION
6.   Any liability, damage, loss, cost or expense:
     a.    Arising directly or indirectly out of the actual, alleged or threatened existence, discharge, seepage,
           migration, dispersal, release or escape of pollutants; or
     b.    Arising out of any:

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               (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                    monitor, clean-up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                    the effects of pollutants; or
               (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
                    monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                    responding to, or assessing the effects of pollutants.
     PRODUCT RECALL
     7.   Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
          inspection, repair, replacement, adjustment, removal or disposal of:
          a.   Your product;
          b.   Your work; or
          c.   Impaired property;
          if such product, work or property is withdrawn or recalled from the market or from use by any person or
          organization because of a known or suspected defect, deficiency, inadequacy, or dangerous condition in it.
     PROPERTY DAMAGE
     8.   Property damage to:
          a.   Property you own, rent or occupy, including any costs or expenses incurred by you, or any person or
               organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property
               for any reason, including prevention of injury to a person or damage to another’s property;
          b.   Premises you sell, give away or abandon if the property damage arises out of any part of those premises;
          c.   Property loaned to you;
          d.   Personal property in your care, custody or control;
          e.   That particular part of real property on which you or any contractors or subcontractors working directly or
               indirectly on your behalf are performing operations, if the property damage arises out of those operations;
          f.   That particular part of any property that must be restored, repaired or replaced because your work was
               incorrectly performed on it;
          g.   Your product arising out of it or any part of it; or
          h.   Your work arising out of it or any part of it and included in the products-completed operations hazard.
D.   Under Coverage C, this policy does not apply to any casualty business crisis arising out of, based upon or
     attributable to:
     PRIOR NOTICE
     1.   Facts alleged, or to the same or related acts alleged or contained, in any crisis, claim or suit that has been
          reported, or in any circumstances where notice has been given under any policy of which this policy or any
          underlying insurance is a renewal or replacement; or
     PENDING OR PRIOR CRISIS CLAIM OR SUIT
     2.   Any pending or prior claim or suit as of the inception date of this policy.
SECTION V. DEFINITIONS
In this policy, words and phrases appearing in bold face type have the definitions shown below.
A.   The following definitions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Designated insured means:
          a.   The person(s) and organization(s) specifically described under             SECTION V. DEFINITIONS,
               sub-paragraphs C.6.a. through C.6.e. below for any insured; or
          b.   Any employee authorized by you to give or receive notice of an occurrence, claim or suit.




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     2.   Electronic data means information, facts or programs stored as or on, created or used on, or transmitted to or
          from computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes,
          drives, cells, data processing devices or any other media which are used with electronically controlled
          equipment.
     3.   Loss means those sums actually paid that the insured is legally obligated to pay as damages for the settlement
          or satisfaction of a claim because of injury or offense, after making proper deductions for all recoveries and
          salvage. However:
          a.   Under Coverage A:
               (1) Loss also includes defense expenses and supplementary payments if underlying insurance includes
                      defense expenses and supplementary payments in the Limits of Insurance; and
               (2) Loss does not include defense expenses and supplementary payments if underlying insurance does
                      not include defense expenses and supplementary payments in the Limits of Insurance.
          b.   Under Coverage B., loss does not include defense expenses and supplementary payments.
     4.   Other insurance means a policy of insurance providing coverage that this policy also provides. Other
          insurance includes any type of self-insurance or other mechanisms by which an insured arranges for funding
          of legal liabilities.
          Other insurance does not include underlying insurance or a policy of insurance specifically purchased to be
          excess of this policy providing coverage that this policy also provides.
     5.   Pollutants mean any man-made or naturally occurring solid, liquid, gaseous or thermal irritant or contaminant,
          including but not limited to: smoke; vapor; soot; fumes; acids; alkalis; chemicals and waste. Waste includes
          materials to be recycled, reconditioned or reclaimed.
     6.   Suit means a civil proceeding in which injuries or damages to which this insurance applies are alleged. Suit
          includes:
          a.   An arbitration proceeding in which such damages are claimed and to which the insured must submit
               pursuant to law or contract or does submit with our consent; or
          b.   Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
               insured submits with our consent.
     7.   Underlying insurance means the policy or policies of insurance listed in the Schedule of Underlying Insurance
          forming a part of this policy. We will only be liable for amounts in excess of the Limits of Insurance shown in the
          Schedule of Underlying Insurance for any underlying insurance.
B.   The following definitions are applicable to Coverage A only:
     1.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
     2.   Insured means:
          a.   You;
          b.   Any person or organization included as an insured in underlying insurance; and
          c.   Any person or organization qualifying as an additional insured in underlying insurance but only to the
               same extent that such person or organization is an additional insured under such underlying insurance.
     3.   Non-Admitted Jurisdiction means:
          a.   Any country or political subdivision in which we are not licensed or permitted to insure risks and where
               doing so would violate the insurance laws and regulations of such jurisdiction; or
          b.   Any country or political subdivision where we are prevented by law from investigating, defending or settling
               an occurrence or suit.
     4.   Occurrence means a covered event as defined in underlying insurance.
     5.   Qualified Entity means any entity, person or organization that is not an insured under this policy and would
          qualify as an insured under this policy, but for the fact that the entity is registered, domiciled or has ongoing
          operations in a non-admitted jurisdiction.




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C.   The following definitions are applicable to Coverage B only:
     1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments
          about your goods, products or services for the purpose of attracting customers or supporters. For purpose of
          this definition:
          a.   Notices that are published include material placed on the Internet or on similar electronic means of
               communication; and
          b.   Regarding websites, only that part of a website that is about your goods, products or services for the
               purpose of attracting customers or supporters is considered an advertisement.
     2.   Auto means:
          a.   A land motor vehicle, trailer or semi-trailer designed for travel on public roads, including any attached
               machinery or equipment; or
          b.   Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
               insurance law in the state where it is licensed or principally garaged.
          However, auto does not include mobile equipment.
     3.   Bodily injury means physical injury, sickness, or disease, including death of a person. Bodily injury to such
          person also means mental anguish, mental injury, humiliation, or shock if directly resulting from physical injury,
          sickness, or disease.
     4.   Employee includes a leased worker. Employee does not include a temporary worker.
     5.   Impaired property means tangible property, other than your product or your work, that cannot be used or is
          less useful because:
          a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate
               or dangerous; or
          b.   You have failed to fulfill the terms of a contract or agreement;
          If such property can be restored to use by;
          a.   The repair, replacement, adjustment or removal of your product or your work; or
          b.   Your fulfilling the terms of the contract or agreement.
     6.   Insured means:
          a.   You, if you are an organization shown in the Declarations, other than a partnership, joint venture or limited
               liability company. Your executive officers and directors are insureds, but only with respect to their duties
               as your executive officers or directors. Your stockholders are also insureds, but only with respect to their
               liability as stockholders;
          b.   You, if you are a partnership or joint venture shown in the Declarations. Your members, your partners, and
               their spouses or domestic partners are also insureds, but only with respect to the conduct of your
               business;
          c.   You and your spouse or domestic partner, if you are an individual shown in the Declarations, but only with
               respect to the conduct of a business of which you are the sole owner;
          d.   You, if you are a limited liability company shown in the Declarations. Your members are also insureds, but
               only with respect to the conduct of your business. Your managers are insureds, but only with respect to
               their duties as your managers;
          e.   You, if you are a trust shown in the Declarations. Your trustees are also insureds, but only with respect to
               their duties as trustees;
          f.   Your employees, but only for acts within the scope of their employment by you;
          g.   Your volunteer workers, but only while performing duties related to the conduct of your business;
          h.   Any person or organization while acting as your real estate manager; or
          i.   Your legal representative if you die, but only with respect to duties as such.




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     No person or organization is an insured with respect to the conduct of any current, past or newly formed
     partnership, limited liability company or joint venture that is not designated within the Declarations of this policy
     as Named Insured.
7.   Insured contract means any written or oral agreement entered into by the insured in the usual course of the
     business operations of the insured in which the insured assumes the tort liability of another to pay damages
     because of bodily injury or property damage to a third person or organization where the contract or
     agreement is made prior to the injury or damage. Liability means a liability that would be imposed by law in the
     absence of any contract or agreement.
8.   Leased worker means a person leased to you by a labor leasing firm under an agreement between you
     and labor leasing firm, to perform duties related to the conduct of your business. Leased worker does not
     include a temporary worker.
9.   Mobile equipment means any of the following types of land vehicles, including any attached machinery or
     equipment:
     a.    Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
     b.    Vehicles maintained for use solely on or next to premises you own or rent;
     c.    Vehicles that travel on crawler treads;
     d.    Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
           (1) Power cranes, shovels, loaders, diggers or drills; or
           (2) Road construction or resurfacing equipment such as graders, scrapers or rollers.
     e.    Vehicles not described in a., b., c. or d. above, that are not self-propelled and are maintained primarily to
           provide mobility to permanently attached equipment of the following types:
           (1) Air compressors, pumps and generators including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment; or
           (2) Cherry pickers and similar devices used to raise or lower workers.
     f.    Vehicles not described in a., b., c. or d. above, maintained primarily for purposes other than the
           transportation of persons or cargo.
           However, self-propelled vehicles with the following types of permanently attached equipment are not
           mobile equipment but are considered autos:
           (1) Equipment designed primarily for:
                (a) Snow removal;
                (b) Road maintenance, but not construction or resurfacing; or
                (c) Street cleaning;
           (2) Cherry pickers and similar devices mounted on an auto or truck chassis and used to raise or lower
                workers; and
           (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.
     However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
     responsibility law or other motor vehicle insurance law in the state where it is licensed or principally garaged.
     Land vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
     considered autos.
10. Named insured means:
     a.    The person(s) and organization(s) designated in Item 1. of the Declarations of this policy;
     b.    Any organization, other than a partnership, joint venture or limited liability company, over which you
           maintain majority interest and to which more specific insurance does not apply, other than one which you
           newly acquire or form; or




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    c.    Any newly acquired or formed organization, other than a partnership, joint venture or limited liability
          company, over which you maintain majority interest and to which more specific insurance does not apply;
          provided that this policy does not apply to any injury or damage that took place before you acquired or
          formed the organization.
11. Occurrence means:
    a.    With respect to bodily injury or property damage liability, an accident, including continuous or repeated
          exposure to substantially the same general harmful conditions.
    b.    With respect to personal and advertising injury, a covered offense. All damages that arise from the
          same act, publication or general conditions are considered to arise out of the same occurrence, regardless
          of the frequency or repetition thereof, the number or kind of media used or the number of claimants.
12. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or
    more of the following offenses:
    a.    False arrest, detention or imprisonment;
    b.    Malicious prosecution;
    c.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
          dwelling or premises that a person occupies committed by or on behalf of its owner, landlord or lessor;
    d.    Oral or written publication, in any manner, of material that slanders or libels a person or organization or
          disparages a person’s or organization’s goods, products or services;
    e.    Oral or written publication, in any manner, of material that violates a person’s right of privacy;
    f.    The use of another’s advertising idea in your advertisement;
    g.    Infringement upon another’s copyright, trade dress or slogan in your advertisement; or
    h.    Discrimination (unless insurance thereof is prohibited by law), not arising out of or related to employment
          practices.
    Personal and advertising injury also means mental anguish, mental injury, humiliation, or shock, if directly
    resulting from an offense listed in Items 12.a. through 12.h. above.
13. Products-completed operations hazard means all bodily injury and property damage occurring away from
    premises you own or rent and arising out of your product or your work except:
    a.    Products that are still in your physical possession; or
    b.    Work that has not yet been completed or abandoned. Your work will be deemed completed at the earliest
          of the following times:
          (1) When all of the work called for in your contract has been completed;
          (2) When all of the work to be done at the site has been completed if your contract calls for work at more
               than one site; or
          (3) When that part of the work done at a job site has been put to its intended use by any person or
               organization other than another contractor or subcontractor working on the same project.
          Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
          complete, will be treated as completed.
    This hazard does not include bodily injury or property damage arising out of:
    a.    The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
          created by the loading or unloading of it by any insured; or
    b.    The existence of tools, uninstalled equipment or abandoned or unused materials.
14. Property damage means:
    a.    Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
          shall be deemed to occur at the time of the physical injury that caused it; or
    b.    Loss of use of tangible property that is not physically injured. All such loss shall be deemed to occur at the
          time of the occurrence that caused it.


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     15. Retained limit means the amount of damages applicable to each occurrence for which the insured is
         responsible that is shown in Item 5. of the Declarations.
     16. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave
          or to meet seasonal or short-term workload conditions.
     17. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
          direction of and within the scope of duties determined by you, and is not paid a fee, salary or other
          compensation by you or anyone else for their work performed for you.
     18. Your product means:
          a.   Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of
               by:
               (1) You;
               (2) Others trading under your name; or
               (3) A person or organization whose business or assets you have acquired; and
          b.   Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
               products.
          Your product includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your product; and
          b.   The providing or failure to provide warnings or instructions.
          Your product does not include vending machines or other property rented to or located for use of others but not
          sold.
     19. Your work means:
          a.   Work or operations performed by you or on your behalf; and
          b.   Materials, parts or equipment furnished in connection with such work or operations.
          Your work includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your work; and
          b.   The providing of or failure to provide warnings or instructions.
D.   The following definitions are applicable to Coverage C only:
     1.   Casualty business crisis means an event that in the good faith opinion of your principal, in the absence of
          casualty business crisis services, has been or may be associated with:
          a.   Damages covered by this policy under Coverage A that are in excess of the applicable limits of
               underlying insurance or under Coverage B that are in excess of the Retained Limit; and
          b.   Significant adverse regional or national media coverage.
          Casualty business crisis shall include, without limitation, man-made disasters such as explosions, major
          crashes, multiple deaths or injuries, burns, dismemberment, traumatic brain injury, paraplegia, or contamination
          of food, drink or pharmaceuticals.
          For purposes of Coverage C, a casualty business crisis will first commence when your principal first become
          aware of the occurrence and will conclude at the earliest of the time when the casualty business crisis
          advisor advises you that the crisis no longer exists or when the Casualty Business Crisis Expense Aggregate
          Limit has been exhausted.
     2.   Casualty business crisis advisor means any public relations firm or crisis management firm approved by us
          that is hired by you to perform casualty business crisis services in connection with a casualty business
          crisis.




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     3.   Casualty business crisis expense means amounts paid:
          a.   To you for the reasonable and necessary:
               (1) Fees and expenses of a casualty business crisis advisor in the performance for you of casualty
                   business crisis services solely for a covered casualty business crisis; and
               (2) Amounts for printing, advertising, mailing of materials or travel by your directors, officers, employees
                   or agents or a casualty business crisis advisor solely for a casualty business crisis; and
          b.   To others for the following reasonable and necessary expenses resulting from such covered casualty
               business crisis provided that such expenses have been approved by us:
               (1) Medical expenses;
               (2) Funeral expenses;
               (3) Psychological counseling;
               (4) Travel expenses;
               (5) Temporary living expenses;
               (6) Expenses to secure the scene of a casualty business crisis; and
               (7) Any other expenses pre-approved by us.
     4.   Casualty business crisis services means those services performed by a casualty business crisis advisor in
          advising you on minimizing potential harm to you from a covered casualty business crisis by maintaining or
          restoring public confidence in you.
     5.   Principal means your Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, President,
          General Counsel or general partner (if you are a partnership) or sole proprietor (if you are a proprietorship).
SECTION VI. CONDITIONS
A.   The following Conditions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Appeals
          In the event you or any underlying insurer elects not to appeal a judgment in excess of the amount of the
          underlying insurance, we may elect to appeal at our expense. If we do so elect, we will be liable for the costs
          and additional interest accruing during this appeal. In no event will this provision increase our liability beyond
          the applicable Limits of Insurance described in SECTION II. of this policy.
     2.   Audit of Books and Records
          We may audit and examine your books and records as they relate to this policy at any time during the period of
          this policy and for up to three (3) years after the expiration or termination of this policy.
     3.   Bankruptcy or Insolvency
          The bankruptcy, insolvency or inability to pay of any insured will not relieve us from our obligation to pay
          damages covered by this policy.
          In the event of bankruptcy, insolvency or refusal or inability to pay, of any underlying insurer, the insurance
          afforded by this policy will not replace such underlying insurance, but will apply as if all the limits of any
          underlying insurance are fully available and collectible.
     4.   Cancellation and Nonrenewal
          a.   Cancellation
               (1) You may cancel this policy. You must mail or deliver advance written notice to us stating when the
                    cancellation is to take effect.
               (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver
                    to you not less than ten (10) days advance written notice when the cancellation is to take effect. If we
                    cancel for any other reason, we will mail or deliver to you not less than ninety (90) days advance
                    written notice stating the reason(s) for cancellation, as well as the date when the cancellation is to
                    take effect. Mailing notice to you at your mailing address shown in Item 2. of the Declarations will be
                    sufficient to prove notice.


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           (3) The policy period will end on the day and hour stated in the cancellation notice.
           (4) If this policy is cancelled, the final premium will be calculated pro rata based on the time this policy
                was in force.
           (5) Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter but
                the cancellation will be effective even if we have not made or offered any refund due you. Our check
                or our representative’s check, mailed or delivered, will be sufficient tender of any refund due you.
     b.    Nonrenewal
           If we decide not to renew this policy, we will mail or deliver to the first Named insured shown in the
           Declarations written notice of the nonrenewal not less than thirty (30) days before the expiration date.
           If notice is mailed, proof of mailing will be sufficient proof of notice.
5.   Changes
     Notice to any agent or knowledge possessed by any agent or any other person will not effect a waiver or a
     change in any part of this policy. This policy can only be changed by a written endorsement that becomes a
     part of this policy.
6.   Currency
     Settlements will be paid in United States currency or, when required, in the currency of the country or
     jurisdiction where the loss or casualty business crisis occurred. When conversion into another currency from
     United States currency is required to pay any loss or casualty business crisis expense, the rate of exchange
     will be determined on the date of the settlement. The rate of exchange will be the rate we incur in obtaining the
     foreign currency.
7.   First Named Insured
     The person or organization first named in Item 1. of the Declarations is responsible for the payment of all
     premiums. The first Named Insured will act on behalf of all other insureds for the giving and receiving of
     notice of cancellation or any other notice required under this policy or by statute or regulation, for the receipt
     and acceptance of this policy and any endorsements forming a part of this policy, and for the receiving of any
     return premiums that become payable under this policy.
8.   Inspection
     We have the right, but are not obligated to inspect the insured’s premises and operations at any time. Our
     inspections are not safety inspections. They relate only to the insurability of the premises and operations and
     the premium to be charged. We may provide reports on the conditions we find. We may also recommend
     changes. While these reports may help reduce losses, we do not undertake to perform the duty of any person
     or organization to provide for the health or safety of workers or the public. We do not warrant that the premises
     or operations are safe or healthful, or that they comply with laws, regulations, codes or standards
9.   Entities That Are Registered, Domiciled or Have Ongoing Operations in Non-Admitted Jurisdictions
     This condition applies solely with respect to entities that are registered, domiciled or have ongoing operations in
     non-admitted jurisdictions.
     With respect to a qualified entity:
     a.    Under Coverage A, we will reimburse the first Named Insured for loss incurred by a qualified entity that
           would have been covered this policy but for the fact that the loss was incurred by a qualified entity
           including:
           (1) Damages covered by this policy in excess of the total applicable limits of underlying insurance; and
           (2) Reasonable defense expenses incurred with our consent.
           We have no duty to defend any person or organization against any claim or suit brought or proceeding
           instituted against any qualified entity in a non-admitted jurisdiction, but we may, at our discretion,
           assume control of or participate in any investigation, defense, settlement or recovery proceedings.
     b.    Coverage under this policy will not apply until the qualified entity or the qualified entity's underlying
           insurer has paid or is obligated to pay the full amount of the applicable limits of underlying insurance.




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    c.    The duties and requirements imposed upon any insured under this policy will not apply to any
          non-admitted jurisdiction. However, with respect to any claims made or suits brought in a
          non-admitted jurisdiction, it will be the duty of the first Named Insured to do or cause the applicable
          qualified entity to do such things as would be required of such qualified entity if Coverage A applied
          directly to such claim or suit, including:
          (1) Make such investigation, defense or settlement as we deem reasonable;
          (2) Obtain our approval for any payment; and
          (3) Effect approved payments to others, in accordance with the terms and conditions of this insurance.
    d.    Under Coverage B, this policy does not apply to any liability, damage, loss, cost or expense arising out of
          any operations or activities of a qualified entity.
    e.    We will promptly pay the first Named Insured at the mailing address listed in Item 2. of the Declarations
          the amount of damages covered under the terms of this policy. If the first Named Insured or any qualified
          entity recovers from any third party all or part of any amount that we have paid pursuant to this insurance,
          the first Named Insured will promptly reimburse the amount of any such recovery to us.
10. Legal Action Against Us
    There will be no right of action against us under this insurance unless:
    a.    You have complied with all the terms of this policy; and
    b.    The amount you owe has been determined by settlement with our consent or by actual trial and final
          judgment.
    This insurance does not give anyone the right to add us as a party in an action against you to determine your
    liability.
11. Maintenance of Underlying Insurance
    During the period of this policy, you agree:
    a.    To keep the policies listed in the Schedule of Underlying Insurance in full force and effect;
    b.    That the Limits of Insurance of the policies listed in the Schedule of Underlying Insurance will be
          maintained except for any reduction or exhaustion of limits by payment of claims or suits for damages
          covered by underlying insurance;
    c.    The policies listed in the Schedule of Underlying Insurance may not be canceled or not renewed by you
          without notifying us, and you agree to notify us in the event an insurance company cancels or declines to
          renew any policy listed in the Schedule of Underlying Insurance; and
    d.    Renewals or replacements of the policies listed in the Schedule of Underlying Insurance will not be
          materially changed without our agreement.
    If you fail to comply with these requirements, we will only be liable to the same extent that we would have been
    had you fully complied with these requirements.
12. Miscellaneous Unintentional Errors and Omissions
    Any unintentional error or omission in the description of, or failure to describe completely, any premises or
    operations intended to be covered by this policy, shall not invalidate or affect the coverage for those operations
    or premises. However, the insured must report such error or omission to the company as soon as practicable
    after its discovery.
13. Other Insurance
    If other insurance applies to damages that are also covered by this policy, this policy will apply excess of the
    other insurance. However, this provision will not apply:
    a.    If the other insurance is written to be excess of this policy; or
    b.    With respect to Coverage A only, if the named insured has agreed in a written contract to carry insurance
          to apply prior to and be non-contributory with that of another person or organization's insurance, but only
          as respects damages arising out of insured operations or work on behalf of the named insured performed
          under such written contract. The limits available to the other person or organization will be the lesser of the
          policy limits or the minimum limits required by such written contract. In that case, other insurance of that
          person or organization will apply as excess and not contribute prior to the insurance afforded by this policy.

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          Nothing herein will be construed to make this policy subject to the terms, conditions and limitations of such
          other insurance.
     14. Premium
          The premium for this policy as stated in Item 6. of the Declarations is a flat premium. It is not subject to
          adjustment unless an endorsement is attached to this policy.
     15. Separation of Insureds
          Except with respect to the Limits of Insurance, and any rights or duties specifically assigned to the first Named
          Insured, this insurance applies:
          a.   As if each named insured were the only named insured; and
          b.   Separately to each insured against whom claim is made or suit is brought.
     16. Terms Conformed to Statute
          The terms of this policy which are in conflict with the statutes, laws, ordinances or regulations in any country,
          jurisdiction, state or province where this policy is issued are amended to conform to such statutes, laws,
          ordinances or regulations. If we are prevented by law or statute from paying on behalf of the insured, then we
          will, where permitted by law or statute, indemnify the insured.
     17. Transfer of Rights of Recovery Against Others to Us
          a.   If the insured has rights to recover all or part of any payment we have made under this insurance, those
               rights are transferred to us. The insured must do nothing after the loss to impair them. At our request,
               the insured will bring suit or transfer those rights to us and help us enforce them.
               However, if any insured is required by a written contract or agreement which is executed before a loss to
               waive their rights of recovery from others, we agree to waive our rights of recovery. This waiver of rights
               shall not be construed to be a waiver with respect to any other operations for which the insured has not
               waived their rights of recovery by contract.
          b.   Any amount recovered will be apportioned in the inverse order of payment of loss to the extent of actual
               payment. The expenses of all such recovery proceedings will be apportioned in the ratio of respective
               recoveries.
     18. Transfer of Your Rights and Duties
          Your rights and duties under this insurance may not be transferred without our written consent. If you die, then
          your rights and duties will be transferred to your legal representative, but only while acting within the scope of
          duties as your legal representative. Until your legal representative is appointed, anyone having temporary
          custody of your property will have your rights and duties but only with respect to that property.
     19. When Loss is Payable
          Coverage under this policy will not apply until the insured, or the insured’s underlying insurer has paid or is
          legally obligated to pay the full amount of the Underlying Limits of Insurance or Retained Limit.
          When the amount of loss is determined by an agreed settlement or on a final judgment against an insured
          obtained after an actual trial, we will promptly pay on behalf of the insured the amount of loss covered under
          the terms of this policy. The first Named Insured will promptly reimburse us for any amount within the
          Retained Limit paid by us.
     20. Violation of Economic or Trade Sanctions
          If coverage for a claim or suit under this policy is in violation of any economic or trade sanctions of the United
          States of America then coverage for that claim or suit will be null and void.
B.   The following Condition is applicable to Coverage A and Coverage B:
     1.   Notice of Occurrence, Claim or Suit
          a.   You must see to it that we are notified as soon as practicable of an occurrence which may result in
               damages covered by this policy.
               To the extent possible, notice will include:
               (1) How, when and where the occurrence took place;


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               (2) The names and addresses of any injured persons and witnesses; and
               (3) The nature and location of any injury or damage arising out of the occurrence.
          b.   Knowledge of an occurrence by the agent, servant or employee of yours, shall not in itself constitute
               knowledge by the insured unless you, or any employee authorized by you to give or receive notice of an
               occurrence, claim or suit shall have received such notice from the agent, servants or employee.
          c.   If a claim or suit against any Insured is reasonably likely to involve this policy you must notify us in writing
               as soon as practicable.
          d.   You and any other involved insured must:
               (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
                   connection with the claim or suit;
               (2) Authorize us to obtain records and other information;
               (3) Cooperate with us in the investigation, settlement or defense of the claim or suit; and
               (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                   may be liable to the insured because of injury or damage to which this insurance may also apply.
          e.   The insureds will not, except at their own cost, voluntarily make a payment, assume any obligation, or
               incur any expense, other than for first aid, without our consent.
          f.   Your failure to give notice of an occurrence to us shall not invalidate coverage under this policy if the
               occurrence was inadvertently reported to another Insurer. However, you shall report any such
               occurrence to us as soon as practicable once you become aware of such error.
C.   The following Conditions are applicable to Coverage C:
     1.   Notice of a Casualty Business Crisis
          You must see to it that we are notified of a casualty business crisis as soon as practicable after it first
          commences. Such notice shall include a description of the casualty business crisis and the reason it is likely
          to involve damages covered by this policy in excess of the applicable limits of underlying insurance under
          Coverage A or Retained Limit under Coverage B and significant adverse regional or national media coverage.
          We will not be liable for casualty business crisis expense incurred prior to, or more than one hundred eighty
          (180) days after the date notice of such casualty business crisis is first given to us. Notice to us shall be
          given to Zurich Claim Reporting, Care Center, P.O. Box 49547, Colorado Springs, CO 80949, Phone
          1-800-987-3373, Fax 1-877-962-2567, E-Mail USZ Care Center@Zurichna.com.
     2.   Arbitration
          If you and we disagree as to whether a casualty business crisis has occurred, both parties may, by mutual
          consent agree in writing to arbitration of the disagreement and the right to any reimbursement for casualty
          business crisis expense.
          In this event, each party will select an arbitrator. The two arbitrators will select a third. If they cannot agree
          within 30 days, both parties must request that selection be made by a judge of a court having jurisdiction. Each
          party will:
          a.   Pay the expenses it incurs; and
          b.   Bear the expenses of the third arbitrator equally.
          Unless both parties agree otherwise, arbitration will take place in the state, county or parish in which the
          address shown in the Declarations is located. Local rules of law as to procedure and evidence will apply.




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Endorsement # 01




Care, Custody Or Control Exclusion


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-01       09/01/2013           09/01/2014          09/01/2013         70074000    ----------           ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A this policy does not apply to property damage to:
Under Coverage A this policy does not apply to property damage to: Real and/or Personal Property of others in the care,
custody or control of the ins
of others in the care, custody or control of the insured.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)




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Endorsement # 02




Employee Benefits Liability Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-01      09/01/2013          09/01/2014          09/01/2013         70074000    ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense imposed on any
insured as a Fiduciary Administrator, or other party in interest arising out of any Employee Benefits Program, record
handling in connection with any Employee Benefits Program, or effecting or terminating any employee’s participation in
any plan included in any “Employee Benefits Program”.
As used in this endorsement:
Employee Benefits Program means any group life insurance, group accident or health insurance, profit sharing plans,
pension plans, stock subscription plans, unemployment insurance, social security benefits, workers’ compensation and
disability benefits and any other similar plans.




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Endorsement # 03




Foreign Operations Follow Form


     Policy No.    Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-01      09/01/2013          09/01/2014          09/01/2013         70074000    ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
insured’s operations or activities outside of the United States of America (including its territories and possessions),
Puerto Rico or Canada whether or not the insured’s responsibility to pay damages is determined in a suit on the merits
in the United States of America (including its territories and possessions), Puerto Rico or Canada.




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Endorsement # 04




Lead Exclusion


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.          Return Prem.

 AUC 5912288-01     09/01/2013           09/01/2014          09/01/2013         70074000     ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A. Under Coverage A and Coverage B this policy does not apply to:
   1. Any liability, damage, loss, cost or expense arising out of, resulting from, caused by or contributed to by toxic or
       pathological properties of lead, lead compounds or lead contained in any materials;
   2. Any cost or expense to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead;
   3. Any supervision, instructions, recommendations, warnings or advice given or which should have been given in
      connection with paragraphs 1. or 2. above; or
   4. Any obligation to share damages with or repay anyone else who must pay damages in connection with
      paragraphs 1., 2., or 3. above.




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Endorsement # 05




Personal and Advertising Injury Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-01     09/01/2013           09/01/2014          09/01/2013         70074000    ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
personal and advertising injury offense.




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Endorsement # 06




Fungus or Bacteria Exclusion


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-01       09/01/2013          09/01/2014          09/01/2013         70074000     ----------          ----------
Named Insured and Mailing Address:                                         Producer:
OMNICELL, INC                                                              MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                     1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                               SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A and Coverage B this policy does not apply to any liability, damage, loss, cost or expense:
    A. Caused directly or indirectly by the actual, alleged or threatened inhalation of, ingestion of, contact with, exposure
        to, existence of, or presence of any:
        1. Fungi, or bacteria; or
        2. Substance, vapor or gas produced by or arising out of any fungi or bacteria.
    B. Arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying,
       neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, fungi or
       bacteria, by any insured or by any other person or entity.
Definitions
    As used in this endorsement:
    1. Bacteria means any type or form of bacteria and any materials or substances that are produced or released by
        bacteria.
    2. Fungi means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents or
        by-products produced or released by fungi.
    3. Spores means reproductive bodies produced by or arising out of fungi.
This exclusion does not apply to any fungi or bacteria that are, are on, or are contained in, an edible good or edible
product intended for human or animal consumption.




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Endorsement # 07




Technology Errors and Omissions Follow Form


     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.          Producer             Add'l Prem.           Return Prem.

 AUC 5912288-01        09/01/2013            09/01/2014            09/01/2013             70074000                ----------          ----------
Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damages, loss, cost or expense arising out of:
1. The failure of your product to perform the function or serve the purpose intended;
2. The performance or nonperformance of your work;
3. Purchase or contract price for your product or your work;
4. Disgorgement of profits, restitution, or any money or credits that represent any gain, profit, or advantage to which you
    are not legally entitled; or
5. Criminal or civil penalties.
As used in this endorsement the following definitions apply:
1. Damages means a monetary amount to compensate for a wrongful act.
2. Wrongful act means an error or omission by or on behalf of any insured.
3. Your product means
    a. Any goods or products manufactured, developed, designed, created, sold, handled, licensed, marketed,
        distributed, or disposed of by you or on your behalf, including but not limited to:
        1) Computer software or computer programming;
        2) Electronic or computer equipment, components, or peripherals;
        3) Telecommunications or broadcasting equipment; or
        4) Industrial or robotic equipment; and
    b. Containers (other than vehicles), materials, parts, or equipment furnished in connection with such goods or
        products.
    Your product includes:
    a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
       of your product; and
    b. The providing of or failure to provide warnings or instructions.




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4. Your work means:
   a. Work or operations performed by you or on your behalf, including but not limited to:
       1) Installation, service, technical support, system integration, maintenance, repair, consulting, or analysis of:
           a) Computer software or computer programming;
           b) Electronic or computer equipment, components, or peripherals;
           c) Telecommunications or broadcasting equipment; or
           d) Industrial or robotic equipment;
           and any training services provided in conjunction with the above activities;
       2) Electronic processing, management, mining, or warehousing of data or records for others;
       3) Providing multimedia services, including but not limited to:
           a) Television broadcasting;
           b) Cable and satellite broadcasting;
           c) Radio broadcasting;
           d) Electronic broadcasting;
           e) Internet access; or
           f)   Website design;
       4) Providing telecommunication services, including but not limited to:
           a) Wire based telecommunications;
           b) Wireless telecommunications; or
           c) Paging services; and
       5) Administration, management, operation, or hosting of systems, technology, or computer facilities for another
           person or organization; and
   b. Materials, parts, or equipment furnished in connection with such work or operations.
   Your work includes:
   a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
      of your work; and
   b. The providing of or failure to provide warnings or instruction.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                        President                                                     Corporate Secretary




              QUESTIONS ABOUT YOUR INSURANCE?                   Your agent or broker is best equipped to
              provide information about your insurance. Should you require additional information or
              assistance in resolving a complaint, call or write to the following (please have your policy or
              claim number ready):

                                                Zurich in North America
                                                Customer Inquiry Center
                                                  1400 American Lane
                                            Schaumburg, Illinois 60196-1056
                                  1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                            Email: info.source@zurichna.com




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Cap On Losses From Certified Acts Of Terrorism

    Policy No.     Eff. Date of Pol.     Exp. Date of Pol.     Eff. Date of End.          Producer              Add'l Prem.         Return Prem.

 AUC 5912288-01      09/01/2013            09/01/2014             09/01/2013             70074000               ----------          ----------
Named Insured and Mailing Address:                                             Producer:
OMNICELL, INC                                                                  MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                         1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                   SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Agribusiness Pollution Liability Insurance Policy - Claims Made and Reported Coverage
Environmental Cleanup and Liability Insurance Policy - Claims Made and Reported Coverage
Environmental Impairment Liability Insurance Policy - Claims Made and Reported Coverage
Environmental Services Package Policy
Excess Environmental Insurance Policy - Claims Made and Reported Coverage
Healthcare Pollution Liability Insurance Policy - Claims Made and Reported Coverage
Public Entity Pollution Liability - Claims Made and Reported Coverage
Real Estate Environmental Liability Insurance Policy - Claims Made and Reported Coverage
Remediation Stop Loss
Z Choice Pollution Liability
Lender Environmental Collateral Protection and Liability Insurance Policy – Claims Made and Reported Coverage
Lender Environmental Collateral Protection and Liability Insurance Outstanding Loan Balance - Claims Made and
Reported Coverage
Follow Form Excess Liability Policy
Follow Form Excess Liability Policy – Claims Made and Reported Coverage
Commercial Umbrella Liability Policy
Commercial Umbrella Liability Policy – Claims Made and Reported Coverage


A. Cap on Losses From Certified Terrorism Losses
       “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concurrence with the
       Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
       Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
       shall certify an act of terrorism:
       1. to be an act of terrorism;
       2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
       3. to have resulted in damage within the United States, or outside of the United States in the case of an air car-
          rier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel
          based principally in the United States, on which United States income tax is paid and whose insurance cover-
          age is subject to regulation in the United States), or the premises of a United States mission; and
       4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of
          the United States or to influence the policy or affect the conduct of the United States Government by coer-
          cion.




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       No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
       Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
       subject to TRIA, do not exceed $5,000,000.
       If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a
       Program Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism
       Risk Insurance Act, we shall not be liable for the payment of any portion of the amount of such losses that
       exceeds $100 billion, and in such case insured losses up to that amount are subject to pro rata allocation in
       accordance with procedures established by the Secretary of Treasury.
B. Application of Other Exclusion
       The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
       terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
       limited or restricted under this policy.

ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




                                                                                                     U-GU-767-A CW (01/08)
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California Cancellation and Nonrenewal Endorsement


     Policy No.          Eff. Date of Pol.     Exp. Date of Pol.     Eff. Date of End.          Producer              Add'l Prem.          Return Prem.

 AUC 5912288-01           09/01/2013             09/01/2014             09/01/2013             70074000                ----------         ----------
Named Insured and Mailing Address:                                                   Producer:
OMNICELL, INC                                                                        MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                               1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                         SAN JOSE, CA 95112-4508




                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, a. Cancellation, paragraph (2), is deleted and
     replaced with the following:
     (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver to you at
          the address shown on your policy not less than ten (10) days advance written notice when the cancellation is to
          take effect. If we cancel for any other reason, we will mail or deliver to you not less than ninety (90) days
          advance written notice stating the reason(s) for the cancellation and stating when the cancellation is to take
          effect. Mailing or delivery of the notice of cancellation to you shall be deemed to have been given to all
          insureds.
          (a) If this policy has been in effect for less than sixty (60) days and is not a renewal of a policy we issued, we
                  may cancel this policy for any reason.
          (b) If this policy has been in effect for sixty (60) days or more, or if this policy is a renewal of a policy we
                  issued, we may cancel this policy for one or more of the following reasons:
                  i.    Non-payment of premium, including payment due on a prior policy we issued and due during the
                        current policy term covering the same risks;
                  ii.   Discovery of fraud or material misrepresentation by any insured or his or her representative in
                        obtaining this insurance or in pursuing a claim under this policy;
                  iii. A judgment by a court or an administrative tribunal that you have violated a California or Federal law,
                        having as one of its necessary elements an act which materially increases any of the risks insured
                        against;
                  iv. Discovery of willfully or grossly negligent acts or omissions, or of any violations of state laws or
                        regulations establishing safety standards, by you or your representative, which materially increase any
                        of the risks insured against;
                  v.    Failure by you or your representative to implement reasonable loss control requirements, agreed to as
                        a condition of policy issuance, or which were conditions precedent to our use of a particular rate or
                        rating plan, if that failure materially increases any of the risks insured against;
                  vi. A determination by the Commissioner of Insurance that the loss of, or changes in, our reinsurance
                        covering all or part of the risk would threaten our financial integrity or solvency;
                  vii. A determination by the Commissioner of Insurance that continuation of the policy coverage would
                        place us in violation of California law or the laws of the state where we are domiciled or threaten our
                        solvency;




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                  viii. A change by you or your representative in the activities or property of the commercial or industrial
                        enterprise, which results in a materially added, increased or changed risk, unless the added,
                        increased, or changed risk is included in the policy;
                  ix. A material change in limits, type or scope of coverage, or exclusions in one or more of the underlying
                        policies;
                  x.    Cancellation or nonrenewal of one or more of the underlying policies where such policies are not
                        replaced without lapse;
                  xi. A reduction in financial rating or grade of one or more insurers, insuring one or more underlying
                        policies based on an evaluation obtained from a recognized financial rating organization.
          (c) If we cancel for non-payment of premium, you may continue coverage and avoid the effect of cancellation
                  by payment in full at any time prior to the effective date of cancellation.
B.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, b. Nonrenewal, is deleted and replaced with the
     following:
     b.   Nonrenewal
          (1) If we decide not to renew this policy, we will mail or deliver notice of nonrenewal at least sixty (60) days,
                  but not more than one hundred, twenty (120) days before the expiration date of this policy. Such notice will
                  be mailed or delivered to you at the mailing address last known to us, and to the producer of record (if
                  any). Proof of mailing will be sufficient proof of notice. Mailing or delivery of the notice of nonrenewal shall
                  be deemed to have been given to all insureds.
          (2) We need not provide notice of nonrenewal if:
                  (a) The transfer or renewal of a policy, without any changes in terms, conditions, or rates, is between us
                        and a member of our insurance group;
                  (b) The policy has been extended for ninety (90) days or less, provided that notice has been given in
                      accordance with paragraph (1);
                  (c) You have obtained replacement coverage, or if you have agreed, in writing, within sixty (60) days of
                        the termination of the policy, to obtain that coverage;
                  (d) The policy is for a period of no more than 60 days and you are notified at the time of issuance that it
                        will not be renewed;
                  (e) You request a change in the terms or conditions or risks covered by the policy within sixty (60) days of
                        the end of the policy;
                  (f)   We have made a written offer to you, in accordance with paragraph (1), to renew the policy under
                        changed terms or conditions or at an increased premium rate, when the increase exceeds 25%;
                  (g) The policy has been designated as nonrenewable.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 08



Exclusion - Collection or Distribution of Material or
Information in Violation of Law


     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.          Producer             Add'l Prem.           Return Prem.

 AUC 5912288-01       09/01/2013             09/01/2014            09/01/2013             70074000                ----------          ----------
Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. Middlefield Rd.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Exclusion A. 6. VIOLATION OF STATUTES under SECTION IV. EXCLUSIONS is deleted and replaced by the following:
Under Coverage A and Coverage B, this policy does not apply to any liability, damage, loss, cost or expense:
COLLECTION OR DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF LAW
6. Directly or indirectly arising out of or based upon any action or omission that violates or is alleged to violate:
    a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
    b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
    c. The Fair Credit Reporting Act (FCRA) and any amendment of or addition to such law including the Fair and
        Accurate Credit Transactions Act (FACTA); or
    d. Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
        FCRA, and their amendments and additions, or any other legal liability, at common law or otherwise, that
        addresses, prohibits, or limits the printing, dissemination, disposal, collecting, recording, use of, sending,
        transmitting, communicating or distribution of material or information.


ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




                                                                                                                               U-UMB-525-E CW (01/12)
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            EXHIBIT G
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Advisory notice to policyholders regarding the
U.S. Treasury Department's Office of Foreign Assets
Control ("OFAC") regulations

No coverage is provided by this policyholder notice nor can it be construed to replace any provisions of your policy. You
should read your policy and review your declarations page for complete information on the coverages you are provided.
This notice provides information concerning possible impact on your insurance coverage due to directives issued by the
U.S. Treasury Department's Office of Foreign Assets Control ("OFAC").
Please read this Notice carefully.
OFAC administers and enforces sanctions policy based on Presidential declarations of "national emergency". OFAC has
identified and listed numerous:
           Foreign agents;
           Front organizations;
           Terrorists;
           Terrorist organizations; and
           Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons." This list can be located on the United States Treasury's web
site – http://www.treasury.gov/about/organizational-structure/offices/Pages/Office-of-Foreign-Assets-Control.aspx.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity claiming the
benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and Blocked Person, as
identified by OFAC, this insurance will be considered a blocked or frozen contract and all provisions of this insurance are
immediately subject to OFAC restrictions. When an insurance policy is considered to be such a blocked or frozen
contract, no payments or premium refunds may be made without authorization from OFAC. Other limitations on
premiums and payments also apply.




                                                                                                                       U-GU-1041-A (03/11)
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               THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR
                                       POLICY.
 THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR CHANGE THE TERMS AND
              CONDITIONS OF ANY COVERAGE UNDER THE POLICY.
                            DISCLOSURE OF PREMIUM
                       (RELATING TO DISPOSITION OF TRIA)
                                                                SCHEDULE*
  (1) Premium attributable to risk of loss from certified acts of terrorism through the end of the policy period based on the
  extension of the Terrorism Risk Insurance Act of 2002, as amended by the Terrorism Risk Insurance Extension Act of 2005,
  (“TRIA”) for lines subject to TRIA and the Terrorism Risk Insurance Program Reauthorization Act of 2007 (TRIPRA):

     $866

 If TRIA terminates, the portion of this premium attributable to the remaining part of the policy period, as modified by any
 change shown in (2) of this Schedule, applies to the risk of loss from terrorism after the termination of TRIA.
 (2) Premium change upon termination of TRIA or upon applicability of a Conditional Endorsement:
     No change unless one of the following is completed -
     Return Premium:       N/A

     Additional Premium: N/A

 If we notify you of an additional premium charge, the additional premium will be due as specified in such notice.
 *Information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium                                                                  December 31, 2014 unless extended by the federal
                                                                                         government.
   In accordance with the TRIA, we are required to
   provide you with a notice disclosing the portion of                              C. Possibility of Additional or Return Premium
   your premium, if any, attributable to the risk of loss
                                                                                         The premium attributable to the risk of loss from
   from terrorist acts certified under that Act for lines
                                                                                         certified acts of terrorism coverage is calculated
   subject to TRIA. That portion of your premium
                                                                                         based on the coverage (if any) in effect at the
   attributable is shown in the Schedule of this
                                                                                         beginning of your policy for certified acts of
   endorsement or in the Declarations.
                                                                                         terrorism. If your policy contains a Conditional
B. Disclosure of Federal Participation in Payment of                                     Endorsement, the termination of TRIA or extension
   Terrorism Losses                                                                      of the federal program with certain modifications (as
                                                                                         explained in that endorsement) may modify the
   The United States Government, Department of the                                       extent of coverage (if any) your policy provides for
   Treasury, will pay a share of terrorism losses insured                                terrorism. If TRIA terminates or the Conditional
   under the federal program. The federal share equals                                   Endorsement becomes applicable to your policy, the
   85% of that portion of the amount of such insured                                     return premium (if any) or additional premium (if
   losses that exceeds the applicable insurer retention.                                 any) shown in (2) of the Schedule will apply. If the
   The Act currently provides for no insurance industry                                  level or terms of federal participation change, the
   or United States government participation in                                          premium shown in (1) of the Schedule attributable to
   terrorism losses that exceed $100 billion in any one                                  that part of the policy period extending beyond such
   calendar year. The federal program established by                                     a change may not be appropriate and we will notify
   the Act is scheduled to terminate at the end of                                       you of any changes in your premium.

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                                             Copyright Zurich American Insurance Company 2013                                       Page 1 of 1

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Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement


               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


         If you want to learn more about the compensation Zurich pays agents and brokers visit:

                            http://www.zurichnaproducercompensation.com

                         or call the following toll-free number: (866) 903-1192.



               This Notice is provided on behalf of Zurich American Insurance Company

                                   and its underwriting subsidiaries.




                                                                                            U-GU-874-A CW (06/11)
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Commercial Umbrella Liability Policy
Declarations

Insurance is provided by the company below.

                              American Guarantee and Liability Insurance Company

Policy Number:    AUC 5912288-02                               Renewal of Number:     AUC 5912288-01

1.   Named Insured:     OMNICELL, INC                          Producer: MARSH RISK & INSURANCE
                                                                         SERVICES
2.   Mailing Address:   590 E. MIDDLEFIELD RD.                             1732 N 1ST ST STE 400
                        MOUNTAIN VIEW, CA 94043-1337                       SAN JOSE, CA 95112-4508

     Email Address:                                                        annmarie.torio@marsh.com

3.   Policy Period:     From: 09/01/2014 To: 09/01/2015
                        at 12:01 A.M. Standard Time at the address of the Named Insured.


4.   Limits of Insurance:   A.   $25,000,000        Occurrence
                            B.   $25,000,000        Other Aggregate
                            C.   $25,000,000        Products/Completed Operations Aggregate
                            D.   $250,000           Casualty Business Crisis Aggregate Limit

5.   Retained Limit:             $0                 Occurrence

6.   Policy Premium:
     Advance Premium                      $44,166
     Policy Minimum Earned Premium        $11,042

7.   Schedule of Underlying Insurance:    See attached Schedule of Underlying Insurance

8.   Endorsements Attached:               See attached Schedule of Forms and Endorsements




                                                                                            U-UMB-D-101-C CW (03/10)
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Schedule of Forms and Endorsements

     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer       Add'l Prem.          Return Prem.

 AUC 5912288-02      09/01/2014           09/01/2015          09/01/2014            70074000       ----------           ----------
Named Insured and Mailing Address:                                         Producer:
OMNICELL, INC                                                              MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                     1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                               SAN JOSE, CA 95112-4508




                          Form Name                                               Form Number                     Edition Date

Advisory Notice To Policyholders Regarding the U.S.                               U-GU-1041-A                         (03/11)
Treasury Department's Office of Foreign Assets Control
("OFAC") Regulations

Disclosure of Premium (Relating to Disposition of TRIA)                          U-GU-692-C CW                        (06/13)

Commercial Umbrella Liability Policy Declarations                               U-UMB-D-101-C CW                      (03/10)

Schedule of Underlying Insurance                                                U-UMB-105-A CW                        (07/99)

Extended Schedule of Underlying Insurance                                       U-UMB-106-A CW                        (07/99)

Commercial Umbrella Liability Policy                                            U-UMB-103-C CW                        (03/10)

Certified Act of Terrorism Retained Amount - Coverage B                         U-UMB-406-C CW                        (01/08)

Conditional Terrorism Retained Amount Provisions (Related                       U-UMB-503-C CW                        (08/13)
to Disposition of Federal Terrorism Risk Insurance Act)

Care, Custody Or Control Exclusion                                              U-UMB-129-B CW                        (07/03)

Employee Benefits Liability Follow Form                                         U-UMB-167-B CW                        (07/03)

Foreign Operations Follow Form                                                  U-UMB-183-A CW                        (07/99)

Lead Exclusion                                                                  U-UMB-193-A CW                        (07/99)

Personal and Advertising Injury Follow Form                                     U-UMB-217-A CW                        (07/99)

Fungus or Bacteria Exclusion                                                    U-UMB-385-B CW                        (07/03)

Technology Errors and Omissions Follow Form                                     U-UMB-663-A CW                        (02/09)

Important Notice - In Witness Clause                                             U-GU-319-F CW                        (01/09)

CAP on Losses from Certified Acts of Terrorism                                   U-GU-767-A CW                        (01/08)

California Cancellation and Nonrenewal                                           U-UMB-265-C CA                       (04/10)

                                                                                                                 U-UMB-104-A CW (07/99)
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Exclusion-Recording And Distribution Of Material Or   U-UMB-525-F CW             (01/14)
Information In Violation Of Law

Umbrella Amendatory Endorsement                       U-UMB-906-A CW             (01/14)




                                                                            U-UMB-104-A CW (07/99)
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Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-02        09/01/2014          09/01/2015          09/01/2014         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

A. Company: Zurich American Insurance                    Commercial General                   $1,000,000        Premises - Each
            Company                                      Liability                                              Occurrence

   Policy No: CPO 5912284-02                             Domestic Package                     $1,000,000        Products /
                                                         Policy                                                 Completed Ops -
                                                                                                                Each Occurrence
   Term:         09/01/2014 to 09/01/2015                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate
                                                                                              $2,000,000        General Aggregate
                                                                                                                Per Location
                                                                                                                Term Aggregate
                                                                                                                $2,000,000

                                                                                              $1,000,000        Personal Injury/
                                                                                                                Advertising Injury
                                                         Including Employee                   $1,000,000        Employee Benefits -
                                                         Benefits                                               Each Claim
                                                                                              $1,000,000        Employee Benefits -
                                                                                                                General Aggregate

   Company, Policy No. and Term                                Coverage                         Applicable Limits

B. Company: Zurich American Insurance                    Commercial Auto Liability            $1,000,000        Combined Single
            Company                                                                                             Limit
   Policy No: CPO 5912284-02                             Domestic Package
                                                         Policy
   Term:         09/01/2014 to 09/01/2015
   Company, Policy No. and Term                                Coverage                         Applicable Limits




                                                                                                                U-UMB-105-A CW (07/99)
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C. Company: Zurich American Insurance    Employers Liability     $1,000,000   Bodily Injury By
            Company                                                           Accident - Each
                                                                              Accident
   Policy No: WC 5543003-01              Workers                 $1,000,000   Bodily Injury By
                                         Compensation Policy                  Disease - Each
                                                                              Employee
   Term:      01/01/2014 to 01/01/2015                           $1,000,000   Bodily Injury By
                                                                              Disease - Policy
                                                                              Limit




                                                                              U-UMB-105-A CW (07/99)
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Extended Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-02        09/01/2014          09/01/2015          09/01/2014         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Each Occurrence
            Company                                      Premises and
                                                         Products/Completed
                                                         Ops Liability
   Policy No: ZE 5912294-02                              Foreign Package Policy               $2,000,000        General Aggregate
   Term:         09/01/2014 to 09/01/2015                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Combined Single
            Company                                      Automobile Liability                                   Limit
   Policy No: ZE 5912294-02                              Foreign Package Policy
   Term:         09/01/2014 to 09/01/2015

   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Bodily Injury By
            Company                                      Employers Liability                                    Accident - Each
                                                                                                                Accident
   Policy No: ZE 5912294-02                              Foreign Package Policy               $1,000,000        Bodily Injury By
                                                                                                                Disease - Each
                                                                                                                Employee
   Term:         09/01/2014 to 09/01/2015                                                     $1,000,000        Bodily Injury By
                                                                                                                Disease - Policy
                                                                                                                Limit




                                                                                                                U-UMB-106-A CW (07/99)
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Commercial
Umbrella
Liability
Policy



Zurich North America

Insurance is provided by the company designated on the Declarations of this policy.




                                                                                             U-UMB-100-B CW (07/03)
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Commercial Umbrella Liability Policy

There are provisions in this policy that restrict coverage. Read the entire policy carefully to determine your rights, duties
and what is and is not covered.
Throughout this policy the words “you” and “your” refer to the Named Insured shown in the Declarations, and any other
person or organization qualifying as a named insured under this policy. The words “we”, “us” and “our” refer to the
company providing this insurance.
The word insured means any person or organization qualifying as such in SECTION V. DEFINITIONS of this policy.
Words and phrases that are printed in bold-face type are defined in this policy. These definitions are found in SECTION
V. DEFINITIONS of this policy or in the specific policy provision where they appear.
In consideration of the payment of the premium and in reliance upon the statements in the Declarations and in
accordance with the provisions of this policy we agree with you to provide coverage as follows:
                                                  Insuring Agreements
SECTION I.    COVERAGE
A.   Coverage A - Excess Follow Form Liability Insurance
     Under Coverage A, we will pay on behalf of the insured those damages covered by this insurance in excess of the
     total applicable limits of underlying insurance. With respect to Coverage A, this policy includes:
     1.   The terms and conditions of underlying insurance to the extent such terms and conditions are not inconsistent
          or do not conflict with the terms and conditions referred to in Paragraph 2. below; and
     2.   The terms and conditions that apply to Coverage A of this policy.
     Notwithstanding anything to the contrary contained above, if underlying insurance does not apply to damages, for
     reasons other than exhaustion of applicable Limits of Insurance by payment of loss, then Coverage A does not
     apply to such damages. Also, Coverage A does not apply to any form of casualty business crisis expense
     insurance even if such insurance is afforded under underlying insurance or would have been afforded except for
     the exhaustion of the Limits of Insurance of underlying insurance.
B.   Coverage B - Umbrella Liability Insurance
     Under Coverage B, we will pay on behalf of the insured those damages the insured becomes legally obligated to
     pay by reason of liability:
     1.   Imposed by law because of bodily injury, property damage, or personal and advertising injury; or
     2.   Assumed under an insured contract because of bodily injury or property damage;
     covered by this insurance but only if the injury, damage or offense arises out of your business, takes place during the
     policy period of this policy and is caused by an occurrence happening anywhere. We will pay such damages in
     excess of the Retained Limit specified in Item 5. of the Declarations or the amount payable by other insurance,
     whichever is greater.
     Coverage B does not apply to any loss, claim or suit for which insurance is afforded under underlying insurance
     or would have been afforded except for the exhaustion of the Limits of Insurance of underlying insurance.
The amount we will pay for loss under Coverage A or Coverage B is limited as described in SECTION II. LIMITS OF
INSURANCE.
We have no obligation under Coverage A and/or Coverage B with respect to any settlement made without our consent.
The insurance afforded under Coverage A and Coverage B applies to bodily injury or property damage only if prior to
the policy period, no designated insured knew that the bodily injury or property damage had occurred, in whole or in
part. If such a designated insured knew, prior to the policy period, that the bodily injury or property damage occurred,
then any continuation, change or resumption of such bodily injury or property damage during or after the policy period
will be deemed to have been known prior to the policy period.

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Bodily injury or property damage which occurs during the policy period and was not, prior to the policy period, known to
have occurred by any designated insured includes any continuation, change or resumption of that bodily injury or
property damage after the policy period; and
Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time when any
designated insured:
     1.   Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
     2.   Receives a written or verbal demand or claim for damages because of the bodily injury or property damage;
          or
     3.   Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
          occur.
C.   Coverage C - Casualty Business Crisis Expense
     Under Coverage C, we will pay for casualty business crisis expense regardless of fault arising from a casualty
     business crisis first commencing during the policy period. No underlying insurance or Retained Limit applies to
     Coverage C. Subject to the other terms and conditions of this coverage, we shall pay casualty business crisis
     expense from the first dollar of such expense.
     The amount we will pay for casualty business crisis expense under Coverage C is limited as described in
     SECTION II. LIMITS OF INSURANCE.
     Any amounts that we pay under Coverage C will not obligate us in any way under Coverage A or Coverage B.
SECTION II. LIMITS OF INSURANCE
A.   With respect to Coverage A and Coverage B, the Limits of Insurance shown in the Declarations and the rules below
     describe the most we will pay, regardless of the number of:
     1.   Insureds;
     2.   Claims made or suits brought;
     3.   Coverages provided under this policy; or
     4.   Persons or organizations making claims or bringing suits.
B.   The Limits of Insurance of this policy will apply as follows:
     1.   The limit stated in Item 4.B. of the Declarations for the Other Aggregate is the most we will pay for all loss
          under Coverage A and Coverage B combined except for:
          a.   Loss covered under the products-completed operations hazard; and
          b.   Loss covered in underlying insurance to which no underlying aggregate limit applies.
          In addition, with respect to Coverage A only, if a policy listed on the Schedule of Underlying Insurance contains
          aggregate limits, other than an aggregate limit applying to the products-completed operations hazard, the
          Other Aggregate limit stated in Item 4.B. of the Declarations will apply in the same manner as such other
          aggregate limits of each policy listed in the Schedule of Underlying Insurance.
     2.   The limit stated in Item 4.C. of the Declarations for the Products-Completed Operations Aggregate is the most
          we will pay for all loss under both Coverage A and Coverage B combined as a result of bodily injury or
          property damage included within the products-completed operations hazard.
     3.   Subject to Paragraph B.1. or B.2. above, whichever applies, the limit stated in Item 4.A. of the Declarations for
          Occurrence is the most we will pay for all loss arising out of any one occurrence, even if such loss is covered,
          in whole or in part, under both Coverage A and Coverage B.
C.   Coverage A applies only in excess of the greater of the actual Limits of Insurance of underlying insurance or the
     Limits of Insurance shown on the Schedule of Underlying Insurance forming a part of this policy.
D.   With respect to Coverage C, the limit stated as the Casualty Business Crisis Expense Aggregate Limit in Item
     4.D. of the Declarations is the most we will pay for all casualty business crisis expense first commencing during
     the policy period. This limit is in addition to, and casualty business crisis expense does not reduce or exhaust,
     any other Limit of Insurance applicable to this policy.




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E.   The Limits of Insurance of this policy apply separately to each consecutive annual period and to any remaining
     period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
     policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional
     period will be deemed part of the preceding period for purposes of determining the Limits of Insurance.
F.   With respect to Coverage A only and subject to paragraphs B.1., B.2., B.3. and C. above:
     1.   If the limits of underlying insurance have been reduced solely by payment of loss for which coverage is
          afforded under this policy, this policy will drop down to become immediately excess of the reduced underlying
          limit; or
     2.   If the limits of underlying insurance have been exhausted solely by payment of loss for which coverage is
          afforded under this policy, this policy will continue in force as underlying insurance.
SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS
A.   We have the right and duty to assume control of the investigation and settlement of any claim, or defense of any suit
     against the insured for damages covered by this policy:
     1.   Under Coverage A, when the applicable limit of underlying insurance and other insurance has been
          exhausted by payment of loss for which coverage is afforded under this policy; or
     2.   Under Coverage B, when damages are sought for bodily injury, property damage, or personal and
          advertising injury to which no underlying insurance or other insurance applies.
B.   Under Coverage C, we do not assume any duty to control the investigation and settlement of any claim, or defense
     of any suit that may arise from a covered casualty business crisis.
C.   In those circumstances where paragraph A. above applies we will pay our expenses and the following to the extent
     that they are not included in underlying insurance:
     1.   Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds.
     2.   The cost of bonds to release attachments, but only for bond amounts within the amount of insurance available.
          We do not have to furnish these bonds.
     3.   Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
          claim or suit, including actual loss of earnings because of time off from work.
     4.   All court costs taxed against the insured in the suit. However, these payments do not include attorneys' fees
          or attorneys' expenses taxed against the insured.
     5.   Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we make
          an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest based on that period
          of time after the offer.
     6.   All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
          offered to pay, or deposited in court that part of the judgment that is within the applicable Limits of Insurance.
     When our expenses and the payments described in paragraph C. above are not included in the definition of loss,
     they will not reduce the Limits of Insurance.
D.   In those circumstances where paragraph A. above does not apply, we do not have the duty to assume control of the
     investigation and settlement of any claim, or defense of any suit against the insured. We do, however, have the
     right to participate in the investigation and settlement of any claim, or defense of any suit that we feel may create
     liability on our part under the terms of this policy. If we exercise this right, we will do so at our expense.
We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of Insurance
as stated in Item 4. of the Declarations.
If we are prevented by law from carrying out the provisions of Section III. Paragraph A. above, we will pay any expense
incurred with our consent.
SECTION IV. EXCLUSIONS
A.   Under Coverage A and Coverage B, this policy does not apply to any liability, damage, loss, cost or expense:
     ASBESTOS
     1.   Arising out of or relating in any way to:



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     a.    Asbestos or which would not have occurred in whole or in part but for the actual, alleged or threatened
           discharge, dispersal, release, leakage, leaching, friability, flaking escape or presence of asbestos,
           regardless of whether any other cause, event, material or product contributed concurrently or in any
           sequence to the injury or damage; or
     b.    Any:
           (1) Request, demand, order, statutory or regulatory requirement, direction or determination, that any
               insured or others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate,
                  control or take any other action regarding asbestos; or
           (2) Claim or suit for damages arising out of or relating in any way to any request, demand, order,
               statutory or regulatory requirement, direction or determination than any insured or others test for,
                  investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other
                  action regarding asbestos.
EMPLOYMENT PRACTICES
2.   Arising out of any bodily injury or personal and advertising injury to:
     a.    A person arising out of any:
           (1) Failure to employ or promote that person;
           (2) Termination of that person's employment, including actual or alleged constructive dismissal;
           (3) Employment-related practices, policies, acts or omissions, including but not limited to injury arising
                  from coercion, demotion, evaluation, reassignment, discipline, defamation, harassment, molestation,
                  humiliation, retaliation, hostile work environment, discrimination or malicious prosecution directed at
                  that person; or
     b.    The spouse, domestic partner, child, parent, brother or sister of that person as a consequence of any
           bodily injury or personal and advertising injury to that person at whom any of the employment related
           practices described in subparagraphs (1), (2) or (3) above is directed.
     This exclusion applies:
     a.    Whether the injury causing event described in paragraph 2.a. above occurs before employment, during
           employment or after employment of that person;
     b.    Whether the insured may be held liable as an employer or in any other capacity; or
     c.    To any obligation to share damages with or repay someone who must pay damages because of the injury.
LAWS, MISCELLANEOUS
3.   Under any of the following:
     a.    Any uninsured/underinsured motorist or auto no-fault or first party personal injury law;
     b.    Any workers’ compensation, unemployment compensation, or disability benefits law or any similar law; or
     c.    The Employees’ Retirement Income Security Act (E.R.I.S.A.) of 1974 as now or hereafter amended.
LOSS OF, OR LOSS OF USE OF INTANGIBLE PROPERTY
4.   Arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate or
     process intangible property. For purposes of this insurance, electronic data is intangible property.
NUCLEAR
5.   a.    With respect to which any insured under this policy is also an insured under a nuclear energy liability
           policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability
           Underwriters, Nuclear Insurance Association of Canada or any of their successors, or would be an insured
           under any such policy but for its termination upon exhaustion of its Limits of Insurance; or
     b.    Resulting from the hazardous properties of nuclear material and with respect to which:
           (1) A person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                  of 1954, or any law amendatory thereof; or




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           (2) Any insured is, or had this policy not been issued would be, entitled to indemnity from the United
                States of America, or any agency thereof, under any agreement entered into by the United States of
                America, or any agency thereof, with any person or organization; or
     c.    Any injury or nuclear property damage resulting from the hazardous properties of nuclear material, if:
           (1) The nuclear material:
                (a) Is at any nuclear facility owned by, or operated by or on behalf of, any insured;
                (b) Has been discharged or dispersed therefrom;
           (2) The nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
               processed, stored, transported or disposed of by or on behalf of any insured; or
           (3) The injury or nuclear property damage arises out of the furnishing by any insured of services,
                materials, parts or equipment in connection with the planning, construction, maintenance operation or
                use of any nuclear facility, but if such facility is located within the United States of America, its
                territories or possessions or Canada, this subparagraph (3) applies only to nuclear property damage
                to such nuclear facility and any property thereat.
     As used in this exclusion:
     a.    Hazardous properties include radioactive, toxic or explosive properties.
     b.    Nuclear Facility means:
           (1) Any nuclear reactor;
           (2) Any equipment or device designed or used for:
                (a) Separating the isotopes of uranium or plutonium,
                (b) Processing or utilizing spent fuel, or
                (c) Handling, processing or packaging waste;
           (3) Any equipment or device used for the processing, fabricating or alloying of special nuclear material if
               at any time the total amount of such material in the custody of any insured at the premises where
                such equipment or device is located consists of or contains more than 25 grams of plutonium or
                uranium 233 or any combination thereof, or more than 250 grams of uranium 235; or
           (4) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
               waste, and includes the site on which any of the foregoing is located, all operations conducted on
                such site and all premises used for such operations.
     c.    Nuclear material means source material, special nuclear material or by-product material.
     d.    Nuclear property damage includes all forms of radioactive contamination of property.
     e.    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting
           chain reaction or to contain a critical mass of fissionable material.
     f.    Source material, special nuclear material and by-product material have the meanings given them in
           the Atomic Energy Act of 1954 or in any law amendatory thereof.
     g.    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to
           radiation in a nuclear reactor.
     h.    Waste means any waste material:
           (1) Containing by-product material other than the tailings or wastes produced by the extraction or
               concentration of uranium or thorium from any ore processed primarily for its source material content;
                and
           (2) Resulting from the operation by any person or organization of any nuclear facility included under the
               first two paragraphs of the definition of nuclear facility.
VIOLATION OF STATUTES
6.   Resulting from or arising directly or indirectly out of any action or omission that violates or is alleged to violate:
     a.    The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;


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          b.   The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
          c.   The Fair Credit Reporting Act (FCRA) and any amendment or addition to such law including the Fair and
               Accurate Credit Transactions Act (FACTA); or
          d.   Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003
               or FCRA and their amendments and additions, that addresses, prohibits or limits the printing,
               dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
               material or information.
     WAR AND MILITARY ACTION
     7.   Arising directly or indirectly out of:
          a.   War, including undeclared or civil war;
          b.   Warlike action by a military force, including action in hindering or defending against an actual or expected
               attack, by any government, sovereign or other authority using military personnel or other agents; or
          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
               defending against any of these,
          regardless of any other cause or event that contributes concurrently or in any sequence to injury or damage.
B.   Under Coverage A this policy does not apply to any liability, damage, loss, cost or expense:
     POLLUTION
     1.   Arising directly or indirectly out of the actual, alleged or threatened discharge, dispersal, seepage, migration,
          release or escape of pollutants:
          a.   At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
               loaned to, any insured. However, this subparagraph does not apply to:
               (1) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by or
                    originating from equipment that is used to heat, cool or dehumidify the building, or equipment that is
                    used to heat water for personal use, by the building's occupants or their guests;
               (2) Bodily injury or property damage for which you may be held liable, if you are a contractor, and the
                   owner or lessee of such premises, site or location has been added to underlying insurance as an
                    additional insured with respect to your ongoing operations performed for that additional insured at that
                    premises, site or location and such premises, site or location is not and never was owned or occupied
                    by, or rented or loaned to, any insured, other than that additional insured; or
               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
          b.   At or from any premises, site or location which is or was at any time used by or for any insured or others
               for the handling, storage, disposal, processing or treatment of waste;
          c.   Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste by
               or for any insured or any person or organization for whom you maybe legally responsible; or
          d.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the pollutants are
               brought on or to the premises, site or location in connection with such operations by such insured,
               contractor or subcontractor. However, this subparagraph does not apply to:
               (1) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating fluids
                    which are needed to perform the normal electrical, hydraulic or mechanical functions necessary for the
                    operation of mobile equipment or its parts, if such fuels, lubricants or other operation fluids escape
                    from a vehicle part designed to hold, store or receive them. This exception does not apply if the bodily
                    injury or property damage arises out of the intentional discharge, dispersal or release of the fuels,
                    lubricants or other operating fluids, or if such fuels, lubricants or other operating fluids are brought on
                    or to the premises, site or location with the intent that they be discharged, dispersed or released as
                    part of the operations being performed by such insured, contractor or subcontractor;
               (2) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor;



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               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          e.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the operations are to test
               for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
               the effects of, pollutants.
          f.   That are, or that are contained in any property that is:
               (1) Being transported or towed by, handled, or handled for movement into, onto or from, any auto for
                   which coverage is provided by underlying insurance;
               (2) Otherwise in the course of transit by or on behalf of any insured; or
               (3) Being stored, disposed of, treated or processed in or upon any auto.
               However, this subparagraph f. does not apply to bodily injury or property damage arising out of:
                    (i)    The escape of fuels, lubricants, other operating fluids, exhaust gases or other similar pollutants
                           that are needed for or result from the normal electrical, hydraulic or mechanical functioning of a
                           covered auto; or
                    (ii) The escape of pollutants from a covered auto that directly results from the collision, upset or
                           overturn of such auto while in the course of transit away from any premises owned by or rented
                           to any insured.
     2.   Arising out of any:
          a.   Request, demand, order or statutory or regulatory requirement that any insured or others test for, monitor,
               clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
               pollutants; or
          b.   Claim or suit brought by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of, pollutants.
C.   Under Coverage B this policy does not apply to:
     AIRCRAFT, AUTOS OR WATERCRAFT
     1.   Any liability, damage, loss, cost or expense arising out of the ownership, maintenance, operation, use, loading
          or unloading or entrustment to others of any
          a.   Aircraft owned by you or rented, loaned or chartered by or on behalf of you without crew;
          b.   Auto; or
          c.   Watercraft owned by you except watercraft while ashore on premises you own or rent.
          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured.
     EMPLOYEE INJURY
     2.   Any injury to:
          a.   An employee of the insured arising out of and in the course of:
               (1) Employment by the insured; or
               (2) Performing duties related to the conduct of the insured's business; or
          b.   Any injury to the spouse, domestic partner, child, parent, brother, or sister of that employee as a
               consequence of exclusion 2.a. above.
          This exclusion applies whether the insured may be liable as an employer or in any other capacity, or to any
          obligation to share damages with or repay someone else who must pay damages because of an injury.
     IMPAIRED PROPERTY
     3.   Property damage to impaired property or property that has not been physically injured arising out of:
          a.   A defect, deficiency, inadequacy or dangerous condition in your product or your work; or


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     b.    A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
     This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
     injury to your product or your work after it has been put to its intended use.
INTENTIONAL INJURY
4.   Bodily injury or property damage expected or intended from the standpoint of the insured. This exclusion
     does not apply to bodily injury or property damage resulting from the use of reasonable force to protect
     persons or property.
PERSONAL and ADVERTISING INJURY
5.   Personal and advertising injury:
     a.    Caused by or at the direction of the insured with the knowledge that the act would violate the rights of
           another and would inflict personal and advertising injury;
     b.    Arising out of oral or written publication of material, if done by or at the direction of the insured with
           knowledge of its falsity;
     c.    Arising out of oral or written publication of material whose first publication took place before the beginning
           of the policy period;
     d.    Arising out of a criminal act committed by or at the direction of any insured;
     e.    For which the insured has assumed liability in a contract or agreement. This exclusion does not apply to
           liability for damages that the insured would have in the absence of the contract or agreement;
     f.    Arising out of a breach of contract, except an implied contract to use another’s advertising idea in your
           advertisement;
     g.    Arising out of the failure of goods, products or services to conform with any statement of quality or
           performance made in your advertisement;
     h.    Arising out of the wrong description of the price of goods, products or services stated in your
           advertisement;
     i.    Arising out of the infringement of copyright, patent, trademark, trade secret, trade dress, slogan or other
           intellectual property rights.
           However, this exclusion does not apply to infringement of copyright, trade dress or slogan in your
           advertisement;
     j.    Committed by an insured whose business is:
           (1) Advertising, broadcasting, publishing, electronic publishing or telecasting;
           (2) Designing or determining content of web-sites for others; or
           (3) An Internet search, access or content provider.
           However, this exclusion 5.j., does not apply to sub-paragraphs C., 12. a., b., c. and h. of personal and
           advertising injury under SECTION V. DEFINITIONS.
           For purposes of this exclusion 5.j., the placing of frames, borders or links, or advertising, for you or others
           anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing
           or telecasting;
     k.    Arising out of an electronic chatroom or bulletin board the insured hosts, owns or over which the insured
           exercises control; or
     l.    Arising out of the unauthorized use of another’s name or product in your e-mail address, domain name or
           metatag, or any other similar tactics to mislead another’s potential customers.
POLLUTION
6.   Any liability, damage, loss, cost or expense:
     a.    Arising directly or indirectly out of the actual, alleged or threatened existence, discharge, seepage,
           migration, dispersal, release or escape of pollutants; or
     b.    Arising out of any:

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               (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                    monitor, clean-up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                    the effects of pollutants; or
               (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
                    monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                    responding to, or assessing the effects of pollutants.
     PRODUCT RECALL
     7.   Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
          inspection, repair, replacement, adjustment, removal or disposal of:
          a.   Your product;
          b.   Your work; or
          c.   Impaired property;
          if such product, work or property is withdrawn or recalled from the market or from use by any person or
          organization because of a known or suspected defect, deficiency, inadequacy, or dangerous condition in it.
     PROPERTY DAMAGE
     8.   Property damage to:
          a.   Property you own, rent or occupy, including any costs or expenses incurred by you, or any person or
               organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property
               for any reason, including prevention of injury to a person or damage to another’s property;
          b.   Premises you sell, give away or abandon if the property damage arises out of any part of those premises;
          c.   Property loaned to you;
          d.   Personal property in your care, custody or control;
          e.   That particular part of real property on which you or any contractors or subcontractors working directly or
               indirectly on your behalf are performing operations, if the property damage arises out of those operations;
          f.   That particular part of any property that must be restored, repaired or replaced because your work was
               incorrectly performed on it;
          g.   Your product arising out of it or any part of it; or
          h.   Your work arising out of it or any part of it and included in the products-completed operations hazard.
D.   Under Coverage C, this policy does not apply to any casualty business crisis arising out of, based upon or
     attributable to:
     PRIOR NOTICE
     1.   Facts alleged, or to the same or related acts alleged or contained, in any crisis, claim or suit that has been
          reported, or in any circumstances where notice has been given under any policy of which this policy or any
          underlying insurance is a renewal or replacement; or
     PENDING OR PRIOR CRISIS CLAIM OR SUIT
     2.   Any pending or prior claim or suit as of the inception date of this policy.
SECTION V. DEFINITIONS
In this policy, words and phrases appearing in bold face type have the definitions shown below.
A.   The following definitions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Designated insured means:
          a.   The person(s) and organization(s) specifically described under             SECTION V. DEFINITIONS,
               sub-paragraphs C.6.a. through C.6.e. below for any insured; or
          b.   Any employee authorized by you to give or receive notice of an occurrence, claim or suit.




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     2.   Electronic data means information, facts or programs stored as or on, created or used on, or transmitted to or
          from computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes,
          drives, cells, data processing devices or any other media which are used with electronically controlled
          equipment.
     3.   Loss means those sums actually paid that the insured is legally obligated to pay as damages for the settlement
          or satisfaction of a claim because of injury or offense, after making proper deductions for all recoveries and
          salvage. However:
          a.   Under Coverage A:
               (1) Loss also includes defense expenses and supplementary payments if underlying insurance includes
                      defense expenses and supplementary payments in the Limits of Insurance; and
               (2) Loss does not include defense expenses and supplementary payments if underlying insurance does
                      not include defense expenses and supplementary payments in the Limits of Insurance.
          b.   Under Coverage B., loss does not include defense expenses and supplementary payments.
     4.   Other insurance means a policy of insurance providing coverage that this policy also provides. Other
          insurance includes any type of self-insurance or other mechanisms by which an insured arranges for funding
          of legal liabilities.
          Other insurance does not include underlying insurance or a policy of insurance specifically purchased to be
          excess of this policy providing coverage that this policy also provides.
     5.   Pollutants mean any man-made or naturally occurring solid, liquid, gaseous or thermal irritant or contaminant,
          including but not limited to: smoke; vapor; soot; fumes; acids; alkalis; chemicals and waste. Waste includes
          materials to be recycled, reconditioned or reclaimed.
     6.   Suit means a civil proceeding in which injuries or damages to which this insurance applies are alleged. Suit
          includes:
          a.   An arbitration proceeding in which such damages are claimed and to which the insured must submit
               pursuant to law or contract or does submit with our consent; or
          b.   Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
               insured submits with our consent.
     7.   Underlying insurance means the policy or policies of insurance listed in the Schedule of Underlying Insurance
          forming a part of this policy. We will only be liable for amounts in excess of the Limits of Insurance shown in the
          Schedule of Underlying Insurance for any underlying insurance.
B.   The following definitions are applicable to Coverage A only:
     1.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
     2.   Insured means:
          a.   You;
          b.   Any person or organization included as an insured in underlying insurance; and
          c.   Any person or organization qualifying as an additional insured in underlying insurance but only to the
               same extent that such person or organization is an additional insured under such underlying insurance.
     3.   Non-Admitted Jurisdiction means:
          a.   Any country or political subdivision in which we are not licensed or permitted to insure risks and where
               doing so would violate the insurance laws and regulations of such jurisdiction; or
          b.   Any country or political subdivision where we are prevented by law from investigating, defending or settling
               an occurrence or suit.
     4.   Occurrence means a covered event as defined in underlying insurance.
     5.   Qualified Entity means any entity, person or organization that is not an insured under this policy and would
          qualify as an insured under this policy, but for the fact that the entity is registered, domiciled or has ongoing
          operations in a non-admitted jurisdiction.




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C.   The following definitions are applicable to Coverage B only:
     1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments
          about your goods, products or services for the purpose of attracting customers or supporters. For purpose of
          this definition:
          a.   Notices that are published include material placed on the Internet or on similar electronic means of
               communication; and
          b.   Regarding websites, only that part of a website that is about your goods, products or services for the
               purpose of attracting customers or supporters is considered an advertisement.
     2.   Auto means:
          a.   A land motor vehicle, trailer or semi-trailer designed for travel on public roads, including any attached
               machinery or equipment; or
          b.   Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
               insurance law in the state where it is licensed or principally garaged.
          However, auto does not include mobile equipment.
     3.   Bodily injury means physical injury, sickness, or disease, including death of a person. Bodily injury to such
          person also means mental anguish, mental injury, humiliation, or shock if directly resulting from physical injury,
          sickness, or disease.
     4.   Employee includes a leased worker. Employee does not include a temporary worker.
     5.   Impaired property means tangible property, other than your product or your work, that cannot be used or is
          less useful because:
          a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate
               or dangerous; or
          b.   You have failed to fulfill the terms of a contract or agreement;
          If such property can be restored to use by;
          a.   The repair, replacement, adjustment or removal of your product or your work; or
          b.   Your fulfilling the terms of the contract or agreement.
     6.   Insured means:
          a.   You, if you are an organization shown in the Declarations, other than a partnership, joint venture or limited
               liability company. Your executive officers and directors are insureds, but only with respect to their duties
               as your executive officers or directors. Your stockholders are also insureds, but only with respect to their
               liability as stockholders;
          b.   You, if you are a partnership or joint venture shown in the Declarations. Your members, your partners, and
               their spouses or domestic partners are also insureds, but only with respect to the conduct of your
               business;
          c.   You and your spouse or domestic partner, if you are an individual shown in the Declarations, but only with
               respect to the conduct of a business of which you are the sole owner;
          d.   You, if you are a limited liability company shown in the Declarations. Your members are also insureds, but
               only with respect to the conduct of your business. Your managers are insureds, but only with respect to
               their duties as your managers;
          e.   You, if you are a trust shown in the Declarations. Your trustees are also insureds, but only with respect to
               their duties as trustees;
          f.   Your employees, but only for acts within the scope of their employment by you;
          g.   Your volunteer workers, but only while performing duties related to the conduct of your business;
          h.   Any person or organization while acting as your real estate manager; or
          i.   Your legal representative if you die, but only with respect to duties as such.




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     No person or organization is an insured with respect to the conduct of any current, past or newly formed
     partnership, limited liability company or joint venture that is not designated within the Declarations of this policy
     as Named Insured.
7.   Insured contract means any written or oral agreement entered into by the insured in the usual course of the
     business operations of the insured in which the insured assumes the tort liability of another to pay damages
     because of bodily injury or property damage to a third person or organization where the contract or
     agreement is made prior to the injury or damage. Liability means a liability that would be imposed by law in the
     absence of any contract or agreement.
8.   Leased worker means a person leased to you by a labor leasing firm under an agreement between you
     and labor leasing firm, to perform duties related to the conduct of your business. Leased worker does not
     include a temporary worker.
9.   Mobile equipment means any of the following types of land vehicles, including any attached machinery or
     equipment:
     a.    Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
     b.    Vehicles maintained for use solely on or next to premises you own or rent;
     c.    Vehicles that travel on crawler treads;
     d.    Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
           (1) Power cranes, shovels, loaders, diggers or drills; or
           (2) Road construction or resurfacing equipment such as graders, scrapers or rollers.
     e.    Vehicles not described in a., b., c. or d. above, that are not self-propelled and are maintained primarily to
           provide mobility to permanently attached equipment of the following types:
           (1) Air compressors, pumps and generators including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment; or
           (2) Cherry pickers and similar devices used to raise or lower workers.
     f.    Vehicles not described in a., b., c. or d. above, maintained primarily for purposes other than the
           transportation of persons or cargo.
           However, self-propelled vehicles with the following types of permanently attached equipment are not
           mobile equipment but are considered autos:
           (1) Equipment designed primarily for:
                (a) Snow removal;
                (b) Road maintenance, but not construction or resurfacing; or
                (c) Street cleaning;
           (2) Cherry pickers and similar devices mounted on an auto or truck chassis and used to raise or lower
                workers; and
           (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.
     However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
     responsibility law or other motor vehicle insurance law in the state where it is licensed or principally garaged.
     Land vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
     considered autos.
10. Named insured means:
     a.    The person(s) and organization(s) designated in Item 1. of the Declarations of this policy;
     b.    Any organization, other than a partnership, joint venture or limited liability company, over which you
           maintain majority interest and to which more specific insurance does not apply, other than one which you
           newly acquire or form; or




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    c.    Any newly acquired or formed organization, other than a partnership, joint venture or limited liability
          company, over which you maintain majority interest and to which more specific insurance does not apply;
          provided that this policy does not apply to any injury or damage that took place before you acquired or
          formed the organization.
11. Occurrence means:
    a.    With respect to bodily injury or property damage liability, an accident, including continuous or repeated
          exposure to substantially the same general harmful conditions.
    b.    With respect to personal and advertising injury, a covered offense. All damages that arise from the
          same act, publication or general conditions are considered to arise out of the same occurrence, regardless
          of the frequency or repetition thereof, the number or kind of media used or the number of claimants.
12. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or
    more of the following offenses:
    a.    False arrest, detention or imprisonment;
    b.    Malicious prosecution;
    c.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
          dwelling or premises that a person occupies committed by or on behalf of its owner, landlord or lessor;
    d.    Oral or written publication, in any manner, of material that slanders or libels a person or organization or
          disparages a person’s or organization’s goods, products or services;
    e.    Oral or written publication, in any manner, of material that violates a person’s right of privacy;
    f.    The use of another’s advertising idea in your advertisement;
    g.    Infringement upon another’s copyright, trade dress or slogan in your advertisement; or
    h.    Discrimination (unless insurance thereof is prohibited by law), not arising out of or related to employment
          practices.
    Personal and advertising injury also means mental anguish, mental injury, humiliation, or shock, if directly
    resulting from an offense listed in Items 12.a. through 12.h. above.
13. Products-completed operations hazard means all bodily injury and property damage occurring away from
    premises you own or rent and arising out of your product or your work except:
    a.    Products that are still in your physical possession; or
    b.    Work that has not yet been completed or abandoned. Your work will be deemed completed at the earliest
          of the following times:
          (1) When all of the work called for in your contract has been completed;
          (2) When all of the work to be done at the site has been completed if your contract calls for work at more
               than one site; or
          (3) When that part of the work done at a job site has been put to its intended use by any person or
               organization other than another contractor or subcontractor working on the same project.
          Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
          complete, will be treated as completed.
    This hazard does not include bodily injury or property damage arising out of:
    a.    The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
          created by the loading or unloading of it by any insured; or
    b.    The existence of tools, uninstalled equipment or abandoned or unused materials.
14. Property damage means:
    a.    Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
          shall be deemed to occur at the time of the physical injury that caused it; or
    b.    Loss of use of tangible property that is not physically injured. All such loss shall be deemed to occur at the
          time of the occurrence that caused it.


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     15. Retained limit means the amount of damages applicable to each occurrence for which the insured is
         responsible that is shown in Item 5. of the Declarations.
     16. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave
          or to meet seasonal or short-term workload conditions.
     17. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
          direction of and within the scope of duties determined by you, and is not paid a fee, salary or other
          compensation by you or anyone else for their work performed for you.
     18. Your product means:
          a.   Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of
               by:
               (1) You;
               (2) Others trading under your name; or
               (3) A person or organization whose business or assets you have acquired; and
          b.   Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
               products.
          Your product includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your product; and
          b.   The providing or failure to provide warnings or instructions.
          Your product does not include vending machines or other property rented to or located for use of others but not
          sold.
     19. Your work means:
          a.   Work or operations performed by you or on your behalf; and
          b.   Materials, parts or equipment furnished in connection with such work or operations.
          Your work includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your work; and
          b.   The providing of or failure to provide warnings or instructions.
D.   The following definitions are applicable to Coverage C only:
     1.   Casualty business crisis means an event that in the good faith opinion of your principal, in the absence of
          casualty business crisis services, has been or may be associated with:
          a.   Damages covered by this policy under Coverage A that are in excess of the applicable limits of
               underlying insurance or under Coverage B that are in excess of the Retained Limit; and
          b.   Significant adverse regional or national media coverage.
          Casualty business crisis shall include, without limitation, man-made disasters such as explosions, major
          crashes, multiple deaths or injuries, burns, dismemberment, traumatic brain injury, paraplegia, or contamination
          of food, drink or pharmaceuticals.
          For purposes of Coverage C, a casualty business crisis will first commence when your principal first become
          aware of the occurrence and will conclude at the earliest of the time when the casualty business crisis
          advisor advises you that the crisis no longer exists or when the Casualty Business Crisis Expense Aggregate
          Limit has been exhausted.
     2.   Casualty business crisis advisor means any public relations firm or crisis management firm approved by us
          that is hired by you to perform casualty business crisis services in connection with a casualty business
          crisis.




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     3.   Casualty business crisis expense means amounts paid:
          a.   To you for the reasonable and necessary:
               (1) Fees and expenses of a casualty business crisis advisor in the performance for you of casualty
                   business crisis services solely for a covered casualty business crisis; and
               (2) Amounts for printing, advertising, mailing of materials or travel by your directors, officers, employees
                   or agents or a casualty business crisis advisor solely for a casualty business crisis; and
          b.   To others for the following reasonable and necessary expenses resulting from such covered casualty
               business crisis provided that such expenses have been approved by us:
               (1) Medical expenses;
               (2) Funeral expenses;
               (3) Psychological counseling;
               (4) Travel expenses;
               (5) Temporary living expenses;
               (6) Expenses to secure the scene of a casualty business crisis; and
               (7) Any other expenses pre-approved by us.
     4.   Casualty business crisis services means those services performed by a casualty business crisis advisor in
          advising you on minimizing potential harm to you from a covered casualty business crisis by maintaining or
          restoring public confidence in you.
     5.   Principal means your Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, President,
          General Counsel or general partner (if you are a partnership) or sole proprietor (if you are a proprietorship).
SECTION VI. CONDITIONS
A.   The following Conditions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Appeals
          In the event you or any underlying insurer elects not to appeal a judgment in excess of the amount of the
          underlying insurance, we may elect to appeal at our expense. If we do so elect, we will be liable for the costs
          and additional interest accruing during this appeal. In no event will this provision increase our liability beyond
          the applicable Limits of Insurance described in SECTION II. of this policy.
     2.   Audit of Books and Records
          We may audit and examine your books and records as they relate to this policy at any time during the period of
          this policy and for up to three (3) years after the expiration or termination of this policy.
     3.   Bankruptcy or Insolvency
          The bankruptcy, insolvency or inability to pay of any insured will not relieve us from our obligation to pay
          damages covered by this policy.
          In the event of bankruptcy, insolvency or refusal or inability to pay, of any underlying insurer, the insurance
          afforded by this policy will not replace such underlying insurance, but will apply as if all the limits of any
          underlying insurance are fully available and collectible.
     4.   Cancellation and Nonrenewal
          a.   Cancellation
               (1) You may cancel this policy. You must mail or deliver advance written notice to us stating when the
                    cancellation is to take effect.
               (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver
                    to you not less than ten (10) days advance written notice when the cancellation is to take effect. If we
                    cancel for any other reason, we will mail or deliver to you not less than ninety (90) days advance
                    written notice stating the reason(s) for cancellation, as well as the date when the cancellation is to
                    take effect. Mailing notice to you at your mailing address shown in Item 2. of the Declarations will be
                    sufficient to prove notice.


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           (3) The policy period will end on the day and hour stated in the cancellation notice.
           (4) If this policy is cancelled, the final premium will be calculated pro rata based on the time this policy
                was in force.
           (5) Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter but
                the cancellation will be effective even if we have not made or offered any refund due you. Our check
                or our representative’s check, mailed or delivered, will be sufficient tender of any refund due you.
     b.    Nonrenewal
           If we decide not to renew this policy, we will mail or deliver to the first Named insured shown in the
           Declarations written notice of the nonrenewal not less than thirty (30) days before the expiration date.
           If notice is mailed, proof of mailing will be sufficient proof of notice.
5.   Changes
     Notice to any agent or knowledge possessed by any agent or any other person will not effect a waiver or a
     change in any part of this policy. This policy can only be changed by a written endorsement that becomes a
     part of this policy.
6.   Currency
     Settlements will be paid in United States currency or, when required, in the currency of the country or
     jurisdiction where the loss or casualty business crisis occurred. When conversion into another currency from
     United States currency is required to pay any loss or casualty business crisis expense, the rate of exchange
     will be determined on the date of the settlement. The rate of exchange will be the rate we incur in obtaining the
     foreign currency.
7.   First Named Insured
     The person or organization first named in Item 1. of the Declarations is responsible for the payment of all
     premiums. The first Named Insured will act on behalf of all other insureds for the giving and receiving of
     notice of cancellation or any other notice required under this policy or by statute or regulation, for the receipt
     and acceptance of this policy and any endorsements forming a part of this policy, and for the receiving of any
     return premiums that become payable under this policy.
8.   Inspection
     We have the right, but are not obligated to inspect the insured’s premises and operations at any time. Our
     inspections are not safety inspections. They relate only to the insurability of the premises and operations and
     the premium to be charged. We may provide reports on the conditions we find. We may also recommend
     changes. While these reports may help reduce losses, we do not undertake to perform the duty of any person
     or organization to provide for the health or safety of workers or the public. We do not warrant that the premises
     or operations are safe or healthful, or that they comply with laws, regulations, codes or standards
9.   Entities That Are Registered, Domiciled or Have Ongoing Operations in Non-Admitted Jurisdictions
     This condition applies solely with respect to entities that are registered, domiciled or have ongoing operations in
     non-admitted jurisdictions.
     With respect to a qualified entity:
     a.    Under Coverage A, we will reimburse the first Named Insured for loss incurred by a qualified entity that
           would have been covered this policy but for the fact that the loss was incurred by a qualified entity
           including:
           (1) Damages covered by this policy in excess of the total applicable limits of underlying insurance; and
           (2) Reasonable defense expenses incurred with our consent.
           We have no duty to defend any person or organization against any claim or suit brought or proceeding
           instituted against any qualified entity in a non-admitted jurisdiction, but we may, at our discretion,
           assume control of or participate in any investigation, defense, settlement or recovery proceedings.
     b.    Coverage under this policy will not apply until the qualified entity or the qualified entity's underlying
           insurer has paid or is obligated to pay the full amount of the applicable limits of underlying insurance.




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    c.    The duties and requirements imposed upon any insured under this policy will not apply to any
          non-admitted jurisdiction. However, with respect to any claims made or suits brought in a
          non-admitted jurisdiction, it will be the duty of the first Named Insured to do or cause the applicable
          qualified entity to do such things as would be required of such qualified entity if Coverage A applied
          directly to such claim or suit, including:
          (1) Make such investigation, defense or settlement as we deem reasonable;
          (2) Obtain our approval for any payment; and
          (3) Effect approved payments to others, in accordance with the terms and conditions of this insurance.
    d.    Under Coverage B, this policy does not apply to any liability, damage, loss, cost or expense arising out of
          any operations or activities of a qualified entity.
    e.    We will promptly pay the first Named Insured at the mailing address listed in Item 2. of the Declarations
          the amount of damages covered under the terms of this policy. If the first Named Insured or any qualified
          entity recovers from any third party all or part of any amount that we have paid pursuant to this insurance,
          the first Named Insured will promptly reimburse the amount of any such recovery to us.
10. Legal Action Against Us
    There will be no right of action against us under this insurance unless:
    a.    You have complied with all the terms of this policy; and
    b.    The amount you owe has been determined by settlement with our consent or by actual trial and final
          judgment.
    This insurance does not give anyone the right to add us as a party in an action against you to determine your
    liability.
11. Maintenance of Underlying Insurance
    During the period of this policy, you agree:
    a.    To keep the policies listed in the Schedule of Underlying Insurance in full force and effect;
    b.    That the Limits of Insurance of the policies listed in the Schedule of Underlying Insurance will be
          maintained except for any reduction or exhaustion of limits by payment of claims or suits for damages
          covered by underlying insurance;
    c.    The policies listed in the Schedule of Underlying Insurance may not be canceled or not renewed by you
          without notifying us, and you agree to notify us in the event an insurance company cancels or declines to
          renew any policy listed in the Schedule of Underlying Insurance; and
    d.    Renewals or replacements of the policies listed in the Schedule of Underlying Insurance will not be
          materially changed without our agreement.
    If you fail to comply with these requirements, we will only be liable to the same extent that we would have been
    had you fully complied with these requirements.
12. Miscellaneous Unintentional Errors and Omissions
    Any unintentional error or omission in the description of, or failure to describe completely, any premises or
    operations intended to be covered by this policy, shall not invalidate or affect the coverage for those operations
    or premises. However, the insured must report such error or omission to the company as soon as practicable
    after its discovery.
13. Other Insurance
    If other insurance applies to damages that are also covered by this policy, this policy will apply excess of the
    other insurance. However, this provision will not apply:
    a.    If the other insurance is written to be excess of this policy; or
    b.    With respect to Coverage A only, if the named insured has agreed in a written contract to carry insurance
          to apply prior to and be non-contributory with that of another person or organization's insurance, but only
          as respects damages arising out of insured operations or work on behalf of the named insured performed
          under such written contract. The limits available to the other person or organization will be the lesser of the
          policy limits or the minimum limits required by such written contract. In that case, other insurance of that
          person or organization will apply as excess and not contribute prior to the insurance afforded by this policy.

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          Nothing herein will be construed to make this policy subject to the terms, conditions and limitations of such
          other insurance.
     14. Premium
          The premium for this policy as stated in Item 6. of the Declarations is a flat premium. It is not subject to
          adjustment unless an endorsement is attached to this policy.
     15. Separation of Insureds
          Except with respect to the Limits of Insurance, and any rights or duties specifically assigned to the first Named
          Insured, this insurance applies:
          a.   As if each named insured were the only named insured; and
          b.   Separately to each insured against whom claim is made or suit is brought.
     16. Terms Conformed to Statute
          The terms of this policy which are in conflict with the statutes, laws, ordinances or regulations in any country,
          jurisdiction, state or province where this policy is issued are amended to conform to such statutes, laws,
          ordinances or regulations. If we are prevented by law or statute from paying on behalf of the insured, then we
          will, where permitted by law or statute, indemnify the insured.
     17. Transfer of Rights of Recovery Against Others to Us
          a.   If the insured has rights to recover all or part of any payment we have made under this insurance, those
               rights are transferred to us. The insured must do nothing after the loss to impair them. At our request,
               the insured will bring suit or transfer those rights to us and help us enforce them.
               However, if any insured is required by a written contract or agreement which is executed before a loss to
               waive their rights of recovery from others, we agree to waive our rights of recovery. This waiver of rights
               shall not be construed to be a waiver with respect to any other operations for which the insured has not
               waived their rights of recovery by contract.
          b.   Any amount recovered will be apportioned in the inverse order of payment of loss to the extent of actual
               payment. The expenses of all such recovery proceedings will be apportioned in the ratio of respective
               recoveries.
     18. Transfer of Your Rights and Duties
          Your rights and duties under this insurance may not be transferred without our written consent. If you die, then
          your rights and duties will be transferred to your legal representative, but only while acting within the scope of
          duties as your legal representative. Until your legal representative is appointed, anyone having temporary
          custody of your property will have your rights and duties but only with respect to that property.
     19. When Loss is Payable
          Coverage under this policy will not apply until the insured, or the insured’s underlying insurer has paid or is
          legally obligated to pay the full amount of the Underlying Limits of Insurance or Retained Limit.
          When the amount of loss is determined by an agreed settlement or on a final judgment against an insured
          obtained after an actual trial, we will promptly pay on behalf of the insured the amount of loss covered under
          the terms of this policy. The first Named Insured will promptly reimburse us for any amount within the
          Retained Limit paid by us.
     20. Violation of Economic or Trade Sanctions
          If coverage for a claim or suit under this policy is in violation of any economic or trade sanctions of the United
          States of America then coverage for that claim or suit will be null and void.
B.   The following Condition is applicable to Coverage A and Coverage B:
     1.   Notice of Occurrence, Claim or Suit
          a.   You must see to it that we are notified as soon as practicable of an occurrence which may result in
               damages covered by this policy.
               To the extent possible, notice will include:
               (1) How, when and where the occurrence took place;


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               (2) The names and addresses of any injured persons and witnesses; and
               (3) The nature and location of any injury or damage arising out of the occurrence.
          b.   Knowledge of an occurrence by the agent, servant or employee of yours, shall not in itself constitute
               knowledge by the insured unless you, or any employee authorized by you to give or receive notice of an
               occurrence, claim or suit shall have received such notice from the agent, servants or employee.
          c.   If a claim or suit against any Insured is reasonably likely to involve this policy you must notify us in writing
               as soon as practicable.
          d.   You and any other involved insured must:
               (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
                   connection with the claim or suit;
               (2) Authorize us to obtain records and other information;
               (3) Cooperate with us in the investigation, settlement or defense of the claim or suit; and
               (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                   may be liable to the insured because of injury or damage to which this insurance may also apply.
          e.   The insureds will not, except at their own cost, voluntarily make a payment, assume any obligation, or
               incur any expense, other than for first aid, without our consent.
          f.   Your failure to give notice of an occurrence to us shall not invalidate coverage under this policy if the
               occurrence was inadvertently reported to another Insurer. However, you shall report any such
               occurrence to us as soon as practicable once you become aware of such error.
C.   The following Conditions are applicable to Coverage C:
     1.   Notice of a Casualty Business Crisis
          You must see to it that we are notified of a casualty business crisis as soon as practicable after it first
          commences. Such notice shall include a description of the casualty business crisis and the reason it is likely
          to involve damages covered by this policy in excess of the applicable limits of underlying insurance under
          Coverage A or Retained Limit under Coverage B and significant adverse regional or national media coverage.
          We will not be liable for casualty business crisis expense incurred prior to, or more than one hundred eighty
          (180) days after the date notice of such casualty business crisis is first given to us. Notice to us shall be
          given to Zurich Claim Reporting, Care Center, P.O. Box 49547, Colorado Springs, CO 80949, Phone
          1-800-987-3373, Fax 1-877-962-2567, E-Mail USZ Care Center@Zurichna.com.
     2.   Arbitration
          If you and we disagree as to whether a casualty business crisis has occurred, both parties may, by mutual
          consent agree in writing to arbitration of the disagreement and the right to any reimbursement for casualty
          business crisis expense.
          In this event, each party will select an arbitrator. The two arbitrators will select a third. If they cannot agree
          within 30 days, both parties must request that selection be made by a judge of a court having jurisdiction. Each
          party will:
          a.   Pay the expenses it incurs; and
          b.   Bear the expenses of the third arbitrator equally.
          Unless both parties agree otherwise, arbitration will take place in the state, county or parish in which the
          address shown in the Declarations is located. Local rules of law as to procedure and evidence will apply.




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Endorsement # 01


Certified Act of Terrorism Retained Amount
Provisions - Coverage B


     Policy No.     Eff. Date of Pol.     Exp. Date of Pol.     Eff. Date of End.          Producer              Add'l Prem.           Return Prem.

 AUC 5912288-02      09/01/2014             09/01/2015             09/01/2014             70074000                ----------          ----------
Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CERTIFIED ACT OF TERRORISM RETAINED AMOUNT SCHEDULE

  Each Occurrence Retained Amount:                                               $ 1,000,000
  Products-Completed Operations Aggregate Retained Amount:                       $ 2,000,000
  Other Aggregate Retained Amount:                                               $ 2,000,000


Certified Act of Terrorism Retained Amount Provisions - Coverage B
The following additional provisions apply under Coverage B of this policy as respects any liability, damage, loss, cost or
expense arising, directly or indirectly, out of a certified act of terrorism, including any action taken in hindering or
defending against an actual or expected certified act of terrorism, regardless of any other cause or event that
contributes concurrently or in any sequence to the injury or damage:
    A. The Retained Amounts shown in the Schedule above apply in place of the Coverage B retained limit specified in
       Item 5. of the Declarations, or any amount payable by other insurance, whichever is greater, and are the only
       retained amount provisions applying to any loss, claim or suit from a certified act of terrorism. These
       provisions do not apply to any other loss, claim or suit not involving a certified act of terrorism that would still
       be subject to the applicable Coverage B retained limit amount. The specific retained amounts applying to
       certified acts of terrorism are as follows:
        1. The Each Occurrence Retained Amount shown in the Schedule above is the total retained amount of
           damages for which the insured is responsible applicable to each occurrence.
        2. The Products-Completed Operations Aggregate Retained Amount shown in the Schedule above is the total
           retained amount of damages for which the insured is responsible, applicable to all occurrences included
           within the products-completed operations hazard.
        3. The Other Aggregate Retained Amount shown in the Schedule above is the total retained amount of
           damages for which the insured is responsible, applicable to all occurrences except for occurrences
           included within the products-completed operations hazard.
    B. The following changes apply to SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS as respects
       Coverage B, only as respects to a loss, claim or suit to which this endorsement applies:
        1. We have the right and duty to assume control of the investigation and settlement of any claim, or defense of
           any suit against the insured for damages covered by this policy under Coverage B, when the applicable
           retained amount has been exhausted by payment of claims.


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   2. In those circumstances where paragraph B.1. of this endorsement applies, in addition to the applicable Limits
       of Insurance, we will pay our expenses and the following to the extent that they are not included in
       underlying insurance or other insurance:
       a. Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds;
       b. The cost of bonds to release attachments, but only for bond amounts within the amount of insurance
            available. We do not have to furnish these bonds;
       c. Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense
          of the claim or suit, including actual loss of earnings because of time off work;
       d. Costs taxed against the insured in the suit;
       e. Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we
            make an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest on that
            period of time after the offer; and
       f.   All interest on the full amount of any judgment that accrues after entry of the judgment and before we
            have paid, offered to pay, or deposited in court that part of the judgment that is within the applicable
            Limits of Insurance.
   3. In those circumstances where paragraph B.1. of this endorsement does not apply, we do not have the duty to
      assume control of the investigation and settlement of any claim, or defense of any suit against the insured.
       We do, however, have the right to participate in the investigation and settlement of any claim, or defense of
       any suit that we feel may create liability on our part under the terms of this policy. If we exercise this right, we
       will do so at our expense.
   We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of
   Insurance as stated in Item 4. of the Declarations.
   If we are prevented by law from carrying out the provisions of paragraph B.1. of this endorsement, we will pay
   any expense incurred with our consent.
C. The following provision is added to SECTION VI. CONDITIONS, Paragraph A.10. Notice of Occurrence, Claim
   or Suit:
   You must notify us immediately in writing of any claim or suit which seeks damages in an amount which is fifty
   (50) percent or more of the amount of the Each Occurrence Retained Amount stated in the Schedule of this
   endorsement.
D. As used in this endorsement, certified act of terrorism means an act that is certified by the Secretary of the
   Treasury, in concurrence with the Secretary of State and the Attorney General of the United States, to be an act
   of terrorism pursuant to the federal Terrorism Risk Insurance Act ("TRIA"). TRIA provides that the Secretary of
   Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air
       carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
       vessel based principally in the United States, on which United States income tax is paid and whose insurance
       coverage is subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of
       the United States or to influence the policy or affect the conduct of the United States Government by
       coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
E. As used in this endorsement, retained amount means the amount of damages for which the insured is
   responsible as shown in the Schedule of this endorsement.




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Conditional Terrorism Retained Amount Provisions
(Relating to Disposition of Federal Terrorism Risk
Insurance Act) – Coverage B

    Policy No.        Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.        Producer No.           Add'l Prem.          Return Prem.

 AUC 5912288-02        09/01/2014             09/01/2015             09/01/2014             70074000

Named Insured and Mailing Address:                                                Producer:
OMNICELL, INC                                                                     MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                            1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                      SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        TERRORISM RETAINED AMOUNT SCHEDULE
 Each Occurrence Retained Amount:                                               $1,000,000
 Products-Completed Operations Aggregate Retained Amount: $2,000,000
 Other Aggregate Retained Amount:                                               $2,000,000


A. Applicability of the Provisions of this Endorsement
    1. The provisions of this endorsement become applicable commencing on the date when one or more of the
        following first occurs. But if your policy (meaning the policy period in which this endorsement applies) begins after
        such date, then the provisions of this endorsement become applicable on the date your policy begins.
        a. The federal Terrorism Risk Insurance Program ("Program"), established by the Terrorism Risk Insurance Act,
             has terminated with respect to the type of insurance provided under this policy; or
        b. A renewal, extension or replacement of the Program has become effective without a requirement to make
             terrorism coverage available to you and with revisions that:
             (1) Increase our statutory percentage deductible under the Program for terrorism losses. (That deductible
                  determines the amount of all certified terrorism losses we must pay in a calendar year, before the federal
                  government shares in subsequent payment of certified terrorism losses); or
             (2) Decrease the federal government’s statutory percentage share in potential terrorism losses above such
                  deductible; or
             (3) Redefine terrorism or make insurance coverage for terrorism subject to provisions or requirements that
                  differ from those that apply to other types of events or occurrences under this policy.
    2. If the provisions of this endorsement become applicable, such provisions:
        a. Supersede any terrorism endorsement already endorsed to this policy that addresses certified acts of
           terrorism and/or other acts of terrorism, but only with respect to an incident(s) of terrorism (however defined)
             which results in injury or damage that occurs on or after the date when the provisions of this endorsement
             become applicable (for claims made coverage, such an endorsement is superseded only with respect to an




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            incident of terrorism (however defined) that results in a claim for injury or damage first being made on or after
            the date when the provisions of this endorsement become applicable); and
        b. Remain applicable unless we notify you of changes in these provisions, in response to federal law.
    3. If the provisions of this endorsement do NOT become applicable, any terrorism endorsement already endorsed to
       this policy, that addresses certified acts of terrorism will continue in effect unless we notify you of changes to
        that endorsement in response to federal law.
B. The following additional provisions apply to Coverage B of this policy as respects any liability, damage, loss, cost or
   expense caused directly or indirectly by terrorism, including any action taken in hindering or defending against an
   actual or expected incident of terrorism:
    1. The retained amounts apply in place of the Coverage B retained limit specified in Item 5. of the Declarations,
       and are the only retained amount that apply to any loss, claim or suit arising from an incident of terrorism.
       These provisions do not apply to any other loss, claim or suit that does not involve an incident of terrorism and
       is subject to the applicable Coverage B retained limit. The specific retained amounts applying to an incident(s)
       of terrorism are as follows:
        a. The Each Occurrence Retained Amount shown in the Schedule above is the total retained amount of
           damages for which the insured is responsible applicable to each occurrence.
        b. The Products-Completed Operations Aggregate Retained Amount shown in the Schedule above is the total
           retained amount of damages for which the insured is responsible, applicable to all occurrences included
           within the products-completed operations hazard.
        c. The Other Aggregate Retained Amount shown in the Schedule above is the total retained amount of
           damages for which the insured is responsible, applicable to all occurrences except for occurrences
           included within the products-completed operations hazard.
    2. SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS as respects Coverage B, only as respects the
        coverage provided by this endorsement, is replaced with the following:
        a. We have the right and duty to assume control of the investigation, settlement or defense of any claim or suit
           against the insured for damages covered by this policy under Coverage B, when the applicable retained
           amount has been exhausted by payment of claims.
        b. In those circumstances where paragraph B.2.a. of this endorsement applies, in addition to the applicable
            Limits of Insurance, we will pay our expenses and the following to the extent that they are not included in
            underlying insurance or other insurance:
            (1) Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds;
            (2) The cost of bonds to release attachments, but only for bond amounts within the amount of insurance. We
                do not have to furnish these bonds;
            (3) Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense
                of the claim or suit, including actual loss of earnings because of time off work;
            (4) Costs taxed against the insured in the suit;
            (5) Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we
                make an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest on that
                period of time after the offer; and
            (6) All interest on the full amount of any judgment that accrues after entry of the judgment and before we
                have paid, offered to pay, or deposited in court that part of the judgment that is within the applicable
                Limits of Insurance.
        c. In those circumstances where paragraph B.2.a. of this endorsement does not apply, we do not have the duty
           to assume control of the investigation, settlement or defense of any claim or suit against the insured. We do,
           however, have the right to participate in the investigation, settlement or defense of any claim or suit that we
            feel may create liability on our part under the terms of this endorsement. If we exercise this right, we will do
            so at our expense.




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     d. We will not defend any suit after we have exhausted the applicable Limit of Insurance as stated in Item 4. of
         the Declarations.
  3. The following provision is added to SECTION VI. CONDITIONS, Notice of Occurrence, Claim or Suit:
     You must notify us immediately in writing of any claim or suit which seeks damages in an amount which is fifty
     (50) percent or more of the amount of the Each Occurrence Retained Amount stated in the Terrorism Retained
     Amount Schedule of this endorsement.
  4. The following definitions are added to SECTION V.C. DEFINITIONS:
     Certified act of terrorism means an act that is certified by the Secretary of the Treasury, in concurrence with the
     Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
     Terrorism Risk Insurance Act ("TRIA"). TRIA provides that the Secretary of Treasury shall certify an act of
     terrorism:
     (1) To be an act of terrorism;
     (2) To be a violent act or an act that is dangerous to human life, property or infrastructure;
     (3) To have resulted in damage within the United States, or outside of the United States in the case of an air
         carrier (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a
         vessel based principally in the United States, on which United States income tax is paid and whose insurance
         coverage is subject to regulation in the United States), or the premises of a United States mission; and
     (4) To have been committed by an individual or individuals as part of an effort to coerce the civilian population of
         the United States or to influence the policy or affect the conduct of the United States Government by
         coercion.
     No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
     Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
     subject to TRIA, do not exceed $5,000,000.
     Terrorism means activities against persons, organizations or property of any nature:
     a. That involve the following or preparation for the following:
         (1) Use or threat of force or violence; or
         (2) Commission or threat of a dangerous act; or
         (3) Commission or threat of an act that interferes with or disrupts an electronic, communication, information
             or mechanical system; and
     b. When one or both of the following applies:
         (1) The effect is to intimidate or coerce a government or the civilian population or any segment thereof, or to
             disrupt any segment of the economy; or
         (2) It appears that the intent is to intimidate or coerce a government, or to further political, ideological,
             religious, social or economic objectives or to express (or express opposition to) a philosophy or ideology.
     Retained amount means the amount of damages for which the insured is responsible as shown in the Terrorism
     Retained Amount Schedule of this endorsement or the amount payable by other insurance, whichever is greater.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 02




Care, Custody Or Control Exclusion


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-02       09/01/2014           09/01/2015          09/01/2014         70074000     ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A this policy does not apply to property damage to:
Under Coverage A this policy does not apply to property damage to: Real and/or Personal Property of others in the care,
custody or control of the ins
of others in the care, custody or control of the insured.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)




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Endorsement # 03




Employee Benefits Liability Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-02      09/01/2014          09/01/2015          09/01/2014         70074000     ----------          ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense imposed on any
insured as a Fiduciary Administrator, or other party in interest arising out of any Employee Benefits Program, record
handling in connection with any Employee Benefits Program, or effecting or terminating any employee’s participation in
any plan included in any “Employee Benefits Program”.
As used in this endorsement:
Employee Benefits Program means any group life insurance, group accident or health insurance, profit sharing plans,
pension plans, stock subscription plans, unemployment insurance, social security benefits, workers’ compensation and
disability benefits and any other similar plans.




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Endorsement # 04




Foreign Operations Follow Form


     Policy No.    Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-02      09/01/2014          09/01/2015          09/01/2014         70074000     ----------          ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
insured’s operations or activities outside of the United States of America (including its territories and possessions),
Puerto Rico or Canada whether or not the insured’s responsibility to pay damages is determined in a suit on the merits
in the United States of America (including its territories and possessions), Puerto Rico or Canada.




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Endorsement # 05




Lead Exclusion


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.          Return Prem.

 AUC 5912288-02     09/01/2014           09/01/2015          09/01/2014         70074000     ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A. Under Coverage A and Coverage B this policy does not apply to:
   1. Any liability, damage, loss, cost or expense arising out of, resulting from, caused by or contributed to by toxic or
       pathological properties of lead, lead compounds or lead contained in any materials;
   2. Any cost or expense to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead;
   3. Any supervision, instructions, recommendations, warnings or advice given or which should have been given in
      connection with paragraphs 1. or 2. above; or
   4. Any obligation to share damages with or repay anyone else who must pay damages in connection with
      paragraphs 1., 2., or 3. above.




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Endorsement # 06




Personal and Advertising Injury Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-02     09/01/2014           09/01/2015          09/01/2014         70074000     ----------          ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
personal and advertising injury offense.




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Endorsement # 07




Fungus or Bacteria Exclusion


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-02       09/01/2014          09/01/2015          09/01/2014         70074000     ----------          ----------
Named Insured and Mailing Address:                                         Producer:
OMNICELL, INC                                                              MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                     1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                               SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A and Coverage B this policy does not apply to any liability, damage, loss, cost or expense:
    A. Caused directly or indirectly by the actual, alleged or threatened inhalation of, ingestion of, contact with, exposure
        to, existence of, or presence of any:
        1. Fungi, or bacteria; or
        2. Substance, vapor or gas produced by or arising out of any fungi or bacteria.
    B. Arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying,
       neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, fungi or
       bacteria, by any insured or by any other person or entity.
Definitions
    As used in this endorsement:
    1. Bacteria means any type or form of bacteria and any materials or substances that are produced or released by
        bacteria.
    2. Fungi means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents or
        by-products produced or released by fungi.
    3. Spores means reproductive bodies produced by or arising out of fungi.
This exclusion does not apply to any fungi or bacteria that are, are on, or are contained in, an edible good or edible
product intended for human or animal consumption.




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Endorsement # 08




Technology Errors and Omissions Follow Form


     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.          Producer             Add'l Prem.           Return Prem.

 AUC 5912288-02        09/01/2014            09/01/2015            09/01/2014             70074000                ----------          ----------
Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damages, loss, cost or expense arising out of:
1. The failure of your product to perform the function or serve the purpose intended;
2. The performance or nonperformance of your work;
3. Purchase or contract price for your product or your work;
4. Disgorgement of profits, restitution, or any money or credits that represent any gain, profit, or advantage to which you
    are not legally entitled; or
5. Criminal or civil penalties.
As used in this endorsement the following definitions apply:
1. Damages means a monetary amount to compensate for a wrongful act.
2. Wrongful act means an error or omission by or on behalf of any insured.
3. Your product means
    a. Any goods or products manufactured, developed, designed, created, sold, handled, licensed, marketed,
        distributed, or disposed of by you or on your behalf, including but not limited to:
        1) Computer software or computer programming;
        2) Electronic or computer equipment, components, or peripherals;
        3) Telecommunications or broadcasting equipment; or
        4) Industrial or robotic equipment; and
    b. Containers (other than vehicles), materials, parts, or equipment furnished in connection with such goods or
        products.
    Your product includes:
    a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
       of your product; and
    b. The providing of or failure to provide warnings or instructions.




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4. Your work means:
   a. Work or operations performed by you or on your behalf, including but not limited to:
       1) Installation, service, technical support, system integration, maintenance, repair, consulting, or analysis of:
           a) Computer software or computer programming;
           b) Electronic or computer equipment, components, or peripherals;
           c) Telecommunications or broadcasting equipment; or
           d) Industrial or robotic equipment;
           and any training services provided in conjunction with the above activities;
       2) Electronic processing, management, mining, or warehousing of data or records for others;
       3) Providing multimedia services, including but not limited to:
           a) Television broadcasting;
           b) Cable and satellite broadcasting;
           c) Radio broadcasting;
           d) Electronic broadcasting;
           e) Internet access; or
           f)   Website design;
       4) Providing telecommunication services, including but not limited to:
           a) Wire based telecommunications;
           b) Wireless telecommunications; or
           c) Paging services; and
       5) Administration, management, operation, or hosting of systems, technology, or computer facilities for another
           person or organization; and
   b. Materials, parts, or equipment furnished in connection with such work or operations.
   Your work includes:
   a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
      of your work; and
   b. The providing of or failure to provide warnings or instruction.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                        President                                                     Corporate Secretary




              QUESTIONS ABOUT YOUR INSURANCE?                   Your agent or broker is best equipped to
              provide information about your insurance. Should you require additional information or
              assistance in resolving a complaint, call or write to the following (please have your policy or
              claim number ready):

                                                Zurich in North America
                                                Customer Inquiry Center
                                                  1400 American Lane
                                            Schaumburg, Illinois 60196-1056
                                  1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                            Email: info.source@zurichna.com




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Cap on Losses From Certified Acts of Terrorism

    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.         Return Prem.

 AUC 5912288-02      09/01/2014          09/01/2015          09/01/2014         70074000      ----------        ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the following:
Commercial Umbrella Liability Policy
A. Cap on Losses From Certified Terrorism Losses
   "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concurrence with the
   Secretary of State and the Attorney General of the United States, to be an act of terrorism pursuant to the federal
   Terrorism Risk Insurance Act ("TRIA"). The Terrorism Risk Insurance Act provides that the Secretary of Treasury
   shall certify an act of terrorism:
   1. to be an act of terrorism;
   2. to be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. to have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is
      subject to regulation in the United States), or the premises of a United States mission; and
   4. to have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a Program
   Year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
   in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
   established by the Secretary of Treasury.
B. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
   terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
   limited or restricted under this policy.
ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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California Cancellation and Nonrenewal Endorsement


     Policy No.          Eff. Date of Pol.     Exp. Date of Pol.     Eff. Date of End.          Producer              Add'l Prem.          Return Prem.

 AUC 5912288-02           09/01/2014             09/01/2015             09/01/2014             70074000                ----------         ----------
Named Insured and Mailing Address:                                                   Producer:
OMNICELL, INC                                                                        MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                               1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                         SAN JOSE, CA 95112-4508




                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, a. Cancellation, paragraph (2), is deleted and
     replaced with the following:
     (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver to you at
          the address shown on your policy not less than ten (10) days advance written notice when the cancellation is to
          take effect. If we cancel for any other reason, we will mail or deliver to you not less than ninety (90) days
          advance written notice stating the reason(s) for the cancellation and stating when the cancellation is to take
          effect. Mailing or delivery of the notice of cancellation to you shall be deemed to have been given to all
          insureds.
          (a) If this policy has been in effect for less than sixty (60) days and is not a renewal of a policy we issued, we
                  may cancel this policy for any reason.
          (b) If this policy has been in effect for sixty (60) days or more, or if this policy is a renewal of a policy we
                  issued, we may cancel this policy for one or more of the following reasons:
                  i.    Non-payment of premium, including payment due on a prior policy we issued and due during the
                        current policy term covering the same risks;
                  ii.   Discovery of fraud or material misrepresentation by any insured or his or her representative in
                        obtaining this insurance or in pursuing a claim under this policy;
                  iii. A judgment by a court or an administrative tribunal that you have violated a California or Federal law,
                        having as one of its necessary elements an act which materially increases any of the risks insured
                        against;
                  iv. Discovery of willfully or grossly negligent acts or omissions, or of any violations of state laws or
                        regulations establishing safety standards, by you or your representative, which materially increase any
                        of the risks insured against;
                  v.    Failure by you or your representative to implement reasonable loss control requirements, agreed to as
                        a condition of policy issuance, or which were conditions precedent to our use of a particular rate or
                        rating plan, if that failure materially increases any of the risks insured against;
                  vi. A determination by the Commissioner of Insurance that the loss of, or changes in, our reinsurance
                        covering all or part of the risk would threaten our financial integrity or solvency;
                  vii. A determination by the Commissioner of Insurance that continuation of the policy coverage would
                        place us in violation of California law or the laws of the state where we are domiciled or threaten our
                        solvency;




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                  viii. A change by you or your representative in the activities or property of the commercial or industrial
                        enterprise, which results in a materially added, increased or changed risk, unless the added,
                        increased, or changed risk is included in the policy;
                  ix. A material change in limits, type or scope of coverage, or exclusions in one or more of the underlying
                        policies;
                  x.    Cancellation or nonrenewal of one or more of the underlying policies where such policies are not
                        replaced without lapse;
                  xi. A reduction in financial rating or grade of one or more insurers, insuring one or more underlying
                        policies based on an evaluation obtained from a recognized financial rating organization.
          (c) If we cancel for non-payment of premium, you may continue coverage and avoid the effect of cancellation
                  by payment in full at any time prior to the effective date of cancellation.
B.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, b. Nonrenewal, is deleted and replaced with the
     following:
     b.   Nonrenewal
          (1) If we decide not to renew this policy, we will mail or deliver notice of nonrenewal at least sixty (60) days,
                  but not more than one hundred, twenty (120) days before the expiration date of this policy. Such notice will
                  be mailed or delivered to you at the mailing address last known to us, and to the producer of record (if
                  any). Proof of mailing will be sufficient proof of notice. Mailing or delivery of the notice of nonrenewal shall
                  be deemed to have been given to all insureds.
          (2) We need not provide notice of nonrenewal if:
                  (a) The transfer or renewal of a policy, without any changes in terms, conditions, or rates, is between us
                        and a member of our insurance group;
                  (b) The policy has been extended for ninety (90) days or less, provided that notice has been given in
                      accordance with paragraph (1);
                  (c) You have obtained replacement coverage, or if you have agreed, in writing, within sixty (60) days of
                        the termination of the policy, to obtain that coverage;
                  (d) The policy is for a period of no more than 60 days and you are notified at the time of issuance that it
                        will not be renewed;
                  (e) You request a change in the terms or conditions or risks covered by the policy within sixty (60) days of
                        the end of the policy;
                  (f)   We have made a written offer to you, in accordance with paragraph (1), to renew the policy under
                        changed terms or conditions or at an increased premium rate, when the increase exceeds 25%;
                  (g) The policy has been designated as nonrenewable.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 09




Exclusion-Recording And Distribution Of Material Or
Information In Violation Of Law

    Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.         Producer             Add'l Prem.         Return Prem.

 AUC 5912288-02       09/01/2014             09/01/2015            09/01/2014              70074000

Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Commercial Umbrella Liability Policy
Under Section IV. Exclusions, paragraph A. 6. Violation Of Statutes is replaced by the following:
RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF LAW
6. Directly or indirectly arising out of or based upon any action or omission that violates or is alleged to violate:
    a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
    b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
    c. The Fair Credit Reporting Act (FCRA) and any amendment of or addition to such law including the Fair and
        Accurate Credit Transactions Act (FACTA); or
    d. Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
        FCRA, and their amendments and additions, or any other legal liability, at common law or otherwise, that
        addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording, use of,
        sending, transmitting, communicating or distribution of material or information.

All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                                              U-UMB-525-F CW (01/14)
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Endorsement # 10




Umbrella Amendatory Endorsement

    Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.         Producer             Add'l Prem.          Return Prem.

 AUC 5912288-02       09/01/2014             09/01/2015            09/01/2014              70074000

Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Commercial Umbrella Liability Policy
A. Under Section IV. Exclusions, paragraph C.5. Personal and Advertising Injury, subparagraphs b. and c. are
    replaced by the following:
    b. Arising out of or written publication, in any manner, of material, if done by or at the direction of the insured with
        knowledge of its falsity;
    c. Arising out of or written publication, in any manner, of material, whose first publication took place before the
        beginning of the policy period;
B. Under Section V. Definitions, paragraph C.2. Auto, subparagraph b. is replaced by the following:
    b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged;
C. Under Section V. Definitions, paragraph C.9. Mobile equipment, the last paragraph under the definition of Mobile
   equipment is replaced by the following:
    However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
    responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
    subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.

All other terms, conditions, provisions and exclusions of this policy remain the same.




                                                                                                                              U-UMB-906-A CW (01/14)
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Important Notice to Policyholders

The address for the headquarters of Zurich North America will change after August 1, 2016 due to a relocation of our
office in the same city. The new address is:


                                                  Customer Inquiry Center
                                                  Zurich North America
                                                  1299 Zurich Way
                                                  Schaumburg, IL 60196
                                                  1-800-382-2150


For specific questions regarding your policy, please contact your agent or broker. For other questions, you may contact
the Customer Inquiry Center of Zurich North America. Any references to post office boxes previously provided remain
unchanged.




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Insured Name:       OMNICELL, INC

Policy Number:      AUC 5912288-03
Effective Date:     09/01/2015




             THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                               SCHEDULE*

 Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
 $948

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January 1, 2015 – December 31, 2015 federal share: 85%
    January 1, 2016 – December 31, 2016 federal share: 84%
    January 1, 2017 – December 31, 2017 federal share: 83%
    January 1, 2018 – December 31, 2018 federal share: 82%
    January 1, 2019 – December 31, 2019 federal share: 81%
    January 1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the
    Secretary of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.




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E. Definition of Act of Terrorism under TRIA
   TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.




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Insured Name:      OMNICELL, INC

Policy Number:     AUC 5912288-03
Effective Date:    09/01/2015




              NOTIFICATION OF IMPORTANT CHANGES
           RELATING TO TERRORISM RISK INSURANCE ACT
To Our Valued Customers:
The Terrorism Risk Insurance Program Reauthorization Act of 2007 ("TRIPRA 2007") had been scheduled to expire on
December 31, 2014. Congress enacted a six year extension of TRIA entitled, Terrorism Risk Insurance Program
Reauthorization Act of 2015 (“TRIPRA 2015”), which will expire on December 31, 2020. For purposes of simplicity we will
simply reference the act as TRIA. There are several important changes to TRIA included within the extension of which
you should be aware:
A. Change in Definition of "Act of Terrorism"
   Prior to the enactment of the extension legislation, TRIA had required that an “act of terrorism” meant any act that is
   certified by the Secretary of the Treasury in concurrence with the Secretary of State. However, this has been
   changed in that certification by the Secretary of the Treasury shall be in consultation with the Secretary of Homeland
   Security and the United States Attorney General.
B. Reduction in the Federal Share of Terrorism Losses by Increasing the Insurer Co-Pay from 15% to 20% Over
   Five Years
   The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
   share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
   amount during the same period. The schedule below illustrates the decrease in the federal share:
   January 1, 2015 – December 31, 2015 federal share: 85%
   January 1, 2016 – December 31, 2016 federal share: 84%
   January 1, 2017 – December 31, 2017 federal share: 83%
   January 1, 2018 – December 31, 2018 federal share: 82%
   January 1, 2019 – December 31, 2019 federal share: 81%
   January 1, 2020 – December 31, 2020 federal share: 80%
C. The Current Program Trigger for Aggregate Industry Insured Losses Will Increase from $100 Million to $200
   Million Over Five Years
   The extension of TRIA increases the Program trigger from $100 million to $200 million over a five year period. This
   means that the Program trigger will increase by $20 million with respect to any such insured losses occurring in
   calendar year 2016 and continue to increase by $20 million until calendar year 2020. At the end of this five year
   period the Program trigger will be $200 million.
D. Increases in the Recoupment of the Federal Share of Insured Losses
   The extension of TRIA increases the amount used to calculate marketplace aggregate retention from $27.5 billion to
   $37.5 billion in $2 billion increments beginning in the calendar year 2015 and reaching $37.5 billion in calendar year
   2019. Beginning in calendar year 2020 the TRIA extension revises the mandatory recoupment amount to be the
   amount equal to the annual average of the sum of insurer deductibles for all insurers participating in the Program for
   the prior three calendar years, with such amount to be determined annually by the Secretary of the Treasury. Under
   the TRIA extension, the recoupment of mandatory recoupment amounts has increased from 133% to 140%.




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Disclosure Statement


                               It is our pleasure to present the enclosed policy to you
                                           for presentation to your customer.


                                    INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

  Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




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Disclosure Statement


               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


         If you want to learn more about the compensation Zurich pays agents and brokers visit:

                            http://www.zurichnaproducercompensation.com

                         or call the following toll-free number: (866) 903-1192.



               This Notice is provided on behalf of Zurich American Insurance Company

                                   and its underwriting subsidiaries.




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Commercial Umbrella Liability Policy
Declarations

Insurance is provided by the company below.

                              American Guarantee and Liability Insurance Company

Policy Number:    AUC 5912288-03                               Renewal of Number:     AUC 5912288-02

1.   Named Insured:     OMNICELL, INC                          Producer: MARSH RISK & INSURANCE
                                                                         SERVICES
2.   Mailing Address:   590 E. MIDDLEFIELD RD.                             1732 N 1ST ST STE 400
                        MOUNTAIN VIEW, CA 94043-1337                       SAN JOSE, CA 95112-4508

     Email Address:                                                        annmarie.torio@marsh.com

3.   Policy Period:     From: 09/01/2015 To: 09/01/2016
                        at 12:01 A.M. Standard Time at the address of the Named Insured.


4.   Limits of Insurance:   A.   $25,000,000        Occurrence
                            B.   $25,000,000        Other Aggregate
                            C.   $25,000,000        Products/Completed Operations Aggregate
                            D.   $250,000           Casualty Business Crisis Aggregate Limit

5.   Retained Limit:             $0                 Occurrence

6.   Policy Premium:
     Advance Premium                      $48,348
     Policy Minimum Earned Premium        $12,087

7.   Schedule of Underlying Insurance:    See attached Schedule of Underlying Insurance

8.   Endorsements Attached:               See attached Schedule of Forms and Endorsements




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Schedule of Forms and Endorsements

     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.       Producer       Add'l Prem.          Return Prem.

 AUC 5912288-03      09/01/2015           09/01/2016          09/01/2015            70074000       ----------           ----------
Named Insured and Mailing Address:                                         Producer:
OMNICELL, INC                                                              MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                     1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                               SAN JOSE, CA 95112-4508




                          Form Name                                               Form Number                     Edition Date

Disclosure of Important Information Relating to Terrorism                        U-GU-630-D CW                        (01/15)
Risk Insurance Act

Commercial Umbrella Liability Policy Declarations                               U-UMB-D-101-C CW                      (03/10)

Schedule of Underlying Insurance                                                U-UMB-105-A CW                        (07/99)

Extended Schedule of Underlying Insurance                                       U-UMB-106-A CW                        (07/99)

Commercial Umbrella Liability Policy                                            U-UMB-103-C CW                        (03/10)

Certified Act of Terrorism Retained Amount - Coverage B                         U-UMB-406-D CW                        (01/15)

Care, Custody Or Control Exclusion                                              U-UMB-129-B CW                        (07/03)

Employee Benefits Liability Follow Form                                         U-UMB-167-B CW                        (07/03)

Foreign Operations Follow Form                                                  U-UMB-183-A CW                        (07/99)

Lead Exclusion                                                                  U-UMB-193-A CW                        (07/99)

Personal and Advertising Injury Follow Form                                     U-UMB-217-A CW                        (07/99)

Fungus or Bacteria Exclusion                                                    U-UMB-385-B CW                        (07/03)

Technology Errors and Omissions Follow Form                                     U-UMB-663-A CW                        (02/09)

Sanctions Exclusion Endorsement                                                  U-GU-1191-A CW                       (03/15)

Important Notice - In Witness Clause                                             U-GU-319-F CW                        (01/09)

Cap on Losses From Certified Acts of Terrorism                                   U-GU-767-B CW                        (01/15)

California Cancellation and Nonrenewal                                           U-UMB-265-C CA                       (04/10)

Exclusion-Recording And Distribution Of Material Or                              U-UMB-525-F CW                       (01/14)
Information In Violation Of Law



                                                                                                                 U-UMB-104-A CW (07/99)
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Umbrella Amendatory Endorsement                    U-UMB-906-A CW             (01/14)




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Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-03        09/01/2015          09/01/2016          09/01/2015         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

A. Company: Zurich American Insurance                    Commercial General                   $1,000,000        Premises - Each
            Company                                      Liability                                              Occurrence

   Policy No: CPO 5912284-03                             Domestic Package                     $1,000,000        Products /
                                                         Policy                                                 Completed Ops -
                                                                                                                Each Occurrence
   Term:         09/01/2015 to 09/01/2016                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate
                                                                                              $2,000,000        General Aggregate
                                                                                                                Per Location
                                                                                                                Term Aggregate
                                                                                                                $2,000,000

                                                                                              $1,000,000        Personal Injury/
                                                                                                                Advertising Injury
                                                         Including Employee                   $1,000,000        Employee Benefits -
                                                         Benefits                                               Each Claim
                                                                                              $1,000,000        Employee Benefits -
                                                                                                                General Aggregate

   Company, Policy No. and Term                                Coverage                         Applicable Limits

B. Company: Zurich American Insurance                    Commercial Auto Liability            $1,000,000        Combined Single
            Company                                                                                             Limit
   Policy No: CPO 5912284-03                             Domestic Package
                                                         Policy
   Term:         09/01/2015 to 09/01/2016
   Company, Policy No. and Term                                Coverage                         Applicable Limits




                                                                                                                U-UMB-105-A CW (07/99)
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C. Company: Zurich American Insurance    Employers Liability     $1,000,000   Bodily Injury By
            Company                                                           Accident - Each
                                                                              Accident
   Policy No: WC 5543003-03              Workers                 $1,000,000   Bodily Injury By
                                         Compensation Policy                  Disease - Each
                                                                              Employee
   Term:      09/01/2015 to 09/01/2016                           $1,000,000   Bodily Injury By
                                                                              Disease - Policy
                                                                              Limit




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Extended Schedule of Underlying Insurance

    Policy No.       Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer       Add'l Prem.           Return Prem.

 AUC 5912288-03        09/01/2015          09/01/2016          09/01/2015         70074000         ----------          ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Each Occurrence
            Company                                      Premises and
                                                         Products/Completed
                                                         Ops Liability
   Policy No: ZE 5912294-03                              Foreign Package Policy               $2,000,000        General Aggregate
   Term:         09/01/2015 to 09/01/2016                                                     $2,000,000        Products /
                                                                                                                Completed
                                                                                                                Operations
                                                                                                                Aggregate




   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Combined Single
            Company                                      Automobile Liability                                   Limit
   Policy No: ZE 5912294-03                              Foreign Package Policy
   Term:         09/01/2015 to 09/01/2016

   Company, Policy No. and Term                                Coverage                         Applicable Limits

   Company: Zurich American Insurance                    Foreign Liability                    $1,000,000        Bodily Injury By
            Company                                      Employers Liability                                    Accident - Each
                                                                                                                Accident
   Policy No: ZE 5912294-03                              Foreign Package Policy               $1,000,000        Bodily Injury By
                                                                                                                Disease - Each
                                                                                                                Employee
   Term:         09/01/2015 to 09/01/2016                                                     $1,000,000        Bodily Injury By
                                                                                                                Disease - Policy
                                                                                                                Limit




                                                                                                                U-UMB-106-A CW (07/99)
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Commercial
Umbrella
Liability
Policy



Zurich North America

Insurance is provided by the company designated on the Declarations of this policy.




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Commercial Umbrella Liability Policy

There are provisions in this policy that restrict coverage. Read the entire policy carefully to determine your rights, duties
and what is and is not covered.
Throughout this policy the words “you” and “your” refer to the Named Insured shown in the Declarations, and any other
person or organization qualifying as a named insured under this policy. The words “we”, “us” and “our” refer to the
company providing this insurance.
The word insured means any person or organization qualifying as such in SECTION V. DEFINITIONS of this policy.
Words and phrases that are printed in bold-face type are defined in this policy. These definitions are found in SECTION
V. DEFINITIONS of this policy or in the specific policy provision where they appear.
In consideration of the payment of the premium and in reliance upon the statements in the Declarations and in
accordance with the provisions of this policy we agree with you to provide coverage as follows:
                                                  Insuring Agreements
SECTION I.    COVERAGE
A.   Coverage A - Excess Follow Form Liability Insurance
     Under Coverage A, we will pay on behalf of the insured those damages covered by this insurance in excess of the
     total applicable limits of underlying insurance. With respect to Coverage A, this policy includes:
     1.   The terms and conditions of underlying insurance to the extent such terms and conditions are not inconsistent
          or do not conflict with the terms and conditions referred to in Paragraph 2. below; and
     2.   The terms and conditions that apply to Coverage A of this policy.
     Notwithstanding anything to the contrary contained above, if underlying insurance does not apply to damages, for
     reasons other than exhaustion of applicable Limits of Insurance by payment of loss, then Coverage A does not
     apply to such damages. Also, Coverage A does not apply to any form of casualty business crisis expense
     insurance even if such insurance is afforded under underlying insurance or would have been afforded except for
     the exhaustion of the Limits of Insurance of underlying insurance.
B.   Coverage B - Umbrella Liability Insurance
     Under Coverage B, we will pay on behalf of the insured those damages the insured becomes legally obligated to
     pay by reason of liability:
     1.   Imposed by law because of bodily injury, property damage, or personal and advertising injury; or
     2.   Assumed under an insured contract because of bodily injury or property damage;
     covered by this insurance but only if the injury, damage or offense arises out of your business, takes place during the
     policy period of this policy and is caused by an occurrence happening anywhere. We will pay such damages in
     excess of the Retained Limit specified in Item 5. of the Declarations or the amount payable by other insurance,
     whichever is greater.
     Coverage B does not apply to any loss, claim or suit for which insurance is afforded under underlying insurance
     or would have been afforded except for the exhaustion of the Limits of Insurance of underlying insurance.
The amount we will pay for loss under Coverage A or Coverage B is limited as described in SECTION II. LIMITS OF
INSURANCE.
We have no obligation under Coverage A and/or Coverage B with respect to any settlement made without our consent.
The insurance afforded under Coverage A and Coverage B applies to bodily injury or property damage only if prior to
the policy period, no designated insured knew that the bodily injury or property damage had occurred, in whole or in
part. If such a designated insured knew, prior to the policy period, that the bodily injury or property damage occurred,
then any continuation, change or resumption of such bodily injury or property damage during or after the policy period
will be deemed to have been known prior to the policy period.

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Bodily injury or property damage which occurs during the policy period and was not, prior to the policy period, known to
have occurred by any designated insured includes any continuation, change or resumption of that bodily injury or
property damage after the policy period; and
Bodily injury or property damage will be deemed to have been known to have occurred at the earliest time when any
designated insured:
     1.   Reports all, or any part, of the bodily injury or property damage to us or any other insurer;
     2.   Receives a written or verbal demand or claim for damages because of the bodily injury or property damage;
          or
     3.   Becomes aware by any other means that bodily injury or property damage has occurred or has begun to
          occur.
C.   Coverage C - Casualty Business Crisis Expense
     Under Coverage C, we will pay for casualty business crisis expense regardless of fault arising from a casualty
     business crisis first commencing during the policy period. No underlying insurance or Retained Limit applies to
     Coverage C. Subject to the other terms and conditions of this coverage, we shall pay casualty business crisis
     expense from the first dollar of such expense.
     The amount we will pay for casualty business crisis expense under Coverage C is limited as described in
     SECTION II. LIMITS OF INSURANCE.
     Any amounts that we pay under Coverage C will not obligate us in any way under Coverage A or Coverage B.
SECTION II. LIMITS OF INSURANCE
A.   With respect to Coverage A and Coverage B, the Limits of Insurance shown in the Declarations and the rules below
     describe the most we will pay, regardless of the number of:
     1.   Insureds;
     2.   Claims made or suits brought;
     3.   Coverages provided under this policy; or
     4.   Persons or organizations making claims or bringing suits.
B.   The Limits of Insurance of this policy will apply as follows:
     1.   The limit stated in Item 4.B. of the Declarations for the Other Aggregate is the most we will pay for all loss
          under Coverage A and Coverage B combined except for:
          a.   Loss covered under the products-completed operations hazard; and
          b.   Loss covered in underlying insurance to which no underlying aggregate limit applies.
          In addition, with respect to Coverage A only, if a policy listed on the Schedule of Underlying Insurance contains
          aggregate limits, other than an aggregate limit applying to the products-completed operations hazard, the
          Other Aggregate limit stated in Item 4.B. of the Declarations will apply in the same manner as such other
          aggregate limits of each policy listed in the Schedule of Underlying Insurance.
     2.   The limit stated in Item 4.C. of the Declarations for the Products-Completed Operations Aggregate is the most
          we will pay for all loss under both Coverage A and Coverage B combined as a result of bodily injury or
          property damage included within the products-completed operations hazard.
     3.   Subject to Paragraph B.1. or B.2. above, whichever applies, the limit stated in Item 4.A. of the Declarations for
          Occurrence is the most we will pay for all loss arising out of any one occurrence, even if such loss is covered,
          in whole or in part, under both Coverage A and Coverage B.
C.   Coverage A applies only in excess of the greater of the actual Limits of Insurance of underlying insurance or the
     Limits of Insurance shown on the Schedule of Underlying Insurance forming a part of this policy.
D.   With respect to Coverage C, the limit stated as the Casualty Business Crisis Expense Aggregate Limit in Item
     4.D. of the Declarations is the most we will pay for all casualty business crisis expense first commencing during
     the policy period. This limit is in addition to, and casualty business crisis expense does not reduce or exhaust,
     any other Limit of Insurance applicable to this policy.




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E.   The Limits of Insurance of this policy apply separately to each consecutive annual period and to any remaining
     period of less than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the
     policy period is extended after issuance for an additional period of less than 12 months. In that case, the additional
     period will be deemed part of the preceding period for purposes of determining the Limits of Insurance.
F.   With respect to Coverage A only and subject to paragraphs B.1., B.2., B.3. and C. above:
     1.   If the limits of underlying insurance have been reduced solely by payment of loss for which coverage is
          afforded under this policy, this policy will drop down to become immediately excess of the reduced underlying
          limit; or
     2.   If the limits of underlying insurance have been exhausted solely by payment of loss for which coverage is
          afforded under this policy, this policy will continue in force as underlying insurance.
SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS
A.   We have the right and duty to assume control of the investigation and settlement of any claim, or defense of any suit
     against the insured for damages covered by this policy:
     1.   Under Coverage A, when the applicable limit of underlying insurance and other insurance has been
          exhausted by payment of loss for which coverage is afforded under this policy; or
     2.   Under Coverage B, when damages are sought for bodily injury, property damage, or personal and
          advertising injury to which no underlying insurance or other insurance applies.
B.   Under Coverage C, we do not assume any duty to control the investigation and settlement of any claim, or defense
     of any suit that may arise from a covered casualty business crisis.
C.   In those circumstances where paragraph A. above applies we will pay our expenses and the following to the extent
     that they are not included in underlying insurance:
     1.   Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds.
     2.   The cost of bonds to release attachments, but only for bond amounts within the amount of insurance available.
          We do not have to furnish these bonds.
     3.   Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of the
          claim or suit, including actual loss of earnings because of time off from work.
     4.   All court costs taxed against the insured in the suit. However, these payments do not include attorneys' fees
          or attorneys' expenses taxed against the insured.
     5.   Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we make
          an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest based on that period
          of time after the offer.
     6.   All interest on the full amount of any judgment that accrues after entry of the judgment and before we have paid,
          offered to pay, or deposited in court that part of the judgment that is within the applicable Limits of Insurance.
     When our expenses and the payments described in paragraph C. above are not included in the definition of loss,
     they will not reduce the Limits of Insurance.
D.   In those circumstances where paragraph A. above does not apply, we do not have the duty to assume control of the
     investigation and settlement of any claim, or defense of any suit against the insured. We do, however, have the
     right to participate in the investigation and settlement of any claim, or defense of any suit that we feel may create
     liability on our part under the terms of this policy. If we exercise this right, we will do so at our expense.
We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of Insurance
as stated in Item 4. of the Declarations.
If we are prevented by law from carrying out the provisions of Section III. Paragraph A. above, we will pay any expense
incurred with our consent.
SECTION IV. EXCLUSIONS
A.   Under Coverage A and Coverage B, this policy does not apply to any liability, damage, loss, cost or expense:
     ASBESTOS
     1.   Arising out of or relating in any way to:



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     a.    Asbestos or which would not have occurred in whole or in part but for the actual, alleged or threatened
           discharge, dispersal, release, leakage, leaching, friability, flaking escape or presence of asbestos,
           regardless of whether any other cause, event, material or product contributed concurrently or in any
           sequence to the injury or damage; or
     b.    Any:
           (1) Request, demand, order, statutory or regulatory requirement, direction or determination, that any
               insured or others test for, investigate, monitor, clean up, remove, study, contain, treat, encapsulate,
                  control or take any other action regarding asbestos; or
           (2) Claim or suit for damages arising out of or relating in any way to any request, demand, order,
               statutory or regulatory requirement, direction or determination than any insured or others test for,
                  investigate, monitor, clean up, remove, study, contain, treat, encapsulate, control or take any other
                  action regarding asbestos.
EMPLOYMENT PRACTICES
2.   Arising out of any bodily injury or personal and advertising injury to:
     a.    A person arising out of any:
           (1) Failure to employ or promote that person;
           (2) Termination of that person's employment, including actual or alleged constructive dismissal;
           (3) Employment-related practices, policies, acts or omissions, including but not limited to injury arising
                  from coercion, demotion, evaluation, reassignment, discipline, defamation, harassment, molestation,
                  humiliation, retaliation, hostile work environment, discrimination or malicious prosecution directed at
                  that person; or
     b.    The spouse, domestic partner, child, parent, brother or sister of that person as a consequence of any
           bodily injury or personal and advertising injury to that person at whom any of the employment related
           practices described in subparagraphs (1), (2) or (3) above is directed.
     This exclusion applies:
     a.    Whether the injury causing event described in paragraph 2.a. above occurs before employment, during
           employment or after employment of that person;
     b.    Whether the insured may be held liable as an employer or in any other capacity; or
     c.    To any obligation to share damages with or repay someone who must pay damages because of the injury.
LAWS, MISCELLANEOUS
3.   Under any of the following:
     a.    Any uninsured/underinsured motorist or auto no-fault or first party personal injury law;
     b.    Any workers’ compensation, unemployment compensation, or disability benefits law or any similar law; or
     c.    The Employees’ Retirement Income Security Act (E.R.I.S.A.) of 1974 as now or hereafter amended.
LOSS OF, OR LOSS OF USE OF INTANGIBLE PROPERTY
4.   Arising out of the loss of, loss of use of, damage to, corruption of, inability to access, or inability to manipulate or
     process intangible property. For purposes of this insurance, electronic data is intangible property.
NUCLEAR
5.   a.    With respect to which any insured under this policy is also an insured under a nuclear energy liability
           policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic Energy Liability
           Underwriters, Nuclear Insurance Association of Canada or any of their successors, or would be an insured
           under any such policy but for its termination upon exhaustion of its Limits of Insurance; or
     b.    Resulting from the hazardous properties of nuclear material and with respect to which:
           (1) A person or organization is required to maintain financial protection pursuant to the Atomic Energy Act
                  of 1954, or any law amendatory thereof; or




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           (2) Any insured is, or had this policy not been issued would be, entitled to indemnity from the United
                States of America, or any agency thereof, under any agreement entered into by the United States of
                America, or any agency thereof, with any person or organization; or
     c.    Any injury or nuclear property damage resulting from the hazardous properties of nuclear material, if:
           (1) The nuclear material:
                (a) Is at any nuclear facility owned by, or operated by or on behalf of, any insured;
                (b) Has been discharged or dispersed therefrom;
           (2) The nuclear material is contained in spent fuel or waste at any time possessed, handled, used,
               processed, stored, transported or disposed of by or on behalf of any insured; or
           (3) The injury or nuclear property damage arises out of the furnishing by any insured of services,
                materials, parts or equipment in connection with the planning, construction, maintenance operation or
                use of any nuclear facility, but if such facility is located within the United States of America, its
                territories or possessions or Canada, this subparagraph (3) applies only to nuclear property damage
                to such nuclear facility and any property thereat.
     As used in this exclusion:
     a.    Hazardous properties include radioactive, toxic or explosive properties.
     b.    Nuclear Facility means:
           (1) Any nuclear reactor;
           (2) Any equipment or device designed or used for:
                (a) Separating the isotopes of uranium or plutonium,
                (b) Processing or utilizing spent fuel, or
                (c) Handling, processing or packaging waste;
           (3) Any equipment or device used for the processing, fabricating or alloying of special nuclear material if
               at any time the total amount of such material in the custody of any insured at the premises where
                such equipment or device is located consists of or contains more than 25 grams of plutonium or
                uranium 233 or any combination thereof, or more than 250 grams of uranium 235; or
           (4) Any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
               waste, and includes the site on which any of the foregoing is located, all operations conducted on
                such site and all premises used for such operations.
     c.    Nuclear material means source material, special nuclear material or by-product material.
     d.    Nuclear property damage includes all forms of radioactive contamination of property.
     e.    Nuclear reactor means any apparatus designed or used to sustain nuclear fission in a self-supporting
           chain reaction or to contain a critical mass of fissionable material.
     f.    Source material, special nuclear material and by-product material have the meanings given them in
           the Atomic Energy Act of 1954 or in any law amendatory thereof.
     g.    Spent fuel means any fuel element or fuel component, solid or liquid, which has been used or exposed to
           radiation in a nuclear reactor.
     h.    Waste means any waste material:
           (1) Containing by-product material other than the tailings or wastes produced by the extraction or
               concentration of uranium or thorium from any ore processed primarily for its source material content;
                and
           (2) Resulting from the operation by any person or organization of any nuclear facility included under the
               first two paragraphs of the definition of nuclear facility.
VIOLATION OF STATUTES
6.   Resulting from or arising directly or indirectly out of any action or omission that violates or is alleged to violate:
     a.    The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;


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          b.   The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
          c.   The Fair Credit Reporting Act (FCRA) and any amendment or addition to such law including the Fair and
               Accurate Credit Transactions Act (FACTA); or
          d.   Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003
               or FCRA and their amendments and additions, that addresses, prohibits or limits the printing,
               dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
               material or information.
     WAR AND MILITARY ACTION
     7.   Arising directly or indirectly out of:
          a.   War, including undeclared or civil war;
          b.   Warlike action by a military force, including action in hindering or defending against an actual or expected
               attack, by any government, sovereign or other authority using military personnel or other agents; or
          c.   Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in hindering or
               defending against any of these,
          regardless of any other cause or event that contributes concurrently or in any sequence to injury or damage.
B.   Under Coverage A this policy does not apply to any liability, damage, loss, cost or expense:
     POLLUTION
     1.   Arising directly or indirectly out of the actual, alleged or threatened discharge, dispersal, seepage, migration,
          release or escape of pollutants:
          a.   At or from any premises, site or location which is or was at any time owned or occupied by, or rented or
               loaned to, any insured. However, this subparagraph does not apply to:
               (1) Bodily injury if sustained within a building and caused by smoke, fumes, vapor or soot produced by or
                    originating from equipment that is used to heat, cool or dehumidify the building, or equipment that is
                    used to heat water for personal use, by the building's occupants or their guests;
               (2) Bodily injury or property damage for which you may be held liable, if you are a contractor, and the
                   owner or lessee of such premises, site or location has been added to underlying insurance as an
                    additional insured with respect to your ongoing operations performed for that additional insured at that
                    premises, site or location and such premises, site or location is not and never was owned or occupied
                    by, or rented or loaned to, any insured, other than that additional insured; or
               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire;
          b.   At or from any premises, site or location which is or was at any time used by or for any insured or others
               for the handling, storage, disposal, processing or treatment of waste;
          c.   Which are or were at any time transported, handled, stored, treated, disposed of, or processed as waste by
               or for any insured or any person or organization for whom you maybe legally responsible; or
          d.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the pollutants are
               brought on or to the premises, site or location in connection with such operations by such insured,
               contractor or subcontractor. However, this subparagraph does not apply to:
               (1) Bodily injury or property damage arising out of the escape of fuels, lubricants or other operating fluids
                    which are needed to perform the normal electrical, hydraulic or mechanical functions necessary for the
                    operation of mobile equipment or its parts, if such fuels, lubricants or other operation fluids escape
                    from a vehicle part designed to hold, store or receive them. This exception does not apply if the bodily
                    injury or property damage arises out of the intentional discharge, dispersal or release of the fuels,
                    lubricants or other operating fluids, or if such fuels, lubricants or other operating fluids are brought on
                    or to the premises, site or location with the intent that they be discharged, dispersed or released as
                    part of the operations being performed by such insured, contractor or subcontractor;
               (2) Bodily injury or property damage sustained within a building and caused by the release of gases,
                    fumes or vapors from materials brought into that building in connection with operations being
                    performed by you or on your behalf by a contractor or subcontractor;



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               (3) Bodily injury or property damage arising out of heat, smoke or fumes from a hostile fire.
          e.   At or from any premises, site or location on which any insured or any contractors or subcontractors
               working directly or indirectly on any insured’s behalf are performing operations if the operations are to test
               for, monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
               the effects of, pollutants.
          f.   That are, or that are contained in any property that is:
               (1) Being transported or towed by, handled, or handled for movement into, onto or from, any auto for
                   which coverage is provided by underlying insurance;
               (2) Otherwise in the course of transit by or on behalf of any insured; or
               (3) Being stored, disposed of, treated or processed in or upon any auto.
               However, this subparagraph f. does not apply to bodily injury or property damage arising out of:
                    (i)    The escape of fuels, lubricants, other operating fluids, exhaust gases or other similar pollutants
                           that are needed for or result from the normal electrical, hydraulic or mechanical functioning of a
                           covered auto; or
                    (ii) The escape of pollutants from a covered auto that directly results from the collision, upset or
                           overturn of such auto while in the course of transit away from any premises owned by or rented
                           to any insured.
     2.   Arising out of any:
          a.   Request, demand, order or statutory or regulatory requirement that any insured or others test for, monitor,
               clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess the effects of,
               pollutants; or
          b.   Claim or suit brought by or on behalf of a governmental authority for damages because of testing for,
               monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
               responding to, or assessing the effects of, pollutants.
C.   Under Coverage B this policy does not apply to:
     AIRCRAFT, AUTOS OR WATERCRAFT
     1.   Any liability, damage, loss, cost or expense arising out of the ownership, maintenance, operation, use, loading
          or unloading or entrustment to others of any
          a.   Aircraft owned by you or rented, loaned or chartered by or on behalf of you without crew;
          b.   Auto; or
          c.   Watercraft owned by you except watercraft while ashore on premises you own or rent.
          This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
          supervision, hiring, employment, training or monitoring of others by that insured.
     EMPLOYEE INJURY
     2.   Any injury to:
          a.   An employee of the insured arising out of and in the course of:
               (1) Employment by the insured; or
               (2) Performing duties related to the conduct of the insured's business; or
          b.   Any injury to the spouse, domestic partner, child, parent, brother, or sister of that employee as a
               consequence of exclusion 2.a. above.
          This exclusion applies whether the insured may be liable as an employer or in any other capacity, or to any
          obligation to share damages with or repay someone else who must pay damages because of an injury.
     IMPAIRED PROPERTY
     3.   Property damage to impaired property or property that has not been physically injured arising out of:
          a.   A defect, deficiency, inadequacy or dangerous condition in your product or your work; or


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     b.    A delay or failure by you or anyone acting on your behalf to perform a contract or agreement in accordance
           with its terms.
     This exclusion does not apply to the loss of use of other property arising out of sudden and accidental physical
     injury to your product or your work after it has been put to its intended use.
INTENTIONAL INJURY
4.   Bodily injury or property damage expected or intended from the standpoint of the insured. This exclusion
     does not apply to bodily injury or property damage resulting from the use of reasonable force to protect
     persons or property.
PERSONAL and ADVERTISING INJURY
5.   Personal and advertising injury:
     a.    Caused by or at the direction of the insured with the knowledge that the act would violate the rights of
           another and would inflict personal and advertising injury;
     b.    Arising out of oral or written publication of material, if done by or at the direction of the insured with
           knowledge of its falsity;
     c.    Arising out of oral or written publication of material whose first publication took place before the beginning
           of the policy period;
     d.    Arising out of a criminal act committed by or at the direction of any insured;
     e.    For which the insured has assumed liability in a contract or agreement. This exclusion does not apply to
           liability for damages that the insured would have in the absence of the contract or agreement;
     f.    Arising out of a breach of contract, except an implied contract to use another’s advertising idea in your
           advertisement;
     g.    Arising out of the failure of goods, products or services to conform with any statement of quality or
           performance made in your advertisement;
     h.    Arising out of the wrong description of the price of goods, products or services stated in your
           advertisement;
     i.    Arising out of the infringement of copyright, patent, trademark, trade secret, trade dress, slogan or other
           intellectual property rights.
           However, this exclusion does not apply to infringement of copyright, trade dress or slogan in your
           advertisement;
     j.    Committed by an insured whose business is:
           (1) Advertising, broadcasting, publishing, electronic publishing or telecasting;
           (2) Designing or determining content of web-sites for others; or
           (3) An Internet search, access or content provider.
           However, this exclusion 5.j., does not apply to sub-paragraphs C., 12. a., b., c. and h. of personal and
           advertising injury under SECTION V. DEFINITIONS.
           For purposes of this exclusion 5.j., the placing of frames, borders or links, or advertising, for you or others
           anywhere on the Internet, is not by itself, considered the business of advertising, broadcasting, publishing
           or telecasting;
     k.    Arising out of an electronic chatroom or bulletin board the insured hosts, owns or over which the insured
           exercises control; or
     l.    Arising out of the unauthorized use of another’s name or product in your e-mail address, domain name or
           metatag, or any other similar tactics to mislead another’s potential customers.
POLLUTION
6.   Any liability, damage, loss, cost or expense:
     a.    Arising directly or indirectly out of the actual, alleged or threatened existence, discharge, seepage,
           migration, dispersal, release or escape of pollutants; or
     b.    Arising out of any:

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               (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
                    monitor, clean-up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
                    the effects of pollutants; or
               (2) Claim or suit by or on behalf of a governmental authority for damages because of testing for,
                    monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
                    responding to, or assessing the effects of pollutants.
     PRODUCT RECALL
     7.   Damages claimed for any loss, cost or expense incurred by you or others for the loss of use, withdrawal, recall,
          inspection, repair, replacement, adjustment, removal or disposal of:
          a.   Your product;
          b.   Your work; or
          c.   Impaired property;
          if such product, work or property is withdrawn or recalled from the market or from use by any person or
          organization because of a known or suspected defect, deficiency, inadequacy, or dangerous condition in it.
     PROPERTY DAMAGE
     8.   Property damage to:
          a.   Property you own, rent or occupy, including any costs or expenses incurred by you, or any person or
               organization or entity, for repair, replacement, enhancement, restoration or maintenance of such property
               for any reason, including prevention of injury to a person or damage to another’s property;
          b.   Premises you sell, give away or abandon if the property damage arises out of any part of those premises;
          c.   Property loaned to you;
          d.   Personal property in your care, custody or control;
          e.   That particular part of real property on which you or any contractors or subcontractors working directly or
               indirectly on your behalf are performing operations, if the property damage arises out of those operations;
          f.   That particular part of any property that must be restored, repaired or replaced because your work was
               incorrectly performed on it;
          g.   Your product arising out of it or any part of it; or
          h.   Your work arising out of it or any part of it and included in the products-completed operations hazard.
D.   Under Coverage C, this policy does not apply to any casualty business crisis arising out of, based upon or
     attributable to:
     PRIOR NOTICE
     1.   Facts alleged, or to the same or related acts alleged or contained, in any crisis, claim or suit that has been
          reported, or in any circumstances where notice has been given under any policy of which this policy or any
          underlying insurance is a renewal or replacement; or
     PENDING OR PRIOR CRISIS CLAIM OR SUIT
     2.   Any pending or prior claim or suit as of the inception date of this policy.
SECTION V. DEFINITIONS
In this policy, words and phrases appearing in bold face type have the definitions shown below.
A.   The following definitions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Designated insured means:
          a.   The person(s) and organization(s) specifically described under             SECTION V. DEFINITIONS,
               sub-paragraphs C.6.a. through C.6.e. below for any insured; or
          b.   Any employee authorized by you to give or receive notice of an occurrence, claim or suit.




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     2.   Electronic data means information, facts or programs stored as or on, created or used on, or transmitted to or
          from computer software, including systems and applications software, hard or floppy disks, CD-ROMS, tapes,
          drives, cells, data processing devices or any other media which are used with electronically controlled
          equipment.
     3.   Loss means those sums actually paid that the insured is legally obligated to pay as damages for the settlement
          or satisfaction of a claim because of injury or offense, after making proper deductions for all recoveries and
          salvage. However:
          a.   Under Coverage A:
               (1) Loss also includes defense expenses and supplementary payments if underlying insurance includes
                      defense expenses and supplementary payments in the Limits of Insurance; and
               (2) Loss does not include defense expenses and supplementary payments if underlying insurance does
                      not include defense expenses and supplementary payments in the Limits of Insurance.
          b.   Under Coverage B., loss does not include defense expenses and supplementary payments.
     4.   Other insurance means a policy of insurance providing coverage that this policy also provides. Other
          insurance includes any type of self-insurance or other mechanisms by which an insured arranges for funding
          of legal liabilities.
          Other insurance does not include underlying insurance or a policy of insurance specifically purchased to be
          excess of this policy providing coverage that this policy also provides.
     5.   Pollutants mean any man-made or naturally occurring solid, liquid, gaseous or thermal irritant or contaminant,
          including but not limited to: smoke; vapor; soot; fumes; acids; alkalis; chemicals and waste. Waste includes
          materials to be recycled, reconditioned or reclaimed.
     6.   Suit means a civil proceeding in which injuries or damages to which this insurance applies are alleged. Suit
          includes:
          a.   An arbitration proceeding in which such damages are claimed and to which the insured must submit
               pursuant to law or contract or does submit with our consent; or
          b.   Any other alternative dispute resolution proceeding in which such damages are claimed and to which the
               insured submits with our consent.
     7.   Underlying insurance means the policy or policies of insurance listed in the Schedule of Underlying Insurance
          forming a part of this policy. We will only be liable for amounts in excess of the Limits of Insurance shown in the
          Schedule of Underlying Insurance for any underlying insurance.
B.   The following definitions are applicable to Coverage A only:
     1.   Hostile fire means one which becomes uncontrollable or breaks out from where it was intended to be.
     2.   Insured means:
          a.   You;
          b.   Any person or organization included as an insured in underlying insurance; and
          c.   Any person or organization qualifying as an additional insured in underlying insurance but only to the
               same extent that such person or organization is an additional insured under such underlying insurance.
     3.   Non-Admitted Jurisdiction means:
          a.   Any country or political subdivision in which we are not licensed or permitted to insure risks and where
               doing so would violate the insurance laws and regulations of such jurisdiction; or
          b.   Any country or political subdivision where we are prevented by law from investigating, defending or settling
               an occurrence or suit.
     4.   Occurrence means a covered event as defined in underlying insurance.
     5.   Qualified Entity means any entity, person or organization that is not an insured under this policy and would
          qualify as an insured under this policy, but for the fact that the entity is registered, domiciled or has ongoing
          operations in a non-admitted jurisdiction.




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C.   The following definitions are applicable to Coverage B only:
     1.   Advertisement means a notice that is broadcast or published to the general public or specific market segments
          about your goods, products or services for the purpose of attracting customers or supporters. For purpose of
          this definition:
          a.   Notices that are published include material placed on the Internet or on similar electronic means of
               communication; and
          b.   Regarding websites, only that part of a website that is about your goods, products or services for the
               purpose of attracting customers or supporters is considered an advertisement.
     2.   Auto means:
          a.   A land motor vehicle, trailer or semi-trailer designed for travel on public roads, including any attached
               machinery or equipment; or
          b.   Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
               insurance law in the state where it is licensed or principally garaged.
          However, auto does not include mobile equipment.
     3.   Bodily injury means physical injury, sickness, or disease, including death of a person. Bodily injury to such
          person also means mental anguish, mental injury, humiliation, or shock if directly resulting from physical injury,
          sickness, or disease.
     4.   Employee includes a leased worker. Employee does not include a temporary worker.
     5.   Impaired property means tangible property, other than your product or your work, that cannot be used or is
          less useful because:
          a.   It incorporates your product or your work that is known or thought to be defective, deficient, inadequate
               or dangerous; or
          b.   You have failed to fulfill the terms of a contract or agreement;
          If such property can be restored to use by;
          a.   The repair, replacement, adjustment or removal of your product or your work; or
          b.   Your fulfilling the terms of the contract or agreement.
     6.   Insured means:
          a.   You, if you are an organization shown in the Declarations, other than a partnership, joint venture or limited
               liability company. Your executive officers and directors are insureds, but only with respect to their duties
               as your executive officers or directors. Your stockholders are also insureds, but only with respect to their
               liability as stockholders;
          b.   You, if you are a partnership or joint venture shown in the Declarations. Your members, your partners, and
               their spouses or domestic partners are also insureds, but only with respect to the conduct of your
               business;
          c.   You and your spouse or domestic partner, if you are an individual shown in the Declarations, but only with
               respect to the conduct of a business of which you are the sole owner;
          d.   You, if you are a limited liability company shown in the Declarations. Your members are also insureds, but
               only with respect to the conduct of your business. Your managers are insureds, but only with respect to
               their duties as your managers;
          e.   You, if you are a trust shown in the Declarations. Your trustees are also insureds, but only with respect to
               their duties as trustees;
          f.   Your employees, but only for acts within the scope of their employment by you;
          g.   Your volunteer workers, but only while performing duties related to the conduct of your business;
          h.   Any person or organization while acting as your real estate manager; or
          i.   Your legal representative if you die, but only with respect to duties as such.




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     No person or organization is an insured with respect to the conduct of any current, past or newly formed
     partnership, limited liability company or joint venture that is not designated within the Declarations of this policy
     as Named Insured.
7.   Insured contract means any written or oral agreement entered into by the insured in the usual course of the
     business operations of the insured in which the insured assumes the tort liability of another to pay damages
     because of bodily injury or property damage to a third person or organization where the contract or
     agreement is made prior to the injury or damage. Liability means a liability that would be imposed by law in the
     absence of any contract or agreement.
8.   Leased worker means a person leased to you by a labor leasing firm under an agreement between you
     and labor leasing firm, to perform duties related to the conduct of your business. Leased worker does not
     include a temporary worker.
9.   Mobile equipment means any of the following types of land vehicles, including any attached machinery or
     equipment:
     a.    Bulldozers, farm machinery, forklifts and other vehicles designed for use principally off public roads;
     b.    Vehicles maintained for use solely on or next to premises you own or rent;
     c.    Vehicles that travel on crawler treads;
     d.    Vehicles, whether self-propelled or not, maintained primarily to provide mobility to permanently mounted:
           (1) Power cranes, shovels, loaders, diggers or drills; or
           (2) Road construction or resurfacing equipment such as graders, scrapers or rollers.
     e.    Vehicles not described in a., b., c. or d. above, that are not self-propelled and are maintained primarily to
           provide mobility to permanently attached equipment of the following types:
           (1) Air compressors, pumps and generators including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment; or
           (2) Cherry pickers and similar devices used to raise or lower workers.
     f.    Vehicles not described in a., b., c. or d. above, maintained primarily for purposes other than the
           transportation of persons or cargo.
           However, self-propelled vehicles with the following types of permanently attached equipment are not
           mobile equipment but are considered autos:
           (1) Equipment designed primarily for:
                (a) Snow removal;
                (b) Road maintenance, but not construction or resurfacing; or
                (c) Street cleaning;
           (2) Cherry pickers and similar devices mounted on an auto or truck chassis and used to raise or lower
                workers; and
           (3) Air compressors, pumps and generators, including spraying, welding, building cleaning, geophysical
                exploration, lighting and well servicing equipment.
     However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
     responsibility law or other motor vehicle insurance law in the state where it is licensed or principally garaged.
     Land vehicles subject to a compulsory or financial responsibility law or other motor vehicle insurance law are
     considered autos.
10. Named insured means:
     a.    The person(s) and organization(s) designated in Item 1. of the Declarations of this policy;
     b.    Any organization, other than a partnership, joint venture or limited liability company, over which you
           maintain majority interest and to which more specific insurance does not apply, other than one which you
           newly acquire or form; or




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    c.    Any newly acquired or formed organization, other than a partnership, joint venture or limited liability
          company, over which you maintain majority interest and to which more specific insurance does not apply;
          provided that this policy does not apply to any injury or damage that took place before you acquired or
          formed the organization.
11. Occurrence means:
    a.    With respect to bodily injury or property damage liability, an accident, including continuous or repeated
          exposure to substantially the same general harmful conditions.
    b.    With respect to personal and advertising injury, a covered offense. All damages that arise from the
          same act, publication or general conditions are considered to arise out of the same occurrence, regardless
          of the frequency or repetition thereof, the number or kind of media used or the number of claimants.
12. Personal and advertising injury means injury, including consequential bodily injury, arising out of one or
    more of the following offenses:
    a.    False arrest, detention or imprisonment;
    b.    Malicious prosecution;
    c.    The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a room,
          dwelling or premises that a person occupies committed by or on behalf of its owner, landlord or lessor;
    d.    Oral or written publication, in any manner, of material that slanders or libels a person or organization or
          disparages a person’s or organization’s goods, products or services;
    e.    Oral or written publication, in any manner, of material that violates a person’s right of privacy;
    f.    The use of another’s advertising idea in your advertisement;
    g.    Infringement upon another’s copyright, trade dress or slogan in your advertisement; or
    h.    Discrimination (unless insurance thereof is prohibited by law), not arising out of or related to employment
          practices.
    Personal and advertising injury also means mental anguish, mental injury, humiliation, or shock, if directly
    resulting from an offense listed in Items 12.a. through 12.h. above.
13. Products-completed operations hazard means all bodily injury and property damage occurring away from
    premises you own or rent and arising out of your product or your work except:
    a.    Products that are still in your physical possession; or
    b.    Work that has not yet been completed or abandoned. Your work will be deemed completed at the earliest
          of the following times:
          (1) When all of the work called for in your contract has been completed;
          (2) When all of the work to be done at the site has been completed if your contract calls for work at more
               than one site; or
          (3) When that part of the work done at a job site has been put to its intended use by any person or
               organization other than another contractor or subcontractor working on the same project.
          Work that may need service, maintenance, correction, repair or replacement, but which is otherwise
          complete, will be treated as completed.
    This hazard does not include bodily injury or property damage arising out of:
    a.    The transportation of property, unless the injury or damage arises out of a condition in or on a vehicle
          created by the loading or unloading of it by any insured; or
    b.    The existence of tools, uninstalled equipment or abandoned or unused materials.
14. Property damage means:
    a.    Physical injury to tangible property, including all resulting loss of use of that property. All such loss of use
          shall be deemed to occur at the time of the physical injury that caused it; or
    b.    Loss of use of tangible property that is not physically injured. All such loss shall be deemed to occur at the
          time of the occurrence that caused it.


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     15. Retained limit means the amount of damages applicable to each occurrence for which the insured is
         responsible that is shown in Item 5. of the Declarations.
     16. Temporary worker means a person who is furnished to you to substitute for a permanent employee on leave
          or to meet seasonal or short-term workload conditions.
     17. Volunteer worker means a person who is not your employee, and who donates his or her work and acts at the
          direction of and within the scope of duties determined by you, and is not paid a fee, salary or other
          compensation by you or anyone else for their work performed for you.
     18. Your product means:
          a.   Any goods or products, other than real property, manufactured, sold, handled, distributed or disposed of
               by:
               (1) You;
               (2) Others trading under your name; or
               (3) A person or organization whose business or assets you have acquired; and
          b.   Containers (other than vehicles), materials, parts or equipment furnished in connection with such goods or
               products.
          Your product includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your product; and
          b.   The providing or failure to provide warnings or instructions.
          Your product does not include vending machines or other property rented to or located for use of others but not
          sold.
     19. Your work means:
          a.   Work or operations performed by you or on your behalf; and
          b.   Materials, parts or equipment furnished in connection with such work or operations.
          Your work includes:
          a.   Warranties or representations made at any time with respect to the fitness, quality, durability, performance
               or use of your work; and
          b.   The providing of or failure to provide warnings or instructions.
D.   The following definitions are applicable to Coverage C only:
     1.   Casualty business crisis means an event that in the good faith opinion of your principal, in the absence of
          casualty business crisis services, has been or may be associated with:
          a.   Damages covered by this policy under Coverage A that are in excess of the applicable limits of
               underlying insurance or under Coverage B that are in excess of the Retained Limit; and
          b.   Significant adverse regional or national media coverage.
          Casualty business crisis shall include, without limitation, man-made disasters such as explosions, major
          crashes, multiple deaths or injuries, burns, dismemberment, traumatic brain injury, paraplegia, or contamination
          of food, drink or pharmaceuticals.
          For purposes of Coverage C, a casualty business crisis will first commence when your principal first become
          aware of the occurrence and will conclude at the earliest of the time when the casualty business crisis
          advisor advises you that the crisis no longer exists or when the Casualty Business Crisis Expense Aggregate
          Limit has been exhausted.
     2.   Casualty business crisis advisor means any public relations firm or crisis management firm approved by us
          that is hired by you to perform casualty business crisis services in connection with a casualty business
          crisis.




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     3.   Casualty business crisis expense means amounts paid:
          a.   To you for the reasonable and necessary:
               (1) Fees and expenses of a casualty business crisis advisor in the performance for you of casualty
                   business crisis services solely for a covered casualty business crisis; and
               (2) Amounts for printing, advertising, mailing of materials or travel by your directors, officers, employees
                   or agents or a casualty business crisis advisor solely for a casualty business crisis; and
          b.   To others for the following reasonable and necessary expenses resulting from such covered casualty
               business crisis provided that such expenses have been approved by us:
               (1) Medical expenses;
               (2) Funeral expenses;
               (3) Psychological counseling;
               (4) Travel expenses;
               (5) Temporary living expenses;
               (6) Expenses to secure the scene of a casualty business crisis; and
               (7) Any other expenses pre-approved by us.
     4.   Casualty business crisis services means those services performed by a casualty business crisis advisor in
          advising you on minimizing potential harm to you from a covered casualty business crisis by maintaining or
          restoring public confidence in you.
     5.   Principal means your Chief Executive Officer, Chief Operating Officer, Chief Financial Officer, President,
          General Counsel or general partner (if you are a partnership) or sole proprietor (if you are a proprietorship).
SECTION VI. CONDITIONS
A.   The following Conditions are applicable to Coverage A, Coverage B and Coverage C.
     1.   Appeals
          In the event you or any underlying insurer elects not to appeal a judgment in excess of the amount of the
          underlying insurance, we may elect to appeal at our expense. If we do so elect, we will be liable for the costs
          and additional interest accruing during this appeal. In no event will this provision increase our liability beyond
          the applicable Limits of Insurance described in SECTION II. of this policy.
     2.   Audit of Books and Records
          We may audit and examine your books and records as they relate to this policy at any time during the period of
          this policy and for up to three (3) years after the expiration or termination of this policy.
     3.   Bankruptcy or Insolvency
          The bankruptcy, insolvency or inability to pay of any insured will not relieve us from our obligation to pay
          damages covered by this policy.
          In the event of bankruptcy, insolvency or refusal or inability to pay, of any underlying insurer, the insurance
          afforded by this policy will not replace such underlying insurance, but will apply as if all the limits of any
          underlying insurance are fully available and collectible.
     4.   Cancellation and Nonrenewal
          a.   Cancellation
               (1) You may cancel this policy. You must mail or deliver advance written notice to us stating when the
                    cancellation is to take effect.
               (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver
                    to you not less than ten (10) days advance written notice when the cancellation is to take effect. If we
                    cancel for any other reason, we will mail or deliver to you not less than ninety (90) days advance
                    written notice stating the reason(s) for cancellation, as well as the date when the cancellation is to
                    take effect. Mailing notice to you at your mailing address shown in Item 2. of the Declarations will be
                    sufficient to prove notice.


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           (3) The policy period will end on the day and hour stated in the cancellation notice.
           (4) If this policy is cancelled, the final premium will be calculated pro rata based on the time this policy
                was in force.
           (5) Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter but
                the cancellation will be effective even if we have not made or offered any refund due you. Our check
                or our representative’s check, mailed or delivered, will be sufficient tender of any refund due you.
     b.    Nonrenewal
           If we decide not to renew this policy, we will mail or deliver to the first Named insured shown in the
           Declarations written notice of the nonrenewal not less than thirty (30) days before the expiration date.
           If notice is mailed, proof of mailing will be sufficient proof of notice.
5.   Changes
     Notice to any agent or knowledge possessed by any agent or any other person will not effect a waiver or a
     change in any part of this policy. This policy can only be changed by a written endorsement that becomes a
     part of this policy.
6.   Currency
     Settlements will be paid in United States currency or, when required, in the currency of the country or
     jurisdiction where the loss or casualty business crisis occurred. When conversion into another currency from
     United States currency is required to pay any loss or casualty business crisis expense, the rate of exchange
     will be determined on the date of the settlement. The rate of exchange will be the rate we incur in obtaining the
     foreign currency.
7.   First Named Insured
     The person or organization first named in Item 1. of the Declarations is responsible for the payment of all
     premiums. The first Named Insured will act on behalf of all other insureds for the giving and receiving of
     notice of cancellation or any other notice required under this policy or by statute or regulation, for the receipt
     and acceptance of this policy and any endorsements forming a part of this policy, and for the receiving of any
     return premiums that become payable under this policy.
8.   Inspection
     We have the right, but are not obligated to inspect the insured’s premises and operations at any time. Our
     inspections are not safety inspections. They relate only to the insurability of the premises and operations and
     the premium to be charged. We may provide reports on the conditions we find. We may also recommend
     changes. While these reports may help reduce losses, we do not undertake to perform the duty of any person
     or organization to provide for the health or safety of workers or the public. We do not warrant that the premises
     or operations are safe or healthful, or that they comply with laws, regulations, codes or standards
9.   Entities That Are Registered, Domiciled or Have Ongoing Operations in Non-Admitted Jurisdictions
     This condition applies solely with respect to entities that are registered, domiciled or have ongoing operations in
     non-admitted jurisdictions.
     With respect to a qualified entity:
     a.    Under Coverage A, we will reimburse the first Named Insured for loss incurred by a qualified entity that
           would have been covered this policy but for the fact that the loss was incurred by a qualified entity
           including:
           (1) Damages covered by this policy in excess of the total applicable limits of underlying insurance; and
           (2) Reasonable defense expenses incurred with our consent.
           We have no duty to defend any person or organization against any claim or suit brought or proceeding
           instituted against any qualified entity in a non-admitted jurisdiction, but we may, at our discretion,
           assume control of or participate in any investigation, defense, settlement or recovery proceedings.
     b.    Coverage under this policy will not apply until the qualified entity or the qualified entity's underlying
           insurer has paid or is obligated to pay the full amount of the applicable limits of underlying insurance.




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    c.    The duties and requirements imposed upon any insured under this policy will not apply to any
          non-admitted jurisdiction. However, with respect to any claims made or suits brought in a
          non-admitted jurisdiction, it will be the duty of the first Named Insured to do or cause the applicable
          qualified entity to do such things as would be required of such qualified entity if Coverage A applied
          directly to such claim or suit, including:
          (1) Make such investigation, defense or settlement as we deem reasonable;
          (2) Obtain our approval for any payment; and
          (3) Effect approved payments to others, in accordance with the terms and conditions of this insurance.
    d.    Under Coverage B, this policy does not apply to any liability, damage, loss, cost or expense arising out of
          any operations or activities of a qualified entity.
    e.    We will promptly pay the first Named Insured at the mailing address listed in Item 2. of the Declarations
          the amount of damages covered under the terms of this policy. If the first Named Insured or any qualified
          entity recovers from any third party all or part of any amount that we have paid pursuant to this insurance,
          the first Named Insured will promptly reimburse the amount of any such recovery to us.
10. Legal Action Against Us
    There will be no right of action against us under this insurance unless:
    a.    You have complied with all the terms of this policy; and
    b.    The amount you owe has been determined by settlement with our consent or by actual trial and final
          judgment.
    This insurance does not give anyone the right to add us as a party in an action against you to determine your
    liability.
11. Maintenance of Underlying Insurance
    During the period of this policy, you agree:
    a.    To keep the policies listed in the Schedule of Underlying Insurance in full force and effect;
    b.    That the Limits of Insurance of the policies listed in the Schedule of Underlying Insurance will be
          maintained except for any reduction or exhaustion of limits by payment of claims or suits for damages
          covered by underlying insurance;
    c.    The policies listed in the Schedule of Underlying Insurance may not be canceled or not renewed by you
          without notifying us, and you agree to notify us in the event an insurance company cancels or declines to
          renew any policy listed in the Schedule of Underlying Insurance; and
    d.    Renewals or replacements of the policies listed in the Schedule of Underlying Insurance will not be
          materially changed without our agreement.
    If you fail to comply with these requirements, we will only be liable to the same extent that we would have been
    had you fully complied with these requirements.
12. Miscellaneous Unintentional Errors and Omissions
    Any unintentional error or omission in the description of, or failure to describe completely, any premises or
    operations intended to be covered by this policy, shall not invalidate or affect the coverage for those operations
    or premises. However, the insured must report such error or omission to the company as soon as practicable
    after its discovery.
13. Other Insurance
    If other insurance applies to damages that are also covered by this policy, this policy will apply excess of the
    other insurance. However, this provision will not apply:
    a.    If the other insurance is written to be excess of this policy; or
    b.    With respect to Coverage A only, if the named insured has agreed in a written contract to carry insurance
          to apply prior to and be non-contributory with that of another person or organization's insurance, but only
          as respects damages arising out of insured operations or work on behalf of the named insured performed
          under such written contract. The limits available to the other person or organization will be the lesser of the
          policy limits or the minimum limits required by such written contract. In that case, other insurance of that
          person or organization will apply as excess and not contribute prior to the insurance afforded by this policy.

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          Nothing herein will be construed to make this policy subject to the terms, conditions and limitations of such
          other insurance.
     14. Premium
          The premium for this policy as stated in Item 6. of the Declarations is a flat premium. It is not subject to
          adjustment unless an endorsement is attached to this policy.
     15. Separation of Insureds
          Except with respect to the Limits of Insurance, and any rights or duties specifically assigned to the first Named
          Insured, this insurance applies:
          a.   As if each named insured were the only named insured; and
          b.   Separately to each insured against whom claim is made or suit is brought.
     16. Terms Conformed to Statute
          The terms of this policy which are in conflict with the statutes, laws, ordinances or regulations in any country,
          jurisdiction, state or province where this policy is issued are amended to conform to such statutes, laws,
          ordinances or regulations. If we are prevented by law or statute from paying on behalf of the insured, then we
          will, where permitted by law or statute, indemnify the insured.
     17. Transfer of Rights of Recovery Against Others to Us
          a.   If the insured has rights to recover all or part of any payment we have made under this insurance, those
               rights are transferred to us. The insured must do nothing after the loss to impair them. At our request,
               the insured will bring suit or transfer those rights to us and help us enforce them.
               However, if any insured is required by a written contract or agreement which is executed before a loss to
               waive their rights of recovery from others, we agree to waive our rights of recovery. This waiver of rights
               shall not be construed to be a waiver with respect to any other operations for which the insured has not
               waived their rights of recovery by contract.
          b.   Any amount recovered will be apportioned in the inverse order of payment of loss to the extent of actual
               payment. The expenses of all such recovery proceedings will be apportioned in the ratio of respective
               recoveries.
     18. Transfer of Your Rights and Duties
          Your rights and duties under this insurance may not be transferred without our written consent. If you die, then
          your rights and duties will be transferred to your legal representative, but only while acting within the scope of
          duties as your legal representative. Until your legal representative is appointed, anyone having temporary
          custody of your property will have your rights and duties but only with respect to that property.
     19. When Loss is Payable
          Coverage under this policy will not apply until the insured, or the insured’s underlying insurer has paid or is
          legally obligated to pay the full amount of the Underlying Limits of Insurance or Retained Limit.
          When the amount of loss is determined by an agreed settlement or on a final judgment against an insured
          obtained after an actual trial, we will promptly pay on behalf of the insured the amount of loss covered under
          the terms of this policy. The first Named Insured will promptly reimburse us for any amount within the
          Retained Limit paid by us.
     20. Violation of Economic or Trade Sanctions
          If coverage for a claim or suit under this policy is in violation of any economic or trade sanctions of the United
          States of America then coverage for that claim or suit will be null and void.
B.   The following Condition is applicable to Coverage A and Coverage B:
     1.   Notice of Occurrence, Claim or Suit
          a.   You must see to it that we are notified as soon as practicable of an occurrence which may result in
               damages covered by this policy.
               To the extent possible, notice will include:
               (1) How, when and where the occurrence took place;


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               (2) The names and addresses of any injured persons and witnesses; and
               (3) The nature and location of any injury or damage arising out of the occurrence.
          b.   Knowledge of an occurrence by the agent, servant or employee of yours, shall not in itself constitute
               knowledge by the insured unless you, or any employee authorized by you to give or receive notice of an
               occurrence, claim or suit shall have received such notice from the agent, servants or employee.
          c.   If a claim or suit against any Insured is reasonably likely to involve this policy you must notify us in writing
               as soon as practicable.
          d.   You and any other involved insured must:
               (1) Immediately send us copies of any demands, notices, summonses or legal papers received in
                   connection with the claim or suit;
               (2) Authorize us to obtain records and other information;
               (3) Cooperate with us in the investigation, settlement or defense of the claim or suit; and
               (4) Assist us, upon our request, in the enforcement of any right against any person or organization which
                   may be liable to the insured because of injury or damage to which this insurance may also apply.
          e.   The insureds will not, except at their own cost, voluntarily make a payment, assume any obligation, or
               incur any expense, other than for first aid, without our consent.
          f.   Your failure to give notice of an occurrence to us shall not invalidate coverage under this policy if the
               occurrence was inadvertently reported to another Insurer. However, you shall report any such
               occurrence to us as soon as practicable once you become aware of such error.
C.   The following Conditions are applicable to Coverage C:
     1.   Notice of a Casualty Business Crisis
          You must see to it that we are notified of a casualty business crisis as soon as practicable after it first
          commences. Such notice shall include a description of the casualty business crisis and the reason it is likely
          to involve damages covered by this policy in excess of the applicable limits of underlying insurance under
          Coverage A or Retained Limit under Coverage B and significant adverse regional or national media coverage.
          We will not be liable for casualty business crisis expense incurred prior to, or more than one hundred eighty
          (180) days after the date notice of such casualty business crisis is first given to us. Notice to us shall be
          given to Zurich Claim Reporting, Care Center, P.O. Box 49547, Colorado Springs, CO 80949, Phone
          1-800-987-3373, Fax 1-877-962-2567, E-Mail USZ Care Center@Zurichna.com.
     2.   Arbitration
          If you and we disagree as to whether a casualty business crisis has occurred, both parties may, by mutual
          consent agree in writing to arbitration of the disagreement and the right to any reimbursement for casualty
          business crisis expense.
          In this event, each party will select an arbitrator. The two arbitrators will select a third. If they cannot agree
          within 30 days, both parties must request that selection be made by a judge of a court having jurisdiction. Each
          party will:
          a.   Pay the expenses it incurs; and
          b.   Bear the expenses of the third arbitrator equally.
          Unless both parties agree otherwise, arbitration will take place in the state, county or parish in which the
          address shown in the Declarations is located. Local rules of law as to procedure and evidence will apply.




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Endorsement # 01




Certified Act of Terrorism Retained Amount
Provisions – Coverage B

    Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.          Producer             Add'l Prem.          Return Prem.

 AUC 5912288-03       09/01/2015            09/01/2016             09/01/2015             70074000

Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           CERTIFIED ACT OF TERRORISM RETAINED AMOUNT SCHEDULE
  Each Occurrence Retained Amount:                                               $ 1,000,000
  Products/Completed Operations Aggregate Retained Amount:                       $ 2,000,000
  Other Aggregate Retained Amount:                                               $ 2,000,000

Certified Act of Terrorism Retained Amount Provisions – Coverage B
The following additional provisions apply under Coverage B of this policy as respects any liability, damage, loss, cost or
expense arising, directly or indirectly, out of a certified act of terrorism, including any action taken in hindering or
defending against an actual or expected certified act of terrorism, regardless of any other cause or event that
contributes concurrently or in any sequence to the injury or damage:
A. The Retained Amounts shown in the Schedule above apply in place of the Coverage B retained limit specified in
   Item 5. of the Declarations, or any amount payable by other insurance, whichever is greater, and are the only
   retained amount provisions applying to any loss, claim or suit from a certified act of terrorism. These provisions
   do not apply to any other loss, claim or suit not involving a certified act of terrorism that would still be subject to the
   applicable Coverage B retained limit amount. The specific retained amounts applying to certified acts of
   terrorism are as follows:
    1. The Each Occurrence Retained Amount shown in the Schedule above is the total retained amount of damages
       for which the insured is responsible applicable to each occurrence.
    2. The Products-Completed Operations Aggregate Retained Amount shown in the Schedule above is the total
       retained amount of damages for which the insured is responsible, applicable to all occurrences included within
       the products-completed operations hazard.
    3. The Other Aggregate Retained Amount shown in the Schedule above is the total retained amount of damages
       for which the insured is responsible, applicable to all occurrences except for occurrences included within the
       products-completed operations hazard.
B. The following changes apply to SECTION III. DEFENSE AND SUPPLEMENTARY PAYMENTS as respects
   Coverage B, only as respects to a loss, claim or suit to which this endorsement applies:
    1. We have the right and duty to assume control of the investigation and settlement of any claim, or defense of any
       suit against the insured for damages covered by this policy under Coverage B, when the applicable retained
       amount has been exhausted by payment of claims.




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   2. In those circumstances where paragraph B.1. of this endorsement applies, in addition to the applicable Limits of
      Insurance, we will pay our expenses and the following to the extent that they are not included in underlying
      insurance or other insurance:
       a. Up to $2,000 for the cost of bail bonds. We do not have to furnish these bonds;
       b. The cost of bonds to release attachments, but only for bond amounts within the amount of insurance
             available. We do not have to furnish these bonds;
       c. Reasonable expenses incurred by the insured at our request to assist us in the investigation or defense of
          the claim or suit, including actual loss of earnings because of time off work;
       d. Costs taxed against the insured in the suit;
       e. Pre-judgment interest awarded against the insured on that part of the judgment we pay. However, if we
             make an offer to pay the applicable Limit of Insurance, we will not pay any pre-judgment interest on that
             period of time after the offer; and
       f.    All interest on the full amount of any judgment that accrues after entry of the judgment and before we have
             paid, offered to pay, or deposited in court that part of the judgment that is within the applicable Limits of
             Insurance.
   3. In those circumstances where paragraph B.1. of this endorsement does not apply, we do not have the duty to
      assume control of the investigation and settlement of any claim, or defense of any suit against the insured. We
      do, however, have the right to participate in the investigation and settlement of any claim, or defense of any suit
       that we feel may create liability on our part under the terms of this policy. If we exercise this right, we will do so at
       our expense.
       We will not investigate and settle any claim, or defend any suit after we have exhausted the applicable Limit of
       Insurance as stated in Item 4. of the Declarations.
       If we are prevented by law from carrying out the provisions of paragraph B.1. of this endorsement, we will pay
       any expense incurred with our consent.
C. The following provision is added to SECTION VI. CONDITIONS, Paragraph A.10. Notice of Occurrence, Claim or
   Suit:
   You must notify us immediately in writing of any claim or suit which seeks damages in an amount which is fifty (50)
   percent or more of the amount of the Each Occurrence Retained Amount stated in the Schedule of this endorsement.
D. As used in this endorsement, certified act of terrorism means an act that is certified by the Secretary of the
   Treasury, in accordance with the provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of
   terrorism. TRIA provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
E. As used in this endorsement, retained amount means the amount of damages for which the insured is responsible
   as shown in the Schedule of this endorsement.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 02




Care, Custody Or Control Exclusion


     Policy No.      Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-03       09/01/2015           09/01/2016          09/01/2015         70074000    ----------           ----------
Named Insured and Mailing Address:                                          Producer:
OMNICELL, INC                                                               MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                      1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A this policy does not apply to property damage to:
Under Coverage A this policy does not apply to property damage to: Real and/or Personal Property of others in the care,
custody or control of the ins
of others in the care, custody or control of the insured.


(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)




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Endorsement # 03




Employee Benefits Liability Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-03      09/01/2015          09/01/2016          09/01/2015         70074000    ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense imposed on any
insured as a Fiduciary Administrator, or other party in interest arising out of any Employee Benefits Program, record
handling in connection with any Employee Benefits Program, or effecting or terminating any employee’s participation in
any plan included in any “Employee Benefits Program”.
As used in this endorsement:
Employee Benefits Program means any group life insurance, group accident or health insurance, profit sharing plans,
pension plans, stock subscription plans, unemployment insurance, social security benefits, workers’ compensation and
disability benefits and any other similar plans.




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Endorsement # 04




Foreign Operations Follow Form


     Policy No.    Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-03      09/01/2015          09/01/2016          09/01/2015         70074000    ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
insured’s operations or activities outside of the United States of America (including its territories and possessions),
Puerto Rico or Canada whether or not the insured’s responsibility to pay damages is determined in a suit on the merits
in the United States of America (including its territories and possessions), Puerto Rico or Canada.




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Endorsement # 05




Lead Exclusion


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer    Add'l Prem.          Return Prem.

 AUC 5912288-03     09/01/2015           09/01/2016          09/01/2015         70074000     ----------           ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A. Under Coverage A and Coverage B this policy does not apply to:
   1. Any liability, damage, loss, cost or expense arising out of, resulting from, caused by or contributed to by toxic or
       pathological properties of lead, lead compounds or lead contained in any materials;
   2. Any cost or expense to abate, mitigate, remove or dispose of lead, lead compounds or materials containing lead;
   3. Any supervision, instructions, recommendations, warnings or advice given or which should have been given in
      connection with paragraphs 1. or 2. above; or
   4. Any obligation to share damages with or repay anyone else who must pay damages in connection with
      paragraphs 1., 2., or 3. above.




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Endorsement # 06




Personal and Advertising Injury Follow Form


    Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-03     09/01/2015           09/01/2016          09/01/2015         70074000     ----------          ----------
Named Insured and Mailing Address:                                        Producer:
OMNICELL, INC                                                             MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                    1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                              SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damage, loss, cost or expense arising out of any
personal and advertising injury offense.




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Endorsement # 07




Fungus or Bacteria Exclusion


     Policy No.     Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.     Producer   Add'l Prem.          Return Prem.

 AUC 5912288-03       09/01/2015          09/01/2016          09/01/2015         70074000     ----------          ----------
Named Insured and Mailing Address:                                         Producer:
OMNICELL, INC                                                              MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                     1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                               SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage A and Coverage B this policy does not apply to any liability, damage, loss, cost or expense:
    A. Caused directly or indirectly by the actual, alleged or threatened inhalation of, ingestion of, contact with, exposure
        to, existence of, or presence of any:
        1. Fungi, or bacteria; or
        2. Substance, vapor or gas produced by or arising out of any fungi or bacteria.
    B. Arising out of the abating, testing for, monitoring, cleaning up, removing, containing, treating, detoxifying,
       neutralizing, remediating or disposing of, or in any way responding to, or assessing the effects of, fungi or
       bacteria, by any insured or by any other person or entity.
Definitions
    As used in this endorsement:
    1. Bacteria means any type or form of bacteria and any materials or substances that are produced or released by
        bacteria.
    2. Fungi means any type or form of fungus, including mold or mildew and any mycotoxins, spores, scents or
        by-products produced or released by fungi.
    3. Spores means reproductive bodies produced by or arising out of fungi.
This exclusion does not apply to any fungi or bacteria that are, are on, or are contained in, an edible good or edible
product intended for human or animal consumption.




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Endorsement # 08




Technology Errors and Omissions Follow Form


     Policy No.      Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.          Producer             Add'l Prem.           Return Prem.

 AUC 5912288-03        09/01/2015            09/01/2016            09/01/2015             70074000                ----------          ----------
Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
Under Coverage B only, this policy does not apply to any liability, damages, loss, cost or expense arising out of:
1. The failure of your product to perform the function or serve the purpose intended;
2. The performance or nonperformance of your work;
3. Purchase or contract price for your product or your work;
4. Disgorgement of profits, restitution, or any money or credits that represent any gain, profit, or advantage to which you
    are not legally entitled; or
5. Criminal or civil penalties.
As used in this endorsement the following definitions apply:
1. Damages means a monetary amount to compensate for a wrongful act.
2. Wrongful act means an error or omission by or on behalf of any insured.
3. Your product means
    a. Any goods or products manufactured, developed, designed, created, sold, handled, licensed, marketed,
        distributed, or disposed of by you or on your behalf, including but not limited to:
        1) Computer software or computer programming;
        2) Electronic or computer equipment, components, or peripherals;
        3) Telecommunications or broadcasting equipment; or
        4) Industrial or robotic equipment; and
    b. Containers (other than vehicles), materials, parts, or equipment furnished in connection with such goods or
        products.
    Your product includes:
    a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
       of your product; and
    b. The providing of or failure to provide warnings or instructions.




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4. Your work means:
   a. Work or operations performed by you or on your behalf, including but not limited to:
       1) Installation, service, technical support, system integration, maintenance, repair, consulting, or analysis of:
           a) Computer software or computer programming;
           b) Electronic or computer equipment, components, or peripherals;
           c) Telecommunications or broadcasting equipment; or
           d) Industrial or robotic equipment;
           and any training services provided in conjunction with the above activities;
       2) Electronic processing, management, mining, or warehousing of data or records for others;
       3) Providing multimedia services, including but not limited to:
           a) Television broadcasting;
           b) Cable and satellite broadcasting;
           c) Radio broadcasting;
           d) Electronic broadcasting;
           e) Internet access; or
           f)   Website design;
       4) Providing telecommunication services, including but not limited to:
           a) Wire based telecommunications;
           b) Wireless telecommunications; or
           c) Paging services; and
       5) Administration, management, operation, or hosting of systems, technology, or computer facilities for another
           person or organization; and
   b. Materials, parts, or equipment furnished in connection with such work or operations.
   Your work includes:
   a. Warranties or representations made at any time with respect to the fitness, quality, durability, performance, or use
      of your work; and
   b. The providing of or failure to provide warnings or instruction.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 09




Sanctions Exclusion Endorsement


Policyholder: OMNICELL, INC


THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions language in
the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any payments or
provide any service or benefit to any insured, beneficiary, or third party who may have any rights under this policy to the
extent that such cover, payment, service, benefit, or any business or activity of the insured would violate any applicable
trade or economic sanctions law or regulation.
The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule, coverage
parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each coverage provided.
Policy may also be referred to as contract or agreement.
We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall mean the
company providing the coverage.
Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or as
otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the policy.
These definitions may be found in various parts of the policy and any applicable riders or endorsements.
ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




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Important Notice - In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                        President                                                     Corporate Secretary




              QUESTIONS ABOUT YOUR INSURANCE?                   Your agent or broker is best equipped to
              provide information about your insurance. Should you require additional information or
              assistance in resolving a complaint, call or write to the following (please have your policy or
              claim number ready):

                                                Zurich in North America
                                                Customer Inquiry Center
                                                  1400 American Lane
                                            Schaumburg, Illinois 60196-1056
                                  1-800-382-2150 (Business Hours: 8 a.m. - 4 p.m. [CT])
                                            Email: info.source@zurichna.com




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Endorsement # 10




Cap On Losses From Certified Acts Of Terrorism

                       Insured's Name                                    Policy Number            Effective Date    Endorsement Number

                      OMNICELL, INC                                     AUC 5912288-03             09/01/2015              10



THIS ENDORSEMENT CHANGES YOUR POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance.
Commercial Umbrella Liability Policy
A. Cap on Losses From Certified Terrorism Losses
   “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with
   provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
   Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
       (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
       principally in the United States, on which United States income tax is paid and whose insurance coverage is
       subject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
       United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
   Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance
   subject to TRIA, do not exceed $5,000,000.
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
   year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and
   in such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures
   established by the Secretary of Treasury.
B. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a
   terrorism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded,
   limited or restricted under this policy.
ALL OTHER TERMS AND CONDITIONS OF THE POLICY SHALL APPLY AND REMAIN UNCHANGED.




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California Cancellation and Nonrenewal Endorsement


     Policy No.          Eff. Date of Pol.     Exp. Date of Pol.     Eff. Date of End.          Producer              Add'l Prem.          Return Prem.

 AUC 5912288-03           09/01/2015             09/01/2016             09/01/2015             70074000                ----------         ----------
Named Insured and Mailing Address:                                                   Producer:
OMNICELL, INC                                                                        MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                               1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                         SAN JOSE, CA 95112-4508




                        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
A.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, a. Cancellation, paragraph (2), is deleted and
     replaced with the following:
     (2) We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver to you at
          the address shown on your policy not less than ten (10) days advance written notice when the cancellation is to
          take effect. If we cancel for any other reason, we will mail or deliver to you not less than ninety (90) days
          advance written notice stating the reason(s) for the cancellation and stating when the cancellation is to take
          effect. Mailing or delivery of the notice of cancellation to you shall be deemed to have been given to all
          insureds.
          (a) If this policy has been in effect for less than sixty (60) days and is not a renewal of a policy we issued, we
                  may cancel this policy for any reason.
          (b) If this policy has been in effect for sixty (60) days or more, or if this policy is a renewal of a policy we
                  issued, we may cancel this policy for one or more of the following reasons:
                  i.    Non-payment of premium, including payment due on a prior policy we issued and due during the
                        current policy term covering the same risks;
                  ii.   Discovery of fraud or material misrepresentation by any insured or his or her representative in
                        obtaining this insurance or in pursuing a claim under this policy;
                  iii. A judgment by a court or an administrative tribunal that you have violated a California or Federal law,
                        having as one of its necessary elements an act which materially increases any of the risks insured
                        against;
                  iv. Discovery of willfully or grossly negligent acts or omissions, or of any violations of state laws or
                        regulations establishing safety standards, by you or your representative, which materially increase any
                        of the risks insured against;
                  v.    Failure by you or your representative to implement reasonable loss control requirements, agreed to as
                        a condition of policy issuance, or which were conditions precedent to our use of a particular rate or
                        rating plan, if that failure materially increases any of the risks insured against;
                  vi. A determination by the Commissioner of Insurance that the loss of, or changes in, our reinsurance
                        covering all or part of the risk would threaten our financial integrity or solvency;
                  vii. A determination by the Commissioner of Insurance that continuation of the policy coverage would
                        place us in violation of California law or the laws of the state where we are domiciled or threaten our
                        solvency;




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                  viii. A change by you or your representative in the activities or property of the commercial or industrial
                        enterprise, which results in a materially added, increased or changed risk, unless the added,
                        increased, or changed risk is included in the policy;
                  ix. A material change in limits, type or scope of coverage, or exclusions in one or more of the underlying
                        policies;
                  x.    Cancellation or nonrenewal of one or more of the underlying policies where such policies are not
                        replaced without lapse;
                  xi. A reduction in financial rating or grade of one or more insurers, insuring one or more underlying
                        policies based on an evaluation obtained from a recognized financial rating organization.
          (c) If we cancel for non-payment of premium, you may continue coverage and avoid the effect of cancellation
                  by payment in full at any time prior to the effective date of cancellation.
B.   SECTION VI. CONDITIONS, A., 4. Cancellation and Nonrenewal, b. Nonrenewal, is deleted and replaced with the
     following:
     b.   Nonrenewal
          (1) If we decide not to renew this policy, we will mail or deliver notice of nonrenewal at least sixty (60) days,
                  but not more than one hundred, twenty (120) days before the expiration date of this policy. Such notice will
                  be mailed or delivered to you at the mailing address last known to us, and to the producer of record (if
                  any). Proof of mailing will be sufficient proof of notice. Mailing or delivery of the notice of nonrenewal shall
                  be deemed to have been given to all insureds.
          (2) We need not provide notice of nonrenewal if:
                  (a) The transfer or renewal of a policy, without any changes in terms, conditions, or rates, is between us
                        and a member of our insurance group;
                  (b) The policy has been extended for ninety (90) days or less, provided that notice has been given in
                      accordance with paragraph (1);
                  (c) You have obtained replacement coverage, or if you have agreed, in writing, within sixty (60) days of
                        the termination of the policy, to obtain that coverage;
                  (d) The policy is for a period of no more than 60 days and you are notified at the time of issuance that it
                        will not be renewed;
                  (e) You request a change in the terms or conditions or risks covered by the policy within sixty (60) days of
                        the end of the policy;
                  (f)   We have made a written offer to you, in accordance with paragraph (1), to renew the policy under
                        changed terms or conditions or at an increased premium rate, when the increase exceeds 25%;
                  (g) The policy has been designated as nonrenewable.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement # 11




Exclusion-Recording And Distribution Of Material Or
Information In Violation Of Law

    Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.         Producer             Add'l Prem.         Return Prem.

 AUC 5912288-03       09/01/2015             09/01/2016            09/01/2015              70074000

Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Commercial Umbrella Liability Policy
Under Section IV. Exclusions, paragraph A. 6. Violation Of Statutes is replaced by the following:
RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF LAW
6. Directly or indirectly arising out of or based upon any action or omission that violates or is alleged to violate:
    a. The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such law;
    b. The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
    c. The Fair Credit Reporting Act (FCRA) and any amendment of or addition to such law including the Fair and
        Accurate Credit Transactions Act (FACTA); or
    d. Any federal, state or local statute, ordinance, or regulation, other than the TCPA, CAN-SPAM Act of 2003 or
        FCRA, and their amendments and additions, or any other legal liability, at common law or otherwise, that
        addresses, prohibits, or limits the printing, dissemination, disposal, monitoring, collecting, recording, use of,
        sending, transmitting, communicating or distribution of material or information.

All other terms, conditions, provisions and exclusions of this policy remain the same.




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Endorsement # 12




Umbrella Amendatory Endorsement
    Policy No.       Eff. Date of Pol.    Exp. Date of Pol.      Eff. Date of End.         Producer             Add'l Prem.          Return Prem.

 AUC 5912288-03       09/01/2015             09/01/2016            09/01/2015              70074000

Named Insured and Mailing Address:                                              Producer:
OMNICELL, INC                                                                   MARSH RISK & INSURANCE SERVICES
590 E. MIDDLEFIELD RD.                                                          1732 N 1ST ST STE 400
MOUNTAIN VIEW, CA 94043-1337                                                    SAN JOSE, CA 95112-4508




THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies insurance provided under the:
Commercial Umbrella Liability Policy
A. Under SECTION IV. EXCLUSIONS, Paragraph C.5. Personal and Advertising Injury, Subparagraphs b. and c. are
   replaced by the following:
   b. Arising out of oral or written publication, in any manner, of material, if done by or at the direction of the insured
        with knowledge of its falsity;
   c. Arising out of oral or written publication, in any manner, of material, whose first publication took place before the
        beginning of the policy period;
B. Under SECTION V. DEFINITIONS, Paragraph C.2. Auto, Subparagraph b. is replaced by the following:
   b. Any other land vehicle that is subject to a compulsory or financial responsibility law or other motor vehicle
        insurance law where it is licensed or principally garaged;
C. Under SECTION V. DEFINITIONS, Paragraph C.9. Mobile equipment, the last Paragraph under the definition of
   Mobile equipment is replaced by the following:
   However, mobile equipment does not include any land vehicles that are subject to a compulsory or financial
   responsibility law or other motor vehicle insurance law where it is licensed or principally garaged. Land vehicles
   subject to a compulsory or financial responsibility law or other motor vehicle insurance law are considered autos.

All other terms, conditions, provisions and exclusions of this policy remain the same.




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